                               Case 17-12224-MFW                               Doc 196               Filed 11/17/17                    Page 1 of 860


Fill in this information to identify the case:

Debtor name: MAC ACQUISITION LLC
United States Bankruptcy Court for the: District of Delaware
Case number (if known): 17-12224

                                                                                                                                                                   ¨ Check if this is an
                                                                                                                                                                         amended filing

Official Form 206Sum
Summary of Assets and Liabilities for Non-Individuals                                                                                                                              12/15



 Part 1:     Summary of Assets


1.   Schedule A/B: Assets–Real and Personal Property (Official Form 206A/B)




     1a. Real property:
         Copy line 88 from Schedule A/B ......................................................................................................                     $14,885,739.36



     1b. Total personal property:
         Copy line 91A from Schedule A/B ....................................................................................................                      $20,513,371.96



     1c. Total of all property:
         Copy line 92 from Schedule A/B ......................................................................................................                     $35,399,111.32



 Part 2:     Summary of Liabilities



2.   Schedule D: Creditors Who Have Claims Secured by Property (Official Form 206D)
     Copy the total dollar amount listed in Column A, Amount of claim, from line 3 of Schedule D .................                                                 $23,696,167.48



3.   Schedule E/F: Creditors Who Have Unsecured Claims (Official Form 206E/F)




     3a. Total claim amounts of priority unsecured claims:
         Copy the total claims from Part 1 from line 5a of Schedule E/F .........................................................                                    $153,424.14



     3b. Total amount of claims of nonpriority amount of unsecured claims:
         Copy the total of the amount of claims from Part 2 from line 5b of Schedule E/F ............................                                              + $28,606,406.29




4.   Total liabilities
     Lines 2 + 3a + 3b .........................................................................................................................................   $52,455,997.91




Official Form 206Sum                                  Summary of Assets and Liabilities for Non-Individuals                                                                 Page 1 of 1
                          Case 17-12224-MFW                 Doc 196      Filed 11/17/17         Page 2 of 860


Fill in this information to identify the case:

Debtor name: MAC ACQUISITION LLC
United States Bankruptcy Court for the: District of Delaware
Case number (if known): 17-12224

                                                                                                                        ¨ Check if this is an
                                                                                                                                amended filing

Official Form 206A/B
Schedule A/B: Assets — Real and Personal Property                                                                                         12/15

Disclose all property, real and personal, which the debtor owns or in which the debtor has any other legal, equitable, or future interest.
Include all property in which the debtor holds rights and powers exercisable for the debtor's own benefit. Also include assets and
properties which have no book value, such as fully depreciated assets or assets that were not capitalized. In Schedule A/B, list any
executory contracts or unexpired leases. Also list them on Schedule G: Executory Contracts and Unexpired Leases (Official Form 206G).
Be as complete and accurate as possible. If more space is needed, attach a separate sheet to this form. At the top of any pages added,
write the debtor’s name and case number (if known). Also identify the form and line number to which the additional information applies. If
an additional sheet is attached, include the amounts from the attachment in the total for the pertinent part.
For Part 1 through Part 11, list each asset under the appropriate category or attach separate supporting schedules, such as a fixed asset
schedule or depreciation schedule, that gives the details for each asset in a particular category. List each asset only once. In valuing the
debtor’s interest, do not deduct the value of secured claims. See the instructions to understand the terms used in this form.



 Part 1:     Cash and cash equivalents

1.     Does the debtor have any cash or cash equivalents?
       ¨ No. Go to Part 2.
       þ Yes. Fill in the information below
       All cash or cash equivalents owned or controlled by the debtor                                                 Current value of
                                                                                                                      debtor’s interest

2.     Cash on hand
2.1.   PETTY CASH - STORE # 31003                                                                                     $1,800.00

2.2.   PETTY CASH - STORE # 31004                                                                                     $541.55

2.3.   PETTY CASH - STORE # 31015                                                                                     $2,268.00

2.4.   PETTY CASH - STORE # 31017                                                                                     $1,258.00

2.5.   PETTY CASH - STORE # 31022                                                                                     $1,688.00

2.6.   PETTY CASH -STORE # 31029                                                                                      $1,500.00

2.7.   PETTY CASH - STORE # 31033                                                                                     $1,800.00

2.8.   PETTY CASH - STORE # 31037                                                                                     $1,715.00

2.9.   PETTY CASH - STORE # 31039                                                                                     $703.00

2.10. PETTY CASH - STORE # 31045                                                                                      $2,290.00

2.11. PETTY CASH -STORE # 31050                                                                                       $1,000.00

2.12. PETTY CASH -STORE # 31053                                                                                       $1,426.00

2.13. PETTY CASH - STORE # 31060                                                                                      $1,800.00

2.14. PETTY CASH - STORE # 31064                                                                                      $2,441.00

2.15. PETTY CASH - STORE # 31067                                                                                      $1,415.00

2.16. PETTY CASH - STORE # 31072                                                                                      $1,800.00


Official Form 206A/B                          Schedule A/B: Assets — Real and Personal Property                                   Page 1 of 80
                       Case 17-12224-MFW         Doc 196     Filed 11/17/17      Page 3 of 860

Debtor   MAC ACQUISITION LLC                                                            Case number (if known) 17-12224

2.17. PETTY CASH - STORE # 31078                                                                 $1,745.00

2.18. PETTY CASH - STORE # 31081                                                                 $1,800.00

2.19. PETTY CASH - STORE # 31088                                                                 $795.00

2.20. PETTY CASH - STORE # 31089                                                                 $1,691.00

2.21. PETTY CASH - STORE # 31108                                                                 $3,438.36

2.22. PETTY CASH - STORE # 31109                                                                 $2,300.00

2.23. PETTY CASH -STORE # 31112                                                                  $1,235.14

2.24. PETTY CASH - STORE # 31115                                                                 $2,954.50

2.25. PETTY CASH - STORE # 31116                                                                 $2,000.00

2.26. PETTY CASH - STORE # 31120                                                                 $1,800.00

2.27. PETTY CASH - STORE # 31127                                                                 $1,200.00

2.28. PETTY CASH - STORE # 31131                                                                 $1,622.20

2.29. PETTY CASH - STORE # 31132                                                                 $1,800.00

2.30. PETTY CASH - STORE # 31141                                                                 $1,253.00

2.31. PETTY CASH - STORE # 31145                                                                 $1,435.00

2.32. PETTY CASH - STORE # 31148                                                                 $5,427.00

2.33. PETTY CASH - STORE # 31151                                                                 $1,800.00

2.34. PETTY CASH - STORE # 31156                                                                 $2,053.73

2.35. PETTY CASH - STORE # 31161                                                                 $1,525.00

2.36. PETTY CASH - STORE # 31163                                                                 $1,718.90

2.37. PETTY CASH - STORE # 31165                                                                 $1,500.00

2.38. PETTY CASH - STORE # 31167                                                                 $2,126.00

2.39. PETTY CASH - STORE # 31174                                                                 $1,930.50

2.40. PETTY CASH - STORE # 31176                                                                 $2,988.80

2.41. PETTY CASH - STORE # 31178                                                                 $700.76

2.42. PETTY CASH - STORE # 31179                                                                 $2,059.84

2.43. PETTY CASH - STORE # 31182                                                                 $2,525.15

2.44. PETTY CASH - STORE # 31184                                                                 $1,539.00

2.45. PETTY CASH - STORE # 31185                                                                 $1,730.00

2.46. PETTY CASH - STORE # 31195                                                                 $1,973.00

2.47. PETTY CASH - STORE # 31196                                                                 $1,147.00

2.48. PETTY CASH - STORE # 31197                                                                 $1,500.00

2.49. PETTY CASH - STORE # 31199                                                                 $3,399.61

2.50. PETTY CASH - STORE # 31203                                                                 $1,800.00

2.51. PETTY CASH - STORE # 31206                                                                 $4,532.50

2.52. PETTY CASH - STORE # 31212                                                                 $1,800.50

2.53. PETTY CASH - STORE # 31216                                                                 $1,302.00

2.54. PETTY CASH - STORE # 31222                                                                 $1,687.00

2.55. PETTY CASH - STORE # 31229                                                                 $1,631.00
Official Form 206A/B               Schedule A/B: Assets — Real and Personal Property                         Page 2 of 80
                       Case 17-12224-MFW         Doc 196     Filed 11/17/17      Page 4 of 860

Debtor   MAC ACQUISITION LLC                                                            Case number (if known) 17-12224

2.56. PETTY CASH - STORE # 31233                                                                 $678.00

2.57. PETTY CASH - STORE # 31234                                                                 $1,554.00

2.58. PETTY CASH -STORE # 31235                                                                  $1,319.00

2.59. PETTY CASH - STORE # 31238                                                                 $1,800.50

2.60. PETTY CASH - STORE # 31245                                                                 $2,077.00

2.61. PETTY CASH - STORE # 31246                                                                 $1,800.08

2.62. PETTY CASH - STORE # 31251                                                                 $1,800.00

2.63. PETTY CASH - STORE # 31252                                                                 $1,800.00

2.64. PETTY CASH - STORE # 31255                                                                 $1,800.00

2.65. PETTY CASH - STORE # 31257                                                                 $1,800.00

2.66. PETTY CASH - STORE # 31268                                                                 $1,400.00

2.67. PETTY CASH - STORE # 31273                                                                 $1,639.00

2.68. PETTY CASH - STORE # 31279                                                                 $1,034.00

2.69. PETTY CASH - STORE # 31280                                                                 $2,370.00

2.70. PETTY CASH - STORE # 31283                                                                 $1,346.17

2.71. PETTY CASH - STORE # 31284                                                                 $1,306.00

2.72. PETTY CASH - STORE # 31285                                                                 $936.00

2.73. PETTY CASH - STORE # 31286                                                                 $1,800.00

2.74. PETTY CASH - STORE # 31287                                                                 $1,523.00

2.75. PETTY CASH - STORE # 31289                                                                 $1,705.50

2.76. PETTY CASH - STORE # 31292                                                                 $1,485.00

2.77. PETTY CASH - STORE # 31294                                                                 $1,800.00

2.78. PETTY CASH - STORE # 31296                                                                 $2,027.00

2.79. PETTY CASH - STORE # 31299                                                                 $1,100.48

2.80. PETTY CASH - STORE # 31300                                                                 $1,936.00

2.81. PETTY CASH - STORE # 31301                                                                 $1,843.84

2.82. PETTY CASH - STORE # 31302                                                                 $1,750.00

2.83. PETTY CASH - STORE # 31307                                                                 $1,700.00

2.84. PETTY CASH - STORE # 31314                                                                 $1,358.00

2.85. PETTY CASH - STORE # 31324                                                                 $1,800.00

2.86. PETTY CASH - STORE # 31327                                                                 $1,700.00

2.87. PETTY CASH - STORE # 31339                                                                 $1,724.50

2.88. PETTY CASH - STORE # 31340                                                                 $2,790.91

2.89. PETTY CASH - STORE # 31342                                                                 $1,478.92

2.90. PETTY CASH - STORE # 31345                                                                 $2,644.55

2.91. PETTY CASH - STORE # 31346                                                                 $3,989.53

2.92. PETTY CASH -STORE # 31347                                                                  $1,200.00




Official Form 206A/B               Schedule A/B: Assets — Real and Personal Property                         Page 3 of 80
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Debtor   MAC ACQUISITION LLC                                                                             Case number (if known) 17-12224

3.        Checking, savings, money market, or financial brokerage accounts (Identify all)
          Name of institution (bank or brokerage firm)   Type of account            Last 4 digits of account       Current value of
                                                                                    number                         debtor’s interest
3.1.1     WELLS FARGO                                    4552.49 DEPOSITORY -       6998                           $773.55
                                                         STORE DEPOSITORY
                                                         ACCOUNT
3.2.      WELLS FARGO                                    ZBA DEPOSITORY -           6972                           $0.00
                                                         FRANCONIA
3.3.      WELLS FARGO                                    ZBA DEPOSITORY - SO.       8121                           $0.00
                                                         COLORADO SPRINGS-MAC
                                                         GRILL
3.4.      BANK OF AMERICA                                ZBA DEPOSITORY -           1402                           $0.00
                                                         ADDISON-MAC GRILL LLC
3.5.      BANK OF AMERICA                                ZBA DEPOSITORY -           1415                           $0.00
                                                         KENDALL-MAC GRILL LLC
3.6.      BANK OF AMERICA                                ZBA DEPOSITORY - AUSTIN- 4946                             $0.00
                                                         MAC GRILL LLC
3.7.      BANK OF AMERICA                                ZBA DEPOSITORY - N.W.      1428                           $0.00
                                                         HWY-MAC GRILL LLC
3.8.      BANK OF AMERICA                                ZBA DEPOSITORY -           1431                           $0.00
                                                         KANSAS CITY-MAC GRILL
                                                         LLC
3.9.      BANK OF AMERICA                                ZBA DEPOSITORY -         1460                             $0.00
                                                         LOUISVILLE-MAC GRILL LLC
3.10.     BANK OF AMERICA                                ZBA DEPOSITORY -           1473                           $0.00
                                                         ARAPAHOE-MAC GRILL LLC
3.11.     BANK OF AMERICA                                ZBA DEPOSITORY -           1486                           $0.00
                                                         ALTAMONTE SPRINGS-MAC
                                                         GRILL LL
3.12.     BANK OF AMERICA                                ZBA DEPOSITORY -           1499                           $0.00
                                                         BRANDON-MAC GRILL LLC
3.13.     BANK OF AMERICA                                ZBA DEPOSITORY -           1512                           $0.00
                                                         WESTHEIMER-MAC GRILL
                                                         LLC
3.14.     BANK OF AMERICA                                ZBA DEPOSITORY -           1716                           $0.00
                                                         ALBUQUERQUE-MAC GRILL
                                                         LLC
3.15.     BANK OF AMERICA                                ZBA DEPOSITORY - N.        1813                           $0.00
                                                         OLMSTED-MAC GRILL LLC
3.16.     BANK OF AMERICA                                ZBA DEPOSITORY - S.     1622                              $0.00
                                                         ARLINGTON-MAC GRILL LLC
3.17.     BANK OF AMERICA                                ZBA DEPOSITORY -      1729                                $0.00
                                                         CARROLLWOOD-MAC GRILL
                                                         LLC
3.18.     BANK OF AMERICA                                ZBA DEPOSITORY - GOLD      1538                           $0.00
                                                         DUST-MAC GRILL LLC
3.19.     BANK OF AMERICA                                ZBA DEPOSITORY -           1635                           $0.00
                                                         WILLOWBROOK-MAC GRILL
                                                         LLC
3.20.     BANK OF AMERICA                                ZBA DEPOSITORY -           1732                           $0.00
                                                         PLANO/544-MAC GRILL LLC
3.21.     BANK OF AMERICA                                ZBA DEPOSITORY -           1541                           $0.00
                                                         HOFFMAN ESTATES-MAC
                                                         GRILL LLC

Official Form 206A/B                      Schedule A/B: Assets — Real and Personal Property                                   Page 4 of 80
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Debtor   MAC ACQUISITION LLC                                                                             Case number (if known) 17-12224

3.        Checking, savings, money market, or financial brokerage accounts (Identify all)
          Name of institution (bank or brokerage firm)   Type of account            Last 4 digits of account       Current value of
                                                                                    number                         debtor’s interest
3.22.     BANK OF AMERICA                                ZBA DEPOSITORY - LITTLE    1648                           $0.00
                                                         ROCK-MAC GRILL LLC
3.23.     BANK OF AMERICA                                ZBA DEPOSITORY -           1745                           $0.00
                                                         LIVONIA-MAC GRILL LLC
3.24.     BANK OF AMERICA                                ZBA DEPOSITORY - BOCA      1842                           $0.00
                                                         RATON-MAC GRILL LLC
3.25.     BANK OF AMERICA                                ZBA DEPOSITORY -           1651                           $0.00
                                                         KISSIMMEE-MAC GRILL LLC
3.26.     BANK OF AMERICA                                ZBA DEPOSITORY -           1758                           $0.00
                                                         EDISON-MAC GRILL LLC
3.27.     BANK OF AMERICA                                ZBA DEPOSITORY -       1855                               $0.00
                                                         MONTROSE-MAC GRILL LLC
3.28.     BANK OF AMERICA                                ZBA DEPOSITORY - COOL      1567                           $0.00
                                                         SPRINGS-MAC GRILL LLC
3.29.     BANK OF AMERICA                                ZBA DEPOSITORY -           1664                           $0.00
                                                         UNIVERSITY-MAC GRILL
                                                         LLC
3.30.     BANK OF AMERICA                                ZBA DEPOSITORY -           1868                           $0.00
                                                         SAHARA-MAC GRILL LLC
3.31.     BANK OF AMERICA                                ZBA DEPOSITORY -           1774                           $0.00
                                                         RAMSEY-MAC GRILL LLC
3.32.     BANK OF AMERICA                                ZBA DEPOSITORY -           1871                           $0.00
                                                         ROSEVILLE-MAC GRILL LLC
3.33.     BANK OF AMERICA                                ZBA DEPOSITORY - LAKE      1583                           $0.00
                                                         BUENA VISTA-MAC GRILL
                                                         LLC
3.34.     BANK OF AMERICA                                ZBA DEPOSITORY - TUTTLE    1884                           $0.00
                                                         CROSSING-MAC GRILL LLC
3.35.     BANK OF AMERICA                                ZBA DEPOSITORY -           1596                           $0.00
                                                         WOODLANDS-MAC GRILL
                                                         LLC
3.36.     BANK OF AMERICA                                ZBA DEPOSITORY -        1693                              $0.00
                                                         ANNAPOLIS-MAC GRILL LLC
3.37.     BANK OF AMERICA                                ZBA DEPOSITORY -           1606                           $0.00
                                                         COCKEYSVILLE-MAC GRILL
                                                         LLC
3.38.     BANK OF AMERICA                                ZBA DEPOSITORY -           1703                           $0.00
                                                         GREENVILLE-MAC GRILL
                                                         LLC
3.39.     BANK OF AMERICA                                ZBA DEPOSITORY -           1800                           $0.00
                                                         STRONGSVILLE-MAC GRILL
                                                         LLC
3.40.     BANK OF AMERICA                                ZBA DEPOSITORY -           1910                           $0.00
                                                         HENRIETTA-MAC GRILL LLC
3.41.     BANK OF AMERICA                                ZBA DEPOSITORY - CARY-     1936                           $0.00
                                                         MAC GRILL LLC
3.42.     BANK OF AMERICA                                ZBA DEPOSITORY -           1949                           $0.00
                                                         OXFORD VALLEY-MAC
                                                         GRILL LLC




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Debtor   MAC ACQUISITION LLC                                                                             Case number (if known) 17-12224

3.        Checking, savings, money market, or financial brokerage accounts (Identify all)
          Name of institution (bank or brokerage firm)   Type of account            Last 4 digits of account       Current value of
                                                                                    number                         debtor’s interest
3.43.     BANK OF AMERICA                                ZBA DEPOSITORY -           1952                           $0.00
                                                         HUNTINGTON BEACH-MAC
                                                         GRILL LLC
3.44.     BANK OF AMERICA                                ZBA DEPOSITORY - SANTA     1965                           $0.00
                                                         CLARITA-MAC GRILL LLC
3.45.     BANK OF AMERICA                                ZBA DEPOSITORY - S.        2003                           $0.00
                                                         PORTLAND-MAC GRILL LLC
3.46.     BANK OF AMERICA                                ZBA DEPOSITORY -           2016                           $0.00
                                                         CORPUS CHRISTI-MAC
                                                         GRILL LLC
3.47.     BANK OF AMERICA                                ZBA DEPOSITORY -           2113                           $0.00
                                                         BEACON CENTER-MAC
                                                         GRILL LLC
3.48.     BANK OF AMERICA                                ZBA DEPOSITORY - ANN       2029                           $0.00
                                                         ARBOR-MAC GRILL LLC
3.49.     BANK OF AMERICA                                ZBA DEPOSITORY - ALISO     2320                           $0.00
                                                         VIEJO-MAC GRILL LLC
3.50.     BANK OF AMERICA                                ZBA DEPOSITORY - TUSTIN- 2032                             $0.00
                                                         MAC GRILL LLC
3.51.     BANK OF AMERICA                                ZBA DEPOSITORY -           2139                           $0.00
                                                         SUMMERLIN-MAC GRILL
                                                         LLC
3.52.     BANK OF AMERICA                                ZBA DEPOSITORY -           2333                           $0.00
                                                         HENDERSON-MAC GRILL
                                                         LLC
3.53.     BANK OF AMERICA                                ZBA DEPOSITORY -           2142                           $0.00
                                                         FRESNO-MAC GRILL LLC
3.54.     BANK OF AMERICA                                ZBA DEPOSITORY -           2346                           $0.00
                                                         TUCSON-MAC GRILL LLC
3.55.     BANK OF AMERICA                                ZBA DEPOSITORY -           2058                           $0.00
                                                         COLONIE-MAC GRILL LLC
3.56.     BANK OF AMERICA                                ZBA DEPOSITORY -           2155                           $0.00
                                                         DENVER WEST-MAC GRILL
                                                         LLC
3.57.     BANK OF AMERICA                                ZBA DEPOSITORY -           2168                           $0.00
                                                         BIRMINGHAM-MAC GRILL
                                                         LLC
3.58.     BANK OF AMERICA                                ZBA DEPOSITORY - ROUND     4962                           $0.00
                                                         ROCK-MAC GRILL LLC
3.59.     BANK OF AMERICA                                ZBA DEPOSITORY - DEER      2362                           $0.00
                                                         VALLEY-MAC GRILL LLC
3.60.     BANK OF AMERICA                                ZBA DEPOSITORY - VISTA     2074                           $0.00
                                                         RIDGE-MAC GRILL LLC
3.61.     BANK OF AMERICA                                ZBA DEPOSITORY -           2278                           $0.00
                                                         FASHION PLACE-MAC
                                                         GRILL LLC
3.62.     BANK OF AMERICA                                ZBA DEPOSITORY - RENO-     2375                           $0.00
                                                         MAC GRILL LLC
3.63.     BANK OF AMERICA                                ZBA DEPOSITORY -           2087                           $0.00
                                                         SHELBY-MAC GRILL LLC



Official Form 206A/B                      Schedule A/B: Assets — Real and Personal Property                                   Page 6 of 80
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Debtor   MAC ACQUISITION LLC                                                                             Case number (if known) 17-12224

3.        Checking, savings, money market, or financial brokerage accounts (Identify all)
          Name of institution (bank or brokerage firm)   Type of account            Last 4 digits of account       Current value of
                                                                                    number                         debtor’s interest
3.64.     BANK OF AMERICA                                ZBA DEPOSITORY -           2388                           $0.00
                                                         WOLFCHASE-MAC GRILL
                                                         LLC
3.65.     BANK OF AMERICA                                ZBA DEPOSITORY -           2090                           $0.00
                                                         CERRITOS-MAC GRILL LLC
3.66.     BANK OF AMERICA                                ZBA DEPOSITORY -           2294                           $0.00
                                                         AUBURN HILLS-MAC GRILL
                                                         LLC
3.67.     BANK OF AMERICA                                ZBA DEPOSITORY -           2100                           $0.00
                                                         NORTHRIDGE-MAC GRILL
                                                         LLC
3.68.     BANK OF AMERICA                                ZBA DEPOSITORY -           2207                           $0.00
                                                         MANDEVILLE-MAC GRILL
                                                         LLC
3.69.     BANK OF AMERICA                                ZBA DEPOSITORY - UNCC-     2304                           $0.00
                                                         MAC GRILL LLC
3.70.     BANK OF AMERICA                                ZBA DEPOSITORY - CEDAR     3400                           $0.00
                                                         HILL-MAC GRILL LLC
3.71.     BANK OF AMERICA                                ZBA DEPOSITORY - MALL      3439                           $0.00
                                                         OF GEORGIA-MAC GRILL
                                                         LLC
3.72.     BANK OF AMERICA                                ZBA DEPOSITORY -           3442                           $0.00
                                                         RETAMA-MAC GRILL LLC
3.73.     BANK OF AMERICA                                ZBA DEPOSITORY -           3471                           $0.00
                                                         LEGACY-MAC GRILL LLC
3.74.     BANK OF AMERICA                                ZBA DEPOSITORY -           3484                           $0.00
                                                         DESERT RIDGE-MAC GRILL
                                                         LLC
3.75.     BANK OF AMERICA                                ZBA DEPOSITORY -           3497                           $0.00
                                                         FRISCO-MAC GRILL LLC
3.76.     BANK OF AMERICA                                ZBA DEPOSITORY - SOUTH     4988                           $0.00
                                                         AUSTIN-MAC GRILL LLC
3.77.     BANK OF AMERICA                                ZBA DEPOSITORY -           2430                           $0.00
                                                         TYRONE SQUARE-MAC
                                                         GRILL LLC
3.78.     BANK OF AMERICA                                ZBA DEPOSITORY -           2443                           $0.00
                                                         PROMENADE-MAC GRILL
                                                         LLC
3.79.     BANK OF AMERICA                                ZBA DEPOSITORY -           2472                           $0.00
                                                         FOLSOM-MAC GRILL LLC
3.80.     BANK OF AMERICA                                ZBA DEPOSITORY - PALM      2485                           $0.00
                                                         VALLEY-MAC GRILL LLC
3.81.     BANK OF AMERICA                                ZBA DEPOSITORY -           2498                           $0.00
                                                         TEMECULA-MAC GRILL LLC
3.82.     BANK OF AMERICA                                ZBA DEPOSITORY - ELK       2508                           $0.00
                                                         GROVE-MAC GRILL LLC
3.83.     BANK OF AMERICA                                ZBA DEPOSITORY - SEAL      2524                           $0.00
                                                         BEACH-MAC GRILL LLC
3.84.     BANK OF AMERICA                                ZBA DEPOSITORY -           2728                           $0.00
                                                         ANAHEIM HILLS-MAC GRILL
                                                         LLC

Official Form 206A/B                      Schedule A/B: Assets — Real and Personal Property                                   Page 7 of 80
                         Case 17-12224-MFW                Doc 196          Filed 11/17/17    Page 9 of 860

Debtor   MAC ACQUISITION LLC                                                                             Case number (if known) 17-12224

3.        Checking, savings, money market, or financial brokerage accounts (Identify all)
          Name of institution (bank or brokerage firm)   Type of account            Last 4 digits of account       Current value of
                                                                                    number                         debtor’s interest
3.85.     BANK OF AMERICA                                ZBA DEPOSITORY -           2634                           $0.00
                                                         VENTURA-MAC GRILL LLC
3.86.     BANK OF AMERICA                                ZBA DEPOSITORY - EAST      2566                           $0.00
                                                         EL PASO-MAC GRILL LLC
3.87.     BANK OF AMERICA                                ZBA DEPOSITORY -           2579                           $0.00
                                                         TRIANGLE TOWN CENTER-
                                                         MAC GRILL
3.88.     BANK OF AMERICA                                ZBA DEPOSITORY -        2689                              $0.00
                                                         FREDERICK-MAC GRILL LLC
3.89.     BANK OF AMERICA                                ZBA DEPOSITORY - OPRY      2595                           $0.00
                                                         MILLS-MAC GRILL LLC
3.90.     BANK OF AMERICA                                ZBA DEPOSITORY -           2692                           $0.00
                                                         OCEANSIDE-MAC GRILL
                                                         LLC
3.91.     BANK OF AMERICA                                ZBA DEPOSITORY - NORTH     2605                           $0.00
                                                         COUNTY FAIR-MAC GRILL
3.92.     BANK OF AMERICA                                ZBA DEPOSITORY -           2702                           $0.00
                                                         BAKERSFIELD-MAC GRILL
                                                         LLC
3.93.     BANK OF AMERICA                                ZBA DEPOSITORY -           2618                           $0.00
                                                         STOCKTON-MAC GRILL LLC
3.94.     BANK OF AMERICA                                ZBA DEPOSITORY -     2715                                 $0.00
                                                         WINDWARD PARKWAY-MAC
                                                         GRILL LLC
3.95.     BANK OF AMERICA                                ZBA DEPOSITORY - FT.       2757                           $0.00
                                                         COLLINS-MAC GRILL LLC
3.96.     BANK OF AMERICA                                ZBA DEPOSITORY -           2760                           $0.00
                                                         CORONA-MAC GRILL LLC
3.97.     BANK OF AMERICA                                ZBA DEPOSITORY - NORTH     2773                           $0.00
                                                         AURORA-MAC GRILL LLC
3.98.     BANK OF AMERICA                                ZBA DEPOSITORY - WEST      2799                           $0.00
                                                         COBB-MAC GRILL LLC
3.99.     BANK OF AMERICA                                ZBA DEPOSITORY - NORTH     2809                           $0.00
                                                         TUCSON-MAC GRILL LLC
3.100.    BANK OF AMERICA                                ZBA DEPOSITORY -           2812                           $0.00
                                                         VIRGINIA BEACH-MAC
                                                         GRILL LLC
3.101.    BANK OF AMERICA                                ZBA DEPOSITORY -           2825                           $0.00
                                                         PUENTE HILLS-MAC GRILL
                                                         LLC
3.102.    BANK OF AMERICA                                ZBA DEPOSITORY - SIMI      2838                           $0.00
                                                         VALLEY-MAC GRILL LLC
3.103.    BANK OF AMERICA                                ZBA DEPOSITORY -           2854                           $0.00
                                                         CHURCH RANCH-MAC
                                                         GRILL LLC
3.104.    BANK OF AMERICA                                ZBA DEPOSITORY -           2870                           $0.00
                                                         REDLANDS-MAC GRILL LLC
3.105.    BANK OF AMERICA                                ZBA DEPOSITORY -           2980                           $0.00
                                                         HARRISBURG-MAC GRILL
                                                         LLC



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Debtor     MAC ACQUISITION LLC                                                                              Case number (if known) 17-12224

3.          Checking, savings, money market, or financial brokerage accounts (Identify all)
            Name of institution (bank or brokerage firm)   Type of account             Last 4 digits of account       Current value of
                                                                                       number                         debtor’s interest
3.106.      BANK OF AMERICA                                ZBA DEPOSITORY -            3002                           $0.00
                                                           PENSACOLA-MAC GRILL
                                                           LLC
3.107.      BANK OF AMERICA                                ZBA DEPOSITORY - OTAY       2922                           $0.00
                                                           RANCH-MAC GRILL LLC
3.108.      BANK OF AMERICA                                ZBA DEPOSITORY - WINTER 3028                               $0.00
                                                           GARDEN-MAC GRILL LLC
3.109.      BANK OF AMERICA                                ZBA DEPOSITORY -            3507                           $0.00
                                                           MURFREESBORO-MAC
                                                           GRILL LLC
3.110.      BANK OF AMERICA                                ZBA DEPOSITORY -            3510                           $0.00
                                                           OVIEDO-MAC GRILL LLC
3.111.      BANK OF AMERICA                                ZBA DEPOSITORY -            4594                           $0.00
                                                           MILPITAS-MAC GRILL LLC
3.112.      BANK OF AMERICA                                ZBA DEPOSITORY - EL         4620                           $0.00
                                                           CERRITO-MAC GRILL LLC
3.113.      BANK OF AMERICA                                ZBA DEPOSITORY -            4604                           $0.00
                                                           ALDERWOOD-MAC GRILL
                                                           LLC
3.114.      BANK OF AMERICA                                ZBA DEPOSITORY -            6608                           $0.00
                                                           PAYROLL ACCOUNT
3.115.      BANK OF AMERICA                                ZBA DEPOSITORY -            9721                           $0.00
                                                           BENEFIT DISBURSEMENTS
3.116.      BANK OF AMERICA                                ZBA DEPOSITORY -            6611                           $0.00
                                                           ACCOUNTS PAYABLE
                                                           DISBURSEMENTS
3.117.      BANK OF AMERICA                                ZBA DEPOSITORY - CASH       6624                           $0.00
                                                           REPLENISHMENT
                                                           DISBURSEMENTS
3.118.      BANK OF AMERICA                                ZBA DEPOSITORY - CREDIT     6637                           $0.00
                                                           CARD RECEIPTS
3.119.      BANK OF AMERICA                                ZBA DEPOSITORY -            2029                           $0.00
                                                           INTERMEDIARY STORE
                                                           DESPOSITORY ACCOUNT
3.120.1     BANK OF AMERICA                                3227406.25 MASTER           1001                           $3,227,406.25
                                                           CONCENTRATION -
                                                           MASTER CONCENTRATION
                                                           ACCOUNT
3.121.1     BANK OF AMERICA                                18864.95 DEPOSITORY -       0383                           $18,864.95
                                                           ROYALTIES ACCOUNT
3.122.1     BANK OF AMERICA                                79007.48 DEPOSITORY -       7380                           $79,007.48
                                                           MONEY MARKET ACCOUNT
                                                           FOR CORPORATE CREDIT
                                                           CARD ACCOUNTS


1
    BALANCE AS OF 10/18/17




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4.        Other cash equivalents (Identify all)
          Description                 Name of institution              Type of account             Last 4 digits of account   Current value of
                                                                                                   number                     debtor’s interest
4.1.      CREDIT CARD                 BANK OF AMERICA                  DEPOSIT                     7380                       $78,981.08
          RESTRICTED CASH

5.      Total of part 1
        Add lines 2 through 4 (including amounts on any additional sheets). Copy the total to line 80.                           $3,571,762.33



 Part 2:      Deposits and prepayments

6.      Does the debtor have any deposits or prepayments?
        ¨ No. Go to Part 3.
        þ Yes. Fill in the information below
7.        Deposits, including security deposits and utility deposits
          Description, including name of holder of deposit                                                                    Current value of
                                                                                                                              debtor’s interest

7.1.      RENT                                                                                                                $5,646.67
          CAROLINA PARTNERS

7.2.      UTILITY                                                                                                             $6,000.00
          CITY OF BUFORD

7.3.      UTILITY                                                                                                             $6,385.00
          CITY OF GREEN

7.4.      UTILITY                                                                                                             $3,775.00
          CITY OF HOUSTON

7.5.      UTILITY                                                                                                             $420.00
          CITY OF HUNTINGTON BEACH

7.6.      UTILITY                                                                                                             $350.00
          CITY OF LEWISVILLE

7.7.      UTILITY                                                                                                             $160.00
          CITY OF MANDEVILLE

7.8.      UTILITY                                                                                                             $3,377.00
          CITY OF OCEANSIDE

7.9.      UTILITY                                                                                                             $1,800.00
          CITY OF TULSA

7.10.     UTILITY                                                                                                             $2,909.75
          CITY OF WINTER GREEN

7.11.     VENDOR                                                                                                              $448.50
          D M DISTRIBUTING CO INC

7.12.     UTILITY                                                                                                             $75.00
          EL PASO WATER

7.13.     UTILITY                                                                                                             $1,448.38
          EMERALD COAST

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7.       Deposits, including security deposits and utility deposits
         Description, including name of holder of deposit                                                 Current value of
                                                                                                          debtor’s interest

7.14.    UTILITY                                                                                          $1,640.63
         FLORDA PUBLIC

7.15.    UTILITY                                                                                          $1,401.64
         FLORIDA POWER AND LIGHT

7.16.    UTILITY                                                                                          $5,035.00
         FORT WORTH WATER

7.17.    VENDOR                                                                                           $20,000.00
         GARDA CREDIT AT SYSTEMS, INC

7.18.    UTILITY                                                                                          $150.00
         GWINNETT CO DEPT WTR RESOURCES

7.19.    UTILITY                                                                                          $1,530.00
         HILLSBOROUGH CO PUB UTILITY

7.20.    UTILITY                                                                                          $2,450.00
         KISSIMMEE UTIL

7.21.    VENDOR                                                                                           $5,000.00
         LIBERTY MUTUAL

7.22.    UTILITY                                                                                          $6,500.00
         LOS ANGELES

7.23.    VENDOR                                                                                           $1,000.00
         M & M DISTRIBUTING

7.24.    UTILITY                                                                                          $5,973.51
         ORANGE COUNTY

7.25.    RENT                                                                                             $7,042.00
         REGUS MANAGEMENT

7.26.    UTILITY                                                                                          $2,400.00
         SUMMIT ENERGY-LACLEDE GAS CO

7.27.    UTILITY                                                                                          $200.00
         TOWN OF CARY

7.28.    UTILITY                                                                                          $479.48
         TRUCKEE MEADOW

7.29.    VENDOR                                                                                           $500.00
         USS LEXINGTON PR

7.30.    VENDOR                                                                                           $58.50
         WANTZ DISTRIBUTORS INC - BEER




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Debtor   MAC ACQUISITION LLC                                                                  Case number (if known) 17-12224

8.       Prepayments, including prepayments on executory contracts, leases, insurance, taxes, and rent
         Description, including name of holder of prepayment                                             Current value of
                                                                                                         debtor’s interest
8.1.     CAM                                                                                             $2,102.15
         2199 NORTH RAINBOW BLVD HOLD
8.2.     RENT                                                                                            $8,333.33
         2199 NORTH RAINBOW BLVD HOLDINGS
8.3.     LIQUOR/BUSINESS/HEALTH LICENSE                                                                  $5,463.64
         ALCOHOL/BEV COMM. : ABC COMMISSION
8.4.     CAM                                                                                             $0.02
         AMERICAS GATEWAY PARK POA INC
8.5.     IT SUPPORT-SERVICE                                                                              $5,061.54
         APP TECHNOGIES
8.6.     LIQUOR/BUSINESS/HEALTH LICENSE                                                                  $1,550.97
         ARIZONIA DEPARTMENT OF LIQUOR
8.7.     LIQUOR/BUSINESS/HEALTH LICENSE                                                                  $1,144.23
         ARKANSAS ALCOHOL COMMISSION
8.8.     CAM                                                                                             $350.60
         BAYER RETAIL COMPANY LLC
8.9.     IT SUPPORT-SERVICE                                                                              $4,471.15
         BLACK BOX INTELLIGENCE
8.10.    IT SUPPORT-SERVICE                                                                              $36.48
         BRIARWOOD LLC-
8.11.    CAM                                                                                             $769.51
         BRINKER INTERNATIONAL INC
8.12.    IT SUPPORT-SERVICE                                                                              $27.15
         BRIXMOR OPER -
8.13.    CAM                                                                                             $529.36
         BRIXMOR OPER PTNSHIP LP
8.14.    IT SUPPORT-SERVICE                                                                              $12,187.20
         CDW
8.15.    ADVERTISING                                                                                     $28,587.79
         CHAS P YOUNG COMPANY
8.16.    MARKETING SUPPLIES AND PRINT                                                                    $121,775.49
         CHAS P YOUNG COMPANY
8.17.    RENT                                                                                            $283.00
         CHILDRESS KLEIN PROPERTIES
8.18.    INSURANCE                                                                                       $84,715.85
         CHUBB INSURANCE
8.19.    IT SUPPORT-SERVICE                                                                              $1,012.22
         CISCO


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Debtor   MAC ACQUISITION LLC                                                                  Case number (if known) 17-12224

8.       Prepayments, including prepayments on executory contracts, leases, insurance, taxes, and rent
         Description, including name of holder of prepayment                                             Current value of
                                                                                                         debtor’s interest
8.20.    LIQUOR/BUSINESS/HEALTH LICENSE                                                                  $354.09
         CITY MURRAY
8.21.    LIQUOR/BUSINESS/HEALTH LICENSE                                                                  $222.11
         CITY OF ALBUQUERQUE
8.22.    LIQUOR/BUSINESS/HEALTH LICENSE                                                                  $182.70
         CITY OF ALPHARETTA
8.23.    LIQUOR/BUSINESS/HEALTH LICENSE                                                                  $323.65
         CITY OF ANNAPOLIS
8.24.    LIQUOR/BUSINESS/HEALTH LICENSE                                                                  $354.33
         CITY OF AURORA
8.25.    LIQUOR/BUSINESS/HEALTH LICENSE                                                                  $838.43
         CITY OF AUSTIN - PUBLIC HEALTH
8.26.    LIQUOR/BUSINESS/HEALTH LICENSE                                                                  $1,232.32
         CITY OF BIRMINGHAM
8.27.    LIQUOR/BUSINESS/HEALTH LICENSE                                                                  $120.03
         CITY OF BOCA ROTAN
8.28.    LIQUOR/BUSINESS/HEALTH LICENSE                                                                  $288.88
         CITY OF CERRITOS BUSINESS LIC DVI
8.29.    LIQUOR/BUSINESS/HEALTH LICENSE                                                                  $170.05
         CITY OF CHULA VISTA
8.30.    LIQUOR/BUSINESS/HEALTH LICENSE                                                                  $483.20
         CITY OF COLUMBUS
8.31.    LIQUOR/BUSINESS/HEALTH LICENSE                                                                  $8.08
         CITY OF CORPUS CHRISTI
8.32.    LIQUOR/BUSINESS/HEALTH LICENSE                                                                  $413.46
         CITY OF DULLES
8.33.    LIQUOR/BUSINESS/HEALTH LICENSE                                                                  $150.00
         CITY OF EDISON- FOOD APPLICATION
8.34.    LIQUOR/BUSINESS/HEALTH LICENSE                                                                  $789.56
         CITY OF EL CERRITO
8.35.    LIQUOR/BUSINESS/HEALTH LICENSE                                                                  $244.77
         CITY OF ESCONDIDO
8.36.    LIQUOR/BUSINESS/HEALTH LICENSE                                                                  $420.51
         CITY OF FORT COLLINS
8.37.    LIQUOR/BUSINESS/HEALTH LICENSE                                                                  $252.31
         CITY OF FORT WORTH
8.38.    LIQUOR/BUSINESS/HEALTH LICENSE                                                                  $14.11
         CITY OF FRANKVILLE


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Debtor   MAC ACQUISITION LLC                                                                  Case number (if known) 17-12224

8.       Prepayments, including prepayments on executory contracts, leases, insurance, taxes, and rent
         Description, including name of holder of prepayment                                             Current value of
                                                                                                         debtor’s interest
8.39.    LIQUOR/BUSINESS/HEALTH LICENSE                                                                  $882.69
         CITY OF GREENVILLE
8.40.    LIQUOR/BUSINESS/HEALTH LICENSE                                                                  $1,956.88
         CITY OF HENDERSON
8.41.    LIQUOR/BUSINESS/HEALTH LICENSE                                                                  $1,313.98
         CITY OF HOUSTON
8.42.    LIQUOR/BUSINESS/HEALTH LICENSE                                                                  $2,173.77
         CITY OF HUNTSVILLE
8.43.    LIQUOR/BUSINESS/HEALTH LICENSE                                                                  $1,965.42
         CITY OF JEFFERSON
8.44.    LIQUOR/BUSINESS/HEALTH LICENSE                                                                  $490.38
         CITY OF LAKEWOOD REVENUE DIVISION
8.45.    LIQUOR/BUSINESS/HEALTH LICENSE                                                                  $311.46
         CITY OF LAS VEGAS
8.46.    LIQUOR/BUSINESS/HEALTH LICENSE                                                                  $139.98
         CITY OF LEWISVILLE
8.47.    LIQUOR/BUSINESS/HEALTH LICENSE                                                                  $1,411.44
         CITY OF LITTLE ROCK
8.48.    LIQUOR/BUSINESS/HEALTH LICENSE                                                                  $826.36
         CITY OF LOS ANGELES - BUSINESS TAX
8.49.    LIQUOR/BUSINESS/HEALTH LICENSE                                                                  $1,482.74
         CITY OF LYNNWOOD
8.50.    LIQUOR/BUSINESS/HEALTH LICENSE                                                                  $16.66
         CITY OF MANDEVILLE
8.51.    LIQUOR/BUSINESS/HEALTH LICENSE                                                                  $262.81
         CITY OF MEMPHIS - PERMITS OFFICE
8.52.    LIQUOR/BUSINESS/HEALTH LICENSE                                                                  $1,349.07
         CITY OF MOBILE
8.53.    LIQUOR/BUSINESS/HEALTH LICENSE                                                                  $78.43
         CITY OF MURFREESBORO
8.54.    LIQUOR/BUSINESS/HEALTH LICENSE                                                                  $15.09
         CITY OF OCEANSIDE
8.55.    LIQUOR/BUSINESS/HEALTH LICENSE                                                                  $237.86
         CITY OF OKLAHOMA CITY
8.56.    LIQUOR/BUSINESS/HEALTH LICENSE                                                                  $317.29
         CITY OF OVERLAND PARK
8.57.    LIQUOR/BUSINESS/HEALTH LICENSE                                                                  $64.34
         CITY OF PENSACOLA FLORIDA


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Debtor   MAC ACQUISITION LLC                                                                  Case number (if known) 17-12224

8.       Prepayments, including prepayments on executory contracts, leases, insurance, taxes, and rent
         Description, including name of holder of prepayment                                             Current value of
                                                                                                         debtor’s interest
8.58.    LIQUOR/BUSINESS/HEALTH LICENSE                                                                  $202.28
         CITY OF PLANO-
8.59.    LIQUOR/BUSINESS/HEALTH LICENSE                                                                  $498.74
         CITY OF RENO
8.60.    LIQUOR/BUSINESS/HEALTH LICENSE                                                                  $362.60
         CITY OF SAN ANTONIO
8.61.    LIQUOR/BUSINESS/HEALTH LICENSE                                                                  $2,185.59
         CITY OF SAVANNAH
8.62.    LIQUOR/BUSINESS/HEALTH LICENSE                                                                  $15.38
         CITY OF SCOTTSDALE
8.63.    LIQUOR/BUSINESS/HEALTH LICENSE                                                                  $131.42
         CITY OF SELMA - FOOD ESTABLISHMENT PERMIT
8.64.    LIQUOR/BUSINESS/HEALTH LICENSE                                                                  $2,904.94
         CITY OF SIMI VALLEY
8.65.    LIQUOR/BUSINESS/HEALTH LICENSE                                                                  $106.93
         CITY OF SOUTH PORTLAND
8.66.    LIQUOR/BUSINESS/HEALTH LICENSE                                                                  $241.22
         CITY OF SPRINGDALE
8.67.    LIQUOR/BUSINESS/HEALTH LICENSE                                                                  $250.77
         CITY OF STRONGSVILLE-HEALTH
8.68.    LIQUOR/BUSINESS/HEALTH LICENSE                                                                  $232.27
         CITY OF TEMECULA
8.69.    LIQUOR/BUSINESS/HEALTH LICENSE                                                                  $264.50
         CITY OF TIMMONIUM
8.70.    LIQUOR/BUSINESS/HEALTH LICENSE                                                                  $1,525.33
         CITY OF VENTURA
8.71.    LIQUOR/BUSINESS/HEALTH LICENSE                                                                  $1,130.30
         CITY OF VIRGINIA BEACH - BUSINESS LICENSE
8.72.    LIQUOR/BUSINESS/HEALTH LICENSE                                                                  $172.96
         CITY OF WELLINGTON
8.73.    LIQUOR/BUSINESS/HEALTH LICENSE                                                                  $115.38
         CITY OF WESTMINSTER
8.74.    LIQUOR/BUSINESS/HEALTH LICENSE                                                                  $32.04
         CITY OF WHEATON
8.75.    LIQUOR/BUSINESS/HEALTH LICENSE                                                                  $1,147.49
         COLORADO DEPT OF REVENUE
8.76.    LANDLORD PREPAID ADV CAM                                                                        $62.44
         COLUMBIA SC L-


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Debtor   MAC ACQUISITION LLC                                                                  Case number (if known) 17-12224

8.       Prepayments, including prepayments on executory contracts, leases, insurance, taxes, and rent
         Description, including name of holder of prepayment                                             Current value of
                                                                                                         debtor’s interest
8.77.    LIQUOR/BUSINESS/HEALTH LICENSE                                                                  $682.71
         CORPORATE SERVICE COMPANY
8.78.    LIQUOR/BUSINESS/HEALTH LICENSE                                                                  $173.08
         COUNTY OF ALEXANDRIA
8.79.    LIQUOR/BUSINESS/HEALTH LICENSE                                                                  $1,491.09
         COUNTY OF ANNE ARUNDEL
8.80.    LIQUOR/BUSINESS/HEALTH LICENSE                                                                  $3,163.47
         COUNTY OF BALTIMORE MARYLAND
8.81.    LIQUOR/BUSINESS/HEALTH LICENSE                                                                  $2,434.49
         COUNTY OF COBB
8.82.    LIQUOR/BUSINESS/HEALTH LICENSE                                                                  $303.42
         COUNTY OF COLLIN
8.83.    LIQUOR/BUSINESS/HEALTH LICENSE                                                                  $250.77
         COUNTY OF CUYAHOGA
8.84.    LIQUOR/BUSINESS/HEALTH LICENSE                                                                  $101.14
         COUNTY OF DALLAS
8.85.    LIQUOR/BUSINESS/HEALTH LICENSE                                                                  $101.14
         COUNTY OF DENTON
8.86.    LIQUOR/BUSINESS/HEALTH LICENSE                                                                  $484.08
         COUNTY OF DUPAGE
8.87.    LIQUOR/BUSINESS/HEALTH LICENSE                                                                  $303.95
         COUNTY OF EL PASO
8.88.    LIQUOR/BUSINESS/HEALTH LICENSE                                                                  $1,459.12
         COUNTY OF FAIRFAX
8.89.    LIQUOR/BUSINESS/HEALTH LICENSE                                                                  $1,192.30
         COUNTY OF FREDERICK
8.90.    LIQUOR/BUSINESS/HEALTH LICENSE                                                                  $180.55
         COUNTY OF FRESNO
8.91.    LIQUOR/BUSINESS/HEALTH LICENSE                                                                  $116.13
         COUNTY OF FULTON
8.92.    LIQUOR/BUSINESS/HEALTH LICENSE                                                                  $3,738.64
         COUNTY OF GWINNETT
8.93.    LIQUOR/BUSINESS/HEALTH LICENSE                                                                  $120.89
         COUNTY OF HARRIS
8.94.    LIQUOR/BUSINESS/HEALTH LICENSE                                                                  $53.92
         COUNTY OF JEFFERSON
8.95.    LIQUOR/BUSINESS/HEALTH LICENSE                                                                  $343.98
         COUNTY OF KENT


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Debtor   MAC ACQUISITION LLC                                                                  Case number (if known) 17-12224

8.       Prepayments, including prepayments on executory contracts, leases, insurance, taxes, and rent
         Description, including name of holder of prepayment                                             Current value of
                                                                                                         debtor’s interest
8.96.    LIQUOR/BUSINESS/HEALTH LICENSE                                                                  $487.50
         COUNTY OF KERN
8.97.    LIQUOR/BUSINESS/HEALTH LICENSE                                                                  $1,184.16
         COUNTY OF LOS ANGELES
8.98.    LIQUOR/BUSINESS/HEALTH LICENSE                                                                  $1,720.56
         COUNTY OF LOUDOUN
8.99.    LIQUOR/BUSINESS/HEALTH LICENSE                                                                  $357.69
         COUNTY OF MACOMB
8.100.   LIQUOR/BUSINESS/HEALTH LICENSE                                                                  $708.07
         COUNTY OF MARICOPA
8.101.   LIQUOR/BUSINESS/HEALTH LICENSE                                                                  $19.24
         COUNTY OF MIAMI DADE
8.102.   LIQUOR/BUSINESS/HEALTH LICENSE                                                                  $5.77
         COUNTY OF MOBILE
8.103.   LIQUOR/BUSINESS/HEALTH LICENSE                                                                  $120.85
         COUNTY OF NUECES
8.104.   LIQUOR/BUSINESS/HEALTH LICENSE                                                                  $1,380.00
         COUNTY OF ORANGE
8.105.   LIQUOR/BUSINESS/HEALTH LICENSE                                                                  $472.39
         COUNTY OF PLACER
8.106.   LIQUOR/BUSINESS/HEALTH LICENSE                                                                  $655.98
         COUNTY OF RIVERSIDE
8.107.   LIQUOR/BUSINESS/HEALTH LICENSE                                                                  $918.84
         COUNTY OF SACRAMENTO EMD
8.108.   LIQUOR/BUSINESS/HEALTH LICENSE                                                                  $65.60
         COUNTY OF SAN BERNADINO
8.109.   LIQUOR/BUSINESS/HEALTH LICENSE                                                                  $350.62
         COUNTY OF SAN DIEGO
8.110.   LIQUOR/BUSINESS/HEALTH LICENSE                                                                  $204.37
         COUNTY OF SANTA CLARA
8.111.   LIQUOR/BUSINESS/HEALTH LICENSE                                                                  $266.99
         COUNTY OF SUMMIT
8.112.   LIQUOR/BUSINESS/HEALTH LICENSE                                                                  $212.20
         COUNTY OF TARRANT
8.113.   LIQUOR/BUSINESS/HEALTH LICENSE                                                                  $379.93
         COUNTY OF TRAVIS
8.114.   LIQUOR/BUSINESS/HEALTH LICENSE                                                                  $675.44
         COUNTY OF WASHTENAW


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Debtor   MAC ACQUISITION LLC                                                                  Case number (if known) 17-12224

8.       Prepayments, including prepayments on executory contracts, leases, insurance, taxes, and rent
         Description, including name of holder of prepayment                                             Current value of
                                                                                                         debtor’s interest
8.115.   LIQUOR/BUSINESS/HEALTH LICENSE                                                                  $409.56
         COUNTY OF WAYNE
8.116.   LIQUOR/BUSINESS/HEALTH LICENSE                                                                  $101.14
         COUNTY OF WILLIAMSON
8.117.   LANDLORD PREPAID ADV CAM                                                                        $40.38
         DDR CORP DBA -
8.118.   CAM                                                                                             $838.71
         DDR CORP DBA DDR WINTER GARDEN
8.119.   LIQUOR/BUSINESS/HEALTH LICENSE                                                                  $17,599.73
         DEPART OF ALCOHOLIC BEVERAGE CONTROL
8.120.   CAM                                                                                             $23,191.66
         DULLES TOWN CENTER
8.121.   IT SUPPORT-SERVICE                                                                              $807.28
         EONE SOLUTION
8.122.   INSURANCE                                                                                       $9,113.44
         EVANSTON INSURANCE COMPANY
8.123.   MARKETING WRAPS ON AUTOS                                                                        $1,989.09
         FIAT
8.124.   LIQUOR/BUSINESS/HEALTH LICENSE                                                                  $5,149.25
         FL DBPR
8.125.   CAM                                                                                             $53.95
         GERRITY ATLANT RTL PTNRS INC
8.126.   CAM                                                                                             $49.00
         HARSCH INVESTMENT PROPERTIES
8.127.   STD                                                                                             $20,168.86
         HARTFORD
8.128.   CAM                                                                                             $12.47
         HINES GLOBAL REIT INC
8.129.   CAM                                                                                             $121.24
         ILLINOIS ST BRD OF INVEST
8.130.   INSURANCE                                                                                       $1,679.33
         IMPERIAL FIRE & CASUALTY INSURANCE COMPANY
8.131.   INSURANCE                                                                                       $647.85
         IMPERIAL FIRE & CASUALTY INSURANCE COMPANY
8.132.   RENT                                                                                            $2,148.61
         KENDALLGATE CENTER ASSOC LTD
8.133.   LIQUOR/BUSINESS/HEALTH LICENSE                                                                  $1,254.81
         KENTUCKY STATE TREASURER


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Debtor   MAC ACQUISITION LLC                                                                  Case number (if known) 17-12224

8.       Prepayments, including prepayments on executory contracts, leases, insurance, taxes, and rent
         Description, including name of holder of prepayment                                             Current value of
                                                                                                         debtor’s interest
8.134.   LANDLORD PREPAID ADV CAM                                                                        $38.46
         LAKE POINTE C-
8.135.   LIQUOR/BUSINESS/HEALTH LICENSE                                                                  $623.07
         LEWKOWITZ LAW OFFICE PLC
8.136.   INSURANCE                                                                                       $1,355.61
         LIBERTY MUTUAL
8.137.   INSURANCE                                                                                       $170,142.16
         LIBERTY MUTUAL
8.138.   INSURANCE                                                                                       $53,085.47
         LIBERTY MUTUAL
8.139.   INSURANCE                                                                                       $34,238.60
         LIBERTY MUTUAL
8.140.   INSURANCE                                                                                       $2,925.25
         LIBERTY MUTUAL
8.141.   INSURANCE                                                                                       $11,871.82
         LIBERTY MUTUAL
8.142.   WORK COMP                                                                                       $301,546.25
         LIBERTY MUTUAL
8.143.   INSURANCE                                                                                       $31,539.87
         LLOYDS OF LONDON
8.144.   IT SUPPORT-SERVICE                                                                              $85.14
         LOGMEIN
8.145.   IT SUPPORT-SERVICE                                                                              $15,236.12
         LUCERNEX
8.146.   CAM                                                                                             $711.47
         MALL AT BRIARWOOD, LLC
8.147.   CAM                                                                                             $189.11
         MEIJER, INC.
8.148.   LIQUOR/BUSINESS/HEALTH LICENSE                                                                  $2,116.36
         MICHIGAN LIQUOR CONTROL COMMISSION (MLCC)
8.149.   INSURANCE                                                                                       $24,059.08
         NATIONAL SURETY CORPORATION
8.150.   IT SUPPORT-SERVICE                                                                              $12,845.49
         NAVEX
8.151.   IT SUPPORT-SERVICE                                                                              $6,025.02
         NCR
8.152.   IT SUPPORT-SERVICE                                                                              $2,175.99
         NEGOTIUM


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Debtor   MAC ACQUISITION LLC                                                                  Case number (if known) 17-12224

8.       Prepayments, including prepayments on executory contracts, leases, insurance, taxes, and rent
         Description, including name of holder of prepayment                                             Current value of
                                                                                                         debtor’s interest
8.153.   LIQUOR/BUSINESS/HEALTH LICENSE                                                                  $2,342.48
         NEW JERSEY STATE LIQUOR
8.154.   LIQUOR/BUSINESS/HEALTH LICENSE                                                                  $708.99
         NEW MEXICO ALCOHOL/GAMING DIVISION
8.155.   LIQUOR/BUSINESS/HEALTH LICENSE                                                                  $1,214.26
         NY STATE LIQUOR AUTHORITY
8.156.   LIQUOR/BUSINESS/HEALTH LICENSE                                                                  $13,745.85
         OHIO DIVISION OF LIQUOR CONTROL
8.157.   LIQUOR/BUSINESS/HEALTH LICENSE                                                                  $375.84
         OKLAHOMA ABLE
8.158.   IT SUPPORT-SERVICE                                                                              $207.46
         PAPERVISION
8.159.   LIQUOR/BUSINESS/HEALTH LICENSE                                                                  $862.12
         PENNSYLVANIA LIQUOR CONTROL BOARD
8.160.   CAM                                                                                             $24.00
         PK II EL CAMINO NORTH LP
8.161.   CAM                                                                                             $12.47
         PRISA LHC LLC
8.162.   CAM                                                                                             $73.00
         PROMENADE SHOPPING CENTER LLC
8.163.   IT SUPPORT-SERVICE                                                                              $4,959.22
         QUALYS
8.164.   CAM                                                                                             $41.91
         RANCH TOWN CENTER LLC
8.165.   CAM                                                                                             $1,079.27
         REDLANDS JOINT VENTURE LLC
8.166.   CAM                                                                                             $37.54
         RIVER PARK PROPERTIES II
8.167.   LIQUOR/BUSINESS/HEALTH LICENSE                                                                  $542.50
         S PORTLAND LIQUOR LICENSES
8.168.   IT SUPPORT-SERVICE                                                                              $2,015.31
         SAGE
8.169.   LIQUOR/BUSINESS/HEALTH LICENSE                                                                  $182.84
         SC DEPT OF REVENUE
8.170.   LIQUOR/BUSINESS/HEALTH LICENSE                                                                  $3.22
         SECRETARY OF STATE OF MARYLAND
8.171.   LIQUOR/BUSINESS/HEALTH LICENSE                                                                  $3,159.96
         SOUTHERN NEVADA HEALTH


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Debtor   MAC ACQUISITION LLC                                                                  Case number (if known) 17-12224

8.       Prepayments, including prepayments on executory contracts, leases, insurance, taxes, and rent
         Description, including name of holder of prepayment                                             Current value of
                                                                                                         debtor’s interest
8.172.   LIQUOR/BUSINESS/HEALTH LICENSE                                                                  $471.50
         STATE OF ALABAMA
8.173.   SALES TAX                                                                                       $24,000.00
         STATE OF ALABAMA
8.174.   SALES TAX                                                                                       $105,000.00
         STATE OF FLORIDA
8.175.   SALES TAX                                                                                       $11,932.43
         STATE OF GEORGIA
8.176.   LIQUOR/BUSINESS/HEALTH LICENSE                                                                  $1,682.68
         STATE OF ILLINOIS
8.177.   SALES TAX                                                                                       $8,000.00
         STATE OF KANSAS
8.178.   LIQUOR/BUSINESS/HEALTH LICENSE                                                                  $955.14
         STATE OF NEW JERSEY
8.179.   LIQUOR/BUSINESS/HEALTH LICENSE                                                                  $25.41
         STATE OF NEW YORK
8.180.   SALES TAX                                                                                       $90,000.00
         STATE OF NORTH CAROLINA
8.181.   LIQUOR/BUSINESS/HEALTH LICENSE                                                                  $140.20
         STATE OF PENNSYLVANIA
8.182.   CAM                                                                                             $145.20
         SUPER LLC
8.183.   LIQUOR/BUSINESS/HEALTH LICENSE                                                                  $171.55
         TCI ACQUISITION - VALUATION SVC
8.184.   LIQUOR/BUSINESS/HEALTH LICENSE                                                                  $1,134.47
         TENNESSEE ALCOHOLIC BEVERAGE COMMISSION
8.185.   LIQUOR/BUSINESS/HEALTH LICENSE                                                                  $210.26
         TENNESSEE DEPARTMENT OF FINANCE
8.186.   LIQUOR/BUSINESS/HEALTH LICENSE                                                                  $7,294.21
         TEXAS ALCOHOL BOARD
8.187.   LIQUOR/BUSINESS/HEALTH LICENSE                                                                  $4,041.23
         TEXAS COMPTROLLER OF PUBLIC ACCOUNTS
8.188.   RENT                                                                                            $99,813.46
         THE HIRAOKA FAMILY TRUST
8.189.   LANDLORD PREPAID ADV CAM                                                                        $86.30
         THE WOODLANDS-
8.190.   CAM                                                                                             $1,700.92
         THE WOODLANDS COMMERCIAL PROPERTIES, LP


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Debtor      MAC ACQUISITION LLC                                                                    Case number (if known) 17-12224

8.         Prepayments, including prepayments on executory contracts, leases, insurance, taxes, and rent
           Description, including name of holder of prepayment                                               Current value of
                                                                                                             debtor’s interest
8.191.     CAM                                                                                               $100.61
           TIGRISWOODS LLC
8.192.     LIQUOR/BUSINESS/HEALTH LICENSE                                                                    $352.84
           TOWN OF ADDISON
8.193.     LIQUOR/BUSINESS/HEALTH LICENSE                                                                    $2,607.59
           TOWN OF BURLINGTON
8.194.     LIQUOR/BUSINESS/HEALTH LICENSE                                                                    $3,157.06
           TOWNSHIP OF EAST HANOVER
8.195.     LIQUOR/BUSINESS/HEALTH LICENSE                                                                    $1,914.75
           TOWNSHIP OF EDISON NEW JERSEY
8.196.     LIQUOR/BUSINESS/HEALTH LICENSE                                                                    $1,237.69
           TOWNSHIP OF MOUNT OLIVE
8.197.     LIQUOR/BUSINESS/HEALTH LICENSE                                                                    $2,030.13
           TOWNSHIP OF WAYNE
8.198.     LIQUOR/BUSINESS/HEALTH LICENSE                                                                    $1,028.84
           TREASURER OF FREDERICK COUNTY
8.199.     IT SUPPORT-SERVICE                                                                                $3,930.00
           TRINTECH
8.200.     CAM                                                                                               $259.99
           TUTTLE CROSSING OWNERS ASSOC
8.201.     HEALTH DEPT                                                                                       $4,651.20
           US DEPT OF HEALTH
8.202.     LIQUOR/BUSINESS/HEALTH LICENSE                                                                    $301.99
           UTAH DABC
8.203.     CAM                                                                                               $151.48
           VENTURA GATEWAY LLC
8.204.     LIQUOR/BUSINESS/HEALTH LICENSE                                                                    $1,688.41
           VIRGINIA DEPART OF ALCOHOLIC BEVERAGE CONTORL
8.205.     IT SUPPORT-SERVICE                                                                                $2,498.09
           VIRTEVA
8.206.     CAM                                                                                               $3,192.76
           WC ASSOCIATION
8.207.     RENT                                                                                              $1,273.70
           WEINGARTEN MILLER AURORA IILLC
8.208.     INSURANCE                                                                                         $47,026.07
           XL INSURANCE AMERICA INC

9.       Total of part 2
         Add lines 7 through 8. Copy the total to line 81.                                                      $1,655,163.73


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Debtor        MAC ACQUISITION LLC                                                                                 Case number (if known) 17-12224



    Part 3:      Accounts receivable

10.     Does the debtor have any accounts receivable?
        ¨ No. Go to Part 4.
        þ Yes. Fill in the information below.
                                                                                                                            Current value of
                                                                                                                            debtor’s interest

11.           Accounts receivable
                                  Face amount        Doubtful or uncollectible
                                                     accounts

11a.          90 days old or      $264,901.52      - $18,265.89                      = ........ →                           $246,635.63
              less:

11a.1         90 days old or      $1,710,004.44    - $0.00                           = ........ →                           $1,710,004.44
              less:

                                  Face amount        Doubtful or uncollectible
                                                     accounts

11b.          Over 90 days old:   $71,200.06       - $0.00                           = ........ →                           $71,200.06

11b.1         Over 90 days old:   $__________      - $_____________________          = ........ →                           $_______________

12.     Total of part 3
        Current value on lines 11a + 11b = line 12. Copy the total to line 82.                                                 $2,027,840.13


1
    CREDIT CARD RECEIVABLE




    Part 4:      Investments

13.     Does the debtor own any investments?
        ¨ No. Go to Part 5.
        þ Yes. Fill in the information below.
                                                                                                    Valuation method used   Current value of
                                                                                                    for current value       debtor’s interest

14.     Mutual funds or publicly traded stocks not included in Part 1
        Name of fund or stock

14.1. ___________________________________________________________________                           _____________________ $________________

15.       Non-publicly traded stock and interests in incorporated and unincorporated businesses,
          including any interest in an LLC, partnership, or joint venture
          Name of entity                                                         % of ownership
15.1.     MAC ACQUISITION OF ANNE ARUNDEL COUNTY LLC                             100.00%            _____________________ UNDETERMINED
          1855 BLAKE ST.
          STE 200
          DENVER CO 80202
15.2.     MAC ACQUISITION OF BALTIMORE COUNTY LLC                                100.00%            _____________________ UNDETERMINED
          1855 BLAKE ST.
          STE 200
          DENVER CO 80202



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Debtor     MAC ACQUISITION LLC                                                                          Case number (if known) 17-12224

15.3.     MAC ACQUISITION OF FREDERICK COUNTY LLC                             100.00%     _____________________ UNDETERMINED
          1855 BLAKE ST.
          STE 200
          DENVER CO 80202
15.4.     MAC ACQUISITION OF KANSAS LLC                                       100.00%     _____________________ UNDETERMINED
          1855 BLAKE ST.
          STE 200
          DENVER CO 80202
15.5.     MAC ACQUISITION OF NEW JERSEY LLC                                   100.00%     _____________________ UNDETERMINED
          1855 BLAKE ST.
          STE 200
          DENVER CO 80202
15.6.     RMG DEVELOPMENT LLC                                                 100.00%     _____________________ UNDETERMINED
          1855 BLAKE ST.
          STE 200
          DENVER CO 80202

16.       Government bonds, corporate bonds, and other negotiable and non-negotiable
          instruments not included in Part 1
          Describe
16.1.     __________________________________________________________________              _____________________ $_______________

17.     Total of part 4
        Add lines 14 through 16. Copy the total to line 83.                                                        UNDETERMINED



 Part 5:      Inventory, excluding agriculture assets

18.     Does the debtor own any inventory (excluding agriculture assets)?
        ¨ No. Go to Part 6.
        þ Yes. Fill in the information below.
        General description              Date of the last physical   Net book value of    Valuation method used   Current value of
                                         inventory                   debtor's interest    for current value       debtor’s interest
                                                                     (Where available)
19.     Raw materials
19.1. ________________________           _____________________ $___________________       _____________________ $________________

20.       Work in progress
20.1.     ________________________ _____________________ $___________________             _____________________ $_______________

21.       Finished goods, including goods held for resale
21.1.     ________________________ _____________________ $___________________             _____________________ $_______________

22.       Other inventory or supplies
          General description              Date of the last physical Net book value of    Valuation method used   Current value of
                                           inventory                 debtor's interest    for current value       debtor’s interest
22.1.     FOOD                             10/17/2017                 $1,076,900.10       COST                    $1,076,900.10
22.2.     NON-ALCOHOLIC                    10/17/2017                 $89,799.92          COST                    $89,799.92
          BEVERAGE
22.3.     BEVERAGE                         10/17/2017                 $517,612.30         COST                    $517,612.30

23.     Total of part 5
        Add lines 19 through 22. Copy the total to line 84.                                                          $1,684,312.32




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Debtor     MAC ACQUISITION LLC                                                                             Case number (if known) 17-12224

24.     Is any of the property listed in Part 5 perishable?
        ¨ No
        þ Yes
25.     Has any of the property listed in Part 5 been purchased within 20 days before the bankruptcy was filed?
        ¨ No
        þ Yes Book value: $1,684,312.32 Valuation method: COST Current value: $1,684,312.32
26.     Has any of the property listed in Part 5 been appraised by a professional within the last year?
        þ No
        ¨ Yes

 Part 6:      Farming and fishing-related assets (other than titled motor vehicles and land)

27.     Does the debtor own or lease any farming and fishing-related assets (other than titled motor vehicles and land)?
        þ No. Go to Part 7.
        ¨ Yes. Fill in the information below.
        General description                                                 Net book value of   Valuation method    Current value of
                                                                            debtor's interest   used for current    debtor’s interest
                                                                            (Where available)   value

28.     Crops—either planted or harvested
28.1. ____________________________________________________                  $________________   __________________ $________________

29.       Farm animals. Examples: Livestock, poultry, farm-raised fish
29.1.     ___________________________________________________               $_______________    _________________   $_______________

30.       Farm machinery and equipment (Other than titled motor vehicles)
30.1.     ___________________________________________________               $_______________    _________________   $_______________

31.       Farm and fishing supplies, chemicals, and feed
31.1.     ___________________________________________________               $_______________    _________________   $_______________

32.       Other farming and fishing-related property not already listed in Part 6
32.1.     ___________________________________________________               $_______________    _________________   $_______________

33.     Total of part 6
        Add lines 28 through 32. Copy the total to line 85.                                                                $0.00

34.     Is the debtor a member of an agricultural cooperative?
        ¨ No
        ¨ Yes. Is any of the debtor’s property stored at the cooperative?
         ¨ No
         ¨ Yes
35.     Has any of the property listed in Part 6 been purchased within 20 days before the bankruptcy was filed?
        ¨ No
        ¨ Yes Book value: $______________ Valuation method: ____________________ Current value: $_____________
36.     Is a depreciation schedule available for any of the property listed in Part 6?
        ¨ No
        ¨ Yes


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Debtor        MAC ACQUISITION LLC                                                                           Case number (if known) 17-12224

37.     Has any of the property listed in Part 6 been appraised by a professional within the last year?
        ¨ No
        ¨ Yes

    Part 7:     Office furniture, fixtures, and equipment; and collectibles

38.     Does the debtor own or lease any office furniture, fixtures, equipment, or collectibles?
        ¨ No. Go to Part 8.
        þ Yes. Fill in the information below.
          General description                                                Net book value of    Valuation method   Current value of
                                                                             debtor's interest    used for current   debtor’s interest
                                                                             (Where available)    value

39.       Office furniture
39.1.     OWNED1                                                             $19,454.34           LOWER OF COST      $19,454.34
                                                                                                  OR MARKET


1
    LOCATED AT CORPORATE OFFICE



40.           Office fixtures
40.1.         ___________________________________________________             $_______________    _________________ $_______________

41.           Office equipment, including all computer equipment and
              communication systems equipment and software

                                                                              Net book value of   Valuation method    Current value of
                                                                              debtor's interest   used for current    debtor’s interest
                                                                                                  value

41.1.         OWNED1                                                          $1,042,311.67       LOWER OF COST       $1,042,311.67
                                                                                                  OR MARKET

41.2.         OWNED1                                                          $401,963.37         LOWER OF COST       $401,963.37
                                                                                                  OR MARKET

41.3.         LEASED1                                                         $158,156.77         LOWER OF COST       $158,156.77
                                                                                                  OR MARKET


1
    LOCATED AT CORPORATE OFFICE



42.           Collectibles. Examples: Antiques and figurines; paintings, prints, or other
              artwork; books, pictures, or other art objects; china and crystal; stamp, coin,
              or baseball card collections; other collections, memorabilia, or collectibles
42.1.         ___________________________________________________             $_______________    _________________ $_______________

43.     Total of part 7
        Add lines 39 through 42. Copy the total to line 86.                                                              $1,621,886.15

44.     Is a depreciation schedule available for any of the property listed in Part 7?
        ¨ No
        þ Yes
45.     Has any of the property listed in Part 7 been appraised by a professional within the last year?
        þ No
        ¨ Yes
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Debtor        MAC ACQUISITION LLC                                                                             Case number (if known) 17-12224



    Part 8:    Machinery, equipment, and vehicles

46.     Does the debtor own or lease any machinery, equipment, or vehicles?
        ¨ No. Go to Part 9.
        þ Yes. Fill in the information below.
          General description                                                 Net book value of   Valuation method     Current value of
          Include year, make, model, and identification numbers (i.e., VIN,   debtor's interest   used for current     debtor’s interest
          HIN, or N-number)                                                   (Where available)   value
                                                                              (Where available)
47.       Automobiles, vans, trucks, motorcycles, trailers, and titled farm vehicles
47.1.     2006 FORDX E-150 RWD CA 1FTRE14W86HB20734                           $0.00               Kelley Blue Book     $5,738.00

47.2.     2006 FORDX E-150 RWD CA 1FTRE14W96HB39728                           $0.00               Kelley Blue Book     $5,738.00

47.3.     2007 FORDX E-150 RWD CA 1FTNE14W17DA28484                           $0.00               Kelley Blue Book     $5,626.00

47.4.     2007 FORDX E-150 RWD CA 1FTNE14W67DB21808                           $0.00               Kelley Blue Book     $5,626.00

47.5.     2007 FORDX E-150 RWD CA 1FTNE14W07DB44100                           $0.00               Kelley Blue Book     $5,626.00

47.6.     2007 FORDX E-150 RWD CA 1FTNE14W47DA92681                           $0.00               Kelley Blue Book     $5,626.00

47.7.     2007 FORDX E-150 RWD CA 1FTNE14W57DA67224                           $0.00               Kelley Blue Book     $5,626.00

47.8.     2007 FORDX E-150 RWD CA 1FTNE14W97DB03562                           $0.00               Kelley Blue Book     $5,626.00

47.9.     2008 FORDX E-150 RWD CA 1FTNE14W28DA91501                           $0.00               Kelley Blue Book     $7,960.00

47.10. 2008 FORDX E-150 RWD CA 1FTNE14W58DA28683                              $0.00               Kelley Blue Book     $7,960.00

47.11. 2010 FORD E-150 VAN 1FTNE1EW6ADA15879                                  $0.00               OPERATING LEASE      $0.00

47.12. 2010 FORD E-150 VAN 1FTNE1EWXADA09874                                  $0.00               OPERATING LEASE      $0.00

47.13. 2016 FIAT 500 L EASY ZFBCFABHXGZ038235                                 $0.00               OPERATING LEASE      $0.00

47.14. 2016 FIAT 500 L EASY ZFBCFABH2GZ038469                                 $0.00               OPERATING LEASE      $0.00

47.15. 2016 FIAT 500 L EASY ZFBCFABH5GZ038496                                 $0.00               OPERATING LEASE      $0.00

47.16. 2016 FIAT 500 L EASY ZFBCFABH0GZ038227                                 $0.00               OPERATING LEASE      $0.00

48.       Watercraft, trailers, motors, and related accessories. Examples: Boats,
          trailers, motors, floating homes, personal watercraft, and fishing vessels
48.1.     ___________________________________________________                 $_______________    _________________    $_______________

49.       Aircraft and accessories
49.1.     ___________________________________________________                 $_______________    _________________    $_______________

50.       Other machinery, fixtures, and equipment (excluding farm machinery and equipment)
50.1.     RESTAURANT EQUIPMENT1                                               $2,932,772.00       Lower of Cost or     $2,932,772.00
                                                                                                  Market
50.2.     EQUIPMENT - HVAC1                                                   $365,383.99         Lower of Cost or     $365,383.99
                                                                                                  Market
50.3.     WALKIN COOLERS/FREEZERS1                                            $738,930.05         Lower of Cost or     $738,930.05
                                                                                                  Market
50.4.     BEER SYSTEMS1                                                       $115.64             Lower of Cost or     $115.64
                                                                                                  Market


1
    LOCATED AT RESTAURANTS



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Debtor     MAC ACQUISITION LLC                                                                                 Case number (if known) 17-12224

51.     Total of part 8
        Add lines 47 through 50. Copy the total to line 87.                                                                 $4,098,353.68

52.     Is a depreciation schedule available for any of the property listed in Part 8?
        ¨ No
        þ Yes
53.     Has any of the property listed in Part 8 been appraised by a professional within the last year?
        þ No
        ¨ Yes

 Part 9:      Real property

54.     Does the debtor own or lease any real property?
        ¨ No. Go to Part 10.
        þ Yes. Fill in the information below.
           Description and location of property                  Nature and          Net book value      Valuation          Current value of
           Include street address or other description such as   extent of           of debtor's         method used for    debtor’s interest
           Assessor Parcel Number (APN), and type of property    debtor’s interest   interest            current value
           (for example, acreage, factory, warehouse,            in property         (Where available)
           apartment or office building), if available.
55.        Any building, other improved real estate, or land which the debtor owns or in which the debtor has an interest
55.1.      DOOR - BACK DOOR                                      LEASED              $2,380.01           Lower of Cost or   $2,380.01
                                                                                                         Market
           LEASEHOLD IMPROVEMENTS
           STORE NO. 31033
           25001 COUNTRY CLUB BLVD.
           NORTH OLMSTED OH 44070

55.2.      DOOR - MECH ROOM EXT DOOR                             LEASED              $2,654.21           Lower of Cost or   $2,654.21
                                                                                                         Market
           LEASEHOLD IMPROVEMENTS
           STORE NO. 31229
           7205 N CENTRAL EXPY
           PLANO TX 75025

55.3.      DOOR - BACK SECURITY DOOR                             LEASED              $2,667.48           Lower of Cost or   $2,667.48
                                                                                                         Market
           LEASEHOLD IMPROVEMENTS
           STORE NO. 31132
           8700 NW 18TH TERRACE
           DORAL FL 33172

55.4.      LHI - OVIEDO                                          LEASED              $4,302.56           Lower of Cost or   $4,302.56
                                                                                                         Market
           LEASEHOLD IMPROVEMENTS
           STORE NO. 31345
           7123 RED BUG LAKE RD.
           OVIEDO FL 32765

55.5.      LHI - HENDERSON                                       LEASED              $5,342.23           Lower of Cost or   $5,342.23
                                                                                                         Market
           LEASEHOLD IMPROVEMENTS
           STORE NO. 31156
           573 N STEPHANIE ST.
           HENDERSON NV 89014




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         Description and location of property                  Nature and          Net book value      Valuation          Current value of
         Include street address or other description such as   extent of           of debtor's         method used for    debtor’s interest
         Assessor Parcel Number (APN), and type of property    debtor’s interest   interest            current value
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         apartment or office building), if available.
55.      Any building, other improved real estate, or land which the debtor owns or in which the debtor has an interest
55.6.    LHI - SEAL BEACH                                      LEASED              $6,672.55           Lower of Cost or   $6,672.55
                                                                                                       Market
         LEASEHOLD IMPROVEMENTS
         STORE NO. 31255
         12380 SEAL BEACH BLVD.
         SEAL BEACH CA 90740

55.7.    SEWAGE LIFT STATION                                   LEASED              $7,049.56           Lower of Cost or   $7,049.56
                                                                                                       Market
         LEASEHOLD IMPROVEMENTS
         STORE NO. 31081
         12148 S APOPKA VINELAND RD.
         ORLANDO FL 32836

55.8.    LHI - ARLINGTON                                       LEASED              $9,824.81           Lower of Cost or   $9,824.81
                                                                                                       Market
         LEASEHOLD IMPROVEMENTS
         STORE NO. 31037
         1670 W INTERSTATE 20
         ARLINGTON TX 76017

55.9.    LHI - LITTLE ROCK                                     LEASED              $9,824.81           Lower of Cost or   $9,824.81
                                                                                                       Market
         LEASEHOLD IMPROVEMENTS
         STORE NO. 31050
         11100 W MARKHAM ST.
         LITTLE ROCK AR 72211

55.10.   LHI - LIVONIA                                         LEASED              $9,824.81           Lower of Cost or   $9,824.81
                                                                                                       Market
         LEASEHOLD IMPROVEMENTS
         STORE NO. 31053
         39300 7 MILE RD.
         LIVONIA MI 48152

55.11.   LHI - PLANO                                           LEASED              $9,824.81           Lower of Cost or   $9,824.81
                                                                                                       Market
         LEASEHOLD IMPROVEMENTS
         STORE NO. 31045
         5005 W PARK BLVD.
         PLANO TX 75093

55.12.   PLUMBING - UNDERGROUND IN BLG                         LEASED              $15,925.41          Lower of Cost or   $15,925.41
                                                                                                       Market
         LEASEHOLD IMPROVEMENTS
         STORE NO. 31185
         14331 HALL RD.
         SHELBY TOWNSHIP MI 48315

55.13.   LHI - EL CERRITO                                      LEASED              $16,167.85          Lower of Cost or   $16,167.85
                                                                                                       Market
         LEASEHOLD IMPROVEMENTS
         STORE NO. 31347
         8000 EL CERRITO BLVD.
         EL CERRITO CA 94530




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         Description and location of property                  Nature and          Net book value      Valuation          Current value of
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55.14.   LHI - NORTHRIDGE                                      LEASED              $16,675.58          Lower of Cost or   $16,675.58
                                                                                                       Market
         LEASEHOLD IMPROVEMENTS
         STORE NO. 31203
         19400 PLUMMER ST.
         NORTHRIDGE CA 91324

55.15.   LHI - OTAY RANCH                                      LEASED              $22,779.20          Lower of Cost or   $22,779.20
                                                                                                       Market
         LEASEHOLD IMPROVEMENTS
         STORE NO. 31339
         2015 BIRCH RD. SUITE 2500
         CHULA VISTA CA 91915

55.16.   LHI - ALBUQUERQUE                                     LEASED              $29,607.95          Lower of Cost or   $29,607.95
                                                                                                       Market
         LEASEHOLD IMPROVEMENTS
         STORE NO. 31029
         2100 LOUISIANA BLVD. NE
         ALBUQUERQUE NM 87110

55.17.   LHI - TO GO ENTRY WALL                                LEASED              $20,634.42          Lower of Cost or   $20,634.42
                                                                                                       Market
         LEASEHOLD IMPROVEMENTS
         STORE NO. 31342
         2535 MEDICAL CENTER PKWY.
         MURFREESBORO TN 37129

55.18.   LHI - CORONA                                          LEASED              $62,728.16          Lower of Cost or   $62,728.16
                                                                                                       Market
         LEASEHOLD IMPROVEMENTS
         STORE NO. 31294
         3591 GRAND OAKS
         CORONA CA 92881

55.19.   LHI - ALDERWOOD                                       LEASED              $66,152.77          Lower of Cost or   $66,152.77
                                                                                                       Market
         LEASEHOLD IMPROVEMENTS
         STORE NO. 31349
         3000 184TH ST. SW #922
         ALDERWOOD WA 98037

55.20.   LHI - FRESNO                                          LEASED              $79,723.78          Lower of Cost or   $79,723.78
                                                                                                       Market
         LEASEHOLD IMPROVEMENTS
         STORE NO. 31161
         7650 N BLACKSTONE AVE.
         FRESNO CA 93720

55.21.   LHI - NORTH TUCSON                                    LEASED              $80,908.77          Lower of Cost or   $80,908.77
                                                                                                       Market
         LEASEHOLD IMPROVEMENTS
         STORE NO. 31301
         2265 W INA RD.
         TUCSON AZ 85741




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55.22.   LHI - CEDAR HILL                                      LEASED              $93,928.16          Lower of Cost or   $93,928.16
                                                                                                       Market
         LEASEHOLD IMPROVEMENTS
         STORE NO. 31212
         388 N HIGHWAY 67
         CEDAR HILL TX 75104

55.23.   LHI - TRIANGLE TOWN CENTER                            LEASED              $97,294.58          Lower of Cost or   $97,294.58
                                                                                                       Market
         LEASEHOLD IMPROVEMENTS
         STORE NO. 31273
         3421 SUMNER BLVD.
         RALEIGH NC 27616

55.24.   LHI - NORTH AURORA                                    LEASED              $100,457.58         Lower of Cost or   $100,457.58
                                                                                                       Market
         LEASEHOLD IMPROVEMENTS
         STORE NO. 31296
         14241 E ALAMEDA AVE.
         AURORA CO 80012

55.25.   LHI - WINTER GARDEN                                   LEASED              $117,543.94         Lower of Cost or   $117,543.94
                                                                                                       Market
         LEASEHOLD IMPROVEMENTS
         STORE NO. 31340
         3143 DANIELS RD.
         WINTER GARDEN FL 34787

55.26.   LHI - STOCKTON                                        LEASED              $115,079.67         Lower of Cost or   $115,079.67
                                                                                                       Market
         LEASEHOLD IMPROVEMENTS
         STORE NO. 31287
         5420 PACIFIC AVE.
         STOCKTON CA 95207

55.27.   LHI - KENDALL                                         LEASED              $136,329.88         Lower of Cost or   $136,329.88
                                                                                                       Market
         LEASEHOLD IMPROVEMENTS
         STORE NO. 31003
         12100 SW 88TH ST.
         MIAMI FL 33186

55.28.   LHI - CARY                                            LEASED              $137,362.82         Lower of Cost or   $137,362.82
                                                                                                       Market
         LEASEHOLD IMPROVEMENTS
         STORE NO. 31115
         740 SE MAYNARD RD.
         CARY NC 27511

55.29.   LHI - ANNAPOLIS                                       LEASED              $144,269.69         Lower of Cost or   $144,269.69
                                                                                                       Market
         LEASEHOLD IMPROVEMENTS
         STORE NO. 31089
         178 JENNIFER RD.
         ANNAPOLIS MD 21401




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55.30.   LHI - SAHARA                                          LEASED              $153,691.39         Lower of Cost or   $153,691.39
                                                                                                       Market
         LEASEHOLD IMPROVEMENTS
         STORE NO. 31072
         2400 W SAHARA AVE.
         LAS VEGAS NV 89102

55.31.   LHI - TEMECULA                                        LEASED              $156,120.86         Lower of Cost or   $156,120.86
                                                                                                       Market
         LEASEHOLD IMPROVEMENTS
         STORE NO. 31251
         41221 MARGARITA RD.
         TEMECULA CA 92591

55.32.   LHI - SIMI VALLEY                                     LEASED              $164,121.12         Lower of Cost or   $164,121.12
                                                                                                       Market
         LEASEHOLD IMPROVEMENTS
         STORE NO. 31307
         2920 TAPO CANYON RD.
         SIMI VALLEY CA 93063

55.33.   LHI - HUNTINGTON BEACH                                LEASED              $165,972.08         Lower of Cost or   $165,972.08
                                                                                                       Market
         LEASEHOLD IMPROVEMENTS
         STORE NO. 31120
         7901 EDINGER AVE.
         HUNTINGTON BEACH CA 92647

55.34.   LHI - DEER VALLEY                                     LEASED              $176,626.89         Lower of Cost or   $176,626.89
                                                                                                       Market
         LEASEHOLD IMPROVEMENTS
         STORE NO. 31178
         2949 W AGUA FRIA FWY.
         PHOENIX AZ 85027

55.35.   LHI - TYRONE SQUARE                                   LEASED              $178,188.04         Lower of Cost or   $178,188.04
                                                                                                       Market
         LEASEHOLD IMPROVEMENTS
         STORE NO. 31238
         2302 TYRONE BLVD. N
         ST. PETERSBURG FL 33710

55.36.   LHI - OXFORD VALLEY                                   LEASED              $184,791.65         Lower of Cost or   $184,791.65
                                                                                                       Market
         LEASEHOLD IMPROVEMENTS
         STORE NO. 31116
         640 COMMERCE BLVD.
         FAIRLESS HILLS PA 19030

55.37.   LHI - CORPUS CHRISTI                                  LEASED              $185,382.77         Lower of Cost or   $185,382.77
                                                                                                       Market
         LEASEHOLD IMPROVEMENTS
         STORE NO. 31131
         5133 S PADRE ISLAND DR.
         CORPUS CHRISTI TX 78411




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         Description and location of property                  Nature and          Net book value      Valuation          Current value of
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55.38.   LHI - E. EL PASO                                      LEASED              $188,698.02         Lower of Cost or   $188,698.02
                                                                                                       Market
         LEASEHOLD IMPROVEMENTS
         STORE NO. 31268
         11885 GATEWAY BLVD. W
         EL PASO TX 79936

55.39.   LHI - TUSTIN                                          LEASED              $198,987.61         Lower of Cost or   $198,987.61
                                                                                                       Market
         LEASEHOLD IMPROVEMENTS
         STORE NO. 31148
         13652 JAMBOREE RD.
         IRVINE CA 92602

55.40.   LHI - ANAHEIM HILLS                                   LEASED              $203,079.16         Lower of Cost or   $203,079.16
                                                                                                       Market
         LEASEHOLD IMPROVEMENTS
         STORE NO. 31257
         8150 E SANTA ANA CANYON RD.
         ANAHEIM CA 92808

55.41.   LHI - OPRY MILLS                                      LEASED              $210,232.57         Lower of Cost or   $210,232.57
                                                                                                       Market
         LEASEHOLD IMPROVEMENTS
         STORE NO. 31280
         517 OPRY MILLS DR.
         NASHVILLE TN 37214

55.42.   LHI - FRISCO                                          LEASED              $217,783.69         Lower of Cost or   $217,783.69
                                                                                                       Market
         LEASEHOLD IMPROVEMENTS
         STORE NO. 31234
         3111 PRESTON RD.
         FRISCO TX 75034

55.43.   LHI - OCEANSIDE                                       LEASED              $224,473.37         Lower of Cost or   $224,473.37
                                                                                                       Market
         LEASEHOLD IMPROVEMENTS
         STORE NO. 31283
         2655 VISTA WAY
         OCEANSIDE CA 92054

55.44.   LHI - VIRGINIA BEACH                                  LEASED              $232,232.44         Lower of Cost or   $232,232.44
                                                                                                       Market
         LEASEHOLD IMPROVEMENTS
         STORE NO. 31300
         4574 VIRGINIA BEACH BLVD.
         VIRGINIA BEACH VA 23462

55.45.   LHI - FASHION PLACE                                   LEASED              $237,874.43         Lower of Cost or   $237,874.43
                                                                                                       Market
         LEASEHOLD IMPROVEMENTS
         STORE NO. 31182
         102 E WINCHESTER ST.
         SALT LAKE CITY UT 84107




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55.46.   LHI - ROUNDROCK                                       LEASED              $241,804.66         Lower of Cost or   $241,804.66
                                                                                                       Market
         LEASEHOLD IMPROVEMENTS
         STORE NO. 31176
         2501 S IH 35
         ROUND ROCK TX 78664

55.47.   LHI - ANN ARBOR                                       LEASED              $253,860.93         Lower of Cost or   $253,860.93
                                                                                                       Market
         LEASEHOLD IMPROVEMENTS
         STORE NO. 31141
         3010 S STATE ST.
         ANN ARBOR MI 48108

55.48.   LHI - RENO                                            LEASED              $255,164.11         Lower of Cost or   $255,164.11
                                                                                                       Market
         LEASEHOLD IMPROVEMENTS
         STORE NO. 31184
         5505 S VIRGINIA ST.
         RENO NV 89502

55.49.   LHI - STRONGVILLE                                     LEASED              $251,265.28         Lower of Cost or   $251,265.28
                                                                                                       Market
         LEASEHOLD IMPROVEMENTS
         STORE NO. 31109
         17095 SOUTHPARK CTR.
         STRONGSVILLE OH 44136

55.50.   LHI - HENRIETTA                                       LEASED              $260,630.08         Lower of Cost or   $260,630.08
                                                                                                       Market
         LEASEHOLD IMPROVEMENTS
         STORE NO. 31112
         760 JEFFERSON RD.
         ROCHESTER NY 14623

55.51.   LHI - BIRMINGHAM                                      LEASED              $259,463.57         Lower of Cost or   $259,463.57
                                                                                                       Market
         LEASEHOLD IMPROVEMENTS
         STORE NO. 31174
         241 SUMMIT BLVD.
         VESTAVIA AL 35243

55.52.   LHI - CARROLLWOOD                                     LEASED              $263,791.84         Lower of Cost or   $263,791.84
                                                                                                       Market
         LEASEHOLD IMPROVEMENTS
         STORE NO. 31039
         14904 N DALE MABRY HWY.
         TAMPA FL 33618

55.53.   LHI - ROSEVILLE                                       LEASED              $273,422.73         Lower of Cost or   $273,422.73
                                                                                                       Market
         LEASEHOLD IMPROVEMENTS
         STORE NO. 31078
         2010 DOUGLAS BLVD.
         ROSEVILLE CA 95661




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55.54.   LHI - S. PORTLAND                                     LEASED              $275,158.74         Lower of Cost or   $275,158.74
                                                                                                       Market
         LEASEHOLD IMPROVEMENTS
         STORE NO. 31127
         415 PHILBROOK AVE. SUITE 100
         SOUTH PORTLAND ME 04106

55.55.   LHI - WOODLANDS                                       LEASED              $273,885.59         Lower of Cost or   $273,885.59
                                                                                                       Market
         LEASEHOLD IMPROVEMENTS
         STORE NO. 31088
         1155 LAKE WOODLANDS DR.
         SPRING TX 77380

55.56.   PROJECT MANAGEMENT-MCWHINNEY                          LEASED              $26,163.80          Lower of Cost or   $26,163.80
                                                                                                       Market
         LEASEHOLD IMPROVEMENTS
         STORE NO. 90901
         1883 BLAKE STREET
         STE 228
         DENVER CO 80202

55.57.   LHI - WINWARD PARKWAY                                 LEASED              $279,325.17         Lower of Cost or   $279,325.17
                                                                                                       Market
         LEASEHOLD IMPROVEMENTS
         STORE NO. 31289
         5045 WINDWARD PKWY.
         ALPHARETTA GA 30004

55.58.   LHI - LOUISVILLE                                      LEASED              $272,017.91         Lower of Cost or   $272,017.91
                                                                                                       Market
         LEASEHOLD IMPROVEMENTS
         STORE NO. 31015
         401 S HURSTBOURNE PKWY.
         LOUISVILLE KY 40222

55.59.   LHI - UNIVERSITY                                      LEASED              $282,686.89         Lower of Cost or   $282,686.89
                                                                                                       Market
         LEASEHOLD IMPROVEMENTS
         STORE NO. 31067
         1505 S UNIVERSITY DR.
         FORT WORTH TX 76107

55.60.   LHI - CHURCH RANCH                                    LEASED              $292,052.64         Lower of Cost or   $292,052.64
                                                                                                       Market
         LEASEHOLD IMPROVEMENTS
         STORE NO. 31314
         10411 TOWN CENTER DR.
         BROOMFIELD CO 80021

55.61.   LHI - PUENTE HILLS                                    LEASED              $294,186.91         Lower of Cost or   $294,186.91
                                                                                                       Market
         LEASEHOLD IMPROVEMENTS
         STORE NO. 31302
         17603 COLIMA RD.
         CITY OF INDUSTRY CA 91748




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55.62.   LHI - CERRITOS                                        LEASED              $294,919.53         Lower of Cost or   $294,919.53
                                                                                                       Market
         LEASEHOLD IMPROVEMENTS
         STORE NO. 31197
         12875 TOWNE CENTER DR.
         CERRITOS CA 90703

55.63.   LHI - SUMMERLIN                                       LEASED              $302,810.42         Lower of Cost or   $302,810.42
                                                                                                       Market
         LEASEHOLD IMPROVEMENTS
         STORE NO. 31151
         2001 N RAINBOW BLVD.
         LAS VEGAS NV 89108

55.64.   LHI - COLONIE                                         LEASED              $305,538.97         Lower of Cost or   $305,538.97
                                                                                                       Market
         LEASEHOLD IMPROVEMENTS
         STORE NO. 31165
         1 METRO PARK RD.
         ALBANY NY 12205

55.65.   LHI - BAKERSFIELD                                     LEASED              $299,762.68         Lower of Cost or   $299,762.68
                                                                                                       Market
         LEASEHOLD IMPROVEMENTS
         STORE NO. 31286
         8850 ROSEDALE HWY.
         BAKERSFIELD CA 93312

55.66.   LHI - MALL OF GEORGIA                                 LEASED              $314,038.06         Lower of Cost or   $314,038.06
                                                                                                       Market
         LEASEHOLD IMPROVEMENTS
         STORE NO. 31216
         3207 BUFORD DR.
         BUFORD GA 30519

55.67.   LHI - NORTH COUNTY FAIR                               LEASED              $319,513.10         Lower of Cost or   $319,513.10
                                                                                                       Market
         LEASEHOLD IMPROVEMENTS
         STORE NO. 31285
         202 E VIA RANCHO PKWY.
         ESCONDIDO CA 92025

55.68.   LHI - ELK GROVE                                       LEASED              $328,050.38         Lower of Cost or   $328,050.38
                                                                                                       Market
         LEASEHOLD IMPROVEMENTS
         STORE NO. 31252
         8295 LAGUNA BLVD
         ELK GROVE CA 95758

55.69.   LHI - GREENVILLE                                      LEASED              $335,611.38         Lower of Cost or   $335,611.38
                                                                                                       Market
         LEASEHOLD IMPROVEMENTS
         STORE NO. 31108
         105 E BEACON DR.
         GREENVILLE SC 29615




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         apartment or office building), if available.
55.      Any building, other improved real estate, or land which the debtor owns or in which the debtor has an interest
55.70.   LHI - DENVER WEST                                     LEASED              $339,182.65         Lower of Cost or   $339,182.65
                                                                                                       Market
         LEASEHOLD IMPROVEMENTS
         STORE NO. 31167
         14245 W COLFAX AVE.
         LAKEWOOD CO 80401

55.71.   LHI - FREDERICK                                       LEASED              $343,194.00         Lower of Cost or   $343,194.00
                                                                                                       Market
         LEASEHOLD IMPROVEMENTS
         STORE NO. 31279
         5201 BUCKEYSTOWN PIKE
         FREDERICK MD 21704

55.72.   LHI - AUSTIN                                          LEASED              $317,384.50         Lower of Cost or   $317,384.50
                                                                                                       Market
         LEASEHOLD IMPROVEMENTS
         STORE NO. 31004
         9828 GREAT HILLS TRAIL
         AUSTIN TX 78759

55.73.   LHI - VISTA RIDGE                                     LEASED              $356,697.29         Lower of Cost or   $356,697.29
                                                                                                       Market
         LEASEHOLD IMPROVEMENTS
         STORE NO. 31179
         2437 S STEMMONS FWY.
         LEWISVILLE TX 75067

55.74.   LHI - RETAMA                                          LEASED              $363,057.45         Lower of Cost or   $363,057.45
                                                                                                       Market
         LEASEHOLD IMPROVEMENTS
         STORE NO. 31222
         8355 AGORA PKWY.
         SELMA TX 78154

55.75.   PLUMBING - GREASE TRAP                                LEASED              $22,180.50          Lower of Cost or   $22,180.50
                                                                                                       Market
         LEASEHOLD IMPROVEMENTS
         STORE NO. 31346
         110 RANCH DR.
         MILPITAS CA 95035

55.76.   LHI - REDLANDS                                        LEASED              $515,536.05         Lower of Cost or   $515,536.05
                                                                                                       Market
         LEASEHOLD IMPROVEMENTS
         STORE NO. 31324
         27490 W LUGONIA AVE.
         REDLANDS CA 92374

55.77.   LHI - HARRISBURG                                      LEASED              $552,964.86         Lower of Cost or   $552,964.86
                                                                                                       Market
         LEASEHOLD IMPROVEMENTS
         STORE NO. 31327
         2531 BRINDLE DR.
         HARRISBURG PA 17110




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Debtor   MAC ACQUISITION LLC                                                                                 Case number (if known) 17-12224

         Description and location of property                  Nature and          Net book value      Valuation          Current value of
         Include street address or other description such as   extent of           of debtor's         method used for    debtor’s interest
         Assessor Parcel Number (APN), and type of property    debtor’s interest   interest            current value
         (for example, acreage, factory, warehouse,            in property         (Where available)
         apartment or office building), if available.
55.      Any building, other improved real estate, or land which the debtor owns or in which the debtor has an interest
55.78.   LHI - MONTROSE                                        LEASED              $583,435.91         Lower of Cost or   $583,435.91
                                                                                                       Market
         LEASEHOLD IMPROVEMENTS
         STORE NO. 31064
         41 SPRINGSIDE DR.
         AKRON OH 44333

55.79.   LHI - FRACONIA                                        LEASED              $434,786.64         Lower of Cost or   $434,786.64
                                                                                                       Market
         LEASEHOLD IMPROVEMENTS
         STORE NO. 31284
         5925 KINGSTOWNE TOWNE CTR.
         ALEXANDRIA VA 22315

55.80.   REAL PROPERTY LEASE STORE # 10897                     LESSEE              UNDETERMINED        _______________ UNDETERMINED
         REAL PROPERTY LEASE AGREEMENT
         OMILOS 1 LLC
         GEORGE NICHOLAKOS
         5242 YORKTOWN BLVD
         ARLINGTON VA 22207

55.81.   REAL PROPERTY LEASE STORE # 31003                     LESSEE              UNDETERMINED        _______________ UNDETERMINED
         REAL PROPERTY LEASE AGREEMENT
         KENDALLGATE CENTER ASSOCIATES LTD
         BERKOWITZ DEVELOPMENT GROUP
         DAVID MARKOWITZ PROPERTY MANAGER
         2665 S BAYSHORE DR STE 1200
         COCONUT GROVE FL 33133

55.82.   REAL PROPERTY LEASE STORE # 31004                     LESSEE              UNDETERMINED        _______________ UNDETERMINED
         REAL PROPERTY LEASE AGREEMENT
         THE RETAIL CONNECTION
         CARLA NEEL
         221 W 6TH ST STE 1030
         AUSTIN TX 78701

55.83.   REAL PROPERTY LEASE STORE # 31015                     LESSEE              UNDETERMINED        _______________ UNDETERMINED
         REAL PROPERTY LEASE AGREEMENT
         RDT LIMITED PARTNERSHIP
         RICHARD D THURMAN
         DIANE CONLEE EXEC ASSISTANT
         10000 SHELBYVILLE RD STE 210
         LOUISVILLE KY 40223

55.84.   REAL PROPERTY LEASE STORE # 31017                     LESSEE              UNDETERMINED        _______________ UNDETERMINED
         REAL PROPERTY LEASE AGREEMENT
         7979 MAC LLC
         SCOTT AUTREY
         16 CHERRYMOOR DR
         ENGLEWOOD CO 80113




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Debtor   MAC ACQUISITION LLC                                                                                Case number (if known) 17-12224

         Description and location of property                  Nature and          Net book value      Valuation         Current value of
         Include street address or other description such as   extent of           of debtor's         method used for   debtor’s interest
         Assessor Parcel Number (APN), and type of property    debtor’s interest   interest            current value
         (for example, acreage, factory, warehouse,            in property         (Where available)
         apartment or office building), if available.
55.      Any building, other improved real estate, or land which the debtor owns or in which the debtor has an interest
55.85.   REAL PROPERTY LEASE STORE # 31022                     LESSEE              UNDETERMINED        _______________ UNDETERMINED
         REAL PROPERTY LEASE AGREEMENT
         307 EAST EDGEWATER AVENUE LLC
         FRANK MCGINITY
         1114 STATE ST STE 250
         SANTA BARBARA CA 93101

55.86.   REAL PROPERTY LEASE STORE # 31029                     LESSEE              UNDETERMINED        _______________ UNDETERMINED
         REAL PROPERTY LEASE AGREEMENT
         WINROCK PARTNERS LLC
         COLETTE WHARTON
         GOODMAN REALTY GROUP
         100 SUN AVE NE STE 210
         ALBUQUERQUE NM 87109

55.87.   REAL PROPERTY LEASE STORE # 31033                     LESSEE              UNDETERMINED        _______________ UNDETERMINED
         REAL PROPERTY LEASE AGREEMENT
         25001 COUNTRY CLUB LLC
         TOM GOEBEL
         6855 ROSEROAD CIR
         INDEPENDENCE OH 44131

55.88.   REAL PROPERTY LEASE STORE # 31037, 31045,             LESSEE              UNDETERMINED        _______________ UNDETERMINED
         31131
         REAL PROPERTY LEASE AGREEMENT
         BRINKER TEXAS INC
         GENERAL COUNSEL
         DENISE MOORE VP PROPERTY MNGMT
         6820 LBJ FWY
         DALLAS TX 75240

55.89.   REAL PROPERTY LEASE STORE # 31039                     LESSEE              UNDETERMINED        _______________ UNDETERMINED
         REAL PROPERTY LEASE AGREEMENT
         KIMCO CARROLLWOOD 664 INC
         KIMCO REALTY CORP
         VICKI ANTHONY
         3333 NEW HYDE PK RD STE 100
         NEW HYDE PARK NY 11042

55.90.   REAL PROPERTY LEASE STORE # 31050                     LESSEE              UNDETERMINED        _______________ UNDETERMINED
         REAL PROPERTY LEASE AGREEMENT
         BRINKER ARKANSAS INC
         GENERAL COUNSEL
         DENISE MOORE VP PROPERTY MNGMT
         6820 LBJ FWY
         DALLAS TX 75240




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Debtor   MAC ACQUISITION LLC                                                                                Case number (if known) 17-12224

         Description and location of property                  Nature and          Net book value      Valuation         Current value of
         Include street address or other description such as   extent of           of debtor's         method used for   debtor’s interest
         Assessor Parcel Number (APN), and type of property    debtor’s interest   interest            current value
         (for example, acreage, factory, warehouse,            in property         (Where available)
         apartment or office building), if available.
55.      Any building, other improved real estate, or land which the debtor owns or in which the debtor has an interest
55.91.   REAL PROPERTY LEASE STORE # 31053                     LESSEE              UNDETERMINED        _______________ UNDETERMINED
         REAL PROPERTY LEASE AGREEMENT
         BRINKER MICHIGAN INC
         GENERAL COUNSEL
         DENISE MOORE VP PROPERTY MNGMT
         6820 LBJ FWY
         DALLAS TX 75240

55.92.   REAL PROPERTY LEASE STORE # 31064                     LESSEE              UNDETERMINED        _______________ UNDETERMINED
         REAL PROPERTY LEASE AGREEMENT
         GRILLONI LLC
         MICHAEL SCHMIDT
         222 GRAND AVE
         ENGLEWOOD NJ 07631

55.93.   REAL PROPERTY LEASE STORE # 31067                     LESSEE              UNDETERMINED        _______________ UNDETERMINED
         REAL PROPERTY LEASE AGREEMENT
         BEARDEN CHILDRENS TRUST
         CC BEARDEN ENTERPRISES
         CASSIE POORE
         PO BOX 101717
         FORT WORTH TX 76158

55.94.   REAL PROPERTY LEASE STORE # 31072                     LESSEE              UNDETERMINED        _______________ UNDETERMINED
         REAL PROPERTY LEASE AGREEMENT
         NFC LLC
         THOMAS AND MACK DEVELOPMENT GROUP
         NICOLA B FRYATT LEASING MANAGER
         7181 AMIGO ST STE 100
         LAS VEGAS NV 89119

55.95.   REAL PROPERTY LEASE STORE # 31078                     LESSEE              UNDETERMINED        _______________ UNDETERMINED
         REAL PROPERTY LEASE AGREEMENT
         ROCKY RIDGE STATION LLC
         ROBERT F MYERS COO LEASE
         ADMINISTRATION DEPT
         11501 NORTHLAKE DR
         CINCINNATI OH 45249

55.96.   REAL PROPERTY LEASE STORE # 31081                     LESSEE              UNDETERMINED        _______________ UNDETERMINED
         REAL PROPERTY LEASE AGREEMENT
         WELLS LAKE BUENA VISTA LLC
         BILL HALE
         40 FRANCIS RD
         HENDERSONVILLE NC 28792

55.97.   REAL PROPERTY LEASE STORE # 31084                     LESSEE              UNDETERMINED        _______________ UNDETERMINED
         REAL PROPERTY SUBLEASE AGREEMENT
         THE PELICAN BATON ROUGE LLC
         FENET TREADWAY GAUDIN
         JENNIFER TREADWAY COUNSEL
         4021 WE HECK CT
         BATON ROUGE LA 70816

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Debtor   MAC ACQUISITION LLC                                                                                Case number (if known) 17-12224

         Description and location of property                  Nature and          Net book value      Valuation         Current value of
         Include street address or other description such as   extent of           of debtor's         method used for   debtor’s interest
         Assessor Parcel Number (APN), and type of property    debtor’s interest   interest            current value
         (for example, acreage, factory, warehouse,            in property         (Where available)
         apartment or office building), if available.
55.      Any building, other improved real estate, or land which the debtor owns or in which the debtor has an interest
55.98.   REAL PROPERTY LEASE STORE # 31084                     LESSEE              UNDETERMINED        _______________ UNDETERMINED
         REAL PROPERTY SUBLEASE AGREEMENT
         BRINKER LOUISIANA INC
         GENERAL COUNSEL 001009085
         DENISE MOORE VP PROPERTY MNGMT
         6820 LBJ FWY
         DALLAS TX 75240

55.99.   REAL PROPERTY LEASE STORE # 31088                     LESSEE              UNDETERMINED        _______________ UNDETERMINED
         REAL PROPERTY LEASE AGREEMENT
         AMREIT INC
         CRAIG VANCE PROPERTY MANAGER
         8 GREENWAY PLZ STE 1000
         HOUSTON TX 77046

55.100. REAL PROPERTY LEASE STORE # 31097                      LESSEE              UNDETERMINED        _______________ UNDETERMINED
         REAL PROPERTY SUBLEASE AGREEMENT
         LILLIE MAE CAIN TRUST
         FIRST TENNESSEE BANK NA A TENNESSEE
         BANKING
         TRUST DEPT ROBERT KILLEFER SENIOR VP
         PO BOX 1991
         KNOXVILLE TN 37901

55.101. REAL PROPERTY LEASE STORE # 31108                      LESSEE              UNDETERMINED        _______________ UNDETERMINED
         REAL PROPERTY LEASE AGREEMENT
         CENTRAL REALTY CORP
         TODD HARDAWAY VP LEASING AND PROP
         MNGT
         PO BOX 1805 400 EAST STONE AVE
         GREENVILLE SC 29602

55.102. REAL PROPERTY LEASE STORE # 31109                      LESSEE              UNDETERMINED        _______________ UNDETERMINED
         REAL PROPERTY LEASE AGREEMENT
         SOUTHPARK MALL LLC
         SRP PROPERTY MANAGEMENT LLC
         LEASE COORDINATION GINA LOEHR
         1 E WACKER DR STE 3700
         CHICAGO IL 60601

55.103. REAL PROPERTY LEASE STORE # 31109                      LESSEE              UNDETERMINED        _______________ UNDETERMINED
         REAL PROPERTY LEASE AGREEMENT
         SOUTHPARK MALL LLC
         GENERAL MANAGER
         KURT REDDICK GENERAL MANAGER
         500 SOUTHPARK CTR
         STRONGSVILLE OH 44136




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Debtor   MAC ACQUISITION LLC                                                                                Case number (if known) 17-12224

         Description and location of property                  Nature and          Net book value      Valuation         Current value of
         Include street address or other description such as   extent of           of debtor's         method used for   debtor’s interest
         Assessor Parcel Number (APN), and type of property    debtor’s interest   interest            current value
         (for example, acreage, factory, warehouse,            in property         (Where available)
         apartment or office building), if available.
55.      Any building, other improved real estate, or land which the debtor owns or in which the debtor has an interest
55.104. REAL PROPERTY LEASE STORE # 31112                      LESSEE              UNDETERMINED        _______________ UNDETERMINED
         REAL PROPERTY LEASE AGREEMENT
         RB 3 ASSOCIATES
         C O BENDERSON DEVELOPMENT CO
         MIKE WALKER
         7978 COOPER CREEK BLVD STE 100
         UNIVERSITY PARK FL 34201

55.105. REAL PROPERTY LEASE STORE # 31115                      LESSEE              UNDETERMINED        _______________ UNDETERMINED
         REAL PROPERTY LEASE AGREEMENT
         BRINKER NORTH CAROLINA INC
         GENERAL COUNSEL
         DENISE MOORE VP PROPERTY MNGMT
         6820 LBJ FWY
         DALLAS TX 75240

55.106. REAL PROPERTY LEASE STORE # 31116                      LESSEE              UNDETERMINED        _______________ UNDETERMINED
         REAL PROPERTY LEASE AGREEMENT
         OXFORD VALLEY ROAD ASSOCIATES
         KURTZMAN STEADY LLC
         JEFFREY KURTZMAN ESQ
         401 S 2ND ST
         PHILADELPHIA PA 19147

55.107. REAL PROPERTY LEASE STORE # 31120                      LESSEE              UNDETERMINED        _______________ UNDETERMINED
         REAL PROPERTY LEASE AGREEMENT
         BELLA TERRA ASSOCIATES LLC
         DJM CAPITAL PARTNERS INC
         OLEG F SIVRYUK DIR OF REAL ESTATE
         ACCOUNTING
         7777 EDINGER AVE STE 133
         HUNTINGTON BEACH CA 92647

55.108. REAL PROPERTY LEASE STORE # 31127                      LESSEE              UNDETERMINED        _______________ UNDETERMINED
         REAL PROPERTY LEASE AGREEMENT
         PHILBROOK AVENUE ASSOCIATES LLC
         C O SR WEINER AND ASSOCIATES
         DAVID YORK
         1330 BOYLSTON ST STE 212
         CHESTNUT HILL MA 02467

55.109. REAL PROPERTY LEASE STORE # 31132                      LESSEE              UNDETERMINED        _______________ UNDETERMINED
         REAL PROPERTY LEASE AGREEMENT
         FRANCISCO R UNANUE MARIA ELENA ORTEGA
         WOLLBERG AND JOSE A ORTEGA JR AS
         COTRUSTEES OF THE P AND L TRUST DTD SEP
         22 1999
         2000 NW 92ND AVE
         MIAMI FL 33172




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Debtor   MAC ACQUISITION LLC                                                                                Case number (if known) 17-12224

         Description and location of property                  Nature and          Net book value      Valuation         Current value of
         Include street address or other description such as   extent of           of debtor's         method used for   debtor’s interest
         Assessor Parcel Number (APN), and type of property    debtor’s interest   interest            current value
         (for example, acreage, factory, warehouse,            in property         (Where available)
         apartment or office building), if available.
55.      Any building, other improved real estate, or land which the debtor owns or in which the debtor has an interest
55.110. REAL PROPERTY LEASE STORE # 31133                      LESSEE              UNDETERMINED        _______________ UNDETERMINED
         REAL PROPERTY SUBLEASE AGREEMENT
         SERGIOS 4 PINES BLVD LLC
         RENE PRATS
         12380 SW 130 ST
         MIAMI FL 33186

55.111. REAL PROPERTY LEASE STORE # 31133                      LESSEE              UNDETERMINED        _______________ UNDETERMINED
         REAL PROPERTY SUBLEASE AGREEMENT
         JOSE A AND LUCILA G ORTEGA AS
         COTRUSTEES OF
         THE LUCILA G ORTEGA 1995 TRUST DTD SEP 1
         1995
         MARIA WOLLBERG
         4970 SW 80TH ST
         MIAMI FL 33143

55.112. REAL PROPERTY LEASE STORE # 31141                      LESSEE              UNDETERMINED        _______________ UNDETERMINED
         REAL PROPERTY LEASE AGREEMENT
         BRIARWOOD LLC
         SIMON PROPERTY GROUP
         IDA HENDRIX PROPERTY MANAGER
         225 W WASHINGTON ST
         INDIANAPOLIS IN 46204

55.113. REAL PROPERTY LEASE STORE # 31145                      LESSEE              UNDETERMINED        _______________ UNDETERMINED
         REAL PROPERTY LEASE AGREEMENT
         MGAVC LLC AND MGLBC LLC
         RONALD DE MILT
         MANAGING MEMBER
         4468 BRYNWOOD DR
         NAPLES FL 34119

55.114. REAL PROPERTY LEASE STORE # 31145                      LESSEE              UNDETERMINED        _______________ UNDETERMINED
         REAL PROPERTY LEASE AGREEMENT
         POWERSTONE PROPERTY MANAGEMENT
         MINA RIOS
         ACCOUNTS RECEIVABLE
         9060 IRVINE CTR DR
         IRVINE CA 92618

55.115. REAL PROPERTY LEASE STORE # 31148                      LESSEE              UNDETERMINED        _______________ UNDETERMINED
         REAL PROPERTY LEASE AGREEMENT
         THE IRVINE CO LLC
         GENERAL COUNSEL
         KAROL H REDDY PROPERTY ASSISTANT
         550 NEWPORT CTR DR
         NEWPORT BEACH CA 92660




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Debtor   MAC ACQUISITION LLC                                                                                Case number (if known) 17-12224

         Description and location of property                  Nature and          Net book value      Valuation         Current value of
         Include street address or other description such as   extent of           of debtor's         method used for   debtor’s interest
         Assessor Parcel Number (APN), and type of property    debtor’s interest   interest            current value
         (for example, acreage, factory, warehouse,            in property         (Where available)
         apartment or office building), if available.
55.      Any building, other improved real estate, or land which the debtor owns or in which the debtor has an interest
55.116. REAL PROPERTY LEASE STORE # 31151                      LESSEE              UNDETERMINED        _______________ UNDETERMINED
         REAL PROPERTY LEASE AGREEMENT
         NORTH RAINBOW BOULEVARD HOLDINGS
         INTEGRIS REALTY SVC
         6440 SKY POINTE DR 140175
         LAS VEGAS NV 89131

55.117. REAL PROPERTY LEASE STORE # 31156                      LESSEE              UNDETERMINED        _______________ UNDETERMINED
         REAL PROPERTY LEASE AGREEMENT
         HIP STEPHANIE LLC
         HARSCH INVESTMENT PROPERTIES
         SHARON MATLOCK RETAIL LEASE MANAGER
         1121 SW SALMON ST
         PORTLAND OR 97205

55.118. REAL PROPERTY LEASE STORE # 31161                      LESSEE              UNDETERMINED        _______________ UNDETERMINED
         REAL PROPERTY LEASE AGREEMENT
         LANCEKASHIAN AND CO
         RACHELLE DUNNE
         PROPERTY MANAGER
         265 E RIVER PK CIR STE 150
         FRESNO CA 93720

55.119. REAL PROPERTY LEASE STORE # 31163                      LESSEE              UNDETERMINED        _______________ UNDETERMINED
         REAL PROPERTY LEASE AGREEMENT
         PARTICIA WAHL LAPAN AS TRUSTEE OF THE
         PATRCIA
         LAPAN LIVING TRUST PURSUANT TO THE
         DECLATRATION ETC
         OF TRUST DTD 04/15/94 WHICH TRUST WAS
         REST ON OR
         6363 CHRISTIE AVE 2925
         EMERYVILLE CA 94608

55.120. REAL PROPERTY LEASE STORE # 31165                      LESSEE              UNDETERMINED        _______________ UNDETERMINED
         REAL PROPERTY LEASE AGREEMENT
         WOLF ROAD PARK II LLC
         C O THE BELTRONE GROUP LLC
         JOSEPH G CARANFA VICE PRESIDENT
         14 HEMLOCK ST BOX 517
         LATHAM NY 12110

55.121. REAL PROPERTY LEASE STORE # 31167                      LESSEE              UNDETERMINED        _______________ UNDETERMINED
         REAL PROPERTY LEASE AGREEMENT
         DENVER WEST MILLS LP
         C O SIMON PROPERTY GROUP INC
         MIKE FREESE ASST GENERAL COUNSEL
         225 WEST WASHINGTON ST
         INDIANAPOLIS IN 46204




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Debtor   MAC ACQUISITION LLC                                                                                Case number (if known) 17-12224

         Description and location of property                  Nature and          Net book value      Valuation         Current value of
         Include street address or other description such as   extent of           of debtor's         method used for   debtor’s interest
         Assessor Parcel Number (APN), and type of property    debtor’s interest   interest            current value
         (for example, acreage, factory, warehouse,            in property         (Where available)
         apartment or office building), if available.
55.      Any building, other improved real estate, or land which the debtor owns or in which the debtor has an interest
55.122. REAL PROPERTY LEASE STORE # 31167                      LESSEE              UNDETERMINED        _______________ UNDETERMINED
         REAL PROPERTY LEASE AGREEMENT
         DENVER WEST MILLS LP
         SIMON PROPERTY GROUP
         MELISSA A BREEDEN COUNSEL
         225 W WASHINGTON ST
         INDIANAPOLIS IN 46204

55.123. REAL PROPERTY LEASE STORE # 31171                      LESSEE              UNDETERMINED        _______________ UNDETERMINED
         REAL PROPERTY SUBLEASE AGREEMENT
         CENTENNIAL LAKES GRILL LLC
         UNITED PROPERTIES INVESTMENT LLC
         EVA STEVENS EXE VP ASSET MNGMT
         3600 AMERICAN BLVD WEST STE 750
         BLOOMINGTON MN 55431

55.124. REAL PROPERTY LEASE STORE # 31174                      LESSEE              UNDETERMINED        _______________ UNDETERMINED
         REAL PROPERTY LEASE AGREEMENT
         BAYER RETAIL CO LLC
         SAM HEIDE GENERAL COUNSEL
         2222 ARLINGTON AVE
         BIRMINGHAM AL 35205

55.125. REAL PROPERTY LEASE STORE # 31176                      LESSEE              UNDETERMINED        _______________ UNDETERMINED
         REAL PROPERTY LEASE AGREEMENT
         MACARONI RR I35 PARTNERSHIP LTD
         HOWARD CHAPMAN
         10461 WESTPARK DR
         HOUSTON TX 77042

55.126. REAL PROPERTY LEASE STORE # 31178                      LESSEE              UNDETERMINED        _______________ UNDETERMINED
         REAL PROPERTY LEASE AGREEMENT
         DDRA COMMUNITY CENTERS EITHER LP
         DEVELOPERS DIVERSIFIED REALTY
         CORPORATION
         BRYAN STONE ASSOCIATE ATTORNEY
         3300 ENTERPRISE PKWY
         BEACHWOOD OH 44122

55.127. REAL PROPERTY LEASE STORE # 31179                      LESSEE              UNDETERMINED        _______________ UNDETERMINED
         REAL PROPERTY LEASE AGREEMENT
         BILL STUBBS AND CO
         RICK RUSSELL
         4216 NORTH PORTLAND AVE STE 101
         OKLAHOMA CITY OK 73112

55.128. REAL PROPERTY LEASE STORE # 31182                      LESSEE              UNDETERMINED        _______________ UNDETERMINED
         REAL PROPERTY LEASE AGREEMENT
         RODERICK ENTERPRISES
         RENEE SCHMID ASSET/PROPERTY MNGR
         1214 EAST VINE ST
         SALT LAKE CITY UT 84121



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Debtor   MAC ACQUISITION LLC                                                                                Case number (if known) 17-12224

         Description and location of property                  Nature and          Net book value      Valuation         Current value of
         Include street address or other description such as   extent of           of debtor's         method used for   debtor’s interest
         Assessor Parcel Number (APN), and type of property    debtor’s interest   interest            current value
         (for example, acreage, factory, warehouse,            in property         (Where available)
         apartment or office building), if available.
55.      Any building, other improved real estate, or land which the debtor owns or in which the debtor has an interest
55.129. REAL PROPERTY LEASE STORE # 31184                      LESSEE              UNDETERMINED        _______________ UNDETERMINED
         REAL PROPERTY LEASE AGREEMENT
         SHANKAR NEVADA LLC
         EUGENE BURGER MANAGEMENT
         CORPORATION
         KEVIN MOLONEY DISTRICT MANAGER
         5011 MEADOWOOD MALL WAY STE 200
         RENO NV 89502

55.130. REAL PROPERTY LEASE STORE # 31185                      LESSEE              UNDETERMINED        _______________ UNDETERMINED
         REAL PROPERTY LEASE AGREEMENT
         WDRE MG LLC
         CINDI ANDERSON PRESIDENT
         10172 INDIAN RIDGE
         RENO NV 89511

55.131. REAL PROPERTY LEASE STORE # 31195                      LESSEE              UNDETERMINED        _______________ UNDETERMINED
         REAL PROPERTY LEASE AGREEMENT
         BRIXMOR WOLFCREEK OUTPARCEL OWNER
         BRIXMOR PROPERTY GROUP
         ROBERT DELIZZIO/PROPERTY COLLECTOR
         PO BOX 645349
         CINCINNATTI OH 45264-5349

55.132. REAL PROPERTY LEASE STORE # 31196                      LESSEE              UNDETERMINED        _______________ UNDETERMINED
         REAL PROPERTY LEASE AGREEMENT
         HARKAN PROPERTIES LLC
         J HARTLEY KANTOR
         2122 FIFE ST
         TACOMA WA 98406

55.133. REAL PROPERTY LEASE STORE # 31197                      LESSEE              UNDETERMINED        _______________ UNDETERMINED
         REAL PROPERTY LEASE AGREEMENT
         CERRITOS GARP LLC
         FELECIA SERRA DIRECTOR OF PROPERTY
         977 LOMAS SANTA FE DR STE A
         SOLANA BEACH CA 92075

55.134. REAL PROPERTY LEASE STORE # 31199                      LESSEE              UNDETERMINED        _______________ UNDETERMINED
         REAL PROPERTY LEASE AGREEMENT
         FIRST MICHIGAN MAC ASSOCIATES LLC
         RAJA KHANNA
         80 NASHUA RD STE 24
         LONDONDERRY NH 03053

55.135. REAL PROPERTY LEASE STORE # 31203                      LESSEE              UNDETERMINED        _______________ UNDETERMINED
         REAL PROPERTY LEASE AGREEMENT
         GGP NORTHRIDGE FASHION CENTER LP
         GENERAL GROWTH PROPERTIES INC
         THOMAS K HORNACEK ASSOC GENERAL
         COUNSEL
         110 NORTH WACKER DR
         CHICAGO IL 60606

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Debtor   MAC ACQUISITION LLC                                                                                Case number (if known) 17-12224

         Description and location of property                  Nature and          Net book value      Valuation         Current value of
         Include street address or other description such as   extent of           of debtor's         method used for   debtor’s interest
         Assessor Parcel Number (APN), and type of property    debtor’s interest   interest            current value
         (for example, acreage, factory, warehouse,            in property         (Where available)
         apartment or office building), if available.
55.      Any building, other improved real estate, or land which the debtor owns or in which the debtor has an interest
55.136. REAL PROPERTY LEASE STORE # 31205                      LESSEE              UNDETERMINED        _______________ UNDETERMINED
         REAL PROPERTY SUBLEASE AGREEMENT
         TANGI EAST LLC NO 1
         BRUNO AND BRUNO
         JAMIE BUTTS
         70325 HIGHWAY 1077 STE 2A
         COVINGTON LA 70433

55.137. REAL PROPERTY LEASE STORE # 31205                      LESSEE              UNDETERMINED        _______________ UNDETERMINED
         REAL PROPERTY SUBLEASE AGREEMENT
         STIRLING PROPERTIES LLC
         ASHEE WHITE PROPERTY ASSISTANT
         109 NORTHPARK BLVD STE 300
         COVINGTON LA 70433

55.138. REAL PROPERTY LEASE STORE # 31212                      LESSEE              UNDETERMINED        _______________ UNDETERMINED
         REAL PROPERTY LEASE AGREEMENT
         VR PARTNERS I LP
         BILL DEMUTH PRESIDENT
         6831 PRESTONSHIRE LN
         DALLAS TX 75225

55.139. REAL PROPERTY LEASE STORE # 31216                      LESSEE              UNDETERMINED        _______________ UNDETERMINED
         REAL PROPERTY LEASE AGREEMENT
         MALL OF GEORGIA LLC SIMON PROPERTY
         GROUP
         JOHN MILAM
         MARY STULTZ PROPERTY MANAGER
         225 WEST WASHINGTON ST
         INDIANAPOLIS IN 46204

55.140. REAL PROPERTY LEASE STORE # 31222                      LESSEE              UNDETERMINED        _______________ UNDETERMINED
         REAL PROPERTY LEASE AGREEMENT
         MIKE AND MARTHA WITT
         MARTHA WITT/OWNER
         3300 E LAKE CREEK RD
         HEBER UT 84032

55.141. REAL PROPERTY LEASE STORE # 31229                      LESSEE              UNDETERMINED        _______________ UNDETERMINED
         REAL PROPERTY LEASE AGREEMENT
         LEGACY
         WELLS PLANO LLC
         BILL HALE
         40 FRANCIS RD
         HENDERSONVILLE NC 28792

55.142. REAL PROPERTY LEASE STORE # 31233                      LESSEE              UNDETERMINED        _______________ UNDETERMINED
         REAL PROPERTY LEASE AGREEMENT
         VESTAR DRMOP LLC
         PRESIDENT
         PAT MCGINLEY PROPERTY MANAGEMENT
         2425 E CAMELBACK ROAD STE 750
         PHOENIX AZ 85016

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Debtor   MAC ACQUISITION LLC                                                                                Case number (if known) 17-12224

         Description and location of property                  Nature and          Net book value      Valuation         Current value of
         Include street address or other description such as   extent of           of debtor's         method used for   debtor’s interest
         Assessor Parcel Number (APN), and type of property    debtor’s interest   interest            current value
         (for example, acreage, factory, warehouse,            in property         (Where available)
         apartment or office building), if available.
55.      Any building, other improved real estate, or land which the debtor owns or in which the debtor has an interest
55.143. REAL PROPERTY LEASE STORE # 31234                      LESSEE              UNDETERMINED        _______________ UNDETERMINED
         REAL PROPERTY LEASE AGREEMENT
         BRE RETAIL RESIDUAL OWNER 1 LLC
         OFFICE OF GENERAL COUNSEL PROPERTY
         CHRISTOPHER BISHOP ASSOC GENERAL
         COUNSEL
         420 LEXINGTON AVE 7TH FL
         NEW YORK NY 10170

55.144. REAL PROPERTY LEASE STORE # 31234                      LESSEE              UNDETERMINED        _______________ UNDETERMINED
         REAL PROPERTY LEASE AGREEMENT
         BRE RETAIL RESIDUAL OWNER 1 LLC
         LEGAL COUNSEL
         40 SKOKIE BLVD STE 600
         NORTHBROOK IL 60062

55.145. REAL PROPERTY LEASE STORE # 31235                      LESSEE              UNDETERMINED        _______________ UNDETERMINED
         REAL PROPERTY LEASE AGREEMENT
         THOMAS TYLER PATRICIA TYLER AND
         WILLIAM SEIDER
         PATRICIA TYLER
         2202 CASEY KEY RD
         NOKOMIS FL 34275

55.146. REAL PROPERTY LEASE STORE # 31238                      LESSEE              UNDETERMINED        _______________ UNDETERMINED
         REAL PROPERTY LEASE AGREEMENT
         SERITAGE GROWTH PROPERTIES LP
         MATTHEW FERNAND
         OWNER
         54 W 40TH ST STE 10N
         NEW YORK NY 10018

55.147. REAL PROPERTY LEASE STORE # 31238                      LESSEE              UNDETERMINED        _______________ UNDETERMINED
         REAL PROPERTY LEASE AGREEMENT
         SERITAGE GROWTH PROPERTIES LP
         MARY ROTTLER
         EXECUTIVE VP OPERATIONS AND LEASING
         54 W 40TH ST STE 10N
         NEW YORK NY 10018

55.148. REAL PROPERTY LEASE STORE # 31245                      LESSEE              UNDETERMINED        _______________ UNDETERMINED
         REAL PROPERTY LEASE AGREEMENT
         KELLER FAMILY TRUST
         JOHN KELLER TRUSTEE
         JOHN KELLER
         14435-C BIG BASIN WAY #291
         SARATOGA CA 95070




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Debtor   MAC ACQUISITION LLC                                                                                Case number (if known) 17-12224

         Description and location of property                  Nature and          Net book value      Valuation         Current value of
         Include street address or other description such as   extent of           of debtor's         method used for   debtor’s interest
         Assessor Parcel Number (APN), and type of property    debtor’s interest   interest            current value
         (for example, acreage, factory, warehouse,            in property         (Where available)
         apartment or office building), if available.
55.      Any building, other improved real estate, or land which the debtor owns or in which the debtor has an interest
55.149. REAL PROPERTY LEASE STORE # 31246                      LESSEE              UNDETERMINED        _______________ UNDETERMINED
         REAL PROPERTY LEASE AGREEMENT
         THE ANN DREVER COTTRELL TRUST
         SCOTT C MCDERMAND TRUSTEE
         PO BOX 691
         JAMUL CA 91935

55.150. REAL PROPERTY LEASE STORE # 31251                      LESSEE              UNDETERMINED        _______________ UNDETERMINED
         REAL PROPERTY LEASE AGREEMENT
         PFP TEMECULA REAL ESTATE HOLDINGS LLC
         MEISSNER JACQUET COMMERCIAL REAL
         ESTATE SVC
         LYSLIE J BROOKS REAL ESTATE MANAGER
         4995 MURPHY CANYON RD STE 100
         SAN DIEGO CA 92122

55.151. REAL PROPERTY LEASE STORE # 31252                      LESSEE              UNDETERMINED        _______________ UNDETERMINED
         REAL PROPERTY LEASE AGREEMENT
         PAPPAS LAGUNA NO 2 LP
         JOHN PAPPAS LOUIS J PAPPAS
         2020 L ST 5TH FL
         SACRAMENTO CA 95811

55.152. REAL PROPERTY LEASE STORE # 31255                      LESSEE              UNDETERMINED        _______________ UNDETERMINED
         REAL PROPERTY LEASE AGREEMENT
         RANCH TOWN CENTER LLC
         C O DSB PROPERTIES INC
         KATHLEEN YOUNG
         101 N WESTLAKE BLDG 201
         WESTLAKE VILLAGE CA 91362

55.153. REAL PROPERTY LEASE STORE # 31257                      LESSEE              UNDETERMINED        _______________ UNDETERMINED
         REAL PROPERTY LEASE AGREEMENT
         DONAHUE SCHRIBER REALTY GROUP LP
         KAREN J FINKE
         PROPERTY MANAGER
         8020 EAST SANTA ANA CANYON RD
         ANAHEIM CA 92808

55.154. REAL PROPERTY LEASE STORE # 31257                      LESSEE              UNDETERMINED        _______________ UNDETERMINED
         REAL PROPERTY LEASE AGREEMENT
         OTR
         REAL ESTATE MANAGER
         KIM WAIPA
         275 EAST BROAD ST
         COLUMBUS OH 43215

55.155. REAL PROPERTY LEASE STORE # 31268                      LESSEE              UNDETERMINED        _______________ UNDETERMINED
         REAL PROPERTY LEASE AGREEMENT
         BRE RC LAS PALMAS MP TX LP
         LINDA MADWAY
         307 FELLOWSHIP RD STE 116
         MOUNT LAUREL NJ 08054

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Debtor   MAC ACQUISITION LLC                                                                                Case number (if known) 17-12224

         Description and location of property                  Nature and          Net book value      Valuation         Current value of
         Include street address or other description such as   extent of           of debtor's         method used for   debtor’s interest
         Assessor Parcel Number (APN), and type of property    debtor’s interest   interest            current value
         (for example, acreage, factory, warehouse,            in property         (Where available)
         apartment or office building), if available.
55.      Any building, other improved real estate, or land which the debtor owns or in which the debtor has an interest
55.156. REAL PROPERTY LEASE STORE # 31268                      LESSEE              UNDETERMINED        _______________ UNDETERMINED
         REAL PROPERTY LEASE AGREEMENT
         SHOPCORE PROPERTIES RS MANAGEMENT
         LLC
         LINDA MADWAY
         307 FELLOWSHIP RD STE 116
         MOUNT LAUREL NJ 08054

55.157. REAL PROPERTY LEASE STORE # 31272                      LESSEE              UNDETERMINED        _______________ UNDETERMINED
         REAL PROPERTY SUBLEASE AGREEMENT
         COLE MG OB MT LAUREL NJ LLC
         AMERICAN REALTY CAPITAL PROPERTIES
         LEGAL DEPT
         2325 E CAMELBACK RD STE 1100
         PHOENIX AZ 85016

55.158. REAL PROPERTY LEASE STORE # 31272                      LESSEE              UNDETERMINED        _______________ UNDETERMINED
         REAL PROPERTY SUBLEASE AGREEMENT
         GRAYLING CORP
         JOHN C FIRTH PRESIDENT
         DIANA M SHIVELY PROPERTY MANAGER
         4220 EDISON LAKES PKWY
         MISHAWAKA IN 46545

55.159. REAL PROPERTY LEASE STORE # 31273, 31266               LESSEE              UNDETERMINED        _______________ UNDETERMINED
         REAL PROPERTY LEASE AGREEMENT
         CBL AND ASSOCIATES MANAGEMENT INC
         CBL AND ASSOCIATES PROPERTIES
         JEFF CURRY CHIEF LEGAL OFFICER
         2030 HAMILTON PL BLVD CBL CTR STE 500
         CHATTANOOGA TN 37421

55.160. REAL PROPERTY LEASE STORE # 31278                      LESSEE              UNDETERMINED        _______________ UNDETERMINED
         REAL PROPERTY SUBLEASE AGREEMENT
         PPF RTL ROSEDALE SHOPPING CENTER
         ASSET MANAGER/ROSEDALE CENTER
         SCOTT MICHAELIS GENERAL MANAGER
         3424 PEACHTREE RD NE STE 300
         ATLANTA GA 30326

55.161. REAL PROPERTY LEASE STORE # 31279                      LESSEE              UNDETERMINED        _______________ UNDETERMINED
         REAL PROPERTY LEASE AGREEMENT
         FREDERICK WESTVIEW PROPERTIES LLC
         ANTHONY E GIULIO
         CONNOR DEVLIN/PROPERTY MGR
         9640 DEERECO RD
         TIMONIUM MD 21093




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Debtor   MAC ACQUISITION LLC                                                                                Case number (if known) 17-12224

         Description and location of property                  Nature and          Net book value      Valuation         Current value of
         Include street address or other description such as   extent of           of debtor's         method used for   debtor’s interest
         Assessor Parcel Number (APN), and type of property    debtor’s interest   interest            current value
         (for example, acreage, factory, warehouse,            in property         (Where available)
         apartment or office building), if available.
55.      Any building, other improved real estate, or land which the debtor owns or in which the debtor has an interest
55.162. REAL PROPERTY LEASE STORE # 31280                      LESSEE              UNDETERMINED        _______________ UNDETERMINED
         REAL PROPERTY LEASE AGREEMENT
         OPRY MILLS MALL LIMITED PARTNERSHIP
         C O MS MANAGEMENT ASSOCIATES INC
         MIKE FREESE ASST GENERAL COUNSEL
         225 WEST WASHINGTON ST
         INDIANAPOLIS IN 46204

55.163. REAL PROPERTY LEASE STORE # 31283                      LESSEE              UNDETERMINED        _______________ UNDETERMINED
         REAL PROPERTY LEASE AGREEMENT
         PK II EL CANINO NORTH LP
         KIMCO REALTY CORP
         MORTGAGE DEPT
         333 NEW HYDE PK RD SUIT 100
         NEW HYDE PARK NY 11042

55.164. REAL PROPERTY LEASE STORE # 31284                      LESSEE              UNDETERMINED        _______________ UNDETERMINED
         REAL PROPERTY LEASE AGREEMENT
         KINGSTOWNE TOWN CENTER LP
         C O COMAR MANAGEMENT INC
         JOHN HALLE PRESIDENT
         2900 LINDEN LN STE 300
         SILVER SPRING MD 20910

55.165. REAL PROPERTY LEASE STORE # 31285                      LESSEE              UNDETERMINED        _______________ UNDETERMINED
         REAL PROPERTY LEASE AGREEMENT
         EWH ESCONDIDO ASSOCIATES LP
         C O WESTFIELD CORP INC
         DAMIEN OSIP GENERAL MANAGER
         11601 WILSHIRE BLVD 12TH FL
         LOS ANGELES CA 90025

55.166. REAL PROPERTY LEASE STORE # 31286                      LESSEE              UNDETERMINED        _______________ UNDETERMINED
         REAL PROPERTY LEASE AGREEMENT
         FLUSHING QUAIL LLC
         MR LEE JAMIESON
         DAN KREMERS PROPERTY MANAGER
         3101 STATE RD
         BAKERSFIELD CA 93308

55.167. REAL PROPERTY LEASE STORE # 31286                      LESSEE              UNDETERMINED        _______________ UNDETERMINED
         REAL PROPERTY LEASE AGREEMENT
         COX CASTLE AND NICHOLSON LLP
         GARY GLICK ESQ
         2049 CENTURY PK EAST STE 2800
         LOS ANGELES CA 90067

55.168. REAL PROPERTY LEASE STORE # 31286                      LESSEE              UNDETERMINED        _______________ UNDETERMINED
         REAL PROPERTY LEASE AGREEMENT
         DAN KREMERS MD ATKINSON CO INC
         DAN KREMERS
         1401 19TH ST STE 400
         BAKERSFIELD CA 93301

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Debtor   MAC ACQUISITION LLC                                                                                Case number (if known) 17-12224

         Description and location of property                  Nature and          Net book value      Valuation         Current value of
         Include street address or other description such as   extent of           of debtor's         method used for   debtor’s interest
         Assessor Parcel Number (APN), and type of property    debtor’s interest   interest            current value
         (for example, acreage, factory, warehouse,            in property         (Where available)
         apartment or office building), if available.
55.      Any building, other improved real estate, or land which the debtor owns or in which the debtor has an interest
55.169. REAL PROPERTY LEASE STORE # 31287                      LESSEE              UNDETERMINED        _______________ UNDETERMINED
         REAL PROPERTY LEASE AGREEMENT
         BRIXTON SHERWOOD LLC
         CRAIG PETTITT
         120 S SIERRA AVE STE 200
         SOLANA BEACH CA 92014

55.170. REAL PROPERTY LEASE STORE # 31287                      LESSEE              UNDETERMINED        _______________ UNDETERMINED
         REAL PROPERTY LEASE AGREEMENT
         JONES LANG LASALLE AMERCAS INC
         PRESIDENT AND CEO RETAIL
         JEFF BARBER
         3344 PEACHTREE RD STE 1110
         ATLANTA GA 30326

55.171. REAL PROPERTY LEASE STORE # 31287                      LESSEE              UNDETERMINED        _______________ UNDETERMINED
         REAL PROPERTY LEASE AGREEMENT
         SHERWOOD MALL MALL MANAGEMENT OFFICE
         GENERAL MANAGER
         5308 PACIFIC AVE
         STOCKTON CA 95207

55.172. REAL PROPERTY LEASE STORE # 31289                      LESSEE              UNDETERMINED        _______________ UNDETERMINED
         REAL PROPERTY LEASE AGREEMENT
         PIONEER REAL ESTATE DEVELOPMENT
         DENNIS TATE VICE-PRESIDENT
         742 PEACHOID RD
         GAFFNEY SC 29341

55.173. REAL PROPERTY LEASE STORE # 31292                      LESSEE              UNDETERMINED        _______________ UNDETERMINED
         REAL PROPERTY LEASE AGREEMENT
         MORIAH INVESTMENTS LLC
         BRIAN ARTZER
         11409 BUSINESS PK CIR STE 300
         FIRESTONE CO 80504

55.174. REAL PROPERTY LEASE STORE # 31294                      LESSEE              UNDETERMINED        _______________ UNDETERMINED
         REAL PROPERTY LEASE AGREEMENT
         CASTLE AND COOKE CORONA INC
         LAURA WHITAKER
         DARLENE CARPENTER
         10000 STOCKDALE HWY STE 300
         BAKERSFIELD CA 93311

55.175. REAL PROPERTY LEASE STORE # 31294                      LESSEE              UNDETERMINED        _______________ UNDETERMINED
         REAL PROPERTY LEASE AGREEMENT
         CASTLE AND COOKE DEVELOPMENT
         KAY WILSON
         PROPERTY MANAGER
         2470 TUSCANY ST STE 104
         CORONA CA 92881




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Debtor   MAC ACQUISITION LLC                                                                                Case number (if known) 17-12224

         Description and location of property                  Nature and          Net book value      Valuation         Current value of
         Include street address or other description such as   extent of           of debtor's         method used for   debtor’s interest
         Assessor Parcel Number (APN), and type of property    debtor’s interest   interest            current value
         (for example, acreage, factory, warehouse,            in property         (Where available)
         apartment or office building), if available.
55.      Any building, other improved real estate, or land which the debtor owns or in which the debtor has an interest
55.176. REAL PROPERTY LEASE STORE # 31296                      LESSEE              UNDETERMINED        _______________ UNDETERMINED
         REAL PROPERTY LEASE AGREEMENT
         WEINGARTEN MILLER AURORA II LLC AND
         GDC AURORA LLC TENANTS IN COMMON
         TIFFANY TRAN LEGAL ADMINISTRATOR
         2600 CITADEL PLZ DR STE 125
         HOUSTON TX 77008

55.177. REAL PROPERTY LEASE STORE # 31299                      LESSEE              UNDETERMINED        _______________ UNDETERMINED
         REAL PROPERTY LEASE AGREEMENT
         PRUDENTIAL INSURANCE CO OF AMERICA
         CARLY MILLER
         7 GIRALDA FARMS
         MADISON NJ 07940

55.178. REAL PROPERTY LEASE STORE # 31299                      LESSEE              UNDETERMINED        _______________ UNDETERMINED
         REAL PROPERTY LEASE AGREEMENT
         CP VENTURE FIVE AWC LLC
         LENNAR COMMERCIAL SVC LLC
         VICKIE BOCK REGIONAL GM
         7000 CENTRAL PKWY NE STE 700
         ATLANTA GA 30328

55.179. REAL PROPERTY LEASE STORE # 31299                      LESSEE              UNDETERMINED        _______________ UNDETERMINED
         REAL PROPERTY LEASE AGREEMENT
         THE AVENUE WEST COBB
         HAZEL PAYNE
         GENERAL MANAGER
         3625 DALLAW HIGHWAY STE 470
         MARIETTA GA 30064

55.180. REAL PROPERTY LEASE STORE # 31299                      LESSEE              UNDETERMINED        _______________ UNDETERMINED
         REAL PROPERTY LEASE AGREEMENT
         PRUDENTIAL INSURANCE CO OF AMERICA
         LAW DEPT
         7 GIRALDA FARMS
         MADISON NJ 07940

55.181. REAL PROPERTY LEASE STORE # 31300                      LESSEE              UNDETERMINED        _______________ UNDETERMINED
         REAL PROPERTY LEASE AGREEMENT
         PEMBROKE SQUARE ASSOCIATES
         DEBRA GUERRERO DIR PROP MNGMN
         4460 CORPORATION LN STE 300
         VIRGINIA BEACH VA 23462

55.182. REAL PROPERTY LEASE STORE # 31301                      LESSEE              UNDETERMINED        _______________ UNDETERMINED
         REAL PROPERTY LEASE AGREEMENT
         CASAS ADOBES BAPTIST CHURCH
         CUSHMAN AND WAKEFIELD/PICOR
         DANA ELCESS PROPERTY MANAGER
         1100 N WILMOT STE 200
         TUCSON AZ 85712



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Debtor   MAC ACQUISITION LLC                                                                                Case number (if known) 17-12224

         Description and location of property                  Nature and          Net book value      Valuation         Current value of
         Include street address or other description such as   extent of           of debtor's         method used for   debtor’s interest
         Assessor Parcel Number (APN), and type of property    debtor’s interest   interest            current value
         (for example, acreage, factory, warehouse,            in property         (Where available)
         apartment or office building), if available.
55.      Any building, other improved real estate, or land which the debtor owns or in which the debtor has an interest
55.183. REAL PROPERTY LEASE STORE # 31302                      LESSEE              UNDETERMINED        _______________ UNDETERMINED
         REAL PROPERTY LEASE AGREEMENT
         JCC CALIFORNIA PROPERTIES LLC
         FESTIVAL MANAGEMENT CORP
         LEGAL DEPT
         9841 AIRPORT BLVD STE 700
         LOS ANGELES CA 90045

55.184. REAL PROPERTY LEASE STORE # 31307                      LESSEE              UNDETERMINED        _______________ UNDETERMINED
         REAL PROPERTY LEASE AGREEMENT
         SOUTH STREET CENTER LLC
         C O DSB PROPERTIES INC
         CAROLINE SACHS PROPERTY ADMINISTRATOR
         101 N WESTLAKE BLVD STE 201
         WESTLAKE VILLAGE CA 91362

55.185. REAL PROPERTY LEASE STORE # 31307                      LESSEE              UNDETERMINED        _______________ UNDETERMINED
         REAL PROPERTY LEASE AGREEMENT
         SOUTH STREET CENTER LLC
         ROYAL OAK PROPERTY SVC
         STEVE WELCH PROPERTY MANAGER
         7750 BURNET AVE
         VAN NUYS CA 91405

55.186. REAL PROPERTY LEASE STORE # 31314                      LESSEE              UNDETERMINED        _______________ UNDETERMINED
         REAL PROPERTY LEASE AGREEMENT
         BOAS LAGUNA VILLAGE LLC
         REGENCY MANAGEMENT
         JEANNE LICARI
         15260 VENTURA BLVD STE 1705
         SHERMAN OAKS CA 91403

55.187. REAL PROPERTY LEASE STORE # 31324                      LESSEE              UNDETERMINED        _______________ UNDETERMINED
         REAL PROPERTY LEASE AGREEMENT
         REDLANDS JOINT VENTURE LLC
         C O MAJECTIC REALTY CO
         SARA BOMBARDIER PROPERTY MANAGER
         13191 CROSSROADS PKWY NORTH 6TH FL
         CITY OF INDUSTRY CA 91746

55.188. REAL PROPERTY LEASE STORE # 31327                      LESSEE              UNDETERMINED        _______________ UNDETERMINED
         REAL PROPERTY LEASE AGREEMENT
         ISBI SUSQUEHANNA LLC
         METRO COMMERCIAL MANAGEMENT SVC INC
         PROPERTY MANAGEMENT ELAINE MANEVAL
         307 FELLOWSHIP RD STE 300
         MOUNT LAUREL NJ 08054




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Debtor   MAC ACQUISITION LLC                                                                                Case number (if known) 17-12224

         Description and location of property                  Nature and          Net book value      Valuation         Current value of
         Include street address or other description such as   extent of           of debtor's         method used for   debtor’s interest
         Assessor Parcel Number (APN), and type of property    debtor’s interest   interest            current value
         (for example, acreage, factory, warehouse,            in property         (Where available)
         apartment or office building), if available.
55.      Any building, other improved real estate, or land which the debtor owns or in which the debtor has an interest
55.189. REAL PROPERTY LEASE STORE # 31339                      LESSEE              UNDETERMINED        _______________ UNDETERMINED
         REAL PROPERTY LEASE AGREEMENT
         GGPOTAY RANCH LP
         GENERAL GROWTH PROPERTIES
         HOWARD SIGAL VP AND SR ASSOCIATE GC
         110 NORTH WACKER DR
         CHICAGO IL 60606

55.190. REAL PROPERTY LEASE STORE # 31340                      LESSEE              UNDETERMINED        _______________ UNDETERMINED
         REAL PROPERTY LEASE AGREEMENT
         DDR WINTER GARDEN LLC
         1 EXECUTIVE VP LEASING 2 GENERAL
         COUNSEL
         RICHARD FORREST OPERATIONS MANAGER
         3300 ENTERPRISE PKWY
         BEACHWOOD OH 44122

55.191. REAL PROPERTY LEASE STORE # 31342                      LESSEE              UNDETERMINED        _______________ UNDETERMINED
         REAL PROPERTY LEASE AGREEMENT
         HINES GLOBAL REIT 2615 MED CENTER
         PARKWAY LLC
         DHA ASSET MANAGEMENT LLC
         LAUREN ROWLAND GENERAL MANAGER
         1901 FREDERICA ST
         OWENSBORO KY 42301

55.192. REAL PROPERTY LEASE STORE # 31345                      LESSEE              UNDETERMINED        _______________ UNDETERMINED
         REAL PROPERTY LEASE AGREEMENT
         CWSOVIEDO DEVELOPMENT LLC
         CWS DEVELOPMENT LLC
         CARL W SAHLSTEN MANAGING MEMBER
         12302 MARBLEHEAD DR
         TAMPA FL 33626

55.193. REAL PROPERTY LEASE STORE # 31346                      LESSEE              UNDETERMINED        _______________ UNDETERMINED
         REAL PROPERTY LEASE AGREEMENT
         H AND Y NORTHERN CALIFORNIA LLC
         BHG REAL ESTATE MASON MCDUFFIE
         ANNA LI
         2 ADRIAN CT #38
         BURLINGAME CA 94010

55.194. REAL PROPERTY LEASE STORE # 31347                      LESSEE              UNDETERMINED        _______________ UNDETERMINED
         REAL PROPERTY LEASE AGREEMENT
         8000 EL CERRITO INVESTORS LLC
         PHIL MALOUF
         1777 MANOR DR
         HILLSBOROUGH CA 94010




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Debtor   MAC ACQUISITION LLC                                                                                   Case number (if known) 17-12224

         Description and location of property                     Nature and          Net book value      Valuation         Current value of
         Include street address or other description such as      extent of           of debtor's         method used for   debtor’s interest
         Assessor Parcel Number (APN), and type of property       debtor’s interest   interest            current value
         (for example, acreage, factory, warehouse,               in property         (Where available)
         apartment or office building), if available.
55.      Any building, other improved real estate, or land which the debtor owns or in which the debtor has an interest
55.195. REAL PROPERTY LEASE STORE # 31349                         LESSEE              UNDETERMINED        _______________ UNDETERMINED
         REAL PROPERTY LEASE AGREEMENT
         ALDERWOOD MALL LLC
         GENERAL GROWTH PROPERTIES
         HOWARD SIGAL VP AND SR ASSOCIATE GC
         110 N WACKER DR
         CHICAGO IL 60606

55.196. REAL PROPERTY LEASE STORE # 81595                         LESSEE              UNDETERMINED        _______________ UNDETERMINED
         REAL PROPERTY LEASE AGREEMENT
         RICHARD J. ROSENTHAL
         PO BOX 837
         VENICE CA 90294

55.197. REAL PROPERTY LEASE STORE # 90901                         LESSEE              UNDETERMINED        _______________ UNDETERMINED
         REAL PROPERTY LEASE AGREEMENT
         BLK220 LLC
         MARK WITKIEWICZ
         1404 LARIMER ST STE 300
         DENVER CO 80538

55.198. REAL PROPERTY LEASE STORE # 90901                         LESSEE              UNDETERMINED        _______________ UNDETERMINED
         REAL PROPERTY LEASE AGREEMENT
         BLK220 LLC
         MCWHINNEY
         CRHISTINA SONG MOLINARO
         2725 ROCKY MOUNTAIN AVE STE 200
         LOVELAND CO 80538

56.   Total of part 9
      Add the current value on lines 55. Copy the total to line 88.                                                         $14,885,739.36

57.   Is a depreciation schedule available for any of the property listed in Part 9?
      ¨ No
      þ Yes
58.   Has any of the property listed in Part 9 been appraised by a professional within the last year?
      þ No
      ¨ Yes

 Part 10: Intangibles and intellectual property

59.   Does the debtor have any interests in intangibles or intellectual property?
      ¨ No. Go to Part 11.
      þ Yes. Fill in the information below.




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Debtor    MAC ACQUISITION LLC                                                                  Case number (if known) 17-12224

         General description                                    Net book value of   Valuation method    Current value of
                                                                debtor's interest   used for current    debtor’s interest
                                                                (Where available)   value

60.      Patents, copyrights, trademarks, and trade secrets
60.1.    ___________________________________________________    $_______________    _________________   $_______________

61.      Internet domain names and websites
                                                                Net book value of   Valuation method    Current value of
                                                                debtor's interest                       debtor’s interest
61.1.    ___________________________________________________    $_______________    _________________   $_______________

62.      Licenses, franchises, and royalties
62.1.    STATE LIQUOR LICENSE - CA ABC, NO. 472501 QUOTA         $15,000.00         _________________ UNDETERMINED
         LICENSE
62.2.    STATE LIQUOR LICENSE - CA ABC, NO. 472523 QUOTA         $15,000.00         _________________ UNDETERMINED
         LICENSE
62.3.    STATE LIQUOR LICENSE - CA ABC, NO. 527022 QUOTA         $15,000.00         _________________ UNDETERMINED
         LICENSE
62.4.    STATE LIQUOR LICENSE - CA ABC, NO. 472508 QUOTA         $15,000.00         _________________ UNDETERMINED
         LICENSE
62.5.    STATE LIQUOR LICENSE - CA ABC, NO. 472516 QUOTA         $15,000.00         _________________ UNDETERMINED
         LICENSE
62.6.    STATE LIQUOR LICENSE - CA ABC, NO. 472490 QUOTA         $18,000.00         _________________ UNDETERMINED
         LICENSE
62.7.    STATE LIQUOR LICENSE - CA ABC, NO. 47-526552 QUOTA      $18,000.00         _________________ UNDETERMINED
         LICENSE
62.8.    STATE LIQUOR LICENSE - CA ABC, NO. 472513 QUOTA         $20,000.00         _________________ UNDETERMINED
         LICENSE
62.9.    STATE LIQUOR LICENSE - CA ABC, NO. 472500 QUOTA         $20,000.00         _________________ UNDETERMINED
         LICENSE
62.10.   STATE LIQUOR LICENSE - CA ABC, NO. 472499 QUOTA         $20,000.00         _________________ UNDETERMINED
         LICENSE
62.11.   STATE LIQUOR LICENSE - CA ABC, NO. 472506 QUOTA         $20,000.00         _________________ UNDETERMINED
         LICENSE
62.12.   STATE LIQUOR LICENSE - OHIO DIV. OF LIQUOR CONTROL,     $20,000.00         _________________ UNDETERMINED
         NO. 5402025-0005-QUOTA
62.13.   STATE LIQUOR LICENSE - CA ABC, NO. 472505 QUOTA         $22,000.00         _________________ UNDETERMINED
         LICENSE
62.14.   STATE LIQUOR LICENSE - CA ABC, NO. 472478 QUOTA         $22,000.00         _________________ UNDETERMINED
         LICENSE
62.15.   STATE LIQUOR LICENSE - CA ABC, NO. 472480 QUOTA         $22,000.00         _________________ UNDETERMINED
         LICENSE
62.16.   STATE LIQUOR LICENSE - CA ABC, NO. 472489 QUOTA         $22,000.00         _________________ UNDETERMINED
         LICENSE
62.17.   STATE LIQUOR LICENSE - CA ABC, NO. 472503 QUOTA         $22,000.00         _________________ UNDETERMINED
         LICENSE
62.18.   STATE LIQUOR LICENSE - MICHIGAN LIQUOR CONTROL          $25,000.00         _________________ UNDETERMINED
         COMMISSION, NO. 196286-2015 SS 215262
62.19.   STATE LIQUOR LICENSE - CA ABC, NO. 472495 QUOTA         $40,000.00         _________________ UNDETERMINED
         LICENSE
62.20.   STATE LIQUOR LICENSE - CA ABC, NO. 472494 QUOTA         $40,000.00         _________________ UNDETERMINED
         LICENSE


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62.21.   STATE LIQUOR LICENSE - MICHIGAN LIQUOR CONTROL        $40,000.00        _________________ UNDETERMINED
         COMMISSION, NO. 196282-2017 SS 215264 QUOTA
62.22.   STATE LIQUOR LICENSE - MICHIGAN LIQUOR CONTROL        $40,000.00        _________________ UNDETERMINED
         COMMISSION, NO. 215263 196290-2015 SS QUOTA
62.23.   STATE LIQUOR LICENSE - CA ABC, NO. 472519 QUOTA       $40,000.00        _________________ UNDETERMINED
         LICENSE
62.24.   STATE LIQUOR LICENSE - MICHIGAN LIQUOR CONTROL        $45,000.00        _________________ UNDETERMINED
         COMMISSION, NO. QUOTA 215265 196281-2017
62.25.   STATE LIQUOR LICENSE - CA ABC, NO. 472518 QUOTA       $52,000.00        _________________ UNDETERMINED
         LICENSE
62.26.   STATE LIQUOR LICENSE - CA ABC, NO. 472510 QUOTA       $52,000.00        _________________ UNDETERMINED
         LICENSE
62.27.   STATE LIQUOR LICENSE - CA ABC, NO. 472509 QUOTA       $52,000.00        _________________ UNDETERMINED
         LICENSE
62.28.   STATE LIQUOR LICENSE - MICHIGAN LIQUOR CONTROL        $55,000.00        _________________ UNDETERMINED
         COMMISSION, NO. 215261 196283-2015 SS-QUOTA
62.29.   STATE LIQUOR LICENSE - CA ABC, NO. 472520 QUOTA       $75,000.00        _________________ UNDETERMINED
         LICENSE
62.30.   STATE LIQUOR LICENSE - CA ABC, NO. 472479 QUOTA       $80,000.00        _________________ $80,000.00 -
         LICENSE                                                                                   PURCHASE
                                                                                                   AGREEMENT
62.31.   STATE LIQUOR LICENSE - COMMONWEALTH OF                $100,000.00       _________________ UNDETERMINED
         PENNSYLVANIA LIQUOR CONTROL BOARD, NO. R 19406 /
         LID 60901 QUOTA LICENSE
62.32.   STATE LIQUOR LICENSE - PA LIQUOR CONTROL BOARD,       $225,000.00       _________________ UNDETERMINED
         NO. R-19174 / LID 60904 QUOTA LIC
62.33.   STATE LIQUOR LICENSE - NM ALCOHOL AND GAMING          $300,000.00       _________________ UNDETERMINED
         DIVISION, NO. 1372 QUOTA LICENSE
62.34.   LOCAL/CITY LIQUOR LICENSE - TOWN OF BURLINGTON,       $400,000.00       _________________ UNDETERMINED
         NO. 16-016000029 QUOTA-CLOSING 2/20/17
62.35.   COUNTY LIQUOR LICENSE - COUNTY OF FAIRFAX, NO. 000-   UNDETERMINED      _________________ UNDETERMINED
         09-2115
62.36.   STATE LIQUOR LICENSE - OHIO DIV. OF LIQUOR CONTROL,   UNDETERMINED      _________________ UNDETERMINED
         NO. 5402025-0020-QUOTA
62.37.   STATE LIQUOR LICENSE - VA ABC, NO. 055591             UNDETERMINED      _________________ UNDETERMINED
62.38.   STATE LIQUOR LICENSE - NC ABC COMMISSION, NO.         UNDETERMINED      _________________ UNDETERMINED
         00167131AJ-994
62.39.   LOCAL/CITY LIQUOR LICENSE - CITY-COUNTY TAX           UNDETERMINED      _________________ UNDETERMINED
         COLLECTOR, NO. 0104615 31206LLIQ
62.40.   STATE LIQUOR LICENSE - NC ABC COMMISSION, NO.         UNDETERMINED      _________________ UNDETERMINED
         00167131AJ-993
62.41.   LOCAL/CITY LIQUOR LICENSE - TOWN OF CARY, NO. 18-     UNDETERMINED      _________________ UNDETERMINED
         00000573
62.42.   COUNTY LIQUOR LICENSE - WAKE COUNTY REVENUE           UNDETERMINED      _________________ UNDETERMINED
         DEPT., NO. 33138
62.43.   STATE LIQUOR LICENSE - NC ABC COMMISSION, NO.         UNDETERMINED      _________________ UNDETERMINED
         00167131AJ-998
62.44.   COUNTY LIQUOR LICENSE - WAKE COUNTY REVENUE           UNDETERMINED      _________________ UNDETERMINED
         DEPT, NO. 31820
62.45.   LOCAL/CITY LIQUOR LICENSE - CITY OF RALEIGH, NO.      UNDETERMINED      _________________ UNDETERMINED
         45942 LLIQ



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62.46.   STATE LIQUOR LICENSE - ALABAMA ALCOHOLIC                UNDETERMINED     _________________ UNDETERMINED
         BEVERAGE CONTROL BOARD, NO. 001809637
62.47.   SUNDAY PERMIT - SC DOR, ABL SECTION, NO. LOP            UNDETERMINED     _________________ UNDETERMINED
         320471529
62.48.   STATE LIQUOR LICENSE - SC DOR, ABL SECTION, NO. PBW     UNDETERMINED     _________________ UNDETERMINED
         320471529
62.49.   STATE LIQUOR LICENSE - SC DOR, ABL SECTION, NO. PLB     UNDETERMINED     _________________ UNDETERMINED
         320471529
62.50.   STATE LIQUOR LICENSE - GA DEPT OF REVENUE ALCOHOL       UNDETERMINED     _________________ UNDETERMINED
         AND TOBACCO TAX UNIT, NO. 0042298
62.51.   COUNTY LIQUOR LICENSE - GWINNETT COUNTY, NO.            UNDETERMINED     _________________ UNDETERMINED
         20160161
62.52.   STATE LIQUOR LICENSE - GA DEPT OF REVENUE ALCOHOL       UNDETERMINED     _________________ UNDETERMINED
         AND TOBACCO TAX UNIT, NO. 0046891
62.53.   LOCAL/CITY LIQUOR LICENSE - CITY OF ALPHARETTA, NO.     UNDETERMINED     _________________ UNDETERMINED
         3893 ACCT: 5593
62.54.   STATE LIQUOR LICENSE - GA DEPT OF REVENUE ALCOHOL       UNDETERMINED     _________________ UNDETERMINED
         AND TOBACCO TAX UNIT, NO. 0046989
62.55.   COUNTY LIQUOR LICENSE - COBB COUNTY, NO. 901171         UNDETERMINED     _________________ UNDETERMINED
62.56.   STATE LIQUOR LICENSE - WA LIQUOR CONTROL BOARD,         UNDETERMINED     _________________ UNDETERMINED
         NO. 603 184 292 / 086737
62.57.   STATE LIQUOR LICENSE - CO DOR, NO. 12-79114-0002 SLIQ   UNDETERMINED     _________________ UNDETERMINED
62.58.   LOCAL/CITY LIQUOR LICENSE - CITY OF WESTMINSTER,        UNDETERMINED     _________________ UNDETERMINED
         NO. 2868101 LLIQ
62.59.   LOCAL/CITY LIQUOR LICENSE - CITY OF LAKEWOOD, NO.       UNDETERMINED     _________________ UNDETERMINED
         12-79114-0004 LLIQ
62.60.   STATE LIQUOR LICENSE - CO DOR, NO. 12791140004 SLIQ     UNDETERMINED     _________________ UNDETERMINED
62.61.   LOCAL/CITY LIQUOR LICENSE - CITY OF FT. COLLINS, NO.    UNDETERMINED     _________________ UNDETERMINED
         12-791140009 LLIQ
62.62.   STATE LIQUOR LICENSE - CO DOR, NO. 12-791140009 SLIQ    UNDETERMINED     _________________ UNDETERMINED
62.63.   LOCAL/CITY LIQUOR LICENSE - CITY OF FT. COLLINS, NO.    UNDETERMINED     _________________ UNDETERMINED
         25
62.64.   LOCAL/CITY LIQUOR LICENSE - CITY OF FORT WORTH, NO.     UNDETERMINED     _________________ UNDETERMINED
         6832
62.65.   COUNTY LIQUOR LICENSE - TARRANT COUNTY, NO.             UNDETERMINED     _________________ UNDETERMINED
         MB/LB710745 CLIQ
62.66.   STATE LIQUOR LICENSE - TEXAS COMPTROLLER, NO.           UNDETERMINED     _________________ UNDETERMINED
         MB710745 SLIQ
62.67.   STATE LIQUOR LICENSE - VA ABC, NO. 055594               UNDETERMINED     _________________ UNDETERMINED
62.68.   STATE LIQUOR LICENSE - KY DEPT OF ABC, NO. 056-NQ2-     UNDETERMINED     _________________ UNDETERMINED
         1597 / 056-RS-2940
62.69.   LOCAL/CITY LIQUOR LICENSE - CITY OF JEFFERSONTOWN,      UNDETERMINED     _________________ UNDETERMINED
         NO. 6580
62.70.   LOCAL/CITY LIQUOR LICENSE - CITY OF MURFREESBORO,       UNDETERMINED     _________________ UNDETERMINED
         NO. 101-10-001 101-410-0-142
62.71.   LOCAL BEER PERMIT - CITY OF MURFREESBORO, NO. 210       UNDETERMINED     _________________ UNDETERMINED
62.72.   STATE LIQUOR LICENSE - TN ABC, NO. 50202                UNDETERMINED     _________________ UNDETERMINED
62.73.   STATE LIQUOR LICENSE - CO DOR, NO. 12791140006 SLIQ     UNDETERMINED     _________________ UNDETERMINED
62.74.   LOCAL/CITY LIQUOR LICENSE - CITY OF COLORADO            UNDETERMINED     _________________ UNDETERMINED
         SPRINGS, NO. 715818 LLIQ

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62.75.   LOCAL/CITY LIQUOR LICENSE - ARLINGTON CITY             UNDETERMINED     _________________ UNDETERMINED
         SECRETARY'S OFFICE, NO. 08-734688
62.76.   COUNTY LIQUOR LICENSE - TARRANT COUNTY, NO.            UNDETERMINED     _________________ UNDETERMINED
         MB/PE710776 CLIQ
62.77.   STATE LIQUOR LICENSE - TEXAS COMPTROLLER, NO.          UNDETERMINED     _________________ UNDETERMINED
         MB710776 SLIQ
62.78.   LOCAL/CITY LIQUOR LICENSE - CITY OF PHOENIX, NO.       UNDETERMINED     _________________ UNDETERMINED
         08009076 LLIQ
62.79.   STATE LIQUOR LICENSE - AZ DLLC, NO. 12077862           UNDETERMINED     _________________ UNDETERMINED
62.80.   SPECIAL USE PERMIT - LEWKOWITZ LAW OFFICE, PLC, NO.    UNDETERMINED     _________________ UNDETERMINED
         15590.02
62.81.   LOCAL/CITY LIQUOR LICENSE - CITY OF CORONA, NO.        UNDETERMINED     _________________ UNDETERMINED
         ABP09-002
62.82.   LOCAL/CITY LIQUOR LICENSE - CITY OF EL CERRITO, NO.    UNDETERMINED     _________________ UNDETERMINED
         10183
62.83.   COUNTY LIQUOR LICENSE - DALLAS COUNTY TAX              UNDETERMINED     _________________ UNDETERMINED
         ASSESSOR-COLLECTOR, NO. MB/PE710767 CLIQ
62.84.   STATE LIQUOR LICENSE - TEXAS COMPTROLLER, NO.          UNDETERMINED     _________________ UNDETERMINED
         MB/PE710767 SLIQ
62.85.   STATE LIQUOR LICENSE - AZ DLLC, NO. 12103935           UNDETERMINED     _________________ UNDETERMINED
62.86.   LOCAL/CITY LIQUOR LICENSE - CITY OF TUCSON, NO.        UNDETERMINED     _________________ UNDETERMINED
         3003705 LLIQ
62.87.   SPECIAL USE PERMIT - LEWKOWITZ LAW OFFICE, PLC, NO.    UNDETERMINED     _________________ UNDETERMINED
         4112631163 SUP
62.88.   STATE LIQUOR LICENSE - ARKANSAS ABC DIVISION, NO.      UNDETERMINED     _________________ UNDETERMINED
         2841-80061589
62.89.   LOCAL/CITY LIQUOR LICENSE - CITY OF LITTLE ROCK, NO.   UNDETERMINED     _________________ UNDETERMINED
         AL142353
62.90.   LOCAL/CITY LIQUOR LICENSE - CITY OF SOUTH PORTLAND, UNDETERMINED        _________________ UNDETERMINED
         NO. 135255
62.91.   STATE LIQUOR LICENSE - MAINE DEPT. OF PUBLIC SAFETY    UNDETERMINED     _________________ UNDETERMINED
         LIQUOR LICENSING & INSPECTION, NO. CAR-2013-7072
62.92.   LOCAL/CITY LIQUOR LICENSE - CITY OF PLANO, NO. 336     UNDETERMINED     _________________ UNDETERMINED
62.93.   COUNTY LIQUOR LICENSE - COLLIN COUNTY CLERK, NO.       UNDETERMINED     _________________ UNDETERMINED
         RM710747/PE CLIQ
62.94.   STATE LIQUOR LICENSE - TEXAS COMPTROLLER, NO.          UNDETERMINED     _________________ UNDETERMINED
         RM710747/PE SLIQ
62.95.   LOCAL/CITY LIQUOR LICENSE - CITY OF PLANO (CITY        UNDETERMINED     _________________ UNDETERMINED
         SECRETARY), NO. 335
62.96.   COUNTY LIQUOR LICENSE - COLLIN COUNTY CLERK, NO.       UNDETERMINED     _________________ UNDETERMINED
         RM710769 CLIQ
62.97.   STATE LIQUOR LICENSE - TEXAS COMPTROLLER, NO.          UNDETERMINED     _________________ UNDETERMINED
         RM710769 SLIQ
62.98.   STATE LIQUOR LICENSE - CO DOR, NO. 12791140003 SLIQ    UNDETERMINED     _________________ UNDETERMINED
62.99.   LOCAL/CITY LIQUOR LICENSE - CITY OF AURORA, NO.        UNDETERMINED     _________________ UNDETERMINED
         165506
62.100. LOCAL/CITY LIQUOR LICENSE - CITY OF GOODYEAR, NO.       UNDETERMINED     _________________ UNDETERMINED
        12077861 LLIQ
62.101. STATE LIQUOR LICENSE - AZ DLLC, NO. 12077861 SLIQ       UNDETERMINED     _________________ UNDETERMINED
62.102. SPECIAL USE PERMIT - LEWKOWITZ LAW OFFICE, PLC, NO.     UNDETERMINED     _________________ UNDETERMINED
        15590.01

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62.103. STATE LIQUOR LICENSE - AZ DLLC, NO. 12077866          UNDETERMINED      _________________ UNDETERMINED
62.104. SPECIAL USE PERMIT - LEWKOWITZ LAW OFFICES, PLC,      UNDETERMINED      _________________ UNDETERMINED
        NO. 15590.03
62.105. LOCAL/CITY LIQUOR LICENSE - CITY OF PHOENIX, NO.      UNDETERMINED      _________________ UNDETERMINED
        08009081 LLIQ
62.106. STATE LIQUOR LICENSE - AZ DLLC, NO. 12103936          UNDETERMINED      _________________ UNDETERMINED
62.107. SPECIAL USE PERMIT - LEWKOWITZ LAW OFFICES, PLC,      UNDETERMINED      _________________ UNDETERMINED
        NO. 15590.06
62.108. STATE LIQUOR LICENSE - TEXAS COMPTROLLER, NO.         UNDETERMINED      _________________ UNDETERMINED
        MB,LB,LPE 710757 SLIQ
62.109. COUNTY LIQUOR LICENSE - NUECES COUNTY TAX             UNDETERMINED      _________________ UNDETERMINED
        COLLECTOR, NO. MB,LB,PE 710757 CLIQ
62.110. LOCAL/CITY LIQUOR LICENSE - CITY OF CORPUS CHRISTI,   UNDETERMINED      _________________ UNDETERMINED
        NO. MB710757/LB/PE
62.111. LOCAL/CITY LIQUOR LICENSE - MURRAY CITY               UNDETERMINED      _________________ UNDETERMINED
        CORPORATION, NO. 12232 LLIQ-QUOTA
62.112. STATE LIQUOR LICENSE - UTAH DABC, NO. RE01844-QUOTA UNDETERMINED        _________________ UNDETERMINED
62.113. LOCAL/CITY LIQUOR LICENSE - CITY OF GREENWOOD         UNDETERMINED      _________________ UNDETERMINED
        VILLAGE, NO. 1279114-0007 LLIQ OL-17-02503
62.114. STATE LIQUOR LICENSE - CO DOR, NO. 12791140007 SLIQ   UNDETERMINED      _________________ UNDETERMINED
62.115. LOCAL/CITY LIQUOR LICENSE - CITY OF LAS VEGAS, NO.    UNDETERMINED      _________________ UNDETERMINED
        L16-00324
62.116. LOCAL/CITY LIQUOR LICENSE - CITY OF ALBUQUERQUE,      UNDETERMINED      _________________ UNDETERMINED
        NO. FA0086461
62.117. LOCAL/CITY LIQUOR LICENSE - CITY OF HENDERSON, NO.    UNDETERMINED      _________________ UNDETERMINED
        2009300078 72400
62.118. LOCAL/CITY LIQUOR LICENSE - CITY OF LAS VEGAS, NO.    UNDETERMINED      _________________ UNDETERMINED
        L21-00075
62.119. COUNTY LIQUOR LICENSE - DENTON COUNTY ASSESSOR-       UNDETERMINED      _________________ UNDETERMINED
        COLLECTOR, NO. RM 710756/PE CLIQ
62.120. STATE LIQUOR LICENSE - TEXAS COMPTROLLER, NO.         UNDETERMINED      _________________ UNDETERMINED
        RM710756 SLIQ
62.121. LOCAL/CITY LIQUOR LICENSE - CITY OF LEWISVILLE, NO.   UNDETERMINED      _________________ UNDETERMINED
        RM710756/02-2005-00016
62.122. STATE LIQUOR LICENSE - TN ABC, NO. 82037              UNDETERMINED      _________________ UNDETERMINED
62.123. LOCAL BEER PERMIT - CITY OF MEMPHIS, NO. BR3604       UNDETERMINED      _________________ UNDETERMINED
62.124. LOCAL/CITY LIQUOR LICENSE - CITY OF MEMPHIS, NO. T-   UNDETERMINED      _________________ UNDETERMINED
        4522 LLIQ
62.125. LOCAL BEER PERMIT - METRO BEER PERMIT BOARD           UNDETERMINED      _________________ UNDETERMINED
        COUNTY, NO. 18939
62.126. LOCAL/CITY LIQUOR LICENSE - METROPOLITAN GOVT. OF     UNDETERMINED      _________________ UNDETERMINED
        NASHVILLE & DAVIDSON COUNTY, NO. 52482 LLIQ
62.127. STATE LIQUOR LICENSE - TN ABC, NO. 52482 SLIQ         UNDETERMINED      _________________ UNDETERMINED
62.128. COUNTY LIQUOR LICENSE - BEXAR COUNTY TAX              UNDETERMINED      _________________ UNDETERMINED
        ASSESSOR, NO. MB710781/PE CLIQ
62.129. LOCAL/CITY LIQUOR LICENSE - CITY OF SELMA, NO.        UNDETERMINED      _________________ UNDETERMINED
        MB710781/PE LLIQ
62.130. STATE LIQUOR LICENSE - TEXAS COMPTROLLER, NO.         UNDETERMINED      _________________ UNDETERMINED
        MB710781/PE SLIQ



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62.131. LOCAL/CITY LIQUOR LICENSE - CITY OF ANN ARBOR, NO.    UNDETERMINED      _________________ UNDETERMINED
        17766 LLIQ
62.132. LOCAL/CITY LIQUOR LICENSE - CITY OF RENO, NO.         UNDETERMINED      _________________ UNDETERMINED
        R101706Q-LIC
62.133. LOCAL/CITY LIQUOR LICENSE - CITY OF AUBURN HILLS, NO. UNDETERMINED      _________________ UNDETERMINED
        31199 / 7549LLIQ
62.134. LOCAL/CITY LIQUOR LICENSE - CITY OF AUBURN HILLS, NO. UNDETERMINED      _________________ UNDETERMINED
        31199 / 7549LLIQ
62.135. LIQUOR CITY/COUNTY - TRAVIS COUNTY, NO. MB/PE         UNDETERMINED      _________________ UNDETERMINED
        710753/RO711
62.136. STATE LIQUOR LICENSE - TEXAS COMPTROLLER, NO.         UNDETERMINED      _________________ UNDETERMINED
        MB/PE710753 SLIQ
62.137. LIQUOR CITY/COUNTY - TRAVIS COUNTY TAX                UNDETERMINED      _________________ UNDETERMINED
        ASSESSOR/COLLECTOR, NO. MB/LB/PE 710760 COUNTY-
        CITY
62.138. STATE LIQUOR LICENSE - TEXAS COMPTROLLER, NO.         UNDETERMINED      _________________ UNDETERMINED
        MB/LB/PE 710760 SLIQ
62.139. LOCAL/CITY LIQUOR LICENSE - CITY OF EL PASO, NO.      UNDETERMINED      _________________ UNDETERMINED
        60LALC13-00924
62.140. COUNTY LIQUOR LICENSE - EL PASO COUNTY TAX            UNDETERMINED      _________________ UNDETERMINED
        ASSESSOR, NO. MB/PE710754 CLIQ
62.141. STATE LIQUOR LICENSE - TEXAS COMPTROLLER, NO.         UNDETERMINED      _________________ UNDETERMINED
        MB/PE710754 SLIQ
62.142. STATE LIQUOR LICENSE - OHIO DIV. OF LIQUOR CONTROL,   UNDETERMINED      _________________ UNDETERMINED
        NO. 5402025-0025-QUOTA
62.143. COUNTY LIQUOR LICENSE - MONTGOMERY COUNTY TAX         UNDETERMINED      _________________ UNDETERMINED
        ASSESSOR, NO. MB710759 CLIQ
62.144. STATE LIQUOR LICENSE - TEXAS COMPTROLLER, NO.         UNDETERMINED      _________________ UNDETERMINED
        MB710759 SLIQ
62.145. STATE LIQUOR LICENSE - OHIO DIV. OF LIQUOR CONTROL,   UNDETERMINED      _________________ UNDETERMINED
        NO. 5402025-0010
62.146. LOCAL/CITY LIQUOR LICENSE - CITY OF FRISCO, OFFICE    UNDETERMINED      _________________ UNDETERMINED
        OF THE CITY SECRETARY, NO. A08-0038
62.147. STATE LIQUOR LICENSE - TEXAS COMPTROLLER, NO.         UNDETERMINED      _________________ UNDETERMINED
        RM710752/FB/PE SLIQ
62.148. COUNTY LIQUOR LICENSE - COLLIN COUNTY CLERK, NO.      UNDETERMINED      _________________ UNDETERMINED
        RM710752/PE CLIQ
62.149. COUNTY LIQUOR LICENSE - WILLIAMSON COUNTY TAX         UNDETERMINED      _________________ UNDETERMINED
        ASSESSOR COLLECTOR, NO. MB-710751
62.150. STATE LIQUOR LICENSE - TEXAS COMPTROLLER, NO.         UNDETERMINED      _________________ UNDETERMINED
        MB/PE710751
62.151. LOCAL/CITY LIQUOR LICENSE - CITY OF ROUND ROCK, NO.   UNDETERMINED      _________________ UNDETERMINED
        MB710751/PE
62.152. STATE LIQUOR LICENSE - KY DEPT OF ABC, NO. 056-NQ2-   UNDETERMINED      _________________ UNDETERMINED
        1597 / 056-RS-2940
62.153. LOCAL/CITY LIQUOR LICENSE - CITY OF JEFFERSONTOWN,    UNDETERMINED      _________________ UNDETERMINED
        NO. 6580
62.154. HEALTH PERMIT - KENTUCKY CABINET FOR HEALTH AND       UNDETERMINED      _________________ UNDETERMINED
        FAMILY SERVICES, NO. 82741
62.155. HEALTH PERMIT - TN DEPT. OF HEALTH, NO. 0605206951    UNDETERMINED      _________________ UNDETERMINED
        AND 952



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62.156. LOCAL/CITY LIQUOR LICENSE - CITY OF MURFREESBORO,      UNDETERMINED     _________________ UNDETERMINED
        NO. 101-10-001 101-410-0-142
62.157. BUSINESS LICENSE - C/O TN DEPT OF REV CITY & COUNTY    UNDETERMINED     _________________ UNDETERMINED
        TAX, NO. 166436111 - 500968672
62.158. BURGLAR ALARM PERMIT - MURFREESBORO POLICE DEPT. UNDETERMINED           _________________ UNDETERMINED
        ANNEX, NO. 19952
62.159. BUSINESS LICENSE - CITY OF MURFREESBORO, NO. 2018      UNDETERMINED     _________________ UNDETERMINED
        124872
62.160. LOCAL BEER PERMIT - CITY OF MURFREESBORO, NO. 210      UNDETERMINED     _________________ UNDETERMINED
62.161. LIQUOR TAX BOND - MARSH & MCLENNAN AGENCY, NO.         UNDETERMINED     _________________ UNDETERMINED
        2168995
62.162. STATE LIQUOR LICENSE - TN ABC, NO. 50202               UNDETERMINED     _________________ UNDETERMINED
62.163. BOILER PERMIT - TN DEPT OF LABOR WORKFORCE DEV,        UNDETERMINED     _________________ UNDETERMINED
        NO. T102190 T66508
62.164. BOILER PERMIT - STATE OF TN DEPT. OF LABOR & WFD,      UNDETERMINED     _________________ UNDETERMINED
        NO. T66508
62.165. BUSINESS LICENSE - CITY OF CHULA VISTA, NO. 064420     UNDETERMINED     _________________ UNDETERMINED
62.166. BURGLAR ALARM PERMIT - CITY OF CHULA VISTA POLICE      UNDETERMINED     _________________ UNDETERMINED
        DEPT., NO. 17628
62.167. HEALTH PERMIT - SAN DIEGO COUNTY ENVIRONMENTAL         UNDETERMINED     _________________ UNDETERMINED
        HEALTH, NO. FA00-431477 / DEH2008-FFPP-431477
62.168. SALES TAX REGISTRATION - CITY OF COLORADO SPRINGS, UNDETERMINED         _________________ UNDETERMINED
        NO. 07027800
62.169. BOILER PERMIT - DEPT OF LABOR/BOILER INSPECTION,       UNDETERMINED     _________________ UNDETERMINED
        NO. 105728
62.170. SALES TAX REGISTRATION - CO DOR, NO. 12-79114-0006     UNDETERMINED     _________________ UNDETERMINED
        STAX
62.171. STATE LIQUOR LICENSE - CO DOR, NO. 12791140006 SLIQ    UNDETERMINED     _________________ UNDETERMINED
62.172. BURGLAR ALARM PERMIT - CITY OF COLORADO SPRINGS,       UNDETERMINED     _________________ UNDETERMINED
        NO. 235489
62.173. FIRE PREVENTION PERMIT - CITY OF COLORADO SPRINGS,     UNDETERMINED     _________________ UNDETERMINED
        NO. 3004635
62.174. LOCAL/CITY LIQUOR LICENSE - CITY OF COLORADO           UNDETERMINED     _________________ UNDETERMINED
        SPRINGS, NO. 715818 LLIQ
62.175. OCCUPATIONAL LICENSE - CITY OF COLORADO SPRINGS,       UNDETERMINED     _________________ UNDETERMINED
        NO. 715818 OCC
62.176. BOILER PERMIT - COLORADO DEPT. OF LABOR, NO. 86763 -   UNDETERMINED     _________________ UNDETERMINED
        82898
62.177. HEALTH PERMIT - EL PASO COUNTY HEALTH                  UNDETERMINED     _________________ UNDETERMINED
        DEPARTMENT, NO. FA0002879 AR0001038
62.178. LOCAL/CITY LIQUOR LICENSE - ARLINGTON CITY             UNDETERMINED     _________________ UNDETERMINED
        SECRETARY'S OFFICE, NO. 08-734688
62.179. HEALTH PERMIT - CITY OF ARLINGTON, NO. 17-291072-      UNDETERMINED     _________________ UNDETERMINED
        HFEP
62.180. BURGLAR ALARM PERMIT - ARLINGTON POLICE DEPT., NO.     UNDETERMINED     _________________ UNDETERMINED
        1720471
62.181. FIRE PREVENTION PERMIT - CITY OF ARLINGTON, NO. 2009- UNDETERMINED      _________________ UNDETERMINED
        142006-AFI
62.182. BOILER PERMIT - TEXAS DEPT. OF LICENSING, NO. 246790   UNDETERMINED     _________________ UNDETERMINED
62.183. BOILER PERMIT - TX DEPT OF LICENSING & REGULATIONS,    UNDETERMINED     _________________ UNDETERMINED
        NO. 258655

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62.184. COUNTY LIQUOR LICENSE - TARRANT COUNTY, NO.           UNDETERMINED      _________________ UNDETERMINED
        MB/PE710776 CLIQ
62.185. STATE LIQUOR LICENSE - TEXAS COMPTROLLER, NO.         UNDETERMINED      _________________ UNDETERMINED
        MB710776 SLIQ
62.186. LOCAL/CITY LIQUOR LICENSE - CITY OF PHOENIX, NO.      UNDETERMINED      _________________ UNDETERMINED
        08009076 LLIQ
62.187. STATE LIQUOR LICENSE - AZ DLLC, NO. 12077862          UNDETERMINED      _________________ UNDETERMINED
62.188. SPECIAL USE PERMIT - LEWKOWITZ LAW OFFICE, PLC, NO.   UNDETERMINED      _________________ UNDETERMINED
        15590.02
62.189. SALES TAX REGISTRATION - STATE OF AZ - DEPT OF        UNDETERMINED      _________________ UNDETERMINED
        REVENUE, NO. 20375394-31233
62.190. BURGLAR ALARM PERMIT - PHOENIX POLICE DEPT., NO.      UNDETERMINED      _________________ UNDETERMINED
        94259
62.191. BOILER PERMIT - ADOSH - BOILER SAFETY SECTION, NO.    UNDETERMINED      _________________ UNDETERMINED
        AZ816152
62.192. BOILER PERMIT - ADOSH - BOILER SAFETY SECTION, NO.    UNDETERMINED      _________________ UNDETERMINED
        AZ816153
62.193. HEALTH PERMIT - MARICOPA COUNTY ENVIRONMENTAL         UNDETERMINED      _________________ UNDETERMINED
        SERVICES, NO. FD-30407
62.194. BURGLAR ALARM PERMIT - CORONA POLICE                  UNDETERMINED      _________________ UNDETERMINED
        DEPARTMENT, NO. 09-4216
62.195. BUSINESS LICENSE - CITY OF CORONA, NO. 638660         UNDETERMINED      _________________ UNDETERMINED
62.196. LOCAL/CITY LIQUOR LICENSE - CITY OF CORONA, NO.       UNDETERMINED      _________________ UNDETERMINED
        ABP09-002
62.197. ENVIRONMENTAL PERMIT - RIVERSIDE COUNTY DEPT. OF      UNDETERMINED      _________________ UNDETERMINED
        ENVIRONMENTAL HEALTH, NO. FA0029701 / AR0064686
62.198. HEALTH PERMIT - COUNTY OF RIVERSIDE HEALTH, NO.       UNDETERMINED      _________________ UNDETERMINED
        FA0029723 / AR0064733
62.199. LOCAL/CITY LIQUOR LICENSE - CITY OF EL CERRITO, NO.   UNDETERMINED      _________________ UNDETERMINED
        10183
62.200. HEALTH PERMIT - CONTRA COSTA HEALTH SERVICES, NO.     UNDETERMINED      _________________ UNDETERMINED
        PT0007917 PR0008418
62.201. BURGLAR ALARM PERMIT - CEDAR HILL POLICE DEPT., NO.   UNDETERMINED      _________________ UNDETERMINED
        10252
62.202. HEALTH PERMIT - CITY OF CEDAR HILL, NO. 14-113        UNDETERMINED      _________________ UNDETERMINED
62.203. CERTIFICATE OF USE/OCCUPANCY - CITY OF CEDAR HILL,    UNDETERMINED      _________________ UNDETERMINED
        TX DEPT. OF BUILDING INSPECTION, NO. 31212 COFO
62.204. COUNTY LIQUOR LICENSE - DALLAS COUNTY TAX             UNDETERMINED      _________________ UNDETERMINED
        ASSESSOR-COLLECTOR, NO. MB/PE710767 CLIQ
62.205. STATE LIQUOR LICENSE - TEXAS COMPTROLLER, NO.         UNDETERMINED      _________________ UNDETERMINED
        MB/PE710767 SLIQ
62.206. SIGNAGE PERMIT - CITY OF TUCSON, NO. 1061             UNDETERMINED      _________________ UNDETERMINED
62.207. STATE LIQUOR LICENSE - AZ DLLC, NO. 12103935          UNDETERMINED      _________________ UNDETERMINED
62.208. SALES TAX REGISTRATION - STATE OF AZ - DEPT OF        UNDETERMINED      _________________ UNDETERMINED
        REVENUE, NO. 20375394-31163
62.209. LOCAL/CITY LIQUOR LICENSE - CITY OF TUCSON, NO.       UNDETERMINED      _________________ UNDETERMINED
        3003705 LLIQ
62.210. BUSINESS LICENSE - CITY OF TUCSON, NO. 3003705 PLL    UNDETERMINED      _________________ UNDETERMINED
62.211. HEALTH PERMIT - PIMA COUNTY HEALTH DEPARTMENT,        UNDETERMINED      _________________ UNDETERMINED
        NO. 3080786-1621A


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62.212. BURGLAR ALARM PERMIT - TUCSON POLICE DEPARTMENT, UNDETERMINED           _________________ UNDETERMINED
        NO. 37331
62.213. SPECIAL USE PERMIT - LEWKOWITZ LAW OFFICE, PLC, NO.    UNDETERMINED     _________________ UNDETERMINED
        4112631163 SUP
62.214. HEALTH PERMIT - SUSQUEHANNA TWP. BOARD OF              UNDETERMINED     _________________ UNDETERMINED
        HEALTH, NO. 1114
62.215. SIGNAGE PERMIT - PA TOURISM SIGNING TRUST, NO. 81/69   UNDETERMINED     _________________ UNDETERMINED
62.216. BOILER PERMIT - ARKANSAS DEPT OF LABOR, NO. 113214     UNDETERMINED     _________________ UNDETERMINED
62.217. SIGNAGE PERMIT - CITY OF LITTLE ROCK, NO. 22390        UNDETERMINED     _________________ UNDETERMINED
62.218. STATE LIQUOR LICENSE - ARKANSAS ABC DIVISION, NO.      UNDETERMINED     _________________ UNDETERMINED
        2841-80061589
62.219. HEALTH PERMIT - ARKANSAS DEPT OF HEALTH, NO. 601791 UNDETERMINED        _________________ UNDETERMINED
        7601002719
62.220. BOILER PERMIT - ARKANSAS DEPT OF LABOR, NO. 95581      UNDETERMINED     _________________ UNDETERMINED
62.221. LOCAL/CITY LIQUOR LICENSE - CITY OF LITTLE ROCK, NO.   UNDETERMINED     _________________ UNDETERMINED
        AL142353
62.222. BUSINESS LICENSE - CITY OF LITTLE ROCK, NO. BL142353   UNDETERMINED     _________________ UNDETERMINED
62.223. SALES TAX REGISTRATION - STATE OF ME-REVENUE           UNDETERMINED     _________________ UNDETERMINED
        SERVICES, NO. 1135869
62.224. LOCAL/CITY LIQUOR LICENSE - CITY OF SOUTH PORTLAND, UNDETERMINED        _________________ UNDETERMINED
        NO. 135255
62.225. HEALTH PERMIT - MAINE DEPT. OF HEALTH AND HUMAN        UNDETERMINED     _________________ UNDETERMINED
        SERVICES, NO. 7898
62.226. STATE LIQUOR LICENSE - MAINE DEPT. OF PUBLIC SAFETY    UNDETERMINED     _________________ UNDETERMINED
        LIQUOR LICENSING & INSPECTION, NO. CAR-2013-7072
62.227. HEALTH PERMIT - CITY OF PLANO ENVIRONMENTAL            UNDETERMINED     _________________ UNDETERMINED
        HEALTH, NO. 11667
62.228. LOCAL/CITY LIQUOR LICENSE - CITY OF PLANO, NO. 336     UNDETERMINED     _________________ UNDETERMINED
62.229. BURGLAR ALARM PERMIT - PLANO POLICE DEPARTMENT,        UNDETERMINED     _________________ UNDETERMINED
        NO. 51734
62.230. COUNTY LIQUOR LICENSE - COLLIN COUNTY CLERK, NO.       UNDETERMINED     _________________ UNDETERMINED
        RM710747/PE CLIQ
62.231. STATE LIQUOR LICENSE - TEXAS COMPTROLLER, NO.          UNDETERMINED     _________________ UNDETERMINED
        RM710747/PE SLIQ
62.232. HEALTH PERMIT - PLANO HEALTH DEPT., NO. 11668          UNDETERMINED     _________________ UNDETERMINED
62.233. FIRE PREVENTION PERMIT - CITY OF PLANO, NO. 14479      UNDETERMINED     _________________ UNDETERMINED
62.234. LOCAL/CITY LIQUOR LICENSE - CITY OF PLANO (CITY        UNDETERMINED     _________________ UNDETERMINED
        SECRETARY), NO. 335
62.235. BURGLAR ALARM PERMIT - PLANO POLICE DEPT. ALARM        UNDETERMINED     _________________ UNDETERMINED
        PERMIT UNIT, NO. 51708
62.236. COUNTY LIQUOR LICENSE - COLLIN COUNTY CLERK, NO.       UNDETERMINED     _________________ UNDETERMINED
        RM710769 CLIQ
62.237. STATE LIQUOR LICENSE - TEXAS COMPTROLLER, NO.          UNDETERMINED     _________________ UNDETERMINED
        RM710769 SLIQ
62.238. BOILER PERMIT - TX DEPT OF LICENSING & REGULATION,     UNDETERMINED     _________________ UNDETERMINED
        NO. TX262100
62.239. SALES TAX REGISTRATION - CO DOR, NO. 12-79114-0003     UNDETERMINED     _________________ UNDETERMINED
        STAX
62.240. HEALTH PERMIT - ARAPAHOE COUNTY HEALTH DEPT/TRI-       UNDETERMINED     _________________ UNDETERMINED
        COUNTY, NO. 12791140003

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62.241. STATE LIQUOR LICENSE - CO DOR, NO. 12791140003 SLIQ   UNDETERMINED      _________________ UNDETERMINED
62.242. BUSINESS LICENSE - CITY OF AURORA, CO, NO. 161056     UNDETERMINED      _________________ UNDETERMINED
62.243. OCCUPATIONAL LICENSE - CITY OF AURORA, NO. 161060     UNDETERMINED      _________________ UNDETERMINED
62.244. LOCAL/CITY LIQUOR LICENSE - CITY OF AURORA, NO.       UNDETERMINED      _________________ UNDETERMINED
        165506
62.245. BOILER PERMIT - CO DEPT OF LABOR & EMPLOYMENT, NO.    UNDETERMINED      _________________ UNDETERMINED
        83979 / 83980
62.246. LOCAL/CITY LIQUOR LICENSE - CITY OF GOODYEAR, NO.     UNDETERMINED      _________________ UNDETERMINED
        12077861 LLIQ
62.247. STATE LIQUOR LICENSE - AZ DLLC, NO. 12077861 SLIQ     UNDETERMINED      _________________ UNDETERMINED
62.248. SPECIAL USE PERMIT - LEWKOWITZ LAW OFFICE, PLC, NO.   UNDETERMINED      _________________ UNDETERMINED
        15590.01
62.249. BUSINESS OPERATION PERMIT - CITY OF GOODYEAR, NO.     UNDETERMINED      _________________ UNDETERMINED
        16-00001134
62.250. SALES TAX REGISTRATION - STATE OF AZ - DEPR OF        UNDETERMINED      _________________ UNDETERMINED
        REVENUE, NO. 20375394-31246
62.251. BURGLAR ALARM PERMIT - , NO. 31246 BALP               UNDETERMINED      _________________ UNDETERMINED
62.252. HEALTH PERMIT - MARICOPA COUNTY, NO. FD-13762         UNDETERMINED      _________________ UNDETERMINED
62.253. STATE LIQUOR LICENSE - AZ DLLC, NO. 12077866          UNDETERMINED      _________________ UNDETERMINED
62.254. SPECIAL USE PERMIT - LEWKOWITZ LAW OFFICES, PLC,      UNDETERMINED      _________________ UNDETERMINED
        NO. 15590.03
62.255. SALES TAX REGISTRATION - STATE OF AZ - DEPT OF        UNDETERMINED      _________________ UNDETERMINED
        REVENUE, NO. 20375394-31178
62.256. BURGLAR ALARM PERMIT - PHOENIX POLICE DEPT., NO.      UNDETERMINED      _________________ UNDETERMINED
        70374 SAP# 4815153
62.257. HEALTH PERMIT - MARICOPA COUNTY HEALTH, NO. FD-       UNDETERMINED      _________________ UNDETERMINED
        13528 AND 13529
62.258. LOCAL/CITY LIQUOR LICENSE - CITY OF PHOENIX, NO.      UNDETERMINED      _________________ UNDETERMINED
        08009081 LLIQ
62.259. STATE LIQUOR LICENSE - AZ DLLC, NO. 12103936          UNDETERMINED      _________________ UNDETERMINED
62.260. SPECIAL USE PERMIT - LEWKOWITZ LAW OFFICES, PLC,      UNDETERMINED      _________________ UNDETERMINED
        NO. 15590.06
62.261. SALES TAX REGISTRATION - STATE OF AZ - DEPT OF        UNDETERMINED      _________________ UNDETERMINED
        REVENUE, NO. 20375394-31301
62.262. HEALTH PERMIT - PIMA COUNTY HEALTH DEPARTMENT,        UNDETERMINED      _________________ UNDETERMINED
        NO. 3080787 – 1621B
62.263. FIRE PREVENTION PERMIT - CITY OF CORPUS CHRISTI -     UNDETERMINED      _________________ UNDETERMINED
        FIRE DEPT, NO. 12177-25266
62.264. HEALTH PERMIT - CORPUS CHRISTI-NUECES COUNTY          UNDETERMINED      _________________ UNDETERMINED
        HEALTH, NO. 14007280
62.265. BOILER PERMIT - TX DEPARTMENT OF LICENSING &          UNDETERMINED      _________________ UNDETERMINED
        REGULATION, NO. 254600
62.266. BURGLAR ALARM PERMIT - CORPUS CHRISTI POLICE          UNDETERMINED      _________________ UNDETERMINED
        DEPT., NO. 72998
62.267. STATE LIQUOR LICENSE - TEXAS COMPTROLLER, NO.         UNDETERMINED      _________________ UNDETERMINED
        MB,LB,LPE 710757 SLIQ
62.268. COUNTY LIQUOR LICENSE - NUECES COUNTY TAX             UNDETERMINED      _________________ UNDETERMINED
        COLLECTOR, NO. MB,LB,PE 710757 CLIQ
62.269. LOCAL/CITY LIQUOR LICENSE - CITY OF CORPUS CHRISTI,   UNDETERMINED      _________________ UNDETERMINED
        NO. MB710757/LB/PE

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62.270. LOCAL/CITY LIQUOR LICENSE - MURRAY CITY                 UNDETERMINED     _________________ UNDETERMINED
        CORPORATION, NO. 12232 LLIQ-QUOTA
62.271. BOILER PERMIT - UT DIVISION OF BOILER, NO. 148708 U-    UNDETERMINED     _________________ UNDETERMINED
        39686
62.272. LIQUOR TAX BOND - MARSH & MCLENNAN AGENCY, NO.          UNDETERMINED     _________________ UNDETERMINED
        2168992
62.273. HEALTH PERMIT - SALT LAKE VALLEY HEALTH, NO. 35-        UNDETERMINED     _________________ UNDETERMINED
        018714
62.274. STATE LIQUOR LICENSE - UTAH DABC, NO. RE01844-QUOTA UNDETERMINED         _________________ UNDETERMINED
62.275. SALES TAX REGISTRATION - CITY OF FRESNO-, NO. 127293    UNDETERMINED     _________________ UNDETERMINED
62.276. HEALTH PERMIT - FRESNO COUNTY ENVIRONMENTAL             UNDETERMINED     _________________ UNDETERMINED
        HEALTH, NO. AR0028876 FA0273056
62.277. LOCAL/CITY LIQUOR LICENSE - CITY OF GREENWOOD           UNDETERMINED     _________________ UNDETERMINED
        VILLAGE, NO. 1279114-0007 LLIQ OL-17-02503
62.278. SALES TAX REGISTRATION - CO DOR, NO. 1279114-0007       UNDETERMINED     _________________ UNDETERMINED
        STAX
62.279. HEALTH PERMIT - TRI COUNTY HEALTH DEPARTMENT, NO.       UNDETERMINED     _________________ UNDETERMINED
        12791140007
62.280. STATE LIQUOR LICENSE - CO DOR, NO. 12791140007 SLIQ     UNDETERMINED     _________________ UNDETERMINED
62.281. BOILER PERMIT - COLORADO DEPT. OF LABOR, NO. 86654      UNDETERMINED     _________________ UNDETERMINED
62.282. ENVIRONMENTAL PERMIT - COLORADO DEPT. OF PUBLIC         UNDETERMINED     _________________ UNDETERMINED
        HEALTH & ENVIRONMENT, NO. 9920107687
62.283. FIRE PREVENTION PERMIT - CITY OF LAS VEGAS, NO.         UNDETERMINED     _________________ UNDETERMINED
        13279HF
62.284. LOCAL/CITY LIQUOR LICENSE - CITY OF LAS VEGAS, NO.      UNDETERMINED     _________________ UNDETERMINED
        L16-00324
62.285. HEALTH PERMIT - SOUTHERN NEVADA HEALTH DISTRICT,        UNDETERMINED     _________________ UNDETERMINED
        NO. PR0019188
62.286. BUSINESS LICENSE - CITY OF LAS VEGAS, NO. R09-00763-2- UNDETERMINED      _________________ UNDETERMINED
        000680
62.287. FIRE PREVENTION PERMIT - CITY OF ALBUQUERQUE FIRE       UNDETERMINED     _________________ UNDETERMINED
        DEPT., NO. 5586-16
62.288. BURGLAR ALARM PERMIT - ALBUQUERQUE POLICE, NO.          UNDETERMINED     _________________ UNDETERMINED
        57480
62.289. HEALTH PERMIT - CITY OF ALBUQUERQUE, NO. FA0084795      UNDETERMINED     _________________ UNDETERMINED
        PT0098096/98/99
62.290. LOCAL/CITY LIQUOR LICENSE - CITY OF ALBUQUERQUE,        UNDETERMINED     _________________ UNDETERMINED
        NO. FA0086461
62.291. BUSINESS LICENSE - CITY OF ELK GROVE, NO. 14-00008138   UNDETERMINED     _________________ UNDETERMINED
62.292. BURGLAR ALARM PERMIT - ELK GROVE POLICE                 UNDETERMINED     _________________ UNDETERMINED
        DEPARTMENT, NO. 14779
62.293. HEALTH PERMIT - SACRAMENTO COUNTY                       UNDETERMINED     _________________ UNDETERMINED
        ENVIRONMENTAL HEALTH, NO. AR0058874 / FA0015404 /
        PR0031846
62.294. BUSINESS OPERATION PERMIT - CITY OF CERRITOS, NO.       UNDETERMINED     _________________ UNDETERMINED
        14053
62.295. KITCHEN EQUIPMENT PERMIT - SOUTH COAST AIR QUALITY UNDETERMINED          _________________ UNDETERMINED
        MANAGEMENT DISTRICT, NO. 492445 157652
62.296. HEALTH PERMIT - LOS ANGELES CO. PUBLIC HEALTH           UNDETERMINED     _________________ UNDETERMINED
        DEPT., NO. FA0046120 PR0024174 AR0087768



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62.297. BUSINESS LICENSE - CITY OF STOCKTON FINANCE           UNDETERMINED      _________________ UNDETERMINED
        REVENUE DIV, NO. 15-00098581
62.298. BURGLAR ALARM PERMIT - STOCKTON POLICE DEPT, NO.      UNDETERMINED      _________________ UNDETERMINED
        29008
62.299. ENVIRONMENTAL PERMIT - CITY OF STOCKTON FINAR         UNDETERMINED      _________________ UNDETERMINED
        REVENUE SVS DIV, NO. 38370/84861
62.300. FIRE PREVENTION PERMIT - CITY OF STOCKTON FIRE        UNDETERMINED      _________________ UNDETERMINED
        PREVENTION DIVISION, NO. 82938/96856
62.301. HEALTH PERMIT - SAN JOAQUIN COUNTY ENVIRONMENTAL      UNDETERMINED      _________________ UNDETERMINED
        HEALTH DEPT., NO. AR0024926 / FA0014657-HEA
62.302. ENVIRONMENTAL PERMIT - SAN JOAQUIN COUNTY, NO.        UNDETERMINED      _________________ UNDETERMINED
        FA0014657 / AR0024926 HMBP
62.303. ASSEMBLY PERMIT - FOLSOM FIRE DEPARTMENT, NO. 15-     UNDETERMINED      _________________ UNDETERMINED
        001435
62.304. BURGLAR ALARM PERMIT - CITY OF FOLSOM-ALARM ADMIN UNDETERMINED          _________________ UNDETERMINED
        PROGRAM, NO. 200204716
62.305. BUSINESS LICENSE - CITY OF FOLSOM, NO. 9912014458     UNDETERMINED      _________________ UNDETERMINED
62.306. HEALTH PERMIT - SACRAMENTO CO. ENVIRONMENTAL          UNDETERMINED      _________________ UNDETERMINED
        MANAGEMENT DEPT., NO. AR0058871 / FA0015205 /
        PR0031366
62.307. BOILER PERMIT - STATE OF NEVADA MECHANICAL            UNDETERMINED      _________________ UNDETERMINED
        COMPLIANCE, NO. 15-1701NV
62.308. BUSINESS LICENSE - CITY OF HENDERSON, NO.             UNDETERMINED      _________________ UNDETERMINED
        2008304328
62.309. LOCAL/CITY LIQUOR LICENSE - CITY OF HENDERSON, NO.    UNDETERMINED      _________________ UNDETERMINED
        2009300078 72400
62.310. FIRE PREVENTION PERMIT - CITY OF HENDERSON            UNDETERMINED      _________________ UNDETERMINED
        BUILDING & FIRE SAFETY DEPT., NO. 2009480029
62.311. HEALTH PERMIT - SOUTHERN NEVADA HEALTH DISTRICT,      UNDETERMINED      _________________ UNDETERMINED
        NO. PR0019191 - PR0019192 - PR0019193
62.312. BUSINESS LICENSE - CITY OF ESCONDIDO, NO. 153156      UNDETERMINED      _________________ UNDETERMINED
62.313. BURGLAR ALARM PERMIT - CITY OF ESCONDIDO ALARM        UNDETERMINED      _________________ UNDETERMINED
        REGISTRATION, NO. 16-113649
62.314. HEALTH PERMIT - COUNTY OF SAN DIEGO DEPT. OF          UNDETERMINED      _________________ UNDETERMINED
        ENVIRONMENTAL HEALTH, NO. DEH2009-FFPP-433036
62.315. KITCHEN EQUIPMENT PERMIT - SOUTH COAST AIR QUALITY UNDETERMINED         _________________ UNDETERMINED
        MANAGEMENT DISTRICT, NO. 157426 491847
62.316. HEALTH PERMIT - ORANGE COUNTY HEALTHCARE              UNDETERMINED      _________________ UNDETERMINED
        AGENCY, NO. AR1367544 / FA0004450 / PR0004450
62.317. FIRE PREVENTION PERMIT - ORANGE COUNTY FIRE           UNDETERMINED      _________________ UNDETERMINED
        AUTHORITY, NO. C77455
62.318. ENVIRONMENTAL PERMIT - ORANGE COUNTY HEALTH           UNDETERMINED      _________________ UNDETERMINED
        CARE AGENCY, NO. FA0066936 PR0097781
62.319. KITCHEN EQUIPMENT PERMIT - SOUTH COAST AIR QUALITY UNDETERMINED         _________________ UNDETERMINED
        MANAGEMENT DISTRICT, NO. 157672
62.320. BURGLAR ALARM PERMIT - HUNTINGTON BEACH POLICE        UNDETERMINED      _________________ UNDETERMINED
        DEPT., NO. 2807/00009357
62.321. ENTERTAINMENT LICENSE - CITY OF HUNTINGTON BEACH      UNDETERMINED      _________________ UNDETERMINED
        POLICE DEPT., NO. 31120 ENMT
62.322. FIRE PREVENTION PERMIT - CITY OF HUNTINGTON BEACH     UNDETERMINED      _________________ UNDETERMINED
        FIRE DEPARTMENT, NO. 4304


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62.323. BUSINESS LICENSE - CITY OF HUNTINGTON BEACH, NO.        UNDETERMINED     _________________ UNDETERMINED
        A271892
62.324. HEALTH PERMIT - ORANGE COUNTY ENVIRONMENTAL             UNDETERMINED     _________________ UNDETERMINED
        HEALTH, NO. AR1367547/ FA0004494/ PR0004494
62.325. ENVIRONMENTAL PERMIT - ORANGE COUNTY HEALTH             UNDETERMINED     _________________ UNDETERMINED
        CARE AGENCY, NO. FA0068378 HB-03084-04 304
62.326. KITCHEN EQUIPMENT PERMIT - SOUTH COAST AIR QUALITY UNDETERMINED          _________________ UNDETERMINED
        MANAGEMENT DISTRICT, NO. 157682
62.327. HEALTH PERMIT - COUNTY OF SAN BERNARDINO                UNDETERMINED     _________________ UNDETERMINED
        ENVIRONMENTAL SERVICES, NO. PT0018052
62.328. ASSEMBLY PERMIT - CITY OF REDLANDS, NO. V00008628       UNDETERMINED     _________________ UNDETERMINED
62.329. KITCHEN EQUIPMENT PERMIT - SOUTH COAST AIR QUALITY UNDETERMINED          _________________ UNDETERMINED
        MANAGEMENT DISTRICT, NO. 157686
62.330. HEALTH PERMIT - ORANGE COUNTY ENVIRONMENTAL             UNDETERMINED     _________________ UNDETERMINED
        HEALTH, NO. AR1367545 / FA0002464 / PR0002464
62.331. BUSINESS LICENSE - IRVINE POLICE DEPT., NO.             UNDETERMINED     _________________ UNDETERMINED
        BUS0803276
62.332. BURGLAR ALARM PERMIT - CITY OF IRVINE-POLICE DEPT.,     UNDETERMINED     _________________ UNDETERMINED
        NO. C2014001182
62.333. BOILER PERMIT - NV MECHANICAL SECTION, NO. 16-0363NV UNDETERMINED        _________________ UNDETERMINED
62.334. ASSEMBLY PERMIT - CITY OF LAS VEGAS DEPT OF             UNDETERMINED     _________________ UNDETERMINED
        FINANCE, NO. 1882HF 72232
62.335. LOCAL/CITY LIQUOR LICENSE - CITY OF LAS VEGAS, NO.      UNDETERMINED     _________________ UNDETERMINED
        L21-00075
62.336. HEALTH PERMIT - SOUTHERN NEVADA HEALTH DISTRICT,        UNDETERMINED     _________________ UNDETERMINED
        NO. PR0019189 - PR0019190
62.337. BUSINESS LICENSE - CITY OF LAS VEGAS, NO. R09-00593     UNDETERMINED     _________________ UNDETERMINED
62.338. BURGLAR ALARM PERMIT - CITY OF LEWISVILLE, NO. 16215    UNDETERMINED     _________________ UNDETERMINED
62.339. FIRE PREVENTION PERMIT - CITY OF LEWISVILLE, NO. 2561   UNDETERMINED     _________________ UNDETERMINED
        GROUP A
62.340. HEALTH PERMIT - LEWISVILLE DEPT. OF HEALTH, NO. 371 /   UNDETERMINED     _________________ UNDETERMINED
        08-20000273
62.341. COUNTY LIQUOR LICENSE - DENTON COUNTY ASSESSOR-         UNDETERMINED     _________________ UNDETERMINED
        COLLECTOR, NO. RM 710756/PE CLIQ
62.342. STATE LIQUOR LICENSE - TEXAS COMPTROLLER, NO.           UNDETERMINED     _________________ UNDETERMINED
        RM710756 SLIQ
62.343. LOCAL/CITY LIQUOR LICENSE - CITY OF LEWISVILLE, NO.     UNDETERMINED     _________________ UNDETERMINED
        RM710756/02-2005-00016
62.344. BOILER PERMIT - TEXAS DEPT. OF LICENSING &              UNDETERMINED     _________________ UNDETERMINED
        REGULATION, NO. TX 261707
62.345. BUSINESS LICENSE - C/O TN DEPT OF REV COUNTY & CITY     UNDETERMINED     _________________ UNDETERMINED
        TAX, NO. 166436120 - 500968681
62.346. HEALTH PERMIT - TN DEPT. OF HEALTH, NO. 206957 /        UNDETERMINED     _________________ UNDETERMINED
        206958
62.347. LIQUOR TAX BOND - MARSH & MCLENNAN AGENCY, NO.          UNDETERMINED     _________________ UNDETERMINED
        2168996
62.348. ENVIRONMENTAL PERMIT - CITY-MEMPHIS DIV OF PUBLIC       UNDETERMINED     _________________ UNDETERMINED
        WKS/ENVIRO, NO. 2942
62.349. BURGLAR ALARM PERMIT - MEMPHIS/SHELBY COUNTY            UNDETERMINED     _________________ UNDETERMINED
        METRO ALARM OFFICE, NO. 301513



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62.350. HEALTH PERMIT - SHELBY COUNY HEALTH DEPT, NO.         UNDETERMINED      _________________ UNDETERMINED
        59760
62.351. HEALTH PERMIT - SHELBY COUNY HEALTH DEPT, NO.         UNDETERMINED      _________________ UNDETERMINED
        59760
62.352. STATE LIQUOR LICENSE - TN ABC, NO. 82037              UNDETERMINED      _________________ UNDETERMINED
62.353. LOCAL BEER PERMIT - CITY OF MEMPHIS, NO. BR3604       UNDETERMINED      _________________ UNDETERMINED
62.354. SIGNAGE PERMIT - , NO. SR001778                       UNDETERMINED      _________________ UNDETERMINED
62.355. LOCAL/CITY LIQUOR LICENSE - CITY OF MEMPHIS, NO. T-   UNDETERMINED      _________________ UNDETERMINED
        4522 LLIQ
62.356. BOILER PERMIT - TN DEPT OF LABOR - BOILER DIVISON,    UNDETERMINED      _________________ UNDETERMINED
        NO. T90384 801695
62.357. BUSINESS LICENSE - C/O TN DEPT OF REV FOR CITY &      UNDETERMINED      _________________ UNDETERMINED
        COUNTY, NO. 172594019 - 504790669
62.358. LOCAL BEER PERMIT - METRO BEER PERMIT BOARD           UNDETERMINED      _________________ UNDETERMINED
        COUNTY, NO. 18939
62.359. LIQUOR TAX BOND - MARSH & MCLENNAN AGENCY, NO.        UNDETERMINED      _________________ UNDETERMINED
        2168998
62.360. HEALTH PERMIT - TN DEPT. OF HEALTH, NO. 221806 /      UNDETERMINED      _________________ UNDETERMINED
        221807
62.361. LOCAL/CITY LIQUOR LICENSE - METROPOLITAN GOVT. OF     UNDETERMINED      _________________ UNDETERMINED
        NASHVILLE & DAVIDSON COUNTY, NO. 52482 LLIQ
62.362. STATE LIQUOR LICENSE - TN ABC, NO. 52482 SLIQ         UNDETERMINED      _________________ UNDETERMINED
62.363. BOILER PERMIT - TN DEPT OF LABOR /BOILER INSP UNIT,   UNDETERMINED      _________________ UNDETERMINED
        NO. T98343 T103107
62.364. BURGLAR ALARM PERMIT - SELMA PD, NO. 176              UNDETERMINED      _________________ UNDETERMINED
62.365. HEALTH PERMIT - CITY OF SELMA, NO. 3710               UNDETERMINED      _________________ UNDETERMINED
62.366. COUNTY LIQUOR LICENSE - BEXAR COUNTY TAX              UNDETERMINED      _________________ UNDETERMINED
        ASSESSOR, NO. MB710781/PE CLIQ
62.367. LOCAL/CITY LIQUOR LICENSE - CITY OF SELMA, NO.        UNDETERMINED      _________________ UNDETERMINED
        MB710781/PE LLIQ
62.368. STATE LIQUOR LICENSE - TEXAS COMPTROLLER, NO.         UNDETERMINED      _________________ UNDETERMINED
        MB710781/PE SLIQ
62.369. BOILER PERMIT - TX DEPT. OF LICENSING & REGULATION,   UNDETERMINED      _________________ UNDETERMINED
        NO. TX269799
62.370. BURGLAR ALARM PERMIT - CITY OF ANN ARBOR, NO. 17766   UNDETERMINED      _________________ UNDETERMINED
        BALP
62.371. LOCAL/CITY LIQUOR LICENSE - CITY OF ANN ARBOR, NO.    UNDETERMINED      _________________ UNDETERMINED
        17766 LLIQ
62.372. FIRE PREVENTION PERMIT - CITY OF ANN ARBOR, NO.       UNDETERMINED      _________________ UNDETERMINED
        23790 14669
62.373. BOILER PERMIT - MI DEPT OF LICENSING & REGULATORY     UNDETERMINED      _________________ UNDETERMINED
        AFFAIRS, NO. MIR438105
62.374. HEALTH PERMIT - WASHTENAW COUNTY HEALTH DEPT.,        UNDETERMINED      _________________ UNDETERMINED
        NO. SFE 4781061952
62.375. SALES TAX REGISTRATION - MI DEPT OF TREASURY, NO.     UNDETERMINED      _________________ UNDETERMINED
        U26-3096362 31141STAX
62.376. BUSINESS OPERATION PERMIT - CITY OF BAKERSFIELD,      UNDETERMINED      _________________ UNDETERMINED
        NO. 1800112931
62.377. BURGLAR ALARM PERMIT - BAKERSFIELD POLICE DEPT.,      UNDETERMINED      _________________ UNDETERMINED
        NO. C13670


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62.378. HEALTH PERMIT - KERN COUNTY PUBLIC HEALTH               UNDETERMINED     _________________ UNDETERMINED
        SERVICES DEPT., NO. PR0048037 / AR0042657
62.379. BURGLAR ALARM PERMIT - CITY OF RENO, NO. 195224         UNDETERMINED     _________________ UNDETERMINED
62.380. FIRE PREVENTION PERMIT - CITY OF RENO- RENO FIRE        UNDETERMINED     _________________ UNDETERMINED
        DEPT., NO. 26284
62.381. ENVIRONMENTAL PERMIT - WASHOE COUNTY HEALTH             UNDETERMINED     _________________ UNDETERMINED
        DEPT., NO. AAIR16-0728
62.382. HEALTH PERMIT - WASHOE COUNTY DISTRICT HEALTH           UNDETERMINED     _________________ UNDETERMINED
        DEPT., NO. F080420 F080421 F080422
62.383. LOCAL/CITY LIQUOR LICENSE - CITY OF RENO, NO.           UNDETERMINED     _________________ UNDETERMINED
        R101706Q-LIC
62.384. BUSINESS LICENSE - CITY OF RENO, NO. R111669A           UNDETERMINED     _________________ UNDETERMINED
62.385. LOCAL/CITY LIQUOR LICENSE - CITY OF AUBURN HILLS, NO. UNDETERMINED       _________________ UNDETERMINED
        31199 / 7549LLIQ
62.386. LOCAL/CITY LIQUOR LICENSE - CITY OF AUBURN HILLS, NO. UNDETERMINED       _________________ UNDETERMINED
        31199 / 7549LLIQ
62.387. BOILER PERMIT - MI DEPT OF LICENSING,LARA/BOILER DIV,   UNDETERMINED     _________________ UNDETERMINED
        NO. MIR432372
62.388. HEALTH PERMIT - OAKLAND COUNTY HEALTH DIVISION,         UNDETERMINED     _________________ UNDETERMINED
        NO. SFE 3963061824
62.389. SALES TAX REGISTRATION - MI DEPT OF TREASURY, NO.       UNDETERMINED     _________________ UNDETERMINED
        U26-3096362 31199STAX
62.390. HEALTH PERMIT - AUSTIN/TRAVIS COUNTY HEALTH, NO.        UNDETERMINED     _________________ UNDETERMINED
        2013 058572 FP / 10959806
62.391. LIQUOR CITY/COUNTY - TRAVIS COUNTY, NO. MB/PE           UNDETERMINED     _________________ UNDETERMINED
        710753/RO711
62.392. STATE LIQUOR LICENSE - TEXAS COMPTROLLER, NO.           UNDETERMINED     _________________ UNDETERMINED
        MB/PE710753 SLIQ
62.393. BURGLAR ALARM PERMIT - AUSTIN POLICE DEPT, NO.          UNDETERMINED     _________________ UNDETERMINED
        T65663
62.394. HEALTH PERMIT - AUSTIN/TRAVIS COUNTY HEALTH AND         UNDETERMINED     _________________ UNDETERMINED
        HUMAN SERVICES DEPT., NO. 2013-062598 FP / 10964551
62.395. LIQUOR CITY/COUNTY - TRAVIS COUNTY TAX                  UNDETERMINED     _________________ UNDETERMINED
        ASSESSOR/COLLECTOR, NO. MB/LB/PE 710760 COUNTY-
        CITY
62.396. STATE LIQUOR LICENSE - TEXAS COMPTROLLER, NO.           UNDETERMINED     _________________ UNDETERMINED
        MB/LB/PE 710760 SLIQ
62.397. BURGLAR ALARM PERMIT - AUSTIN POLICE DEPT., NO.         UNDETERMINED     _________________ UNDETERMINED
        T65664
62.398. BOILER PERMIT - TX DEPT. OF LICENSING & REGULATION,     UNDETERMINED     _________________ UNDETERMINED
        NO. TX233477 201509160003
62.399. BOILER PERMIT - MI DEPT OF LICENSING & REGULATORY       UNDETERMINED     _________________ UNDETERMINED
        AFFAIRS, NO. MIR410820
62.400. BOILER PERMIT - MI DEPT OF LICENSING & REGULATORY       UNDETERMINED     _________________ UNDETERMINED
        AFFIARS, NO. MIR420287
62.401. BOILER PERMIT - MI DEPT OF LICENSING & REGULATORY       UNDETERMINED     _________________ UNDETERMINED
        AFFAIRS, NO. MIR423757
62.402. HEALTH PERMIT - MACOMB COUNTY HEALTH DEPT, NO.          UNDETERMINED     _________________ UNDETERMINED
        SFE5550061813
62.403. SALES TAX REGISTRATION - MI DEPT OF TREASURY, NO.       UNDETERMINED     _________________ UNDETERMINED
        U26-3096362 31185STAX


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62.404. BOILER PERMIT - TX DEPT. OF LICENSING & REG., NO.     UNDETERMINED      _________________ UNDETERMINED
        254864
62.405. LOCAL/CITY LIQUOR LICENSE - CITY OF EL PASO, NO.      UNDETERMINED      _________________ UNDETERMINED
        60LALC13-00924
62.406. ASSEMBLY PERMIT - EL PASO ENGINEERING &               UNDETERMINED      _________________ UNDETERMINED
        CONSTRUCTION & MGMT., NO. LFIR15-03076
62.407. HEALTH PERMIT - CITY OF EL PASO DEPT. OF PUBLIC       UNDETERMINED      _________________ UNDETERMINED
        HEALTH, NO. LFOD16-00144
62.408. BURGLAR ALARM PERMIT - CITY OF EL PASO, NO. LSAL14-   UNDETERMINED      _________________ UNDETERMINED
        03117
62.409. COUNTY LIQUOR LICENSE - EL PASO COUNTY TAX            UNDETERMINED      _________________ UNDETERMINED
        ASSESSOR, NO. MB/PE710754 CLIQ
62.410. STATE LIQUOR LICENSE - TEXAS COMPTROLLER, NO.         UNDETERMINED      _________________ UNDETERMINED
        MB/PE710754 SLIQ
62.411. BOILER PERMIT - OHIO DEPT. OF COMMERCE BUREAU OF      UNDETERMINED      _________________ UNDETERMINED
        OPS AND MAINTENANCE - BOILERS, NO. 282395
62.412. SIGNAGE PERMIT - OHIO LOGOS, INC., NO. 31109-HWY      UNDETERMINED      _________________ UNDETERMINED
62.413. STATE LIQUOR LICENSE - OHIO DIV. OF LIQUOR CONTROL,   UNDETERMINED      _________________ UNDETERMINED
        NO. 5402025-0025-QUOTA
62.414. HEALTH PERMIT - STATE OF OHIO DEPARTMENT OF           UNDETERMINED      _________________ UNDETERMINED
        HEALTH, NO. NFRY-9G5BFM
62.415. BOILER PERMIT - OH DEPT OF COMMERCE BUREAU, NO.       UNDETERMINED      _________________ UNDETERMINED
        294054
62.416. SIGNAGE PERMIT - OHIO LOGOS, INC., NO. 31033-HWY      UNDETERMINED      _________________ UNDETERMINED
62.417. HEALTH PERMIT - OHIO DEPARTMENT OF HEALTH, NO.        UNDETERMINED      _________________ UNDETERMINED
        NFRY-9G59ZH
62.418. BOILER PERMIT - OHIO DEPT. OF COMMERCE DIV.OF         UNDETERMINED      _________________ UNDETERMINED
        INDUSTRIAL COMPLIANCE, NO. 296077
62.419. HEALTH PERMIT - SUMMIT COUNTY HEALTH, NO. SYOG-       UNDETERMINED      _________________ UNDETERMINED
        7VBUQA
62.420. BUSINESS OPERATION PERMIT - CITY OF MILPITAS, NO.     UNDETERMINED      _________________ UNDETERMINED
        35343
62.421. ENVIRONMENTAL PERMIT - COUNTY OF SANTA CLARA,         UNDETERMINED      _________________ UNDETERMINED
        HEALTH, NO. AR1306978 / FA0276529 / PR0417761
62.422. HEALTH PERMIT - SANTA CLARA ENVIRONMENTAL HEALTH, UNDETERMINED          _________________ UNDETERMINED
        NO. PT0440162
62.423. HEALTH PERMIT - ORANGE CO. HEALTH CARE AGENCY         UNDETERMINED      _________________ UNDETERMINED
        ENVIRONMENTAL HEALTH, NO. AR1367409 / FA0041250 /
        PR0047353
62.424. BUSINESS LICENSE - CITY OF ANAHEIM, NO. BUS2008-      UNDETERMINED      _________________ UNDETERMINED
        04651
62.425. ENVIRONMENTAL PERMIT - CITY OF ANAHEIM, NO. FEP-      UNDETERMINED      _________________ UNDETERMINED
        0001481
62.426. BUSINESS LICENSE - CITY OF OCEANSIDE, NO. BL-117968   UNDETERMINED      _________________ UNDETERMINED
62.427. HEALTH PERMIT - SAN DIEGO DEPT. OF ENVIRONMENTAL      UNDETERMINED      _________________ UNDETERMINED
        HEALTH, NO. DEH2009-FFPP-433599
62.428. CERTIFICATE OF INSPECTION - COSCO FIRE PROTECTION,    UNDETERMINED      _________________ UNDETERMINED
        NO. FIRE SPRINKLER INSP
62.429. ENVIRONMENTAL PERMIT - COUNTY OF LOS ANGELES          UNDETERMINED      _________________ UNDETERMINED
        DEPT. OF PUBLIC HEALTH, ENVIRONMENTAL HEALTH
        SECTION, NO. AR0236546 BD0025417


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62.430. HEALTH PERMIT - COUNTY OF LOS ANGELES PUBLIC            UNDETERMINED      _________________ UNDETERMINED
        HEALTH DEPT., NO. FA0069716 AR0064172 PR0020855
62.431. CERTIFICATE OF INSPECTION - TRI CITY FIRE SPRINKLERS, UNDETERMINED        _________________ UNDETERMINED
        NO. FIRE INSPECTION
62.432. HEALTH PERMIT - MONTGOMERY COUNTY ENVIRO                UNDETERMINED      _________________ UNDETERMINED
        HEALTH, NO. 518392-14
62.433. BURGLAR ALARM PERMIT - MONTGOMERY COUNTY                UNDETERMINED      _________________ UNDETERMINED
        SHERIFF'S OFFICE, NO. 9904954
62.434. COUNTY LIQUOR LICENSE - MONTGOMERY COUNTY TAX           UNDETERMINED      _________________ UNDETERMINED
        ASSESSOR, NO. MB710759 CLIQ
62.435. STATE LIQUOR LICENSE - TEXAS COMPTROLLER, NO.           UNDETERMINED      _________________ UNDETERMINED
        MB710759 SLIQ
62.436. BOILER PERMIT - TEXAS DEPT. OF LICENSING &              UNDETERMINED      _________________ UNDETERMINED
        REGULATION, NO. TX260842
62.437. STATE LIQUOR LICENSE - OHIO DIV. OF LIQUOR CONTROL,     UNDETERMINED      _________________ UNDETERMINED
        NO. 5402025-0010
62.438. LOCAL/CITY LIQUOR LICENSE - CITY OF FRISCO, OFFICE      UNDETERMINED      _________________ UNDETERMINED
        OF THE CITY SECRETARY, NO. A08-0038
62.439. CERTIFICATE OF USE/OCCUPANCY - CITY OF FRISCO, NO.      UNDETERMINED      _________________ UNDETERMINED
        CO08-0134
62.440. HEALTH PERMIT - CITY OF FRISCO HEALTH & FOOD            UNDETERMINED      _________________ UNDETERMINED
        SERVICES, NO. H08-0302
62.441. STATE LIQUOR LICENSE - TEXAS COMPTROLLER, NO.           UNDETERMINED      _________________ UNDETERMINED
        RM710752/FB/PE SLIQ
62.442. COUNTY LIQUOR LICENSE - COLLIN COUNTY CLERK, NO.        UNDETERMINED      _________________ UNDETERMINED
        RM710752/PE CLIQ
62.443. BUSINESS OPERATION PERMIT - CITY OF LIVONIA, NO.        UNDETERMINED      _________________ UNDETERMINED
        BARR-16-00002
62.444. BOILER PERMIT - MICHIGAN DEPT OF LIC/BOILER DIVISION,   UNDETERMINED      _________________ UNDETERMINED
        NO. MIR430258
62.445. HEALTH PERMIT - WAYNE COUNTY HEALTH DEPT., NO.          UNDETERMINED      _________________ UNDETERMINED
        SFE4882062297
62.446. SALES TAX REGISTRATION - MI DEPT OF TREASURY, NO.       UNDETERMINED      _________________ UNDETERMINED
        U26-3096362 31053STAX
62.447. COUNTY LIQUOR LICENSE - WILLIAMSON COUNTY TAX           UNDETERMINED      _________________ UNDETERMINED
        ASSESSOR COLLECTOR, NO. MB-710751
62.448. STATE LIQUOR LICENSE - TEXAS COMPTROLLER, NO.           UNDETERMINED      _________________ UNDETERMINED
        MB/PE710751
62.449. LOCAL/CITY LIQUOR LICENSE - CITY OF ROUND ROCK, NO.     UNDETERMINED      _________________ UNDETERMINED
        MB710751/PE
62.450. HEALTH PERMIT - WILLIAMSON COUNTY AND CITIES            UNDETERMINED      _________________ UNDETERMINED
        HEALTH DISTRICT, NO. RR-753
62.451. BOILER PERMIT - TEXAS DEPT. OF LICENSING AND            UNDETERMINED      _________________ UNDETERMINED
        REGULATION, NO. TX258570
62.452. ANNUAL REPORT - , NO. 02591359 - IL                     UNDETERMINED      _________________ UNDETERMINED
62.453. ANNUAL REPORT - SECRETARY OF STATE - NJ, NO.            UNDETERMINED      _________________ UNDETERMINED
        0600331586 - NJ
62.454. ANNUAL REPORT - SECRETARY OF STATE - KY, NO.            UNDETERMINED      _________________ UNDETERMINED
        0712559 - KY
62.455. ANNUAL REPORT - SECRETARY OF STATE - GA, NO.            UNDETERMINED      _________________ UNDETERMINED
        08067712


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62.456. ANNUAL REPORT - NE SECRETARY OF STATE, NO.             UNDETERMINED      _________________ UNDETERMINED
        10114722 - NE
62.457. ANNUAL REPORT - SECRETARY OF STATE - CO, NO.           UNDETERMINED      _________________ UNDETERMINED
        20081448207 - CO
62.458. ANNUAL REPORT - SECRETARY OF STATE - CA, NO.           UNDETERMINED      _________________ UNDETERMINED
        200824110114 - CA
62.459. ANNUAL REPORT - SECRETARY OF STATE - ME, NO.           UNDETERMINED      _________________ UNDETERMINED
        20090115FC -ME
62.460. ANNUAL REPORT - SECRETARY OF STATE - MA, NO.           UNDETERMINED      _________________ UNDETERMINED
        263096362-MA
62.461. ANNUAL REPORT - SECRETARY OF STATE - MN, NO.           UNDETERMINED      _________________ UNDETERMINED
        2986567-2-MN
62.462. ANNUAL REPORT - SECRETARY OF STATE - LA, NO.           UNDETERMINED      _________________ UNDETERMINED
        36834009Q - LA
62.463. ANNUAL REPORT - SECRETARY OF STATE - OK, NO.           UNDETERMINED      _________________ UNDETERMINED
        3712196134 - OK
62.464. ANNUAL REPORT - , NO. 4079281 - NM                     UNDETERMINED      _________________ UNDETERMINED
62.465. ANNUAL REPORT - SECRETARY OF STATE - DE, NO.           UNDETERMINED      _________________ UNDETERMINED
        4569940 - DE
62.466. ANNUAL REPORT - SECRETARY OF STATE - WA, NO.           UNDETERMINED      _________________ UNDETERMINED
        603184292 - WA
62.467. ANNUAL REPORT - SECRETARY OF STATE - UT, NO.           UNDETERMINED      _________________ UNDETERMINED
        7116021-0161 - UT
62.468. ANNUAL REPORT - SECRETARY OF STATE - AR, NO.           UNDETERMINED      _________________ UNDETERMINED
        800140902 - AR
62.469. ANNUAL REPORT - DEPT. OF LICENSING & REGULATORY        UNDETERMINED      _________________ UNDETERMINED
        AFFAIRS, NO. B94556 - MI
62.470. ASSUMED NAME FILINGS - , NO. CLARK COUNTY-31072        UNDETERMINED      _________________ UNDETERMINED
62.471. ASSUMED NAME FILINGS - , NO. CLARK COUNTY-31151        UNDETERMINED      _________________ UNDETERMINED
62.472. ANNUAL REPORT - SECRETARY OF STATE - NV, NO.           UNDETERMINED      _________________ UNDETERMINED
        E0545592008-9 - NV
62.473. ASSUMED NAME FILINGS - , NO. FRESNO COUNTY-31161       UNDETERMINED      _________________ UNDETERMINED
62.474. ASSUMED NAME FILINGS - , NO. GWINNET CO-31216          UNDETERMINED      _________________ UNDETERMINED
62.475. ASSUMED NAME FILINGS - , NO. KERN COUNTY-31286         UNDETERMINED      _________________ UNDETERMINED
62.476. ASSUMED NAME FILINGS - , NO. LOS ANGELES COUNTY-       UNDETERMINED      _________________ UNDETERMINED
        31197
62.477. ASSUMED NAME FILINGS - , NO. MD SOS-31089              UNDETERMINED      _________________ UNDETERMINED
62.478. ASSUMED NAME FILINGS - , NO. MD SOS-31104              UNDETERMINED      _________________ UNDETERMINED
62.479. ASSUMED NAME FILINGS - , NO. MD SOS-31159              UNDETERMINED      _________________ UNDETERMINED
62.480. ASSUMED NAME FILINGS - , NO. MD SOS-31198              UNDETERMINED      _________________ UNDETERMINED
62.481. ASSUMED NAME FILINGS - , NO. MD SOS-31279              UNDETERMINED      _________________ UNDETERMINED
62.482. ASSUMED NAME FILINGS - , NO. ME SOS-31127              UNDETERMINED      _________________ UNDETERMINED
62.483. ASSUMED NAME FILINGS - , NO. MO SOS-31256              UNDETERMINED      _________________ UNDETERMINED
62.484. ASSUMED NAME FILINGS - , NO. NJ SOS                    UNDETERMINED      _________________ UNDETERMINED
62.485. ASSUMED NAME FILINGS - , NO. ORANGE COUNTY-31145       UNDETERMINED      _________________ UNDETERMINED
62.486. ASSUMED NAME FILINGS - , NO. PLACER COUNTY-31078       UNDETERMINED      _________________ UNDETERMINED
62.487. ANNUAL REPORT - , NO. R-14733305 - AZ                  UNDETERMINED      _________________ UNDETERMINED


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Debtor   MAC ACQUISITION LLC                                                            Case number (if known) 17-12224

62.488. ASSUMED NAME FILINGS - , NO. RIVERSIDE COUNTY-31294   UNDETERMINED      _________________ UNDETERMINED
62.489. ASSUMED NAME FILINGS - , NO. SACRAMENTO COUNTY-       UNDETERMINED      _________________ UNDETERMINED
        31252
62.490. ASSUMED NAME FILINGS - , NO. SAN DIEGO COUNTY-31339   UNDETERMINED      _________________ UNDETERMINED
62.491. ASSUMED NAME FILINGS - , NO. SAN JOAQUIN-31287        UNDETERMINED      _________________ UNDETERMINED
62.492. ANNUAL REPORT - SECRETARY OF STATE - NC, NO.          UNDETERMINED      _________________ UNDETERMINED
        SEC1062000 - NC
62.493. ASSUMED NAME FILINGS - , NO. SOS MI                   UNDETERMINED      _________________ UNDETERMINED
62.494. ASSUMED NAME FILINGS - , NO. SOS MN                   UNDETERMINED      _________________ UNDETERMINED
62.495. ASSUMED NAME FILINGS - , NO. SOS PA                   UNDETERMINED      _________________ UNDETERMINED
62.496. ANNUAL REPORT - SECRETARY OF STATE - VA, NO.          UNDETERMINED      _________________ UNDETERMINED
        T038621-1 - VA
62.497. ASSUMED NAME FILINGS - , NO. TN SOS                   UNDETERMINED      _________________ UNDETERMINED
62.498. ASSUMED NAME FILINGS - , NO. UTAH-31181               UNDETERMINED      _________________ UNDETERMINED
62.499. ASSUMED NAME FILINGS - , NO. VENTURA COUNTY-31307     UNDETERMINED      _________________ UNDETERMINED
62.500. ASSUMED NAME FILINGS - , NO. WASHOE COUNTY-31184      UNDETERMINED      _________________ UNDETERMINED
62.501. ANNUAL REPORT - SECRETARY OF STATE - TN, NO.          UNDETERMINED      _________________ UNDETERMINED
        000585132 - TN
62.502. TRADEMARK LICENSE FROM MAC ACQUISITION IP, LLC        UNDETERMINED      _________________ UNDETERMINED
        PURSUANT TO TRADEMARK LICENSE AGREEMENT DATED
        AS OF DECEMBER 18, 2008
62.503. HEALTH PERMIT - ALBANY COUNTY HEALTH DEPT., NO. 01-   UNDETERMINED      _________________ UNDETERMINED
        3009 / 676720
62.504. STATE LIQUOR LICENSE - NYS LIQUOR AUTHORITY, NO.      UNDETERMINED      _________________ UNDETERMINED
        2147331
62.505. LIQUOR TAX BOND - MARSH & MCLENNAN AGENCY, NO.        UNDETERMINED      _________________ UNDETERMINED
        2200658
62.506. BURGLAR ALARM PERMIT - TOWN OF COLONIE, NO. FS-14-    UNDETERMINED      _________________ UNDETERMINED
        00062
62.507. BURGLAR ALARM PERMIT - MIAMI-DADE COUNTY POLICE       UNDETERMINED      _________________ UNDETERMINED
        DEPT., NO. 100105
62.508. CERTIFICATE OF USE/OCCUPANCY - MIAMI-DADE COUNTY,     UNDETERMINED      _________________ UNDETERMINED
        NO. 2009048018 AND 2009048017
62.509. SALES TAX REGISTRATION - FLORIDA DOR, NO. 23-         UNDETERMINED      _________________ UNDETERMINED
        8014912026-6
62.510. BUSINESS LICENSE - MIAMI-DADE COUNTY, NO. 6406094     UNDETERMINED      _________________ UNDETERMINED
62.511. FIRE PREVENTION PERMIT - MIAMI-DADE FIRE RESCUE       UNDETERMINED      _________________ UNDETERMINED
        DEPARTMENT, NO. 99120-11948
62.512. STATE LIQUOR LICENSE - DBPR DIV. OF ALCOHOLIC         UNDETERMINED      _________________ UNDETERMINED
        BEVERAGES AND TOBACCO, NO. BEV2310904-QUOTA
62.513. KITCHEN EQUIPMENT PERMIT - MIAMI-DADE COUNTY          UNDETERMINED      _________________ UNDETERMINED
        ENVIRONMENTAL RESOURCES MANAGEMENT, NO. GDO-
        000091
62.514. BOILER PERMIT - MIAMI-DADE BLDG AND NEIGHBORHOOD      UNDETERMINED      _________________ UNDETERMINED
        COMPLIANCE DEPT, NO. NB65699
62.515. HEALTH PERMIT - DBPR – DIVISION OF HOTELS AND         UNDETERMINED      _________________ UNDETERMINED
        RESTAURANTS, NO. SEA2323585
62.516. BUSINESS LICENSE - OSCEOLA COUNTY, NO. 112619         UNDETERMINED      _________________ UNDETERMINED



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Debtor   MAC ACQUISITION LLC                                                            Case number (if known) 17-12224

62.517. SALES TAX REGISTRATION - FLORIDA DOR, NO. 59-         UNDETERMINED      _________________ UNDETERMINED
        8014913699-8
62.518. STATE LIQUOR LICENSE - DBPR DIV. OF ALCOHOLIC         UNDETERMINED      _________________ UNDETERMINED
        BEVERAGES AND TOBACCO, NO. BEV5901672-QUOTA
62.519. HEALTH PERMIT - DBPR – DIVISION OF HOTELS AND         UNDETERMINED      _________________ UNDETERMINED
        RESTAURANTS, NO. SEA5906039
62.520. BUSINESS LICENSE - SEMINOLE COUNTY TAX COLLECTOR,     UNDETERMINED      _________________ UNDETERMINED
        NO. 161041
62.521. SALES TAX REGISTRATION - FLORIDA DOR, NO. 69-         UNDETERMINED      _________________ UNDETERMINED
        8014912155-5
62.522. STATE LIQUOR LICENSE - DBPR DIV. OF ALCOHOLIC         UNDETERMINED      _________________ UNDETERMINED
        BEVERAGES AND TOBACCO, NO. BEV6910160-QUOTA
62.523. HEALTH PERMIT - DBPR – DIVISION OF HOTELS AND         UNDETERMINED      _________________ UNDETERMINED
        RESTAURANTS, NO. SEA6904703
62.524. BUSINESS LICENSE - CITY OF ST. PETERSBURG, NO. 17-    UNDETERMINED      _________________ UNDETERMINED
        00038770
62.525. BURGLAR ALARM PERMIT - CITY OF ST. PETERSBURG         UNDETERMINED      _________________ UNDETERMINED
        POLICE DEPT., NO. 55125
62.526. SALES TAX REGISTRATION - FLORIDA DOR, NO. 62-         UNDETERMINED      _________________ UNDETERMINED
        8014912705-5
62.527. STATE LIQUOR LICENSE - DBPR DIV. OF ALCOHOLIC         UNDETERMINED      _________________ UNDETERMINED
        BEVERAGES AND TOBACCO, NO. BEV6210099-QUOTA
62.528. GREASE PERMIT - CITY OF ST. PETERSBURG, NO. GMP-      UNDETERMINED      _________________ UNDETERMINED
        295-04-3 7986
62.529. HEALTH PERMIT - DBPR – DIVISION OF HOTELS AND         UNDETERMINED      _________________ UNDETERMINED
        RESTAURANTS, NO. SEA6215377
62.530. BUSINESS LICENSE - ORANGE COUNTY TAX COLLECTOR,       UNDETERMINED      _________________ UNDETERMINED
        NO. 1701-1106767
62.531. BUSINESS LICENSE - CITY OF WINTER GARDEN, NO. 18-     UNDETERMINED      _________________ UNDETERMINED
        00004998
62.532. SALES TAX REGISTRATION - FLORIDA DOR, NO. 58-         UNDETERMINED      _________________ UNDETERMINED
        8014912127-0
62.533. STATE LIQUOR LICENSE - DBPR DIV. OF ALCOHOLIC         UNDETERMINED      _________________ UNDETERMINED
        BEVERAGES AND TOBACCO, NO. BEV5810065-QUOTA
62.534. HEALTH PERMIT - DBPR – DIVISION OF HOTELS AND         UNDETERMINED      _________________ UNDETERMINED
        RESTAURANTS, NO. SEA5811831
62.535. BUSINESS LICENSE - HILLSBOROUGH COUNTY TAX            UNDETERMINED      _________________ UNDETERMINED
        COLLECTOR, NO. 18289
62.536. SALES TAX REGISTRATION - FLORIDA DEPT. OF REVENUE,    UNDETERMINED      _________________ UNDETERMINED
        NO. 39-8014912106-8
62.537. STATE LIQUOR LICENSE - DBPR DIV. OF ALCOHOLIC         UNDETERMINED      _________________ UNDETERMINED
        BEVERAGES AND TOBACCO, NO. BEV3904063-QUOTA
62.538. HEALTH PERMIT - DBPR – DIVISION OF HOTELS AND         UNDETERMINED      _________________ UNDETERMINED
        RESTAURANTS, NO. SEA3910442
62.539. BUSINESS LICENSE - CITY OF DORAL, NO. 2018007617      UNDETERMINED      _________________ UNDETERMINED
62.540. SALES TAX REGISTRATION - FLORIDA DOR, NO. 23-         UNDETERMINED      _________________ UNDETERMINED
        8014911873-7
62.541. BURGLAR ALARM PERMIT - CITY OF DORAL, NO. 3           UNDETERMINED      _________________ UNDETERMINED
62.542. BUSINESS LICENSE - MIAMI-DADE COUNTY, NO. 6406086     UNDETERMINED      _________________ UNDETERMINED
62.543. FIRE PREVENTION PERMIT - MIAMI-DADE COUNTY FIRE       UNDETERMINED      _________________ UNDETERMINED
        RESCUE DEPT., NO. 99120-16716


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Debtor     MAC ACQUISITION LLC                                                                      Case number (if known) 17-12224

62.544. STATE LIQUOR LICENSE - DBPR DIV. OF ALCOHOLIC                    UNDETERMINED      _________________ UNDETERMINED
        BEVERAGES AND TOBACCO, NO. BEV2321986 - QUOTA
62.545. BOILER PERMIT - CITY OF DORAL, NO. BR1211                        UNDETERMINED      _________________ UNDETERMINED
62.546. KITCHEN EQUIPMENT PERMIT - MIAMI-DADE COUNTY                     UNDETERMINED      _________________ UNDETERMINED
        ENVIRONMENTAL RESOURCES MANAGEMENT, NO. GDO-
        002876
62.547. HEALTH PERMIT - DBPR – DIVISION OF HOTELS AND                    UNDETERMINED      _________________ UNDETERMINED
        RESTAURANTS, NO. SEA2326493
62.548. BUSINESS LICENSE - HILLSBOROUGH COUNTY, DOUG                     UNDETERMINED      _________________ UNDETERMINED
        BELDEN TAX COLLECTOR, NO. 20278
62.549. ANNUAL REPORT - CITY OF TAMPA, NO. 31039 GROSS                   UNDETERMINED      _________________ UNDETERMINED
        SALES REPORT
62.550. SALES TAX REGISTRATION - FLORIDA DOR, NO. 39-                    UNDETERMINED      _________________ UNDETERMINED
        8014911909-6
62.551. STATE LIQUOR LICENSE - DBPR DIV. OF ALCOHOLIC                    UNDETERMINED      _________________ UNDETERMINED
        BEVERAGES AND TOBACCO, NO. BEV3904214-QUOTA
62.552. HEALTH PERMIT - DBPR – DIVISION OF HOTELS AND                    UNDETERMINED      _________________ UNDETERMINED
        RESTAURANTS, NO. SEA3912795
62.553. LIQUOR TAX BOND - MARSH & MCLENNAN AGENCY, NO.                   UNDETERMINED      _________________ UNDETERMINED
        2168985
62.554. HEALTH PERMIT - MONROE COUNTY DEPT. OF HEALTH,                   UNDETERMINED      _________________ UNDETERMINED
        NO. 275658201
62.555. STATE LIQUOR LICENSE - NYS LIQUOR AUTHORITY, NO.                 UNDETERMINED      _________________ UNDETERMINED
        3141160
62.556. FIRE ALARM PERMIT - TOWN OF HENRIETTA, NO. FP705                 UNDETERMINED      _________________ UNDETERMINED
62.557. SIGNAGE PERMIT - TOWN OF HENRIETTA, NO. SG04230                  UNDETERMINED      _________________ UNDETERMINED
62.558. SIGNAGE PERMIT - TOWN OF HENRIETTA, NO. SG05161                  UNDETERMINED      _________________ UNDETERMINED
62.559. SALES TAX REGISTRATION - FLORIDA DOR, NO. 58-                    UNDETERMINED      _________________ UNDETERMINED
        8014913706-0
62.560. STATE LIQUOR LICENSE - DBPR DIV. OF ALCOHOLIC                    UNDETERMINED      _________________ UNDETERMINED
        BEVERAGES AND TOBACCO, NO. BEV5807042 - QUOTA
62.561. HEALTH PERMIT - DBPR – DIVISION OF HOTELS AND                    UNDETERMINED      _________________ UNDETERMINED
        RESTAURANTS, NO. SEA5807899
62.562. ANNUAL REPORT - SECRETARY OF STATE - NY, NO.                     UNDETERMINED      _________________ UNDETERMINED
        3715250 - NY
62.563. ASSUMED NAME FILINGS - FLORIDA DEPT OF STATE, NO.                UNDETERMINED      _________________ UNDETERMINED
        G94319900076
62.564. ANNUAL REPORT - STATE OF FLORIDA, NO. M08000003949 -             UNDETERMINED      _________________ UNDETERMINED
        FL

63.       Customer lists, mailing lists, or other compilations
63.1.     ___________________________________________________           $_______________   _________________   $_______________

64.       Other intangibles, or intellectual property
64.1.     ___________________________________________________           $_______________   _________________   $_______________

65.       Goodwill
65.1.     ___________________________________________________           $_______________   _________________   $_______________

66.     Total of part 10
        Add lines 60 through 65. Copy the total to line 89.                                                     UNDETERMINED




Official Form 206A/B                          Schedule A/B: Assets — Real and Personal Property                       Page 77 of 80
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Debtor     MAC ACQUISITION LLC                                                                                        Case number (if known) 17-12224

67.     Do your lists or records include personally identifiable information of customers (as defined in 11 U.S.C. §§ 101(41A)
        and 107)?
        þ No
        ¨ Yes
68.     Is there an amortization or other similar schedule available for any of the property listed in Part 10?
        ¨ No
        þ Yes
69.     Has any of the property listed in Part 10 been appraised by a professional within the last year?
        þ No
        ¨ Yes

 Part 11: All other assets

70.     Does the debtor own any other assets that have not yet been reported on this form?
        Include all interests in executory contracts and unexpired leases not previously reported on this form.

        ¨ No. Go to Part 12.
        þ Yes. Fill in the information below.
                                                                                                                                  Current value of
                                                                                                                                  debtor’s interest

71.     Notes receivable
        Description (include name of obligor)                Total face amount           Doubtful or                              Current value of
                                                                                         uncollectible amount                     debtor’s interest

71.1. _______________________________________                $________________        - $________________          = ........ →   $________________
        _______________________________________

72.       Tax refunds and unused net operating losses (NOLs)
          Description (for example, federal, state,    Tax refund amount       NOL amount               Tax year                  Current value of
          local)                                                                                                                  debtor’s interest
72.1.     _________________________________            $_______________        $_______________         _________________         $_______________

73.       Interests in insurance policies or annuities
          Insurance company             Insurance policy     Annuity issuer name     Annuity account       Annuity account        Current value of
                                        No.                                          type                  No.                    debtor’s interest
73.1.     LIBERTY MUTUAL FIRE           3097                 _________________       _______________ _______________ UNDETERMINED
          INSURANCE COMPANY
73.2.     INTEGON NATIONAL              8377                 _________________       _______________ _______________ UNDETERMINED
          INSURANCE COMPANY
73.3.     IMPERIAL FIRE &               8027                 _________________       _______________ _______________ UNDETERMINED
          CASUALTY INSURANCE
          COMPANY
73.4.     IMPERIAL FIRE &               8042                 _________________       _______________ _______________ UNDETERMINED
          CASUALTY INSURANCE
          COMPANY
73.5.     EVANSTON INSURANCE            2044                 _________________       _______________ _______________ UNDETERMINED
          COMPANY
73.6.     LLOYDS LONDON                 7019                 _________________       _______________ _______________ UNDETERMINED
73.7.     LIBERTY MUTUAL FIRE           3037                 _________________       _______________ _______________ UNDETERMINED
          INSURANCE COMPANY



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Debtor     MAC ACQUISITION LLC                                                                              Case number (if known) 17-12224

73.8.     LIBERTY MUTUAL FIRE           3027                  _________________   _______________ _______________ UNDETERMINED
          INSURANCE COMPANY
73.9.     LIBERTY MUTUAL FIRE           3047                  _________________   _______________ _______________ UNDETERMINED
          INSURANCE COMPANY
73.10. LIBERTY INSURANCE                3057                  _________________   _______________ _______________ UNDETERMINED
       COMPANY
73.11. FIREMAN'S FUND                   2286                  _________________   _______________ _______________ UNDETERMINED
73.12. XL CAITLIN                       24 01                 _________________   _______________ _______________ UNDETERMINED
73.13. LIBERTY INSURANCE                3067                  _________________   _______________ _______________ UNDETERMINED
       COMPANY
73.14. FEDERAL INSURANCE                6508                  _________________   _______________ _______________ UNDETERMINED
       COMPANY
73.15. LIBERTY INSURANCE                3017                  _________________   _______________ _______________ UNDETERMINED
       COMPANY
73.16. OHIO BUREAU OF                   2377-0                _________________   _______________ _______________ UNDETERMINED
       WORKERS'
       COMPENSATION
73.17. WASHINGTON STATE                 _______________ _________________         _______________ _______________ UNDETERMINED
       DEPT. OF LABOR &
       INDUSTRIES

74.       Causes of action against third parties (whether or not a lawsuit
          has been filed)
                                                         Nature of claim                       Amount requested      Current value of
                                                                                                                     debtor’s interest
74.1.     PROOF OF CLAIM NO. 995 FILED IN                INDEMNIFICATION                       UNLIQUIDATED          UNDETERMINED
          IGNITE BANKRUPTCY
74.2.     PROOF OF CLAIM NO. 996 FILED IN                INDEMNIFICATION                       UNLIQUIDATED          UNDETERMINED
          IGNITE BANKRUPTCY

75.       Other contingent and unliquidated claims or causes of action of
          every nature, including counterclaims of the debtor and rights to
          set off claims
                                                         Nature of claim                       Amount requested      Current value of
                                                                                                                     debtor’s interest
75.1.     OUTSTANDING INSURANCE                          INSURANCE SETTLEMENT                  $89,053.62            $89,053.62
          SETTLEMENT FOR WHEATON
          RESTAURANT

76.       Trusts, equitable or future interests in property
76.1.     _______________________________________________________________________________________                    $_______________

77.       Other property of any kind not already listed
          Examples: Season tickets, country club membership
77.1.     INTERCOMPANY RECEIVABLE - MAC ACQUISITION OF NEW JERSEY LLC                                                $2,240,000.00
77.2.     INTERCOMPANY RECEIVABLE - MAC ACQUISITION OF FREDERICK COUNTY LLC                                          $225,000.00
77.3.     INTERCOMPANY RECEIVABLE - RMG DEVELOPMENT LLC                                                              $3,300,000.00

78.     Total of part 11
        Add lines 71 through 77. Copy the total to line 90.                                                              $5,854,053.62

79.     Has any of the property listed in Part 11 been appraised by a professional within the last year?
        þ No
        ¨ Yes

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Debtor    MAC ACQUISITION LLC                                                                                                    Case number (if known) 17-12224



 Part 12: Summary

In Part 12 copy all of the totals from the earlier parts of the form.
      Type of property                                                                  Current value of                   Current value of
                                                                                        personal                           real property
                                                                                        property

80.   Cash, cash equivalents, and financial assets. Copy line 5,                           $3,571,762.33
      Part 1.

81.   Deposits and prepayments. Copy line 9, Part 2.                                       $1,655,163.73


82.   Accounts receivable. Copy line 12, Part 3.                                           $2,027,840.13


83.   Investments. Copy line 17, Part 4.                                                 UNDETERMINED


84.   Inventory. Copy line 23, Part 5.                                                     $1,684,312.32


85.   Farming and fishing-related assets. Copy line 33, Part 6.                                 $0.00


86.   Office furniture, fixtures, and equipment; and                                       $1,621,886.15
      collectibles. Copy line 43, Part 7.

87.   Machinery, equipment, and vehicles. Copy line 51, Part 8.                            $4,098,353.68



88.   Real property. Copy line 56, Part 9. ...................................................................... →         $14,885,739.36

89.   Intangibles and intellectual property. Copy line 66, Part 10.                      UNDETERMINED


90.   All other assets. Copy line 78, Part 11.                                     +       $5,854,053.62



91.   Total. Add lines 80 through 90 for each column. ..........91a.                      $20,513,371.96          + 91b.    $14,885,739.36




92.   Total of all property on Schedule A/B. Lines 91a + 91b = 92. ......................................................................     $35,399,111.32




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Fill in this information to identify the case:

Debtor name: MAC ACQUISITION LLC
United States Bankruptcy Court for the: District of Delaware
Case number (if known): 17-12224

                                                                                                                             ¨ Check if this is an
                                                                                                                                    amended filing

Official Form 206D
Schedule D: Creditors Who Have Claims Secured by Property                                                                                    12/15

Be as complete and accurate as possible.

1.    Do any creditors have claims secured by debtor’s property?
      ¨ No. Check this box and submit page 1 of this form to the court with debtor’s other schedules. Debtor has nothing else to report on this
      form.
      þ Yes. Fill in all of the information below.

 Part 1:      List Creditors Who Have Secured Claims

2.    List in alphabetical order all creditors who have secured claims. If a creditor has more than one secured claim, list the
      creditor separately for each claim.




Official Form 206D                    Schedule D: Creditors Who Have Claims Secured by Property                                        Page 1 of 8
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Debtor    MAC ACQUISITION LLC                                                                                 Case number (if known) 17-12224



                                                                                                         Column A         Column B
                                                                                                         Amount of        Value of
                                                                                                         Claim            collateral that
                                                                                                         Do not deduct    supports this
                                                                                                         the value of     claim
                                                                                                         collateral.


2.1.     Creditor's name and address                     Describe debtor’s property that is subject
                                                         to a lien

         AIRTEMP INC                                     OUTSTANDING INVOICES IN THE AMOUNT              $9,899.89        UNDETERMINED
         DRUMMOND WOODSUM                                OF $9,899.89 FOR SERVICES RENDERED
         JEFFREY T PLAMPLANO                             AT 415 PHILBROOK AVE, SOUTH
         84 MARGINAL WAY                                 PORTLAND, ME
         STE 600
         PORTLAND ME 04101-2480                          Describe the lien

         Creditor’s email address, if known              CLAIM OF LIEN RECORDED 7/20/2017 AT
                                                         BOOK 34173, PAGES 48-49, CUMBERLAND
         _____________________________________           COUNTY REGISTRY OF DEEDS
         Date debt was incurred: ____________            Is the creditor an insider or related party?
         Last 4 digits of account number:              þ No
         Do multiple creditors have an interest in the ¨ Yes
         same property?
                                                         Is anyone else liable on this claim?
         þ No                                            þ No
         ¨ Yes. Have you already specified the           ¨ Yes. Fill out Schedule H: Codebtors
         relative priority?
                                                         (Official Form 206H).
             ¨ No. Specify each creditor, including      As of the petition filing date, the claim is:
             this creditor, and its relative priority.   Check all that apply.
             _________________________________
             _________________________________            ¨ Contingent
             ¨ Yes. The relative priority of creditors is þ Unliquidated
             specified on lines: ______
                                                          þ Disputed




Official Form 206D                    Schedule D: Creditors Who Have Claims Secured by Property                                   Page 2 of 8
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Debtor    MAC ACQUISITION LLC                                                                                   Case number (if known) 17-12224

2.2.1    Creditor's name and address                        Describe debtor’s property that is subject
                                                            to a lien

         BANK OF COLORADO                                   ALL INVENTORY, CHATTEL PAPER,                   $17,929,080.00   UNDETERMINED
         1801 BROADWAY STE 100                              ACCOUNTS, EQUIPMENT AND GENERAL
         DENVER CO 80202                                    INTANGIBLES, WHETHER NOW OWNED OR
                                                            HEREAFTER ACQUIRED, WHETHER NOW
         Creditor’s email address, if known                 EXISTING OR HEREAFTER ARISING, AND
                                                            WHEREVER LOCATED, ETC
         _____________________________________
                                                            Describe the lien
         Date debt was incurred: 6/8/2015
                                                            UCC-1 RECORDED 6/8/2015 IN DELAWARE
         Last 4 digits of account number:
                                                            AS DOCUMENT # 20152433331
         Do multiple creditors have an interest in the
                                                            Is the creditor an insider or related party?
         same property?

         ¨ No                                               þ No
         þ Yes. Have you already specified the              ¨ Yes
         relative priority?                                 Is anyone else liable on this claim?
             þ No. Specify each creditor, including         ¨ No
             this creditor, and its relative priority.
             THE PRIORITY OF LIENS IS AS                    þ Yes. Fill out Schedule H: Codebtors
             FOLLOWS: FIRST, BANK OF                        (Official Form 206H).
             COLORADO; SECOND, CISCO                        As of the petition filing date, the claim is:
             SYSTEMS CAPITAL CORPORATION;                   Check all that apply.
             THIRD, EDWARD DON & COMPANY;
             AND FOURTH, RIESEN FUNDING LLC                 ¨ Contingent
             ¨ Yes. The relative priority of creditors is   þ Unliquidated
             specified on lines: ______
                                                            ¨ Disputed
2.3.     Creditor's name and address                        Describe debtor’s property that is subject
                                                            to a lien

         CISCO SYSTEMS CAPITAL CORPORATION                  RIGHT, TITLE AND INTEREST, NOW                  $100,000.00      UNDETERMINED
         170 W TASMAN DR                                    EXISTING AND HEREAFTER ARISING, IN
         MS SJ133                                           AND TO LEASED PROPERTY MORE
         SAN JOSE CA 95134                                  SPECIFICALLY IDENTIFIED IN RECORDED
                                                            FINANCING STATEMENT, ETC
         Creditor’s email address, if known
                                                            Describe the lien
         _____________________________________
                                                            UCC-1 RECORDED 8/4/2015 IN DELAWARE
         Date debt was incurred: 8/4/2015                   AS DOCUMENT # 20153370573
         Last 4 digits of account number:                   Is the creditor an insider or related party?
         Do multiple creditors have an interest in the
         same property?
                                                            þ No
                                                            ¨ Yes
         ¨ No                                               Is anyone else liable on this claim?
         þ Yes. Have you already specified the
         relative priority?                                 þ No
             ¨ No. Specify each creditor, including         ¨ Yes. Fill out Schedule H: Codebtors
             this creditor, and its relative priority.      (Official Form 206H).
             _________________________________              As of the petition filing date, the claim is:
             _________________________________              Check all that apply.
             þ Yes. The relative priority of creditors is ¨ Contingent
             specified on lines: 2.2
                                                          ¨ Unliquidated
                                                          þ Disputed




Official Form 206D                     Schedule D: Creditors Who Have Claims Secured by Property                                    Page 3 of 8
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Debtor    MAC ACQUISITION LLC                                                                                   Case number (if known) 17-12224

2.4.     Creditor's name and address                        Describe debtor’s property that is subject
                                                            to a lien

         EDWARD DON AND COMPANY                             SECURED FULL AND TIMELY PAYMENT OF              $480,892.09     UNDETERMINED
         9801 ADAM DON PKWY                                 ALL NOW EXISTING AND HEREAFTER
         WOODRIDGE IL 60517                                 ARISING AMOUNTS DUE, ETC
         Creditor’s email address, if known                 Describe the lien
         _____________________________________              UCC-1 RECORDED 6/7/2017 IN DELAWARE
                                                            AS DOCUMENT # 20173749246
         Date debt was incurred: 6/7/2017
                                                            Is the creditor an insider or related party?
         Last 4 digits of account number:
         Do multiple creditors have an interest in the
                                                            þ No
         same property?                                     ¨ Yes
         ¨ No                                               Is anyone else liable on this claim?

         þ Yes. Have you already specified the              þ No
         relative priority?                                 ¨ Yes. Fill out Schedule H: Codebtors
             ¨ No. Specify each creditor, including         (Official Form 206H).
             this creditor, and its relative priority.      As of the petition filing date, the claim is:
             _________________________________              Check all that apply.
             _________________________________
             þ Yes. The relative priority of creditors is þ Contingent
             specified on lines: 2.2                      þ Unliquidated
                                                          þ Disputed
2.5.     Creditor's name and address                        Describe debtor’s property that is subject
                                                            to a lien

         FACILITY RESPONSE GROUP INC                        OUTSTANDING INVOICES FOR SERVICES               $900.50         UNDETERMINED
         2100 GREENWOOD DR                                  & REPAIR AT REAL PROPERTY LOCATED
         #200                                               AT 8355 AGORA PARKWAY, TX 78154
         SOUTHLAKE TX 76092
                                                            Describe the lien
         Creditor’s email address, if known
                                                            AFFIDAVIT CLAIMING LIEN DATED
         _____________________________________              10/13/2017 COUNTY OF BEXAR, TX
         Date debt was incurred: JULY-AUGUST                Is the creditor an insider or related party?
         2017
                                                            þ No
         Last 4 digits of account number:
                                                            ¨ Yes
         Do multiple creditors have an interest in the
                                                            Is anyone else liable on this claim?
         same property?

         þ No                                               þ No
         ¨ Yes. Have you already specified the              ¨ Yes. Fill out Schedule H: Codebtors
                                                            (Official Form 206H).
         relative priority?
                                                            As of the petition filing date, the claim is:
             ¨ No. Specify each creditor, including         Check all that apply.
             this creditor, and its relative priority.
             _________________________________              þ Contingent
             _________________________________
             ¨ Yes. The relative priority of creditors is   þ Unliquidated
             specified on lines: ______                     þ Disputed




Official Form 206D                     Schedule D: Creditors Who Have Claims Secured by Property                                    Page 4 of 8
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Debtor    MAC ACQUISITION LLC                                                                                   Case number (if known) 17-12224

2.6.     Creditor's name and address                        Describe debtor’s property that is subject
                                                            to a lien

         GRAMPIAN STRIPING INC                              OUTSTANDING INVOICES FOR SERVICES               $3,390.00       UNDETERMINED
         PO BOX 154                                         AT 2111 N SQUIRREL RD, AUBURN HILLS,
         OXFORD MI 48371                                    MI 48326
         Creditor’s email address, if known                 Describe the lien
         _____________________________________              AFFIDAVIT CLAIMING LIEN DATED
                                                            5/24/2017 CITY OF AUBURN HILLS,
         Date debt was incurred: 4/26/2017                  COUNTY OF OAKLAND, MI AND WAYNE
                                                            COUNTY, MI
         Last 4 digits of account number:
                                                            Is the creditor an insider or related party?
         Do multiple creditors have an interest in the
         same property?                                     þ No
         þ No                                               ¨ Yes
         ¨ Yes. Have you already specified the              Is anyone else liable on this claim?
         relative priority?
                                                            þ No
             ¨ No. Specify each creditor, including
             this creditor, and its relative priority.      ¨ Yes. Fill out Schedule H: Codebtors
             _________________________________              (Official Form 206H).
             _________________________________              As of the petition filing date, the claim is:
             ¨ Yes. The relative priority of creditors is   Check all that apply.
             specified on lines: ______
                                                            þ Contingent
                                                            þ Unliquidated
                                                            þ Disputed
2.7.     Creditor's name and address                        Describe debtor’s property that is subject
                                                            to a lien

         HY-TECH ROOFING SERVICES INC                       OUTSTANDING INVOICES FOR SERVICES               $21,605.00      UNDETERMINED
         LESTER J HAYDEL JR                                 AT 2572 CITIPLACE CT, BATON ROUGE, LA
         10371 AIRLINE HWY                                  70808 IN THE AMOUNT OF $21,605.00
         ST ROSE LA 70087
                                                            Describe the lien
         Creditor’s email address, if known
                                                            CLAIM OF LIEN RECORDED 4/25/2017 AS
         _____________________________________              ORIGINAL 775 OF BUNDLE 12,808 PARISH
                                                            OF EAST BATON ROUGE, LA
         Date debt was incurred: 4/25/2017
                                                            Is the creditor an insider or related party?
         Last 4 digits of account number:
         Do multiple creditors have an interest in the
                                                            ¨ No
         same property?                                     ¨ Yes
         þ No                                               Is anyone else liable on this claim?

         ¨ Yes. Have you already specified the              þ No
         relative priority?                                 ¨ Yes. Fill out Schedule H: Codebtors
             ¨ No. Specify each creditor, including         (Official Form 206H).
             this creditor, and its relative priority.      As of the petition filing date, the claim is:
             _________________________________              Check all that apply.
             _________________________________
             ¨ Yes. The relative priority of creditors is þ Contingent
             specified on lines: ______                   þ Unliquidated
                                                          þ Disputed




Official Form 206D                     Schedule D: Creditors Who Have Claims Secured by Property                                    Page 5 of 8
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Debtor    MAC ACQUISITION LLC                                                                                   Case number (if known) 17-12224

2.8.     Creditor's name and address                        Describe debtor’s property that is subject
                                                            to a lien

         LIG ELECTRIC INC                                   OUTSTANDING INVOICES FOR SERVICES               $20,400.00      UNDETERMINED
         GREYSTONE RECOVERY GROUP CORP                      RENDERED AT 21 BLANCHRD CIR,
         CHRISTOPHER BUCHAR ESQ                             WHEATON, IL 60189
         5864 N MILWAUKEE AVE
         CHICAGO IL 60646                                   Describe the lien

         Creditor’s email address, if known                 SUBCONTRACTS CLAIM OF LIEN
                                                            RECORDED 9/7/2017 DUPAGE COUNTY
         _____________________________________              RECORDER, IL, DOCUMENT # R2017-09212
         Date debt was incurred: 9/7/2017                   Is the creditor an insider or related party?
         Last 4 digits of account number:              þ No
         Do multiple creditors have an interest in the ¨ Yes
         same property?
                                                            Is anyone else liable on this claim?
         þ No                                               ¨ No
         ¨ Yes. Have you already specified the              þ Yes. Fill out Schedule H: Codebtors
         relative priority?
                                                            (Official Form 206H).
             ¨ No. Specify each creditor, including         As of the petition filing date, the claim is:
             this creditor, and its relative priority.      Check all that apply.
             _________________________________
             _________________________________            þ Contingent
             ¨ Yes. The relative priority of creditors is þ Unliquidated
             specified on lines: ______
                                                          þ Disputed
2.9.     Creditor's name and address                        Describe debtor’s property that is subject
                                                            to a lien

         RIESEN FUNDING LLC                                 ACCOUNTS AND ACCOUNTS RECEIVABLE,               $5,130,000.00   UNDETERMINED
         PO BOX 25040                                       INVENTORY, EQUIPMENT, MACHINERY,
         SCOTTSDALE AZ 85255                                FURNISHINGS AND FURNITURE,
                                                            WHERESOEVER THE SAME MAY BE
         Creditor’s email address, if known                 LOCATED, CONTRACT RIGHTS, ETC
         _____________________________________              Describe the lien
         Date debt was incurred: 7/3/2017                   UCC-1 RECORDED 7/3/2017 IN DELAWARE
                                                            AS DOCUMENT # 20174386873; AND
         Last 4 digits of account number:
                                                            GUARANTEE
         Do multiple creditors have an interest in the
                                                            Is the creditor an insider or related party?
         same property?

         ¨ No                                               ¨ No
         þ Yes. Have you already specified the              þ Yes
         relative priority?                                 Is anyone else liable on this claim?
             ¨ No. Specify each creditor, including         ¨ No
             this creditor, and its relative priority.
             _________________________________              þ Yes. Fill out Schedule H: Codebtors
             _________________________________              (Official Form 206H).
             þ Yes. The relative priority of creditors is   As of the petition filing date, the claim is:
             specified on lines: 2.2                        Check all that apply.

                                                            ¨ Contingent
                                                            þ Unliquidated
                                                            ¨ Disputed

1
    INCLUDES $4,100,000.00 UNDRAWN LETTERS OF CREDIT



Official Form 206D                     Schedule D: Creditors Who Have Claims Secured by Property                                    Page 6 of 8
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Debtor     MAC ACQUISITION LLC                                                                          Case number (if known) 17-12224




        Total of the dollar amounts from Part 1, Column A, including the amounts
3.                                                                                        $23,696,167.48
        from the Additional Page, if any.




 Part 2:     List Others to Be Notified for a Debt Already Listed in Part 1

List in alphabetical order any others who must be notified for a debt already listed in Part 1. Examples of entities that may be
listed are collection agencies, assignees of claims listed above, and attorneys for secured creditors.
If no others need to be notified for the debts listed in Part 1, do not fill out or submit this page. If additional pages are needed,
copy this page.
          Name and address                                                                   On which line in       Last 4 digits of
                                                                                             Part 1 did you enter   account number
                                                                                             the related            for this entity
                                                                                             creditor?

3.1.      AIRTEMP INC                                                                        Line 2.1               _______________
          20 THOMAS DR
          WESTBROOK ME 04092

3.2.      ARIA PLUMBING LLC                                                                  Line 2.8               _______________
          247 WILLIAM ST
          BENSENVILLE IL 60106

3.3.      BALL, SANTIN & MCLERAN, PLC                                                        Line 2.9               _______________
          JAMES B. BALL
          2999 N. 44TH STREET
          SUITE 500
          PHOENIX AZ 85018

3.4.      BRINKER RESTAURANT CORPORATION                                                     Line 2.1               _______________
          GENERAL COUNSEL
          DENISE MOORE VP PROPERTY MNGMT
          6820 LBJ FWY
          DALLAS TX 75240

3.5.      BURNS WALL AND MUELLER PC                                                          Line 2.4               _______________
          ROBERT T COSGROVE
          303 EAST 17TH AVE STE 800
          DENVER CO 80203

3.6.      HELEN R KEIM TRUSTEE                                                               Line 2.8               _______________
          THE HELEN R KEIM REVOCABLE LIVING TRUST ECT
          911 DEERPATH CT
          WHEATON IL 60187

3.7.      JOSEPH A KEIM TRUSTEE                                                              Line 2.8               _______________
          THE JOSEPH A KEIM REVOCABLE LIVING TRUST ETC
          911 DEERPATH CT
          WHEATON IL 60187

3.8.      KALLAS & HENK PC                                                                   Line 2.6               _______________
          JOHN F FLEMING ESQ
          43902 WOODWARE AVE
          STE 200
          BLOOMFIELD HILLS MI 48302

3.9.      LAURENS RESTORATIONS INC                                                           Line 2.8               _______________
          1536 VOLTZ RD
          NORTHBROOK IL 60062

3.10.     MARKUS WILLIAMS YOUNG ET AL.                                                       Line 2.2               _______________
          JAMES T. MARKUS
          1700 LINCOLN STREET
          SUITE 4550
          DENVER CO 80203

Official Form 206D                 Schedule D: Creditors Who Have Claims Secured by Property                                Page 7 of 8
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Debtor    MAC ACQUISITION LLC                                                                 Case number (if known) 17-12224

3.11.    MIKE AND MARTHA WITT                                                      Line 2.5               _______________
         3300 LAKE CREEK RD
         HERBER CITY UT 84032-4183

3.12.    PHILBROOK AVENUE ASSOCIATES LLC                                           Line 2.1               _______________
         PO BOX 0853
         BRATTLEBORO VT 05302-0853

3.13.    RIMROCK PARTNERS LLC                                                      Line 2.8               _______________
         2415 E CAMELBACK RD STE 700
         PHOENIX AZ 85016

3.14.    SHAW FISHMAN GLANTZ & TOWBIN LLC                                          Line 2.2               _______________
         BRIAN L. SHAW
         321 N. CLARK ST. STE 800
         CHICAGO IL 60654

3.15.    SHAW FISHMAN GLANTZ & TOWBIN LLC                                          Line 2.2               _______________
         THOMAS M HORAN; JOHNNA M DARBY
         300 DELAWARE AVE. STE 1370
         WILMINGTON DE 19801

3.16.    THOMPSON COBURN LLP                                                       Line 2.4               _______________
         LAUREN NEWMAN
         55 EAST MONROE ST., 37TH FLOOR
         CHICAGO IL 60603

3.17.    WOMBLE BOND DICKINSON (US) LLP                                            Line 2.4               _______________
         MATTHEW P WARD
         222 DELAWARE AVE STE 1501
         WILMINGTON DE 19801




Official Form 206D              Schedule D: Creditors Who Have Claims Secured by Property                         Page 8 of 8
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Fill in this information to identify the case:

Debtor name: MAC ACQUISITION LLC
United States Bankruptcy Court for the: District of Delaware
Case number (if known): 17-12224

                                                                                                                               ¨ Check if this is an
                                                                                                                                      amended filing

Official Form 206E/F
Schedule E/F: Creditors Who Have Unsecured Claims                                                                                              12/15

Be as complete and accurate as possible. Use Part 1 for creditors with PRIORITY unsecured claims and Part 2 for creditors with NONPRIORITY
unsecured claims. List the other party to any executory contracts or unexpired leases that could result in a claim. Also list executory contracts
on Schedule A/B: Assets - Real and Personal Property (Official Form 206A/B) and on Schedule G: Executory Contracts and Unexpired Leases
(Official Form 206G) .Number the entries in Parts 1 and 2 in the boxes on the left. If more space is needed for Part 1 or Part 2, fill out and attach
the Additional Page of that Part included in this form.



 Part 1:    List All Creditors with PRIORITY Unsecured Claims

1.     Do any creditors have priority unsecured claims? (See 11 U.S.C. § 507).
       ¨ No. Go to Part 2.
       þ Yes. Go to line 2.
2.      List in alphabetical order all creditors who have unsecured claims that are entitled to priority in whole or in part. If the
        debtor has more than 3 creditors with priority unsecured claims, fill out and attach the Additional Page of Part 1.


2.1.    Priority creditor’s name and mailing          As of the petition filing date, the claim      Total claim             Priority amount
        address                                       is:
                                                      Check all that apply.                          $68.00                  UNDETERMINED
        CITY OF AURORA
        TAX & LICENSING DIVISION                      ¨ Contingent
        PO BOX 33001
        AURORA CO 80041                               þ Unliquidated                                                         Nonpriority amount

                                                      ¨ Disputed                                                             UNDETERMINED

        Date or dates debt was incurred               Basis for the claim:
        VARIOUS                                       TAX

        Last 4 digits of account                      Is the claim subject to offset?
        number:
                                                      þ No
        Specify Code subsection of PRIORITY
        unsecured claim:11 U.S.C. § 507(a) (8)        ¨ Yes

2.2.    Priority creditor’s name and mailing          As of the petition filing date, the claim      Total claim             Priority amount
        address                                       is:
                                                      Check all that apply.                          $4,161.95               UNDETERMINED
        CITY OF EDINA
        4801 W 50TH STREET                            ¨ Contingent
        EDINA MN 55424
                                                      þ Unliquidated                                                         Nonpriority amount

                                                      ¨ Disputed                                                             UNDETERMINED

        Date or dates debt was incurred               Basis for the claim:
        VARIOUS                                       TAX

        Last 4 digits of account                      Is the claim subject to offset?
        number:
                                                      þ No
        Specify Code subsection of PRIORITY
        unsecured claim:11 U.S.C. § 507(a) (8)        ¨ Yes
Official Form 206E/F                      Schedule E/F: Creditors Who Have Unsecured Claims                                           Page 1 of 698
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Debtor    MAC ACQUISITION LLC                                                                                 Case number (if known) 17-12224




2.3.     Priority creditor’s name and mailing       As of the petition filing date, the claim   Total claim            Priority amount
         address                                    is:
                                                    Check all that apply.                       $308.00                UNDETERMINED
         CITY OF FOLSOM
         ALARM ADMINISTRATION PROGRAM               ¨ Contingent
         PO BOX 398101
         SAN FRANCISCO CA 94139-8101                þ Unliquidated                                                     Nonpriority amount

                                                    ¨ Disputed                                                         UNDETERMINED

         Date or dates debt was incurred            Basis for the claim:
         VARIOUS                                    TAX

         Last 4 digits of account                   Is the claim subject to offset?
         number:
                                                    þ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (8)     ¨ Yes

2.4.     Priority creditor’s name and mailing       As of the petition filing date, the claim   Total claim            Priority amount
         address                                    is:
                                                    Check all that apply.                       $116.00                UNDETERMINED
         CITY OF GREENWOOD VILLAGE
         PO BOX 910841                              ¨ Contingent
         DENVER CO 80274
                                                    þ Unliquidated                                                     Nonpriority amount

                                                    ¨ Disputed                                                         UNDETERMINED

         Date or dates debt was incurred            Basis for the claim:
         VARIOUS                                    TAX

         Last 4 digits of account                   Is the claim subject to offset?
         number:
                                                    þ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (8)     ¨ Yes

2.5.     Priority creditor’s name and mailing       As of the petition filing date, the claim   Total claim            Priority amount
         address                                    is:
                                                    Check all that apply.                       $1,487.80              UNDETERMINED
         CITY OF JEFFERSONTOWN
         PO BOX 991458                              ¨ Contingent
         JEFFERSONTOWN KY 40269
                                                    þ Unliquidated                                                     Nonpriority amount

                                                    ¨ Disputed                                                         UNDETERMINED

         Date or dates debt was incurred            Basis for the claim:
         VARIOUS                                    TAX

         Last 4 digits of account                   Is the claim subject to offset?
         number:
                                                    þ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (8)     ¨ Yes




Official Form 206E/F                       Schedule E/F: Creditors Who Have Unsecured Claims                                    Page 2 of 698
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Debtor    MAC ACQUISITION LLC                                                                                 Case number (if known) 17-12224




2.6.     Priority creditor’s name and mailing       As of the petition filing date, the claim   Total claim            Priority amount
         address                                    is:
                                                    Check all that apply.                       $1,592.98              UNDETERMINED
         COBB COUNTY TAX COMMISSIONER
         PO BOX 100127                              ¨ Contingent
         MARIETTA GA 30061-7027
                                                    þ Unliquidated                                                     Nonpriority amount

                                                    ¨ Disputed                                                         UNDETERMINED

         Date or dates debt was incurred            Basis for the claim:
         VARIOUS                                    TAX

         Last 4 digits of account                   Is the claim subject to offset?
         number:
                                                    þ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (8)     ¨ Yes

2.7.     Priority creditor’s name and mailing       As of the petition filing date, the claim   Total claim            Priority amount
         address                                    is:
                                                    Check all that apply.                       $7,952.85              UNDETERMINED
         COUNTY OF FAIRFAX
         DEPARTMENT OF TAX                          ¨ Contingent
         ADMINISTRATION (DTA)
         PO BOX 10203                               þ Unliquidated                                                     Nonpriority amount
         FAIRFAX VA 22035                           ¨ Disputed                                                         UNDETERMINED

         Date or dates debt was incurred            Basis for the claim:
         VARIOUS                                    TAX

         Last 4 digits of account                   Is the claim subject to offset?
         number:
                                                    þ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (8)     ¨ Yes

2.8.     Priority creditor’s name and mailing       As of the petition filing date, the claim   Total claim            Priority amount
         address                                    is:
                                                    Check all that apply.                       $1,948.01              UNDETERMINED
         COUNTY OF GREENVILLE
         301 UNIVERSITY RIDGE, STE. 600             ¨ Contingent
         GREENVILLE SC 29601
                                                    þ Unliquidated                                                     Nonpriority amount

                                                    ¨ Disputed                                                         UNDETERMINED

         Date or dates debt was incurred            Basis for the claim:
         VARIOUS                                    TAX

         Last 4 digits of account                   Is the claim subject to offset?
         number:
                                                    þ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (8)     ¨ Yes




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Debtor    MAC ACQUISITION LLC                                                                                 Case number (if known) 17-12224




2.9.     Priority creditor’s name and mailing       As of the petition filing date, the claim   Total claim            Priority amount
         address                                    is:
                                                    Check all that apply.                       $1,820.69              UNDETERMINED
         GWINNETT COUNTY TAX
         COMMISSIONER                               ¨ Contingent
         PO BOX 372
         LAWRENCEVILLE GA 30046                     þ Unliquidated                                                     Nonpriority amount

                                                    ¨ Disputed                                                         UNDETERMINED

         Date or dates debt was incurred            Basis for the claim:
         VARIOUS                                    TAX

         Last 4 digits of account                   Is the claim subject to offset?
         number:
                                                    þ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (8)     ¨ Yes

2.10.    Priority creditor’s name and mailing       As of the petition filing date, the claim   Total claim            Priority amount
         address                                    is:
                                                    Check all that apply.                       $101.53                UNDETERMINED
         HARRIS COUNTY TAX ASSESSOR-
         COLLECTOR                                  ¨ Contingent
         TAX ASSESSOR - COLLECTOR & VOTER
         REGISTRAR                                  þ Unliquidated                                                     Nonpriority amount
         PO BOX 4622
         HOUSTON TX 77210-4622
                                                    ¨ Disputed                                                         UNDETERMINED


         Date or dates debt was incurred            Basis for the claim:
         VARIOUS                                    TAX

         Last 4 digits of account                   Is the claim subject to offset?
         number:
                                                    þ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (8)     ¨ Yes

2.11.    Priority creditor’s name and mailing       As of the petition filing date, the claim   Total claim            Priority amount
         address                                    is:
                                                    Check all that apply.                       $58,936.35             UNDETERMINED
         HENNEPIN COUNTY TREASURER
         A-600 GOVERNMENT CENTER                    ¨ Contingent
         MINNEAPOLIS MN 55487-0060
                                                    þ Unliquidated                                                     Nonpriority amount

                                                    ¨ Disputed                                                         UNDETERMINED

         Date or dates debt was incurred            Basis for the claim:
         VARIOUS                                    TAX

         Last 4 digits of account                   Is the claim subject to offset?
         number:
                                                    þ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (8)     ¨ Yes




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Debtor    MAC ACQUISITION LLC                                                                                 Case number (if known) 17-12224




2.12.    Priority creditor’s name and mailing       As of the petition filing date, the claim   Total claim            Priority amount
         address                                    is:
                                                    Check all that apply.                       $1,235.09              UNDETERMINED
         LOUISVILLE METRO REVENUE
         COMMISSION                                 ¨ Contingent
         PO BOX 37740
         LOUISVILLE KY 40233                        þ Unliquidated                                                     Nonpriority amount

                                                    ¨ Disputed                                                         UNDETERMINED

         Date or dates debt was incurred            Basis for the claim:
         VARIOUS                                    TAX

         Last 4 digits of account                   Is the claim subject to offset?
         number:
                                                    þ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (8)     ¨ Yes

2.13.    Priority creditor’s name and mailing       As of the petition filing date, the claim   Total claim            Priority amount
         address                                    is:
                                                    Check all that apply.                       $2,700.27              UNDETERMINED
         MIAMI-DADE COUNTY TAX COLLECTOR
         CONVENTION AND TOURIST TAX                 ¨ Contingent
         COLLECTOR
         PO BOX 10099                               þ Unliquidated                                                     Nonpriority amount
         MIAMI FL 33101                             ¨ Disputed                                                         UNDETERMINED

         Date or dates debt was incurred            Basis for the claim:
         VARIOUS                                    TAX

         Last 4 digits of account                   Is the claim subject to offset?
         number:
                                                    þ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (8)     ¨ Yes

2.14.    Priority creditor’s name and mailing       As of the petition filing date, the claim   Total claim            Priority amount
         address                                    is:
                                                    Check all that apply.                       $450.00                UNDETERMINED
         NORTHWEST ALCOHOL LAW
         123 NE THIRD AVENUE                        ¨ Contingent
         SUITE 310
         PORTLAND OR 97232                          þ Unliquidated                                                     Nonpriority amount

                                                    ¨ Disputed                                                         UNDETERMINED

         Date or dates debt was incurred            Basis for the claim:
         VARIOUS                                    TAX

         Last 4 digits of account                   Is the claim subject to offset?
         number:
                                                    þ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (8)     ¨ Yes




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Debtor    MAC ACQUISITION LLC                                                                                 Case number (if known) 17-12224




2.15.    Priority creditor’s name and mailing       As of the petition filing date, the claim   Total claim            Priority amount
         address                                    is:
                                                    Check all that apply.                       $345.93                UNDETERMINED
         PHILADELPHIA DEPT OF REVENUE
         MUNICIPAL SERVICES BUILDING                ¨ Contingent
         1401 JFK BOULEVARD
         PHILADELPHIA PA 19107                      þ Unliquidated                                                     Nonpriority amount

                                                    ¨ Disputed                                                         UNDETERMINED

         Date or dates debt was incurred            Basis for the claim:
         VARIOUS                                    TAX

         Last 4 digits of account                   Is the claim subject to offset?
         number:
                                                    þ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (8)     ¨ Yes

2.16.    Priority creditor’s name and mailing       As of the petition filing date, the claim   Total claim            Priority amount
         address                                    is:
                                                    Check all that apply.                       $37,871.29             UNDETERMINED
         PIMA COUNTY TREASURERS OFFICE
         PO BOX 29011                               ¨ Contingent
         PHOENIX AZ 85038
                                                    þ Unliquidated                                                     Nonpriority amount

                                                    ¨ Disputed                                                         UNDETERMINED

         Date or dates debt was incurred            Basis for the claim:
         VARIOUS                                    TAX

         Last 4 digits of account                   Is the claim subject to offset?
         number:
                                                    þ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (8)     ¨ Yes

2.17.    Priority creditor’s name and mailing       As of the petition filing date, the claim   Total claim            Priority amount
         address                                    is:
                                                    Check all that apply.                       $23,696.42             UNDETERMINED
         PULASKI COUNTY TREASURER
         PO BOX 8101                                ¨ Contingent
         LITTLE ROCK AR 72203
                                                    þ Unliquidated                                                     Nonpriority amount

                                                    ¨ Disputed                                                         UNDETERMINED

         Date or dates debt was incurred            Basis for the claim:
         VARIOUS                                    TAX

         Last 4 digits of account                   Is the claim subject to offset?
         number:
                                                    þ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (8)     ¨ Yes




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2.18.    Priority creditor’s name and mailing       As of the petition filing date, the claim   Total claim            Priority amount
         address                                    is:
                                                    Check all that apply.                       $53.00                 UNDETERMINED
         SACRAMENTO COUNTY
         TAX COLLECTOR'S OFFICE                     ¨ Contingent
         PO BOX 508
         SACRAMENTO CA 95812-0508                   þ Unliquidated                                                     Nonpriority amount

                                                    ¨ Disputed                                                         UNDETERMINED

         Date or dates debt was incurred            Basis for the claim:
         VARIOUS                                    TAX

         Last 4 digits of account                   Is the claim subject to offset?
         number:
                                                    þ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (8)     ¨ Yes

2.19.    Priority creditor’s name and mailing       As of the petition filing date, the claim   Total claim            Priority amount
         address                                    is:
                                                    Check all that apply.                       $158.80                UNDETERMINED
         SC DEPARTMENT OF REVENUE
         PO BOX 125                                 ¨ Contingent
         COLUMBIA SC 29214
                                                    þ Unliquidated                                                     Nonpriority amount

                                                    ¨ Disputed                                                         UNDETERMINED

         Date or dates debt was incurred            Basis for the claim:
         VARIOUS                                    TAX

         Last 4 digits of account                   Is the claim subject to offset?
         number:
                                                    þ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (8)     ¨ Yes

2.20.    Priority creditor’s name and mailing       As of the petition filing date, the claim   Total claim            Priority amount
         address                                    is:
                                                    Check all that apply.                       $326.60                UNDETERMINED
         TOWNSHIP OF FALLS
         188 LINCOLN HWY STE 100                    ¨ Contingent
         FAIRLESS HILLS PA 19030
                                                    þ Unliquidated                                                     Nonpriority amount

                                                    ¨ Disputed                                                         UNDETERMINED

         Date or dates debt was incurred            Basis for the claim:
         VARIOUS                                    TAX

         Last 4 digits of account                   Is the claim subject to offset?
         number:
                                                    þ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (8)     ¨ Yes




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2.21.    Priority creditor’s name and mailing       As of the petition filing date, the claim   Total claim            Priority amount
         address                                    is:
                                                    Check all that apply.                       $6,085.20              UNDETERMINED
         TREASURER, VIRGINIA BEACH
         2401 COURTHOUSE DRIVE BLDG 1               ¨ Contingent
         VIRGINIA BEACH VA 23456
                                                    þ Unliquidated                                                     Nonpriority amount

                                                    ¨ Disputed                                                         UNDETERMINED

         Date or dates debt was incurred            Basis for the claim:
         VARIOUS                                    TAX

         Last 4 digits of account                   Is the claim subject to offset?
         number:
                                                    þ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (8)     ¨ Yes

2.22.    Priority creditor’s name and mailing       As of the petition filing date, the claim   Total claim            Priority amount
         address                                    is:
                                                    Check all that apply.                       $2,007.38              UNDETERMINED
         WAKE COUNTY REVENUE DEPT
         PREPARED FOOD & BEV TAX                    ¨ Contingent
         COLLECTOR
         PO BOX 2719                                þ Unliquidated                                                     Nonpriority amount
         RALEIGH NC 27602                           ¨ Disputed                                                         UNDETERMINED

         Date or dates debt was incurred            Basis for the claim:
         VARIOUS                                    TAX

         Last 4 digits of account                   Is the claim subject to offset?
         number:
                                                    þ No
         Specify Code subsection of PRIORITY
         unsecured claim:11 U.S.C. § 507(a) (8)     ¨ Yes




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 Part 2:     List All Creditors with NONPRIORITY Unsecured Claims

3.          List in alphabetical order all of the creditors with nonpriority unsecured claims. If the debtor has more than 6
            creditors with nonpriority unsecured claims, fill out and attach the Additional Page of Part 2.


3.1.        Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                              Check all that apply.
            _________________________________________                                                         $1,965.47
            JORDON PERLMUTTER & CO                            ¨ Contingent
            PO BOX 480070
            DENVER CO 80248                                   ¨ Unliquidated
                                                              ¨ Disputed
            Date or dates debt was incurred                   Basis for the claim:
            VARIOUS                                           LEASE
            Last 4 digits of account number:                  Is the claim subject to offset?

                                                              þ No
                                                              ¨ Yes

3.2.        Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                              Check all that apply.
            1 CALL PLUMBING INC.                                                                              $159.80
            7407 REEDY CREEK ROAD                             ¨ Contingent
            CHARLOTTE NC 28215
                                                              ¨ Unliquidated
                                                              ¨ Disputed
            Date or dates debt was incurred                   Basis for the claim:
            VARIOUS                                           TRADE ACCOUNTS PAYABLE
            Last 4 digits of account number:                  Is the claim subject to offset?

                                                              þ No
                                                              ¨ Yes

3.3.        Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                              Check all that apply.
            100 UNIVERSITY LLC                                                                                UNDETERMINED
            JONATHAN A. HELLER, ESQ.                          þ Contingent
            14 N.E. 1ST. AVE. SUITE 1105
            LAW OFFICES OF JONATHAN A. HELLER, P.A.           þ Unliquidated
            MIAMI FL 33132                                    þ Disputed
            Date or dates debt was incurred                   Basis for the claim:
            VARIOUS                                           CASE NO. CACE-17-013666 PENDING
                                                              REAL ESTATE LITIGATION
            Last 4 digits of account number:
                                                              Is the claim subject to offset?

                                                              þ No
                                                              ¨ Yes




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3.4.       Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                             Check all that apply.
           100 UNIVERSITY LLC                                                                                UNDETERMINED
           C O SERBER AND ASSOCIATES PA                      þ Contingent
           JOANNA PLESSIS ESQ COUNSEL
           2875 NE 191ST ST STE 801                          þ Unliquidated
           AVENTURA FL 33180                                 þ Disputed
           Date or dates debt was incurred                   Basis for the claim:
           VARIOUS                                           LANDLORD CLAIM
           Last 4 digits of account number:                  Is the claim subject to offset?

                                                             þ No
                                                             ¨ Yes

3.5.       Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                             Check all that apply.
           2199 NO. RAINBOW BLVD HOLDINGS, LLC                                                               $5,130.66
           C/O CUSHMAN & WAKEFIELD COMMERCE                  ¨ Contingent
           SDS-12-2659 PO BOX 86
           MINNEAPOLIS MN 55486-2659                         ¨ Unliquidated
                                                             ¨ Disputed
           Date or dates debt was incurred                   Basis for the claim:
           VARIOUS                                           LEASE
           Last 4 digits of account number:                  Is the claim subject to offset?

                                                             þ No
                                                             ¨ Yes

3.6.       Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                             Check all that apply.
           24 HR EXPRESS SERVICES INC                                                                        $1,157.50
           26047 JEFFERSON AVE STE D                         ¨ Contingent
           MURRIETA CA 92562
                                                             ¨ Unliquidated
                                                             ¨ Disputed
           Date or dates debt was incurred                   Basis for the claim:
           VARIOUS                                           TRADE ACCOUNTS PAYABLE
           Last 4 digits of account number:                  Is the claim subject to offset?

                                                             þ No
                                                             ¨ Yes




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3.7.       Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                             Check all that apply.
           25001 COUNTRY CLUB LLC                                                                            UNDETERMINED
           TOM GOEBEL                                        þ Contingent
           6855 ROSEROAD CIR
           INDEPENDENCE OH 44131                             þ Unliquidated
                                                             þ Disputed
           Date or dates debt was incurred                   Basis for the claim:
           VARIOUS                                           LANDLORD CLAIM
           Last 4 digits of account number:                  Is the claim subject to offset?

                                                             þ No
                                                             ¨ Yes

3.8.       Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                             Check all that apply.
           2728 GANNON RD LLC                                                                                UNDETERMINED
           KEVIN MASON, ESQ WHITE GOSS, PC                   þ Contingent
           4510 BELLEVIEW AVE
           STE 300                                           þ Unliquidated
           KANSAS CITY MO 64111                              þ Disputed
           Date or dates debt was incurred                   Basis for the claim:
           VARIOUS                                           CASE NO. 17LA03132 PENDING REAL
                                                             ESTATE LITIGATION
           Last 4 digits of account number:
                                                             Is the claim subject to offset?

                                                             þ No
                                                             ¨ Yes

3.9.       Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                             Check all that apply.
           307 EAST EDGEWATER AVENUE LLC                                                                     UNDETERMINED
           FRANK MCGINITY                                    þ Contingent
           1114 STATE ST STE 250
           SANTA BARBARA CA 93101                            þ Unliquidated
                                                             þ Disputed
           Date or dates debt was incurred                   Basis for the claim:
           VARIOUS                                           LANDLORD CLAIM
           Last 4 digits of account number:                  Is the claim subject to offset?

                                                             þ No
                                                             ¨ Yes




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3.10.      Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                             Check all that apply.
           4-L ENGINNEERING COMPANY INC                                                                      $2,623.33
           420 N DOROTHY DRIVE                               ¨ Contingent
           RICHARDSON TX 75081
                                                             ¨ Unliquidated
                                                             ¨ Disputed
           Date or dates debt was incurred                   Basis for the claim:
           VARIOUS                                           TRADE ACCOUNTS PAYABLE
           Last 4 digits of account number:                  Is the claim subject to offset?

                                                             þ No
                                                             ¨ Yes

3.11.      Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                             Check all that apply.
           7979 MAC LLC                                                                                      $961.93
           16 CHERRYMOOR DRIVE                               ¨ Contingent
           ENGLEWOOD CO 80113
                                                             ¨ Unliquidated
                                                             ¨ Disputed
           Date or dates debt was incurred                   Basis for the claim:
           VARIOUS                                           LEASE
           Last 4 digits of account number:                  Is the claim subject to offset?

                                                             þ No
                                                             ¨ Yes

3.12.      Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                             Check all that apply.
           8000 EL CERRITO INVESTORS LLC                                                                     UNDETERMINED
           PHIL MALOUF                                       þ Contingent
           1777 MANOR DR
           HILLSBOROUGH CA 94010                             þ Unliquidated
                                                             þ Disputed
           Date or dates debt was incurred                   Basis for the claim:
           VARIOUS                                           LANDLORD CLAIM
           Last 4 digits of account number:                  Is the claim subject to offset?

                                                             þ No
                                                             ¨ Yes




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3.13.      Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                             Check all that apply.
           8X8 INC                                                                                           $37,518.70
           DEPT 848080                                       ¨ Contingent
           LOS ANGELES CA 90084
                                                             ¨ Unliquidated
                                                             ¨ Disputed
           Date or dates debt was incurred                   Basis for the claim:
           VARIOUS                                           TRADE ACCOUNTS PAYABLE
           Last 4 digits of account number:                  Is the claim subject to offset?

                                                             þ No
                                                             ¨ Yes

3.14.      Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                             Check all that apply.
           A AND G UPHOLSTERY                                                                                $592.00
           2649 1/2 EARLE AVENUE                             ¨ Contingent
           ROSEMEAD CA 91770
                                                             ¨ Unliquidated
                                                             ¨ Disputed
           Date or dates debt was incurred                   Basis for the claim:
           VARIOUS                                           TRADE ACCOUNTS PAYABLE
           Last 4 digits of account number:                  Is the claim subject to offset?

                                                             þ No
                                                             ¨ Yes

3.15.      Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                             Check all that apply.
           A NAZZARO ASSOCIATES INC                                                                          UNDETERMINED
           JAMES J NAZZARO                                   þ Contingent
           8 SAXON AVE STE C
           BAY SHORE NY 11706                                þ Unliquidated
                                                             þ Disputed
           Date or dates debt was incurred                   Basis for the claim:
           VARIOUS                                           LANDLORD CLAIM
           Last 4 digits of account number:                  Is the claim subject to offset?

                                                             þ No
                                                             ¨ Yes




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3.16.      Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                             Check all that apply.
           A PLUS COMMERICAL SERVICES INC                                                                    $1,340.00
           PO BOX 611861                                     ¨ Contingent
           SAN JOSE CA 95161
                                                             ¨ Unliquidated
                                                             ¨ Disputed
           Date or dates debt was incurred                   Basis for the claim:
           VARIOUS                                           TRADE ACCOUNTS PAYABLE
           Last 4 digits of account number:                  Is the claim subject to offset?

                                                             þ No
                                                             ¨ Yes

3.17.      Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                             Check all that apply.
           A&A MECHANICAL SERVICE INC                                                                        $1,465.55
           7200 DISTRIBUTION DRIVE                           ¨ Contingent
           LOUISVILLE KY 40258
                                                             ¨ Unliquidated
                                                             ¨ Disputed
           Date or dates debt was incurred                   Basis for the claim:
           VARIOUS                                           TRADE ACCOUNTS PAYABLE
           Last 4 digits of account number:                  Is the claim subject to offset?

                                                             þ No
                                                             ¨ Yes

3.18.      Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                             Check all that apply.
           A-1 INC.                                                                                          $13,720.00
           295 SOUTH 250 EAST                                ¨ Contingent
           BURLEY MD 83318
                                                             ¨ Unliquidated
                                                             ¨ Disputed
           Date or dates debt was incurred                   Basis for the claim:
           VARIOUS                                           TRADE ACCOUNTS PAYABLE
           Last 4 digits of account number:                  Is the claim subject to offset?

                                                             þ No
                                                             ¨ Yes




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3.19.      Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                             Check all that apply.
           A1 LOCKSMITH                                                                                      $118.53
           2508 HIGHALNDER WAY, STE 230                      ¨ Contingent
           CARROLLTON TX 75006
                                                             ¨ Unliquidated
                                                             ¨ Disputed
           Date or dates debt was incurred                   Basis for the claim:
           VARIOUS                                           TRADE ACCOUNTS PAYABLE
           Last 4 digits of account number:                  Is the claim subject to offset?

                                                             þ No
                                                             ¨ Yes

3.20.      Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                             Check all that apply.
           ABC HOME & COMMERCIAL SERVICES                                                                    $566.48
           1424 BONITA STREET                                ¨ Contingent
           CORPUS CHRISTI TX 78404
                                                             ¨ Unliquidated
                                                             ¨ Disputed
           Date or dates debt was incurred                   Basis for the claim:
           VARIOUS                                           TRADE ACCOUNTS PAYABLE
           Last 4 digits of account number:                  Is the claim subject to offset?

                                                             þ No
                                                             ¨ Yes

3.21.      Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                             Check all that apply.
           ABC LOCKSMITH                                                                                     $213.25
           1414 INDUSTRIAL ROAD                              ¨ Contingent
           LAS VEGAS NV 89102
                                                             ¨ Unliquidated
                                                             ¨ Disputed
           Date or dates debt was incurred                   Basis for the claim:
           VARIOUS                                           TRADE ACCOUNTS PAYABLE
           Last 4 digits of account number:                  Is the claim subject to offset?

                                                             þ No
                                                             ¨ Yes




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3.22.      Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                             Check all that apply.
           ABCO FIRE, LLC                                                                                    $1,203.62
           PO BOX 931933                                     ¨ Contingent
           CLEVELAND OH 44193
                                                             ¨ Unliquidated
                                                             ¨ Disputed
           Date or dates debt was incurred                   Basis for the claim:
           VARIOUS                                           TRADE ACCOUNTS PAYABLE
           Last 4 digits of account number:                  Is the claim subject to offset?

                                                             þ No
                                                             ¨ Yes

3.23.      Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                             Check all that apply.
           AC/DC ELECTRIC INC                                                                                $3,368.00
           PO BOX 51745                                      ¨ Contingent
           PHOENIX AZ 85076
                                                             ¨ Unliquidated
                                                             ¨ Disputed
           Date or dates debt was incurred                   Basis for the claim:
           VARIOUS                                           TRADE ACCOUNTS PAYABLE
           Last 4 digits of account number:                  Is the claim subject to offset?

                                                             þ No
                                                             ¨ Yes

3.24.      Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                             Check all that apply.
           ACTION LOCKSMITH                                                                                  $354.04
           10919 S STATE STREET                              ¨ Contingent
           SANDY UT 84070
                                                             ¨ Unliquidated
                                                             ¨ Disputed
           Date or dates debt was incurred                   Basis for the claim:
           VARIOUS                                           TRADE ACCOUNTS PAYABLE
           Last 4 digits of account number:                  Is the claim subject to offset?

                                                             þ No
                                                             ¨ Yes




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3.25.      Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                             Check all that apply.
           ACTION WINDOW CLEANING CO INC                                                                     $139.48
           PO BOX 320                                        ¨ Contingent
           RENSSELAER NY 12144
                                                             ¨ Unliquidated
                                                             ¨ Disputed
           Date or dates debt was incurred                   Basis for the claim:
           VARIOUS                                           TRADE ACCOUNTS PAYABLE
           Last 4 digits of account number:                  Is the claim subject to offset?

                                                             þ No
                                                             ¨ Yes

3.26.      Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                             Check all that apply.
           ADAMS, ADAM KALEN                                                                                 UNDETERMINED
           J. NELSON THOMAS THOMAS & SOLOMON LLP             þ Contingent
           693 EAST AVENUE
           ROCHESTER NY 14607                                þ Unliquidated
                                                             þ Disputed
           Date or dates debt was incurred                   Basis for the claim:
           VARIOUS                                           CIVIL ACTION NO. 6:15-CV-06742
                                                             PENDING LITIGATION
           Last 4 digits of account number:
                                                             Is the claim subject to offset?

                                                             þ No
                                                             ¨ Yes

3.27.      Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                             Check all that apply.
           ADAMS, EMMA KATHERINE                                                                             UNDETERMINED
           J. NELSON THOMAS THOMAS & SOLOMON LLP             þ Contingent
           693 EAST AVENUE
           ROCHESTER NY 14607                                þ Unliquidated
                                                             þ Disputed
           Date or dates debt was incurred                   Basis for the claim:
           VARIOUS                                           CIVIL ACTION NO. 6:15-CV-06742
                                                             PENDING LITIGATION
           Last 4 digits of account number:
                                                             Is the claim subject to offset?

                                                             þ No
                                                             ¨ Yes




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3.28.      Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                             Check all that apply.
           ADAMS, KELLY MARIE                                                                                UNDETERMINED
           J. NELSON THOMAS THOMAS & SOLOMON LLP             þ Contingent
           693 EAST AVENUE
           ROCHESTER NY 14607                                þ Unliquidated
                                                             þ Disputed
           Date or dates debt was incurred                   Basis for the claim:
           VARIOUS                                           CIVIL ACTION NO. 6:15-CV-06742
                                                             PENDING LITIGATION
           Last 4 digits of account number:
                                                             Is the claim subject to offset?

                                                             þ No
                                                             ¨ Yes

3.29.      Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                             Check all that apply.
           ADAMS, KIMBERLY                                                                                   UNDETERMINED
           J. NELSON THOMAS THOMAS & SOLOMON LLP             þ Contingent
           693 EAST AVENUE
           ROCHESTER NY 14607                                þ Unliquidated
                                                             þ Disputed
           Date or dates debt was incurred                   Basis for the claim:
           VARIOUS                                           CIVIL ACTION NO. 6:15-CV-06742
                                                             PENDING LITIGATION
           Last 4 digits of account number:
                                                             Is the claim subject to offset?

                                                             þ No
                                                             ¨ Yes

3.30.      Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                             Check all that apply.
           ADAMS, SAVANNAH LEE CHENELLE                                                                      UNDETERMINED
           J. NELSON THOMAS THOMAS & SOLOMON LLP             þ Contingent
           693 EAST AVENUE
           ROCHESTER NY 14607                                þ Unliquidated
                                                             þ Disputed
           Date or dates debt was incurred                   Basis for the claim:
           VARIOUS                                           CIVIL ACTION NO. 6:15-CV-06742
                                                             PENDING LITIGATION
           Last 4 digits of account number:
                                                             Is the claim subject to offset?

                                                             þ No
                                                             ¨ Yes




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3.31.      Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                             Check all that apply.
           ADDERLY, OLYMPIA                                                                                  UNDETERMINED
                                                             þ Contingent
                                                             þ Unliquidated
                                                             þ Disputed
           Date or dates debt was incurred                   Basis for the claim:
           VARIOUS                                           GENERAL LIABILITY CLAIMS
           Last 4 digits of account number:                  Is the claim subject to offset?

                                                             þ No
                                                             ¨ Yes

3.32.      Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                             Check all that apply.
           ADVANCE PINTO MAINTENANCE INC.                                                                    $800.00
           1301 SW 117TH WAY                                 ¨ Contingent
           DAVIE FL 33325
                                                             ¨ Unliquidated
                                                             ¨ Disputed
           Date or dates debt was incurred                   Basis for the claim:
           VARIOUS                                           TRADE ACCOUNTS PAYABLE
           Last 4 digits of account number:                  Is the claim subject to offset?

                                                             þ No
                                                             ¨ Yes

3.33.      Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                             Check all that apply.
           AECSI, CORP                                                                                       $661.41
           19525 WIED ROAD, STE. 510                         ¨ Contingent
           SPRING TX 77388
                                                             ¨ Unliquidated
                                                             ¨ Disputed
           Date or dates debt was incurred                   Basis for the claim:
           VARIOUS                                           TRADE ACCOUNTS PAYABLE
           Last 4 digits of account number:                  Is the claim subject to offset?

                                                             þ No
                                                             ¨ Yes




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3.34.      Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                             Check all that apply.
           AFFORDABLE TREE SERVICES OF OH LLC                                                                $378.00
           44313 HUGHES ROAD                                 ¨ Contingent
           OBERLIN OH 44074
                                                             ¨ Unliquidated
                                                             ¨ Disputed
           Date or dates debt was incurred                   Basis for the claim:
           VARIOUS                                           TRADE ACCOUNTS PAYABLE
           Last 4 digits of account number:                  Is the claim subject to offset?

                                                             þ No
                                                             ¨ Yes

3.35.      Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                             Check all that apply.
           AHERN, KAILEE C.                                                                                  UNDETERMINED
           J. NELSON THOMAS THOMAS & SOLOMON LLP             þ Contingent
           693 EAST AVENUE
           ROCHESTER NY 14607                                þ Unliquidated
                                                             þ Disputed
           Date or dates debt was incurred                   Basis for the claim:
           VARIOUS                                           CIVIL ACTION NO. 6:15-CV-06742
                                                             PENDING LITIGATION
           Last 4 digits of account number:
                                                             Is the claim subject to offset?

                                                             þ No
                                                             ¨ Yes

3.36.      Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                             Check all that apply.
           AIELLO, ASHLEY                                                                                    UNDETERMINED
           J. NELSON THOMAS THOMAS & SOLOMON LLP             þ Contingent
           693 EAST AVENUE
           ROCHESTER NY 14607                                þ Unliquidated
                                                             þ Disputed
           Date or dates debt was incurred                   Basis for the claim:
           VARIOUS                                           CIVIL ACTION NO. 6:15-CV-06742
                                                             PENDING LITIGATION
           Last 4 digits of account number:
                                                             Is the claim subject to offset?

                                                             þ No
                                                             ¨ Yes




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3.37.      Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                             Check all that apply.
           AIRE-MASTER OF MIAMI                                                                              $128.40
           11301 S DIXIE HWY #565776                         ¨ Contingent
           MIAMI FL 33256
                                                             ¨ Unliquidated
                                                             ¨ Disputed
           Date or dates debt was incurred                   Basis for the claim:
           VARIOUS                                           TRADE ACCOUNTS PAYABLE
           Last 4 digits of account number:                  Is the claim subject to offset?

                                                             þ No
                                                             ¨ Yes

3.38.      Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                             Check all that apply.
           AIRE-MASTER OF PHOENIX                                                                            $49.44
           PO BOX 43258                                      ¨ Contingent
           PHOENIX AZ 85080
                                                             ¨ Unliquidated
                                                             ¨ Disputed
           Date or dates debt was incurred                   Basis for the claim:
           VARIOUS                                           TRADE ACCOUNTS PAYABLE
           Last 4 digits of account number:                  Is the claim subject to offset?

                                                             þ No
                                                             ¨ Yes

3.39.      Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                             Check all that apply.
           ALBANO, BROOKE                                                                                    UNDETERMINED
           J. NELSON THOMAS THOMAS & SOLOMON LLP             þ Contingent
           693 EAST AVENUE
           ROCHESTER NY 14607                                þ Unliquidated
                                                             þ Disputed
           Date or dates debt was incurred                   Basis for the claim:
           VARIOUS                                           CIVIL ACTION NO. 6:15-CV-06742
                                                             PENDING LITIGATION
           Last 4 digits of account number:
                                                             Is the claim subject to offset?

                                                             þ No
                                                             ¨ Yes




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3.40.      Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                             Check all that apply.
           ALCALA, ALIA                                                                                      UNDETERMINED
           J. NELSON THOMAS THOMAS & SOLOMON LLP             þ Contingent
           693 EAST AVENUE
           ROCHESTER NY 14607                                þ Unliquidated
                                                             þ Disputed
           Date or dates debt was incurred                   Basis for the claim:
           VARIOUS                                           CIVIL ACTION NO. 6:15-CV-06742
                                                             PENDING LITIGATION
           Last 4 digits of account number:
                                                             Is the claim subject to offset?

                                                             þ No
                                                             ¨ Yes

3.41.      Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                             Check all that apply.
           ALCO SIGN INC                                                                                     $1,600.00
           PO BOX 1243                                       ¨ Contingent
           GRAND BAY AL 36541
                                                             ¨ Unliquidated
                                                             ¨ Disputed
           Date or dates debt was incurred                   Basis for the claim:
           VARIOUS                                           TRADE ACCOUNTS PAYABLE
           Last 4 digits of account number:                  Is the claim subject to offset?

                                                             þ No
                                                             ¨ Yes

3.42.      Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                             Check all that apply.
           ALDERWOOD MALL LLC                                                                                UNDETERMINED
           GENERAL GROWTH PROPERTIES                         þ Contingent
           LAW/LEASE ADMINISTRATION HOWARD SIGAL
           VP AND SR ASSOCIATE GC                            þ Unliquidated
           110 N WACKER DR
           CHICAGO IL 60606
                                                             þ Disputed
           Date or dates debt was incurred                   Basis for the claim:
           VARIOUS                                           LANDLORD CLAIM
           Last 4 digits of account number:                  Is the claim subject to offset?

                                                             þ No
                                                             ¨ Yes




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3.43.      Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                             Check all that apply.
           ALESNA, JACOB RYAN                                                                                UNDETERMINED
           J. NELSON THOMAS THOMAS & SOLOMON LLP             þ Contingent
           693 EAST AVENUE
           ROCHESTER NY 14607                                þ Unliquidated
                                                             þ Disputed
           Date or dates debt was incurred                   Basis for the claim:
           VARIOUS                                           CIVIL ACTION NO. 6:15-CV-06742
                                                             PENDING LITIGATION
           Last 4 digits of account number:
                                                             Is the claim subject to offset?

                                                             þ No
                                                             ¨ Yes

3.44.      Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                             Check all that apply.
           ALEXANDER, ANTHONY DWAYNE                                                                         UNDETERMINED
           J. NELSON THOMAS THOMAS & SOLOMON LLP             þ Contingent
           693 EAST AVENUE
           ROCHESTER NY 14607                                þ Unliquidated
                                                             þ Disputed
           Date or dates debt was incurred                   Basis for the claim:
           VARIOUS                                           CIVIL ACTION NO. 6:15-CV-06742
                                                             PENDING LITIGATION
           Last 4 digits of account number:
                                                             Is the claim subject to offset?

                                                             þ No
                                                             ¨ Yes

3.45.      Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                             Check all that apply.
           ALEXANDER, DOMINIQUE NARAE                                                                        UNDETERMINED
           J. NELSON THOMAS THOMAS & SOLOMON LLP             þ Contingent
           693 EAST AVENUE
           ROCHESTER NY 14607                                þ Unliquidated
                                                             þ Disputed
           Date or dates debt was incurred                   Basis for the claim:
           VARIOUS                                           CIVIL ACTION NO. 6:15-CV-06742
                                                             PENDING LITIGATION
           Last 4 digits of account number:
                                                             Is the claim subject to offset?

                                                             þ No
                                                             ¨ Yes




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3.46.      Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                             Check all that apply.
           ALEXANDER, KERRIAN                                                                                UNDETERMINED
           J. NELSON THOMAS THOMAS & SOLOMON LLP             þ Contingent
           693 EAST AVENUE
           ROCHESTER NY 14607                                þ Unliquidated
                                                             þ Disputed
           Date or dates debt was incurred                   Basis for the claim:
           VARIOUS                                           CIVIL ACTION NO. 6:15-CV-06742
                                                             PENDING LITIGATION
           Last 4 digits of account number:
                                                             Is the claim subject to offset?

                                                             þ No
                                                             ¨ Yes

3.47.      Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                             Check all that apply.
           ALI, ANEESA                                                                                       UNDETERMINED
           J. NELSON THOMAS THOMAS & SOLOMON LLP             þ Contingent
           693 EAST AVENUE
           ROCHESTER NY 14607                                þ Unliquidated
                                                             þ Disputed
           Date or dates debt was incurred                   Basis for the claim:
           VARIOUS                                           CIVIL ACTION NO. 6:15-CV-06742
                                                             PENDING LITIGATION
           Last 4 digits of account number:
                                                             Is the claim subject to offset?

                                                             þ No
                                                             ¨ Yes

3.48.      Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                             Check all that apply.
           ALI, NICOLE                                                                                       UNDETERMINED
           J. NELSON THOMAS THOMAS & SOLOMON LLP             þ Contingent
           693 EAST AVENUE
           ROCHESTER NY 14607                                þ Unliquidated
                                                             þ Disputed
           Date or dates debt was incurred                   Basis for the claim:
           VARIOUS                                           CIVIL ACTION NO. 6:15-CV-06742
                                                             PENDING LITIGATION
           Last 4 digits of account number:
                                                             Is the claim subject to offset?

                                                             þ No
                                                             ¨ Yes




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3.49.      Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                             Check all that apply.
           ALISO VIEJO COMMUNITY ASSOCIATION                                                                 $680.28
           C/O POWERSTONE PROPERTY MGMT                      ¨ Contingent
           PO BOX 15446
           SANTA ANNA CA 92735-0446                          ¨ Unliquidated
                                                             ¨ Disputed
           Date or dates debt was incurred                   Basis for the claim:
           VARIOUS                                           TRADE ACCOUNTS PAYABLE
           Last 4 digits of account number:                  Is the claim subject to offset?

                                                             þ No
                                                             ¨ Yes

3.50.      Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                             Check all that apply.
           ALL BRITE MAINTENANCE INC                                                                         $1,055.00
           155 W 10TH STREET                                 ¨ Contingent
           CHULUOTA FL 32766
                                                             ¨ Unliquidated
                                                             ¨ Disputed
           Date or dates debt was incurred                   Basis for the claim:
           VARIOUS                                           TRADE ACCOUNTS PAYABLE
           Last 4 digits of account number:                  Is the claim subject to offset?

                                                             þ No
                                                             ¨ Yes

3.51.      Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                             Check all that apply.
           ALL DADE PLUMBING, INC                                                                            $185.00
           12225 SW 128TH ST #111                            ¨ Contingent
           MIAMI FL 33186
                                                             ¨ Unliquidated
                                                             ¨ Disputed
           Date or dates debt was incurred                   Basis for the claim:
           VARIOUS                                           TRADE ACCOUNTS PAYABLE
           Last 4 digits of account number:                  Is the claim subject to offset?

                                                             þ No
                                                             ¨ Yes




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3.52.      Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                             Check all that apply.
           ALLGAIER, NICKLAUS JOHN                                                                           UNDETERMINED
           J. NELSON THOMAS THOMAS & SOLOMON LLP             þ Contingent
           693 EAST AVENUE
           ROCHESTER NY 14607                                þ Unliquidated
                                                             þ Disputed
           Date or dates debt was incurred                   Basis for the claim:
           VARIOUS                                           CIVIL ACTION NO. 6:15-CV-06742
                                                             PENDING LITIGATION
           Last 4 digits of account number:
                                                             Is the claim subject to offset?

                                                             þ No
                                                             ¨ Yes

3.53.      Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                             Check all that apply.
           ALLISON ERDELJAC                                                                                  $1,000.00
                                                             ¨ Contingent
                                                             ¨ Unliquidated
                                                             ¨ Disputed
           Date or dates debt was incurred                   Basis for the claim:
           VARIOUS                                           TRADE ACCOUNTS PAYABLE
           Last 4 digits of account number:                  Is the claim subject to offset?

                                                             þ No
                                                             ¨ Yes

3.54.      Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                             Check all that apply.
           ALLISON, JENA LYN                                                                                 UNDETERMINED
           J. NELSON THOMAS THOMAS & SOLOMON LLP             þ Contingent
           693 EAST AVENUE
           ROCHESTER NY 14607                                þ Unliquidated
                                                             þ Disputed
           Date or dates debt was incurred                   Basis for the claim:
           VARIOUS                                           CIVIL ACTION NO. 6:15-CV-06742
                                                             PENDING LITIGATION
           Last 4 digits of account number:
                                                             Is the claim subject to offset?

                                                             þ No
                                                             ¨ Yes




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3.55.      Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                             Check all that apply.
           ALL-STATE BUILDING MAINTENANCE                                                                    $1,550.00
           7771 BOYD AVE                                     ¨ Contingent
           C/O NORMA FERNANDEZ
           LAS VEGAS NV 89179                                ¨ Unliquidated
                                                             ¨ Disputed
           Date or dates debt was incurred                   Basis for the claim:
           VARIOUS                                           TRADE ACCOUNTS PAYABLE
           Last 4 digits of account number:                  Is the claim subject to offset?

                                                             þ No
                                                             ¨ Yes

3.56.      Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                             Check all that apply.
           ALMANZA, PEDRO JAMES                                                                              UNDETERMINED
           J. NELSON THOMAS THOMAS & SOLOMON LLP             þ Contingent
           693 EAST AVENUE
           ROCHESTER NY 14607                                þ Unliquidated
                                                             þ Disputed
           Date or dates debt was incurred                   Basis for the claim:
           VARIOUS                                           CIVIL ACTION NO. 6:15-CV-06742
                                                             PENDING LITIGATION
           Last 4 digits of account number:
                                                             Is the claim subject to offset?

                                                             þ No
                                                             ¨ Yes

3.57.      Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                             Check all that apply.
           ALMON, TAJEE                                                                                      UNDETERMINED
           J. NELSON THOMAS THOMAS & SOLOMON LLP             þ Contingent
           693 EAST AVENUE
           ROCHESTER NY 14607                                þ Unliquidated
                                                             þ Disputed
           Date or dates debt was incurred                   Basis for the claim:
           VARIOUS                                           CIVIL ACTION NO. 6:15-CV-06742
                                                             PENDING LITIGATION
           Last 4 digits of account number:
                                                             Is the claim subject to offset?

                                                             þ No
                                                             ¨ Yes




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3.58.      Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                             Check all that apply.
           ALMON, TAJEE                                                                                      UNDETERMINED
           J. NELSON THOMAS THOMAS & SOLOMON LLP             þ Contingent
           693 EAST AVENUE
           ROCHESTER NY 14607                                þ Unliquidated
                                                             þ Disputed
           Date or dates debt was incurred                   Basis for the claim:
           VARIOUS                                           CIVIL ACTION NO. 6:15-CV-06742
                                                             PENDING LITIGATION
           Last 4 digits of account number:
                                                             Is the claim subject to offset?

                                                             þ No
                                                             ¨ Yes

3.59.      Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                             Check all that apply.
           ALONSO, FILEMON                                                                                   UNDETERMINED
                                                             þ Contingent
                                                             þ Unliquidated
                                                             þ Disputed
           Date or dates debt was incurred                   Basis for the claim:
           VARIOUS                                           WORKERS COMPENSATION CLAIM - NO.
                                                             201612071343
           Last 4 digits of account number:
                                                             Is the claim subject to offset?

                                                             þ No
                                                             ¨ Yes

3.60.      Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                             Check all that apply.
           ALONZO, ERIKA LEE                                                                                 UNDETERMINED
           J. NELSON THOMAS THOMAS & SOLOMON LLP             þ Contingent
           693 EAST AVENUE
           ROCHESTER NY 14607                                þ Unliquidated
                                                             þ Disputed
           Date or dates debt was incurred                   Basis for the claim:
           VARIOUS                                           CIVIL ACTION NO. 6:15-CV-06742
                                                             PENDING LITIGATION
           Last 4 digits of account number:
                                                             Is the claim subject to offset?

                                                             þ No
                                                             ¨ Yes




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3.61.      Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                             Check all that apply.
           ALSCO INC (SUPPLY)                                                                                $123,599.95
           505 EAST SOUTH TEMPLE                             ¨ Contingent
           SALT LAKE CITY UT 84102
                                                             ¨ Unliquidated
                                                             ¨ Disputed
           Date or dates debt was incurred                   Basis for the claim:
           VARIOUS                                           TRADE ACCOUNTS PAYABLE
           Last 4 digits of account number:                  Is the claim subject to offset?

                                                             þ No
                                                             ¨ Yes

3.62.      Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                             Check all that apply.
           ALTERNATIVE SERVICES INC                                                                          $3,721.00
           24682 MILLER ROAD                                 ¨ Contingent
           LACOMBE LA 70445
                                                             ¨ Unliquidated
                                                             ¨ Disputed
           Date or dates debt was incurred                   Basis for the claim:
           VARIOUS                                           TRADE ACCOUNTS PAYABLE
           Last 4 digits of account number:                  Is the claim subject to offset?

                                                             þ No
                                                             ¨ Yes

3.63.      Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                             Check all that apply.
           ALTHOFF, DANIELLE ROSE                                                                            UNDETERMINED
           J. NELSON THOMAS THOMAS & SOLOMON LLP             þ Contingent
           693 EAST AVENUE
           ROCHESTER NY 14607                                þ Unliquidated
                                                             þ Disputed
           Date or dates debt was incurred                   Basis for the claim:
           VARIOUS                                           CIVIL ACTION NO. 6:15-CV-06742
                                                             PENDING LITIGATION
           Last 4 digits of account number:
                                                             Is the claim subject to offset?

                                                             þ No
                                                             ¨ Yes




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3.64.      Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                             Check all that apply.
           ALVARADO, GUADALUPE                                                                               UNDETERMINED
           J. NELSON THOMAS THOMAS & SOLOMON LLP             þ Contingent
           693 EAST AVENUE
           ROCHESTER NY 14607                                þ Unliquidated
                                                             þ Disputed
           Date or dates debt was incurred                   Basis for the claim:
           VARIOUS                                           CIVIL ACTION NO. 6:15-CV-06742
                                                             PENDING LITIGATION
           Last 4 digits of account number:
                                                             Is the claim subject to offset?

                                                             þ No
                                                             ¨ Yes

3.65.      Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                             Check all that apply.
           ALVAREZ, JUAN                                                                                     UNDETERMINED
           J. NELSON THOMAS THOMAS & SOLOMON LLP             þ Contingent
           693 EAST AVENUE
           ROCHESTER NY 14607                                þ Unliquidated
                                                             þ Disputed
           Date or dates debt was incurred                   Basis for the claim:
           VARIOUS                                           CIVIL ACTION NO. 6:15-CV-06742
                                                             PENDING LITIGATION
           Last 4 digits of account number:
                                                             Is the claim subject to offset?

                                                             þ No
                                                             ¨ Yes

3.66.      Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                             Check all that apply.
           AM SIGNS & LED                                                                                    $1,082.50
           14031 SCHILLER RD                                 ¨ Contingent
           HOUSTON TX 77082
                                                             ¨ Unliquidated
                                                             ¨ Disputed
           Date or dates debt was incurred                   Basis for the claim:
           VARIOUS                                           TRADE ACCOUNTS PAYABLE
           Last 4 digits of account number:                  Is the claim subject to offset?

                                                             þ No
                                                             ¨ Yes




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Debtor   MAC ACQUISITION LLC                                                                                 Case number (if known) 17-12224




3.67.      Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                             Check all that apply.
           AMADOR, RACHEL MARIE                                                                              UNDETERMINED
           J. NELSON THOMAS THOMAS & SOLOMON LLP             þ Contingent
           693 EAST AVENUE
           ROCHESTER NY 14607                                þ Unliquidated
                                                             þ Disputed
           Date or dates debt was incurred                   Basis for the claim:
           VARIOUS                                           CIVIL ACTION NO. 6:15-CV-06742
                                                             PENDING LITIGATION
           Last 4 digits of account number:
                                                             Is the claim subject to offset?

                                                             þ No
                                                             ¨ Yes

3.68.      Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                             Check all that apply.
           AMATO, DANIELLE                                                                                   UNDETERMINED
           J. NELSON THOMAS THOMAS & SOLOMON LLP             þ Contingent
           693 EAST AVENUE
           ROCHESTER NY 14607                                þ Unliquidated
                                                             þ Disputed
           Date or dates debt was incurred                   Basis for the claim:
           VARIOUS                                           CIVIL ACTION NO. 6:15-CV-06742
                                                             PENDING LITIGATION
           Last 4 digits of account number:
                                                             Is the claim subject to offset?

                                                             þ No
                                                             ¨ Yes

3.69.      Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                             Check all that apply.
           AMD MAINTENANCE LLC                                                                               $550.00
           13779 SW 116 TERRANCE                             ¨ Contingent
           C/O AMD MAINTENANCE LLC
           MIAMI FL 33186                                    ¨ Unliquidated
                                                             ¨ Disputed
           Date or dates debt was incurred                   Basis for the claim:
           VARIOUS                                           TRADE ACCOUNTS PAYABLE
           Last 4 digits of account number:                  Is the claim subject to offset?

                                                             þ No
                                                             ¨ Yes




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3.70.      Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                             Check all that apply.
           AMERICAN FIREWOOD COMPANY                                                                         $930.00
           22 EDWIN PLACE NW                                 ¨ Contingent
           ATLNATA GA 30318
                                                             ¨ Unliquidated
                                                             ¨ Disputed
           Date or dates debt was incurred                   Basis for the claim:
           VARIOUS                                           TRADE ACCOUNTS PAYABLE
           Last 4 digits of account number:                  Is the claim subject to offset?

                                                             þ No
                                                             ¨ Yes

3.71.      Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                             Check all that apply.
           AMERICAN LOCK & KEY                                                                               $272.79
           1923 W UINTAH                                     ¨ Contingent
           COLORADO SPRINGS CO 80904
                                                             ¨ Unliquidated
                                                             ¨ Disputed
           Date or dates debt was incurred                   Basis for the claim:
           VARIOUS                                           TRADE ACCOUNTS PAYABLE
           Last 4 digits of account number:                  Is the claim subject to offset?

                                                             þ No
                                                             ¨ Yes

3.72.      Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                             Check all that apply.
           AMERICAN RESTAURANT                                                                               $1,630.25
           6942 FM 1960 E #204                               ¨ Contingent
           HOUSTON TX 77346
                                                             ¨ Unliquidated
                                                             ¨ Disputed
           Date or dates debt was incurred                   Basis for the claim:
           VARIOUS                                           TRADE ACCOUNTS PAYABLE
           Last 4 digits of account number:                  Is the claim subject to offset?

                                                             þ No
                                                             ¨ Yes




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3.73.      Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                             Check all that apply.
           AMERICAS GATEWAY PARK POA INC                                                                     $1,480.09
           EDWARD W EASTON & COMPANY                         ¨ Contingent
           PO BOX 19312
           MIAMI FL 33101                                    ¨ Unliquidated
                                                             ¨ Disputed
           Date or dates debt was incurred                   Basis for the claim:
           VARIOUS                                           TRADE ACCOUNTS PAYABLE
           Last 4 digits of account number:                  Is the claim subject to offset?

                                                             þ No
                                                             ¨ Yes

3.74.      Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                             Check all that apply.
           AMERICA'S PLUMBING CO CORP                                                                        $999.00
           4878 PASADENA AVE, UNIT 1                         ¨ Contingent
           SACRAMENTO CA 95841
                                                             ¨ Unliquidated
                                                             ¨ Disputed
           Date or dates debt was incurred                   Basis for the claim:
           VARIOUS                                           TRADE ACCOUNTS PAYABLE
           Last 4 digits of account number:                  Is the claim subject to offset?

                                                             þ No
                                                             ¨ Yes

3.75.      Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                             Check all that apply.
           ANDERLE, ROSE ANN                                                                                 UNDETERMINED
           J. NELSON THOMAS THOMAS & SOLOMON LLP             þ Contingent
           693 EAST AVENUE
           ROCHESTER NY 14607                                þ Unliquidated
                                                             þ Disputed
           Date or dates debt was incurred                   Basis for the claim:
           VARIOUS                                           CIVIL ACTION NO. 6:15-CV-06742
                                                             PENDING LITIGATION
           Last 4 digits of account number:
                                                             Is the claim subject to offset?

                                                             þ No
                                                             ¨ Yes




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3.76.      Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                             Check all that apply.
           ANDERSON, CARLY                                                                                   $12.90
           1200 AVENIDA CESAR CHAVEZ SE, #1422               ¨ Contingent
           ALBUQUERQUE NM 87106
                                                             ¨ Unliquidated
                                                             ¨ Disputed
           Date or dates debt was incurred                   Basis for the claim:
           VARIOUS                                           TRADE ACCOUNTS PAYABLE
           Last 4 digits of account number:                  Is the claim subject to offset?

                                                             þ No
                                                             ¨ Yes

3.77.      Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                             Check all that apply.
           ANDREE, CABRINA LYNN                                                                              UNDETERMINED
           J. NELSON THOMAS THOMAS & SOLOMON LLP             þ Contingent
           693 EAST AVENUE
           ROCHESTER NY 14607                                þ Unliquidated
                                                             þ Disputed
           Date or dates debt was incurred                   Basis for the claim:
           VARIOUS                                           CIVIL ACTION NO. 6:15-CV-06742
                                                             PENDING LITIGATION
           Last 4 digits of account number:
                                                             Is the claim subject to offset?

                                                             þ No
                                                             ¨ Yes

3.78.      Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                             Check all that apply.
           ANDROSOFF, STEVEN ROBERT                                                                          UNDETERMINED
           J. NELSON THOMAS THOMAS & SOLOMON LLP             þ Contingent
           693 EAST AVENUE
           ROCHESTER NY 14607                                þ Unliquidated
                                                             þ Disputed
           Date or dates debt was incurred                   Basis for the claim:
           VARIOUS                                           CIVIL ACTION NO. 6:15-CV-06742
                                                             PENDING LITIGATION
           Last 4 digits of account number:
                                                             Is the claim subject to offset?

                                                             þ No
                                                             ¨ Yes




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3.79.      Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                             Check all that apply.
           ANDRUCHIW, VALERIE                                                                                UNDETERMINED
           J. NELSON THOMAS THOMAS & SOLOMON LLP             þ Contingent
           693 EAST AVENUE
           ROCHESTER NY 14607                                þ Unliquidated
                                                             þ Disputed
           Date or dates debt was incurred                   Basis for the claim:
           VARIOUS                                           CIVIL ACTION NO. 6:15-CV-06742
                                                             PENDING LITIGATION
           Last 4 digits of account number:
                                                             Is the claim subject to offset?

                                                             þ No
                                                             ¨ Yes

3.80.      Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                             Check all that apply.
           ANDRUCHIW, VALERIE LYNN                                                                           UNDETERMINED
           J. NELSON THOMAS THOMAS & SOLOMON LLP             þ Contingent
           693 EAST AVENUE
           ROCHESTER NY 14607                                þ Unliquidated
                                                             þ Disputed
           Date or dates debt was incurred                   Basis for the claim:
           VARIOUS                                           CIVIL ACTION NO. 6:15-CV-06742
                                                             PENDING LITIGATION
           Last 4 digits of account number:
                                                             Is the claim subject to offset?

                                                             þ No
                                                             ¨ Yes

3.81.      Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                             Check all that apply.
           ANIMAL PLANET, LP                                                                                 $5,100.00
           PO BOX 79961                                      ¨ Contingent
           BALTIMORE MD 21279
                                                             ¨ Unliquidated
                                                             ¨ Disputed
           Date or dates debt was incurred                   Basis for the claim:
           VARIOUS                                           TRADE ACCOUNTS PAYABLE
           Last 4 digits of account number:                  Is the claim subject to offset?

                                                             þ No
                                                             ¨ Yes




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3.82.      Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                             Check all that apply.
           ANNAPOLIS MALL OWNER LLC                                                                          UNDETERMINED
           WESTFIELD AMERICA INC SCOTT GROSSMAN              þ Contingent
           SCOTT GROSSMAN EXECUTIVE VICE
           PRESIDENT                                         þ Unliquidated
           2049 CENTURY PK EAST 42ND FL
           LOS ANGELES CA 90067
                                                             þ Disputed
           Date or dates debt was incurred                   Basis for the claim:
           VARIOUS                                           LANDLORD CLAIM
           Last 4 digits of account number:                  Is the claim subject to offset?

                                                             þ No
                                                             ¨ Yes

3.83.      Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                             Check all that apply.
           ANSELMAN, TRACI LEE                                                                               UNDETERMINED
           J. NELSON THOMAS THOMAS & SOLOMON LLP             þ Contingent
           693 EAST AVENUE
           ROCHESTER NY 14607                                þ Unliquidated
                                                             þ Disputed
           Date or dates debt was incurred                   Basis for the claim:
           VARIOUS                                           CIVIL ACTION NO. 6:15-CV-06742
                                                             PENDING LITIGATION
           Last 4 digits of account number:
                                                             Is the claim subject to offset?

                                                             þ No
                                                             ¨ Yes

3.84.      Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                             Check all that apply.
           AOUN, FRANCES                                                                                     UNDETERMINED
                                                             þ Contingent
                                                             þ Unliquidated
                                                             þ Disputed
           Date or dates debt was incurred                   Basis for the claim:
           VARIOUS                                           GENERAL LIABILITY CLAIMS
           Last 4 digits of account number:                  Is the claim subject to offset?

                                                             þ No
                                                             ¨ Yes




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3.85.      Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                             Check all that apply.
           APPLEONE EMPLOYMENT SERVICES                                                                      $1,260.80
           327 W. BROADWAY                                   ¨ Contingent
           GLENDALE CA 91204
                                                             ¨ Unliquidated
                                                             ¨ Disputed
           Date or dates debt was incurred                   Basis for the claim:
           VARIOUS                                           TRADE ACCOUNTS PAYABLE
           Last 4 digits of account number:                  Is the claim subject to offset?

                                                             þ No
                                                             ¨ Yes

3.86.      Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                             Check all that apply.
           ARAMARK UNIFORM & CAREER (SUPPLY)                                                                 $767,707.15
           22808 NETWORK PLACE                               ¨ Contingent
           CHICAGO IL 60673
                                                             ¨ Unliquidated
                                                             ¨ Disputed
           Date or dates debt was incurred                   Basis for the claim:
           VARIOUS                                           TRADE ACCOUNTS PAYABLE
           Last 4 digits of account number:                  Is the claim subject to offset?

                                                             þ No
                                                             ¨ Yes

3.87.      Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                             Check all that apply.
           ARBI, KAIS                                                                                        UNDETERMINED
           J. NELSON THOMAS THOMAS & SOLOMON LLP             þ Contingent
           693 EAST AVENUE
           ROCHESTER NY 14607                                þ Unliquidated
                                                             þ Disputed
           Date or dates debt was incurred                   Basis for the claim:
           VARIOUS                                           CIVIL ACTION NO. 6:15-CV-06742
                                                             PENDING LITIGATION
           Last 4 digits of account number:
                                                             Is the claim subject to offset?

                                                             þ No
                                                             ¨ Yes




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3.88.      Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                             Check all that apply.
           ARCHIBALD, PAIGE                                                                                  UNDETERMINED
           J. NELSON THOMAS THOMAS & SOLOMON LLP             þ Contingent
           693 EAST AVENUE
           ROCHESTER NY 14607                                þ Unliquidated
                                                             þ Disputed
           Date or dates debt was incurred                   Basis for the claim:
           VARIOUS                                           CIVIL ACTION NO. 6:15-CV-06742
                                                             PENDING LITIGATION
           Last 4 digits of account number:
                                                             Is the claim subject to offset?

                                                             þ No
                                                             ¨ Yes

3.89.      Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                             Check all that apply.
           ARCIA, DANIELLE MARIE                                                                             UNDETERMINED
           J. NELSON THOMAS THOMAS & SOLOMON LLP             þ Contingent
           693 EAST AVENUE
           ROCHESTER NY 14607                                þ Unliquidated
                                                             þ Disputed
           Date or dates debt was incurred                   Basis for the claim:
           VARIOUS                                           CIVIL ACTION NO. 6:15-CV-06742
                                                             PENDING LITIGATION
           Last 4 digits of account number:
                                                             Is the claim subject to offset?

                                                             þ No
                                                             ¨ Yes

3.90.      Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                             Check all that apply.
           ARCIGAZUNO, DAVID                                                                                 UNDETERMINED
                                                             þ Contingent
                                                             þ Unliquidated
                                                             þ Disputed
           Date or dates debt was incurred                   Basis for the claim:
           VARIOUS                                           WORKERS COMPENSATION CLAIM - NO.
                                                             201507081136
           Last 4 digits of account number:
                                                             Is the claim subject to offset?

                                                             þ No
                                                             ¨ Yes




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3.91.      Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                             Check all that apply.
           ARELLANO, JOSE                                                                                    UNDETERMINED
           LAW OFFICES OF KESLUK, SILVERSTEIN &              þ Contingent
           JACOB
           9255 SUNSET BLVD., STE. 411                       þ Unliquidated
           MICHAEL G. JACOB
           LOS ANGELES CA 90069
                                                             þ Disputed
           Date or dates debt was incurred                   Basis for the claim:
           VARIOUS                                           EMPLOYMENT CLAIM
           Last 4 digits of account number:                  Is the claim subject to offset?

                                                             þ No
                                                             ¨ Yes

3.92.      Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                             Check all that apply.
           ARELLANO, JOSE                                                                                    UNDETERMINED
                                                             þ Contingent
                                                             þ Unliquidated
                                                             þ Disputed
           Date or dates debt was incurred                   Basis for the claim:
           VARIOUS                                           GENERAL LIABILITY CLAIMS
           Last 4 digits of account number:                  Is the claim subject to offset?

                                                             þ No
                                                             ¨ Yes

3.93.      Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                             Check all that apply.
           ARG PUBLICATIONS LLC                                                                              $487.00
           300 E HIGHLAND MALL BLVD #395                     ¨ Contingent
           AUSTIN TX 78752
                                                             ¨ Unliquidated
                                                             ¨ Disputed
           Date or dates debt was incurred                   Basis for the claim:
           VARIOUS                                           TRADE ACCOUNTS PAYABLE
           Last 4 digits of account number:                  Is the claim subject to offset?

                                                             þ No
                                                             ¨ Yes




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3.94.      Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                             Check all that apply.
           ARIZONA RESTAURANT SUPPLY INC.                                                                    $126.57
           6077 N TRAVEL CENTER DRIVE                        ¨ Contingent
           TUCSON AZ 85741
                                                             ¨ Unliquidated
                                                             ¨ Disputed
           Date or dates debt was incurred                   Basis for the claim:
           VARIOUS                                           TRADE ACCOUNTS PAYABLE
           Last 4 digits of account number:                  Is the claim subject to offset?

                                                             þ No
                                                             ¨ Yes

3.95.      Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                             Check all that apply.
           ARNOLD, PATRICK                                                                                   UNDETERMINED
           J. NELSON THOMAS THOMAS & SOLOMON LLP             þ Contingent
           693 EAST AVENUE
           ROCHESTER NY 14607                                þ Unliquidated
                                                             þ Disputed
           Date or dates debt was incurred                   Basis for the claim:
           VARIOUS                                           CIVIL ACTION NO. 6:15-CV-06742
                                                             PENDING LITIGATION
           Last 4 digits of account number:
                                                             Is the claim subject to offset?

                                                             þ No
                                                             ¨ Yes

3.96.      Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                             Check all that apply.
           ARONSON, HEATHER                                                                                  UNDETERMINED
           J. NELSON THOMAS THOMAS & SOLOMON LLP             þ Contingent
           693 EAST AVENUE
           ROCHESTER NY 14607                                þ Unliquidated
                                                             þ Disputed
           Date or dates debt was incurred                   Basis for the claim:
           VARIOUS                                           CIVIL ACTION NO. 6:15-CV-06742
                                                             PENDING LITIGATION
           Last 4 digits of account number:
                                                             Is the claim subject to offset?

                                                             þ No
                                                             ¨ Yes




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3.97.      Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                             Check all that apply.
           ARRELL, ISABELLE A.                                                                               UNDETERMINED
           J. NELSON THOMAS THOMAS & SOLOMON LLP             þ Contingent
           693 EAST AVENUE
           ROCHESTER NY 14607                                þ Unliquidated
                                                             þ Disputed
           Date or dates debt was incurred                   Basis for the claim:
           VARIOUS                                           CIVIL ACTION NO. 6:15-CV-06742
                                                             PENDING LITIGATION
           Last 4 digits of account number:
                                                             Is the claim subject to offset?

                                                             þ No
                                                             ¨ Yes

3.98.      Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                             Check all that apply.
           ASAP DRAIN GUYS DRAIN GUYS & PLUMBING                                                             $147.00
           999 RANCHEROS DR                                  ¨ Contingent
           SUITE B
           SAN MARCOS CA 92069                               ¨ Unliquidated
                                                             ¨ Disputed
           Date or dates debt was incurred                   Basis for the claim:
           VARIOUS                                           TRADE ACCOUNTS PAYABLE
           Last 4 digits of account number:                  Is the claim subject to offset?

                                                             þ No
                                                             ¨ Yes

3.99.      Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                             Check all that apply.
           ASAP ELECTRIC INC                                                                                 $170.00
           PO BOX 692362                                     ¨ Contingent
           STOCKTON CA 95269
                                                             ¨ Unliquidated
                                                             ¨ Disputed
           Date or dates debt was incurred                   Basis for the claim:
           VARIOUS                                           TRADE ACCOUNTS PAYABLE
           Last 4 digits of account number:                  Is the claim subject to offset?

                                                             þ No
                                                             ¨ Yes




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3.100.     Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                             Check all that apply.
           ASHER, BOBBIE                                                                                     UNDETERMINED
           J. NELSON THOMAS THOMAS & SOLOMON LLP             þ Contingent
           693 EAST AVENUE
           ROCHESTER NY 14607                                þ Unliquidated
                                                             þ Disputed
           Date or dates debt was incurred                   Basis for the claim:
           VARIOUS                                           CIVIL ACTION NO. 6:15-CV-06742
                                                             PENDING LITIGATION
           Last 4 digits of account number:
                                                             Is the claim subject to offset?

                                                             þ No
                                                             ¨ Yes

3.101.     Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                             Check all that apply.
           ATON, AUDREY MARTINE                                                                              UNDETERMINED
           J. NELSON THOMAS THOMAS & SOLOMON LLP             þ Contingent
           693 EAST AVENUE
           ROCHESTER NY 14607                                þ Unliquidated
                                                             þ Disputed
           Date or dates debt was incurred                   Basis for the claim:
           VARIOUS                                           CIVIL ACTION NO. 6:15-CV-06742
                                                             PENDING LITIGATION
           Last 4 digits of account number:
                                                             Is the claim subject to offset?

                                                             þ No
                                                             ¨ Yes

3.102.     Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                             Check all that apply.
           AUSTIN, JADE                                                                                      UNDETERMINED
           J. NELSON THOMAS THOMAS & SOLOMON LLP             þ Contingent
           693 EAST AVENUE
           ROCHESTER NY 14607                                þ Unliquidated
                                                             þ Disputed
           Date or dates debt was incurred                   Basis for the claim:
           VARIOUS                                           CIVIL ACTION NO. 6:15-CV-06742
                                                             PENDING LITIGATION
           Last 4 digits of account number:
                                                             Is the claim subject to offset?

                                                             þ No
                                                             ¨ Yes




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3.103.     Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                             Check all that apply.
           AVALOS, ALMA D.                                                                                   UNDETERMINED
           J. NELSON THOMAS THOMAS & SOLOMON LLP             þ Contingent
           693 EAST AVENUE
           ROCHESTER NY 14607                                þ Unliquidated
                                                             þ Disputed
           Date or dates debt was incurred                   Basis for the claim:
           VARIOUS                                           CIVIL ACTION NO. 6:15-CV-06742
                                                             PENDING LITIGATION
           Last 4 digits of account number:
                                                             Is the claim subject to offset?

                                                             þ No
                                                             ¨ Yes

3.104.     Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                             Check all that apply.
           AVERUS USA INC (PROFESSION)                                                                       $21,010.44
           1800 NATIONS DRIVE, STE. 215                      ¨ Contingent
           GURNEE IL 60031
                                                             ¨ Unliquidated
                                                             ¨ Disputed
           Date or dates debt was incurred                   Basis for the claim:
           VARIOUS                                           TRADE ACCOUNTS PAYABLE
           Last 4 digits of account number:                  Is the claim subject to offset?

                                                             þ No
                                                             ¨ Yes

3.105.     Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                             Check all that apply.
           AVILA, ISSAC RAMON                                                                                UNDETERMINED
           J. NELSON THOMAS THOMAS & SOLOMON LLP             þ Contingent
           693 EAST AVENUE
           ROCHESTER NY 14607                                þ Unliquidated
                                                             þ Disputed
           Date or dates debt was incurred                   Basis for the claim:
           VARIOUS                                           CIVIL ACTION NO. 6:15-CV-06742
                                                             PENDING LITIGATION
           Last 4 digits of account number:
                                                             Is the claim subject to offset?

                                                             þ No
                                                             ¨ Yes




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3.106.     Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                             Check all that apply.
           AVISE PROPERTIES                                                                                  UNDETERMINED
           RAJA KHANNA                                       þ Contingent
           80 NASHUA RD STE 24
           LONDONDERRY NH 03053                              þ Unliquidated
                                                             þ Disputed
           Date or dates debt was incurred                   Basis for the claim:
           VARIOUS                                           LANDLORD CLAIM
           Last 4 digits of account number:                  Is the claim subject to offset?

                                                             þ No
                                                             ¨ Yes

3.107.     Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                             Check all that apply.
           AZUA, JENNIFER LEE                                                                                UNDETERMINED
           J. NELSON THOMAS THOMAS & SOLOMON LLP             þ Contingent
           693 EAST AVENUE
           ROCHESTER NY 14607                                þ Unliquidated
                                                             þ Disputed
           Date or dates debt was incurred                   Basis for the claim:
           VARIOUS                                           CIVIL ACTION NO. 6:15-CV-06742
                                                             PENDING LITIGATION
           Last 4 digits of account number:
                                                             Is the claim subject to offset?

                                                             þ No
                                                             ¨ Yes

3.108.     Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                             Check all that apply.
           B & G STAINLESS WORKS, INC                                                                        $2,950.00
           8538 H TERMINAL RD                                ¨ Contingent
           LORTON VA 22079
                                                             ¨ Unliquidated
                                                             ¨ Disputed
           Date or dates debt was incurred                   Basis for the claim:
           VARIOUS                                           TRADE ACCOUNTS PAYABLE
           Last 4 digits of account number:                  Is the claim subject to offset?

                                                             þ No
                                                             ¨ Yes




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3.109.     Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                             Check all that apply.
           B & J TEPPS INC DBA SOUTHGATE LOCK &                                                              $145.26
           SECURITY                                          ¨ Contingent
           21000 SOUTHGATE PARK BLVD
           MAPLE HEIGHTS OH 44137                            ¨ Unliquidated
                                                             ¨ Disputed
           Date or dates debt was incurred                   Basis for the claim:
           VARIOUS                                           TRADE ACCOUNTS PAYABLE
           Last 4 digits of account number:                  Is the claim subject to offset?

                                                             þ No
                                                             ¨ Yes

3.110.     Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                             Check all that apply.
           BACAK, ANGELA CHRISTINE                                                                           UNDETERMINED
           J. NELSON THOMAS THOMAS & SOLOMON LLP             þ Contingent
           693 EAST AVENUE
           ROCHESTER NY 14607                                þ Unliquidated
                                                             þ Disputed
           Date or dates debt was incurred                   Basis for the claim:
           VARIOUS                                           CIVIL ACTION NO. 6:15-CV-06742
                                                             PENDING LITIGATION
           Last 4 digits of account number:
                                                             Is the claim subject to offset?

                                                             þ No
                                                             ¨ Yes

3.111.     Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                             Check all that apply.
           BACKE, RACHEL ANNE                                                                                UNDETERMINED
           J. NELSON THOMAS THOMAS & SOLOMON LLP             þ Contingent
           693 EAST AVENUE
           ROCHESTER NY 14607                                þ Unliquidated
                                                             þ Disputed
           Date or dates debt was incurred                   Basis for the claim:
           VARIOUS                                           CIVIL ACTION NO. 6:15-CV-06742
                                                             PENDING LITIGATION
           Last 4 digits of account number:
                                                             Is the claim subject to offset?

                                                             þ No
                                                             ¨ Yes




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3.112.     Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                             Check all that apply.
           BACON, SHAWN MICHAEL                                                                              UNDETERMINED
           J. NELSON THOMAS THOMAS & SOLOMON LLP             þ Contingent
           693 EAST AVENUE
           ROCHESTER NY 14607                                þ Unliquidated
                                                             þ Disputed
           Date or dates debt was incurred                   Basis for the claim:
           VARIOUS                                           CIVIL ACTION NO. 6:15-CV-06742
                                                             PENDING LITIGATION
           Last 4 digits of account number:
                                                             Is the claim subject to offset?

                                                             þ No
                                                             ¨ Yes

3.113.     Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                             Check all that apply.
           BADILLO, ALEJANDRA                                                                                UNDETERMINED
           J. NELSON THOMAS THOMAS & SOLOMON LLP             þ Contingent
           693 EAST AVENUE
           ROCHESTER NY 14607                                þ Unliquidated
                                                             þ Disputed
           Date or dates debt was incurred                   Basis for the claim:
           VARIOUS                                           CIVIL ACTION NO. 6:15-CV-06742
                                                             PENDING LITIGATION
           Last 4 digits of account number:
                                                             Is the claim subject to offset?

                                                             þ No
                                                             ¨ Yes

3.114.     Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                             Check all that apply.
           BAINES, KASSANDRA                                                                                 UNDETERMINED
           J. NELSON THOMAS THOMAS & SOLOMON LLP             þ Contingent
           693 EAST AVENUE
           ROCHESTER NY 14607                                þ Unliquidated
                                                             þ Disputed
           Date or dates debt was incurred                   Basis for the claim:
           VARIOUS                                           CIVIL ACTION NO. 6:15-CV-06742
                                                             PENDING LITIGATION
           Last 4 digits of account number:
                                                             Is the claim subject to offset?

                                                             þ No
                                                             ¨ Yes




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3.115.     Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                             Check all that apply.
           BAIRD, ELIZABETH                                                                                  UNDETERMINED
           J. NELSON THOMAS THOMAS & SOLOMON LLP             þ Contingent
           693 EAST AVENUE
           ROCHESTER NY 14607                                þ Unliquidated
                                                             þ Disputed
           Date or dates debt was incurred                   Basis for the claim:
           VARIOUS                                           CIVIL ACTION NO. 6:15-CV-06742
                                                             PENDING LITIGATION
           Last 4 digits of account number:
                                                             Is the claim subject to offset?

                                                             þ No
                                                             ¨ Yes

3.116.     Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                             Check all that apply.
           BAKER, SHELBY NICOLE                                                                              UNDETERMINED
           J. NELSON THOMAS THOMAS & SOLOMON LLP             þ Contingent
           693 EAST AVENUE
           ROCHESTER NY 14607                                þ Unliquidated
                                                             þ Disputed
           Date or dates debt was incurred                   Basis for the claim:
           VARIOUS                                           CIVIL ACTION NO. 6:15-CV-06742
                                                             PENDING LITIGATION
           Last 4 digits of account number:
                                                             Is the claim subject to offset?

                                                             þ No
                                                             ¨ Yes

3.117.     Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                             Check all that apply.
           BAKER, VICKI RENE                                                                                 UNDETERMINED
           J. NELSON THOMAS THOMAS & SOLOMON LLP             þ Contingent
           693 EAST AVENUE
           ROCHESTER NY 14607                                þ Unliquidated
                                                             þ Disputed
           Date or dates debt was incurred                   Basis for the claim:
           VARIOUS                                           CIVIL ACTION NO. 6:15-CV-06742
                                                             PENDING LITIGATION
           Last 4 digits of account number:
                                                             Is the claim subject to offset?

                                                             þ No
                                                             ¨ Yes




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3.118.     Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                             Check all that apply.
           BALL, JOHN                                                                                        UNDETERMINED
           J. NELSON THOMAS THOMAS & SOLOMON LLP             þ Contingent
           693 EAST AVENUE
           ROCHESTER NY 14607                                þ Unliquidated
                                                             þ Disputed
           Date or dates debt was incurred                   Basis for the claim:
           VARIOUS                                           CIVIL ACTION NO. 6:15-CV-06742
                                                             PENDING LITIGATION
           Last 4 digits of account number:
                                                             Is the claim subject to offset?

                                                             þ No
                                                             ¨ Yes

3.119.     Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                             Check all that apply.
           BALLESTEROS, VANYA                                                                                UNDETERMINED
           J. NELSON THOMAS THOMAS & SOLOMON LLP             þ Contingent
           693 EAST AVENUE
           ROCHESTER NY 14607                                þ Unliquidated
                                                             þ Disputed
           Date or dates debt was incurred                   Basis for the claim:
           VARIOUS                                           CIVIL ACTION NO. 6:15-CV-06742
                                                             PENDING LITIGATION
           Last 4 digits of account number:
                                                             Is the claim subject to offset?

                                                             þ No
                                                             ¨ Yes

3.120.     Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                             Check all that apply.
           BANCHEK, MEREDITH                                                                                 UNDETERMINED
           J. NELSON THOMAS THOMAS & SOLOMON LLP             þ Contingent
           693 EAST AVENUE
           ROCHESTER NY 14607                                þ Unliquidated
                                                             þ Disputed
           Date or dates debt was incurred                   Basis for the claim:
           VARIOUS                                           CIVIL ACTION NO. 6:15-CV-06742
                                                             PENDING LITIGATION
           Last 4 digits of account number:
                                                             Is the claim subject to offset?

                                                             þ No
                                                             ¨ Yes




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3.121.     Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                             Check all that apply.
           BANDY, CYNTHIA L.                                                                                 UNDETERMINED
           J. NELSON THOMAS THOMAS & SOLOMON LLP             þ Contingent
           693 EAST AVENUE
           ROCHESTER NY 14607                                þ Unliquidated
                                                             þ Disputed
           Date or dates debt was incurred                   Basis for the claim:
           VARIOUS                                           CIVIL ACTION NO. 6:15-CV-06742
                                                             PENDING LITIGATION
           Last 4 digits of account number:
                                                             Is the claim subject to offset?

                                                             þ No
                                                             ¨ Yes

3.122.     Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                             Check all that apply.
           BANEGAS, MANFREDY                                                                                 UNDETERMINED
           J. NELSON THOMAS THOMAS & SOLOMON LLP             þ Contingent
           693 EAST AVENUE
           ROCHESTER NY 14607                                þ Unliquidated
                                                             þ Disputed
           Date or dates debt was incurred                   Basis for the claim:
           VARIOUS                                           CIVIL ACTION NO. 6:15-CV-06742
                                                             PENDING LITIGATION
           Last 4 digits of account number:
                                                             Is the claim subject to offset?

                                                             þ No
                                                             ¨ Yes

3.123.     Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                             Check all that apply.
           BANEGAS, MANFREDY                                                                                 UNDETERMINED
           J. NELSON THOMAS THOMAS & SOLOMON LLP             þ Contingent
           693 EAST AVENUE
           ROCHESTER NY 14607                                þ Unliquidated
                                                             þ Disputed
           Date or dates debt was incurred                   Basis for the claim:
           VARIOUS                                           CIVIL ACTION NO. 6:15-CV-06742
                                                             PENDING LITIGATION
           Last 4 digits of account number:
                                                             Is the claim subject to offset?

                                                             þ No
                                                             ¨ Yes




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3.124.     Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                             Check all that apply.
           BANK OF AMERICA MERCHANT SRVS                                                                     $208.97
           PO BOX 1256                                       ¨ Contingent
           ENGLEWOOD CO 80150
                                                             ¨ Unliquidated
                                                             ¨ Disputed
           Date or dates debt was incurred                   Basis for the claim:
           VARIOUS                                           TRADE ACCOUNTS PAYABLE
           Last 4 digits of account number:                  Is the claim subject to offset?

                                                             þ No
                                                             ¨ Yes

3.125.     Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                             Check all that apply.
           BANYARD, BAILEY                                                                                   UNDETERMINED
           J. NELSON THOMAS THOMAS & SOLOMON LLP             þ Contingent
           693 EAST AVENUE
           ROCHESTER NY 14607                                þ Unliquidated
                                                             þ Disputed
           Date or dates debt was incurred                   Basis for the claim:
           VARIOUS                                           CIVIL ACTION NO. 6:15-CV-06742
                                                             PENDING LITIGATION
           Last 4 digits of account number:
                                                             Is the claim subject to offset?

                                                             þ No
                                                             ¨ Yes

3.126.     Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                             Check all that apply.
           BARBERENA, DAVID                                                                                  UNDETERMINED
                                                             þ Contingent
                                                             þ Unliquidated
                                                             þ Disputed
           Date or dates debt was incurred                   Basis for the claim:
           VARIOUS                                           WORKERS COMPENSATION CLAIM
           Last 4 digits of account number:                  Is the claim subject to offset?

                                                             þ No
                                                             ¨ Yes




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3.127.     Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                             Check all that apply.
           BARINEAU, J.                                                                                      UNDETERMINED
           J. NELSON THOMAS THOMAS & SOLOMON LLP             þ Contingent
           693 EAST AVENUE
           ROCHESTER NY 14607                                þ Unliquidated
                                                             þ Disputed
           Date or dates debt was incurred                   Basis for the claim:
           VARIOUS                                           CIVIL ACTION NO. 6:15-CV-06742
                                                             PENDING LITIGATION
           Last 4 digits of account number:
                                                             Is the claim subject to offset?

                                                             þ No
                                                             ¨ Yes

3.128.     Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                             Check all that apply.
           BARKER, SHEMANE                                                                                   UNDETERMINED
           J. NELSON THOMAS THOMAS & SOLOMON LLP             þ Contingent
           693 EAST AVENUE
           ROCHESTER NY 14607                                þ Unliquidated
                                                             þ Disputed
           Date or dates debt was incurred                   Basis for the claim:
           VARIOUS                                           CIVIL ACTION NO. 6:15-CV-06742
                                                             PENDING LITIGATION
           Last 4 digits of account number:
                                                             Is the claim subject to offset?

                                                             þ No
                                                             ¨ Yes

3.129.     Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                             Check all that apply.
           BARLOW, THAILAND ELIZABETH                                                                        UNDETERMINED
           J. NELSON THOMAS THOMAS & SOLOMON LLP             þ Contingent
           693 EAST AVENUE
           ROCHESTER NY 14607                                þ Unliquidated
                                                             þ Disputed
           Date or dates debt was incurred                   Basis for the claim:
           VARIOUS                                           CIVIL ACTION NO. 6:15-CV-06742
                                                             PENDING LITIGATION
           Last 4 digits of account number:
                                                             Is the claim subject to offset?

                                                             þ No
                                                             ¨ Yes




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3.130.     Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                             Check all that apply.
           BARNETT, WILLIAM R.                                                                               UNDETERMINED
           J. NELSON THOMAS THOMAS & SOLOMON LLP             þ Contingent
           693 EAST AVENUE
           ROCHESTER NY 14607                                þ Unliquidated
                                                             þ Disputed
           Date or dates debt was incurred                   Basis for the claim:
           VARIOUS                                           CIVIL ACTION NO. 6:15-CV-06742
                                                             PENDING LITIGATION
           Last 4 digits of account number:
                                                             Is the claim subject to offset?

                                                             þ No
                                                             ¨ Yes

3.131.     Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                             Check all that apply.
           BARNETTE, STACI E.                                                                                UNDETERMINED
           J. NELSON THOMAS THOMAS & SOLOMON LLP             þ Contingent
           693 EAST AVENUE
           ROCHESTER NY 14607                                þ Unliquidated
                                                             þ Disputed
           Date or dates debt was incurred                   Basis for the claim:
           VARIOUS                                           CIVIL ACTION NO. 6:15-CV-06742
                                                             PENDING LITIGATION
           Last 4 digits of account number:
                                                             Is the claim subject to offset?

                                                             þ No
                                                             ¨ Yes

3.132.     Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                             Check all that apply.
           BARRAGAN LANDSCAPING LLC                                                                          $1,747.50
           6306 ATTICA ROAD                                  ¨ Contingent
           IMLAY CITY MI 48444
                                                             ¨ Unliquidated
                                                             ¨ Disputed
           Date or dates debt was incurred                   Basis for the claim:
           VARIOUS                                           TRADE ACCOUNTS PAYABLE
           Last 4 digits of account number:                  Is the claim subject to offset?

                                                             þ No
                                                             ¨ Yes




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3.133.     Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                             Check all that apply.
           BARRAS, MICHAEL ALEXANDER                                                                         UNDETERMINED
           J. NELSON THOMAS THOMAS & SOLOMON LLP             þ Contingent
           693 EAST AVENUE
           ROCHESTER NY 14607                                þ Unliquidated
                                                             þ Disputed
           Date or dates debt was incurred                   Basis for the claim:
           VARIOUS                                           CIVIL ACTION NO. 6:15-CV-06742
                                                             PENDING LITIGATION
           Last 4 digits of account number:
                                                             Is the claim subject to offset?

                                                             þ No
                                                             ¨ Yes

3.134.     Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                             Check all that apply.
           BARRERA, TERESA                                                                                   UNDETERMINED
                                                             þ Contingent
                                                             þ Unliquidated
                                                             þ Disputed
           Date or dates debt was incurred                   Basis for the claim:
           VARIOUS                                           WORKERS COMPENSATION CLAIM
           Last 4 digits of account number:                  Is the claim subject to offset?

                                                             þ No
                                                             ¨ Yes

3.135.     Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                             Check all that apply.
           BARRETT, CAROLYN                                                                                  UNDETERMINED
           J. NELSON THOMAS THOMAS & SOLOMON LLP             þ Contingent
           693 EAST AVENUE
           ROCHESTER NY 14607                                þ Unliquidated
                                                             þ Disputed
           Date or dates debt was incurred                   Basis for the claim:
           VARIOUS                                           CIVIL ACTION NO. 6:15-CV-06742
                                                             PENDING LITIGATION
           Last 4 digits of account number:
                                                             Is the claim subject to offset?

                                                             þ No
                                                             ¨ Yes




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3.136.     Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                             Check all that apply.
           BARRETT, PATRICIA LYNN                                                                            UNDETERMINED
           J. NELSON THOMAS THOMAS & SOLOMON LLP             þ Contingent
           693 EAST AVENUE
           ROCHESTER NY 14607                                þ Unliquidated
                                                             þ Disputed
           Date or dates debt was incurred                   Basis for the claim:
           VARIOUS                                           CIVIL ACTION NO. 6:15-CV-06742
                                                             PENDING LITIGATION
           Last 4 digits of account number:
                                                             Is the claim subject to offset?

                                                             þ No
                                                             ¨ Yes

3.137.     Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                             Check all that apply.
           BARRUS, MARY ANN                                                                                  UNDETERMINED
           J. NELSON THOMAS THOMAS & SOLOMON LLP             þ Contingent
           693 EAST AVENUE
           ROCHESTER NY 14607                                þ Unliquidated
                                                             þ Disputed
           Date or dates debt was incurred                   Basis for the claim:
           VARIOUS                                           CIVIL ACTION NO. 6:15-CV-06742
                                                             PENDING LITIGATION
           Last 4 digits of account number:
                                                             Is the claim subject to offset?

                                                             þ No
                                                             ¨ Yes

3.138.     Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                             Check all that apply.
           BARRY STURDIVANTDBA STURDIVANT                                                                    $825.00
           PLUMBING SERVICE                                  ¨ Contingent
           18430 LAWSON ROAD
           LITTLE ROCK AR 72210                              ¨ Unliquidated
                                                             ¨ Disputed
           Date or dates debt was incurred                   Basis for the claim:
           VARIOUS                                           TRADE ACCOUNTS PAYABLE
           Last 4 digits of account number:                  Is the claim subject to offset?

                                                             þ No
                                                             ¨ Yes




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3.139.     Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                             Check all that apply.
           BARTLETT, DANDY MICHELLE                                                                          UNDETERMINED
           J. NELSON THOMAS THOMAS & SOLOMON LLP             þ Contingent
           693 EAST AVENUE
           ROCHESTER NY 14607                                þ Unliquidated
                                                             þ Disputed
           Date or dates debt was incurred                   Basis for the claim:
           VARIOUS                                           CIVIL ACTION NO. 6:15-CV-06742
                                                             PENDING LITIGATION
           Last 4 digits of account number:
                                                             Is the claim subject to offset?

                                                             þ No
                                                             ¨ Yes

3.140.     Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                             Check all that apply.
           BARTLEY, BRITTANY MARIE                                                                           UNDETERMINED
           J. NELSON THOMAS THOMAS & SOLOMON LLP             þ Contingent
           693 EAST AVENUE
           ROCHESTER NY 14607                                þ Unliquidated
                                                             þ Disputed
           Date or dates debt was incurred                   Basis for the claim:
           VARIOUS                                           CIVIL ACTION NO. 6:15-CV-06742
                                                             PENDING LITIGATION
           Last 4 digits of account number:
                                                             Is the claim subject to offset?

                                                             þ No
                                                             ¨ Yes

3.141.     Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                             Check all that apply.
           BASILE, MORIAH JOY                                                                                UNDETERMINED
           J. NELSON THOMAS THOMAS & SOLOMON LLP             þ Contingent
           693 EAST AVENUE
           ROCHESTER NY 14607                                þ Unliquidated
                                                             þ Disputed
           Date or dates debt was incurred                   Basis for the claim:
           VARIOUS                                           CIVIL ACTION NO. 6:15-CV-06742
                                                             PENDING LITIGATION
           Last 4 digits of account number:
                                                             Is the claim subject to offset?

                                                             þ No
                                                             ¨ Yes




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3.142.     Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                             Check all that apply.
           BASILE, MORIAH JOY                                                                                UNDETERMINED
           J. NELSON THOMAS THOMAS & SOLOMON LLP             þ Contingent
           693 EAST AVENUE
           ROCHESTER NY 14607                                þ Unliquidated
                                                             þ Disputed
           Date or dates debt was incurred                   Basis for the claim:
           VARIOUS                                           CIVIL ACTION NO. 6:15-CV-06742
                                                             PENDING LITIGATION
           Last 4 digits of account number:
                                                             Is the claim subject to offset?

                                                             þ No
                                                             ¨ Yes

3.143.     Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                             Check all that apply.
           BASS, BRENT                                                                                       UNDETERMINED
                                                             þ Contingent
                                                             þ Unliquidated
                                                             þ Disputed
           Date or dates debt was incurred                   Basis for the claim:
           VARIOUS                                           GENERAL LIABILITY CLAIMS
           Last 4 digits of account number:                  Is the claim subject to offset?

                                                             þ No
                                                             ¨ Yes

3.144.     Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                             Check all that apply.
           BASS, JERRI WILSON                                                                                UNDETERMINED
           J. NELSON THOMAS THOMAS & SOLOMON LLP             þ Contingent
           693 EAST AVENUE
           ROCHESTER NY 14607                                þ Unliquidated
                                                             þ Disputed
           Date or dates debt was incurred                   Basis for the claim:
           VARIOUS                                           CIVIL ACTION NO. 6:15-CV-06742
                                                             PENDING LITIGATION
           Last 4 digits of account number:
                                                             Is the claim subject to offset?

                                                             þ No
                                                             ¨ Yes




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3.145.     Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                             Check all that apply.
           BATEMAN, JAMES ROBERT                                                                             UNDETERMINED
           J. NELSON THOMAS THOMAS & SOLOMON LLP             þ Contingent
           693 EAST AVENUE
           ROCHESTER NY 14607                                þ Unliquidated
                                                             þ Disputed
           Date or dates debt was incurred                   Basis for the claim:
           VARIOUS                                           CIVIL ACTION NO. 6:15-CV-06742
                                                             PENDING LITIGATION
           Last 4 digits of account number:
                                                             Is the claim subject to offset?

                                                             þ No
                                                             ¨ Yes

3.146.     Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                             Check all that apply.
           BATINI, GUILHERME C.                                                                              UNDETERMINED
           J. NELSON THOMAS THOMAS & SOLOMON LLP             þ Contingent
           693 EAST AVENUE
           ROCHESTER NY 14607                                þ Unliquidated
                                                             þ Disputed
           Date or dates debt was incurred                   Basis for the claim:
           VARIOUS                                           CIVIL ACTION NO. 6:15-CV-06742
                                                             PENDING LITIGATION
           Last 4 digits of account number:
                                                             Is the claim subject to offset?

                                                             þ No
                                                             ¨ Yes

3.147.     Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                             Check all that apply.
           BATTLE, COURTNEY A.                                                                               UNDETERMINED
           J. NELSON THOMAS THOMAS & SOLOMON LLP             þ Contingent
           693 EAST AVENUE
           ROCHESTER NY 14607                                þ Unliquidated
                                                             þ Disputed
           Date or dates debt was incurred                   Basis for the claim:
           VARIOUS                                           CIVIL ACTION NO. 6:15-CV-06742
                                                             PENDING LITIGATION
           Last 4 digits of account number:
                                                             Is the claim subject to offset?

                                                             þ No
                                                             ¨ Yes




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3.148.     Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                             Check all that apply.
           BATZ, KIMBERLY LYNN                                                                               UNDETERMINED
           J. NELSON THOMAS THOMAS & SOLOMON LLP             þ Contingent
           693 EAST AVENUE
           ROCHESTER NY 14607                                þ Unliquidated
                                                             þ Disputed
           Date or dates debt was incurred                   Basis for the claim:
           VARIOUS                                           CIVIL ACTION NO. 6:15-CV-06742
                                                             PENDING LITIGATION
           Last 4 digits of account number:
                                                             Is the claim subject to offset?

                                                             þ No
                                                             ¨ Yes

3.149.     Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                             Check all that apply.
           BAUZA, GABRIEL                                                                                    UNDETERMINED
           J. NELSON THOMAS THOMAS & SOLOMON LLP             þ Contingent
           693 EAST AVENUE
           ROCHESTER NY 14607                                þ Unliquidated
                                                             þ Disputed
           Date or dates debt was incurred                   Basis for the claim:
           VARIOUS                                           CIVIL ACTION NO. 6:15-CV-06742
                                                             PENDING LITIGATION
           Last 4 digits of account number:
                                                             Is the claim subject to offset?

                                                             þ No
                                                             ¨ Yes

3.150.     Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                             Check all that apply.
           BAYER RETAIL CO LLC                                                                               UNDETERMINED
           SAM HEIDE GENERAL COUNSEL                         þ Contingent
           2222 ARLINGTON AVE
           BIRMINGHAM AL 35205                               þ Unliquidated
                                                             þ Disputed
           Date or dates debt was incurred                   Basis for the claim:
           VARIOUS                                           LANDLORD CLAIM
           Last 4 digits of account number:                  Is the claim subject to offset?

                                                             þ No
                                                             ¨ Yes




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3.151.     Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                             Check all that apply.
           BEACH, ALEXANDRIA PATRICE                                                                         UNDETERMINED
           J. NELSON THOMAS THOMAS & SOLOMON LLP             þ Contingent
           693 EAST AVENUE
           ROCHESTER NY 14607                                þ Unliquidated
                                                             þ Disputed
           Date or dates debt was incurred                   Basis for the claim:
           VARIOUS                                           CIVIL ACTION NO. 6:15-CV-06742
                                                             PENDING LITIGATION
           Last 4 digits of account number:
                                                             Is the claim subject to offset?

                                                             þ No
                                                             ¨ Yes

3.152.     Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                             Check all that apply.
           BEACH, ALEXANDRIA PATRICE                                                                         UNDETERMINED
           J. NELSON THOMAS THOMAS & SOLOMON LLP             þ Contingent
           693 EAST AVENUE
           ROCHESTER NY 14607                                þ Unliquidated
                                                             þ Disputed
           Date or dates debt was incurred                   Basis for the claim:
           VARIOUS                                           CIVIL ACTION NO. 6:15-CV-06742
                                                             PENDING LITIGATION
           Last 4 digits of account number:
                                                             Is the claim subject to offset?

                                                             þ No
                                                             ¨ Yes

3.153.     Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                             Check all that apply.
           BEACH, WESLEY EDWIN                                                                               UNDETERMINED
           J. NELSON THOMAS THOMAS & SOLOMON LLP             þ Contingent
           693 EAST AVENUE
           ROCHESTER NY 14607                                þ Unliquidated
                                                             þ Disputed
           Date or dates debt was incurred                   Basis for the claim:
           VARIOUS                                           CIVIL ACTION NO. 6:15-CV-06742
                                                             PENDING LITIGATION
           Last 4 digits of account number:
                                                             Is the claim subject to offset?

                                                             þ No
                                                             ¨ Yes




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3.154.     Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                             Check all that apply.
           BEACH, WESLEY EDWIN                                                                               UNDETERMINED
           J. NELSON THOMAS THOMAS & SOLOMON LLP             þ Contingent
           693 EAST AVENUE
           ROCHESTER NY 14607                                þ Unliquidated
                                                             þ Disputed
           Date or dates debt was incurred                   Basis for the claim:
           VARIOUS                                           CIVIL ACTION NO. 6:15-CV-06742
                                                             PENDING LITIGATION
           Last 4 digits of account number:
                                                             Is the claim subject to offset?

                                                             þ No
                                                             ¨ Yes

3.155.     Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                             Check all that apply.
           BEAGHAN, CAITLIN                                                                                  UNDETERMINED
           J. NELSON THOMAS THOMAS & SOLOMON LLP             þ Contingent
           693 EAST AVENUE
           ROCHESTER NY 14607                                þ Unliquidated
                                                             þ Disputed
           Date or dates debt was incurred                   Basis for the claim:
           VARIOUS                                           CIVIL ACTION NO. 6:15-CV-06742
                                                             PENDING LITIGATION
           Last 4 digits of account number:
                                                             Is the claim subject to offset?

                                                             þ No
                                                             ¨ Yes

3.156.     Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                             Check all that apply.
           BEAN, MARIKO JULIA                                                                                UNDETERMINED
           J. NELSON THOMAS THOMAS & SOLOMON LLP             þ Contingent
           693 EAST AVENUE
           ROCHESTER NY 14607                                þ Unliquidated
                                                             þ Disputed
           Date or dates debt was incurred                   Basis for the claim:
           VARIOUS                                           CIVIL ACTION NO. 6:15-CV-06742
                                                             PENDING LITIGATION
           Last 4 digits of account number:
                                                             Is the claim subject to offset?

                                                             þ No
                                                             ¨ Yes




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3.157.     Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                             Check all that apply.
           BEANE, BRANDICE MIKHAIL                                                                           UNDETERMINED
           J. NELSON THOMAS THOMAS & SOLOMON LLP             þ Contingent
           693 EAST AVENUE
           ROCHESTER NY 14607                                þ Unliquidated
                                                             þ Disputed
           Date or dates debt was incurred                   Basis for the claim:
           VARIOUS                                           CIVIL ACTION NO. 6:15-CV-06742
                                                             PENDING LITIGATION
           Last 4 digits of account number:
                                                             Is the claim subject to offset?

                                                             þ No
                                                             ¨ Yes

3.158.     Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                             Check all that apply.
           BEAR, HELENE                                                                                      UNDETERMINED
                                                             þ Contingent
                                                             þ Unliquidated
                                                             þ Disputed
           Date or dates debt was incurred                   Basis for the claim:
           VARIOUS                                           GENERAL LIABILITY CLAIMS
           Last 4 digits of account number:                  Is the claim subject to offset?

                                                             þ No
                                                             ¨ Yes

3.159.     Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                             Check all that apply.
           BEARDEN CHILDRENS TRUST                                                                           UNDETERMINED
           CC BEARDEN ENTERPRISES                            þ Contingent
           CASSIE POORE
           PO BOX 101717                                     þ Unliquidated
           FORT WORTH TX 76158                               þ Disputed
           Date or dates debt was incurred                   Basis for the claim:
           VARIOUS                                           LANDLORD CLAIM
           Last 4 digits of account number:                  Is the claim subject to offset?

                                                             þ No
                                                             ¨ Yes




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3.160.     Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                             Check all that apply.
           BEASLEY, YVONNA                                                                                   UNDETERMINED
           J. NELSON THOMAS THOMAS & SOLOMON LLP             þ Contingent
           693 EAST AVENUE
           ROCHESTER NY 14607                                þ Unliquidated
                                                             þ Disputed
           Date or dates debt was incurred                   Basis for the claim:
           VARIOUS                                           CIVIL ACTION NO. 6:15-CV-06742
                                                             PENDING LITIGATION
           Last 4 digits of account number:
                                                             Is the claim subject to offset?

                                                             þ No
                                                             ¨ Yes

3.161.     Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                             Check all that apply.
           BEAUDOIN, JADE ALEXIS                                                                             UNDETERMINED
           J. NELSON THOMAS THOMAS & SOLOMON LLP             þ Contingent
           693 EAST AVENUE
           ROCHESTER NY 14607                                þ Unliquidated
                                                             þ Disputed
           Date or dates debt was incurred                   Basis for the claim:
           VARIOUS                                           CIVIL ACTION NO. 6:15-CV-06742
                                                             PENDING LITIGATION
           Last 4 digits of account number:
                                                             Is the claim subject to offset?

                                                             þ No
                                                             ¨ Yes

3.162.     Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                             Check all that apply.
           BEAUDOIN, JADE ALEXIS                                                                             UNDETERMINED
           J. NELSON THOMAS THOMAS & SOLOMON LLP             þ Contingent
           693 EAST AVENUE
           ROCHESTER NY 14607                                þ Unliquidated
                                                             þ Disputed
           Date or dates debt was incurred                   Basis for the claim:
           VARIOUS                                           CIVIL ACTION NO. 6:15-CV-06742
                                                             PENDING LITIGATION
           Last 4 digits of account number:
                                                             Is the claim subject to offset?

                                                             þ No
                                                             ¨ Yes




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3.163.     Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                             Check all that apply.
           BECKER ELECTRIC CO., LTD                                                                          $1,715.24
           4830 LAKE CECILE DRIVE                            ¨ Contingent
           C/O MARTIN BECKER
           KISSIMMEE FL 34746                                ¨ Unliquidated
                                                             ¨ Disputed
           Date or dates debt was incurred                   Basis for the claim:
           VARIOUS                                           TRADE ACCOUNTS PAYABLE
           Last 4 digits of account number:                  Is the claim subject to offset?

                                                             þ No
                                                             ¨ Yes

3.164.     Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                             Check all that apply.
           BELCO ELECTRIC INC                                                                                $494.54
           3118 MARJAN DRIVE                                 ¨ Contingent
           ATLANTA GA 30340
                                                             ¨ Unliquidated
                                                             ¨ Disputed
           Date or dates debt was incurred                   Basis for the claim:
           VARIOUS                                           TRADE ACCOUNTS PAYABLE
           Last 4 digits of account number:                  Is the claim subject to offset?

                                                             þ No
                                                             ¨ Yes

3.165.     Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                             Check all that apply.
           BELL, JAMES MICHAEL                                                                               UNDETERMINED
           J. NELSON THOMAS THOMAS & SOLOMON LLP             þ Contingent
           693 EAST AVENUE
           ROCHESTER NY 14607                                þ Unliquidated
                                                             þ Disputed
           Date or dates debt was incurred                   Basis for the claim:
           VARIOUS                                           CIVIL ACTION NO. 6:15-CV-06742
                                                             PENDING LITIGATION
           Last 4 digits of account number:
                                                             Is the claim subject to offset?

                                                             þ No
                                                             ¨ Yes




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3.166.     Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                             Check all that apply.
           BELLA TERRA ASSOCIATES LLC                                                                        UNDETERMINED
           DJM CAPITAL PARTNERS INC                          þ Contingent
           OLEG F SIVRYUK DIR OF REAL ESTATE
           ACCOUNTING                                        þ Unliquidated
           7777 EDINGER AVE STE 133
           HUNTINGTON BEACH CA 92647
                                                             þ Disputed
           Date or dates debt was incurred                   Basis for the claim:
           VARIOUS                                           LANDLORD CLAIM
           Last 4 digits of account number:                  Is the claim subject to offset?

                                                             þ No
                                                             ¨ Yes

3.167.     Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                             Check all that apply.
           BENDER, CATHY B.                                                                                  UNDETERMINED
           J. NELSON THOMAS THOMAS & SOLOMON LLP             þ Contingent
           693 EAST AVENUE
           ROCHESTER NY 14607                                þ Unliquidated
                                                             þ Disputed
           Date or dates debt was incurred                   Basis for the claim:
           VARIOUS                                           CIVIL ACTION NO. 6:15-CV-06742
                                                             PENDING LITIGATION
           Last 4 digits of account number:
                                                             Is the claim subject to offset?

                                                             þ No
                                                             ¨ Yes

3.168.     Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                             Check all that apply.
           BENDER, CATHY BERLIEN                                                                             UNDETERMINED
           J. NELSON THOMAS THOMAS & SOLOMON LLP             þ Contingent
           693 EAST AVENUE
           ROCHESTER NY 14607                                þ Unliquidated
                                                             þ Disputed
           Date or dates debt was incurred                   Basis for the claim:
           VARIOUS                                           CIVIL ACTION NO. 6:15-CV-06742
                                                             PENDING LITIGATION
           Last 4 digits of account number:
                                                             Is the claim subject to offset?

                                                             þ No
                                                             ¨ Yes




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3.169.     Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                             Check all that apply.
           BENDIN SUMRALL & LADNER LLC                                                                       $560.00
           1360 PEACHTREE STREET, STE. 800                   ¨ Contingent
           ATLANTA GA 30309
                                                             ¨ Unliquidated
                                                             ¨ Disputed
           Date or dates debt was incurred                   Basis for the claim:
           VARIOUS                                           LEGAL
           Last 4 digits of account number:                  Is the claim subject to offset?

                                                             þ No
                                                             ¨ Yes

3.170.     Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                             Check all that apply.
           BENSON , MARAN                                                                                    UNDETERMINED
                                                             þ Contingent
                                                             þ Unliquidated
                                                             þ Disputed
           Date or dates debt was incurred                   Basis for the claim:
           VARIOUS                                           GENERAL LIABILITY CLAIMS
           Last 4 digits of account number:                  Is the claim subject to offset?

                                                             þ No
                                                             ¨ Yes

3.171.     Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                             Check all that apply.
           BENSON, KACEE DANIELLE                                                                            UNDETERMINED
           J. NELSON THOMAS THOMAS & SOLOMON LLP             þ Contingent
           693 EAST AVENUE
           ROCHESTER NY 14607                                þ Unliquidated
                                                             þ Disputed
           Date or dates debt was incurred                   Basis for the claim:
           VARIOUS                                           CIVIL ACTION NO. 6:15-CV-06742
                                                             PENDING LITIGATION
           Last 4 digits of account number:
                                                             Is the claim subject to offset?

                                                             þ No
                                                             ¨ Yes




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3.172.     Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                             Check all that apply.
           BENSON, MARAN                                                                                     UNDETERMINED
           LAURA MARLE HUNT ESQ                              þ Contingent
                                                             þ Unliquidated
                                                             þ Disputed
           Date or dates debt was incurred                   Basis for the claim:
           VARIOUS                                           CASE NO. A-15-724314-C
                                                             PENDING LITIGATION
           Last 4 digits of account number:
                                                             Is the claim subject to offset?

                                                             þ No
                                                             ¨ Yes

3.173.     Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                             Check all that apply.
           BERGSTROM, JACOB MICHOLE                                                                          UNDETERMINED
           J. NELSON THOMAS THOMAS & SOLOMON LLP             þ Contingent
           693 EAST AVENUE
           ROCHESTER NY 14607                                þ Unliquidated
                                                             þ Disputed
           Date or dates debt was incurred                   Basis for the claim:
           VARIOUS                                           CIVIL ACTION NO. 6:15-CV-06742
                                                             PENDING LITIGATION
           Last 4 digits of account number:
                                                             Is the claim subject to offset?

                                                             þ No
                                                             ¨ Yes

3.174.     Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                             Check all that apply.
           BERGSTROM, JACOB MICHOLE                                                                          UNDETERMINED
           J. NELSON THOMAS THOMAS & SOLOMON LLP             þ Contingent
           693 EAST AVENUE
           ROCHESTER NY 14607                                þ Unliquidated
                                                             þ Disputed
           Date or dates debt was incurred                   Basis for the claim:
           VARIOUS                                           CIVIL ACTION NO. 6:15-CV-06742
                                                             PENDING LITIGATION
           Last 4 digits of account number:
                                                             Is the claim subject to offset?

                                                             þ No
                                                             ¨ Yes




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3.175.     Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                             Check all that apply.
           BERGSTROM, JARED WILLIAM                                                                          UNDETERMINED
           J. NELSON THOMAS THOMAS & SOLOMON LLP             þ Contingent
           693 EAST AVENUE
           ROCHESTER NY 14607                                þ Unliquidated
                                                             þ Disputed
           Date or dates debt was incurred                   Basis for the claim:
           VARIOUS                                           CIVIL ACTION NO. 6:15-CV-06742
                                                             PENDING LITIGATION
           Last 4 digits of account number:
                                                             Is the claim subject to offset?

                                                             þ No
                                                             ¨ Yes

3.176.     Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                             Check all that apply.
           BERGSTROM, JARED WILLIAM                                                                          UNDETERMINED
           J. NELSON THOMAS THOMAS & SOLOMON LLP             þ Contingent
           693 EAST AVENUE
           ROCHESTER NY 14607                                þ Unliquidated
                                                             þ Disputed
           Date or dates debt was incurred                   Basis for the claim:
           VARIOUS                                           CIVIL ACTION NO. 6:15-CV-06742
                                                             PENDING LITIGATION
           Last 4 digits of account number:
                                                             Is the claim subject to offset?

                                                             þ No
                                                             ¨ Yes

3.177.     Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                             Check all that apply.
           BERNHARDT, JORDAN                                                                                 UNDETERMINED
           J. NELSON THOMAS THOMAS & SOLOMON LLP             þ Contingent
           693 EAST AVENUE
           ROCHESTER NY 14607                                þ Unliquidated
                                                             þ Disputed
           Date or dates debt was incurred                   Basis for the claim:
           VARIOUS                                           CIVIL ACTION NO. 6:15-CV-06742
                                                             PENDING LITIGATION
           Last 4 digits of account number:
                                                             Is the claim subject to offset?

                                                             þ No
                                                             ¨ Yes




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3.178.     Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                             Check all that apply.
           BEST, BRIAN STEVEN                                                                                UNDETERMINED
           J. NELSON THOMAS THOMAS & SOLOMON LLP             þ Contingent
           693 EAST AVENUE
           ROCHESTER NY 14607                                þ Unliquidated
                                                             þ Disputed
           Date or dates debt was incurred                   Basis for the claim:
           VARIOUS                                           CIVIL ACTION NO. 6:15-CV-06742
                                                             PENDING LITIGATION
           Last 4 digits of account number:
                                                             Is the claim subject to offset?

                                                             þ No
                                                             ¨ Yes

3.179.     Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                             Check all that apply.
           BETANCOURT, REBECCA ANN                                                                           UNDETERMINED
           J. NELSON THOMAS THOMAS & SOLOMON LLP             þ Contingent
           693 EAST AVENUE
           ROCHESTER NY 14607                                þ Unliquidated
                                                             þ Disputed
           Date or dates debt was incurred                   Basis for the claim:
           VARIOUS                                           CIVIL ACTION NO. 6:15-CV-06742
                                                             PENDING LITIGATION
           Last 4 digits of account number:
                                                             Is the claim subject to offset?

                                                             þ No
                                                             ¨ Yes

3.180.     Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                             Check all that apply.
           BETHANCOURT, HEATHER ANNE                                                                         UNDETERMINED
           J. NELSON THOMAS THOMAS & SOLOMON LLP             þ Contingent
           693 EAST AVENUE
           ROCHESTER NY 14607                                þ Unliquidated
                                                             þ Disputed
           Date or dates debt was incurred                   Basis for the claim:
           VARIOUS                                           CIVIL ACTION NO. 6:15-CV-06742
                                                             PENDING LITIGATION
           Last 4 digits of account number:
                                                             Is the claim subject to offset?

                                                             þ No
                                                             ¨ Yes




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3.181.     Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                             Check all that apply.
           BETTS, PATRICIA                                                                                   UNDETERMINED
                                                             þ Contingent
                                                             þ Unliquidated
                                                             þ Disputed
           Date or dates debt was incurred                   Basis for the claim:
           VARIOUS                                           GENERAL LIABILITY CLAIMS
           Last 4 digits of account number:                  Is the claim subject to offset?

                                                             þ No
                                                             ¨ Yes

3.182.     Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                             Check all that apply.
           BEVIS, CHRISTOPHER IAN                                                                            UNDETERMINED
           J. NELSON THOMAS THOMAS & SOLOMON LLP             þ Contingent
           693 EAST AVENUE
           ROCHESTER NY 14607                                þ Unliquidated
                                                             þ Disputed
           Date or dates debt was incurred                   Basis for the claim:
           VARIOUS                                           CIVIL ACTION NO. 6:15-CV-06742
                                                             PENDING LITIGATION
           Last 4 digits of account number:
                                                             Is the claim subject to offset?

                                                             þ No
                                                             ¨ Yes

3.183.     Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                             Check all that apply.
           BEZRUKOVA, IRINA                                                                                  UNDETERMINED
           J. NELSON THOMAS THOMAS & SOLOMON LLP             þ Contingent
           693 EAST AVENUE
           ROCHESTER NY 14607                                þ Unliquidated
                                                             þ Disputed
           Date or dates debt was incurred                   Basis for the claim:
           VARIOUS                                           CIVIL ACTION NO. 6:15-CV-06742
                                                             PENDING LITIGATION
           Last 4 digits of account number:
                                                             Is the claim subject to offset?

                                                             þ No
                                                             ¨ Yes




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3.184.     Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                             Check all that apply.
           BGHIGH, HANAE                                                                                     UNDETERMINED
           ADAM CRIACO, CRIACO & ASSOC                       þ Contingent
                                                             þ Unliquidated
                                                             þ Disputed
           Date or dates debt was incurred                   Basis for the claim:
           VARIOUS                                           CAUSE NO. 2017-03317 PENDING
                                                             LITIGATION
           Last 4 digits of account number:
                                                             Is the claim subject to offset?

                                                             þ No
                                                             ¨ Yes

3.185.     Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                             Check all that apply.
           BHAM, OMAR MASOOM                                                                                 UNDETERMINED
           J. NELSON THOMAS THOMAS & SOLOMON LLP             þ Contingent
           693 EAST AVENUE
           ROCHESTER NY 14607                                þ Unliquidated
                                                             þ Disputed
           Date or dates debt was incurred                   Basis for the claim:
           VARIOUS                                           CIVIL ACTION NO. 6:15-CV-06742
                                                             PENDING LITIGATION
           Last 4 digits of account number:
                                                             Is the claim subject to offset?

                                                             þ No
                                                             ¨ Yes

3.186.     Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                             Check all that apply.
           BHASKAR, MANISH                                                                                   UNDETERMINED
                                                             þ Contingent
                                                             þ Unliquidated
                                                             þ Disputed
           Date or dates debt was incurred                   Basis for the claim:
           VARIOUS                                           GENERAL LIABILITY CLAIMS
           Last 4 digits of account number:                  Is the claim subject to offset?

                                                             þ No
                                                             ¨ Yes




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3.187.     Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                             Check all that apply.
           BILCHIK, ADAM J.                                                                                  UNDETERMINED
           J. NELSON THOMAS THOMAS & SOLOMON LLP             þ Contingent
           693 EAST AVENUE
           ROCHESTER NY 14607                                þ Unliquidated
                                                             þ Disputed
           Date or dates debt was incurred                   Basis for the claim:
           VARIOUS                                           CIVIL ACTION NO. 6:15-CV-06742
                                                             PENDING LITIGATION
           Last 4 digits of account number:
                                                             Is the claim subject to offset?

                                                             þ No
                                                             ¨ Yes

3.188.     Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                             Check all that apply.
           BILL STUBBS AND CO                                                                                UNDETERMINED
           RICK RUSSELL                                      þ Contingent
           4216 NORTH PORTLAND AVE STE 101
           OKLAHOMA CITY OK 73112                            þ Unliquidated
                                                             þ Disputed
           Date or dates debt was incurred                   Basis for the claim:
           VARIOUS                                           LANDLORD CLAIM
           Last 4 digits of account number:                  Is the claim subject to offset?

                                                             þ No
                                                             ¨ Yes

3.189.     Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                             Check all that apply.
           BILZIN SUMBERG BAENA PRICE & AXELROD                                                              $2,021.25
           LLP                                               ¨ Contingent
           1450 BRICKELL AVENUE, STE 2300
           MIAMI FL 33131                                    ¨ Unliquidated
                                                             ¨ Disputed
           Date or dates debt was incurred                   Basis for the claim:
           VARIOUS                                           LEGAL
           Last 4 digits of account number:                  Is the claim subject to offset?

                                                             þ No
                                                             ¨ Yes




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3.190.     Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                             Check all that apply.
           BISHOP, MARIA LE ANN COBB                                                                         UNDETERMINED
           J. NELSON THOMAS THOMAS & SOLOMON LLP             þ Contingent
           693 EAST AVENUE
           ROCHESTER NY 14607                                þ Unliquidated
                                                             þ Disputed
           Date or dates debt was incurred                   Basis for the claim:
           VARIOUS                                           CIVIL ACTION NO. 6:15-CV-06742
                                                             PENDING LITIGATION
           Last 4 digits of account number:
                                                             Is the claim subject to offset?

                                                             þ No
                                                             ¨ Yes

3.191.     Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                             Check all that apply.
           BI-STATE PROPANE                                                                                  $10.83
           PO BOX 7155                                       ¨ Contingent
           PASADENA CA 91109
                                                             ¨ Unliquidated
                                                             ¨ Disputed
           Date or dates debt was incurred                   Basis for the claim:
           VARIOUS                                           TRADE ACCOUNTS PAYABLE
           Last 4 digits of account number:                  Is the claim subject to offset?

                                                             þ No
                                                             ¨ Yes

3.192.     Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                             Check all that apply.
           BJORKLUND, GEOFFREY RYAN                                                                          UNDETERMINED
           J. NELSON THOMAS THOMAS & SOLOMON LLP             þ Contingent
           693 EAST AVENUE
           ROCHESTER NY 14607                                þ Unliquidated
                                                             þ Disputed
           Date or dates debt was incurred                   Basis for the claim:
           VARIOUS                                           CIVIL ACTION NO. 6:15-CV-06742
                                                             PENDING LITIGATION
           Last 4 digits of account number:
                                                             Is the claim subject to offset?

                                                             þ No
                                                             ¨ Yes




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3.193.     Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                             Check all that apply.
           BLACK, ALLISON NICHOLE                                                                            UNDETERMINED
           J. NELSON THOMAS THOMAS & SOLOMON LLP             þ Contingent
           693 EAST AVENUE
           ROCHESTER NY 14607                                þ Unliquidated
                                                             þ Disputed
           Date or dates debt was incurred                   Basis for the claim:
           VARIOUS                                           CIVIL ACTION NO. 6:15-CV-06742
                                                             PENDING LITIGATION
           Last 4 digits of account number:
                                                             Is the claim subject to offset?

                                                             þ No
                                                             ¨ Yes

3.194.     Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                             Check all that apply.
           BLACK, ALLISON NICHOLE                                                                            UNDETERMINED
           J. NELSON THOMAS THOMAS & SOLOMON LLP             þ Contingent
           693 EAST AVENUE
           ROCHESTER NY 14607                                þ Unliquidated
                                                             þ Disputed
           Date or dates debt was incurred                   Basis for the claim:
           VARIOUS                                           CIVIL ACTION NO. 6:15-CV-06742
                                                             PENDING LITIGATION
           Last 4 digits of account number:
                                                             Is the claim subject to offset?

                                                             þ No
                                                             ¨ Yes

3.195.     Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                             Check all that apply.
           BLACK-GREENING, ARIEL LYNN                                                                        UNDETERMINED
           J. NELSON THOMAS THOMAS & SOLOMON LLP             þ Contingent
           693 EAST AVENUE
           ROCHESTER NY 14607                                þ Unliquidated
                                                             þ Disputed
           Date or dates debt was incurred                   Basis for the claim:
           VARIOUS                                           CIVIL ACTION NO. 6:15-CV-06742
                                                             PENDING LITIGATION
           Last 4 digits of account number:
                                                             Is the claim subject to offset?

                                                             þ No
                                                             ¨ Yes




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3.196.     Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                             Check all that apply.
           BLAKESLEE, RENEE ANNETTE                                                                          UNDETERMINED
           J. NELSON THOMAS THOMAS & SOLOMON LLP             þ Contingent
           693 EAST AVENUE
           ROCHESTER NY 14607                                þ Unliquidated
                                                             þ Disputed
           Date or dates debt was incurred                   Basis for the claim:
           VARIOUS                                           CIVIL ACTION NO. 6:15-CV-06742
                                                             PENDING LITIGATION
           Last 4 digits of account number:
                                                             Is the claim subject to offset?

                                                             þ No
                                                             ¨ Yes

3.197.     Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                             Check all that apply.
           BLAND, BRYAN                                                                                      UNDETERMINED
           J. NELSON THOMAS THOMAS & SOLOMON LLP             þ Contingent
           693 EAST AVENUE
           ROCHESTER NY 14607                                þ Unliquidated
                                                             þ Disputed
           Date or dates debt was incurred                   Basis for the claim:
           VARIOUS                                           CIVIL ACTION NO. 6:15-CV-06742
                                                             PENDING LITIGATION
           Last 4 digits of account number:
                                                             Is the claim subject to offset?

                                                             þ No
                                                             ¨ Yes

3.198.     Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                             Check all that apply.
           BLAUGRUND HAYNES KESSLER MYERS &                                                                  $958.87
           POSTALAKIS INC                                    ¨ Contingent
           300 W. WILSON BRIDGE ROAD
           SUITE 100                                         ¨ Unliquidated
           WORTHINGTON OH 43085                              ¨ Disputed
           Date or dates debt was incurred                   Basis for the claim:
           VARIOUS                                           LEGAL
           Last 4 digits of account number:                  Is the claim subject to offset?

                                                             þ No
                                                             ¨ Yes




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3.199.     Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                             Check all that apply.
           BLK220 LLC                                                                                        UNDETERMINED
           MARK WITKIEWICZ                                   þ Contingent
           1404 LARIMER ST STE 300
           DENVER CO 80538                                   þ Unliquidated
                                                             þ Disputed
           Date or dates debt was incurred                   Basis for the claim:
           VARIOUS                                           LANDLORD CLAIM
           Last 4 digits of account number:                  Is the claim subject to offset?

                                                             þ No
                                                             ¨ Yes

3.200.     Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                             Check all that apply.
           BOAS LAGUNA VILLAGE LLC                                                                           UNDETERMINED
           REGENCY MANAGEMENT                                þ Contingent
           JEANNE LICARI
           15260 VENTURA BLVD STE 1705                       þ Unliquidated
           SHERMAN OAKS CA 91403                             þ Disputed
           Date or dates debt was incurred                   Basis for the claim:
           VARIOUS                                           LANDLORD CLAIM
           Last 4 digits of account number:                  Is the claim subject to offset?

                                                             þ No
                                                             ¨ Yes

3.201.     Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                             Check all that apply.
           BOCK, BRIONNA                                                                                     UNDETERMINED
                                                             þ Contingent
                                                             þ Unliquidated
                                                             þ Disputed
           Date or dates debt was incurred                   Basis for the claim:
           VARIOUS                                           GENERAL LIABILITY CLAIMS
           Last 4 digits of account number:                  Is the claim subject to offset?

                                                             þ No
                                                             ¨ Yes




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3.202.     Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                             Check all that apply.
           BOFILIOS, IRENE HELEN                                                                             UNDETERMINED
           J. NELSON THOMAS THOMAS & SOLOMON LLP             þ Contingent
           693 EAST AVENUE
           ROCHESTER NY 14607                                þ Unliquidated
                                                             þ Disputed
           Date or dates debt was incurred                   Basis for the claim:
           VARIOUS                                           CIVIL ACTION NO. 6:15-CV-06742
                                                             PENDING LITIGATION
           Last 4 digits of account number:
                                                             Is the claim subject to offset?

                                                             þ No
                                                             ¨ Yes

3.203.     Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                             Check all that apply.
           BOGDAN, CATHERINE                                                                                 UNDETERMINED
           J. NELSON THOMAS THOMAS & SOLOMON LLP             þ Contingent
           693 EAST AVENUE
           ROCHESTER NY 14607                                þ Unliquidated
                                                             þ Disputed
           Date or dates debt was incurred                   Basis for the claim:
           VARIOUS                                           CIVIL ACTION NO. 6:15-CV-06742
                                                             PENDING LITIGATION
           Last 4 digits of account number:
                                                             Is the claim subject to offset?

                                                             þ No
                                                             ¨ Yes

3.204.     Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                             Check all that apply.
           BOGROFF, TIFFANI C.                                                                               UNDETERMINED
           J. NELSON THOMAS THOMAS & SOLOMON LLP             þ Contingent
           693 EAST AVENUE
           ROCHESTER NY 14607                                þ Unliquidated
                                                             þ Disputed
           Date or dates debt was incurred                   Basis for the claim:
           VARIOUS                                           CIVIL ACTION NO. 6:15-CV-06742
                                                             PENDING LITIGATION
           Last 4 digits of account number:
                                                             Is the claim subject to offset?

                                                             þ No
                                                             ¨ Yes




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3.205.     Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                             Check all that apply.
           BOGUS, STEVEN CHARLES                                                                             UNDETERMINED
           J. NELSON THOMAS THOMAS & SOLOMON LLP             þ Contingent
           693 EAST AVENUE
           ROCHESTER NY 14607                                þ Unliquidated
                                                             þ Disputed
           Date or dates debt was incurred                   Basis for the claim:
           VARIOUS                                           CIVIL ACTION NO. 6:15-CV-06742
                                                             PENDING LITIGATION
           Last 4 digits of account number:
                                                             Is the claim subject to offset?

                                                             þ No
                                                             ¨ Yes

3.206.     Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                             Check all that apply.
           BOJORQUEZ, JONATHAN                                                                               UNDETERMINED
           J. NELSON THOMAS THOMAS & SOLOMON LLP             þ Contingent
           693 EAST AVENUE
           ROCHESTER NY 14607                                þ Unliquidated
                                                             þ Disputed
           Date or dates debt was incurred                   Basis for the claim:
           VARIOUS                                           CIVIL ACTION NO. 6:15-CV-06742
                                                             PENDING LITIGATION
           Last 4 digits of account number:
                                                             Is the claim subject to offset?

                                                             þ No
                                                             ¨ Yes

3.207.     Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                             Check all that apply.
           BOJORQUEZ, JONATHAN LUIS                                                                          UNDETERMINED
           J. NELSON THOMAS THOMAS & SOLOMON LLP             þ Contingent
           693 EAST AVENUE
           ROCHESTER NY 14607                                þ Unliquidated
                                                             þ Disputed
           Date or dates debt was incurred                   Basis for the claim:
           VARIOUS                                           CIVIL ACTION NO. 6:15-CV-06742
                                                             PENDING LITIGATION
           Last 4 digits of account number:
                                                             Is the claim subject to offset?

                                                             þ No
                                                             ¨ Yes




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3.208.     Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                             Check all that apply.
           BOND, ASHLEY MARIE                                                                                UNDETERMINED
           J. NELSON THOMAS THOMAS & SOLOMON LLP             þ Contingent
           693 EAST AVENUE
           ROCHESTER NY 14607                                þ Unliquidated
                                                             þ Disputed
           Date or dates debt was incurred                   Basis for the claim:
           VARIOUS                                           CIVIL ACTION NO. 6:15-CV-06742
                                                             PENDING LITIGATION
           Last 4 digits of account number:
                                                             Is the claim subject to offset?

                                                             þ No
                                                             ¨ Yes

3.209.     Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                             Check all that apply.
           BONNER, JR., ARZELL MARVIN                                                                        UNDETERMINED
           J. NELSON THOMAS THOMAS & SOLOMON LLP             þ Contingent
           693 EAST AVENUE
           ROCHESTER NY 14607                                þ Unliquidated
                                                             þ Disputed
           Date or dates debt was incurred                   Basis for the claim:
           VARIOUS                                           CIVIL ACTION NO. 6:15-CV-06742
                                                             PENDING LITIGATION
           Last 4 digits of account number:
                                                             Is the claim subject to offset?

                                                             þ No
                                                             ¨ Yes

3.210.     Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                             Check all that apply.
           BOOMER, CHERYL FERNE                                                                              UNDETERMINED
           J. NELSON THOMAS THOMAS & SOLOMON LLP             þ Contingent
           693 EAST AVENUE
           ROCHESTER NY 14607                                þ Unliquidated
                                                             þ Disputed
           Date or dates debt was incurred                   Basis for the claim:
           VARIOUS                                           CIVIL ACTION NO. 6:15-CV-06742
                                                             PENDING LITIGATION
           Last 4 digits of account number:
                                                             Is the claim subject to offset?

                                                             þ No
                                                             ¨ Yes




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Debtor   MAC ACQUISITION LLC                                                                                 Case number (if known) 17-12224




3.211.     Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                             Check all that apply.
           BORDERS, KELLY M.                                                                                 UNDETERMINED
           J. NELSON THOMAS THOMAS & SOLOMON LLP             þ Contingent
           693 EAST AVENUE
           ROCHESTER NY 14607                                þ Unliquidated
                                                             þ Disputed
           Date or dates debt was incurred                   Basis for the claim:
           VARIOUS                                           CIVIL ACTION NO. 6:15-CV-06742
                                                             PENDING LITIGATION
           Last 4 digits of account number:
                                                             Is the claim subject to offset?

                                                             þ No
                                                             ¨ Yes

3.212.     Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                             Check all that apply.
           BOSCO, MICHELE                                                                                    UNDETERMINED
                                                             þ Contingent
                                                             þ Unliquidated
                                                             þ Disputed
           Date or dates debt was incurred                   Basis for the claim:
           VARIOUS                                           GENERAL LIABILITY CLAIMS
           Last 4 digits of account number:                  Is the claim subject to offset?

                                                             þ No
                                                             ¨ Yes

3.213.     Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                             Check all that apply.
           BOTTA, COURTNEY A.                                                                                UNDETERMINED
           J. NELSON THOMAS THOMAS & SOLOMON LLP             þ Contingent
           693 EAST AVENUE
           ROCHESTER NY 14607                                þ Unliquidated
                                                             þ Disputed
           Date or dates debt was incurred                   Basis for the claim:
           VARIOUS                                           CIVIL ACTION NO. 6:15-CV-06742
                                                             PENDING LITIGATION
           Last 4 digits of account number:
                                                             Is the claim subject to offset?

                                                             þ No
                                                             ¨ Yes




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3.214.     Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                             Check all that apply.
           BOTTA, TAYLOR MADISON                                                                             UNDETERMINED
           J. NELSON THOMAS THOMAS & SOLOMON LLP             þ Contingent
           693 EAST AVENUE
           ROCHESTER NY 14607                                þ Unliquidated
                                                             þ Disputed
           Date or dates debt was incurred                   Basis for the claim:
           VARIOUS                                           CIVIL ACTION NO. 6:15-CV-06742
                                                             PENDING LITIGATION
           Last 4 digits of account number:
                                                             Is the claim subject to offset?

                                                             þ No
                                                             ¨ Yes

3.215.     Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                             Check all that apply.
           BOTTOMS, CHRISTINA LEIGH                                                                          UNDETERMINED
           J. NELSON THOMAS THOMAS & SOLOMON LLP             þ Contingent
           693 EAST AVENUE
           ROCHESTER NY 14607                                þ Unliquidated
                                                             þ Disputed
           Date or dates debt was incurred                   Basis for the claim:
           VARIOUS                                           CIVIL ACTION NO. 6:15-CV-06742
                                                             PENDING LITIGATION
           Last 4 digits of account number:
                                                             Is the claim subject to offset?

                                                             þ No
                                                             ¨ Yes

3.216.     Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                             Check all that apply.
           BOULAIS, CHRISTOPHER ROBERT                                                                       UNDETERMINED
           J. NELSON THOMAS THOMAS & SOLOMON LLP             þ Contingent
           693 EAST AVENUE
           ROCHESTER NY 14607                                þ Unliquidated
                                                             þ Disputed
           Date or dates debt was incurred                   Basis for the claim:
           VARIOUS                                           CIVIL ACTION NO. 6:15-CV-06742
                                                             PENDING LITIGATION
           Last 4 digits of account number:
                                                             Is the claim subject to offset?

                                                             þ No
                                                             ¨ Yes




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3.217.     Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                             Check all that apply.
           BOULTON, CALEB JAMES                                                                              UNDETERMINED
           J. NELSON THOMAS THOMAS & SOLOMON LLP             þ Contingent
           693 EAST AVENUE
           ROCHESTER NY 14607                                þ Unliquidated
                                                             þ Disputed
           Date or dates debt was incurred                   Basis for the claim:
           VARIOUS                                           CIVIL ACTION NO. 6:15-CV-06742
                                                             PENDING LITIGATION
           Last 4 digits of account number:
                                                             Is the claim subject to offset?

                                                             þ No
                                                             ¨ Yes

3.218.     Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                             Check all that apply.
           BOWERS, JAKE                                                                                      UNDETERMINED
           J. NELSON THOMAS THOMAS & SOLOMON LLP             þ Contingent
           693 EAST AVENUE
           ROCHESTER NY 14607                                þ Unliquidated
                                                             þ Disputed
           Date or dates debt was incurred                   Basis for the claim:
           VARIOUS                                           CIVIL ACTION NO. 6:15-CV-06742
                                                             PENDING LITIGATION
           Last 4 digits of account number:
                                                             Is the claim subject to offset?

                                                             þ No
                                                             ¨ Yes

3.219.     Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                             Check all that apply.
           BOWSER, BAYLEY JEANE                                                                              UNDETERMINED
           J. NELSON THOMAS THOMAS & SOLOMON LLP             þ Contingent
           693 EAST AVENUE
           ROCHESTER NY 14607                                þ Unliquidated
                                                             þ Disputed
           Date or dates debt was incurred                   Basis for the claim:
           VARIOUS                                           CIVIL ACTION NO. 6:15-CV-06742
                                                             PENDING LITIGATION
           Last 4 digits of account number:
                                                             Is the claim subject to offset?

                                                             þ No
                                                             ¨ Yes




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3.220.     Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                             Check all that apply.
           BOY, LISA MICHELE                                                                                 UNDETERMINED
           J. NELSON THOMAS THOMAS & SOLOMON LLP             þ Contingent
           693 EAST AVENUE
           ROCHESTER NY 14607                                þ Unliquidated
                                                             þ Disputed
           Date or dates debt was incurred                   Basis for the claim:
           VARIOUS                                           CIVIL ACTION NO. 6:15-CV-06742
                                                             PENDING LITIGATION
           Last 4 digits of account number:
                                                             Is the claim subject to offset?

                                                             þ No
                                                             ¨ Yes

3.221.     Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                             Check all that apply.
           BOYCE, MELISSA A.                                                                                 UNDETERMINED
           J. NELSON THOMAS THOMAS & SOLOMON LLP             þ Contingent
           693 EAST AVENUE
           ROCHESTER NY 14607                                þ Unliquidated
                                                             þ Disputed
           Date or dates debt was incurred                   Basis for the claim:
           VARIOUS                                           CIVIL ACTION NO. 6:15-CV-06742
                                                             PENDING LITIGATION
           Last 4 digits of account number:
                                                             Is the claim subject to offset?

                                                             þ No
                                                             ¨ Yes

3.222.     Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                             Check all that apply.
           BOYD, ANTHONY                                                                                     UNDETERMINED
           J. NELSON THOMAS THOMAS & SOLOMON LLP             þ Contingent
           693 EAST AVENUE
           ROCHESTER NY 14607                                þ Unliquidated
                                                             þ Disputed
           Date or dates debt was incurred                   Basis for the claim:
           VARIOUS                                           CIVIL ACTION NO. 6:15-CV-06742
                                                             PENDING LITIGATION
           Last 4 digits of account number:
                                                             Is the claim subject to offset?

                                                             þ No
                                                             ¨ Yes




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3.223.     Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                             Check all that apply.
           BOYD, ASHLEY ELIZABETH                                                                            UNDETERMINED
           J. NELSON THOMAS THOMAS & SOLOMON LLP             þ Contingent
           693 EAST AVENUE
           ROCHESTER NY 14607                                þ Unliquidated
                                                             þ Disputed
           Date or dates debt was incurred                   Basis for the claim:
           VARIOUS                                           CIVIL ACTION NO. 6:15-CV-06742
                                                             PENDING LITIGATION
           Last 4 digits of account number:
                                                             Is the claim subject to offset?

                                                             þ No
                                                             ¨ Yes

3.224.     Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                             Check all that apply.
           BOYD, JR., ANTHONY TYRONE                                                                         UNDETERMINED
           J. NELSON THOMAS THOMAS & SOLOMON LLP             þ Contingent
           693 EAST AVENUE
           ROCHESTER NY 14607                                þ Unliquidated
                                                             þ Disputed
           Date or dates debt was incurred                   Basis for the claim:
           VARIOUS                                           CIVIL ACTION NO. 6:15-CV-06742
                                                             PENDING LITIGATION
           Last 4 digits of account number:
                                                             Is the claim subject to offset?

                                                             þ No
                                                             ¨ Yes

3.225.     Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                             Check all that apply.
           BOZARTH LOCK AND SAFE                                                                             $579.00
           PO BOX 2569                                       ¨ Contingent
           BAKERSFIELD CA 93303
                                                             ¨ Unliquidated
                                                             ¨ Disputed
           Date or dates debt was incurred                   Basis for the claim:
           VARIOUS                                           TRADE ACCOUNTS PAYABLE
           Last 4 digits of account number:                  Is the claim subject to offset?

                                                             þ No
                                                             ¨ Yes




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3.226.     Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                             Check all that apply.
           BRADFORD, HEATHER NOEL                                                                            UNDETERMINED
           J. NELSON THOMAS THOMAS & SOLOMON LLP             þ Contingent
           693 EAST AVENUE
           ROCHESTER NY 14607                                þ Unliquidated
                                                             þ Disputed
           Date or dates debt was incurred                   Basis for the claim:
           VARIOUS                                           CIVIL ACTION NO. 6:15-CV-06742
                                                             PENDING LITIGATION
           Last 4 digits of account number:
                                                             Is the claim subject to offset?

                                                             þ No
                                                             ¨ Yes

3.227.     Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                             Check all that apply.
           BRADSHAW, KELVIN EDWARD                                                                           UNDETERMINED
           J. NELSON THOMAS THOMAS & SOLOMON LLP             þ Contingent
           693 EAST AVENUE
           ROCHESTER NY 14607                                þ Unliquidated
                                                             þ Disputed
           Date or dates debt was incurred                   Basis for the claim:
           VARIOUS                                           CIVIL ACTION NO. 6:15-CV-06742
                                                             PENDING LITIGATION
           Last 4 digits of account number:
                                                             Is the claim subject to offset?

                                                             þ No
                                                             ¨ Yes

3.228.     Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                             Check all that apply.
           BRAGG, AMY VICTORIA                                                                               UNDETERMINED
           J. NELSON THOMAS THOMAS & SOLOMON LLP             þ Contingent
           693 EAST AVENUE
           ROCHESTER NY 14607                                þ Unliquidated
                                                             þ Disputed
           Date or dates debt was incurred                   Basis for the claim:
           VARIOUS                                           CIVIL ACTION NO. 6:15-CV-06742
                                                             PENDING LITIGATION
           Last 4 digits of account number:
                                                             Is the claim subject to offset?

                                                             þ No
                                                             ¨ Yes




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3.229.     Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                             Check all that apply.
           BRAND COMMERCIAL SERIVCES INC                                                                     $508.78
           414 E CHURCH STREET                               ¨ Contingent
           LEWISVILLE TX 75057
                                                             ¨ Unliquidated
                                                             ¨ Disputed
           Date or dates debt was incurred                   Basis for the claim:
           VARIOUS                                           TRADE ACCOUNTS PAYABLE
           Last 4 digits of account number:                  Is the claim subject to offset?

                                                             þ No
                                                             ¨ Yes

3.230.     Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                             Check all that apply.
           BRANDYWINE DEVELOPMENT GROUP, LLC                                                                 UNDETERMINED
           JEFFREY M. WEINER, ESQ.                           þ Contingent
           1332 KING STREET
           WILMINGTON DE 19801                               þ Unliquidated
                                                             þ Disputed
           Date or dates debt was incurred                   Basis for the claim:
           VARIOUS                                           CASE NO. N17C-08 PENDING REAL
                                                             ESTATE LITIGATION
           Last 4 digits of account number:
                                                             Is the claim subject to offset?

                                                             þ No
                                                             ¨ Yes

3.231.     Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                             Check all that apply.
           BRE RC LAS PALMAS MP TX LP                                                                        UNDETERMINED
           LINDA MADWAY                                      þ Contingent
           307 FELLOWSHIP RD STE 116
           MOUNT LAUREL NJ 08054                             þ Unliquidated
                                                             þ Disputed
           Date or dates debt was incurred                   Basis for the claim:
           VARIOUS                                           LANDLORD CLAIM
           Last 4 digits of account number:                  Is the claim subject to offset?

                                                             þ No
                                                             ¨ Yes




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3.232.     Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                             Check all that apply.
           BRE RETAIL RESIDUAL OWNER 1 LLC                                                                   UNDETERMINED
           OFFICE OF GENERAL COUNSEL PROPERTY                þ Contingent
           CHRISTOPHER BISHOP ASSOC GENERAL
           COUNSEL                                           þ Unliquidated
           420 LEXINGTON AVE 7TH FL
           NEW YORK NY 10170
                                                             þ Disputed
           Date or dates debt was incurred                   Basis for the claim:
           VARIOUS                                           LANDLORD CLAIM
           Last 4 digits of account number:                  Is the claim subject to offset?

                                                             þ No
                                                             ¨ Yes

3.233.     Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                             Check all that apply.
           BREWBAKER, ALYSSA                                                                                 UNDETERMINED
           J. NELSON THOMAS THOMAS & SOLOMON LLP             þ Contingent
           693 EAST AVENUE
           ROCHESTER NY 14607                                þ Unliquidated
                                                             þ Disputed
           Date or dates debt was incurred                   Basis for the claim:
           VARIOUS                                           CIVIL ACTION NO. 6:15-CV-06742
                                                             PENDING LITIGATION
           Last 4 digits of account number:
                                                             Is the claim subject to offset?

                                                             þ No
                                                             ¨ Yes

3.234.     Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                             Check all that apply.
           BREZEAL, CHRISTOPHER JOSHUA                                                                       UNDETERMINED
           J. NELSON THOMAS THOMAS & SOLOMON LLP             þ Contingent
           693 EAST AVENUE
           ROCHESTER NY 14607                                þ Unliquidated
                                                             þ Disputed
           Date or dates debt was incurred                   Basis for the claim:
           VARIOUS                                           CIVIL ACTION NO. 6:15-CV-06742
                                                             PENDING LITIGATION
           Last 4 digits of account number:
                                                             Is the claim subject to offset?

                                                             þ No
                                                             ¨ Yes




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3.235.     Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                             Check all that apply.
           BRIARWOOD LLC                                                                                     UNDETERMINED
           SIMON PROPERTY GROUP                              þ Contingent
           IDA HENDRIX PROPERTY MANAGER
           225 W WASHINGTON ST                               þ Unliquidated
           INDIANAPOLIS IN 46204                             þ Disputed
           Date or dates debt was incurred                   Basis for the claim:
           VARIOUS                                           LANDLORD CLAIM
           Last 4 digits of account number:                  Is the claim subject to offset?

                                                             þ No
                                                             ¨ Yes

3.236.     Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                             Check all that apply.
           BRIDGES, EMILY MARIE                                                                              UNDETERMINED
           J. NELSON THOMAS THOMAS & SOLOMON LLP             þ Contingent
           693 EAST AVENUE
           ROCHESTER NY 14607                                þ Unliquidated
                                                             þ Disputed
           Date or dates debt was incurred                   Basis for the claim:
           VARIOUS                                           CIVIL ACTION NO. 6:15-CV-06742
                                                             PENDING LITIGATION
           Last 4 digits of account number:
                                                             Is the claim subject to offset?

                                                             þ No
                                                             ¨ Yes

3.237.     Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                             Check all that apply.
           BRINGHURST, RONETTE                                                                               UNDETERMINED
           J. NELSON THOMAS THOMAS & SOLOMON LLP             þ Contingent
           693 EAST AVENUE
           ROCHESTER NY 14607                                þ Unliquidated
                                                             þ Disputed
           Date or dates debt was incurred                   Basis for the claim:
           VARIOUS                                           CIVIL ACTION NO. 6:15-CV-06742
                                                             PENDING LITIGATION
           Last 4 digits of account number:
                                                             Is the claim subject to offset?

                                                             þ No
                                                             ¨ Yes




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3.238.     Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                             Check all that apply.
           BRINKER ARKANSAS INC                                                                              UNDETERMINED
           GENERAL COUNSEL                                   þ Contingent
           DENISE MOORE VP PROPERTY MNGMT
           6820 LBJ FWY                                      þ Unliquidated
           DALLAS TX 75240                                   þ Disputed
           Date or dates debt was incurred                   Basis for the claim:
           VARIOUS                                           LANDLORD CLAIM
           Last 4 digits of account number:                  Is the claim subject to offset?

                                                             þ No
                                                             ¨ Yes

3.239.     Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                             Check all that apply.
           BRINKER NEW JERSEY INC                                                                            UNDETERMINED
           GENERAL COUNSEL                                   þ Contingent
           DENISE MOORE VP PROPERTY MNGMT
           6820 LBJ FWY                                      þ Unliquidated
           DALLAS TX 75240                                   þ Disputed
           Date or dates debt was incurred                   Basis for the claim:
           VARIOUS                                           LANDLORD CLAIM
           Last 4 digits of account number:                  Is the claim subject to offset?

                                                             þ No
                                                             ¨ Yes

3.240.     Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                             Check all that apply.
           BRITO, EMILY SILVIA                                                                               UNDETERMINED
           J. NELSON THOMAS THOMAS & SOLOMON LLP             þ Contingent
           693 EAST AVENUE
           ROCHESTER NY 14607                                þ Unliquidated
                                                             þ Disputed
           Date or dates debt was incurred                   Basis for the claim:
           VARIOUS                                           CIVIL ACTION NO. 6:15-CV-06742
                                                             PENDING LITIGATION
           Last 4 digits of account number:
                                                             Is the claim subject to offset?

                                                             þ No
                                                             ¨ Yes




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3.241.     Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                             Check all that apply.
           BRIXMOR GA SPRINGDALE                                                                             UNDETERMINED
           MOBILE LMITED PARTNERSHIP                         þ Contingent
           BRIXMOR PROPERTY GROUP BOB ATCHISON
           PROPERTY MANAGER                                  þ Unliquidated
           420 LEXINGTON AVE 7TH FL
           NEW YORK NY 10170
                                                             þ Disputed
           Date or dates debt was incurred                   Basis for the claim:
           VARIOUS                                           LANDLORD CLAIM
           Last 4 digits of account number:                  Is the claim subject to offset?

                                                             þ No
                                                             ¨ Yes

3.242.     Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                             Check all that apply.
           BRIXTON SHERWOOD LLC                                                                              UNDETERMINED
           CRAIG PETTITT                                     þ Contingent
           120 S SIERRA AVE STE 200
           SOLANA BEACH CA 92014                             þ Unliquidated
                                                             þ Disputed
           Date or dates debt was incurred                   Basis for the claim:
           VARIOUS                                           LANDLORD CLAIM
           Last 4 digits of account number:                  Is the claim subject to offset?

                                                             þ No
                                                             ¨ Yes

3.243.     Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                             Check all that apply.
           BROADSPIRE SERVICES INC.                                                                          $3,500.00
           PO BOX 404325                                     ¨ Contingent
           ATLANTA GA 30384
                                                             ¨ Unliquidated
                                                             ¨ Disputed
           Date or dates debt was incurred                   Basis for the claim:
           VARIOUS                                           TRADE ACCOUNTS PAYABLE
           Last 4 digits of account number:                  Is the claim subject to offset?

                                                             þ No
                                                             ¨ Yes




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3.244.     Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                             Check all that apply.
           BROMLEY PARTS AND SERVICE INC                                                                     $590.24
           PO BOX 539                                        ¨ Contingent
           LITTLE ROCK AR 72203
                                                             ¨ Unliquidated
                                                             ¨ Disputed
           Date or dates debt was incurred                   Basis for the claim:
           VARIOUS                                           TRADE ACCOUNTS PAYABLE
           Last 4 digits of account number:                  Is the claim subject to offset?

                                                             þ No
                                                             ¨ Yes

3.245.     Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                             Check all that apply.
           BROOKINS, MATTHEW S.                                                                              UNDETERMINED
           J. NELSON THOMAS THOMAS & SOLOMON LLP             þ Contingent
           693 EAST AVENUE
           ROCHESTER NY 14607                                þ Unliquidated
                                                             þ Disputed
           Date or dates debt was incurred                   Basis for the claim:
           VARIOUS                                           CIVIL ACTION NO. 6:15-CV-06742
                                                             PENDING LITIGATION
           Last 4 digits of account number:
                                                             Is the claim subject to offset?

                                                             þ No
                                                             ¨ Yes

3.246.     Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                             Check all that apply.
           BROOKS, MEGAN MICHELLE                                                                            UNDETERMINED
           J. NELSON THOMAS THOMAS & SOLOMON LLP             þ Contingent
           693 EAST AVENUE
           ROCHESTER NY 14607                                þ Unliquidated
                                                             þ Disputed
           Date or dates debt was incurred                   Basis for the claim:
           VARIOUS                                           CIVIL ACTION NO. 6:15-CV-06742
                                                             PENDING LITIGATION
           Last 4 digits of account number:
                                                             Is the claim subject to offset?

                                                             þ No
                                                             ¨ Yes




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3.247.     Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                             Check all that apply.
           BROOKS, TABITHA                                                                                   UNDETERMINED
           J. NELSON THOMAS THOMAS & SOLOMON LLP             þ Contingent
           693 EAST AVENUE
           ROCHESTER NY 14607                                þ Unliquidated
                                                             þ Disputed
           Date or dates debt was incurred                   Basis for the claim:
           VARIOUS                                           CIVIL ACTION NO. 6:15-CV-06742
                                                             PENDING LITIGATION
           Last 4 digits of account number:
                                                             Is the claim subject to offset?

                                                             þ No
                                                             ¨ Yes

3.248.     Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                             Check all that apply.
           BROUDRICK (SCHULTZ), LYNETTE CHRISTINE                                                            UNDETERMINED
           J. NELSON THOMAS THOMAS & SOLOMON LLP             þ Contingent
           693 EAST AVENUE
           ROCHESTER NY 14607                                þ Unliquidated
                                                             þ Disputed
           Date or dates debt was incurred                   Basis for the claim:
           VARIOUS                                           CIVIL ACTION NO. 6:15-CV-06742
                                                             PENDING LITIGATION
           Last 4 digits of account number:
                                                             Is the claim subject to offset?

                                                             þ No
                                                             ¨ Yes

3.249.     Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                             Check all that apply.
           BROUDRICK (SCHULTZ), LYNETTE CHRISTINE                                                            UNDETERMINED
           J. NELSON THOMAS THOMAS & SOLOMON LLP             þ Contingent
           693 EAST AVENUE
           ROCHESTER NY 14607                                þ Unliquidated
                                                             þ Disputed
           Date or dates debt was incurred                   Basis for the claim:
           VARIOUS                                           CIVIL ACTION NO. 6:15-CV-06742
                                                             PENDING LITIGATION
           Last 4 digits of account number:
                                                             Is the claim subject to offset?

                                                             þ No
                                                             ¨ Yes




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3.250.     Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                             Check all that apply.
           BROWN, HALLIE R.                                                                                  UNDETERMINED
           J. NELSON THOMAS THOMAS & SOLOMON LLP             þ Contingent
           693 EAST AVENUE
           ROCHESTER NY 14607                                þ Unliquidated
                                                             þ Disputed
           Date or dates debt was incurred                   Basis for the claim:
           VARIOUS                                           CIVIL ACTION NO. 6:15-CV-06742
                                                             PENDING LITIGATION
           Last 4 digits of account number:
                                                             Is the claim subject to offset?

                                                             þ No
                                                             ¨ Yes

3.251.     Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                             Check all that apply.
           BROWN, KARL LAMAR                                                                                 UNDETERMINED
           J. NELSON THOMAS THOMAS & SOLOMON LLP             þ Contingent
           693 EAST AVENUE
           ROCHESTER NY 14607                                þ Unliquidated
                                                             þ Disputed
           Date or dates debt was incurred                   Basis for the claim:
           VARIOUS                                           CIVIL ACTION NO. 6:15-CV-06742
                                                             PENDING LITIGATION
           Last 4 digits of account number:
                                                             Is the claim subject to offset?

                                                             þ No
                                                             ¨ Yes

3.252.     Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                             Check all that apply.
           BROWN, KATHLEEN RAE                                                                               UNDETERMINED
           J. NELSON THOMAS THOMAS & SOLOMON LLP             þ Contingent
           693 EAST AVENUE
           ROCHESTER NY 14607                                þ Unliquidated
                                                             þ Disputed
           Date or dates debt was incurred                   Basis for the claim:
           VARIOUS                                           CIVIL ACTION NO. 6:15-CV-06742
                                                             PENDING LITIGATION
           Last 4 digits of account number:
                                                             Is the claim subject to offset?

                                                             þ No
                                                             ¨ Yes




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3.253.     Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                             Check all that apply.
           BROWN, SHELBY DAWN                                                                                UNDETERMINED
           J. NELSON THOMAS THOMAS & SOLOMON LLP             þ Contingent
           693 EAST AVENUE
           ROCHESTER NY 14607                                þ Unliquidated
                                                             þ Disputed
           Date or dates debt was incurred                   Basis for the claim:
           VARIOUS                                           CIVIL ACTION NO. 6:15-CV-06742
                                                             PENDING LITIGATION
           Last 4 digits of account number:
                                                             Is the claim subject to offset?

                                                             þ No
                                                             ¨ Yes

3.254.     Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                             Check all that apply.
           BROWN, SHELBY LAUREN                                                                              UNDETERMINED
           J. NELSON THOMAS THOMAS & SOLOMON LLP             þ Contingent
           693 EAST AVENUE
           ROCHESTER NY 14607                                þ Unliquidated
                                                             þ Disputed
           Date or dates debt was incurred                   Basis for the claim:
           VARIOUS                                           CIVIL ACTION NO. 6:15-CV-06742
                                                             PENDING LITIGATION
           Last 4 digits of account number:
                                                             Is the claim subject to offset?

                                                             þ No
                                                             ¨ Yes

3.255.     Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                             Check all that apply.
           BROWN, TONYA ASHLEY                                                                               UNDETERMINED
           J. NELSON THOMAS THOMAS & SOLOMON LLP             þ Contingent
           693 EAST AVENUE
           ROCHESTER NY 14607                                þ Unliquidated
                                                             þ Disputed
           Date or dates debt was incurred                   Basis for the claim:
           VARIOUS                                           CIVIL ACTION NO. 6:15-CV-06742
                                                             PENDING LITIGATION
           Last 4 digits of account number:
                                                             Is the claim subject to offset?

                                                             þ No
                                                             ¨ Yes




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3.256.     Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                             Check all that apply.
           BROWN, TORI                                                                                       UNDETERMINED
           J. NELSON THOMAS THOMAS & SOLOMON LLP             þ Contingent
           693 EAST AVENUE
           ROCHESTER NY 14607                                þ Unliquidated
                                                             þ Disputed
           Date or dates debt was incurred                   Basis for the claim:
           VARIOUS                                           CIVIL ACTION NO. 6:15-CV-06742
                                                             PENDING LITIGATION
           Last 4 digits of account number:
                                                             Is the claim subject to offset?

                                                             þ No
                                                             ¨ Yes

3.257.     Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                             Check all that apply.
           BRYAN III, JOHN T.                                                                                UNDETERMINED
           J. NELSON THOMAS THOMAS & SOLOMON LLP             þ Contingent
           693 EAST AVENUE
           ROCHESTER NY 14607                                þ Unliquidated
                                                             þ Disputed
           Date or dates debt was incurred                   Basis for the claim:
           VARIOUS                                           CIVIL ACTION NO. 6:15-CV-06742
                                                             PENDING LITIGATION
           Last 4 digits of account number:
                                                             Is the claim subject to offset?

                                                             þ No
                                                             ¨ Yes

3.258.     Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                             Check all that apply.
           BRYANT, JUSTIN KEITH                                                                              UNDETERMINED
           J. NELSON THOMAS THOMAS & SOLOMON LLP             þ Contingent
           693 EAST AVENUE
           ROCHESTER NY 14607                                þ Unliquidated
                                                             þ Disputed
           Date or dates debt was incurred                   Basis for the claim:
           VARIOUS                                           CIVIL ACTION NO. 6:15-CV-06742
                                                             PENDING LITIGATION
           Last 4 digits of account number:
                                                             Is the claim subject to offset?

                                                             þ No
                                                             ¨ Yes




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3.259.     Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                             Check all that apply.
           BRYCE, DENISE                                                                                     UNDETERMINED
           J. NELSON THOMAS THOMAS & SOLOMON LLP             þ Contingent
           693 EAST AVENUE
           ROCHESTER NY 14607                                þ Unliquidated
                                                             þ Disputed
           Date or dates debt was incurred                   Basis for the claim:
           VARIOUS                                           CIVIL ACTION NO. 6:15-CV-06742
                                                             PENDING LITIGATION
           Last 4 digits of account number:
                                                             Is the claim subject to offset?

                                                             þ No
                                                             ¨ Yes

3.260.     Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                             Check all that apply.
           BUBKO, KIM L.                                                                                     UNDETERMINED
           J. NELSON THOMAS THOMAS & SOLOMON LLP             þ Contingent
           693 EAST AVENUE
           ROCHESTER NY 14607                                þ Unliquidated
                                                             þ Disputed
           Date or dates debt was incurred                   Basis for the claim:
           VARIOUS                                           CIVIL ACTION NO. 6:15-CV-06742
                                                             PENDING LITIGATION
           Last 4 digits of account number:
                                                             Is the claim subject to offset?

                                                             þ No
                                                             ¨ Yes

3.261.     Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                             Check all that apply.
           BUCHICCHIO, BRIANNA MIA                                                                           UNDETERMINED
           J. NELSON THOMAS THOMAS & SOLOMON LLP             þ Contingent
           693 EAST AVENUE
           ROCHESTER NY 14607                                þ Unliquidated
                                                             þ Disputed
           Date or dates debt was incurred                   Basis for the claim:
           VARIOUS                                           CIVIL ACTION NO. 6:15-CV-06742
                                                             PENDING LITIGATION
           Last 4 digits of account number:
                                                             Is the claim subject to offset?

                                                             þ No
                                                             ¨ Yes




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3.262.     Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                             Check all that apply.
           BUCK, CHERYL W.                                                                                   UNDETERMINED
           J. NELSON THOMAS THOMAS & SOLOMON LLP             þ Contingent
           693 EAST AVENUE
           ROCHESTER NY 14607                                þ Unliquidated
                                                             þ Disputed
           Date or dates debt was incurred                   Basis for the claim:
           VARIOUS                                           CIVIL ACTION NO. 6:15-CV-06742
                                                             PENDING LITIGATION
           Last 4 digits of account number:
                                                             Is the claim subject to offset?

                                                             þ No
                                                             ¨ Yes

3.263.     Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                             Check all that apply.
           BUCK, CONRAD KENNETH                                                                              UNDETERMINED
           J. NELSON THOMAS THOMAS & SOLOMON LLP             þ Contingent
           693 EAST AVENUE
           ROCHESTER NY 14607                                þ Unliquidated
                                                             þ Disputed
           Date or dates debt was incurred                   Basis for the claim:
           VARIOUS                                           CIVIL ACTION NO. 6:15-CV-06742
                                                             PENDING LITIGATION
           Last 4 digits of account number:
                                                             Is the claim subject to offset?

                                                             þ No
                                                             ¨ Yes

3.264.     Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                             Check all that apply.
           BUCKNER, LACY                                                                                     UNDETERMINED
           J. NELSON THOMAS THOMAS & SOLOMON LLP             þ Contingent
           693 EAST AVENUE
           ROCHESTER NY 14607                                þ Unliquidated
                                                             þ Disputed
           Date or dates debt was incurred                   Basis for the claim:
           VARIOUS                                           CIVIL ACTION NO. 6:15-CV-06742
                                                             PENDING LITIGATION
           Last 4 digits of account number:
                                                             Is the claim subject to offset?

                                                             þ No
                                                             ¨ Yes




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3.265.     Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                             Check all that apply.
           BUDGET PLUMBING & ROOTER LLC                                                                      $588.00
           390 WEST MAIN                                     ¨ Contingent
           AMERICAN FORK UT 84003
                                                             ¨ Unliquidated
                                                             ¨ Disputed
           Date or dates debt was incurred                   Basis for the claim:
           VARIOUS                                           TRADE ACCOUNTS PAYABLE
           Last 4 digits of account number:                  Is the claim subject to offset?

                                                             þ No
                                                             ¨ Yes

3.266.     Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                             Check all that apply.
           BUDGET SEWER & DRAIN CLEANING SRV INC                                                             $324.00
           872 ALBANY SHAKER ROAD                            ¨ Contingent
           LATHAM NY 12110
                                                             ¨ Unliquidated
                                                             ¨ Disputed
           Date or dates debt was incurred                   Basis for the claim:
           VARIOUS                                           TRADE ACCOUNTS PAYABLE
           Last 4 digits of account number:                  Is the claim subject to offset?

                                                             þ No
                                                             ¨ Yes

3.267.     Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                             Check all that apply.
           BUGLIOLI, SAMANTHA                                                                                UNDETERMINED
           J. NELSON THOMAS THOMAS & SOLOMON LLP             þ Contingent
           693 EAST AVENUE
           ROCHESTER NY 14607                                þ Unliquidated
                                                             þ Disputed
           Date or dates debt was incurred                   Basis for the claim:
           VARIOUS                                           CIVIL ACTION NO. 6:15-CV-06742
                                                             PENDING LITIGATION
           Last 4 digits of account number:
                                                             Is the claim subject to offset?

                                                             þ No
                                                             ¨ Yes




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3.268.     Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                             Check all that apply.
           BUGLIOLI, SAMANTHA LYN                                                                            UNDETERMINED
           J. NELSON THOMAS THOMAS & SOLOMON LLP             þ Contingent
           693 EAST AVENUE
           ROCHESTER NY 14607                                þ Unliquidated
                                                             þ Disputed
           Date or dates debt was incurred                   Basis for the claim:
           VARIOUS                                           CIVIL ACTION NO. 6:15-CV-06742
                                                             PENDING LITIGATION
           Last 4 digits of account number:
                                                             Is the claim subject to offset?

                                                             þ No
                                                             ¨ Yes

3.269.     Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                             Check all that apply.
           BULBMAN INC                                                                                       $399.83
           PO BOX 12280                                      ¨ Contingent
           RENO NV 89510
                                                             ¨ Unliquidated
                                                             ¨ Disputed
           Date or dates debt was incurred                   Basis for the claim:
           VARIOUS                                           TRADE ACCOUNTS PAYABLE
           Last 4 digits of account number:                  Is the claim subject to offset?

                                                             þ No
                                                             ¨ Yes

3.270.     Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                             Check all that apply.
           BULFON, LISA MARIE                                                                                UNDETERMINED
           J. NELSON THOMAS THOMAS & SOLOMON LLP             þ Contingent
           693 EAST AVENUE
           ROCHESTER NY 14607                                þ Unliquidated
                                                             þ Disputed
           Date or dates debt was incurred                   Basis for the claim:
           VARIOUS                                           CIVIL ACTION NO. 6:15-CV-06742
                                                             PENDING LITIGATION
           Last 4 digits of account number:
                                                             Is the claim subject to offset?

                                                             þ No
                                                             ¨ Yes




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3.271.     Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                             Check all that apply.
           BURGESS, BENJAMIN DANIEL                                                                          UNDETERMINED
           J. NELSON THOMAS THOMAS & SOLOMON LLP             þ Contingent
           693 EAST AVENUE
           ROCHESTER NY 14607                                þ Unliquidated
                                                             þ Disputed
           Date or dates debt was incurred                   Basis for the claim:
           VARIOUS                                           CIVIL ACTION NO. 6:15-CV-06742
                                                             PENDING LITIGATION
           Last 4 digits of account number:
                                                             Is the claim subject to offset?

                                                             þ No
                                                             ¨ Yes

3.272.     Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                             Check all that apply.
           BURMAN, ANASTASIA                                                                                 UNDETERMINED
                                                             þ Contingent
                                                             þ Unliquidated
                                                             þ Disputed
           Date or dates debt was incurred                   Basis for the claim:
           VARIOUS                                           GENERAL LIABILITY CLAIMS
           Last 4 digits of account number:                  Is the claim subject to offset?

                                                             þ No
                                                             ¨ Yes

3.273.     Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                             Check all that apply.
           BURNETT, AUSTIN BLAKE                                                                             UNDETERMINED
           J. NELSON THOMAS THOMAS & SOLOMON LLP             þ Contingent
           693 EAST AVENUE
           ROCHESTER NY 14607                                þ Unliquidated
                                                             þ Disputed
           Date or dates debt was incurred                   Basis for the claim:
           VARIOUS                                           CIVIL ACTION NO. 6:15-CV-06742
                                                             PENDING LITIGATION
           Last 4 digits of account number:
                                                             Is the claim subject to offset?

                                                             þ No
                                                             ¨ Yes




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3.274.     Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                             Check all that apply.
           BURNS, CHERYL LEE                                                                                 UNDETERMINED
           J. NELSON THOMAS THOMAS & SOLOMON LLP             þ Contingent
           693 EAST AVENUE
           ROCHESTER NY 14607                                þ Unliquidated
                                                             þ Disputed
           Date or dates debt was incurred                   Basis for the claim:
           VARIOUS                                           CIVIL ACTION NO. 6:15-CV-06742
                                                             PENDING LITIGATION
           Last 4 digits of account number:
                                                             Is the claim subject to offset?

                                                             þ No
                                                             ¨ Yes

3.275.     Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                             Check all that apply.
           BURNS, JIM ARTHUR                                                                                 UNDETERMINED
           J. NELSON THOMAS THOMAS & SOLOMON LLP             þ Contingent
           693 EAST AVENUE
           ROCHESTER NY 14607                                þ Unliquidated
                                                             þ Disputed
           Date or dates debt was incurred                   Basis for the claim:
           VARIOUS                                           CIVIL ACTION NO. 6:15-CV-06742
                                                             PENDING LITIGATION
           Last 4 digits of account number:
                                                             Is the claim subject to offset?

                                                             þ No
                                                             ¨ Yes

3.276.     Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                             Check all that apply.
           BURNS, MARIE KASHAN                                                                               UNDETERMINED
           J. NELSON THOMAS THOMAS & SOLOMON LLP             þ Contingent
           693 EAST AVENUE
           ROCHESTER NY 14607                                þ Unliquidated
                                                             þ Disputed
           Date or dates debt was incurred                   Basis for the claim:
           VARIOUS                                           CIVIL ACTION NO. 6:15-CV-06742
                                                             PENDING LITIGATION
           Last 4 digits of account number:
                                                             Is the claim subject to offset?

                                                             þ No
                                                             ¨ Yes




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3.277.     Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                             Check all that apply.
           BUSH, RYAN CHRISTOPHER                                                                            UNDETERMINED
           J. NELSON THOMAS THOMAS & SOLOMON LLP             þ Contingent
           693 EAST AVENUE
           ROCHESTER NY 14607                                þ Unliquidated
                                                             þ Disputed
           Date or dates debt was incurred                   Basis for the claim:
           VARIOUS                                           CIVIL ACTION NO. 6:15-CV-06742
                                                             PENDING LITIGATION
           Last 4 digits of account number:
                                                             Is the claim subject to offset?

                                                             þ No
                                                             ¨ Yes

3.278.     Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                             Check all that apply.
           BUSH, ZACHERY JAMES                                                                               UNDETERMINED
           J. NELSON THOMAS THOMAS & SOLOMON LLP             þ Contingent
           693 EAST AVENUE
           ROCHESTER NY 14607                                þ Unliquidated
                                                             þ Disputed
           Date or dates debt was incurred                   Basis for the claim:
           VARIOUS                                           CIVIL ACTION NO. 6:15-CV-06742
                                                             PENDING LITIGATION
           Last 4 digits of account number:
                                                             Is the claim subject to offset?

                                                             þ No
                                                             ¨ Yes

3.279.     Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                             Check all that apply.
           BUTTICE, MADISON                                                                                  UNDETERMINED
           J. NELSON THOMAS THOMAS & SOLOMON LLP             þ Contingent
           693 EAST AVENUE
           ROCHESTER NY 14607                                þ Unliquidated
                                                             þ Disputed
           Date or dates debt was incurred                   Basis for the claim:
           VARIOUS                                           CIVIL ACTION NO. 6:15-CV-06742
                                                             PENDING LITIGATION
           Last 4 digits of account number:
                                                             Is the claim subject to offset?

                                                             þ No
                                                             ¨ Yes




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3.280.     Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                             Check all that apply.
           BUTTON, CARLA LYNNE                                                                               UNDETERMINED
           J. NELSON THOMAS THOMAS & SOLOMON LLP             þ Contingent
           693 EAST AVENUE
           ROCHESTER NY 14607                                þ Unliquidated
                                                             þ Disputed
           Date or dates debt was incurred                   Basis for the claim:
           VARIOUS                                           CIVIL ACTION NO. 6:15-CV-06742
                                                             PENDING LITIGATION
           Last 4 digits of account number:
                                                             Is the claim subject to offset?

                                                             þ No
                                                             ¨ Yes

3.281.     Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                             Check all that apply.
           BUYERS EDGE, INC.                                                                                 $4,000.00
           351 N. FRONTAGE RD                                ¨ Contingent
           SUITE A210
           NEW LONDON CT 06320                               ¨ Unliquidated
                                                             ¨ Disputed
           Date or dates debt was incurred                   Basis for the claim:
           VARIOUS                                           TRADE ACCOUNTS PAYABLE
           Last 4 digits of account number:                  Is the claim subject to offset?

                                                             þ No
                                                             ¨ Yes

3.282.     Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                             Check all that apply.
           BYARS, MARISSA ANNE                                                                               UNDETERMINED
           J. NELSON THOMAS THOMAS & SOLOMON LLP             þ Contingent
           693 EAST AVENUE
           ROCHESTER NY 14607                                þ Unliquidated
                                                             þ Disputed
           Date or dates debt was incurred                   Basis for the claim:
           VARIOUS                                           CIVIL ACTION NO. 6:15-CV-06742
                                                             PENDING LITIGATION
           Last 4 digits of account number:
                                                             Is the claim subject to offset?

                                                             þ No
                                                             ¨ Yes




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3.283.     Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                             Check all that apply.
           C T CORPORATION SYSTEM                                                                            $41.67
           111 8TH AVENUE                                    ¨ Contingent
           13TH FLOOR
           NEW YORK NY 10011                                 ¨ Unliquidated
                                                             ¨ Disputed
           Date or dates debt was incurred                   Basis for the claim:
           VARIOUS                                           LEGAL
           Last 4 digits of account number:                  Is the claim subject to offset?

                                                             þ No
                                                             ¨ Yes

3.284.     Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                             Check all that apply.
           CABRER, GABRIELA                                                                                  UNDETERMINED
           DAYTON MAGALLANES, LAW OFFICES OF                 þ Contingent
           DAYTON MAGALLANES,
           10540 WILSHIRE BLVD                               þ Unliquidated
           STE 417
           LOS ANGELES CA 90024
                                                             þ Disputed
           Date or dates debt was incurred                   Basis for the claim:
           VARIOUS                                           ADA PUBLIC ACCOMMODATIONS CLAIM
           Last 4 digits of account number:                  Is the claim subject to offset?

                                                             þ No
                                                             ¨ Yes

3.285.     Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                             Check all that apply.
           CAGLE, JESSICA D.                                                                                 UNDETERMINED
           J. NELSON THOMAS THOMAS & SOLOMON LLP             þ Contingent
           693 EAST AVENUE
           ROCHESTER NY 14607                                þ Unliquidated
                                                             þ Disputed
           Date or dates debt was incurred                   Basis for the claim:
           VARIOUS                                           CIVIL ACTION NO. 6:15-CV-06742
                                                             PENDING LITIGATION
           Last 4 digits of account number:
                                                             Is the claim subject to offset?

                                                             þ No
                                                             ¨ Yes




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3.286.     Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                             Check all that apply.
           CAGWIN & DORWARD                                                                                  $276.00
           PO BOX 1600                                       ¨ Contingent
           NOVATO CA 94948
                                                             ¨ Unliquidated
                                                             ¨ Disputed
           Date or dates debt was incurred                   Basis for the claim:
           VARIOUS                                           TRADE ACCOUNTS PAYABLE
           Last 4 digits of account number:                  Is the claim subject to offset?

                                                             þ No
                                                             ¨ Yes

3.287.     Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                             Check all that apply.
           CALABRESE, ADAM S.                                                                                UNDETERMINED
           J. NELSON THOMAS THOMAS & SOLOMON LLP             þ Contingent
           693 EAST AVENUE
           ROCHESTER NY 14607                                þ Unliquidated
                                                             þ Disputed
           Date or dates debt was incurred                   Basis for the claim:
           VARIOUS                                           CIVIL ACTION NO. 6:15-CV-06742
                                                             PENDING LITIGATION
           Last 4 digits of account number:
                                                             Is the claim subject to offset?

                                                             þ No
                                                             ¨ Yes

3.288.     Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                             Check all that apply.
           CALABRESE, LAUREN ELIZABETH                                                                       UNDETERMINED
           J. NELSON THOMAS THOMAS & SOLOMON LLP             þ Contingent
           693 EAST AVENUE
           ROCHESTER NY 14607                                þ Unliquidated
                                                             þ Disputed
           Date or dates debt was incurred                   Basis for the claim:
           VARIOUS                                           CIVIL ACTION NO. 6:15-CV-06742
                                                             PENDING LITIGATION
           Last 4 digits of account number:
                                                             Is the claim subject to offset?

                                                             þ No
                                                             ¨ Yes




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3.289.     Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                             Check all that apply.
           CALABRO, KATHRYN ANN                                                                              UNDETERMINED
           J. NELSON THOMAS THOMAS & SOLOMON LLP             þ Contingent
           693 EAST AVENUE
           ROCHESTER NY 14607                                þ Unliquidated
                                                             þ Disputed
           Date or dates debt was incurred                   Basis for the claim:
           VARIOUS                                           CIVIL ACTION NO. 6:15-CV-06742
                                                             PENDING LITIGATION
           Last 4 digits of account number:
                                                             Is the claim subject to offset?

                                                             þ No
                                                             ¨ Yes

3.290.     Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                             Check all that apply.
           CALDWELL, SHATIRA                                                                                 UNDETERMINED
           J. NELSON THOMAS THOMAS & SOLOMON LLP             þ Contingent
           693 EAST AVENUE
           ROCHESTER NY 14607                                þ Unliquidated
                                                             þ Disputed
           Date or dates debt was incurred                   Basis for the claim:
           VARIOUS                                           CIVIL ACTION NO. 6:15-CV-06742
                                                             PENDING LITIGATION
           Last 4 digits of account number:
                                                             Is the claim subject to offset?

                                                             þ No
                                                             ¨ Yes

3.291.     Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                             Check all that apply.
           CALIFORNIA MAINTENANCE SERVICE INC                                                                $6,275.00
           12919 HALLDALE AVENUE                             ¨ Contingent
           GARDENA CA 90249
                                                             ¨ Unliquidated
                                                             ¨ Disputed
           Date or dates debt was incurred                   Basis for the claim:
           VARIOUS                                           TRADE ACCOUNTS PAYABLE
           Last 4 digits of account number:                  Is the claim subject to offset?

                                                             þ No
                                                             ¨ Yes




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3.292.     Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                             Check all that apply.
           CALKINS, MATTHEW                                                                                  UNDETERMINED
           J. NELSON THOMAS THOMAS & SOLOMON LLP             þ Contingent
           693 EAST AVENUE
           ROCHESTER NY 14607                                þ Unliquidated
                                                             þ Disputed
           Date or dates debt was incurred                   Basis for the claim:
           VARIOUS                                           CIVIL ACTION NO. 6:15-CV-06742
                                                             PENDING LITIGATION
           Last 4 digits of account number:
                                                             Is the claim subject to offset?

                                                             þ No
                                                             ¨ Yes

3.293.     Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                             Check all that apply.
           CAMACHO, ADRIAN EDWARD                                                                            UNDETERMINED
           J. NELSON THOMAS THOMAS & SOLOMON LLP             þ Contingent
           693 EAST AVENUE
           ROCHESTER NY 14607                                þ Unliquidated
                                                             þ Disputed
           Date or dates debt was incurred                   Basis for the claim:
           VARIOUS                                           CIVIL ACTION NO. 6:15-CV-06742
                                                             PENDING LITIGATION
           Last 4 digits of account number:
                                                             Is the claim subject to offset?

                                                             þ No
                                                             ¨ Yes

3.294.     Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                             Check all that apply.
           CAMARATA, KEITH ALLEN                                                                             UNDETERMINED
           J. NELSON THOMAS THOMAS & SOLOMON LLP             þ Contingent
           693 EAST AVENUE
           ROCHESTER NY 14607                                þ Unliquidated
                                                             þ Disputed
           Date or dates debt was incurred                   Basis for the claim:
           VARIOUS                                           CIVIL ACTION NO. 6:15-CV-06742
                                                             PENDING LITIGATION
           Last 4 digits of account number:
                                                             Is the claim subject to offset?

                                                             þ No
                                                             ¨ Yes




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3.295.     Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                             Check all that apply.
           CAMARATA, KEITH ALLEN                                                                             UNDETERMINED
           J. NELSON THOMAS THOMAS & SOLOMON LLP             þ Contingent
           693 EAST AVENUE
           ROCHESTER NY 14607                                þ Unliquidated
                                                             þ Disputed
           Date or dates debt was incurred                   Basis for the claim:
           VARIOUS                                           CIVIL ACTION NO. 6:15-CV-06742
                                                             PENDING LITIGATION
           Last 4 digits of account number:
                                                             Is the claim subject to offset?

                                                             þ No
                                                             ¨ Yes

3.296.     Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                             Check all that apply.
           CAMINITI, JONATHAN FABRY                                                                          UNDETERMINED
           J. NELSON THOMAS THOMAS & SOLOMON LLP             þ Contingent
           693 EAST AVENUE
           ROCHESTER NY 14607                                þ Unliquidated
                                                             þ Disputed
           Date or dates debt was incurred                   Basis for the claim:
           VARIOUS                                           CIVIL ACTION NO. 6:15-CV-06742
                                                             PENDING LITIGATION
           Last 4 digits of account number:
                                                             Is the claim subject to offset?

                                                             þ No
                                                             ¨ Yes

3.297.     Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                             Check all that apply.
           CAMLEY, BOBBI JOANN                                                                               UNDETERMINED
           J. NELSON THOMAS THOMAS & SOLOMON LLP             þ Contingent
           693 EAST AVENUE
           ROCHESTER NY 14607                                þ Unliquidated
                                                             þ Disputed
           Date or dates debt was incurred                   Basis for the claim:
           VARIOUS                                           CIVIL ACTION NO. 6:15-CV-06742
                                                             PENDING LITIGATION
           Last 4 digits of account number:
                                                             Is the claim subject to offset?

                                                             þ No
                                                             ¨ Yes




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3.298.     Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                             Check all that apply.
           CAMP, MARY                                                                                        UNDETERMINED
           J. NELSON THOMAS THOMAS & SOLOMON LLP             þ Contingent
           693 EAST AVENUE
           ROCHESTER NY 14607                                þ Unliquidated
                                                             þ Disputed
           Date or dates debt was incurred                   Basis for the claim:
           VARIOUS                                           CIVIL ACTION NO. 6:15-CV-06742
                                                             PENDING LITIGATION
           Last 4 digits of account number:
                                                             Is the claim subject to offset?

                                                             þ No
                                                             ¨ Yes

3.299.     Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                             Check all that apply.
           CAMP, PRESTON JOHN                                                                                UNDETERMINED
           J. NELSON THOMAS THOMAS & SOLOMON LLP             þ Contingent
           693 EAST AVENUE
           ROCHESTER NY 14607                                þ Unliquidated
                                                             þ Disputed
           Date or dates debt was incurred                   Basis for the claim:
           VARIOUS                                           CIVIL ACTION NO. 6:15-CV-06742
                                                             PENDING LITIGATION
           Last 4 digits of account number:
                                                             Is the claim subject to offset?

                                                             þ No
                                                             ¨ Yes

3.300.     Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                             Check all that apply.
           CAMPBELL, CHRYSTAL                                                                                UNDETERMINED
           J. NELSON THOMAS THOMAS & SOLOMON LLP             þ Contingent
           693 EAST AVENUE
           ROCHESTER NY 14607                                þ Unliquidated
                                                             þ Disputed
           Date or dates debt was incurred                   Basis for the claim:
           VARIOUS                                           CIVIL ACTION NO. 6:15-CV-06742
                                                             PENDING LITIGATION
           Last 4 digits of account number:
                                                             Is the claim subject to offset?

                                                             þ No
                                                             ¨ Yes




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3.301.     Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                             Check all that apply.
           CAMPBELL, SCHYVON VIOLET                                                                          UNDETERMINED
           J. NELSON THOMAS THOMAS & SOLOMON LLP             þ Contingent
           693 EAST AVENUE
           ROCHESTER NY 14607                                þ Unliquidated
                                                             þ Disputed
           Date or dates debt was incurred                   Basis for the claim:
           VARIOUS                                           CIVIL ACTION NO. 6:15-CV-06742
                                                             PENDING LITIGATION
           Last 4 digits of account number:
                                                             Is the claim subject to offset?

                                                             þ No
                                                             ¨ Yes

3.302.     Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                             Check all that apply.
           CAMPS, JODY ROBERT                                                                                UNDETERMINED
           J. NELSON THOMAS THOMAS & SOLOMON LLP             þ Contingent
           693 EAST AVENUE
           ROCHESTER NY 14607                                þ Unliquidated
                                                             þ Disputed
           Date or dates debt was incurred                   Basis for the claim:
           VARIOUS                                           CIVIL ACTION NO. 6:15-CV-06742
                                                             PENDING LITIGATION
           Last 4 digits of account number:
                                                             Is the claim subject to offset?

                                                             þ No
                                                             ¨ Yes

3.303.     Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                             Check all that apply.
           CANDICE HENDERSON                                                                                 UNDETERMINED
                                                             þ Contingent
                                                             þ Unliquidated
                                                             þ Disputed
           Date or dates debt was incurred                   Basis for the claim:
           VARIOUS                                           WORKERS COMPENSATION CLAIM
           Last 4 digits of account number:                  Is the claim subject to offset?

                                                             þ No
                                                             ¨ Yes




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3.304.     Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                             Check all that apply.
           CANFIELD, VALERIE HOPE                                                                            UNDETERMINED
           J. NELSON THOMAS THOMAS & SOLOMON LLP             þ Contingent
           693 EAST AVENUE
           ROCHESTER NY 14607                                þ Unliquidated
                                                             þ Disputed
           Date or dates debt was incurred                   Basis for the claim:
           VARIOUS                                           CIVIL ACTION NO. 6:15-CV-06742
                                                             PENDING LITIGATION
           Last 4 digits of account number:
                                                             Is the claim subject to offset?

                                                             þ No
                                                             ¨ Yes

3.305.     Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                             Check all that apply.
           CANTY, RICHARD RUSSELL                                                                            UNDETERMINED
           J. NELSON THOMAS THOMAS & SOLOMON LLP             þ Contingent
           693 EAST AVENUE
           ROCHESTER NY 14607                                þ Unliquidated
                                                             þ Disputed
           Date or dates debt was incurred                   Basis for the claim:
           VARIOUS                                           CIVIL ACTION NO. 6:15-CV-06742
                                                             PENDING LITIGATION
           Last 4 digits of account number:
                                                             Is the claim subject to offset?

                                                             þ No
                                                             ¨ Yes

3.306.     Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                             Check all that apply.
           CAPITAL DISTRICT MECHANICAL                                                                       $912.06
           1000 WEDGEWOOD HEIGHTS                            ¨ Contingent
           SCHENECTADY NY 12306
                                                             ¨ Unliquidated
                                                             ¨ Disputed
           Date or dates debt was incurred                   Basis for the claim:
           VARIOUS                                           TRADE ACCOUNTS PAYABLE
           Last 4 digits of account number:                  Is the claim subject to offset?

                                                             þ No
                                                             ¨ Yes




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3.307.     Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                             Check all that apply.
           CARCICH, ELIZABETH JEAN                                                                           UNDETERMINED
           J. NELSON THOMAS THOMAS & SOLOMON LLP             þ Contingent
           693 EAST AVENUE
           ROCHESTER NY 14607                                þ Unliquidated
                                                             þ Disputed
           Date or dates debt was incurred                   Basis for the claim:
           VARIOUS                                           CIVIL ACTION NO. 6:15-CV-06742
                                                             PENDING LITIGATION
           Last 4 digits of account number:
                                                             Is the claim subject to offset?

                                                             þ No
                                                             ¨ Yes

3.308.     Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                             Check all that apply.
           CARDINALI III, ANTHONY G.                                                                         UNDETERMINED
           J. NELSON THOMAS THOMAS & SOLOMON LLP             þ Contingent
           693 EAST AVENUE
           ROCHESTER NY 14607                                þ Unliquidated
                                                             þ Disputed
           Date or dates debt was incurred                   Basis for the claim:
           VARIOUS                                           CIVIL ACTION NO. 6:15-CV-06742
                                                             PENDING LITIGATION
           Last 4 digits of account number:
                                                             Is the claim subject to offset?

                                                             þ No
                                                             ¨ Yes

3.309.     Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                             Check all that apply.
           CARDINALI III, ANTHONY G.                                                                         UNDETERMINED
           J. NELSON THOMAS THOMAS & SOLOMON LLP             þ Contingent
           693 EAST AVENUE
           ROCHESTER NY 14607                                þ Unliquidated
                                                             þ Disputed
           Date or dates debt was incurred                   Basis for the claim:
           VARIOUS                                           CIVIL ACTION NO. 6:15-CV-06742
                                                             PENDING LITIGATION
           Last 4 digits of account number:
                                                             Is the claim subject to offset?

                                                             þ No
                                                             ¨ Yes




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3.310.     Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                             Check all that apply.
           CARDINALI III, ANTHONY G.                                                                         UNDETERMINED
           J. NELSON THOMAS THOMAS & SOLOMON LLP             þ Contingent
           693 EAST AVENUE
           ROCHESTER NY 14607                                þ Unliquidated
                                                             þ Disputed
           Date or dates debt was incurred                   Basis for the claim:
           VARIOUS                                           CIVIL ACTION NO. 6:15-CV-06742
                                                             PENDING LITIGATION
           Last 4 digits of account number:
                                                             Is the claim subject to offset?

                                                             þ No
                                                             ¨ Yes

3.311.     Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                             Check all that apply.
           CARDLYTICS INC                                                                                    $14,799.97
           75 REMITTANCE DRIVE, DEPT 3247                    ¨ Contingent
           CHICAGO IL 60675
                                                             ¨ Unliquidated
                                                             ¨ Disputed
           Date or dates debt was incurred                   Basis for the claim:
           VARIOUS                                           TRADE ACCOUNTS PAYABLE
           Last 4 digits of account number:                  Is the claim subject to offset?

                                                             þ No
                                                             ¨ Yes

3.312.     Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                             Check all that apply.
           CARIOTO PRODUCE INC                                                                               $4,432.90
           80 COHOES AVEUNE                                  ¨ Contingent
           GREEN ISLAND NY 12183
                                                             ¨ Unliquidated
                                                             ¨ Disputed
           Date or dates debt was incurred                   Basis for the claim:
           VARIOUS                                           TRADE ACCOUNTS PAYABLE
           Last 4 digits of account number:                  Is the claim subject to offset?

                                                             þ No
                                                             ¨ Yes




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3.313.     Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                             Check all that apply.
           CAROLINA COOKWOOD LLC                                                                             $720.00
           767 SUMMERWOOD DRIVE                              ¨ Contingent
           ROCK HILL SC 29732
                                                             ¨ Unliquidated
                                                             ¨ Disputed
           Date or dates debt was incurred                   Basis for the claim:
           VARIOUS                                           TRADE ACCOUNTS PAYABLE
           Last 4 digits of account number:                  Is the claim subject to offset?

                                                             þ No
                                                             ¨ Yes

3.314.     Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                             Check all that apply.
           CARPENTER, CARMIN RAE                                                                             UNDETERMINED
           J. NELSON THOMAS THOMAS & SOLOMON LLP             þ Contingent
           693 EAST AVENUE
           ROCHESTER NY 14607                                þ Unliquidated
                                                             þ Disputed
           Date or dates debt was incurred                   Basis for the claim:
           VARIOUS                                           CIVIL ACTION NO. 6:15-CV-06742
                                                             PENDING LITIGATION
           Last 4 digits of account number:
                                                             Is the claim subject to offset?

                                                             þ No
                                                             ¨ Yes

3.315.     Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                             Check all that apply.
           CARPENTER, JUSTIN ROBERT BENJAMIN                                                                 UNDETERMINED
           J. NELSON THOMAS THOMAS & SOLOMON LLP             þ Contingent
           693 EAST AVENUE
           ROCHESTER NY 14607                                þ Unliquidated
                                                             þ Disputed
           Date or dates debt was incurred                   Basis for the claim:
           VARIOUS                                           CIVIL ACTION NO. 6:15-CV-06742
                                                             PENDING LITIGATION
           Last 4 digits of account number:
                                                             Is the claim subject to offset?

                                                             þ No
                                                             ¨ Yes




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3.316.     Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                             Check all that apply.
           CARPENTER, REAGAN                                                                                 UNDETERMINED
                                                             þ Contingent
                                                             þ Unliquidated
                                                             þ Disputed
           Date or dates debt was incurred                   Basis for the claim:
           VARIOUS                                           GENERAL LIABILITY CLAIMS
           Last 4 digits of account number:                  Is the claim subject to offset?

                                                             þ No
                                                             ¨ Yes

3.317.     Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                             Check all that apply.
           CARR, DORIAN                                                                                      UNDETERMINED
           J. NELSON THOMAS THOMAS & SOLOMON LLP             þ Contingent
           693 EAST AVENUE
           ROCHESTER NY 14607                                þ Unliquidated
                                                             þ Disputed
           Date or dates debt was incurred                   Basis for the claim:
           VARIOUS                                           CIVIL ACTION NO. 6:15-CV-06742
                                                             PENDING LITIGATION
           Last 4 digits of account number:
                                                             Is the claim subject to offset?

                                                             þ No
                                                             ¨ Yes

3.318.     Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                             Check all that apply.
           CARRELL, STACY DELYNN                                                                             UNDETERMINED
           J. NELSON THOMAS THOMAS & SOLOMON LLP             þ Contingent
           693 EAST AVENUE
           ROCHESTER NY 14607                                þ Unliquidated
                                                             þ Disputed
           Date or dates debt was incurred                   Basis for the claim:
           VARIOUS                                           CIVIL ACTION NO. 6:15-CV-06742
                                                             PENDING LITIGATION
           Last 4 digits of account number:
                                                             Is the claim subject to offset?

                                                             þ No
                                                             ¨ Yes




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Debtor   MAC ACQUISITION LLC                                                                                 Case number (if known) 17-12224




3.319.     Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                             Check all that apply.
           CARRILLO, JUANA                                                                                   UNDETERMINED
                                                             þ Contingent
                                                             þ Unliquidated
                                                             þ Disputed
           Date or dates debt was incurred                   Basis for the claim:
           VARIOUS                                           WORKERS COMPENSATION CLAIM - NO.
                                                             201507161205
           Last 4 digits of account number:
                                                             Is the claim subject to offset?

                                                             þ No
                                                             ¨ Yes

3.320.     Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                             Check all that apply.
           CARRILLO, JUANA                                                                                   UNDETERMINED
                                                             þ Contingent
                                                             þ Unliquidated
                                                             þ Disputed
           Date or dates debt was incurred                   Basis for the claim:
           VARIOUS                                           WORKERS COMPENSATION CLAIM - NO.
                                                             201604201331
           Last 4 digits of account number:
                                                             Is the claim subject to offset?

                                                             þ No
                                                             ¨ Yes

3.321.     Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                             Check all that apply.
           CARROLL, CANDACE                                                                                  UNDETERMINED
           J. NELSON THOMAS THOMAS & SOLOMON LLP             þ Contingent
           693 EAST AVENUE
           ROCHESTER NY 14607                                þ Unliquidated
                                                             þ Disputed
           Date or dates debt was incurred                   Basis for the claim:
           VARIOUS                                           CIVIL ACTION NO. 6:15-CV-06742
                                                             PENDING LITIGATION
           Last 4 digits of account number:
                                                             Is the claim subject to offset?

                                                             þ No
                                                             ¨ Yes




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Debtor   MAC ACQUISITION LLC                                                                                 Case number (if known) 17-12224




3.322.     Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                             Check all that apply.
           CARROLL, SHEVONNE P.                                                                              UNDETERMINED
           J. NELSON THOMAS THOMAS & SOLOMON LLP             þ Contingent
           693 EAST AVENUE
           ROCHESTER NY 14607                                þ Unliquidated
                                                             þ Disputed
           Date or dates debt was incurred                   Basis for the claim:
           VARIOUS                                           CIVIL ACTION NO. 6:15-CV-06742
                                                             PENDING LITIGATION
           Last 4 digits of account number:
                                                             Is the claim subject to offset?

                                                             þ No
                                                             ¨ Yes

3.323.     Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                             Check all that apply.
           CARVAJAL LEONI, MIGUEL A.                                                                         UNDETERMINED
           J. NELSON THOMAS THOMAS & SOLOMON LLP             þ Contingent
           693 EAST AVENUE
           ROCHESTER NY 14607                                þ Unliquidated
                                                             þ Disputed
           Date or dates debt was incurred                   Basis for the claim:
           VARIOUS                                           CIVIL ACTION NO. 6:15-CV-06742
                                                             PENDING LITIGATION
           Last 4 digits of account number:
                                                             Is the claim subject to offset?

                                                             þ No
                                                             ¨ Yes

3.324.     Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                             Check all that apply.
           CARVAJAL, JACQUELINE                                                                              UNDETERMINED
           J. NELSON THOMAS THOMAS & SOLOMON LLP             þ Contingent
           693 EAST AVENUE
           ROCHESTER NY 14607                                þ Unliquidated
                                                             þ Disputed
           Date or dates debt was incurred                   Basis for the claim:
           VARIOUS                                           CIVIL ACTION NO. 6:15-CV-06742
                                                             PENDING LITIGATION
           Last 4 digits of account number:
                                                             Is the claim subject to offset?

                                                             þ No
                                                             ¨ Yes




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3.325.     Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                             Check all that apply.
           CASAS ADOBES BAPTIST CHURCH                                                                       UNDETERMINED
           CUSHMAN AND WAKEFIELD/PICOR                       þ Contingent
           DANA ELCESS PROPERTY MANAGER
           1100 N WILMOT STE 200                             þ Unliquidated
           TUCSON AZ 85712                                   þ Disputed
           Date or dates debt was incurred                   Basis for the claim:
           VARIOUS                                           LANDLORD CLAIM
           Last 4 digits of account number:                  Is the claim subject to offset?

                                                             þ No
                                                             ¨ Yes

3.326.     Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                             Check all that apply.
           CASEY, KEVIN ROSS                                                                                 UNDETERMINED
           J. NELSON THOMAS THOMAS & SOLOMON LLP             þ Contingent
           693 EAST AVENUE
           ROCHESTER NY 14607                                þ Unliquidated
                                                             þ Disputed
           Date or dates debt was incurred                   Basis for the claim:
           VARIOUS                                           CIVIL ACTION NO. 6:15-CV-06742
                                                             PENDING LITIGATION
           Last 4 digits of account number:
                                                             Is the claim subject to offset?

                                                             þ No
                                                             ¨ Yes

3.327.     Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                             Check all that apply.
           CASS PLUMBING INC.                                                                                $684.47
           PO BOX 272876                                     ¨ Contingent
           TAMPA FL 33688
                                                             ¨ Unliquidated
                                                             ¨ Disputed
           Date or dates debt was incurred                   Basis for the claim:
           VARIOUS                                           TRADE ACCOUNTS PAYABLE
           Last 4 digits of account number:                  Is the claim subject to offset?

                                                             þ No
                                                             ¨ Yes




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3.328.     Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                             Check all that apply.
           CASSIDY, JUSTIN DAVID                                                                             UNDETERMINED
           J. NELSON THOMAS THOMAS & SOLOMON LLP             þ Contingent
           693 EAST AVENUE
           ROCHESTER NY 14607                                þ Unliquidated
                                                             þ Disputed
           Date or dates debt was incurred                   Basis for the claim:
           VARIOUS                                           CIVIL ACTION NO. 6:15-CV-06742
                                                             PENDING LITIGATION
           Last 4 digits of account number:
                                                             Is the claim subject to offset?

                                                             þ No
                                                             ¨ Yes

3.329.     Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                             Check all that apply.
           CASTANEDA, ROBERT GABRIEL                                                                         UNDETERMINED
           J. NELSON THOMAS THOMAS & SOLOMON LLP             þ Contingent
           693 EAST AVENUE
           ROCHESTER NY 14607                                þ Unliquidated
                                                             þ Disputed
           Date or dates debt was incurred                   Basis for the claim:
           VARIOUS                                           CIVIL ACTION NO. 6:15-CV-06742
                                                             PENDING LITIGATION
           Last 4 digits of account number:
                                                             Is the claim subject to offset?

                                                             þ No
                                                             ¨ Yes

3.330.     Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                             Check all that apply.
           CASTLE AND COOKE CORONA INC                                                                       UNDETERMINED
           LAURA WHITAKER                                    þ Contingent
           DARLENE CARPENTER
           10000 STOCKDALE HWY STE 300                       þ Unliquidated
           BAKERSFIELD CA 93311                              þ Disputed
           Date or dates debt was incurred                   Basis for the claim:
           VARIOUS                                           LANDLORD CLAIM
           Last 4 digits of account number:                  Is the claim subject to offset?

                                                             þ No
                                                             ¨ Yes




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3.331.     Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                             Check all that apply.
           CASTLE, MICHELLE B.                                                                               UNDETERMINED
           J. NELSON THOMAS THOMAS & SOLOMON LLP             þ Contingent
           693 EAST AVENUE
           ROCHESTER NY 14607                                þ Unliquidated
                                                             þ Disputed
           Date or dates debt was incurred                   Basis for the claim:
           VARIOUS                                           CIVIL ACTION NO. 6:15-CV-06742
                                                             PENDING LITIGATION
           Last 4 digits of account number:
                                                             Is the claim subject to offset?

                                                             þ No
                                                             ¨ Yes

3.332.     Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                             Check all that apply.
           CASTO, MICHELLE SZREJTER                                                                          UNDETERMINED
           J. NELSON THOMAS THOMAS & SOLOMON LLP             þ Contingent
           693 EAST AVENUE
           ROCHESTER NY 14607                                þ Unliquidated
                                                             þ Disputed
           Date or dates debt was incurred                   Basis for the claim:
           VARIOUS                                           CIVIL ACTION NO. 6:15-CV-06742
                                                             PENDING LITIGATION
           Last 4 digits of account number:
                                                             Is the claim subject to offset?

                                                             þ No
                                                             ¨ Yes

3.333.     Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                             Check all that apply.
           CASUAL DINING ALTAMONTE SPRINGS LLC                                                               UNDETERMINED
           GREY SQUIRES-BINFORD, ESQ. KILLGORE,              þ Contingent
           PEARLMAN ET AL
           2 SOUTH ORANGE AVE 5TH FL                         þ Unliquidated
           PO BOX 1913
           ORLANDO FL 32802-1913
                                                             þ Disputed
           Date or dates debt was incurred                   Basis for the claim:
           VARIOUS                                           CASE NO. 2017-CA-000895-15-W
                                                             PENDING REAL ESTATE LITIGATION
           Last 4 digits of account number:
                                                             Is the claim subject to offset?

                                                             þ No
                                                             ¨ Yes




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Debtor   MAC ACQUISITION LLC                                                                                 Case number (if known) 17-12224




3.334.     Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                             Check all that apply.
           CASUAL DINING ALTAMONTE SPRINGS LLC                                                               UNDETERMINED
           VAL NASANO/RICHARD NASANO                         þ Contingent
           MANAGER
           26 KNIGHTS CT                                     þ Unliquidated
           UPPER SADDLE RIVER NJ 07458                       þ Disputed
           Date or dates debt was incurred                   Basis for the claim:
           VARIOUS                                           LANDLORD CLAIM
           Last 4 digits of account number:                  Is the claim subject to offset?

                                                             þ No
                                                             ¨ Yes

3.335.     Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                             Check all that apply.
           CASUAL DINING COOL SPRINGS, LLC                                                                   UNDETERMINED
           STEVE LEFKOVITZ, ESQ.                             þ Contingent
           618 CHURCH STREET, SUITE 410
           LEFKOVITZ & LEFKOVITZ,                            þ Unliquidated
           NASHVILLE TN 37219                                þ Disputed
           Date or dates debt was incurred                   Basis for the claim:
           VARIOUS                                           CASE NO. 2017-CV-1153 PENDING REAL
                                                             ESTATE LITIGATION
           Last 4 digits of account number:
                                                             Is the claim subject to offset?

                                                             þ No
                                                             ¨ Yes

3.336.     Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                             Check all that apply.
           CATALAN, BENITO                                                                                   UNDETERMINED
           J. NELSON THOMAS THOMAS & SOLOMON LLP             þ Contingent
           693 EAST AVENUE
           ROCHESTER NY 14607                                þ Unliquidated
                                                             þ Disputed
           Date or dates debt was incurred                   Basis for the claim:
           VARIOUS                                           CIVIL ACTION NO. 6:15-CV-06742
                                                             PENDING LITIGATION
           Last 4 digits of account number:
                                                             Is the claim subject to offset?

                                                             þ No
                                                             ¨ Yes




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3.337.     Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                             Check all that apply.
           CATALAN, BENITO                                                                                   UNDETERMINED
           J. NELSON THOMAS THOMAS & SOLOMON LLP             þ Contingent
           693 EAST AVENUE
           ROCHESTER NY 14607                                þ Unliquidated
                                                             þ Disputed
           Date or dates debt was incurred                   Basis for the claim:
           VARIOUS                                           CIVIL ACTION NO. 6:15-CV-06742
                                                             PENDING LITIGATION
           Last 4 digits of account number:
                                                             Is the claim subject to offset?

                                                             þ No
                                                             ¨ Yes

3.338.     Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                             Check all that apply.
           CBL-FRIENDLY CENTER CMBS, LLC                                                                     UNDETERMINED
           ELLIOT A. FUS, ESQ.                               þ Contingent
           PO DRAWER 25008
           BLANCO TACKABERY & MATAMOROS, P.A.                þ Unliquidated
           WINSTON-SALEM NC 27114-5008                       þ Disputed
           Date or dates debt was incurred                   Basis for the claim:
           VARIOUS                                           CASE NO. 17-CVD-7502 PENDING REAL
                                                             ESTATE LITIGATION
           Last 4 digits of account number:
                                                             Is the claim subject to offset?

                                                             þ No
                                                             ¨ Yes

3.339.     Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                             Check all that apply.
           CBS - CUSTOM BUSINESS SOLUTIONS INC                                                               $153,994.84
           12 MORGAN                                         ¨ Contingent
           IRVINE CA 92618
                                                             ¨ Unliquidated
                                                             ¨ Disputed
           Date or dates debt was incurred                   Basis for the claim:
           VARIOUS                                           TRADE ACCOUNTS PAYABLE
           Last 4 digits of account number:                  Is the claim subject to offset?

                                                             þ No
                                                             ¨ Yes




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Debtor   MAC ACQUISITION LLC                                                                                 Case number (if known) 17-12224




3.340.     Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                             Check all that apply.
           CDW DIRECT LLC                                                                                    $85,884.79
           PO BOX 75723                                      ¨ Contingent
           CHICAGO IL 60675
                                                             ¨ Unliquidated
                                                             ¨ Disputed
           Date or dates debt was incurred                   Basis for the claim:
           VARIOUS                                           TRADE ACCOUNTS PAYABLE
           Last 4 digits of account number:                  Is the claim subject to offset?

                                                             þ No
                                                             ¨ Yes

3.341.     Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                             Check all that apply.
           CECIL, CARRIE ANN                                                                                 UNDETERMINED
           J. NELSON THOMAS THOMAS & SOLOMON LLP             þ Contingent
           693 EAST AVENUE
           ROCHESTER NY 14607                                þ Unliquidated
                                                             þ Disputed
           Date or dates debt was incurred                   Basis for the claim:
           VARIOUS                                           CIVIL ACTION NO. 6:15-CV-06742
                                                             PENDING LITIGATION
           Last 4 digits of account number:
                                                             Is the claim subject to offset?

                                                             þ No
                                                             ¨ Yes

3.342.     Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                             Check all that apply.
           CELING PRO ETC. INC.                                                                              $1,159.88
           PO BOX 784                                        ¨ Contingent
           SORRENTO FL 32776
                                                             ¨ Unliquidated
                                                             ¨ Disputed
           Date or dates debt was incurred                   Basis for the claim:
           VARIOUS                                           TRADE ACCOUNTS PAYABLE
           Last 4 digits of account number:                  Is the claim subject to offset?

                                                             þ No
                                                             ¨ Yes




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Debtor   MAC ACQUISITION LLC                                                                                 Case number (if known) 17-12224




3.343.     Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                             Check all that apply.
           CENTRAL REALTY CORP                                                                               UNDETERMINED
           TODD HARDAWAY VP LEASING AND PROP                 þ Contingent
           MNGT
           PO BOX 1805 400 EAST STONE AVE                    þ Unliquidated
           GREENVILLE SC 29602                               þ Disputed
           Date or dates debt was incurred                   Basis for the claim:
           VARIOUS                                           LANDLORD CLAIM
           Last 4 digits of account number:                  Is the claim subject to offset?

                                                             þ No
                                                             ¨ Yes

3.344.     Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                             Check all that apply.
           CENTROS-RESTO(?), JOYLIZ                                                                          UNDETERMINED
           J. NELSON THOMAS THOMAS & SOLOMON LLP             þ Contingent
           693 EAST AVENUE
           ROCHESTER NY 14607                                þ Unliquidated
                                                             þ Disputed
           Date or dates debt was incurred                   Basis for the claim:
           VARIOUS                                           CIVIL ACTION NO. 6:15-CV-06742
                                                             PENDING LITIGATION
           Last 4 digits of account number:
                                                             Is the claim subject to offset?

                                                             þ No
                                                             ¨ Yes

3.345.     Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                             Check all that apply.
           CERNEA, ELLYTHABETH K.                                                                            UNDETERMINED
           J. NELSON THOMAS THOMAS & SOLOMON LLP             þ Contingent
           693 EAST AVENUE
           ROCHESTER NY 14607                                þ Unliquidated
                                                             þ Disputed
           Date or dates debt was incurred                   Basis for the claim:
           VARIOUS                                           CIVIL ACTION NO. 6:15-CV-06742
                                                             PENDING LITIGATION
           Last 4 digits of account number:
                                                             Is the claim subject to offset?

                                                             þ No
                                                             ¨ Yes




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3.346.     Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                             Check all that apply.
           CERRITOS GARP LLC                                                                                 UNDETERMINED
           FELECIA SERRA DIRECTOR OF PROPERTY                þ Contingent
           977 LOMAS SANTA FE DR STE A
           SOLANA BEACH CA 92075                             þ Unliquidated
                                                             þ Disputed
           Date or dates debt was incurred                   Basis for the claim:
           VARIOUS                                           LANDLORD CLAIM
           Last 4 digits of account number:                  Is the claim subject to offset?

                                                             þ No
                                                             ¨ Yes

3.347.     Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                             Check all that apply.
           CFS COMPLETE FACILITY SOLUT INC                                                                   $3,072.80
           2230 N RIDGE ROAD                                 ¨ Contingent
           WICHITA KS 67205
                                                             ¨ Unliquidated
                                                             ¨ Disputed
           Date or dates debt was incurred                   Basis for the claim:
           VARIOUS                                           TRADE ACCOUNTS PAYABLE
           Last 4 digits of account number:                  Is the claim subject to offset?

                                                             þ No
                                                             ¨ Yes

3.348.     Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                             Check all that apply.
           CH/MG RAMSEY OWNER LLC                                                                            UNDETERMINED
           C O FEDERMAN STEIFMAN LLP                         þ Contingent
           ARIANA GOLUB SR TRANSACTION MGR
           220 EAST 42ND ST 29TH FL                          þ Unliquidated
           NEW YORK NY 10017                                 þ Disputed
           Date or dates debt was incurred                   Basis for the claim:
           VARIOUS                                           LANDLORD CLAIM
           Last 4 digits of account number:                  Is the claim subject to offset?

                                                             þ No
                                                             ¨ Yes




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3.349.     Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                             Check all that apply.
           CHADHA, MAMTA                                                                                     UNDETERMINED
                                                             þ Contingent
                                                             þ Unliquidated
                                                             þ Disputed
           Date or dates debt was incurred                   Basis for the claim:
           VARIOUS                                           GENERAL LIABILITY CLAIMS
           Last 4 digits of account number:                  Is the claim subject to offset?

                                                             þ No
                                                             ¨ Yes

3.350.     Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                             Check all that apply.
           CHADHA, SAHIBA                                                                                    UNDETERMINED
           ZACHARY M. BEST                                   þ Contingent
           332 NORTH SECOND ST
           SAN JOSE CA 95112                                 þ Unliquidated
                                                             þ Disputed
           Date or dates debt was incurred                   Basis for the claim:
           VARIOUS                                           CASE NO. 3:17-CV-060921-LB - PENDING
                                                             LITIGATION
           Last 4 digits of account number:
                                                             Is the claim subject to offset?

                                                             þ No
                                                             ¨ Yes

3.351.     Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                             Check all that apply.
           CHADHA, SAHIBA                                                                                    UNDETERMINED
           ELAN N. STONE, RASNER & RASNER                    þ Contingent
           18881 VON KARMAN AVE
           STE 920                                           þ Unliquidated
           IRVINE CA 92612                                   þ Disputed
           Date or dates debt was incurred                   Basis for the claim:
           VARIOUS                                           CASE NO. 30-2016-00862227-CU-PO-CJC
                                                             PENDING LITIGATION
           Last 4 digits of account number:
                                                             Is the claim subject to offset?

                                                             þ No
                                                             ¨ Yes




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3.352.     Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                             Check all that apply.
           CHADHA, SAHIBA                                                                                    UNDETERMINED
                                                             þ Contingent
                                                             þ Unliquidated
                                                             þ Disputed
           Date or dates debt was incurred                   Basis for the claim:
           VARIOUS                                           GENERAL LIABILITY CLAIMS
           Last 4 digits of account number:                  Is the claim subject to offset?

                                                             þ No
                                                             ¨ Yes

3.353.     Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                             Check all that apply.
           CHADHA, SUBHASH                                                                                   UNDETERMINED
                                                             þ Contingent
                                                             þ Unliquidated
                                                             þ Disputed
           Date or dates debt was incurred                   Basis for the claim:
           VARIOUS                                           GENERAL LIABILITY CLAIMS
           Last 4 digits of account number:                  Is the claim subject to offset?

                                                             þ No
                                                             ¨ Yes

3.354.     Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                             Check all that apply.
           CHAMBERS, DANE                                                                                    UNDETERMINED
           J. NELSON THOMAS THOMAS & SOLOMON LLP             þ Contingent
           693 EAST AVENUE
           ROCHESTER NY 14607                                þ Unliquidated
                                                             þ Disputed
           Date or dates debt was incurred                   Basis for the claim:
           VARIOUS                                           CIVIL ACTION NO. 6:15-CV-06742
                                                             PENDING LITIGATION
           Last 4 digits of account number:
                                                             Is the claim subject to offset?

                                                             þ No
                                                             ¨ Yes




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Debtor   MAC ACQUISITION LLC                                                                                 Case number (if known) 17-12224




3.355.     Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                             Check all that apply.
           CHANEY, JR., RODRICK DONNELL                                                                      UNDETERMINED
           J. NELSON THOMAS THOMAS & SOLOMON LLP             þ Contingent
           693 EAST AVENUE
           ROCHESTER NY 14607                                þ Unliquidated
                                                             þ Disputed
           Date or dates debt was incurred                   Basis for the claim:
           VARIOUS                                           CIVIL ACTION NO. 6:15-CV-06742
                                                             PENDING LITIGATION
           Last 4 digits of account number:
                                                             Is the claim subject to offset?

                                                             þ No
                                                             ¨ Yes

3.356.     Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                             Check all that apply.
           CHAO, SHANE PEI                                                                                   UNDETERMINED
           J. NELSON THOMAS THOMAS & SOLOMON LLP             þ Contingent
           693 EAST AVENUE
           ROCHESTER NY 14607                                þ Unliquidated
                                                             þ Disputed
           Date or dates debt was incurred                   Basis for the claim:
           VARIOUS                                           CIVIL ACTION NO. 6:15-CV-06742
                                                             PENDING LITIGATION
           Last 4 digits of account number:
                                                             Is the claim subject to offset?

                                                             þ No
                                                             ¨ Yes

3.357.     Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                             Check all that apply.
           CHAPA, JAVIER                                                                                     UNDETERMINED
                                                             þ Contingent
                                                             þ Unliquidated
                                                             þ Disputed
           Date or dates debt was incurred                   Basis for the claim:
           VARIOUS                                           GENERAL LIABILITY CLAIMS
           Last 4 digits of account number:                  Is the claim subject to offset?

                                                             þ No
                                                             ¨ Yes




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3.358.     Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                             Check all that apply.
           CHAPEL, HANNAH L.                                                                                 UNDETERMINED
           J. NELSON THOMAS THOMAS & SOLOMON LLP             þ Contingent
           693 EAST AVENUE
           ROCHESTER NY 14607                                þ Unliquidated
                                                             þ Disputed
           Date or dates debt was incurred                   Basis for the claim:
           VARIOUS                                           CIVIL ACTION NO. 6:15-CV-06742
                                                             PENDING LITIGATION
           Last 4 digits of account number:
                                                             Is the claim subject to offset?

                                                             þ No
                                                             ¨ Yes

3.359.     Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                             Check all that apply.
           CHAPEL, HANNAH LESLIE                                                                             UNDETERMINED
           J. NELSON THOMAS THOMAS & SOLOMON LLP             þ Contingent
           693 EAST AVENUE
           ROCHESTER NY 14607                                þ Unliquidated
                                                             þ Disputed
           Date or dates debt was incurred                   Basis for the claim:
           VARIOUS                                           CIVIL ACTION NO. 6:15-CV-06742
                                                             PENDING LITIGATION
           Last 4 digits of account number:
                                                             Is the claim subject to offset?

                                                             þ No
                                                             ¨ Yes

3.360.     Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                             Check all that apply.
           CHAPMAN, ALEXANDER LEWIS                                                                          UNDETERMINED
           J. NELSON THOMAS THOMAS & SOLOMON LLP             þ Contingent
           693 EAST AVENUE
           ROCHESTER NY 14607                                þ Unliquidated
                                                             þ Disputed
           Date or dates debt was incurred                   Basis for the claim:
           VARIOUS                                           CIVIL ACTION NO. 6:15-CV-06742
                                                             PENDING LITIGATION
           Last 4 digits of account number:
                                                             Is the claim subject to offset?

                                                             þ No
                                                             ¨ Yes




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3.361.     Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                             Check all that apply.
           CHAPMAN, BROCK THEODORE                                                                           UNDETERMINED
           J. NELSON THOMAS THOMAS & SOLOMON LLP             þ Contingent
           693 EAST AVENUE
           ROCHESTER NY 14607                                þ Unliquidated
                                                             þ Disputed
           Date or dates debt was incurred                   Basis for the claim:
           VARIOUS                                           CIVIL ACTION NO. 6:15-CV-06742
                                                             PENDING LITIGATION
           Last 4 digits of account number:
                                                             Is the claim subject to offset?

                                                             þ No
                                                             ¨ Yes

3.362.     Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                             Check all that apply.
           CHARLIE SCIARA & SON PRODUCE CO INC                                                               $2,526.52
           4700 BURBANK RD                                   ¨ Contingent
           MEMPHIS TN 38118
                                                             ¨ Unliquidated
                                                             ¨ Disputed
           Date or dates debt was incurred                   Basis for the claim:
           VARIOUS                                           TRADE ACCOUNTS PAYABLE
           Last 4 digits of account number:                  Is the claim subject to offset?

                                                             þ No
                                                             ¨ Yes

3.363.     Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                             Check all that apply.
           CHEF DUDS INC                                                                                     $1,449.22
           300 SHAWNEE NORTH DR., STE. 300                   ¨ Contingent
           SUWANEE GA 30024
                                                             ¨ Unliquidated
                                                             ¨ Disputed
           Date or dates debt was incurred                   Basis for the claim:
           VARIOUS                                           TRADE ACCOUNTS PAYABLE
           Last 4 digits of account number:                  Is the claim subject to offset?

                                                             þ No
                                                             ¨ Yes




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3.364.     Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                             Check all that apply.
           CHEN, JACKIE H.                                                                                   UNDETERMINED
                                                             þ Contingent
                                                             þ Unliquidated
                                                             þ Disputed
           Date or dates debt was incurred                   Basis for the claim:
           VARIOUS                                           GENERAL LIABILITY CLAIMS
           Last 4 digits of account number:                  Is the claim subject to offset?

                                                             þ No
                                                             ¨ Yes

3.365.     Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                             Check all that apply.
           CHEN, JACKIE H.                                                                                   UNDETERMINED
                                                             þ Contingent
                                                             þ Unliquidated
                                                             þ Disputed
           Date or dates debt was incurred                   Basis for the claim:
           VARIOUS                                           GENERAL LIABILITY CLAIMS
           Last 4 digits of account number:                  Is the claim subject to offset?

                                                             þ No
                                                             ¨ Yes

3.366.     Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                             Check all that apply.
           CHEN, JULIA J.                                                                                    UNDETERMINED
           J. NELSON THOMAS THOMAS & SOLOMON LLP             þ Contingent
           693 EAST AVENUE
           ROCHESTER NY 14607                                þ Unliquidated
                                                             þ Disputed
           Date or dates debt was incurred                   Basis for the claim:
           VARIOUS                                           CIVIL ACTION NO. 6:15-CV-06742
                                                             PENDING LITIGATION
           Last 4 digits of account number:
                                                             Is the claim subject to offset?

                                                             þ No
                                                             ¨ Yes




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3.367.     Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                             Check all that apply.
           CHERNY, ERIC LAMONT                                                                               UNDETERMINED
           J. NELSON THOMAS THOMAS & SOLOMON LLP             þ Contingent
           693 EAST AVENUE
           ROCHESTER NY 14607                                þ Unliquidated
                                                             þ Disputed
           Date or dates debt was incurred                   Basis for the claim:
           VARIOUS                                           CIVIL ACTION NO. 6:15-CV-06742
                                                             PENDING LITIGATION
           Last 4 digits of account number:
                                                             Is the claim subject to offset?

                                                             þ No
                                                             ¨ Yes

3.368.     Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                             Check all that apply.
           CHERRY, MELISSA RAE                                                                               UNDETERMINED
           J. NELSON THOMAS THOMAS & SOLOMON LLP             þ Contingent
           693 EAST AVENUE
           ROCHESTER NY 14607                                þ Unliquidated
                                                             þ Disputed
           Date or dates debt was incurred                   Basis for the claim:
           VARIOUS                                           CIVIL ACTION NO. 6:15-CV-06742
                                                             PENDING LITIGATION
           Last 4 digits of account number:
                                                             Is the claim subject to offset?

                                                             þ No
                                                             ¨ Yes

3.369.     Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                             Check all that apply.
           CHIAZ, TERRI ANN                                                                                  UNDETERMINED
           J. NELSON THOMAS THOMAS & SOLOMON LLP             þ Contingent
           693 EAST AVENUE
           ROCHESTER NY 14607                                þ Unliquidated
                                                             þ Disputed
           Date or dates debt was incurred                   Basis for the claim:
           VARIOUS                                           CIVIL ACTION NO. 6:15-CV-06742
                                                             PENDING LITIGATION
           Last 4 digits of account number:
                                                             Is the claim subject to offset?

                                                             þ No
                                                             ¨ Yes




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3.370.     Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                             Check all that apply.
           CHILTON, THOMAS A.                                                                                UNDETERMINED
           J. NELSON THOMAS THOMAS & SOLOMON LLP             þ Contingent
           693 EAST AVENUE
           ROCHESTER NY 14607                                þ Unliquidated
                                                             þ Disputed
           Date or dates debt was incurred                   Basis for the claim:
           VARIOUS                                           CIVIL ACTION NO. 6:15-CV-06742
                                                             PENDING LITIGATION
           Last 4 digits of account number:
                                                             Is the claim subject to offset?

                                                             þ No
                                                             ¨ Yes

3.371.     Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                             Check all that apply.
           CHRISTENSEN & JENSEN PC                                                                           $300.00
           257 EAST 200 SOUTH, SUITE 1100                    ¨ Contingent
           SUTIE 1100
           SALT LAKE CITY UT 84111                           ¨ Unliquidated
                                                             ¨ Disputed
           Date or dates debt was incurred                   Basis for the claim:
           VARIOUS                                           LEGAL
           Last 4 digits of account number:                  Is the claim subject to offset?

                                                             þ No
                                                             ¨ Yes

3.372.     Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                             Check all that apply.
           CHRISTIAN, SANDRA                                                                                 UNDETERMINED
           J. NELSON THOMAS THOMAS & SOLOMON LLP             þ Contingent
           693 EAST AVENUE
           ROCHESTER NY 14607                                þ Unliquidated
                                                             þ Disputed
           Date or dates debt was incurred                   Basis for the claim:
           VARIOUS                                           CIVIL ACTION NO. 6:15-CV-06742
                                                             PENDING LITIGATION
           Last 4 digits of account number:
                                                             Is the claim subject to offset?

                                                             þ No
                                                             ¨ Yes




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3.373.     Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                             Check all that apply.
           CHRISTIAN, SANDRA                                                                                 UNDETERMINED
           J. NELSON THOMAS THOMAS & SOLOMON LLP             þ Contingent
           693 EAST AVENUE
           ROCHESTER NY 14607                                þ Unliquidated
                                                             þ Disputed
           Date or dates debt was incurred                   Basis for the claim:
           VARIOUS                                           CIVIL ACTION NO. 6:15-CV-06742
                                                             PENDING LITIGATION
           Last 4 digits of account number:
                                                             Is the claim subject to offset?

                                                             þ No
                                                             ¨ Yes

3.374.     Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                             Check all that apply.
           CHU, BRANDON                                                                                      UNDETERMINED
           J. NELSON THOMAS THOMAS & SOLOMON LLP             þ Contingent
           693 EAST AVENUE
           ROCHESTER NY 14607                                þ Unliquidated
                                                             þ Disputed
           Date or dates debt was incurred                   Basis for the claim:
           VARIOUS                                           CIVIL ACTION NO. 6:15-CV-06742
                                                             PENDING LITIGATION
           Last 4 digits of account number:
                                                             Is the claim subject to offset?

                                                             þ No
                                                             ¨ Yes

3.375.     Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                             Check all that apply.
           CIANCI, JR., RICHARD JOSEPH                                                                       UNDETERMINED
           J. NELSON THOMAS THOMAS & SOLOMON LLP             þ Contingent
           693 EAST AVENUE
           ROCHESTER NY 14607                                þ Unliquidated
                                                             þ Disputed
           Date or dates debt was incurred                   Basis for the claim:
           VARIOUS                                           CIVIL ACTION NO. 6:15-CV-06742
                                                             PENDING LITIGATION
           Last 4 digits of account number:
                                                             Is the claim subject to offset?

                                                             þ No
                                                             ¨ Yes




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3.376.     Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                             Check all that apply.
           CILWA, KAREN HOPE                                                                                 UNDETERMINED
           J. NELSON THOMAS THOMAS & SOLOMON LLP             þ Contingent
           693 EAST AVENUE
           ROCHESTER NY 14607                                þ Unliquidated
                                                             þ Disputed
           Date or dates debt was incurred                   Basis for the claim:
           VARIOUS                                           CIVIL ACTION NO. 6:15-CV-06742
                                                             PENDING LITIGATION
           Last 4 digits of account number:
                                                             Is the claim subject to offset?

                                                             þ No
                                                             ¨ Yes

3.377.     Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                             Check all that apply.
           CIMOCK, AMANDA SUZETTE                                                                            UNDETERMINED
           J. NELSON THOMAS THOMAS & SOLOMON LLP             þ Contingent
           693 EAST AVENUE
           ROCHESTER NY 14607                                þ Unliquidated
                                                             þ Disputed
           Date or dates debt was incurred                   Basis for the claim:
           VARIOUS                                           CIVIL ACTION NO. 6:15-CV-06742
                                                             PENDING LITIGATION
           Last 4 digits of account number:
                                                             Is the claim subject to offset?

                                                             þ No
                                                             ¨ Yes

3.378.     Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                             Check all that apply.
           CINCINNATI BELL 513-107-9886 736                                                                  $271.52
           PO BOX 748003                                     ¨ Contingent
           CINCINNATI OH 45274
                                                             ¨ Unliquidated
                                                             ¨ Disputed
           Date or dates debt was incurred                   Basis for the claim:
           VARIOUS                                           TRADE ACCOUNTS PAYABLE
           Last 4 digits of account number:                  Is the claim subject to offset?

                                                             þ No
                                                             ¨ Yes




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3.379.     Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                             Check all that apply.
           CINTAS CORP #2                                                                                    $20,887.25
           4601 CREEKSTONE DRIVE                             ¨ Contingent
           STE 200
           DURHAM NC 27703                                   ¨ Unliquidated
                                                             ¨ Disputed
           Date or dates debt was incurred                   Basis for the claim:
           VARIOUS                                           TRADE ACCOUNTS PAYABLE
           Last 4 digits of account number:                  Is the claim subject to offset?

                                                             þ No
                                                             ¨ Yes

3.380.     Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                             Check all that apply.
           CIPOLLETTI, VICENZO                                                                               UNDETERMINED
           J. NELSON THOMAS THOMAS & SOLOMON LLP             þ Contingent
           693 EAST AVENUE
           ROCHESTER NY 14607                                þ Unliquidated
                                                             þ Disputed
           Date or dates debt was incurred                   Basis for the claim:
           VARIOUS                                           CIVIL ACTION NO. 6:15-CV-06742
                                                             PENDING LITIGATION
           Last 4 digits of account number:
                                                             Is the claim subject to offset?

                                                             þ No
                                                             ¨ Yes

3.381.     Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                             Check all that apply.
           CIRCLE CITY PRODUCE INC                                                                           $3,865.86
           4733 MASSACHUSETTS AVE                            ¨ Contingent
           INDIANAPOLIS IN 46218
                                                             ¨ Unliquidated
                                                             ¨ Disputed
           Date or dates debt was incurred                   Basis for the claim:
           VARIOUS                                           TRADE ACCOUNTS PAYABLE
           Last 4 digits of account number:                  Is the claim subject to offset?

                                                             þ No
                                                             ¨ Yes




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3.382.     Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                             Check all that apply.
           CISCO SYSTEMS CAPITAL CORP                                                                        $0.00
           PO BOX 742927                                     ¨ Contingent
           LOS ANGELES CA 90074
                                                             ¨ Unliquidated
                                                             ¨ Disputed
           Date or dates debt was incurred                   Basis for the claim:
           VARIOUS                                           TRADE ACCOUNTS PAYABLE
           Last 4 digits of account number:                  Is the claim subject to offset?

                                                             þ No
                                                             ¨ Yes

3.383.     Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                             Check all that apply.
           CISCO SYSTEMS CAPITAL CORP.                                                                       $54.45
           C/O PROPERTY TAX ALLIANCE, INC.                   þ Contingent
           PO BOX 311746
           NEW BRAUNFELS TX 78131-1746                       þ Unliquidated
                                                             þ Disputed
           Date or dates debt was incurred                   Basis for the claim:
           VARIOUS                                           TRADE ACCOUNTS PAYABLE
           Last 4 digits of account number:                  Is the claim subject to offset?

                                                             þ No
                                                             ¨ Yes

3.384.     Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                             Check all that apply.
           CLARK, ALEXANDRA JEE                                                                              UNDETERMINED
           J. NELSON THOMAS THOMAS & SOLOMON LLP             þ Contingent
           693 EAST AVENUE
           ROCHESTER NY 14607                                þ Unliquidated
                                                             þ Disputed
           Date or dates debt was incurred                   Basis for the claim:
           VARIOUS                                           CIVIL ACTION NO. 6:15-CV-06742
                                                             PENDING LITIGATION
           Last 4 digits of account number:
                                                             Is the claim subject to offset?

                                                             þ No
                                                             ¨ Yes




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3.385.     Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                             Check all that apply.
           CLARK, ERIK JAMES                                                                                 UNDETERMINED
           J. NELSON THOMAS THOMAS & SOLOMON LLP             þ Contingent
           693 EAST AVENUE
           ROCHESTER NY 14607                                þ Unliquidated
                                                             þ Disputed
           Date or dates debt was incurred                   Basis for the claim:
           VARIOUS                                           CIVIL ACTION NO. 6:15-CV-06742
                                                             PENDING LITIGATION
           Last 4 digits of account number:
                                                             Is the claim subject to offset?

                                                             þ No
                                                             ¨ Yes

3.386.     Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                             Check all that apply.
           CLARK, JAMES F.                                                                                   UNDETERMINED
           J. NELSON THOMAS THOMAS & SOLOMON LLP             þ Contingent
           693 EAST AVENUE
           ROCHESTER NY 14607                                þ Unliquidated
                                                             þ Disputed
           Date or dates debt was incurred                   Basis for the claim:
           VARIOUS                                           CIVIL ACTION NO. 6:15-CV-06742
                                                             PENDING LITIGATION
           Last 4 digits of account number:
                                                             Is the claim subject to offset?

                                                             þ No
                                                             ¨ Yes

3.387.     Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                             Check all that apply.
           CLARK, RYAN PATRICK                                                                               UNDETERMINED
           J. NELSON THOMAS THOMAS & SOLOMON LLP             þ Contingent
           693 EAST AVENUE
           ROCHESTER NY 14607                                þ Unliquidated
                                                             þ Disputed
           Date or dates debt was incurred                   Basis for the claim:
           VARIOUS                                           CIVIL ACTION NO. 6:15-CV-06742
                                                             PENDING LITIGATION
           Last 4 digits of account number:
                                                             Is the claim subject to offset?

                                                             þ No
                                                             ¨ Yes




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3.388.     Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                             Check all that apply.
           CLARK, TERRANCE XAVIER                                                                            UNDETERMINED
           J. NELSON THOMAS THOMAS & SOLOMON LLP             þ Contingent
           693 EAST AVENUE
           ROCHESTER NY 14607                                þ Unliquidated
                                                             þ Disputed
           Date or dates debt was incurred                   Basis for the claim:
           VARIOUS                                           CIVIL ACTION NO. 6:15-CV-06742
                                                             PENDING LITIGATION
           Last 4 digits of account number:
                                                             Is the claim subject to offset?

                                                             þ No
                                                             ¨ Yes

3.389.     Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                             Check all that apply.
           CLARKE KENT PLUMBING INC                                                                          $792.52
           1408 W BEN WHITE BLVD                             ¨ Contingent
           AUSTIN TX 78704
                                                             ¨ Unliquidated
                                                             ¨ Disputed
           Date or dates debt was incurred                   Basis for the claim:
           VARIOUS                                           TRADE ACCOUNTS PAYABLE
           Last 4 digits of account number:                  Is the claim subject to offset?

                                                             þ No
                                                             ¨ Yes

3.390.     Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                             Check all that apply.
           CLEMENS, TARAH L.                                                                                 UNDETERMINED
           J. NELSON THOMAS THOMAS & SOLOMON LLP             þ Contingent
           693 EAST AVENUE
           ROCHESTER NY 14607                                þ Unliquidated
                                                             þ Disputed
           Date or dates debt was incurred                   Basis for the claim:
           VARIOUS                                           CIVIL ACTION NO. 6:15-CV-06742
                                                             PENDING LITIGATION
           Last 4 digits of account number:
                                                             Is the claim subject to offset?

                                                             þ No
                                                             ¨ Yes




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Debtor   MAC ACQUISITION LLC                                                                                 Case number (if known) 17-12224




3.391.     Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                             Check all that apply.
           CLIFFORD, MARY CAROLEE                                                                            UNDETERMINED
           J. NELSON THOMAS THOMAS & SOLOMON LLP             þ Contingent
           693 EAST AVENUE
           ROCHESTER NY 14607                                þ Unliquidated
                                                             þ Disputed
           Date or dates debt was incurred                   Basis for the claim:
           VARIOUS                                           CIVIL ACTION NO. 6:15-CV-06742
                                                             PENDING LITIGATION
           Last 4 digits of account number:
                                                             Is the claim subject to offset?

                                                             þ No
                                                             ¨ Yes

3.392.     Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                             Check all that apply.
           CLIMA COOL A/C & HEATING                                                                          $6,206.20
           PO BOX 76168                                      ¨ Contingent
           SAN ANTONIO TX 78245
                                                             ¨ Unliquidated
                                                             ¨ Disputed
           Date or dates debt was incurred                   Basis for the claim:
           VARIOUS                                           TRADE ACCOUNTS PAYABLE
           Last 4 digits of account number:                  Is the claim subject to offset?

                                                             þ No
                                                             ¨ Yes

3.393.     Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                             Check all that apply.
           CLINE, AMANDA RENEE                                                                               UNDETERMINED
           J. NELSON THOMAS THOMAS & SOLOMON LLP             þ Contingent
           693 EAST AVENUE
           ROCHESTER NY 14607                                þ Unliquidated
                                                             þ Disputed
           Date or dates debt was incurred                   Basis for the claim:
           VARIOUS                                           CIVIL ACTION NO. 6:15-CV-06742
                                                             PENDING LITIGATION
           Last 4 digits of account number:
                                                             Is the claim subject to offset?

                                                             þ No
                                                             ¨ Yes




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Debtor   MAC ACQUISITION LLC                                                                                 Case number (if known) 17-12224




3.394.     Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                             Check all that apply.
           CLINE, ANDREW TIMOTHY                                                                             UNDETERMINED
           J. NELSON THOMAS THOMAS & SOLOMON LLP             þ Contingent
           693 EAST AVENUE
           ROCHESTER NY 14607                                þ Unliquidated
                                                             þ Disputed
           Date or dates debt was incurred                   Basis for the claim:
           VARIOUS                                           CIVIL ACTION NO. 6:15-CV-06742
                                                             PENDING LITIGATION
           Last 4 digits of account number:
                                                             Is the claim subject to offset?

                                                             þ No
                                                             ¨ Yes

3.395.     Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                             Check all that apply.
           CLINE, HOLLEY CHRISTINA                                                                           UNDETERMINED
           J. NELSON THOMAS THOMAS & SOLOMON LLP             þ Contingent
           693 EAST AVENUE
           ROCHESTER NY 14607                                þ Unliquidated
                                                             þ Disputed
           Date or dates debt was incurred                   Basis for the claim:
           VARIOUS                                           CIVIL ACTION NO. 6:15-CV-06742
                                                             PENDING LITIGATION
           Last 4 digits of account number:
                                                             Is the claim subject to offset?

                                                             þ No
                                                             ¨ Yes

3.396.     Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                             Check all that apply.
           CLINTON LAW FIRM                                                                                  $8,578.22
           100 OCEANGATE 14TH FLOOR                          ¨ Contingent
           LONG BEACH CA 90802
                                                             ¨ Unliquidated
                                                             ¨ Disputed
           Date or dates debt was incurred                   Basis for the claim:
           VARIOUS                                           LEGAL
           Last 4 digits of account number:                  Is the claim subject to offset?

                                                             þ No
                                                             ¨ Yes




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Debtor   MAC ACQUISITION LLC                                                                                 Case number (if known) 17-12224




3.397.     Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                             Check all that apply.
           COAST TO COAST COMPUTER PRODUCTS INC.                                                             $340.54
           4277 VALLEY FAIR STREET                           ¨ Contingent
           SIMI VALLEY CA 93063
                                                             ¨ Unliquidated
                                                             ¨ Disputed
           Date or dates debt was incurred                   Basis for the claim:
           VARIOUS                                           TRADE ACCOUNTS PAYABLE
           Last 4 digits of account number:                  Is the claim subject to offset?

                                                             þ No
                                                             ¨ Yes

3.398.     Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                             Check all that apply.
           COASTAL SUNBELT PRODUCE LLC                                                                       $18,517.64
           PO BOX 62860                                      ¨ Contingent
           BALTIMORE MD 21264-2860
                                                             ¨ Unliquidated
                                                             ¨ Disputed
           Date or dates debt was incurred                   Basis for the claim:
           VARIOUS                                           TRADE ACCOUNTS PAYABLE
           Last 4 digits of account number:                  Is the claim subject to offset?

                                                             þ No
                                                             ¨ Yes

3.399.     Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                             Check all that apply.
           COASTLINE ELECTRIC CO INC                                                                         $256.39
           DEPT 627 PO BOX 4346                              ¨ Contingent
           HOUSTON TX 77210
                                                             ¨ Unliquidated
                                                             ¨ Disputed
           Date or dates debt was incurred                   Basis for the claim:
           VARIOUS                                           TRADE ACCOUNTS PAYABLE
           Last 4 digits of account number:                  Is the claim subject to offset?

                                                             þ No
                                                             ¨ Yes




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Debtor   MAC ACQUISITION LLC                                                                                 Case number (if known) 17-12224




3.400.     Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                             Check all that apply.
           COBB, CRAIG ALLEN                                                                                 UNDETERMINED
           J. NELSON THOMAS THOMAS & SOLOMON LLP             þ Contingent
           693 EAST AVENUE
           ROCHESTER NY 14607                                þ Unliquidated
                                                             þ Disputed
           Date or dates debt was incurred                   Basis for the claim:
           VARIOUS                                           CIVIL ACTION NO. 6:15-CV-06742
                                                             PENDING LITIGATION
           Last 4 digits of account number:
                                                             Is the claim subject to offset?

                                                             þ No
                                                             ¨ Yes

3.401.     Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                             Check all that apply.
           COBB, THERESA A.                                                                                  UNDETERMINED
           J. NELSON THOMAS THOMAS & SOLOMON LLP             þ Contingent
           693 EAST AVENUE
           ROCHESTER NY 14607                                þ Unliquidated
                                                             þ Disputed
           Date or dates debt was incurred                   Basis for the claim:
           VARIOUS                                           CIVIL ACTION NO. 6:15-CV-06742
                                                             PENDING LITIGATION
           Last 4 digits of account number:
                                                             Is the claim subject to offset?

                                                             þ No
                                                             ¨ Yes

3.402.     Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                             Check all that apply.
           COBB, THERESA A.                                                                                  UNDETERMINED
           J. NELSON THOMAS THOMAS & SOLOMON LLP             þ Contingent
           693 EAST AVENUE
           ROCHESTER NY 14607                                þ Unliquidated
                                                             þ Disputed
           Date or dates debt was incurred                   Basis for the claim:
           VARIOUS                                           CIVIL ACTION NO. 6:15-CV-06742
                                                             PENDING LITIGATION
           Last 4 digits of account number:
                                                             Is the claim subject to offset?

                                                             þ No
                                                             ¨ Yes




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Debtor   MAC ACQUISITION LLC                                                                                 Case number (if known) 17-12224




3.403.     Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                             Check all that apply.
           COCA-COLA COMPANY (R&M ONLY)                                                                      $2,979.71
           121 BAKER ST NW                                   ¨ Contingent
           PO BOX 102703
           ATLANTA GA 30368                                  ¨ Unliquidated
                                                             ¨ Disputed
           Date or dates debt was incurred                   Basis for the claim:
           VARIOUS                                           TRADE ACCOUNTS PAYABLE
           Last 4 digits of account number:                  Is the claim subject to offset?

                                                             þ No
                                                             ¨ Yes

3.404.     Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                             Check all that apply.
           COCHRAN, TRACY ALISON                                                                             UNDETERMINED
           J. NELSON THOMAS THOMAS & SOLOMON LLP             þ Contingent
           693 EAST AVENUE
           ROCHESTER NY 14607                                þ Unliquidated
                                                             þ Disputed
           Date or dates debt was incurred                   Basis for the claim:
           VARIOUS                                           CIVIL ACTION NO. 6:15-CV-06742
                                                             PENDING LITIGATION
           Last 4 digits of account number:
                                                             Is the claim subject to offset?

                                                             þ No
                                                             ¨ Yes

3.405.     Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                             Check all that apply.
           COCKMAN, TYLER MATTHEW                                                                            UNDETERMINED
           J. NELSON THOMAS THOMAS & SOLOMON LLP             þ Contingent
           693 EAST AVENUE
           ROCHESTER NY 14607                                þ Unliquidated
                                                             þ Disputed
           Date or dates debt was incurred                   Basis for the claim:
           VARIOUS                                           CIVIL ACTION NO. 6:15-CV-06742
                                                             PENDING LITIGATION
           Last 4 digits of account number:
                                                             Is the claim subject to offset?

                                                             þ No
                                                             ¨ Yes




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Debtor   MAC ACQUISITION LLC                                                                                 Case number (if known) 17-12224




3.406.     Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                             Check all that apply.
           COKE, LINDSAY ELIZABETH                                                                           UNDETERMINED
           J. NELSON THOMAS THOMAS & SOLOMON LLP             þ Contingent
           693 EAST AVENUE
           ROCHESTER NY 14607                                þ Unliquidated
                                                             þ Disputed
           Date or dates debt was incurred                   Basis for the claim:
           VARIOUS                                           CIVIL ACTION NO. 6:15-CV-06742
                                                             PENDING LITIGATION
           Last 4 digits of account number:
                                                             Is the claim subject to offset?

                                                             þ No
                                                             ¨ Yes

3.407.     Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                             Check all that apply.
           COLANTUONI, KYLE                                                                                  UNDETERMINED
           J. NELSON THOMAS THOMAS & SOLOMON LLP             þ Contingent
           693 EAST AVENUE
           ROCHESTER NY 14607                                þ Unliquidated
                                                             þ Disputed
           Date or dates debt was incurred                   Basis for the claim:
           VARIOUS                                           CIVIL ACTION NO. 6:15-CV-06742
                                                             PENDING LITIGATION
           Last 4 digits of account number:
                                                             Is the claim subject to offset?

                                                             þ No
                                                             ¨ Yes

3.408.     Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                             Check all that apply.
           COLD AIR RESOURCES LLC                                                                            $5,681.74
           302 W MAIN STREET                                 ¨ Contingent
           ROYSE CITY TX 75189
                                                             ¨ Unliquidated
                                                             ¨ Disputed
           Date or dates debt was incurred                   Basis for the claim:
           VARIOUS                                           TRADE ACCOUNTS PAYABLE
           Last 4 digits of account number:                  Is the claim subject to offset?

                                                             þ No
                                                             ¨ Yes




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Debtor   MAC ACQUISITION LLC                                                                                 Case number (if known) 17-12224




3.409.     Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                             Check all that apply.
           COLD TECH REFRIGERATION INC.                                                                      $653.61
           PO BOX 33686                                      ¨ Contingent
           LAS VEGAS NV 89133
                                                             ¨ Unliquidated
                                                             ¨ Disputed
           Date or dates debt was incurred                   Basis for the claim:
           VARIOUS                                           TRADE ACCOUNTS PAYABLE
           Last 4 digits of account number:                  Is the claim subject to offset?

                                                             þ No
                                                             ¨ Yes

3.410.     Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                             Check all that apply.
           COLD TEMP REFRIGERATION INC                                                                       $6,399.02
           PO BOX 608476                                     ¨ Contingent
           ORLANDO FL 32860
                                                             ¨ Unliquidated
                                                             ¨ Disputed
           Date or dates debt was incurred                   Basis for the claim:
           VARIOUS                                           TRADE ACCOUNTS PAYABLE
           Last 4 digits of account number:                  Is the claim subject to offset?

                                                             þ No
                                                             ¨ Yes

3.411.     Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                             Check all that apply.
           COLDITZ, SHANNON LEE                                                                              UNDETERMINED
           J. NELSON THOMAS THOMAS & SOLOMON LLP             þ Contingent
           693 EAST AVENUE
           ROCHESTER NY 14607                                þ Unliquidated
                                                             þ Disputed
           Date or dates debt was incurred                   Basis for the claim:
           VARIOUS                                           CIVIL ACTION NO. 6:15-CV-06742
                                                             PENDING LITIGATION
           Last 4 digits of account number:
                                                             Is the claim subject to offset?

                                                             þ No
                                                             ¨ Yes




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3.412.     Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                             Check all that apply.
           COLE CH MG FLANDERS NJ LLC                                                                        UNDETERMINED
           LEGAL DEPT                                        þ Contingent
           KATHY ROWLAND
           2325 E CAMELBACK RD STE 1100                      þ Unliquidated
           PHOENIX AZ 85016                                  þ Disputed
           Date or dates debt was incurred                   Basis for the claim:
           VARIOUS                                           LANDLORD CLAIM
           Last 4 digits of account number:                  Is the claim subject to offset?

                                                             þ No
                                                             ¨ Yes

3.413.     Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                             Check all that apply.
           COLEMAN, TAJA R.                                                                                  UNDETERMINED
           J. NELSON THOMAS THOMAS & SOLOMON LLP             þ Contingent
           693 EAST AVENUE
           ROCHESTER NY 14607                                þ Unliquidated
                                                             þ Disputed
           Date or dates debt was incurred                   Basis for the claim:
           VARIOUS                                           CIVIL ACTION NO. 6:15-CV-06742
                                                             PENDING LITIGATION
           Last 4 digits of account number:
                                                             Is the claim subject to offset?

                                                             þ No
                                                             ¨ Yes

3.414.     Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                             Check all that apply.
           COLLARD, JONATHAN W.                                                                              UNDETERMINED
           J. NELSON THOMAS THOMAS & SOLOMON LLP             þ Contingent
           693 EAST AVENUE
           ROCHESTER NY 14607                                þ Unliquidated
                                                             þ Disputed
           Date or dates debt was incurred                   Basis for the claim:
           VARIOUS                                           CIVIL ACTION NO. 6:15-CV-06742
                                                             PENDING LITIGATION
           Last 4 digits of account number:
                                                             Is the claim subject to offset?

                                                             þ No
                                                             ¨ Yes




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3.415.     Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                             Check all that apply.
           COLUMBUS DINING DST                                                                               UNDETERMINED
           MICHAEL R. REED, ESQ. HAHN, LOWESER &             þ Contingent
           PARKS LLP
           65 EAST STATE STREET                              þ Unliquidated
           STE 1400
           COLUMBUS OH 43215
                                                             þ Disputed
           Date or dates debt was incurred                   Basis for the claim:
           VARIOUS                                           CASE NO. 17CV-04-3549 PENDING REAL
                                                             ESTATE LITIGATION
           Last 4 digits of account number:
                                                             Is the claim subject to offset?

                                                             þ No
                                                             ¨ Yes

3.416.     Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                             Check all that apply.
           COLUNGA, MARIA LUISA                                                                              UNDETERMINED
           J. NELSON THOMAS THOMAS & SOLOMON LLP             þ Contingent
           693 EAST AVENUE
           ROCHESTER NY 14607                                þ Unliquidated
                                                             þ Disputed
           Date or dates debt was incurred                   Basis for the claim:
           VARIOUS                                           CIVIL ACTION NO. 6:15-CV-06742
                                                             PENDING LITIGATION
           Last 4 digits of account number:
                                                             Is the claim subject to offset?

                                                             þ No
                                                             ¨ Yes

3.417.     Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                             Check all that apply.
           COLVIN, SYDNEY                                                                                    UNDETERMINED
           J. NELSON THOMAS THOMAS & SOLOMON LLP             þ Contingent
           693 EAST AVENUE
           ROCHESTER NY 14607                                þ Unliquidated
                                                             þ Disputed
           Date or dates debt was incurred                   Basis for the claim:
           VARIOUS                                           CIVIL ACTION NO. 6:15-CV-06742
                                                             PENDING LITIGATION
           Last 4 digits of account number:
                                                             Is the claim subject to offset?

                                                             þ No
                                                             ¨ Yes




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3.418.     Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                             Check all that apply.
           COLWELL, ANA                                                                                      UNDETERMINED
           J. NELSON THOMAS THOMAS & SOLOMON LLP             þ Contingent
           693 EAST AVENUE
           ROCHESTER NY 14607                                þ Unliquidated
                                                             þ Disputed
           Date or dates debt was incurred                   Basis for the claim:
           VARIOUS                                           CIVIL ACTION NO. 6:15-CV-06742
                                                             PENDING LITIGATION
           Last 4 digits of account number:
                                                             Is the claim subject to offset?

                                                             þ No
                                                             ¨ Yes

3.419.     Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                             Check all that apply.
           COLWELL, MARISA BIANCA                                                                            UNDETERMINED
           J. NELSON THOMAS THOMAS & SOLOMON LLP             þ Contingent
           693 EAST AVENUE
           ROCHESTER NY 14607                                þ Unliquidated
                                                             þ Disputed
           Date or dates debt was incurred                   Basis for the claim:
           VARIOUS                                           CIVIL ACTION NO. 6:15-CV-06742
                                                             PENDING LITIGATION
           Last 4 digits of account number:
                                                             Is the claim subject to offset?

                                                             þ No
                                                             ¨ Yes

3.420.     Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                             Check all that apply.
           COMCAST 09544 271735-01-3                                                                         $228.70
           PO BOX 105257                                     ¨ Contingent
           ATLANTA GA 30348
                                                             ¨ Unliquidated
                                                             ¨ Disputed
           Date or dates debt was incurred                   Basis for the claim:
           VARIOUS                                           TRADE ACCOUNTS PAYABLE
           Last 4 digits of account number:                  Is the claim subject to offset?

                                                             þ No
                                                             ¨ Yes




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3.421.     Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                             Check all that apply.
           COMCAST 8497 40 424 1041349                                                                       $105.52
           PO BOX 34744                                      ¨ Contingent
           SEATTLE WA 98124
                                                             ¨ Unliquidated
                                                             ¨ Disputed
           Date or dates debt was incurred                   Basis for the claim:
           VARIOUS                                           TRADE ACCOUNTS PAYABLE
           Last 4 digits of account number:                  Is the claim subject to offset?

                                                             þ No
                                                             ¨ Yes

3.422.     Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                             Check all that apply.
           COMCAST 8499 20 007 1106022                                                                       $154.65
           PO BOX 3001                                       ¨ Contingent
           SOUTHEASTERN PA 19398
                                                             ¨ Unliquidated
                                                             ¨ Disputed
           Date or dates debt was incurred                   Basis for the claim:
           VARIOUS                                           TRADE ACCOUNTS PAYABLE
           Last 4 digits of account number:                  Is the claim subject to offset?

                                                             þ No
                                                             ¨ Yes

3.423.     Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                             Check all that apply.
           COMCAST 8771 10 122 0648030                                                                       $219.20
           PO BOX 3001                                       ¨ Contingent
           SOUTHEASTERN PA 19398
                                                             ¨ Unliquidated
                                                             ¨ Disputed
           Date or dates debt was incurred                   Basis for the claim:
           VARIOUS                                           TRADE ACCOUNTS PAYABLE
           Last 4 digits of account number:                  Is the claim subject to offset?

                                                             þ No
                                                             ¨ Yes




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Debtor   MAC ACQUISITION LLC                                                                                 Case number (if known) 17-12224




3.424.     Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                             Check all that apply.
           COMCAST 8771 20 047 0670015                                                                       $642.06
           PO BOX 3001                                       ¨ Contingent
           SOUTHEASTERN PA 19398-3001
                                                             ¨ Unliquidated
                                                             ¨ Disputed
           Date or dates debt was incurred                   Basis for the claim:
           VARIOUS                                           TRADE ACCOUNTS PAYABLE
           Last 4 digits of account number:                  Is the claim subject to offset?

                                                             þ No
                                                             ¨ Yes

3.425.     Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                             Check all that apply.
           COMCAST 8777 70 216 5501078                                                                       $112.03
           PO BOX 660618                                     ¨ Contingent
           DALLAS TX 75266
                                                             ¨ Unliquidated
                                                             ¨ Disputed
           Date or dates debt was incurred                   Basis for the claim:
           VARIOUS                                           TRADE ACCOUNTS PAYABLE
           Last 4 digits of account number:                  Is the claim subject to offset?

                                                             þ No
                                                             ¨ Yes

3.426.     Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                             Check all that apply.
           COMCAST 8777 70 317 5199150                                                                       $1,152.37
           PO BOX 660618                                     ¨ Contingent
           DALLAS TX 75266
                                                             ¨ Unliquidated
                                                             ¨ Disputed
           Date or dates debt was incurred                   Basis for the claim:
           VARIOUS                                           TRADE ACCOUNTS PAYABLE
           Last 4 digits of account number:                  Is the claim subject to offset?

                                                             þ No
                                                             ¨ Yes




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Debtor   MAC ACQUISITION LLC                                                                                 Case number (if known) 17-12224




3.427.     Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                             Check all that apply.
           COMMERCIAL KITCHEN OF SOUTH FL INC                                                                $749.00
           DBA PROFESSIONAL TECHNOLOGIES                     ¨ Contingent
           PO BOX 901283
           HOMESTEAD FL 33090                                ¨ Unliquidated
                                                             ¨ Disputed
           Date or dates debt was incurred                   Basis for the claim:
           VARIOUS                                           TRADE ACCOUNTS PAYABLE
           Last 4 digits of account number:                  Is the claim subject to offset?

                                                             þ No
                                                             ¨ Yes

3.428.     Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                             Check all that apply.
           COMMERCIAL RESTORATION SERVICE                                                                    $350.00
           PO BOX 577                                        ¨ Contingent
           SANDROD NC 27331
                                                             ¨ Unliquidated
                                                             ¨ Disputed
           Date or dates debt was incurred                   Basis for the claim:
           VARIOUS                                           TRADE ACCOUNTS PAYABLE
           Last 4 digits of account number:                  Is the claim subject to offset?

                                                             þ No
                                                             ¨ Yes

3.429.     Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                             Check all that apply.
           COMMERCIAL SEATING SPEC INC                                                                       $1,072.12
           481 LAURELWOOD RD                                 ¨ Contingent
           SANTA CLARA CA 95054
                                                             ¨ Unliquidated
                                                             ¨ Disputed
           Date or dates debt was incurred                   Basis for the claim:
           VARIOUS                                           TRADE ACCOUNTS PAYABLE
           Last 4 digits of account number:                  Is the claim subject to offset?

                                                             þ No
                                                             ¨ Yes




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3.430.     Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                             Check all that apply.
           COMPETITION ELECTRIC                                                                              $758.99
           PO BOX 1274                                       ¨ Contingent
           FORNEY TX 75126
                                                             ¨ Unliquidated
                                                             ¨ Disputed
           Date or dates debt was incurred                   Basis for the claim:
           VARIOUS                                           TRADE ACCOUNTS PAYABLE
           Last 4 digits of account number:                  Is the claim subject to offset?

                                                             þ No
                                                             ¨ Yes

3.431.     Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                             Check all that apply.
           COMPTON, JR., WARREN                                                                              UNDETERMINED
           J. NELSON THOMAS THOMAS & SOLOMON LLP             þ Contingent
           693 EAST AVENUE
           ROCHESTER NY 14607                                þ Unliquidated
                                                             þ Disputed
           Date or dates debt was incurred                   Basis for the claim:
           VARIOUS                                           CIVIL ACTION NO. 6:15-CV-06742
                                                             PENDING LITIGATION
           Last 4 digits of account number:
                                                             Is the claim subject to offset?

                                                             þ No
                                                             ¨ Yes

3.432.     Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                             Check all that apply.
           COMSAL - TAXPSAVER PLAN                                                                           $1,557.15
           PO BOX 609002                                     ¨ Contingent
           DALLAS TX 75360
                                                             ¨ Unliquidated
                                                             ¨ Disputed
           Date or dates debt was incurred                   Basis for the claim:
           VARIOUS                                           TRADE ACCOUNTS PAYABLE
           Last 4 digits of account number:                  Is the claim subject to offset?

                                                             þ No
                                                             ¨ Yes




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3.433.     Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                             Check all that apply.
           CONCORD SQUARE ASSOCIATES LLC                                                                     UNDETERMINED
           CAPANO MANAGEMENT CO                              þ Contingent
           KAREN M FINI DIR COMMERCIAL PROP
           105 FOULK RD                                      þ Unliquidated
           WILMINGTON DE 19803                               þ Disputed
           Date or dates debt was incurred                   Basis for the claim:
           VARIOUS                                           LANDLORD CLAIM
           Last 4 digits of account number:                  Is the claim subject to offset?

                                                             þ No
                                                             ¨ Yes

3.434.     Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                             Check all that apply.
           CONKLIN, RAYMOND                                                                                  UNDETERMINED
           J. NELSON THOMAS THOMAS & SOLOMON LLP             þ Contingent
           693 EAST AVENUE
           ROCHESTER NY 14607                                þ Unliquidated
                                                             þ Disputed
           Date or dates debt was incurred                   Basis for the claim:
           VARIOUS                                           CIVIL ACTION NO. 6:15-CV-06742
                                                             PENDING LITIGATION
           Last 4 digits of account number:
                                                             Is the claim subject to offset?

                                                             þ No
                                                             ¨ Yes

3.435.     Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                             Check all that apply.
           CONNELLY, KELLY ANN                                                                               UNDETERMINED
           J. NELSON THOMAS THOMAS & SOLOMON LLP             þ Contingent
           693 EAST AVENUE
           ROCHESTER NY 14607                                þ Unliquidated
                                                             þ Disputed
           Date or dates debt was incurred                   Basis for the claim:
           VARIOUS                                           CIVIL ACTION NO. 6:15-CV-06742
                                                             PENDING LITIGATION
           Last 4 digits of account number:
                                                             Is the claim subject to offset?

                                                             þ No
                                                             ¨ Yes




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3.436.     Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                             Check all that apply.
           CONSTRUCTION SOLUTIONS INC                                                                        $600.00
           222 W STONE ROAD                                  ¨ Contingent
           VILLA PARK IL 60181
                                                             ¨ Unliquidated
                                                             ¨ Disputed
           Date or dates debt was incurred                   Basis for the claim:
           VARIOUS                                           TRADE ACCOUNTS PAYABLE
           Last 4 digits of account number:                  Is the claim subject to offset?

                                                             þ No
                                                             ¨ Yes

3.437.     Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                             Check all that apply.
           COOK, JESSICA LEE                                                                                 UNDETERMINED
           J. NELSON THOMAS THOMAS & SOLOMON LLP             þ Contingent
           693 EAST AVENUE
           ROCHESTER NY 14607                                þ Unliquidated
                                                             þ Disputed
           Date or dates debt was incurred                   Basis for the claim:
           VARIOUS                                           CIVIL ACTION NO. 6:15-CV-06742
                                                             PENDING LITIGATION
           Last 4 digits of account number:
                                                             Is the claim subject to offset?

                                                             þ No
                                                             ¨ Yes

3.438.     Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                             Check all that apply.
           COOKE, CRYSTAL                                                                                    UNDETERMINED
           J. NELSON THOMAS THOMAS & SOLOMON LLP             þ Contingent
           693 EAST AVENUE
           ROCHESTER NY 14607                                þ Unliquidated
                                                             þ Disputed
           Date or dates debt was incurred                   Basis for the claim:
           VARIOUS                                           CIVIL ACTION NO. 6:15-CV-06742
                                                             PENDING LITIGATION
           Last 4 digits of account number:
                                                             Is the claim subject to offset?

                                                             þ No
                                                             ¨ Yes




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3.439.     Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                             Check all that apply.
           COOKE, CRYSTAL                                                                                    UNDETERMINED
           J. NELSON THOMAS THOMAS & SOLOMON LLP             þ Contingent
           693 EAST AVENUE
           ROCHESTER NY 14607                                þ Unliquidated
                                                             þ Disputed
           Date or dates debt was incurred                   Basis for the claim:
           VARIOUS                                           CIVIL ACTION NO. 6:15-CV-06742
                                                             PENDING LITIGATION
           Last 4 digits of account number:
                                                             Is the claim subject to offset?

                                                             þ No
                                                             ¨ Yes

3.440.     Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                             Check all that apply.
           COOP, AMANDA N.                                                                                   UNDETERMINED
           J. NELSON THOMAS THOMAS & SOLOMON LLP             þ Contingent
           693 EAST AVENUE
           ROCHESTER NY 14607                                þ Unliquidated
                                                             þ Disputed
           Date or dates debt was incurred                   Basis for the claim:
           VARIOUS                                           CIVIL ACTION NO. 6:15-CV-06742
                                                             PENDING LITIGATION
           Last 4 digits of account number:
                                                             Is the claim subject to offset?

                                                             þ No
                                                             ¨ Yes

3.441.     Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                             Check all that apply.
           COORDINATED SYSTEMS & SUPPLIES, INC.                                                              $7,345.61
           PO BOX 58                                         ¨ Contingent
           WICHITA KS 67201
                                                             ¨ Unliquidated
                                                             ¨ Disputed
           Date or dates debt was incurred                   Basis for the claim:
           VARIOUS                                           TRADE ACCOUNTS PAYABLE
           Last 4 digits of account number:                  Is the claim subject to offset?

                                                             þ No
                                                             ¨ Yes




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3.442.     Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                             Check all that apply.
           COPAY-HALL, MARCEL                                                                                UNDETERMINED
           J. NELSON THOMAS THOMAS & SOLOMON LLP             þ Contingent
           693 EAST AVENUE
           ROCHESTER NY 14607                                þ Unliquidated
                                                             þ Disputed
           Date or dates debt was incurred                   Basis for the claim:
           VARIOUS                                           CIVIL ACTION NO. 6:15-CV-06742
                                                             PENDING LITIGATION
           Last 4 digits of account number:
                                                             Is the claim subject to offset?

                                                             þ No
                                                             ¨ Yes

3.443.     Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                             Check all that apply.
           COPAY-HALL, MARCEL ISIDORE                                                                        UNDETERMINED
           J. NELSON THOMAS THOMAS & SOLOMON LLP             þ Contingent
           693 EAST AVENUE
           ROCHESTER NY 14607                                þ Unliquidated
                                                             þ Disputed
           Date or dates debt was incurred                   Basis for the claim:
           VARIOUS                                           CIVIL ACTION NO. 6:15-CV-06742
                                                             PENDING LITIGATION
           Last 4 digits of account number:
                                                             Is the claim subject to offset?

                                                             þ No
                                                             ¨ Yes

3.444.     Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                             Check all that apply.
           COPELAND, ILEY SCOTT                                                                              UNDETERMINED
           J. NELSON THOMAS THOMAS & SOLOMON LLP             þ Contingent
           693 EAST AVENUE
           ROCHESTER NY 14607                                þ Unliquidated
                                                             þ Disputed
           Date or dates debt was incurred                   Basis for the claim:
           VARIOUS                                           CIVIL ACTION NO. 6:15-CV-06742
                                                             PENDING LITIGATION
           Last 4 digits of account number:
                                                             Is the claim subject to offset?

                                                             þ No
                                                             ¨ Yes




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3.445.     Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                             Check all that apply.
           COPPEDGE, WILLIAM JACOB                                                                           UNDETERMINED
           J. NELSON THOMAS THOMAS & SOLOMON LLP             þ Contingent
           693 EAST AVENUE
           ROCHESTER NY 14607                                þ Unliquidated
                                                             þ Disputed
           Date or dates debt was incurred                   Basis for the claim:
           VARIOUS                                           CIVIL ACTION NO. 6:15-CV-06742
                                                             PENDING LITIGATION
           Last 4 digits of account number:
                                                             Is the claim subject to offset?

                                                             þ No
                                                             ¨ Yes

3.446.     Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                             Check all that apply.
           CORKERY, JULIA MARIA                                                                              UNDETERMINED
           J. NELSON THOMAS THOMAS & SOLOMON LLP             þ Contingent
           693 EAST AVENUE
           ROCHESTER NY 14607                                þ Unliquidated
                                                             þ Disputed
           Date or dates debt was incurred                   Basis for the claim:
           VARIOUS                                           CIVIL ACTION NO. 6:15-CV-06742
                                                             PENDING LITIGATION
           Last 4 digits of account number:
                                                             Is the claim subject to offset?

                                                             þ No
                                                             ¨ Yes

3.447.     Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                             Check all that apply.
           COSCO FIRE PROTECTION, INC                                                                        $2,248.73
           3620 W RENO AVE STE K                             ¨ Contingent
           LAS VEGAS NV 89118
                                                             ¨ Unliquidated
                                                             ¨ Disputed
           Date or dates debt was incurred                   Basis for the claim:
           VARIOUS                                           TRADE ACCOUNTS PAYABLE
           Last 4 digits of account number:                  Is the claim subject to offset?

                                                             þ No
                                                             ¨ Yes




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3.448.     Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                             Check all that apply.
           COSCO FIRE PROTECTION, INC.                                                                       $14,320.04
           1075 W LAMBERT RD, BLDG D                         ¨ Contingent
           BREA CA 92821-2944
                                                             ¨ Unliquidated
                                                             ¨ Disputed
           Date or dates debt was incurred                   Basis for the claim:
           VARIOUS                                           TRADE ACCOUNTS PAYABLE
           Last 4 digits of account number:                  Is the claim subject to offset?

                                                             þ No
                                                             ¨ Yes

3.449.     Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                             Check all that apply.
           COSGRIFF, COURTNEY                                                                                UNDETERMINED
           J. NELSON THOMAS THOMAS & SOLOMON LLP             þ Contingent
           693 EAST AVENUE
           ROCHESTER NY 14607                                þ Unliquidated
                                                             þ Disputed
           Date or dates debt was incurred                   Basis for the claim:
           VARIOUS                                           CIVIL ACTION NO. 6:15-CV-06742
                                                             PENDING LITIGATION
           Last 4 digits of account number:
                                                             Is the claim subject to offset?

                                                             þ No
                                                             ¨ Yes

3.450.     Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                             Check all that apply.
           COTNER, JOAN                                                                                      UNDETERMINED
           J. NELSON THOMAS THOMAS & SOLOMON LLP             þ Contingent
           693 EAST AVENUE
           ROCHESTER NY 14607                                þ Unliquidated
                                                             þ Disputed
           Date or dates debt was incurred                   Basis for the claim:
           VARIOUS                                           CIVIL ACTION NO. 6:15-CV-06742
                                                             PENDING LITIGATION
           Last 4 digits of account number:
                                                             Is the claim subject to offset?

                                                             þ No
                                                             ¨ Yes




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3.451.     Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                             Check all that apply.
           COUNTS, TERAH RANETHA                                                                             UNDETERMINED
           J. NELSON THOMAS THOMAS & SOLOMON LLP             þ Contingent
           693 EAST AVENUE
           ROCHESTER NY 14607                                þ Unliquidated
                                                             þ Disputed
           Date or dates debt was incurred                   Basis for the claim:
           VARIOUS                                           CIVIL ACTION NO. 6:15-CV-06742
                                                             PENDING LITIGATION
           Last 4 digits of account number:
                                                             Is the claim subject to offset?

                                                             þ No
                                                             ¨ Yes

3.452.     Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                             Check all that apply.
           COUNTY OF LOUDOUN                                                                                 $500.00
           PO BOX 3232                                       ¨ Contingent
           LEESBURG VA 20177
                                                             ¨ Unliquidated
                                                             ¨ Disputed
           Date or dates debt was incurred                   Basis for the claim:
           VARIOUS                                           TRADE ACCOUNTS PAYABLE
           Last 4 digits of account number:                  Is the claim subject to offset?

                                                             þ No
                                                             ¨ Yes

3.453.     Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                             Check all that apply.
           COURREGE, DAVID J.                                                                                UNDETERMINED
           J. NELSON THOMAS THOMAS & SOLOMON LLP             þ Contingent
           693 EAST AVENUE
           ROCHESTER NY 14607                                þ Unliquidated
                                                             þ Disputed
           Date or dates debt was incurred                   Basis for the claim:
           VARIOUS                                           CIVIL ACTION NO. 6:15-CV-06742
                                                             PENDING LITIGATION
           Last 4 digits of account number:
                                                             Is the claim subject to offset?

                                                             þ No
                                                             ¨ Yes




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3.454.     Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                             Check all that apply.
           COURTNEY HECKMAN                                                                                  UNDETERMINED
                                                             þ Contingent
                                                             þ Unliquidated
                                                             þ Disputed
           Date or dates debt was incurred                   Basis for the claim:
           VARIOUS                                           EMPLOYMENT CLAIM
           Last 4 digits of account number:                  Is the claim subject to offset?

                                                             þ No
                                                             ¨ Yes

3.455.     Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                             Check all that apply.
           COWLES, CLYDE                                                                                     UNDETERMINED
           J. NELSON THOMAS THOMAS & SOLOMON LLP             þ Contingent
           693 EAST AVENUE
           ROCHESTER NY 14607                                þ Unliquidated
                                                             þ Disputed
           Date or dates debt was incurred                   Basis for the claim:
           VARIOUS                                           CIVIL ACTION NO. 6:15-CV-06742
                                                             PENDING LITIGATION
           Last 4 digits of account number:
                                                             Is the claim subject to offset?

                                                             þ No
                                                             ¨ Yes

3.456.     Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                             Check all that apply.
           COX, ROSANNA                                                                                      UNDETERMINED
           J. NELSON THOMAS THOMAS & SOLOMON LLP             þ Contingent
           693 EAST AVENUE
           ROCHESTER NY 14607                                þ Unliquidated
                                                             þ Disputed
           Date or dates debt was incurred                   Basis for the claim:
           VARIOUS                                           CIVIL ACTION NO. 6:15-CV-06742
                                                             PENDING LITIGATION
           Last 4 digits of account number:
                                                             Is the claim subject to offset?

                                                             þ No
                                                             ¨ Yes




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3.457.     Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                             Check all that apply.
           COX, ROSANNA GAIL                                                                                 UNDETERMINED
           J. NELSON THOMAS THOMAS & SOLOMON LLP             þ Contingent
           693 EAST AVENUE
           ROCHESTER NY 14607                                þ Unliquidated
                                                             þ Disputed
           Date or dates debt was incurred                   Basis for the claim:
           VARIOUS                                           CIVIL ACTION NO. 6:15-CV-06742
                                                             PENDING LITIGATION
           Last 4 digits of account number:
                                                             Is the claim subject to offset?

                                                             þ No
                                                             ¨ Yes

3.458.     Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                             Check all that apply.
           COZZINI BROS INC (SUPPLY)                                                                         $26,191.59
           350 HOWARD AVE                                    ¨ Contingent
           DES PLAINES IL 60018
                                                             ¨ Unliquidated
                                                             ¨ Disputed
           Date or dates debt was incurred                   Basis for the claim:
           VARIOUS                                           TRADE ACCOUNTS PAYABLE
           Last 4 digits of account number:                  Is the claim subject to offset?

                                                             þ No
                                                             ¨ Yes

3.459.     Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                             Check all that apply.
           CPY - CHAS P YOUNG COMPANY                                                                        $94,956.68
           7810 SOLUTIONS CENTER                             ¨ Contingent
           CHICAGO IL 60677-7008
                                                             ¨ Unliquidated
                                                             ¨ Disputed
           Date or dates debt was incurred                   Basis for the claim:
           VARIOUS                                           TRADE ACCOUNTS PAYABLE
           Last 4 digits of account number:                  Is the claim subject to offset?

                                                             þ No
                                                             ¨ Yes




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3.460.     Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                             Check all that apply.
           CRAIG, COLLEEN ELIZABETH                                                                          UNDETERMINED
           J. NELSON THOMAS THOMAS & SOLOMON LLP             þ Contingent
           693 EAST AVENUE
           ROCHESTER NY 14607                                þ Unliquidated
                                                             þ Disputed
           Date or dates debt was incurred                   Basis for the claim:
           VARIOUS                                           CIVIL ACTION NO. 6:15-CV-06742
                                                             PENDING LITIGATION
           Last 4 digits of account number:
                                                             Is the claim subject to offset?

                                                             þ No
                                                             ¨ Yes

3.461.     Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                             Check all that apply.
           CRANSTON, ASHLEY                                                                                  UNDETERMINED
           J. NELSON THOMAS THOMAS & SOLOMON LLP             þ Contingent
           693 EAST AVENUE
           ROCHESTER NY 14607                                þ Unliquidated
                                                             þ Disputed
           Date or dates debt was incurred                   Basis for the claim:
           VARIOUS                                           CIVIL ACTION NO. 6:15-CV-06742
                                                             PENDING LITIGATION
           Last 4 digits of account number:
                                                             Is the claim subject to offset?

                                                             þ No
                                                             ¨ Yes

3.462.     Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                             Check all that apply.
           CRAYTON, CHARESE                                                                                  UNDETERMINED
           CHARESE CRAYTON                                   þ Contingent
                                                             þ Unliquidated
                                                             þ Disputed
           Date or dates debt was incurred                   Basis for the claim:
           VARIOUS                                           EEOC CHARGE NO. 420-2016-01077
           Last 4 digits of account number:                  Is the claim subject to offset?

                                                             þ No
                                                             ¨ Yes




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3.463.     Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                             Check all that apply.
           CREACY-REED, CYDNI                                                                                UNDETERMINED
           J. NELSON THOMAS THOMAS & SOLOMON LLP             þ Contingent
           693 EAST AVENUE
           ROCHESTER NY 14607                                þ Unliquidated
                                                             þ Disputed
           Date or dates debt was incurred                   Basis for the claim:
           VARIOUS                                           CIVIL ACTION NO. 6:15-CV-06742
                                                             PENDING LITIGATION
           Last 4 digits of account number:
                                                             Is the claim subject to offset?

                                                             þ No
                                                             ¨ Yes

3.464.     Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                             Check all that apply.
           CREASEY III, CHARLES R.                                                                           UNDETERMINED
           J. NELSON THOMAS THOMAS & SOLOMON LLP             þ Contingent
           693 EAST AVENUE
           ROCHESTER NY 14607                                þ Unliquidated
                                                             þ Disputed
           Date or dates debt was incurred                   Basis for the claim:
           VARIOUS                                           CIVIL ACTION NO. 6:15-CV-06742
                                                             PENDING LITIGATION
           Last 4 digits of account number:
                                                             Is the claim subject to offset?

                                                             þ No
                                                             ¨ Yes

3.465.     Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                             Check all that apply.
           CREASMAN, BREANA ELISE                                                                            UNDETERMINED
           J. NELSON THOMAS THOMAS & SOLOMON LLP             þ Contingent
           693 EAST AVENUE
           ROCHESTER NY 14607                                þ Unliquidated
                                                             þ Disputed
           Date or dates debt was incurred                   Basis for the claim:
           VARIOUS                                           CIVIL ACTION NO. 6:15-CV-06742
                                                             PENDING LITIGATION
           Last 4 digits of account number:
                                                             Is the claim subject to offset?

                                                             þ No
                                                             ¨ Yes




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Debtor   MAC ACQUISITION LLC                                                                                 Case number (if known) 17-12224




3.466.     Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                             Check all that apply.
           CRISANTE, RACHEL M.                                                                               UNDETERMINED
           J. NELSON THOMAS THOMAS & SOLOMON LLP             þ Contingent
           693 EAST AVENUE
           ROCHESTER NY 14607                                þ Unliquidated
                                                             þ Disputed
           Date or dates debt was incurred                   Basis for the claim:
           VARIOUS                                           CIVIL ACTION NO. 6:15-CV-06742
                                                             PENDING LITIGATION
           Last 4 digits of account number:
                                                             Is the claim subject to offset?

                                                             þ No
                                                             ¨ Yes

3.467.     Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                             Check all that apply.
           CRISTO, BRITTANY                                                                                  UNDETERMINED
                                                             þ Contingent
                                                             þ Unliquidated
                                                             þ Disputed
           Date or dates debt was incurred                   Basis for the claim:
           VARIOUS                                           GENERAL LIABILITY CLAIMS
           Last 4 digits of account number:                  Is the claim subject to offset?

                                                             þ No
                                                             ¨ Yes

3.468.     Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                             Check all that apply.
           CRISTO, BRITTANY                                                                                  UNDETERMINED
                                                             þ Contingent
                                                             þ Unliquidated
                                                             þ Disputed
           Date or dates debt was incurred                   Basis for the claim:
           VARIOUS                                           GENERAL LIABILITY CLAIMS
           Last 4 digits of account number:                  Is the claim subject to offset?

                                                             þ No
                                                             ¨ Yes




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3.469.     Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                             Check all that apply.
           CROSSLEY, KEVIN C.                                                                                UNDETERMINED
           J. NELSON THOMAS THOMAS & SOLOMON LLP             þ Contingent
           693 EAST AVENUE
           ROCHESTER NY 14607                                þ Unliquidated
                                                             þ Disputed
           Date or dates debt was incurred                   Basis for the claim:
           VARIOUS                                           CIVIL ACTION NO. 6:15-CV-06742
                                                             PENDING LITIGATION
           Last 4 digits of account number:
                                                             Is the claim subject to offset?

                                                             þ No
                                                             ¨ Yes

3.470.     Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                             Check all that apply.
           CROWDER, KENDALL                                                                                  UNDETERMINED
           J. NELSON THOMAS THOMAS & SOLOMON LLP             þ Contingent
           693 EAST AVENUE
           ROCHESTER NY 14607                                þ Unliquidated
                                                             þ Disputed
           Date or dates debt was incurred                   Basis for the claim:
           VARIOUS                                           CIVIL ACTION NO. 6:15-CV-06742
                                                             PENDING LITIGATION
           Last 4 digits of account number:
                                                             Is the claim subject to offset?

                                                             þ No
                                                             ¨ Yes

3.471.     Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                             Check all that apply.
           CROWELL, NANCY                                                                                    UNDETERMINED
                                                             þ Contingent
                                                             þ Unliquidated
                                                             þ Disputed
           Date or dates debt was incurred                   Basis for the claim:
           VARIOUS                                           GENERAL LIABILITY CLAIMS
           Last 4 digits of account number:                  Is the claim subject to offset?

                                                             þ No
                                                             ¨ Yes




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3.472.     Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                             Check all that apply.
           CRUM, RICHARD SCOTT                                                                               UNDETERMINED
           J. NELSON THOMAS THOMAS & SOLOMON LLP             þ Contingent
           693 EAST AVENUE
           ROCHESTER NY 14607                                þ Unliquidated
                                                             þ Disputed
           Date or dates debt was incurred                   Basis for the claim:
           VARIOUS                                           CIVIL ACTION NO. 6:15-CV-06742
                                                             PENDING LITIGATION
           Last 4 digits of account number:
                                                             Is the claim subject to offset?

                                                             þ No
                                                             ¨ Yes

3.473.     Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                             Check all that apply.
           CRUPI, DOMINION                                                                                   UNDETERMINED
           J. NELSON THOMAS THOMAS & SOLOMON LLP             þ Contingent
           693 EAST AVENUE
           ROCHESTER NY 14607                                þ Unliquidated
                                                             þ Disputed
           Date or dates debt was incurred                   Basis for the claim:
           VARIOUS                                           CIVIL ACTION NO. 6:15-CV-06742
                                                             PENDING LITIGATION
           Last 4 digits of account number:
                                                             Is the claim subject to offset?

                                                             þ No
                                                             ¨ Yes

3.474.     Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                             Check all that apply.
           CRUZ, EMMANUEL D.                                                                                 UNDETERMINED
           J. NELSON THOMAS THOMAS & SOLOMON LLP             þ Contingent
           693 EAST AVENUE
           ROCHESTER NY 14607                                þ Unliquidated
                                                             þ Disputed
           Date or dates debt was incurred                   Basis for the claim:
           VARIOUS                                           CIVIL ACTION NO. 6:15-CV-06742
                                                             PENDING LITIGATION
           Last 4 digits of account number:
                                                             Is the claim subject to offset?

                                                             þ No
                                                             ¨ Yes




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3.475.     Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                             Check all that apply.
           CRUZ, INOEL                                                                                       UNDETERMINED
           J. NELSON THOMAS THOMAS & SOLOMON LLP             þ Contingent
           693 EAST AVENUE
           ROCHESTER NY 14607                                þ Unliquidated
                                                             þ Disputed
           Date or dates debt was incurred                   Basis for the claim:
           VARIOUS                                           CIVIL ACTION NO. 6:15-CV-06742
                                                             PENDING LITIGATION
           Last 4 digits of account number:
                                                             Is the claim subject to offset?

                                                             þ No
                                                             ¨ Yes

3.476.     Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                             Check all that apply.
           CRUZ, INOEL                                                                                       UNDETERMINED
           J. NELSON THOMAS THOMAS & SOLOMON LLP             þ Contingent
           693 EAST AVENUE
           ROCHESTER NY 14607                                þ Unliquidated
                                                             þ Disputed
           Date or dates debt was incurred                   Basis for the claim:
           VARIOUS                                           CIVIL ACTION NO. 6:15-CV-06742
                                                             PENDING LITIGATION
           Last 4 digits of account number:
                                                             Is the claim subject to offset?

                                                             þ No
                                                             ¨ Yes

3.477.     Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                             Check all that apply.
           CRYER, JR., DENNIS RAY                                                                            UNDETERMINED
           J. NELSON THOMAS THOMAS & SOLOMON LLP             þ Contingent
           693 EAST AVENUE
           ROCHESTER NY 14607                                þ Unliquidated
                                                             þ Disputed
           Date or dates debt was incurred                   Basis for the claim:
           VARIOUS                                           CIVIL ACTION NO. 6:15-CV-06742
                                                             PENDING LITIGATION
           Last 4 digits of account number:
                                                             Is the claim subject to offset?

                                                             þ No
                                                             ¨ Yes




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3.478.     Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                             Check all that apply.
           CSP - CLARK ASSOCIATES                                                                            $13,331.49
           121 KANE STREET                                   ¨ Contingent
           BALTIMORE MD 21224
                                                             ¨ Unliquidated
                                                             ¨ Disputed
           Date or dates debt was incurred                   Basis for the claim:
           VARIOUS                                           TRADE ACCOUNTS PAYABLE
           Last 4 digits of account number:                  Is the claim subject to offset?

                                                             þ No
                                                             ¨ Yes

3.479.     Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                             Check all that apply.
           CUARTAS, JUAN                                                                                     UNDETERMINED
           J. NELSON THOMAS THOMAS & SOLOMON LLP             þ Contingent
           693 EAST AVENUE
           ROCHESTER NY 14607                                þ Unliquidated
                                                             þ Disputed
           Date or dates debt was incurred                   Basis for the claim:
           VARIOUS                                           CIVIL ACTION NO. 6:15-CV-06742
                                                             PENDING LITIGATION
           Last 4 digits of account number:
                                                             Is the claim subject to offset?

                                                             þ No
                                                             ¨ Yes

3.480.     Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                             Check all that apply.
           CUEVA, JAVIER FERNANDO                                                                            UNDETERMINED
           J. NELSON THOMAS THOMAS & SOLOMON LLP             þ Contingent
           693 EAST AVENUE
           ROCHESTER NY 14607                                þ Unliquidated
                                                             þ Disputed
           Date or dates debt was incurred                   Basis for the claim:
           VARIOUS                                           CIVIL ACTION NO. 6:15-CV-06742
                                                             PENDING LITIGATION
           Last 4 digits of account number:
                                                             Is the claim subject to offset?

                                                             þ No
                                                             ¨ Yes




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3.481.     Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                             Check all that apply.
           CULINARY ECO SERVICES                                                                             $1,500.00
           PO BOX 2563                                       ¨ Contingent
           ADDISON TX 75001
                                                             ¨ Unliquidated
                                                             ¨ Disputed
           Date or dates debt was incurred                   Basis for the claim:
           VARIOUS                                           TRADE ACCOUNTS PAYABLE
           Last 4 digits of account number:                  Is the claim subject to offset?

                                                             þ No
                                                             ¨ Yes

3.482.     Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                             Check all that apply.
           CULLIGAN TROY, NY                                                                                 $135.00
           131 LITTLE BRITAIN ROAD                           ¨ Contingent
           NEWBURGH NY 12550
                                                             ¨ Unliquidated
                                                             ¨ Disputed
           Date or dates debt was incurred                   Basis for the claim:
           VARIOUS                                           TRADE ACCOUNTS PAYABLE
           Last 4 digits of account number:                  Is the claim subject to offset?

                                                             þ No
                                                             ¨ Yes

3.483.     Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                             Check all that apply.
           CULVER, SHAWNA                                                                                    UNDETERMINED
           J. NELSON THOMAS THOMAS & SOLOMON LLP             þ Contingent
           693 EAST AVENUE
           ROCHESTER NY 14607                                þ Unliquidated
                                                             þ Disputed
           Date or dates debt was incurred                   Basis for the claim:
           VARIOUS                                           CIVIL ACTION NO. 6:15-CV-06742
                                                             PENDING LITIGATION
           Last 4 digits of account number:
                                                             Is the claim subject to offset?

                                                             þ No
                                                             ¨ Yes




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3.484.     Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                             Check all that apply.
           CUMMINGS, JEAN                                                                                    UNDETERMINED
                                                             þ Contingent
                                                             þ Unliquidated
                                                             þ Disputed
           Date or dates debt was incurred                   Basis for the claim:
           VARIOUS                                           GENERAL LIABILITY CLAIMS
           Last 4 digits of account number:                  Is the claim subject to offset?

                                                             þ No
                                                             ¨ Yes

3.485.     Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                             Check all that apply.
           CUMMINGS, WILLIAM NICHOLAS                                                                        UNDETERMINED
           J. NELSON THOMAS THOMAS & SOLOMON LLP             þ Contingent
           693 EAST AVENUE
           ROCHESTER NY 14607                                þ Unliquidated
                                                             þ Disputed
           Date or dates debt was incurred                   Basis for the claim:
           VARIOUS                                           CIVIL ACTION NO. 6:15-CV-06742
                                                             PENDING LITIGATION
           Last 4 digits of account number:
                                                             Is the claim subject to offset?

                                                             þ No
                                                             ¨ Yes

3.486.     Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                             Check all that apply.
           CURRIE, MICHAEL ANTHONY                                                                           UNDETERMINED
           J. NELSON THOMAS THOMAS & SOLOMON LLP             þ Contingent
           693 EAST AVENUE
           ROCHESTER NY 14607                                þ Unliquidated
                                                             þ Disputed
           Date or dates debt was incurred                   Basis for the claim:
           VARIOUS                                           CIVIL ACTION NO. 6:15-CV-06742
                                                             PENDING LITIGATION
           Last 4 digits of account number:
                                                             Is the claim subject to offset?

                                                             þ No
                                                             ¨ Yes




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3.487.     Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                             Check all that apply.
           CURTIS, NATHAN                                                                                    UNDETERMINED
           J. NELSON THOMAS THOMAS & SOLOMON LLP             þ Contingent
           693 EAST AVENUE
           ROCHESTER NY 14607                                þ Unliquidated
                                                             þ Disputed
           Date or dates debt was incurred                   Basis for the claim:
           VARIOUS                                           CIVIL ACTION NO. 6:15-CV-06742
                                                             PENDING LITIGATION
           Last 4 digits of account number:
                                                             Is the claim subject to offset?

                                                             þ No
                                                             ¨ Yes

3.488.     Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                             Check all that apply.
           CUSTOM SIGN CREATIONS, LLC                                                                        $771.28
           1703 DUNGAN LN                                    ¨ Contingent
           AUSTIN TX 78754
                                                             ¨ Unliquidated
                                                             ¨ Disputed
           Date or dates debt was incurred                   Basis for the claim:
           VARIOUS                                           TRADE ACCOUNTS PAYABLE
           Last 4 digits of account number:                  Is the claim subject to offset?

                                                             þ No
                                                             ¨ Yes

3.489.     Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                             Check all that apply.
           CUSTOM UPHOLSTERY SERVICES                                                                        $839.54
           3506 COLBY AVE                                    ¨ Contingent
           EVERETT WA 98201
                                                             ¨ Unliquidated
                                                             ¨ Disputed
           Date or dates debt was incurred                   Basis for the claim:
           VARIOUS                                           TRADE ACCOUNTS PAYABLE
           Last 4 digits of account number:                  Is the claim subject to offset?

                                                             þ No
                                                             ¨ Yes




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3.490.     Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                             Check all that apply.
           CYOPTIONS LLC DBA CYOPSIS                                                                         $2,994.00
           600 GRANT STREET                                  ¨ Contingent
           SUITE 208
           DENVER CO 80203                                   ¨ Unliquidated
                                                             ¨ Disputed
           Date or dates debt was incurred                   Basis for the claim:
           VARIOUS                                           LEGAL
           Last 4 digits of account number:                  Is the claim subject to offset?

                                                             þ No
                                                             ¨ Yes

3.491.     Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                             Check all that apply.
           CZAPINSKI, JOHN P.                                                                                UNDETERMINED
           J. NELSON THOMAS THOMAS & SOLOMON LLP             þ Contingent
           693 EAST AVENUE
           ROCHESTER NY 14607                                þ Unliquidated
                                                             þ Disputed
           Date or dates debt was incurred                   Basis for the claim:
           VARIOUS                                           CIVIL ACTION NO. 6:15-CV-06742
                                                             PENDING LITIGATION
           Last 4 digits of account number:
                                                             Is the claim subject to offset?

                                                             þ No
                                                             ¨ Yes

3.492.     Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                             Check all that apply.
           DAGNER SCHLUTER MITZNER WERBER, LLC                                                               $3,060.73
           5105 DTC PARKWAY, SUITE 250                       ¨ Contingent
           GREENWOOD VILLAGE CO 80111
                                                             ¨ Unliquidated
                                                             ¨ Disputed
           Date or dates debt was incurred                   Basis for the claim:
           VARIOUS                                           LEGAL
           Last 4 digits of account number:                  Is the claim subject to offset?

                                                             þ No
                                                             ¨ Yes




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3.493.     Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                             Check all that apply.
           DAKA, ZOJ                                                                                         UNDETERMINED
           J. NELSON THOMAS THOMAS & SOLOMON LLP             þ Contingent
           693 EAST AVENUE
           ROCHESTER NY 14607                                þ Unliquidated
                                                             þ Disputed
           Date or dates debt was incurred                   Basis for the claim:
           VARIOUS                                           CIVIL ACTION NO. 6:15-CV-06742
                                                             PENDING LITIGATION
           Last 4 digits of account number:
                                                             Is the claim subject to offset?

                                                             þ No
                                                             ¨ Yes

3.494.     Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                             Check all that apply.
           DALE, REBEKAH DIANNE                                                                              UNDETERMINED
           J. NELSON THOMAS THOMAS & SOLOMON LLP             þ Contingent
           693 EAST AVENUE
           ROCHESTER NY 14607                                þ Unliquidated
                                                             þ Disputed
           Date or dates debt was incurred                   Basis for the claim:
           VARIOUS                                           CIVIL ACTION NO. 6:15-CV-06742
                                                             PENDING LITIGATION
           Last 4 digits of account number:
                                                             Is the claim subject to offset?

                                                             þ No
                                                             ¨ Yes

3.495.     Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                             Check all that apply.
           DALTO, MARIO                                                                                      UNDETERMINED
           J. NELSON THOMAS THOMAS & SOLOMON LLP             þ Contingent
           693 EAST AVENUE
           ROCHESTER NY 14607                                þ Unliquidated
                                                             þ Disputed
           Date or dates debt was incurred                   Basis for the claim:
           VARIOUS                                           CIVIL ACTION NO. 6:15-CV-06742
                                                             PENDING LITIGATION
           Last 4 digits of account number:
                                                             Is the claim subject to offset?

                                                             þ No
                                                             ¨ Yes




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3.496.     Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                             Check all that apply.
           DALTO, MARIO                                                                                      UNDETERMINED
           J. NELSON THOMAS THOMAS & SOLOMON LLP             þ Contingent
           693 EAST AVENUE
           ROCHESTER NY 14607                                þ Unliquidated
                                                             þ Disputed
           Date or dates debt was incurred                   Basis for the claim:
           VARIOUS                                           CIVIL ACTION NO. 6:15-CV-06742
                                                             PENDING LITIGATION
           Last 4 digits of account number:
                                                             Is the claim subject to offset?

                                                             þ No
                                                             ¨ Yes

3.497.     Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                             Check all that apply.
           DANG, BINH H.                                                                                     UNDETERMINED
           J. NELSON THOMAS THOMAS & SOLOMON LLP             þ Contingent
           693 EAST AVENUE
           ROCHESTER NY 14607                                þ Unliquidated
                                                             þ Disputed
           Date or dates debt was incurred                   Basis for the claim:
           VARIOUS                                           CIVIL ACTION NO. 6:15-CV-06742
                                                             PENDING LITIGATION
           Last 4 digits of account number:
                                                             Is the claim subject to offset?

                                                             þ No
                                                             ¨ Yes

3.498.     Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                             Check all that apply.
           DARLING INTERNATIONAL INC.                                                                        $16,772.11
           PO BOX 552210                                     ¨ Contingent
           DETROIT MI 48255
                                                             ¨ Unliquidated
                                                             ¨ Disputed
           Date or dates debt was incurred                   Basis for the claim:
           VARIOUS                                           TRADE ACCOUNTS PAYABLE
           Last 4 digits of account number:                  Is the claim subject to offset?

                                                             þ No
                                                             ¨ Yes




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3.499.     Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                             Check all that apply.
           DARYANANI, RAM A.                                                                                 UNDETERMINED
           J. NELSON THOMAS THOMAS & SOLOMON LLP             þ Contingent
           693 EAST AVENUE
           ROCHESTER NY 14607                                þ Unliquidated
                                                             þ Disputed
           Date or dates debt was incurred                   Basis for the claim:
           VARIOUS                                           CIVIL ACTION NO. 6:15-CV-06742
                                                             PENDING LITIGATION
           Last 4 digits of account number:
                                                             Is the claim subject to offset?

                                                             þ No
                                                             ¨ Yes

3.500.     Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                             Check all that apply.
           DATABANK HOLDINGS, LTD.                                                                           $1,215.40
           PO BOX 732200                                     ¨ Contingent
           DALLAS TX 75373-2200
                                                             ¨ Unliquidated
                                                             ¨ Disputed
           Date or dates debt was incurred                   Basis for the claim:
           VARIOUS                                           TRADE ACCOUNTS PAYABLE
           Last 4 digits of account number:                  Is the claim subject to offset?

                                                             þ No
                                                             ¨ Yes

3.501.     Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                             Check all that apply.
           DATE LABEL CORPORATION                                                                            $410.42
           PO BOX 684                                        ¨ Contingent
           INDIANAPOLIS IN 46206
                                                             ¨ Unliquidated
                                                             ¨ Disputed
           Date or dates debt was incurred                   Basis for the claim:
           VARIOUS                                           TRADE ACCOUNTS PAYABLE
           Last 4 digits of account number:                  Is the claim subject to offset?

                                                             þ No
                                                             ¨ Yes




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Debtor   MAC ACQUISITION LLC                                                                                 Case number (if known) 17-12224




3.502.     Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                             Check all that apply.
           DAVID MARDEN DBA DAVE MARDEN'S TREE                                                               $533.00
           TRIMMING                                          ¨ Contingent
           1625 CLARE DR
           CORPUS CHRISTI TX 78412                           ¨ Unliquidated
                                                             ¨ Disputed
           Date or dates debt was incurred                   Basis for the claim:
           VARIOUS                                           TRADE ACCOUNTS PAYABLE
           Last 4 digits of account number:                  Is the claim subject to offset?

                                                             þ No
                                                             ¨ Yes

3.503.     Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                             Check all that apply.
           DAVIDS & COHEN                                                                                    $1,819.23
           40 WASHINGTON STREET                              ¨ Contingent
           SUITE 20
           WELLESLEY MA 02481                                ¨ Unliquidated
                                                             ¨ Disputed
           Date or dates debt was incurred                   Basis for the claim:
           VARIOUS                                           LEGAL
           Last 4 digits of account number:                  Is the claim subject to offset?

                                                             þ No
                                                             ¨ Yes

3.504.     Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                             Check all that apply.
           DAVIS, JANAY NICOLE                                                                               UNDETERMINED
           J. NELSON THOMAS THOMAS & SOLOMON LLP             þ Contingent
           693 EAST AVENUE
           ROCHESTER NY 14607                                þ Unliquidated
                                                             þ Disputed
           Date or dates debt was incurred                   Basis for the claim:
           VARIOUS                                           CIVIL ACTION NO. 6:15-CV-06742
                                                             PENDING LITIGATION
           Last 4 digits of account number:
                                                             Is the claim subject to offset?

                                                             þ No
                                                             ¨ Yes




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3.505.     Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                             Check all that apply.
           DAVIS, MEAGAN ELIZABETH                                                                           UNDETERMINED
           J. NELSON THOMAS THOMAS & SOLOMON LLP             þ Contingent
           693 EAST AVENUE
           ROCHESTER NY 14607                                þ Unliquidated
                                                             þ Disputed
           Date or dates debt was incurred                   Basis for the claim:
           VARIOUS                                           CIVIL ACTION NO. 6:15-CV-06742
                                                             PENDING LITIGATION
           Last 4 digits of account number:
                                                             Is the claim subject to offset?

                                                             þ No
                                                             ¨ Yes

3.506.     Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                             Check all that apply.
           DAVIS, SEAN                                                                                       UNDETERMINED
           J. NELSON THOMAS THOMAS & SOLOMON LLP             þ Contingent
           693 EAST AVENUE
           ROCHESTER NY 14607                                þ Unliquidated
                                                             þ Disputed
           Date or dates debt was incurred                   Basis for the claim:
           VARIOUS                                           CIVIL ACTION NO. 6:15-CV-06742
                                                             PENDING LITIGATION
           Last 4 digits of account number:
                                                             Is the claim subject to offset?

                                                             þ No
                                                             ¨ Yes

3.507.     Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                             Check all that apply.
           DAVISON, JULIE                                                                                    UNDETERMINED
           J. NELSON THOMAS THOMAS & SOLOMON LLP             þ Contingent
           693 EAST AVENUE
           ROCHESTER NY 14607                                þ Unliquidated
                                                             þ Disputed
           Date or dates debt was incurred                   Basis for the claim:
           VARIOUS                                           CIVIL ACTION NO. 6:15-CV-06742
                                                             PENDING LITIGATION
           Last 4 digits of account number:
                                                             Is the claim subject to offset?

                                                             þ No
                                                             ¨ Yes




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Debtor   MAC ACQUISITION LLC                                                                                 Case number (if known) 17-12224




3.508.     Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                             Check all that apply.
           DAYSTAR FACILITIES & EQUIP REPAIR INC.                                                            $1,333.33
           3801 WEST WESTCOTT DRIVE                          ¨ Contingent
           GLENDALE AZ 85308
                                                             ¨ Unliquidated
                                                             ¨ Disputed
           Date or dates debt was incurred                   Basis for the claim:
           VARIOUS                                           TRADE ACCOUNTS PAYABLE
           Last 4 digits of account number:                  Is the claim subject to offset?

                                                             þ No
                                                             ¨ Yes

3.509.     Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                             Check all that apply.
           DB FIVE GRILL LP CARDINAL CAPTIAL                                                                 UNDETERMINED
           PARTNERS                                          þ Contingent
           KENNETH C. MEIXELSPERGER, ESQ. CHERRY
           PETERSEN LANDRY ALBERT LLP                        þ Unliquidated
           8350 NORTH CENTRAL EXPRESSWAY, SUITE
           1500
                                                             þ Disputed
           DALLAS TX 75206

           Date or dates debt was incurred                   Basis for the claim:
           VARIOUS                                           CASE NO. DC-17-05064 PENDING REAL
                                                             ESTATE LITIGATION
           Last 4 digits of account number:
                                                             Is the claim subject to offset?

                                                             þ No
                                                             ¨ Yes

3.510.     Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                             Check all that apply.
           DDR WINTER GARDEN LLC                                                                             UNDETERMINED
           1 EXECUTIVE VP LEASING 2 GENERAL                  þ Contingent
           COUNSEL
           RICHARD FORREST OPERATIONS MANAGER                þ Unliquidated
           3300 ENTERPRISE PKWY
           BEACHWOOD OH 44122
                                                             þ Disputed
           Date or dates debt was incurred                   Basis for the claim:
           VARIOUS                                           LANDLORD CLAIM
           Last 4 digits of account number:                  Is the claim subject to offset?

                                                             þ No
                                                             ¨ Yes




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3.511.     Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                             Check all that apply.
           DDRA COMMUNITY CENTERS EITHER LP                                                                  UNDETERMINED
           DEVELOPERS DIVERSIFIED REALTY                     þ Contingent
           CORPORATION
           BRYAN STONE ASSOCIATE ATTORNEY                    þ Unliquidated
           3300 ENTERPRISE PKWY
           BEACHWOOD OH 44122
                                                             þ Disputed
           Date or dates debt was incurred                   Basis for the claim:
           VARIOUS                                           LANDLORD CLAIM
           Last 4 digits of account number:                  Is the claim subject to offset?

                                                             þ No
                                                             ¨ Yes

3.512.     Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                             Check all that apply.
           DE LA PAZ, DEANNA MARIE                                                                           UNDETERMINED
           J. NELSON THOMAS THOMAS & SOLOMON LLP             þ Contingent
           693 EAST AVENUE
           ROCHESTER NY 14607                                þ Unliquidated
                                                             þ Disputed
           Date or dates debt was incurred                   Basis for the claim:
           VARIOUS                                           CIVIL ACTION NO. 6:15-CV-06742
                                                             PENDING LITIGATION
           Last 4 digits of account number:
                                                             Is the claim subject to offset?

                                                             þ No
                                                             ¨ Yes

3.513.     Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                             Check all that apply.
           DEBLASS, GLENYS                                                                                   UNDETERMINED
           J. NELSON THOMAS THOMAS & SOLOMON LLP             þ Contingent
           693 EAST AVENUE
           ROCHESTER NY 14607                                þ Unliquidated
                                                             þ Disputed
           Date or dates debt was incurred                   Basis for the claim:
           VARIOUS                                           CIVIL ACTION NO. 6:15-CV-06742
                                                             PENDING LITIGATION
           Last 4 digits of account number:
                                                             Is the claim subject to offset?

                                                             þ No
                                                             ¨ Yes




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Debtor   MAC ACQUISITION LLC                                                                                 Case number (if known) 17-12224




3.514.     Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                             Check all that apply.
           DEBORAH A CLAPPER DBA GNEURAL LLC                                                                 $525.00
           210 MANHATTAN DRIVE                               ¨ Contingent
           BOULDER CO 80303
                                                             ¨ Unliquidated
                                                             ¨ Disputed
           Date or dates debt was incurred                   Basis for the claim:
           VARIOUS                                           TRADE ACCOUNTS PAYABLE
           Last 4 digits of account number:                  Is the claim subject to offset?

                                                             þ No
                                                             ¨ Yes

3.515.     Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                             Check all that apply.
           DECAMP, JILL LESLEY                                                                               UNDETERMINED
           J. NELSON THOMAS THOMAS & SOLOMON LLP             þ Contingent
           693 EAST AVENUE
           ROCHESTER NY 14607                                þ Unliquidated
                                                             þ Disputed
           Date or dates debt was incurred                   Basis for the claim:
           VARIOUS                                           CIVIL ACTION NO. 6:15-CV-06742
                                                             PENDING LITIGATION
           Last 4 digits of account number:
                                                             Is the claim subject to offset?

                                                             þ No
                                                             ¨ Yes

3.516.     Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                             Check all that apply.
           DECKER, NATISHA J.                                                                                UNDETERMINED
           J. NELSON THOMAS THOMAS & SOLOMON LLP             þ Contingent
           693 EAST AVENUE
           ROCHESTER NY 14607                                þ Unliquidated
                                                             þ Disputed
           Date or dates debt was incurred                   Basis for the claim:
           VARIOUS                                           CIVIL ACTION NO. 6:15-CV-06742
                                                             PENDING LITIGATION
           Last 4 digits of account number:
                                                             Is the claim subject to offset?

                                                             þ No
                                                             ¨ Yes




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3.517.     Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                             Check all that apply.
           DECKER, PATRICK                                                                                   UNDETERMINED
           J. NELSON THOMAS THOMAS & SOLOMON LLP             þ Contingent
           693 EAST AVENUE
           ROCHESTER NY 14607                                þ Unliquidated
                                                             þ Disputed
           Date or dates debt was incurred                   Basis for the claim:
           VARIOUS                                           CIVIL ACTION NO. 6:15-CV-06742
                                                             PENDING LITIGATION
           Last 4 digits of account number:
                                                             Is the claim subject to offset?

                                                             þ No
                                                             ¨ Yes

3.518.     Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                             Check all that apply.
           DEEDS, KATHLEEN SUSAN                                                                             UNDETERMINED
           J. NELSON THOMAS THOMAS & SOLOMON LLP             þ Contingent
           693 EAST AVENUE
           ROCHESTER NY 14607                                þ Unliquidated
                                                             þ Disputed
           Date or dates debt was incurred                   Basis for the claim:
           VARIOUS                                           CIVIL ACTION NO. 6:15-CV-06742
                                                             PENDING LITIGATION
           Last 4 digits of account number:
                                                             Is the claim subject to offset?

                                                             þ No
                                                             ¨ Yes

3.519.     Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                             Check all that apply.
           DEITRICK, RAECHAL LEE ANN                                                                         UNDETERMINED
           J. NELSON THOMAS THOMAS & SOLOMON LLP             þ Contingent
           693 EAST AVENUE
           ROCHESTER NY 14607                                þ Unliquidated
                                                             þ Disputed
           Date or dates debt was incurred                   Basis for the claim:
           VARIOUS                                           CIVIL ACTION NO. 6:15-CV-06742
                                                             PENDING LITIGATION
           Last 4 digits of account number:
                                                             Is the claim subject to offset?

                                                             þ No
                                                             ¨ Yes




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3.520.     Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                             Check all that apply.
           DELATORRE, MAGEAN ASHLEY                                                                          UNDETERMINED
           J. NELSON THOMAS THOMAS & SOLOMON LLP             þ Contingent
           693 EAST AVENUE
           ROCHESTER NY 14607                                þ Unliquidated
                                                             þ Disputed
           Date or dates debt was incurred                   Basis for the claim:
           VARIOUS                                           CIVIL ACTION NO. 6:15-CV-06742
                                                             PENDING LITIGATION
           Last 4 digits of account number:
                                                             Is the claim subject to offset?

                                                             þ No
                                                             ¨ Yes

3.521.     Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                             Check all that apply.
           DELVISCOVO, DUANE CHARLES                                                                         UNDETERMINED
           J. NELSON THOMAS THOMAS & SOLOMON LLP             þ Contingent
           693 EAST AVENUE
           ROCHESTER NY 14607                                þ Unliquidated
                                                             þ Disputed
           Date or dates debt was incurred                   Basis for the claim:
           VARIOUS                                           CIVIL ACTION NO. 6:15-CV-06742
                                                             PENDING LITIGATION
           Last 4 digits of account number:
                                                             Is the claim subject to offset?

                                                             þ No
                                                             ¨ Yes

3.522.     Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                             Check all that apply.
           DEMAND COOLING LLC                                                                                $2,492.10
           2540 GLENDA LANE STE. 112                         ¨ Contingent
           DALLAS TX 75229
                                                             ¨ Unliquidated
                                                             ¨ Disputed
           Date or dates debt was incurred                   Basis for the claim:
           VARIOUS                                           TRADE ACCOUNTS PAYABLE
           Last 4 digits of account number:                  Is the claim subject to offset?

                                                             þ No
                                                             ¨ Yes




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3.523.     Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                             Check all that apply.
           DEMASI, TANYA                                                                                     UNDETERMINED
           J. NELSON THOMAS THOMAS & SOLOMON LLP             þ Contingent
           693 EAST AVENUE
           ROCHESTER NY 14607                                þ Unliquidated
                                                             þ Disputed
           Date or dates debt was incurred                   Basis for the claim:
           VARIOUS                                           CIVIL ACTION NO. 6:15-CV-06742
                                                             PENDING LITIGATION
           Last 4 digits of account number:
                                                             Is the claim subject to offset?

                                                             þ No
                                                             ¨ Yes

3.524.     Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                             Check all that apply.
           DEMEESTER, ROSANA AND NYLE                                                                        $390.00
           DBA THE MASTERS GARDENING SERVICE                 ¨ Contingent
           2715 TRENTINO AVE
           BAKERSFIELD CA 93313                              ¨ Unliquidated
                                                             ¨ Disputed
           Date or dates debt was incurred                   Basis for the claim:
           VARIOUS                                           TRADE ACCOUNTS PAYABLE
           Last 4 digits of account number:                  Is the claim subject to offset?

                                                             þ No
                                                             ¨ Yes

3.525.     Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                             Check all that apply.
           DENA, BARBER                                                                                      UNDETERMINED
                                                             þ Contingent
                                                             þ Unliquidated
                                                             þ Disputed
           Date or dates debt was incurred                   Basis for the claim:
           VARIOUS                                           GENERAL LIABILITY CLAIMS
           Last 4 digits of account number:                  Is the claim subject to offset?

                                                             þ No
                                                             ¨ Yes




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3.526.     Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                             Check all that apply.
           DENNIS, SHAWNA                                                                                    UNDETERMINED
                                                             þ Contingent
                                                             þ Unliquidated
                                                             þ Disputed
           Date or dates debt was incurred                   Basis for the claim:
           VARIOUS                                           GENERAL LIABILITY CLAIMS
           Last 4 digits of account number:                  Is the claim subject to offset?

                                                             þ No
                                                             ¨ Yes

3.527.     Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                             Check all that apply.
           DENVER CUTLERY INC.                                                                               $469.99
           PO BOX 21797                                      ¨ Contingent
           DENVER CO 80221
                                                             ¨ Unliquidated
                                                             ¨ Disputed
           Date or dates debt was incurred                   Basis for the claim:
           VARIOUS                                           TRADE ACCOUNTS PAYABLE
           Last 4 digits of account number:                  Is the claim subject to offset?

                                                             þ No
                                                             ¨ Yes

3.528.     Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                             Check all that apply.
           DENVER WEST MILLS LP                                                                              UNDETERMINED
           C O SIMON PROPERTY GROUP INC                      þ Contingent
           MIKE FREESE ASST GENERAL COUNSEL
           225 WEST WASHINGTON ST                            þ Unliquidated
           INDIANAPOLIS IN 46204                             þ Disputed
           Date or dates debt was incurred                   Basis for the claim:
           VARIOUS                                           LANDLORD CLAIM
           Last 4 digits of account number:                  Is the claim subject to offset?

                                                             þ No
                                                             ¨ Yes




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3.529.     Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                             Check all that apply.
           DEPARTMENT OF BUSINESS AND                                                                        UNDETERMINED
           PROFESSIONAL REGULATION, DIVISION OF              þ Contingent
           HOTELS AND RESTAURANTS
           MARC DREXLER, CHIEF ATTORNEY, OFFICE OF           þ Unliquidated
           THE GENERAL COUNSEL
           2601 BLAIR STONE RD
                                                             þ Disputed
           TALLAHASSEE FL 32399-1011

           Date or dates debt was incurred                   Basis for the claim:
           VARIOUS                                           CASE NO. 2017-027313
           Last 4 digits of account number:                  Is the claim subject to offset?

                                                             þ No
                                                             ¨ Yes

3.530.     Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                             Check all that apply.
           DERILLIER, GERALDINE                                                                              UNDETERMINED
           J. NELSON THOMAS THOMAS & SOLOMON LLP             þ Contingent
           693 EAST AVENUE
           ROCHESTER NY 14607                                þ Unliquidated
                                                             þ Disputed
           Date or dates debt was incurred                   Basis for the claim:
           VARIOUS                                           CIVIL ACTION NO. 6:15-CV-06742
                                                             PENDING LITIGATION
           Last 4 digits of account number:
                                                             Is the claim subject to offset?

                                                             þ No
                                                             ¨ Yes

3.531.     Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                             Check all that apply.
           DEROUSELLE, KRISTEN GABRIELLE                                                                     UNDETERMINED
           J. NELSON THOMAS THOMAS & SOLOMON LLP             þ Contingent
           693 EAST AVENUE
           ROCHESTER NY 14607                                þ Unliquidated
                                                             þ Disputed
           Date or dates debt was incurred                   Basis for the claim:
           VARIOUS                                           CIVIL ACTION NO. 6:15-CV-06742
                                                             PENDING LITIGATION
           Last 4 digits of account number:
                                                             Is the claim subject to offset?

                                                             þ No
                                                             ¨ Yes




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3.532.     Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                             Check all that apply.
           DESMOND, NICHOLAS                                                                                 UNDETERMINED
           J. NELSON THOMAS THOMAS & SOLOMON LLP             þ Contingent
           693 EAST AVENUE
           ROCHESTER NY 14607                                þ Unliquidated
                                                             þ Disputed
           Date or dates debt was incurred                   Basis for the claim:
           VARIOUS                                           CIVIL ACTION NO. 6:15-CV-06742
                                                             PENDING LITIGATION
           Last 4 digits of account number:
                                                             Is the claim subject to offset?

                                                             þ No
                                                             ¨ Yes

3.533.     Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                             Check all that apply.
           DEVINE, MICHAEL L.                                                                                UNDETERMINED
           J. NELSON THOMAS THOMAS & SOLOMON LLP             þ Contingent
           693 EAST AVENUE
           ROCHESTER NY 14607                                þ Unliquidated
                                                             þ Disputed
           Date or dates debt was incurred                   Basis for the claim:
           VARIOUS                                           CIVIL ACTION NO. 6:15-CV-06742
                                                             PENDING LITIGATION
           Last 4 digits of account number:
                                                             Is the claim subject to offset?

                                                             þ No
                                                             ¨ Yes

3.534.     Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                             Check all that apply.
           DEWALLI, VANESSA VAN                                                                              UNDETERMINED
           J. NELSON THOMAS THOMAS & SOLOMON LLP             þ Contingent
           693 EAST AVENUE
           ROCHESTER NY 14607                                þ Unliquidated
                                                             þ Disputed
           Date or dates debt was incurred                   Basis for the claim:
           VARIOUS                                           CIVIL ACTION NO. 6:15-CV-06742
                                                             PENDING LITIGATION
           Last 4 digits of account number:
                                                             Is the claim subject to offset?

                                                             þ No
                                                             ¨ Yes




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3.535.     Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                             Check all that apply.
           DIAZ, CELSO A.                                                                                    UNDETERMINED
           J. NELSON THOMAS THOMAS & SOLOMON LLP             þ Contingent
           693 EAST AVENUE
           ROCHESTER NY 14607                                þ Unliquidated
                                                             þ Disputed
           Date or dates debt was incurred                   Basis for the claim:
           VARIOUS                                           CIVIL ACTION NO. 6:15-CV-06742
                                                             PENDING LITIGATION
           Last 4 digits of account number:
                                                             Is the claim subject to offset?

                                                             þ No
                                                             ¨ Yes

3.536.     Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                             Check all that apply.
           DIAZ, MOISES ESTEBAN                                                                              UNDETERMINED
           J. NELSON THOMAS THOMAS & SOLOMON LLP             þ Contingent
           693 EAST AVENUE
           ROCHESTER NY 14607                                þ Unliquidated
                                                             þ Disputed
           Date or dates debt was incurred                   Basis for the claim:
           VARIOUS                                           CIVIL ACTION NO. 6:15-CV-06742
                                                             PENDING LITIGATION
           Last 4 digits of account number:
                                                             Is the claim subject to offset?

                                                             þ No
                                                             ¨ Yes

3.537.     Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                             Check all that apply.
           DIBS SAFE & LOCK SERVICE                                                                          $90.00
           342 W 6TH ST                                      ¨ Contingent
           SAN BERNARDINO CA 92401
                                                             ¨ Unliquidated
                                                             ¨ Disputed
           Date or dates debt was incurred                   Basis for the claim:
           VARIOUS                                           TRADE ACCOUNTS PAYABLE
           Last 4 digits of account number:                  Is the claim subject to offset?

                                                             þ No
                                                             ¨ Yes




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Debtor   MAC ACQUISITION LLC                                                                                 Case number (if known) 17-12224




3.538.     Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                             Check all that apply.
           DICARLO, ARIANE MARIA                                                                             UNDETERMINED
           J. NELSON THOMAS THOMAS & SOLOMON LLP             þ Contingent
           693 EAST AVENUE
           ROCHESTER NY 14607                                þ Unliquidated
                                                             þ Disputed
           Date or dates debt was incurred                   Basis for the claim:
           VARIOUS                                           CIVIL ACTION NO. 6:15-CV-06742
                                                             PENDING LITIGATION
           Last 4 digits of account number:
                                                             Is the claim subject to offset?

                                                             þ No
                                                             ¨ Yes

3.539.     Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                             Check all that apply.
           DIDONNA, TAYLOR VISCTORIA                                                                         UNDETERMINED
           J. NELSON THOMAS THOMAS & SOLOMON LLP             þ Contingent
           693 EAST AVENUE
           ROCHESTER NY 14607                                þ Unliquidated
                                                             þ Disputed
           Date or dates debt was incurred                   Basis for the claim:
           VARIOUS                                           CIVIL ACTION NO. 6:15-CV-06742
                                                             PENDING LITIGATION
           Last 4 digits of account number:
                                                             Is the claim subject to offset?

                                                             þ No
                                                             ¨ Yes

3.540.     Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                             Check all that apply.
           DIFRANCO, MIRELLA LUCIA                                                                           UNDETERMINED
           J. NELSON THOMAS THOMAS & SOLOMON LLP             þ Contingent
           693 EAST AVENUE
           ROCHESTER NY 14607                                þ Unliquidated
                                                             þ Disputed
           Date or dates debt was incurred                   Basis for the claim:
           VARIOUS                                           CIVIL ACTION NO. 6:15-CV-06742
                                                             PENDING LITIGATION
           Last 4 digits of account number:
                                                             Is the claim subject to offset?

                                                             þ No
                                                             ¨ Yes




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3.541.     Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                             Check all that apply.
           DIGGS, ALYSSA PAIGE                                                                               UNDETERMINED
           J. NELSON THOMAS THOMAS & SOLOMON LLP             þ Contingent
           693 EAST AVENUE
           ROCHESTER NY 14607                                þ Unliquidated
                                                             þ Disputed
           Date or dates debt was incurred                   Basis for the claim:
           VARIOUS                                           CIVIL ACTION NO. 6:15-CV-06742
                                                             PENDING LITIGATION
           Last 4 digits of account number:
                                                             Is the claim subject to offset?

                                                             þ No
                                                             ¨ Yes

3.542.     Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                             Check all that apply.
           DIGIORGIO, ANTHONY A.                                                                             UNDETERMINED
           J. NELSON THOMAS THOMAS & SOLOMON LLP             þ Contingent
           693 EAST AVENUE
           ROCHESTER NY 14607                                þ Unliquidated
                                                             þ Disputed
           Date or dates debt was incurred                   Basis for the claim:
           VARIOUS                                           CIVIL ACTION NO. 6:15-CV-06742
                                                             PENDING LITIGATION
           Last 4 digits of account number:
                                                             Is the claim subject to offset?

                                                             þ No
                                                             ¨ Yes

3.543.     Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                             Check all that apply.
           DIGITAL FUNCTION                                                                                  $892.90
           16107 KENSINGTON DR., #450                        ¨ Contingent
           SUGAR LAND TX 77479
                                                             ¨ Unliquidated
                                                             ¨ Disputed
           Date or dates debt was incurred                   Basis for the claim:
           VARIOUS                                           TRADE ACCOUNTS PAYABLE
           Last 4 digits of account number:                  Is the claim subject to offset?

                                                             þ No
                                                             ¨ Yes




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3.544.     Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                             Check all that apply.
           DINICOLA, SELIGSON & UPTON, LLP                                                                   $612.50
           6 BEACON STREET, SUITE 700                        ¨ Contingent
           BOSTON MA 02108
                                                             ¨ Unliquidated
                                                             ¨ Disputed
           Date or dates debt was incurred                   Basis for the claim:
           VARIOUS                                           LEGAL
           Last 4 digits of account number:                  Is the claim subject to offset?

                                                             þ No
                                                             ¨ Yes

3.545.     Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                             Check all that apply.
           DINOVA LLC                                                                                        $85,027.79
           11950 JONES BRIDGE RD, STE 115-117                ¨ Contingent
           JOHNS CREEK GA 30005
                                                             ¨ Unliquidated
                                                             ¨ Disputed
           Date or dates debt was incurred                   Basis for the claim:
           VARIOUS                                           TRADE ACCOUNTS PAYABLE
           Last 4 digits of account number:                  Is the claim subject to offset?

                                                             þ No
                                                             ¨ Yes

3.546.     Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                             Check all that apply.
           DINOVA, INC.                                                                                      UNDETERMINED
           LISA WOLGAST, MORRIS MANNING & MARTIN             þ Contingent
           LLP
           1600 ATLANTA FINANCIAL CTR                        þ Unliquidated
           3343 PEACHTREE RD NE
           ATLANTA GA 30326
                                                             þ Disputed
           Date or dates debt was incurred                   Basis for the claim:
           VARIOUS                                           STATE OF GEORGIA, CIVIL ACTION NO.
                                                             17A 09176-8 PENDING LITIGATION
           Last 4 digits of account number:
                                                             Is the claim subject to offset?

                                                             þ No
                                                             ¨ Yes




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3.547.     Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                             Check all that apply.
           DIPAOLO, AMANDA                                                                                   UNDETERMINED
           J. NELSON THOMAS THOMAS & SOLOMON LLP             þ Contingent
           693 EAST AVENUE
           ROCHESTER NY 14607                                þ Unliquidated
                                                             þ Disputed
           Date or dates debt was incurred                   Basis for the claim:
           VARIOUS                                           CIVIL ACTION NO. 6:15-CV-06742
                                                             PENDING LITIGATION
           Last 4 digits of account number:
                                                             Is the claim subject to offset?

                                                             þ No
                                                             ¨ Yes

3.548.     Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                             Check all that apply.
           DISABATINO, ANNA C.                                                                               UNDETERMINED
           J. NELSON THOMAS THOMAS & SOLOMON LLP             þ Contingent
           693 EAST AVENUE
           ROCHESTER NY 14607                                þ Unliquidated
                                                             þ Disputed
           Date or dates debt was incurred                   Basis for the claim:
           VARIOUS                                           CIVIL ACTION NO. 6:15-CV-06742
                                                             PENDING LITIGATION
           Last 4 digits of account number:
                                                             Is the claim subject to offset?

                                                             þ No
                                                             ¨ Yes

3.549.     Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                             Check all that apply.
           DM DISTRIBUTING CO INC.                                                                           $243.80
           7976 LONG HILL ROAD                               ¨ Contingent
           PASADENA MD 21122
                                                             ¨ Unliquidated
                                                             ¨ Disputed
           Date or dates debt was incurred                   Basis for the claim:
           VARIOUS                                           TRADE ACCOUNTS PAYABLE
           Last 4 digits of account number:                  Is the claim subject to offset?

                                                             þ No
                                                             ¨ Yes




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3.550.     Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                             Check all that apply.
           DMX INC                                                                                           $6,575.96
           PO BOX 602777                                     ¨ Contingent
           CHARLOTTE NC 28260-2777
                                                             ¨ Unliquidated
                                                             ¨ Disputed
           Date or dates debt was incurred                   Basis for the claim:
           VARIOUS                                           TRADE ACCOUNTS PAYABLE
           Last 4 digits of account number:                  Is the claim subject to offset?

                                                             þ No
                                                             ¨ Yes

3.551.     Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                             Check all that apply.
           DODSON, MONICA JENEE                                                                              UNDETERMINED
           J. NELSON THOMAS THOMAS & SOLOMON LLP             þ Contingent
           693 EAST AVENUE
           ROCHESTER NY 14607                                þ Unliquidated
                                                             þ Disputed
           Date or dates debt was incurred                   Basis for the claim:
           VARIOUS                                           CIVIL ACTION NO. 6:15-CV-06742
                                                             PENDING LITIGATION
           Last 4 digits of account number:
                                                             Is the claim subject to offset?

                                                             þ No
                                                             ¨ Yes

3.552.     Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                             Check all that apply.
           DOLAN-FOX, DEBORAH                                                                                UNDETERMINED
           J. NELSON THOMAS THOMAS & SOLOMON LLP             þ Contingent
           693 EAST AVENUE
           ROCHESTER NY 14607                                þ Unliquidated
                                                             þ Disputed
           Date or dates debt was incurred                   Basis for the claim:
           VARIOUS                                           CIVIL ACTION NO. 6:15-CV-06742
                                                             PENDING LITIGATION
           Last 4 digits of account number:
                                                             Is the claim subject to offset?

                                                             þ No
                                                             ¨ Yes




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3.553.     Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                             Check all that apply.
           DOLAN-FOX, DEBORAH ANN                                                                            UNDETERMINED
           J. NELSON THOMAS THOMAS & SOLOMON LLP             þ Contingent
           693 EAST AVENUE
           ROCHESTER NY 14607                                þ Unliquidated
                                                             þ Disputed
           Date or dates debt was incurred                   Basis for the claim:
           VARIOUS                                           CIVIL ACTION NO. 6:15-CV-06742
                                                             PENDING LITIGATION
           Last 4 digits of account number:
                                                             Is the claim subject to offset?

                                                             þ No
                                                             ¨ Yes

3.554.     Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                             Check all that apply.
           DOMBROWSKI, RICHARD ANDREW                                                                        UNDETERMINED
           J. NELSON THOMAS THOMAS & SOLOMON LLP             þ Contingent
           693 EAST AVENUE
           ROCHESTER NY 14607                                þ Unliquidated
                                                             þ Disputed
           Date or dates debt was incurred                   Basis for the claim:
           VARIOUS                                           CIVIL ACTION NO. 6:15-CV-06742
                                                             PENDING LITIGATION
           Last 4 digits of account number:
                                                             Is the claim subject to offset?

                                                             þ No
                                                             ¨ Yes

3.555.     Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                             Check all that apply.
           DOMINGUE, AIMEE ELIZABETH                                                                         UNDETERMINED
           J. NELSON THOMAS THOMAS & SOLOMON LLP             þ Contingent
           693 EAST AVENUE
           ROCHESTER NY 14607                                þ Unliquidated
                                                             þ Disputed
           Date or dates debt was incurred                   Basis for the claim:
           VARIOUS                                           CIVIL ACTION NO. 6:15-CV-06742
                                                             PENDING LITIGATION
           Last 4 digits of account number:
                                                             Is the claim subject to offset?

                                                             þ No
                                                             ¨ Yes




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3.556.     Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                             Check all that apply.
           DOMMASCH, NOELLE                                                                                  UNDETERMINED
           J. NELSON THOMAS THOMAS & SOLOMON LLP             þ Contingent
           693 EAST AVENUE
           ROCHESTER NY 14607                                þ Unliquidated
                                                             þ Disputed
           Date or dates debt was incurred                   Basis for the claim:
           VARIOUS                                           CIVIL ACTION NO. 6:15-CV-06742
                                                             PENDING LITIGATION
           Last 4 digits of account number:
                                                             Is the claim subject to offset?

                                                             þ No
                                                             ¨ Yes

3.557.     Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                             Check all that apply.
           DONAHUE SCHRIBER REALTY GROUP LP                                                                  UNDETERMINED
           KAREN J FINKE                                     þ Contingent
           PROPERTY MANAGER
           8020 EAST SANTA ANA CANYON RD                     þ Unliquidated
           ANAHEIM CA 92808                                  þ Disputed
           Date or dates debt was incurred                   Basis for the claim:
           VARIOUS                                           LANDLORD CLAIM
           Last 4 digits of account number:                  Is the claim subject to offset?

                                                             þ No
                                                             ¨ Yes

3.558.     Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                             Check all that apply.
           DONAHUE, CAITLIN                                                                                  UNDETERMINED
           J. NELSON THOMAS THOMAS & SOLOMON LLP             þ Contingent
           693 EAST AVENUE
           ROCHESTER NY 14607                                þ Unliquidated
                                                             þ Disputed
           Date or dates debt was incurred                   Basis for the claim:
           VARIOUS                                           CIVIL ACTION NO. 6:15-CV-06742
                                                             PENDING LITIGATION
           Last 4 digits of account number:
                                                             Is the claim subject to offset?

                                                             þ No
                                                             ¨ Yes




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3.559.     Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                             Check all that apply.
           DONAHUE, CAITLIN MARIE                                                                            UNDETERMINED
           J. NELSON THOMAS THOMAS & SOLOMON LLP             þ Contingent
           693 EAST AVENUE
           ROCHESTER NY 14607                                þ Unliquidated
                                                             þ Disputed
           Date or dates debt was incurred                   Basis for the claim:
           VARIOUS                                           CIVIL ACTION NO. 6:15-CV-06742
                                                             PENDING LITIGATION
           Last 4 digits of account number:
                                                             Is the claim subject to offset?

                                                             þ No
                                                             ¨ Yes

3.560.     Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                             Check all that apply.
           DONALDSON, STEPHANIE AUTUMN                                                                       UNDETERMINED
           J. NELSON THOMAS THOMAS & SOLOMON LLP             þ Contingent
           693 EAST AVENUE
           ROCHESTER NY 14607                                þ Unliquidated
                                                             þ Disputed
           Date or dates debt was incurred                   Basis for the claim:
           VARIOUS                                           CIVIL ACTION NO. 6:15-CV-06742
                                                             PENDING LITIGATION
           Last 4 digits of account number:
                                                             Is the claim subject to offset?

                                                             þ No
                                                             ¨ Yes

3.561.     Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                             Check all that apply.
           DONOHUE, JAMESON E                                                                                UNDETERMINED
                                                             þ Contingent
                                                             þ Unliquidated
                                                             þ Disputed
           Date or dates debt was incurred                   Basis for the claim:
           VARIOUS                                           GENERAL LIABILITY CLAIMS
           Last 4 digits of account number:                  Is the claim subject to offset?

                                                             þ No
                                                             ¨ Yes




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3.562.     Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                             Check all that apply.
           DORIA, FABRIZIO JAVIER                                                                            UNDETERMINED
           J. NELSON THOMAS THOMAS & SOLOMON LLP             þ Contingent
           693 EAST AVENUE
           ROCHESTER NY 14607                                þ Unliquidated
                                                             þ Disputed
           Date or dates debt was incurred                   Basis for the claim:
           VARIOUS                                           CIVIL ACTION NO. 6:15-CV-06742
                                                             PENDING LITIGATION
           Last 4 digits of account number:
                                                             Is the claim subject to offset?

                                                             þ No
                                                             ¨ Yes

3.563.     Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                             Check all that apply.
           DORRIES, STEVEN H.                                                                                UNDETERMINED
           J. NELSON THOMAS THOMAS & SOLOMON LLP             þ Contingent
           693 EAST AVENUE
           ROCHESTER NY 14607                                þ Unliquidated
                                                             þ Disputed
           Date or dates debt was incurred                   Basis for the claim:
           VARIOUS                                           CIVIL ACTION NO. 6:15-CV-06742
                                                             PENDING LITIGATION
           Last 4 digits of account number:
                                                             Is the claim subject to offset?

                                                             þ No
                                                             ¨ Yes

3.564.     Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                             Check all that apply.
           DOUGLAS, STEVIE HARRISON                                                                          UNDETERMINED
           J. NELSON THOMAS THOMAS & SOLOMON LLP             þ Contingent
           693 EAST AVENUE
           ROCHESTER NY 14607                                þ Unliquidated
                                                             þ Disputed
           Date or dates debt was incurred                   Basis for the claim:
           VARIOUS                                           CIVIL ACTION NO. 6:15-CV-06742
                                                             PENDING LITIGATION
           Last 4 digits of account number:
                                                             Is the claim subject to offset?

                                                             þ No
                                                             ¨ Yes




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3.565.     Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                             Check all that apply.
           DOUGLAS, TAJMA                                                                                    UNDETERMINED
           J. NELSON THOMAS THOMAS & SOLOMON LLP             þ Contingent
           693 EAST AVENUE
           ROCHESTER NY 14607                                þ Unliquidated
                                                             þ Disputed
           Date or dates debt was incurred                   Basis for the claim:
           VARIOUS                                           CIVIL ACTION NO. 6:15-CV-06742
                                                             PENDING LITIGATION
           Last 4 digits of account number:
                                                             Is the claim subject to offset?

                                                             þ No
                                                             ¨ Yes

3.566.     Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                             Check all that apply.
           DOVE, RAVEN                                                                                       UNDETERMINED
           J. NELSON THOMAS THOMAS & SOLOMON LLP             þ Contingent
           693 EAST AVENUE
           ROCHESTER NY 14607                                þ Unliquidated
                                                             þ Disputed
           Date or dates debt was incurred                   Basis for the claim:
           VARIOUS                                           CIVIL ACTION NO. 6:15-CV-06742
                                                             PENDING LITIGATION
           Last 4 digits of account number:
                                                             Is the claim subject to offset?

                                                             þ No
                                                             ¨ Yes

3.567.     Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                             Check all that apply.
           DOZE, MARC ANTHONY                                                                                UNDETERMINED
           J. NELSON THOMAS THOMAS & SOLOMON LLP             þ Contingent
           693 EAST AVENUE
           ROCHESTER NY 14607                                þ Unliquidated
                                                             þ Disputed
           Date or dates debt was incurred                   Basis for the claim:
           VARIOUS                                           CIVIL ACTION NO. 6:15-CV-06742
                                                             PENDING LITIGATION
           Last 4 digits of account number:
                                                             Is the claim subject to offset?

                                                             þ No
                                                             ¨ Yes




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3.568.     Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                             Check all that apply.
           DR. VINYL OF OKLAHOMA CITY                                                                        $380.00
           1913 LANKESTAR PLACE                              ¨ Contingent
           YUKON OK 73099
                                                             ¨ Unliquidated
                                                             ¨ Disputed
           Date or dates debt was incurred                   Basis for the claim:
           VARIOUS                                           TRADE ACCOUNTS PAYABLE
           Last 4 digits of account number:                  Is the claim subject to offset?

                                                             þ No
                                                             ¨ Yes

3.569.     Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                             Check all that apply.
           DRAFFEN, MATTHEW JAMES                                                                            UNDETERMINED
           J. NELSON THOMAS THOMAS & SOLOMON LLP             þ Contingent
           693 EAST AVENUE
           ROCHESTER NY 14607                                þ Unliquidated
                                                             þ Disputed
           Date or dates debt was incurred                   Basis for the claim:
           VARIOUS                                           CIVIL ACTION NO. 6:15-CV-06742
                                                             PENDING LITIGATION
           Last 4 digits of account number:
                                                             Is the claim subject to offset?

                                                             þ No
                                                             ¨ Yes

3.570.     Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                             Check all that apply.
           DRAKE, KENNETH MICHAEL                                                                            UNDETERMINED
           J. NELSON THOMAS THOMAS & SOLOMON LLP             þ Contingent
           693 EAST AVENUE
           ROCHESTER NY 14607                                þ Unliquidated
                                                             þ Disputed
           Date or dates debt was incurred                   Basis for the claim:
           VARIOUS                                           CIVIL ACTION NO. 6:15-CV-06742
                                                             PENDING LITIGATION
           Last 4 digits of account number:
                                                             Is the claim subject to offset?

                                                             þ No
                                                             ¨ Yes




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3.571.     Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                             Check all that apply.
           DRAPER, CHRISTION DIOR                                                                            UNDETERMINED
           J. NELSON THOMAS THOMAS & SOLOMON LLP             þ Contingent
           693 EAST AVENUE
           ROCHESTER NY 14607                                þ Unliquidated
                                                             þ Disputed
           Date or dates debt was incurred                   Basis for the claim:
           VARIOUS                                           CIVIL ACTION NO. 6:15-CV-06742
                                                             PENDING LITIGATION
           Last 4 digits of account number:
                                                             Is the claim subject to offset?

                                                             þ No
                                                             ¨ Yes

3.572.     Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                             Check all that apply.
           DRASNY, TAMARA A.                                                                                 UNDETERMINED
           J. NELSON THOMAS THOMAS & SOLOMON LLP             þ Contingent
           693 EAST AVENUE
           ROCHESTER NY 14607                                þ Unliquidated
                                                             þ Disputed
           Date or dates debt was incurred                   Basis for the claim:
           VARIOUS                                           CIVIL ACTION NO. 6:15-CV-06742
                                                             PENDING LITIGATION
           Last 4 digits of account number:
                                                             Is the claim subject to offset?

                                                             þ No
                                                             ¨ Yes

3.573.     Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                             Check all that apply.
           DRIFFILL, CHERYL                                                                                  UNDETERMINED
                                                             þ Contingent
                                                             þ Unliquidated
                                                             þ Disputed
           Date or dates debt was incurred                   Basis for the claim:
           VARIOUS                                           GENERAL LIABILITY CLAIMS
           Last 4 digits of account number:                  Is the claim subject to offset?

                                                             þ No
                                                             ¨ Yes




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Debtor   MAC ACQUISITION LLC                                                                                 Case number (if known) 17-12224




3.574.     Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                             Check all that apply.
           DRIFFILL, CHERYL                                                                                  UNDETERMINED
                                                             þ Contingent
                                                             þ Unliquidated
                                                             þ Disputed
           Date or dates debt was incurred                   Basis for the claim:
           VARIOUS                                           GENERAL LIABILITY CLAIMS
           Last 4 digits of account number:                  Is the claim subject to offset?

                                                             þ No
                                                             ¨ Yes

3.575.     Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                             Check all that apply.
           DRUM, KEVIN ERIC                                                                                  UNDETERMINED
           J. NELSON THOMAS THOMAS & SOLOMON LLP             þ Contingent
           693 EAST AVENUE
           ROCHESTER NY 14607                                þ Unliquidated
                                                             þ Disputed
           Date or dates debt was incurred                   Basis for the claim:
           VARIOUS                                           CIVIL ACTION NO. 6:15-CV-06742
                                                             PENDING LITIGATION
           Last 4 digits of account number:
                                                             Is the claim subject to offset?

                                                             þ No
                                                             ¨ Yes

3.576.     Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                             Check all that apply.
           DRUMMER, VERONICA JIMENEZ                                                                         UNDETERMINED
           J. NELSON THOMAS THOMAS & SOLOMON LLP             þ Contingent
           693 EAST AVENUE
           ROCHESTER NY 14607                                þ Unliquidated
                                                             þ Disputed
           Date or dates debt was incurred                   Basis for the claim:
           VARIOUS                                           CIVIL ACTION NO. 6:15-CV-06742
                                                             PENDING LITIGATION
           Last 4 digits of account number:
                                                             Is the claim subject to offset?

                                                             þ No
                                                             ¨ Yes




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3.577.     Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                             Check all that apply.
           DSI/DATASOURCE, INC.                                                                              $2,077.41
           DEPT 730023                                       ¨ Contingent
           PO BOX 660919
           DALLAS TX 75266-0919                              ¨ Unliquidated
                                                             ¨ Disputed
           Date or dates debt was incurred                   Basis for the claim:
           VARIOUS                                           TRADE ACCOUNTS PAYABLE
           Last 4 digits of account number:                  Is the claim subject to offset?

                                                             þ No
                                                             ¨ Yes

3.578.     Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                             Check all that apply.
           DUBOIS, CHELSEY                                                                                   UNDETERMINED
           J. NELSON THOMAS THOMAS & SOLOMON LLP             þ Contingent
           693 EAST AVENUE
           ROCHESTER NY 14607                                þ Unliquidated
                                                             þ Disputed
           Date or dates debt was incurred                   Basis for the claim:
           VARIOUS                                           CIVIL ACTION NO. 6:15-CV-06742
                                                             PENDING LITIGATION
           Last 4 digits of account number:
                                                             Is the claim subject to offset?

                                                             þ No
                                                             ¨ Yes

3.579.     Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                             Check all that apply.
           DUCK DELIVERY OF WASHINGTON INC                                                                   $4,729.57
           1509 45TH STREET E                                ¨ Contingent
           SUMNER WA 98390
                                                             ¨ Unliquidated
                                                             ¨ Disputed
           Date or dates debt was incurred                   Basis for the claim:
           VARIOUS                                           TRADE ACCOUNTS PAYABLE
           Last 4 digits of account number:                  Is the claim subject to offset?

                                                             þ No
                                                             ¨ Yes




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3.580.     Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                             Check all that apply.
           DUERKSEN, CHRISTIANA MARIE                                                                        UNDETERMINED
           J. NELSON THOMAS THOMAS & SOLOMON LLP             þ Contingent
           693 EAST AVENUE
           ROCHESTER NY 14607                                þ Unliquidated
                                                             þ Disputed
           Date or dates debt was incurred                   Basis for the claim:
           VARIOUS                                           CIVIL ACTION NO. 6:15-CV-06742
                                                             PENDING LITIGATION
           Last 4 digits of account number:
                                                             Is the claim subject to offset?

                                                             þ No
                                                             ¨ Yes

3.581.     Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                             Check all that apply.
           DUGAN, EMILY ANNE                                                                                 UNDETERMINED
           J. NELSON THOMAS THOMAS & SOLOMON LLP             þ Contingent
           693 EAST AVENUE
           ROCHESTER NY 14607                                þ Unliquidated
                                                             þ Disputed
           Date or dates debt was incurred                   Basis for the claim:
           VARIOUS                                           CIVIL ACTION NO. 6:15-CV-06742
                                                             PENDING LITIGATION
           Last 4 digits of account number:
                                                             Is the claim subject to offset?

                                                             þ No
                                                             ¨ Yes

3.582.     Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                             Check all that apply.
           DULLES TOWN CENTER MALL LLC                                                                       UNDETERMINED
           LERNER CORP                                       þ Contingent
           EMILY GAGLIARDI SR LEASING MANAGER
           21100 DULLES TOWN CIR STE 234                     þ Unliquidated
           DULLES VA 20166                                   þ Disputed
           Date or dates debt was incurred                   Basis for the claim:
           VARIOUS                                           LANDLORD CLAIM
           Last 4 digits of account number:                  Is the claim subject to offset?

                                                             þ No
                                                             ¨ Yes




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3.583.     Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                             Check all that apply.
           DURAN, JULIA E.                                                                                   UNDETERMINED
           J. NELSON THOMAS THOMAS & SOLOMON LLP             þ Contingent
           693 EAST AVENUE
           ROCHESTER NY 14607                                þ Unliquidated
                                                             þ Disputed
           Date or dates debt was incurred                   Basis for the claim:
           VARIOUS                                           CIVIL ACTION NO. 6:15-CV-06742
                                                             PENDING LITIGATION
           Last 4 digits of account number:
                                                             Is the claim subject to offset?

                                                             þ No
                                                             ¨ Yes

3.584.     Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                             Check all that apply.
           DVORAK, JAMES THOMAS                                                                              UNDETERMINED
           J. NELSON THOMAS THOMAS & SOLOMON LLP             þ Contingent
           693 EAST AVENUE
           ROCHESTER NY 14607                                þ Unliquidated
                                                             þ Disputed
           Date or dates debt was incurred                   Basis for the claim:
           VARIOUS                                           CIVIL ACTION NO. 6:15-CV-06742
                                                             PENDING LITIGATION
           Last 4 digits of account number:
                                                             Is the claim subject to offset?

                                                             þ No
                                                             ¨ Yes

3.585.     Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                             Check all that apply.
           DYKEMA GOSSETT, PLLC                                                                              $4,441.00
           400 RENAISSANCE CENTER                            ¨ Contingent
           DETROIT MI 48226
                                                             ¨ Unliquidated
                                                             ¨ Disputed
           Date or dates debt was incurred                   Basis for the claim:
           VARIOUS                                           LEGAL
           Last 4 digits of account number:                  Is the claim subject to offset?

                                                             þ No
                                                             ¨ Yes




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3.586.     Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                             Check all that apply.
           EASTWOOD LOCKSMITH SERIVCE INC.                                                                   $254.39
           9400 CARNEGIE AVENUE, STE. A                      ¨ Contingent
           EL PASO TX 79925
                                                             ¨ Unliquidated
                                                             ¨ Disputed
           Date or dates debt was incurred                   Basis for the claim:
           VARIOUS                                           TRADE ACCOUNTS PAYABLE
           Last 4 digits of account number:                  Is the claim subject to offset?

                                                             þ No
                                                             ¨ Yes

3.587.     Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                             Check all that apply.
           EBERSOLE, EMILY PATRICIA                                                                          UNDETERMINED
           J. NELSON THOMAS THOMAS & SOLOMON LLP             þ Contingent
           693 EAST AVENUE
           ROCHESTER NY 14607                                þ Unliquidated
                                                             þ Disputed
           Date or dates debt was incurred                   Basis for the claim:
           VARIOUS                                           CIVIL ACTION NO. 6:15-CV-06742
                                                             PENDING LITIGATION
           Last 4 digits of account number:
                                                             Is the claim subject to offset?

                                                             þ No
                                                             ¨ Yes

3.588.     Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                             Check all that apply.
           ECHEONA, RICARDO ROLANDO                                                                          UNDETERMINED
           J. NELSON THOMAS THOMAS & SOLOMON LLP             þ Contingent
           693 EAST AVENUE
           ROCHESTER NY 14607                                þ Unliquidated
                                                             þ Disputed
           Date or dates debt was incurred                   Basis for the claim:
           VARIOUS                                           CIVIL ACTION NO. 6:15-CV-06742
                                                             PENDING LITIGATION
           Last 4 digits of account number:
                                                             Is the claim subject to offset?

                                                             þ No
                                                             ¨ Yes




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3.589.     Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                             Check all that apply.
           ECKHART, PATRICIA DAWN                                                                            UNDETERMINED
           J. NELSON THOMAS THOMAS & SOLOMON LLP             þ Contingent
           693 EAST AVENUE
           ROCHESTER NY 14607                                þ Unliquidated
                                                             þ Disputed
           Date or dates debt was incurred                   Basis for the claim:
           VARIOUS                                           CIVIL ACTION NO. 6:15-CV-06742
                                                             PENDING LITIGATION
           Last 4 digits of account number:
                                                             Is the claim subject to offset?

                                                             þ No
                                                             ¨ Yes

3.590.     Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                             Check all that apply.
           ECO SERVICES OF ARKANSAS INC                                                                      $381.50
           13220 PLEASANT FOREST DRIVE                       ¨ Contingent
           LITTLE ROCK AR 72212
                                                             ¨ Unliquidated
                                                             ¨ Disputed
           Date or dates debt was incurred                   Basis for the claim:
           VARIOUS                                           TRADE ACCOUNTS PAYABLE
           Last 4 digits of account number:                  Is the claim subject to offset?

                                                             þ No
                                                             ¨ Yes

3.591.     Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                             Check all that apply.
           ECOLAB EQUIPMENT CARE (PROFESSION)                                                                $5,778.63
           GCS SERVICE INC.                                  ¨ Contingent
           24673 NETWORK PLACE
           CHICAGO IL 60673                                  ¨ Unliquidated
                                                             ¨ Disputed
           Date or dates debt was incurred                   Basis for the claim:
           VARIOUS                                           TRADE ACCOUNTS PAYABLE
           Last 4 digits of account number:                  Is the claim subject to offset?

                                                             þ No
                                                             ¨ Yes




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3.592.     Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                             Check all that apply.
           ECOLAB INC (PROFESSION)                                                                           $62,452.90
           PO BOX 70343                                      ¨ Contingent
           CHICAGO IL 60673
                                                             ¨ Unliquidated
                                                             ¨ Disputed
           Date or dates debt was incurred                   Basis for the claim:
           VARIOUS                                           TRADE ACCOUNTS PAYABLE
           Last 4 digits of account number:                  Is the claim subject to offset?

                                                             þ No
                                                             ¨ Yes

3.593.     Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                             Check all that apply.
           ECOLAB INC. DBA ECOSURE                                                                           $19,737.90
           1601 W DIELHL ROAD                                ¨ Contingent
           NAPERVILLE IL 60563
                                                             ¨ Unliquidated
                                                             ¨ Disputed
           Date or dates debt was incurred                   Basis for the claim:
           VARIOUS                                           TRADE ACCOUNTS PAYABLE
           Last 4 digits of account number:                  Is the claim subject to offset?

                                                             þ No
                                                             ¨ Yes

3.594.     Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                             Check all that apply.
           ECOLAB PEST ELIMINATION (PROFESSION)                                                              $120,695.58
           26252 NETWORK PLACE                               ¨ Contingent
           CHICAGO IL 60673-1262
                                                             ¨ Unliquidated
                                                             ¨ Disputed
           Date or dates debt was incurred                   Basis for the claim:
           VARIOUS                                           TRADE ACCOUNTS PAYABLE
           Last 4 digits of account number:                  Is the claim subject to offset?

                                                             þ No
                                                             ¨ Yes




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3.595.     Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                             Check all that apply.
           EDELMAN, ARIA                                                                                     UNDETERMINED
           J. NELSON THOMAS THOMAS & SOLOMON LLP             þ Contingent
           693 EAST AVENUE
           ROCHESTER NY 14607                                þ Unliquidated
                                                             þ Disputed
           Date or dates debt was incurred                   Basis for the claim:
           VARIOUS                                           CIVIL ACTION NO. 6:15-CV-06742
                                                             PENDING LITIGATION
           Last 4 digits of account number:
                                                             Is the claim subject to offset?

                                                             þ No
                                                             ¨ Yes

3.596.     Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                             Check all that apply.
           EDENS LIMITED PARTNERSHIP                                                                         $4,298.03
           1155 LAKE WOODLANDS DRIVE LLC                     ¨ Contingent
           PO BOX 536856
           ATLANTA GA 30353                                  ¨ Unliquidated
                                                             ¨ Disputed
           Date or dates debt was incurred                   Basis for the claim:
           VARIOUS                                           LEASE
           Last 4 digits of account number:                  Is the claim subject to offset?

                                                             þ No
                                                             ¨ Yes

3.597.     Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                             Check all that apply.
           EDWARDS, CASONDRA LYNNE                                                                           UNDETERMINED
           J. NELSON THOMAS THOMAS & SOLOMON LLP             þ Contingent
           693 EAST AVENUE
           ROCHESTER NY 14607                                þ Unliquidated
                                                             þ Disputed
           Date or dates debt was incurred                   Basis for the claim:
           VARIOUS                                           CIVIL ACTION NO. 6:15-CV-06742
                                                             PENDING LITIGATION
           Last 4 digits of account number:
                                                             Is the claim subject to offset?

                                                             þ No
                                                             ¨ Yes




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3.598.     Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                             Check all that apply.
           EDWARDS-EL, ANIKKA MAURA                                                                          UNDETERMINED
           J. NELSON THOMAS THOMAS & SOLOMON LLP             þ Contingent
           693 EAST AVENUE
           ROCHESTER NY 14607                                þ Unliquidated
                                                             þ Disputed
           Date or dates debt was incurred                   Basis for the claim:
           VARIOUS                                           CIVIL ACTION NO. 6:15-CV-06742
                                                             PENDING LITIGATION
           Last 4 digits of account number:
                                                             Is the claim subject to offset?

                                                             þ No
                                                             ¨ Yes

3.599.     Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                             Check all that apply.
           EFAX CORPORATE                                                                                    $142.71
           PO BOX 51873                                      ¨ Contingent
           C/O J2 CLOUD SERVICES INC.
           LOS ANGELES CA 90051                              ¨ Unliquidated
                                                             ¨ Disputed
           Date or dates debt was incurred                   Basis for the claim:
           VARIOUS                                           TRADE ACCOUNTS PAYABLE
           Last 4 digits of account number:                  Is the claim subject to offset?

                                                             þ No
                                                             ¨ Yes

3.600.     Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                             Check all that apply.
           EFTYCHIOU, JEFF                                                                                   UNDETERMINED
           J. NELSON THOMAS THOMAS & SOLOMON LLP             þ Contingent
           693 EAST AVENUE
           ROCHESTER NY 14607                                þ Unliquidated
                                                             þ Disputed
           Date or dates debt was incurred                   Basis for the claim:
           VARIOUS                                           CIVIL ACTION NO. 6:15-CV-06742
                                                             PENDING LITIGATION
           Last 4 digits of account number:
                                                             Is the claim subject to offset?

                                                             þ No
                                                             ¨ Yes




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3.601.     Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                             Check all that apply.
           EGBERT, AMANDA RENEE                                                                              UNDETERMINED
           J. NELSON THOMAS THOMAS & SOLOMON LLP             þ Contingent
           693 EAST AVENUE
           ROCHESTER NY 14607                                þ Unliquidated
                                                             þ Disputed
           Date or dates debt was incurred                   Basis for the claim:
           VARIOUS                                           CIVIL ACTION NO. 6:15-CV-06742
                                                             PENDING LITIGATION
           Last 4 digits of account number:
                                                             Is the claim subject to offset?

                                                             þ No
                                                             ¨ Yes

3.602.     Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                             Check all that apply.
           EKRYSS, JHARED                                                                                    UNDETERMINED
           J. NELSON THOMAS, MICHAEL J.LINGLE, JARED         þ Contingent
           K. COOK, THOMAS & SULLIVAN LLP
                                                             þ Unliquidated
                                                             þ Disputed
           Date or dates debt was incurred                   Basis for the claim:
           VARIOUS                                           CIVIL ACTION NO. 6:15-CV-06742
                                                             PENDING LITIGATION
           Last 4 digits of account number:
                                                             Is the claim subject to offset?

                                                             þ No
                                                             ¨ Yes

3.603.     Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                             Check all that apply.
           EKRYSS, JHARED                                                                                    UNDETERMINED
           J. NELSON THOMAS THOMAS & SOLOMON LLP             þ Contingent
           693 EAST AVENUE
           ROCHESTER NY 14607                                þ Unliquidated
                                                             þ Disputed
           Date or dates debt was incurred                   Basis for the claim:
           VARIOUS                                           CIVIL ACTION NO. 6:15-CV-06742
                                                             PENDING LITIGATION
           Last 4 digits of account number:
                                                             Is the claim subject to offset?

                                                             þ No
                                                             ¨ Yes




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3.604.     Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                             Check all that apply.
           ELANNAN, HAISSAM                                                                                  UNDETERMINED
           J. NELSON THOMAS THOMAS & SOLOMON LLP             þ Contingent
           693 EAST AVENUE
           ROCHESTER NY 14607                                þ Unliquidated
                                                             þ Disputed
           Date or dates debt was incurred                   Basis for the claim:
           VARIOUS                                           CIVIL ACTION NO. 6:15-CV-06742
                                                             PENDING LITIGATION
           Last 4 digits of account number:
                                                             Is the claim subject to offset?

                                                             þ No
                                                             ¨ Yes

3.605.     Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                             Check all that apply.
           ELLISON, BAILOR SCOTT                                                                             UNDETERMINED
           J. NELSON THOMAS THOMAS & SOLOMON LLP             þ Contingent
           693 EAST AVENUE
           ROCHESTER NY 14607                                þ Unliquidated
                                                             þ Disputed
           Date or dates debt was incurred                   Basis for the claim:
           VARIOUS                                           CIVIL ACTION NO. 6:15-CV-06742
                                                             PENDING LITIGATION
           Last 4 digits of account number:
                                                             Is the claim subject to offset?

                                                             þ No
                                                             ¨ Yes

3.606.     Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                             Check all that apply.
           ELSA CARENBAUER                                                                                   $3,015.00
           2073 N. DOWNING ST                                ¨ Contingent
           DENVER CO 80205
                                                             ¨ Unliquidated
                                                             ¨ Disputed
           Date or dates debt was incurred                   Basis for the claim:
           VARIOUS                                           TRADE ACCOUNTS PAYABLE
           Last 4 digits of account number:                  Is the claim subject to offset?

                                                             þ No
                                                             ¨ Yes




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3.607.     Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                             Check all that apply.
           EMERGENCY ICE                                                                                     $405.00
           8700 DIPLOMACY ROW                                ¨ Contingent
           DALLAS TX 75247
                                                             ¨ Unliquidated
                                                             ¨ Disputed
           Date or dates debt was incurred                   Basis for the claim:
           VARIOUS                                           TRADE ACCOUNTS PAYABLE
           Last 4 digits of account number:                  Is the claim subject to offset?

                                                             þ No
                                                             ¨ Yes

3.608.     Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                             Check all that apply.
           EMERGENCY PLUMBING SERVICE                                                                        $4,339.37
           C/O CRESTMARK BANK                                ¨ Contingent
           DRAWER #2176 PO BOX 5935
           TROY MI 48007-5935                                ¨ Unliquidated
                                                             ¨ Disputed
           Date or dates debt was incurred                   Basis for the claim:
           VARIOUS                                           TRADE ACCOUNTS PAYABLE
           Last 4 digits of account number:                  Is the claim subject to offset?

                                                             þ No
                                                             ¨ Yes

3.609.     Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                             Check all that apply.
           EMPIRE ROOFING INC.                                                                               $752.34
           16311 CENTRAL COMMERCE DR                         ¨ Contingent
           PFLUGERVILLE TX 78660
                                                             ¨ Unliquidated
                                                             ¨ Disputed
           Date or dates debt was incurred                   Basis for the claim:
           VARIOUS                                           TRADE ACCOUNTS PAYABLE
           Last 4 digits of account number:                  Is the claim subject to offset?

                                                             þ No
                                                             ¨ Yes




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3.610.     Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                             Check all that apply.
           EMPLOYMENT SCREENING SVC INC                                                                      $2,277.90
           DEPT K, PO BOX 830520                             ¨ Contingent
           BIRMINGHAM AL 35283
                                                             ¨ Unliquidated
                                                             ¨ Disputed
           Date or dates debt was incurred                   Basis for the claim:
           VARIOUS                                           TRADE ACCOUNTS PAYABLE
           Last 4 digits of account number:                  Is the claim subject to offset?

                                                             þ No
                                                             ¨ Yes

3.611.     Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                             Check all that apply.
           ENCORE TRIM INC.                                                                                  $2,554.71
           5126 EBONY DRIVE                                  ¨ Contingent
           SAN ANTONIO TX 78228
                                                             ¨ Unliquidated
                                                             ¨ Disputed
           Date or dates debt was incurred                   Basis for the claim:
           VARIOUS                                           TRADE ACCOUNTS PAYABLE
           Last 4 digits of account number:                  Is the claim subject to offset?

                                                             þ No
                                                             ¨ Yes

3.612.     Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                             Check all that apply.
           ENGELMANN, BRENDA                                                                                 UNDETERMINED
                                                             þ Contingent
                                                             þ Unliquidated
                                                             þ Disputed
           Date or dates debt was incurred                   Basis for the claim:
           VARIOUS                                           GENERAL LIABILITY CLAIMS
           Last 4 digits of account number:                  Is the claim subject to offset?

                                                             þ No
                                                             ¨ Yes




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3.613.     Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                             Check all that apply.
           ENGELMANN, EMILY M.                                                                               UNDETERMINED
           J. NELSON THOMAS THOMAS & SOLOMON LLP             þ Contingent
           693 EAST AVENUE
           ROCHESTER NY 14607                                þ Unliquidated
                                                             þ Disputed
           Date or dates debt was incurred                   Basis for the claim:
           VARIOUS                                           CIVIL ACTION NO. 6:15-CV-06742
                                                             PENDING LITIGATION
           Last 4 digits of account number:
                                                             Is the claim subject to offset?

                                                             þ No
                                                             ¨ Yes

3.614.     Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                             Check all that apply.
           ENRIQUE COSTA DBA COSTA GROUP                                                                     $2,296.00
           PRESSURE CLEANING                                 ¨ Contingent
           PO BOX 661280
           MIAMI SPRINGS FL 33266                            ¨ Unliquidated
                                                             ¨ Disputed
           Date or dates debt was incurred                   Basis for the claim:
           VARIOUS                                           TRADE ACCOUNTS PAYABLE
           Last 4 digits of account number:                  Is the claim subject to offset?

                                                             þ No
                                                             ¨ Yes

3.615.     Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                             Check all that apply.
           ENVIRO-MASTER OF ORANGE COUNTY                                                                    $347.00
           PO BOX 12350                                      ¨ Contingent
           CHARLOTTE NC 28220
                                                             ¨ Unliquidated
                                                             ¨ Disputed
           Date or dates debt was incurred                   Basis for the claim:
           VARIOUS                                           TRADE ACCOUNTS PAYABLE
           Last 4 digits of account number:                  Is the claim subject to offset?

                                                             þ No
                                                             ¨ Yes




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3.616.     Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                             Check all that apply.
           EON OFFICE                                                                                        $838.15
           60 TEJON STREET                                   ¨ Contingent
           DENVER CO 80223
                                                             ¨ Unliquidated
                                                             ¨ Disputed
           Date or dates debt was incurred                   Basis for the claim:
           VARIOUS                                           TRADE ACCOUNTS PAYABLE
           Last 4 digits of account number:                  Is the claim subject to offset?

                                                             þ No
                                                             ¨ Yes

3.617.     Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                             Check all that apply.
           EPIC SERVICES LLC                                                                                 $8,385.01
           PO BOX 1015                                       ¨ Contingent
           KAYSVILLE UT 84037
                                                             ¨ Unliquidated
                                                             ¨ Disputed
           Date or dates debt was incurred                   Basis for the claim:
           VARIOUS                                           TRADE ACCOUNTS PAYABLE
           Last 4 digits of account number:                  Is the claim subject to offset?

                                                             þ No
                                                             ¨ Yes

3.618.     Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                             Check all that apply.
           ERICKSON, CRAIG B.                                                                                UNDETERMINED
           J. NELSON THOMAS THOMAS & SOLOMON LLP             þ Contingent
           693 EAST AVENUE
           ROCHESTER NY 14607                                þ Unliquidated
                                                             þ Disputed
           Date or dates debt was incurred                   Basis for the claim:
           VARIOUS                                           CIVIL ACTION NO. 6:15-CV-06742
                                                             PENDING LITIGATION
           Last 4 digits of account number:
                                                             Is the claim subject to offset?

                                                             þ No
                                                             ¨ Yes




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3.619.     Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                             Check all that apply.
           ERVIN, TRAVIS LEE                                                                                 UNDETERMINED
           J. NELSON THOMAS THOMAS & SOLOMON LLP             þ Contingent
           693 EAST AVENUE
           ROCHESTER NY 14607                                þ Unliquidated
                                                             þ Disputed
           Date or dates debt was incurred                   Basis for the claim:
           VARIOUS                                           CIVIL ACTION NO. 6:15-CV-06742
                                                             PENDING LITIGATION
           Last 4 digits of account number:
                                                             Is the claim subject to offset?

                                                             þ No
                                                             ¨ Yes

3.620.     Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                             Check all that apply.
           ESCARMENT, RENOD                                                                                  UNDETERMINED
           J. NELSON THOMAS THOMAS & SOLOMON LLP             þ Contingent
           693 EAST AVENUE
           ROCHESTER NY 14607                                þ Unliquidated
                                                             þ Disputed
           Date or dates debt was incurred                   Basis for the claim:
           VARIOUS                                           CIVIL ACTION NO. 6:15-CV-06742
                                                             PENDING LITIGATION
           Last 4 digits of account number:
                                                             Is the claim subject to offset?

                                                             þ No
                                                             ¨ Yes

3.621.     Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                             Check all that apply.
           ESPINOZA, MARCO ANTONIO                                                                           UNDETERMINED
           J. NELSON THOMAS THOMAS & SOLOMON LLP             þ Contingent
           693 EAST AVENUE
           ROCHESTER NY 14607                                þ Unliquidated
                                                             þ Disputed
           Date or dates debt was incurred                   Basis for the claim:
           VARIOUS                                           CIVIL ACTION NO. 6:15-CV-06742
                                                             PENDING LITIGATION
           Last 4 digits of account number:
                                                             Is the claim subject to offset?

                                                             þ No
                                                             ¨ Yes




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3.622.     Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                             Check all that apply.
           ESTOK, BRETT KENNETH                                                                              UNDETERMINED
           J. NELSON THOMAS THOMAS & SOLOMON LLP             þ Contingent
           693 EAST AVENUE
           ROCHESTER NY 14607                                þ Unliquidated
                                                             þ Disputed
           Date or dates debt was incurred                   Basis for the claim:
           VARIOUS                                           CIVIL ACTION NO. 6:15-CV-06742
                                                             PENDING LITIGATION
           Last 4 digits of account number:
                                                             Is the claim subject to offset?

                                                             þ No
                                                             ¨ Yes

3.623.     Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                             Check all that apply.
           ETS PLUMBING                                                                                      $541.00
           PO BOX 608                                        ¨ Contingent
           CLOVIS CA 93613
                                                             ¨ Unliquidated
                                                             ¨ Disputed
           Date or dates debt was incurred                   Basis for the claim:
           VARIOUS                                           TRADE ACCOUNTS PAYABLE
           Last 4 digits of account number:                  Is the claim subject to offset?

                                                             þ No
                                                             ¨ Yes

3.624.     Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                             Check all that apply.
           EVANS, DARIAS                                                                                     UNDETERMINED
           J. NELSON THOMAS THOMAS & SOLOMON LLP             þ Contingent
           693 EAST AVENUE
           ROCHESTER NY 14607                                þ Unliquidated
                                                             þ Disputed
           Date or dates debt was incurred                   Basis for the claim:
           VARIOUS                                           CIVIL ACTION NO. 6:15-CV-06742
                                                             PENDING LITIGATION
           Last 4 digits of account number:
                                                             Is the claim subject to offset?

                                                             þ No
                                                             ¨ Yes




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3.625.     Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                             Check all that apply.
           EVANS, DARRELL ALLEN                                                                              UNDETERMINED
           J. NELSON THOMAS THOMAS & SOLOMON LLP             þ Contingent
           693 EAST AVENUE
           ROCHESTER NY 14607                                þ Unliquidated
                                                             þ Disputed
           Date or dates debt was incurred                   Basis for the claim:
           VARIOUS                                           CIVIL ACTION NO. 6:15-CV-06742
                                                             PENDING LITIGATION
           Last 4 digits of account number:
                                                             Is the claim subject to offset?

                                                             þ No
                                                             ¨ Yes

3.626.     Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                             Check all that apply.
           EVCO HEATING & AIR CONDITIONING, INC.                                                             $2,363.00
           8863 GREENBACK LANE, #330                         ¨ Contingent
           ORANGEVALE CA 95662
                                                             ¨ Unliquidated
                                                             ¨ Disputed
           Date or dates debt was incurred                   Basis for the claim:
           VARIOUS                                           TRADE ACCOUNTS PAYABLE
           Last 4 digits of account number:                  Is the claim subject to offset?

                                                             þ No
                                                             ¨ Yes

3.627.     Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                             Check all that apply.
           EVERS, CHRISTY N.                                                                                 UNDETERMINED
           J. NELSON THOMAS THOMAS & SOLOMON LLP             þ Contingent
           693 EAST AVENUE
           ROCHESTER NY 14607                                þ Unliquidated
                                                             þ Disputed
           Date or dates debt was incurred                   Basis for the claim:
           VARIOUS                                           CIVIL ACTION NO. 6:15-CV-06742
                                                             PENDING LITIGATION
           Last 4 digits of account number:
                                                             Is the claim subject to offset?

                                                             þ No
                                                             ¨ Yes




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3.628.     Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                             Check all that apply.
           EVERSOFT INC.                                                                                     $429.88
           PO BOX 92769                                      ¨ Contingent
           LONG BEACH CA 90809
                                                             ¨ Unliquidated
                                                             ¨ Disputed
           Date or dates debt was incurred                   Basis for the claim:
           VARIOUS                                           TRADE ACCOUNTS PAYABLE
           Last 4 digits of account number:                  Is the claim subject to offset?

                                                             þ No
                                                             ¨ Yes

3.629.     Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                             Check all that apply.
           EVITE, INC                                                                                        $13,341.49
           600 WILSHIRE BLVD., STE 400                       ¨ Contingent
           LOS ANGELES CA 90017
                                                             ¨ Unliquidated
                                                             ¨ Disputed
           Date or dates debt was incurred                   Basis for the claim:
           VARIOUS                                           TRADE ACCOUNTS PAYABLE
           Last 4 digits of account number:                  Is the claim subject to offset?

                                                             þ No
                                                             ¨ Yes

3.630.     Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                             Check all that apply.
           EWH ESCONDIDO ASSOCIATES LP                                                                       $6,452.66
           C/O WESTFIELD SHOPPINGTOWN LLC                    ¨ Contingent
           FILE #55697
           LOS ANGELES CA 90074                              ¨ Unliquidated
                                                             ¨ Disputed
           Date or dates debt was incurred                   Basis for the claim:
           VARIOUS                                           LEASE
           Last 4 digits of account number:                  Is the claim subject to offset?

                                                             þ No
                                                             ¨ Yes




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3.631.     Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                             Check all that apply.
           FACILITY RESPONSE GROUP                                                                           $768.58
           2100 GREENWOOD DR, STE 200                        ¨ Contingent
           SOUTHLAKE TX 76092
                                                             ¨ Unliquidated
                                                             ¨ Disputed
           Date or dates debt was incurred                   Basis for the claim:
           VARIOUS                                           TRADE ACCOUNTS PAYABLE
           Last 4 digits of account number:                  Is the claim subject to offset?

                                                             þ No
                                                             ¨ Yes

3.632.     Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                             Check all that apply.
           FACILITY SOLUTIONS GROUP INC ACH                                                                  $4,151.79
           (SUPPLY)                                          ¨ Contingent
           PO BOX 896508
           CHARLOTTE NC 28289                                ¨ Unliquidated
                                                             ¨ Disputed
           Date or dates debt was incurred                   Basis for the claim:
           VARIOUS                                           TRADE ACCOUNTS PAYABLE
           Last 4 digits of account number:                  Is the claim subject to offset?

                                                             þ No
                                                             ¨ Yes

3.633.     Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                             Check all that apply.
           FACT & FICTION LLC                                                                                $25,100.00
           2000 CENTRAL AVE STE. 100                         ¨ Contingent
           BOULDER CO 80301
                                                             ¨ Unliquidated
                                                             ¨ Disputed
           Date or dates debt was incurred                   Basis for the claim:
           VARIOUS                                           TRADE ACCOUNTS PAYABLE
           Last 4 digits of account number:                  Is the claim subject to offset?

                                                             þ No
                                                             ¨ Yes




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3.634.     Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                             Check all that apply.
           FAIOLA, TIMOTHY DAVID                                                                             UNDETERMINED
           J. NELSON THOMAS THOMAS & SOLOMON LLP             þ Contingent
           693 EAST AVENUE
           ROCHESTER NY 14607                                þ Unliquidated
                                                             þ Disputed
           Date or dates debt was incurred                   Basis for the claim:
           VARIOUS                                           CIVIL ACTION NO. 6:15-CV-06742
                                                             PENDING LITIGATION
           Last 4 digits of account number:
                                                             Is the claim subject to offset?

                                                             þ No
                                                             ¨ Yes

3.635.     Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                             Check all that apply.
           FAIR LAKES PROMENADE RETAIL LLC                                                                   UNDETERMINED
           RAPPAPORT MANAGEMENT CO                           þ Contingent
           KIM MCEVERS PROPERTY MANAGER
           8405 GREENSBORO DR 8TH FL                         þ Unliquidated
           MCLEAN VA 22102                                   þ Disputed
           Date or dates debt was incurred                   Basis for the claim:
           VARIOUS                                           LANDLORD CLAIM
           Last 4 digits of account number:                  Is the claim subject to offset?

                                                             þ No
                                                             ¨ Yes

3.636.     Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                             Check all that apply.
           FARDENESH, AGHDAF                                                                                 UNDETERMINED
                                                             þ Contingent
                                                             þ Unliquidated
                                                             þ Disputed
           Date or dates debt was incurred                   Basis for the claim:
           VARIOUS                                           GENERAL LIABILITY CLAIMS
           Last 4 digits of account number:                  Is the claim subject to offset?

                                                             þ No
                                                             ¨ Yes




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3.637.     Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                             Check all that apply.
           FARDENESH, AGHDAF                                                                                 UNDETERMINED
                                                             þ Contingent
                                                             þ Unliquidated
                                                             þ Disputed
           Date or dates debt was incurred                   Basis for the claim:
           VARIOUS                                           GENERAL LIABILITY CLAIMS
           Last 4 digits of account number:                  Is the claim subject to offset?

                                                             þ No
                                                             ¨ Yes

3.638.     Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                             Check all that apply.
           FARMER, KARL NEIL                                                                                 UNDETERMINED
           J. NELSON THOMAS THOMAS & SOLOMON LLP             þ Contingent
           693 EAST AVENUE
           ROCHESTER NY 14607                                þ Unliquidated
                                                             þ Disputed
           Date or dates debt was incurred                   Basis for the claim:
           VARIOUS                                           CIVIL ACTION NO. 6:15-CV-06742
                                                             PENDING LITIGATION
           Last 4 digits of account number:
                                                             Is the claim subject to offset?

                                                             þ No
                                                             ¨ Yes

3.639.     Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                             Check all that apply.
           FARNAM, FRANCESCA                                                                                 UNDETERMINED
           J. NELSON THOMAS THOMAS & SOLOMON LLP             þ Contingent
           693 EAST AVENUE
           ROCHESTER NY 14607                                þ Unliquidated
                                                             þ Disputed
           Date or dates debt was incurred                   Basis for the claim:
           VARIOUS                                           CIVIL ACTION NO. 6:15-CV-06742
                                                             PENDING LITIGATION
           Last 4 digits of account number:
                                                             Is the claim subject to offset?

                                                             þ No
                                                             ¨ Yes




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3.640.     Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                             Check all that apply.
           FARNAM, FRANCESCA                                                                                 UNDETERMINED
           J. NELSON THOMAS THOMAS & SOLOMON LLP             þ Contingent
           693 EAST AVENUE
           ROCHESTER NY 14607                                þ Unliquidated
                                                             þ Disputed
           Date or dates debt was incurred                   Basis for the claim:
           VARIOUS                                           CIVIL ACTION NO. 6:15-CV-06742
                                                             PENDING LITIGATION
           Last 4 digits of account number:
                                                             Is the claim subject to offset?

                                                             þ No
                                                             ¨ Yes

3.641.     Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                             Check all that apply.
           FAWCETT, JERRIE LYNN                                                                              UNDETERMINED
           J. NELSON THOMAS THOMAS & SOLOMON LLP             þ Contingent
           693 EAST AVENUE
           ROCHESTER NY 14607                                þ Unliquidated
                                                             þ Disputed
           Date or dates debt was incurred                   Basis for the claim:
           VARIOUS                                           CIVIL ACTION NO. 6:15-CV-06742
                                                             PENDING LITIGATION
           Last 4 digits of account number:
                                                             Is the claim subject to offset?

                                                             þ No
                                                             ¨ Yes

3.642.     Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                             Check all that apply.
           FAZZARI, COURTNEY                                                                                 UNDETERMINED
           J. NELSON THOMAS THOMAS & SOLOMON LLP             þ Contingent
           693 EAST AVENUE
           ROCHESTER NY 14607                                þ Unliquidated
                                                             þ Disputed
           Date or dates debt was incurred                   Basis for the claim:
           VARIOUS                                           CIVIL ACTION NO. 6:15-CV-06742
                                                             PENDING LITIGATION
           Last 4 digits of account number:
                                                             Is the claim subject to offset?

                                                             þ No
                                                             ¨ Yes




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3.643.     Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                             Check all that apply.
           FEDERAL HEATH SIGN CO                                                                             $18,309.04
           DEPT 41283, PO BOX 650823                         ¨ Contingent
           DALLAS TX 75265
                                                             ¨ Unliquidated
                                                             ¨ Disputed
           Date or dates debt was incurred                   Basis for the claim:
           VARIOUS                                           TRADE ACCOUNTS PAYABLE
           Last 4 digits of account number:                  Is the claim subject to offset?

                                                             þ No
                                                             ¨ Yes

3.644.     Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                             Check all that apply.
           FEDEX                                                                                             $21,171.04
           PO BOX 660481                                     ¨ Contingent
           DALLAS TX 75266
                                                             ¨ Unliquidated
                                                             ¨ Disputed
           Date or dates debt was incurred                   Basis for the claim:
           VARIOUS                                           TRADE ACCOUNTS PAYABLE
           Last 4 digits of account number:                  Is the claim subject to offset?

                                                             þ No
                                                             ¨ Yes

3.645.     Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                             Check all that apply.
           FERNANDES, STEVEN                                                                                 UNDETERMINED
           J. NELSON THOMAS THOMAS & SOLOMON LLP             þ Contingent
           693 EAST AVENUE
           ROCHESTER NY 14607                                þ Unliquidated
                                                             þ Disputed
           Date or dates debt was incurred                   Basis for the claim:
           VARIOUS                                           CIVIL ACTION NO. 6:15-CV-06742
                                                             PENDING LITIGATION
           Last 4 digits of account number:
                                                             Is the claim subject to offset?

                                                             þ No
                                                             ¨ Yes




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3.646.     Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                             Check all that apply.
           FERNANDEZ, ALYSSA                                                                                 UNDETERMINED
           J. NELSON THOMAS THOMAS & SOLOMON LLP             þ Contingent
           693 EAST AVENUE
           ROCHESTER NY 14607                                þ Unliquidated
                                                             þ Disputed
           Date or dates debt was incurred                   Basis for the claim:
           VARIOUS                                           CIVIL ACTION NO. 6:15-CV-06742
                                                             PENDING LITIGATION
           Last 4 digits of account number:
                                                             Is the claim subject to offset?

                                                             þ No
                                                             ¨ Yes

3.647.     Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                             Check all that apply.
           FERRO'S AND SONS LANDSCAPING                                                                      $8,505.00
           PO BOX 464                                        ¨ Contingent
           DBA FREDI FERRO
           WEST CHICAGO IL 60186                             ¨ Unliquidated
                                                             ¨ Disputed
           Date or dates debt was incurred                   Basis for the claim:
           VARIOUS                                           TRADE ACCOUNTS PAYABLE
           Last 4 digits of account number:                  Is the claim subject to offset?

                                                             þ No
                                                             ¨ Yes

3.648.     Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                             Check all that apply.
           FINNEY, MATTHEW                                                                                   UNDETERMINED
           J. NELSON THOMAS THOMAS & SOLOMON LLP             þ Contingent
           693 EAST AVENUE
           ROCHESTER NY 14607                                þ Unliquidated
                                                             þ Disputed
           Date or dates debt was incurred                   Basis for the claim:
           VARIOUS                                           CIVIL ACTION NO. 6:15-CV-06742
                                                             PENDING LITIGATION
           Last 4 digits of account number:
                                                             Is the claim subject to offset?

                                                             þ No
                                                             ¨ Yes




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Debtor   MAC ACQUISITION LLC                                                                                 Case number (if known) 17-12224




3.649.     Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                             Check all that apply.
           FIRE KING COMMERCIAL SERVICES                                                                     $748.90
           2789 SOLUTION CENTER                              ¨ Contingent
           CHICAGO IL 60677-2007
                                                             ¨ Unliquidated
                                                             ¨ Disputed
           Date or dates debt was incurred                   Basis for the claim:
           VARIOUS                                           TRADE ACCOUNTS PAYABLE
           Last 4 digits of account number:                  Is the claim subject to offset?

                                                             þ No
                                                             ¨ Yes

3.650.     Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                             Check all that apply.
           FIRST CLASS PLUMBING LLC                                                                          $1,963.69
           17032 SILVER CHARM PLACE                          ¨ Contingent
           LEESBURG VA 20176
                                                             ¨ Unliquidated
                                                             ¨ Disputed
           Date or dates debt was incurred                   Basis for the claim:
           VARIOUS                                           TRADE ACCOUNTS PAYABLE
           Last 4 digits of account number:                  Is the claim subject to offset?

                                                             þ No
                                                             ¨ Yes

3.651.     Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                             Check all that apply.
           FIRST MICHIGAN MAC ASSOCIATES LLC                                                                 UNDETERMINED
           RAJA KHANNA                                       þ Contingent
           80 NASHUA RD STE 24
           LONDONDERRY NH 03053                              þ Unliquidated
                                                             þ Disputed
           Date or dates debt was incurred                   Basis for the claim:
           VARIOUS                                           LANDLORD CLAIM
           Last 4 digits of account number:                  Is the claim subject to offset?

                                                             þ No
                                                             ¨ Yes




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Debtor   MAC ACQUISITION LLC                                                                                 Case number (if known) 17-12224




3.652.     Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                             Check all that apply.
           FISH WINDOW                                                                                       $136.44
           16757 SQUYRES ROAD #106                           ¨ Contingent
           SPRING TX 77379
                                                             ¨ Unliquidated
                                                             ¨ Disputed
           Date or dates debt was incurred                   Basis for the claim:
           VARIOUS                                           TRADE ACCOUNTS PAYABLE
           Last 4 digits of account number:                  Is the claim subject to offset?

                                                             þ No
                                                             ¨ Yes

3.653.     Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                             Check all that apply.
           FISH WINDOW CLEANING                                                                              $261.09
           1308 COMMON ST, STE 205 #304                      ¨ Contingent
           NEW BRAUNFELS TX 78130
                                                             ¨ Unliquidated
                                                             ¨ Disputed
           Date or dates debt was incurred                   Basis for the claim:
           VARIOUS                                           TRADE ACCOUNTS PAYABLE
           Last 4 digits of account number:                  Is the claim subject to offset?

                                                             þ No
                                                             ¨ Yes

3.654.     Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                             Check all that apply.
           FISHBOWL INC                                                                                      $31,234.41
           PO BOX 740513                                     ¨ Contingent
           ATLANTA GA 30374-0513
                                                             ¨ Unliquidated
                                                             ¨ Disputed
           Date or dates debt was incurred                   Basis for the claim:
           VARIOUS                                           TRADE ACCOUNTS PAYABLE
           Last 4 digits of account number:                  Is the claim subject to offset?

                                                             þ No
                                                             ¨ Yes




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3.655.     Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                             Check all that apply.
           FITZGERALD PETERSEN COMMUNICATIONS                                                                $5,000.00
           INC.                                              ¨ Contingent
           7033 E BUCKNELL PLACE
           DENVER CO 80224                                   ¨ Unliquidated
                                                             ¨ Disputed
           Date or dates debt was incurred                   Basis for the claim:
           VARIOUS                                           TRADE ACCOUNTS PAYABLE
           Last 4 digits of account number:                  Is the claim subject to offset?

                                                             þ No
                                                             ¨ Yes

3.656.     Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                             Check all that apply.
           FIX RIGHT LLC                                                                                     $1,244.55
           10 LA POBLANA ROAD NW                             ¨ Contingent
           ALBUQUERQUE NM 87107
                                                             ¨ Unliquidated
                                                             ¨ Disputed
           Date or dates debt was incurred                   Basis for the claim:
           VARIOUS                                           TRADE ACCOUNTS PAYABLE
           Last 4 digits of account number:                  Is the claim subject to offset?

                                                             þ No
                                                             ¨ Yes

3.657.     Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                             Check all that apply.
           FLAHERTY & O'HARA, PC                                                                             $726.50
           610 SMITHFIELD ST., SUITE 300                     ¨ Contingent
           PITTSBURGH PA 15222
                                                             ¨ Unliquidated
                                                             ¨ Disputed
           Date or dates debt was incurred                   Basis for the claim:
           VARIOUS                                           LEGAL
           Last 4 digits of account number:                  Is the claim subject to offset?

                                                             þ No
                                                             ¨ Yes




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Debtor   MAC ACQUISITION LLC                                                                                 Case number (if known) 17-12224




3.658.     Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                             Check all that apply.
           FLATER, JACK                                                                                      UNDETERMINED
           J. NELSON THOMAS THOMAS & SOLOMON LLP             þ Contingent
           693 EAST AVENUE
           ROCHESTER NY 14607                                þ Unliquidated
                                                             þ Disputed
           Date or dates debt was incurred                   Basis for the claim:
           VARIOUS                                           CIVIL ACTION NO. 6:15-CV-06742
                                                             PENDING LITIGATION
           Last 4 digits of account number:
                                                             Is the claim subject to offset?

                                                             þ No
                                                             ¨ Yes

3.659.     Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                             Check all that apply.
           FLATER, JACK CURTIS                                                                               UNDETERMINED
           J. NELSON THOMAS THOMAS & SOLOMON LLP             þ Contingent
           693 EAST AVENUE
           ROCHESTER NY 14607                                þ Unliquidated
                                                             þ Disputed
           Date or dates debt was incurred                   Basis for the claim:
           VARIOUS                                           CIVIL ACTION NO. 6:15-CV-06742
                                                             PENDING LITIGATION
           Last 4 digits of account number:
                                                             Is the claim subject to offset?

                                                             þ No
                                                             ¨ Yes

3.660.     Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                             Check all that apply.
           FLATLEY, EMILY ANN                                                                                UNDETERMINED
           J. NELSON THOMAS THOMAS & SOLOMON LLP             þ Contingent
           693 EAST AVENUE
           ROCHESTER NY 14607                                þ Unliquidated
                                                             þ Disputed
           Date or dates debt was incurred                   Basis for the claim:
           VARIOUS                                           CIVIL ACTION NO. 6:15-CV-06742
                                                             PENDING LITIGATION
           Last 4 digits of account number:
                                                             Is the claim subject to offset?

                                                             þ No
                                                             ¨ Yes




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3.661.     Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                             Check all that apply.
           FLEMING, ANTONIO                                                                                  UNDETERMINED
           J. NELSON THOMAS THOMAS & SOLOMON LLP             þ Contingent
           693 EAST AVENUE
           ROCHESTER NY 14607                                þ Unliquidated
                                                             þ Disputed
           Date or dates debt was incurred                   Basis for the claim:
           VARIOUS                                           CIVIL ACTION NO. 6:15-CV-06742
                                                             PENDING LITIGATION
           Last 4 digits of account number:
                                                             Is the claim subject to offset?

                                                             þ No
                                                             ¨ Yes

3.662.     Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                             Check all that apply.
           FLEMING, ASHLEY                                                                                   UNDETERMINED
           J. NELSON THOMAS THOMAS & SOLOMON LLP             þ Contingent
           693 EAST AVENUE
           ROCHESTER NY 14607                                þ Unliquidated
                                                             þ Disputed
           Date or dates debt was incurred                   Basis for the claim:
           VARIOUS                                           CIVIL ACTION NO. 6:15-CV-06742
                                                             PENDING LITIGATION
           Last 4 digits of account number:
                                                             Is the claim subject to offset?

                                                             þ No
                                                             ¨ Yes

3.663.     Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                             Check all that apply.
           FLEMING, JORDAN                                                                                   UNDETERMINED
           J. NELSON THOMAS THOMAS & SOLOMON LLP             þ Contingent
           693 EAST AVENUE
           ROCHESTER NY 14607                                þ Unliquidated
                                                             þ Disputed
           Date or dates debt was incurred                   Basis for the claim:
           VARIOUS                                           CIVIL ACTION NO. 6:15-CV-06742
                                                             PENDING LITIGATION
           Last 4 digits of account number:
                                                             Is the claim subject to offset?

                                                             þ No
                                                             ¨ Yes




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3.664.     Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                             Check all that apply.
           FLORES, JOSE LUIS                                                                                 UNDETERMINED
           J. NELSON THOMAS THOMAS & SOLOMON LLP             þ Contingent
           693 EAST AVENUE
           ROCHESTER NY 14607                                þ Unliquidated
                                                             þ Disputed
           Date or dates debt was incurred                   Basis for the claim:
           VARIOUS                                           CIVIL ACTION NO. 6:15-CV-06742
                                                             PENDING LITIGATION
           Last 4 digits of account number:
                                                             Is the claim subject to offset?

                                                             þ No
                                                             ¨ Yes

3.665.     Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                             Check all that apply.
           FLORES, MARIA                                                                                     UNDETERMINED
           J. NELSON THOMAS THOMAS & SOLOMON LLP             þ Contingent
           693 EAST AVENUE
           ROCHESTER NY 14607                                þ Unliquidated
                                                             þ Disputed
           Date or dates debt was incurred                   Basis for the claim:
           VARIOUS                                           CIVIL ACTION NO. 6:15-CV-06742
                                                             PENDING LITIGATION
           Last 4 digits of account number:
                                                             Is the claim subject to offset?

                                                             þ No
                                                             ¨ Yes

3.666.     Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                             Check all that apply.
           FLORIAN, PETER                                                                                    UNDETERMINED
           J. NELSON THOMAS THOMAS & SOLOMON LLP             þ Contingent
           693 EAST AVENUE
           ROCHESTER NY 14607                                þ Unliquidated
                                                             þ Disputed
           Date or dates debt was incurred                   Basis for the claim:
           VARIOUS                                           CIVIL ACTION NO. 6:15-CV-06742
                                                             PENDING LITIGATION
           Last 4 digits of account number:
                                                             Is the claim subject to offset?

                                                             þ No
                                                             ¨ Yes




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3.667.     Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                             Check all that apply.
           FLUSHING QUAIL LLC                                                                                UNDETERMINED
           MR LEE JAMIESON                                   þ Contingent
           DAN KREMERS PROPERTY MANAGER
           3101 STATE RD                                     þ Unliquidated
           BAKERSFIELD CA 93308                              þ Disputed
           Date or dates debt was incurred                   Basis for the claim:
           VARIOUS                                           LANDLORD CLAIM
           Last 4 digits of account number:                  Is the claim subject to offset?

                                                             þ No
                                                             ¨ Yes

3.668.     Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                             Check all that apply.
           FLYNN REMODELING & CONSTRUCTION, INC                                                              $430.15
           17 NOB VIEW CIRCLE                                ¨ Contingent
           LITTLE ROCK AR 72205
                                                             ¨ Unliquidated
                                                             ¨ Disputed
           Date or dates debt was incurred                   Basis for the claim:
           VARIOUS                                           TRADE ACCOUNTS PAYABLE
           Last 4 digits of account number:                  Is the claim subject to offset?

                                                             þ No
                                                             ¨ Yes

3.669.     Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                             Check all that apply.
           FOLEY, MICHAEL ALAN                                                                               UNDETERMINED
           J. NELSON THOMAS THOMAS & SOLOMON LLP             þ Contingent
           693 EAST AVENUE
           ROCHESTER NY 14607                                þ Unliquidated
                                                             þ Disputed
           Date or dates debt was incurred                   Basis for the claim:
           VARIOUS                                           CIVIL ACTION NO. 6:15-CV-06742
                                                             PENDING LITIGATION
           Last 4 digits of account number:
                                                             Is the claim subject to offset?

                                                             þ No
                                                             ¨ Yes




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3.670.     Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                             Check all that apply.
           FONTANILLAS, LINDSAY                                                                              UNDETERMINED
           J. NELSON THOMAS THOMAS & SOLOMON LLP             þ Contingent
           693 EAST AVENUE
           ROCHESTER NY 14607                                þ Unliquidated
                                                             þ Disputed
           Date or dates debt was incurred                   Basis for the claim:
           VARIOUS                                           CIVIL ACTION NO. 6:15-CV-06742
                                                             PENDING LITIGATION
           Last 4 digits of account number:
                                                             Is the claim subject to offset?

                                                             þ No
                                                             ¨ Yes

3.671.     Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                             Check all that apply.
           FORD, LINDA                                                                                       UNDETERMINED
                                                             þ Contingent
                                                             þ Unliquidated
                                                             þ Disputed
           Date or dates debt was incurred                   Basis for the claim:
           VARIOUS                                           GENERAL LIABILITY CLAIMS
           Last 4 digits of account number:                  Is the claim subject to offset?

                                                             þ No
                                                             ¨ Yes

3.672.     Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                             Check all that apply.
           FORESTWOOD FARM INC                                                                               $2,614.04
           PO BOX 310728                                     ¨ Contingent
           BIRMINGHAM AL 35231
                                                             ¨ Unliquidated
                                                             ¨ Disputed
           Date or dates debt was incurred                   Basis for the claim:
           VARIOUS                                           TRADE ACCOUNTS PAYABLE
           Last 4 digits of account number:                  Is the claim subject to offset?

                                                             þ No
                                                             ¨ Yes




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3.673.     Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                             Check all that apply.
           FORGUE, MICHAEL LAWRENCE                                                                          UNDETERMINED
           J. NELSON THOMAS THOMAS & SOLOMON LLP             þ Contingent
           693 EAST AVENUE
           ROCHESTER NY 14607                                þ Unliquidated
                                                             þ Disputed
           Date or dates debt was incurred                   Basis for the claim:
           VARIOUS                                           CIVIL ACTION NO. 6:15-CV-06742
                                                             PENDING LITIGATION
           Last 4 digits of account number:
                                                             Is the claim subject to offset?

                                                             þ No
                                                             ¨ Yes

3.674.     Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                             Check all that apply.
           FORKOS, BRIAN                                                                                     UNDETERMINED
           J. NELSON THOMAS THOMAS & SOLOMON LLP             þ Contingent
           693 EAST AVENUE
           ROCHESTER NY 14607                                þ Unliquidated
                                                             þ Disputed
           Date or dates debt was incurred                   Basis for the claim:
           VARIOUS                                           CIVIL ACTION NO. 6:15-CV-06742
                                                             PENDING LITIGATION
           Last 4 digits of account number:
                                                             Is the claim subject to offset?

                                                             þ No
                                                             ¨ Yes

3.675.     Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                             Check all that apply.
           FORKOS, BRIAN                                                                                     UNDETERMINED
           J. NELSON THOMAS THOMAS & SOLOMON LLP             þ Contingent
           693 EAST AVENUE
           ROCHESTER NY 14607                                þ Unliquidated
                                                             þ Disputed
           Date or dates debt was incurred                   Basis for the claim:
           VARIOUS                                           CIVIL ACTION NO. 6:15-CV-06742
                                                             PENDING LITIGATION
           Last 4 digits of account number:
                                                             Is the claim subject to offset?

                                                             þ No
                                                             ¨ Yes




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3.676.     Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                             Check all that apply.
           FORSYTH, PATRICK R.                                                                               UNDETERMINED
           J. NELSON THOMAS THOMAS & SOLOMON LLP             þ Contingent
           693 EAST AVENUE
           ROCHESTER NY 14607                                þ Unliquidated
                                                             þ Disputed
           Date or dates debt was incurred                   Basis for the claim:
           VARIOUS                                           CIVIL ACTION NO. 6:15-CV-06742
                                                             PENDING LITIGATION
           Last 4 digits of account number:
                                                             Is the claim subject to offset?

                                                             þ No
                                                             ¨ Yes

3.677.     Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                             Check all that apply.
           FORTIN, ALEXANDRIA GRACE                                                                          UNDETERMINED
           J. NELSON THOMAS THOMAS & SOLOMON LLP             þ Contingent
           693 EAST AVENUE
           ROCHESTER NY 14607                                þ Unliquidated
                                                             þ Disputed
           Date or dates debt was incurred                   Basis for the claim:
           VARIOUS                                           CIVIL ACTION NO. 6:15-CV-06742
                                                             PENDING LITIGATION
           Last 4 digits of account number:
                                                             Is the claim subject to offset?

                                                             þ No
                                                             ¨ Yes

3.678.     Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                             Check all that apply.
           FOSNER, REBECCA GAIL                                                                              UNDETERMINED
           J. NELSON THOMAS THOMAS & SOLOMON LLP             þ Contingent
           693 EAST AVENUE
           ROCHESTER NY 14607                                þ Unliquidated
                                                             þ Disputed
           Date or dates debt was incurred                   Basis for the claim:
           VARIOUS                                           CIVIL ACTION NO. 6:15-CV-06742
                                                             PENDING LITIGATION
           Last 4 digits of account number:
                                                             Is the claim subject to offset?

                                                             þ No
                                                             ¨ Yes




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3.679.     Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                             Check all that apply.
           FOY, CARLY CASEY                                                                                  UNDETERMINED
           J. NELSON THOMAS THOMAS & SOLOMON LLP             þ Contingent
           693 EAST AVENUE
           ROCHESTER NY 14607                                þ Unliquidated
                                                             þ Disputed
           Date or dates debt was incurred                   Basis for the claim:
           VARIOUS                                           CIVIL ACTION NO. 6:15-CV-06742
                                                             PENDING LITIGATION
           Last 4 digits of account number:
                                                             Is the claim subject to offset?

                                                             þ No
                                                             ¨ Yes

3.680.     Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                             Check all that apply.
           FRANCIS, CORDELL                                                                                  UNDETERMINED
                                                             þ Contingent
                                                             þ Unliquidated
                                                             þ Disputed
           Date or dates debt was incurred                   Basis for the claim:
           VARIOUS                                           WORKERS COMPENSATION CLAIM
           Last 4 digits of account number:                  Is the claim subject to offset?

                                                             þ No
                                                             ¨ Yes

3.681.     Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                             Check all that apply.
           FRANCISCO R UNANUE MARIA ELENA ORTEGA                                                             UNDETERMINED
           WOLLBERG AND JOSE A ORTEGA JR AS                  þ Contingent
           COTRUSTEES OF THE P AND L TRUST DTD SEP
           22 1999 JOSE ORTEGA                               þ Unliquidated
           2000 NW 92ND AVE
           MIAMI FL 33172
                                                             þ Disputed
           Date or dates debt was incurred                   Basis for the claim:
           VARIOUS                                           LANDLORD CLAIM
           Last 4 digits of account number:                  Is the claim subject to offset?

                                                             þ No
                                                             ¨ Yes




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3.682.     Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                             Check all that apply.
           FRANKLIN MACHINE PRODUCTS INC                                                                     $11,723.34
           PO BOX 781570                                     ¨ Contingent
           PHILADELPHIA PA 19178
                                                             ¨ Unliquidated
                                                             ¨ Disputed
           Date or dates debt was incurred                   Basis for the claim:
           VARIOUS                                           TRADE ACCOUNTS PAYABLE
           Last 4 digits of account number:                  Is the claim subject to offset?

                                                             þ No
                                                             ¨ Yes

3.683.     Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                             Check all that apply.
           FREDERICK WESTVIEW PROPERTIES                                                                     $8,235.60
           PO BOX 4835                                       ¨ Contingent
           TIMONIUM MD 21094
                                                             ¨ Unliquidated
                                                             ¨ Disputed
           Date or dates debt was incurred                   Basis for the claim:
           VARIOUS                                           LEASE
           Last 4 digits of account number:                  Is the claim subject to offset?

                                                             þ No
                                                             ¨ Yes

3.684.     Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                             Check all that apply.
           FREDRIKSON AND BRYON PA                                                                           $480.00
           PO BOX 1484                                       ¨ Contingent
           ATTORNEY'S AND ADVISORS
           MINNEAPOLIS MN 55480                              ¨ Unliquidated
                                                             ¨ Disputed
           Date or dates debt was incurred                   Basis for the claim:
           VARIOUS                                           LEGAL
           Last 4 digits of account number:                  Is the claim subject to offset?

                                                             þ No
                                                             ¨ Yes




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3.685.     Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                             Check all that apply.
           FREEDMAN, RANNAH LYNN                                                                             UNDETERMINED
           J. NELSON THOMAS THOMAS & SOLOMON LLP             þ Contingent
           693 EAST AVENUE
           ROCHESTER NY 14607                                þ Unliquidated
                                                             þ Disputed
           Date or dates debt was incurred                   Basis for the claim:
           VARIOUS                                           CIVIL ACTION NO. 6:15-CV-06742
                                                             PENDING LITIGATION
           Last 4 digits of account number:
                                                             Is the claim subject to offset?

                                                             þ No
                                                             ¨ Yes

3.686.     Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                             Check all that apply.
           FREEDMAN, RANNAH LYNN                                                                             UNDETERMINED
           J. NELSON THOMAS THOMAS & SOLOMON LLP             þ Contingent
           693 EAST AVENUE
           ROCHESTER NY 14607                                þ Unliquidated
                                                             þ Disputed
           Date or dates debt was incurred                   Basis for the claim:
           VARIOUS                                           CIVIL ACTION NO. 6:15-CV-06742
                                                             PENDING LITIGATION
           Last 4 digits of account number:
                                                             Is the claim subject to offset?

                                                             þ No
                                                             ¨ Yes

3.687.     Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                             Check all that apply.
           FREEMAN, MANDY                                                                                    UNDETERMINED
                                                             þ Contingent
                                                             þ Unliquidated
                                                             þ Disputed
           Date or dates debt was incurred                   Basis for the claim:
           VARIOUS                                           GENERAL LIABILITY CLAIMS
           Last 4 digits of account number:                  Is the claim subject to offset?

                                                             þ No
                                                             ¨ Yes




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Debtor   MAC ACQUISITION LLC                                                                                 Case number (if known) 17-12224




3.688.     Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                             Check all that apply.
           FREEMAN, MANDY                                                                                    UNDETERMINED
                                                             þ Contingent
                                                             þ Unliquidated
                                                             þ Disputed
           Date or dates debt was incurred                   Basis for the claim:
           VARIOUS                                           GENERAL LIABILITY CLAIMS
           Last 4 digits of account number:                  Is the claim subject to offset?

                                                             þ No
                                                             ¨ Yes

3.689.     Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                             Check all that apply.
           FREITAS, FERNANDA                                                                                 UNDETERMINED
           J. NELSON THOMAS THOMAS & SOLOMON LLP             þ Contingent
           693 EAST AVENUE
           ROCHESTER NY 14607                                þ Unliquidated
                                                             þ Disputed
           Date or dates debt was incurred                   Basis for the claim:
           VARIOUS                                           CIVIL ACTION NO. 6:15-CV-06742
                                                             PENDING LITIGATION
           Last 4 digits of account number:
                                                             Is the claim subject to offset?

                                                             þ No
                                                             ¨ Yes

3.690.     Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                             Check all that apply.
           FRENCH, RICHARD WILLIAM                                                                           UNDETERMINED
           J. NELSON THOMAS THOMAS & SOLOMON LLP             þ Contingent
           693 EAST AVENUE
           ROCHESTER NY 14607                                þ Unliquidated
                                                             þ Disputed
           Date or dates debt was incurred                   Basis for the claim:
           VARIOUS                                           CIVIL ACTION NO. 6:15-CV-06742
                                                             PENDING LITIGATION
           Last 4 digits of account number:
                                                             Is the claim subject to offset?

                                                             þ No
                                                             ¨ Yes




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3.691.     Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                             Check all that apply.
           FRENCH, RICHARD WILLIAM                                                                           UNDETERMINED
           J. NELSON THOMAS THOMAS & SOLOMON LLP             þ Contingent
           693 EAST AVENUE
           ROCHESTER NY 14607                                þ Unliquidated
                                                             þ Disputed
           Date or dates debt was incurred                   Basis for the claim:
           VARIOUS                                           CIVIL ACTION NO. 6:15-CV-06742
                                                             PENDING LITIGATION
           Last 4 digits of account number:
                                                             Is the claim subject to offset?

                                                             þ No
                                                             ¨ Yes

3.692.     Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                             Check all that apply.
           FRESHPOINT ATLANTA                                                                                $11,270.75
           1200 OAKLEY INDUSTRIAL BLVD STE. B                ¨ Contingent
           FAIRBURN GA 30213
                                                             ¨ Unliquidated
                                                             ¨ Disputed
           Date or dates debt was incurred                   Basis for the claim:
           VARIOUS                                           TRADE ACCOUNTS PAYABLE
           Last 4 digits of account number:                  Is the claim subject to offset?

                                                             þ No
                                                             ¨ Yes

3.693.     Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                             Check all that apply.
           FRESHPOINT CENTRAL CALIFORNIA                                                                     $42,387.19
           5900 N GOLDEN STATE BLVD                          ¨ Contingent
           TURLOCK CA 95382
                                                             ¨ Unliquidated
                                                             ¨ Disputed
           Date or dates debt was incurred                   Basis for the claim:
           VARIOUS                                           TRADE ACCOUNTS PAYABLE
           Last 4 digits of account number:                  Is the claim subject to offset?

                                                             þ No
                                                             ¨ Yes




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3.694.     Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                             Check all that apply.
           FRESHPOINT CENTRAL FL                                                                             $16,760.30
           8801 EXCHANGE DRIVE                               ¨ Contingent
           ORLANDO FL 32809
                                                             ¨ Unliquidated
                                                             ¨ Disputed
           Date or dates debt was incurred                   Basis for the claim:
           VARIOUS                                           TRADE ACCOUNTS PAYABLE
           Last 4 digits of account number:                  Is the claim subject to offset?

                                                             þ No
                                                             ¨ Yes

3.695.     Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                             Check all that apply.
           FRESHPOINT CHARLOTTE CORP                                                                         $6,651.76
           1200 OAKLEY INDUSTRIAL BLVD, STE. B               ¨ Contingent
           FAIRBURN GA 30213
                                                             ¨ Unliquidated
                                                             ¨ Disputed
           Date or dates debt was incurred                   Basis for the claim:
           VARIOUS                                           TRADE ACCOUNTS PAYABLE
           Last 4 digits of account number:                  Is the claim subject to offset?

                                                             þ No
                                                             ¨ Yes

3.696.     Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                             Check all that apply.
           FRESHPOINT DALLAS INC                                                                             $25,625.87
           4721 SIMONTON ROAD                                ¨ Contingent
           DALLAS TX 75244
                                                             ¨ Unliquidated
                                                             ¨ Disputed
           Date or dates debt was incurred                   Basis for the claim:
           VARIOUS                                           TRADE ACCOUNTS PAYABLE
           Last 4 digits of account number:                  Is the claim subject to offset?

                                                             þ No
                                                             ¨ Yes




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3.697.     Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                             Check all that apply.
           FRESHPOINT DENVER INC                                                                             $16,418.41
           PO BOX 815219                                     ¨ Contingent
           DALLAS TX 75381
                                                             ¨ Unliquidated
                                                             ¨ Disputed
           Date or dates debt was incurred                   Basis for the claim:
           VARIOUS                                           TRADE ACCOUNTS PAYABLE
           Last 4 digits of account number:                  Is the claim subject to offset?

                                                             þ No
                                                             ¨ Yes

3.698.     Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                             Check all that apply.
           FRESHPOINT NASHVILLE                                                                              $8,295.48
           740 MASSMAN DRIVE                                 ¨ Contingent
           NASHVILLE TN 37210
                                                             ¨ Unliquidated
                                                             ¨ Disputed
           Date or dates debt was incurred                   Basis for the claim:
           VARIOUS                                           TRADE ACCOUNTS PAYABLE
           Last 4 digits of account number:                  Is the claim subject to offset?

                                                             þ No
                                                             ¨ Yes

3.699.     Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                             Check all that apply.
           FRESHPOINT OF LAS VEGAS                                                                           $6,161.35
           155 N. ORANGE AVE                                 ¨ Contingent
           CITY OF INDUSTRY CA 91744
                                                             ¨ Unliquidated
                                                             ¨ Disputed
           Date or dates debt was incurred                   Basis for the claim:
           VARIOUS                                           TRADE ACCOUNTS PAYABLE
           Last 4 digits of account number:                  Is the claim subject to offset?

                                                             þ No
                                                             ¨ Yes




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3.700.     Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                             Check all that apply.
           FRESHPOINT OF SO. CA                                                                              $60,025.51
           155 N ORANGE AVE                                  ¨ Contingent
           CITY OF INDUSTRY CA 91744
                                                             ¨ Unliquidated
                                                             ¨ Disputed
           Date or dates debt was incurred                   Basis for the claim:
           VARIOUS                                           TRADE ACCOUNTS PAYABLE
           Last 4 digits of account number:                  Is the claim subject to offset?

                                                             þ No
                                                             ¨ Yes

3.701.     Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                             Check all that apply.
           FRESHPOINT RALEIGH                                                                                $6,072.61
           1200 OAKLEY INDUSTRIAL BLVD, STE. B               ¨ Contingent
           FAIRBURN GA 30213
                                                             ¨ Unliquidated
                                                             ¨ Disputed
           Date or dates debt was incurred                   Basis for the claim:
           VARIOUS                                           TRADE ACCOUNTS PAYABLE
           Last 4 digits of account number:                  Is the claim subject to offset?

                                                             þ No
                                                             ¨ Yes

3.702.     Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                             Check all that apply.
           FRESHPOINT SOUTH FLORIDA INC                                                                      $5,323.66
           2300 NW 19TH ST                                   ¨ Contingent
           POMPANO BEACH FL 33069
                                                             ¨ Unliquidated
                                                             ¨ Disputed
           Date or dates debt was incurred                   Basis for the claim:
           VARIOUS                                           TRADE ACCOUNTS PAYABLE
           Last 4 digits of account number:                  Is the claim subject to offset?

                                                             þ No
                                                             ¨ Yes




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3.703.     Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                             Check all that apply.
           FRESHPOINT W COAST FL                                                                             $12,451.84
           5445 BONACKER DRIVE                               ¨ Contingent
           TAMPA FL 33610
                                                             ¨ Unliquidated
                                                             ¨ Disputed
           Date or dates debt was incurred                   Basis for the claim:
           VARIOUS                                           TRADE ACCOUNTS PAYABLE
           Last 4 digits of account number:                  Is the claim subject to offset?

                                                             þ No
                                                             ¨ Yes

3.704.     Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                             Check all that apply.
           FRIELDS, ALYX SUMMER                                                                              UNDETERMINED
           J. NELSON THOMAS THOMAS & SOLOMON LLP             þ Contingent
           693 EAST AVENUE
           ROCHESTER NY 14607                                þ Unliquidated
                                                             þ Disputed
           Date or dates debt was incurred                   Basis for the claim:
           VARIOUS                                           CIVIL ACTION NO. 6:15-CV-06742
                                                             PENDING LITIGATION
           Last 4 digits of account number:
                                                             Is the claim subject to offset?

                                                             þ No
                                                             ¨ Yes

3.705.     Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                             Check all that apply.
           FRISON, TARIK OMAR                                                                                UNDETERMINED
           J. NELSON THOMAS THOMAS & SOLOMON LLP             þ Contingent
           693 EAST AVENUE
           ROCHESTER NY 14607                                þ Unliquidated
                                                             þ Disputed
           Date or dates debt was incurred                   Basis for the claim:
           VARIOUS                                           CIVIL ACTION NO. 6:15-CV-06742
                                                             PENDING LITIGATION
           Last 4 digits of account number:
                                                             Is the claim subject to offset?

                                                             þ No
                                                             ¨ Yes




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3.706.     Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                             Check all that apply.
           FRISON, TARIK OMAR                                                                                UNDETERMINED
           J. NELSON THOMAS THOMAS & SOLOMON LLP             þ Contingent
           693 EAST AVENUE
           ROCHESTER NY 14607                                þ Unliquidated
                                                             þ Disputed
           Date or dates debt was incurred                   Basis for the claim:
           VARIOUS                                           CIVIL ACTION NO. 6:15-CV-06742
                                                             PENDING LITIGATION
           Last 4 digits of account number:
                                                             Is the claim subject to offset?

                                                             þ No
                                                             ¨ Yes

3.707.     Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                             Check all that apply.
           FRITSCH, MIKAYLA MARTHA                                                                           UNDETERMINED
           J. NELSON THOMAS THOMAS & SOLOMON LLP             þ Contingent
           693 EAST AVENUE
           ROCHESTER NY 14607                                þ Unliquidated
                                                             þ Disputed
           Date or dates debt was incurred                   Basis for the claim:
           VARIOUS                                           CIVIL ACTION NO. 6:15-CV-06742
                                                             PENDING LITIGATION
           Last 4 digits of account number:
                                                             Is the claim subject to offset?

                                                             þ No
                                                             ¨ Yes

3.708.     Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                             Check all that apply.
           FUENTES, JOES G.                                                                                  UNDETERMINED
           J. NELSON THOMAS THOMAS & SOLOMON LLP             þ Contingent
           693 EAST AVENUE
           ROCHESTER NY 14607                                þ Unliquidated
                                                             þ Disputed
           Date or dates debt was incurred                   Basis for the claim:
           VARIOUS                                           CIVIL ACTION NO. 6:15-CV-06742
                                                             PENDING LITIGATION
           Last 4 digits of account number:
                                                             Is the claim subject to offset?

                                                             þ No
                                                             ¨ Yes




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3.709.     Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                             Check all that apply.
           FULLER, JUSTIN MARTEL                                                                             UNDETERMINED
           J. NELSON THOMAS THOMAS & SOLOMON LLP             þ Contingent
           693 EAST AVENUE
           ROCHESTER NY 14607                                þ Unliquidated
                                                             þ Disputed
           Date or dates debt was incurred                   Basis for the claim:
           VARIOUS                                           CIVIL ACTION NO. 6:15-CV-06742
                                                             PENDING LITIGATION
           Last 4 digits of account number:
                                                             Is the claim subject to offset?

                                                             þ No
                                                             ¨ Yes

3.710.     Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                             Check all that apply.
           FURLOW, CARL JAMES                                                                                UNDETERMINED
           J. NELSON THOMAS THOMAS & SOLOMON LLP             þ Contingent
           693 EAST AVENUE
           ROCHESTER NY 14607                                þ Unliquidated
                                                             þ Disputed
           Date or dates debt was incurred                   Basis for the claim:
           VARIOUS                                           CIVIL ACTION NO. 6:15-CV-06742
                                                             PENDING LITIGATION
           Last 4 digits of account number:
                                                             Is the claim subject to offset?

                                                             þ No
                                                             ¨ Yes

3.711.     Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                             Check all that apply.
           FURLOW, CARL JAMES RICHARDS                                                                       UNDETERMINED
           J. NELSON THOMAS THOMAS & SOLOMON LLP             þ Contingent
           693 EAST AVENUE
           ROCHESTER NY 14607                                þ Unliquidated
                                                             þ Disputed
           Date or dates debt was incurred                   Basis for the claim:
           VARIOUS                                           CIVIL ACTION NO. 6:15-CV-06742
                                                             PENDING LITIGATION
           Last 4 digits of account number:
                                                             Is the claim subject to offset?

                                                             þ No
                                                             ¨ Yes




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3.712.     Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                             Check all that apply.
           GABRIEL, TALAT                                                                                    UNDETERMINED
                                                             þ Contingent
                                                             þ Unliquidated
                                                             þ Disputed
           Date or dates debt was incurred                   Basis for the claim:
           VARIOUS                                           GENERAL LIABILITY CLAIMS
           Last 4 digits of account number:                  Is the claim subject to offset?

                                                             þ No
                                                             ¨ Yes

3.713.     Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                             Check all that apply.
           GABRIEL, TALAT                                                                                    UNDETERMINED
           MORGAN & MORGAN                                   þ Contingent
                                                             þ Unliquidated
                                                             þ Disputed
           Date or dates debt was incurred                   Basis for the claim:
           VARIOUS                                           GENERAL LIABILITY CLAIMS
           Last 4 digits of account number:                  Is the claim subject to offset?

                                                             þ No
                                                             ¨ Yes

3.714.     Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                             Check all that apply.
           GADD, JULIA ASHLEY                                                                                UNDETERMINED
           J. NELSON THOMAS THOMAS & SOLOMON LLP             þ Contingent
           693 EAST AVENUE
           ROCHESTER NY 14607                                þ Unliquidated
                                                             þ Disputed
           Date or dates debt was incurred                   Basis for the claim:
           VARIOUS                                           CIVIL ACTION NO. 6:15-CV-06742
                                                             PENDING LITIGATION
           Last 4 digits of account number:
                                                             Is the claim subject to offset?

                                                             þ No
                                                             ¨ Yes




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3.715.     Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                             Check all that apply.
           GAINEY, LULA                                                                                      UNDETERMINED
           J. NELSON THOMAS THOMAS & SOLOMON LLP             þ Contingent
           693 EAST AVENUE
           ROCHESTER NY 14607                                þ Unliquidated
                                                             þ Disputed
           Date or dates debt was incurred                   Basis for the claim:
           VARIOUS                                           CIVIL ACTION NO. 6:15-CV-06742
                                                             PENDING LITIGATION
           Last 4 digits of account number:
                                                             Is the claim subject to offset?

                                                             þ No
                                                             ¨ Yes

3.716.     Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                             Check all that apply.
           GAJDIKOVA, LADA                                                                                   UNDETERMINED
           J. NELSON THOMAS THOMAS & SOLOMON LLP             þ Contingent
           693 EAST AVENUE
           ROCHESTER NY 14607                                þ Unliquidated
                                                             þ Disputed
           Date or dates debt was incurred                   Basis for the claim:
           VARIOUS                                           CIVIL ACTION NO. 6:15-CV-06742
                                                             PENDING LITIGATION
           Last 4 digits of account number:
                                                             Is the claim subject to offset?

                                                             þ No
                                                             ¨ Yes

3.717.     Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                             Check all that apply.
           GALEANA, LUIS                                                                                     UNDETERMINED
           J. NELSON THOMAS THOMAS & SOLOMON LLP             þ Contingent
           693 EAST AVENUE
           ROCHESTER NY 14607                                þ Unliquidated
                                                             þ Disputed
           Date or dates debt was incurred                   Basis for the claim:
           VARIOUS                                           CIVIL ACTION NO. 6:15-CV-06742
                                                             PENDING LITIGATION
           Last 4 digits of account number:
                                                             Is the claim subject to offset?

                                                             þ No
                                                             ¨ Yes




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3.718.     Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                             Check all that apply.
           GALLAGHER, ADAM E.                                                                                UNDETERMINED
           J. NELSON THOMAS THOMAS & SOLOMON LLP             þ Contingent
           693 EAST AVENUE
           ROCHESTER NY 14607                                þ Unliquidated
                                                             þ Disputed
           Date or dates debt was incurred                   Basis for the claim:
           VARIOUS                                           CIVIL ACTION NO. 6:15-CV-06742
                                                             PENDING LITIGATION
           Last 4 digits of account number:
                                                             Is the claim subject to offset?

                                                             þ No
                                                             ¨ Yes

3.719.     Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                             Check all that apply.
           GALLAGHER, ALEXA RAE                                                                              UNDETERMINED
           J. NELSON THOMAS THOMAS & SOLOMON LLP             þ Contingent
           693 EAST AVENUE
           ROCHESTER NY 14607                                þ Unliquidated
                                                             þ Disputed
           Date or dates debt was incurred                   Basis for the claim:
           VARIOUS                                           CIVIL ACTION NO. 6:15-CV-06742
                                                             PENDING LITIGATION
           Last 4 digits of account number:
                                                             Is the claim subject to offset?

                                                             þ No
                                                             ¨ Yes

3.720.     Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                             Check all that apply.
           GALLAGHER, ROBERT S.                                                                              UNDETERMINED
           J. NELSON THOMAS THOMAS & SOLOMON LLP             þ Contingent
           693 EAST AVENUE
           ROCHESTER NY 14607                                þ Unliquidated
                                                             þ Disputed
           Date or dates debt was incurred                   Basis for the claim:
           VARIOUS                                           CIVIL ACTION NO. 6:15-CV-06742
                                                             PENDING LITIGATION
           Last 4 digits of account number:
                                                             Is the claim subject to offset?

                                                             þ No
                                                             ¨ Yes




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3.721.     Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                             Check all that apply.
           GALLEGOS, MICHELLE L.                                                                             UNDETERMINED
           J. NELSON THOMAS THOMAS & SOLOMON LLP             þ Contingent
           693 EAST AVENUE
           ROCHESTER NY 14607                                þ Unliquidated
                                                             þ Disputed
           Date or dates debt was incurred                   Basis for the claim:
           VARIOUS                                           CIVIL ACTION NO. 6:15-CV-06742
                                                             PENDING LITIGATION
           Last 4 digits of account number:
                                                             Is the claim subject to offset?

                                                             þ No
                                                             ¨ Yes

3.722.     Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                             Check all that apply.
           GALLEGOS, MICHELLE LAVOE                                                                          UNDETERMINED
           J. NELSON THOMAS THOMAS & SOLOMON LLP             þ Contingent
           693 EAST AVENUE
           ROCHESTER NY 14607                                þ Unliquidated
                                                             þ Disputed
           Date or dates debt was incurred                   Basis for the claim:
           VARIOUS                                           CIVIL ACTION NO. 6:15-CV-06742
                                                             PENDING LITIGATION
           Last 4 digits of account number:
                                                             Is the claim subject to offset?

                                                             þ No
                                                             ¨ Yes

3.723.     Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                             Check all that apply.
           GALLIART, KRISTEN SHELBY                                                                          UNDETERMINED
           J. NELSON THOMAS THOMAS & SOLOMON LLP             þ Contingent
           693 EAST AVENUE
           ROCHESTER NY 14607                                þ Unliquidated
                                                             þ Disputed
           Date or dates debt was incurred                   Basis for the claim:
           VARIOUS                                           CIVIL ACTION NO. 6:15-CV-06742
                                                             PENDING LITIGATION
           Last 4 digits of account number:
                                                             Is the claim subject to offset?

                                                             þ No
                                                             ¨ Yes




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3.724.     Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                             Check all that apply.
           GALLIMORE, COREY ALAN                                                                             UNDETERMINED
           J. NELSON THOMAS THOMAS & SOLOMON LLP             þ Contingent
           693 EAST AVENUE
           ROCHESTER NY 14607                                þ Unliquidated
                                                             þ Disputed
           Date or dates debt was incurred                   Basis for the claim:
           VARIOUS                                           CIVIL ACTION NO. 6:15-CV-06742
                                                             PENDING LITIGATION
           Last 4 digits of account number:
                                                             Is the claim subject to offset?

                                                             þ No
                                                             ¨ Yes

3.725.     Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                             Check all that apply.
           GARCIA, GUILLERMO SANCHEZ                                                                         UNDETERMINED
           J. NELSON THOMAS THOMAS & SOLOMON LLP             þ Contingent
           693 EAST AVENUE
           ROCHESTER NY 14607                                þ Unliquidated
                                                             þ Disputed
           Date or dates debt was incurred                   Basis for the claim:
           VARIOUS                                           CIVIL ACTION NO. 6:15-CV-06742
                                                             PENDING LITIGATION
           Last 4 digits of account number:
                                                             Is the claim subject to offset?

                                                             þ No
                                                             ¨ Yes

3.726.     Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                             Check all that apply.
           GARCIA, GUILLERMO SANCHEZ                                                                         UNDETERMINED
           J. NELSON THOMAS THOMAS & SOLOMON LLP             þ Contingent
           693 EAST AVENUE
           ROCHESTER NY 14607                                þ Unliquidated
                                                             þ Disputed
           Date or dates debt was incurred                   Basis for the claim:
           VARIOUS                                           CIVIL ACTION NO. 6:15-CV-06742
                                                             PENDING LITIGATION
           Last 4 digits of account number:
                                                             Is the claim subject to offset?

                                                             þ No
                                                             ¨ Yes




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3.727.     Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                             Check all that apply.
           GARCIA, MIGUEL FLORES                                                                             UNDETERMINED
           J. NELSON THOMAS THOMAS & SOLOMON LLP             þ Contingent
           693 EAST AVENUE
           ROCHESTER NY 14607                                þ Unliquidated
                                                             þ Disputed
           Date or dates debt was incurred                   Basis for the claim:
           VARIOUS                                           CIVIL ACTION NO. 6:15-CV-06742
                                                             PENDING LITIGATION
           Last 4 digits of account number:
                                                             Is the claim subject to offset?

                                                             þ No
                                                             ¨ Yes

3.728.     Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                             Check all that apply.
           GARCIA, STEPHEN RAYMOND                                                                           UNDETERMINED
           J. NELSON THOMAS THOMAS & SOLOMON LLP             þ Contingent
           693 EAST AVENUE
           ROCHESTER NY 14607                                þ Unliquidated
                                                             þ Disputed
           Date or dates debt was incurred                   Basis for the claim:
           VARIOUS                                           CIVIL ACTION NO. 6:15-CV-06742
                                                             PENDING LITIGATION
           Last 4 digits of account number:
                                                             Is the claim subject to offset?

                                                             þ No
                                                             ¨ Yes

3.729.     Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                             Check all that apply.
           GARDA CL SOUTHWEST INC.                                                                           $2,580.98
           LOCKBOX 233209                                    ¨ Contingent
           3209 MOMENTUM PLACE
           CHICAGO IL 60689                                  ¨ Unliquidated
                                                             ¨ Disputed
           Date or dates debt was incurred                   Basis for the claim:
           VARIOUS                                           TRADE ACCOUNTS PAYABLE
           Last 4 digits of account number:                  Is the claim subject to offset?

                                                             þ No
                                                             ¨ Yes




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3.730.     Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                             Check all that apply.
           GARDERE WYNNE SEWELL LLP                                                                          $6,816.03
           2021 MCKINNEY AVENUE                              ¨ Contingent
           SUITE 1600
           DALLAS TX 75201                                   ¨ Unliquidated
                                                             ¨ Disputed
           Date or dates debt was incurred                   Basis for the claim:
           VARIOUS                                           LEGAL
           Last 4 digits of account number:                  Is the claim subject to offset?

                                                             þ No
                                                             ¨ Yes

3.731.     Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                             Check all that apply.
           GARDNER HOLDITCH DBA MARQUEE RENTS                                                                $529.19
           4616 W HOWARD                                     ¨ Contingent
           AUSTIN TX 78728
                                                             ¨ Unliquidated
                                                             ¨ Disputed
           Date or dates debt was incurred                   Basis for the claim:
           VARIOUS                                           TRADE ACCOUNTS PAYABLE
           Last 4 digits of account number:                  Is the claim subject to offset?

                                                             þ No
                                                             ¨ Yes

3.732.     Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                             Check all that apply.
           GARRISON, DURRELL                                                                                 UNDETERMINED
           J. NELSON THOMAS THOMAS & SOLOMON LLP             þ Contingent
           693 EAST AVENUE
           ROCHESTER NY 14607                                þ Unliquidated
                                                             þ Disputed
           Date or dates debt was incurred                   Basis for the claim:
           VARIOUS                                           CIVIL ACTION NO. 6:15-CV-06742
                                                             PENDING LITIGATION
           Last 4 digits of account number:
                                                             Is the claim subject to offset?

                                                             þ No
                                                             ¨ Yes




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3.733.     Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                             Check all that apply.
           GARRISON, MIRANDA SUE                                                                             UNDETERMINED
           J. NELSON THOMAS THOMAS & SOLOMON LLP             þ Contingent
           693 EAST AVENUE
           ROCHESTER NY 14607                                þ Unliquidated
                                                             þ Disputed
           Date or dates debt was incurred                   Basis for the claim:
           VARIOUS                                           CIVIL ACTION NO. 6:15-CV-06742
                                                             PENDING LITIGATION
           Last 4 digits of account number:
                                                             Is the claim subject to offset?

                                                             þ No
                                                             ¨ Yes

3.734.     Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                             Check all that apply.
           GARWOOD, THOMAS C.                                                                                UNDETERMINED
           J. NELSON THOMAS THOMAS & SOLOMON LLP             þ Contingent
           693 EAST AVENUE
           ROCHESTER NY 14607                                þ Unliquidated
                                                             þ Disputed
           Date or dates debt was incurred                   Basis for the claim:
           VARIOUS                                           CIVIL ACTION NO. 6:15-CV-06742
                                                             PENDING LITIGATION
           Last 4 digits of account number:
                                                             Is the claim subject to offset?

                                                             þ No
                                                             ¨ Yes

3.735.     Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                             Check all that apply.
           GASTON HEATING & AIR CONDITIONING                                                                 $2,229.00
           PO BOX 1120                                       ¨ Contingent
           COLUMBUS NC 28782
                                                             ¨ Unliquidated
                                                             ¨ Disputed
           Date or dates debt was incurred                   Basis for the claim:
           VARIOUS                                           TRADE ACCOUNTS PAYABLE
           Last 4 digits of account number:                  Is the claim subject to offset?

                                                             þ No
                                                             ¨ Yes




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3.736.     Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                             Check all that apply.
           GAY, JEFF H                                                                                       $58.00
           DBA ALL SEASONS WINDOW CLEANING                   ¨ Contingent
           PO BOX 40073
           BAKERSFIELD CA 93384                              ¨ Unliquidated
                                                             ¨ Disputed
           Date or dates debt was incurred                   Basis for the claim:
           VARIOUS                                           TRADE ACCOUNTS PAYABLE
           Last 4 digits of account number:                  Is the claim subject to offset?

                                                             þ No
                                                             ¨ Yes

3.737.     Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                             Check all that apply.
           GAYAN, APRIL DAWN                                                                                 UNDETERMINED
           J. NELSON THOMAS THOMAS & SOLOMON LLP             þ Contingent
           693 EAST AVENUE
           ROCHESTER NY 14607                                þ Unliquidated
                                                             þ Disputed
           Date or dates debt was incurred                   Basis for the claim:
           VARIOUS                                           CIVIL ACTION NO. 6:15-CV-06742
                                                             PENDING LITIGATION
           Last 4 digits of account number:
                                                             Is the claim subject to offset?

                                                             þ No
                                                             ¨ Yes

3.738.     Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                             Check all that apply.
           GAYHEART-ALDEA, HEATHER CHRISTINE                                                                 UNDETERMINED
           J. NELSON THOMAS THOMAS & SOLOMON LLP             þ Contingent
           693 EAST AVENUE
           ROCHESTER NY 14607                                þ Unliquidated
                                                             þ Disputed
           Date or dates debt was incurred                   Basis for the claim:
           VARIOUS                                           CIVIL ACTION NO. 6:15-CV-06742
                                                             PENDING LITIGATION
           Last 4 digits of account number:
                                                             Is the claim subject to offset?

                                                             þ No
                                                             ¨ Yes




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3.739.     Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                             Check all that apply.
           GEORGE ARAUJO                                                                                     UNDETERMINED
                                                             þ Contingent
                                                             þ Unliquidated
                                                             þ Disputed
           Date or dates debt was incurred                   Basis for the claim:
           VARIOUS                                           WORKERS COMPENSATION CLAIM
           Last 4 digits of account number:                  Is the claim subject to offset?

                                                             þ No
                                                             ¨ Yes

3.740.     Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                             Check all that apply.
           GEORGE, JALYNNE A.                                                                                UNDETERMINED
           J. NELSON THOMAS THOMAS & SOLOMON LLP             þ Contingent
           693 EAST AVENUE
           ROCHESTER NY 14607                                þ Unliquidated
                                                             þ Disputed
           Date or dates debt was incurred                   Basis for the claim:
           VARIOUS                                           CIVIL ACTION NO. 6:15-CV-06742
                                                             PENDING LITIGATION
           Last 4 digits of account number:
                                                             Is the claim subject to offset?

                                                             þ No
                                                             ¨ Yes

3.741.     Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                             Check all that apply.
           GERSH, MATTHEW THOMAS                                                                             UNDETERMINED
           J. NELSON THOMAS THOMAS & SOLOMON LLP             þ Contingent
           693 EAST AVENUE
           ROCHESTER NY 14607                                þ Unliquidated
                                                             þ Disputed
           Date or dates debt was incurred                   Basis for the claim:
           VARIOUS                                           CIVIL ACTION NO. 6:15-CV-06742
                                                             PENDING LITIGATION
           Last 4 digits of account number:
                                                             Is the claim subject to offset?

                                                             þ No
                                                             ¨ Yes




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3.742.     Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                             Check all that apply.
           GETGO INC A SUBSIDIARY OF LOGMEIN INC                                                             $3,198.63
           PO BOX 83308                                      ¨ Contingent
           WOBURN MA 18130
                                                             ¨ Unliquidated
                                                             ¨ Disputed
           Date or dates debt was incurred                   Basis for the claim:
           VARIOUS                                           TRADE ACCOUNTS PAYABLE
           Last 4 digits of account number:                  Is the claim subject to offset?

                                                             þ No
                                                             ¨ Yes

3.743.     Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                             Check all that apply.
           GGPOTAY RANCH LP                                                                                  UNDETERMINED
           GENERAL GROWTH PROPERTIES                         þ Contingent
           LAW/LEASE ADMINISTRATION HOWARD SIGAL
           VP AND SR ASSOCIATE GC                            þ Unliquidated
           110 NORTH WACKER DR
           CHICAGO IL 60606
                                                             þ Disputed
           Date or dates debt was incurred                   Basis for the claim:
           VARIOUS                                           LANDLORD CLAIM
           Last 4 digits of account number:                  Is the claim subject to offset?

                                                             þ No
                                                             ¨ Yes

3.744.     Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                             Check all that apply.
           GIBB, ELIZABETH ANNE                                                                              UNDETERMINED
           J. NELSON THOMAS THOMAS & SOLOMON LLP             þ Contingent
           693 EAST AVENUE
           ROCHESTER NY 14607                                þ Unliquidated
                                                             þ Disputed
           Date or dates debt was incurred                   Basis for the claim:
           VARIOUS                                           CIVIL ACTION NO. 6:15-CV-06742
                                                             PENDING LITIGATION
           Last 4 digits of account number:
                                                             Is the claim subject to offset?

                                                             þ No
                                                             ¨ Yes




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3.745.     Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                             Check all that apply.
           GIBBS, BRANDON MATTHEW                                                                            UNDETERMINED
           J. NELSON THOMAS THOMAS & SOLOMON LLP             þ Contingent
           693 EAST AVENUE
           ROCHESTER NY 14607                                þ Unliquidated
                                                             þ Disputed
           Date or dates debt was incurred                   Basis for the claim:
           VARIOUS                                           CIVIL ACTION NO. 6:15-CV-06742
                                                             PENDING LITIGATION
           Last 4 digits of account number:
                                                             Is the claim subject to offset?

                                                             þ No
                                                             ¨ Yes

3.746.     Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                             Check all that apply.
           GIGLIA, RENE                                                                                      UNDETERMINED
           J. NELSON THOMAS THOMAS & SOLOMON LLP             þ Contingent
           693 EAST AVENUE
           ROCHESTER NY 14607                                þ Unliquidated
                                                             þ Disputed
           Date or dates debt was incurred                   Basis for the claim:
           VARIOUS                                           CIVIL ACTION NO. 6:15-CV-06742
                                                             PENDING LITIGATION
           Last 4 digits of account number:
                                                             Is the claim subject to offset?

                                                             þ No
                                                             ¨ Yes

3.747.     Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                             Check all that apply.
           GILBERT, DAYLE LEA                                                                                UNDETERMINED
           J. NELSON THOMAS THOMAS & SOLOMON LLP             þ Contingent
           693 EAST AVENUE
           ROCHESTER NY 14607                                þ Unliquidated
                                                             þ Disputed
           Date or dates debt was incurred                   Basis for the claim:
           VARIOUS                                           CIVIL ACTION NO. 6:15-CV-06742
                                                             PENDING LITIGATION
           Last 4 digits of account number:
                                                             Is the claim subject to offset?

                                                             þ No
                                                             ¨ Yes




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3.748.     Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                             Check all that apply.
           GILDOW, STEPHEN E.                                                                                UNDETERMINED
           J. NELSON THOMAS THOMAS & SOLOMON LLP             þ Contingent
           693 EAST AVENUE
           ROCHESTER NY 14607                                þ Unliquidated
                                                             þ Disputed
           Date or dates debt was incurred                   Basis for the claim:
           VARIOUS                                           CIVIL ACTION NO. 6:15-CV-06742
                                                             PENDING LITIGATION
           Last 4 digits of account number:
                                                             Is the claim subject to offset?

                                                             þ No
                                                             ¨ Yes

3.749.     Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                             Check all that apply.
           GILLOGLY, ELENA                                                                                   UNDETERMINED
           J. NELSON THOMAS THOMAS & SOLOMON LLP             þ Contingent
           693 EAST AVENUE
           ROCHESTER NY 14607                                þ Unliquidated
                                                             þ Disputed
           Date or dates debt was incurred                   Basis for the claim:
           VARIOUS                                           CIVIL ACTION NO. 6:15-CV-06742
                                                             PENDING LITIGATION
           Last 4 digits of account number:
                                                             Is the claim subject to offset?

                                                             þ No
                                                             ¨ Yes

3.750.     Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                             Check all that apply.
           GILMOUR, DEBORAH J.                                                                               UNDETERMINED
           J. NELSON THOMAS THOMAS & SOLOMON LLP             þ Contingent
           693 EAST AVENUE
           ROCHESTER NY 14607                                þ Unliquidated
                                                             þ Disputed
           Date or dates debt was incurred                   Basis for the claim:
           VARIOUS                                           CIVIL ACTION NO. 6:15-CV-06742
                                                             PENDING LITIGATION
           Last 4 digits of account number:
                                                             Is the claim subject to offset?

                                                             þ No
                                                             ¨ Yes




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3.751.     Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                             Check all that apply.
           GILROY, ADAM                                                                                      UNDETERMINED
           J. NELSON THOMAS THOMAS & SOLOMON LLP             þ Contingent
           693 EAST AVENUE
           ROCHESTER NY 14607                                þ Unliquidated
                                                             þ Disputed
           Date or dates debt was incurred                   Basis for the claim:
           VARIOUS                                           CIVIL ACTION NO. 6:15-CV-06742
                                                             PENDING LITIGATION
           Last 4 digits of account number:
                                                             Is the claim subject to offset?

                                                             þ No
                                                             ¨ Yes

3.752.     Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                             Check all that apply.
           GILSTER, MICHAEL ALEXANDER                                                                        UNDETERMINED
           J. NELSON THOMAS THOMAS & SOLOMON LLP             þ Contingent
           693 EAST AVENUE
           ROCHESTER NY 14607                                þ Unliquidated
                                                             þ Disputed
           Date or dates debt was incurred                   Basis for the claim:
           VARIOUS                                           CIVIL ACTION NO. 6:15-CV-06742
                                                             PENDING LITIGATION
           Last 4 digits of account number:
                                                             Is the claim subject to offset?

                                                             þ No
                                                             ¨ Yes

3.753.     Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                             Check all that apply.
           GLACIER REFRIGERATION & AIR INC                                                                   $967.41
           1200 VALLEY VIEW                                  ¨ Contingent
           SELMA CA 93662
                                                             ¨ Unliquidated
                                                             ¨ Disputed
           Date or dates debt was incurred                   Basis for the claim:
           VARIOUS                                           TRADE ACCOUNTS PAYABLE
           Last 4 digits of account number:                  Is the claim subject to offset?

                                                             þ No
                                                             ¨ Yes




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3.754.     Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                             Check all that apply.
           GLADU, BRITNI                                                                                     UNDETERMINED
           J. NELSON THOMAS THOMAS & SOLOMON LLP             þ Contingent
           693 EAST AVENUE
           ROCHESTER NY 14607                                þ Unliquidated
                                                             þ Disputed
           Date or dates debt was incurred                   Basis for the claim:
           VARIOUS                                           CIVIL ACTION NO. 6:15-CV-06742
                                                             PENDING LITIGATION
           Last 4 digits of account number:
                                                             Is the claim subject to offset?

                                                             þ No
                                                             ¨ Yes

3.755.     Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                             Check all that apply.
           GLAZENER, KYRSTYNA                                                                                UNDETERMINED
           J. NELSON THOMAS THOMAS & SOLOMON LLP             þ Contingent
           693 EAST AVENUE
           ROCHESTER NY 14607                                þ Unliquidated
                                                             þ Disputed
           Date or dates debt was incurred                   Basis for the claim:
           VARIOUS                                           CIVIL ACTION NO. 6:15-CV-06742
                                                             PENDING LITIGATION
           Last 4 digits of account number:
                                                             Is the claim subject to offset?

                                                             þ No
                                                             ¨ Yes

3.756.     Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                             Check all that apply.
           GLIDDON, MIRANDA COLETTE                                                                          UNDETERMINED
           J. NELSON THOMAS THOMAS & SOLOMON LLP             þ Contingent
           693 EAST AVENUE
           ROCHESTER NY 14607                                þ Unliquidated
                                                             þ Disputed
           Date or dates debt was incurred                   Basis for the claim:
           VARIOUS                                           CIVIL ACTION NO. 6:15-CV-06742
                                                             PENDING LITIGATION
           Last 4 digits of account number:
                                                             Is the claim subject to offset?

                                                             þ No
                                                             ¨ Yes




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3.757.     Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                             Check all that apply.
           GLIDDON, MIRANDA COLETTE                                                                          UNDETERMINED
           J. NELSON THOMAS THOMAS & SOLOMON LLP             þ Contingent
           693 EAST AVENUE
           ROCHESTER NY 14607                                þ Unliquidated
                                                             þ Disputed
           Date or dates debt was incurred                   Basis for the claim:
           VARIOUS                                           CIVIL ACTION NO. 6:15-CV-06742
                                                             PENDING LITIGATION
           Last 4 digits of account number:
                                                             Is the claim subject to offset?

                                                             þ No
                                                             ¨ Yes

3.758.     Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                             Check all that apply.
           GLOWACKI, LAURA C. FALLECKER                                                                      UNDETERMINED
           J. NELSON THOMAS THOMAS & SOLOMON LLP             þ Contingent
           693 EAST AVENUE
           ROCHESTER NY 14607                                þ Unliquidated
                                                             þ Disputed
           Date or dates debt was incurred                   Basis for the claim:
           VARIOUS                                           CIVIL ACTION NO. 6:15-CV-06742
                                                             PENDING LITIGATION
           Last 4 digits of account number:
                                                             Is the claim subject to offset?

                                                             þ No
                                                             ¨ Yes

3.759.     Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                             Check all that apply.
           GOLISH, ALLISON PAIGE                                                                             UNDETERMINED
           J. NELSON THOMAS THOMAS & SOLOMON LLP             þ Contingent
           693 EAST AVENUE
           ROCHESTER NY 14607                                þ Unliquidated
                                                             þ Disputed
           Date or dates debt was incurred                   Basis for the claim:
           VARIOUS                                           CIVIL ACTION NO. 6:15-CV-06742
                                                             PENDING LITIGATION
           Last 4 digits of account number:
                                                             Is the claim subject to offset?

                                                             þ No
                                                             ¨ Yes




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Debtor   MAC ACQUISITION LLC                                                                                 Case number (if known) 17-12224




3.760.     Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                             Check all that apply.
           GOMEZ, LISA MARIE                                                                                 UNDETERMINED
           J. NELSON THOMAS THOMAS & SOLOMON LLP             þ Contingent
           693 EAST AVENUE
           ROCHESTER NY 14607                                þ Unliquidated
                                                             þ Disputed
           Date or dates debt was incurred                   Basis for the claim:
           VARIOUS                                           CIVIL ACTION NO. 6:15-CV-06742
                                                             PENDING LITIGATION
           Last 4 digits of account number:
                                                             Is the claim subject to offset?

                                                             þ No
                                                             ¨ Yes

3.761.     Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                             Check all that apply.
           GONZALES, RAMIRO                                                                                  UNDETERMINED
                                                             þ Contingent
                                                             þ Unliquidated
                                                             þ Disputed
           Date or dates debt was incurred                   Basis for the claim:
           VARIOUS                                           WORKERS COMPENSATION CLAIM
           Last 4 digits of account number:                  Is the claim subject to offset?

                                                             þ No
                                                             ¨ Yes

3.762.     Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                             Check all that apply.
           GONZALES, RUBEN                                                                                   UNDETERMINED
           J. NELSON THOMAS THOMAS & SOLOMON LLP             þ Contingent
           693 EAST AVENUE
           ROCHESTER NY 14607                                þ Unliquidated
                                                             þ Disputed
           Date or dates debt was incurred                   Basis for the claim:
           VARIOUS                                           CIVIL ACTION NO. 6:15-CV-06742
                                                             PENDING LITIGATION
           Last 4 digits of account number:
                                                             Is the claim subject to offset?

                                                             þ No
                                                             ¨ Yes




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3.763.     Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                             Check all that apply.
           GONZALEZ, JONATHAN                                                                                UNDETERMINED
           J. NELSON THOMAS THOMAS & SOLOMON LLP             þ Contingent
           693 EAST AVENUE
           ROCHESTER NY 14607                                þ Unliquidated
                                                             þ Disputed
           Date or dates debt was incurred                   Basis for the claim:
           VARIOUS                                           CIVIL ACTION NO. 6:15-CV-06742
                                                             PENDING LITIGATION
           Last 4 digits of account number:
                                                             Is the claim subject to offset?

                                                             þ No
                                                             ¨ Yes

3.764.     Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                             Check all that apply.
           GONZALEZ, JONATHON                                                                                UNDETERMINED
           J. NELSON THOMAS THOMAS & SOLOMON LLP             þ Contingent
           693 EAST AVENUE
           ROCHESTER NY 14607                                þ Unliquidated
                                                             þ Disputed
           Date or dates debt was incurred                   Basis for the claim:
           VARIOUS                                           CIVIL ACTION NO. 6:15-CV-06742
                                                             PENDING LITIGATION
           Last 4 digits of account number:
                                                             Is the claim subject to offset?

                                                             þ No
                                                             ¨ Yes

3.765.     Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                             Check all that apply.
           GOODREDS, CHRISTINA                                                                               UNDETERMINED
           J. NELSON THOMAS THOMAS & SOLOMON LLP             þ Contingent
           693 EAST AVENUE
           ROCHESTER NY 14607                                þ Unliquidated
                                                             þ Disputed
           Date or dates debt was incurred                   Basis for the claim:
           VARIOUS                                           CIVIL ACTION NO. 6:15-CV-06742
                                                             PENDING LITIGATION
           Last 4 digits of account number:
                                                             Is the claim subject to offset?

                                                             þ No
                                                             ¨ Yes




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3.766.     Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                             Check all that apply.
           GORDILLO RIOS, FRANCISCO GUSTAVO                                                                  UNDETERMINED
           J. NELSON THOMAS THOMAS & SOLOMON LLP             þ Contingent
           693 EAST AVENUE
           ROCHESTER NY 14607                                þ Unliquidated
                                                             þ Disputed
           Date or dates debt was incurred                   Basis for the claim:
           VARIOUS                                           CIVIL ACTION NO. 6:15-CV-06742
                                                             PENDING LITIGATION
           Last 4 digits of account number:
                                                             Is the claim subject to offset?

                                                             þ No
                                                             ¨ Yes

3.767.     Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                             Check all that apply.
           GORDON, ASHLEY NICOLE                                                                             UNDETERMINED
           J. NELSON THOMAS THOMAS & SOLOMON LLP             þ Contingent
           693 EAST AVENUE
           ROCHESTER NY 14607                                þ Unliquidated
                                                             þ Disputed
           Date or dates debt was incurred                   Basis for the claim:
           VARIOUS                                           CIVIL ACTION NO. 6:15-CV-06742
                                                             PENDING LITIGATION
           Last 4 digits of account number:
                                                             Is the claim subject to offset?

                                                             þ No
                                                             ¨ Yes

3.768.     Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                             Check all that apply.
           GOREN, LISA J.                                                                                    UNDETERMINED
           J. NELSON THOMAS THOMAS & SOLOMON LLP             þ Contingent
           693 EAST AVENUE
           ROCHESTER NY 14607                                þ Unliquidated
                                                             þ Disputed
           Date or dates debt was incurred                   Basis for the claim:
           VARIOUS                                           CIVIL ACTION NO. 6:15-CV-06742
                                                             PENDING LITIGATION
           Last 4 digits of account number:
                                                             Is the claim subject to offset?

                                                             þ No
                                                             ¨ Yes




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3.769.     Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                             Check all that apply.
           GOUGH-WILLIAMS, LASHAINA                                                                          UNDETERMINED
           J. NELSON THOMAS THOMAS & SOLOMON LLP             þ Contingent
           693 EAST AVENUE
           ROCHESTER NY 14607                                þ Unliquidated
                                                             þ Disputed
           Date or dates debt was incurred                   Basis for the claim:
           VARIOUS                                           CIVIL ACTION NO. 6:15-CV-06742
                                                             PENDING LITIGATION
           Last 4 digits of account number:
                                                             Is the claim subject to offset?

                                                             þ No
                                                             ¨ Yes

3.770.     Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                             Check all that apply.
           GOUVEIA, AMANDA MARY                                                                              UNDETERMINED
           J. NELSON THOMAS THOMAS & SOLOMON LLP             þ Contingent
           693 EAST AVENUE
           ROCHESTER NY 14607                                þ Unliquidated
                                                             þ Disputed
           Date or dates debt was incurred                   Basis for the claim:
           VARIOUS                                           CIVIL ACTION NO. 6:15-CV-06742
                                                             PENDING LITIGATION
           Last 4 digits of account number:
                                                             Is the claim subject to offset?

                                                             þ No
                                                             ¨ Yes

3.771.     Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                             Check all that apply.
           GP ELECTRIC, LLC                                                                                  $867.60
           30866 KENWOOD CT.                                 ¨ Contingent
           LIVONIA MI 48152
                                                             ¨ Unliquidated
                                                             ¨ Disputed
           Date or dates debt was incurred                   Basis for the claim:
           VARIOUS                                           TRADE ACCOUNTS PAYABLE
           Last 4 digits of account number:                  Is the claim subject to offset?

                                                             þ No
                                                             ¨ Yes




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3.772.     Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                             Check all that apply.
           GRAB, ALEXANDRA N.                                                                                UNDETERMINED
           J. NELSON THOMAS THOMAS & SOLOMON LLP             þ Contingent
           693 EAST AVENUE
           ROCHESTER NY 14607                                þ Unliquidated
                                                             þ Disputed
           Date or dates debt was incurred                   Basis for the claim:
           VARIOUS                                           CIVIL ACTION NO. 6:15-CV-06742
                                                             PENDING LITIGATION
           Last 4 digits of account number:
                                                             Is the claim subject to offset?

                                                             þ No
                                                             ¨ Yes

3.773.     Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                             Check all that apply.
           GRACE, CHRISTOPHER MICHAEL                                                                        UNDETERMINED
           J. NELSON THOMAS THOMAS & SOLOMON LLP             þ Contingent
           693 EAST AVENUE
           ROCHESTER NY 14607                                þ Unliquidated
                                                             þ Disputed
           Date or dates debt was incurred                   Basis for the claim:
           VARIOUS                                           CIVIL ACTION NO. 6:15-CV-06742
                                                             PENDING LITIGATION
           Last 4 digits of account number:
                                                             Is the claim subject to offset?

                                                             þ No
                                                             ¨ Yes

3.774.     Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                             Check all that apply.
           GRAFFEO, CLARK SAMUEL                                                                             UNDETERMINED
           J. NELSON THOMAS THOMAS & SOLOMON LLP             þ Contingent
           693 EAST AVENUE
           ROCHESTER NY 14607                                þ Unliquidated
                                                             þ Disputed
           Date or dates debt was incurred                   Basis for the claim:
           VARIOUS                                           CIVIL ACTION NO. 6:15-CV-06742
                                                             PENDING LITIGATION
           Last 4 digits of account number:
                                                             Is the claim subject to offset?

                                                             þ No
                                                             ¨ Yes




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3.775.     Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                             Check all that apply.
           GRAGG, TAYLOR BREANN                                                                              UNDETERMINED
           J. NELSON THOMAS THOMAS & SOLOMON LLP             þ Contingent
           693 EAST AVENUE
           ROCHESTER NY 14607                                þ Unliquidated
                                                             þ Disputed
           Date or dates debt was incurred                   Basis for the claim:
           VARIOUS                                           CIVIL ACTION NO. 6:15-CV-06742
                                                             PENDING LITIGATION
           Last 4 digits of account number:
                                                             Is the claim subject to offset?

                                                             þ No
                                                             ¨ Yes

3.776.     Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                             Check all that apply.
           GRAHAM, JASON JAMES                                                                               UNDETERMINED
           J. NELSON THOMAS THOMAS & SOLOMON LLP             þ Contingent
           693 EAST AVENUE
           ROCHESTER NY 14607                                þ Unliquidated
                                                             þ Disputed
           Date or dates debt was incurred                   Basis for the claim:
           VARIOUS                                           CIVIL ACTION NO. 6:15-CV-06742
                                                             PENDING LITIGATION
           Last 4 digits of account number:
                                                             Is the claim subject to offset?

                                                             þ No
                                                             ¨ Yes

3.777.     Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                             Check all that apply.
           GRAHAM, JOSHUA                                                                                    UNDETERMINED
           J. NELSON THOMAS THOMAS & SOLOMON LLP             þ Contingent
           693 EAST AVENUE
           ROCHESTER NY 14607                                þ Unliquidated
                                                             þ Disputed
           Date or dates debt was incurred                   Basis for the claim:
           VARIOUS                                           CIVIL ACTION NO. 6:15-CV-06742
                                                             PENDING LITIGATION
           Last 4 digits of account number:
                                                             Is the claim subject to offset?

                                                             þ No
                                                             ¨ Yes




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3.778.     Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                             Check all that apply.
           GRAND RAPIDS CHAIR CO                                                                             $10,392.00
           1250 84TH STTREET SW                              ¨ Contingent
           BYRON CENTER MI 49315
                                                             ¨ Unliquidated
                                                             ¨ Disputed
           Date or dates debt was incurred                   Basis for the claim:
           VARIOUS                                           TRADE ACCOUNTS PAYABLE
           Last 4 digits of account number:                  Is the claim subject to offset?

                                                             þ No
                                                             ¨ Yes

3.779.     Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                             Check all that apply.
           GRANITE TELECOMMUNICATIONS                                                                        $294.33
           PO. BOX 983119                                    ¨ Contingent
           BOSTON MA 02298-3119
                                                             ¨ Unliquidated
                                                             ¨ Disputed
           Date or dates debt was incurred                   Basis for the claim:
           VARIOUS                                           TRADE ACCOUNTS PAYABLE
           Last 4 digits of account number:                  Is the claim subject to offset?

                                                             þ No
                                                             ¨ Yes

3.780.     Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                             Check all that apply.
           GRAYSON, CINDY MICHELLE                                                                           UNDETERMINED
           J. NELSON THOMAS THOMAS & SOLOMON LLP             þ Contingent
           693 EAST AVENUE
           ROCHESTER NY 14607                                þ Unliquidated
                                                             þ Disputed
           Date or dates debt was incurred                   Basis for the claim:
           VARIOUS                                           CIVIL ACTION NO. 6:15-CV-06742
                                                             PENDING LITIGATION
           Last 4 digits of account number:
                                                             Is the claim subject to offset?

                                                             þ No
                                                             ¨ Yes




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3.781.     Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                             Check all that apply.
           GREEN CANE PROPERTY                                                                               UNDETERMINED
           JOSEPH B MAROGIL                                  þ Contingent
           JERRY MAROGIL MANAGER
           2151 ROBINSON RD                                  þ Unliquidated
           GRAND RAPIDS MI 49506                             þ Disputed
           Date or dates debt was incurred                   Basis for the claim:
           VARIOUS                                           LANDLORD CLAIM
           Last 4 digits of account number:                  Is the claim subject to offset?

                                                             þ No
                                                             ¨ Yes

3.782.     Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                             Check all that apply.
           GREEN, MARIA N.                                                                                   UNDETERMINED
           J. NELSON THOMAS THOMAS & SOLOMON LLP             þ Contingent
           693 EAST AVENUE
           ROCHESTER NY 14607                                þ Unliquidated
                                                             þ Disputed
           Date or dates debt was incurred                   Basis for the claim:
           VARIOUS                                           CIVIL ACTION NO. 6:15-CV-06742
                                                             PENDING LITIGATION
           Last 4 digits of account number:
                                                             Is the claim subject to offset?

                                                             þ No
                                                             ¨ Yes

3.783.     Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                             Check all that apply.
           GREEN, RONNIE                                                                                     UNDETERMINED
           J. NELSON THOMAS THOMAS & SOLOMON LLP             þ Contingent
           693 EAST AVENUE
           ROCHESTER NY 14607                                þ Unliquidated
                                                             þ Disputed
           Date or dates debt was incurred                   Basis for the claim:
           VARIOUS                                           CIVIL ACTION NO. 6:15-CV-06742
                                                             PENDING LITIGATION
           Last 4 digits of account number:
                                                             Is the claim subject to offset?

                                                             þ No
                                                             ¨ Yes




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3.784.     Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                             Check all that apply.
           GREENCARE LANDSCAPE MANAGEMENT                                                                    $677.29
           125 PLEASANT HILL ROAD                            ¨ Contingent
           SCARBOROUGH ME 04074
                                                             ¨ Unliquidated
                                                             ¨ Disputed
           Date or dates debt was incurred                   Basis for the claim:
           VARIOUS                                           TRADE ACCOUNTS PAYABLE
           Last 4 digits of account number:                  Is the claim subject to offset?

                                                             þ No
                                                             ¨ Yes

3.785.     Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                             Check all that apply.
           GREENE, MICHAELA CARYN                                                                            UNDETERMINED
           J. NELSON THOMAS THOMAS & SOLOMON LLP             þ Contingent
           693 EAST AVENUE
           ROCHESTER NY 14607                                þ Unliquidated
                                                             þ Disputed
           Date or dates debt was incurred                   Basis for the claim:
           VARIOUS                                           CIVIL ACTION NO. 6:15-CV-06742
                                                             PENDING LITIGATION
           Last 4 digits of account number:
                                                             Is the claim subject to offset?

                                                             þ No
                                                             ¨ Yes

3.786.     Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                             Check all that apply.
           GREENLEAF WHSLE FLORIST INC                                                                       $191.52
           4100 WILL ROGERS PKWY, STE. 900                   ¨ Contingent
           OKLAHOMA CITY OK 73108
                                                             ¨ Unliquidated
                                                             ¨ Disputed
           Date or dates debt was incurred                   Basis for the claim:
           VARIOUS                                           TRADE ACCOUNTS PAYABLE
           Last 4 digits of account number:                  Is the claim subject to offset?

                                                             þ No
                                                             ¨ Yes




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3.787.     Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                             Check all that apply.
           GREENSCAPERS LLC                                                                                  $665.00
           DAVID ROBERT SMITH                                ¨ Contingent
           1753 E BROADWAY #407
           TEMPE AZ 85282-1600                               ¨ Unliquidated
                                                             ¨ Disputed
           Date or dates debt was incurred                   Basis for the claim:
           VARIOUS                                           TRADE ACCOUNTS PAYABLE
           Last 4 digits of account number:                  Is the claim subject to offset?

                                                             þ No
                                                             ¨ Yes

3.788.     Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                             Check all that apply.
           GREENSCAPES LANDSCAPE SERVICES, INC.                                                              $665.00
           PO BOX 9553                                       ¨ Contingent
           TAMPA FL 33674
                                                             ¨ Unliquidated
                                                             ¨ Disputed
           Date or dates debt was incurred                   Basis for the claim:
           VARIOUS                                           TRADE ACCOUNTS PAYABLE
           Last 4 digits of account number:                  Is the claim subject to offset?

                                                             þ No
                                                             ¨ Yes

3.789.     Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                             Check all that apply.
           GREGG, ROBERT A.                                                                                  UNDETERMINED
           J. NELSON THOMAS THOMAS & SOLOMON LLP             þ Contingent
           693 EAST AVENUE
           ROCHESTER NY 14607                                þ Unliquidated
                                                             þ Disputed
           Date or dates debt was incurred                   Basis for the claim:
           VARIOUS                                           CIVIL ACTION NO. 6:15-CV-06742
                                                             PENDING LITIGATION
           Last 4 digits of account number:
                                                             Is the claim subject to offset?

                                                             þ No
                                                             ¨ Yes




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3.790.     Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                             Check all that apply.
           GRESH ASSOCIATES INC                                                                              $217.75
           PO BOX 1417                                       ¨ Contingent
           FAIRPORT NY 14450
                                                             ¨ Unliquidated
                                                             ¨ Disputed
           Date or dates debt was incurred                   Basis for the claim:
           VARIOUS                                           TRADE ACCOUNTS PAYABLE
           Last 4 digits of account number:                  Is the claim subject to offset?

                                                             þ No
                                                             ¨ Yes

3.791.     Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                             Check all that apply.
           GRIFFIN, STEPHANIE                                                                                UNDETERMINED
                                                             þ Contingent
                                                             þ Unliquidated
                                                             þ Disputed
           Date or dates debt was incurred                   Basis for the claim:
           VARIOUS                                           GENERAL LIABILITY CLAIMS
           Last 4 digits of account number:                  Is the claim subject to offset?

                                                             þ No
                                                             ¨ Yes

3.792.     Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                             Check all that apply.
           GRIFFIN, TIFFANY ANN                                                                              UNDETERMINED
           J. NELSON THOMAS THOMAS & SOLOMON LLP             þ Contingent
           693 EAST AVENUE
           ROCHESTER NY 14607                                þ Unliquidated
                                                             þ Disputed
           Date or dates debt was incurred                   Basis for the claim:
           VARIOUS                                           CIVIL ACTION NO. 6:15-CV-06742
                                                             PENDING LITIGATION
           Last 4 digits of account number:
                                                             Is the claim subject to offset?

                                                             þ No
                                                             ¨ Yes




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3.793.     Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                             Check all that apply.
           GRIGSBY, KENYA                                                                                    UNDETERMINED
           J. NELSON THOMAS THOMAS & SOLOMON LLP             þ Contingent
           693 EAST AVENUE
           ROCHESTER NY 14607                                þ Unliquidated
                                                             þ Disputed
           Date or dates debt was incurred                   Basis for the claim:
           VARIOUS                                           CIVIL ACTION NO. 6:15-CV-06742
                                                             PENDING LITIGATION
           Last 4 digits of account number:
                                                             Is the claim subject to offset?

                                                             þ No
                                                             ¨ Yes

3.794.     Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                             Check all that apply.
           GRILLONI LLC                                                                                      UNDETERMINED
           MICHAEL SCHMIDT                                   þ Contingent
           222 GRAND AVE
           ENGLEWOOD NJ 07631                                þ Unliquidated
                                                             þ Disputed
           Date or dates debt was incurred                   Basis for the claim:
           VARIOUS                                           LANDLORD CLAIM
           Last 4 digits of account number:                  Is the claim subject to offset?

                                                             þ No
                                                             ¨ Yes

3.795.     Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                             Check all that apply.
           GRIMALDI, MICHELE MONICA                                                                          UNDETERMINED
           J. NELSON THOMAS THOMAS & SOLOMON LLP             þ Contingent
           693 EAST AVENUE
           ROCHESTER NY 14607                                þ Unliquidated
                                                             þ Disputed
           Date or dates debt was incurred                   Basis for the claim:
           VARIOUS                                           CIVIL ACTION NO. 6:15-CV-06742
                                                             PENDING LITIGATION
           Last 4 digits of account number:
                                                             Is the claim subject to offset?

                                                             þ No
                                                             ¨ Yes




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Debtor   MAC ACQUISITION LLC                                                                                 Case number (if known) 17-12224




3.796.     Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                             Check all that apply.
           GRIMSLEY, TAYLOR SCOTT                                                                            UNDETERMINED
           J. NELSON THOMAS THOMAS & SOLOMON LLP             þ Contingent
           693 EAST AVENUE
           ROCHESTER NY 14607                                þ Unliquidated
                                                             þ Disputed
           Date or dates debt was incurred                   Basis for the claim:
           VARIOUS                                           CIVIL ACTION NO. 6:15-CV-06742
                                                             PENDING LITIGATION
           Last 4 digits of account number:
                                                             Is the claim subject to offset?

                                                             þ No
                                                             ¨ Yes

3.797.     Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                             Check all that apply.
           GRINDLE, NICOLE                                                                                   UNDETERMINED
           J. NELSON THOMAS THOMAS & SOLOMON LLP             þ Contingent
           693 EAST AVENUE
           ROCHESTER NY 14607                                þ Unliquidated
                                                             þ Disputed
           Date or dates debt was incurred                   Basis for the claim:
           VARIOUS                                           CIVIL ACTION NO. 6:15-CV-06742
                                                             PENDING LITIGATION
           Last 4 digits of account number:
                                                             Is the claim subject to offset?

                                                             þ No
                                                             ¨ Yes

3.798.     Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                             Check all that apply.
           GRIVETT, JORDAN JAMES                                                                             UNDETERMINED
           J. NELSON THOMAS THOMAS & SOLOMON LLP             þ Contingent
           693 EAST AVENUE
           ROCHESTER NY 14607                                þ Unliquidated
                                                             þ Disputed
           Date or dates debt was incurred                   Basis for the claim:
           VARIOUS                                           CIVIL ACTION NO. 6:15-CV-06742
                                                             PENDING LITIGATION
           Last 4 digits of account number:
                                                             Is the claim subject to offset?

                                                             þ No
                                                             ¨ Yes




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3.799.     Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                             Check all that apply.
           GRODEKI, EDWARD FRANCIS                                                                           UNDETERMINED
           J. NELSON THOMAS THOMAS & SOLOMON LLP             þ Contingent
           693 EAST AVENUE
           ROCHESTER NY 14607                                þ Unliquidated
                                                             þ Disputed
           Date or dates debt was incurred                   Basis for the claim:
           VARIOUS                                           CIVIL ACTION NO. 6:15-CV-06742
                                                             PENDING LITIGATION
           Last 4 digits of account number:
                                                             Is the claim subject to offset?

                                                             þ No
                                                             ¨ Yes

3.800.     Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                             Check all that apply.
           GROSSMAN, JARED JOSEPH                                                                            UNDETERMINED
           J. NELSON THOMAS THOMAS & SOLOMON LLP             þ Contingent
           693 EAST AVENUE
           ROCHESTER NY 14607                                þ Unliquidated
                                                             þ Disputed
           Date or dates debt was incurred                   Basis for the claim:
           VARIOUS                                           CIVIL ACTION NO. 6:15-CV-06742
                                                             PENDING LITIGATION
           Last 4 digits of account number:
                                                             Is the claim subject to offset?

                                                             þ No
                                                             ¨ Yes

3.801.     Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                             Check all that apply.
           GROVENSTEIN, BRIAN CHRISTOPHER                                                                    UNDETERMINED
           J. NELSON THOMAS THOMAS & SOLOMON LLP             þ Contingent
           693 EAST AVENUE
           ROCHESTER NY 14607                                þ Unliquidated
                                                             þ Disputed
           Date or dates debt was incurred                   Basis for the claim:
           VARIOUS                                           CIVIL ACTION NO. 6:15-CV-06742
                                                             PENDING LITIGATION
           Last 4 digits of account number:
                                                             Is the claim subject to offset?

                                                             þ No
                                                             ¨ Yes




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3.802.     Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                             Check all that apply.
           GTT COMMUNICATIONS INC.                                                                           $61,553.99
           PO BOX 842630                                     ¨ Contingent
           DALLAS TX 75284-2630
                                                             ¨ Unliquidated
                                                             ¨ Disputed
           Date or dates debt was incurred                   Basis for the claim:
           VARIOUS                                           TRADE ACCOUNTS PAYABLE
           Last 4 digits of account number:                  Is the claim subject to offset?

                                                             þ No
                                                             ¨ Yes

3.803.     Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                             Check all that apply.
           GUAJARDO, SUSAN MARLENE                                                                           UNDETERMINED
           J. NELSON THOMAS THOMAS & SOLOMON LLP             þ Contingent
           693 EAST AVENUE
           ROCHESTER NY 14607                                þ Unliquidated
                                                             þ Disputed
           Date or dates debt was incurred                   Basis for the claim:
           VARIOUS                                           CIVIL ACTION NO. 6:15-CV-06742
                                                             PENDING LITIGATION
           Last 4 digits of account number:
                                                             Is the claim subject to offset?

                                                             þ No
                                                             ¨ Yes

3.804.     Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                             Check all that apply.
           GUERRERO, JOSE LUIS                                                                               UNDETERMINED
           J. NELSON THOMAS THOMAS & SOLOMON LLP             þ Contingent
           693 EAST AVENUE
           ROCHESTER NY 14607                                þ Unliquidated
                                                             þ Disputed
           Date or dates debt was incurred                   Basis for the claim:
           VARIOUS                                           CIVIL ACTION NO. 6:15-CV-06742
                                                             PENDING LITIGATION
           Last 4 digits of account number:
                                                             Is the claim subject to offset?

                                                             þ No
                                                             ¨ Yes




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3.805.     Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                             Check all that apply.
           GUERRERO, JOSE LUIS                                                                               UNDETERMINED
           J. NELSON THOMAS THOMAS & SOLOMON LLP             þ Contingent
           693 EAST AVENUE
           ROCHESTER NY 14607                                þ Unliquidated
                                                             þ Disputed
           Date or dates debt was incurred                   Basis for the claim:
           VARIOUS                                           CIVIL ACTION NO. 6:15-CV-06742
                                                             PENDING LITIGATION
           Last 4 digits of account number:
                                                             Is the claim subject to offset?

                                                             þ No
                                                             ¨ Yes

3.806.     Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                             Check all that apply.
           GULF ELECTRIC COMPANY                                                                             $2,487.47
           12522 N US HWY 301, STE 12                        ¨ Contingent
           THONOTOSASSA FL 33592
                                                             ¨ Unliquidated
                                                             ¨ Disputed
           Date or dates debt was incurred                   Basis for the claim:
           VARIOUS                                           TRADE ACCOUNTS PAYABLE
           Last 4 digits of account number:                  Is the claim subject to offset?

                                                             þ No
                                                             ¨ Yes

3.807.     Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                             Check all that apply.
           GUPTON, JEREMY EDWARD                                                                             UNDETERMINED
           J. NELSON THOMAS THOMAS & SOLOMON LLP             þ Contingent
           693 EAST AVENUE
           ROCHESTER NY 14607                                þ Unliquidated
                                                             þ Disputed
           Date or dates debt was incurred                   Basis for the claim:
           VARIOUS                                           CIVIL ACTION NO. 6:15-CV-06742
                                                             PENDING LITIGATION
           Last 4 digits of account number:
                                                             Is the claim subject to offset?

                                                             þ No
                                                             ¨ Yes




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3.808.     Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                             Check all that apply.
           GURTLER, SAMANTHA                                                                                 UNDETERMINED
           SARAH PARADY, LOWERY & PARADY LLC                 þ Contingent
                                                             þ Unliquidated
                                                             þ Disputed
           Date or dates debt was incurred                   Basis for the claim:
           VARIOUS                                           CASE NO. FE2017703326
           Last 4 digits of account number:                  Is the claim subject to offset?

                                                             þ No
                                                             ¨ Yes

3.809.     Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                             Check all that apply.
           GUTIERREZ, GILBERT GEOFFREY                                                                       UNDETERMINED
           J. NELSON THOMAS THOMAS & SOLOMON LLP             þ Contingent
           693 EAST AVENUE
           ROCHESTER NY 14607                                þ Unliquidated
                                                             þ Disputed
           Date or dates debt was incurred                   Basis for the claim:
           VARIOUS                                           CIVIL ACTION NO. 6:15-CV-06742
                                                             PENDING LITIGATION
           Last 4 digits of account number:
                                                             Is the claim subject to offset?

                                                             þ No
                                                             ¨ Yes

3.810.     Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                             Check all that apply.
           GUTIERREZ, JAIME                                                                                  UNDETERMINED
           J. NELSON THOMAS THOMAS & SOLOMON LLP             þ Contingent
           693 EAST AVENUE
           ROCHESTER NY 14607                                þ Unliquidated
                                                             þ Disputed
           Date or dates debt was incurred                   Basis for the claim:
           VARIOUS                                           CIVIL ACTION NO. 6:15-CV-06742
                                                             PENDING LITIGATION
           Last 4 digits of account number:
                                                             Is the claim subject to offset?

                                                             þ No
                                                             ¨ Yes




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3.811.     Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                             Check all that apply.
           GUTIERREZ, JAIME                                                                                  UNDETERMINED
           J. NELSON THOMAS THOMAS & SOLOMON LLP             þ Contingent
           693 EAST AVENUE
           ROCHESTER NY 14607                                þ Unliquidated
                                                             þ Disputed
           Date or dates debt was incurred                   Basis for the claim:
           VARIOUS                                           CIVIL ACTION NO. 6:15-CV-06742
                                                             PENDING LITIGATION
           Last 4 digits of account number:
                                                             Is the claim subject to offset?

                                                             þ No
                                                             ¨ Yes

3.812.     Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                             Check all that apply.
           GUTIERREZ, JOHNNY YRINEO                                                                          UNDETERMINED
           J. NELSON THOMAS THOMAS & SOLOMON LLP             þ Contingent
           693 EAST AVENUE
           ROCHESTER NY 14607                                þ Unliquidated
                                                             þ Disputed
           Date or dates debt was incurred                   Basis for the claim:
           VARIOUS                                           CIVIL ACTION NO. 6:15-CV-06742
                                                             PENDING LITIGATION
           Last 4 digits of account number:
                                                             Is the claim subject to offset?

                                                             þ No
                                                             ¨ Yes

3.813.     Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                             Check all that apply.
           GUTIERREZ, SAMANTHA L.                                                                            UNDETERMINED
           J. NELSON THOMAS THOMAS & SOLOMON LLP             þ Contingent
           693 EAST AVENUE
           ROCHESTER NY 14607                                þ Unliquidated
                                                             þ Disputed
           Date or dates debt was incurred                   Basis for the claim:
           VARIOUS                                           CIVIL ACTION NO. 6:15-CV-06742
                                                             PENDING LITIGATION
           Last 4 digits of account number:
                                                             Is the claim subject to offset?

                                                             þ No
                                                             ¨ Yes




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3.814.     Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                             Check all that apply.
           GUZMAN, ASHLEY VALARIE                                                                            UNDETERMINED
           J. NELSON THOMAS THOMAS & SOLOMON LLP             þ Contingent
           693 EAST AVENUE
           ROCHESTER NY 14607                                þ Unliquidated
                                                             þ Disputed
           Date or dates debt was incurred                   Basis for the claim:
           VARIOUS                                           CIVIL ACTION NO. 6:15-CV-06742
                                                             PENDING LITIGATION
           Last 4 digits of account number:
                                                             Is the claim subject to offset?

                                                             þ No
                                                             ¨ Yes

3.815.     Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                             Check all that apply.
           H AND Y NORTHERN CALIFORNIA LLC                                                                   UNDETERMINED
           BHG REAL ESTATE MASON MCDUFFIE                    þ Contingent
           ANNA LI
           2 ADRIAN CT #38                                   þ Unliquidated
           BURLINGAME CA 94010                               þ Disputed
           Date or dates debt was incurred                   Basis for the claim:
           VARIOUS                                           LANDLORD CLAIM
           Last 4 digits of account number:                  Is the claim subject to offset?

                                                             þ No
                                                             ¨ Yes

3.816.     Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                             Check all that apply.
           H&S WINDOW CLEANING                                                                               $60.00
           PO BOX 3654                                       ¨ Contingent
           ALPHARETTA GA 30023
                                                             ¨ Unliquidated
                                                             ¨ Disputed
           Date or dates debt was incurred                   Basis for the claim:
           VARIOUS                                           TRADE ACCOUNTS PAYABLE
           Last 4 digits of account number:                  Is the claim subject to offset?

                                                             þ No
                                                             ¨ Yes




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3.817.     Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                             Check all that apply.
           HAFER, RICHARD JONATHAN                                                                           UNDETERMINED
           J. NELSON THOMAS THOMAS & SOLOMON LLP             þ Contingent
           693 EAST AVENUE
           ROCHESTER NY 14607                                þ Unliquidated
                                                             þ Disputed
           Date or dates debt was incurred                   Basis for the claim:
           VARIOUS                                           CIVIL ACTION NO. 6:15-CV-06742
                                                             PENDING LITIGATION
           Last 4 digits of account number:
                                                             Is the claim subject to offset?

                                                             þ No
                                                             ¨ Yes

3.818.     Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                             Check all that apply.
           HAGAR RESTAURANT SERVICE INC.                                                                     $549.21
           6200 NW 2ND STREET                                ¨ Contingent
           OKLAHOMA CITY OK 73127-6520
                                                             ¨ Unliquidated
                                                             ¨ Disputed
           Date or dates debt was incurred                   Basis for the claim:
           VARIOUS                                           TRADE ACCOUNTS PAYABLE
           Last 4 digits of account number:                  Is the claim subject to offset?

                                                             þ No
                                                             ¨ Yes

3.819.     Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                             Check all that apply.
           HAINES, GEORGE ROBERT                                                                             UNDETERMINED
           J. NELSON THOMAS THOMAS & SOLOMON LLP             þ Contingent
           693 EAST AVENUE
           ROCHESTER NY 14607                                þ Unliquidated
                                                             þ Disputed
           Date or dates debt was incurred                   Basis for the claim:
           VARIOUS                                           CIVIL ACTION NO. 6:15-CV-06742
                                                             PENDING LITIGATION
           Last 4 digits of account number:
                                                             Is the claim subject to offset?

                                                             þ No
                                                             ¨ Yes




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3.820.     Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                             Check all that apply.
           HAINES, KELLEY                                                                                    UNDETERMINED
           J. NELSON THOMAS THOMAS & SOLOMON LLP             þ Contingent
           693 EAST AVENUE
           ROCHESTER NY 14607                                þ Unliquidated
                                                             þ Disputed
           Date or dates debt was incurred                   Basis for the claim:
           VARIOUS                                           CIVIL ACTION NO. 6:15-CV-06742
                                                             PENDING LITIGATION
           Last 4 digits of account number:
                                                             Is the claim subject to offset?

                                                             þ No
                                                             ¨ Yes

3.821.     Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                             Check all that apply.
           HALL, BRITTANY MAISE                                                                              UNDETERMINED
           J. NELSON THOMAS THOMAS & SOLOMON LLP             þ Contingent
           693 EAST AVENUE
           ROCHESTER NY 14607                                þ Unliquidated
                                                             þ Disputed
           Date or dates debt was incurred                   Basis for the claim:
           VARIOUS                                           CIVIL ACTION NO. 6:15-CV-06742
                                                             PENDING LITIGATION
           Last 4 digits of account number:
                                                             Is the claim subject to offset?

                                                             þ No
                                                             ¨ Yes

3.822.     Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                             Check all that apply.
           HALL, JEREMY                                                                                      $9.05
           5590 SPRING VALLEY ROAD #G103                     ¨ Contingent
           DALLAS TX 75254
                                                             ¨ Unliquidated
                                                             ¨ Disputed
           Date or dates debt was incurred                   Basis for the claim:
           VARIOUS                                           TRADE ACCOUNTS PAYABLE
           Last 4 digits of account number:                  Is the claim subject to offset?

                                                             þ No
                                                             ¨ Yes




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3.823.     Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                             Check all that apply.
           HAMRICK, AMY                                                                                      UNDETERMINED
           J. NELSON THOMAS THOMAS & SOLOMON LLP             þ Contingent
           693 EAST AVENUE
           ROCHESTER NY 14607                                þ Unliquidated
                                                             þ Disputed
           Date or dates debt was incurred                   Basis for the claim:
           VARIOUS                                           CIVIL ACTION NO. 6:15-CV-06742
                                                             PENDING LITIGATION
           Last 4 digits of account number:
                                                             Is the claim subject to offset?

                                                             þ No
                                                             ¨ Yes

3.824.     Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                             Check all that apply.
           HANDY HANKS REPAIR SERVICE                                                                        $547.98
           852 S GOSHEN AVE                                  ¨ Contingent
           C/O HENRY SEIB
           FRESNO CA 93720                                   ¨ Unliquidated
                                                             ¨ Disputed
           Date or dates debt was incurred                   Basis for the claim:
           VARIOUS                                           TRADE ACCOUNTS PAYABLE
           Last 4 digits of account number:                  Is the claim subject to offset?

                                                             þ No
                                                             ¨ Yes

3.825.     Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                             Check all that apply.
           HANLEY, EILEEN                                                                                    UNDETERMINED
           J. NELSON THOMAS THOMAS & SOLOMON LLP             þ Contingent
           693 EAST AVENUE
           ROCHESTER NY 14607                                þ Unliquidated
                                                             þ Disputed
           Date or dates debt was incurred                   Basis for the claim:
           VARIOUS                                           CIVIL ACTION NO. 6:15-CV-06742
                                                             PENDING LITIGATION
           Last 4 digits of account number:
                                                             Is the claim subject to offset?

                                                             þ No
                                                             ¨ Yes




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3.826.     Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                             Check all that apply.
           HANSBROUGH, ASHLEY DAWN                                                                           UNDETERMINED
           J. NELSON THOMAS THOMAS & SOLOMON LLP             þ Contingent
           693 EAST AVENUE
           ROCHESTER NY 14607                                þ Unliquidated
                                                             þ Disputed
           Date or dates debt was incurred                   Basis for the claim:
           VARIOUS                                           CIVIL ACTION NO. 6:15-CV-06742
                                                             PENDING LITIGATION
           Last 4 digits of account number:
                                                             Is the claim subject to offset?

                                                             þ No
                                                             ¨ Yes

3.827.     Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                             Check all that apply.
           HARBIN, CHARLES BRADLEY                                                                           UNDETERMINED
           J. NELSON THOMAS THOMAS & SOLOMON LLP             þ Contingent
           693 EAST AVENUE
           ROCHESTER NY 14607                                þ Unliquidated
                                                             þ Disputed
           Date or dates debt was incurred                   Basis for the claim:
           VARIOUS                                           CIVIL ACTION NO. 6:15-CV-06742
                                                             PENDING LITIGATION
           Last 4 digits of account number:
                                                             Is the claim subject to offset?

                                                             þ No
                                                             ¨ Yes

3.828.     Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                             Check all that apply.
           HARDY, ANDRE JEFFREY                                                                              UNDETERMINED
           J. NELSON THOMAS THOMAS & SOLOMON LLP             þ Contingent
           693 EAST AVENUE
           ROCHESTER NY 14607                                þ Unliquidated
                                                             þ Disputed
           Date or dates debt was incurred                   Basis for the claim:
           VARIOUS                                           CIVIL ACTION NO. 6:15-CV-06742
                                                             PENDING LITIGATION
           Last 4 digits of account number:
                                                             Is the claim subject to offset?

                                                             þ No
                                                             ¨ Yes




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3.829.     Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                             Check all that apply.
           HARDY, BRIAN KEITH                                                                                UNDETERMINED
           J. NELSON THOMAS THOMAS & SOLOMON LLP             þ Contingent
           693 EAST AVENUE
           ROCHESTER NY 14607                                þ Unliquidated
                                                             þ Disputed
           Date or dates debt was incurred                   Basis for the claim:
           VARIOUS                                           CIVIL ACTION NO. 6:15-CV-06742
                                                             PENDING LITIGATION
           Last 4 digits of account number:
                                                             Is the claim subject to offset?

                                                             þ No
                                                             ¨ Yes

3.830.     Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                             Check all that apply.
           HARKAN PROPERTIES LLC                                                                             UNDETERMINED
           J HARTLEY KANTOR                                  þ Contingent
           2122 N FIFE ST
           TACOMA WA 98406                                   þ Unliquidated
                                                             þ Disputed
           Date or dates debt was incurred                   Basis for the claim:
           VARIOUS                                           LANDLORD CLAIM
           Last 4 digits of account number:                  Is the claim subject to offset?

                                                             þ No
                                                             ¨ Yes

3.831.     Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                             Check all that apply.
           HARMON, CARLI ANTONIA                                                                             UNDETERMINED
           J. NELSON THOMAS THOMAS & SOLOMON LLP             þ Contingent
           693 EAST AVENUE
           ROCHESTER NY 14607                                þ Unliquidated
                                                             þ Disputed
           Date or dates debt was incurred                   Basis for the claim:
           VARIOUS                                           CIVIL ACTION NO. 6:15-CV-06742
                                                             PENDING LITIGATION
           Last 4 digits of account number:
                                                             Is the claim subject to offset?

                                                             þ No
                                                             ¨ Yes




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Debtor   MAC ACQUISITION LLC                                                                                 Case number (if known) 17-12224




3.832.     Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                             Check all that apply.
           HARPER, MISTI LEEANN                                                                              UNDETERMINED
           J. NELSON THOMAS THOMAS & SOLOMON LLP             þ Contingent
           693 EAST AVENUE
           ROCHESTER NY 14607                                þ Unliquidated
                                                             þ Disputed
           Date or dates debt was incurred                   Basis for the claim:
           VARIOUS                                           CIVIL ACTION NO. 6:15-CV-06742
                                                             PENDING LITIGATION
           Last 4 digits of account number:
                                                             Is the claim subject to offset?

                                                             þ No
                                                             ¨ Yes

3.833.     Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                             Check all that apply.
           HARRIS, KIMBERLY CHAWN                                                                            UNDETERMINED
           J. NELSON THOMAS THOMAS & SOLOMON LLP             þ Contingent
           693 EAST AVENUE
           ROCHESTER NY 14607                                þ Unliquidated
                                                             þ Disputed
           Date or dates debt was incurred                   Basis for the claim:
           VARIOUS                                           CIVIL ACTION NO. 6:15-CV-06742
                                                             PENDING LITIGATION
           Last 4 digits of account number:
                                                             Is the claim subject to offset?

                                                             þ No
                                                             ¨ Yes

3.834.     Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                             Check all that apply.
           HARRIS, LEANDRE                                                                                   UNDETERMINED
           J. NELSON THOMAS THOMAS & SOLOMON LLP             þ Contingent
           693 EAST AVENUE
           ROCHESTER NY 14607                                þ Unliquidated
                                                             þ Disputed
           Date or dates debt was incurred                   Basis for the claim:
           VARIOUS                                           CIVIL ACTION NO. 6:15-CV-06742
                                                             PENDING LITIGATION
           Last 4 digits of account number:
                                                             Is the claim subject to offset?

                                                             þ No
                                                             ¨ Yes




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3.835.     Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                             Check all that apply.
           HARRIS, SR., JASON ANDRE                                                                          UNDETERMINED
           J. NELSON THOMAS THOMAS & SOLOMON LLP             þ Contingent
           693 EAST AVENUE
           ROCHESTER NY 14607                                þ Unliquidated
                                                             þ Disputed
           Date or dates debt was incurred                   Basis for the claim:
           VARIOUS                                           CIVIL ACTION NO. 6:15-CV-06742
                                                             PENDING LITIGATION
           Last 4 digits of account number:
                                                             Is the claim subject to offset?

                                                             þ No
                                                             ¨ Yes

3.836.     Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                             Check all that apply.
           HARRIS, TODD MICHAEL                                                                              UNDETERMINED
           J. NELSON THOMAS THOMAS & SOLOMON LLP             þ Contingent
           693 EAST AVENUE
           ROCHESTER NY 14607                                þ Unliquidated
                                                             þ Disputed
           Date or dates debt was incurred                   Basis for the claim:
           VARIOUS                                           CIVIL ACTION NO. 6:15-CV-06742
                                                             PENDING LITIGATION
           Last 4 digits of account number:
                                                             Is the claim subject to offset?

                                                             þ No
                                                             ¨ Yes

3.837.     Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                             Check all that apply.
           HARRISON LANDSCAPE & DESIGN, LLC                                                                  $2,136.18
           2745 N DALLAS PKWY #455                           ¨ Contingent
           PLANO TX 75093
                                                             ¨ Unliquidated
                                                             ¨ Disputed
           Date or dates debt was incurred                   Basis for the claim:
           VARIOUS                                           TRADE ACCOUNTS PAYABLE
           Last 4 digits of account number:                  Is the claim subject to offset?

                                                             þ No
                                                             ¨ Yes




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3.838.     Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                             Check all that apply.
           HARRISON, CHRISTOPHER                                                                             UNDETERMINED
           J. NELSON THOMAS THOMAS & SOLOMON LLP             þ Contingent
           693 EAST AVENUE
           ROCHESTER NY 14607                                þ Unliquidated
                                                             þ Disputed
           Date or dates debt was incurred                   Basis for the claim:
           VARIOUS                                           CIVIL ACTION NO. 6:15-CV-06742
                                                             PENDING LITIGATION
           Last 4 digits of account number:
                                                             Is the claim subject to offset?

                                                             þ No
                                                             ¨ Yes

3.839.     Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                             Check all that apply.
           HARVEY NASH INC.                                                                                  $63,424.00
           PO BOX 845415                                     ¨ Contingent
           BOSTON MA 02284
                                                             ¨ Unliquidated
                                                             ¨ Disputed
           Date or dates debt was incurred                   Basis for the claim:
           VARIOUS                                           TRADE ACCOUNTS PAYABLE
           Last 4 digits of account number:                  Is the claim subject to offset?

                                                             þ No
                                                             ¨ Yes

3.840.     Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                             Check all that apply.
           HASTY, OTIS JEFFREY                                                                               UNDETERMINED
           J. NELSON THOMAS THOMAS & SOLOMON LLP             þ Contingent
           693 EAST AVENUE
           ROCHESTER NY 14607                                þ Unliquidated
                                                             þ Disputed
           Date or dates debt was incurred                   Basis for the claim:
           VARIOUS                                           CIVIL ACTION NO. 6:15-CV-06742
                                                             PENDING LITIGATION
           Last 4 digits of account number:
                                                             Is the claim subject to offset?

                                                             þ No
                                                             ¨ Yes




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3.841.     Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                             Check all that apply.
           HAUGHT, ELISABETH MARY                                                                            UNDETERMINED
           J. NELSON THOMAS THOMAS & SOLOMON LLP             þ Contingent
           693 EAST AVENUE
           ROCHESTER NY 14607                                þ Unliquidated
                                                             þ Disputed
           Date or dates debt was incurred                   Basis for the claim:
           VARIOUS                                           CIVIL ACTION NO. 6:15-CV-06742
                                                             PENDING LITIGATION
           Last 4 digits of account number:
                                                             Is the claim subject to offset?

                                                             þ No
                                                             ¨ Yes

3.842.     Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                             Check all that apply.
           HAWKINS ELECTRIC SERVICE INC                                                                      $1,820.00
           8667 CHERRY LANE                                  ¨ Contingent
           LAUREL MD 20707
                                                             ¨ Unliquidated
                                                             ¨ Disputed
           Date or dates debt was incurred                   Basis for the claim:
           VARIOUS                                           TRADE ACCOUNTS PAYABLE
           Last 4 digits of account number:                  Is the claim subject to offset?

                                                             þ No
                                                             ¨ Yes

3.843.     Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                             Check all that apply.
           HAWS SASSMAN, LEAH ELIZABETH                                                                      UNDETERMINED
           J. NELSON THOMAS THOMAS & SOLOMON LLP             þ Contingent
           693 EAST AVENUE
           ROCHESTER NY 14607                                þ Unliquidated
                                                             þ Disputed
           Date or dates debt was incurred                   Basis for the claim:
           VARIOUS                                           CIVIL ACTION NO. 6:15-CV-06742
                                                             PENDING LITIGATION
           Last 4 digits of account number:
                                                             Is the claim subject to offset?

                                                             þ No
                                                             ¨ Yes




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3.844.     Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                             Check all that apply.
           HAYDEN, SARA                                                                                      UNDETERMINED
           J. NELSON THOMAS THOMAS & SOLOMON LLP             þ Contingent
           693 EAST AVENUE
           ROCHESTER NY 14607                                þ Unliquidated
                                                             þ Disputed
           Date or dates debt was incurred                   Basis for the claim:
           VARIOUS                                           CIVIL ACTION NO. 6:15-CV-06742
                                                             PENDING LITIGATION
           Last 4 digits of account number:
                                                             Is the claim subject to offset?

                                                             þ No
                                                             ¨ Yes

3.845.     Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                             Check all that apply.
           HAYNE, DENISE SUZANNE                                                                             UNDETERMINED
           J. NELSON THOMAS THOMAS & SOLOMON LLP             þ Contingent
           693 EAST AVENUE
           ROCHESTER NY 14607                                þ Unliquidated
                                                             þ Disputed
           Date or dates debt was incurred                   Basis for the claim:
           VARIOUS                                           CIVIL ACTION NO. 6:15-CV-06742
                                                             PENDING LITIGATION
           Last 4 digits of account number:
                                                             Is the claim subject to offset?

                                                             þ No
                                                             ¨ Yes

3.846.     Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                             Check all that apply.
           HAYNES & BOONE ATTY & COUNSELORS AT                                                               $2,430.00
           LAW                                               ¨ Contingent
           PO BOX 841399
           DALLAS TX 75284                                   ¨ Unliquidated
                                                             ¨ Disputed
           Date or dates debt was incurred                   Basis for the claim:
           VARIOUS                                           LEGAL
           Last 4 digits of account number:                  Is the claim subject to offset?

                                                             þ No
                                                             ¨ Yes




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3.847.     Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                             Check all that apply.
           HEALTH MATS CO.                                                                                   $66.88
           100 PENNELL ST                                    ¨ Contingent
           CHESTER PA 19013
                                                             ¨ Unliquidated
                                                             ¨ Disputed
           Date or dates debt was incurred                   Basis for the claim:
           VARIOUS                                           TRADE ACCOUNTS PAYABLE
           Last 4 digits of account number:                  Is the claim subject to offset?

                                                             þ No
                                                             ¨ Yes

3.848.     Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                             Check all that apply.
           HEIGHTS KEY LOCK & SAFE, INC                                                                      $613.82
           P.O. BOX 80202                                    ¨ Contingent
           ALBUQUERQUE NM 87110
                                                             ¨ Unliquidated
                                                             ¨ Disputed
           Date or dates debt was incurred                   Basis for the claim:
           VARIOUS                                           TRADE ACCOUNTS PAYABLE
           Last 4 digits of account number:                  Is the claim subject to offset?

                                                             þ No
                                                             ¨ Yes

3.849.     Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                             Check all that apply.
           HEILEMANN, WILLIAM ALBERT                                                                         UNDETERMINED
           J. NELSON THOMAS THOMAS & SOLOMON LLP             þ Contingent
           693 EAST AVENUE
           ROCHESTER NY 14607                                þ Unliquidated
                                                             þ Disputed
           Date or dates debt was incurred                   Basis for the claim:
           VARIOUS                                           CIVIL ACTION NO. 6:15-CV-06742
                                                             PENDING LITIGATION
           Last 4 digits of account number:
                                                             Is the claim subject to offset?

                                                             þ No
                                                             ¨ Yes




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Debtor   MAC ACQUISITION LLC                                                                                 Case number (if known) 17-12224




3.850.     Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                             Check all that apply.
           HEISLER, EMILY                                                                                    UNDETERMINED
           J. NELSON THOMAS THOMAS & SOLOMON LLP             þ Contingent
           693 EAST AVENUE
           ROCHESTER NY 14607                                þ Unliquidated
                                                             þ Disputed
           Date or dates debt was incurred                   Basis for the claim:
           VARIOUS                                           CIVIL ACTION NO. 6:15-CV-06742
                                                             PENDING LITIGATION
           Last 4 digits of account number:
                                                             Is the claim subject to offset?

                                                             þ No
                                                             ¨ Yes

3.851.     Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                             Check all that apply.
           HEJL, ASHLYN SHEA                                                                                 UNDETERMINED
           J. NELSON THOMAS THOMAS & SOLOMON LLP             þ Contingent
           693 EAST AVENUE
           ROCHESTER NY 14607                                þ Unliquidated
                                                             þ Disputed
           Date or dates debt was incurred                   Basis for the claim:
           VARIOUS                                           CIVIL ACTION NO. 6:15-CV-06742
                                                             PENDING LITIGATION
           Last 4 digits of account number:
                                                             Is the claim subject to offset?

                                                             þ No
                                                             ¨ Yes

3.852.     Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                             Check all that apply.
           HELMSMAN MANAGEMENT SERVICES LLC                                                                  $42,074.97
           PO BOX 85307                                      ¨ Contingent
           SAN DIEGO CA 92186-5307
                                                             ¨ Unliquidated
                                                             ¨ Disputed
           Date or dates debt was incurred                   Basis for the claim:
           VARIOUS                                           TRADE ACCOUNTS PAYABLE
           Last 4 digits of account number:                  Is the claim subject to offset?

                                                             þ No
                                                             ¨ Yes




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3.853.     Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                             Check all that apply.
           HEMMINGWAY, SHEILA YVETTE                                                                         UNDETERMINED
           J. NELSON THOMAS THOMAS & SOLOMON LLP             þ Contingent
           693 EAST AVENUE
           ROCHESTER NY 14607                                þ Unliquidated
                                                             þ Disputed
           Date or dates debt was incurred                   Basis for the claim:
           VARIOUS                                           CIVIL ACTION NO. 6:15-CV-06742
                                                             PENDING LITIGATION
           Last 4 digits of account number:
                                                             Is the claim subject to offset?

                                                             þ No
                                                             ¨ Yes

3.854.     Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                             Check all that apply.
           HENDERSON, BRITTANY CHRISTINE                                                                     UNDETERMINED
           J. NELSON THOMAS THOMAS & SOLOMON LLP             þ Contingent
           693 EAST AVENUE
           ROCHESTER NY 14607                                þ Unliquidated
                                                             þ Disputed
           Date or dates debt was incurred                   Basis for the claim:
           VARIOUS                                           CIVIL ACTION NO. 6:15-CV-06742
                                                             PENDING LITIGATION
           Last 4 digits of account number:
                                                             Is the claim subject to offset?

                                                             þ No
                                                             ¨ Yes

3.855.     Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                             Check all that apply.
           HENDERSON, TYLER                                                                                  UNDETERMINED
           J. NELSON THOMAS THOMAS & SOLOMON LLP             þ Contingent
           693 EAST AVENUE
           ROCHESTER NY 14607                                þ Unliquidated
                                                             þ Disputed
           Date or dates debt was incurred                   Basis for the claim:
           VARIOUS                                           CIVIL ACTION NO. 6:15-CV-06742
                                                             PENDING LITIGATION
           Last 4 digits of account number:
                                                             Is the claim subject to offset?

                                                             þ No
                                                             ¨ Yes




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3.856.     Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                             Check all that apply.
           HENDRYX, DANIELLE                                                                                 UNDETERMINED
           J. NELSON THOMAS THOMAS & SOLOMON LLP             þ Contingent
           693 EAST AVENUE
           ROCHESTER NY 14607                                þ Unliquidated
                                                             þ Disputed
           Date or dates debt was incurred                   Basis for the claim:
           VARIOUS                                           CIVIL ACTION NO. 6:15-CV-06742
                                                             PENDING LITIGATION
           Last 4 digits of account number:
                                                             Is the claim subject to offset?

                                                             þ No
                                                             ¨ Yes

3.857.     Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                             Check all that apply.
           HENRIE, BRENTON PORTER                                                                            UNDETERMINED
           J. NELSON THOMAS THOMAS & SOLOMON LLP             þ Contingent
           693 EAST AVENUE
           ROCHESTER NY 14607                                þ Unliquidated
                                                             þ Disputed
           Date or dates debt was incurred                   Basis for the claim:
           VARIOUS                                           CIVIL ACTION NO. 6:15-CV-06742
                                                             PENDING LITIGATION
           Last 4 digits of account number:
                                                             Is the claim subject to offset?

                                                             þ No
                                                             ¨ Yes

3.858.     Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                             Check all that apply.
           HERNADEZ MART, JOSE D                                                                             UNDETERMINED
                                                             þ Contingent
                                                             þ Unliquidated
                                                             þ Disputed
           Date or dates debt was incurred                   Basis for the claim:
           VARIOUS                                           WORKERS COMPENSATION CLAIM - NO.
                                                             201603021248
           Last 4 digits of account number:
                                                             Is the claim subject to offset?

                                                             þ No
                                                             ¨ Yes




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3.859.     Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                             Check all that apply.
           HERNANDEZ, CHRISTOPHER                                                                            UNDETERMINED
           J. NELSON THOMAS THOMAS & SOLOMON LLP             þ Contingent
           693 EAST AVENUE
           ROCHESTER NY 14607                                þ Unliquidated
                                                             þ Disputed
           Date or dates debt was incurred                   Basis for the claim:
           VARIOUS                                           CIVIL ACTION NO. 6:15-CV-06742
                                                             PENDING LITIGATION
           Last 4 digits of account number:
                                                             Is the claim subject to offset?

                                                             þ No
                                                             ¨ Yes

3.860.     Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                             Check all that apply.
           HERNANDEZ, MELISSA                                                                                UNDETERMINED
           J. NELSON THOMAS THOMAS & SOLOMON LLP             þ Contingent
           693 EAST AVENUE
           ROCHESTER NY 14607                                þ Unliquidated
                                                             þ Disputed
           Date or dates debt was incurred                   Basis for the claim:
           VARIOUS                                           CIVIL ACTION NO. 6:15-CV-06742
                                                             PENDING LITIGATION
           Last 4 digits of account number:
                                                             Is the claim subject to offset?

                                                             þ No
                                                             ¨ Yes

3.861.     Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                             Check all that apply.
           HERNANDEZ,NELDA S                                                                                 UNDETERMINED
                                                             þ Contingent
                                                             þ Unliquidated
                                                             þ Disputed
           Date or dates debt was incurred                   Basis for the claim:
           VARIOUS                                           WORKERS COMPENSATION CLAIM - NO.
                                                             17282281
           Last 4 digits of account number:
                                                             Is the claim subject to offset?

                                                             þ No
                                                             ¨ Yes




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3.862.     Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                             Check all that apply.
           HEYWOOD, BELIA STEPHANIE                                                                          UNDETERMINED
           J. NELSON THOMAS THOMAS & SOLOMON LLP             þ Contingent
           693 EAST AVENUE
           ROCHESTER NY 14607                                þ Unliquidated
                                                             þ Disputed
           Date or dates debt was incurred                   Basis for the claim:
           VARIOUS                                           CIVIL ACTION NO. 6:15-CV-06742
                                                             PENDING LITIGATION
           Last 4 digits of account number:
                                                             Is the claim subject to offset?

                                                             þ No
                                                             ¨ Yes

3.863.     Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                             Check all that apply.
           HEYWOOD, MORGAN STEPHANIE                                                                         UNDETERMINED
           J. NELSON THOMAS THOMAS & SOLOMON LLP             þ Contingent
           693 EAST AVENUE
           ROCHESTER NY 14607                                þ Unliquidated
                                                             þ Disputed
           Date or dates debt was incurred                   Basis for the claim:
           VARIOUS                                           CIVIL ACTION NO. 6:15-CV-06742
                                                             PENDING LITIGATION
           Last 4 digits of account number:
                                                             Is the claim subject to offset?

                                                             þ No
                                                             ¨ Yes

3.864.     Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                             Check all that apply.
           HEYWOOD, SPENCER ALLEN                                                                            UNDETERMINED
           J. NELSON THOMAS THOMAS & SOLOMON LLP             þ Contingent
           693 EAST AVENUE
           ROCHESTER NY 14607                                þ Unliquidated
                                                             þ Disputed
           Date or dates debt was incurred                   Basis for the claim:
           VARIOUS                                           CIVIL ACTION NO. 6:15-CV-06742
                                                             PENDING LITIGATION
           Last 4 digits of account number:
                                                             Is the claim subject to offset?

                                                             þ No
                                                             ¨ Yes




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Debtor   MAC ACQUISITION LLC                                                                                 Case number (if known) 17-12224




3.865.     Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                             Check all that apply.
           HICKEY, RYAN KEITH                                                                                UNDETERMINED
           J. NELSON THOMAS THOMAS & SOLOMON LLP             þ Contingent
           693 EAST AVENUE
           ROCHESTER NY 14607                                þ Unliquidated
                                                             þ Disputed
           Date or dates debt was incurred                   Basis for the claim:
           VARIOUS                                           CIVIL ACTION NO. 6:15-CV-06742
                                                             PENDING LITIGATION
           Last 4 digits of account number:
                                                             Is the claim subject to offset?

                                                             þ No
                                                             ¨ Yes

3.866.     Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                             Check all that apply.
           HICKS, CHARLES                                                                                    UNDETERMINED
           DANIEL PARKER JETT                                þ Contingent
           2596 MISSION ST., STE 200
           SAN MARINO CA 91108                               þ Unliquidated
                                                             þ Disputed
           Date or dates debt was incurred                   Basis for the claim:
           VARIOUS                                           EMPLOYMENT CLAIM
           Last 4 digits of account number:                  Is the claim subject to offset?

                                                             þ No
                                                             ¨ Yes

3.867.     Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                             Check all that apply.
           HICKS, SARA MARIE                                                                                 UNDETERMINED
           J. NELSON THOMAS THOMAS & SOLOMON LLP             þ Contingent
           693 EAST AVENUE
           ROCHESTER NY 14607                                þ Unliquidated
                                                             þ Disputed
           Date or dates debt was incurred                   Basis for the claim:
           VARIOUS                                           CIVIL ACTION NO. 6:15-CV-06742
                                                             PENDING LITIGATION
           Last 4 digits of account number:
                                                             Is the claim subject to offset?

                                                             þ No
                                                             ¨ Yes




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3.868.     Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                             Check all that apply.
           HIEMWORTH , OLGA                                                                                  UNDETERMINED
                                                             þ Contingent
                                                             þ Unliquidated
                                                             þ Disputed
           Date or dates debt was incurred                   Basis for the claim:
           VARIOUS                                           GENERAL LIABILITY CLAIMS
           Last 4 digits of account number:                  Is the claim subject to offset?

                                                             þ No
                                                             ¨ Yes

3.869.     Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                             Check all that apply.
           HILL, MATTHEW LEE                                                                                 UNDETERMINED
           J. NELSON THOMAS THOMAS & SOLOMON LLP             þ Contingent
           693 EAST AVENUE
           ROCHESTER NY 14607                                þ Unliquidated
                                                             þ Disputed
           Date or dates debt was incurred                   Basis for the claim:
           VARIOUS                                           CIVIL ACTION NO. 6:15-CV-06742
                                                             PENDING LITIGATION
           Last 4 digits of account number:
                                                             Is the claim subject to offset?

                                                             þ No
                                                             ¨ Yes

3.870.     Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                             Check all that apply.
           HILL, RODNEY TREYVON                                                                              UNDETERMINED
           J. NELSON THOMAS THOMAS & SOLOMON LLP             þ Contingent
           693 EAST AVENUE
           ROCHESTER NY 14607                                þ Unliquidated
                                                             þ Disputed
           Date or dates debt was incurred                   Basis for the claim:
           VARIOUS                                           CIVIL ACTION NO. 6:15-CV-06742
                                                             PENDING LITIGATION
           Last 4 digits of account number:
                                                             Is the claim subject to offset?

                                                             þ No
                                                             ¨ Yes




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3.871.     Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                             Check all that apply.
           HILL, TIANA                                                                                       UNDETERMINED
           J. NELSON THOMAS THOMAS & SOLOMON LLP             þ Contingent
           693 EAST AVENUE
           ROCHESTER NY 14607                                þ Unliquidated
                                                             þ Disputed
           Date or dates debt was incurred                   Basis for the claim:
           VARIOUS                                           CIVIL ACTION NO. 6:15-CV-06742
                                                             PENDING LITIGATION
           Last 4 digits of account number:
                                                             Is the claim subject to offset?

                                                             þ No
                                                             ¨ Yes

3.872.     Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                             Check all that apply.
           HILTON, SHELBY NICOLE                                                                             UNDETERMINED
           J. NELSON THOMAS THOMAS & SOLOMON LLP             þ Contingent
           693 EAST AVENUE
           ROCHESTER NY 14607                                þ Unliquidated
                                                             þ Disputed
           Date or dates debt was incurred                   Basis for the claim:
           VARIOUS                                           CIVIL ACTION NO. 6:15-CV-06742
                                                             PENDING LITIGATION
           Last 4 digits of account number:
                                                             Is the claim subject to offset?

                                                             þ No
                                                             ¨ Yes

3.873.     Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                             Check all that apply.
           HIP STEPHANIE LLC                                                                                 UNDETERMINED
           HARSCH INVESTMENT PROPERTIES                      þ Contingent
           SHARON MATLOCK RETAIL LEASE MANAGER
           1121 SW SALMON ST                                 þ Unliquidated
           PORTLAND OR 97205                                 þ Disputed
           Date or dates debt was incurred                   Basis for the claim:
           VARIOUS                                           LANDLORD CLAIM
           Last 4 digits of account number:                  Is the claim subject to offset?

                                                             þ No
                                                             ¨ Yes




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3.874.     Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                             Check all that apply.
           HITAFFER, TIFFANY                                                                                 UNDETERMINED
           J. NELSON THOMAS THOMAS & SOLOMON LLP             þ Contingent
           693 EAST AVENUE
           ROCHESTER NY 14607                                þ Unliquidated
                                                             þ Disputed
           Date or dates debt was incurred                   Basis for the claim:
           VARIOUS                                           CIVIL ACTION NO. 6:15-CV-06742
                                                             PENDING LITIGATION
           Last 4 digits of account number:
                                                             Is the claim subject to offset?

                                                             þ No
                                                             ¨ Yes

3.875.     Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                             Check all that apply.
           HI-TECH MECHANICAL CONTRACTORS INC.                                                               $150.00
           2580 AUBURN FOLSOM ROAD                           ¨ Contingent
           NEWCASTLE CA 95658
                                                             ¨ Unliquidated
                                                             ¨ Disputed
           Date or dates debt was incurred                   Basis for the claim:
           VARIOUS                                           TRADE ACCOUNTS PAYABLE
           Last 4 digits of account number:                  Is the claim subject to offset?

                                                             þ No
                                                             ¨ Yes

3.876.     Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                             Check all that apply.
           HO, HAM                                                                                           UNDETERMINED
                                                             þ Contingent
                                                             þ Unliquidated
                                                             þ Disputed
           Date or dates debt was incurred                   Basis for the claim:
           VARIOUS                                           GENERAL LIABILITY CLAIMS
           Last 4 digits of account number:                  Is the claim subject to offset?

                                                             þ No
                                                             ¨ Yes




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3.877.     Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                             Check all that apply.
           HOBART SERVICE                                                                                    $4,906.46
           ITW FOOD EQUIP GROUP LLC                          ¨ Contingent
           PO BOX 2517
           CAROL STREAM IL 60132-2517                        ¨ Unliquidated
                                                             ¨ Disputed
           Date or dates debt was incurred                   Basis for the claim:
           VARIOUS                                           TRADE ACCOUNTS PAYABLE
           Last 4 digits of account number:                  Is the claim subject to offset?

                                                             þ No
                                                             ¨ Yes

3.878.     Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                             Check all that apply.
           HOCKER, KATIE                                                                                     UNDETERMINED
           J. NELSON THOMAS THOMAS & SOLOMON LLP             þ Contingent
           693 EAST AVENUE
           ROCHESTER NY 14607                                þ Unliquidated
                                                             þ Disputed
           Date or dates debt was incurred                   Basis for the claim:
           VARIOUS                                           CIVIL ACTION NO. 6:15-CV-06742
                                                             PENDING LITIGATION
           Last 4 digits of account number:
                                                             Is the claim subject to offset?

                                                             þ No
                                                             ¨ Yes

3.879.     Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                             Check all that apply.
           HOFFMAN SOUTHWEST DBA ROTO ROOTER                                                                 $330.00
           ROTO ROOTER PLUMBING                              ¨ Contingent
           1183 N KRAMER PL
           ANAHEIM CA 92806                                  ¨ Unliquidated
                                                             ¨ Disputed
           Date or dates debt was incurred                   Basis for the claim:
           VARIOUS                                           TRADE ACCOUNTS PAYABLE
           Last 4 digits of account number:                  Is the claim subject to offset?

                                                             þ No
                                                             ¨ Yes




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3.880.     Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                             Check all that apply.
           HOLDERS AIR CONDITIONING & HEATING INC.                                                           $98.00
           1140 BLACK GOLD RD                                ¨ Contingent
           BAKERSFIELD CA 93308
                                                             ¨ Unliquidated
                                                             ¨ Disputed
           Date or dates debt was incurred                   Basis for the claim:
           VARIOUS                                           TRADE ACCOUNTS PAYABLE
           Last 4 digits of account number:                  Is the claim subject to offset?

                                                             þ No
                                                             ¨ Yes

3.881.     Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                             Check all that apply.
           HOLLINGS, SHANICE NICOLE                                                                          UNDETERMINED
           J. NELSON THOMAS THOMAS & SOLOMON LLP             þ Contingent
           693 EAST AVENUE
           ROCHESTER NY 14607                                þ Unliquidated
                                                             þ Disputed
           Date or dates debt was incurred                   Basis for the claim:
           VARIOUS                                           CIVIL ACTION NO. 6:15-CV-06742
                                                             PENDING LITIGATION
           Last 4 digits of account number:
                                                             Is the claim subject to offset?

                                                             þ No
                                                             ¨ Yes

3.882.     Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                             Check all that apply.
           HOLLOWAY, CODY LEON                                                                               UNDETERMINED
           J. NELSON THOMAS THOMAS & SOLOMON LLP             þ Contingent
           693 EAST AVENUE
           ROCHESTER NY 14607                                þ Unliquidated
                                                             þ Disputed
           Date or dates debt was incurred                   Basis for the claim:
           VARIOUS                                           CIVIL ACTION NO. 6:15-CV-06742
                                                             PENDING LITIGATION
           Last 4 digits of account number:
                                                             Is the claim subject to offset?

                                                             þ No
                                                             ¨ Yes




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3.883.     Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                             Check all that apply.
           HOLLOWAY, TOMMY                                                                                   UNDETERMINED
           J. NELSON THOMAS THOMAS & SOLOMON LLP             þ Contingent
           693 EAST AVENUE
           ROCHESTER NY 14607                                þ Unliquidated
                                                             þ Disputed
           Date or dates debt was incurred                   Basis for the claim:
           VARIOUS                                           CIVIL ACTION NO. 6:15-CV-06742
                                                             PENDING LITIGATION
           Last 4 digits of account number:
                                                             Is the claim subject to offset?

                                                             þ No
                                                             ¨ Yes

3.884.     Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                             Check all that apply.
           HOLLY, AMBRE                                                                                      UNDETERMINED
           MACK T. JONES, JONES & RACZKOWSKI PC              þ Contingent
                                                             þ Unliquidated
                                                             þ Disputed
           Date or dates debt was incurred                   Basis for the claim:
           VARIOUS                                           CASE NO. CV2017-002500 PENDING
                                                             LITIGATION
           Last 4 digits of account number:
                                                             Is the claim subject to offset?

                                                             þ No
                                                             ¨ Yes

3.885.     Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                             Check all that apply.
           HOLT PLUMBING CO., LLC                                                                            $921.13
           2608 MURFREESBORO ROAD, STE. 100                  ¨ Contingent
           NASHVILLE TN 37217
                                                             ¨ Unliquidated
                                                             ¨ Disputed
           Date or dates debt was incurred                   Basis for the claim:
           VARIOUS                                           TRADE ACCOUNTS PAYABLE
           Last 4 digits of account number:                  Is the claim subject to offset?

                                                             þ No
                                                             ¨ Yes




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3.886.     Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                             Check all that apply.
           HONEYWELL, KYLE                                                                                   UNDETERMINED
           J. NELSON THOMAS THOMAS & SOLOMON LLP             þ Contingent
           693 EAST AVENUE
           ROCHESTER NY 14607                                þ Unliquidated
                                                             þ Disputed
           Date or dates debt was incurred                   Basis for the claim:
           VARIOUS                                           CIVIL ACTION NO. 6:15-CV-06742
                                                             PENDING LITIGATION
           Last 4 digits of account number:
                                                             Is the claim subject to offset?

                                                             þ No
                                                             ¨ Yes

3.887.     Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                             Check all that apply.
           HOPE BUILDERS INC                                                                                 $4,980.35
           7611 G RICKENBACKER DRIVE                         ¨ Contingent
           GAITHERSBURG MD 20879
                                                             ¨ Unliquidated
                                                             ¨ Disputed
           Date or dates debt was incurred                   Basis for the claim:
           VARIOUS                                           TRADE ACCOUNTS PAYABLE
           Last 4 digits of account number:                  Is the claim subject to offset?

                                                             þ No
                                                             ¨ Yes

3.888.     Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                             Check all that apply.
           HORAN DRAFT SERVICE                                                                               $51.84
           2003 OAK TREE LN                                  ¨ Contingent
           SCHENECTADY NY 12303
                                                             ¨ Unliquidated
                                                             ¨ Disputed
           Date or dates debt was incurred                   Basis for the claim:
           VARIOUS                                           TRADE ACCOUNTS PAYABLE
           Last 4 digits of account number:                  Is the claim subject to offset?

                                                             þ No
                                                             ¨ Yes




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3.889.     Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                             Check all that apply.
           HORNBECK II, CHARLES BENNIE                                                                       UNDETERMINED
           J. NELSON THOMAS THOMAS & SOLOMON LLP             þ Contingent
           693 EAST AVENUE
           ROCHESTER NY 14607                                þ Unliquidated
                                                             þ Disputed
           Date or dates debt was incurred                   Basis for the claim:
           VARIOUS                                           CIVIL ACTION NO. 6:15-CV-06742
                                                             PENDING LITIGATION
           Last 4 digits of account number:
                                                             Is the claim subject to offset?

                                                             þ No
                                                             ¨ Yes

3.890.     Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                             Check all that apply.
           HORNBECK, CHARLES BENNIE                                                                          UNDETERMINED
           J. NELSON THOMAS THOMAS & SOLOMON LLP             þ Contingent
           693 EAST AVENUE
           ROCHESTER NY 14607                                þ Unliquidated
                                                             þ Disputed
           Date or dates debt was incurred                   Basis for the claim:
           VARIOUS                                           CIVIL ACTION NO. 6:15-CV-06742
                                                             PENDING LITIGATION
           Last 4 digits of account number:
                                                             Is the claim subject to offset?

                                                             þ No
                                                             ¨ Yes

3.891.     Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                             Check all that apply.
           HOSPITALITY RESOURCE SUPPLY INC                                                                   $256.95
           499 N SR 434 #1005                                ¨ Contingent
           ALTAMONTE SPRINGS FL 32714
                                                             ¨ Unliquidated
                                                             ¨ Disputed
           Date or dates debt was incurred                   Basis for the claim:
           VARIOUS                                           TRADE ACCOUNTS PAYABLE
           Last 4 digits of account number:                  Is the claim subject to offset?

                                                             þ No
                                                             ¨ Yes




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3.892.     Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                             Check all that apply.
           HOTSCHEDULES.COM INC                                                                              $10,527.14
           PO BOX 848472                                     ¨ Contingent
           DALLAS TX 75284
                                                             ¨ Unliquidated
                                                             ¨ Disputed
           Date or dates debt was incurred                   Basis for the claim:
           VARIOUS                                           TRADE ACCOUNTS PAYABLE
           Last 4 digits of account number:                  Is the claim subject to offset?

                                                             þ No
                                                             ¨ Yes

3.893.     Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                             Check all that apply.
           HOUSE DOCTOR                                                                                      $600.00
           469 STRICKLAND CT                                 ¨ Contingent
           LAWRENCEVILLE GA 30046
                                                             ¨ Unliquidated
                                                             ¨ Disputed
           Date or dates debt was incurred                   Basis for the claim:
           VARIOUS                                           TRADE ACCOUNTS PAYABLE
           Last 4 digits of account number:                  Is the claim subject to offset?

                                                             þ No
                                                             ¨ Yes

3.894.     Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                             Check all that apply.
           HOUSTON ARMOUR INC                                                                                $470.00
           PO BOX 473                                        ¨ Contingent
           MADISON GA 30650
                                                             ¨ Unliquidated
                                                             ¨ Disputed
           Date or dates debt was incurred                   Basis for the claim:
           VARIOUS                                           TRADE ACCOUNTS PAYABLE
           Last 4 digits of account number:                  Is the claim subject to offset?

                                                             þ No
                                                             ¨ Yes




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3.895.     Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                             Check all that apply.
           HOWELL, DAWN                                                                                      UNDETERMINED
           J. NELSON THOMAS THOMAS & SOLOMON LLP             þ Contingent
           693 EAST AVENUE
           ROCHESTER NY 14607                                þ Unliquidated
                                                             þ Disputed
           Date or dates debt was incurred                   Basis for the claim:
           VARIOUS                                           CIVIL ACTION NO. 6:15-CV-06742
                                                             PENDING LITIGATION
           Last 4 digits of account number:
                                                             Is the claim subject to offset?

                                                             þ No
                                                             ¨ Yes

3.896.     Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                             Check all that apply.
           HOWLETT LOCK & DOOR INC                                                                           $213.50
           1933 SWARTHOUT ROAD                               ¨ Contingent
           PINCKNEY MI 48169
                                                             ¨ Unliquidated
                                                             ¨ Disputed
           Date or dates debt was incurred                   Basis for the claim:
           VARIOUS                                           TRADE ACCOUNTS PAYABLE
           Last 4 digits of account number:                  Is the claim subject to offset?

                                                             þ No
                                                             ¨ Yes

3.897.     Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                             Check all that apply.
           HOYLES, LATOYA                                                                                    UNDETERMINED
           J. NELSON THOMAS THOMAS & SOLOMON LLP             þ Contingent
           693 EAST AVENUE
           ROCHESTER NY 14607                                þ Unliquidated
                                                             þ Disputed
           Date or dates debt was incurred                   Basis for the claim:
           VARIOUS                                           CIVIL ACTION NO. 6:15-CV-06742
                                                             PENDING LITIGATION
           Last 4 digits of account number:
                                                             Is the claim subject to offset?

                                                             þ No
                                                             ¨ Yes




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3.898.     Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                             Check all that apply.
           HUB TELEVISION NETWORK DBA DISCOVERY                                                              $935.00
           FAMILY CHANNEL                                    ¨ Contingent
           ONE DISCOVERY PLACE
           SILVER SPRING MD 20910                            ¨ Unliquidated
                                                             ¨ Disputed
           Date or dates debt was incurred                   Basis for the claim:
           VARIOUS                                           TRADE ACCOUNTS PAYABLE
           Last 4 digits of account number:                  Is the claim subject to offset?

                                                             þ No
                                                             ¨ Yes

3.899.     Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                             Check all that apply.
           HUBER, JOSHUA B.                                                                                  UNDETERMINED
           J. NELSON THOMAS THOMAS & SOLOMON LLP             þ Contingent
           693 EAST AVENUE
           ROCHESTER NY 14607                                þ Unliquidated
                                                             þ Disputed
           Date or dates debt was incurred                   Basis for the claim:
           VARIOUS                                           CIVIL ACTION NO. 6:15-CV-06742
                                                             PENDING LITIGATION
           Last 4 digits of account number:
                                                             Is the claim subject to offset?

                                                             þ No
                                                             ¨ Yes

3.900.     Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                             Check all that apply.
           HUDSON, MERANDA DAIGREPONT                                                                        UNDETERMINED
           J. NELSON THOMAS THOMAS & SOLOMON LLP             þ Contingent
           693 EAST AVENUE
           ROCHESTER NY 14607                                þ Unliquidated
                                                             þ Disputed
           Date or dates debt was incurred                   Basis for the claim:
           VARIOUS                                           CIVIL ACTION NO. 6:15-CV-06742
                                                             PENDING LITIGATION
           Last 4 digits of account number:
                                                             Is the claim subject to offset?

                                                             þ No
                                                             ¨ Yes




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3.901.     Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                             Check all that apply.
           HUGGENBERGER, ABIGAIL J.                                                                          UNDETERMINED
           J. NELSON THOMAS THOMAS & SOLOMON LLP             þ Contingent
           693 EAST AVENUE
           ROCHESTER NY 14607                                þ Unliquidated
                                                             þ Disputed
           Date or dates debt was incurred                   Basis for the claim:
           VARIOUS                                           CIVIL ACTION NO. 6:15-CV-06742
                                                             PENDING LITIGATION
           Last 4 digits of account number:
                                                             Is the claim subject to offset?

                                                             þ No
                                                             ¨ Yes

3.902.     Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                             Check all that apply.
           HUGHES, RHONDA R.                                                                                 UNDETERMINED
           J. NELSON THOMAS THOMAS & SOLOMON LLP             þ Contingent
           693 EAST AVENUE
           ROCHESTER NY 14607                                þ Unliquidated
                                                             þ Disputed
           Date or dates debt was incurred                   Basis for the claim:
           VARIOUS                                           CIVIL ACTION NO. 6:15-CV-06742
                                                             PENDING LITIGATION
           Last 4 digits of account number:
                                                             Is the claim subject to offset?

                                                             þ No
                                                             ¨ Yes

3.903.     Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                             Check all that apply.
           HUGHES, RHONDA R.                                                                                 UNDETERMINED
           J. NELSON THOMAS THOMAS & SOLOMON LLP             þ Contingent
           693 EAST AVENUE
           ROCHESTER NY 14607                                þ Unliquidated
                                                             þ Disputed
           Date or dates debt was incurred                   Basis for the claim:
           VARIOUS                                           CIVIL ACTION NO. 6:15-CV-06742
                                                             PENDING LITIGATION
           Last 4 digits of account number:
                                                             Is the claim subject to offset?

                                                             þ No
                                                             ¨ Yes




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Debtor   MAC ACQUISITION LLC                                                                                 Case number (if known) 17-12224




3.904.     Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                             Check all that apply.
           HUNTER, EMMA SOPHIA                                                                               UNDETERMINED
           J. NELSON THOMAS THOMAS & SOLOMON LLP             þ Contingent
           693 EAST AVENUE
           ROCHESTER NY 14607                                þ Unliquidated
                                                             þ Disputed
           Date or dates debt was incurred                   Basis for the claim:
           VARIOUS                                           CIVIL ACTION NO. 6:15-CV-06742
                                                             PENDING LITIGATION
           Last 4 digits of account number:
                                                             Is the claim subject to offset?

                                                             þ No
                                                             ¨ Yes

3.905.     Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                             Check all that apply.
           HUNTER, SARA ANJONETT                                                                             UNDETERMINED
           J. NELSON THOMAS THOMAS & SOLOMON LLP             þ Contingent
           693 EAST AVENUE
           ROCHESTER NY 14607                                þ Unliquidated
                                                             þ Disputed
           Date or dates debt was incurred                   Basis for the claim:
           VARIOUS                                           CIVIL ACTION NO. 6:15-CV-06742
                                                             PENDING LITIGATION
           Last 4 digits of account number:
                                                             Is the claim subject to offset?

                                                             þ No
                                                             ¨ Yes

3.906.     Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                             Check all that apply.
           HUNTINGTON, KELLY                                                                                 UNDETERMINED
           J. NELSON THOMAS THOMAS & SOLOMON LLP             þ Contingent
           693 EAST AVENUE
           ROCHESTER NY 14607                                þ Unliquidated
                                                             þ Disputed
           Date or dates debt was incurred                   Basis for the claim:
           VARIOUS                                           CIVIL ACTION NO. 6:15-CV-06742
                                                             PENDING LITIGATION
           Last 4 digits of account number:
                                                             Is the claim subject to offset?

                                                             þ No
                                                             ¨ Yes




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Debtor   MAC ACQUISITION LLC                                                                                 Case number (if known) 17-12224




3.907.     Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                             Check all that apply.
           HURFORD, MICHAEL KEITH                                                                            UNDETERMINED
           J. NELSON THOMAS THOMAS & SOLOMON LLP             þ Contingent
           693 EAST AVENUE
           ROCHESTER NY 14607                                þ Unliquidated
                                                             þ Disputed
           Date or dates debt was incurred                   Basis for the claim:
           VARIOUS                                           CIVIL ACTION NO. 6:15-CV-06742
                                                             PENDING LITIGATION
           Last 4 digits of account number:
                                                             Is the claim subject to offset?

                                                             þ No
                                                             ¨ Yes

3.908.     Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                             Check all that apply.
           HURT, ASHLEY                                                                                      UNDETERMINED
           J. NELSON THOMAS THOMAS & SOLOMON LLP             þ Contingent
           693 EAST AVENUE
           ROCHESTER NY 14607                                þ Unliquidated
                                                             þ Disputed
           Date or dates debt was incurred                   Basis for the claim:
           VARIOUS                                           CIVIL ACTION NO. 6:15-CV-06742
                                                             PENDING LITIGATION
           Last 4 digits of account number:
                                                             Is the claim subject to offset?

                                                             þ No
                                                             ¨ Yes

3.909.     Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                             Check all that apply.
           IAC SERVICE LLC - MARYLAND                                                                        $2,662.25
           14801 BUILD AMERICA DRIVE                         ¨ Contingent
           WOODBRIDGE VA 22191
                                                             ¨ Unliquidated
                                                             ¨ Disputed
           Date or dates debt was incurred                   Basis for the claim:
           VARIOUS                                           TRADE ACCOUNTS PAYABLE
           Last 4 digits of account number:                  Is the claim subject to offset?

                                                             þ No
                                                             ¨ Yes




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3.910.     Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                             Check all that apply.
           ICEE COMPANY                                                                                      $933.87
           1205 S. DUPONT AVE                                ¨ Contingent
           ONTARIO CA 91761
                                                             ¨ Unliquidated
                                                             ¨ Disputed
           Date or dates debt was incurred                   Basis for the claim:
           VARIOUS                                           TRADE ACCOUNTS PAYABLE
           Last 4 digits of account number:                  Is the claim subject to offset?

                                                             þ No
                                                             ¨ Yes

3.911.     Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                             Check all that apply.
           IESLIN, KIMBERLY ANN                                                                              UNDETERMINED
           J. NELSON THOMAS THOMAS & SOLOMON LLP             þ Contingent
           693 EAST AVENUE
           ROCHESTER NY 14607                                þ Unliquidated
                                                             þ Disputed
           Date or dates debt was incurred                   Basis for the claim:
           VARIOUS                                           CIVIL ACTION NO. 6:15-CV-06742
                                                             PENDING LITIGATION
           Last 4 digits of account number:
                                                             Is the claim subject to offset?

                                                             þ No
                                                             ¨ Yes

3.912.     Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                             Check all that apply.
           IGLESIAS, GILMER                                                                                  UNDETERMINED
           J. NELSON THOMAS THOMAS & SOLOMON LLP             þ Contingent
           693 EAST AVENUE
           ROCHESTER NY 14607                                þ Unliquidated
                                                             þ Disputed
           Date or dates debt was incurred                   Basis for the claim:
           VARIOUS                                           CIVIL ACTION NO. 6:15-CV-06742
                                                             PENDING LITIGATION
           Last 4 digits of account number:
                                                             Is the claim subject to offset?

                                                             þ No
                                                             ¨ Yes




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3.913.     Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                             Check all that apply.
           IMBER, EVAN J.                                                                                    UNDETERMINED
           J. NELSON THOMAS THOMAS & SOLOMON LLP             þ Contingent
           693 EAST AVENUE
           ROCHESTER NY 14607                                þ Unliquidated
                                                             þ Disputed
           Date or dates debt was incurred                   Basis for the claim:
           VARIOUS                                           CIVIL ACTION NO. 6:15-CV-06742
                                                             PENDING LITIGATION
           Last 4 digits of account number:
                                                             Is the claim subject to offset?

                                                             þ No
                                                             ¨ Yes

3.914.     Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                             Check all that apply.
           IMPACT TELECOM                                                                                    $968.33
           PO BOX 981038                                     ¨ Contingent
           BOSTON MA 02298
                                                             ¨ Unliquidated
                                                             ¨ Disputed
           Date or dates debt was incurred                   Basis for the claim:
           VARIOUS                                           TRADE ACCOUNTS PAYABLE
           Last 4 digits of account number:                  Is the claim subject to offset?

                                                             þ No
                                                             ¨ Yes

3.915.     Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                             Check all that apply.
           INCONTACT                                                                                         $13,195.98
           PAYMENT CENTER #5450                              ¨ Contingent
           PO BOX 410468
           SALT LAKE CITY UT 84141                           ¨ Unliquidated
                                                             ¨ Disputed
           Date or dates debt was incurred                   Basis for the claim:
           VARIOUS                                           TRADE ACCOUNTS PAYABLE
           Last 4 digits of account number:                  Is the claim subject to offset?

                                                             þ No
                                                             ¨ Yes




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3.916.     Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                             Check all that apply.
           INDAY OF SARASOTA, INC.                                                                           $4,000.00
           1920 ADAMS LANE                                   ¨ Contingent
           SARASOTA FL 34236
                                                             ¨ Unliquidated
                                                             ¨ Disputed
           Date or dates debt was incurred                   Basis for the claim:
           VARIOUS                                           TRADE ACCOUNTS PAYABLE
           Last 4 digits of account number:                  Is the claim subject to offset?

                                                             þ No
                                                             ¨ Yes

3.917.     Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                             Check all that apply.
           INDUSTRIAL MAINTENANCE EQUIP SRV INC.                                                             $1,352.25
           8780 19TH STREET #335                             ¨ Contingent
           ALTA LOMA CA 91701
                                                             ¨ Unliquidated
                                                             ¨ Disputed
           Date or dates debt was incurred                   Basis for the claim:
           VARIOUS                                           TRADE ACCOUNTS PAYABLE
           Last 4 digits of account number:                  Is the claim subject to offset?

                                                             þ No
                                                             ¨ Yes

3.918.     Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                             Check all that apply.
           INFELISE, CHRISTOPHER JOHN                                                                        UNDETERMINED
           J. NELSON THOMAS THOMAS & SOLOMON LLP             þ Contingent
           693 EAST AVENUE
           ROCHESTER NY 14607                                þ Unliquidated
                                                             þ Disputed
           Date or dates debt was incurred                   Basis for the claim:
           VARIOUS                                           CIVIL ACTION NO. 6:15-CV-06742
                                                             PENDING LITIGATION
           Last 4 digits of account number:
                                                             Is the claim subject to offset?

                                                             þ No
                                                             ¨ Yes




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3.919.     Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                             Check all that apply.
           INGRAM, LAWANDA FAY                                                                               UNDETERMINED
           J. NELSON THOMAS THOMAS & SOLOMON LLP             þ Contingent
           693 EAST AVENUE
           ROCHESTER NY 14607                                þ Unliquidated
                                                             þ Disputed
           Date or dates debt was incurred                   Basis for the claim:
           VARIOUS                                           CIVIL ACTION NO. 6:15-CV-06742
                                                             PENDING LITIGATION
           Last 4 digits of account number:
                                                             Is the claim subject to offset?

                                                             þ No
                                                             ¨ Yes

3.920.     Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                             Check all that apply.
           INKBOX LLC                                                                                        $863.61
           4822 N SAM HOUSTON PKWY W, STE 200                ¨ Contingent
           HOUSTON TX 77086
                                                             ¨ Unliquidated
                                                             ¨ Disputed
           Date or dates debt was incurred                   Basis for the claim:
           VARIOUS                                           TRADE ACCOUNTS PAYABLE
           Last 4 digits of account number:                  Is the claim subject to offset?

                                                             þ No
                                                             ¨ Yes

3.921.     Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                             Check all that apply.
           INLAND CONTINENTAL PROPERTY                                                                       UNDETERMINED
           MANAGEMENT CO                                     þ Contingent
           JUDY OSWALD
           JUDY OSWALD PROPERTY MANAGER                      þ Unliquidated
           2901 BUTTERFIELD RD
           OAK BROOK IL 60523
                                                             þ Disputed
           Date or dates debt was incurred                   Basis for the claim:
           VARIOUS                                           LANDLORD CLAIM
           Last 4 digits of account number:                  Is the claim subject to offset?

                                                             þ No
                                                             ¨ Yes




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3.922.     Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                             Check all that apply.
           INTEGRITY SECUTY SERVICES                                                                         $65.00
           PO BOX 10816                                      ¨ Contingent
           TAMPA FL 33679
                                                             ¨ Unliquidated
                                                             ¨ Disputed
           Date or dates debt was incurred                   Basis for the claim:
           VARIOUS                                           TRADE ACCOUNTS PAYABLE
           Last 4 digits of account number:                  Is the claim subject to offset?

                                                             þ No
                                                             ¨ Yes

3.923.     Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                             Check all that apply.
           IRISH, PRESLEY ROSE                                                                               UNDETERMINED
           J. NELSON THOMAS THOMAS & SOLOMON LLP             þ Contingent
           693 EAST AVENUE
           ROCHESTER NY 14607                                þ Unliquidated
                                                             þ Disputed
           Date or dates debt was incurred                   Basis for the claim:
           VARIOUS                                           CIVIL ACTION NO. 6:15-CV-06742
                                                             PENDING LITIGATION
           Last 4 digits of account number:
                                                             Is the claim subject to offset?

                                                             þ No
                                                             ¨ Yes

3.924.     Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                             Check all that apply.
           IRON MOUNTAIN INC                                                                                 $61.44
           PO BOX 27128                                      ¨ Contingent
           NEW YORK NY 10087-7128
                                                             ¨ Unliquidated
                                                             ¨ Disputed
           Date or dates debt was incurred                   Basis for the claim:
           VARIOUS                                           TRADE ACCOUNTS PAYABLE
           Last 4 digits of account number:                  Is the claim subject to offset?

                                                             þ No
                                                             ¨ Yes




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3.925.     Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                             Check all that apply.
           ISBI SUSQUEHANNA LLC                                                                              UNDETERMINED
           METRO COMMERCIAL MANAGEMENT SVC INC               þ Contingent
           PROPERTY MANAGEMENT ELAINE MANEVAL
           307 FELLOWSHIP RD STE 300                         þ Unliquidated
           MOUNT LAUREL NJ 08054                             þ Disputed
           Date or dates debt was incurred                   Basis for the claim:
           VARIOUS                                           LANDLORD CLAIM
           Last 4 digits of account number:                  Is the claim subject to offset?

                                                             þ No
                                                             ¨ Yes

3.926.     Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                             Check all that apply.
           J NAZZARO PARTNERSHIP LP                                                                          UNDETERMINED
           JAMES J NAZZARO                                   þ Contingent
           8 SAXON AVE STE C
           BAY SHORE NY 11706                                þ Unliquidated
                                                             þ Disputed
           Date or dates debt was incurred                   Basis for the claim:
           VARIOUS                                           LANDLORD CLAIM
           Last 4 digits of account number:                  Is the claim subject to offset?

                                                             þ No
                                                             ¨ Yes

3.927.     Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                             Check all that apply.
           J&D WAGNER DRAFT SERVICE                                                                          $96.46
           861 S FRANKLIN STREET                             ¨ Contingent
           PALMYRA PA 17078
                                                             ¨ Unliquidated
                                                             ¨ Disputed
           Date or dates debt was incurred                   Basis for the claim:
           VARIOUS                                           TRADE ACCOUNTS PAYABLE
           Last 4 digits of account number:                  Is the claim subject to offset?

                                                             þ No
                                                             ¨ Yes




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3.928.     Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                             Check all that apply.
           JACKLE, ISABEL                                                                                    UNDETERMINED
                                                             þ Contingent
                                                             þ Unliquidated
                                                             þ Disputed
           Date or dates debt was incurred                   Basis for the claim:
           VARIOUS                                           GENERAL LIABILITY CLAIMS
           Last 4 digits of account number:                  Is the claim subject to offset?

                                                             þ No
                                                             ¨ Yes

3.929.     Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                             Check all that apply.
           JACKLE, ISABEL                                                                                    UNDETERMINED
                                                             þ Contingent
                                                             þ Unliquidated
                                                             þ Disputed
           Date or dates debt was incurred                   Basis for the claim:
           VARIOUS                                           GENERAL LIABILITY CLAIMS
           Last 4 digits of account number:                  Is the claim subject to offset?

                                                             þ No
                                                             ¨ Yes

3.930.     Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                             Check all that apply.
           JACKSON COMFORT SYSTEMS, INC                                                                      $1,256.00
           40 CHAMISA RD STE A                               ¨ Contingent
           COVINGTON GA 30016
                                                             ¨ Unliquidated
                                                             ¨ Disputed
           Date or dates debt was incurred                   Basis for the claim:
           VARIOUS                                           TRADE ACCOUNTS PAYABLE
           Last 4 digits of account number:                  Is the claim subject to offset?

                                                             þ No
                                                             ¨ Yes




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3.931.     Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                             Check all that apply.
           JACKSON LEWIS P.C.                                                                                $22,948.90
           PO BOX 416019                                     ¨ Contingent
           BOSTON MA 02241
                                                             ¨ Unliquidated
                                                             ¨ Disputed
           Date or dates debt was incurred                   Basis for the claim:
           VARIOUS                                           LEGAL
           Last 4 digits of account number:                  Is the claim subject to offset?

                                                             þ No
                                                             ¨ Yes

3.932.     Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                             Check all that apply.
           JACKSON, LATASHA MICHELLE                                                                         UNDETERMINED
           J. NELSON THOMAS THOMAS & SOLOMON LLP             þ Contingent
           693 EAST AVENUE
           ROCHESTER NY 14607                                þ Unliquidated
                                                             þ Disputed
           Date or dates debt was incurred                   Basis for the claim:
           VARIOUS                                           CIVIL ACTION NO. 6:15-CV-06742
                                                             PENDING LITIGATION
           Last 4 digits of account number:
                                                             Is the claim subject to offset?

                                                             þ No
                                                             ¨ Yes

3.933.     Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                             Check all that apply.
           JACOBS, EMILY CHRISTINE                                                                           UNDETERMINED
           J. NELSON THOMAS THOMAS & SOLOMON LLP             þ Contingent
           693 EAST AVENUE
           ROCHESTER NY 14607                                þ Unliquidated
                                                             þ Disputed
           Date or dates debt was incurred                   Basis for the claim:
           VARIOUS                                           CIVIL ACTION NO. 6:15-CV-06742
                                                             PENDING LITIGATION
           Last 4 digits of account number:
                                                             Is the claim subject to offset?

                                                             þ No
                                                             ¨ Yes




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3.934.     Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                             Check all that apply.
           JANES, SPENSER BJORN                                                                              UNDETERMINED
           J. NELSON THOMAS THOMAS & SOLOMON LLP             þ Contingent
           693 EAST AVENUE
           ROCHESTER NY 14607                                þ Unliquidated
                                                             þ Disputed
           Date or dates debt was incurred                   Basis for the claim:
           VARIOUS                                           CIVIL ACTION NO. 6:15-CV-06742
                                                             PENDING LITIGATION
           Last 4 digits of account number:
                                                             Is the claim subject to offset?

                                                             þ No
                                                             ¨ Yes

3.935.     Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                             Check all that apply.
           JAQUITH, KIMBERLY                                                                                 UNDETERMINED
           J. NELSON THOMAS THOMAS & SOLOMON LLP             þ Contingent
           693 EAST AVENUE
           ROCHESTER NY 14607                                þ Unliquidated
                                                             þ Disputed
           Date or dates debt was incurred                   Basis for the claim:
           VARIOUS                                           CIVIL ACTION NO. 6:15-CV-06742
                                                             PENDING LITIGATION
           Last 4 digits of account number:
                                                             Is the claim subject to offset?

                                                             þ No
                                                             ¨ Yes

3.936.     Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                             Check all that apply.
           JAQUITH, RYAN M.                                                                                  UNDETERMINED
           J. NELSON THOMAS THOMAS & SOLOMON LLP             þ Contingent
           693 EAST AVENUE
           ROCHESTER NY 14607                                þ Unliquidated
                                                             þ Disputed
           Date or dates debt was incurred                   Basis for the claim:
           VARIOUS                                           CIVIL ACTION NO. 6:15-CV-06742
                                                             PENDING LITIGATION
           Last 4 digits of account number:
                                                             Is the claim subject to offset?

                                                             þ No
                                                             ¨ Yes




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3.937.     Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                             Check all that apply.
           JC BEERTECH LTD                                                                                   $45.00
           4125 LORAIN AVENUE                                ¨ Contingent
           CLEVELAND OH 44113
                                                             ¨ Unliquidated
                                                             ¨ Disputed
           Date or dates debt was incurred                   Basis for the claim:
           VARIOUS                                           TRADE ACCOUNTS PAYABLE
           Last 4 digits of account number:                  Is the claim subject to offset?

                                                             þ No
                                                             ¨ Yes

3.938.     Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                             Check all that apply.
           JCC CALIFORNIA PROPERTIES LLC                                                                     UNDETERMINED
           FESTIVAL MANAGEMENT CORP                          þ Contingent
           LEGAL DEPT DIANA WHITT SR REAL ESTATE
           MNGR                                              þ Unliquidated
           9841 AIRPORT BLVD STE 700
           LOS ANGELES CA 90045
                                                             þ Disputed
           Date or dates debt was incurred                   Basis for the claim:
           VARIOUS                                           LANDLORD CLAIM
           Last 4 digits of account number:                  Is the claim subject to offset?

                                                             þ No
                                                             ¨ Yes

3.939.     Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                             Check all that apply.
           JD HIGGINS COMPANY INC                                                                            $8,181.96
           PO BOX 5948                                       ¨ Contingent
           ARLINGTON TX 76005
                                                             ¨ Unliquidated
                                                             ¨ Disputed
           Date or dates debt was incurred                   Basis for the claim:
           VARIOUS                                           TRADE ACCOUNTS PAYABLE
           Last 4 digits of account number:                  Is the claim subject to offset?

                                                             þ No
                                                             ¨ Yes




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3.940.     Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                             Check all that apply.
           JDS UPHOLSTERY                                                                                    $628.19
           212 FESSLERS LANE                                 ¨ Contingent
           NASHVILLE TN 37210
                                                             ¨ Unliquidated
                                                             ¨ Disputed
           Date or dates debt was incurred                   Basis for the claim:
           VARIOUS                                           TRADE ACCOUNTS PAYABLE
           Last 4 digits of account number:                  Is the claim subject to offset?

                                                             þ No
                                                             ¨ Yes

3.941.     Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                             Check all that apply.
           JEFFERSON, AMBER                                                                                  UNDETERMINED
           J. NELSON THOMAS THOMAS & SOLOMON LLP             þ Contingent
           693 EAST AVENUE
           ROCHESTER NY 14607                                þ Unliquidated
                                                             þ Disputed
           Date or dates debt was incurred                   Basis for the claim:
           VARIOUS                                           CIVIL ACTION NO. 6:15-CV-06742
                                                             PENDING LITIGATION
           Last 4 digits of account number:
                                                             Is the claim subject to offset?

                                                             þ No
                                                             ¨ Yes

3.942.     Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                             Check all that apply.
           JELKS, ANDREW                                                                                     UNDETERMINED
           J. NELSON THOMAS THOMAS & SOLOMON LLP             þ Contingent
           693 EAST AVENUE
           ROCHESTER NY 14607                                þ Unliquidated
                                                             þ Disputed
           Date or dates debt was incurred                   Basis for the claim:
           VARIOUS                                           CIVIL ACTION NO. 6:15-CV-06742
                                                             PENDING LITIGATION
           Last 4 digits of account number:
                                                             Is the claim subject to offset?

                                                             þ No
                                                             ¨ Yes




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3.943.     Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                             Check all that apply.
           JENKINS, ASHLEY LAUREN                                                                            UNDETERMINED
           J. NELSON THOMAS THOMAS & SOLOMON LLP             þ Contingent
           693 EAST AVENUE
           ROCHESTER NY 14607                                þ Unliquidated
                                                             þ Disputed
           Date or dates debt was incurred                   Basis for the claim:
           VARIOUS                                           CIVIL ACTION NO. 6:15-CV-06742
                                                             PENDING LITIGATION
           Last 4 digits of account number:
                                                             Is the claim subject to offset?

                                                             þ No
                                                             ¨ Yes

3.944.     Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                             Check all that apply.
           JENNIFER WRIGHTDBA AMERICAN BACKFLOW                                                              $1,694.33
           & PLUMBING                                        ¨ Contingent
           AMERICAN BACKFLOW
           1515 N TOWN EAST BLVD #138350                     ¨ Unliquidated
           MESQUITE TX 75150                                 ¨ Disputed
           Date or dates debt was incurred                   Basis for the claim:
           VARIOUS                                           TRADE ACCOUNTS PAYABLE
           Last 4 digits of account number:                  Is the claim subject to offset?

                                                             þ No
                                                             ¨ Yes

3.945.     Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                             Check all that apply.
           JET SERVICES INC                                                                                  $233.00
           DBA JET PLUMBING AND DRAIN SERVICES               ¨ Contingent
           1553 HYMER AVE
           RENO NV 89431                                     ¨ Unliquidated
                                                             ¨ Disputed
           Date or dates debt was incurred                   Basis for the claim:
           VARIOUS                                           TRADE ACCOUNTS PAYABLE
           Last 4 digits of account number:                  Is the claim subject to offset?

                                                             þ No
                                                             ¨ Yes




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3.946.     Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                             Check all that apply.
           JIM'S SIGN SERVICE DBA JAMES MULLENDORE                                                           $2,347.80
           9911 MT TABOR ROAD                                ¨ Contingent
           MYERSVILLE MD 21773
                                                             ¨ Unliquidated
                                                             ¨ Disputed
           Date or dates debt was incurred                   Basis for the claim:
           VARIOUS                                           TRADE ACCOUNTS PAYABLE
           Last 4 digits of account number:                  Is the claim subject to offset?

                                                             þ No
                                                             ¨ Yes

3.947.     Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                             Check all that apply.
           JIMSON INC.                                                                                       $407.70
           5001 AMBASSADOR ROW                               ¨ Contingent
           DBA ALL BRANDS SALES AND SERVICE
           CORPUS CHRISTI TX 78416                           ¨ Unliquidated
                                                             ¨ Disputed
           Date or dates debt was incurred                   Basis for the claim:
           VARIOUS                                           TRADE ACCOUNTS PAYABLE
           Last 4 digits of account number:                  Is the claim subject to offset?

                                                             þ No
                                                             ¨ Yes

3.948.     Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                             Check all that apply.
           JMEG, LP                                                                                          $3,659.50
           13995 DIPOLMAT DRIVE                              ¨ Contingent
           #400
           FARMERS BRANCH TX 75234                           ¨ Unliquidated
                                                             ¨ Disputed
           Date or dates debt was incurred                   Basis for the claim:
           VARIOUS                                           TRADE ACCOUNTS PAYABLE
           Last 4 digits of account number:                  Is the claim subject to offset?

                                                             þ No
                                                             ¨ Yes




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3.949.     Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                             Check all that apply.
           JOHN TERHAAR DBA BETTER BEER                                                                      $48.60
           5618 BUFFALO ROAD                                 ¨ Contingent
           CHURCHVILLE NY 14428
                                                             ¨ Unliquidated
                                                             ¨ Disputed
           Date or dates debt was incurred                   Basis for the claim:
           VARIOUS                                           TRADE ACCOUNTS PAYABLE
           Last 4 digits of account number:                  Is the claim subject to offset?

                                                             þ No
                                                             ¨ Yes

3.950.     Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                             Check all that apply.
           JOHN'S PLUMBING INC.                                                                              $326.78
           5851 SERVICE ROAD                                 ¨ Contingent
           BIRMINGHAM AL 35235
                                                             ¨ Unliquidated
                                                             ¨ Disputed
           Date or dates debt was incurred                   Basis for the claim:
           VARIOUS                                           TRADE ACCOUNTS PAYABLE
           Last 4 digits of account number:                  Is the claim subject to offset?

                                                             þ No
                                                             ¨ Yes

3.951.     Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                             Check all that apply.
           JOHNSON, BRIONA AMANDA                                                                            UNDETERMINED
           J. NELSON THOMAS THOMAS & SOLOMON LLP             þ Contingent
           693 EAST AVENUE
           ROCHESTER NY 14607                                þ Unliquidated
                                                             þ Disputed
           Date or dates debt was incurred                   Basis for the claim:
           VARIOUS                                           CIVIL ACTION NO. 6:15-CV-06742
                                                             PENDING LITIGATION
           Last 4 digits of account number:
                                                             Is the claim subject to offset?

                                                             þ No
                                                             ¨ Yes




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3.952.     Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                             Check all that apply.
           JOHNSON, CRAIG MICHAEL                                                                            UNDETERMINED
           J. NELSON THOMAS THOMAS & SOLOMON LLP             þ Contingent
           693 EAST AVENUE
           ROCHESTER NY 14607                                þ Unliquidated
                                                             þ Disputed
           Date or dates debt was incurred                   Basis for the claim:
           VARIOUS                                           CIVIL ACTION NO. 6:15-CV-06742
                                                             PENDING LITIGATION
           Last 4 digits of account number:
                                                             Is the claim subject to offset?

                                                             þ No
                                                             ¨ Yes

3.953.     Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                             Check all that apply.
           JOHNSON, DANYELLE                                                                                 UNDETERMINED
                                                             þ Contingent
                                                             þ Unliquidated
                                                             þ Disputed
           Date or dates debt was incurred                   Basis for the claim:
           VARIOUS                                           GENERAL LIABILITY CLAIMS
           Last 4 digits of account number:                  Is the claim subject to offset?

                                                             þ No
                                                             ¨ Yes

3.954.     Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                             Check all that apply.
           JOHNSON, DANYELLE                                                                                 UNDETERMINED
                                                             þ Contingent
                                                             þ Unliquidated
                                                             þ Disputed
           Date or dates debt was incurred                   Basis for the claim:
           VARIOUS                                           GENERAL LIABILITY CLAIMS
           Last 4 digits of account number:                  Is the claim subject to offset?

                                                             þ No
                                                             ¨ Yes




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3.955.     Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                             Check all that apply.
           JOHNSON, JERMAINE WYMAN                                                                           UNDETERMINED
           J. NELSON THOMAS THOMAS & SOLOMON LLP             þ Contingent
           693 EAST AVENUE
           ROCHESTER NY 14607                                þ Unliquidated
                                                             þ Disputed
           Date or dates debt was incurred                   Basis for the claim:
           VARIOUS                                           CIVIL ACTION NO. 6:15-CV-06742
                                                             PENDING LITIGATION
           Last 4 digits of account number:
                                                             Is the claim subject to offset?

                                                             þ No
                                                             ¨ Yes

3.956.     Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                             Check all that apply.
           JOHNSON, KAYEESHA                                                                                 UNDETERMINED
           J. NELSON THOMAS THOMAS & SOLOMON LLP             þ Contingent
           693 EAST AVENUE
           ROCHESTER NY 14607                                þ Unliquidated
                                                             þ Disputed
           Date or dates debt was incurred                   Basis for the claim:
           VARIOUS                                           CIVIL ACTION NO. 6:15-CV-06742
                                                             PENDING LITIGATION
           Last 4 digits of account number:
                                                             Is the claim subject to offset?

                                                             þ No
                                                             ¨ Yes

3.957.     Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                             Check all that apply.
           JOHNSON, KEVIN                                                                                    UNDETERMINED
           J. NELSON THOMAS THOMAS & SOLOMON LLP             þ Contingent
           693 EAST AVENUE
           ROCHESTER NY 14607                                þ Unliquidated
                                                             þ Disputed
           Date or dates debt was incurred                   Basis for the claim:
           VARIOUS                                           CIVIL ACTION NO. 6:15-CV-06742
                                                             PENDING LITIGATION
           Last 4 digits of account number:
                                                             Is the claim subject to offset?

                                                             þ No
                                                             ¨ Yes




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3.958.     Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                             Check all that apply.
           JOHNSON, KEVIN J.                                                                                 UNDETERMINED
           J. NELSON THOMAS THOMAS & SOLOMON LLP             þ Contingent
           693 EAST AVENUE
           ROCHESTER NY 14607                                þ Unliquidated
                                                             þ Disputed
           Date or dates debt was incurred                   Basis for the claim:
           VARIOUS                                           CIVIL ACTION NO. 6:15-CV-06742
                                                             PENDING LITIGATION
           Last 4 digits of account number:
                                                             Is the claim subject to offset?

                                                             þ No
                                                             ¨ Yes

3.959.     Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                             Check all that apply.
           JOHNSON, MICHAEL ANTWAN TAYLOR                                                                    UNDETERMINED
           J. NELSON THOMAS THOMAS & SOLOMON LLP             þ Contingent
           693 EAST AVENUE
           ROCHESTER NY 14607                                þ Unliquidated
                                                             þ Disputed
           Date or dates debt was incurred                   Basis for the claim:
           VARIOUS                                           CIVIL ACTION NO. 6:15-CV-06742
                                                             PENDING LITIGATION
           Last 4 digits of account number:
                                                             Is the claim subject to offset?

                                                             þ No
                                                             ¨ Yes

3.960.     Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                             Check all that apply.
           JONES GLASS CO INC                                                                                $157.51
           PO BOX 1679                                       ¨ Contingent
           BENTON AR 72018
                                                             ¨ Unliquidated
                                                             ¨ Disputed
           Date or dates debt was incurred                   Basis for the claim:
           VARIOUS                                           TRADE ACCOUNTS PAYABLE
           Last 4 digits of account number:                  Is the claim subject to offset?

                                                             þ No
                                                             ¨ Yes




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3.961.     Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                             Check all that apply.
           JONES SIGN CO. INC.                                                                               $404.91
           1711 SCHEURING ROAD                               ¨ Contingent
           DE PERE WI 54115
                                                             ¨ Unliquidated
                                                             ¨ Disputed
           Date or dates debt was incurred                   Basis for the claim:
           VARIOUS                                           TRADE ACCOUNTS PAYABLE
           Last 4 digits of account number:                  Is the claim subject to offset?

                                                             þ No
                                                             ¨ Yes

3.962.     Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                             Check all that apply.
           JONES, ALICIA SARAH                                                                               UNDETERMINED
           J. NELSON THOMAS THOMAS & SOLOMON LLP             þ Contingent
           693 EAST AVENUE
           ROCHESTER NY 14607                                þ Unliquidated
                                                             þ Disputed
           Date or dates debt was incurred                   Basis for the claim:
           VARIOUS                                           CIVIL ACTION NO. 6:15-CV-06742
                                                             PENDING LITIGATION
           Last 4 digits of account number:
                                                             Is the claim subject to offset?

                                                             þ No
                                                             ¨ Yes

3.963.     Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                             Check all that apply.
           JONES, DOMINIQUE                                                                                  UNDETERMINED
           J. NELSON THOMAS THOMAS & SOLOMON LLP             þ Contingent
           693 EAST AVENUE
           ROCHESTER NY 14607                                þ Unliquidated
                                                             þ Disputed
           Date or dates debt was incurred                   Basis for the claim:
           VARIOUS                                           CIVIL ACTION NO. 6:15-CV-06742
                                                             PENDING LITIGATION
           Last 4 digits of account number:
                                                             Is the claim subject to offset?

                                                             þ No
                                                             ¨ Yes




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3.964.     Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                             Check all that apply.
           JONES, DOMINIQUE DEVEREAUX                                                                        UNDETERMINED
           J. NELSON THOMAS THOMAS & SOLOMON LLP             þ Contingent
           693 EAST AVENUE
           ROCHESTER NY 14607                                þ Unliquidated
                                                             þ Disputed
           Date or dates debt was incurred                   Basis for the claim:
           VARIOUS                                           CIVIL ACTION NO. 6:15-CV-06742
                                                             PENDING LITIGATION
           Last 4 digits of account number:
                                                             Is the claim subject to offset?

                                                             þ No
                                                             ¨ Yes

3.965.     Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                             Check all that apply.
           JONES, JR., MARTIN DALE                                                                           UNDETERMINED
           J. NELSON THOMAS THOMAS & SOLOMON LLP             þ Contingent
           693 EAST AVENUE
           ROCHESTER NY 14607                                þ Unliquidated
                                                             þ Disputed
           Date or dates debt was incurred                   Basis for the claim:
           VARIOUS                                           CIVIL ACTION NO. 6:15-CV-06742
                                                             PENDING LITIGATION
           Last 4 digits of account number:
                                                             Is the claim subject to offset?

                                                             þ No
                                                             ¨ Yes

3.966.     Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                             Check all that apply.
           JONES, KAYLA ROCHELLE                                                                             UNDETERMINED
           J. NELSON THOMAS THOMAS & SOLOMON LLP             þ Contingent
           693 EAST AVENUE
           ROCHESTER NY 14607                                þ Unliquidated
                                                             þ Disputed
           Date or dates debt was incurred                   Basis for the claim:
           VARIOUS                                           CIVIL ACTION NO. 6:15-CV-06742
                                                             PENDING LITIGATION
           Last 4 digits of account number:
                                                             Is the claim subject to offset?

                                                             þ No
                                                             ¨ Yes




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3.967.     Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                             Check all that apply.
           JONES, KENYATTA C.                                                                                UNDETERMINED
           J. NELSON THOMAS THOMAS & SOLOMON LLP             þ Contingent
           693 EAST AVENUE
           ROCHESTER NY 14607                                þ Unliquidated
                                                             þ Disputed
           Date or dates debt was incurred                   Basis for the claim:
           VARIOUS                                           CIVIL ACTION NO. 6:15-CV-06742
                                                             PENDING LITIGATION
           Last 4 digits of account number:
                                                             Is the claim subject to offset?

                                                             þ No
                                                             ¨ Yes

3.968.     Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                             Check all that apply.
           JONES, KENYATTA CHAREASE                                                                          UNDETERMINED
           J. NELSON THOMAS THOMAS & SOLOMON LLP             þ Contingent
           693 EAST AVENUE
           ROCHESTER NY 14607                                þ Unliquidated
                                                             þ Disputed
           Date or dates debt was incurred                   Basis for the claim:
           VARIOUS                                           CIVIL ACTION NO. 6:15-CV-06742
                                                             PENDING LITIGATION
           Last 4 digits of account number:
                                                             Is the claim subject to offset?

                                                             þ No
                                                             ¨ Yes

3.969.     Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                             Check all that apply.
           JONES, MARY ANNE                                                                                  UNDETERMINED
           J. NELSON THOMAS THOMAS & SOLOMON LLP             þ Contingent
           693 EAST AVENUE
           ROCHESTER NY 14607                                þ Unliquidated
                                                             þ Disputed
           Date or dates debt was incurred                   Basis for the claim:
           VARIOUS                                           CIVIL ACTION NO. 6:15-CV-06742
                                                             PENDING LITIGATION
           Last 4 digits of account number:
                                                             Is the claim subject to offset?

                                                             þ No
                                                             ¨ Yes




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3.970.     Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                             Check all that apply.
           JONES, NIA MALIKA                                                                                 UNDETERMINED
           J. NELSON THOMAS THOMAS & SOLOMON LLP             þ Contingent
           693 EAST AVENUE
           ROCHESTER NY 14607                                þ Unliquidated
                                                             þ Disputed
           Date or dates debt was incurred                   Basis for the claim:
           VARIOUS                                           CIVIL ACTION NO. 6:15-CV-06742
                                                             PENDING LITIGATION
           Last 4 digits of account number:
                                                             Is the claim subject to offset?

                                                             þ No
                                                             ¨ Yes

3.971.     Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                             Check all that apply.
           JONES, SCHUYLER                                                                                   UNDETERMINED
           J. NELSON THOMAS THOMAS & SOLOMON LLP             þ Contingent
           693 EAST AVENUE
           ROCHESTER NY 14607                                þ Unliquidated
                                                             þ Disputed
           Date or dates debt was incurred                   Basis for the claim:
           VARIOUS                                           CIVIL ACTION NO. 6:15-CV-06742
                                                             PENDING LITIGATION
           Last 4 digits of account number:
                                                             Is the claim subject to offset?

                                                             þ No
                                                             ¨ Yes

3.972.     Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                             Check all that apply.
           JONES, STEVEN DAVID                                                                               UNDETERMINED
           J. NELSON THOMAS THOMAS & SOLOMON LLP             þ Contingent
           693 EAST AVENUE
           ROCHESTER NY 14607                                þ Unliquidated
                                                             þ Disputed
           Date or dates debt was incurred                   Basis for the claim:
           VARIOUS                                           CIVIL ACTION NO. 6:15-CV-06742
                                                             PENDING LITIGATION
           Last 4 digits of account number:
                                                             Is the claim subject to offset?

                                                             þ No
                                                             ¨ Yes




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3.973.     Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                             Check all that apply.
           JONES, ZIYAH                                                                                      UNDETERMINED
                                                             þ Contingent
                                                             þ Unliquidated
                                                             þ Disputed
           Date or dates debt was incurred                   Basis for the claim:
           VARIOUS                                           GENERAL LIABILITY CLAIMS
           Last 4 digits of account number:                  Is the claim subject to offset?

                                                             þ No
                                                             ¨ Yes

3.974.     Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                             Check all that apply.
           JORDAN, ABIGAIL PIPER                                                                             UNDETERMINED
           J. NELSON THOMAS THOMAS & SOLOMON LLP             þ Contingent
           693 EAST AVENUE
           ROCHESTER NY 14607                                þ Unliquidated
                                                             þ Disputed
           Date or dates debt was incurred                   Basis for the claim:
           VARIOUS                                           CIVIL ACTION NO. 6:15-CV-06742
                                                             PENDING LITIGATION
           Last 4 digits of account number:
                                                             Is the claim subject to offset?

                                                             þ No
                                                             ¨ Yes

3.975.     Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                             Check all that apply.
           JORDAN, MAGGIE LOUISE                                                                             UNDETERMINED
           J. NELSON THOMAS THOMAS & SOLOMON LLP             þ Contingent
           693 EAST AVENUE
           ROCHESTER NY 14607                                þ Unliquidated
                                                             þ Disputed
           Date or dates debt was incurred                   Basis for the claim:
           VARIOUS                                           CIVIL ACTION NO. 6:15-CV-06742
                                                             PENDING LITIGATION
           Last 4 digits of account number:
                                                             Is the claim subject to offset?

                                                             þ No
                                                             ¨ Yes




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3.976.     Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                             Check all that apply.
           JORDAN, TAMARA                                                                                    UNDETERMINED
           J. NELSON THOMAS THOMAS & SOLOMON LLP             þ Contingent
           693 EAST AVENUE
           ROCHESTER NY 14607                                þ Unliquidated
                                                             þ Disputed
           Date or dates debt was incurred                   Basis for the claim:
           VARIOUS                                           CIVIL ACTION NO. 6:15-CV-06742
                                                             PENDING LITIGATION
           Last 4 digits of account number:
                                                             Is the claim subject to offset?

                                                             þ No
                                                             ¨ Yes

3.977.     Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                             Check all that apply.
           JOSEPH A KEIM AND HELEN R KEIM                                                                    UNDETERMINED
           911 DEERPATH CT                                   þ Contingent
           WHEATON IL 60187
                                                             þ Unliquidated
                                                             þ Disputed
           Date or dates debt was incurred                   Basis for the claim:
           VARIOUS                                           LANDLORD CLAIM
           Last 4 digits of account number:                  Is the claim subject to offset?

                                                             þ No
                                                             ¨ Yes

3.978.     Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                             Check all that apply.
           JP HARRIS ASSOCIATES LLV                                                                          $734.00
           LOCAL SERVICES TAX DEPT                           þ Contingent
           PO BOX 226
           MECHANICSBURG PA 17005                            þ Unliquidated
                                                             þ Disputed
           Date or dates debt was incurred                   Basis for the claim:
           VARIOUS                                           TRADE ACCOUNTS PAYABLE
           Last 4 digits of account number:                  Is the claim subject to offset?

                                                             þ No
                                                             ¨ Yes




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3.979.     Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                             Check all that apply.
           JRB SERVICE, LLC                                                                                  $1,862.20
           8535 HIGHFIELD PKWY, SUITE 100                    ¨ Contingent
           ENGLEWOOD CO 80112
                                                             ¨ Unliquidated
                                                             ¨ Disputed
           Date or dates debt was incurred                   Basis for the claim:
           VARIOUS                                           TRADE ACCOUNTS PAYABLE
           Last 4 digits of account number:                  Is the claim subject to offset?

                                                             þ No
                                                             ¨ Yes

3.980.     Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                             Check all that apply.
           JUERGENS, CONNIE JEAN                                                                             UNDETERMINED
           J. NELSON THOMAS THOMAS & SOLOMON LLP             þ Contingent
           693 EAST AVENUE
           ROCHESTER NY 14607                                þ Unliquidated
                                                             þ Disputed
           Date or dates debt was incurred                   Basis for the claim:
           VARIOUS                                           CIVIL ACTION NO. 6:15-CV-06742
                                                             PENDING LITIGATION
           Last 4 digits of account number:
                                                             Is the claim subject to offset?

                                                             þ No
                                                             ¨ Yes

3.981.     Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                             Check all that apply.
           JULIAN, ASHLEY MARIE                                                                              UNDETERMINED
           J. NELSON THOMAS THOMAS & SOLOMON LLP             þ Contingent
           693 EAST AVENUE
           ROCHESTER NY 14607                                þ Unliquidated
                                                             þ Disputed
           Date or dates debt was incurred                   Basis for the claim:
           VARIOUS                                           CIVIL ACTION NO. 6:15-CV-06742
                                                             PENDING LITIGATION
           Last 4 digits of account number:
                                                             Is the claim subject to offset?

                                                             þ No
                                                             ¨ Yes




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3.982.     Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                             Check all that apply.
           JW LOCK CO                                                                                        $627.76
           520 N SECOND AVE.                                 ¨ Contingent
           COVINA CA 91723
                                                             ¨ Unliquidated
                                                             ¨ Disputed
           Date or dates debt was incurred                   Basis for the claim:
           VARIOUS                                           TRADE ACCOUNTS PAYABLE
           Last 4 digits of account number:                  Is the claim subject to offset?

                                                             þ No
                                                             ¨ Yes

3.983.     Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                             Check all that apply.
           K&D FACTORY SERVICE INC                                                                           $1,582.19
           1833 41 N CAMERON ST                              ¨ Contingent
           HARRISBURG PA 17103
                                                             ¨ Unliquidated
                                                             ¨ Disputed
           Date or dates debt was incurred                   Basis for the claim:
           VARIOUS                                           TRADE ACCOUNTS PAYABLE
           Last 4 digits of account number:                  Is the claim subject to offset?

                                                             þ No
                                                             ¨ Yes

3.984.     Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                             Check all that apply.
           K-9 FINANCIAL LLC                                                                                 $1,071.26
           701 NORTH GREEN VALLEY PARKWAY #200               ¨ Contingent
           HENDERSON NV 89074
                                                             ¨ Unliquidated
                                                             ¨ Disputed
           Date or dates debt was incurred                   Basis for the claim:
           VARIOUS                                           TRADE ACCOUNTS PAYABLE
           Last 4 digits of account number:                  Is the claim subject to offset?

                                                             þ No
                                                             ¨ Yes




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3.985.     Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                             Check all that apply.
           KACALA, KIRK                                                                                      UNDETERMINED
           J. NELSON THOMAS THOMAS & SOLOMON LLP             þ Contingent
           693 EAST AVENUE
           ROCHESTER NY 14607                                þ Unliquidated
                                                             þ Disputed
           Date or dates debt was incurred                   Basis for the claim:
           VARIOUS                                           CIVIL ACTION NO. 6:15-CV-06742
                                                             PENDING LITIGATION
           Last 4 digits of account number:
                                                             Is the claim subject to offset?

                                                             þ No
                                                             ¨ Yes

3.986.     Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                             Check all that apply.
           KAMMER, WILLIAM CHRISTOPHER                                                                       UNDETERMINED
           J. NELSON THOMAS THOMAS & SOLOMON LLP             þ Contingent
           693 EAST AVENUE
           ROCHESTER NY 14607                                þ Unliquidated
                                                             þ Disputed
           Date or dates debt was incurred                   Basis for the claim:
           VARIOUS                                           CIVIL ACTION NO. 6:15-CV-06742
                                                             PENDING LITIGATION
           Last 4 digits of account number:
                                                             Is the claim subject to offset?

                                                             þ No
                                                             ¨ Yes

3.987.     Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                             Check all that apply.
           KAN, MICHAEL                                                                                      UNDETERMINED
           J. NELSON THOMAS THOMAS & SOLOMON LLP             þ Contingent
           693 EAST AVENUE
           ROCHESTER NY 14607                                þ Unliquidated
                                                             þ Disputed
           Date or dates debt was incurred                   Basis for the claim:
           VARIOUS                                           CIVIL ACTION NO. 6:15-CV-06742
                                                             PENDING LITIGATION
           Last 4 digits of account number:
                                                             Is the claim subject to offset?

                                                             þ No
                                                             ¨ Yes




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3.988.     Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                             Check all that apply.
           KANE RUSSELL COLEMAN AND LOGAN PC                                                                 $3,691.79
           1601 ELM STREET STE 3700                          ¨ Contingent
           DALLAS TX 75201
                                                             ¨ Unliquidated
                                                             ¨ Disputed
           Date or dates debt was incurred                   Basis for the claim:
           VARIOUS                                           LEGAL
           Last 4 digits of account number:                  Is the claim subject to offset?

                                                             þ No
                                                             ¨ Yes

3.989.     Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                             Check all that apply.
           KANKA, NICHOLAS JOHN                                                                              UNDETERMINED
           J. NELSON THOMAS THOMAS & SOLOMON LLP             þ Contingent
           693 EAST AVENUE
           ROCHESTER NY 14607                                þ Unliquidated
                                                             þ Disputed
           Date or dates debt was incurred                   Basis for the claim:
           VARIOUS                                           CIVIL ACTION NO. 6:15-CV-06742
                                                             PENDING LITIGATION
           Last 4 digits of account number:
                                                             Is the claim subject to offset?

                                                             þ No
                                                             ¨ Yes

3.990.     Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                             Check all that apply.
           KAPPES, ROBIN MARIE                                                                               UNDETERMINED
           J. NELSON THOMAS THOMAS & SOLOMON LLP             þ Contingent
           693 EAST AVENUE
           ROCHESTER NY 14607                                þ Unliquidated
                                                             þ Disputed
           Date or dates debt was incurred                   Basis for the claim:
           VARIOUS                                           CIVIL ACTION NO. 6:15-CV-06742
                                                             PENDING LITIGATION
           Last 4 digits of account number:
                                                             Is the claim subject to offset?

                                                             þ No
                                                             ¨ Yes




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3.991.     Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                             Check all that apply.
           KARAN, MARK                                                                                       UNDETERMINED
           BRADLEY D. MCADORY, ADA GROUP                     þ Contingent
           4001 CARMICHAEL RD
           STE 570                                           þ Unliquidated
           MONTGOMERY AL 36116                               þ Disputed
           Date or dates debt was incurred                   Basis for the claim:
           VARIOUS                                           PUBLIC ACCOMODATION
           Last 4 digits of account number:                  Is the claim subject to offset?

                                                             þ No
                                                             ¨ Yes

3.992.     Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                             Check all that apply.
           KATSIROUBAS BROS                                                                                  $3,888.90
           40 NEWMARKET SQUARE                               ¨ Contingent
           BOSTON MA 02118
                                                             ¨ Unliquidated
                                                             ¨ Disputed
           Date or dates debt was incurred                   Basis for the claim:
           VARIOUS                                           TRADE ACCOUNTS PAYABLE
           Last 4 digits of account number:                  Is the claim subject to offset?

                                                             þ No
                                                             ¨ Yes

3.993.     Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                             Check all that apply.
           KAY, WILLIAM HASTINGS                                                                             UNDETERMINED
           J. NELSON THOMAS THOMAS & SOLOMON LLP             þ Contingent
           693 EAST AVENUE
           ROCHESTER NY 14607                                þ Unliquidated
                                                             þ Disputed
           Date or dates debt was incurred                   Basis for the claim:
           VARIOUS                                           CIVIL ACTION NO. 6:15-CV-06742
                                                             PENDING LITIGATION
           Last 4 digits of account number:
                                                             Is the claim subject to offset?

                                                             þ No
                                                             ¨ Yes




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3.994.     Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                             Check all that apply.
           KAYLA COMMERCIAL CLEANING LLC                                                                     $480.00
           11310 CICERO DR                                   ¨ Contingent
           ALPHARETA GA 30022
                                                             ¨ Unliquidated
                                                             ¨ Disputed
           Date or dates debt was incurred                   Basis for the claim:
           VARIOUS                                           TRADE ACCOUNTS PAYABLE
           Last 4 digits of account number:                  Is the claim subject to offset?

                                                             þ No
                                                             ¨ Yes

3.995.     Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                             Check all that apply.
           KEANE, ERIC JAMES                                                                                 UNDETERMINED
           J. NELSON THOMAS THOMAS & SOLOMON LLP             þ Contingent
           693 EAST AVENUE
           ROCHESTER NY 14607                                þ Unliquidated
                                                             þ Disputed
           Date or dates debt was incurred                   Basis for the claim:
           VARIOUS                                           CIVIL ACTION NO. 6:15-CV-06742
                                                             PENDING LITIGATION
           Last 4 digits of account number:
                                                             Is the claim subject to offset?

                                                             þ No
                                                             ¨ Yes

3.996.     Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                             Check all that apply.
           KEATHLEY SERVICE CO INC                                                                           $174.40
           196 MAJESTIC CIRCLE                               ¨ Contingent
           MAUMELLE AR 72113
                                                             ¨ Unliquidated
                                                             ¨ Disputed
           Date or dates debt was incurred                   Basis for the claim:
           VARIOUS                                           TRADE ACCOUNTS PAYABLE
           Last 4 digits of account number:                  Is the claim subject to offset?

                                                             þ No
                                                             ¨ Yes




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3.997.     Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                             Check all that apply.
           KELCH, BLAKE TAYLOR                                                                               UNDETERMINED
           J. NELSON THOMAS THOMAS & SOLOMON LLP             þ Contingent
           693 EAST AVENUE
           ROCHESTER NY 14607                                þ Unliquidated
                                                             þ Disputed
           Date or dates debt was incurred                   Basis for the claim:
           VARIOUS                                           CIVIL ACTION NO. 6:15-CV-06742
                                                             PENDING LITIGATION
           Last 4 digits of account number:
                                                             Is the claim subject to offset?

                                                             þ No
                                                             ¨ Yes

3.998.     Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                             Check all that apply.
           KELCH, CAITLIN LAURA                                                                              UNDETERMINED
           J. NELSON THOMAS THOMAS & SOLOMON LLP             þ Contingent
           693 EAST AVENUE
           ROCHESTER NY 14607                                þ Unliquidated
                                                             þ Disputed
           Date or dates debt was incurred                   Basis for the claim:
           VARIOUS                                           CIVIL ACTION NO. 6:15-CV-06742
                                                             PENDING LITIGATION
           Last 4 digits of account number:
                                                             Is the claim subject to offset?

                                                             þ No
                                                             ¨ Yes

3.999.     Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                             Check all that apply.
           KELLER FAMILY TRUST                                                                               UNDETERMINED
           JOHN KELLER TRUSTEE                               þ Contingent
           JOHN KELLER
           14435-C BIG BASIN WAY #291                        þ Unliquidated
           SARATOGA CA 95070                                 þ Disputed
           Date or dates debt was incurred                   Basis for the claim:
           VARIOUS                                           LANDLORD CLAIM
           Last 4 digits of account number:                  Is the claim subject to offset?

                                                             þ No
                                                             ¨ Yes




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3.1000.    Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                             Check all that apply.
           KELLER, BRANDI SHARAE                                                                             UNDETERMINED
           J. NELSON THOMAS THOMAS & SOLOMON LLP             þ Contingent
           693 EAST AVENUE
           ROCHESTER NY 14607                                þ Unliquidated
                                                             þ Disputed
           Date or dates debt was incurred                   Basis for the claim:
           VARIOUS                                           CIVIL ACTION NO. 6:15-CV-06742
                                                             PENDING LITIGATION
           Last 4 digits of account number:
                                                             Is the claim subject to offset?

                                                             þ No
                                                             ¨ Yes

3.1001.    Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                             Check all that apply.
           KELLER, JOHN D.                                                                                   UNDETERMINED
           J. NELSON THOMAS THOMAS & SOLOMON LLP             þ Contingent
           693 EAST AVENUE
           ROCHESTER NY 14607                                þ Unliquidated
                                                             þ Disputed
           Date or dates debt was incurred                   Basis for the claim:
           VARIOUS                                           CIVIL ACTION NO. 6:15-CV-06742
                                                             PENDING LITIGATION
           Last 4 digits of account number:
                                                             Is the claim subject to offset?

                                                             þ No
                                                             ¨ Yes

3.1002.    Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                             Check all that apply.
           KELLY, DEIDRE LEE                                                                                 UNDETERMINED
           J. NELSON THOMAS THOMAS & SOLOMON LLP             þ Contingent
           693 EAST AVENUE
           ROCHESTER NY 14607                                þ Unliquidated
                                                             þ Disputed
           Date or dates debt was incurred                   Basis for the claim:
           VARIOUS                                           CIVIL ACTION NO. 6:15-CV-06742
                                                             PENDING LITIGATION
           Last 4 digits of account number:
                                                             Is the claim subject to offset?

                                                             þ No
                                                             ¨ Yes




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3.1003.    Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                             Check all that apply.
           KELLY, SVETLANA ALEXANDROVNA                                                                      UNDETERMINED
           J. NELSON THOMAS THOMAS & SOLOMON LLP             þ Contingent
           693 EAST AVENUE
           ROCHESTER NY 14607                                þ Unliquidated
                                                             þ Disputed
           Date or dates debt was incurred                   Basis for the claim:
           VARIOUS                                           CIVIL ACTION NO. 6:15-CV-06742
                                                             PENDING LITIGATION
           Last 4 digits of account number:
                                                             Is the claim subject to offset?

                                                             þ No
                                                             ¨ Yes

3.1004.    Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                             Check all that apply.
           KENDALL, ERIC BRIAN                                                                               UNDETERMINED
           J. NELSON THOMAS THOMAS & SOLOMON LLP             þ Contingent
           693 EAST AVENUE
           ROCHESTER NY 14607                                þ Unliquidated
                                                             þ Disputed
           Date or dates debt was incurred                   Basis for the claim:
           VARIOUS                                           CIVIL ACTION NO. 6:15-CV-06742
                                                             PENDING LITIGATION
           Last 4 digits of account number:
                                                             Is the claim subject to offset?

                                                             þ No
                                                             ¨ Yes

3.1005.    Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                             Check all that apply.
           KENDALLGATE CENTER ASSOCIATES LTD                                                                 UNDETERMINED
           BERKOWITZ DEVELOPMENT GROUP                       þ Contingent
           DAVID MARKOWITZ PROPERTY MANAGER
           2665 S BAYSHORE DR STE 1200                       þ Unliquidated
           COCONUT GROVE FL 33133                            þ Disputed
           Date or dates debt was incurred                   Basis for the claim:
           VARIOUS                                           LANDLORD CLAIM
           Last 4 digits of account number:                  Is the claim subject to offset?

                                                             þ No
                                                             ¨ Yes




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3.1006.    Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                             Check all that apply.
           KENNEALLY, KIMBERLY DAWN                                                                          UNDETERMINED
           J. NELSON THOMAS THOMAS & SOLOMON LLP             þ Contingent
           693 EAST AVENUE
           ROCHESTER NY 14607                                þ Unliquidated
                                                             þ Disputed
           Date or dates debt was incurred                   Basis for the claim:
           VARIOUS                                           CIVIL ACTION NO. 6:15-CV-06742
                                                             PENDING LITIGATION
           Last 4 digits of account number:
                                                             Is the claim subject to offset?

                                                             þ No
                                                             ¨ Yes

3.1007.    Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                             Check all that apply.
           KENNETT, MICHAEL RYAN                                                                             UNDETERMINED
           J. NELSON THOMAS THOMAS & SOLOMON LLP             þ Contingent
           693 EAST AVENUE
           ROCHESTER NY 14607                                þ Unliquidated
                                                             þ Disputed
           Date or dates debt was incurred                   Basis for the claim:
           VARIOUS                                           CIVIL ACTION NO. 6:15-CV-06742
                                                             PENDING LITIGATION
           Last 4 digits of account number:
                                                             Is the claim subject to offset?

                                                             þ No
                                                             ¨ Yes

3.1008.    Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                             Check all that apply.
           KENNEY, QUINN THOMAS                                                                              UNDETERMINED
           J. NELSON THOMAS THOMAS & SOLOMON LLP             þ Contingent
           693 EAST AVENUE
           ROCHESTER NY 14607                                þ Unliquidated
                                                             þ Disputed
           Date or dates debt was incurred                   Basis for the claim:
           VARIOUS                                           CIVIL ACTION NO. 6:15-CV-06742
                                                             PENDING LITIGATION
           Last 4 digits of account number:
                                                             Is the claim subject to offset?

                                                             þ No
                                                             ¨ Yes




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3.1009.    Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                             Check all that apply.
           KENT, ALEXA BRIELLE                                                                               UNDETERMINED
           J. NELSON THOMAS THOMAS & SOLOMON LLP             þ Contingent
           693 EAST AVENUE
           ROCHESTER NY 14607                                þ Unliquidated
                                                             þ Disputed
           Date or dates debt was incurred                   Basis for the claim:
           VARIOUS                                           CIVIL ACTION NO. 6:15-CV-06742
                                                             PENDING LITIGATION
           Last 4 digits of account number:
                                                             Is the claim subject to offset?

                                                             þ No
                                                             ¨ Yes

3.1010.    Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                             Check all that apply.
           KERN, CHRISTOPHER RAYMOND                                                                         UNDETERMINED
           J. NELSON THOMAS THOMAS & SOLOMON LLP             þ Contingent
           693 EAST AVENUE
           ROCHESTER NY 14607                                þ Unliquidated
                                                             þ Disputed
           Date or dates debt was incurred                   Basis for the claim:
           VARIOUS                                           CIVIL ACTION NO. 6:15-CV-06742
                                                             PENDING LITIGATION
           Last 4 digits of account number:
                                                             Is the claim subject to offset?

                                                             þ No
                                                             ¨ Yes

3.1011.    Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                             Check all that apply.
           KERSMAN, KARA ELIZABETH                                                                           UNDETERMINED
           J. NELSON THOMAS THOMAS & SOLOMON LLP             þ Contingent
           693 EAST AVENUE
           ROCHESTER NY 14607                                þ Unliquidated
                                                             þ Disputed
           Date or dates debt was incurred                   Basis for the claim:
           VARIOUS                                           CIVIL ACTION NO. 6:15-CV-06742
                                                             PENDING LITIGATION
           Last 4 digits of account number:
                                                             Is the claim subject to offset?

                                                             þ No
                                                             ¨ Yes




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3.1012.    Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                             Check all that apply.
           KETCHUM, RORY J.                                                                                  UNDETERMINED
           J. NELSON THOMAS THOMAS & SOLOMON LLP             þ Contingent
           693 EAST AVENUE
           ROCHESTER NY 14607                                þ Unliquidated
                                                             þ Disputed
           Date or dates debt was incurred                   Basis for the claim:
           VARIOUS                                           CIVIL ACTION NO. 6:15-CV-06742
                                                             PENDING LITIGATION
           Last 4 digits of account number:
                                                             Is the claim subject to offset?

                                                             þ No
                                                             ¨ Yes

3.1013.    Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                             Check all that apply.
           KEYIFLI, GANI                                                                                     UNDETERMINED
           J. NELSON THOMAS THOMAS & SOLOMON LLP             þ Contingent
           693 EAST AVENUE
           ROCHESTER NY 14607                                þ Unliquidated
                                                             þ Disputed
           Date or dates debt was incurred                   Basis for the claim:
           VARIOUS                                           CIVIL ACTION NO. 6:15-CV-06742
                                                             PENDING LITIGATION
           Last 4 digits of account number:
                                                             Is the claim subject to offset?

                                                             þ No
                                                             ¨ Yes

3.1014.    Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                             Check all that apply.
           KIDDER, BRANDY                                                                                    UNDETERMINED
           J. NELSON THOMAS THOMAS & SOLOMON LLP             þ Contingent
           693 EAST AVENUE
           ROCHESTER NY 14607                                þ Unliquidated
                                                             þ Disputed
           Date or dates debt was incurred                   Basis for the claim:
           VARIOUS                                           CIVIL ACTION NO. 6:15-CV-06742
                                                             PENDING LITIGATION
           Last 4 digits of account number:
                                                             Is the claim subject to offset?

                                                             þ No
                                                             ¨ Yes




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Debtor    MAC ACQUISITION LLC                                                                                Case number (if known) 17-12224




3.1015.    Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                             Check all that apply.
           KIEFER, ASHELI                                                                                    UNDETERMINED
           J. NELSON THOMAS THOMAS & SOLOMON LLP             þ Contingent
           693 EAST AVENUE
           ROCHESTER NY 14607                                þ Unliquidated
                                                             þ Disputed
           Date or dates debt was incurred                   Basis for the claim:
           VARIOUS                                           CIVIL ACTION NO. 6:15-CV-06742
                                                             PENDING LITIGATION
           Last 4 digits of account number:
                                                             Is the claim subject to offset?

                                                             þ No
                                                             ¨ Yes

3.1016.    Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                             Check all that apply.
           KIENHOLZ, SORAIDA M.                                                                              UNDETERMINED
           J. NELSON THOMAS THOMAS & SOLOMON LLP             þ Contingent
           693 EAST AVENUE
           ROCHESTER NY 14607                                þ Unliquidated
                                                             þ Disputed
           Date or dates debt was incurred                   Basis for the claim:
           VARIOUS                                           CIVIL ACTION NO. 6:15-CV-06742
                                                             PENDING LITIGATION
           Last 4 digits of account number:
                                                             Is the claim subject to offset?

                                                             þ No
                                                             ¨ Yes

3.1017.    Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                             Check all that apply.
           KILE, KIMBERLI ANNE                                                                               UNDETERMINED
           J. NELSON THOMAS THOMAS & SOLOMON LLP             þ Contingent
           693 EAST AVENUE
           ROCHESTER NY 14607                                þ Unliquidated
                                                             þ Disputed
           Date or dates debt was incurred                   Basis for the claim:
           VARIOUS                                           CIVIL ACTION NO. 6:15-CV-06742
                                                             PENDING LITIGATION
           Last 4 digits of account number:
                                                             Is the claim subject to offset?

                                                             þ No
                                                             ¨ Yes




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3.1018.    Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                             Check all that apply.
           KILEY SIPPERLEY, LISA MARIE                                                                       UNDETERMINED
           J. NELSON THOMAS THOMAS & SOLOMON LLP             þ Contingent
           693 EAST AVENUE
           ROCHESTER NY 14607                                þ Unliquidated
                                                             þ Disputed
           Date or dates debt was incurred                   Basis for the claim:
           VARIOUS                                           CIVIL ACTION NO. 6:15-CV-06742
                                                             PENDING LITIGATION
           Last 4 digits of account number:
                                                             Is the claim subject to offset?

                                                             þ No
                                                             ¨ Yes

3.1019.    Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                             Check all that apply.
           KIM, NICHOLAS                                                                                     UNDETERMINED
           J. NELSON THOMAS THOMAS & SOLOMON LLP             þ Contingent
           693 EAST AVENUE
           ROCHESTER NY 14607                                þ Unliquidated
                                                             þ Disputed
           Date or dates debt was incurred                   Basis for the claim:
           VARIOUS                                           CIVIL ACTION NO. 6:15-CV-06742
                                                             PENDING LITIGATION
           Last 4 digits of account number:
                                                             Is the claim subject to offset?

                                                             þ No
                                                             ¨ Yes

3.1020.    Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                             Check all that apply.
           KIMBALL & THOMPSON PRODUCE CO INC                                                                 $2,784.03
           305 S LINCOLN ST                                  ¨ Contingent
           LOWELL AR 72745
                                                             ¨ Unliquidated
                                                             ¨ Disputed
           Date or dates debt was incurred                   Basis for the claim:
           VARIOUS                                           TRADE ACCOUNTS PAYABLE
           Last 4 digits of account number:                  Is the claim subject to offset?

                                                             þ No
                                                             ¨ Yes




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3.1021.    Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                             Check all that apply.
           KIMBROUGH FIRE EXTINGUISHER CO., INC.                                                             $4,629.98
           PO BOX 13296                                      ¨ Contingent
           ARLINGTON TX 76094
                                                             ¨ Unliquidated
                                                             ¨ Disputed
           Date or dates debt was incurred                   Basis for the claim:
           VARIOUS                                           TRADE ACCOUNTS PAYABLE
           Last 4 digits of account number:                  Is the claim subject to offset?

                                                             þ No
                                                             ¨ Yes

3.1022.    Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                             Check all that apply.
           KIMCO CARROLLWOOD 664 INC                                                                         UNDETERMINED
           KIMCO REALTY CORP                                 þ Contingent
           VICKI ANTHONY
           3333 NEW HYDE PK RD STE 100                       þ Unliquidated
           NEW HYDE PARK NY 11042                            þ Disputed
           Date or dates debt was incurred                   Basis for the claim:
           VARIOUS                                           LANDLORD CLAIM
           Last 4 digits of account number:                  Is the claim subject to offset?

                                                             þ No
                                                             ¨ Yes

3.1023.    Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                             Check all that apply.
           KING & SPALDING LLP                                                                               $19,031.54
           PO BOX 116133                                     ¨ Contingent
           ATLANTA GA 30368
                                                             ¨ Unliquidated
                                                             ¨ Disputed
           Date or dates debt was incurred                   Basis for the claim:
           VARIOUS                                           LEGAL
           Last 4 digits of account number:                  Is the claim subject to offset?

                                                             þ No
                                                             ¨ Yes




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3.1024.    Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                             Check all that apply.
           KING, COLBY DARTY                                                                                 UNDETERMINED
           J. NELSON THOMAS THOMAS & SOLOMON LLP             þ Contingent
           693 EAST AVENUE
           ROCHESTER NY 14607                                þ Unliquidated
                                                             þ Disputed
           Date or dates debt was incurred                   Basis for the claim:
           VARIOUS                                           CIVIL ACTION NO. 6:15-CV-06742
                                                             PENDING LITIGATION
           Last 4 digits of account number:
                                                             Is the claim subject to offset?

                                                             þ No
                                                             ¨ Yes

3.1025.    Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                             Check all that apply.
           KINGSTOWNE TOWN CENTER LP                                                                         UNDETERMINED
           C O COMAR MANAGEMENT INC                          þ Contingent
           JOHN HALLE PRESIDENT
           2900 LINDEN LN STE 300                            þ Unliquidated
           SILVER SPRING MD 20910                            þ Disputed
           Date or dates debt was incurred                   Basis for the claim:
           VARIOUS                                           LANDLORD CLAIM
           Last 4 digits of account number:                  Is the claim subject to offset?

                                                             þ No
                                                             ¨ Yes

3.1026.    Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                             Check all that apply.
           KIPER, BEVERLY A.                                                                                 UNDETERMINED
           J. NELSON THOMAS THOMAS & SOLOMON LLP             þ Contingent
           693 EAST AVENUE
           ROCHESTER NY 14607                                þ Unliquidated
                                                             þ Disputed
           Date or dates debt was incurred                   Basis for the claim:
           VARIOUS                                           CIVIL ACTION NO. 6:15-CV-06742
                                                             PENDING LITIGATION
           Last 4 digits of account number:
                                                             Is the claim subject to offset?

                                                             þ No
                                                             ¨ Yes




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3.1027.    Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                             Check all that apply.
           KISS ELECTRICAL CONTRACTORS INC.                                                                  $1,106.16
           6 LOMBARDY PLACE                                  ¨ Contingent
           MAPLEWOOD NJ 07040
                                                             ¨ Unliquidated
                                                             ¨ Disputed
           Date or dates debt was incurred                   Basis for the claim:
           VARIOUS                                           TRADE ACCOUNTS PAYABLE
           Last 4 digits of account number:                  Is the claim subject to offset?

                                                             þ No
                                                             ¨ Yes

3.1028.    Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                             Check all that apply.
           KISS-BICE, DONNA MARIE                                                                            UNDETERMINED
           J. NELSON THOMAS THOMAS & SOLOMON LLP             þ Contingent
           693 EAST AVENUE
           ROCHESTER NY 14607                                þ Unliquidated
                                                             þ Disputed
           Date or dates debt was incurred                   Basis for the claim:
           VARIOUS                                           CIVIL ACTION NO. 6:15-CV-06742
                                                             PENDING LITIGATION
           Last 4 digits of account number:
                                                             Is the claim subject to offset?

                                                             þ No
                                                             ¨ Yes

3.1029.    Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                             Check all that apply.
           KIZER, PORSCHE M.                                                                                 UNDETERMINED
           J. NELSON THOMAS THOMAS & SOLOMON LLP             þ Contingent
           693 EAST AVENUE
           ROCHESTER NY 14607                                þ Unliquidated
                                                             þ Disputed
           Date or dates debt was incurred                   Basis for the claim:
           VARIOUS                                           CIVIL ACTION NO. 6:15-CV-06742
                                                             PENDING LITIGATION
           Last 4 digits of account number:
                                                             Is the claim subject to offset?

                                                             þ No
                                                             ¨ Yes




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3.1030.    Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                             Check all that apply.
           KLEIN, BRIDGET                                                                                    UNDETERMINED
           J. NELSON THOMAS THOMAS & SOLOMON LLP             þ Contingent
           693 EAST AVENUE
           ROCHESTER NY 14607                                þ Unliquidated
                                                             þ Disputed
           Date or dates debt was incurred                   Basis for the claim:
           VARIOUS                                           CIVIL ACTION NO. 6:15-CV-06742
                                                             PENDING LITIGATION
           Last 4 digits of account number:
                                                             Is the claim subject to offset?

                                                             þ No
                                                             ¨ Yes

3.1031.    Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                             Check all that apply.
           KLEMBITH, MARY JASMINE                                                                            UNDETERMINED
           J. NELSON THOMAS THOMAS & SOLOMON LLP             þ Contingent
           693 EAST AVENUE
           ROCHESTER NY 14607                                þ Unliquidated
                                                             þ Disputed
           Date or dates debt was incurred                   Basis for the claim:
           VARIOUS                                           CIVIL ACTION NO. 6:15-CV-06742
                                                             PENDING LITIGATION
           Last 4 digits of account number:
                                                             Is the claim subject to offset?

                                                             þ No
                                                             ¨ Yes

3.1032.    Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                             Check all that apply.
           KNOCKUM, CHRISTOPHER GREGORY                                                                      UNDETERMINED
           J. NELSON THOMAS THOMAS & SOLOMON LLP             þ Contingent
           693 EAST AVENUE
           ROCHESTER NY 14607                                þ Unliquidated
                                                             þ Disputed
           Date or dates debt was incurred                   Basis for the claim:
           VARIOUS                                           CIVIL ACTION NO. 6:15-CV-06742
                                                             PENDING LITIGATION
           Last 4 digits of account number:
                                                             Is the claim subject to offset?

                                                             þ No
                                                             ¨ Yes




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3.1033.    Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                             Check all that apply.
           KOHLER, FRANCIS S.                                                                                UNDETERMINED
           J. NELSON THOMAS THOMAS & SOLOMON LLP             þ Contingent
           693 EAST AVENUE
           ROCHESTER NY 14607                                þ Unliquidated
                                                             þ Disputed
           Date or dates debt was incurred                   Basis for the claim:
           VARIOUS                                           CIVIL ACTION NO. 6:15-CV-06742
                                                             PENDING LITIGATION
           Last 4 digits of account number:
                                                             Is the claim subject to offset?

                                                             þ No
                                                             ¨ Yes

3.1034.    Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                             Check all that apply.
           KOHLER, FRANCIS S.                                                                                UNDETERMINED
           J. NELSON THOMAS THOMAS & SOLOMON LLP             þ Contingent
           693 EAST AVENUE
           ROCHESTER NY 14607                                þ Unliquidated
                                                             þ Disputed
           Date or dates debt was incurred                   Basis for the claim:
           VARIOUS                                           CIVIL ACTION NO. 6:15-CV-06742
                                                             PENDING LITIGATION
           Last 4 digits of account number:
                                                             Is the claim subject to offset?

                                                             þ No
                                                             ¨ Yes

3.1035.    Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                             Check all that apply.
           KOLESAR, NICOLE MARIE                                                                             UNDETERMINED
           J. NELSON THOMAS THOMAS & SOLOMON LLP             þ Contingent
           693 EAST AVENUE
           ROCHESTER NY 14607                                þ Unliquidated
                                                             þ Disputed
           Date or dates debt was incurred                   Basis for the claim:
           VARIOUS                                           CIVIL ACTION NO. 6:15-CV-06742
                                                             PENDING LITIGATION
           Last 4 digits of account number:
                                                             Is the claim subject to offset?

                                                             þ No
                                                             ¨ Yes




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3.1036.    Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                             Check all that apply.
           KONARE, MAMADOU                                                                                   UNDETERMINED
                                                             þ Contingent
                                                             þ Unliquidated
                                                             þ Disputed
           Date or dates debt was incurred                   Basis for the claim:
           VARIOUS                                           WORKERS COMPENSATION CLAIM
           Last 4 digits of account number:                  Is the claim subject to offset?

                                                             þ No
                                                             ¨ Yes

3.1037.    Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                             Check all that apply.
           KREICHMAN, ANATOLY                                                                                UNDETERMINED
           J. NELSON THOMAS THOMAS & SOLOMON LLP             þ Contingent
           693 EAST AVENUE
           ROCHESTER NY 14607                                þ Unliquidated
                                                             þ Disputed
           Date or dates debt was incurred                   Basis for the claim:
           VARIOUS                                           CIVIL ACTION NO. 6:15-CV-06742
                                                             PENDING LITIGATION
           Last 4 digits of account number:
                                                             Is the claim subject to offset?

                                                             þ No
                                                             ¨ Yes

3.1038.    Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                             Check all that apply.
           KRIEGER, DUSTIN CRAIG                                                                             UNDETERMINED
           J. NELSON THOMAS THOMAS & SOLOMON LLP             þ Contingent
           693 EAST AVENUE
           ROCHESTER NY 14607                                þ Unliquidated
                                                             þ Disputed
           Date or dates debt was incurred                   Basis for the claim:
           VARIOUS                                           CIVIL ACTION NO. 6:15-CV-06742
                                                             PENDING LITIGATION
           Last 4 digits of account number:
                                                             Is the claim subject to offset?

                                                             þ No
                                                             ¨ Yes




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3.1039.    Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                             Check all that apply.
           KROPCZAK, GREGORY A.                                                                              UNDETERMINED
           J. NELSON THOMAS THOMAS & SOLOMON LLP             þ Contingent
           693 EAST AVENUE
           ROCHESTER NY 14607                                þ Unliquidated
                                                             þ Disputed
           Date or dates debt was incurred                   Basis for the claim:
           VARIOUS                                           CIVIL ACTION NO. 6:15-CV-06742
                                                             PENDING LITIGATION
           Last 4 digits of account number:
                                                             Is the claim subject to offset?

                                                             þ No
                                                             ¨ Yes

3.1040.    Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                             Check all that apply.
           KROW, HOLLY DANIELLE                                                                              UNDETERMINED
           J. NELSON THOMAS THOMAS & SOLOMON LLP             þ Contingent
           693 EAST AVENUE
           ROCHESTER NY 14607                                þ Unliquidated
                                                             þ Disputed
           Date or dates debt was incurred                   Basis for the claim:
           VARIOUS                                           CIVIL ACTION NO. 6:15-CV-06742
                                                             PENDING LITIGATION
           Last 4 digits of account number:
                                                             Is the claim subject to offset?

                                                             þ No
                                                             ¨ Yes

3.1041.    Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                             Check all that apply.
           KRUMWIEDE, ROBERT                                                                                 UNDETERMINED
           J. NELSON THOMAS THOMAS & SOLOMON LLP             þ Contingent
           693 EAST AVENUE
           ROCHESTER NY 14607                                þ Unliquidated
                                                             þ Disputed
           Date or dates debt was incurred                   Basis for the claim:
           VARIOUS                                           CIVIL ACTION NO. 6:15-CV-06742
                                                             PENDING LITIGATION
           Last 4 digits of account number:
                                                             Is the claim subject to offset?

                                                             þ No
                                                             ¨ Yes




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3.1042.    Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                             Check all that apply.
           KRYSTAL KLEEN INC                                                                                 $625.00
           PO BOX 908                                        ¨ Contingent
           WARREN MI 48090
                                                             ¨ Unliquidated
                                                             ¨ Disputed
           Date or dates debt was incurred                   Basis for the claim:
           VARIOUS                                           TRADE ACCOUNTS PAYABLE
           Last 4 digits of account number:                  Is the claim subject to offset?

                                                             þ No
                                                             ¨ Yes

3.1043.    Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                             Check all that apply.
           KUBICKI DRAPER PA                                                                                 $477.50
           25 WEST FLAGER ST PH                              ¨ Contingent
           MIAMI FL 33130
                                                             ¨ Unliquidated
                                                             ¨ Disputed
           Date or dates debt was incurred                   Basis for the claim:
           VARIOUS                                           TRADE ACCOUNTS PAYABLE
           Last 4 digits of account number:                  Is the claim subject to offset?

                                                             þ No
                                                             ¨ Yes

3.1044.    Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                             Check all that apply.
           KULURIS-SPADE, NICOLE ANNE ZITA                                                                   UNDETERMINED
           J. NELSON THOMAS THOMAS & SOLOMON LLP             þ Contingent
           693 EAST AVENUE
           ROCHESTER NY 14607                                þ Unliquidated
                                                             þ Disputed
           Date or dates debt was incurred                   Basis for the claim:
           VARIOUS                                           CIVIL ACTION NO. 6:15-CV-06742
                                                             PENDING LITIGATION
           Last 4 digits of account number:
                                                             Is the claim subject to offset?

                                                             þ No
                                                             ¨ Yes




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3.1045.    Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                             Check all that apply.
           KUMMING, ERICK                                                                                    UNDETERMINED
           J. NELSON THOMAS THOMAS & SOLOMON LLP             þ Contingent
           693 EAST AVENUE
           ROCHESTER NY 14607                                þ Unliquidated
                                                             þ Disputed
           Date or dates debt was incurred                   Basis for the claim:
           VARIOUS                                           CIVIL ACTION NO. 6:15-CV-06742
                                                             PENDING LITIGATION
           Last 4 digits of account number:
                                                             Is the claim subject to offset?

                                                             þ No
                                                             ¨ Yes

3.1046.    Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                             Check all that apply.
           KUPFER, MAXIM                                                                                     UNDETERMINED
           J. NELSON THOMAS THOMAS & SOLOMON LLP             þ Contingent
           693 EAST AVENUE
           ROCHESTER NY 14607                                þ Unliquidated
                                                             þ Disputed
           Date or dates debt was incurred                   Basis for the claim:
           VARIOUS                                           CIVIL ACTION NO. 6:15-CV-06742
                                                             PENDING LITIGATION
           Last 4 digits of account number:
                                                             Is the claim subject to offset?

                                                             þ No
                                                             ¨ Yes

3.1047.    Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                             Check all that apply.
           KUPFER, MAXIM B.                                                                                  UNDETERMINED
           J. NELSON THOMAS THOMAS & SOLOMON LLP             þ Contingent
           693 EAST AVENUE
           ROCHESTER NY 14607                                þ Unliquidated
                                                             þ Disputed
           Date or dates debt was incurred                   Basis for the claim:
           VARIOUS                                           CIVIL ACTION NO. 6:15-CV-06742
                                                             PENDING LITIGATION
           Last 4 digits of account number:
                                                             Is the claim subject to offset?

                                                             þ No
                                                             ¨ Yes




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3.1048.    Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                             Check all that apply.
           LA GRASSO BROS INC                                                                                $15,975.48
           PO BOX 2638                                       ¨ Contingent
           DETRIOT MI 48202
                                                             ¨ Unliquidated
                                                             ¨ Disputed
           Date or dates debt was incurred                   Basis for the claim:
           VARIOUS                                           TRADE ACCOUNTS PAYABLE
           Last 4 digits of account number:                  Is the claim subject to offset?

                                                             þ No
                                                             ¨ Yes

3.1049.    Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                             Check all that apply.
           LABRINY, MOURAD                                                                                   UNDETERMINED
           J. NELSON THOMAS THOMAS & SOLOMON LLP             þ Contingent
           693 EAST AVENUE
           ROCHESTER NY 14607                                þ Unliquidated
                                                             þ Disputed
           Date or dates debt was incurred                   Basis for the claim:
           VARIOUS                                           CIVIL ACTION NO. 6:15-CV-06742
                                                             PENDING LITIGATION
           Last 4 digits of account number:
                                                             Is the claim subject to offset?

                                                             þ No
                                                             ¨ Yes

3.1050.    Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                             Check all that apply.
           LAFRANCHISE, VERONICA MAY                                                                         UNDETERMINED
           J. NELSON THOMAS THOMAS & SOLOMON LLP             þ Contingent
           693 EAST AVENUE
           ROCHESTER NY 14607                                þ Unliquidated
                                                             þ Disputed
           Date or dates debt was incurred                   Basis for the claim:
           VARIOUS                                           CIVIL ACTION NO. 6:15-CV-06742
                                                             PENDING LITIGATION
           Last 4 digits of account number:
                                                             Is the claim subject to offset?

                                                             þ No
                                                             ¨ Yes




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3.1051.    Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                             Check all that apply.
           LAGARDE, MELZENA                                                                                  UNDETERMINED
           J. NELSON THOMAS THOMAS & SOLOMON LLP             þ Contingent
           693 EAST AVENUE
           ROCHESTER NY 14607                                þ Unliquidated
                                                             þ Disputed
           Date or dates debt was incurred                   Basis for the claim:
           VARIOUS                                           CIVIL ACTION NO. 6:15-CV-06742
                                                             PENDING LITIGATION
           Last 4 digits of account number:
                                                             Is the claim subject to offset?

                                                             þ No
                                                             ¨ Yes

3.1052.    Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                             Check all that apply.
           LAIBLY, THOMAS B.                                                                                 UNDETERMINED
           J. NELSON THOMAS THOMAS & SOLOMON LLP             þ Contingent
           693 EAST AVENUE
           ROCHESTER NY 14607                                þ Unliquidated
                                                             þ Disputed
           Date or dates debt was incurred                   Basis for the claim:
           VARIOUS                                           CIVIL ACTION NO. 6:15-CV-06742
                                                             PENDING LITIGATION
           Last 4 digits of account number:
                                                             Is the claim subject to offset?

                                                             þ No
                                                             ¨ Yes

3.1053.    Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                             Check all that apply.
           LAKE BEVERAGE CORPORATION                                                                         $45.60
           900 JOHN STREET                                   ¨ Contingent
           WEST HENRIETTA NY 14586
                                                             ¨ Unliquidated
                                                             ¨ Disputed
           Date or dates debt was incurred                   Basis for the claim:
           VARIOUS                                           TRADE ACCOUNTS PAYABLE
           Last 4 digits of account number:                  Is the claim subject to offset?

                                                             þ No
                                                             ¨ Yes




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3.1054.    Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                             Check all that apply.
           LAKOTA PLUMBING INC                                                                               $2,104.62
           3901 W. 88TH AVE.                                 ¨ Contingent
           WESTMINISTER CO 80031
                                                             ¨ Unliquidated
                                                             ¨ Disputed
           Date or dates debt was incurred                   Basis for the claim:
           VARIOUS                                           TRADE ACCOUNTS PAYABLE
           Last 4 digits of account number:                  Is the claim subject to offset?

                                                             þ No
                                                             ¨ Yes

3.1055.    Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                             Check all that apply.
           LALLY, PATRICK COOGAN                                                                             UNDETERMINED
           J. NELSON THOMAS THOMAS & SOLOMON LLP             þ Contingent
           693 EAST AVENUE
           ROCHESTER NY 14607                                þ Unliquidated
                                                             þ Disputed
           Date or dates debt was incurred                   Basis for the claim:
           VARIOUS                                           CIVIL ACTION NO. 6:15-CV-06742
                                                             PENDING LITIGATION
           Last 4 digits of account number:
                                                             Is the claim subject to offset?

                                                             þ No
                                                             ¨ Yes

3.1056.    Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                             Check all that apply.
           LANCASTER, TIA LEIGH                                                                              UNDETERMINED
           J. NELSON THOMAS THOMAS & SOLOMON LLP             þ Contingent
           693 EAST AVENUE
           ROCHESTER NY 14607                                þ Unliquidated
                                                             þ Disputed
           Date or dates debt was incurred                   Basis for the claim:
           VARIOUS                                           CIVIL ACTION NO. 6:15-CV-06742
                                                             PENDING LITIGATION
           Last 4 digits of account number:
                                                             Is the claim subject to offset?

                                                             þ No
                                                             ¨ Yes




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3.1057.    Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                             Check all that apply.
           LAND, CHRISTINE A.                                                                                UNDETERMINED
           J. NELSON THOMAS THOMAS & SOLOMON LLP             þ Contingent
           693 EAST AVENUE
           ROCHESTER NY 14607                                þ Unliquidated
                                                             þ Disputed
           Date or dates debt was incurred                   Basis for the claim:
           VARIOUS                                           CIVIL ACTION NO. 6:15-CV-06742
                                                             PENDING LITIGATION
           Last 4 digits of account number:
                                                             Is the claim subject to offset?

                                                             þ No
                                                             ¨ Yes

3.1058.    Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                             Check all that apply.
           LANE, MICHAEL KENT                                                                                UNDETERMINED
           J. NELSON THOMAS THOMAS & SOLOMON LLP             þ Contingent
           693 EAST AVENUE
           ROCHESTER NY 14607                                þ Unliquidated
                                                             þ Disputed
           Date or dates debt was incurred                   Basis for the claim:
           VARIOUS                                           CIVIL ACTION NO. 6:15-CV-06742
                                                             PENDING LITIGATION
           Last 4 digits of account number:
                                                             Is the claim subject to offset?

                                                             þ No
                                                             ¨ Yes

3.1059.    Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                             Check all that apply.
           LANG, JOI L.                                                                                      UNDETERMINED
           J. NELSON THOMAS THOMAS & SOLOMON LLP             þ Contingent
           693 EAST AVENUE
           ROCHESTER NY 14607                                þ Unliquidated
                                                             þ Disputed
           Date or dates debt was incurred                   Basis for the claim:
           VARIOUS                                           CIVIL ACTION NO. 6:15-CV-06742
                                                             PENDING LITIGATION
           Last 4 digits of account number:
                                                             Is the claim subject to offset?

                                                             þ No
                                                             ¨ Yes




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3.1060.    Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                             Check all that apply.
           LANGER, LISA MARIE                                                                                UNDETERMINED
           J. NELSON THOMAS THOMAS & SOLOMON LLP             þ Contingent
           693 EAST AVENUE
           ROCHESTER NY 14607                                þ Unliquidated
                                                             þ Disputed
           Date or dates debt was incurred                   Basis for the claim:
           VARIOUS                                           CIVIL ACTION NO. 6:15-CV-06742
                                                             PENDING LITIGATION
           Last 4 digits of account number:
                                                             Is the claim subject to offset?

                                                             þ No
                                                             ¨ Yes

3.1061.    Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                             Check all that apply.
           LANGFORD, PAUL ANTHONY                                                                            UNDETERMINED
           J. NELSON THOMAS THOMAS & SOLOMON LLP             þ Contingent
           693 EAST AVENUE
           ROCHESTER NY 14607                                þ Unliquidated
                                                             þ Disputed
           Date or dates debt was incurred                   Basis for the claim:
           VARIOUS                                           CIVIL ACTION NO. 6:15-CV-06742
                                                             PENDING LITIGATION
           Last 4 digits of account number:
                                                             Is the claim subject to offset?

                                                             þ No
                                                             ¨ Yes

3.1062.    Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                             Check all that apply.
           LANIER FORD SHAVER & PAYNE PC                                                                     $5,518.50
           2101 WEST CLINTON AVENUE                          ¨ Contingent
           SUITE 102
           HUNTSVILLE AL 35805                               ¨ Unliquidated
                                                             ¨ Disputed
           Date or dates debt was incurred                   Basis for the claim:
           VARIOUS                                           LEGAL
           Last 4 digits of account number:                  Is the claim subject to offset?

                                                             þ No
                                                             ¨ Yes




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3.1063.    Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                             Check all that apply.
           LANIER, JONATHON                                                                                  UNDETERMINED
           J. NELSON THOMAS THOMAS & SOLOMON LLP             þ Contingent
           693 EAST AVENUE
           ROCHESTER NY 14607                                þ Unliquidated
                                                             þ Disputed
           Date or dates debt was incurred                   Basis for the claim:
           VARIOUS                                           CIVIL ACTION NO. 6:15-CV-06742
                                                             PENDING LITIGATION
           Last 4 digits of account number:
                                                             Is the claim subject to offset?

                                                             þ No
                                                             ¨ Yes

3.1064.    Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                             Check all that apply.
           LANOTTE REFRIGERATION INC.                                                                        $7,068.22
           1835 S. VAN NESS AVENUE                           ¨ Contingent
           FRESNO CA 93721
                                                             ¨ Unliquidated
                                                             ¨ Disputed
           Date or dates debt was incurred                   Basis for the claim:
           VARIOUS                                           TRADE ACCOUNTS PAYABLE
           Last 4 digits of account number:                  Is the claim subject to offset?

                                                             þ No
                                                             ¨ Yes

3.1065.    Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                             Check all that apply.
           LARA, JORGE                                                                                       UNDETERMINED
                                                             þ Contingent
                                                             þ Unliquidated
                                                             þ Disputed
           Date or dates debt was incurred                   Basis for the claim:
           VARIOUS                                           WORKERS COMPENSATION CLAIM - NO.
                                                             201605261530
           Last 4 digits of account number:
                                                             Is the claim subject to offset?

                                                             þ No
                                                             ¨ Yes




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3.1066.    Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                             Check all that apply.
           LARS HOME SERVICES                                                                                $934.20
           49 ALGONQUIN ROAD                                 ¨ Contingent
           CLIFTON PARK NY 12065
                                                             ¨ Unliquidated
                                                             ¨ Disputed
           Date or dates debt was incurred                   Basis for the claim:
           VARIOUS                                           TRADE ACCOUNTS PAYABLE
           Last 4 digits of account number:                  Is the claim subject to offset?

                                                             þ No
                                                             ¨ Yes

3.1067.    Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                             Check all that apply.
           LARSON, HILLARY                                                                                   UNDETERMINED
           J. NELSON THOMAS THOMAS & SOLOMON LLP             þ Contingent
           693 EAST AVENUE
           ROCHESTER NY 14607                                þ Unliquidated
                                                             þ Disputed
           Date or dates debt was incurred                   Basis for the claim:
           VARIOUS                                           CIVIL ACTION NO. 6:15-CV-06742
                                                             PENDING LITIGATION
           Last 4 digits of account number:
                                                             Is the claim subject to offset?

                                                             þ No
                                                             ¨ Yes

3.1068.    Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                             Check all that apply.
           LATIN TILE DBA FILTAFRY OF TAMPA BAY                                                              $180.00
           PO BOX 263183                                     ¨ Contingent
           TAMPS FL 33685
                                                             ¨ Unliquidated
                                                             ¨ Disputed
           Date or dates debt was incurred                   Basis for the claim:
           VARIOUS                                           TRADE ACCOUNTS PAYABLE
           Last 4 digits of account number:                  Is the claim subject to offset?

                                                             þ No
                                                             ¨ Yes




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3.1069.    Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                             Check all that apply.
           LAURENS RESTORATION INC                                                                           $73,506.80
           1870 ELMDALE AVE                                  ¨ Contingent
           GLENVIEW IL 60026
                                                             ¨ Unliquidated
                                                             ¨ Disputed
           Date or dates debt was incurred                   Basis for the claim:
           VARIOUS                                           TRADE ACCOUNTS PAYABLE
           Last 4 digits of account number:                  Is the claim subject to offset?

                                                             þ No
                                                             ¨ Yes

3.1070.    Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                             Check all that apply.
           LAUSCH, JAMES                                                                                     UNDETERMINED
           J. NELSON THOMAS THOMAS & SOLOMON LLP             þ Contingent
           693 EAST AVENUE
           ROCHESTER NY 14607                                þ Unliquidated
                                                             þ Disputed
           Date or dates debt was incurred                   Basis for the claim:
           VARIOUS                                           CIVIL ACTION NO. 6:15-CV-06742
                                                             PENDING LITIGATION
           Last 4 digits of account number:
                                                             Is the claim subject to offset?

                                                             þ No
                                                             ¨ Yes

3.1071.    Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                             Check all that apply.
           LAVERGNE, MESHELL R.                                                                              UNDETERMINED
           J. NELSON THOMAS THOMAS & SOLOMON LLP             þ Contingent
           693 EAST AVENUE
           ROCHESTER NY 14607                                þ Unliquidated
                                                             þ Disputed
           Date or dates debt was incurred                   Basis for the claim:
           VARIOUS                                           CIVIL ACTION NO. 6:15-CV-06742
                                                             PENDING LITIGATION
           Last 4 digits of account number:
                                                             Is the claim subject to offset?

                                                             þ No
                                                             ¨ Yes




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3.1072.    Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                             Check all that apply.
           LAVOIE, MATTHEW LOUIS                                                                             UNDETERMINED
           J. NELSON THOMAS THOMAS & SOLOMON LLP             þ Contingent
           693 EAST AVENUE
           ROCHESTER NY 14607                                þ Unliquidated
                                                             þ Disputed
           Date or dates debt was incurred                   Basis for the claim:
           VARIOUS                                           CIVIL ACTION NO. 6:15-CV-06742
                                                             PENDING LITIGATION
           Last 4 digits of account number:
                                                             Is the claim subject to offset?

                                                             þ No
                                                             ¨ Yes

3.1073.    Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                             Check all that apply.
           LAW OFFICE OF ROGER W FRAZIER                                                                     $2,500.00
           145 SOUTH SIXTH AVENUE                            ¨ Contingent
           TUCSON AZ 85701
                                                             ¨ Unliquidated
                                                             ¨ Disputed
           Date or dates debt was incurred                   Basis for the claim:
           VARIOUS                                           LEGAL
           Last 4 digits of account number:                  Is the claim subject to offset?

                                                             þ No
                                                             ¨ Yes

3.1074.    Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                             Check all that apply.
           LAWN RANGER                                                                                       $378.87
           11717 TONY TEJEDA                                 ¨ Contingent
           C/O LAWN RANGER
           EL PASO TX 79936                                  ¨ Unliquidated
                                                             ¨ Disputed
           Date or dates debt was incurred                   Basis for the claim:
           VARIOUS                                           TRADE ACCOUNTS PAYABLE
           Last 4 digits of account number:                  Is the claim subject to offset?

                                                             þ No
                                                             ¨ Yes




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3.1075.    Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                             Check all that apply.
           LAWRENCE, JEFFREY M.                                                                              UNDETERMINED
           J. NELSON THOMAS THOMAS & SOLOMON LLP             þ Contingent
           693 EAST AVENUE
           ROCHESTER NY 14607                                þ Unliquidated
                                                             þ Disputed
           Date or dates debt was incurred                   Basis for the claim:
           VARIOUS                                           CIVIL ACTION NO. 6:15-CV-06742
                                                             PENDING LITIGATION
           Last 4 digits of account number:
                                                             Is the claim subject to offset?

                                                             þ No
                                                             ¨ Yes

3.1076.    Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                             Check all that apply.
           LAWRENCE, SOFIA                                                                                   UNDETERMINED
           J. NELSON THOMAS THOMAS & SOLOMON LLP             þ Contingent
           693 EAST AVENUE
           ROCHESTER NY 14607                                þ Unliquidated
                                                             þ Disputed
           Date or dates debt was incurred                   Basis for the claim:
           VARIOUS                                           CIVIL ACTION NO. 6:15-CV-06742
                                                             PENDING LITIGATION
           Last 4 digits of account number:
                                                             Is the claim subject to offset?

                                                             þ No
                                                             ¨ Yes

3.1077.    Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                             Check all that apply.
           LAWTON COMMERCIAL SERVICES LP                                                                     $2,247.98
           1444 N CENTRAL EXPRESSWAY                         ¨ Contingent
           MCKINNEY TX 75070
                                                             ¨ Unliquidated
                                                             ¨ Disputed
           Date or dates debt was incurred                   Basis for the claim:
           VARIOUS                                           TRADE ACCOUNTS PAYABLE
           Last 4 digits of account number:                  Is the claim subject to offset?

                                                             þ No
                                                             ¨ Yes




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3.1078.    Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                             Check all that apply.
           LE, THANH                                                                                         UNDETERMINED
           PAUL M. BOOTS                                     þ Contingent
                                                             þ Unliquidated
                                                             þ Disputed
           Date or dates debt was incurred                   Basis for the claim:
           VARIOUS                                           GENERAL LIABILITY CLAIMS
           Last 4 digits of account number:                  Is the claim subject to offset?

                                                             þ No
                                                             ¨ Yes

3.1079.    Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                             Check all that apply.
           LEANHART PLUMBING INC                                                                             $601.75
           PO BOX 58127                                      ¨ Contingent
           LOUISBILLE KY 40268
                                                             ¨ Unliquidated
                                                             ¨ Disputed
           Date or dates debt was incurred                   Basis for the claim:
           VARIOUS                                           TRADE ACCOUNTS PAYABLE
           Last 4 digits of account number:                  Is the claim subject to offset?

                                                             þ No
                                                             ¨ Yes

3.1080.    Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                             Check all that apply.
           LEAVY, CASSANDRA N.                                                                               UNDETERMINED
           J. NELSON THOMAS THOMAS & SOLOMON LLP             þ Contingent
           693 EAST AVENUE
           ROCHESTER NY 14607                                þ Unliquidated
                                                             þ Disputed
           Date or dates debt was incurred                   Basis for the claim:
           VARIOUS                                           CIVIL ACTION NO. 6:15-CV-06742
                                                             PENDING LITIGATION
           Last 4 digits of account number:
                                                             Is the claim subject to offset?

                                                             þ No
                                                             ¨ Yes




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3.1081.    Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                             Check all that apply.
           LECLAIRE, ANTHONY EUGENE                                                                          UNDETERMINED
           J. NELSON THOMAS THOMAS & SOLOMON LLP             þ Contingent
           693 EAST AVENUE
           ROCHESTER NY 14607                                þ Unliquidated
                                                             þ Disputed
           Date or dates debt was incurred                   Basis for the claim:
           VARIOUS                                           CIVIL ACTION NO. 6:15-CV-06742
                                                             PENDING LITIGATION
           Last 4 digits of account number:
                                                             Is the claim subject to offset?

                                                             þ No
                                                             ¨ Yes

3.1082.    Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                             Check all that apply.
           LEE, JOHN                                                                                         UNDETERMINED
           J. NELSON THOMAS THOMAS & SOLOMON LLP             þ Contingent
           693 EAST AVENUE
           ROCHESTER NY 14607                                þ Unliquidated
                                                             þ Disputed
           Date or dates debt was incurred                   Basis for the claim:
           VARIOUS                                           CIVIL ACTION NO. 6:15-CV-06742
                                                             PENDING LITIGATION
           Last 4 digits of account number:
                                                             Is the claim subject to offset?

                                                             þ No
                                                             ¨ Yes

3.1083.    Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                             Check all that apply.
           LEE, LUKE                                                                                         UNDETERMINED
           J. NELSON THOMAS THOMAS & SOLOMON LLP             þ Contingent
           693 EAST AVENUE
           ROCHESTER NY 14607                                þ Unliquidated
                                                             þ Disputed
           Date or dates debt was incurred                   Basis for the claim:
           VARIOUS                                           CIVIL ACTION NO. 6:15-CV-06742
                                                             PENDING LITIGATION
           Last 4 digits of account number:
                                                             Is the claim subject to offset?

                                                             þ No
                                                             ¨ Yes




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3.1084.    Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                             Check all that apply.
           LEE, SHANNON JEAN                                                                                 UNDETERMINED
           J. NELSON THOMAS THOMAS & SOLOMON LLP             þ Contingent
           693 EAST AVENUE
           ROCHESTER NY 14607                                þ Unliquidated
                                                             þ Disputed
           Date or dates debt was incurred                   Basis for the claim:
           VARIOUS                                           CIVIL ACTION NO. 6:15-CV-06742
                                                             PENDING LITIGATION
           Last 4 digits of account number:
                                                             Is the claim subject to offset?

                                                             þ No
                                                             ¨ Yes

3.1085.    Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                             Check all that apply.
           LEE, SHANNON JEAN                                                                                 UNDETERMINED
           J. NELSON THOMAS THOMAS & SOLOMON LLP             þ Contingent
           693 EAST AVENUE
           ROCHESTER NY 14607                                þ Unliquidated
                                                             þ Disputed
           Date or dates debt was incurred                   Basis for the claim:
           VARIOUS                                           CIVIL ACTION NO. 6:15-CV-06742
                                                             PENDING LITIGATION
           Last 4 digits of account number:
                                                             Is the claim subject to offset?

                                                             þ No
                                                             ¨ Yes

3.1086.    Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                             Check all that apply.
           LEEP, KARI L.                                                                                     UNDETERMINED
           J. NELSON THOMAS THOMAS & SOLOMON LLP             þ Contingent
           693 EAST AVENUE
           ROCHESTER NY 14607                                þ Unliquidated
                                                             þ Disputed
           Date or dates debt was incurred                   Basis for the claim:
           VARIOUS                                           CIVIL ACTION NO. 6:15-CV-06742
                                                             PENDING LITIGATION
           Last 4 digits of account number:
                                                             Is the claim subject to offset?

                                                             þ No
                                                             ¨ Yes




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Debtor    MAC ACQUISITION LLC                                                                                Case number (if known) 17-12224




3.1087.    Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                             Check all that apply.
           LEEREEDY DBA LRXD                                                                                 $293,948.22
           1480 HUMBOLDT ST                                  ¨ Contingent
           DENVER CO 80218
                                                             ¨ Unliquidated
                                                             ¨ Disputed
           Date or dates debt was incurred                   Basis for the claim:
           VARIOUS                                           TRADE ACCOUNTS PAYABLE
           Last 4 digits of account number:                  Is the claim subject to offset?

                                                             þ No
                                                             ¨ Yes

3.1088.    Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                             Check all that apply.
           LEGACY                                                                                            UNDETERMINED
           WELLS PLANO LLC                                   þ Contingent
           BILL HALE
           40 FRANCIS RD                                     þ Unliquidated
           HENDERSONVILLE NC 28792                           þ Disputed
           Date or dates debt was incurred                   Basis for the claim:
           VARIOUS                                           LANDLORD CLAIM
           Last 4 digits of account number:                  Is the claim subject to offset?

                                                             þ No
                                                             ¨ Yes

3.1089.    Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                             Check all that apply.
           LEGACY AIR                                                                                        $15,422.07
           6525 BUTTON QUAIL ST                              ¨ Contingent
           NORTH LAS VEGAS NV 89084
                                                             ¨ Unliquidated
                                                             ¨ Disputed
           Date or dates debt was incurred                   Basis for the claim:
           VARIOUS                                           TRADE ACCOUNTS PAYABLE
           Last 4 digits of account number:                  Is the claim subject to offset?

                                                             þ No
                                                             ¨ Yes




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3.1090.    Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                             Check all that apply.
           LEGACY AIR INC.                                                                                   $1,209.17
           3529 E WOOD SREET                                 ¨ Contingent
           PHOENIX AZ 85040
                                                             ¨ Unliquidated
                                                             ¨ Disputed
           Date or dates debt was incurred                   Basis for the claim:
           VARIOUS                                           TRADE ACCOUNTS PAYABLE
           Last 4 digits of account number:                  Is the claim subject to offset?

                                                             þ No
                                                             ¨ Yes

3.1091.    Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                             Check all that apply.
           LEGER, RYAN WADE                                                                                  UNDETERMINED
           J. NELSON THOMAS THOMAS & SOLOMON LLP             þ Contingent
           693 EAST AVENUE
           ROCHESTER NY 14607                                þ Unliquidated
                                                             þ Disputed
           Date or dates debt was incurred                   Basis for the claim:
           VARIOUS                                           CIVIL ACTION NO. 6:15-CV-06742
                                                             PENDING LITIGATION
           Last 4 digits of account number:
                                                             Is the claim subject to offset?

                                                             þ No
                                                             ¨ Yes

3.1092.    Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                             Check all that apply.
           LEGER, RYAN WADE                                                                                  UNDETERMINED
           J. NELSON THOMAS THOMAS & SOLOMON LLP             þ Contingent
           693 EAST AVENUE
           ROCHESTER NY 14607                                þ Unliquidated
                                                             þ Disputed
           Date or dates debt was incurred                   Basis for the claim:
           VARIOUS                                           CIVIL ACTION NO. 6:15-CV-06742
                                                             PENDING LITIGATION
           Last 4 digits of account number:
                                                             Is the claim subject to offset?

                                                             þ No
                                                             ¨ Yes




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3.1093.    Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                             Check all that apply.
           LEGGETT, STEFON J.                                                                                UNDETERMINED
           J. NELSON THOMAS THOMAS & SOLOMON LLP             þ Contingent
           693 EAST AVENUE
           ROCHESTER NY 14607                                þ Unliquidated
                                                             þ Disputed
           Date or dates debt was incurred                   Basis for the claim:
           VARIOUS                                           CIVIL ACTION NO. 6:15-CV-06742
                                                             PENDING LITIGATION
           Last 4 digits of account number:
                                                             Is the claim subject to offset?

                                                             þ No
                                                             ¨ Yes

3.1094.    Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                             Check all that apply.
           LEGGETT, STEFON JEROME                                                                            UNDETERMINED
           J. NELSON THOMAS THOMAS & SOLOMON LLP             þ Contingent
           693 EAST AVENUE
           ROCHESTER NY 14607                                þ Unliquidated
                                                             þ Disputed
           Date or dates debt was incurred                   Basis for the claim:
           VARIOUS                                           CIVIL ACTION NO. 6:15-CV-06742
                                                             PENDING LITIGATION
           Last 4 digits of account number:
                                                             Is the claim subject to offset?

                                                             þ No
                                                             ¨ Yes

3.1095.    Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                             Check all that apply.
           LEIGHTON, TRACY L.                                                                                UNDETERMINED
           J. NELSON THOMAS THOMAS & SOLOMON LLP             þ Contingent
           693 EAST AVENUE
           ROCHESTER NY 14607                                þ Unliquidated
                                                             þ Disputed
           Date or dates debt was incurred                   Basis for the claim:
           VARIOUS                                           CIVIL ACTION NO. 6:15-CV-06742
                                                             PENDING LITIGATION
           Last 4 digits of account number:
                                                             Is the claim subject to offset?

                                                             þ No
                                                             ¨ Yes




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3.1096.    Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                             Check all that apply.
           LERMA, JUAN                                                                                       UNDETERMINED
                                                             þ Contingent
                                                             þ Unliquidated
                                                             þ Disputed
           Date or dates debt was incurred                   Basis for the claim:
           VARIOUS                                           WORKERS COMPENSATION CLAIM
           Last 4 digits of account number:                  Is the claim subject to offset?

                                                             þ No
                                                             ¨ Yes

3.1097.    Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                             Check all that apply.
           LESTER, THOMAS E.                                                                                 UNDETERMINED
           J. NELSON THOMAS THOMAS & SOLOMON LLP             þ Contingent
           693 EAST AVENUE
           ROCHESTER NY 14607                                þ Unliquidated
                                                             þ Disputed
           Date or dates debt was incurred                   Basis for the claim:
           VARIOUS                                           CIVIL ACTION NO. 6:15-CV-06742
                                                             PENDING LITIGATION
           Last 4 digits of account number:
                                                             Is the claim subject to offset?

                                                             þ No
                                                             ¨ Yes

3.1098.    Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                             Check all that apply.
           LESTER, THOMAS EDWARD                                                                             UNDETERMINED
           J. NELSON THOMAS THOMAS & SOLOMON LLP             þ Contingent
           693 EAST AVENUE
           ROCHESTER NY 14607                                þ Unliquidated
                                                             þ Disputed
           Date or dates debt was incurred                   Basis for the claim:
           VARIOUS                                           CIVIL ACTION NO. 6:15-CV-06742
                                                             PENDING LITIGATION
           Last 4 digits of account number:
                                                             Is the claim subject to offset?

                                                             þ No
                                                             ¨ Yes




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3.1099.    Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                             Check all that apply.
           LESZCZ, CHRISTOPHER                                                                               UNDETERMINED
           J. NELSON THOMAS THOMAS & SOLOMON LLP             þ Contingent
           693 EAST AVENUE
           ROCHESTER NY 14607                                þ Unliquidated
                                                             þ Disputed
           Date or dates debt was incurred                   Basis for the claim:
           VARIOUS                                           CIVIL ACTION NO. 6:15-CV-06742
                                                             PENDING LITIGATION
           Last 4 digits of account number:
                                                             Is the claim subject to offset?

                                                             þ No
                                                             ¨ Yes

3.1100.    Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                             Check all that apply.
           LESZCZ, CHRISTOPHER M.                                                                            UNDETERMINED
           J. NELSON THOMAS THOMAS & SOLOMON LLP             þ Contingent
           693 EAST AVENUE
           ROCHESTER NY 14607                                þ Unliquidated
                                                             þ Disputed
           Date or dates debt was incurred                   Basis for the claim:
           VARIOUS                                           CIVIL ACTION NO. 6:15-CV-06742
                                                             PENDING LITIGATION
           Last 4 digits of account number:
                                                             Is the claim subject to offset?

                                                             þ No
                                                             ¨ Yes

3.1101.    Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                             Check all that apply.
           LEVAN, ISABELLA RACHEL                                                                            UNDETERMINED
           J. NELSON THOMAS THOMAS & SOLOMON LLP             þ Contingent
           693 EAST AVENUE
           ROCHESTER NY 14607                                þ Unliquidated
                                                             þ Disputed
           Date or dates debt was incurred                   Basis for the claim:
           VARIOUS                                           CIVIL ACTION NO. 6:15-CV-06742
                                                             PENDING LITIGATION
           Last 4 digits of account number:
                                                             Is the claim subject to offset?

                                                             þ No
                                                             ¨ Yes




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3.1102.    Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                             Check all that apply.
           LEVENTHAL PLLC                                                                                    $3,257.25
           527 MARQUETTE AVE SOUTH                           ¨ Contingent
           SUITE 2100
           MINNEAPOLIS MN 55402                              ¨ Unliquidated
                                                             ¨ Disputed
           Date or dates debt was incurred                   Basis for the claim:
           VARIOUS                                           LEGAL
           Last 4 digits of account number:                  Is the claim subject to offset?

                                                             þ No
                                                             ¨ Yes

3.1103.    Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                             Check all that apply.
           LEWIS ROCA ROTHGERBER CHRISTIE LLP                                                                $8,557.50
           201 E. WASHINGTON STREET                          ¨ Contingent
           SUITE 1200
           PHOENIX AZ 85004                                  ¨ Unliquidated
                                                             ¨ Disputed
           Date or dates debt was incurred                   Basis for the claim:
           VARIOUS                                           LEGAL
           Last 4 digits of account number:                  Is the claim subject to offset?

                                                             þ No
                                                             ¨ Yes

3.1104.    Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                             Check all that apply.
           LEWIS, BRITTNEY M.                                                                                UNDETERMINED
           J. NELSON THOMAS THOMAS & SOLOMON LLP             þ Contingent
           693 EAST AVENUE
           ROCHESTER NY 14607                                þ Unliquidated
                                                             þ Disputed
           Date or dates debt was incurred                   Basis for the claim:
           VARIOUS                                           CIVIL ACTION NO. 6:15-CV-06742
                                                             PENDING LITIGATION
           Last 4 digits of account number:
                                                             Is the claim subject to offset?

                                                             þ No
                                                             ¨ Yes




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3.1105.    Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                             Check all that apply.
           LEWIS, JR., SEAN J.                                                                               UNDETERMINED
           J. NELSON THOMAS THOMAS & SOLOMON LLP             þ Contingent
           693 EAST AVENUE
           ROCHESTER NY 14607                                þ Unliquidated
                                                             þ Disputed
           Date or dates debt was incurred                   Basis for the claim:
           VARIOUS                                           CIVIL ACTION NO. 6:15-CV-06742
                                                             PENDING LITIGATION
           Last 4 digits of account number:
                                                             Is the claim subject to offset?

                                                             þ No
                                                             ¨ Yes

3.1106.    Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                             Check all that apply.
           LEWIS-MCNEAL, MYLES CHRISTOPHER                                                                   UNDETERMINED
           J. NELSON THOMAS THOMAS & SOLOMON LLP             þ Contingent
           693 EAST AVENUE
           ROCHESTER NY 14607                                þ Unliquidated
                                                             þ Disputed
           Date or dates debt was incurred                   Basis for the claim:
           VARIOUS                                           CIVIL ACTION NO. 6:15-CV-06742
                                                             PENDING LITIGATION
           Last 4 digits of account number:
                                                             Is the claim subject to offset?

                                                             þ No
                                                             ¨ Yes

3.1107.    Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                             Check all that apply.
           LEWKOWITZ LAW OFFICE PLC                                                                          $1,200.00
           2600 N CENTRAL AVE #1775                          ¨ Contingent
           PHOENIX AZ 85004
                                                             ¨ Unliquidated
                                                             ¨ Disputed
           Date or dates debt was incurred                   Basis for the claim:
           VARIOUS                                           LEGAL
           Last 4 digits of account number:                  Is the claim subject to offset?

                                                             þ No
                                                             ¨ Yes




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3.1108.    Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                             Check all that apply.
           LEYDET, NICOLE DANIELLE                                                                           UNDETERMINED
           J. NELSON THOMAS THOMAS & SOLOMON LLP             þ Contingent
           693 EAST AVENUE
           ROCHESTER NY 14607                                þ Unliquidated
                                                             þ Disputed
           Date or dates debt was incurred                   Basis for the claim:
           VARIOUS                                           CIVIL ACTION NO. 6:15-CV-06742
                                                             PENDING LITIGATION
           Last 4 digits of account number:
                                                             Is the claim subject to offset?

                                                             þ No
                                                             ¨ Yes

3.1109.    Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                             Check all that apply.
           LIBERTY LOCKSMITHS & SECURITY PRODUCTS                                                            $998.31
           INC                                               ¨ Contingent
           541 N PARK AVENUE
           APOPKA FL 32712                                   ¨ Unliquidated
                                                             ¨ Disputed
           Date or dates debt was incurred                   Basis for the claim:
           VARIOUS                                           TRADE ACCOUNTS PAYABLE
           Last 4 digits of account number:                  Is the claim subject to offset?

                                                             þ No
                                                             ¨ Yes

3.1110.    Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                             Check all that apply.
           LIBERTY MUTUAL GROUP INC.                                                                         $241,338.03
           PO BOX 85307                                      ¨ Contingent
           SAN DIEGO CA 92186-5307
                                                             ¨ Unliquidated
                                                             ¨ Disputed
           Date or dates debt was incurred                   Basis for the claim:
           VARIOUS                                           TRADE ACCOUNTS PAYABLE
           Last 4 digits of account number:                  Is the claim subject to offset?

                                                             þ No
                                                             ¨ Yes




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3.1111.    Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                             Check all that apply.
           LIDDICK, KATHLEEN MARIE                                                                           UNDETERMINED
           J. NELSON THOMAS THOMAS & SOLOMON LLP             þ Contingent
           693 EAST AVENUE
           ROCHESTER NY 14607                                þ Unliquidated
                                                             þ Disputed
           Date or dates debt was incurred                   Basis for the claim:
           VARIOUS                                           CIVIL ACTION NO. 6:15-CV-06742
                                                             PENDING LITIGATION
           Last 4 digits of account number:
                                                             Is the claim subject to offset?

                                                             þ No
                                                             ¨ Yes

3.1112.    Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                             Check all that apply.
           LIFETIME - DISCOVERY COMMUNICATIONS LLC                                                           $1,232.50
           ONE DISCOVERY PLACE                               ¨ Contingent
           SILVER SPRINGS MD 20910-3354
                                                             ¨ Unliquidated
                                                             ¨ Disputed
           Date or dates debt was incurred                   Basis for the claim:
           VARIOUS                                           TRADE ACCOUNTS PAYABLE
           Last 4 digits of account number:                  Is the claim subject to offset?

                                                             þ No
                                                             ¨ Yes

3.1113.    Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                             Check all that apply.
           LINAHON, LAUREN ELIZABETH WENZL                                                                   UNDETERMINED
           J. NELSON THOMAS THOMAS & SOLOMON LLP             þ Contingent
           693 EAST AVENUE
           ROCHESTER NY 14607                                þ Unliquidated
                                                             þ Disputed
           Date or dates debt was incurred                   Basis for the claim:
           VARIOUS                                           CIVIL ACTION NO. 6:15-CV-06742
                                                             PENDING LITIGATION
           Last 4 digits of account number:
                                                             Is the claim subject to offset?

                                                             þ No
                                                             ¨ Yes




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3.1114.    Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                             Check all that apply.
           LINDA L AIKIN                                                                                     $1,224.22
           530 B HARKLE ROAD                                 ¨ Contingent
           SANTA FE NM 87505
                                                             ¨ Unliquidated
                                                             ¨ Disputed
           Date or dates debt was incurred                   Basis for the claim:
           VARIOUS                                           LEGAL
           Last 4 digits of account number:                  Is the claim subject to offset?

                                                             þ No
                                                             ¨ Yes

3.1115.    Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                             Check all that apply.
           LINDER , LORIE                                                                                    UNDETERMINED
                                                             þ Contingent
                                                             þ Unliquidated
                                                             þ Disputed
           Date or dates debt was incurred                   Basis for the claim:
           VARIOUS                                           GENERAL LIABILITY CLAIMS
           Last 4 digits of account number:                  Is the claim subject to offset?

                                                             þ No
                                                             ¨ Yes

3.1116.    Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                             Check all that apply.
           LINDSEY, DWAYNE PAUL                                                                              UNDETERMINED
           J. NELSON THOMAS THOMAS & SOLOMON LLP             þ Contingent
           693 EAST AVENUE
           ROCHESTER NY 14607                                þ Unliquidated
                                                             þ Disputed
           Date or dates debt was incurred                   Basis for the claim:
           VARIOUS                                           CIVIL ACTION NO. 6:15-CV-06742
                                                             PENDING LITIGATION
           Last 4 digits of account number:
                                                             Is the claim subject to offset?

                                                             þ No
                                                             ¨ Yes




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3.1117.    Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                             Check all that apply.
           LINER, KATIE NICOLE                                                                               UNDETERMINED
           J. NELSON THOMAS THOMAS & SOLOMON LLP             þ Contingent
           693 EAST AVENUE
           ROCHESTER NY 14607                                þ Unliquidated
                                                             þ Disputed
           Date or dates debt was incurred                   Basis for the claim:
           VARIOUS                                           CIVIL ACTION NO. 6:15-CV-06742
                                                             PENDING LITIGATION
           Last 4 digits of account number:
                                                             Is the claim subject to offset?

                                                             þ No
                                                             ¨ Yes

3.1118.    Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                             Check all that apply.
           LIQUID ENVIRONMENTAL SOLUTIONS                                                                    $40,813.30
           PO BOX 733372                                     ¨ Contingent
           DALLAS TX 75373
                                                             ¨ Unliquidated
                                                             ¨ Disputed
           Date or dates debt was incurred                   Basis for the claim:
           VARIOUS                                           TRADE ACCOUNTS PAYABLE
           Last 4 digits of account number:                  Is the claim subject to offset?

                                                             þ No
                                                             ¨ Yes

3.1119.    Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                             Check all that apply.
           LIQUID LOGISTICS                                                                                  $753.10
           1928 BOBBYWOODS LN                                ¨ Contingent
           MANCHACA TX 78652
                                                             ¨ Unliquidated
                                                             ¨ Disputed
           Date or dates debt was incurred                   Basis for the claim:
           VARIOUS                                           TRADE ACCOUNTS PAYABLE
           Last 4 digits of account number:                  Is the claim subject to offset?

                                                             þ No
                                                             ¨ Yes




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3.1120.    Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                             Check all that apply.
           LIVOTI, PHILLIP CARMEN                                                                            UNDETERMINED
           J. NELSON THOMAS THOMAS & SOLOMON LLP             þ Contingent
           693 EAST AVENUE
           ROCHESTER NY 14607                                þ Unliquidated
                                                             þ Disputed
           Date or dates debt was incurred                   Basis for the claim:
           VARIOUS                                           CIVIL ACTION NO. 6:15-CV-06742
                                                             PENDING LITIGATION
           Last 4 digits of account number:
                                                             Is the claim subject to offset?

                                                             þ No
                                                             ¨ Yes

3.1121.    Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                             Check all that apply.
           LLUIS, JEFFREY BRENT                                                                              UNDETERMINED
           J. NELSON THOMAS THOMAS & SOLOMON LLP             þ Contingent
           693 EAST AVENUE
           ROCHESTER NY 14607                                þ Unliquidated
                                                             þ Disputed
           Date or dates debt was incurred                   Basis for the claim:
           VARIOUS                                           CIVIL ACTION NO. 6:15-CV-06742
                                                             PENDING LITIGATION
           Last 4 digits of account number:
                                                             Is the claim subject to offset?

                                                             þ No
                                                             ¨ Yes

3.1122.    Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                             Check all that apply.
           LMH INC PROFESSIONAL LANSCAPE SERVICES                                                            $2,150.00
           1146 N GILBERT STREET                             ¨ Contingent
           ANAHEIM CA 92801
                                                             ¨ Unliquidated
                                                             ¨ Disputed
           Date or dates debt was incurred                   Basis for the claim:
           VARIOUS                                           TRADE ACCOUNTS PAYABLE
           Last 4 digits of account number:                  Is the claim subject to offset?

                                                             þ No
                                                             ¨ Yes




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Debtor    MAC ACQUISITION LLC                                                                                Case number (if known) 17-12224




3.1123.    Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                             Check all that apply.
           LODGING SOURCE, LLC                                                                               $16,838.37
           PO BOX 744                                        ¨ Contingent
           MT. PLEASANT SC 29465
                                                             ¨ Unliquidated
                                                             ¨ Disputed
           Date or dates debt was incurred                   Basis for the claim:
           VARIOUS                                           TRADE ACCOUNTS PAYABLE
           Last 4 digits of account number:                  Is the claim subject to offset?

                                                             þ No
                                                             ¨ Yes

3.1124.    Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                             Check all that apply.
           LONG, AMY JANE                                                                                    UNDETERMINED
           J. NELSON THOMAS THOMAS & SOLOMON LLP             þ Contingent
           693 EAST AVENUE
           ROCHESTER NY 14607                                þ Unliquidated
                                                             þ Disputed
           Date or dates debt was incurred                   Basis for the claim:
           VARIOUS                                           CIVIL ACTION NO. 6:15-CV-06742
                                                             PENDING LITIGATION
           Last 4 digits of account number:
                                                             Is the claim subject to offset?

                                                             þ No
                                                             ¨ Yes

3.1125.    Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                             Check all that apply.
           LOOMIS, JACLYN NICOLE                                                                             UNDETERMINED
           J. NELSON THOMAS THOMAS & SOLOMON LLP             þ Contingent
           693 EAST AVENUE
           ROCHESTER NY 14607                                þ Unliquidated
                                                             þ Disputed
           Date or dates debt was incurred                   Basis for the claim:
           VARIOUS                                           CIVIL ACTION NO. 6:15-CV-06742
                                                             PENDING LITIGATION
           Last 4 digits of account number:
                                                             Is the claim subject to offset?

                                                             þ No
                                                             ¨ Yes




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3.1126.    Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                             Check all that apply.
           LOPEZ, ERIC STEPHEN                                                                               UNDETERMINED
           J. NELSON THOMAS THOMAS & SOLOMON LLP             þ Contingent
           693 EAST AVENUE
           ROCHESTER NY 14607                                þ Unliquidated
                                                             þ Disputed
           Date or dates debt was incurred                   Basis for the claim:
           VARIOUS                                           CIVIL ACTION NO. 6:15-CV-06742
                                                             PENDING LITIGATION
           Last 4 digits of account number:
                                                             Is the claim subject to offset?

                                                             þ No
                                                             ¨ Yes

3.1127.    Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                             Check all that apply.
           LOPEZ, JOHANN ERIC                                                                                UNDETERMINED
           J. NELSON THOMAS THOMAS & SOLOMON LLP             þ Contingent
           693 EAST AVENUE
           ROCHESTER NY 14607                                þ Unliquidated
                                                             þ Disputed
           Date or dates debt was incurred                   Basis for the claim:
           VARIOUS                                           CIVIL ACTION NO. 6:15-CV-06742
                                                             PENDING LITIGATION
           Last 4 digits of account number:
                                                             Is the claim subject to offset?

                                                             þ No
                                                             ¨ Yes

3.1128.    Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                             Check all that apply.
           LOPEZ, SELENE                                                                                     UNDETERMINED
           J. NELSON THOMAS THOMAS & SOLOMON LLP             þ Contingent
           693 EAST AVENUE
           ROCHESTER NY 14607                                þ Unliquidated
                                                             þ Disputed
           Date or dates debt was incurred                   Basis for the claim:
           VARIOUS                                           CIVIL ACTION NO. 6:15-CV-06742
                                                             PENDING LITIGATION
           Last 4 digits of account number:
                                                             Is the claim subject to offset?

                                                             þ No
                                                             ¨ Yes




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3.1129.    Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                             Check all that apply.
           LOSCH, JULIE F.                                                                                   UNDETERMINED
           J. NELSON THOMAS THOMAS & SOLOMON LLP             þ Contingent
           693 EAST AVENUE
           ROCHESTER NY 14607                                þ Unliquidated
                                                             þ Disputed
           Date or dates debt was incurred                   Basis for the claim:
           VARIOUS                                           CIVIL ACTION NO. 6:15-CV-06742
                                                             PENDING LITIGATION
           Last 4 digits of account number:
                                                             Is the claim subject to offset?

                                                             þ No
                                                             ¨ Yes

3.1130.    Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                             Check all that apply.
           LOSCH, JULIE FRANZ                                                                                UNDETERMINED
           J. NELSON THOMAS THOMAS & SOLOMON LLP             þ Contingent
           693 EAST AVENUE
           ROCHESTER NY 14607                                þ Unliquidated
                                                             þ Disputed
           Date or dates debt was incurred                   Basis for the claim:
           VARIOUS                                           CIVIL ACTION NO. 6:15-CV-06742
                                                             PENDING LITIGATION
           Last 4 digits of account number:
                                                             Is the claim subject to offset?

                                                             þ No
                                                             ¨ Yes

3.1131.    Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                             Check all that apply.
           LOUDON LOCKSMITH SERIVCE INC.                                                                     $162.00
           595 NEW LOUDON ROAD, STE. 125                     ¨ Contingent
           LATHAM NY 12110
                                                             ¨ Unliquidated
                                                             ¨ Disputed
           Date or dates debt was incurred                   Basis for the claim:
           VARIOUS                                           TRADE ACCOUNTS PAYABLE
           Last 4 digits of account number:                  Is the claim subject to offset?

                                                             þ No
                                                             ¨ Yes




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3.1132.    Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                             Check all that apply.
           LOUISVILLE CITY FC, LLC                                                                           $200.00
           127 S 6TH ST                                      ¨ Contingent
           LOUISVILLE KY 40202
                                                             ¨ Unliquidated
                                                             ¨ Disputed
           Date or dates debt was incurred                   Basis for the claim:
           VARIOUS                                           TRADE ACCOUNTS PAYABLE
           Last 4 digits of account number:                  Is the claim subject to offset?

                                                             þ No
                                                             ¨ Yes

3.1133.    Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                             Check all that apply.
           LOVE, JOHN BRYANT                                                                                 UNDETERMINED
           J. NELSON THOMAS THOMAS & SOLOMON LLP             þ Contingent
           693 EAST AVENUE
           ROCHESTER NY 14607                                þ Unliquidated
                                                             þ Disputed
           Date or dates debt was incurred                   Basis for the claim:
           VARIOUS                                           CIVIL ACTION NO. 6:15-CV-06742
                                                             PENDING LITIGATION
           Last 4 digits of account number:
                                                             Is the claim subject to offset?

                                                             þ No
                                                             ¨ Yes

3.1134.    Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                             Check all that apply.
           LOVELACE, ELIZABETH M.                                                                            UNDETERMINED
           J. NELSON THOMAS THOMAS & SOLOMON LLP             þ Contingent
           693 EAST AVENUE
           ROCHESTER NY 14607                                þ Unliquidated
                                                             þ Disputed
           Date or dates debt was incurred                   Basis for the claim:
           VARIOUS                                           CIVIL ACTION NO. 6:15-CV-06742
                                                             PENDING LITIGATION
           Last 4 digits of account number:
                                                             Is the claim subject to offset?

                                                             þ No
                                                             ¨ Yes




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3.1135.    Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                             Check all that apply.
           LOWDER, MARK R.                                                                                   UNDETERMINED
           J. NELSON THOMAS THOMAS & SOLOMON LLP             þ Contingent
           693 EAST AVENUE
           ROCHESTER NY 14607                                þ Unliquidated
                                                             þ Disputed
           Date or dates debt was incurred                   Basis for the claim:
           VARIOUS                                           CIVIL ACTION NO. 6:15-CV-06742
                                                             PENDING LITIGATION
           Last 4 digits of account number:
                                                             Is the claim subject to offset?

                                                             þ No
                                                             ¨ Yes

3.1136.    Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                             Check all that apply.
           LOWE, DEANNA                                                                                      UNDETERMINED
                                                             þ Contingent
                                                             þ Unliquidated
                                                             þ Disputed
           Date or dates debt was incurred                   Basis for the claim:
           VARIOUS                                           WORKERS COMPENSATION CLAIM - NO.
                                                             20176081150
           Last 4 digits of account number:
                                                             Is the claim subject to offset?

                                                             þ No
                                                             ¨ Yes

3.1137.    Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                             Check all that apply.
           LOWE, JANE M.                                                                                     UNDETERMINED
           J. NELSON THOMAS THOMAS & SOLOMON LLP             þ Contingent
           693 EAST AVENUE
           ROCHESTER NY 14607                                þ Unliquidated
                                                             þ Disputed
           Date or dates debt was incurred                   Basis for the claim:
           VARIOUS                                           CIVIL ACTION NO. 6:15-CV-06742
                                                             PENDING LITIGATION
           Last 4 digits of account number:
                                                             Is the claim subject to offset?

                                                             þ No
                                                             ¨ Yes




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3.1138.    Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                             Check all that apply.
           LOY, ALEXANDRA MARIE                                                                              UNDETERMINED
           J. NELSON THOMAS THOMAS & SOLOMON LLP             þ Contingent
           693 EAST AVENUE
           ROCHESTER NY 14607                                þ Unliquidated
                                                             þ Disputed
           Date or dates debt was incurred                   Basis for the claim:
           VARIOUS                                           CIVIL ACTION NO. 6:15-CV-06742
                                                             PENDING LITIGATION
           Last 4 digits of account number:
                                                             Is the claim subject to offset?

                                                             þ No
                                                             ¨ Yes

3.1139.    Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                             Check all that apply.
           LOY, ALEXANDRIA MARIE                                                                             UNDETERMINED
           J. NELSON THOMAS THOMAS & SOLOMON LLP             þ Contingent
           693 EAST AVENUE
           ROCHESTER NY 14607                                þ Unliquidated
                                                             þ Disputed
           Date or dates debt was incurred                   Basis for the claim:
           VARIOUS                                           CIVIL ACTION NO. 6:15-CV-06742
                                                             PENDING LITIGATION
           Last 4 digits of account number:
                                                             Is the claim subject to offset?

                                                             þ No
                                                             ¨ Yes

3.1140.    Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                             Check all that apply.
           LOZANO, JR., MARK A.                                                                              UNDETERMINED
           J. NELSON THOMAS THOMAS & SOLOMON LLP             þ Contingent
           693 EAST AVENUE
           ROCHESTER NY 14607                                þ Unliquidated
                                                             þ Disputed
           Date or dates debt was incurred                   Basis for the claim:
           VARIOUS                                           CIVIL ACTION NO. 6:15-CV-06742
                                                             PENDING LITIGATION
           Last 4 digits of account number:
                                                             Is the claim subject to offset?

                                                             þ No
                                                             ¨ Yes




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3.1141.    Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                             Check all that apply.
           LOZANO, JR., MARK A.                                                                              UNDETERMINED
           J. NELSON THOMAS THOMAS & SOLOMON LLP             þ Contingent
           693 EAST AVENUE
           ROCHESTER NY 14607                                þ Unliquidated
                                                             þ Disputed
           Date or dates debt was incurred                   Basis for the claim:
           VARIOUS                                           CIVIL ACTION NO. 6:15-CV-06742
                                                             PENDING LITIGATION
           Last 4 digits of account number:
                                                             Is the claim subject to offset?

                                                             þ No
                                                             ¨ Yes

3.1142.    Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                             Check all that apply.
           LUCAS, JOHN                                                                                       UNDETERMINED
                                                             þ Contingent
                                                             þ Unliquidated
                                                             þ Disputed
           Date or dates debt was incurred                   Basis for the claim:
           VARIOUS                                           GENERAL LIABILITY CLAIMS
           Last 4 digits of account number:                  Is the claim subject to offset?

                                                             þ No
                                                             ¨ Yes

3.1143.    Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                             Check all that apply.
           LUCERNEX INC                                                                                      $22,532.58
           AN ACCRUENT COMPANY                               ¨ Contingent
           DEPT 3636
           DALLAS TX 75312-3636                              ¨ Unliquidated
                                                             ¨ Disputed
           Date or dates debt was incurred                   Basis for the claim:
           VARIOUS                                           TRADE ACCOUNTS PAYABLE
           Last 4 digits of account number:                  Is the claim subject to offset?

                                                             þ No
                                                             ¨ Yes




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3.1144.    Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                             Check all that apply.
           LUCERO JR., JIMMIE                                                                                $540.00
           10235 ECHO CIRCLE                                 ¨ Contingent
           FIRESTONE CO 80504
                                                             ¨ Unliquidated
                                                             ¨ Disputed
           Date or dates debt was incurred                   Basis for the claim:
           VARIOUS                                           TRADE ACCOUNTS PAYABLE
           Last 4 digits of account number:                  Is the claim subject to offset?

                                                             þ No
                                                             ¨ Yes

3.1145.    Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                             Check all that apply.
           LUKE, GEORGIA CAROL                                                                               UNDETERMINED
           J. NELSON THOMAS THOMAS & SOLOMON LLP             þ Contingent
           693 EAST AVENUE
           ROCHESTER NY 14607                                þ Unliquidated
                                                             þ Disputed
           Date or dates debt was incurred                   Basis for the claim:
           VARIOUS                                           CIVIL ACTION NO. 6:15-CV-06742
                                                             PENDING LITIGATION
           Last 4 digits of account number:
                                                             Is the claim subject to offset?

                                                             þ No
                                                             ¨ Yes

3.1146.    Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                             Check all that apply.
           LUKE, GEORGIA CAROL                                                                               UNDETERMINED
           J. NELSON THOMAS THOMAS & SOLOMON LLP             þ Contingent
           693 EAST AVENUE
           ROCHESTER NY 14607                                þ Unliquidated
                                                             þ Disputed
           Date or dates debt was incurred                   Basis for the claim:
           VARIOUS                                           CIVIL ACTION NO. 6:15-CV-06742
                                                             PENDING LITIGATION
           Last 4 digits of account number:
                                                             Is the claim subject to offset?

                                                             þ No
                                                             ¨ Yes




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3.1147.    Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                             Check all that apply.
           LUKSO, BYRON                                                                                      UNDETERMINED
           ROGER W. FRAZIER, LAW OFFICES OF ROGER            þ Contingent
           W. FRAZIER
                                                             þ Unliquidated
                                                             þ Disputed
           Date or dates debt was incurred                   Basis for the claim:
           VARIOUS                                           CASE NO. C20164230 PENDING
                                                             LITIGATION
           Last 4 digits of account number:
                                                             Is the claim subject to offset?

                                                             þ No
                                                             ¨ Yes

3.1148.    Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                             Check all that apply.
           LULLEY, ESTELLE ELIZABETH                                                                         UNDETERMINED
           J. NELSON THOMAS THOMAS & SOLOMON LLP             þ Contingent
           693 EAST AVENUE
           ROCHESTER NY 14607                                þ Unliquidated
                                                             þ Disputed
           Date or dates debt was incurred                   Basis for the claim:
           VARIOUS                                           CIVIL ACTION NO. 6:15-CV-06742
                                                             PENDING LITIGATION
           Last 4 digits of account number:
                                                             Is the claim subject to offset?

                                                             þ No
                                                             ¨ Yes

3.1149.    Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                             Check all that apply.
           LYNCH, SARA ANN                                                                                   UNDETERMINED
           J. NELSON THOMAS THOMAS & SOLOMON LLP             þ Contingent
           693 EAST AVENUE
           ROCHESTER NY 14607                                þ Unliquidated
                                                             þ Disputed
           Date or dates debt was incurred                   Basis for the claim:
           VARIOUS                                           CIVIL ACTION NO. 6:15-CV-06742
                                                             PENDING LITIGATION
           Last 4 digits of account number:
                                                             Is the claim subject to offset?

                                                             þ No
                                                             ¨ Yes




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3.1150.    Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                             Check all that apply.
           LYON, JOSHUA CASEY                                                                                UNDETERMINED
           J. NELSON THOMAS THOMAS & SOLOMON LLP             þ Contingent
           693 EAST AVENUE
           ROCHESTER NY 14607                                þ Unliquidated
                                                             þ Disputed
           Date or dates debt was incurred                   Basis for the claim:
           VARIOUS                                           CIVIL ACTION NO. 6:15-CV-06742
                                                             PENDING LITIGATION
           Last 4 digits of account number:
                                                             Is the claim subject to offset?

                                                             þ No
                                                             ¨ Yes

3.1151.    Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                             Check all that apply.
           MAC GRILL SERVICES LLC                                                                            $3,893,399.00
           1855 BLAKE ST                                     ¨ Contingent
           STE 200
           DENVER CO 80202                                   ¨ Unliquidated
                                                             ¨ Disputed
           Date or dates debt was incurred                   Basis for the claim:
           VARIOUS                                           INTERCOMPANY PAYABLE
           Last 4 digits of account number:                  Is the claim subject to offset?

                                                             ¨ No
                                                             þ Yes

3.1152.    Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                             Check all that apply.
           MAC PARENT LLC                                                                                    $19,209,265.00
           1855 BLAKE ST                                     ¨ Contingent
           STE 200
           DENVER CO 80202                                   ¨ Unliquidated
                                                             ¨ Disputed
           Date or dates debt was incurred                   Basis for the claim:
           VARIOUS                                           INTERCOMPANY PAYABLE
           Last 4 digits of account number:                  Is the claim subject to offset?

                                                             ¨ No
                                                             þ Yes




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3.1153.    Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                             Check all that apply.
           MACARONI RR I35 PARTNERSHIP LTD                                                                   UNDETERMINED
           HOWARD CHAPMAN                                    þ Contingent
           10461 WESTPARK DR
           HOUSTON TX 77042                                  þ Unliquidated
                                                             þ Disputed
           Date or dates debt was incurred                   Basis for the claim:
           VARIOUS                                           LANDLORD CLAIM
           Last 4 digits of account number:                  Is the claim subject to offset?

                                                             þ No
                                                             ¨ Yes

3.1154.    Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                             Check all that apply.
           MACBALE, NEIL                                                                                     UNDETERMINED
           J. NELSON THOMAS THOMAS & SOLOMON LLP             þ Contingent
           693 EAST AVENUE
           ROCHESTER NY 14607                                þ Unliquidated
                                                             þ Disputed
           Date or dates debt was incurred                   Basis for the claim:
           VARIOUS                                           CIVIL ACTION NO. 6:15-CV-06742
                                                             PENDING LITIGATION
           Last 4 digits of account number:
                                                             Is the claim subject to offset?

                                                             þ No
                                                             ¨ Yes

3.1155.    Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                             Check all that apply.
           MACH A/C HEATING AND REFRIGERATION                                                                $1,398.13
           DBA PRECISION CLIMATE CONTROLL LLC                ¨ Contingent
           27 NIMITZ RD
           WAYNE NJ 07407                                    ¨ Unliquidated
                                                             ¨ Disputed
           Date or dates debt was incurred                   Basis for the claim:
           VARIOUS                                           TRADE ACCOUNTS PAYABLE
           Last 4 digits of account number:                  Is the claim subject to offset?

                                                             þ No
                                                             ¨ Yes




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3.1156.    Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                             Check all that apply.
           MACIAS, JAVIER                                                                                    UNDETERMINED
           J. NELSON THOMAS THOMAS & SOLOMON LLP             þ Contingent
           693 EAST AVENUE
           ROCHESTER NY 14607                                þ Unliquidated
                                                             þ Disputed
           Date or dates debt was incurred                   Basis for the claim:
           VARIOUS                                           CIVIL ACTION NO. 6:15-CV-06742
                                                             PENDING LITIGATION
           Last 4 digits of account number:
                                                             Is the claim subject to offset?

                                                             þ No
                                                             ¨ Yes

3.1157.    Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                             Check all that apply.
           MACIAS, JAVIER                                                                                    UNDETERMINED
           J. NELSON THOMAS THOMAS & SOLOMON LLP             þ Contingent
           693 EAST AVENUE
           ROCHESTER NY 14607                                þ Unliquidated
                                                             þ Disputed
           Date or dates debt was incurred                   Basis for the claim:
           VARIOUS                                           CIVIL ACTION NO. 6:15-CV-06742
                                                             PENDING LITIGATION
           Last 4 digits of account number:
                                                             Is the claim subject to offset?

                                                             þ No
                                                             ¨ Yes

3.1158.    Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                             Check all that apply.
           MACKEY , THOMAS                                                                                   UNDETERMINED
                                                             þ Contingent
                                                             þ Unliquidated
                                                             þ Disputed
           Date or dates debt was incurred                   Basis for the claim:
           VARIOUS                                           GENERAL LIABILITY CLAIMS
           Last 4 digits of account number:                  Is the claim subject to offset?

                                                             þ No
                                                             ¨ Yes




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Debtor    MAC ACQUISITION LLC                                                                                Case number (if known) 17-12224




3.1159.    Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                             Check all that apply.
           MACKEY, THOMAS                                                                                    UNDETERMINED
           MICHAEL V. PARRAS, RODMAN LLP                     þ Contingent
           101 FEDERAL ST
           STE 1900                                          þ Unliquidated
           BOSTON MA 02110                                   þ Disputed
           Date or dates debt was incurred                   Basis for the claim:
           VARIOUS                                           EMPLOYMENT
           Last 4 digits of account number:                  Is the claim subject to offset?

                                                             þ No
                                                             ¨ Yes

3.1160.    Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                             Check all that apply.
           MACON, NICK WILLIAM                                                                               UNDETERMINED
           J. NELSON THOMAS THOMAS & SOLOMON LLP             þ Contingent
           693 EAST AVENUE
           ROCHESTER NY 14607                                þ Unliquidated
                                                             þ Disputed
           Date or dates debt was incurred                   Basis for the claim:
           VARIOUS                                           CIVIL ACTION NO. 6:15-CV-06742
                                                             PENDING LITIGATION
           Last 4 digits of account number:
                                                             Is the claim subject to offset?

                                                             þ No
                                                             ¨ Yes

3.1161.    Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                             Check all that apply.
           MACPHERSON, MATTHEW                                                                               UNDETERMINED
           J. NELSON THOMAS THOMAS & SOLOMON LLP             þ Contingent
           693 EAST AVENUE
           ROCHESTER NY 14607                                þ Unliquidated
                                                             þ Disputed
           Date or dates debt was incurred                   Basis for the claim:
           VARIOUS                                           CIVIL ACTION NO. 6:15-CV-06742
                                                             PENDING LITIGATION
           Last 4 digits of account number:
                                                             Is the claim subject to offset?

                                                             þ No
                                                             ¨ Yes




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Debtor    MAC ACQUISITION LLC                                                                                Case number (if known) 17-12224




3.1162.    Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                             Check all that apply.
           MAD HATTER MUSIC, LLC                                                                             $850.00
           109 WEST WILSON BLVD                              ¨ Contingent
           HAGERSTOWN MD 21740
                                                             ¨ Unliquidated
                                                             ¨ Disputed
           Date or dates debt was incurred                   Basis for the claim:
           VARIOUS                                           TRADE ACCOUNTS PAYABLE
           Last 4 digits of account number:                  Is the claim subject to offset?

                                                             þ No
                                                             ¨ Yes

3.1163.    Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                             Check all that apply.
           MAGLIARO, STEPHEN J.                                                                              UNDETERMINED
           J. NELSON THOMAS THOMAS & SOLOMON LLP             þ Contingent
           693 EAST AVENUE
           ROCHESTER NY 14607                                þ Unliquidated
                                                             þ Disputed
           Date or dates debt was incurred                   Basis for the claim:
           VARIOUS                                           CIVIL ACTION NO. 6:15-CV-06742
                                                             PENDING LITIGATION
           Last 4 digits of account number:
                                                             Is the claim subject to offset?

                                                             þ No
                                                             ¨ Yes

3.1164.    Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                             Check all that apply.
           MAINTENANCE SPECIALITST                                                                           $649.50
           PO BOX 271391                                     ¨ Contingent
           C/O HOWARD LIPSTREU
           CORPUS CHRISTI TX 78427                           ¨ Unliquidated
                                                             ¨ Disputed
           Date or dates debt was incurred                   Basis for the claim:
           VARIOUS                                           TRADE ACCOUNTS PAYABLE
           Last 4 digits of account number:                  Is the claim subject to offset?

                                                             þ No
                                                             ¨ Yes




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3.1165.    Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                             Check all that apply.
           MAJLINGER, GARRET EVAN                                                                            UNDETERMINED
           J. NELSON THOMAS THOMAS & SOLOMON LLP             þ Contingent
           693 EAST AVENUE
           ROCHESTER NY 14607                                þ Unliquidated
                                                             þ Disputed
           Date or dates debt was incurred                   Basis for the claim:
           VARIOUS                                           CIVIL ACTION NO. 6:15-CV-06742
                                                             PENDING LITIGATION
           Last 4 digits of account number:
                                                             Is the claim subject to offset?

                                                             þ No
                                                             ¨ Yes

3.1166.    Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                             Check all that apply.
           MALIZIA, VINCENT                                                                                  UNDETERMINED
           J. NELSON THOMAS THOMAS & SOLOMON LLP             þ Contingent
           693 EAST AVENUE
           ROCHESTER NY 14607                                þ Unliquidated
                                                             þ Disputed
           Date or dates debt was incurred                   Basis for the claim:
           VARIOUS                                           CIVIL ACTION NO. 6:15-CV-06742
                                                             PENDING LITIGATION
           Last 4 digits of account number:
                                                             Is the claim subject to offset?

                                                             þ No
                                                             ¨ Yes

3.1167.    Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                             Check all that apply.
           MALKAWI, ISSA Y.                                                                                  UNDETERMINED
           J. NELSON THOMAS THOMAS & SOLOMON LLP             þ Contingent
           693 EAST AVENUE
           ROCHESTER NY 14607                                þ Unliquidated
                                                             þ Disputed
           Date or dates debt was incurred                   Basis for the claim:
           VARIOUS                                           CIVIL ACTION NO. 6:15-CV-06742
                                                             PENDING LITIGATION
           Last 4 digits of account number:
                                                             Is the claim subject to offset?

                                                             þ No
                                                             ¨ Yes




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Debtor    MAC ACQUISITION LLC                                                                                Case number (if known) 17-12224




3.1168.    Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                             Check all that apply.
           MALL OF GEORGIA LLC SIMON PROPERTY                                                                UNDETERMINED
           GROUP                                             þ Contingent
           JOHN MILAM
           MARY STULTZ PROPERTY MANAGER                      þ Unliquidated
           225 WEST WASHINGTON ST
           INDIANAPOLIS IN 46204
                                                             þ Disputed
           Date or dates debt was incurred                   Basis for the claim:
           VARIOUS                                           LANDLORD CLAIM
           Last 4 digits of account number:                  Is the claim subject to offset?

                                                             þ No
                                                             ¨ Yes

3.1169.    Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                             Check all that apply.
           MALLICK PLUMBING & HEATING, INC.                                                                  $1,878.27
           8010 CESSNA AVENUE                                ¨ Contingent
           GAITHERSBURG MD 20879
                                                             ¨ Unliquidated
                                                             ¨ Disputed
           Date or dates debt was incurred                   Basis for the claim:
           VARIOUS                                           TRADE ACCOUNTS PAYABLE
           Last 4 digits of account number:                  Is the claim subject to offset?

                                                             þ No
                                                             ¨ Yes

3.1170.    Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                             Check all that apply.
           MALSON, MELISSA                                                                                   UNDETERMINED
           J. NELSON THOMAS THOMAS & SOLOMON LLP             þ Contingent
           693 EAST AVENUE
           ROCHESTER NY 14607                                þ Unliquidated
                                                             þ Disputed
           Date or dates debt was incurred                   Basis for the claim:
           VARIOUS                                           CIVIL ACTION NO. 6:15-CV-06742
                                                             PENDING LITIGATION
           Last 4 digits of account number:
                                                             Is the claim subject to offset?

                                                             þ No
                                                             ¨ Yes




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3.1171.    Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                             Check all that apply.
           MANLUCCIA, NICHOLAS L.                                                                            UNDETERMINED
           J. NELSON THOMAS THOMAS & SOLOMON LLP             þ Contingent
           693 EAST AVENUE
           ROCHESTER NY 14607                                þ Unliquidated
                                                             þ Disputed
           Date or dates debt was incurred                   Basis for the claim:
           VARIOUS                                           CIVIL ACTION NO. 6:15-CV-06742
                                                             PENDING LITIGATION
           Last 4 digits of account number:
                                                             Is the claim subject to offset?

                                                             þ No
                                                             ¨ Yes

3.1172.    Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                             Check all that apply.
           MANNING, STEVEN O'NEAL                                                                            UNDETERMINED
           J. NELSON THOMAS THOMAS & SOLOMON LLP             þ Contingent
           693 EAST AVENUE
           ROCHESTER NY 14607                                þ Unliquidated
                                                             þ Disputed
           Date or dates debt was incurred                   Basis for the claim:
           VARIOUS                                           CIVIL ACTION NO. 6:15-CV-06742
                                                             PENDING LITIGATION
           Last 4 digits of account number:
                                                             Is the claim subject to offset?

                                                             þ No
                                                             ¨ Yes

3.1173.    Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                             Check all that apply.
           MANZO FOOD SALES INC.                                                                             $1,334.00
           13290 NW 25TH STREET                              ¨ Contingent
           MIAMI FL 33182
                                                             ¨ Unliquidated
                                                             ¨ Disputed
           Date or dates debt was incurred                   Basis for the claim:
           VARIOUS                                           TRADE ACCOUNTS PAYABLE
           Last 4 digits of account number:                  Is the claim subject to offset?

                                                             þ No
                                                             ¨ Yes




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3.1174.    Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                             Check all that apply.
           MARCANO, ANTHONY CASTO                                                                            UNDETERMINED
           J. NELSON THOMAS THOMAS & SOLOMON LLP             þ Contingent
           693 EAST AVENUE
           ROCHESTER NY 14607                                þ Unliquidated
                                                             þ Disputed
           Date or dates debt was incurred                   Basis for the claim:
           VARIOUS                                           CIVIL ACTION NO. 6:15-CV-06742
                                                             PENDING LITIGATION
           Last 4 digits of account number:
                                                             Is the claim subject to offset?

                                                             þ No
                                                             ¨ Yes

3.1175.    Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                             Check all that apply.
           MARCOS, MATTHEW S.                                                                                UNDETERMINED
           J. NELSON THOMAS THOMAS & SOLOMON LLP             þ Contingent
           693 EAST AVENUE
           ROCHESTER NY 14607                                þ Unliquidated
                                                             þ Disputed
           Date or dates debt was incurred                   Basis for the claim:
           VARIOUS                                           CIVIL ACTION NO. 6:15-CV-06742
                                                             PENDING LITIGATION
           Last 4 digits of account number:
                                                             Is the claim subject to offset?

                                                             þ No
                                                             ¨ Yes

3.1176.    Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                             Check all that apply.
           MARINO, JILLIAN FRANCES                                                                           UNDETERMINED
           J. NELSON THOMAS THOMAS & SOLOMON LLP             þ Contingent
           693 EAST AVENUE
           ROCHESTER NY 14607                                þ Unliquidated
                                                             þ Disputed
           Date or dates debt was incurred                   Basis for the claim:
           VARIOUS                                           CIVIL ACTION NO. 6:15-CV-06742
                                                             PENDING LITIGATION
           Last 4 digits of account number:
                                                             Is the claim subject to offset?

                                                             þ No
                                                             ¨ Yes




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3.1177.    Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                             Check all that apply.
           MARIO BROTHERS PAINTING                                                                           $960.00
           19200 MATENY HILL ROAD                            ¨ Contingent
           GERMANTOWN MD 20874
                                                             ¨ Unliquidated
                                                             ¨ Disputed
           Date or dates debt was incurred                   Basis for the claim:
           VARIOUS                                           TRADE ACCOUNTS PAYABLE
           Last 4 digits of account number:                  Is the claim subject to offset?

                                                             þ No
                                                             ¨ Yes

3.1178.    Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                             Check all that apply.
           MARK, JENNIFER LYNN                                                                               UNDETERMINED
           J. NELSON THOMAS THOMAS & SOLOMON LLP             þ Contingent
           693 EAST AVENUE
           ROCHESTER NY 14607                                þ Unliquidated
                                                             þ Disputed
           Date or dates debt was incurred                   Basis for the claim:
           VARIOUS                                           CIVIL ACTION NO. 6:15-CV-06742
                                                             PENDING LITIGATION
           Last 4 digits of account number:
                                                             Is the claim subject to offset?

                                                             þ No
                                                             ¨ Yes

3.1179.    Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                             Check all that apply.
           MARKET FORCE INFORMATION, INC.                                                                    $4,624.50
           DEPT. 0320                                        ¨ Contingent
           PO BOX 120320
           DALLAS TX 75312-0320                              ¨ Unliquidated
                                                             ¨ Disputed
           Date or dates debt was incurred                   Basis for the claim:
           VARIOUS                                           TRADE ACCOUNTS PAYABLE
           Last 4 digits of account number:                  Is the claim subject to offset?

                                                             þ No
                                                             ¨ Yes




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3.1180.    Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                             Check all that apply.
           MARKLEY, RYAN SCOTT                                                                               UNDETERMINED
           J. NELSON THOMAS THOMAS & SOLOMON LLP             þ Contingent
           693 EAST AVENUE
           ROCHESTER NY 14607                                þ Unliquidated
                                                             þ Disputed
           Date or dates debt was incurred                   Basis for the claim:
           VARIOUS                                           CIVIL ACTION NO. 6:15-CV-06742
                                                             PENDING LITIGATION
           Last 4 digits of account number:
                                                             Is the claim subject to offset?

                                                             þ No
                                                             ¨ Yes

3.1181.    Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                             Check all that apply.
           MARKS, ASHLEE N.                                                                                  UNDETERMINED
           J. NELSON THOMAS THOMAS & SOLOMON LLP             þ Contingent
           693 EAST AVENUE
           ROCHESTER NY 14607                                þ Unliquidated
                                                             þ Disputed
           Date or dates debt was incurred                   Basis for the claim:
           VARIOUS                                           CIVIL ACTION NO. 6:15-CV-06742
                                                             PENDING LITIGATION
           Last 4 digits of account number:
                                                             Is the claim subject to offset?

                                                             þ No
                                                             ¨ Yes

3.1182.    Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                             Check all that apply.
           MARLING, MICHAEL WILLIAM                                                                          UNDETERMINED
           J. NELSON THOMAS THOMAS & SOLOMON LLP             þ Contingent
           693 EAST AVENUE
           ROCHESTER NY 14607                                þ Unliquidated
                                                             þ Disputed
           Date or dates debt was incurred                   Basis for the claim:
           VARIOUS                                           CIVIL ACTION NO. 6:15-CV-06742
                                                             PENDING LITIGATION
           Last 4 digits of account number:
                                                             Is the claim subject to offset?

                                                             þ No
                                                             ¨ Yes




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3.1183.    Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                             Check all that apply.
           MARQUEZ, COURTNEY WARNER                                                                          UNDETERMINED
           J. NELSON THOMAS THOMAS & SOLOMON LLP             þ Contingent
           693 EAST AVENUE
           ROCHESTER NY 14607                                þ Unliquidated
                                                             þ Disputed
           Date or dates debt was incurred                   Basis for the claim:
           VARIOUS                                           CIVIL ACTION NO. 6:15-CV-06742
                                                             PENDING LITIGATION
           Last 4 digits of account number:
                                                             Is the claim subject to offset?

                                                             þ No
                                                             ¨ Yes

3.1184.    Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                             Check all that apply.
           MARQUEZ, MARINA                                                                                   UNDETERMINED
           J. NELSON THOMAS THOMAS & SOLOMON LLP             þ Contingent
           693 EAST AVENUE
           ROCHESTER NY 14607                                þ Unliquidated
                                                             þ Disputed
           Date or dates debt was incurred                   Basis for the claim:
           VARIOUS                                           CIVIL ACTION NO. 6:15-CV-06742
                                                             PENDING LITIGATION
           Last 4 digits of account number:
                                                             Is the claim subject to offset?

                                                             þ No
                                                             ¨ Yes

3.1185.    Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                             Check all that apply.
           MARQUEZ, MARINA BEATRICE                                                                          UNDETERMINED
           J. NELSON THOMAS THOMAS & SOLOMON LLP             þ Contingent
           693 EAST AVENUE
           ROCHESTER NY 14607                                þ Unliquidated
                                                             þ Disputed
           Date or dates debt was incurred                   Basis for the claim:
           VARIOUS                                           CIVIL ACTION NO. 6:15-CV-06742
                                                             PENDING LITIGATION
           Last 4 digits of account number:
                                                             Is the claim subject to offset?

                                                             þ No
                                                             ¨ Yes




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Debtor    MAC ACQUISITION LLC                                                                                Case number (if known) 17-12224




3.1186.    Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                             Check all that apply.
           MARSH & MCLENNAN AGENCY LLC                                                                       $718.00
           62886 COLLECTION CENTER DRIVE                     ¨ Contingent
           CHICAGO IL 60693
                                                             ¨ Unliquidated
                                                             ¨ Disputed
           Date or dates debt was incurred                   Basis for the claim:
           VARIOUS                                           TRADE ACCOUNTS PAYABLE
           Last 4 digits of account number:                  Is the claim subject to offset?

                                                             þ No
                                                             ¨ Yes

3.1187.    Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                             Check all that apply.
           MARTIN, FROST & HILL P.C.                                                                         $3,827.35
           3345 BEE CAVE ROAD                                ¨ Contingent
           SUITE #105
           AUSTIN TX 78746                                   ¨ Unliquidated
                                                             ¨ Disputed
           Date or dates debt was incurred                   Basis for the claim:
           VARIOUS                                           LEGAL
           Last 4 digits of account number:                  Is the claim subject to offset?

                                                             þ No
                                                             ¨ Yes

3.1188.    Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                             Check all that apply.
           MARTIN, GEORGE SAMUEL                                                                             UNDETERMINED
           J. NELSON THOMAS THOMAS & SOLOMON LLP             þ Contingent
           693 EAST AVENUE
           ROCHESTER NY 14607                                þ Unliquidated
                                                             þ Disputed
           Date or dates debt was incurred                   Basis for the claim:
           VARIOUS                                           CIVIL ACTION NO. 6:15-CV-06742
                                                             PENDING LITIGATION
           Last 4 digits of account number:
                                                             Is the claim subject to offset?

                                                             þ No
                                                             ¨ Yes




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Debtor    MAC ACQUISITION LLC                                                                                Case number (if known) 17-12224




3.1189.    Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                             Check all that apply.
           MARTIN, JESSICA SARA                                                                              UNDETERMINED
           J. NELSON THOMAS THOMAS & SOLOMON LLP             þ Contingent
           693 EAST AVENUE
           ROCHESTER NY 14607                                þ Unliquidated
                                                             þ Disputed
           Date or dates debt was incurred                   Basis for the claim:
           VARIOUS                                           CIVIL ACTION NO. 6:15-CV-06742
                                                             PENDING LITIGATION
           Last 4 digits of account number:
                                                             Is the claim subject to offset?

                                                             þ No
                                                             ¨ Yes

3.1190.    Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                             Check all that apply.
           MARTIN, JOSHUA SCOTT                                                                              UNDETERMINED
           J. NELSON THOMAS THOMAS & SOLOMON LLP             þ Contingent
           693 EAST AVENUE
           ROCHESTER NY 14607                                þ Unliquidated
                                                             þ Disputed
           Date or dates debt was incurred                   Basis for the claim:
           VARIOUS                                           CIVIL ACTION NO. 6:15-CV-06742
                                                             PENDING LITIGATION
           Last 4 digits of account number:
                                                             Is the claim subject to offset?

                                                             þ No
                                                             ¨ Yes

3.1191.    Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                             Check all that apply.
           MARTIN, KHRISTINA M.                                                                              UNDETERMINED
           J. NELSON THOMAS THOMAS & SOLOMON LLP             þ Contingent
           693 EAST AVENUE
           ROCHESTER NY 14607                                þ Unliquidated
                                                             þ Disputed
           Date or dates debt was incurred                   Basis for the claim:
           VARIOUS                                           CIVIL ACTION NO. 6:15-CV-06742
                                                             PENDING LITIGATION
           Last 4 digits of account number:
                                                             Is the claim subject to offset?

                                                             þ No
                                                             ¨ Yes




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3.1192.    Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                             Check all that apply.
           MARTIN, NICHOLAS EDWARD                                                                           UNDETERMINED
           J. NELSON THOMAS THOMAS & SOLOMON LLP             þ Contingent
           693 EAST AVENUE
           ROCHESTER NY 14607                                þ Unliquidated
                                                             þ Disputed
           Date or dates debt was incurred                   Basis for the claim:
           VARIOUS                                           CIVIL ACTION NO. 6:15-CV-06742
                                                             PENDING LITIGATION
           Last 4 digits of account number:
                                                             Is the claim subject to offset?

                                                             þ No
                                                             ¨ Yes

3.1193.    Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                             Check all that apply.
           MARTIN, TYLER SALVADORE                                                                           UNDETERMINED
           J. NELSON THOMAS THOMAS & SOLOMON LLP             þ Contingent
           693 EAST AVENUE
           ROCHESTER NY 14607                                þ Unliquidated
                                                             þ Disputed
           Date or dates debt was incurred                   Basis for the claim:
           VARIOUS                                           CIVIL ACTION NO. 6:15-CV-06742
                                                             PENDING LITIGATION
           Last 4 digits of account number:
                                                             Is the claim subject to offset?

                                                             þ No
                                                             ¨ Yes

3.1194.    Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                             Check all that apply.
           MARTINEZ, DOMARIS                                                                                 UNDETERMINED
                                                             þ Contingent
                                                             þ Unliquidated
                                                             þ Disputed
           Date or dates debt was incurred                   Basis for the claim:
           VARIOUS                                           GENERAL LIABILITY CLAIMS
           Last 4 digits of account number:                  Is the claim subject to offset?

                                                             þ No
                                                             ¨ Yes




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3.1195.    Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                             Check all that apply.
           MARTINEZ, KORAL MARIE                                                                             UNDETERMINED
           J. NELSON THOMAS THOMAS & SOLOMON LLP             þ Contingent
           693 EAST AVENUE
           ROCHESTER NY 14607                                þ Unliquidated
                                                             þ Disputed
           Date or dates debt was incurred                   Basis for the claim:
           VARIOUS                                           CIVIL ACTION NO. 6:15-CV-06742
                                                             PENDING LITIGATION
           Last 4 digits of account number:
                                                             Is the claim subject to offset?

                                                             þ No
                                                             ¨ Yes

3.1196.    Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                             Check all that apply.
           MARTINEZ, RACHEL                                                                                  UNDETERMINED
           J. NELSON THOMAS THOMAS & SOLOMON LLP             þ Contingent
           693 EAST AVENUE
           ROCHESTER NY 14607                                þ Unliquidated
                                                             þ Disputed
           Date or dates debt was incurred                   Basis for the claim:
           VARIOUS                                           CIVIL ACTION NO. 6:15-CV-06742
                                                             PENDING LITIGATION
           Last 4 digits of account number:
                                                             Is the claim subject to offset?

                                                             þ No
                                                             ¨ Yes

3.1197.    Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                             Check all that apply.
           MARTINEZ, SHERRI                                                                                  UNDETERMINED
                                                             þ Contingent
                                                             þ Unliquidated
                                                             þ Disputed
           Date or dates debt was incurred                   Basis for the claim:
           VARIOUS                                           GENERAL LIABILITY CLAIMS
           Last 4 digits of account number:                  Is the claim subject to offset?

                                                             þ No
                                                             ¨ Yes




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3.1198.    Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                             Check all that apply.
           MARTINEZ, VERONICA                                                                                UNDETERMINED
           J. NELSON THOMAS THOMAS & SOLOMON LLP             þ Contingent
           693 EAST AVENUE
           ROCHESTER NY 14607                                þ Unliquidated
                                                             þ Disputed
           Date or dates debt was incurred                   Basis for the claim:
           VARIOUS                                           CIVIL ACTION NO. 6:15-CV-06742
                                                             PENDING LITIGATION
           Last 4 digits of account number:
                                                             Is the claim subject to offset?

                                                             þ No
                                                             ¨ Yes

3.1199.    Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                             Check all that apply.
           MARVIN F. POER AND COMPANY                                                                        $7,695.75
           PO BOX 674300                                     þ Contingent
           DALLAS TX 75267-4300
                                                             þ Unliquidated
                                                             þ Disputed
           Date or dates debt was incurred                   Basis for the claim:
           VARIOUS                                           TRADE ACCOUNTS PAYABLE
           Last 4 digits of account number:                  Is the claim subject to offset?

                                                             þ No
                                                             ¨ Yes

3.1200.    Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                             Check all that apply.
           MASHBURN, KATHLEEN G.                                                                             UNDETERMINED
           J. NELSON THOMAS THOMAS & SOLOMON LLP             þ Contingent
           693 EAST AVENUE
           ROCHESTER NY 14607                                þ Unliquidated
                                                             þ Disputed
           Date or dates debt was incurred                   Basis for the claim:
           VARIOUS                                           CIVIL ACTION NO. 6:15-CV-06742
                                                             PENDING LITIGATION
           Last 4 digits of account number:
                                                             Is the claim subject to offset?

                                                             þ No
                                                             ¨ Yes




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3.1201.    Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                             Check all that apply.
           MASON, KAYLA JENEAN                                                                               UNDETERMINED
           J. NELSON THOMAS THOMAS & SOLOMON LLP             þ Contingent
           693 EAST AVENUE
           ROCHESTER NY 14607                                þ Unliquidated
                                                             þ Disputed
           Date or dates debt was incurred                   Basis for the claim:
           VARIOUS                                           CIVIL ACTION NO. 6:15-CV-06742
                                                             PENDING LITIGATION
           Last 4 digits of account number:
                                                             Is the claim subject to offset?

                                                             þ No
                                                             ¨ Yes

3.1202.    Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                             Check all that apply.
           MASON, SHAYNELLE                                                                                  UNDETERMINED
           J. NELSON THOMAS THOMAS & SOLOMON LLP             þ Contingent
           693 EAST AVENUE
           ROCHESTER NY 14607                                þ Unliquidated
                                                             þ Disputed
           Date or dates debt was incurred                   Basis for the claim:
           VARIOUS                                           CIVIL ACTION NO. 6:15-CV-06742
                                                             PENDING LITIGATION
           Last 4 digits of account number:
                                                             Is the claim subject to offset?

                                                             þ No
                                                             ¨ Yes

3.1203.    Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                             Check all that apply.
           MATHEWS, JACKY E.                                                                                 UNDETERMINED
           J. NELSON THOMAS THOMAS & SOLOMON LLP             þ Contingent
           693 EAST AVENUE
           ROCHESTER NY 14607                                þ Unliquidated
                                                             þ Disputed
           Date or dates debt was incurred                   Basis for the claim:
           VARIOUS                                           CIVIL ACTION NO. 6:15-CV-06742
                                                             PENDING LITIGATION
           Last 4 digits of account number:
                                                             Is the claim subject to offset?

                                                             þ No
                                                             ¨ Yes




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3.1204.    Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                             Check all that apply.
           MATHIEU ELECTRIC CO, INC.                                                                         $731.12
           1222 LAREDO STREET                                ¨ Contingent
           CORPUS CHRISTI TX 78401
                                                             ¨ Unliquidated
                                                             ¨ Disputed
           Date or dates debt was incurred                   Basis for the claim:
           VARIOUS                                           TRADE ACCOUNTS PAYABLE
           Last 4 digits of account number:                  Is the claim subject to offset?

                                                             þ No
                                                             ¨ Yes

3.1205.    Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                             Check all that apply.
           MATTINGLY, ELIZABETH ANNE                                                                         UNDETERMINED
           J. NELSON THOMAS THOMAS & SOLOMON LLP             þ Contingent
           693 EAST AVENUE
           ROCHESTER NY 14607                                þ Unliquidated
                                                             þ Disputed
           Date or dates debt was incurred                   Basis for the claim:
           VARIOUS                                           CIVIL ACTION NO. 6:15-CV-06742
                                                             PENDING LITIGATION
           Last 4 digits of account number:
                                                             Is the claim subject to offset?

                                                             þ No
                                                             ¨ Yes

3.1206.    Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                             Check all that apply.
           MAURICIO DOMINGUEZ                                                                                UNDETERMINED
                                                             þ Contingent
                                                             þ Unliquidated
                                                             þ Disputed
           Date or dates debt was incurred                   Basis for the claim:
           VARIOUS                                           WORKERS COMPENSATION CLAIM
           Last 4 digits of account number:                  Is the claim subject to offset?

                                                             þ No
                                                             ¨ Yes




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3.1207.    Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                             Check all that apply.
           MAXWELL MECHANICAL SERVICE                                                                        $1,095.70
           7432 CIENEGA NW                                   ¨ Contingent
           ALBUQUERQUE NM 87120
                                                             ¨ Unliquidated
                                                             ¨ Disputed
           Date or dates debt was incurred                   Basis for the claim:
           VARIOUS                                           TRADE ACCOUNTS PAYABLE
           Last 4 digits of account number:                  Is the claim subject to offset?

                                                             þ No
                                                             ¨ Yes

3.1208.    Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                             Check all that apply.
           MAY, HEIDI MARIA                                                                                  UNDETERMINED
           J. NELSON THOMAS THOMAS & SOLOMON LLP             þ Contingent
           693 EAST AVENUE
           ROCHESTER NY 14607                                þ Unliquidated
                                                             þ Disputed
           Date or dates debt was incurred                   Basis for the claim:
           VARIOUS                                           CIVIL ACTION NO. 6:15-CV-06742
                                                             PENDING LITIGATION
           Last 4 digits of account number:
                                                             Is the claim subject to offset?

                                                             þ No
                                                             ¨ Yes

3.1209.    Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                             Check all that apply.
           MAYLE, MATTHEW DONALD                                                                             UNDETERMINED
           J. NELSON THOMAS THOMAS & SOLOMON LLP             þ Contingent
           693 EAST AVENUE
           ROCHESTER NY 14607                                þ Unliquidated
                                                             þ Disputed
           Date or dates debt was incurred                   Basis for the claim:
           VARIOUS                                           CIVIL ACTION NO. 6:15-CV-06742
                                                             PENDING LITIGATION
           Last 4 digits of account number:
                                                             Is the claim subject to offset?

                                                             þ No
                                                             ¨ Yes




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3.1210.    Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                             Check all that apply.
           MAYNARD, LAUREN                                                                                   UNDETERMINED
           J. NELSON THOMAS THOMAS & SOLOMON LLP             þ Contingent
           693 EAST AVENUE
           ROCHESTER NY 14607                                þ Unliquidated
                                                             þ Disputed
           Date or dates debt was incurred                   Basis for the claim:
           VARIOUS                                           CIVIL ACTION NO. 6:15-CV-06742
                                                             PENDING LITIGATION
           Last 4 digits of account number:
                                                             Is the claim subject to offset?

                                                             þ No
                                                             ¨ Yes

3.1211.    Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                             Check all that apply.
           MAYNARD, LAUREN                                                                                   UNDETERMINED
           J. NELSON THOMAS THOMAS & SOLOMON LLP             þ Contingent
           693 EAST AVENUE
           ROCHESTER NY 14607                                þ Unliquidated
                                                             þ Disputed
           Date or dates debt was incurred                   Basis for the claim:
           VARIOUS                                           CIVIL ACTION NO. 6:15-CV-06742
                                                             PENDING LITIGATION
           Last 4 digits of account number:
                                                             Is the claim subject to offset?

                                                             þ No
                                                             ¨ Yes

3.1212.    Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                             Check all that apply.
           MCBRIDE PLUMBING                                                                                  $243.28
           5944 S 350 W                                      ¨ Contingent
           MURRAY UT 84107
                                                             ¨ Unliquidated
                                                             ¨ Disputed
           Date or dates debt was incurred                   Basis for the claim:
           VARIOUS                                           TRADE ACCOUNTS PAYABLE
           Last 4 digits of account number:                  Is the claim subject to offset?

                                                             þ No
                                                             ¨ Yes




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3.1213.    Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                             Check all that apply.
           MCBRIDE, LUCAS ZACHARY                                                                            UNDETERMINED
           J. NELSON THOMAS THOMAS & SOLOMON LLP             þ Contingent
           693 EAST AVENUE
           ROCHESTER NY 14607                                þ Unliquidated
                                                             þ Disputed
           Date or dates debt was incurred                   Basis for the claim:
           VARIOUS                                           CIVIL ACTION NO. 6:15-CV-06742
                                                             PENDING LITIGATION
           Last 4 digits of account number:
                                                             Is the claim subject to offset?

                                                             þ No
                                                             ¨ Yes

3.1214.    Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                             Check all that apply.
           MCBRIDE, WILLIE T.                                                                                UNDETERMINED
           J. NELSON THOMAS THOMAS & SOLOMON LLP             þ Contingent
           693 EAST AVENUE
           ROCHESTER NY 14607                                þ Unliquidated
                                                             þ Disputed
           Date or dates debt was incurred                   Basis for the claim:
           VARIOUS                                           CIVIL ACTION NO. 6:15-CV-06742
                                                             PENDING LITIGATION
           Last 4 digits of account number:
                                                             Is the claim subject to offset?

                                                             þ No
                                                             ¨ Yes

3.1215.    Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                             Check all that apply.
           MCCLAIN-RUSSELL, MARY K.                                                                          UNDETERMINED
           J. NELSON THOMAS THOMAS & SOLOMON LLP             þ Contingent
           693 EAST AVENUE
           ROCHESTER NY 14607                                þ Unliquidated
                                                             þ Disputed
           Date or dates debt was incurred                   Basis for the claim:
           VARIOUS                                           CIVIL ACTION NO. 6:15-CV-06742
                                                             PENDING LITIGATION
           Last 4 digits of account number:
                                                             Is the claim subject to offset?

                                                             þ No
                                                             ¨ Yes




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3.1216.    Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                             Check all that apply.
           MCCLISH, DANIELLE MARIE                                                                           UNDETERMINED
           J. NELSON THOMAS THOMAS & SOLOMON LLP             þ Contingent
           693 EAST AVENUE
           ROCHESTER NY 14607                                þ Unliquidated
                                                             þ Disputed
           Date or dates debt was incurred                   Basis for the claim:
           VARIOUS                                           CIVIL ACTION NO. 6:15-CV-06742
                                                             PENDING LITIGATION
           Last 4 digits of account number:
                                                             Is the claim subject to offset?

                                                             þ No
                                                             ¨ Yes

3.1217.    Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                             Check all that apply.
           MCCLISH, DANIELLE MARIE                                                                           UNDETERMINED
           J. NELSON THOMAS THOMAS & SOLOMON LLP             þ Contingent
           693 EAST AVENUE
           ROCHESTER NY 14607                                þ Unliquidated
                                                             þ Disputed
           Date or dates debt was incurred                   Basis for the claim:
           VARIOUS                                           CIVIL ACTION NO. 6:15-CV-06742
                                                             PENDING LITIGATION
           Last 4 digits of account number:
                                                             Is the claim subject to offset?

                                                             þ No
                                                             ¨ Yes

3.1218.    Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                             Check all that apply.
           MCCORMICK & PRIORE                                                                                $3,667.90
           4 PENN CENTER, STE. 800                           ¨ Contingent
           1600 JOHN F KENNEDY BLVD
           PHILADELPHIA PA 19103                             ¨ Unliquidated
                                                             ¨ Disputed
           Date or dates debt was incurred                   Basis for the claim:
           VARIOUS                                           LEGAL
           Last 4 digits of account number:                  Is the claim subject to offset?

                                                             þ No
                                                             ¨ Yes




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3.1219.    Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                             Check all that apply.
           MCCUNE, LORI ANNE                                                                                 UNDETERMINED
           J. NELSON THOMAS THOMAS & SOLOMON LLP             þ Contingent
           693 EAST AVENUE
           ROCHESTER NY 14607                                þ Unliquidated
                                                             þ Disputed
           Date or dates debt was incurred                   Basis for the claim:
           VARIOUS                                           CIVIL ACTION NO. 6:15-CV-06742
                                                             PENDING LITIGATION
           Last 4 digits of account number:
                                                             Is the claim subject to offset?

                                                             þ No
                                                             ¨ Yes

3.1220.    Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                             Check all that apply.
           MCDERMOTT & MCGEE LLP                                                                             $2,000.00
           75 MAIN STREET, STE. 305                          ¨ Contingent
           MILLBURN NJ 70410
                                                             ¨ Unliquidated
                                                             ¨ Disputed
           Date or dates debt was incurred                   Basis for the claim:
           VARIOUS                                           LEGAL
           Last 4 digits of account number:                  Is the claim subject to offset?

                                                             þ No
                                                             ¨ Yes

3.1221.    Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                             Check all that apply.
           MCFOY, SOPHIA ANN-MARIE                                                                           UNDETERMINED
           J. NELSON THOMAS THOMAS & SOLOMON LLP             þ Contingent
           693 EAST AVENUE
           ROCHESTER NY 14607                                þ Unliquidated
                                                             þ Disputed
           Date or dates debt was incurred                   Basis for the claim:
           VARIOUS                                           CIVIL ACTION NO. 6:15-CV-06742
                                                             PENDING LITIGATION
           Last 4 digits of account number:
                                                             Is the claim subject to offset?

                                                             þ No
                                                             ¨ Yes




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3.1222.    Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                             Check all that apply.
           MCGAUGHEY, AMY CATHERINE                                                                          UNDETERMINED
           J. NELSON THOMAS THOMAS & SOLOMON LLP             þ Contingent
           693 EAST AVENUE
           ROCHESTER NY 14607                                þ Unliquidated
                                                             þ Disputed
           Date or dates debt was incurred                   Basis for the claim:
           VARIOUS                                           CIVIL ACTION NO. 6:15-CV-06742
                                                             PENDING LITIGATION
           Last 4 digits of account number:
                                                             Is the claim subject to offset?

                                                             þ No
                                                             ¨ Yes

3.1223.    Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                             Check all that apply.
           MCGOWAN, BRENNA KATHLEEN                                                                          UNDETERMINED
           J. NELSON THOMAS THOMAS & SOLOMON LLP             þ Contingent
           693 EAST AVENUE
           ROCHESTER NY 14607                                þ Unliquidated
                                                             þ Disputed
           Date or dates debt was incurred                   Basis for the claim:
           VARIOUS                                           CIVIL ACTION NO. 6:15-CV-06742
                                                             PENDING LITIGATION
           Last 4 digits of account number:
                                                             Is the claim subject to offset?

                                                             þ No
                                                             ¨ Yes

3.1224.    Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                             Check all that apply.
           MCGRATH, WILLIAM GREGORY                                                                          UNDETERMINED
           J. NELSON THOMAS THOMAS & SOLOMON LLP             þ Contingent
           693 EAST AVENUE
           ROCHESTER NY 14607                                þ Unliquidated
                                                             þ Disputed
           Date or dates debt was incurred                   Basis for the claim:
           VARIOUS                                           CIVIL ACTION NO. 6:15-CV-06742
                                                             PENDING LITIGATION
           Last 4 digits of account number:
                                                             Is the claim subject to offset?

                                                             þ No
                                                             ¨ Yes




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3.1225.    Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                             Check all that apply.
           MCINTOSH, TARA BETH                                                                               UNDETERMINED
           J. NELSON THOMAS THOMAS & SOLOMON LLP             þ Contingent
           693 EAST AVENUE
           ROCHESTER NY 14607                                þ Unliquidated
                                                             þ Disputed
           Date or dates debt was incurred                   Basis for the claim:
           VARIOUS                                           CIVIL ACTION NO. 6:15-CV-06742
                                                             PENDING LITIGATION
           Last 4 digits of account number:
                                                             Is the claim subject to offset?

                                                             þ No
                                                             ¨ Yes

3.1226.    Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                             Check all that apply.
           MCKENNA, KYLE                                                                                     UNDETERMINED
           J. NELSON THOMAS THOMAS & SOLOMON LLP             þ Contingent
           693 EAST AVENUE
           ROCHESTER NY 14607                                þ Unliquidated
                                                             þ Disputed
           Date or dates debt was incurred                   Basis for the claim:
           VARIOUS                                           CIVIL ACTION NO. 6:15-CV-06742
                                                             PENDING LITIGATION
           Last 4 digits of account number:
                                                             Is the claim subject to offset?

                                                             þ No
                                                             ¨ Yes

3.1227.    Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                             Check all that apply.
           MCKENNEY, KAYLEIGH                                                                                UNDETERMINED
           J. NELSON THOMAS THOMAS & SOLOMON LLP             þ Contingent
           693 EAST AVENUE
           ROCHESTER NY 14607                                þ Unliquidated
                                                             þ Disputed
           Date or dates debt was incurred                   Basis for the claim:
           VARIOUS                                           CIVIL ACTION NO. 6:15-CV-06742
                                                             PENDING LITIGATION
           Last 4 digits of account number:
                                                             Is the claim subject to offset?

                                                             þ No
                                                             ¨ Yes




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3.1228.    Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                             Check all that apply.
           MCKINLEY, TAMRA                                                                                   UNDETERMINED
           J. NELSON THOMAS THOMAS & SOLOMON LLP             þ Contingent
           693 EAST AVENUE
           ROCHESTER NY 14607                                þ Unliquidated
                                                             þ Disputed
           Date or dates debt was incurred                   Basis for the claim:
           VARIOUS                                           CIVIL ACTION NO. 6:15-CV-06742
                                                             PENDING LITIGATION
           Last 4 digits of account number:
                                                             Is the claim subject to offset?

                                                             þ No
                                                             ¨ Yes

3.1229.    Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                             Check all that apply.
           MCKINNON, SEMAJ AKIL                                                                              UNDETERMINED
           J. NELSON THOMAS THOMAS & SOLOMON LLP             þ Contingent
           693 EAST AVENUE
           ROCHESTER NY 14607                                þ Unliquidated
                                                             þ Disputed
           Date or dates debt was incurred                   Basis for the claim:
           VARIOUS                                           CIVIL ACTION NO. 6:15-CV-06742
                                                             PENDING LITIGATION
           Last 4 digits of account number:
                                                             Is the claim subject to offset?

                                                             þ No
                                                             ¨ Yes

3.1230.    Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                             Check all that apply.
           MCLAUGHLIN, JENNY                                                                                 UNDETERMINED
           J. NELSON THOMAS THOMAS & SOLOMON LLP             þ Contingent
           693 EAST AVENUE
           ROCHESTER NY 14607                                þ Unliquidated
                                                             þ Disputed
           Date or dates debt was incurred                   Basis for the claim:
           VARIOUS                                           CIVIL ACTION NO. 6:15-CV-06742
                                                             PENDING LITIGATION
           Last 4 digits of account number:
                                                             Is the claim subject to offset?

                                                             þ No
                                                             ¨ Yes




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Debtor    MAC ACQUISITION LLC                                                                                Case number (if known) 17-12224




3.1231.    Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                             Check all that apply.
           MCWETHY, MICHELLE D.                                                                              UNDETERMINED
           J. NELSON THOMAS THOMAS & SOLOMON LLP             þ Contingent
           693 EAST AVENUE
           ROCHESTER NY 14607                                þ Unliquidated
                                                             þ Disputed
           Date or dates debt was incurred                   Basis for the claim:
           VARIOUS                                           CIVIL ACTION NO. 6:15-CV-06742
                                                             PENDING LITIGATION
           Last 4 digits of account number:
                                                             Is the claim subject to offset?

                                                             þ No
                                                             ¨ Yes

3.1232.    Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                             Check all that apply.
           MEDINA'S RESTRAURANT CLEANING                                                                     $495.00
           SERVICES                                          ¨ Contingent
           2034 CANYON DRIVE NO 8
           DBA MANUEL MEDINA                                 ¨ Unliquidated
           OCEANSIDE CA 92054                                ¨ Disputed
           Date or dates debt was incurred                   Basis for the claim:
           VARIOUS                                           TRADE ACCOUNTS PAYABLE
           Last 4 digits of account number:                  Is the claim subject to offset?

                                                             þ No
                                                             ¨ Yes

3.1233.    Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                             Check all that apply.
           MEEDS, JEANNINE                                                                                   UNDETERMINED
           J. NELSON THOMAS THOMAS & SOLOMON LLP             þ Contingent
           693 EAST AVENUE
           ROCHESTER NY 14607                                þ Unliquidated
                                                             þ Disputed
           Date or dates debt was incurred                   Basis for the claim:
           VARIOUS                                           CIVIL ACTION NO. 6:15-CV-06742
                                                             PENDING LITIGATION
           Last 4 digits of account number:
                                                             Is the claim subject to offset?

                                                             þ No
                                                             ¨ Yes




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3.1234.    Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                             Check all that apply.
           MEHRYARI, NEDA                                                                                    UNDETERMINED
           J. NELSON THOMAS THOMAS & SOLOMON LLP             þ Contingent
           693 EAST AVENUE
           ROCHESTER NY 14607                                þ Unliquidated
                                                             þ Disputed
           Date or dates debt was incurred                   Basis for the claim:
           VARIOUS                                           CIVIL ACTION NO. 6:15-CV-06742
                                                             PENDING LITIGATION
           Last 4 digits of account number:
                                                             Is the claim subject to offset?

                                                             þ No
                                                             ¨ Yes

3.1235.    Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                             Check all that apply.
           MEIZLER, KIMBERLY RENEE                                                                           UNDETERMINED
           J. NELSON THOMAS THOMAS & SOLOMON LLP             þ Contingent
           693 EAST AVENUE
           ROCHESTER NY 14607                                þ Unliquidated
                                                             þ Disputed
           Date or dates debt was incurred                   Basis for the claim:
           VARIOUS                                           CIVIL ACTION NO. 6:15-CV-06742
                                                             PENDING LITIGATION
           Last 4 digits of account number:
                                                             Is the claim subject to offset?

                                                             þ No
                                                             ¨ Yes

3.1236.    Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                             Check all that apply.
           MELO, VERA                                                                                        UNDETERMINED
                                                             þ Contingent
                                                             þ Unliquidated
                                                             þ Disputed
           Date or dates debt was incurred                   Basis for the claim:
           VARIOUS                                           GENERAL LIABILITY CLAIMS
           Last 4 digits of account number:                  Is the claim subject to offset?

                                                             þ No
                                                             ¨ Yes




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3.1237.    Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                             Check all that apply.
           MELTON, DYLAN                                                                                     UNDETERMINED
                                                             þ Contingent
                                                             þ Unliquidated
                                                             þ Disputed
           Date or dates debt was incurred                   Basis for the claim:
           VARIOUS                                           GENERAL LIABILITY CLAIMS
           Last 4 digits of account number:                  Is the claim subject to offset?

                                                             þ No
                                                             ¨ Yes

3.1238.    Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                             Check all that apply.
           MELVIN, MANNY                                                                                     UNDETERMINED
           J. NELSON THOMAS THOMAS & SOLOMON LLP             þ Contingent
           693 EAST AVENUE
           ROCHESTER NY 14607                                þ Unliquidated
                                                             þ Disputed
           Date or dates debt was incurred                   Basis for the claim:
           VARIOUS                                           CIVIL ACTION NO. 6:15-CV-06742
                                                             PENDING LITIGATION
           Last 4 digits of account number:
                                                             Is the claim subject to offset?

                                                             þ No
                                                             ¨ Yes

3.1239.    Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                             Check all that apply.
           MENDEZ, CHELSEY M.                                                                                UNDETERMINED
           J. NELSON THOMAS THOMAS & SOLOMON LLP             þ Contingent
           693 EAST AVENUE
           ROCHESTER NY 14607                                þ Unliquidated
                                                             þ Disputed
           Date or dates debt was incurred                   Basis for the claim:
           VARIOUS                                           CIVIL ACTION NO. 6:15-CV-06742
                                                             PENDING LITIGATION
           Last 4 digits of account number:
                                                             Is the claim subject to offset?

                                                             þ No
                                                             ¨ Yes




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3.1240.    Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                             Check all that apply.
           MENDIETA, LAZARO                                                                                  UNDETERMINED
                                                             þ Contingent
                                                             þ Unliquidated
                                                             þ Disputed
           Date or dates debt was incurred                   Basis for the claim:
           VARIOUS                                           WORKERS COMPENSATION CLAIM
           Last 4 digits of account number:                  Is the claim subject to offset?

                                                             þ No
                                                             ¨ Yes

3.1241.    Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                             Check all that apply.
           MENDOZA, MANUEL                                                                                   UNDETERMINED
           MARK B. PLUMMER, LAW OFFICES OF MARK B.           þ Contingent
           PLUMMER PC
                                                             þ Unliquidated
                                                             þ Disputed
           Date or dates debt was incurred                   Basis for the claim:
           VARIOUS                                           CASE NO. 8:17-CV-00557(JEMX) PENDING
                                                             LITIGATION
           Last 4 digits of account number:
                                                             Is the claim subject to offset?

                                                             þ No
                                                             ¨ Yes

3.1242.    Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                             Check all that apply.
           MENNELLA, STEVEN ANTHONY                                                                          UNDETERMINED
           J. NELSON THOMAS THOMAS & SOLOMON LLP             þ Contingent
           693 EAST AVENUE
           ROCHESTER NY 14607                                þ Unliquidated
                                                             þ Disputed
           Date or dates debt was incurred                   Basis for the claim:
           VARIOUS                                           CIVIL ACTION NO. 6:15-CV-06742
                                                             PENDING LITIGATION
           Last 4 digits of account number:
                                                             Is the claim subject to offset?

                                                             þ No
                                                             ¨ Yes




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3.1243.    Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                             Check all that apply.
           MENTZER, SUSAN L.                                                                                 UNDETERMINED
           J. NELSON THOMAS THOMAS & SOLOMON LLP             þ Contingent
           693 EAST AVENUE
           ROCHESTER NY 14607                                þ Unliquidated
                                                             þ Disputed
           Date or dates debt was incurred                   Basis for the claim:
           VARIOUS                                           CIVIL ACTION NO. 6:15-CV-06742
                                                             PENDING LITIGATION
           Last 4 digits of account number:
                                                             Is the claim subject to offset?

                                                             þ No
                                                             ¨ Yes

3.1244.    Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                             Check all that apply.
           METROPLEX OKLAHOMA LLC                                                                            $267.00
           DBA METROPLEX ELECTRIC                            ¨ Contingent
           6420 N BROADWAY EXT
           OKLAHOMA CITY OK 73116                            ¨ Unliquidated
                                                             ¨ Disputed
           Date or dates debt was incurred                   Basis for the claim:
           VARIOUS                                           TRADE ACCOUNTS PAYABLE
           Last 4 digits of account number:                  Is the claim subject to offset?

                                                             þ No
                                                             ¨ Yes

3.1245.    Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                             Check all that apply.
           METTER, JENNIFER M.                                                                               UNDETERMINED
           J. NELSON THOMAS THOMAS & SOLOMON LLP             þ Contingent
           693 EAST AVENUE
           ROCHESTER NY 14607                                þ Unliquidated
                                                             þ Disputed
           Date or dates debt was incurred                   Basis for the claim:
           VARIOUS                                           CIVIL ACTION NO. 6:15-CV-06742
                                                             PENDING LITIGATION
           Last 4 digits of account number:
                                                             Is the claim subject to offset?

                                                             þ No
                                                             ¨ Yes




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3.1246.    Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                             Check all that apply.
           MEYER, DEREK STEVEN                                                                               UNDETERMINED
           J. NELSON THOMAS THOMAS & SOLOMON LLP             þ Contingent
           693 EAST AVENUE
           ROCHESTER NY 14607                                þ Unliquidated
                                                             þ Disputed
           Date or dates debt was incurred                   Basis for the claim:
           VARIOUS                                           CIVIL ACTION NO. 6:15-CV-06742
                                                             PENDING LITIGATION
           Last 4 digits of account number:
                                                             Is the claim subject to offset?

                                                             þ No
                                                             ¨ Yes

3.1247.    Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                             Check all that apply.
           MICHEL, ANDY                                                                                      UNDETERMINED
           J. NELSON THOMAS THOMAS & SOLOMON LLP             þ Contingent
           693 EAST AVENUE
           ROCHESTER NY 14607                                þ Unliquidated
                                                             þ Disputed
           Date or dates debt was incurred                   Basis for the claim:
           VARIOUS                                           CIVIL ACTION NO. 6:15-CV-06742
                                                             PENDING LITIGATION
           Last 4 digits of account number:
                                                             Is the claim subject to offset?

                                                             þ No
                                                             ¨ Yes

3.1248.    Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                             Check all that apply.
           MICHIGAN TREE & LANDSCAPING, INC                                                                  $600.00
           30528 GARFIELD STREET                             ¨ Contingent
           ROSEVILLE MI 48066
                                                             ¨ Unliquidated
                                                             ¨ Disputed
           Date or dates debt was incurred                   Basis for the claim:
           VARIOUS                                           TRADE ACCOUNTS PAYABLE
           Last 4 digits of account number:                  Is the claim subject to offset?

                                                             þ No
                                                             ¨ Yes




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3.1249.    Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                             Check all that apply.
           MID SOUTH MAINTENANCE OF TN INC                                                                   $6,352.42
           1055 RIDGECREST DR                                ¨ Contingent
           GOODLETTSVILLE TN 37072
                                                             ¨ Unliquidated
                                                             ¨ Disputed
           Date or dates debt was incurred                   Basis for the claim:
           VARIOUS                                           TRADE ACCOUNTS PAYABLE
           Last 4 digits of account number:                  Is the claim subject to offset?

                                                             þ No
                                                             ¨ Yes

3.1250.    Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                             Check all that apply.
           MIDDLEBROOKS ELECTRIC SVC INC                                                                     $2,950.93
           718 S. EAST ST                                    ¨ Contingent
           BENTON AR 72015
                                                             ¨ Unliquidated
                                                             ¨ Disputed
           Date or dates debt was incurred                   Basis for the claim:
           VARIOUS                                           TRADE ACCOUNTS PAYABLE
           Last 4 digits of account number:                  Is the claim subject to offset?

                                                             þ No
                                                             ¨ Yes

3.1251.    Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                             Check all that apply.
           MIGLIACIO, DEREK                                                                                  UNDETERMINED
           J. NELSON THOMAS THOMAS & SOLOMON LLP             þ Contingent
           693 EAST AVENUE
           ROCHESTER NY 14607                                þ Unliquidated
                                                             þ Disputed
           Date or dates debt was incurred                   Basis for the claim:
           VARIOUS                                           CIVIL ACTION NO. 6:15-CV-06742
                                                             PENDING LITIGATION
           Last 4 digits of account number:
                                                             Is the claim subject to offset?

                                                             þ No
                                                             ¨ Yes




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3.1252.    Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                             Check all that apply.
           MIGLIACIO, DEREK                                                                                  UNDETERMINED
           J. NELSON THOMAS THOMAS & SOLOMON LLP             þ Contingent
           693 EAST AVENUE
           ROCHESTER NY 14607                                þ Unliquidated
                                                             þ Disputed
           Date or dates debt was incurred                   Basis for the claim:
           VARIOUS                                           CIVIL ACTION NO. 6:15-CV-06742
                                                             PENDING LITIGATION
           Last 4 digits of account number:
                                                             Is the claim subject to offset?

                                                             þ No
                                                             ¨ Yes

3.1253.    Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                             Check all that apply.
           MIKE AND MARTHA WITT                                                                              UNDETERMINED
           MARTHA WITT/OWNER                                 þ Contingent
           3300 E LAKE CREEK RD
           HEBER UT 84032                                    þ Unliquidated
                                                             þ Disputed
           Date or dates debt was incurred                   Basis for the claim:
           VARIOUS                                           LANDLORD CLAIM
           Last 4 digits of account number:                  Is the claim subject to offset?

                                                             þ No
                                                             ¨ Yes

3.1254.    Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                             Check all that apply.
           MIKKOLA, ENSIO N.                                                                                 UNDETERMINED
           J. NELSON THOMAS THOMAS & SOLOMON LLP             þ Contingent
           693 EAST AVENUE
           ROCHESTER NY 14607                                þ Unliquidated
                                                             þ Disputed
           Date or dates debt was incurred                   Basis for the claim:
           VARIOUS                                           CIVIL ACTION NO. 6:15-CV-06742
                                                             PENDING LITIGATION
           Last 4 digits of account number:
                                                             Is the claim subject to offset?

                                                             þ No
                                                             ¨ Yes




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3.1255.    Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                             Check all that apply.
           MILES, DANIELLE LORENE                                                                            UNDETERMINED
           J. NELSON THOMAS THOMAS & SOLOMON LLP             þ Contingent
           693 EAST AVENUE
           ROCHESTER NY 14607                                þ Unliquidated
                                                             þ Disputed
           Date or dates debt was incurred                   Basis for the claim:
           VARIOUS                                           CIVIL ACTION NO. 6:15-CV-06742
                                                             PENDING LITIGATION
           Last 4 digits of account number:
                                                             Is the claim subject to offset?

                                                             þ No
                                                             ¨ Yes

3.1256.    Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                             Check all that apply.
           MILLER, CHARLOTTE GRANT                                                                           UNDETERMINED
           J. NELSON THOMAS THOMAS & SOLOMON LLP             þ Contingent
           693 EAST AVENUE
           ROCHESTER NY 14607                                þ Unliquidated
                                                             þ Disputed
           Date or dates debt was incurred                   Basis for the claim:
           VARIOUS                                           CIVIL ACTION NO. 6:15-CV-06742
                                                             PENDING LITIGATION
           Last 4 digits of account number:
                                                             Is the claim subject to offset?

                                                             þ No
                                                             ¨ Yes

3.1257.    Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                             Check all that apply.
           MILLER, KALYN NICHOLE                                                                             UNDETERMINED
           J. NELSON THOMAS THOMAS & SOLOMON LLP             þ Contingent
           693 EAST AVENUE
           ROCHESTER NY 14607                                þ Unliquidated
                                                             þ Disputed
           Date or dates debt was incurred                   Basis for the claim:
           VARIOUS                                           CIVIL ACTION NO. 6:15-CV-06742
                                                             PENDING LITIGATION
           Last 4 digits of account number:
                                                             Is the claim subject to offset?

                                                             þ No
                                                             ¨ Yes




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3.1258.    Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                             Check all that apply.
           MILLER, KRISTEN LEE                                                                               UNDETERMINED
           J. NELSON THOMAS THOMAS & SOLOMON LLP             þ Contingent
           693 EAST AVENUE
           ROCHESTER NY 14607                                þ Unliquidated
                                                             þ Disputed
           Date or dates debt was incurred                   Basis for the claim:
           VARIOUS                                           CIVIL ACTION NO. 6:15-CV-06742
                                                             PENDING LITIGATION
           Last 4 digits of account number:
                                                             Is the claim subject to offset?

                                                             þ No
                                                             ¨ Yes

3.1259.    Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                             Check all that apply.
           MILLER, WILBUR                                                                                    UNDETERMINED
           J. NELSON THOMAS THOMAS & SOLOMON LLP             þ Contingent
           693 EAST AVENUE
           ROCHESTER NY 14607                                þ Unliquidated
                                                             þ Disputed
           Date or dates debt was incurred                   Basis for the claim:
           VARIOUS                                           CIVIL ACTION NO. 6:15-CV-06742
                                                             PENDING LITIGATION
           Last 4 digits of account number:
                                                             Is the claim subject to offset?

                                                             þ No
                                                             ¨ Yes

3.1260.    Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                             Check all that apply.
           MILLSPAUGH, CAMRON ALLEN                                                                          UNDETERMINED
           J. NELSON THOMAS THOMAS & SOLOMON LLP             þ Contingent
           693 EAST AVENUE
           ROCHESTER NY 14607                                þ Unliquidated
                                                             þ Disputed
           Date or dates debt was incurred                   Basis for the claim:
           VARIOUS                                           CIVIL ACTION NO. 6:15-CV-06742
                                                             PENDING LITIGATION
           Last 4 digits of account number:
                                                             Is the claim subject to offset?

                                                             þ No
                                                             ¨ Yes




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3.1261.    Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                             Check all that apply.
           MILLSPAUGH, CAMRON ALLEN                                                                          UNDETERMINED
           J. NELSON THOMAS THOMAS & SOLOMON LLP             þ Contingent
           693 EAST AVENUE
           ROCHESTER NY 14607                                þ Unliquidated
                                                             þ Disputed
           Date or dates debt was incurred                   Basis for the claim:
           VARIOUS                                           CIVIL ACTION NO. 6:15-CV-06742
                                                             PENDING LITIGATION
           Last 4 digits of account number:
                                                             Is the claim subject to offset?

                                                             þ No
                                                             ¨ Yes

3.1262.    Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                             Check all that apply.
           MINER SOUTHWEST LLC                                                                               $1,865.44
           11827 TECH COM STE 115                            ¨ Contingent
           SAN ANTONIO TX 78233
                                                             ¨ Unliquidated
                                                             ¨ Disputed
           Date or dates debt was incurred                   Basis for the claim:
           VARIOUS                                           TRADE ACCOUNTS PAYABLE
           Last 4 digits of account number:                  Is the claim subject to offset?

                                                             þ No
                                                             ¨ Yes

3.1263.    Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                             Check all that apply.
           MINUTEMAN PLUMBLING & DRAIN SERVICE                                                               $1,045.67
           PO BOX 4983                                       ¨ Contingent
           GARDEN GROVE CA 92842
                                                             ¨ Unliquidated
                                                             ¨ Disputed
           Date or dates debt was incurred                   Basis for the claim:
           VARIOUS                                           TRADE ACCOUNTS PAYABLE
           Last 4 digits of account number:                  Is the claim subject to offset?

                                                             þ No
                                                             ¨ Yes




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3.1264.    Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                             Check all that apply.
           MIROWSKI, NICOLE ANNE                                                                             UNDETERMINED
           J. NELSON THOMAS THOMAS & SOLOMON LLP             þ Contingent
           693 EAST AVENUE
           ROCHESTER NY 14607                                þ Unliquidated
                                                             þ Disputed
           Date or dates debt was incurred                   Basis for the claim:
           VARIOUS                                           CIVIL ACTION NO. 6:15-CV-06742
                                                             PENDING LITIGATION
           Last 4 digits of account number:
                                                             Is the claim subject to offset?

                                                             þ No
                                                             ¨ Yes

3.1265.    Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                             Check all that apply.
           MITCHELL, CHRISTOPHER MICHAEL                                                                     UNDETERMINED
           J. NELSON THOMAS THOMAS & SOLOMON LLP             þ Contingent
           693 EAST AVENUE
           ROCHESTER NY 14607                                þ Unliquidated
                                                             þ Disputed
           Date or dates debt was incurred                   Basis for the claim:
           VARIOUS                                           CIVIL ACTION NO. 6:15-CV-06742
                                                             PENDING LITIGATION
           Last 4 digits of account number:
                                                             Is the claim subject to offset?

                                                             þ No
                                                             ¨ Yes

3.1266.    Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                             Check all that apply.
           MJDEL LLC                                                                                         UNDETERMINED
           NICHOLAS DELEGAS                                  þ Contingent
           MANAGER
           61 SOLOMON PIERCE RD                              þ Unliquidated
           LEXINGTON MA 02420                                þ Disputed
           Date or dates debt was incurred                   Basis for the claim:
           VARIOUS                                           LANDLORD CLAIM
           Last 4 digits of account number:                  Is the claim subject to offset?

                                                             þ No
                                                             ¨ Yes




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Debtor    MAC ACQUISITION LLC                                                                                Case number (if known) 17-12224




3.1267.    Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                             Check all that apply.
           MJDEL, LLC                                                                                        UNDETERMINED
           RONALD W. DUNBAR, JR.                             þ Contingent
           197 PORTLAND ST 5TH FL
           DUNBAR GOLOBOY, LLP                               þ Unliquidated
           BOSTON MA 02114                                   þ Disputed
           Date or dates debt was incurred                   Basis for the claim:
           VARIOUS                                           CASE NO. 1781CV00631 PENDING REAL
                                                             ESTATE LITIGATION
           Last 4 digits of account number:
                                                             Is the claim subject to offset?

                                                             þ No
                                                             ¨ Yes

3.1268.    Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                             Check all that apply.
           MODEL LINEN INC                                                                                   $6,223.63
           PO BOX 1669                                       ¨ Contingent
           OGDEN UT 84402
                                                             ¨ Unliquidated
                                                             ¨ Disputed
           Date or dates debt was incurred                   Basis for the claim:
           VARIOUS                                           TRADE ACCOUNTS PAYABLE
           Last 4 digits of account number:                  Is the claim subject to offset?

                                                             þ No
                                                             ¨ Yes

3.1269.    Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                             Check all that apply.
           MOEN, MELISSA DAWN                                                                                UNDETERMINED
           J. NELSON THOMAS THOMAS & SOLOMON LLP             þ Contingent
           693 EAST AVENUE
           ROCHESTER NY 14607                                þ Unliquidated
                                                             þ Disputed
           Date or dates debt was incurred                   Basis for the claim:
           VARIOUS                                           CIVIL ACTION NO. 6:15-CV-06742
                                                             PENDING LITIGATION
           Last 4 digits of account number:
                                                             Is the claim subject to offset?

                                                             þ No
                                                             ¨ Yes




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Debtor    MAC ACQUISITION LLC                                                                                Case number (if known) 17-12224




3.1270.    Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                             Check all that apply.
           MOISEYENKO, ANASTASIYA O.                                                                         UNDETERMINED
           J. NELSON THOMAS THOMAS & SOLOMON LLP             þ Contingent
           693 EAST AVENUE
           ROCHESTER NY 14607                                þ Unliquidated
                                                             þ Disputed
           Date or dates debt was incurred                   Basis for the claim:
           VARIOUS                                           CIVIL ACTION NO. 6:15-CV-06742
                                                             PENDING LITIGATION
           Last 4 digits of account number:
                                                             Is the claim subject to offset?

                                                             þ No
                                                             ¨ Yes

3.1271.    Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                             Check all that apply.
           MOJAVE ELECTRIC INC.                                                                              $190.64
           3755 W HACIENDA AVE.                              ¨ Contingent
           LAS VEGAS NV 89118
                                                             ¨ Unliquidated
                                                             ¨ Disputed
           Date or dates debt was incurred                   Basis for the claim:
           VARIOUS                                           TRADE ACCOUNTS PAYABLE
           Last 4 digits of account number:                  Is the claim subject to offset?

                                                             þ No
                                                             ¨ Yes

3.1272.    Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                             Check all that apply.
           MOLINA, LUIS A.                                                                                   UNDETERMINED
           J. NELSON THOMAS THOMAS & SOLOMON LLP             þ Contingent
           693 EAST AVENUE
           ROCHESTER NY 14607                                þ Unliquidated
                                                             þ Disputed
           Date or dates debt was incurred                   Basis for the claim:
           VARIOUS                                           CIVIL ACTION NO. 6:15-CV-06742
                                                             PENDING LITIGATION
           Last 4 digits of account number:
                                                             Is the claim subject to offset?

                                                             þ No
                                                             ¨ Yes




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Debtor    MAC ACQUISITION LLC                                                                                Case number (if known) 17-12224




3.1273.    Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                             Check all that apply.
           MOLINA, LUIS ALEXANDER                                                                            UNDETERMINED
           J. NELSON THOMAS THOMAS & SOLOMON LLP             þ Contingent
           693 EAST AVENUE
           ROCHESTER NY 14607                                þ Unliquidated
                                                             þ Disputed
           Date or dates debt was incurred                   Basis for the claim:
           VARIOUS                                           CIVIL ACTION NO. 6:15-CV-06742
                                                             PENDING LITIGATION
           Last 4 digits of account number:
                                                             Is the claim subject to offset?

                                                             þ No
                                                             ¨ Yes

3.1274.    Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                             Check all that apply.
           MOMENTFEED INC                                                                                    $10,078.32
           1540 2ND STREET, 3RD FLOOR                        ¨ Contingent
           SANTA MONICA CA 90401
                                                             ¨ Unliquidated
                                                             ¨ Disputed
           Date or dates debt was incurred                   Basis for the claim:
           VARIOUS                                           TRADE ACCOUNTS PAYABLE
           Last 4 digits of account number:                  Is the claim subject to offset?

                                                             þ No
                                                             ¨ Yes

3.1275.    Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                             Check all that apply.
           MONACO, DIANE                                                                                     UNDETERMINED
           J. NELSON THOMAS THOMAS & SOLOMON LLP             þ Contingent
           693 EAST AVENUE
           ROCHESTER NY 14607                                þ Unliquidated
                                                             þ Disputed
           Date or dates debt was incurred                   Basis for the claim:
           VARIOUS                                           CIVIL ACTION NO. 6:15-CV-06742
                                                             PENDING LITIGATION
           Last 4 digits of account number:
                                                             Is the claim subject to offset?

                                                             þ No
                                                             ¨ Yes




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3.1276.    Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                             Check all that apply.
           MONACO, DIANE                                                                                     UNDETERMINED
           J. NELSON THOMAS THOMAS & SOLOMON LLP             þ Contingent
           693 EAST AVENUE
           ROCHESTER NY 14607                                þ Unliquidated
                                                             þ Disputed
           Date or dates debt was incurred                   Basis for the claim:
           VARIOUS                                           CIVIL ACTION NO. 6:15-CV-06742
                                                             PENDING LITIGATION
           Last 4 digits of account number:
                                                             Is the claim subject to offset?

                                                             þ No
                                                             ¨ Yes

3.1277.    Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                             Check all that apply.
           MONROE, JEFFERY ALLEN                                                                             UNDETERMINED
           J. NELSON THOMAS THOMAS & SOLOMON LLP             þ Contingent
           693 EAST AVENUE
           ROCHESTER NY 14607                                þ Unliquidated
                                                             þ Disputed
           Date or dates debt was incurred                   Basis for the claim:
           VARIOUS                                           CIVIL ACTION NO. 6:15-CV-06742
                                                             PENDING LITIGATION
           Last 4 digits of account number:
                                                             Is the claim subject to offset?

                                                             þ No
                                                             ¨ Yes

3.1278.    Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                             Check all that apply.
           MONTESINOS, EDUARDO                                                                               UNDETERMINED
           J. NELSON THOMAS THOMAS & SOLOMON LLP             þ Contingent
           693 EAST AVENUE
           ROCHESTER NY 14607                                þ Unliquidated
                                                             þ Disputed
           Date or dates debt was incurred                   Basis for the claim:
           VARIOUS                                           CIVIL ACTION NO. 6:15-CV-06742
                                                             PENDING LITIGATION
           Last 4 digits of account number:
                                                             Is the claim subject to offset?

                                                             þ No
                                                             ¨ Yes




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3.1279.    Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                             Check all that apply.
           MONTGOMERY, HANNAH MARIE                                                                          UNDETERMINED
           J. NELSON THOMAS THOMAS & SOLOMON LLP             þ Contingent
           693 EAST AVENUE
           ROCHESTER NY 14607                                þ Unliquidated
                                                             þ Disputed
           Date or dates debt was incurred                   Basis for the claim:
           VARIOUS                                           CIVIL ACTION NO. 6:15-CV-06742
                                                             PENDING LITIGATION
           Last 4 digits of account number:
                                                             Is the claim subject to offset?

                                                             þ No
                                                             ¨ Yes

3.1280.    Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                             Check all that apply.
           MONTOTO, MARILYN THERESA                                                                          UNDETERMINED
           J. NELSON THOMAS THOMAS & SOLOMON LLP             þ Contingent
           693 EAST AVENUE
           ROCHESTER NY 14607                                þ Unliquidated
                                                             þ Disputed
           Date or dates debt was incurred                   Basis for the claim:
           VARIOUS                                           CIVIL ACTION NO. 6:15-CV-06742
                                                             PENDING LITIGATION
           Last 4 digits of account number:
                                                             Is the claim subject to offset?

                                                             þ No
                                                             ¨ Yes

3.1281.    Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                             Check all that apply.
           MOORE, AMBER ARIELE                                                                               UNDETERMINED
           J. NELSON THOMAS THOMAS & SOLOMON LLP             þ Contingent
           693 EAST AVENUE
           ROCHESTER NY 14607                                þ Unliquidated
                                                             þ Disputed
           Date or dates debt was incurred                   Basis for the claim:
           VARIOUS                                           CIVIL ACTION NO. 6:15-CV-06742
                                                             PENDING LITIGATION
           Last 4 digits of account number:
                                                             Is the claim subject to offset?

                                                             þ No
                                                             ¨ Yes




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3.1282.    Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                             Check all that apply.
           MOORE, APRIL MARIE                                                                                UNDETERMINED
           J. NELSON THOMAS THOMAS & SOLOMON LLP             þ Contingent
           693 EAST AVENUE
           ROCHESTER NY 14607                                þ Unliquidated
                                                             þ Disputed
           Date or dates debt was incurred                   Basis for the claim:
           VARIOUS                                           CIVIL ACTION NO. 6:15-CV-06742
                                                             PENDING LITIGATION
           Last 4 digits of account number:
                                                             Is the claim subject to offset?

                                                             þ No
                                                             ¨ Yes

3.1283.    Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                             Check all that apply.
           MOORE, BRENDON                                                                                    UNDETERMINED
           J. NELSON THOMAS THOMAS & SOLOMON LLP             þ Contingent
           693 EAST AVENUE
           ROCHESTER NY 14607                                þ Unliquidated
                                                             þ Disputed
           Date or dates debt was incurred                   Basis for the claim:
           VARIOUS                                           CIVIL ACTION NO. 6:15-CV-06742
                                                             PENDING LITIGATION
           Last 4 digits of account number:
                                                             Is the claim subject to offset?

                                                             þ No
                                                             ¨ Yes

3.1284.    Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                             Check all that apply.
           MOORE, JAMES KEVIN                                                                                UNDETERMINED
           J. NELSON THOMAS THOMAS & SOLOMON LLP             þ Contingent
           693 EAST AVENUE
           ROCHESTER NY 14607                                þ Unliquidated
                                                             þ Disputed
           Date or dates debt was incurred                   Basis for the claim:
           VARIOUS                                           CIVIL ACTION NO. 6:15-CV-06742
                                                             PENDING LITIGATION
           Last 4 digits of account number:
                                                             Is the claim subject to offset?

                                                             þ No
                                                             ¨ Yes




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3.1285.    Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                             Check all that apply.
           MOORE, JANA MARIE                                                                                 UNDETERMINED
           J. NELSON THOMAS THOMAS & SOLOMON LLP             þ Contingent
           693 EAST AVENUE
           ROCHESTER NY 14607                                þ Unliquidated
                                                             þ Disputed
           Date or dates debt was incurred                   Basis for the claim:
           VARIOUS                                           CIVIL ACTION NO. 6:15-CV-06742
                                                             PENDING LITIGATION
           Last 4 digits of account number:
                                                             Is the claim subject to offset?

                                                             þ No
                                                             ¨ Yes

3.1286.    Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                             Check all that apply.
           MOORE, JENE                                                                                       UNDETERMINED
           J. NELSON THOMAS THOMAS & SOLOMON LLP             þ Contingent
           693 EAST AVENUE
           ROCHESTER NY 14607                                þ Unliquidated
                                                             þ Disputed
           Date or dates debt was incurred                   Basis for the claim:
           VARIOUS                                           CIVIL ACTION NO. 6:15-CV-06742
                                                             PENDING LITIGATION
           Last 4 digits of account number:
                                                             Is the claim subject to offset?

                                                             þ No
                                                             ¨ Yes

3.1287.    Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                             Check all that apply.
           MOORE, MATTHEW RYAN                                                                               UNDETERMINED
           J. NELSON THOMAS THOMAS & SOLOMON LLP             þ Contingent
           693 EAST AVENUE
           ROCHESTER NY 14607                                þ Unliquidated
                                                             þ Disputed
           Date or dates debt was incurred                   Basis for the claim:
           VARIOUS                                           CIVIL ACTION NO. 6:15-CV-06742
                                                             PENDING LITIGATION
           Last 4 digits of account number:
                                                             Is the claim subject to offset?

                                                             þ No
                                                             ¨ Yes




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3.1288.    Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                             Check all that apply.
           MOORE, TELAE MONET                                                                                UNDETERMINED
           J. NELSON THOMAS THOMAS & SOLOMON LLP             þ Contingent
           693 EAST AVENUE
           ROCHESTER NY 14607                                þ Unliquidated
                                                             þ Disputed
           Date or dates debt was incurred                   Basis for the claim:
           VARIOUS                                           CIVIL ACTION NO. 6:15-CV-06742
                                                             PENDING LITIGATION
           Last 4 digits of account number:
                                                             Is the claim subject to offset?

                                                             þ No
                                                             ¨ Yes

3.1289.    Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                             Check all that apply.
           MOORE, TELAE MONE'T                                                                               UNDETERMINED
           J. NELSON THOMAS THOMAS & SOLOMON LLP             þ Contingent
           693 EAST AVENUE
           ROCHESTER NY 14607                                þ Unliquidated
                                                             þ Disputed
           Date or dates debt was incurred                   Basis for the claim:
           VARIOUS                                           CIVIL ACTION NO. 6:15-CV-06742
                                                             PENDING LITIGATION
           Last 4 digits of account number:
                                                             Is the claim subject to offset?

                                                             þ No
                                                             ¨ Yes

3.1290.    Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                             Check all that apply.
           MORALES, FRANCISA                                                                                 UNDETERMINED
           ZACHARY M BEST                                    þ Contingent
                                                             þ Unliquidated
                                                             þ Disputed
           Date or dates debt was incurred                   Basis for the claim:
           VARIOUS                                           PENDING LITIGATION
           Last 4 digits of account number:                  Is the claim subject to offset?

                                                             þ No
                                                             ¨ Yes




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3.1291.    Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                             Check all that apply.
           MORALES-SUAREZ, DANIELLA                                                                          UNDETERMINED
           J. NELSON THOMAS THOMAS & SOLOMON LLP             þ Contingent
           693 EAST AVENUE
           ROCHESTER NY 14607                                þ Unliquidated
                                                             þ Disputed
           Date or dates debt was incurred                   Basis for the claim:
           VARIOUS                                           CIVIL ACTION NO. 6:15-CV-06742
                                                             PENDING LITIGATION
           Last 4 digits of account number:
                                                             Is the claim subject to offset?

                                                             þ No
                                                             ¨ Yes

3.1292.    Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                             Check all that apply.
           MORALES-SUAREZ, DANIELLA                                                                          UNDETERMINED
           J. NELSON THOMAS THOMAS & SOLOMON LLP             þ Contingent
           693 EAST AVENUE
           ROCHESTER NY 14607                                þ Unliquidated
                                                             þ Disputed
           Date or dates debt was incurred                   Basis for the claim:
           VARIOUS                                           CIVIL ACTION NO. 6:15-CV-06742
                                                             PENDING LITIGATION
           Last 4 digits of account number:
                                                             Is the claim subject to offset?

                                                             þ No
                                                             ¨ Yes

3.1293.    Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                             Check all that apply.
           MORALEZ, FRANCISCA                                                                                UNDETERMINED
           166035 MISSION LAW FIRM, A.P.C. ZACHARY M.        þ Contingent
           BEST
           332 N. SECOND STREET                              þ Unliquidated
           SAN JOSE CA 95112                                 þ Disputed
           Date or dates debt was incurred                   Basis for the claim:
           VARIOUS                                           ADA PUBLIC ACCOMMODATIONS CLAIM
           Last 4 digits of account number:                  Is the claim subject to offset?

                                                             þ No
                                                             ¨ Yes




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3.1294.    Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                             Check all that apply.
           MORARU, NELLIE                                                                                    UNDETERMINED
           J. NELSON THOMAS THOMAS & SOLOMON LLP             þ Contingent
           693 EAST AVENUE
           ROCHESTER NY 14607                                þ Unliquidated
                                                             þ Disputed
           Date or dates debt was incurred                   Basis for the claim:
           VARIOUS                                           CIVIL ACTION NO. 6:15-CV-06742
                                                             PENDING LITIGATION
           Last 4 digits of account number:
                                                             Is the claim subject to offset?

                                                             þ No
                                                             ¨ Yes

3.1295.    Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                             Check all that apply.
           MORIAH INVESTMENTS LLC                                                                            UNDETERMINED
           BRIAN ARTZER                                      þ Contingent
           11409 BUSINESS PK CIR STE 300
           FIRESTONE CO 80504                                þ Unliquidated
                                                             þ Disputed
           Date or dates debt was incurred                   Basis for the claim:
           VARIOUS                                           LANDLORD CLAIM
           Last 4 digits of account number:                  Is the claim subject to offset?

                                                             þ No
                                                             ¨ Yes

3.1296.    Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                             Check all that apply.
           MORONES, ALEX                                                                                     UNDETERMINED
                                                             þ Contingent
                                                             þ Unliquidated
                                                             þ Disputed
           Date or dates debt was incurred                   Basis for the claim:
           VARIOUS                                           GENERAL LIABILITY CLAIMS
           Last 4 digits of account number:                  Is the claim subject to offset?

                                                             þ No
                                                             ¨ Yes




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3.1297.    Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                             Check all that apply.
           MORRELL, DANIEL ALEXANDER                                                                         UNDETERMINED
           J. NELSON THOMAS THOMAS & SOLOMON LLP             þ Contingent
           693 EAST AVENUE
           ROCHESTER NY 14607                                þ Unliquidated
                                                             þ Disputed
           Date or dates debt was incurred                   Basis for the claim:
           VARIOUS                                           CIVIL ACTION NO. 6:15-CV-06742
                                                             PENDING LITIGATION
           Last 4 digits of account number:
                                                             Is the claim subject to offset?

                                                             þ No
                                                             ¨ Yes

3.1298.    Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                             Check all that apply.
           MORRIS, LAURIE CATHERINE                                                                          UNDETERMINED
           J. NELSON THOMAS THOMAS & SOLOMON LLP             þ Contingent
           693 EAST AVENUE
           ROCHESTER NY 14607                                þ Unliquidated
                                                             þ Disputed
           Date or dates debt was incurred                   Basis for the claim:
           VARIOUS                                           CIVIL ACTION NO. 6:15-CV-06742
                                                             PENDING LITIGATION
           Last 4 digits of account number:
                                                             Is the claim subject to offset?

                                                             þ No
                                                             ¨ Yes

3.1299.    Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                             Check all that apply.
           MORRIS, RACHEL KELLY                                                                              UNDETERMINED
           J. NELSON THOMAS THOMAS & SOLOMON LLP             þ Contingent
           693 EAST AVENUE
           ROCHESTER NY 14607                                þ Unliquidated
                                                             þ Disputed
           Date or dates debt was incurred                   Basis for the claim:
           VARIOUS                                           CIVIL ACTION NO. 6:15-CV-06742
                                                             PENDING LITIGATION
           Last 4 digits of account number:
                                                             Is the claim subject to offset?

                                                             þ No
                                                             ¨ Yes




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3.1300.    Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                             Check all that apply.
           MORT, DEBRA                                                                                       UNDETERMINED
           J. NELSON THOMAS THOMAS & SOLOMON LLP             þ Contingent
           693 EAST AVENUE
           ROCHESTER NY 14607                                þ Unliquidated
                                                             þ Disputed
           Date or dates debt was incurred                   Basis for the claim:
           VARIOUS                                           CIVIL ACTION NO. 6:15-CV-06742
                                                             PENDING LITIGATION
           Last 4 digits of account number:
                                                             Is the claim subject to offset?

                                                             þ No
                                                             ¨ Yes

3.1301.    Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                             Check all that apply.
           MORT, DEBRA MARIE                                                                                 UNDETERMINED
           J. NELSON THOMAS THOMAS & SOLOMON LLP             þ Contingent
           693 EAST AVENUE
           ROCHESTER NY 14607                                þ Unliquidated
                                                             þ Disputed
           Date or dates debt was incurred                   Basis for the claim:
           VARIOUS                                           CIVIL ACTION NO. 6:15-CV-06742
                                                             PENDING LITIGATION
           Last 4 digits of account number:
                                                             Is the claim subject to offset?

                                                             þ No
                                                             ¨ Yes

3.1302.    Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                             Check all that apply.
           MOSS DEVELOPMENT, DBA ONE MAN & A                                                                 $274.49
           TOOLBOX                                           ¨ Contingent
           201 BEACON PARKWAY WEST
           SUITE 102                                         ¨ Unliquidated
           BIRMINGHAM AL 35209                               ¨ Disputed
           Date or dates debt was incurred                   Basis for the claim:
           VARIOUS                                           TRADE ACCOUNTS PAYABLE
           Last 4 digits of account number:                  Is the claim subject to offset?

                                                             þ No
                                                             ¨ Yes




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3.1303.    Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                             Check all that apply.
           MOUNTAIN SALES & SERVICE INC.                                                                     $175.21
           6759 E 50TH AVENUE                                ¨ Contingent
           COMMERCE CITY CO 80022
                                                             ¨ Unliquidated
                                                             ¨ Disputed
           Date or dates debt was incurred                   Basis for the claim:
           VARIOUS                                           TRADE ACCOUNTS PAYABLE
           Last 4 digits of account number:                  Is the claim subject to offset?

                                                             þ No
                                                             ¨ Yes

3.1304.    Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                             Check all that apply.
           MOYE, JAMILA SAUDA                                                                                UNDETERMINED
           J. NELSON THOMAS THOMAS & SOLOMON LLP             þ Contingent
           693 EAST AVENUE
           ROCHESTER NY 14607                                þ Unliquidated
                                                             þ Disputed
           Date or dates debt was incurred                   Basis for the claim:
           VARIOUS                                           CIVIL ACTION NO. 6:15-CV-06742
                                                             PENDING LITIGATION
           Last 4 digits of account number:
                                                             Is the claim subject to offset?

                                                             þ No
                                                             ¨ Yes

3.1305.    Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                             Check all that apply.
           MR. ROOTER PLUMBING                                                                               $187.50
           1300 GRAVES AVENUE                                ¨ Contingent
           OXNARD CA 93030
                                                             ¨ Unliquidated
                                                             ¨ Disputed
           Date or dates debt was incurred                   Basis for the claim:
           VARIOUS                                           TRADE ACCOUNTS PAYABLE
           Last 4 digits of account number:                  Is the claim subject to offset?

                                                             þ No
                                                             ¨ Yes




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3.1306.    Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                             Check all that apply.
           MRABET, MAMOUN                                                                                    UNDETERMINED
                                                             þ Contingent
                                                             þ Unliquidated
                                                             þ Disputed
           Date or dates debt was incurred                   Basis for the claim:
           VARIOUS                                           GENERAL LIABILITY CLAIMS
           Last 4 digits of account number:                  Is the claim subject to offset?

                                                             þ No
                                                             ¨ Yes

3.1307.    Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                             Check all that apply.
           MS INLAND FUND LLC                                                                                UNDETERMINED
           RPAI SOUTHWEST MANAGEMENT LLC                     þ Contingent
           PRESIDENT OF PROPERTY MANAGEMENT
           NIALL BYRNE                                       þ Unliquidated
           2021 SPRING RD STE 200
           OAK BROOK IL 60523
                                                             þ Disputed
           Date or dates debt was incurred                   Basis for the claim:
           VARIOUS                                           LANDLORD CLAIM
           Last 4 digits of account number:                  Is the claim subject to offset?

                                                             þ No
                                                             ¨ Yes

3.1308.    Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                             Check all that apply.
           MUENZNER, KRISTA MARIE                                                                            UNDETERMINED
           J. NELSON THOMAS THOMAS & SOLOMON LLP             þ Contingent
           693 EAST AVENUE
           ROCHESTER NY 14607                                þ Unliquidated
                                                             þ Disputed
           Date or dates debt was incurred                   Basis for the claim:
           VARIOUS                                           CIVIL ACTION NO. 6:15-CV-06742
                                                             PENDING LITIGATION
           Last 4 digits of account number:
                                                             Is the claim subject to offset?

                                                             þ No
                                                             ¨ Yes




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3.1309.    Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                             Check all that apply.
           MULHARE, NICOLLE RAE                                                                              UNDETERMINED
           J. NELSON THOMAS THOMAS & SOLOMON LLP             þ Contingent
           693 EAST AVENUE
           ROCHESTER NY 14607                                þ Unliquidated
                                                             þ Disputed
           Date or dates debt was incurred                   Basis for the claim:
           VARIOUS                                           CIVIL ACTION NO. 6:15-CV-06742
                                                             PENDING LITIGATION
           Last 4 digits of account number:
                                                             Is the claim subject to offset?

                                                             þ No
                                                             ¨ Yes

3.1310.    Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                             Check all that apply.
           MULHARE, NICOLLE RAE                                                                              UNDETERMINED
           J. NELSON THOMAS THOMAS & SOLOMON LLP             þ Contingent
           693 EAST AVENUE
           ROCHESTER NY 14607                                þ Unliquidated
                                                             þ Disputed
           Date or dates debt was incurred                   Basis for the claim:
           VARIOUS                                           CIVIL ACTION NO. 6:15-CV-06742
                                                             PENDING LITIGATION
           Last 4 digits of account number:
                                                             Is the claim subject to offset?

                                                             þ No
                                                             ¨ Yes

3.1311.    Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                             Check all that apply.
           MULLINS, RAYMOND                                                                                  UNDETERMINED
                                                             þ Contingent
                                                             þ Unliquidated
                                                             þ Disputed
           Date or dates debt was incurred                   Basis for the claim:
           VARIOUS                                           GENERAL LIABILITY CLAIMS
           Last 4 digits of account number:                  Is the claim subject to offset?

                                                             þ No
                                                             ¨ Yes




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3.1312.    Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                             Check all that apply.
           MUNRO, JACOB                                                                                      $58.25
           705 FOLIAGE COURT                                 ¨ Contingent
           MADISONVILLE LA 70447
                                                             ¨ Unliquidated
                                                             ¨ Disputed
           Date or dates debt was incurred                   Basis for the claim:
           VARIOUS                                           TRADE ACCOUNTS PAYABLE
           Last 4 digits of account number:                  Is the claim subject to offset?

                                                             þ No
                                                             ¨ Yes

3.1313.    Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                             Check all that apply.
           MUNRO-EBERLY, KIRA                                                                                UNDETERMINED
           J. NELSON THOMAS THOMAS & SOLOMON LLP             þ Contingent
           693 EAST AVENUE
           ROCHESTER NY 14607                                þ Unliquidated
                                                             þ Disputed
           Date or dates debt was incurred                   Basis for the claim:
           VARIOUS                                           CIVIL ACTION NO. 6:15-CV-06742
                                                             PENDING LITIGATION
           Last 4 digits of account number:
                                                             Is the claim subject to offset?

                                                             þ No
                                                             ¨ Yes

3.1314.    Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                             Check all that apply.
           MUNSEY, KATIE MARIE                                                                               UNDETERMINED
           J. NELSON THOMAS THOMAS & SOLOMON LLP             þ Contingent
           693 EAST AVENUE
           ROCHESTER NY 14607                                þ Unliquidated
                                                             þ Disputed
           Date or dates debt was incurred                   Basis for the claim:
           VARIOUS                                           CIVIL ACTION NO. 6:15-CV-06742
                                                             PENDING LITIGATION
           Last 4 digits of account number:
                                                             Is the claim subject to offset?

                                                             þ No
                                                             ¨ Yes




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3.1315.    Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                             Check all that apply.
           MURGA, LUIS MIGUEL                                                                                UNDETERMINED
           J. NELSON THOMAS THOMAS & SOLOMON LLP             þ Contingent
           693 EAST AVENUE
           ROCHESTER NY 14607                                þ Unliquidated
                                                             þ Disputed
           Date or dates debt was incurred                   Basis for the claim:
           VARIOUS                                           CIVIL ACTION NO. 6:15-CV-06742
                                                             PENDING LITIGATION
           Last 4 digits of account number:
                                                             Is the claim subject to offset?

                                                             þ No
                                                             ¨ Yes

3.1316.    Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                             Check all that apply.
           MURPHY, AMANDA                                                                                    UNDETERMINED
           J. NELSON THOMAS THOMAS & SOLOMON LLP             þ Contingent
           693 EAST AVENUE
           ROCHESTER NY 14607                                þ Unliquidated
                                                             þ Disputed
           Date or dates debt was incurred                   Basis for the claim:
           VARIOUS                                           CIVIL ACTION NO. 6:15-CV-06742
                                                             PENDING LITIGATION
           Last 4 digits of account number:
                                                             Is the claim subject to offset?

                                                             þ No
                                                             ¨ Yes

3.1317.    Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                             Check all that apply.
           MURPHY, DALE                                                                                      UNDETERMINED
                                                             þ Contingent
                                                             þ Unliquidated
                                                             þ Disputed
           Date or dates debt was incurred                   Basis for the claim:
           VARIOUS                                           GENERAL LIABILITY CLAIMS
           Last 4 digits of account number:                  Is the claim subject to offset?

                                                             þ No
                                                             ¨ Yes




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3.1318.    Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                             Check all that apply.
           MURPHY, DANIEL B.                                                                                 UNDETERMINED
           J. NELSON THOMAS THOMAS & SOLOMON LLP             þ Contingent
           693 EAST AVENUE
           ROCHESTER NY 14607                                þ Unliquidated
                                                             þ Disputed
           Date or dates debt was incurred                   Basis for the claim:
           VARIOUS                                           CIVIL ACTION NO. 6:15-CV-06742
                                                             PENDING LITIGATION
           Last 4 digits of account number:
                                                             Is the claim subject to offset?

                                                             þ No
                                                             ¨ Yes

3.1319.    Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                             Check all that apply.
           MURPHY, SUMAR DAWN                                                                                UNDETERMINED
           J. NELSON THOMAS THOMAS & SOLOMON LLP             þ Contingent
           693 EAST AVENUE
           ROCHESTER NY 14607                                þ Unliquidated
                                                             þ Disputed
           Date or dates debt was incurred                   Basis for the claim:
           VARIOUS                                           CIVIL ACTION NO. 6:15-CV-06742
                                                             PENDING LITIGATION
           Last 4 digits of account number:
                                                             Is the claim subject to offset?

                                                             þ No
                                                             ¨ Yes

3.1320.    Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                             Check all that apply.
           MURPHY, SUSAN                                                                                     UNDETERMINED
                                                             þ Contingent
                                                             þ Unliquidated
                                                             þ Disputed
           Date or dates debt was incurred                   Basis for the claim:
           VARIOUS                                           GENERAL LIABILITY CLAIMS
           Last 4 digits of account number:                  Is the claim subject to offset?

                                                             þ No
                                                             ¨ Yes




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3.1321.    Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                             Check all that apply.
           MURPHY, SUSAN MARY                                                                                UNDETERMINED
           J. NELSON THOMAS THOMAS & SOLOMON LLP             þ Contingent
           693 EAST AVENUE
           ROCHESTER NY 14607                                þ Unliquidated
                                                             þ Disputed
           Date or dates debt was incurred                   Basis for the claim:
           VARIOUS                                           CIVIL ACTION NO. 6:15-CV-06742
                                                             PENDING LITIGATION
           Last 4 digits of account number:
                                                             Is the claim subject to offset?

                                                             þ No
                                                             ¨ Yes

3.1322.    Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                             Check all that apply.
           MURRAY, JOHN STEPHEN                                                                              UNDETERMINED
           J. NELSON THOMAS THOMAS & SOLOMON LLP             þ Contingent
           693 EAST AVENUE
           ROCHESTER NY 14607                                þ Unliquidated
                                                             þ Disputed
           Date or dates debt was incurred                   Basis for the claim:
           VARIOUS                                           CIVIL ACTION NO. 6:15-CV-06742
                                                             PENDING LITIGATION
           Last 4 digits of account number:
                                                             Is the claim subject to offset?

                                                             þ No
                                                             ¨ Yes

3.1323.    Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                             Check all that apply.
           MUSGRAVE LANDSCAPING                                                                              $1,460.00
           369 ALAMEDA PKWY                                  ¨ Contingent
           ARNOLD MD 21012
                                                             ¨ Unliquidated
                                                             ¨ Disputed
           Date or dates debt was incurred                   Basis for the claim:
           VARIOUS                                           TRADE ACCOUNTS PAYABLE
           Last 4 digits of account number:                  Is the claim subject to offset?

                                                             þ No
                                                             ¨ Yes




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3.1324.    Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                             Check all that apply.
           MVP INVESTMENTS, L.L.C                                                                            UNDETERMINED
           MICHAEL K. AVERY, ESQ. MCAFEE & TAFT PC           þ Contingent
           211 NORTH ROBINSON
           10TH FLOOR, TWO LEADERSHIP SQUARE                 þ Unliquidated
           OKLAHOMA CITY OK 73102-7101                       þ Disputed
           Date or dates debt was incurred                   Basis for the claim:
           VARIOUS                                           CASE NO. CJ-2017-4433 PENDING REAL
                                                             ESTATE LITIGATION
           Last 4 digits of account number:
                                                             Is the claim subject to offset?

                                                             þ No
                                                             ¨ Yes

3.1325.    Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                             Check all that apply.
           MWBS LLC                                                                                          $407.70
           DBA BACKFLOW TECHNOLOGIES                         ¨ Contingent
           835 W WARNER RD STE 101-421
           GILBERT AZ 85223                                  ¨ Unliquidated
                                                             ¨ Disputed
           Date or dates debt was incurred                   Basis for the claim:
           VARIOUS                                           TRADE ACCOUNTS PAYABLE
           Last 4 digits of account number:                  Is the claim subject to offset?

                                                             þ No
                                                             ¨ Yes

3.1326.    Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                             Check all that apply.
           MYERS, VICTORIA ANN                                                                               UNDETERMINED
           J. NELSON THOMAS THOMAS & SOLOMON LLP             þ Contingent
           693 EAST AVENUE
           ROCHESTER NY 14607                                þ Unliquidated
                                                             þ Disputed
           Date or dates debt was incurred                   Basis for the claim:
           VARIOUS                                           CIVIL ACTION NO. 6:15-CV-06742
                                                             PENDING LITIGATION
           Last 4 digits of account number:
                                                             Is the claim subject to offset?

                                                             þ No
                                                             ¨ Yes




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3.1327.    Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                             Check all that apply.
           MYERS-BRIGGER, LAVONNE                                                                            UNDETERMINED
                                                             þ Contingent
                                                             þ Unliquidated
                                                             þ Disputed
           Date or dates debt was incurred                   Basis for the claim:
           VARIOUS                                           GENERAL LIABILITY CLAIMS
           Last 4 digits of account number:                  Is the claim subject to offset?

                                                             þ No
                                                             ¨ Yes

3.1328.    Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                             Check all that apply.
           MYRICK-GIGANDET, CYNTHIA                                                                          UNDETERMINED
           J. NELSON THOMAS THOMAS & SOLOMON LLP             þ Contingent
           693 EAST AVENUE
           ROCHESTER NY 14607                                þ Unliquidated
                                                             þ Disputed
           Date or dates debt was incurred                   Basis for the claim:
           VARIOUS                                           CIVIL ACTION NO. 6:15-CV-06742
                                                             PENDING LITIGATION
           Last 4 digits of account number:
                                                             Is the claim subject to offset?

                                                             þ No
                                                             ¨ Yes

3.1329.    Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                             Check all that apply.
           NACIF, JESSICA MARY                                                                               UNDETERMINED
           J. NELSON THOMAS THOMAS & SOLOMON LLP             þ Contingent
           693 EAST AVENUE
           ROCHESTER NY 14607                                þ Unliquidated
                                                             þ Disputed
           Date or dates debt was incurred                   Basis for the claim:
           VARIOUS                                           CIVIL ACTION NO. 6:15-CV-06742
                                                             PENDING LITIGATION
           Last 4 digits of account number:
                                                             Is the claim subject to offset?

                                                             þ No
                                                             ¨ Yes




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3.1330.    Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                             Check all that apply.
           NATIONAL RESTAURANT SUPPLY CO                                                                     $78.82
           2513 COMANCHE ROAD NE                             ¨ Contingent
           ALBUQUERQUE NM 87107
                                                             ¨ Unliquidated
                                                             ¨ Disputed
           Date or dates debt was incurred                   Basis for the claim:
           VARIOUS                                           TRADE ACCOUNTS PAYABLE
           Last 4 digits of account number:                  Is the claim subject to offset?

                                                             þ No
                                                             ¨ Yes

3.1331.    Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                             Check all that apply.
           NATIONAL SERVICE CENTER                                                                           $7,573.25
           39360 TREASURY CENTER                             ¨ Contingent
           CHICAGO IL 60694
                                                             ¨ Unliquidated
                                                             ¨ Disputed
           Date or dates debt was incurred                   Basis for the claim:
           VARIOUS                                           TRADE ACCOUNTS PAYABLE
           Last 4 digits of account number:                  Is the claim subject to offset?

                                                             þ No
                                                             ¨ Yes

3.1332.    Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                             Check all that apply.
           NATIONAL WHOLESALE SUPPLY INC.                                                                    $42,002.16
           PO BOX 54007                                      ¨ Contingent
           DALLAS TX 75354
                                                             ¨ Unliquidated
                                                             ¨ Disputed
           Date or dates debt was incurred                   Basis for the claim:
           VARIOUS                                           TRADE ACCOUNTS PAYABLE
           Last 4 digits of account number:                  Is the claim subject to offset?

                                                             þ No
                                                             ¨ Yes




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3.1333.    Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                             Check all that apply.
           NAVEX GLOBAL INC.                                                                                 $25,082.66
           PO BOX 60941                                      ¨ Contingent
           CHARLOTTE NC 28260
                                                             ¨ Unliquidated
                                                             ¨ Disputed
           Date or dates debt was incurred                   Basis for the claim:
           VARIOUS                                           TRADE ACCOUNTS PAYABLE
           Last 4 digits of account number:                  Is the claim subject to offset?

                                                             þ No
                                                             ¨ Yes

3.1334.    Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                             Check all that apply.
           NC GREEN HEAT                                                                                     $573.79
           9932 ADLIE DRIVE                                  ¨ Contingent
           DBA NC GREEN HEAT
           WAKE FOREST NC 27587                              ¨ Unliquidated
                                                             ¨ Disputed
           Date or dates debt was incurred                   Basis for the claim:
           VARIOUS                                           TRADE ACCOUNTS PAYABLE
           Last 4 digits of account number:                  Is the claim subject to offset?

                                                             þ No
                                                             ¨ Yes

3.1335.    Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                             Check all that apply.
           NCR CORPORATION                                                                                   $465,598.99
           PO BOX 198755                                     ¨ Contingent
           ATLANTA GA 30384
                                                             ¨ Unliquidated
                                                             ¨ Disputed
           Date or dates debt was incurred                   Basis for the claim:
           VARIOUS                                           TRADE ACCOUNTS PAYABLE
           Last 4 digits of account number:                  Is the claim subject to offset?

                                                             þ No
                                                             ¨ Yes




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3.1336.    Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                             Check all that apply.
           NEAL, JR., PRESSLEY CHARLES                                                                       UNDETERMINED
           J. NELSON THOMAS THOMAS & SOLOMON LLP             þ Contingent
           693 EAST AVENUE
           ROCHESTER NY 14607                                þ Unliquidated
                                                             þ Disputed
           Date or dates debt was incurred                   Basis for the claim:
           VARIOUS                                           CIVIL ACTION NO. 6:15-CV-06742
                                                             PENDING LITIGATION
           Last 4 digits of account number:
                                                             Is the claim subject to offset?

                                                             þ No
                                                             ¨ Yes

3.1337.    Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                             Check all that apply.
           NEELY, SHANNON NICOLE                                                                             UNDETERMINED
           J. NELSON THOMAS THOMAS & SOLOMON LLP             þ Contingent
           693 EAST AVENUE
           ROCHESTER NY 14607                                þ Unliquidated
                                                             þ Disputed
           Date or dates debt was incurred                   Basis for the claim:
           VARIOUS                                           CIVIL ACTION NO. 6:15-CV-06742
                                                             PENDING LITIGATION
           Last 4 digits of account number:
                                                             Is the claim subject to offset?

                                                             þ No
                                                             ¨ Yes

3.1338.    Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                             Check all that apply.
           NEGOTIUM TECHNOLOGIES CORP                                                                        $26,437.50
           980 NINTH ST, 16TH FLOOR                          ¨ Contingent
           PMB 1626
           SACRAMENTO CA 95814                               ¨ Unliquidated
                                                             ¨ Disputed
           Date or dates debt was incurred                   Basis for the claim:
           VARIOUS                                           TRADE ACCOUNTS PAYABLE
           Last 4 digits of account number:                  Is the claim subject to offset?

                                                             þ No
                                                             ¨ Yes




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3.1339.    Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                             Check all that apply.
           NELSON, EMILY                                                                                     UNDETERMINED
           J. NELSON THOMAS THOMAS & SOLOMON LLP             þ Contingent
           693 EAST AVENUE
           ROCHESTER NY 14607                                þ Unliquidated
                                                             þ Disputed
           Date or dates debt was incurred                   Basis for the claim:
           VARIOUS                                           CIVIL ACTION NO. 6:15-CV-06742
                                                             PENDING LITIGATION
           Last 4 digits of account number:
                                                             Is the claim subject to offset?

                                                             þ No
                                                             ¨ Yes

3.1340.    Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                             Check all that apply.
           NEMIRE, MARGARET                                                                                  UNDETERMINED
           J. NELSON THOMAS THOMAS & SOLOMON LLP             þ Contingent
           693 EAST AVENUE
           ROCHESTER NY 14607                                þ Unliquidated
                                                             þ Disputed
           Date or dates debt was incurred                   Basis for the claim:
           VARIOUS                                           CIVIL ACTION NO. 6:15-CV-06742
                                                             PENDING LITIGATION
           Last 4 digits of account number:
                                                             Is the claim subject to offset?

                                                             þ No
                                                             ¨ Yes

3.1341.    Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                             Check all that apply.
           NERBOVIG, LAUREN HEATHER                                                                          UNDETERMINED
           J. NELSON THOMAS THOMAS & SOLOMON LLP             þ Contingent
           693 EAST AVENUE
           ROCHESTER NY 14607                                þ Unliquidated
                                                             þ Disputed
           Date or dates debt was incurred                   Basis for the claim:
           VARIOUS                                           CIVIL ACTION NO. 6:15-CV-06742
                                                             PENDING LITIGATION
           Last 4 digits of account number:
                                                             Is the claim subject to offset?

                                                             þ No
                                                             ¨ Yes




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3.1342.    Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                             Check all that apply.
           NERBOVIG, LAUREN HEATHER                                                                          UNDETERMINED
           J. NELSON THOMAS THOMAS & SOLOMON LLP             þ Contingent
           693 EAST AVENUE
           ROCHESTER NY 14607                                þ Unliquidated
                                                             þ Disputed
           Date or dates debt was incurred                   Basis for the claim:
           VARIOUS                                           CIVIL ACTION NO. 6:15-CV-06742
                                                             PENDING LITIGATION
           Last 4 digits of account number:
                                                             Is the claim subject to offset?

                                                             þ No
                                                             ¨ Yes

3.1343.    Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                             Check all that apply.
           NESTICO, MICHAEL V.                                                                               UNDETERMINED
           J. NELSON THOMAS THOMAS & SOLOMON LLP             þ Contingent
           693 EAST AVENUE
           ROCHESTER NY 14607                                þ Unliquidated
                                                             þ Disputed
           Date or dates debt was incurred                   Basis for the claim:
           VARIOUS                                           CIVIL ACTION NO. 6:15-CV-06742
                                                             PENDING LITIGATION
           Last 4 digits of account number:
                                                             Is the claim subject to offset?

                                                             þ No
                                                             ¨ Yes

3.1344.    Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                             Check all that apply.
           NESTOR, LAUREN                                                                                    UNDETERMINED
           J. NELSON THOMAS THOMAS & SOLOMON LLP             þ Contingent
           693 EAST AVENUE
           ROCHESTER NY 14607                                þ Unliquidated
                                                             þ Disputed
           Date or dates debt was incurred                   Basis for the claim:
           VARIOUS                                           CIVIL ACTION NO. 6:15-CV-06742
                                                             PENDING LITIGATION
           Last 4 digits of account number:
                                                             Is the claim subject to offset?

                                                             þ No
                                                             ¨ Yes




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3.1345.    Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                             Check all that apply.
           NESTOR, LAUREN KIRK                                                                               UNDETERMINED
           J. NELSON THOMAS THOMAS & SOLOMON LLP             þ Contingent
           693 EAST AVENUE
           ROCHESTER NY 14607                                þ Unliquidated
                                                             þ Disputed
           Date or dates debt was incurred                   Basis for the claim:
           VARIOUS                                           CIVIL ACTION NO. 6:15-CV-06742
                                                             PENDING LITIGATION
           Last 4 digits of account number:
                                                             Is the claim subject to offset?

                                                             þ No
                                                             ¨ Yes

3.1346.    Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                             Check all that apply.
           NEW MILLENIUM UPHOLSTERY INC.                                                                     $2,190.00
           10568 MAGNOLIA AVE #121                           ¨ Contingent
           ANAHEIM CA 92804
                                                             ¨ Unliquidated
                                                             ¨ Disputed
           Date or dates debt was incurred                   Basis for the claim:
           VARIOUS                                           TRADE ACCOUNTS PAYABLE
           Last 4 digits of account number:                  Is the claim subject to offset?

                                                             þ No
                                                             ¨ Yes

3.1347.    Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                             Check all that apply.
           NEWBILL, KRISTEN NICOLE                                                                           UNDETERMINED
           J. NELSON THOMAS THOMAS & SOLOMON LLP             þ Contingent
           693 EAST AVENUE
           ROCHESTER NY 14607                                þ Unliquidated
                                                             þ Disputed
           Date or dates debt was incurred                   Basis for the claim:
           VARIOUS                                           CIVIL ACTION NO. 6:15-CV-06742
                                                             PENDING LITIGATION
           Last 4 digits of account number:
                                                             Is the claim subject to offset?

                                                             þ No
                                                             ¨ Yes




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3.1348.    Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                             Check all that apply.
           NEWBORN, TONI LACADA                                                                              UNDETERMINED
           J. NELSON THOMAS THOMAS & SOLOMON LLP             þ Contingent
           693 EAST AVENUE
           ROCHESTER NY 14607                                þ Unliquidated
                                                             þ Disputed
           Date or dates debt was incurred                   Basis for the claim:
           VARIOUS                                           CIVIL ACTION NO. 6:15-CV-06742
                                                             PENDING LITIGATION
           Last 4 digits of account number:
                                                             Is the claim subject to offset?

                                                             þ No
                                                             ¨ Yes

3.1349.    Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                             Check all that apply.
           NEWELL, HAYLEY ROSE                                                                               UNDETERMINED
           J. NELSON THOMAS THOMAS & SOLOMON LLP             þ Contingent
           693 EAST AVENUE
           ROCHESTER NY 14607                                þ Unliquidated
                                                             þ Disputed
           Date or dates debt was incurred                   Basis for the claim:
           VARIOUS                                           CIVIL ACTION NO. 6:15-CV-06742
                                                             PENDING LITIGATION
           Last 4 digits of account number:
                                                             Is the claim subject to offset?

                                                             þ No
                                                             ¨ Yes

3.1350.    Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                             Check all that apply.
           NFC LLC                                                                                           UNDETERMINED
           THOMAS AND MACK DEVELOPMENT GROUP                 þ Contingent
           NICOLA B FRYATT LEASING MANAGER
           7181 AMIGO ST STE 100                             þ Unliquidated
           LAS VEGAS NV 89119                                þ Disputed
           Date or dates debt was incurred                   Basis for the claim:
           VARIOUS                                           LANDLORD CLAIM
           Last 4 digits of account number:                  Is the claim subject to offset?

                                                             þ No
                                                             ¨ Yes




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3.1351.    Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                             Check all that apply.
           NGO, RICKY                                                                                        UNDETERMINED
           J. NELSON THOMAS THOMAS & SOLOMON LLP             þ Contingent
           693 EAST AVENUE
           ROCHESTER NY 14607                                þ Unliquidated
                                                             þ Disputed
           Date or dates debt was incurred                   Basis for the claim:
           VARIOUS                                           CIVIL ACTION NO. 6:15-CV-06742
                                                             PENDING LITIGATION
           Last 4 digits of account number:
                                                             Is the claim subject to offset?

                                                             þ No
                                                             ¨ Yes

3.1352.    Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                             Check all that apply.
           NICHOLAS & COMPANY INC                                                                            $5,108.42
           PO BOX 45005                                      ¨ Contingent
           SALT LAKE CITY UT 84145
                                                             ¨ Unliquidated
                                                             ¨ Disputed
           Date or dates debt was incurred                   Basis for the claim:
           VARIOUS                                           TRADE ACCOUNTS PAYABLE
           Last 4 digits of account number:                  Is the claim subject to offset?

                                                             þ No
                                                             ¨ Yes

3.1353.    Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                             Check all that apply.
           NICHOLS, RHONDA ANN                                                                               UNDETERMINED
           J. NELSON THOMAS THOMAS & SOLOMON LLP             þ Contingent
           693 EAST AVENUE
           ROCHESTER NY 14607                                þ Unliquidated
                                                             þ Disputed
           Date or dates debt was incurred                   Basis for the claim:
           VARIOUS                                           CIVIL ACTION NO. 6:15-CV-06742
                                                             PENDING LITIGATION
           Last 4 digits of account number:
                                                             Is the claim subject to offset?

                                                             þ No
                                                             ¨ Yes




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3.1354.    Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                             Check all that apply.
           NICHOLSON, BRANDON                                                                                UNDETERMINED
           J. NELSON THOMAS THOMAS & SOLOMON LLP             þ Contingent
           693 EAST AVENUE
           ROCHESTER NY 14607                                þ Unliquidated
                                                             þ Disputed
           Date or dates debt was incurred                   Basis for the claim:
           VARIOUS                                           CIVIL ACTION NO. 6:15-CV-06742
                                                             PENDING LITIGATION
           Last 4 digits of account number:
                                                             Is the claim subject to offset?

                                                             þ No
                                                             ¨ Yes

3.1355.    Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                             Check all that apply.
           NIETO TECHNOLOGY PARTNERS LLC                                                                     $52,135.37
           20714 SLEEP HOLLOW LANE                           ¨ Contingent
           SPRING TX 77388
                                                             ¨ Unliquidated
                                                             ¨ Disputed
           Date or dates debt was incurred                   Basis for the claim:
           VARIOUS                                           TRADE ACCOUNTS PAYABLE
           Last 4 digits of account number:                  Is the claim subject to offset?

                                                             þ No
                                                             ¨ Yes

3.1356.    Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                             Check all that apply.
           NOAH, BRADLEY ADAM                                                                                UNDETERMINED
           J. NELSON THOMAS THOMAS & SOLOMON LLP             þ Contingent
           693 EAST AVENUE
           ROCHESTER NY 14607                                þ Unliquidated
                                                             þ Disputed
           Date or dates debt was incurred                   Basis for the claim:
           VARIOUS                                           CIVIL ACTION NO. 6:15-CV-06742
                                                             PENDING LITIGATION
           Last 4 digits of account number:
                                                             Is the claim subject to offset?

                                                             þ No
                                                             ¨ Yes




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3.1357.    Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                             Check all that apply.
           NOFEL, AMANDA LEIGH                                                                               UNDETERMINED
           J. NELSON THOMAS THOMAS & SOLOMON LLP             þ Contingent
           693 EAST AVENUE
           ROCHESTER NY 14607                                þ Unliquidated
                                                             þ Disputed
           Date or dates debt was incurred                   Basis for the claim:
           VARIOUS                                           CIVIL ACTION NO. 6:15-CV-06742
                                                             PENDING LITIGATION
           Last 4 digits of account number:
                                                             Is the claim subject to offset?

                                                             þ No
                                                             ¨ Yes

3.1358.    Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                             Check all that apply.
           NONNEMACHER, BRIAN A.                                                                             UNDETERMINED
           J. NELSON THOMAS THOMAS & SOLOMON LLP             þ Contingent
           693 EAST AVENUE
           ROCHESTER NY 14607                                þ Unliquidated
                                                             þ Disputed
           Date or dates debt was incurred                   Basis for the claim:
           VARIOUS                                           CIVIL ACTION NO. 6:15-CV-06742
                                                             PENDING LITIGATION
           Last 4 digits of account number:
                                                             Is the claim subject to offset?

                                                             þ No
                                                             ¨ Yes

3.1359.    Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                             Check all that apply.
           NORRIS, GLORIS                                                                                    UNDETERMINED
                                                             þ Contingent
                                                             þ Unliquidated
                                                             þ Disputed
           Date or dates debt was incurred                   Basis for the claim:
           VARIOUS                                           GENERAL LIABILITY CLAIMS
           Last 4 digits of account number:                  Is the claim subject to offset?

                                                             þ No
                                                             ¨ Yes




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3.1360.    Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                             Check all that apply.
           NORRIS, SHENISE                                                                                   UNDETERMINED
           J. NELSON THOMAS THOMAS & SOLOMON LLP             þ Contingent
           693 EAST AVENUE
           ROCHESTER NY 14607                                þ Unliquidated
                                                             þ Disputed
           Date or dates debt was incurred                   Basis for the claim:
           VARIOUS                                           CIVIL ACTION NO. 6:15-CV-06742
                                                             PENDING LITIGATION
           Last 4 digits of account number:
                                                             Is the claim subject to offset?

                                                             þ No
                                                             ¨ Yes

3.1361.    Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                             Check all that apply.
           NORRIS, SHENISE NICOLE                                                                            UNDETERMINED
           J. NELSON THOMAS THOMAS & SOLOMON LLP             þ Contingent
           693 EAST AVENUE
           ROCHESTER NY 14607                                þ Unliquidated
                                                             þ Disputed
           Date or dates debt was incurred                   Basis for the claim:
           VARIOUS                                           CIVIL ACTION NO. 6:15-CV-06742
                                                             PENDING LITIGATION
           Last 4 digits of account number:
                                                             Is the claim subject to offset?

                                                             þ No
                                                             ¨ Yes

3.1362.    Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                             Check all that apply.
           NORTH LANDING FIREWOOD AND HAULING                                                                $180.00
           INC.                                              ¨ Contingent
           PO BOX 56286
           VIRGINIA BEACH VA 23456                           ¨ Unliquidated
                                                             ¨ Disputed
           Date or dates debt was incurred                   Basis for the claim:
           VARIOUS                                           TRADE ACCOUNTS PAYABLE
           Last 4 digits of account number:                  Is the claim subject to offset?

                                                             þ No
                                                             ¨ Yes




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3.1363.    Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                             Check all that apply.
           NORTH RAINBOW BOULEVARD HOLDINGS                                                                  UNDETERMINED
           INTEGRIS REALTY SVC                               þ Contingent
           6440 SKY POINTE DR 140175
           LAS VEGAS NV 89131                                þ Unliquidated
                                                             þ Disputed
           Date or dates debt was incurred                   Basis for the claim:
           VARIOUS                                           LANDLORD CLAIM
           Last 4 digits of account number:                  Is the claim subject to offset?

                                                             þ No
                                                             ¨ Yes

3.1364.    Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                             Check all that apply.
           NORTON CREATIVE LLC                                                                               $31,855.50
           9434 OLD KATY RD, STE. 400                        ¨ Contingent
           HOUSTON TX 77055
                                                             ¨ Unliquidated
                                                             ¨ Disputed
           Date or dates debt was incurred                   Basis for the claim:
           VARIOUS                                           TRADE ACCOUNTS PAYABLE
           Last 4 digits of account number:                  Is the claim subject to offset?

                                                             þ No
                                                             ¨ Yes

3.1365.    Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                             Check all that apply.
           NOVA ASSOCIATES INC                                                                               $819.00
           DBA NOVA 401(K) ASSOCIATES                        ¨ Contingent
           10777 NORTHWEST FWY
           HOUSTON TX 77092                                  ¨ Unliquidated
                                                             ¨ Disputed
           Date or dates debt was incurred                   Basis for the claim:
           VARIOUS                                           TRADE ACCOUNTS PAYABLE
           Last 4 digits of account number:                  Is the claim subject to offset?

                                                             þ No
                                                             ¨ Yes




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3.1366.    Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                             Check all that apply.
           NUCO2 INC                                                                                         $39,530.52
           PO BOX 9011                                       ¨ Contingent
           STUART FL 34995
                                                             ¨ Unliquidated
                                                             ¨ Disputed
           Date or dates debt was incurred                   Basis for the claim:
           VARIOUS                                           TRADE ACCOUNTS PAYABLE
           Last 4 digits of account number:                  Is the claim subject to offset?

                                                             þ No
                                                             ¨ Yes

3.1367.    Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                             Check all that apply.
           NUGENT, BOBBI JO                                                                                  UNDETERMINED
           J. NELSON THOMAS THOMAS & SOLOMON LLP             þ Contingent
           693 EAST AVENUE
           ROCHESTER NY 14607                                þ Unliquidated
                                                             þ Disputed
           Date or dates debt was incurred                   Basis for the claim:
           VARIOUS                                           CIVIL ACTION NO. 6:15-CV-06742
                                                             PENDING LITIGATION
           Last 4 digits of account number:
                                                             Is the claim subject to offset?

                                                             þ No
                                                             ¨ Yes

3.1368.    Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                             Check all that apply.
           NULITE INC                                                                                        $926.20
           PO BOX 1017                                       ¨ Contingent
           POWAY CA 92074
                                                             ¨ Unliquidated
                                                             ¨ Disputed
           Date or dates debt was incurred                   Basis for the claim:
           VARIOUS                                           TRADE ACCOUNTS PAYABLE
           Last 4 digits of account number:                  Is the claim subject to offset?

                                                             þ No
                                                             ¨ Yes




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3.1369.    Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                             Check all that apply.
           NUZUM, LATASHA                                                                                    UNDETERMINED
           J. NELSON THOMAS THOMAS & SOLOMON LLP             þ Contingent
           693 EAST AVENUE
           ROCHESTER NY 14607                                þ Unliquidated
                                                             þ Disputed
           Date or dates debt was incurred                   Basis for the claim:
           VARIOUS                                           CIVIL ACTION NO. 6:15-CV-06742
                                                             PENDING LITIGATION
           Last 4 digits of account number:
                                                             Is the claim subject to offset?

                                                             þ No
                                                             ¨ Yes

3.1370.    Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                             Check all that apply.
           OAKES, JEFFREY JAY                                                                                UNDETERMINED
           J. NELSON THOMAS THOMAS & SOLOMON LLP             þ Contingent
           693 EAST AVENUE
           ROCHESTER NY 14607                                þ Unliquidated
                                                             þ Disputed
           Date or dates debt was incurred                   Basis for the claim:
           VARIOUS                                           CIVIL ACTION NO. 6:15-CV-06742
                                                             PENDING LITIGATION
           Last 4 digits of account number:
                                                             Is the claim subject to offset?

                                                             þ No
                                                             ¨ Yes

3.1371.    Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                             Check all that apply.
           O'BRIEN, ERIC                                                                                     UNDETERMINED
           J. NELSON THOMAS THOMAS & SOLOMON LLP             þ Contingent
           693 EAST AVENUE
           ROCHESTER NY 14607                                þ Unliquidated
                                                             þ Disputed
           Date or dates debt was incurred                   Basis for the claim:
           VARIOUS                                           CIVIL ACTION NO. 6:15-CV-06742
                                                             PENDING LITIGATION
           Last 4 digits of account number:
                                                             Is the claim subject to offset?

                                                             þ No
                                                             ¨ Yes




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3.1372.    Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                             Check all that apply.
           OBRIEN, JAMES                                                                                     UNDETERMINED
           J. NELSON THOMAS THOMAS & SOLOMON LLP             þ Contingent
           693 EAST AVENUE
           ROCHESTER NY 14607                                þ Unliquidated
                                                             þ Disputed
           Date or dates debt was incurred                   Basis for the claim:
           VARIOUS                                           CIVIL ACTION NO. 6:15-CV-06742
                                                             PENDING LITIGATION
           Last 4 digits of account number:
                                                             Is the claim subject to offset?

                                                             þ No
                                                             ¨ Yes

3.1373.    Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                             Check all that apply.
           OBRIEN, ROSALIND B.                                                                               UNDETERMINED
           J. NELSON THOMAS THOMAS & SOLOMON LLP             þ Contingent
           693 EAST AVENUE
           ROCHESTER NY 14607                                þ Unliquidated
                                                             þ Disputed
           Date or dates debt was incurred                   Basis for the claim:
           VARIOUS                                           CIVIL ACTION NO. 6:15-CV-06742
                                                             PENDING LITIGATION
           Last 4 digits of account number:
                                                             Is the claim subject to offset?

                                                             þ No
                                                             ¨ Yes

3.1374.    Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                             Check all that apply.
           O'BRIEN, SARAH                                                                                    UNDETERMINED
           J. NELSON THOMAS THOMAS & SOLOMON LLP             þ Contingent
           693 EAST AVENUE
           ROCHESTER NY 14607                                þ Unliquidated
                                                             þ Disputed
           Date or dates debt was incurred                   Basis for the claim:
           VARIOUS                                           CIVIL ACTION NO. 6:15-CV-06742
                                                             PENDING LITIGATION
           Last 4 digits of account number:
                                                             Is the claim subject to offset?

                                                             þ No
                                                             ¨ Yes




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Debtor    MAC ACQUISITION LLC                                                                                Case number (if known) 17-12224




3.1375.    Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                             Check all that apply.
           O'CONNELL, MARIE FRANCES                                                                          UNDETERMINED
           J. NELSON THOMAS THOMAS & SOLOMON LLP             þ Contingent
           693 EAST AVENUE
           ROCHESTER NY 14607                                þ Unliquidated
                                                             þ Disputed
           Date or dates debt was incurred                   Basis for the claim:
           VARIOUS                                           CIVIL ACTION NO. 6:15-CV-06742
                                                             PENDING LITIGATION
           Last 4 digits of account number:
                                                             Is the claim subject to offset?

                                                             þ No
                                                             ¨ Yes

3.1376.    Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                             Check all that apply.
           ODAY, ANNA GRACE                                                                                  UNDETERMINED
           J. NELSON THOMAS THOMAS & SOLOMON LLP             þ Contingent
           693 EAST AVENUE
           ROCHESTER NY 14607                                þ Unliquidated
                                                             þ Disputed
           Date or dates debt was incurred                   Basis for the claim:
           VARIOUS                                           CIVIL ACTION NO. 6:15-CV-06742
                                                             PENDING LITIGATION
           Last 4 digits of account number:
                                                             Is the claim subject to offset?

                                                             þ No
                                                             ¨ Yes

3.1377.    Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                             Check all that apply.
           OGLETHORPE MALL LLC                                                                               UNDETERMINED
           GGP                                               þ Contingent
           HOWARD SIGAL VP AND SR ASSOCIATE GC
           110 N WACKER DR                                   þ Unliquidated
           CHICAGO IL 60606                                  þ Disputed
           Date or dates debt was incurred                   Basis for the claim:
           VARIOUS                                           LANDLORD CLAIM
           Last 4 digits of account number:                  Is the claim subject to offset?

                                                             þ No
                                                             ¨ Yes




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Debtor    MAC ACQUISITION LLC                                                                                Case number (if known) 17-12224




3.1378.    Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                             Check all that apply.
           OGLETREE DEAKINGS NASH SMOAK &                                                                    $193,568.80
           STEWART PC                                        ¨ Contingent
           PO BOX 89
           COLUMBIA SC 29202                                 ¨ Unliquidated
                                                             ¨ Disputed
           Date or dates debt was incurred                   Basis for the claim:
           VARIOUS                                           LEGAL
           Last 4 digits of account number:                  Is the claim subject to offset?

                                                             þ No
                                                             ¨ Yes

3.1379.    Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                             Check all that apply.
           OGUIS, WILFREDO                                                                                   UNDETERMINED
                                                             þ Contingent
                                                             þ Unliquidated
                                                             þ Disputed
           Date or dates debt was incurred                   Basis for the claim:
           VARIOUS                                           WORKERS COMPENSATION CLAIM - NO.
                                                             4630788
           Last 4 digits of account number:
                                                             Is the claim subject to offset?

                                                             þ No
                                                             ¨ Yes

3.1380.    Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                             Check all that apply.
           OHIO LOGOS INC                                                                                    $2,365.00
           4384 TULLER ROAD                                  þ Contingent
           DUBLIN OH 43017
                                                             þ Unliquidated
                                                             þ Disputed
           Date or dates debt was incurred                   Basis for the claim:
           VARIOUS                                           TRADE ACCOUNTS PAYABLE
           Last 4 digits of account number:                  Is the claim subject to offset?

                                                             þ No
                                                             ¨ Yes




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Debtor    MAC ACQUISITION LLC                                                                                Case number (if known) 17-12224




3.1381.    Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                             Check all that apply.
           OHMIE, SAMANTHA                                                                                   UNDETERMINED
                                                             þ Contingent
                                                             þ Unliquidated
                                                             þ Disputed
           Date or dates debt was incurred                   Basis for the claim:
           VARIOUS                                           GENERAL LIABILITY CLAIMS
           Last 4 digits of account number:                  Is the claim subject to offset?

                                                             þ No
                                                             ¨ Yes

3.1382.    Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                             Check all that apply.
           OLIVER, KEITH GARY                                                                                UNDETERMINED
           J. NELSON THOMAS THOMAS & SOLOMON LLP             þ Contingent
           693 EAST AVENUE
           ROCHESTER NY 14607                                þ Unliquidated
                                                             þ Disputed
           Date or dates debt was incurred                   Basis for the claim:
           VARIOUS                                           CIVIL ACTION NO. 6:15-CV-06742
                                                             PENDING LITIGATION
           Last 4 digits of account number:
                                                             Is the claim subject to offset?

                                                             þ No
                                                             ¨ Yes

3.1383.    Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                             Check all that apply.
           OLIVER, SHANE ALTON                                                                               UNDETERMINED
           J. NELSON THOMAS THOMAS & SOLOMON LLP             þ Contingent
           693 EAST AVENUE
           ROCHESTER NY 14607                                þ Unliquidated
                                                             þ Disputed
           Date or dates debt was incurred                   Basis for the claim:
           VARIOUS                                           CIVIL ACTION NO. 6:15-CV-06742
                                                             PENDING LITIGATION
           Last 4 digits of account number:
                                                             Is the claim subject to offset?

                                                             þ No
                                                             ¨ Yes




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3.1384.    Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                             Check all that apply.
           OLSAVSKY, HOLLY                                                                                   UNDETERMINED
           J. NELSON THOMAS THOMAS & SOLOMON LLP             þ Contingent
           693 EAST AVENUE
           ROCHESTER NY 14607                                þ Unliquidated
                                                             þ Disputed
           Date or dates debt was incurred                   Basis for the claim:
           VARIOUS                                           CIVIL ACTION NO. 6:15-CV-06742
                                                             PENDING LITIGATION
           Last 4 digits of account number:
                                                             Is the claim subject to offset?

                                                             þ No
                                                             ¨ Yes

3.1385.    Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                             Check all that apply.
           OLSON, DENNIS JAMES                                                                               UNDETERMINED
           J. NELSON THOMAS THOMAS & SOLOMON LLP             þ Contingent
           693 EAST AVENUE
           ROCHESTER NY 14607                                þ Unliquidated
                                                             þ Disputed
           Date or dates debt was incurred                   Basis for the claim:
           VARIOUS                                           CIVIL ACTION NO. 6:15-CV-06742
                                                             PENDING LITIGATION
           Last 4 digits of account number:
                                                             Is the claim subject to offset?

                                                             þ No
                                                             ¨ Yes

3.1386.    Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                             Check all that apply.
           OLSON, VAWNEE                                                                                     UNDETERMINED
                                                             þ Contingent
                                                             þ Unliquidated
                                                             þ Disputed
           Date or dates debt was incurred                   Basis for the claim:
           VARIOUS                                           GENERAL LIABILITY CLAIMS
           Last 4 digits of account number:                  Is the claim subject to offset?

                                                             þ No
                                                             ¨ Yes




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3.1387.    Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                             Check all that apply.
           ONDEVILLA, THELMA                                                                                 UNDETERMINED
                                                             þ Contingent
                                                             þ Unliquidated
                                                             þ Disputed
           Date or dates debt was incurred                   Basis for the claim:
           VARIOUS                                           GENERAL LIABILITY CLAIMS
           Last 4 digits of account number:                  Is the claim subject to offset?

                                                             þ No
                                                             ¨ Yes

3.1388.    Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                             Check all that apply.
           O'NEILL, CATHERINE                                                                                UNDETERMINED
                                                             þ Contingent
                                                             þ Unliquidated
                                                             þ Disputed
           Date or dates debt was incurred                   Basis for the claim:
           VARIOUS                                           GENERAL LIABILITY CLAIMS
           Last 4 digits of account number:                  Is the claim subject to offset?

                                                             þ No
                                                             ¨ Yes

3.1389.    Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                             Check all that apply.
           O'NEILL, ZANETA                                                                                   UNDETERMINED
           J. NELSON THOMAS THOMAS & SOLOMON LLP             þ Contingent
           693 EAST AVENUE
           ROCHESTER NY 14607                                þ Unliquidated
                                                             þ Disputed
           Date or dates debt was incurred                   Basis for the claim:
           VARIOUS                                           CIVIL ACTION NO. 6:15-CV-06742
                                                             PENDING LITIGATION
           Last 4 digits of account number:
                                                             Is the claim subject to offset?

                                                             þ No
                                                             ¨ Yes




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Debtor     MAC ACQUISITION LLC                                                                                Case number (if known) 17-12224




3.1390.1    Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                              Check all that apply.
            ONLINE GIFT CARDS                                                                                 $4,650.79
            26 BROADWAY                                       þ Contingent
            24TH FLOOR
            NEW YORK NY 10004                                 þ Unliquidated
                                                              þ Disputed
            Date or dates debt was incurred                   Basis for the claim:
            VARIOUS                                           ONLINE GIFT CARDS
            Last 4 digits of account number:                  Is the claim subject to offset?
            1 Liability to unknown persons in amount
                                                              þ No
            of issued and outstanding gift cards.             ¨ Yes

3.1391.     Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                              Check all that apply.
            OPRY MILLS MALL LIMITED PARTNERSHIP                                                               UNDETERMINED
            C O MS MANAGEMENT ASSOCIATES INC                  þ Contingent
            MIKE FREESE ASST GENERAL COUNSEL
            225 WEST WASHINGTON ST                            þ Unliquidated
            INDIANAPOLIS IN 46204                             þ Disputed
            Date or dates debt was incurred                   Basis for the claim:
            VARIOUS                                           LANDLORD CLAIM
            Last 4 digits of account number:                  Is the claim subject to offset?

                                                              þ No
                                                              ¨ Yes

3.1392.     Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                              Check all that apply.
            OPTIMUM 07870 453342 02                                                                           $211.16
            PO BOX 371378                                     ¨ Contingent
            PITTSBURG PA 15250
                                                              ¨ Unliquidated
                                                              ¨ Disputed
            Date or dates debt was incurred                   Basis for the claim:
            VARIOUS                                           TRADE ACCOUNTS PAYABLE
            Last 4 digits of account number:                  Is the claim subject to offset?

                                                              þ No
                                                              ¨ Yes




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3.1393.    Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                             Check all that apply.
           OPTIMUM 07870 455105 02                                                                           $115.58
           PO BOX 371378                                     ¨ Contingent
           PITTSBURGH PA 15250
                                                             ¨ Unliquidated
                                                             ¨ Disputed
           Date or dates debt was incurred                   Basis for the claim:
           VARIOUS                                           TRADE ACCOUNTS PAYABLE
           Last 4 digits of account number:                  Is the claim subject to offset?

                                                             þ No
                                                             ¨ Yes

3.1394.    Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                             Check all that apply.
           OPTIMUM CARD SOLUTIONS LLC                                                                        $141.00
           855 S FIENE DRIVE                                 ¨ Contingent
           ADDISON IL 60101
                                                             ¨ Unliquidated
                                                             ¨ Disputed
           Date or dates debt was incurred                   Basis for the claim:
           VARIOUS                                           TRADE ACCOUNTS PAYABLE
           Last 4 digits of account number:                  Is the claim subject to offset?

                                                             þ No
                                                             ¨ Yes

3.1395.    Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                             Check all that apply.
           ORDEN, RACHEL                                                                                     UNDETERMINED
           J. NELSON THOMAS THOMAS & SOLOMON LLP             þ Contingent
           693 EAST AVENUE
           ROCHESTER NY 14607                                þ Unliquidated
                                                             þ Disputed
           Date or dates debt was incurred                   Basis for the claim:
           VARIOUS                                           CIVIL ACTION NO. 6:15-CV-06742
                                                             PENDING LITIGATION
           Last 4 digits of account number:
                                                             Is the claim subject to offset?

                                                             þ No
                                                             ¨ Yes




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Debtor    MAC ACQUISITION LLC                                                                                Case number (if known) 17-12224




3.1396.    Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                             Check all that apply.
           ORDONEZ BROTHERS FIREWOOD                                                                         $670.00
           14638 LUFTHANSA CIRCLE                            ¨ Contingent
           CHANTILLY VA 22151
                                                             ¨ Unliquidated
                                                             ¨ Disputed
           Date or dates debt was incurred                   Basis for the claim:
           VARIOUS                                           TRADE ACCOUNTS PAYABLE
           Last 4 digits of account number:                  Is the claim subject to offset?

                                                             þ No
                                                             ¨ Yes

3.1397.    Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                             Check all that apply.
           ORSIE, RACHEL ELISABETH                                                                           UNDETERMINED
           J. NELSON THOMAS THOMAS & SOLOMON LLP             þ Contingent
           693 EAST AVENUE
           ROCHESTER NY 14607                                þ Unliquidated
                                                             þ Disputed
           Date or dates debt was incurred                   Basis for the claim:
           VARIOUS                                           CIVIL ACTION NO. 6:15-CV-06742
                                                             PENDING LITIGATION
           Last 4 digits of account number:
                                                             Is the claim subject to offset?

                                                             þ No
                                                             ¨ Yes

3.1398.    Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                             Check all that apply.
           ORSINI-WOLFGANG, MADISON                                                                          UNDETERMINED
           J. NELSON THOMAS THOMAS & SOLOMON LLP             þ Contingent
           693 EAST AVENUE
           ROCHESTER NY 14607                                þ Unliquidated
                                                             þ Disputed
           Date or dates debt was incurred                   Basis for the claim:
           VARIOUS                                           CIVIL ACTION NO. 6:15-CV-06742
                                                             PENDING LITIGATION
           Last 4 digits of account number:
                                                             Is the claim subject to offset?

                                                             þ No
                                                             ¨ Yes




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3.1399.    Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                             Check all that apply.
           ORTEGA, CHRISTIAN                                                                                 UNDETERMINED
           J. NELSON THOMAS THOMAS & SOLOMON LLP             þ Contingent
           693 EAST AVENUE
           ROCHESTER NY 14607                                þ Unliquidated
                                                             þ Disputed
           Date or dates debt was incurred                   Basis for the claim:
           VARIOUS                                           CIVIL ACTION NO. 6:15-CV-06742
                                                             PENDING LITIGATION
           Last 4 digits of account number:
                                                             Is the claim subject to offset?

                                                             þ No
                                                             ¨ Yes

3.1400.    Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                             Check all that apply.
           ORTIZ'S SERVICES                                                                                  $800.00
           14353 CAMINATA TAUGUS                             ¨ Contingent
           SAN DIEGO CA 92129
                                                             ¨ Unliquidated
                                                             ¨ Disputed
           Date or dates debt was incurred                   Basis for the claim:
           VARIOUS                                           TRADE ACCOUNTS PAYABLE
           Last 4 digits of account number:                  Is the claim subject to offset?

                                                             þ No
                                                             ¨ Yes

3.1401.    Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                             Check all that apply.
           OSKADA UPHOLSTERY AND SEW                                                                         $1,090.00
           11300 COLOMA RD, STE. B8                          ¨ Contingent
           C/O KAREN MARTINEZ GUENDULAN
           GOLD RIVER CA 95670                               ¨ Unliquidated
                                                             ¨ Disputed
           Date or dates debt was incurred                   Basis for the claim:
           VARIOUS                                           TRADE ACCOUNTS PAYABLE
           Last 4 digits of account number:                  Is the claim subject to offset?

                                                             þ No
                                                             ¨ Yes




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3.1402.    Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                             Check all that apply.
           OSORIO, PEARL                                                                                     UNDETERMINED
           J. NELSON THOMAS THOMAS & SOLOMON LLP             þ Contingent
           693 EAST AVENUE
           ROCHESTER NY 14607                                þ Unliquidated
                                                             þ Disputed
           Date or dates debt was incurred                   Basis for the claim:
           VARIOUS                                           CIVIL ACTION NO. 6:15-CV-06742
                                                             PENDING LITIGATION
           Last 4 digits of account number:
                                                             Is the claim subject to offset?

                                                             þ No
                                                             ¨ Yes

3.1403.    Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                             Check all that apply.
           OVERBY, MICHAEL A.                                                                                UNDETERMINED
           J. NELSON THOMAS THOMAS & SOLOMON LLP             þ Contingent
           693 EAST AVENUE
           ROCHESTER NY 14607                                þ Unliquidated
                                                             þ Disputed
           Date or dates debt was incurred                   Basis for the claim:
           VARIOUS                                           CIVIL ACTION NO. 6:15-CV-06742
                                                             PENDING LITIGATION
           Last 4 digits of account number:
                                                             Is the claim subject to offset?

                                                             þ No
                                                             ¨ Yes

3.1404.    Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                             Check all that apply.
           OVERBY, MICHAEL A.                                                                                UNDETERMINED
           J. NELSON THOMAS THOMAS & SOLOMON LLP             þ Contingent
           693 EAST AVENUE
           ROCHESTER NY 14607                                þ Unliquidated
                                                             þ Disputed
           Date or dates debt was incurred                   Basis for the claim:
           VARIOUS                                           CIVIL ACTION NO. 6:15-CV-06742
                                                             PENDING LITIGATION
           Last 4 digits of account number:
                                                             Is the claim subject to offset?

                                                             þ No
                                                             ¨ Yes




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3.1405.    Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                             Check all that apply.
           OVERMAN-ROMERO, GUILBER A.                                                                        UNDETERMINED
           J. NELSON THOMAS THOMAS & SOLOMON LLP             þ Contingent
           693 EAST AVENUE
           ROCHESTER NY 14607                                þ Unliquidated
                                                             þ Disputed
           Date or dates debt was incurred                   Basis for the claim:
           VARIOUS                                           CIVIL ACTION NO. 6:15-CV-06742
                                                             PENDING LITIGATION
           Last 4 digits of account number:
                                                             Is the claim subject to offset?

                                                             þ No
                                                             ¨ Yes

3.1406.    Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                             Check all that apply.
           OVIEDO, ROSA M.                                                                                   UNDETERMINED
           J. NELSON THOMAS THOMAS & SOLOMON LLP             þ Contingent
           693 EAST AVENUE
           ROCHESTER NY 14607                                þ Unliquidated
                                                             þ Disputed
           Date or dates debt was incurred                   Basis for the claim:
           VARIOUS                                           CIVIL ACTION NO. 6:15-CV-06742
                                                             PENDING LITIGATION
           Last 4 digits of account number:
                                                             Is the claim subject to offset?

                                                             þ No
                                                             ¨ Yes

3.1407.    Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                             Check all that apply.
           OXFORD VALLEY RD ASSOCIATES LP                                                                    $31,975.60
           350 SENTRY PKWY                                   ¨ Contingent
           BLDG 630 STE 300
           BLUE BELL PA 19422                                ¨ Unliquidated
                                                             ¨ Disputed
           Date or dates debt was incurred                   Basis for the claim:
           VARIOUS                                           LEASE
           Last 4 digits of account number:                  Is the claim subject to offset?

                                                             þ No
                                                             ¨ Yes




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3.1408.    Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                             Check all that apply.
           OXFORD VALLEY ROAD ASSOCIATES                                                                     UNDETERMINED
           KURTZMAN STEADY LLC                               þ Contingent
           JEFFREY KURTZMAN ESQ
           401 S 2ND ST                                      þ Unliquidated
           PHILADELPHIA PA 19147                             þ Disputed
           Date or dates debt was incurred                   Basis for the claim:
           VARIOUS                                           LANDLORD CLAIM
           Last 4 digits of account number:                  Is the claim subject to offset?

                                                             þ No
                                                             ¨ Yes

3.1409.    Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                             Check all that apply.
           PAC - ACH (SUPPLY)                                                                                $40,988.92
           FILE 916241 PO BOX 961094                         ¨ Contingent
           FORT WORTH TX 76161
                                                             ¨ Unliquidated
                                                             ¨ Disputed
           Date or dates debt was incurred                   Basis for the claim:
           VARIOUS                                           TRADE ACCOUNTS PAYABLE
           Last 4 digits of account number:                  Is the claim subject to offset?

                                                             þ No
                                                             ¨ Yes

3.1410.    Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                             Check all that apply.
           PACE, CHELSIE D.                                                                                  UNDETERMINED
           J. NELSON THOMAS THOMAS & SOLOMON LLP             þ Contingent
           693 EAST AVENUE
           ROCHESTER NY 14607                                þ Unliquidated
                                                             þ Disputed
           Date or dates debt was incurred                   Basis for the claim:
           VARIOUS                                           CIVIL ACTION NO. 6:15-CV-06742
                                                             PENDING LITIGATION
           Last 4 digits of account number:
                                                             Is the claim subject to offset?

                                                             þ No
                                                             ¨ Yes




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3.1411.    Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                             Check all that apply.
           PACHECO, BRANDON                                                                                  UNDETERMINED
           J. NELSON THOMAS THOMAS & SOLOMON LLP             þ Contingent
           693 EAST AVENUE
           ROCHESTER NY 14607                                þ Unliquidated
                                                             þ Disputed
           Date or dates debt was incurred                   Basis for the claim:
           VARIOUS                                           CIVIL ACTION NO. 6:15-CV-06742
                                                             PENDING LITIGATION
           Last 4 digits of account number:
                                                             Is the claim subject to offset?

                                                             þ No
                                                             ¨ Yes

3.1412.    Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                             Check all that apply.
           PACIFIC REFRIGERATION UNLIMITED                                                                   $764.52
           P.O BOX 1557                                      ¨ Contingent
           TACOMA WA 98401-1557
                                                             ¨ Unliquidated
                                                             ¨ Disputed
           Date or dates debt was incurred                   Basis for the claim:
           VARIOUS                                           TRADE ACCOUNTS PAYABLE
           Last 4 digits of account number:                  Is the claim subject to offset?

                                                             þ No
                                                             ¨ Yes

3.1413.    Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                             Check all that apply.
           PALMER, ALISON V.                                                                                 UNDETERMINED
           J. NELSON THOMAS THOMAS & SOLOMON LLP             þ Contingent
           693 EAST AVENUE
           ROCHESTER NY 14607                                þ Unliquidated
                                                             þ Disputed
           Date or dates debt was incurred                   Basis for the claim:
           VARIOUS                                           CIVIL ACTION NO. 6:15-CV-06742
                                                             PENDING LITIGATION
           Last 4 digits of account number:
                                                             Is the claim subject to offset?

                                                             þ No
                                                             ¨ Yes




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Debtor    MAC ACQUISITION LLC                                                                                Case number (if known) 17-12224




3.1414.    Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                             Check all that apply.
           PALMER, KATHLEEN J.                                                                               UNDETERMINED
           J. NELSON THOMAS THOMAS & SOLOMON LLP             þ Contingent
           693 EAST AVENUE
           ROCHESTER NY 14607                                þ Unliquidated
                                                             þ Disputed
           Date or dates debt was incurred                   Basis for the claim:
           VARIOUS                                           CIVIL ACTION NO. 6:15-CV-06742
                                                             PENDING LITIGATION
           Last 4 digits of account number:
                                                             Is the claim subject to offset?

                                                             þ No
                                                             ¨ Yes

3.1415.    Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                             Check all that apply.
           PAMELL, SYLVIA RUTH DAMIN                                                                         UNDETERMINED
           J. NELSON THOMAS THOMAS & SOLOMON LLP             þ Contingent
           693 EAST AVENUE
           ROCHESTER NY 14607                                þ Unliquidated
                                                             þ Disputed
           Date or dates debt was incurred                   Basis for the claim:
           VARIOUS                                           CIVIL ACTION NO. 6:15-CV-06742
                                                             PENDING LITIGATION
           Last 4 digits of account number:
                                                             Is the claim subject to offset?

                                                             þ No
                                                             ¨ Yes

3.1416.    Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                             Check all that apply.
           PAPPAS LAGUNA NO 2 LP                                                                             UNDETERMINED
           JOHN PAPPAS LOUIS J PAPPAS                        þ Contingent
           2020 L ST 5TH FL
           SACRAMENTO CA 95811                               þ Unliquidated
                                                             þ Disputed
           Date or dates debt was incurred                   Basis for the claim:
           VARIOUS                                           LANDLORD CLAIM
           Last 4 digits of account number:                  Is the claim subject to offset?

                                                             þ No
                                                             ¨ Yes




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Debtor    MAC ACQUISITION LLC                                                                                Case number (if known) 17-12224




3.1417.    Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                             Check all that apply.
           PARENZAN, KIMBERLY ANNETTE                                                                        UNDETERMINED
           J. NELSON THOMAS THOMAS & SOLOMON LLP             þ Contingent
           693 EAST AVENUE
           ROCHESTER NY 14607                                þ Unliquidated
                                                             þ Disputed
           Date or dates debt was incurred                   Basis for the claim:
           VARIOUS                                           CIVIL ACTION NO. 6:15-CV-06742
                                                             PENDING LITIGATION
           Last 4 digits of account number:
                                                             Is the claim subject to offset?

                                                             þ No
                                                             ¨ Yes

3.1418.    Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                             Check all that apply.
           PARKER, KIMBERLY DENISE                                                                           UNDETERMINED
           J. NELSON THOMAS THOMAS & SOLOMON LLP             þ Contingent
           693 EAST AVENUE
           ROCHESTER NY 14607                                þ Unliquidated
                                                             þ Disputed
           Date or dates debt was incurred                   Basis for the claim:
           VARIOUS                                           CIVIL ACTION NO. 6:15-CV-06742
                                                             PENDING LITIGATION
           Last 4 digits of account number:
                                                             Is the claim subject to offset?

                                                             þ No
                                                             ¨ Yes

3.1419.    Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                             Check all that apply.
           PARKER, MICHAEL ANTHONY                                                                           UNDETERMINED
           J. NELSON THOMAS THOMAS & SOLOMON LLP             þ Contingent
           693 EAST AVENUE
           ROCHESTER NY 14607                                þ Unliquidated
                                                             þ Disputed
           Date or dates debt was incurred                   Basis for the claim:
           VARIOUS                                           CIVIL ACTION NO. 6:15-CV-06742
                                                             PENDING LITIGATION
           Last 4 digits of account number:
                                                             Is the claim subject to offset?

                                                             þ No
                                                             ¨ Yes




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Debtor    MAC ACQUISITION LLC                                                                                Case number (if known) 17-12224




3.1420.    Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                             Check all that apply.
           PARKS, BRIAN                                                                                      UNDETERMINED
           J. NELSON THOMAS THOMAS & SOLOMON LLP             þ Contingent
           693 EAST AVENUE
           ROCHESTER NY 14607                                þ Unliquidated
                                                             þ Disputed
           Date or dates debt was incurred                   Basis for the claim:
           VARIOUS                                           CIVIL ACTION NO. 6:15-CV-06742
                                                             PENDING LITIGATION
           Last 4 digits of account number:
                                                             Is the claim subject to offset?

                                                             þ No
                                                             ¨ Yes

3.1421.    Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                             Check all that apply.
           PARNASS, MOSES                                                                                    UNDETERMINED
           J. NELSON THOMAS THOMAS & SOLOMON LLP             þ Contingent
           693 EAST AVENUE
           ROCHESTER NY 14607                                þ Unliquidated
                                                             þ Disputed
           Date or dates debt was incurred                   Basis for the claim:
           VARIOUS                                           CIVIL ACTION NO. 6:15-CV-06742
                                                             PENDING LITIGATION
           Last 4 digits of account number:
                                                             Is the claim subject to offset?

                                                             þ No
                                                             ¨ Yes

3.1422.    Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                             Check all that apply.
           PARSONS, AIMEE SUE                                                                                UNDETERMINED
           J. NELSON THOMAS THOMAS & SOLOMON LLP             þ Contingent
           693 EAST AVENUE
           ROCHESTER NY 14607                                þ Unliquidated
                                                             þ Disputed
           Date or dates debt was incurred                   Basis for the claim:
           VARIOUS                                           CIVIL ACTION NO. 6:15-CV-06742
                                                             PENDING LITIGATION
           Last 4 digits of account number:
                                                             Is the claim subject to offset?

                                                             þ No
                                                             ¨ Yes




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Debtor    MAC ACQUISITION LLC                                                                                Case number (if known) 17-12224




3.1423.    Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                             Check all that apply.
           PARTICIA WAHL LAPAN AS TRUSTEE OF THE                                                             UNDETERMINED
           PATRCIA                                           þ Contingent
           LAPAN LIVING TRUST PURSUANT TO THE
           DECLATRATION                                      þ Unliquidated
           OF TRUST DTD 04/15/94 WHICH TRUST WAS
           REST ON OR ABOUT 03/16/05 AN AZ TR
                                                             þ Disputed
           PATRICIA WAHL LAPAN
           6363 CHRISTIE AVE 2925
           EMERYVILLE CA 94608

           Date or dates debt was incurred                   Basis for the claim:
           VARIOUS                                           LANDLORD CLAIM
           Last 4 digits of account number:                  Is the claim subject to offset?

                                                             þ No
                                                             ¨ Yes

3.1424.    Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                             Check all that apply.
           PAUL, JAMES F.                                                                                    UNDETERMINED
           J. NELSON THOMAS THOMAS & SOLOMON LLP             þ Contingent
           693 EAST AVENUE
           ROCHESTER NY 14607                                þ Unliquidated
                                                             þ Disputed
           Date or dates debt was incurred                   Basis for the claim:
           VARIOUS                                           CIVIL ACTION NO. 6:15-CV-06742
                                                             PENDING LITIGATION
           Last 4 digits of account number:
                                                             Is the claim subject to offset?

                                                             þ No
                                                             ¨ Yes

3.1425.    Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                             Check all that apply.
           PAUL, JANET-ASHLEY MARIE                                                                          UNDETERMINED
           J. NELSON THOMAS THOMAS & SOLOMON LLP             þ Contingent
           693 EAST AVENUE
           ROCHESTER NY 14607                                þ Unliquidated
                                                             þ Disputed
           Date or dates debt was incurred                   Basis for the claim:
           VARIOUS                                           CIVIL ACTION NO. 6:15-CV-06742
                                                             PENDING LITIGATION
           Last 4 digits of account number:
                                                             Is the claim subject to offset?

                                                             þ No
                                                             ¨ Yes




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Debtor    MAC ACQUISITION LLC                                                                                Case number (if known) 17-12224




3.1426.    Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                             Check all that apply.
           PAUL, JANET-ASHLEY MARIE                                                                          UNDETERMINED
           J. NELSON THOMAS THOMAS & SOLOMON LLP             þ Contingent
           693 EAST AVENUE
           ROCHESTER NY 14607                                þ Unliquidated
                                                             þ Disputed
           Date or dates debt was incurred                   Basis for the claim:
           VARIOUS                                           CIVIL ACTION NO. 6:15-CV-06742
                                                             PENDING LITIGATION
           Last 4 digits of account number:
                                                             Is the claim subject to offset?

                                                             þ No
                                                             ¨ Yes

3.1427.    Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                             Check all that apply.
           PAYTRONIX SYSTEMS INC                                                                             $5,097.10
           80 BRIDGE STREET STREET                           ¨ Contingent
           NEWTON MA 02458
                                                             ¨ Unliquidated
                                                             ¨ Disputed
           Date or dates debt was incurred                   Basis for the claim:
           VARIOUS                                           TRADE ACCOUNTS PAYABLE
           Last 4 digits of account number:                  Is the claim subject to offset?

                                                             þ No
                                                             ¨ Yes

3.1428.    Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                             Check all that apply.
           PAZ, SILVIA TERESA                                                                                UNDETERMINED
           J. NELSON THOMAS THOMAS & SOLOMON LLP             þ Contingent
           693 EAST AVENUE
           ROCHESTER NY 14607                                þ Unliquidated
                                                             þ Disputed
           Date or dates debt was incurred                   Basis for the claim:
           VARIOUS                                           CIVIL ACTION NO. 6:15-CV-06742
                                                             PENDING LITIGATION
           Last 4 digits of account number:
                                                             Is the claim subject to offset?

                                                             þ No
                                                             ¨ Yes




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3.1429.    Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                             Check all that apply.
           PAZ, SILVIA TERESA                                                                                UNDETERMINED
           J. NELSON THOMAS THOMAS & SOLOMON LLP             þ Contingent
           693 EAST AVENUE
           ROCHESTER NY 14607                                þ Unliquidated
                                                             þ Disputed
           Date or dates debt was incurred                   Basis for the claim:
           VARIOUS                                           CIVIL ACTION NO. 6:15-CV-06742
                                                             PENDING LITIGATION
           Last 4 digits of account number:
                                                             Is the claim subject to offset?

                                                             þ No
                                                             ¨ Yes

3.1430.    Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                             Check all that apply.
           PELSHAW, BRANDON JOSEPH                                                                           UNDETERMINED
           J. NELSON THOMAS THOMAS & SOLOMON LLP             þ Contingent
           693 EAST AVENUE
           ROCHESTER NY 14607                                þ Unliquidated
                                                             þ Disputed
           Date or dates debt was incurred                   Basis for the claim:
           VARIOUS                                           CIVIL ACTION NO. 6:15-CV-06742
                                                             PENDING LITIGATION
           Last 4 digits of account number:
                                                             Is the claim subject to offset?

                                                             þ No
                                                             ¨ Yes

3.1431.    Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                             Check all that apply.
           PELSHAW, BRANDON JOSEPH                                                                           UNDETERMINED
           J. NELSON THOMAS THOMAS & SOLOMON LLP             þ Contingent
           693 EAST AVENUE
           ROCHESTER NY 14607                                þ Unliquidated
                                                             þ Disputed
           Date or dates debt was incurred                   Basis for the claim:
           VARIOUS                                           CIVIL ACTION NO. 6:15-CV-06742
                                                             PENDING LITIGATION
           Last 4 digits of account number:
                                                             Is the claim subject to offset?

                                                             þ No
                                                             ¨ Yes




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Debtor    MAC ACQUISITION LLC                                                                                Case number (if known) 17-12224




3.1432.    Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                             Check all that apply.
           PERFECT PLUMBING SEWER & DRAIN INC.                                                               $180.00
           40250 MOUND ROAD                                  ¨ Contingent
           STERLING HEIGHTS MI 48310
                                                             ¨ Unliquidated
                                                             ¨ Disputed
           Date or dates debt was incurred                   Basis for the claim:
           VARIOUS                                           TRADE ACCOUNTS PAYABLE
           Last 4 digits of account number:                  Is the claim subject to offset?

                                                             þ No
                                                             ¨ Yes

3.1433.    Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                             Check all that apply.
           PERFORMANCE AIR MECHANICAL, INC.                                                                  $8,505.83
           3720 PARK CENTRAL BLVD NORTH                      ¨ Contingent
           POMPANO BEACH FL 33064
                                                             ¨ Unliquidated
                                                             ¨ Disputed
           Date or dates debt was incurred                   Basis for the claim:
           VARIOUS                                           TRADE ACCOUNTS PAYABLE
           Last 4 digits of account number:                  Is the claim subject to offset?

                                                             þ No
                                                             ¨ Yes

3.1434.    Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                             Check all that apply.
           PERRY, KIONA PEARLA                                                                               UNDETERMINED
           J. NELSON THOMAS THOMAS & SOLOMON LLP             þ Contingent
           693 EAST AVENUE
           ROCHESTER NY 14607                                þ Unliquidated
                                                             þ Disputed
           Date or dates debt was incurred                   Basis for the claim:
           VARIOUS                                           CIVIL ACTION NO. 6:15-CV-06742
                                                             PENDING LITIGATION
           Last 4 digits of account number:
                                                             Is the claim subject to offset?

                                                             þ No
                                                             ¨ Yes




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3.1435.    Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                             Check all that apply.
           PERSONETT, TYLEE                                                                                  UNDETERMINED
           J. NELSON THOMAS THOMAS & SOLOMON LLP             þ Contingent
           693 EAST AVENUE
           ROCHESTER NY 14607                                þ Unliquidated
                                                             þ Disputed
           Date or dates debt was incurred                   Basis for the claim:
           VARIOUS                                           CIVIL ACTION NO. 6:15-CV-06742
                                                             PENDING LITIGATION
           Last 4 digits of account number:
                                                             Is the claim subject to offset?

                                                             þ No
                                                             ¨ Yes

3.1436.    Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                             Check all that apply.
           PETERSON, MELISSA JEANNE MARIE                                                                    UNDETERMINED
           J. NELSON THOMAS THOMAS & SOLOMON LLP             þ Contingent
           693 EAST AVENUE
           ROCHESTER NY 14607                                þ Unliquidated
                                                             þ Disputed
           Date or dates debt was incurred                   Basis for the claim:
           VARIOUS                                           CIVIL ACTION NO. 6:15-CV-06742
                                                             PENDING LITIGATION
           Last 4 digits of account number:
                                                             Is the claim subject to offset?

                                                             þ No
                                                             ¨ Yes

3.1437.    Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                             Check all that apply.
           PETTUS, JADE                                                                                      UNDETERMINED
           J. NELSON THOMAS THOMAS & SOLOMON LLP             þ Contingent
           693 EAST AVENUE
           ROCHESTER NY 14607                                þ Unliquidated
                                                             þ Disputed
           Date or dates debt was incurred                   Basis for the claim:
           VARIOUS                                           CIVIL ACTION NO. 6:15-CV-06742
                                                             PENDING LITIGATION
           Last 4 digits of account number:
                                                             Is the claim subject to offset?

                                                             þ No
                                                             ¨ Yes




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Debtor    MAC ACQUISITION LLC                                                                                Case number (if known) 17-12224




3.1438.    Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                             Check all that apply.
           PFP TEMECULA REAL ESTATE HOLDINGS LLC                                                             UNDETERMINED
           MEISSNER JACQUET COMMERCIAL REAL                  þ Contingent
           ESTATE SVC
           LYSLIE J BROOKS REAL ESTATE MANAGER               þ Unliquidated
           4995 MURPHY CANYON RD STE 100
           SAN DIEGO CA 92122
                                                             þ Disputed
           Date or dates debt was incurred                   Basis for the claim:
           VARIOUS                                           LANDLORD CLAIM
           Last 4 digits of account number:                  Is the claim subject to offset?

                                                             þ No
                                                             ¨ Yes

3.1439.    Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                             Check all that apply.
           PHILBROOK AVENUE ASSOC LLC                                                                        $1,906.93
           PO BOX 0853                                       ¨ Contingent
           BRATTLEBORO VT 05302-0853
                                                             ¨ Unliquidated
                                                             ¨ Disputed
           Date or dates debt was incurred                   Basis for the claim:
           VARIOUS                                           LEASE
           Last 4 digits of account number:                  Is the claim subject to offset?

                                                             þ No
                                                             ¨ Yes

3.1440.    Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                             Check all that apply.
           PHILLIPS, JEFFREY                                                                                 UNDETERMINED
           J. NELSON THOMAS THOMAS & SOLOMON LLP             þ Contingent
           693 EAST AVENUE
           ROCHESTER NY 14607                                þ Unliquidated
                                                             þ Disputed
           Date or dates debt was incurred                   Basis for the claim:
           VARIOUS                                           CIVIL ACTION NO. 6:15-CV-06742
                                                             PENDING LITIGATION
           Last 4 digits of account number:
                                                             Is the claim subject to offset?

                                                             þ No
                                                             ¨ Yes




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3.1441.    Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                             Check all that apply.
           PICARIELLO, LADONNA MICHELLE                                                                      UNDETERMINED
           J. NELSON THOMAS THOMAS & SOLOMON LLP             þ Contingent
           693 EAST AVENUE
           ROCHESTER NY 14607                                þ Unliquidated
                                                             þ Disputed
           Date or dates debt was incurred                   Basis for the claim:
           VARIOUS                                           CIVIL ACTION NO. 6:15-CV-06742
                                                             PENDING LITIGATION
           Last 4 digits of account number:
                                                             Is the claim subject to offset?

                                                             þ No
                                                             ¨ Yes

3.1442.    Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                             Check all that apply.
           PICASSO PLUMBING INC.                                                                             $189.00
           3135 VERDUGO ROAD                                 ¨ Contingent
           LOS ANGELES CA 90065
                                                             ¨ Unliquidated
                                                             ¨ Disputed
           Date or dates debt was incurred                   Basis for the claim:
           VARIOUS                                           TRADE ACCOUNTS PAYABLE
           Last 4 digits of account number:                  Is the claim subject to offset?

                                                             þ No
                                                             ¨ Yes

3.1443.    Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                             Check all that apply.
           PIERCE, ELISE M.                                                                                  UNDETERMINED
           J. NELSON THOMAS THOMAS & SOLOMON LLP             þ Contingent
           693 EAST AVENUE
           ROCHESTER NY 14607                                þ Unliquidated
                                                             þ Disputed
           Date or dates debt was incurred                   Basis for the claim:
           VARIOUS                                           CIVIL ACTION NO. 6:15-CV-06742
                                                             PENDING LITIGATION
           Last 4 digits of account number:
                                                             Is the claim subject to offset?

                                                             þ No
                                                             ¨ Yes




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Debtor    MAC ACQUISITION LLC                                                                                Case number (if known) 17-12224




3.1444.    Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                             Check all that apply.
           PIERCE, ELISE MARIE                                                                               UNDETERMINED
           J. NELSON THOMAS THOMAS & SOLOMON LLP             þ Contingent
           693 EAST AVENUE
           ROCHESTER NY 14607                                þ Unliquidated
                                                             þ Disputed
           Date or dates debt was incurred                   Basis for the claim:
           VARIOUS                                           CIVIL ACTION NO. 6:15-CV-06742
                                                             PENDING LITIGATION
           Last 4 digits of account number:
                                                             Is the claim subject to offset?

                                                             þ No
                                                             ¨ Yes

3.1445.    Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                             Check all that apply.
           PIERCE, JESSICA                                                                                   UNDETERMINED
           J. NELSON THOMAS THOMAS & SOLOMON LLP             þ Contingent
           693 EAST AVENUE
           ROCHESTER NY 14607                                þ Unliquidated
                                                             þ Disputed
           Date or dates debt was incurred                   Basis for the claim:
           VARIOUS                                           CIVIL ACTION NO. 6:15-CV-06742
                                                             PENDING LITIGATION
           Last 4 digits of account number:
                                                             Is the claim subject to offset?

                                                             þ No
                                                             ¨ Yes

3.1446.    Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                             Check all that apply.
           PIERCE, NICHOLAS SEAN                                                                             UNDETERMINED
           J. NELSON THOMAS THOMAS & SOLOMON LLP             þ Contingent
           693 EAST AVENUE
           ROCHESTER NY 14607                                þ Unliquidated
                                                             þ Disputed
           Date or dates debt was incurred                   Basis for the claim:
           VARIOUS                                           CIVIL ACTION NO. 6:15-CV-06742
                                                             PENDING LITIGATION
           Last 4 digits of account number:
                                                             Is the claim subject to offset?

                                                             þ No
                                                             ¨ Yes




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Debtor    MAC ACQUISITION LLC                                                                                Case number (if known) 17-12224




3.1447.    Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                             Check all that apply.
           PIETRANGOLARE, MICHELLE ROSE                                                                      UNDETERMINED
           J. NELSON THOMAS THOMAS & SOLOMON LLP             þ Contingent
           693 EAST AVENUE
           ROCHESTER NY 14607                                þ Unliquidated
                                                             þ Disputed
           Date or dates debt was incurred                   Basis for the claim:
           VARIOUS                                           CIVIL ACTION NO. 6:15-CV-06742
                                                             PENDING LITIGATION
           Last 4 digits of account number:
                                                             Is the claim subject to offset?

                                                             þ No
                                                             ¨ Yes

3.1448.    Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                             Check all that apply.
           PIETRUSZKA, MORGAN                                                                                UNDETERMINED
           J. NELSON THOMAS THOMAS & SOLOMON LLP             þ Contingent
           693 EAST AVENUE
           ROCHESTER NY 14607                                þ Unliquidated
                                                             þ Disputed
           Date or dates debt was incurred                   Basis for the claim:
           VARIOUS                                           CIVIL ACTION NO. 6:15-CV-06742
                                                             PENDING LITIGATION
           Last 4 digits of account number:
                                                             Is the claim subject to offset?

                                                             þ No
                                                             ¨ Yes

3.1449.    Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                             Check all that apply.
           PINEDA, BEAU GIRARD                                                                               UNDETERMINED
           J. NELSON THOMAS THOMAS & SOLOMON LLP             þ Contingent
           693 EAST AVENUE
           ROCHESTER NY 14607                                þ Unliquidated
                                                             þ Disputed
           Date or dates debt was incurred                   Basis for the claim:
           VARIOUS                                           CIVIL ACTION NO. 6:15-CV-06742
                                                             PENDING LITIGATION
           Last 4 digits of account number:
                                                             Is the claim subject to offset?

                                                             þ No
                                                             ¨ Yes




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Debtor    MAC ACQUISITION LLC                                                                                Case number (if known) 17-12224




3.1450.    Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                             Check all that apply.
           PIONEER REAL ESTATE DEVELOPMENT                                                                   UNDETERMINED
           DENNIS TATE VICE-PRESIDENT                        þ Contingent
           742 PEACHOID RD
           GAFFNEY SC 29341                                  þ Unliquidated
                                                             þ Disputed
           Date or dates debt was incurred                   Basis for the claim:
           VARIOUS                                           LANDLORD CLAIM
           Last 4 digits of account number:                  Is the claim subject to offset?

                                                             þ No
                                                             ¨ Yes

3.1451.    Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                             Check all that apply.
           PIPEMASTER PLUMBING & IRRIGATION INC                                                              $585.00
           1814 BRANCHWATER TRAIL                            ¨ Contingent
           ORLANDO FL 32825
                                                             ¨ Unliquidated
                                                             ¨ Disputed
           Date or dates debt was incurred                   Basis for the claim:
           VARIOUS                                           TRADE ACCOUNTS PAYABLE
           Last 4 digits of account number:                  Is the claim subject to offset?

                                                             þ No
                                                             ¨ Yes

3.1452.    Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                             Check all that apply.
           PITTS, TIFFANY ANN                                                                                UNDETERMINED
           J. NELSON THOMAS THOMAS & SOLOMON LLP             þ Contingent
           693 EAST AVENUE
           ROCHESTER NY 14607                                þ Unliquidated
                                                             þ Disputed
           Date or dates debt was incurred                   Basis for the claim:
           VARIOUS                                           CIVIL ACTION NO. 6:15-CV-06742
                                                             PENDING LITIGATION
           Last 4 digits of account number:
                                                             Is the claim subject to offset?

                                                             þ No
                                                             ¨ Yes




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Debtor    MAC ACQUISITION LLC                                                                                Case number (if known) 17-12224




3.1453.    Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                             Check all that apply.
           PIZZO, HANNAH JESSIE                                                                              UNDETERMINED
           J. NELSON THOMAS THOMAS & SOLOMON LLP             þ Contingent
           693 EAST AVENUE
           ROCHESTER NY 14607                                þ Unliquidated
                                                             þ Disputed
           Date or dates debt was incurred                   Basis for the claim:
           VARIOUS                                           CIVIL ACTION NO. 6:15-CV-06742
                                                             PENDING LITIGATION
           Last 4 digits of account number:
                                                             Is the claim subject to offset?

                                                             þ No
                                                             ¨ Yes

3.1454.    Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                             Check all that apply.
           PK II EL CANINO NORTH LP                                                                          UNDETERMINED
           KIMCO REALTY CORP                                 þ Contingent
           MORTGAGE DEPT
           333 NEW HYDE PK RD SUIT 100                       þ Unliquidated
           NEW HYDE PARK NY 11042                            þ Disputed
           Date or dates debt was incurred                   Basis for the claim:
           VARIOUS                                           LANDLORD CLAIM
           Last 4 digits of account number:                  Is the claim subject to offset?

                                                             þ No
                                                             ¨ Yes

3.1455.    Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                             Check all that apply.
           PLAINFIELD FRUIT & PRODUCE CO                                                                     $1,685.20
           82 EXECUTIVE AVE                                  ¨ Contingent
           EDISON NJ 08817
                                                             ¨ Unliquidated
                                                             ¨ Disputed
           Date or dates debt was incurred                   Basis for the claim:
           VARIOUS                                           TRADE ACCOUNTS PAYABLE
           Last 4 digits of account number:                  Is the claim subject to offset?

                                                             þ No
                                                             ¨ Yes




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Debtor    MAC ACQUISITION LLC                                                                                Case number (if known) 17-12224




3.1456.    Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                             Check all that apply.
           PLANCICH, AIDA MARIANA                                                                            UNDETERMINED
           J. NELSON THOMAS THOMAS & SOLOMON LLP             þ Contingent
           693 EAST AVENUE
           ROCHESTER NY 14607                                þ Unliquidated
                                                             þ Disputed
           Date or dates debt was incurred                   Basis for the claim:
           VARIOUS                                           CIVIL ACTION NO. 6:15-CV-06742
                                                             PENDING LITIGATION
           Last 4 digits of account number:
                                                             Is the claim subject to offset?

                                                             þ No
                                                             ¨ Yes

3.1457.    Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                             Check all that apply.
           PLAYERLYNC, LLC                                                                                   $18,002.17
           9085 E. MINERAL CIR                               ¨ Contingent
           #160
           ENGLEWOOD CO 80112                                ¨ Unliquidated
                                                             ¨ Disputed
           Date or dates debt was incurred                   Basis for the claim:
           VARIOUS                                           TRADE ACCOUNTS PAYABLE
           Last 4 digits of account number:                  Is the claim subject to offset?

                                                             þ No
                                                             ¨ Yes

3.1458.    Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                             Check all that apply.
           PLUMBLING LOGICS                                                                                  $488.45
           46310 BLACK SPRUCE LANE                           ¨ Contingent
           PARKER CO 80138
                                                             ¨ Unliquidated
                                                             ¨ Disputed
           Date or dates debt was incurred                   Basis for the claim:
           VARIOUS                                           TRADE ACCOUNTS PAYABLE
           Last 4 digits of account number:                  Is the claim subject to offset?

                                                             þ No
                                                             ¨ Yes




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Debtor    MAC ACQUISITION LLC                                                                                Case number (if known) 17-12224




3.1459.    Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                             Check all that apply.
           PLUMMER, LYNNE ROXANNE                                                                            UNDETERMINED
           J. NELSON THOMAS THOMAS & SOLOMON LLP             þ Contingent
           693 EAST AVENUE
           ROCHESTER NY 14607                                þ Unliquidated
                                                             þ Disputed
           Date or dates debt was incurred                   Basis for the claim:
           VARIOUS                                           CIVIL ACTION NO. 6:15-CV-06742
                                                             PENDING LITIGATION
           Last 4 digits of account number:
                                                             Is the claim subject to offset?

                                                             þ No
                                                             ¨ Yes

3.1460.    Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                             Check all that apply.
           PLUMMER, QUINN                                                                                    UNDETERMINED
           J. NELSON THOMAS THOMAS & SOLOMON LLP             þ Contingent
           693 EAST AVENUE
           ROCHESTER NY 14607                                þ Unliquidated
                                                             þ Disputed
           Date or dates debt was incurred                   Basis for the claim:
           VARIOUS                                           CIVIL ACTION NO. 6:15-CV-06742
                                                             PENDING LITIGATION
           Last 4 digits of account number:
                                                             Is the claim subject to offset?

                                                             þ No
                                                             ¨ Yes

3.1461.    Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                             Check all that apply.
           PODOJIL, MORGAN B.                                                                                UNDETERMINED
           J. NELSON THOMAS THOMAS & SOLOMON LLP             þ Contingent
           693 EAST AVENUE
           ROCHESTER NY 14607                                þ Unliquidated
                                                             þ Disputed
           Date or dates debt was incurred                   Basis for the claim:
           VARIOUS                                           CIVIL ACTION NO. 6:15-CV-06742
                                                             PENDING LITIGATION
           Last 4 digits of account number:
                                                             Is the claim subject to offset?

                                                             þ No
                                                             ¨ Yes




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Debtor    MAC ACQUISITION LLC                                                                                Case number (if known) 17-12224




3.1462.    Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                             Check all that apply.
           POFF, THERESA E.                                                                                  UNDETERMINED
           J. NELSON THOMAS THOMAS & SOLOMON LLP             þ Contingent
           693 EAST AVENUE
           ROCHESTER NY 14607                                þ Unliquidated
                                                             þ Disputed
           Date or dates debt was incurred                   Basis for the claim:
           VARIOUS                                           CIVIL ACTION NO. 6:15-CV-06742
                                                             PENDING LITIGATION
           Last 4 digits of account number:
                                                             Is the claim subject to offset?

                                                             þ No
                                                             ¨ Yes

3.1463.    Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                             Check all that apply.
           POLIDORO, JESSICA ANN                                                                             UNDETERMINED
           J. NELSON THOMAS THOMAS & SOLOMON LLP             þ Contingent
           693 EAST AVENUE
           ROCHESTER NY 14607                                þ Unliquidated
                                                             þ Disputed
           Date or dates debt was incurred                   Basis for the claim:
           VARIOUS                                           CIVIL ACTION NO. 6:15-CV-06742
                                                             PENDING LITIGATION
           Last 4 digits of account number:
                                                             Is the claim subject to offset?

                                                             þ No
                                                             ¨ Yes

3.1464.    Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                             Check all that apply.
           POLLARD, BRITTANY                                                                                 UNDETERMINED
           J. NELSON THOMAS THOMAS & SOLOMON LLP             þ Contingent
           693 EAST AVENUE
           ROCHESTER NY 14607                                þ Unliquidated
                                                             þ Disputed
           Date or dates debt was incurred                   Basis for the claim:
           VARIOUS                                           CIVIL ACTION NO. 6:15-CV-06742
                                                             PENDING LITIGATION
           Last 4 digits of account number:
                                                             Is the claim subject to offset?

                                                             þ No
                                                             ¨ Yes




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Debtor    MAC ACQUISITION LLC                                                                                Case number (if known) 17-12224




3.1465.    Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                             Check all that apply.
           POLSINELLI PC                                                                                     $6,421.00
           900 W 84TH PLACE                                  ¨ Contingent
           KANSAS CITY MO 64112
                                                             ¨ Unliquidated
                                                             ¨ Disputed
           Date or dates debt was incurred                   Basis for the claim:
           VARIOUS                                           LEGAL
           Last 4 digits of account number:                  Is the claim subject to offset?

                                                             þ No
                                                             ¨ Yes

3.1466.    Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                             Check all that apply.
           POMIANOWSKI, MATTHEW THOMAS                                                                       UNDETERMINED
           J. NELSON THOMAS THOMAS & SOLOMON LLP             þ Contingent
           693 EAST AVENUE
           ROCHESTER NY 14607                                þ Unliquidated
                                                             þ Disputed
           Date or dates debt was incurred                   Basis for the claim:
           VARIOUS                                           CIVIL ACTION NO. 6:15-CV-06742
                                                             PENDING LITIGATION
           Last 4 digits of account number:
                                                             Is the claim subject to offset?

                                                             þ No
                                                             ¨ Yes

3.1467.    Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                             Check all that apply.
           PONTECORVO, DANIELLA D.                                                                           UNDETERMINED
           J. NELSON THOMAS THOMAS & SOLOMON LLP             þ Contingent
           693 EAST AVENUE
           ROCHESTER NY 14607                                þ Unliquidated
                                                             þ Disputed
           Date or dates debt was incurred                   Basis for the claim:
           VARIOUS                                           CIVIL ACTION NO. 6:15-CV-06742
                                                             PENDING LITIGATION
           Last 4 digits of account number:
                                                             Is the claim subject to offset?

                                                             þ No
                                                             ¨ Yes




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Debtor    MAC ACQUISITION LLC                                                                                Case number (if known) 17-12224




3.1468.    Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                             Check all that apply.
           POOLE, BOBBIE SUSAN                                                                               UNDETERMINED
           J. NELSON THOMAS THOMAS & SOLOMON LLP             þ Contingent
           693 EAST AVENUE
           ROCHESTER NY 14607                                þ Unliquidated
                                                             þ Disputed
           Date or dates debt was incurred                   Basis for the claim:
           VARIOUS                                           CIVIL ACTION NO. 6:15-CV-06742
                                                             PENDING LITIGATION
           Last 4 digits of account number:
                                                             Is the claim subject to offset?

                                                             þ No
                                                             ¨ Yes

3.1469.    Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                             Check all that apply.
           POOLE, RICHARD M.                                                                                 UNDETERMINED
           J. NELSON THOMAS THOMAS & SOLOMON LLP             þ Contingent
           693 EAST AVENUE
           ROCHESTER NY 14607                                þ Unliquidated
                                                             þ Disputed
           Date or dates debt was incurred                   Basis for the claim:
           VARIOUS                                           CIVIL ACTION NO. 6:15-CV-06742
                                                             PENDING LITIGATION
           Last 4 digits of account number:
                                                             Is the claim subject to offset?

                                                             þ No
                                                             ¨ Yes

3.1470.    Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                             Check all that apply.
           PORTER HEDGES LLP                                                                                 $3,630.74
           PO BOX 4346                                       ¨ Contingent
           DEPT 510
           HOUSTON TX 77210                                  ¨ Unliquidated
                                                             ¨ Disputed
           Date or dates debt was incurred                   Basis for the claim:
           VARIOUS                                           TRADE ACCOUNTS PAYABLE
           Last 4 digits of account number:                  Is the claim subject to offset?

                                                             þ No
                                                             ¨ Yes




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Debtor    MAC ACQUISITION LLC                                                                                Case number (if known) 17-12224




3.1471.    Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                             Check all that apply.
           PORTER, JUSTIN                                                                                    UNDETERMINED
           J. NELSON THOMAS THOMAS & SOLOMON LLP             þ Contingent
           693 EAST AVENUE
           ROCHESTER NY 14607                                þ Unliquidated
                                                             þ Disputed
           Date or dates debt was incurred                   Basis for the claim:
           VARIOUS                                           CIVIL ACTION NO. 6:15-CV-06742
                                                             PENDING LITIGATION
           Last 4 digits of account number:
                                                             Is the claim subject to offset?

                                                             þ No
                                                             ¨ Yes

3.1472.    Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                             Check all that apply.
           POSCH, MICHAEL J.                                                                                 UNDETERMINED
           J. NELSON THOMAS THOMAS & SOLOMON LLP             þ Contingent
           693 EAST AVENUE
           ROCHESTER NY 14607                                þ Unliquidated
                                                             þ Disputed
           Date or dates debt was incurred                   Basis for the claim:
           VARIOUS                                           CIVIL ACTION NO. 6:15-CV-06742
                                                             PENDING LITIGATION
           Last 4 digits of account number:
                                                             Is the claim subject to offset?

                                                             þ No
                                                             ¨ Yes

3.1473.    Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                             Check all that apply.
           POST, POLAK, GOODSELL & STRAUCHLER, P.A.                                                          $1,002.33
           425 EAGLE ROCK AVENUE, SUITE 200                  ¨ Contingent
           ROSELAND NJ 07068
                                                             ¨ Unliquidated
                                                             ¨ Disputed
           Date or dates debt was incurred                   Basis for the claim:
           VARIOUS                                           LEGAL
           Last 4 digits of account number:                  Is the claim subject to offset?

                                                             þ No
                                                             ¨ Yes




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3.1474.    Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                             Check all that apply.
           POWELL, JOSHUA                                                                                    UNDETERMINED
           J. NELSON THOMAS THOMAS & SOLOMON LLP             þ Contingent
           693 EAST AVENUE
           ROCHESTER NY 14607                                þ Unliquidated
                                                             þ Disputed
           Date or dates debt was incurred                   Basis for the claim:
           VARIOUS                                           CIVIL ACTION NO. 6:15-CV-06742
                                                             PENDING LITIGATION
           Last 4 digits of account number:
                                                             Is the claim subject to offset?

                                                             þ No
                                                             ¨ Yes

3.1475.    Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                             Check all that apply.
           POWELL, SCHERIL MURRAY                                                                            UNDETERMINED
           J. NELSON THOMAS THOMAS & SOLOMON LLP             þ Contingent
           693 EAST AVENUE
           ROCHESTER NY 14607                                þ Unliquidated
                                                             þ Disputed
           Date or dates debt was incurred                   Basis for the claim:
           VARIOUS                                           CIVIL ACTION NO. 6:15-CV-06742
                                                             PENDING LITIGATION
           Last 4 digits of account number:
                                                             Is the claim subject to offset?

                                                             þ No
                                                             ¨ Yes

3.1476.    Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                             Check all that apply.
           POWERS, AARON REAGH                                                                               UNDETERMINED
           J. NELSON THOMAS THOMAS & SOLOMON LLP             þ Contingent
           693 EAST AVENUE
           ROCHESTER NY 14607                                þ Unliquidated
                                                             þ Disputed
           Date or dates debt was incurred                   Basis for the claim:
           VARIOUS                                           CIVIL ACTION NO. 6:15-CV-06742
                                                             PENDING LITIGATION
           Last 4 digits of account number:
                                                             Is the claim subject to offset?

                                                             þ No
                                                             ¨ Yes




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Debtor    MAC ACQUISITION LLC                                                                                Case number (if known) 17-12224




3.1477.    Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                             Check all that apply.
           PPF RTL ROSEDALE SHOPPING CENTER LLC                                                              UNDETERMINED
           100 S 5TH STR #1075                               þ Contingent
           MINNEAPOLIS MN 55402
                                                             þ Unliquidated
                                                             þ Disputed
           Date or dates debt was incurred                   Basis for the claim:
           VARIOUS                                           CASE NO. 62-CV-17-2961 PENDING REAL
                                                             ESTATE LITIGATION
           Last 4 digits of account number:
                                                             Is the claim subject to offset?

                                                             þ No
                                                             ¨ Yes

3.1478.    Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                             Check all that apply.
           PRECISION APPLIANCE OF FLA INC                                                                    $2,511.94
           2414 MERCHANT AVENUE                              ¨ Contingent
           ODESSA FL 33556
                                                             ¨ Unliquidated
                                                             ¨ Disputed
           Date or dates debt was incurred                   Basis for the claim:
           VARIOUS                                           TRADE ACCOUNTS PAYABLE
           Last 4 digits of account number:                  Is the claim subject to offset?

                                                             þ No
                                                             ¨ Yes

3.1479.    Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                             Check all that apply.
           PREFERRED PLUMBING & DRAIN                                                                        $250.00
           3437 MYRTLE AVE STE 440                           ¨ Contingent
           NORTH HIGHLANDS CA 95660
                                                             ¨ Unliquidated
                                                             ¨ Disputed
           Date or dates debt was incurred                   Basis for the claim:
           VARIOUS                                           TRADE ACCOUNTS PAYABLE
           Last 4 digits of account number:                  Is the claim subject to offset?

                                                             þ No
                                                             ¨ Yes




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Debtor    MAC ACQUISITION LLC                                                                                Case number (if known) 17-12224




3.1480.    Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                             Check all that apply.
           PREMIER FACILITIES REMODEL AND REPAIR                                                             $3,635.00
           28 ASTON COURT                                    ¨ Contingent
           OWINGS MILLS MD 21117
                                                             ¨ Unliquidated
                                                             ¨ Disputed
           Date or dates debt was incurred                   Basis for the claim:
           VARIOUS                                           TRADE ACCOUNTS PAYABLE
           Last 4 digits of account number:                  Is the claim subject to offset?

                                                             þ No
                                                             ¨ Yes

3.1481.    Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                             Check all that apply.
           PREMIER PATIO HTG SPECS LLC                                                                       $80.81
           PO BOX 6470                                       ¨ Contingent
           DBA PREMIER CYLINDER EXCHANGE
           OCEANSIDE CA 92052                                ¨ Unliquidated
                                                             ¨ Disputed
           Date or dates debt was incurred                   Basis for the claim:
           VARIOUS                                           TRADE ACCOUNTS PAYABLE
           Last 4 digits of account number:                  Is the claim subject to offset?

                                                             þ No
                                                             ¨ Yes

3.1482.    Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                             Check all that apply.
           PRESSURE TECH PROPERTY SERVICES                                                                   $250.00
           811 WEST 19TH STREET #980                         ¨ Contingent
           COSTA MESA CA 92627
                                                             ¨ Unliquidated
                                                             ¨ Disputed
           Date or dates debt was incurred                   Basis for the claim:
           VARIOUS                                           TRADE ACCOUNTS PAYABLE
           Last 4 digits of account number:                  Is the claim subject to offset?

                                                             þ No
                                                             ¨ Yes




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3.1483.    Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                             Check all that apply.
           PRESTO PEST CONTROL INC                                                                           $402.80
           PO BOX 495                                        ¨ Contingent
           SELLERSVILLE PA 18960
                                                             ¨ Unliquidated
                                                             ¨ Disputed
           Date or dates debt was incurred                   Basis for the claim:
           VARIOUS                                           TRADE ACCOUNTS PAYABLE
           Last 4 digits of account number:                  Is the claim subject to offset?

                                                             þ No
                                                             ¨ Yes

3.1484.    Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                             Check all that apply.
           PRIER, GEORGIA                                                                                    UNDETERMINED
                                                             þ Contingent
                                                             þ Unliquidated
                                                             þ Disputed
           Date or dates debt was incurred                   Basis for the claim:
           VARIOUS                                           GENERAL LIABILITY CLAIMS
           Last 4 digits of account number:                  Is the claim subject to offset?

                                                             þ No
                                                             ¨ Yes

3.1485.    Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                             Check all that apply.
           PRO REFRIGERATION INC                                                                             $12,860.94
           13089 PEYTON DRIVE                                ¨ Contingent
           STE. C152
           CHINO HILLS CA 91709                              ¨ Unliquidated
                                                             ¨ Disputed
           Date or dates debt was incurred                   Basis for the claim:
           VARIOUS                                           TRADE ACCOUNTS PAYABLE
           Last 4 digits of account number:                  Is the claim subject to offset?

                                                             þ No
                                                             ¨ Yes




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Debtor    MAC ACQUISITION LLC                                                                                Case number (if known) 17-12224




3.1486.    Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                             Check all that apply.
           PROSERVE FIRE SYSTEMS, INC.                                                                       $927.27
           221 TECHNOLOGY PARK LANE                          ¨ Contingent
           FUQUAY VARINA NC 27526
                                                             ¨ Unliquidated
                                                             ¨ Disputed
           Date or dates debt was incurred                   Basis for the claim:
           VARIOUS                                           TRADE ACCOUNTS PAYABLE
           Last 4 digits of account number:                  Is the claim subject to offset?

                                                             þ No
                                                             ¨ Yes

3.1487.    Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                             Check all that apply.
           PROTECT-A-COTE, INC                                                                               $2,100.00
           5801 HARVARD AVE                                  ¨ Contingent
           CLEVELAND OH 44105
                                                             ¨ Unliquidated
                                                             ¨ Disputed
           Date or dates debt was incurred                   Basis for the claim:
           VARIOUS                                           TRADE ACCOUNTS PAYABLE
           Last 4 digits of account number:                  Is the claim subject to offset?

                                                             þ No
                                                             ¨ Yes

3.1488.    Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                             Check all that apply.
           PRPICH, DANNA                                                                                     UNDETERMINED
           J. NELSON THOMAS THOMAS & SOLOMON LLP             þ Contingent
           693 EAST AVENUE
           ROCHESTER NY 14607                                þ Unliquidated
                                                             þ Disputed
           Date or dates debt was incurred                   Basis for the claim:
           VARIOUS                                           CIVIL ACTION NO. 6:15-CV-06742
                                                             PENDING LITIGATION
           Last 4 digits of account number:
                                                             Is the claim subject to offset?

                                                             þ No
                                                             ¨ Yes




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Debtor    MAC ACQUISITION LLC                                                                                Case number (if known) 17-12224




3.1489.    Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                             Check all that apply.
           PRUDENTIAL INSURANCE CO OF AMERICA                                                                UNDETERMINED
           CARLY MILLER                                      þ Contingent
           7 GIRALDA FARMS
           MADISON NJ 07940                                  þ Unliquidated
                                                             þ Disputed
           Date or dates debt was incurred                   Basis for the claim:
           VARIOUS                                           LANDLORD CLAIM
           Last 4 digits of account number:                  Is the claim subject to offset?

                                                             þ No
                                                             ¨ Yes

3.1490.    Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                             Check all that apply.
           PUGA, KATRINA NICOLE                                                                              UNDETERMINED
           J. NELSON THOMAS THOMAS & SOLOMON LLP             þ Contingent
           693 EAST AVENUE
           ROCHESTER NY 14607                                þ Unliquidated
                                                             þ Disputed
           Date or dates debt was incurred                   Basis for the claim:
           VARIOUS                                           CIVIL ACTION NO. 6:15-CV-06742
                                                             PENDING LITIGATION
           Last 4 digits of account number:
                                                             Is the claim subject to offset?

                                                             þ No
                                                             ¨ Yes

3.1491.    Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                             Check all that apply.
           PULLEY, RYAN JOSEPH                                                                               UNDETERMINED
           J. NELSON THOMAS THOMAS & SOLOMON LLP             þ Contingent
           693 EAST AVENUE
           ROCHESTER NY 14607                                þ Unliquidated
                                                             þ Disputed
           Date or dates debt was incurred                   Basis for the claim:
           VARIOUS                                           CIVIL ACTION NO. 6:15-CV-06742
                                                             PENDING LITIGATION
           Last 4 digits of account number:
                                                             Is the claim subject to offset?

                                                             þ No
                                                             ¨ Yes




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Debtor    MAC ACQUISITION LLC                                                                                Case number (if known) 17-12224




3.1492.    Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                             Check all that apply.
           PURSELL, MICHAEL                                                                                  UNDETERMINED
           J. NELSON THOMAS THOMAS & SOLOMON LLP             þ Contingent
           693 EAST AVENUE
           ROCHESTER NY 14607                                þ Unliquidated
                                                             þ Disputed
           Date or dates debt was incurred                   Basis for the claim:
           VARIOUS                                           CIVIL ACTION NO. 6:15-CV-06742
                                                             PENDING LITIGATION
           Last 4 digits of account number:
                                                             Is the claim subject to offset?

                                                             þ No
                                                             ¨ Yes

3.1493.    Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                             Check all that apply.
           PYE-BARKER FIRE & SAFETY, LLC                                                                     $3,396.64
           200 MACY DR                                       ¨ Contingent
           ROSWELL GA 30076
                                                             ¨ Unliquidated
                                                             ¨ Disputed
           Date or dates debt was incurred                   Basis for the claim:
           VARIOUS                                           TRADE ACCOUNTS PAYABLE
           Last 4 digits of account number:                  Is the claim subject to offset?

                                                             þ No
                                                             ¨ Yes

3.1494.    Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                             Check all that apply.
           PYLE, SUSAN                                                                                       UNDETERMINED
           J. NELSON THOMAS THOMAS & SOLOMON LLP             þ Contingent
           693 EAST AVENUE
           ROCHESTER NY 14607                                þ Unliquidated
                                                             þ Disputed
           Date or dates debt was incurred                   Basis for the claim:
           VARIOUS                                           CIVIL ACTION NO. 6:15-CV-06742
                                                             PENDING LITIGATION
           Last 4 digits of account number:
                                                             Is the claim subject to offset?

                                                             þ No
                                                             ¨ Yes




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Debtor    MAC ACQUISITION LLC                                                                                Case number (if known) 17-12224




3.1495.    Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                             Check all that apply.
           QUALITY FRUIT & VEG CO                                                                            $8,663.41
           10 ZANE GREY STREET                               ¨ Contingent
           EL PASO TX 79906
                                                             ¨ Unliquidated
                                                             ¨ Disputed
           Date or dates debt was incurred                   Basis for the claim:
           VARIOUS                                           TRADE ACCOUNTS PAYABLE
           Last 4 digits of account number:                  Is the claim subject to offset?

                                                             þ No
                                                             ¨ Yes

3.1496.    Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                             Check all that apply.
           QUALITY STAINLESS LLC                                                                             $1,025.10
           812 SE 82ND STREET                                ¨ Contingent
           OKLAHOMA CITY OK 73149
                                                             ¨ Unliquidated
                                                             ¨ Disputed
           Date or dates debt was incurred                   Basis for the claim:
           VARIOUS                                           TRADE ACCOUNTS PAYABLE
           Last 4 digits of account number:                  Is the claim subject to offset?

                                                             þ No
                                                             ¨ Yes

3.1497.    Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                             Check all that apply.
           QUARTERMAN, KAYLA                                                                                 UNDETERMINED
                                                             þ Contingent
                                                             þ Unliquidated
                                                             þ Disputed
           Date or dates debt was incurred                   Basis for the claim:
           VARIOUS                                           GENERAL LIABILITY CLAIMS
           Last 4 digits of account number:                  Is the claim subject to offset?

                                                             þ No
                                                             ¨ Yes




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3.1498.    Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                             Check all that apply.
           QUICK RESPONSE FIRE PROTECTION                                                                    $972.00
           20545 INDEPENDENCE BLVD UNIT G                    ¨ Contingent
           GROVELAND FL 34736
                                                             ¨ Unliquidated
                                                             ¨ Disputed
           Date or dates debt was incurred                   Basis for the claim:
           VARIOUS                                           TRADE ACCOUNTS PAYABLE
           Last 4 digits of account number:                  Is the claim subject to offset?

                                                             þ No
                                                             ¨ Yes

3.1499.    Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                             Check all that apply.
           QUINN, FRANCES PAIGE                                                                              UNDETERMINED
           J. NELSON THOMAS THOMAS & SOLOMON LLP             þ Contingent
           693 EAST AVENUE
           ROCHESTER NY 14607                                þ Unliquidated
                                                             þ Disputed
           Date or dates debt was incurred                   Basis for the claim:
           VARIOUS                                           CIVIL ACTION NO. 6:15-CV-06742
                                                             PENDING LITIGATION
           Last 4 digits of account number:
                                                             Is the claim subject to offset?

                                                             þ No
                                                             ¨ Yes

3.1500.    Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                             Check all that apply.
           RAIGOSA, KAMILA                                                                                   UNDETERMINED
           J. NELSON THOMAS THOMAS & SOLOMON LLP             þ Contingent
           693 EAST AVENUE
           ROCHESTER NY 14607                                þ Unliquidated
                                                             þ Disputed
           Date or dates debt was incurred                   Basis for the claim:
           VARIOUS                                           CIVIL ACTION NO. 6:15-CV-06742
                                                             PENDING LITIGATION
           Last 4 digits of account number:
                                                             Is the claim subject to offset?

                                                             þ No
                                                             ¨ Yes




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Debtor    MAC ACQUISITION LLC                                                                                Case number (if known) 17-12224




3.1501.    Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                             Check all that apply.
           RAITHEL, MARGO                                                                                    UNDETERMINED
                                                             þ Contingent
                                                             þ Unliquidated
                                                             þ Disputed
           Date or dates debt was incurred                   Basis for the claim:
           VARIOUS                                           EMPLOYMENT CLAIM
           Last 4 digits of account number:                  Is the claim subject to offset?

                                                             þ No
                                                             ¨ Yes

3.1502.    Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                             Check all that apply.
           RAMIEREZ, RUTH                                                                                    UNDETERMINED
                                                             þ Contingent
                                                             þ Unliquidated
                                                             þ Disputed
           Date or dates debt was incurred                   Basis for the claim:
           VARIOUS                                           GENERAL LIABILITY CLAIMS
           Last 4 digits of account number:                  Is the claim subject to offset?

                                                             þ No
                                                             ¨ Yes

3.1503.    Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                             Check all that apply.
           RAMIREZ, JESSICA S.M.                                                                             UNDETERMINED
           J. NELSON THOMAS THOMAS & SOLOMON LLP             þ Contingent
           693 EAST AVENUE
           ROCHESTER NY 14607                                þ Unliquidated
                                                             þ Disputed
           Date or dates debt was incurred                   Basis for the claim:
           VARIOUS                                           CIVIL ACTION NO. 6:15-CV-06742
                                                             PENDING LITIGATION
           Last 4 digits of account number:
                                                             Is the claim subject to offset?

                                                             þ No
                                                             ¨ Yes




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3.1504.    Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                             Check all that apply.
           RANCH TOWN CENTER LLC                                                                             UNDETERMINED
           C O DSB PROPERTIES INC                            þ Contingent
           KATHLEEN YOUNG
           101 N WESTLAKE BLDG 201                           þ Unliquidated
           WESTLAKE VILLAGE CA 91362                         þ Disputed
           Date or dates debt was incurred                   Basis for the claim:
           VARIOUS                                           LANDLORD CLAIM
           Last 4 digits of account number:                  Is the claim subject to offset?

                                                             þ No
                                                             ¨ Yes

3.1505.    Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                             Check all that apply.
           RAPID AIR                                                                                         $1,230.15
           2101 LEONARD STREET                               ¨ Contingent
           CORPUS CHRISTI TX 78408
                                                             ¨ Unliquidated
                                                             ¨ Disputed
           Date or dates debt was incurred                   Basis for the claim:
           VARIOUS                                           TRADE ACCOUNTS PAYABLE
           Last 4 digits of account number:                  Is the claim subject to offset?

                                                             þ No
                                                             ¨ Yes

3.1506.    Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                             Check all that apply.
           RATCHFORD, SHUNEQUA                                                                               UNDETERMINED
           J. NELSON THOMAS THOMAS & SOLOMON LLP             þ Contingent
           693 EAST AVENUE
           ROCHESTER NY 14607                                þ Unliquidated
                                                             þ Disputed
           Date or dates debt was incurred                   Basis for the claim:
           VARIOUS                                           CIVIL ACTION NO. 6:15-CV-06742
                                                             PENDING LITIGATION
           Last 4 digits of account number:
                                                             Is the claim subject to offset?

                                                             þ No
                                                             ¨ Yes




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3.1507.    Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                             Check all that apply.
           RAYMARK AIR CONDITIONING & HEATING INC                                                            $1,566.36
           DBA MARK'S SERVICES                               ¨ Contingent
           PO BOX 168
           PORTER TX 77365                                   ¨ Unliquidated
                                                             ¨ Disputed
           Date or dates debt was incurred                   Basis for the claim:
           VARIOUS                                           TRADE ACCOUNTS PAYABLE
           Last 4 digits of account number:                  Is the claim subject to offset?

                                                             þ No
                                                             ¨ Yes

3.1508.    Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                             Check all that apply.
           RAZO, MELISSA B.                                                                                  UNDETERMINED
           J. NELSON THOMAS THOMAS & SOLOMON LLP             þ Contingent
           693 EAST AVENUE
           ROCHESTER NY 14607                                þ Unliquidated
                                                             þ Disputed
           Date or dates debt was incurred                   Basis for the claim:
           VARIOUS                                           CIVIL ACTION NO. 6:15-CV-06742
                                                             PENDING LITIGATION
           Last 4 digits of account number:
                                                             Is the claim subject to offset?

                                                             þ No
                                                             ¨ Yes

3.1509.    Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                             Check all that apply.
           RB 3 ASSOCIATES                                                                                   UNDETERMINED
           C O BENDERSON DEVELOPMENT CO                      þ Contingent
           MIKE WALKER
           7978 COOPER CREEK BLVD STE 100                    þ Unliquidated
           UNIVERSITY PARK FL 34201                          þ Disputed
           Date or dates debt was incurred                   Basis for the claim:
           VARIOUS                                           LANDLORD CLAIM
           Last 4 digits of account number:                  Is the claim subject to offset?

                                                             þ No
                                                             ¨ Yes




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3.1510.    Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                             Check all that apply.
           READYREFRESH BY NESTLE'                                                                           $394.80
           PO BOX 856680                                     ¨ Contingent
           LOUISVILLE KY 40285-6680
                                                             ¨ Unliquidated
                                                             ¨ Disputed
           Date or dates debt was incurred                   Basis for the claim:
           VARIOUS                                           TRADE ACCOUNTS PAYABLE
           Last 4 digits of account number:                  Is the claim subject to offset?

                                                             þ No
                                                             ¨ Yes

3.1511.    Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                             Check all that apply.
           RED OAK FIREWOOD                                                                                  $454.75
           1066 LITTLE VINE CHURCH ROAD                      ¨ Contingent
           VILLA RICA GA 30180
                                                             ¨ Unliquidated
                                                             ¨ Disputed
           Date or dates debt was incurred                   Basis for the claim:
           VARIOUS                                           TRADE ACCOUNTS PAYABLE
           Last 4 digits of account number:                  Is the claim subject to offset?

                                                             þ No
                                                             ¨ Yes

3.1512.    Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                             Check all that apply.
           RED SHOVEL LLC                                                                                    $316.57
           PO BOX 91598                                      ¨ Contingent
           ALBUQUERQUE NM 87199
                                                             ¨ Unliquidated
                                                             ¨ Disputed
           Date or dates debt was incurred                   Basis for the claim:
           VARIOUS                                           TRADE ACCOUNTS PAYABLE
           Last 4 digits of account number:                  Is the claim subject to offset?

                                                             þ No
                                                             ¨ Yes




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Debtor    MAC ACQUISITION LLC                                                                                Case number (if known) 17-12224




3.1513.    Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                             Check all that apply.
           REDDS TREE SERVICE                                                                                $855.00
           3511 JACK MANN ROAD                               ¨ Contingent
           LITTLE ROCK AR 72210
                                                             ¨ Unliquidated
                                                             ¨ Disputed
           Date or dates debt was incurred                   Basis for the claim:
           VARIOUS                                           TRADE ACCOUNTS PAYABLE
           Last 4 digits of account number:                  Is the claim subject to offset?

                                                             þ No
                                                             ¨ Yes

3.1514.    Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                             Check all that apply.
           REED, AMANDA JUNE                                                                                 UNDETERMINED
           J. NELSON THOMAS THOMAS & SOLOMON LLP             þ Contingent
           693 EAST AVENUE
           ROCHESTER NY 14607                                þ Unliquidated
                                                             þ Disputed
           Date or dates debt was incurred                   Basis for the claim:
           VARIOUS                                           CIVIL ACTION NO. 6:15-CV-06742
                                                             PENDING LITIGATION
           Last 4 digits of account number:
                                                             Is the claim subject to offset?

                                                             þ No
                                                             ¨ Yes

3.1515.    Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                             Check all that apply.
           REED, MATTHEW D.                                                                                  UNDETERMINED
           J. NELSON THOMAS THOMAS & SOLOMON LLP             þ Contingent
           693 EAST AVENUE
           ROCHESTER NY 14607                                þ Unliquidated
                                                             þ Disputed
           Date or dates debt was incurred                   Basis for the claim:
           VARIOUS                                           CIVIL ACTION NO. 6:15-CV-06742
                                                             PENDING LITIGATION
           Last 4 digits of account number:
                                                             Is the claim subject to offset?

                                                             þ No
                                                             ¨ Yes




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Debtor    MAC ACQUISITION LLC                                                                                Case number (if known) 17-12224




3.1516.    Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                             Check all that apply.
           REESE, ROZLYN COLETTE                                                                             UNDETERMINED
           J. NELSON THOMAS THOMAS & SOLOMON LLP             þ Contingent
           693 EAST AVENUE
           ROCHESTER NY 14607                                þ Unliquidated
                                                             þ Disputed
           Date or dates debt was incurred                   Basis for the claim:
           VARIOUS                                           CIVIL ACTION NO. 6:15-CV-06742
                                                             PENDING LITIGATION
           Last 4 digits of account number:
                                                             Is the claim subject to offset?

                                                             þ No
                                                             ¨ Yes

3.1517.    Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                             Check all that apply.
           REFRIGERATION PLUS LLC                                                                            $344.72
           2345 ACADEMY PLACE #109                           ¨ Contingent
           COLORADO SPRINGS CO 80909
                                                             ¨ Unliquidated
                                                             ¨ Disputed
           Date or dates debt was incurred                   Basis for the claim:
           VARIOUS                                           TRADE ACCOUNTS PAYABLE
           Last 4 digits of account number:                  Is the claim subject to offset?

                                                             þ No
                                                             ¨ Yes

3.1518.    Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                             Check all that apply.
           REGISTER, REBECCA                                                                                 UNDETERMINED
           J. NELSON THOMAS THOMAS & SOLOMON LLP             þ Contingent
           693 EAST AVENUE
           ROCHESTER NY 14607                                þ Unliquidated
                                                             þ Disputed
           Date or dates debt was incurred                   Basis for the claim:
           VARIOUS                                           CIVIL ACTION NO. 6:15-CV-06742
                                                             PENDING LITIGATION
           Last 4 digits of account number:
                                                             Is the claim subject to offset?

                                                             þ No
                                                             ¨ Yes




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3.1519.    Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                             Check all that apply.
           REGUS MANAGEMENT GROUP, LLC 7805158                                                               $1,492.40
           PO BOX 842456                                     ¨ Contingent
           DALLAS TX 75284-2456
                                                             ¨ Unliquidated
                                                             ¨ Disputed
           Date or dates debt was incurred                   Basis for the claim:
           VARIOUS                                           LEASE
           Last 4 digits of account number:                  Is the claim subject to offset?

                                                             þ No
                                                             ¨ Yes

3.1520.    Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                             Check all that apply.
           REIHER, MATTHEW J                                                                                 UNDETERMINED
           J. NELSON THOMAS THOMAS & SOLOMON LLP             þ Contingent
           693 EAST AVENUE
           ROCHESTER NY 14607                                þ Unliquidated
                                                             þ Disputed
           Date or dates debt was incurred                   Basis for the claim:
           VARIOUS                                           CIVIL ACTION NO. 6:15-CV-06742
                                                             PENDING LITIGATION
           Last 4 digits of account number:
                                                             Is the claim subject to offset?

                                                             þ No
                                                             ¨ Yes

3.1521.    Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                             Check all that apply.
           REIHER, MATTHEW JOSEPH                                                                            UNDETERMINED
           J. NELSON THOMAS THOMAS & SOLOMON LLP             þ Contingent
           693 EAST AVENUE
           ROCHESTER NY 14607                                þ Unliquidated
                                                             þ Disputed
           Date or dates debt was incurred                   Basis for the claim:
           VARIOUS                                           CIVIL ACTION NO. 6:15-CV-06742
                                                             PENDING LITIGATION
           Last 4 digits of account number:
                                                             Is the claim subject to offset?

                                                             þ No
                                                             ¨ Yes




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Debtor    MAC ACQUISITION LLC                                                                                Case number (if known) 17-12224




3.1522.    Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                             Check all that apply.
           REINHARDT, GABRIELLE                                                                              UNDETERMINED
           J. NELSON THOMAS THOMAS & SOLOMON LLP             þ Contingent
           693 EAST AVENUE
           ROCHESTER NY 14607                                þ Unliquidated
                                                             þ Disputed
           Date or dates debt was incurred                   Basis for the claim:
           VARIOUS                                           CIVIL ACTION NO. 6:15-CV-06742
                                                             PENDING LITIGATION
           Last 4 digits of account number:
                                                             Is the claim subject to offset?

                                                             þ No
                                                             ¨ Yes

3.1523.    Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                             Check all that apply.
           RELIABLE FIRE PROTECTION LLC                                                                      $65.00
           5510 LANDERS ROAD STE B                           ¨ Contingent
           NORTH LITTLE ROCK AR 72117
                                                             ¨ Unliquidated
                                                             ¨ Disputed
           Date or dates debt was incurred                   Basis for the claim:
           VARIOUS                                           TRADE ACCOUNTS PAYABLE
           Last 4 digits of account number:                  Is the claim subject to offset?

                                                             þ No
                                                             ¨ Yes

3.1524.    Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                             Check all that apply.
           RELIANT ELECTRICAL SERVICE INC                                                                    $595.00
           650 N ROSE DRIVE #405                             ¨ Contingent
           PLACENTIA CA 92870
                                                             ¨ Unliquidated
                                                             ¨ Disputed
           Date or dates debt was incurred                   Basis for the claim:
           VARIOUS                                           TRADE ACCOUNTS PAYABLE
           Last 4 digits of account number:                  Is the claim subject to offset?

                                                             þ No
                                                             ¨ Yes




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3.1525.    Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                             Check all that apply.
           REMLEY, CAROLINE                                                                                  UNDETERMINED
           J. NELSON THOMAS THOMAS & SOLOMON LLP             þ Contingent
           693 EAST AVENUE
           ROCHESTER NY 14607                                þ Unliquidated
                                                             þ Disputed
           Date or dates debt was incurred                   Basis for the claim:
           VARIOUS                                           CIVIL ACTION NO. 6:15-CV-06742
                                                             PENDING LITIGATION
           Last 4 digits of account number:
                                                             Is the claim subject to offset?

                                                             þ No
                                                             ¨ Yes

3.1526.    Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                             Check all that apply.
           RENAUD COOK DRURY MESAROS, PA                                                                     $26,540.03
           1 NORTH CENTRAL AVE STE, 900                      ¨ Contingent
           PHOENIX AZ 85004
                                                             ¨ Unliquidated
                                                             ¨ Disputed
           Date or dates debt was incurred                   Basis for the claim:
           VARIOUS                                           LEGAL
           Last 4 digits of account number:                  Is the claim subject to offset?

                                                             þ No
                                                             ¨ Yes

3.1527.    Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                             Check all that apply.
           RENEW, MEGAN AMANDA                                                                               UNDETERMINED
           J. NELSON THOMAS THOMAS & SOLOMON LLP             þ Contingent
           693 EAST AVENUE
           ROCHESTER NY 14607                                þ Unliquidated
                                                             þ Disputed
           Date or dates debt was incurred                   Basis for the claim:
           VARIOUS                                           CIVIL ACTION NO. 6:15-CV-06742
                                                             PENDING LITIGATION
           Last 4 digits of account number:
                                                             Is the claim subject to offset?

                                                             þ No
                                                             ¨ Yes




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3.1528.    Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                             Check all that apply.
           RENO FORKLIFT INC                                                                                 $516.86
           PO BOX 50009                                      ¨ Contingent
           SPARKS NV 89435
                                                             ¨ Unliquidated
                                                             ¨ Disputed
           Date or dates debt was incurred                   Basis for the claim:
           VARIOUS                                           TRADE ACCOUNTS PAYABLE
           Last 4 digits of account number:                  Is the claim subject to offset?

                                                             þ No
                                                             ¨ Yes

3.1529.    Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                             Check all that apply.
           RENODIS INC                                                                                       $26,636.25
           476 ROBERT STREET N                               ¨ Contingent
           ST PAUL MN 55101
                                                             ¨ Unliquidated
                                                             ¨ Disputed
           Date or dates debt was incurred                   Basis for the claim:
           VARIOUS                                           TRADE ACCOUNTS PAYABLE
           Last 4 digits of account number:                  Is the claim subject to offset?

                                                             þ No
                                                             ¨ Yes

3.1530.    Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                             Check all that apply.
           REPAIR NOW                                                                                        $1,054.36
           5202 GULFPORT DRIVE                               ¨ Contingent
           GARLAND TX 75043
                                                             ¨ Unliquidated
                                                             ¨ Disputed
           Date or dates debt was incurred                   Basis for the claim:
           VARIOUS                                           TRADE ACCOUNTS PAYABLE
           Last 4 digits of account number:                  Is the claim subject to offset?

                                                             þ No
                                                             ¨ Yes




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3.1531.    Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                             Check all that apply.
           RESNICK, NATHAN HARRISON                                                                          UNDETERMINED
           J. NELSON THOMAS THOMAS & SOLOMON LLP             þ Contingent
           693 EAST AVENUE
           ROCHESTER NY 14607                                þ Unliquidated
                                                             þ Disputed
           Date or dates debt was incurred                   Basis for the claim:
           VARIOUS                                           CIVIL ACTION NO. 6:15-CV-06742
                                                             PENDING LITIGATION
           Last 4 digits of account number:
                                                             Is the claim subject to offset?

                                                             þ No
                                                             ¨ Yes

3.1532.    Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                             Check all that apply.
           RETESS, DOMINIQUE                                                                                 UNDETERMINED
           J. NELSON THOMAS THOMAS & SOLOMON LLP             þ Contingent
           693 EAST AVENUE
           ROCHESTER NY 14607                                þ Unliquidated
                                                             þ Disputed
           Date or dates debt was incurred                   Basis for the claim:
           VARIOUS                                           CIVIL ACTION NO. 6:15-CV-06742
                                                             PENDING LITIGATION
           Last 4 digits of account number:
                                                             Is the claim subject to offset?

                                                             þ No
                                                             ¨ Yes

3.1533.    Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                             Check all that apply.
           REVENUE MANAGEMENT SOLUTIONS LLC                                                                  $61,875.45
           777 S HARBOUR ISLAND BLVD #890                    ¨ Contingent
           TAMPA FL 33602
                                                             ¨ Unliquidated
                                                             ¨ Disputed
           Date or dates debt was incurred                   Basis for the claim:
           VARIOUS                                           TRADE ACCOUNTS PAYABLE
           Last 4 digits of account number:                  Is the claim subject to offset?

                                                             þ No
                                                             ¨ Yes




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3.1534.    Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                             Check all that apply.
           REX MOORE GROUP, INC                                                                              $259.51
           6001 OUTFALL CIRCLE                               ¨ Contingent
           SACRAMENTO CA 95828
                                                             ¨ Unliquidated
                                                             ¨ Disputed
           Date or dates debt was incurred                   Basis for the claim:
           VARIOUS                                           TRADE ACCOUNTS PAYABLE
           Last 4 digits of account number:                  Is the claim subject to offset?

                                                             þ No
                                                             ¨ Yes

3.1535.    Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                             Check all that apply.
           REYES, EGORY                                                                                      UNDETERMINED
                                                             þ Contingent
                                                             þ Unliquidated
                                                             þ Disputed
           Date or dates debt was incurred                   Basis for the claim:
           VARIOUS                                           WORKERS COMPENSATION CLAIM
           Last 4 digits of account number:                  Is the claim subject to offset?

                                                             þ No
                                                             ¨ Yes

3.1536.    Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                             Check all that apply.
           REYES, JESUNETTE ANGEL                                                                            UNDETERMINED
           J. NELSON THOMAS THOMAS & SOLOMON LLP             þ Contingent
           693 EAST AVENUE
           ROCHESTER NY 14607                                þ Unliquidated
                                                             þ Disputed
           Date or dates debt was incurred                   Basis for the claim:
           VARIOUS                                           CIVIL ACTION NO. 6:15-CV-06742
                                                             PENDING LITIGATION
           Last 4 digits of account number:
                                                             Is the claim subject to offset?

                                                             þ No
                                                             ¨ Yes




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3.1537.    Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                             Check all that apply.
           REYNOLDS, ANGELIA YVONNE                                                                          UNDETERMINED
           J. NELSON THOMAS THOMAS & SOLOMON LLP             þ Contingent
           693 EAST AVENUE
           ROCHESTER NY 14607                                þ Unliquidated
                                                             þ Disputed
           Date or dates debt was incurred                   Basis for the claim:
           VARIOUS                                           CIVIL ACTION NO. 6:15-CV-06742
                                                             PENDING LITIGATION
           Last 4 digits of account number:
                                                             Is the claim subject to offset?

                                                             þ No
                                                             ¨ Yes

3.1538.    Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                             Check all that apply.
           REYNOLDS, MEGAN DAWN                                                                              UNDETERMINED
           J. NELSON THOMAS THOMAS & SOLOMON LLP             þ Contingent
           693 EAST AVENUE
           ROCHESTER NY 14607                                þ Unliquidated
                                                             þ Disputed
           Date or dates debt was incurred                   Basis for the claim:
           VARIOUS                                           CIVIL ACTION NO. 6:15-CV-06742
                                                             PENDING LITIGATION
           Last 4 digits of account number:
                                                             Is the claim subject to offset?

                                                             þ No
                                                             ¨ Yes

3.1539.    Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                             Check all that apply.
           REYNOLDS, MICHAEL SHANE                                                                           UNDETERMINED
           J. NELSON THOMAS THOMAS & SOLOMON LLP             þ Contingent
           693 EAST AVENUE
           ROCHESTER NY 14607                                þ Unliquidated
                                                             þ Disputed
           Date or dates debt was incurred                   Basis for the claim:
           VARIOUS                                           CIVIL ACTION NO. 6:15-CV-06742
                                                             PENDING LITIGATION
           Last 4 digits of account number:
                                                             Is the claim subject to offset?

                                                             þ No
                                                             ¨ Yes




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3.1540.    Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                             Check all that apply.
           REYNOLDS, RAYMOND DALE                                                                            UNDETERMINED
           J. NELSON THOMAS THOMAS & SOLOMON LLP             þ Contingent
           693 EAST AVENUE
           ROCHESTER NY 14607                                þ Unliquidated
                                                             þ Disputed
           Date or dates debt was incurred                   Basis for the claim:
           VARIOUS                                           CIVIL ACTION NO. 6:15-CV-06742
                                                             PENDING LITIGATION
           Last 4 digits of account number:
                                                             Is the claim subject to offset?

                                                             þ No
                                                             ¨ Yes

3.1541.    Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                             Check all that apply.
           RHODEN, SAVANNAH                                                                                  UNDETERMINED
           J. NELSON THOMAS THOMAS & SOLOMON LLP             þ Contingent
           693 EAST AVENUE
           ROCHESTER NY 14607                                þ Unliquidated
                                                             þ Disputed
           Date or dates debt was incurred                   Basis for the claim:
           VARIOUS                                           CIVIL ACTION NO. 6:15-CV-06742
                                                             PENDING LITIGATION
           Last 4 digits of account number:
                                                             Is the claim subject to offset?

                                                             þ No
                                                             ¨ Yes

3.1542.    Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                             Check all that apply.
           RHOTON, SHERRI                                                                                    UNDETERMINED
                                                             þ Contingent
                                                             þ Unliquidated
                                                             þ Disputed
           Date or dates debt was incurred                   Basis for the claim:
           VARIOUS                                           GENERAL LIABILITY CLAIMS
           Last 4 digits of account number:                  Is the claim subject to offset?

                                                             þ No
                                                             ¨ Yes




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3.1543.    Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                             Check all that apply.
           RICE, DEANNA R.                                                                                   UNDETERMINED
           J. NELSON THOMAS THOMAS & SOLOMON LLP             þ Contingent
           693 EAST AVENUE
           ROCHESTER NY 14607                                þ Unliquidated
                                                             þ Disputed
           Date or dates debt was incurred                   Basis for the claim:
           VARIOUS                                           CIVIL ACTION NO. 6:15-CV-06742
                                                             PENDING LITIGATION
           Last 4 digits of account number:
                                                             Is the claim subject to offset?

                                                             þ No
                                                             ¨ Yes

3.1544.    Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                             Check all that apply.
           RICHEY, BRIAN JONATHAN                                                                            UNDETERMINED
           J. NELSON THOMAS THOMAS & SOLOMON LLP             þ Contingent
           693 EAST AVENUE
           ROCHESTER NY 14607                                þ Unliquidated
                                                             þ Disputed
           Date or dates debt was incurred                   Basis for the claim:
           VARIOUS                                           CIVIL ACTION NO. 6:15-CV-06742
                                                             PENDING LITIGATION
           Last 4 digits of account number:
                                                             Is the claim subject to offset?

                                                             þ No
                                                             ¨ Yes

3.1545.    Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                             Check all that apply.
           RIDMED INC.                                                                                       $167.79
           531 COUNTRY LN                                    ¨ Contingent
           BUDA TX 78610
                                                             ¨ Unliquidated
                                                             ¨ Disputed
           Date or dates debt was incurred                   Basis for the claim:
           VARIOUS                                           TRADE ACCOUNTS PAYABLE
           Last 4 digits of account number:                  Is the claim subject to offset?

                                                             þ No
                                                             ¨ Yes




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3.1546.    Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                             Check all that apply.
           RIESE, JONATHAN DAVID                                                                             UNDETERMINED
           J. NELSON THOMAS THOMAS & SOLOMON LLP             þ Contingent
           693 EAST AVENUE
           ROCHESTER NY 14607                                þ Unliquidated
                                                             þ Disputed
           Date or dates debt was incurred                   Basis for the claim:
           VARIOUS                                           CIVIL ACTION NO. 6:15-CV-06742
                                                             PENDING LITIGATION
           Last 4 digits of account number:
                                                             Is the claim subject to offset?

                                                             þ No
                                                             ¨ Yes

3.1547.    Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                             Check all that apply.
           RIGNEY, STEPHANI ELANE                                                                            UNDETERMINED
           J. NELSON THOMAS THOMAS & SOLOMON LLP             þ Contingent
           693 EAST AVENUE
           ROCHESTER NY 14607                                þ Unliquidated
                                                             þ Disputed
           Date or dates debt was incurred                   Basis for the claim:
           VARIOUS                                           CIVIL ACTION NO. 6:15-CV-06742
                                                             PENDING LITIGATION
           Last 4 digits of account number:
                                                             Is the claim subject to offset?

                                                             þ No
                                                             ¨ Yes

3.1548.    Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                             Check all that apply.
           RILEY, KEVIN J.                                                                                   UNDETERMINED
           J. NELSON THOMAS THOMAS & SOLOMON LLP             þ Contingent
           693 EAST AVENUE
           ROCHESTER NY 14607                                þ Unliquidated
                                                             þ Disputed
           Date or dates debt was incurred                   Basis for the claim:
           VARIOUS                                           CIVIL ACTION NO. 6:15-CV-06742
                                                             PENDING LITIGATION
           Last 4 digits of account number:
                                                             Is the claim subject to offset?

                                                             þ No
                                                             ¨ Yes




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3.1549.    Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                             Check all that apply.
           RILEY, KEVIN JAMES                                                                                UNDETERMINED
           J. NELSON THOMAS THOMAS & SOLOMON LLP             þ Contingent
           693 EAST AVENUE
           ROCHESTER NY 14607                                þ Unliquidated
                                                             þ Disputed
           Date or dates debt was incurred                   Basis for the claim:
           VARIOUS                                           CIVIL ACTION NO. 6:15-CV-06742
                                                             PENDING LITIGATION
           Last 4 digits of account number:
                                                             Is the claim subject to offset?

                                                             þ No
                                                             ¨ Yes

3.1550.    Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                             Check all that apply.
           RILEY, LINDA SUSAN                                                                                UNDETERMINED
           J. NELSON THOMAS THOMAS & SOLOMON LLP             þ Contingent
           693 EAST AVENUE
           ROCHESTER NY 14607                                þ Unliquidated
                                                             þ Disputed
           Date or dates debt was incurred                   Basis for the claim:
           VARIOUS                                           CIVIL ACTION NO. 6:15-CV-06742
                                                             PENDING LITIGATION
           Last 4 digits of account number:
                                                             Is the claim subject to offset?

                                                             þ No
                                                             ¨ Yes

3.1551.    Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                             Check all that apply.
           RIVER PARK PROPERTIES II                                                                          $3,460.29
           DBA THE SHOPS AT RIVER PARK                       ¨ Contingent
           265 E RIVER PARK CIR #150
           FRESNO CA 93720                                   ¨ Unliquidated
                                                             ¨ Disputed
           Date or dates debt was incurred                   Basis for the claim:
           VARIOUS                                           LEASE
           Last 4 digits of account number:                  Is the claim subject to offset?

                                                             þ No
                                                             ¨ Yes




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3.1552.    Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                             Check all that apply.
           RIVERA, SEAN                                                                                      UNDETERMINED
           J. NELSON THOMAS THOMAS & SOLOMON LLP             þ Contingent
           693 EAST AVENUE
           ROCHESTER NY 14607                                þ Unliquidated
                                                             þ Disputed
           Date or dates debt was incurred                   Basis for the claim:
           VARIOUS                                           CIVIL ACTION NO. 6:15-CV-06742
                                                             PENDING LITIGATION
           Last 4 digits of account number:
                                                             Is the claim subject to offset?

                                                             þ No
                                                             ¨ Yes

3.1553.    Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                             Check all that apply.
           RIVERS, LATOYA                                                                                    UNDETERMINED
           J. NELSON THOMAS THOMAS & SOLOMON LLP             þ Contingent
           693 EAST AVENUE
           ROCHESTER NY 14607                                þ Unliquidated
                                                             þ Disputed
           Date or dates debt was incurred                   Basis for the claim:
           VARIOUS                                           CIVIL ACTION NO. 6:15-CV-06742
                                                             PENDING LITIGATION
           Last 4 digits of account number:
                                                             Is the claim subject to offset?

                                                             þ No
                                                             ¨ Yes

3.1554.    Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                             Check all that apply.
           RIVERS, LATOYA S.                                                                                 UNDETERMINED
           J. NELSON THOMAS THOMAS & SOLOMON LLP             þ Contingent
           693 EAST AVENUE
           ROCHESTER NY 14607                                þ Unliquidated
                                                             þ Disputed
           Date or dates debt was incurred                   Basis for the claim:
           VARIOUS                                           CIVIL ACTION NO. 6:15-CV-06742
                                                             PENDING LITIGATION
           Last 4 digits of account number:
                                                             Is the claim subject to offset?

                                                             þ No
                                                             ¨ Yes




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3.1555.    Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                             Check all that apply.
           ROBERT HALF INTERNATIONAL                                                                         $9,686.04
           PO BOX 743295                                     ¨ Contingent
           DBA RH MANAGEMENT RESOURCES
           LOS ANGELES CA 90074                              ¨ Unliquidated
                                                             ¨ Disputed
           Date or dates debt was incurred                   Basis for the claim:
           VARIOUS                                           TRADE ACCOUNTS PAYABLE
           Last 4 digits of account number:                  Is the claim subject to offset?

                                                             þ No
                                                             ¨ Yes

3.1556.    Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                             Check all that apply.
           ROBERTS ELECTRICAL CONTRACTORS INC                                                                $1,152.48
           7420 HITT ROAD STE D                              ¨ Contingent
           MOBILE AL 36695
                                                             ¨ Unliquidated
                                                             ¨ Disputed
           Date or dates debt was incurred                   Basis for the claim:
           VARIOUS                                           TRADE ACCOUNTS PAYABLE
           Last 4 digits of account number:                  Is the claim subject to offset?

                                                             þ No
                                                             ¨ Yes

3.1557.    Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                             Check all that apply.
           ROBERTS, ALLEN JAMES                                                                              UNDETERMINED
           J. NELSON THOMAS THOMAS & SOLOMON LLP             þ Contingent
           693 EAST AVENUE
           ROCHESTER NY 14607                                þ Unliquidated
                                                             þ Disputed
           Date or dates debt was incurred                   Basis for the claim:
           VARIOUS                                           CIVIL ACTION NO. 6:15-CV-06742
                                                             PENDING LITIGATION
           Last 4 digits of account number:
                                                             Is the claim subject to offset?

                                                             þ No
                                                             ¨ Yes




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Debtor    MAC ACQUISITION LLC                                                                                Case number (if known) 17-12224




3.1558.    Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                             Check all that apply.
           ROBERTS, ALLEN JAMES                                                                              UNDETERMINED
           J. NELSON THOMAS THOMAS & SOLOMON LLP             þ Contingent
           693 EAST AVENUE
           ROCHESTER NY 14607                                þ Unliquidated
                                                             þ Disputed
           Date or dates debt was incurred                   Basis for the claim:
           VARIOUS                                           CIVIL ACTION NO. 6:15-CV-06742
                                                             PENDING LITIGATION
           Last 4 digits of account number:
                                                             Is the claim subject to offset?

                                                             þ No
                                                             ¨ Yes

3.1559.    Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                             Check all that apply.
           ROBERTS, NICOLE ELISE                                                                             UNDETERMINED
           J. NELSON THOMAS THOMAS & SOLOMON LLP             þ Contingent
           693 EAST AVENUE
           ROCHESTER NY 14607                                þ Unliquidated
                                                             þ Disputed
           Date or dates debt was incurred                   Basis for the claim:
           VARIOUS                                           CIVIL ACTION NO. 6:15-CV-06742
                                                             PENDING LITIGATION
           Last 4 digits of account number:
                                                             Is the claim subject to offset?

                                                             þ No
                                                             ¨ Yes

3.1560.    Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                             Check all that apply.
           ROBERTS, RYAN JEFFREY                                                                             UNDETERMINED
           J. NELSON THOMAS THOMAS & SOLOMON LLP             þ Contingent
           693 EAST AVENUE
           ROCHESTER NY 14607                                þ Unliquidated
                                                             þ Disputed
           Date or dates debt was incurred                   Basis for the claim:
           VARIOUS                                           CIVIL ACTION NO. 6:15-CV-06742
                                                             PENDING LITIGATION
           Last 4 digits of account number:
                                                             Is the claim subject to offset?

                                                             þ No
                                                             ¨ Yes




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Debtor    MAC ACQUISITION LLC                                                                                Case number (if known) 17-12224




3.1561.    Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                             Check all that apply.
           ROBERTSON, ASHLEY LAUREN                                                                          UNDETERMINED
           J. NELSON THOMAS THOMAS & SOLOMON LLP             þ Contingent
           693 EAST AVENUE
           ROCHESTER NY 14607                                þ Unliquidated
                                                             þ Disputed
           Date or dates debt was incurred                   Basis for the claim:
           VARIOUS                                           CIVIL ACTION NO. 6:15-CV-06742
                                                             PENDING LITIGATION
           Last 4 digits of account number:
                                                             Is the claim subject to offset?

                                                             þ No
                                                             ¨ Yes

3.1562.    Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                             Check all that apply.
           ROBINSON, JEANNINE MARIE                                                                          UNDETERMINED
           J. NELSON THOMAS THOMAS & SOLOMON LLP             þ Contingent
           693 EAST AVENUE
           ROCHESTER NY 14607                                þ Unliquidated
                                                             þ Disputed
           Date or dates debt was incurred                   Basis for the claim:
           VARIOUS                                           CIVIL ACTION NO. 6:15-CV-06742
                                                             PENDING LITIGATION
           Last 4 digits of account number:
                                                             Is the claim subject to offset?

                                                             þ No
                                                             ¨ Yes

3.1563.    Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                             Check all that apply.
           ROBINSON-RUSSELL, SUSAN LYNN                                                                      UNDETERMINED
           J. NELSON THOMAS THOMAS & SOLOMON LLP             þ Contingent
           693 EAST AVENUE
           ROCHESTER NY 14607                                þ Unliquidated
                                                             þ Disputed
           Date or dates debt was incurred                   Basis for the claim:
           VARIOUS                                           CIVIL ACTION NO. 6:15-CV-06742
                                                             PENDING LITIGATION
           Last 4 digits of account number:
                                                             Is the claim subject to offset?

                                                             þ No
                                                             ¨ Yes




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Debtor    MAC ACQUISITION LLC                                                                                Case number (if known) 17-12224




3.1564.    Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                             Check all that apply.
           ROCCIA, ANGELA NICCOLE                                                                            UNDETERMINED
           J. NELSON THOMAS THOMAS & SOLOMON LLP             þ Contingent
           693 EAST AVENUE
           ROCHESTER NY 14607                                þ Unliquidated
                                                             þ Disputed
           Date or dates debt was incurred                   Basis for the claim:
           VARIOUS                                           CIVIL ACTION NO. 6:15-CV-06742
                                                             PENDING LITIGATION
           Last 4 digits of account number:
                                                             Is the claim subject to offset?

                                                             þ No
                                                             ¨ Yes

3.1565.    Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                             Check all that apply.
           ROCHA SILVANO, CARLOS A.                                                                          UNDETERMINED
           J. NELSON THOMAS THOMAS & SOLOMON LLP             þ Contingent
           693 EAST AVENUE
           ROCHESTER NY 14607                                þ Unliquidated
                                                             þ Disputed
           Date or dates debt was incurred                   Basis for the claim:
           VARIOUS                                           CIVIL ACTION NO. 6:15-CV-06742
                                                             PENDING LITIGATION
           Last 4 digits of account number:
                                                             Is the claim subject to offset?

                                                             þ No
                                                             ¨ Yes

3.1566.    Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                             Check all that apply.
           ROCKY RIDGE STATION LLC                                                                           UNDETERMINED
           ROBERT F MYERS COO LEASE                          þ Contingent
           ADMINISTRATION DEPT
           11501 NORTHLAKE DR                                þ Unliquidated
           CINCINNATI OH 45249                               þ Disputed
           Date or dates debt was incurred                   Basis for the claim:
           VARIOUS                                           LANDLORD CLAIM
           Last 4 digits of account number:                  Is the claim subject to offset?

                                                             þ No
                                                             ¨ Yes




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Debtor    MAC ACQUISITION LLC                                                                                Case number (if known) 17-12224




3.1567.    Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                             Check all that apply.
           RODEN, JEAN                                                                                       UNDETERMINED
                                                             þ Contingent
                                                             þ Unliquidated
                                                             þ Disputed
           Date or dates debt was incurred                   Basis for the claim:
           VARIOUS                                           WORKERS COMPENSATION
           Last 4 digits of account number:                  Is the claim subject to offset?

                                                             þ No
                                                             ¨ Yes

3.1568.    Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                             Check all that apply.
           RODERICK ENTERPRISES                                                                              UNDETERMINED
           RENEE SCHMID ASSET/PROPERTY MNGR                  þ Contingent
           1214 EAST VINE ST
           SALT LAKE CITY UT 84121                           þ Unliquidated
                                                             þ Disputed
           Date or dates debt was incurred                   Basis for the claim:
           VARIOUS                                           LANDLORD CLAIM
           Last 4 digits of account number:                  Is the claim subject to offset?

                                                             þ No
                                                             ¨ Yes

3.1569.    Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                             Check all that apply.
           RODRIGUEZ, ROBERT                                                                                 UNDETERMINED
                                                             þ Contingent
                                                             þ Unliquidated
                                                             þ Disputed
           Date or dates debt was incurred                   Basis for the claim:
           VARIOUS                                           GENERAL LIABILITY CLAIMS
           Last 4 digits of account number:                  Is the claim subject to offset?

                                                             þ No
                                                             ¨ Yes




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Debtor    MAC ACQUISITION LLC                                                                                Case number (if known) 17-12224




3.1570.    Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                             Check all that apply.
           RODRIGUEZ, XOCHILT                                                                                UNDETERMINED
           J. NELSON THOMAS THOMAS & SOLOMON LLP             þ Contingent
           693 EAST AVENUE
           ROCHESTER NY 14607                                þ Unliquidated
                                                             þ Disputed
           Date or dates debt was incurred                   Basis for the claim:
           VARIOUS                                           CIVIL ACTION NO. 6:15-CV-06742
                                                             PENDING LITIGATION
           Last 4 digits of account number:
                                                             Is the claim subject to offset?

                                                             þ No
                                                             ¨ Yes

3.1571.    Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                             Check all that apply.
           ROIG, SARAH DAWN                                                                                  UNDETERMINED
           J. NELSON THOMAS THOMAS & SOLOMON LLP             þ Contingent
           693 EAST AVENUE
           ROCHESTER NY 14607                                þ Unliquidated
                                                             þ Disputed
           Date or dates debt was incurred                   Basis for the claim:
           VARIOUS                                           CIVIL ACTION NO. 6:15-CV-06742
                                                             PENDING LITIGATION
           Last 4 digits of account number:
                                                             Is the claim subject to offset?

                                                             þ No
                                                             ¨ Yes

3.1572.    Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                             Check all that apply.
           ROKUSKIE, MELISSA                                                                                 UNDETERMINED
           J. NELSON THOMAS THOMAS & SOLOMON LLP             þ Contingent
           693 EAST AVENUE
           ROCHESTER NY 14607                                þ Unliquidated
                                                             þ Disputed
           Date or dates debt was incurred                   Basis for the claim:
           VARIOUS                                           CIVIL ACTION NO. 6:15-CV-06742
                                                             PENDING LITIGATION
           Last 4 digits of account number:
                                                             Is the claim subject to offset?

                                                             þ No
                                                             ¨ Yes




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Debtor    MAC ACQUISITION LLC                                                                                Case number (if known) 17-12224




3.1573.    Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                             Check all that apply.
           ROKUSKIE, MELISSA M.                                                                              UNDETERMINED
           J. NELSON THOMAS THOMAS & SOLOMON LLP             þ Contingent
           693 EAST AVENUE
           ROCHESTER NY 14607                                þ Unliquidated
                                                             þ Disputed
           Date or dates debt was incurred                   Basis for the claim:
           VARIOUS                                           CIVIL ACTION NO. 6:15-CV-06742
                                                             PENDING LITIGATION
           Last 4 digits of account number:
                                                             Is the claim subject to offset?

                                                             þ No
                                                             ¨ Yes

3.1574.    Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                             Check all that apply.
           ROMAINE, CHRISTOPHER MICHAEL                                                                      UNDETERMINED
           J. NELSON THOMAS THOMAS & SOLOMON LLP             þ Contingent
           693 EAST AVENUE
           ROCHESTER NY 14607                                þ Unliquidated
                                                             þ Disputed
           Date or dates debt was incurred                   Basis for the claim:
           VARIOUS                                           CIVIL ACTION NO. 6:15-CV-06742
                                                             PENDING LITIGATION
           Last 4 digits of account number:
                                                             Is the claim subject to offset?

                                                             þ No
                                                             ¨ Yes

3.1575.    Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                             Check all that apply.
           ROMAINE, CHRISTOPHER MICHAEL                                                                      UNDETERMINED
           J. NELSON THOMAS THOMAS & SOLOMON LLP             þ Contingent
           693 EAST AVENUE
           ROCHESTER NY 14607                                þ Unliquidated
                                                             þ Disputed
           Date or dates debt was incurred                   Basis for the claim:
           VARIOUS                                           CIVIL ACTION NO. 6:15-CV-06742
                                                             PENDING LITIGATION
           Last 4 digits of account number:
                                                             Is the claim subject to offset?

                                                             þ No
                                                             ¨ Yes




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Debtor    MAC ACQUISITION LLC                                                                                Case number (if known) 17-12224




3.1576.    Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                             Check all that apply.
           ROMANO'S MACARONI GRILL FAMILY FUND                                                               $4,973.00
           1855 BLAKE ST                                     ¨ Contingent
           DENVER CO 80202
                                                             ¨ Unliquidated
                                                             ¨ Disputed
           Date or dates debt was incurred                   Basis for the claim:
           VARIOUS                                           TRADE ACCOUNTS PAYABLE
           Last 4 digits of account number:                  Is the claim subject to offset?

                                                             þ No
                                                             ¨ Yes

3.1577.    Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                             Check all that apply.
           ROOTER SERVICE INC. ROOTER 2000                                                                   $1,747.43
           PO BOX 40111                                      ¨ Contingent
           MESA AZ 85274
                                                             ¨ Unliquidated
                                                             ¨ Disputed
           Date or dates debt was incurred                   Basis for the claim:
           VARIOUS                                           TRADE ACCOUNTS PAYABLE
           Last 4 digits of account number:                  Is the claim subject to offset?

                                                             þ No
                                                             ¨ Yes

3.1578.    Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                             Check all that apply.
           ROOTER TOOTER PLUMBING LLC                                                                        $254.38
           PO BOX 811                                        ¨ Contingent
           SEAGOVILLE TX 75159
                                                             ¨ Unliquidated
                                                             ¨ Disputed
           Date or dates debt was incurred                   Basis for the claim:
           VARIOUS                                           TRADE ACCOUNTS PAYABLE
           Last 4 digits of account number:                  Is the claim subject to offset?

                                                             þ No
                                                             ¨ Yes




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Debtor    MAC ACQUISITION LLC                                                                                Case number (if known) 17-12224




3.1579.    Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                             Check all that apply.
           ROOTERMAN PLUMBERS                                                                                $816.11
           PO BOX 549                                        ¨ Contingent
           GUYTON GA 31312
                                                             ¨ Unliquidated
                                                             ¨ Disputed
           Date or dates debt was incurred                   Basis for the claim:
           VARIOUS                                           TRADE ACCOUNTS PAYABLE
           Last 4 digits of account number:                  Is the claim subject to offset?

                                                             þ No
                                                             ¨ Yes

3.1580.    Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                             Check all that apply.
           ROSA, CHRISTOBALIN                                                                                UNDETERMINED
                                                             þ Contingent
                                                             þ Unliquidated
                                                             þ Disputed
           Date or dates debt was incurred                   Basis for the claim:
           VARIOUS                                           GENERAL LIABILITY CLAIMS
           Last 4 digits of account number:                  Is the claim subject to offset?

                                                             þ No
                                                             ¨ Yes

3.1581.    Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                             Check all that apply.
           ROSENBAUER, ERIN                                                                                  UNDETERMINED
           J. NELSON THOMAS THOMAS & SOLOMON LLP             þ Contingent
           693 EAST AVENUE
           ROCHESTER NY 14607                                þ Unliquidated
                                                             þ Disputed
           Date or dates debt was incurred                   Basis for the claim:
           VARIOUS                                           CIVIL ACTION NO. 6:15-CV-06742
                                                             PENDING LITIGATION
           Last 4 digits of account number:
                                                             Is the claim subject to offset?

                                                             þ No
                                                             ¨ Yes




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Debtor    MAC ACQUISITION LLC                                                                                Case number (if known) 17-12224




3.1582.    Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                             Check all that apply.
           ROSETTI, MARY TERESA                                                                              UNDETERMINED
           J. NELSON THOMAS THOMAS & SOLOMON LLP             þ Contingent
           693 EAST AVENUE
           ROCHESTER NY 14607                                þ Unliquidated
                                                             þ Disputed
           Date or dates debt was incurred                   Basis for the claim:
           VARIOUS                                           CIVIL ACTION NO. 6:15-CV-06742
                                                             PENDING LITIGATION
           Last 4 digits of account number:
                                                             Is the claim subject to offset?

                                                             þ No
                                                             ¨ Yes

3.1583.    Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                             Check all that apply.
           ROSS, HERBERT                                                                                     UNDETERMINED
                                                             þ Contingent
                                                             þ Unliquidated
                                                             þ Disputed
           Date or dates debt was incurred                   Basis for the claim:
           VARIOUS                                           GENERAL LIABILITY CLAIMS
           Last 4 digits of account number:                  Is the claim subject to offset?

                                                             þ No
                                                             ¨ Yes

3.1584.    Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                             Check all that apply.
           ROSS, MICHAEL VINCENT                                                                             UNDETERMINED
           J. NELSON THOMAS THOMAS & SOLOMON LLP             þ Contingent
           693 EAST AVENUE
           ROCHESTER NY 14607                                þ Unliquidated
                                                             þ Disputed
           Date or dates debt was incurred                   Basis for the claim:
           VARIOUS                                           CIVIL ACTION NO. 6:15-CV-06742
                                                             PENDING LITIGATION
           Last 4 digits of account number:
                                                             Is the claim subject to offset?

                                                             þ No
                                                             ¨ Yes




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Debtor    MAC ACQUISITION LLC                                                                                Case number (if known) 17-12224




3.1585.    Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                             Check all that apply.
           ROSSI, RICHARD J.                                                                                 UNDETERMINED
           J. NELSON THOMAS THOMAS & SOLOMON LLP             þ Contingent
           693 EAST AVENUE
           ROCHESTER NY 14607                                þ Unliquidated
                                                             þ Disputed
           Date or dates debt was incurred                   Basis for the claim:
           VARIOUS                                           CIVIL ACTION NO. 6:15-CV-06742
                                                             PENDING LITIGATION
           Last 4 digits of account number:
                                                             Is the claim subject to offset?

                                                             þ No
                                                             ¨ Yes

3.1586.    Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                             Check all that apply.
           ROTENBERRY, KIMBERLY                                                                              UNDETERMINED
           J. NELSON THOMAS THOMAS & SOLOMON LLP             þ Contingent
           693 EAST AVENUE
           ROCHESTER NY 14607                                þ Unliquidated
                                                             þ Disputed
           Date or dates debt was incurred                   Basis for the claim:
           VARIOUS                                           CIVIL ACTION NO. 6:15-CV-06742
                                                             PENDING LITIGATION
           Last 4 digits of account number:
                                                             Is the claim subject to offset?

                                                             þ No
                                                             ¨ Yes

3.1587.    Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                             Check all that apply.
           ROTO-ROOTER PLUMBLING AND DRAIN                                                                   $1,280.80
           SERVICE                                           ¨ Contingent
           PO BOX 7226
           SHERWOOD AR 72124                                 ¨ Unliquidated
                                                             ¨ Disputed
           Date or dates debt was incurred                   Basis for the claim:
           VARIOUS                                           TRADE ACCOUNTS PAYABLE
           Last 4 digits of account number:                  Is the claim subject to offset?

                                                             þ No
                                                             ¨ Yes




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Debtor    MAC ACQUISITION LLC                                                                                Case number (if known) 17-12224




3.1588.    Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                             Check all that apply.
           ROUTENBERG, LISA E.                                                                               UNDETERMINED
           J. NELSON THOMAS THOMAS & SOLOMON LLP             þ Contingent
           693 EAST AVENUE
           ROCHESTER NY 14607                                þ Unliquidated
                                                             þ Disputed
           Date or dates debt was incurred                   Basis for the claim:
           VARIOUS                                           CIVIL ACTION NO. 6:15-CV-06742
                                                             PENDING LITIGATION
           Last 4 digits of account number:
                                                             Is the claim subject to offset?

                                                             þ No
                                                             ¨ Yes

3.1589.    Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                             Check all that apply.
           ROWLES, DUANE A.                                                                                  UNDETERMINED
           J. NELSON THOMAS THOMAS & SOLOMON LLP             þ Contingent
           693 EAST AVENUE
           ROCHESTER NY 14607                                þ Unliquidated
                                                             þ Disputed
           Date or dates debt was incurred                   Basis for the claim:
           VARIOUS                                           CIVIL ACTION NO. 6:15-CV-06742
                                                             PENDING LITIGATION
           Last 4 digits of account number:
                                                             Is the claim subject to offset?

                                                             þ No
                                                             ¨ Yes

3.1590.    Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                             Check all that apply.
           ROYAL CUP INC                                                                                     $6,704.00
           PO BOX 206011                                     ¨ Contingent
           DALLAS TX 75320
                                                             ¨ Unliquidated
                                                             ¨ Disputed
           Date or dates debt was incurred                   Basis for the claim:
           VARIOUS                                           TRADE ACCOUNTS PAYABLE
           Last 4 digits of account number:                  Is the claim subject to offset?

                                                             þ No
                                                             ¨ Yes




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Debtor    MAC ACQUISITION LLC                                                                                Case number (if known) 17-12224




3.1591.    Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                             Check all that apply.
           ROYSTON MUELLER MCLEAN & REID LLP                                                                 $562.00
           102 W PENNSYLVANIA AVE #600                       þ Contingent
           TOWSON MD 21204
                                                             þ Unliquidated
                                                             þ Disputed
           Date or dates debt was incurred                   Basis for the claim:
           VARIOUS                                           TRADE ACCOUNTS PAYABLE
           Last 4 digits of account number:                  Is the claim subject to offset?

                                                             þ No
                                                             ¨ Yes

3.1592.    Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                             Check all that apply.
           RUCKER MECHANICAL INC                                                                             $5,142.84
           5217 N COUNCIL                                    ¨ Contingent
           OKLAHOMA CITY OK 73132
                                                             ¨ Unliquidated
                                                             ¨ Disputed
           Date or dates debt was incurred                   Basis for the claim:
           VARIOUS                                           TRADE ACCOUNTS PAYABLE
           Last 4 digits of account number:                  Is the claim subject to offset?

                                                             þ No
                                                             ¨ Yes

3.1593.    Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                             Check all that apply.
           RUIZ, MELODI                                                                                      UNDETERMINED
           6568 NORWOOD                                      þ Contingent
           ALLEN PARK MI 48101
                                                             þ Unliquidated
                                                             þ Disputed
           Date or dates debt was incurred                   Basis for the claim:
           _________________________________________         WORKERS COMPENSATION
           Last 4 digits of account number:                  Is the claim subject to offset?

                                                             þ No
                                                             ¨ Yes




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3.1594.    Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                             Check all that apply.
           RUIZ, MELODY                                                                                      UNDETERMINED
                                                             þ Contingent
                                                             þ Unliquidated
                                                             þ Disputed
           Date or dates debt was incurred                   Basis for the claim:
           VARIOUS                                           WORKERS COMPENSATION CLAIM
           Last 4 digits of account number:                  Is the claim subject to offset?

                                                             þ No
                                                             ¨ Yes

3.1595.    Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                             Check all that apply.
           RUIZ,MELODI                                                                                       UNDETERMINED
                                                             þ Contingent
                                                             þ Unliquidated
                                                             þ Disputed
           Date or dates debt was incurred                   Basis for the claim:
           VARIOUS                                           WORKERS COMPENSATION
           Last 4 digits of account number:                  Is the claim subject to offset?

                                                             þ No
                                                             ¨ Yes

3.1596.    Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                             Check all that apply.
           RUMMELL , GARY                                                                                    UNDETERMINED
                                                             þ Contingent
                                                             þ Unliquidated
                                                             þ Disputed
           Date or dates debt was incurred                   Basis for the claim:
           VARIOUS                                           GENERAL LIABILITY CLAIMS
           Last 4 digits of account number:                  Is the claim subject to offset?

                                                             þ No
                                                             ¨ Yes




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Debtor    MAC ACQUISITION LLC                                                                                Case number (if known) 17-12224




3.1597.    Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                             Check all that apply.
           RUPP, DAVID W.                                                                                    UNDETERMINED
           J. NELSON THOMAS THOMAS & SOLOMON LLP             þ Contingent
           693 EAST AVENUE
           ROCHESTER NY 14607                                þ Unliquidated
                                                             þ Disputed
           Date or dates debt was incurred                   Basis for the claim:
           VARIOUS                                           CIVIL ACTION NO. 6:15-CV-06742
                                                             PENDING LITIGATION
           Last 4 digits of account number:
                                                             Is the claim subject to offset?

                                                             þ No
                                                             ¨ Yes

3.1598.    Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                             Check all that apply.
           RUTLEDGE, GREGORY CASEEM                                                                          UNDETERMINED
           J. NELSON THOMAS THOMAS & SOLOMON LLP             þ Contingent
           693 EAST AVENUE
           ROCHESTER NY 14607                                þ Unliquidated
                                                             þ Disputed
           Date or dates debt was incurred                   Basis for the claim:
           VARIOUS                                           CIVIL ACTION NO. 6:15-CV-06742
                                                             PENDING LITIGATION
           Last 4 digits of account number:
                                                             Is the claim subject to offset?

                                                             þ No
                                                             ¨ Yes

3.1599.    Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                             Check all that apply.
           RUZICHO, MICHAEL A.                                                                               UNDETERMINED
           OHIO CIVIL RIGHTS DIVISION                        þ Contingent
                                                             þ Unliquidated
                                                             þ Disputed
           Date or dates debt was incurred                   Basis for the claim:
           VARIOUS                                           EMPLOYMENT CLAIM
           Last 4 digits of account number:                  Is the claim subject to offset?

                                                             þ No
                                                             ¨ Yes




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Debtor    MAC ACQUISITION LLC                                                                                Case number (if known) 17-12224




3.1600.    Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                             Check all that apply.
           RYAN EXCAVATING LLC                                                                               $1,000.00
           721 OTTAWA ST                                     ¨ Contingent
           LOWELL MI 49331
                                                             ¨ Unliquidated
                                                             ¨ Disputed
           Date or dates debt was incurred                   Basis for the claim:
           VARIOUS                                           TRADE ACCOUNTS PAYABLE
           Last 4 digits of account number:                  Is the claim subject to offset?

                                                             þ No
                                                             ¨ Yes

3.1601.    Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                             Check all that apply.
           RYAN, TAYLOR                                                                                      UNDETERMINED
           J. NELSON THOMAS THOMAS & SOLOMON LLP             þ Contingent
           693 EAST AVENUE
           ROCHESTER NY 14607                                þ Unliquidated
                                                             þ Disputed
           Date or dates debt was incurred                   Basis for the claim:
           VARIOUS                                           CIVIL ACTION NO. 6:15-CV-06742
                                                             PENDING LITIGATION
           Last 4 digits of account number:
                                                             Is the claim subject to offset?

                                                             þ No
                                                             ¨ Yes

3.1602.    Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                             Check all that apply.
           RYDER TRANSPORTATION SERVICES                                                                     $16,007.93
           PO BOX 96723                                      ¨ Contingent
           CHICAGO IL 60693
                                                             ¨ Unliquidated
                                                             ¨ Disputed
           Date or dates debt was incurred                   Basis for the claim:
           VARIOUS                                           TRADE ACCOUNTS PAYABLE
           Last 4 digits of account number:                  Is the claim subject to offset?

                                                             þ No
                                                             ¨ Yes




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Debtor    MAC ACQUISITION LLC                                                                                Case number (if known) 17-12224




3.1603.    Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                             Check all that apply.
           RYDER TRUCK RENTAL, INC                                                                           UNDETERMINED
           JOHN T. SIEGLER, ASK LLP                          þ Contingent
           2600 EAGAN WOODS DR., STE 400
           ST PAUL MN 55121                                  þ Unliquidated
                                                             þ Disputed
           Date or dates debt was incurred                   Basis for the claim:
           VARIOUS                                           DEMAND LETTER
           Last 4 digits of account number:                  Is the claim subject to offset?

                                                             þ No
                                                             ¨ Yes

3.1604.    Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                             Check all that apply.
           RYE,NICK                                                                                          UNDETERMINED
                                                             þ Contingent
                                                             þ Unliquidated
                                                             þ Disputed
           Date or dates debt was incurred                   Basis for the claim:
           VARIOUS                                           WORKERS COMPENSATION
           Last 4 digits of account number:                  Is the claim subject to offset?

                                                             þ No
                                                             ¨ Yes

3.1605.    Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                             Check all that apply.
           RYLEE, TERRY STEVEN                                                                               UNDETERMINED
           J. NELSON THOMAS THOMAS & SOLOMON LLP             þ Contingent
           693 EAST AVENUE
           ROCHESTER NY 14607                                þ Unliquidated
                                                             þ Disputed
           Date or dates debt was incurred                   Basis for the claim:
           VARIOUS                                           CIVIL ACTION NO. 6:15-CV-06742
                                                             PENDING LITIGATION
           Last 4 digits of account number:
                                                             Is the claim subject to offset?

                                                             þ No
                                                             ¨ Yes




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Debtor    MAC ACQUISITION LLC                                                                                Case number (if known) 17-12224




3.1606.    Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                             Check all that apply.
           SABATINO, JR., DENNIS MARK                                                                        UNDETERMINED
           J. NELSON THOMAS THOMAS & SOLOMON LLP             þ Contingent
           693 EAST AVENUE
           ROCHESTER NY 14607                                þ Unliquidated
                                                             þ Disputed
           Date or dates debt was incurred                   Basis for the claim:
           VARIOUS                                           CIVIL ACTION NO. 6:15-CV-06742
                                                             PENDING LITIGATION
           Last 4 digits of account number:
                                                             Is the claim subject to offset?

                                                             þ No
                                                             ¨ Yes

3.1607.    Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                             Check all that apply.
           SADLER, REGGIE                                                                                    UNDETERMINED
           J. NELSON THOMAS THOMAS & SOLOMON LLP             þ Contingent
           693 EAST AVENUE
           ROCHESTER NY 14607                                þ Unliquidated
                                                             þ Disputed
           Date or dates debt was incurred                   Basis for the claim:
           VARIOUS                                           CIVIL ACTION NO. 6:15-CV-06742
                                                             PENDING LITIGATION
           Last 4 digits of account number:
                                                             Is the claim subject to offset?

                                                             þ No
                                                             ¨ Yes

3.1608.    Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                             Check all that apply.
           SAILOR , FAY                                                                                      UNDETERMINED
                                                             þ Contingent
                                                             þ Unliquidated
                                                             þ Disputed
           Date or dates debt was incurred                   Basis for the claim:
           VARIOUS                                           GENERAL LIABILITY CLAIMS
           Last 4 digits of account number:                  Is the claim subject to offset?

                                                             þ No
                                                             ¨ Yes




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Debtor    MAC ACQUISITION LLC                                                                                Case number (if known) 17-12224




3.1609.    Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                             Check all that apply.
           SALAMONY, JACLYN MARIE                                                                            UNDETERMINED
           J. NELSON THOMAS THOMAS & SOLOMON LLP             þ Contingent
           693 EAST AVENUE
           ROCHESTER NY 14607                                þ Unliquidated
                                                             þ Disputed
           Date or dates debt was incurred                   Basis for the claim:
           VARIOUS                                           CIVIL ACTION NO. 6:15-CV-06742
                                                             PENDING LITIGATION
           Last 4 digits of account number:
                                                             Is the claim subject to offset?

                                                             þ No
                                                             ¨ Yes

3.1610.    Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                             Check all that apply.
           SALAZAR, JAVIER                                                                                   UNDETERMINED
                                                             þ Contingent
                                                             þ Unliquidated
                                                             þ Disputed
           Date or dates debt was incurred                   Basis for the claim:
           VARIOUS                                           WORKERS COMPENSATION CLAIM
           Last 4 digits of account number:                  Is the claim subject to offset?

                                                             þ No
                                                             ¨ Yes

3.1611.    Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                             Check all that apply.
           SALAZAR, JAVIER                                                                                   UNDETERMINED
                                                             þ Contingent
                                                             þ Unliquidated
                                                             þ Disputed
           Date or dates debt was incurred                   Basis for the claim:
           VARIOUS                                           WORKERS COMPENSATION
           Last 4 digits of account number:                  Is the claim subject to offset?

                                                             þ No
                                                             ¨ Yes




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Debtor    MAC ACQUISITION LLC                                                                                Case number (if known) 17-12224




3.1612.    Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                             Check all that apply.
           SALAZAR, JAVIER                                                                                   UNDETERMINED
           7815 TOKAY AVE                                    þ Contingent
           FONTANA CA 92336
                                                             þ Unliquidated
                                                             þ Disputed
           Date or dates debt was incurred                   Basis for the claim:
           _________________________________________         WORKERS COMPENSATION
           Last 4 digits of account number:                  Is the claim subject to offset?

                                                             þ No
                                                             ¨ Yes

3.1613.    Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                             Check all that apply.
           SALCIDO, ALBERTO DAVID                                                                            UNDETERMINED
           J. NELSON THOMAS THOMAS & SOLOMON LLP             þ Contingent
           693 EAST AVENUE
           ROCHESTER NY 14607                                þ Unliquidated
                                                             þ Disputed
           Date or dates debt was incurred                   Basis for the claim:
           VARIOUS                                           CIVIL ACTION NO. 6:15-CV-06742
                                                             PENDING LITIGATION
           Last 4 digits of account number:
                                                             Is the claim subject to offset?

                                                             þ No
                                                             ¨ Yes

3.1614.    Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                             Check all that apply.
           SALMON, MARC                                                                                      UNDETERMINED
           J. NELSON THOMAS THOMAS & SOLOMON LLP             þ Contingent
           693 EAST AVENUE
           ROCHESTER NY 14607                                þ Unliquidated
                                                             þ Disputed
           Date or dates debt was incurred                   Basis for the claim:
           VARIOUS                                           CIVIL ACTION NO. 6:15-CV-06742
                                                             PENDING LITIGATION
           Last 4 digits of account number:
                                                             Is the claim subject to offset?

                                                             þ No
                                                             ¨ Yes




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3.1615.    Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                             Check all that apply.
           SALMON, MARC                                                                                      UNDETERMINED
           J. NELSON THOMAS THOMAS & SOLOMON LLP             þ Contingent
           693 EAST AVENUE
           ROCHESTER NY 14607                                þ Unliquidated
                                                             þ Disputed
           Date or dates debt was incurred                   Basis for the claim:
           VARIOUS                                           CIVIL ACTION NO. 6:15-CV-06742
                                                             PENDING LITIGATION
           Last 4 digits of account number:
                                                             Is the claim subject to offset?

                                                             þ No
                                                             ¨ Yes

3.1616.    Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                             Check all that apply.
           SALMONS, JESSICA LEE                                                                              UNDETERMINED
           J. NELSON THOMAS THOMAS & SOLOMON LLP             þ Contingent
           693 EAST AVENUE
           ROCHESTER NY 14607                                þ Unliquidated
                                                             þ Disputed
           Date or dates debt was incurred                   Basis for the claim:
           VARIOUS                                           CIVIL ACTION NO. 6:15-CV-06742
                                                             PENDING LITIGATION
           Last 4 digits of account number:
                                                             Is the claim subject to offset?

                                                             þ No
                                                             ¨ Yes

3.1617.    Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                             Check all that apply.
           SAMCO FACILITIES MAINTENANCE                                                                      $2,457.13
           11878 BROOKFIELD                                  ¨ Contingent
           LIVONIA MI 48150
                                                             ¨ Unliquidated
                                                             ¨ Disputed
           Date or dates debt was incurred                   Basis for the claim:
           VARIOUS                                           TRADE ACCOUNTS PAYABLE
           Last 4 digits of account number:                  Is the claim subject to offset?

                                                             þ No
                                                             ¨ Yes




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Debtor    MAC ACQUISITION LLC                                                                                Case number (if known) 17-12224




3.1618.    Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                             Check all that apply.
           SANCHEZ, DAVID                                                                                    UNDETERMINED
                                                             þ Contingent
                                                             þ Unliquidated
                                                             þ Disputed
           Date or dates debt was incurred                   Basis for the claim:
           VARIOUS                                           WORKERS COMPENSATION CLAIM
           Last 4 digits of account number:                  Is the claim subject to offset?

                                                             þ No
                                                             ¨ Yes

3.1619.    Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                             Check all that apply.
           SANCHEZ, ERIKA                                                                                    UNDETERMINED
           ERIKA SANCHEZ                                     þ Contingent
                                                             þ Unliquidated
                                                             þ Disputed
           Date or dates debt was incurred                   Basis for the claim:
           VARIOUS                                           EMPLOYMENT CLAIM
           Last 4 digits of account number:                  Is the claim subject to offset?

                                                             þ No
                                                             ¨ Yes

3.1620.    Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                             Check all that apply.
           SANCHEZ, JESSICA                                                                                  UNDETERMINED
           J. NELSON THOMAS THOMAS & SOLOMON LLP             þ Contingent
           693 EAST AVENUE
           ROCHESTER NY 14607                                þ Unliquidated
                                                             þ Disputed
           Date or dates debt was incurred                   Basis for the claim:
           VARIOUS                                           CIVIL ACTION NO. 6:15-CV-06742
                                                             PENDING LITIGATION
           Last 4 digits of account number:
                                                             Is the claim subject to offset?

                                                             þ No
                                                             ¨ Yes




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Debtor    MAC ACQUISITION LLC                                                                                Case number (if known) 17-12224




3.1621.    Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                             Check all that apply.
           SANCHEZ, MERCEDES                                                                                 UNDETERMINED
                                                             þ Contingent
                                                             þ Unliquidated
                                                             þ Disputed
           Date or dates debt was incurred                   Basis for the claim:
           VARIOUS                                           GENERAL LIABILITY CLAIMS
           Last 4 digits of account number:                  Is the claim subject to offset?

                                                             þ No
                                                             ¨ Yes

3.1622.    Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                             Check all that apply.
           SANCHEZ, MERCEDES                                                                                 UNDETERMINED
           ERIC TINSTMAN, THE TINSTMAN LAW FIRM              þ Contingent
                                                             þ Unliquidated
                                                             þ Disputed
           Date or dates debt was incurred                   Basis for the claim:
           VARIOUS                                           CASE NO.: 2017-004695-CA-01 PENDING
                                                             LITIGATION
           Last 4 digits of account number:
                                                             Is the claim subject to offset?

                                                             þ No
                                                             ¨ Yes

3.1623.    Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                             Check all that apply.
           SANCHEZ, ROLANDO                                                                                  UNDETERMINED
           ERIC TINSTMAN, THE TINSTMAN LAW FIRM              þ Contingent
                                                             þ Unliquidated
                                                             þ Disputed
           Date or dates debt was incurred                   Basis for the claim:
           VARIOUS                                           CASE NO.: 2017-004695-CA-01 PENDING
                                                             LITIGATION
           Last 4 digits of account number:
                                                             Is the claim subject to offset?

                                                             þ No
                                                             ¨ Yes




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Debtor    MAC ACQUISITION LLC                                                                                Case number (if known) 17-12224




3.1624.    Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                             Check all that apply.
           SANFORD, SEMCHAK & SPEIGHTS INC                                                                   $1,974.96
           1125 W COLUMBUS ST                                ¨ Contingent
           BAKERSFIELD CA 93301
                                                             ¨ Unliquidated
                                                             ¨ Disputed
           Date or dates debt was incurred                   Basis for the claim:
           VARIOUS                                           TRADE ACCOUNTS PAYABLE
           Last 4 digits of account number:                  Is the claim subject to offset?

                                                             þ No
                                                             ¨ Yes

3.1625.    Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                             Check all that apply.
           SANTY INTEGRATED, INC.                                                                            $7,000.00
           8370 E. VIA DE VENTURA                            ¨ Contingent
           SUITE K-100
           SCOTTSDALE AZ 85258                               ¨ Unliquidated
                                                             ¨ Disputed
           Date or dates debt was incurred                   Basis for the claim:
           VARIOUS                                           TRADE ACCOUNTS PAYABLE
           Last 4 digits of account number:                  Is the claim subject to offset?

                                                             þ No
                                                             ¨ Yes

3.1626.    Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                             Check all that apply.
           SARIG, LERON                                                                                      UNDETERMINED
           J. NELSON THOMAS THOMAS & SOLOMON LLP             þ Contingent
           693 EAST AVENUE
           ROCHESTER NY 14607                                þ Unliquidated
                                                             þ Disputed
           Date or dates debt was incurred                   Basis for the claim:
           VARIOUS                                           CIVIL ACTION NO. 6:15-CV-06742
                                                             PENDING LITIGATION
           Last 4 digits of account number:
                                                             Is the claim subject to offset?

                                                             þ No
                                                             ¨ Yes




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Debtor    MAC ACQUISITION LLC                                                                                Case number (if known) 17-12224




3.1627.    Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                             Check all that apply.
           SATCHER, SAMANTHA                                                                                 UNDETERMINED
                                                             þ Contingent
                                                             þ Unliquidated
                                                             þ Disputed
           Date or dates debt was incurred                   Basis for the claim:
           VARIOUS                                           WORKERS COMPENSATION CLAIM -
           Last 4 digits of account number:                  Is the claim subject to offset?

                                                             þ No
                                                             ¨ Yes

3.1628.    Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                             Check all that apply.
           SATCHER,SAMANTHA                                                                                  UNDETERMINED
                                                             þ Contingent
                                                             þ Unliquidated
                                                             þ Disputed
           Date or dates debt was incurred                   Basis for the claim:
           VARIOUS                                           WORKERS COMPENSATION
           Last 4 digits of account number:                  Is the claim subject to offset?

                                                             þ No
                                                             ¨ Yes

3.1629.    Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                             Check all that apply.
           SAUERS, VALERIE E.                                                                                UNDETERMINED
           J. NELSON THOMAS THOMAS & SOLOMON LLP             þ Contingent
           693 EAST AVENUE
           ROCHESTER NY 14607                                þ Unliquidated
                                                             þ Disputed
           Date or dates debt was incurred                   Basis for the claim:
           VARIOUS                                           CIVIL ACTION NO. 6:15-CV-06742
                                                             PENDING LITIGATION
           Last 4 digits of account number:
                                                             Is the claim subject to offset?

                                                             þ No
                                                             ¨ Yes




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Debtor    MAC ACQUISITION LLC                                                                                Case number (if known) 17-12224




3.1630.    Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                             Check all that apply.
           SAUERS, VALERIE ELIZABETH                                                                         UNDETERMINED
           J. NELSON THOMAS THOMAS & SOLOMON LLP             þ Contingent
           693 EAST AVENUE
           ROCHESTER NY 14607                                þ Unliquidated
                                                             þ Disputed
           Date or dates debt was incurred                   Basis for the claim:
           VARIOUS                                           CIVIL ACTION NO. 6:15-CV-06742
                                                             PENDING LITIGATION
           Last 4 digits of account number:
                                                             Is the claim subject to offset?

                                                             þ No
                                                             ¨ Yes

3.1631.    Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                             Check all that apply.
           SAVINS, AMBERLY RENEE                                                                             UNDETERMINED
           J. NELSON THOMAS THOMAS & SOLOMON LLP             þ Contingent
           693 EAST AVENUE
           ROCHESTER NY 14607                                þ Unliquidated
                                                             þ Disputed
           Date or dates debt was incurred                   Basis for the claim:
           VARIOUS                                           CIVIL ACTION NO. 6:15-CV-06742
                                                             PENDING LITIGATION
           Last 4 digits of account number:
                                                             Is the claim subject to offset?

                                                             þ No
                                                             ¨ Yes

3.1632.    Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                             Check all that apply.
           SAVINS, STEPHEN JAMES                                                                             UNDETERMINED
           J. NELSON THOMAS THOMAS & SOLOMON LLP             þ Contingent
           693 EAST AVENUE
           ROCHESTER NY 14607                                þ Unliquidated
                                                             þ Disputed
           Date or dates debt was incurred                   Basis for the claim:
           VARIOUS                                           CIVIL ACTION NO. 6:15-CV-06742
                                                             PENDING LITIGATION
           Last 4 digits of account number:
                                                             Is the claim subject to offset?

                                                             þ No
                                                             ¨ Yes




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Debtor    MAC ACQUISITION LLC                                                                                Case number (if known) 17-12224




3.1633.    Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                             Check all that apply.
           SAVITZ, ASHLEY                                                                                    UNDETERMINED
           J. NELSON THOMAS THOMAS & SOLOMON LLP             þ Contingent
           693 EAST AVENUE
           ROCHESTER NY 14607                                þ Unliquidated
                                                             þ Disputed
           Date or dates debt was incurred                   Basis for the claim:
           VARIOUS                                           CIVIL ACTION NO. 6:15-CV-06742
                                                             PENDING LITIGATION
           Last 4 digits of account number:
                                                             Is the claim subject to offset?

                                                             þ No
                                                             ¨ Yes

3.1634.    Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                             Check all that apply.
           SBORAY, ASHLY GRACE                                                                               UNDETERMINED
           J. NELSON THOMAS THOMAS & SOLOMON LLP             þ Contingent
           693 EAST AVENUE
           ROCHESTER NY 14607                                þ Unliquidated
                                                             þ Disputed
           Date or dates debt was incurred                   Basis for the claim:
           VARIOUS                                           CIVIL ACTION NO. 6:15-CV-06742
                                                             PENDING LITIGATION
           Last 4 digits of account number:
                                                             Is the claim subject to offset?

                                                             þ No
                                                             ¨ Yes

3.1635.    Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                             Check all that apply.
           SCHAEFFER, NICOLE JO                                                                              UNDETERMINED
           J. NELSON THOMAS THOMAS & SOLOMON LLP             þ Contingent
           693 EAST AVENUE
           ROCHESTER NY 14607                                þ Unliquidated
                                                             þ Disputed
           Date or dates debt was incurred                   Basis for the claim:
           VARIOUS                                           CIVIL ACTION NO. 6:15-CV-06742
                                                             PENDING LITIGATION
           Last 4 digits of account number:
                                                             Is the claim subject to offset?

                                                             þ No
                                                             ¨ Yes




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Debtor    MAC ACQUISITION LLC                                                                                Case number (if known) 17-12224




3.1636.    Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                             Check all that apply.
           SCHEIDT , CATHERINE                                                                               UNDETERMINED
                                                             þ Contingent
                                                             þ Unliquidated
                                                             þ Disputed
           Date or dates debt was incurred                   Basis for the claim:
           VARIOUS                                           GENERAL LIABILITY CLAIMS
           Last 4 digits of account number:                  Is the claim subject to offset?

                                                             þ No
                                                             ¨ Yes

3.1637.    Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                             Check all that apply.
           SCHENCK, ALEXANDRA NICOLE                                                                         UNDETERMINED
           J. NELSON THOMAS THOMAS & SOLOMON LLP             þ Contingent
           693 EAST AVENUE
           ROCHESTER NY 14607                                þ Unliquidated
                                                             þ Disputed
           Date or dates debt was incurred                   Basis for the claim:
           VARIOUS                                           CIVIL ACTION NO. 6:15-CV-06742
                                                             PENDING LITIGATION
           Last 4 digits of account number:
                                                             Is the claim subject to offset?

                                                             þ No
                                                             ¨ Yes

3.1638.    Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                             Check all that apply.
           SCHMIDT, ANGELA D.                                                                                UNDETERMINED
           J. NELSON THOMAS THOMAS & SOLOMON LLP             þ Contingent
           693 EAST AVENUE
           ROCHESTER NY 14607                                þ Unliquidated
                                                             þ Disputed
           Date or dates debt was incurred                   Basis for the claim:
           VARIOUS                                           CIVIL ACTION NO. 6:15-CV-06742
                                                             PENDING LITIGATION
           Last 4 digits of account number:
                                                             Is the claim subject to offset?

                                                             þ No
                                                             ¨ Yes




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Debtor    MAC ACQUISITION LLC                                                                                Case number (if known) 17-12224




3.1639.    Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                             Check all that apply.
           SCHMIDT, GWENDOLYN KEA                                                                            UNDETERMINED
           J. NELSON THOMAS THOMAS & SOLOMON LLP             þ Contingent
           693 EAST AVENUE
           ROCHESTER NY 14607                                þ Unliquidated
                                                             þ Disputed
           Date or dates debt was incurred                   Basis for the claim:
           VARIOUS                                           CIVIL ACTION NO. 6:15-CV-06742
                                                             PENDING LITIGATION
           Last 4 digits of account number:
                                                             Is the claim subject to offset?

                                                             þ No
                                                             ¨ Yes

3.1640.    Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                             Check all that apply.
           SCHNEIDER ELECTRIC                                                                                $41,349.12
           25716 NETWORK PLACE                               ¨ Contingent
           CHICAGO IL 60673-1257
                                                             ¨ Unliquidated
                                                             ¨ Disputed
           Date or dates debt was incurred                   Basis for the claim:
           VARIOUS                                           UTILITIES
           Last 4 digits of account number:                  Is the claim subject to offset?

                                                             þ No
                                                             ¨ Yes

3.1641.    Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                             Check all that apply.
           SCHOENMANN PRODUCE CO INC                                                                         $16,888.11
           PO BOX 51705                                      ¨ Contingent
           LAFAYETTE LA 77061
                                                             ¨ Unliquidated
                                                             ¨ Disputed
           Date or dates debt was incurred                   Basis for the claim:
           VARIOUS                                           TRADE ACCOUNTS PAYABLE
           Last 4 digits of account number:                  Is the claim subject to offset?

                                                             þ No
                                                             ¨ Yes




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Debtor    MAC ACQUISITION LLC                                                                                Case number (if known) 17-12224




3.1642.    Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                             Check all that apply.
           SCHOLZ, MARIA J.                                                                                  UNDETERMINED
           J. NELSON THOMAS THOMAS & SOLOMON LLP             þ Contingent
           693 EAST AVENUE
           ROCHESTER NY 14607                                þ Unliquidated
                                                             þ Disputed
           Date or dates debt was incurred                   Basis for the claim:
           VARIOUS                                           CIVIL ACTION NO. 6:15-CV-06742
                                                             PENDING LITIGATION
           Last 4 digits of account number:
                                                             Is the claim subject to offset?

                                                             þ No
                                                             ¨ Yes

3.1643.    Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                             Check all that apply.
           SCHOTT, BETH SHARON                                                                               UNDETERMINED
           J. NELSON THOMAS THOMAS & SOLOMON LLP             þ Contingent
           693 EAST AVENUE
           ROCHESTER NY 14607                                þ Unliquidated
                                                             þ Disputed
           Date or dates debt was incurred                   Basis for the claim:
           VARIOUS                                           CIVIL ACTION NO. 6:15-CV-06742
                                                             PENDING LITIGATION
           Last 4 digits of account number:
                                                             Is the claim subject to offset?

                                                             þ No
                                                             ¨ Yes

3.1644.    Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                             Check all that apply.
           SCHUTZ, CRISTIN GIBBONS                                                                           UNDETERMINED
           J. NELSON THOMAS THOMAS & SOLOMON LLP             þ Contingent
           693 EAST AVENUE
           ROCHESTER NY 14607                                þ Unliquidated
                                                             þ Disputed
           Date or dates debt was incurred                   Basis for the claim:
           VARIOUS                                           CIVIL ACTION NO. 6:15-CV-06742
                                                             PENDING LITIGATION
           Last 4 digits of account number:
                                                             Is the claim subject to offset?

                                                             þ No
                                                             ¨ Yes




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Debtor    MAC ACQUISITION LLC                                                                                Case number (if known) 17-12224




3.1645.    Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                             Check all that apply.
           SCHWANKE, DANIELLE NICOLE                                                                         UNDETERMINED
           J. NELSON THOMAS THOMAS & SOLOMON LLP             þ Contingent
           693 EAST AVENUE
           ROCHESTER NY 14607                                þ Unliquidated
                                                             þ Disputed
           Date or dates debt was incurred                   Basis for the claim:
           VARIOUS                                           CIVIL ACTION NO. 6:15-CV-06742
                                                             PENDING LITIGATION
           Last 4 digits of account number:
                                                             Is the claim subject to offset?

                                                             þ No
                                                             ¨ Yes

3.1646.    Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                             Check all that apply.
           SCHWARTZ, ALISON A.                                                                               UNDETERMINED
           J. NELSON THOMAS THOMAS & SOLOMON LLP             þ Contingent
           693 EAST AVENUE
           ROCHESTER NY 14607                                þ Unliquidated
                                                             þ Disputed
           Date or dates debt was incurred                   Basis for the claim:
           VARIOUS                                           CIVIL ACTION NO. 6:15-CV-06742
                                                             PENDING LITIGATION
           Last 4 digits of account number:
                                                             Is the claim subject to offset?

                                                             þ No
                                                             ¨ Yes

3.1647.    Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                             Check all that apply.
           SCHWARTZ, SARAH D.                                                                                UNDETERMINED
           J. NELSON THOMAS THOMAS & SOLOMON LLP             þ Contingent
           693 EAST AVENUE
           ROCHESTER NY 14607                                þ Unliquidated
                                                             þ Disputed
           Date or dates debt was incurred                   Basis for the claim:
           VARIOUS                                           CIVIL ACTION NO. 6:15-CV-06742
                                                             PENDING LITIGATION
           Last 4 digits of account number:
                                                             Is the claim subject to offset?

                                                             þ No
                                                             ¨ Yes




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Debtor    MAC ACQUISITION LLC                                                                                Case number (if known) 17-12224




3.1648.    Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                             Check all that apply.
           SCHWARTZ, SARAH D.                                                                                UNDETERMINED
           J. NELSON THOMAS THOMAS & SOLOMON LLP             þ Contingent
           693 EAST AVENUE
           ROCHESTER NY 14607                                þ Unliquidated
                                                             þ Disputed
           Date or dates debt was incurred                   Basis for the claim:
           VARIOUS                                           CIVIL ACTION NO. 6:15-CV-06742
                                                             PENDING LITIGATION
           Last 4 digits of account number:
                                                             Is the claim subject to offset?

                                                             þ No
                                                             ¨ Yes

3.1649.    Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                             Check all that apply.
           SCHWARTZEL, KAITLIN ANN                                                                           UNDETERMINED
           J. NELSON THOMAS THOMAS & SOLOMON LLP             þ Contingent
           693 EAST AVENUE
           ROCHESTER NY 14607                                þ Unliquidated
                                                             þ Disputed
           Date or dates debt was incurred                   Basis for the claim:
           VARIOUS                                           CIVIL ACTION NO. 6:15-CV-06742
                                                             PENDING LITIGATION
           Last 4 digits of account number:
                                                             Is the claim subject to offset?

                                                             þ No
                                                             ¨ Yes

3.1650.    Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                             Check all that apply.
           SCHWEREN, BRIDEN                                                                                  UNDETERMINED
           J. NELSON THOMAS THOMAS & SOLOMON LLP             þ Contingent
           693 EAST AVENUE
           ROCHESTER NY 14607                                þ Unliquidated
                                                             þ Disputed
           Date or dates debt was incurred                   Basis for the claim:
           VARIOUS                                           CIVIL ACTION NO. 6:15-CV-06742
                                                             PENDING LITIGATION
           Last 4 digits of account number:
                                                             Is the claim subject to offset?

                                                             þ No
                                                             ¨ Yes




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Debtor    MAC ACQUISITION LLC                                                                                Case number (if known) 17-12224




3.1651.    Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                             Check all that apply.
           SCIMECA, LISA MARIE                                                                               UNDETERMINED
           J. NELSON THOMAS THOMAS & SOLOMON LLP             þ Contingent
           693 EAST AVENUE
           ROCHESTER NY 14607                                þ Unliquidated
                                                             þ Disputed
           Date or dates debt was incurred                   Basis for the claim:
           VARIOUS                                           CIVIL ACTION NO. 6:15-CV-06742
                                                             PENDING LITIGATION
           Last 4 digits of account number:
                                                             Is the claim subject to offset?

                                                             þ No
                                                             ¨ Yes

3.1652.    Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                             Check all that apply.
           SCOTT C MCDERMAND AS TRUSTEE                                                                      $16,203.31
           PO BOX 691                                        ¨ Contingent
           JAMUL CA 91935
                                                             ¨ Unliquidated
                                                             ¨ Disputed
           Date or dates debt was incurred                   Basis for the claim:
           VARIOUS                                           LEASE
           Last 4 digits of account number:                  Is the claim subject to offset?

                                                             þ No
                                                             ¨ Yes

3.1653.    Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                             Check all that apply.
           SCOTT, ASHLEY ALEXANDRA                                                                           UNDETERMINED
           J. NELSON THOMAS THOMAS & SOLOMON LLP             þ Contingent
           693 EAST AVENUE
           ROCHESTER NY 14607                                þ Unliquidated
                                                             þ Disputed
           Date or dates debt was incurred                   Basis for the claim:
           VARIOUS                                           CIVIL ACTION NO. 6:15-CV-06742
                                                             PENDING LITIGATION
           Last 4 digits of account number:
                                                             Is the claim subject to offset?

                                                             þ No
                                                             ¨ Yes




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Debtor    MAC ACQUISITION LLC                                                                                Case number (if known) 17-12224




3.1654.    Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                             Check all that apply.
           SCOTT, CAROL ANN                                                                                  UNDETERMINED
           J. NELSON THOMAS THOMAS & SOLOMON LLP             þ Contingent
           693 EAST AVENUE
           ROCHESTER NY 14607                                þ Unliquidated
                                                             þ Disputed
           Date or dates debt was incurred                   Basis for the claim:
           VARIOUS                                           CIVIL ACTION NO. 6:15-CV-06742
                                                             PENDING LITIGATION
           Last 4 digits of account number:
                                                             Is the claim subject to offset?

                                                             þ No
                                                             ¨ Yes

3.1655.    Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                             Check all that apply.
           SCOTT, CEIRRA DANIELLE                                                                            UNDETERMINED
           J. NELSON THOMAS THOMAS & SOLOMON LLP             þ Contingent
           693 EAST AVENUE
           ROCHESTER NY 14607                                þ Unliquidated
                                                             þ Disputed
           Date or dates debt was incurred                   Basis for the claim:
           VARIOUS                                           CIVIL ACTION NO. 6:15-CV-06742
                                                             PENDING LITIGATION
           Last 4 digits of account number:
                                                             Is the claim subject to offset?

                                                             þ No
                                                             ¨ Yes

3.1656.    Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                             Check all that apply.
           SCOTT, CHRISTINA                                                                                  UNDETERMINED
           J. NELSON THOMAS THOMAS & SOLOMON LLP             þ Contingent
           693 EAST AVENUE
           ROCHESTER NY 14607                                þ Unliquidated
                                                             þ Disputed
           Date or dates debt was incurred                   Basis for the claim:
           VARIOUS                                           CIVIL ACTION NO. 6:15-CV-06742
                                                             PENDING LITIGATION
           Last 4 digits of account number:
                                                             Is the claim subject to offset?

                                                             þ No
                                                             ¨ Yes




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Debtor    MAC ACQUISITION LLC                                                                                Case number (if known) 17-12224




3.1657.    Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                             Check all that apply.
           SCOTT, JR., NORRIS                                                                                UNDETERMINED
           J. NELSON THOMAS THOMAS & SOLOMON LLP             þ Contingent
           693 EAST AVENUE
           ROCHESTER NY 14607                                þ Unliquidated
                                                             þ Disputed
           Date or dates debt was incurred                   Basis for the claim:
           VARIOUS                                           CIVIL ACTION NO. 6:15-CV-06742
                                                             PENDING LITIGATION
           Last 4 digits of account number:
                                                             Is the claim subject to offset?

                                                             þ No
                                                             ¨ Yes

3.1658.    Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                             Check all that apply.
           SCOTTS EQUIPMENT REPAIR                                                                           $135.00
           122 CHILDERS CIRCLE                               ¨ Contingent
           C/O RANDALL SCOTT
           PIEDMONT SC 29673                                 ¨ Unliquidated
                                                             ¨ Disputed
           Date or dates debt was incurred                   Basis for the claim:
           VARIOUS                                           TRADE ACCOUNTS PAYABLE
           Last 4 digits of account number:                  Is the claim subject to offset?

                                                             þ No
                                                             ¨ Yes

3.1659.    Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                             Check all that apply.
           SCRANTON REALTY LLC                                                                               UNDETERMINED
           DONN WEINBERG                                     þ Contingent
           JOEL WINEGARDEN
           7 PARK CTR CT                                     þ Unliquidated
           OWINGS MILLS MD 21117                             þ Disputed
           Date or dates debt was incurred                   Basis for the claim:
           VARIOUS                                           LANDLORD CLAIM
           Last 4 digits of account number:                  Is the claim subject to offset?

                                                             þ No
                                                             ¨ Yes




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Debtor    MAC ACQUISITION LLC                                                                                Case number (if known) 17-12224




3.1660.    Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                             Check all that apply.
           SCURRY, JONATHAN LINNE                                                                            UNDETERMINED
           J. NELSON THOMAS THOMAS & SOLOMON LLP             þ Contingent
           693 EAST AVENUE
           ROCHESTER NY 14607                                þ Unliquidated
                                                             þ Disputed
           Date or dates debt was incurred                   Basis for the claim:
           VARIOUS                                           CIVIL ACTION NO. 6:15-CV-06742
                                                             PENDING LITIGATION
           Last 4 digits of account number:
                                                             Is the claim subject to offset?

                                                             þ No
                                                             ¨ Yes

3.1661.    Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                             Check all that apply.
           SEAY, ARIUS CHEVON                                                                                UNDETERMINED
           J. NELSON THOMAS THOMAS & SOLOMON LLP             þ Contingent
           693 EAST AVENUE
           ROCHESTER NY 14607                                þ Unliquidated
                                                             þ Disputed
           Date or dates debt was incurred                   Basis for the claim:
           VARIOUS                                           CIVIL ACTION NO. 6:15-CV-06742
                                                             PENDING LITIGATION
           Last 4 digits of account number:
                                                             Is the claim subject to offset?

                                                             þ No
                                                             ¨ Yes

3.1662.    Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                             Check all that apply.
           SEBOK, DORA                                                                                       UNDETERMINED
                                                             þ Contingent
                                                             þ Unliquidated
                                                             þ Disputed
           Date or dates debt was incurred                   Basis for the claim:
           VARIOUS                                           GENERAL LIABILITY CLAIMS
           Last 4 digits of account number:                  Is the claim subject to offset?

                                                             þ No
                                                             ¨ Yes




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Debtor    MAC ACQUISITION LLC                                                                                Case number (if known) 17-12224




3.1663.    Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                             Check all that apply.
           SECOND FLORIDA BS INVESTMENTS, LLC                                                                UNDETERMINED
           LESLIE H. PITMAN, ESQ.                            þ Contingent
           P.O. DRAWER 4540
           GILPIN GIVHAN, PC                                 þ Unliquidated
           MONTGOMERY AL 36103                               þ Disputed
           Date or dates debt was incurred                   Basis for the claim:
           VARIOUS                                           CASE NO. 47-CV-2017-900316.00
                                                             PENDING REAL ESTATE LITIGATION
           Last 4 digits of account number:
                                                             Is the claim subject to offset?

                                                             þ No
                                                             ¨ Yes

3.1664.    Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                             Check all that apply.
           SECURITY FIRE PROTECTION CO, INC.                                                                 $562.00
           4495 S MENDENHAIL ROAD                            ¨ Contingent
           MEMPHIS TN 38141
                                                             ¨ Unliquidated
                                                             ¨ Disputed
           Date or dates debt was incurred                   Basis for the claim:
           VARIOUS                                           TRADE ACCOUNTS PAYABLE
           Last 4 digits of account number:                  Is the claim subject to offset?

                                                             þ No
                                                             ¨ Yes

3.1665.    Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                             Check all that apply.
           SEDILLO LANDSCAPING INC.                                                                          $977.80
           PO BOX 570097                                     ¨ Contingent
           LAS VEGAS NV 89157
                                                             ¨ Unliquidated
                                                             ¨ Disputed
           Date or dates debt was incurred                   Basis for the claim:
           VARIOUS                                           TRADE ACCOUNTS PAYABLE
           Last 4 digits of account number:                  Is the claim subject to offset?

                                                             þ No
                                                             ¨ Yes




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Debtor    MAC ACQUISITION LLC                                                                                Case number (if known) 17-12224




3.1666.    Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                             Check all that apply.
           SEIGAL, STEPHEN LEE                                                                               UNDETERMINED
           J. NELSON THOMAS THOMAS & SOLOMON LLP             þ Contingent
           693 EAST AVENUE
           ROCHESTER NY 14607                                þ Unliquidated
                                                             þ Disputed
           Date or dates debt was incurred                   Basis for the claim:
           VARIOUS                                           CIVIL ACTION NO. 6:15-CV-06742
                                                             PENDING LITIGATION
           Last 4 digits of account number:
                                                             Is the claim subject to offset?

                                                             þ No
                                                             ¨ Yes

3.1667.    Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                             Check all that apply.
           SEMENOV, ARSENIE                                                                                  UNDETERMINED
           J. NELSON THOMAS THOMAS & SOLOMON LLP             þ Contingent
           693 EAST AVENUE
           ROCHESTER NY 14607                                þ Unliquidated
                                                             þ Disputed
           Date or dates debt was incurred                   Basis for the claim:
           VARIOUS                                           CIVIL ACTION NO. 6:15-CV-06742
                                                             PENDING LITIGATION
           Last 4 digits of account number:
                                                             Is the claim subject to offset?

                                                             þ No
                                                             ¨ Yes

3.1668.    Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                             Check all that apply.
           SENA, ALEXYS                                                                                      UNDETERMINED
           J. NELSON THOMAS THOMAS & SOLOMON LLP             þ Contingent
           693 EAST AVENUE
           ROCHESTER NY 14607                                þ Unliquidated
                                                             þ Disputed
           Date or dates debt was incurred                   Basis for the claim:
           VARIOUS                                           CIVIL ACTION NO. 6:15-CV-06742
                                                             PENDING LITIGATION
           Last 4 digits of account number:
                                                             Is the claim subject to offset?

                                                             þ No
                                                             ¨ Yes




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Debtor    MAC ACQUISITION LLC                                                                                Case number (if known) 17-12224




3.1669.    Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                             Check all that apply.
           SERITAGE GROWTH PROPERTIES LP                                                                     UNDETERMINED
           MATTHEW FERNAND                                   þ Contingent
           OWNER
           54 W 40TH ST STE 10N                              þ Unliquidated
           NEW YORK NY 10018                                 þ Disputed
           Date or dates debt was incurred                   Basis for the claim:
           VARIOUS                                           LANDLORD CLAIM
           Last 4 digits of account number:                  Is the claim subject to offset?

                                                             þ No
                                                             ¨ Yes

3.1670.    Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                             Check all that apply.
           SERRANO, ANGELINA                                                                                 UNDETERMINED
           J. NELSON THOMAS THOMAS & SOLOMON LLP             þ Contingent
           693 EAST AVENUE
           ROCHESTER NY 14607                                þ Unliquidated
                                                             þ Disputed
           Date or dates debt was incurred                   Basis for the claim:
           VARIOUS                                           CIVIL ACTION NO. 6:15-CV-06742
                                                             PENDING LITIGATION
           Last 4 digits of account number:
                                                             Is the claim subject to offset?

                                                             þ No
                                                             ¨ Yes

3.1671.    Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                             Check all that apply.
           SERVCO LLC                                                                                        $815.68
           701 BAGLEY DR                                     ¨ Contingent
           TRUSSVILLE AL 35173
                                                             ¨ Unliquidated
                                                             ¨ Disputed
           Date or dates debt was incurred                   Basis for the claim:
           VARIOUS                                           TRADE ACCOUNTS PAYABLE
           Last 4 digits of account number:                  Is the claim subject to offset?

                                                             þ No
                                                             ¨ Yes




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Debtor    MAC ACQUISITION LLC                                                                                Case number (if known) 17-12224




3.1672.    Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                             Check all that apply.
           SERVICE PROFESSOR INC                                                                             $439.00
           4770 50TH STREET SE                               ¨ Contingent
           GRAND RAPIDS MI 49512
                                                             ¨ Unliquidated
                                                             ¨ Disputed
           Date or dates debt was incurred                   Basis for the claim:
           VARIOUS                                           TRADE ACCOUNTS PAYABLE
           Last 4 digits of account number:                  Is the claim subject to offset?

                                                             þ No
                                                             ¨ Yes

3.1673.    Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                             Check all that apply.
           SEWELL, ZAKKIYYA                                                                                  UNDETERMINED
           J. NELSON THOMAS THOMAS & SOLOMON LLP             þ Contingent
           693 EAST AVENUE
           ROCHESTER NY 14607                                þ Unliquidated
                                                             þ Disputed
           Date or dates debt was incurred                   Basis for the claim:
           VARIOUS                                           CIVIL ACTION NO. 6:15-CV-06742
                                                             PENDING LITIGATION
           Last 4 digits of account number:
                                                             Is the claim subject to offset?

                                                             þ No
                                                             ¨ Yes

3.1674.    Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                             Check all that apply.
           SHANDS, JUSTIN MICHAEL                                                                            UNDETERMINED
           J. NELSON THOMAS THOMAS & SOLOMON LLP             þ Contingent
           693 EAST AVENUE
           ROCHESTER NY 14607                                þ Unliquidated
                                                             þ Disputed
           Date or dates debt was incurred                   Basis for the claim:
           VARIOUS                                           CIVIL ACTION NO. 6:15-CV-06742
                                                             PENDING LITIGATION
           Last 4 digits of account number:
                                                             Is the claim subject to offset?

                                                             þ No
                                                             ¨ Yes




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Debtor    MAC ACQUISITION LLC                                                                                Case number (if known) 17-12224




3.1675.    Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                             Check all that apply.
           SHANKAR NEVADA LLC                                                                                UNDETERMINED
           EUGENE BURGER MANAGEMENT                          þ Contingent
           CORPORATION
           KEVIN MOLONEY DISTRICT MANAGER                    þ Unliquidated
           5011 MEADOWOOD MALL WAY STE 200
           RENO NV 89502
                                                             þ Disputed
           Date or dates debt was incurred                   Basis for the claim:
           VARIOUS                                           LANDLORD CLAIM
           Last 4 digits of account number:                  Is the claim subject to offset?

                                                             þ No
                                                             ¨ Yes

3.1676.    Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                             Check all that apply.
           SHARFF, SHIRLEY                                                                                   UNDETERMINED
                                                             þ Contingent
                                                             þ Unliquidated
                                                             þ Disputed
           Date or dates debt was incurred                   Basis for the claim:
           VARIOUS                                           GENERAL LIABILITY CLAIMS
           Last 4 digits of account number:                  Is the claim subject to offset?

                                                             þ No
                                                             ¨ Yes

3.1677.    Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                             Check all that apply.
           SHARICK, KATLYN NICOLE                                                                            UNDETERMINED
           J. NELSON THOMAS THOMAS & SOLOMON LLP             þ Contingent
           693 EAST AVENUE
           ROCHESTER NY 14607                                þ Unliquidated
                                                             þ Disputed
           Date or dates debt was incurred                   Basis for the claim:
           VARIOUS                                           CIVIL ACTION NO. 6:15-CV-06742
                                                             PENDING LITIGATION
           Last 4 digits of account number:
                                                             Is the claim subject to offset?

                                                             þ No
                                                             ¨ Yes




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Debtor    MAC ACQUISITION LLC                                                                                Case number (if known) 17-12224




3.1678.    Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                             Check all that apply.
           SHEARER, AMANDA MARIE                                                                             UNDETERMINED
           J. NELSON THOMAS THOMAS & SOLOMON LLP             þ Contingent
           693 EAST AVENUE
           ROCHESTER NY 14607                                þ Unliquidated
                                                             þ Disputed
           Date or dates debt was incurred                   Basis for the claim:
           VARIOUS                                           CIVIL ACTION NO. 6:15-CV-06742
                                                             PENDING LITIGATION
           Last 4 digits of account number:
                                                             Is the claim subject to offset?

                                                             þ No
                                                             ¨ Yes

3.1679.    Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                             Check all that apply.
           SHEARER, NIKKI LYNN                                                                               UNDETERMINED
           J. NELSON THOMAS THOMAS & SOLOMON LLP             þ Contingent
           693 EAST AVENUE
           ROCHESTER NY 14607                                þ Unliquidated
                                                             þ Disputed
           Date or dates debt was incurred                   Basis for the claim:
           VARIOUS                                           CIVIL ACTION NO. 6:15-CV-06742
                                                             PENDING LITIGATION
           Last 4 digits of account number:
                                                             Is the claim subject to offset?

                                                             þ No
                                                             ¨ Yes

3.1680.    Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                             Check all that apply.
           SHELTON, MICHAEL MUNROE                                                                           UNDETERMINED
           J. NELSON THOMAS THOMAS & SOLOMON LLP             þ Contingent
           693 EAST AVENUE
           ROCHESTER NY 14607                                þ Unliquidated
                                                             þ Disputed
           Date or dates debt was incurred                   Basis for the claim:
           VARIOUS                                           CIVIL ACTION NO. 6:15-CV-06742
                                                             PENDING LITIGATION
           Last 4 digits of account number:
                                                             Is the claim subject to offset?

                                                             þ No
                                                             ¨ Yes




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Debtor    MAC ACQUISITION LLC                                                                                Case number (if known) 17-12224




3.1681.    Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                             Check all that apply.
           SHENKER RUSSO & CLARK LLP                                                                         $4,014.50
           121 STATE STREET                                  ¨ Contingent
           ALBANY NY 12207
                                                             ¨ Unliquidated
                                                             ¨ Disputed
           Date or dates debt was incurred                   Basis for the claim:
           VARIOUS                                           LEGAL
           Last 4 digits of account number:                  Is the claim subject to offset?

                                                             þ No
                                                             ¨ Yes

3.1682.    Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                             Check all that apply.
           SHEPHERDS RESTAURANT SVC INC                                                                      $240.15
           PO BOX 1711                                       ¨ Contingent
           WAKE FOREST NC 27588
                                                             ¨ Unliquidated
                                                             ¨ Disputed
           Date or dates debt was incurred                   Basis for the claim:
           VARIOUS                                           TRADE ACCOUNTS PAYABLE
           Last 4 digits of account number:                  Is the claim subject to offset?

                                                             þ No
                                                             ¨ Yes

3.1683.    Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                             Check all that apply.
           SHERIDAN, COURTNEY                                                                                UNDETERMINED
           J. NELSON THOMAS THOMAS & SOLOMON LLP             þ Contingent
           693 EAST AVENUE
           ROCHESTER NY 14607                                þ Unliquidated
                                                             þ Disputed
           Date or dates debt was incurred                   Basis for the claim:
           VARIOUS                                           CIVIL ACTION NO. 6:15-CV-06742
                                                             PENDING LITIGATION
           Last 4 digits of account number:
                                                             Is the claim subject to offset?

                                                             þ No
                                                             ¨ Yes




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Debtor    MAC ACQUISITION LLC                                                                                Case number (if known) 17-12224




3.1684.    Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                             Check all that apply.
           SHERMAN, DANIEL                                                                                   UNDETERMINED
           J. NELSON THOMAS THOMAS & SOLOMON LLP             þ Contingent
           693 EAST AVENUE
           ROCHESTER NY 14607                                þ Unliquidated
                                                             þ Disputed
           Date or dates debt was incurred                   Basis for the claim:
           VARIOUS                                           CIVIL ACTION NO. 6:15-CV-06742
                                                             PENDING LITIGATION
           Last 4 digits of account number:
                                                             Is the claim subject to offset?

                                                             þ No
                                                             ¨ Yes

3.1685.    Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                             Check all that apply.
           SHIRK, ERIN                                                                                       UNDETERMINED
           J. NELSON THOMAS THOMAS & SOLOMON LLP             þ Contingent
           693 EAST AVENUE
           ROCHESTER NY 14607                                þ Unliquidated
                                                             þ Disputed
           Date or dates debt was incurred                   Basis for the claim:
           VARIOUS                                           CIVIL ACTION NO. 6:15-CV-06742
                                                             PENDING LITIGATION
           Last 4 digits of account number:
                                                             Is the claim subject to offset?

                                                             þ No
                                                             ¨ Yes

3.1686.    Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                             Check all that apply.
           SHIVELY, JOHN VAL                                                                                 UNDETERMINED
           J. NELSON THOMAS THOMAS & SOLOMON LLP             þ Contingent
           693 EAST AVENUE
           ROCHESTER NY 14607                                þ Unliquidated
                                                             þ Disputed
           Date or dates debt was incurred                   Basis for the claim:
           VARIOUS                                           CIVIL ACTION NO. 6:15-CV-06742
                                                             PENDING LITIGATION
           Last 4 digits of account number:
                                                             Is the claim subject to offset?

                                                             þ No
                                                             ¨ Yes




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Debtor    MAC ACQUISITION LLC                                                                                Case number (if known) 17-12224




3.1687.    Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                             Check all that apply.
           SHOEMAKER, JAYDEN ELIZABETH                                                                       UNDETERMINED
           J. NELSON THOMAS THOMAS & SOLOMON LLP             þ Contingent
           693 EAST AVENUE
           ROCHESTER NY 14607                                þ Unliquidated
                                                             þ Disputed
           Date or dates debt was incurred                   Basis for the claim:
           VARIOUS                                           CIVIL ACTION NO. 6:15-CV-06742
                                                             PENDING LITIGATION
           Last 4 digits of account number:
                                                             Is the claim subject to offset?

                                                             þ No
                                                             ¨ Yes

3.1688.    Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                             Check all that apply.
           SHOES FOR CREWS LLC                                                                               $838.71
           FILE LOCKBOX 51151                                ¨ Contingent
           LOS ANGELES CA 90074
                                                             ¨ Unliquidated
                                                             ¨ Disputed
           Date or dates debt was incurred                   Basis for the claim:
           VARIOUS                                           TRADE ACCOUNTS PAYABLE
           Last 4 digits of account number:                  Is the claim subject to offset?

                                                             þ No
                                                             ¨ Yes

3.1689.    Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                             Check all that apply.
           SHOPPING CENTER ASSOCIATES                                                                        UNDETERMINED
           LAWRENCE M. BERKELEY, ESQ.                        þ Contingent
           120 EAGLE ROCK AVENUE
           FISHMAN, MCINTYRE, BERKELEY,                      þ Unliquidated
           LEVINE,SAMANSKY, P.C,
           EAST HANOVER NJ 07936
                                                             þ Disputed
           Date or dates debt was incurred                   Basis for the claim:
           VARIOUS                                           CASE NO. MID-L-4126-17 PENDING REAL
                                                             ESTATE LITIGATION
           Last 4 digits of account number:
                                                             Is the claim subject to offset?

                                                             þ No
                                                             ¨ Yes




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Debtor    MAC ACQUISITION LLC                                                                                Case number (if known) 17-12224




3.1690.    Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                             Check all that apply.
           SHORT, DENIS F.                                                                                   UNDETERMINED
           J. NELSON THOMAS THOMAS & SOLOMON LLP             þ Contingent
           693 EAST AVENUE
           ROCHESTER NY 14607                                þ Unliquidated
                                                             þ Disputed
           Date or dates debt was incurred                   Basis for the claim:
           VARIOUS                                           CIVIL ACTION NO. 6:15-CV-06742
                                                             PENDING LITIGATION
           Last 4 digits of account number:
                                                             Is the claim subject to offset?

                                                             þ No
                                                             ¨ Yes

3.1691.    Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                             Check all that apply.
           SHOWALTER, NIKKI                                                                                  UNDETERMINED
           J. NELSON THOMAS THOMAS & SOLOMON LLP             þ Contingent
           693 EAST AVENUE
           ROCHESTER NY 14607                                þ Unliquidated
                                                             þ Disputed
           Date or dates debt was incurred                   Basis for the claim:
           VARIOUS                                           CIVIL ACTION NO. 6:15-CV-06742
                                                             PENDING LITIGATION
           Last 4 digits of account number:
                                                             Is the claim subject to offset?

                                                             þ No
                                                             ¨ Yes

3.1692.    Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                             Check all that apply.
           SHRED-IT USA                                                                                      $440.95
           PO BOX 101007                                     ¨ Contingent
           PASADENA CA 91189-1007
                                                             ¨ Unliquidated
                                                             ¨ Disputed
           Date or dates debt was incurred                   Basis for the claim:
           VARIOUS                                           TRADE ACCOUNTS PAYABLE
           Last 4 digits of account number:                  Is the claim subject to offset?

                                                             þ No
                                                             ¨ Yes




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Debtor    MAC ACQUISITION LLC                                                                                Case number (if known) 17-12224




3.1693.    Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                             Check all that apply.
           SHUTTS & BOWEN                                                                                    $2,800.80
           C/O SUNTRUST BANK, N.A.                           ¨ Contingent
           25 PARK PLACE
           ATLANTA GA 30308                                  ¨ Unliquidated
                                                             ¨ Disputed
           Date or dates debt was incurred                   Basis for the claim:
           VARIOUS                                           LEGAL
           Last 4 digits of account number:                  Is the claim subject to offset?

                                                             þ No
                                                             ¨ Yes

3.1694.    Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                             Check all that apply.
           SIEHDA, CHRISTOPHER DOUGLAS                                                                       UNDETERMINED
           J. NELSON THOMAS THOMAS & SOLOMON LLP             þ Contingent
           693 EAST AVENUE
           ROCHESTER NY 14607                                þ Unliquidated
                                                             þ Disputed
           Date or dates debt was incurred                   Basis for the claim:
           VARIOUS                                           CIVIL ACTION NO. 6:15-CV-06742
                                                             PENDING LITIGATION
           Last 4 digits of account number:
                                                             Is the claim subject to offset?

                                                             þ No
                                                             ¨ Yes

3.1695.    Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                             Check all that apply.
           SIKES, AUTUM                                                                                      UNDETERMINED
           J. NELSON THOMAS THOMAS & SOLOMON LLP             þ Contingent
           693 EAST AVENUE
           ROCHESTER NY 14607                                þ Unliquidated
                                                             þ Disputed
           Date or dates debt was incurred                   Basis for the claim:
           VARIOUS                                           CIVIL ACTION NO. 6:15-CV-06742
                                                             PENDING LITIGATION
           Last 4 digits of account number:
                                                             Is the claim subject to offset?

                                                             þ No
                                                             ¨ Yes




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Debtor    MAC ACQUISITION LLC                                                                                Case number (if known) 17-12224




3.1696.    Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                             Check all that apply.
           SILKEY, LYNDA P.                                                                                  UNDETERMINED
           J. NELSON THOMAS THOMAS & SOLOMON LLP             þ Contingent
           693 EAST AVENUE
           ROCHESTER NY 14607                                þ Unliquidated
                                                             þ Disputed
           Date or dates debt was incurred                   Basis for the claim:
           VARIOUS                                           CIVIL ACTION NO. 6:15-CV-06742
                                                             PENDING LITIGATION
           Last 4 digits of account number:
                                                             Is the claim subject to offset?

                                                             þ No
                                                             ¨ Yes

3.1697.    Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                             Check all that apply.
           SILLS CUMMINS & GROSS PC                                                                          $1,086.75
           ONE RIVERFRONT PLAZA                              þ Contingent
           NEWARK NJ 07102
                                                             þ Unliquidated
                                                             þ Disputed
           Date or dates debt was incurred                   Basis for the claim:
           VARIOUS                                           TRADE ACCOUNTS PAYABLE
           Last 4 digits of account number:                  Is the claim subject to offset?

                                                             þ No
                                                             ¨ Yes

3.1698.    Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                             Check all that apply.
           SILVA, FERNANDO                                                                                   UNDETERMINED
           J. NELSON THOMAS THOMAS & SOLOMON LLP             þ Contingent
           693 EAST AVENUE
           ROCHESTER NY 14607                                þ Unliquidated
                                                             þ Disputed
           Date or dates debt was incurred                   Basis for the claim:
           VARIOUS                                           CIVIL ACTION NO. 6:15-CV-06742
                                                             PENDING LITIGATION
           Last 4 digits of account number:
                                                             Is the claim subject to offset?

                                                             þ No
                                                             ¨ Yes




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Debtor    MAC ACQUISITION LLC                                                                                Case number (if known) 17-12224




3.1699.    Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                             Check all that apply.
           SILVA, RYAN                                                                                       UNDETERMINED
           J. NELSON THOMAS THOMAS & SOLOMON LLP             þ Contingent
           693 EAST AVENUE
           ROCHESTER NY 14607                                þ Unliquidated
                                                             þ Disputed
           Date or dates debt was incurred                   Basis for the claim:
           VARIOUS                                           CIVIL ACTION NO. 6:15-CV-06742
                                                             PENDING LITIGATION
           Last 4 digits of account number:
                                                             Is the claim subject to offset?

                                                             þ No
                                                             ¨ Yes

3.1700.    Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                             Check all that apply.
           SILVER, ADAM WILLIAM                                                                              UNDETERMINED
           J. NELSON THOMAS THOMAS & SOLOMON LLP             þ Contingent
           693 EAST AVENUE
           ROCHESTER NY 14607                                þ Unliquidated
                                                             þ Disputed
           Date or dates debt was incurred                   Basis for the claim:
           VARIOUS                                           CIVIL ACTION NO. 6:15-CV-06742
                                                             PENDING LITIGATION
           Last 4 digits of account number:
                                                             Is the claim subject to offset?

                                                             þ No
                                                             ¨ Yes

3.1701.    Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                             Check all that apply.
           SILVERSTATE REFRIGERATION & HVAC LLC                                                              $11,473.54
           4535 COPPER SAGE ST                               ¨ Contingent
           LAS VEGAS NV 89115
                                                             ¨ Unliquidated
                                                             ¨ Disputed
           Date or dates debt was incurred                   Basis for the claim:
           VARIOUS                                           TRADE ACCOUNTS PAYABLE
           Last 4 digits of account number:                  Is the claim subject to offset?

                                                             þ No
                                                             ¨ Yes




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Debtor    MAC ACQUISITION LLC                                                                                Case number (if known) 17-12224




3.1702.    Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                             Check all that apply.
           SIMENTAL, RAUL                                                                                    UNDETERMINED
           J. NELSON THOMAS THOMAS & SOLOMON LLP             þ Contingent
           693 EAST AVENUE
           ROCHESTER NY 14607                                þ Unliquidated
                                                             þ Disputed
           Date or dates debt was incurred                   Basis for the claim:
           VARIOUS                                           CIVIL ACTION NO. 6:15-CV-06742
                                                             PENDING LITIGATION
           Last 4 digits of account number:
                                                             Is the claim subject to offset?

                                                             þ No
                                                             ¨ Yes

3.1703.    Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                             Check all that apply.
           SIMMONS, SUSAN                                                                                    UNDETERMINED
                                                             þ Contingent
                                                             þ Unliquidated
                                                             þ Disputed
           Date or dates debt was incurred                   Basis for the claim:
           VARIOUS                                           WORKERS COMPENSATION CLAIM - NO.
                                                             5028721
           Last 4 digits of account number:
                                                             Is the claim subject to offset?

                                                             þ No
                                                             ¨ Yes

3.1704.    Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                             Check all that apply.
           SIMMS, JR., JOHN EMERY                                                                            UNDETERMINED
           J. NELSON THOMAS THOMAS & SOLOMON LLP             þ Contingent
           693 EAST AVENUE
           ROCHESTER NY 14607                                þ Unliquidated
                                                             þ Disputed
           Date or dates debt was incurred                   Basis for the claim:
           VARIOUS                                           CIVIL ACTION NO. 6:15-CV-06742
                                                             PENDING LITIGATION
           Last 4 digits of account number:
                                                             Is the claim subject to offset?

                                                             þ No
                                                             ¨ Yes




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Debtor    MAC ACQUISITION LLC                                                                                Case number (if known) 17-12224




3.1705.    Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                             Check all that apply.
           SIMON PROPERTY GROUP, L.P.                                                                        UNDETERMINED
           CHRISTINE J. MCKENNA, ESQ.                        þ Contingent
           3020 NE 32ND AVE, SUITE 304
           MCKENNA, MCCAUSLAND & MURPHY PA                   þ Unliquidated
           FORT LAUDERDALE FL 33308                          þ Disputed
           Date or dates debt was incurred                   Basis for the claim:
           VARIOUS                                           CASE NO. 2017-CA-001148 PENDING
                                                             REAL ESTATE LITIGATION
           Last 4 digits of account number:
                                                             Is the claim subject to offset?

                                                             þ No
                                                             ¨ Yes

3.1706.    Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                             Check all that apply.
           SIMON ROOFING AND SHEET METAL CORP                                                                $18,115.84
           PO BOX 951109                                     ¨ Contingent
           CLEVELAND OH 44193
                                                             ¨ Unliquidated
                                                             ¨ Disputed
           Date or dates debt was incurred                   Basis for the claim:
           VARIOUS                                           TRADE ACCOUNTS PAYABLE
           Last 4 digits of account number:                  Is the claim subject to offset?

                                                             þ No
                                                             ¨ Yes

3.1707.    Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                             Check all that apply.
           SIMPHER, MELISSA JEAN                                                                             UNDETERMINED
           J. NELSON THOMAS THOMAS & SOLOMON LLP             þ Contingent
           693 EAST AVENUE
           ROCHESTER NY 14607                                þ Unliquidated
                                                             þ Disputed
           Date or dates debt was incurred                   Basis for the claim:
           VARIOUS                                           CIVIL ACTION NO. 6:15-CV-06742
                                                             PENDING LITIGATION
           Last 4 digits of account number:
                                                             Is the claim subject to offset?

                                                             þ No
                                                             ¨ Yes




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Debtor    MAC ACQUISITION LLC                                                                                Case number (if known) 17-12224




3.1708.    Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                             Check all that apply.
           SIMPHER, SYDNEY MARCELLA                                                                          UNDETERMINED
           J. NELSON THOMAS THOMAS & SOLOMON LLP             þ Contingent
           693 EAST AVENUE
           ROCHESTER NY 14607                                þ Unliquidated
                                                             þ Disputed
           Date or dates debt was incurred                   Basis for the claim:
           VARIOUS                                           CIVIL ACTION NO. 6:15-CV-06742
                                                             PENDING LITIGATION
           Last 4 digits of account number:
                                                             Is the claim subject to offset?

                                                             þ No
                                                             ¨ Yes

3.1709.    Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                             Check all that apply.
           SIMPSON, COLIN                                                                                    UNDETERMINED
           J. NELSON THOMAS THOMAS & SOLOMON LLP             þ Contingent
           693 EAST AVENUE
           ROCHESTER NY 14607                                þ Unliquidated
                                                             þ Disputed
           Date or dates debt was incurred                   Basis for the claim:
           VARIOUS                                           CIVIL ACTION NO. 6:15-CV-06742
                                                             PENDING LITIGATION
           Last 4 digits of account number:
                                                             Is the claim subject to offset?

                                                             þ No
                                                             ¨ Yes

3.1710.    Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                             Check all that apply.
           SINCLAIR, ROBERT A                                                                                $610.00
           DBA GRASSBUSTERS LAWNCARE                         ¨ Contingent
           14696 COPELAND CHAPEL
           MONTGOMERY TX 77316                               ¨ Unliquidated
                                                             ¨ Disputed
           Date or dates debt was incurred                   Basis for the claim:
           VARIOUS                                           TRADE ACCOUNTS PAYABLE
           Last 4 digits of account number:                  Is the claim subject to offset?

                                                             þ No
                                                             ¨ Yes




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Debtor    MAC ACQUISITION LLC                                                                                Case number (if known) 17-12224




3.1711.    Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                             Check all that apply.
           SINGH, SANGARAM                                                                                   UNDETERMINED
                                                             þ Contingent
                                                             þ Unliquidated
                                                             þ Disputed
           Date or dates debt was incurred                   Basis for the claim:
           VARIOUS                                           WORKERS COMPENSATION CLAIM
           Last 4 digits of account number:                  Is the claim subject to offset?

                                                             þ No
                                                             ¨ Yes

3.1712.    Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                             Check all that apply.
           SINKOVICH , KATHRYN                                                                               UNDETERMINED
                                                             þ Contingent
                                                             þ Unliquidated
                                                             þ Disputed
           Date or dates debt was incurred                   Basis for the claim:
           VARIOUS                                           GENERAL LIABILITY CLAIMS
           Last 4 digits of account number:                  Is the claim subject to offset?

                                                             þ No
                                                             ¨ Yes

3.1713.    Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                             Check all that apply.
           SIRNA & SONS MAINLINE PRODUCE                                                                     $12,317.73
           7176 STATE ROUTE 88                               ¨ Contingent
           RAVENNA OH 44266
                                                             ¨ Unliquidated
                                                             ¨ Disputed
           Date or dates debt was incurred                   Basis for the claim:
           VARIOUS                                           TRADE ACCOUNTS PAYABLE
           Last 4 digits of account number:                  Is the claim subject to offset?

                                                             þ No
                                                             ¨ Yes




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Debtor    MAC ACQUISITION LLC                                                                                Case number (if known) 17-12224




3.1714.    Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                             Check all that apply.
           SKINNER, JOHNNIE ELMER                                                                            UNDETERMINED
           J. NELSON THOMAS THOMAS & SOLOMON LLP             þ Contingent
           693 EAST AVENUE
           ROCHESTER NY 14607                                þ Unliquidated
                                                             þ Disputed
           Date or dates debt was incurred                   Basis for the claim:
           VARIOUS                                           CIVIL ACTION NO. 6:15-CV-06742
                                                             PENDING LITIGATION
           Last 4 digits of account number:
                                                             Is the claim subject to offset?

                                                             þ No
                                                             ¨ Yes

3.1715.    Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                             Check all that apply.
           SLAUGHTER, JACQUELYN                                                                              UNDETERMINED
           J. NELSON THOMAS THOMAS & SOLOMON LLP             þ Contingent
           693 EAST AVENUE
           ROCHESTER NY 14607                                þ Unliquidated
                                                             þ Disputed
           Date or dates debt was incurred                   Basis for the claim:
           VARIOUS                                           CIVIL ACTION NO. 6:15-CV-06742
                                                             PENDING LITIGATION
           Last 4 digits of account number:
                                                             Is the claim subject to offset?

                                                             þ No
                                                             ¨ Yes

3.1716.    Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                             Check all that apply.
           SLAUGHTER, JACQUELYN                                                                              UNDETERMINED
           J. NELSON THOMAS THOMAS & SOLOMON LLP             þ Contingent
           693 EAST AVENUE
           ROCHESTER NY 14607                                þ Unliquidated
                                                             þ Disputed
           Date or dates debt was incurred                   Basis for the claim:
           VARIOUS                                           CIVIL ACTION NO. 6:15-CV-06742
                                                             PENDING LITIGATION
           Last 4 digits of account number:
                                                             Is the claim subject to offset?

                                                             þ No
                                                             ¨ Yes




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Debtor    MAC ACQUISITION LLC                                                                                Case number (if known) 17-12224




3.1717.    Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                             Check all that apply.
           SLOAN, JULIE NICOLE                                                                               UNDETERMINED
           J. NELSON THOMAS THOMAS & SOLOMON LLP             þ Contingent
           693 EAST AVENUE
           ROCHESTER NY 14607                                þ Unliquidated
                                                             þ Disputed
           Date or dates debt was incurred                   Basis for the claim:
           VARIOUS                                           CIVIL ACTION NO. 6:15-CV-06742
                                                             PENDING LITIGATION
           Last 4 digits of account number:
                                                             Is the claim subject to offset?

                                                             þ No
                                                             ¨ Yes

3.1718.    Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                             Check all that apply.
           SMITH, ANNA MARIE                                                                                 UNDETERMINED
           J. NELSON THOMAS THOMAS & SOLOMON LLP             þ Contingent
           693 EAST AVENUE
           ROCHESTER NY 14607                                þ Unliquidated
                                                             þ Disputed
           Date or dates debt was incurred                   Basis for the claim:
           VARIOUS                                           CIVIL ACTION NO. 6:15-CV-06742
                                                             PENDING LITIGATION
           Last 4 digits of account number:
                                                             Is the claim subject to offset?

                                                             þ No
                                                             ¨ Yes

3.1719.    Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                             Check all that apply.
           SMITH, CRYSTAL                                                                                    UNDETERMINED
           ERIC SMITH FONTALLA BENEVIENTO                    þ Contingent
           GALLUCCIO & SMITH
           246 UNION BLVD                                    þ Unliquidated
           TOTOWA NJ 07512                                   þ Disputed
           Date or dates debt was incurred                   Basis for the claim:
           VARIOUS                                           PENDING LITIGATION
           Last 4 digits of account number:                  Is the claim subject to offset?

                                                             þ No
                                                             ¨ Yes




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Debtor    MAC ACQUISITION LLC                                                                                Case number (if known) 17-12224




3.1720.    Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                             Check all that apply.
           SMITH, JAMES                                                                                      UNDETERMINED
                                                             þ Contingent
                                                             þ Unliquidated
                                                             þ Disputed
           Date or dates debt was incurred                   Basis for the claim:
           VARIOUS                                           GENERAL LIABILITY CLAIMS
           Last 4 digits of account number:                  Is the claim subject to offset?

                                                             þ No
                                                             ¨ Yes

3.1721.    Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                             Check all that apply.
           SMITH, JERIQUIES D.                                                                               UNDETERMINED
           J. NELSON THOMAS THOMAS & SOLOMON LLP             þ Contingent
           693 EAST AVENUE
           ROCHESTER NY 14607                                þ Unliquidated
                                                             þ Disputed
           Date or dates debt was incurred                   Basis for the claim:
           VARIOUS                                           CIVIL ACTION NO. 6:15-CV-06742
                                                             PENDING LITIGATION
           Last 4 digits of account number:
                                                             Is the claim subject to offset?

                                                             þ No
                                                             ¨ Yes

3.1722.    Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                             Check all that apply.
           SMITH, KIMBERLY                                                                                   UNDETERMINED
           J. NELSON THOMAS THOMAS & SOLOMON LLP             þ Contingent
           693 EAST AVENUE
           ROCHESTER NY 14607                                þ Unliquidated
                                                             þ Disputed
           Date or dates debt was incurred                   Basis for the claim:
           VARIOUS                                           CIVIL ACTION NO. 6:15-CV-06742
                                                             PENDING LITIGATION
           Last 4 digits of account number:
                                                             Is the claim subject to offset?

                                                             þ No
                                                             ¨ Yes




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Debtor    MAC ACQUISITION LLC                                                                                Case number (if known) 17-12224




3.1723.    Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                             Check all that apply.
           SMITH, MICHAEL PAUL ANTHONY                                                                       UNDETERMINED
           J. NELSON THOMAS THOMAS & SOLOMON LLP             þ Contingent
           693 EAST AVENUE
           ROCHESTER NY 14607                                þ Unliquidated
                                                             þ Disputed
           Date or dates debt was incurred                   Basis for the claim:
           VARIOUS                                           CIVIL ACTION NO. 6:15-CV-06742
                                                             PENDING LITIGATION
           Last 4 digits of account number:
                                                             Is the claim subject to offset?

                                                             þ No
                                                             ¨ Yes

3.1724.    Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                             Check all that apply.
           SMITH, MICHAEL RYAN                                                                               UNDETERMINED
           J. NELSON THOMAS THOMAS & SOLOMON LLP             þ Contingent
           693 EAST AVENUE
           ROCHESTER NY 14607                                þ Unliquidated
                                                             þ Disputed
           Date or dates debt was incurred                   Basis for the claim:
           VARIOUS                                           CIVIL ACTION NO. 6:15-CV-06742
                                                             PENDING LITIGATION
           Last 4 digits of account number:
                                                             Is the claim subject to offset?

                                                             þ No
                                                             ¨ Yes

3.1725.    Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                             Check all that apply.
           SMITH, TIFFANY                                                                                    UNDETERMINED
           J. NELSON THOMAS THOMAS & SOLOMON LLP             þ Contingent
           693 EAST AVENUE
           ROCHESTER NY 14607                                þ Unliquidated
                                                             þ Disputed
           Date or dates debt was incurred                   Basis for the claim:
           VARIOUS                                           CIVIL ACTION NO. 6:15-CV-06742
                                                             PENDING LITIGATION
           Last 4 digits of account number:
                                                             Is the claim subject to offset?

                                                             þ No
                                                             ¨ Yes




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Debtor    MAC ACQUISITION LLC                                                                                Case number (if known) 17-12224




3.1726.    Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                             Check all that apply.
           SMITH, ZACHARY MOISES                                                                             UNDETERMINED
           J. NELSON THOMAS THOMAS & SOLOMON LLP             þ Contingent
           693 EAST AVENUE
           ROCHESTER NY 14607                                þ Unliquidated
                                                             þ Disputed
           Date or dates debt was incurred                   Basis for the claim:
           VARIOUS                                           CIVIL ACTION NO. 6:15-CV-06742
                                                             PENDING LITIGATION
           Last 4 digits of account number:
                                                             Is the claim subject to offset?

                                                             þ No
                                                             ¨ Yes

3.1727.    Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                             Check all that apply.
           SNAPFINGER INC - TILLSTER                                                                         $24,684.57
           3025 WINDWARD PLAZA, STE. 550                     ¨ Contingent
           ALPHARETTA GA 30005
                                                             ¨ Unliquidated
                                                             ¨ Disputed
           Date or dates debt was incurred                   Basis for the claim:
           VARIOUS                                           TRADE ACCOUNTS PAYABLE
           Last 4 digits of account number:                  Is the claim subject to offset?

                                                             þ No
                                                             ¨ Yes

3.1728.    Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                             Check all that apply.
           SNELLER SNOW SYSTEMS                                                                              $336.51
           675 CLYDE CT SW                                   ¨ Contingent
           BYRON CENTER MI 49315-8446
                                                             ¨ Unliquidated
                                                             ¨ Disputed
           Date or dates debt was incurred                   Basis for the claim:
           VARIOUS                                           TRADE ACCOUNTS PAYABLE
           Last 4 digits of account number:                  Is the claim subject to offset?

                                                             þ No
                                                             ¨ Yes




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Debtor    MAC ACQUISITION LLC                                                                                Case number (if known) 17-12224




3.1729.    Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                             Check all that apply.
           SNOW, JUDITH EMILY                                                                                UNDETERMINED
           J. NELSON THOMAS THOMAS & SOLOMON LLP             þ Contingent
           693 EAST AVENUE
           ROCHESTER NY 14607                                þ Unliquidated
                                                             þ Disputed
           Date or dates debt was incurred                   Basis for the claim:
           VARIOUS                                           CIVIL ACTION NO. 6:15-CV-06742
                                                             PENDING LITIGATION
           Last 4 digits of account number:
                                                             Is the claim subject to offset?

                                                             þ No
                                                             ¨ Yes

3.1730.    Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                             Check all that apply.
           SOBERANES CASTRO, GELY                                                                            UNDETERMINED
           J. NELSON THOMAS THOMAS & SOLOMON LLP             þ Contingent
           693 EAST AVENUE
           ROCHESTER NY 14607                                þ Unliquidated
                                                             þ Disputed
           Date or dates debt was incurred                   Basis for the claim:
           VARIOUS                                           CIVIL ACTION NO. 6:15-CV-06742
                                                             PENDING LITIGATION
           Last 4 digits of account number:
                                                             Is the claim subject to offset?

                                                             þ No
                                                             ¨ Yes

3.1731.    Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                             Check all that apply.
           SOBOLIK, KIRA JORDAN                                                                              UNDETERMINED
           J. NELSON THOMAS THOMAS & SOLOMON LLP             þ Contingent
           693 EAST AVENUE
           ROCHESTER NY 14607                                þ Unliquidated
                                                             þ Disputed
           Date or dates debt was incurred                   Basis for the claim:
           VARIOUS                                           CIVIL ACTION NO. 6:15-CV-06742
                                                             PENDING LITIGATION
           Last 4 digits of account number:
                                                             Is the claim subject to offset?

                                                             þ No
                                                             ¨ Yes




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Debtor    MAC ACQUISITION LLC                                                                                Case number (if known) 17-12224




3.1732.    Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                             Check all that apply.
           SOLO'RZANO, NINETTE                                                                               UNDETERMINED
           J. NELSON THOMAS THOMAS & SOLOMON LLP             þ Contingent
           693 EAST AVENUE
           ROCHESTER NY 14607                                þ Unliquidated
                                                             þ Disputed
           Date or dates debt was incurred                   Basis for the claim:
           VARIOUS                                           CIVIL ACTION NO. 6:15-CV-06742
                                                             PENDING LITIGATION
           Last 4 digits of account number:
                                                             Is the claim subject to offset?

                                                             þ No
                                                             ¨ Yes

3.1733.    Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                             Check all that apply.
           SOSTRE, PEDRO                                                                                     UNDETERMINED
           J. NELSON THOMAS THOMAS & SOLOMON LLP             þ Contingent
           693 EAST AVENUE
           ROCHESTER NY 14607                                þ Unliquidated
                                                             þ Disputed
           Date or dates debt was incurred                   Basis for the claim:
           VARIOUS                                           CIVIL ACTION NO. 6:15-CV-06742
                                                             PENDING LITIGATION
           Last 4 digits of account number:
                                                             Is the claim subject to offset?

                                                             þ No
                                                             ¨ Yes

3.1734.    Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                             Check all that apply.
           SOTO, MIRIAM                                                                                      UNDETERMINED
           J. NELSON THOMAS THOMAS & SOLOMON LLP             þ Contingent
           693 EAST AVENUE
           ROCHESTER NY 14607                                þ Unliquidated
                                                             þ Disputed
           Date or dates debt was incurred                   Basis for the claim:
           VARIOUS                                           CIVIL ACTION NO. 6:15-CV-06742
                                                             PENDING LITIGATION
           Last 4 digits of account number:
                                                             Is the claim subject to offset?

                                                             þ No
                                                             ¨ Yes




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Debtor    MAC ACQUISITION LLC                                                                                Case number (if known) 17-12224




3.1735.    Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                             Check all that apply.
           SOUFAN, TAMIM                                                                                     $7,500.00
           4940 CORINTHIAN BAY DRIVE                         ¨ Contingent
           FRISCO TX 75034
                                                             ¨ Unliquidated
                                                             ¨ Disputed
           Date or dates debt was incurred                   Basis for the claim:
           VARIOUS                                           TRADE ACCOUNTS PAYABLE
           Last 4 digits of account number:                  Is the claim subject to offset?

                                                             þ No
                                                             ¨ Yes

3.1736.    Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                             Check all that apply.
           SOUSA, LORRAINE BARBOSA                                                                           UNDETERMINED
           J. NELSON THOMAS THOMAS & SOLOMON LLP             þ Contingent
           693 EAST AVENUE
           ROCHESTER NY 14607                                þ Unliquidated
                                                             þ Disputed
           Date or dates debt was incurred                   Basis for the claim:
           VARIOUS                                           CIVIL ACTION NO. 6:15-CV-06742
                                                             PENDING LITIGATION
           Last 4 digits of account number:
                                                             Is the claim subject to offset?

                                                             þ No
                                                             ¨ Yes

3.1737.    Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                             Check all that apply.
           SOUTH COAST ELECTRICAL, INC.                                                                      $1,224.94
           2283 E VIA BURTON STREET                          ¨ Contingent
           ANAHEIM CA 92806
                                                             ¨ Unliquidated
                                                             ¨ Disputed
           Date or dates debt was incurred                   Basis for the claim:
           VARIOUS                                           TRADE ACCOUNTS PAYABLE
           Last 4 digits of account number:                  Is the claim subject to offset?

                                                             þ No
                                                             ¨ Yes




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Debtor    MAC ACQUISITION LLC                                                                                Case number (if known) 17-12224




3.1738.    Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                             Check all that apply.
           SOUTH COAST MARKETING LLC                                                                         $570.00
           6537 S STAPLES ST                                 ¨ Contingent
           STE. 125-305
           CORPUS CHRISTI TX 78413                           ¨ Unliquidated
                                                             ¨ Disputed
           Date or dates debt was incurred                   Basis for the claim:
           VARIOUS                                           TRADE ACCOUNTS PAYABLE
           Last 4 digits of account number:                  Is the claim subject to offset?

                                                             þ No
                                                             ¨ Yes

3.1739.    Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                             Check all that apply.
           SOUTH STREET CENTER LLC                                                                           $4,386.98
           EL PASEO SIMI                                     ¨ Contingent
           101 N WESTLAKE BLVD #201
           WESTLAKE VILLAGE CA 91362                         ¨ Unliquidated
                                                             ¨ Disputed
           Date or dates debt was incurred                   Basis for the claim:
           VARIOUS                                           LEASE
           Last 4 digits of account number:                  Is the claim subject to offset?

                                                             þ No
                                                             ¨ Yes

3.1740.    Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                             Check all that apply.
           SOUTHARD, KATRINA L.                                                                              UNDETERMINED
           J. NELSON THOMAS THOMAS & SOLOMON LLP             þ Contingent
           693 EAST AVENUE
           ROCHESTER NY 14607                                þ Unliquidated
                                                             þ Disputed
           Date or dates debt was incurred                   Basis for the claim:
           VARIOUS                                           CIVIL ACTION NO. 6:15-CV-06742
                                                             PENDING LITIGATION
           Last 4 digits of account number:
                                                             Is the claim subject to offset?

                                                             þ No
                                                             ¨ Yes




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Debtor    MAC ACQUISITION LLC                                                                                Case number (if known) 17-12224




3.1741.    Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                             Check all that apply.
           SOUTHERN SHELBY SERVICES LLC                                                                      $1,648.75
           PO BOX 324                                        ¨ Contingent
           SHELBY AL 35143
                                                             ¨ Unliquidated
                                                             ¨ Disputed
           Date or dates debt was incurred                   Basis for the claim:
           VARIOUS                                           TRADE ACCOUNTS PAYABLE
           Last 4 digits of account number:                  Is the claim subject to offset?

                                                             þ No
                                                             ¨ Yes

3.1742.    Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                             Check all that apply.
           SOUTHPARK MALL LLC                                                                                UNDETERMINED
           SRP PROPERTY MANAGEMENT LLC                       þ Contingent
           LEASE COORDINATION GINA LOEHR
           1 E WACKER DR STE 3700                            þ Unliquidated
           CHICAGO IL 60601                                  þ Disputed
           Date or dates debt was incurred                   Basis for the claim:
           VARIOUS                                           LANDLORD CLAIM
           Last 4 digits of account number:                  Is the claim subject to offset?

                                                             þ No
                                                             ¨ Yes

3.1743.    Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                             Check all that apply.
           SOUTHWASTE DISPOSAL LLC                                                                           $420.00
           PO BOX 53988                                      ¨ Contingent
           LAFAYETTE LA 70505
                                                             ¨ Unliquidated
                                                             ¨ Disputed
           Date or dates debt was incurred                   Basis for the claim:
           VARIOUS                                           TRADE ACCOUNTS PAYABLE
           Last 4 digits of account number:                  Is the claim subject to offset?

                                                             þ No
                                                             ¨ Yes




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Debtor    MAC ACQUISITION LLC                                                                                Case number (if known) 17-12224




3.1744.    Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                             Check all that apply.
           SPANN, RAKYA S.                                                                                   UNDETERMINED
           J. NELSON THOMAS THOMAS & SOLOMON LLP             þ Contingent
           693 EAST AVENUE
           ROCHESTER NY 14607                                þ Unliquidated
                                                             þ Disputed
           Date or dates debt was incurred                   Basis for the claim:
           VARIOUS                                           CIVIL ACTION NO. 6:15-CV-06742
                                                             PENDING LITIGATION
           Last 4 digits of account number:
                                                             Is the claim subject to offset?

                                                             þ No
                                                             ¨ Yes

3.1745.    Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                             Check all that apply.
           SPATUCCI, GABRIELLA MIA                                                                           UNDETERMINED
           J. NELSON THOMAS THOMAS & SOLOMON LLP             þ Contingent
           693 EAST AVENUE
           ROCHESTER NY 14607                                þ Unliquidated
                                                             þ Disputed
           Date or dates debt was incurred                   Basis for the claim:
           VARIOUS                                           CIVIL ACTION NO. 6:15-CV-06742
                                                             PENDING LITIGATION
           Last 4 digits of account number:
                                                             Is the claim subject to offset?

                                                             þ No
                                                             ¨ Yes

3.1746.    Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                             Check all that apply.
           SPECIAL "T" WATER SYSTEMS INC                                                                     $584.00
           PO BOX 165                                        ¨ Contingent
           WHITTIER CA 90608
                                                             ¨ Unliquidated
                                                             ¨ Disputed
           Date or dates debt was incurred                   Basis for the claim:
           VARIOUS                                           TRADE ACCOUNTS PAYABLE
           Last 4 digits of account number:                  Is the claim subject to offset?

                                                             þ No
                                                             ¨ Yes




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Debtor    MAC ACQUISITION LLC                                                                                Case number (if known) 17-12224




3.1747.    Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                             Check all that apply.
           SPENCER, SHAWN C.                                                                                 UNDETERMINED
           J. NELSON THOMAS THOMAS & SOLOMON LLP             þ Contingent
           693 EAST AVENUE
           ROCHESTER NY 14607                                þ Unliquidated
                                                             þ Disputed
           Date or dates debt was incurred                   Basis for the claim:
           VARIOUS                                           CIVIL ACTION NO. 6:15-CV-06742
                                                             PENDING LITIGATION
           Last 4 digits of account number:
                                                             Is the claim subject to offset?

                                                             þ No
                                                             ¨ Yes

3.1748.    Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                             Check all that apply.
           SPERBECK, ASHLEY                                                                                  UNDETERMINED
           J. NELSON THOMAS THOMAS & SOLOMON LLP             þ Contingent
           693 EAST AVENUE
           ROCHESTER NY 14607                                þ Unliquidated
                                                             þ Disputed
           Date or dates debt was incurred                   Basis for the claim:
           VARIOUS                                           CIVIL ACTION NO. 6:15-CV-06742
                                                             PENDING LITIGATION
           Last 4 digits of account number:
                                                             Is the claim subject to offset?

                                                             þ No
                                                             ¨ Yes

3.1749.    Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                             Check all that apply.
           SPURLOCK, CAROLA RHEA                                                                             UNDETERMINED
           J. NELSON THOMAS THOMAS & SOLOMON LLP             þ Contingent
           693 EAST AVENUE
           ROCHESTER NY 14607                                þ Unliquidated
                                                             þ Disputed
           Date or dates debt was incurred                   Basis for the claim:
           VARIOUS                                           CIVIL ACTION NO. 6:15-CV-06742
                                                             PENDING LITIGATION
           Last 4 digits of account number:
                                                             Is the claim subject to offset?

                                                             þ No
                                                             ¨ Yes




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Debtor    MAC ACQUISITION LLC                                                                                Case number (if known) 17-12224




3.1750.    Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                             Check all that apply.
           SS KEMP AND CO LLC DBA TRIMARK SS KEMP                                                            $18,121.88
           PO BOX 536326                                     ¨ Contingent
           PITTSBURGH PA 15253
                                                             ¨ Unliquidated
                                                             ¨ Disputed
           Date or dates debt was incurred                   Basis for the claim:
           VARIOUS                                           TRADE ACCOUNTS PAYABLE
           Last 4 digits of account number:                  Is the claim subject to offset?

                                                             þ No
                                                             ¨ Yes

3.1751.    Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                             Check all that apply.
           STAHLE, SARAH WILSON                                                                              UNDETERMINED
           J. NELSON THOMAS THOMAS & SOLOMON LLP             þ Contingent
           693 EAST AVENUE
           ROCHESTER NY 14607                                þ Unliquidated
                                                             þ Disputed
           Date or dates debt was incurred                   Basis for the claim:
           VARIOUS                                           CIVIL ACTION NO. 6:15-CV-06742
                                                             PENDING LITIGATION
           Last 4 digits of account number:
                                                             Is the claim subject to offset?

                                                             þ No
                                                             ¨ Yes

3.1752.    Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                             Check all that apply.
           STANLEY CONVERGENT SECURITY                                                                       $54,602.84
           SOLUTIONS INC                                     ¨ Contingent
           DEPT CH 10651
           PALASTINE IL 60055                                ¨ Unliquidated
                                                             ¨ Disputed
           Date or dates debt was incurred                   Basis for the claim:
           VARIOUS                                           TRADE ACCOUNTS PAYABLE
           Last 4 digits of account number:                  Is the claim subject to offset?

                                                             þ No
                                                             ¨ Yes




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Debtor    MAC ACQUISITION LLC                                                                                Case number (if known) 17-12224




3.1753.    Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                             Check all that apply.
           STAPLES BUSINESS ADVANTAGE (SUPPLY)                                                               $16,280.24
           PO BOX 83689                                      ¨ Contingent
           CHICAGO IL 60696
                                                             ¨ Unliquidated
                                                             ¨ Disputed
           Date or dates debt was incurred                   Basis for the claim:
           VARIOUS                                           TRADE ACCOUNTS PAYABLE
           Last 4 digits of account number:                  Is the claim subject to offset?

                                                             þ No
                                                             ¨ Yes

3.1754.    Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                             Check all that apply.
           STAPLES, WAYNE ROBERT                                                                             UNDETERMINED
           J. NELSON THOMAS THOMAS & SOLOMON LLP             þ Contingent
           693 EAST AVENUE
           ROCHESTER NY 14607                                þ Unliquidated
                                                             þ Disputed
           Date or dates debt was incurred                   Basis for the claim:
           VARIOUS                                           CIVIL ACTION NO. 6:15-CV-06742
                                                             PENDING LITIGATION
           Last 4 digits of account number:
                                                             Is the claim subject to offset?

                                                             þ No
                                                             ¨ Yes

3.1755.    Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                             Check all that apply.
           STARTZEL, JILLIAN                                                                                 UNDETERMINED
           DURKIN & HOOD, LLP, MARQUI HOOD & MOLLY           þ Contingent
           DURKIN
                                                             þ Unliquidated
                                                             þ Disputed
           Date or dates debt was incurred                   Basis for the claim:
           VARIOUS                                           PENDING LITIGATION
           Last 4 digits of account number:                  Is the claim subject to offset?

                                                             þ No
                                                             ¨ Yes




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Debtor    MAC ACQUISITION LLC                                                                                Case number (if known) 17-12224




3.1756.    Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                             Check all that apply.
           STAVE, BRANDON                                                                                    UNDETERMINED
           J. NELSON THOMAS THOMAS & SOLOMON LLP             þ Contingent
           693 EAST AVENUE
           ROCHESTER NY 14607                                þ Unliquidated
                                                             þ Disputed
           Date or dates debt was incurred                   Basis for the claim:
           VARIOUS                                           CIVIL ACTION NO. 6:15-CV-06742
                                                             PENDING LITIGATION
           Last 4 digits of account number:
                                                             Is the claim subject to offset?

                                                             þ No
                                                             ¨ Yes

3.1757.    Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                             Check all that apply.
           STAVROFF, TODD ANDREW                                                                             UNDETERMINED
           J. NELSON THOMAS THOMAS & SOLOMON LLP             þ Contingent
           693 EAST AVENUE
           ROCHESTER NY 14607                                þ Unliquidated
                                                             þ Disputed
           Date or dates debt was incurred                   Basis for the claim:
           VARIOUS                                           CIVIL ACTION NO. 6:15-CV-06742
                                                             PENDING LITIGATION
           Last 4 digits of account number:
                                                             Is the claim subject to offset?

                                                             þ No
                                                             ¨ Yes

3.1758.    Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                             Check all that apply.
           STEAM PRO                                                                                         $800.00
           2713 SONIC DRIVE                                  ¨ Contingent
           VIRGINIA BEACH VA 23453
                                                             ¨ Unliquidated
                                                             ¨ Disputed
           Date or dates debt was incurred                   Basis for the claim:
           VARIOUS                                           TRADE ACCOUNTS PAYABLE
           Last 4 digits of account number:                  Is the claim subject to offset?

                                                             þ No
                                                             ¨ Yes




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Debtor    MAC ACQUISITION LLC                                                                                Case number (if known) 17-12224




3.1759.    Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                             Check all that apply.
           STEELE, DAWN MICHELLE                                                                             UNDETERMINED
           J. NELSON THOMAS THOMAS & SOLOMON LLP             þ Contingent
           693 EAST AVENUE
           ROCHESTER NY 14607                                þ Unliquidated
                                                             þ Disputed
           Date or dates debt was incurred                   Basis for the claim:
           VARIOUS                                           CIVIL ACTION NO. 6:15-CV-06742
                                                             PENDING LITIGATION
           Last 4 digits of account number:
                                                             Is the claim subject to offset?

                                                             þ No
                                                             ¨ Yes

3.1760.    Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                             Check all that apply.
           STEIN, NANCY                                                                                      UNDETERMINED
           RICHARD A. WOLFE, GALERMAN, TABAKIN &             þ Contingent
           WOLFE
                                                             þ Unliquidated
                                                             þ Disputed
           Date or dates debt was incurred                   Basis for the claim:
           VARIOUS                                           GENERAL LIABILITY CLAIMS
           Last 4 digits of account number:                  Is the claim subject to offset?

                                                             þ No
                                                             ¨ Yes

3.1761.    Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                             Check all that apply.
           STEINBERG, JAMI MYLISA                                                                            UNDETERMINED
           J. NELSON THOMAS THOMAS & SOLOMON LLP             þ Contingent
           693 EAST AVENUE
           ROCHESTER NY 14607                                þ Unliquidated
                                                             þ Disputed
           Date or dates debt was incurred                   Basis for the claim:
           VARIOUS                                           CIVIL ACTION NO. 6:15-CV-06742
                                                             PENDING LITIGATION
           Last 4 digits of account number:
                                                             Is the claim subject to offset?

                                                             þ No
                                                             ¨ Yes




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Debtor    MAC ACQUISITION LLC                                                                                Case number (if known) 17-12224




3.1762.    Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                             Check all that apply.
           STERLE, JUSTIN                                                                                    UNDETERMINED
           J. NELSON THOMAS THOMAS & SOLOMON LLP             þ Contingent
           693 EAST AVENUE
           ROCHESTER NY 14607                                þ Unliquidated
                                                             þ Disputed
           Date or dates debt was incurred                   Basis for the claim:
           VARIOUS                                           CIVIL ACTION NO. 6:15-CV-06742
                                                             PENDING LITIGATION
           Last 4 digits of account number:
                                                             Is the claim subject to offset?

                                                             þ No
                                                             ¨ Yes

3.1763.    Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                             Check all that apply.
           STERN PRODUCE CO INC.                                                                             $4,128.75
           3200 S. 7TH STREET                                ¨ Contingent
           PHOENIX AZ 85040
                                                             ¨ Unliquidated
                                                             ¨ Disputed
           Date or dates debt was incurred                   Basis for the claim:
           VARIOUS                                           TRADE ACCOUNTS PAYABLE
           Last 4 digits of account number:                  Is the claim subject to offset?

                                                             þ No
                                                             ¨ Yes

3.1764.    Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                             Check all that apply.
           STEVENSON, ANN MARIE                                                                              UNDETERMINED
           J. NELSON THOMAS THOMAS & SOLOMON LLP             þ Contingent
           693 EAST AVENUE
           ROCHESTER NY 14607                                þ Unliquidated
                                                             þ Disputed
           Date or dates debt was incurred                   Basis for the claim:
           VARIOUS                                           CIVIL ACTION NO. 6:15-CV-06742
                                                             PENDING LITIGATION
           Last 4 digits of account number:
                                                             Is the claim subject to offset?

                                                             þ No
                                                             ¨ Yes




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Debtor    MAC ACQUISITION LLC                                                                                Case number (if known) 17-12224




3.1765.    Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                             Check all that apply.
           STEVENSON, BRITTNEY LEIGH                                                                         UNDETERMINED
           J. NELSON THOMAS THOMAS & SOLOMON LLP             þ Contingent
           693 EAST AVENUE
           ROCHESTER NY 14607                                þ Unliquidated
                                                             þ Disputed
           Date or dates debt was incurred                   Basis for the claim:
           VARIOUS                                           CIVIL ACTION NO. 6:15-CV-06742
                                                             PENDING LITIGATION
           Last 4 digits of account number:
                                                             Is the claim subject to offset?

                                                             þ No
                                                             ¨ Yes

3.1766.    Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                             Check all that apply.
           STOEPLER, BRYCE C.                                                                                UNDETERMINED
           J. NELSON THOMAS THOMAS & SOLOMON LLP             þ Contingent
           693 EAST AVENUE
           ROCHESTER NY 14607                                þ Unliquidated
                                                             þ Disputed
           Date or dates debt was incurred                   Basis for the claim:
           VARIOUS                                           CIVIL ACTION NO. 6:15-CV-06742
                                                             PENDING LITIGATION
           Last 4 digits of account number:
                                                             Is the claim subject to offset?

                                                             þ No
                                                             ¨ Yes

3.1767.    Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                             Check all that apply.
           STOKES, DONYE LATONYA                                                                             UNDETERMINED
           J. NELSON THOMAS THOMAS & SOLOMON LLP             þ Contingent
           693 EAST AVENUE
           ROCHESTER NY 14607                                þ Unliquidated
                                                             þ Disputed
           Date or dates debt was incurred                   Basis for the claim:
           VARIOUS                                           CIVIL ACTION NO. 6:15-CV-06742
                                                             PENDING LITIGATION
           Last 4 digits of account number:
                                                             Is the claim subject to offset?

                                                             þ No
                                                             ¨ Yes




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Debtor    MAC ACQUISITION LLC                                                                                Case number (if known) 17-12224




3.1768.    Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                             Check all that apply.
           STOKES, GWENDOLYN                                                                                 UNDETERMINED
                                                             þ Contingent
                                                             þ Unliquidated
                                                             þ Disputed
           Date or dates debt was incurred                   Basis for the claim:
           VARIOUS                                           GENERAL LIABILITY CLAIMS
           Last 4 digits of account number:                  Is the claim subject to offset?

                                                             þ No
                                                             ¨ Yes

3.1769.    Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                             Check all that apply.
           STOKES-SONNENBERG, MARISSA                                                                        UNDETERMINED
           J. NELSON THOMAS THOMAS & SOLOMON LLP             þ Contingent
           693 EAST AVENUE
           ROCHESTER NY 14607                                þ Unliquidated
                                                             þ Disputed
           Date or dates debt was incurred                   Basis for the claim:
           VARIOUS                                           CIVIL ACTION NO. 6:15-CV-06742
                                                             PENDING LITIGATION
           Last 4 digits of account number:
                                                             Is the claim subject to offset?

                                                             þ No
                                                             ¨ Yes

3.1770.    Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                             Check all that apply.
           STRANDBERG, SARAH MARZEE                                                                          UNDETERMINED
           J. NELSON THOMAS THOMAS & SOLOMON LLP             þ Contingent
           693 EAST AVENUE
           ROCHESTER NY 14607                                þ Unliquidated
                                                             þ Disputed
           Date or dates debt was incurred                   Basis for the claim:
           VARIOUS                                           CIVIL ACTION NO. 6:15-CV-06742
                                                             PENDING LITIGATION
           Last 4 digits of account number:
                                                             Is the claim subject to offset?

                                                             þ No
                                                             ¨ Yes




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Debtor    MAC ACQUISITION LLC                                                                                Case number (if known) 17-12224




3.1771.    Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                             Check all that apply.
           STRATTON, NICOLETTE KAYLA                                                                         UNDETERMINED
           J. NELSON THOMAS THOMAS & SOLOMON LLP             þ Contingent
           693 EAST AVENUE
           ROCHESTER NY 14607                                þ Unliquidated
                                                             þ Disputed
           Date or dates debt was incurred                   Basis for the claim:
           VARIOUS                                           CIVIL ACTION NO. 6:15-CV-06742
                                                             PENDING LITIGATION
           Last 4 digits of account number:
                                                             Is the claim subject to offset?

                                                             þ No
                                                             ¨ Yes

3.1772.    Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                             Check all that apply.
           STRICKLAND, BRIANNE ELIZABETH                                                                     UNDETERMINED
           J. NELSON THOMAS THOMAS & SOLOMON LLP             þ Contingent
           693 EAST AVENUE
           ROCHESTER NY 14607                                þ Unliquidated
                                                             þ Disputed
           Date or dates debt was incurred                   Basis for the claim:
           VARIOUS                                           CIVIL ACTION NO. 6:15-CV-06742
                                                             PENDING LITIGATION
           Last 4 digits of account number:
                                                             Is the claim subject to offset?

                                                             þ No
                                                             ¨ Yes

3.1773.    Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                             Check all that apply.
           STRODE, JASMINE                                                                                   UNDETERMINED
           J. NELSON THOMAS THOMAS & SOLOMON LLP             þ Contingent
           693 EAST AVENUE
           ROCHESTER NY 14607                                þ Unliquidated
                                                             þ Disputed
           Date or dates debt was incurred                   Basis for the claim:
           VARIOUS                                           CIVIL ACTION NO. 6:15-CV-06742
                                                             PENDING LITIGATION
           Last 4 digits of account number:
                                                             Is the claim subject to offset?

                                                             þ No
                                                             ¨ Yes




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Debtor    MAC ACQUISITION LLC                                                                                Case number (if known) 17-12224




3.1774.    Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                             Check all that apply.
           STROHER, TODD                                                                                     UNDETERMINED
                                                             þ Contingent
                                                             þ Unliquidated
                                                             þ Disputed
           Date or dates debt was incurred                   Basis for the claim:
           VARIOUS                                           GENERAL LIABILITY CLAIMS
           Last 4 digits of account number:                  Is the claim subject to offset?

                                                             þ No
                                                             ¨ Yes

3.1775.    Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                             Check all that apply.
           STROUD-KRALL, ALANA AMBER                                                                         UNDETERMINED
           J. NELSON THOMAS THOMAS & SOLOMON LLP             þ Contingent
           693 EAST AVENUE
           ROCHESTER NY 14607                                þ Unliquidated
                                                             þ Disputed
           Date or dates debt was incurred                   Basis for the claim:
           VARIOUS                                           CIVIL ACTION NO. 6:15-CV-06742
                                                             PENDING LITIGATION
           Last 4 digits of account number:
                                                             Is the claim subject to offset?

                                                             þ No
                                                             ¨ Yes

3.1776.    Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                             Check all that apply.
           STURGEON ELECTRIC COMPANY INC.                                                                    $1,300.31
           22389 NETWORK PLACE                               ¨ Contingent
           CHICAGO IL 60673-1223
                                                             ¨ Unliquidated
                                                             ¨ Disputed
           Date or dates debt was incurred                   Basis for the claim:
           VARIOUS                                           TRADE ACCOUNTS PAYABLE
           Last 4 digits of account number:                  Is the claim subject to offset?

                                                             þ No
                                                             ¨ Yes




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Debtor    MAC ACQUISITION LLC                                                                                Case number (if known) 17-12224




3.1777.    Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                             Check all that apply.
           SUN LIGHTING INC                                                                                  $990.84
           4545 E BROADWAY BLVD                              ¨ Contingent
           TUCSON AZ 85711
                                                             ¨ Unliquidated
                                                             ¨ Disputed
           Date or dates debt was incurred                   Basis for the claim:
           VARIOUS                                           TRADE ACCOUNTS PAYABLE
           Last 4 digits of account number:                  Is the claim subject to offset?

                                                             þ No
                                                             ¨ Yes

3.1778.    Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                             Check all that apply.
           SUPER STITCH, LLC                                                                                 $1,260.78
           1220 W. ALAMEDA DR SUITE 119                      ¨ Contingent
           TEMPE AZ 85282
                                                             ¨ Unliquidated
                                                             ¨ Disputed
           Date or dates debt was incurred                   Basis for the claim:
           VARIOUS                                           TRADE ACCOUNTS PAYABLE
           Last 4 digits of account number:                  Is the claim subject to offset?

                                                             þ No
                                                             ¨ Yes

3.1779.    Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                             Check all that apply.
           SURGE ELECTRIC CORP.                                                                              $1,819.79
           10705 CAHILL ROAD                                 ¨ Contingent
           RALEIGH NC 27614
                                                             ¨ Unliquidated
                                                             ¨ Disputed
           Date or dates debt was incurred                   Basis for the claim:
           VARIOUS                                           TRADE ACCOUNTS PAYABLE
           Last 4 digits of account number:                  Is the claim subject to offset?

                                                             þ No
                                                             ¨ Yes




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Debtor    MAC ACQUISITION LLC                                                                                Case number (if known) 17-12224




3.1780.    Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                             Check all that apply.
           SURVOY'S SUPERIOR SERVICE INC.                                                                    $6,780.98
           5180 W 164TH STREET                               ¨ Contingent
           BROOKPARK OH 44142
                                                             ¨ Unliquidated
                                                             ¨ Disputed
           Date or dates debt was incurred                   Basis for the claim:
           VARIOUS                                           TRADE ACCOUNTS PAYABLE
           Last 4 digits of account number:                  Is the claim subject to offset?

                                                             þ No
                                                             ¨ Yes

3.1781.    Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                             Check all that apply.
           SWANN, RIELL                                                                                      UNDETERMINED
           J. NELSON THOMAS THOMAS & SOLOMON LLP             þ Contingent
           693 EAST AVENUE
           ROCHESTER NY 14607                                þ Unliquidated
                                                             þ Disputed
           Date or dates debt was incurred                   Basis for the claim:
           VARIOUS                                           CIVIL ACTION NO. 6:15-CV-06742
                                                             PENDING LITIGATION
           Last 4 digits of account number:
                                                             Is the claim subject to offset?

                                                             þ No
                                                             ¨ Yes

3.1782.    Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                             Check all that apply.
           SWEARINGEN, ERIC                                                                                  UNDETERMINED
           J. NELSON THOMAS THOMAS & SOLOMON LLP             þ Contingent
           693 EAST AVENUE
           ROCHESTER NY 14607                                þ Unliquidated
                                                             þ Disputed
           Date or dates debt was incurred                   Basis for the claim:
           VARIOUS                                           CIVIL ACTION NO. 6:15-CV-06742
                                                             PENDING LITIGATION
           Last 4 digits of account number:
                                                             Is the claim subject to offset?

                                                             þ No
                                                             ¨ Yes




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Debtor    MAC ACQUISITION LLC                                                                                Case number (if known) 17-12224




3.1783.    Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                             Check all that apply.
           SWENK, ERIK                                                                                       UNDETERMINED
           J. NELSON THOMAS THOMAS & SOLOMON LLP             þ Contingent
           693 EAST AVENUE
           ROCHESTER NY 14607                                þ Unliquidated
                                                             þ Disputed
           Date or dates debt was incurred                   Basis for the claim:
           VARIOUS                                           CIVIL ACTION NO. 6:15-CV-06742
                                                             PENDING LITIGATION
           Last 4 digits of account number:
                                                             Is the claim subject to offset?

                                                             þ No
                                                             ¨ Yes

3.1784.    Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                             Check all that apply.
           SWENSON, CLAUDIA                                                                                  UNDETERMINED
           J. NELSON THOMAS THOMAS & SOLOMON LLP             þ Contingent
           693 EAST AVENUE
           ROCHESTER NY 14607                                þ Unliquidated
                                                             þ Disputed
           Date or dates debt was incurred                   Basis for the claim:
           VARIOUS                                           CIVIL ACTION NO. 6:15-CV-06742
                                                             PENDING LITIGATION
           Last 4 digits of account number:
                                                             Is the claim subject to offset?

                                                             þ No
                                                             ¨ Yes

3.1785.    Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                             Check all that apply.
           SYMMES, JOYCELYN                                                                                  UNDETERMINED
           J. NELSON THOMAS THOMAS & SOLOMON LLP             þ Contingent
           693 EAST AVENUE
           ROCHESTER NY 14607                                þ Unliquidated
                                                             þ Disputed
           Date or dates debt was incurred                   Basis for the claim:
           VARIOUS                                           CIVIL ACTION NO. 6:15-CV-06742
                                                             PENDING LITIGATION
           Last 4 digits of account number:
                                                             Is the claim subject to offset?

                                                             þ No
                                                             ¨ Yes




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Debtor    MAC ACQUISITION LLC                                                                                Case number (if known) 17-12224




3.1786.    Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                             Check all that apply.
           SYNERGYSUITE INC.                                                                                 $128,605.00
           68 WILLOW ROAD                                    ¨ Contingent
           MENLO PARK CA 94040
                                                             ¨ Unliquidated
                                                             ¨ Disputed
           Date or dates debt was incurred                   Basis for the claim:
           VARIOUS                                           TRADE ACCOUNTS PAYABLE
           Last 4 digits of account number:                  Is the claim subject to offset?

                                                             þ No
                                                             ¨ Yes

3.1787.    Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                             Check all that apply.
           SYNK, HOLLY A.                                                                                    UNDETERMINED
           J. NELSON THOMAS THOMAS & SOLOMON LLP             þ Contingent
           693 EAST AVENUE
           ROCHESTER NY 14607                                þ Unliquidated
                                                             þ Disputed
           Date or dates debt was incurred                   Basis for the claim:
           VARIOUS                                           CIVIL ACTION NO. 6:15-CV-06742
                                                             PENDING LITIGATION
           Last 4 digits of account number:
                                                             Is the claim subject to offset?

                                                             þ No
                                                             ¨ Yes

3.1788.    Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                             Check all that apply.
           SYNQ3 RESTAURANT SOLUTIONS LLC                                                                    $42,660.97
           5825 MARK DABLING BLVD, STE. 100                  ¨ Contingent
           COLORADO SPRINGS CO 80919
                                                             ¨ Unliquidated
                                                             ¨ Disputed
           Date or dates debt was incurred                   Basis for the claim:
           VARIOUS                                           TRADE ACCOUNTS PAYABLE
           Last 4 digits of account number:                  Is the claim subject to offset?

                                                             þ No
                                                             ¨ Yes




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Debtor    MAC ACQUISITION LLC                                                                                Case number (if known) 17-12224




3.1789.    Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                             Check all that apply.
           SZYJKA, BROOKE ALLISON                                                                            UNDETERMINED
           J. NELSON THOMAS THOMAS & SOLOMON LLP             þ Contingent
           693 EAST AVENUE
           ROCHESTER NY 14607                                þ Unliquidated
                                                             þ Disputed
           Date or dates debt was incurred                   Basis for the claim:
           VARIOUS                                           CIVIL ACTION NO. 6:15-CV-06742
                                                             PENDING LITIGATION
           Last 4 digits of account number:
                                                             Is the claim subject to offset?

                                                             þ No
                                                             ¨ Yes

3.1790.    Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                             Check all that apply.
           TALX CORP, EQUIFAX WORKFORCE                                                                      $4,246.93
           SOLUTIONS                                         ¨ Contingent
           4076 PAYSPHERE CIRCLE
           CHICAGO IL 60674                                  ¨ Unliquidated
                                                             ¨ Disputed
           Date or dates debt was incurred                   Basis for the claim:
           VARIOUS                                           TRADE ACCOUNTS PAYABLE
           Last 4 digits of account number:                  Is the claim subject to offset?

                                                             þ No
                                                             ¨ Yes

3.1791.    Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                             Check all that apply.
           TANAKA, KIYOSHI CHRISTOPHER                                                                       UNDETERMINED
           J. NELSON THOMAS THOMAS & SOLOMON LLP             þ Contingent
           693 EAST AVENUE
           ROCHESTER NY 14607                                þ Unliquidated
                                                             þ Disputed
           Date or dates debt was incurred                   Basis for the claim:
           VARIOUS                                           CIVIL ACTION NO. 6:15-CV-06742
                                                             PENDING LITIGATION
           Last 4 digits of account number:
                                                             Is the claim subject to offset?

                                                             þ No
                                                             ¨ Yes




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Debtor    MAC ACQUISITION LLC                                                                                Case number (if known) 17-12224




3.1792.    Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                             Check all that apply.
           TAPMAN IVO DBA IGOR V OSAULA                                                                      $132.48
           PO BOX 77402                                      ¨ Contingent
           SEATTLE WA 98177
                                                             ¨ Unliquidated
                                                             ¨ Disputed
           Date or dates debt was incurred                   Basis for the claim:
           VARIOUS                                           TRADE ACCOUNTS PAYABLE
           Last 4 digits of account number:                  Is the claim subject to offset?

                                                             þ No
                                                             ¨ Yes

3.1793.    Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                             Check all that apply.
           TARANTINO FOODS, LLC                                                                              $5,130.31
           530 BAILEY AVENUE                                 ¨ Contingent
           BUFFALO NY 14206
                                                             ¨ Unliquidated
                                                             ¨ Disputed
           Date or dates debt was incurred                   Basis for the claim:
           VARIOUS                                           TRADE ACCOUNTS PAYABLE
           Last 4 digits of account number:                  Is the claim subject to offset?

                                                             þ No
                                                             ¨ Yes

3.1794.    Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                             Check all that apply.
           TASZAREK, MATT                                                                                    UNDETERMINED
           J. NELSON THOMAS THOMAS & SOLOMON LLP             þ Contingent
           693 EAST AVENUE
           ROCHESTER NY 14607                                þ Unliquidated
                                                             þ Disputed
           Date or dates debt was incurred                   Basis for the claim:
           VARIOUS                                           CIVIL ACTION NO. 6:15-CV-06742
                                                             PENDING LITIGATION
           Last 4 digits of account number:
                                                             Is the claim subject to offset?

                                                             þ No
                                                             ¨ Yes




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Debtor    MAC ACQUISITION LLC                                                                                Case number (if known) 17-12224




3.1795.    Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                             Check all that apply.
           TATUM, DANIELLA DIANE                                                                             UNDETERMINED
           J. NELSON THOMAS THOMAS & SOLOMON LLP             þ Contingent
           693 EAST AVENUE
           ROCHESTER NY 14607                                þ Unliquidated
                                                             þ Disputed
           Date or dates debt was incurred                   Basis for the claim:
           VARIOUS                                           CIVIL ACTION NO. 6:15-CV-06742
                                                             PENDING LITIGATION
           Last 4 digits of account number:
                                                             Is the claim subject to offset?

                                                             þ No
                                                             ¨ Yes

3.1796.    Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                             Check all that apply.
           TAYLOR ENGLISH DUMA, LLP                                                                          $120,974.02
           1600 PARKWOOD CIRCLE, SUITE 400                   ¨ Contingent
           ATLANTA GA 30339
                                                             ¨ Unliquidated
                                                             ¨ Disputed
           Date or dates debt was incurred                   Basis for the claim:
           VARIOUS                                           LEGAL
           Last 4 digits of account number:                  Is the claim subject to offset?

                                                             þ No
                                                             ¨ Yes

3.1797.    Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                             Check all that apply.
           TAYLOR, ANDREW RICHARD                                                                            UNDETERMINED
           J. NELSON THOMAS THOMAS & SOLOMON LLP             þ Contingent
           693 EAST AVENUE
           ROCHESTER NY 14607                                þ Unliquidated
                                                             þ Disputed
           Date or dates debt was incurred                   Basis for the claim:
           VARIOUS                                           CIVIL ACTION NO. 6:15-CV-06742
                                                             PENDING LITIGATION
           Last 4 digits of account number:
                                                             Is the claim subject to offset?

                                                             þ No
                                                             ¨ Yes




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3.1798.    Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                             Check all that apply.
           TAYLOR, ASHLEY NICOLE                                                                             UNDETERMINED
           J. NELSON THOMAS THOMAS & SOLOMON LLP             þ Contingent
           693 EAST AVENUE
           ROCHESTER NY 14607                                þ Unliquidated
                                                             þ Disputed
           Date or dates debt was incurred                   Basis for the claim:
           VARIOUS                                           CIVIL ACTION NO. 6:15-CV-06742
                                                             PENDING LITIGATION
           Last 4 digits of account number:
                                                             Is the claim subject to offset?

                                                             þ No
                                                             ¨ Yes

3.1799.    Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                             Check all that apply.
           TAYLOR, DEONDRE                                                                                   UNDETERMINED
           J. NELSON THOMAS THOMAS & SOLOMON LLP             þ Contingent
           693 EAST AVENUE
           ROCHESTER NY 14607                                þ Unliquidated
                                                             þ Disputed
           Date or dates debt was incurred                   Basis for the claim:
           VARIOUS                                           CIVIL ACTION NO. 6:15-CV-06742
                                                             PENDING LITIGATION
           Last 4 digits of account number:
                                                             Is the claim subject to offset?

                                                             þ No
                                                             ¨ Yes

3.1800.    Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                             Check all that apply.
           TAYLOR-BRYANT, LAUREN                                                                             UNDETERMINED
           J. NELSON THOMAS THOMAS & SOLOMON LLP             þ Contingent
           693 EAST AVENUE
           ROCHESTER NY 14607                                þ Unliquidated
                                                             þ Disputed
           Date or dates debt was incurred                   Basis for the claim:
           VARIOUS                                           CIVIL ACTION NO. 6:15-CV-06742
                                                             PENDING LITIGATION
           Last 4 digits of account number:
                                                             Is the claim subject to offset?

                                                             þ No
                                                             ¨ Yes




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3.1801.    Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                             Check all that apply.
           TAYON, ASHLEY                                                                                     UNDETERMINED
           J. NELSON THOMAS THOMAS & SOLOMON LLP             þ Contingent
           693 EAST AVENUE
           ROCHESTER NY 14607                                þ Unliquidated
                                                             þ Disputed
           Date or dates debt was incurred                   Basis for the claim:
           VARIOUS                                           CIVIL ACTION NO. 6:15-CV-06742
                                                             PENDING LITIGATION
           Last 4 digits of account number:
                                                             Is the claim subject to offset?

                                                             þ No
                                                             ¨ Yes

3.1802.    Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                             Check all that apply.
           TECHNICAL SERVICES INC                                                                            $2,603.41
           1509 TECHNOLOGY DR STE 101                        ¨ Contingent
           CHESAPEAKE VA 23320
                                                             ¨ Unliquidated
                                                             ¨ Disputed
           Date or dates debt was incurred                   Basis for the claim:
           VARIOUS                                           TRADE ACCOUNTS PAYABLE
           Last 4 digits of account number:                  Is the claim subject to offset?

                                                             þ No
                                                             ¨ Yes

3.1803.    Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                             Check all that apply.
           TEMECULA DRAIN SERVICE & PLUMBING                                                                 $372.00
           PO BOX 1535                                       ¨ Contingent
           TEMECULA CA 92592
                                                             ¨ Unliquidated
                                                             ¨ Disputed
           Date or dates debt was incurred                   Basis for the claim:
           VARIOUS                                           TRADE ACCOUNTS PAYABLE
           Last 4 digits of account number:                  Is the claim subject to offset?

                                                             þ No
                                                             ¨ Yes




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3.1804.    Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                             Check all that apply.
           TEMPERATURE ENGINEERING INC.                                                                      $4,739.10
           7475 SOUTH MADISON                                ¨ Contingent
           WILLOWBROOK IL 60527
                                                             ¨ Unliquidated
                                                             ¨ Disputed
           Date or dates debt was incurred                   Basis for the claim:
           VARIOUS                                           TRADE ACCOUNTS PAYABLE
           Last 4 digits of account number:                  Is the claim subject to offset?

                                                             þ No
                                                             ¨ Yes

3.1805.    Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                             Check all that apply.
           TEPER, MOLLY JO                                                                                   UNDETERMINED
           J. NELSON THOMAS THOMAS & SOLOMON LLP             þ Contingent
           693 EAST AVENUE
           ROCHESTER NY 14607                                þ Unliquidated
                                                             þ Disputed
           Date or dates debt was incurred                   Basis for the claim:
           VARIOUS                                           CIVIL ACTION NO. 6:15-CV-06742
                                                             PENDING LITIGATION
           Last 4 digits of account number:
                                                             Is the claim subject to offset?

                                                             þ No
                                                             ¨ Yes

3.1806.    Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                             Check all that apply.
           TERRY, DEVON                                                                                      UNDETERMINED
           J. NELSON THOMAS THOMAS & SOLOMON LLP             þ Contingent
           693 EAST AVENUE
           ROCHESTER NY 14607                                þ Unliquidated
                                                             þ Disputed
           Date or dates debt was incurred                   Basis for the claim:
           VARIOUS                                           CIVIL ACTION NO. 6:15-CV-06742
                                                             PENDING LITIGATION
           Last 4 digits of account number:
                                                             Is the claim subject to offset?

                                                             þ No
                                                             ¨ Yes




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3.1807.    Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                             Check all that apply.
           TESS, LAUREN                                                                                      UNDETERMINED
           J. NELSON THOMAS THOMAS & SOLOMON LLP             þ Contingent
           693 EAST AVENUE
           ROCHESTER NY 14607                                þ Unliquidated
                                                             þ Disputed
           Date or dates debt was incurred                   Basis for the claim:
           VARIOUS                                           CIVIL ACTION NO. 6:15-CV-06742
                                                             PENDING LITIGATION
           Last 4 digits of account number:
                                                             Is the claim subject to offset?

                                                             þ No
                                                             ¨ Yes

3.1808.    Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                             Check all that apply.
           TESTILER, JUDITH                                                                                  UNDETERMINED
           BRETT BERGER, ESQ., MANEY & GORDON PA             þ Contingent
                                                             þ Unliquidated
                                                             þ Disputed
           Date or dates debt was incurred                   Basis for the claim:
           VARIOUS                                           PENDING LITIGATION
           Last 4 digits of account number:                  Is the claim subject to offset?

                                                             þ No
                                                             ¨ Yes

3.1809.    Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                             Check all that apply.
           TESTILER, JUDITH                                                                                  UNDETERMINED
                                                             þ Contingent
                                                             þ Unliquidated
                                                             þ Disputed
           Date or dates debt was incurred                   Basis for the claim:
           VARIOUS                                           GENERAL LIABILITY CLAIMS
           Last 4 digits of account number:                  Is the claim subject to offset?

                                                             þ No
                                                             ¨ Yes




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3.1810.    Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                             Check all that apply.
           TEXAS FILTER SERVICE LLC                                                                          $139.00
           10276 ROBINSON DRIVE                              ¨ Contingent
           TYLER TX 75703
                                                             ¨ Unliquidated
                                                             ¨ Disputed
           Date or dates debt was incurred                   Basis for the claim:
           VARIOUS                                           TRADE ACCOUNTS PAYABLE
           Last 4 digits of account number:                  Is the claim subject to offset?

                                                             þ No
                                                             ¨ Yes

3.1811.    Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                             Check all that apply.
           TEXAS RESTAURANT EQUIPMENT SERVICE                                                                $2,810.72
           6411 BIG SPRINGS DRIVE                            ¨ Contingent
           ARLINGTON TX 76001
                                                             ¨ Unliquidated
                                                             ¨ Disputed
           Date or dates debt was incurred                   Basis for the claim:
           VARIOUS                                           TRADE ACCOUNTS PAYABLE
           Last 4 digits of account number:                  Is the claim subject to offset?

                                                             þ No
                                                             ¨ Yes

3.1812.    Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                             Check all that apply.
           THACKERY, DENISE                                                                                  UNDETERMINED
           J. NELSON THOMAS THOMAS & SOLOMON LLP             þ Contingent
           693 EAST AVENUE
           ROCHESTER NY 14607                                þ Unliquidated
                                                             þ Disputed
           Date or dates debt was incurred                   Basis for the claim:
           VARIOUS                                           CIVIL ACTION NO. 6:15-CV-06742
                                                             PENDING LITIGATION
           Last 4 digits of account number:
                                                             Is the claim subject to offset?

                                                             þ No
                                                             ¨ Yes




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3.1813.    Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                             Check all that apply.
           THACKSTON, JACOB LEE                                                                              UNDETERMINED
           J. NELSON THOMAS THOMAS & SOLOMON LLP             þ Contingent
           693 EAST AVENUE
           ROCHESTER NY 14607                                þ Unliquidated
                                                             þ Disputed
           Date or dates debt was incurred                   Basis for the claim:
           VARIOUS                                           CIVIL ACTION NO. 6:15-CV-06742
                                                             PENDING LITIGATION
           Last 4 digits of account number:
                                                             Is the claim subject to offset?

                                                             þ No
                                                             ¨ Yes

3.1814.    Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                             Check all that apply.
           THE ANN DREVER COTTRELL TRUST                                                                     UNDETERMINED
           SCOTT C MCDERMAND TRUSTEE                         þ Contingent
           PO BOX 691
           JAMUL CA 91935                                    þ Unliquidated
                                                             þ Disputed
           Date or dates debt was incurred                   Basis for the claim:
           VARIOUS                                           LANDLORD CLAIM
           Last 4 digits of account number:                  Is the claim subject to offset?

                                                             þ No
                                                             ¨ Yes

3.1815.    Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                             Check all that apply.
           THE CHAIR DOCTOR                                                                                  $340.00
           1101 GREEN STREET                                 ¨ Contingent
           FORT COLLINS CO 80524
                                                             ¨ Unliquidated
                                                             ¨ Disputed
           Date or dates debt was incurred                   Basis for the claim:
           VARIOUS                                           TRADE ACCOUNTS PAYABLE
           Last 4 digits of account number:                  Is the claim subject to offset?

                                                             þ No
                                                             ¨ Yes




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Debtor    MAC ACQUISITION LLC                                                                                Case number (if known) 17-12224




3.1816.    Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                             Check all that apply.
           THE GROWING COMPANY INC                                                                           $292.00
           4 WAYNE COURT BUILDING #3                         ¨ Contingent
           SACRAMENTO CA 95829
                                                             ¨ Unliquidated
                                                             ¨ Disputed
           Date or dates debt was incurred                   Basis for the claim:
           VARIOUS                                           TRADE ACCOUNTS PAYABLE
           Last 4 digits of account number:                  Is the claim subject to offset?

                                                             þ No
                                                             ¨ Yes

3.1817.    Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                             Check all that apply.
           THE HAPPY CHEF INC                                                                                $268.03
           22 PARK PLACE                                     ¨ Contingent
           BUTLER NJ 07405
                                                             ¨ Unliquidated
                                                             ¨ Disputed
           Date or dates debt was incurred                   Basis for the claim:
           VARIOUS                                           TRADE ACCOUNTS PAYABLE
           Last 4 digits of account number:                  Is the claim subject to offset?

                                                             þ No
                                                             ¨ Yes

3.1818.    Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                             Check all that apply.
           THE HIRAOKA FAMILY TRUST                                                                          UNDETERMINED
           ANDREW L. PLATT, ESQ.                             þ Contingent
           65 E. WACKER PLACE, STE. 2300
           KUEVER & PLATT, LLC                               þ Unliquidated
           CHICAGO IL 60601                                  þ Disputed
           Date or dates debt was incurred                   Basis for the claim:
           VARIOUS                                           CASE NO. 17 M3 003313 PENDING REAL
                                                             ESTATE LITIGATION
           Last 4 digits of account number:
                                                             Is the claim subject to offset?

                                                             þ No
                                                             ¨ Yes




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Debtor    MAC ACQUISITION LLC                                                                                Case number (if known) 17-12224




3.1819.    Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                             Check all that apply.
           THE IRVINE CO LLC                                                                                 UNDETERMINED
           GENERAL COUNSEL                                   þ Contingent
           KAROL H REDDY PROPERTY ASSISTANT
           550 NEWPORT CTR DR                                þ Unliquidated
           NEWPORT BEACH CA 92660                            þ Disputed
           Date or dates debt was incurred                   Basis for the claim:
           VARIOUS                                           LANDLORD CLAIM
           Last 4 digits of account number:                  Is the claim subject to offset?

                                                             þ No
                                                             ¨ Yes

3.1820.    Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                             Check all that apply.
           THE LION'S CLEANING SERVICES, LLC                                                                 $1,000.00
           1135 LORETTA STREET                               ¨ Contingent
           LOUISVILLE KY 40213
                                                             ¨ Unliquidated
                                                             ¨ Disputed
           Date or dates debt was incurred                   Basis for the claim:
           VARIOUS                                           TRADE ACCOUNTS PAYABLE
           Last 4 digits of account number:                  Is the claim subject to offset?

                                                             þ No
                                                             ¨ Yes

3.1821.    Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                             Check all that apply.
           THE MCS GROUP, INC.                                                                               $939.13
           1601 MARKET STREET STE. 800                       ¨ Contingent
           PHILADELPHIA PA 19103
                                                             ¨ Unliquidated
                                                             ¨ Disputed
           Date or dates debt was incurred                   Basis for the claim:
           VARIOUS                                           TRADE ACCOUNTS PAYABLE
           Last 4 digits of account number:                  Is the claim subject to offset?

                                                             þ No
                                                             ¨ Yes




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Debtor    MAC ACQUISITION LLC                                                                                Case number (if known) 17-12224




3.1822.    Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                             Check all that apply.
           THE PLUMBING SOURCE INC.                                                                          $781.00
           5042 CORBIN DRIVE                                 ¨ Contingent
           CLEVELAND OH 44128
                                                             ¨ Unliquidated
                                                             ¨ Disputed
           Date or dates debt was incurred                   Basis for the claim:
           VARIOUS                                           TRADE ACCOUNTS PAYABLE
           Last 4 digits of account number:                  Is the claim subject to offset?

                                                             þ No
                                                             ¨ Yes

3.1823.    Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                             Check all that apply.
           THE POINTE AT ROBINHOOD VILLAGE                                                                   $2,018.00
           5749 COLIN VILLAGE WAY                            ¨ Contingent
           WINSTON SALEM NC 27106
                                                             ¨ Unliquidated
                                                             ¨ Disputed
           Date or dates debt was incurred                   Basis for the claim:
           VARIOUS                                           TRADE ACCOUNTS PAYABLE
           Last 4 digits of account number:                  Is the claim subject to offset?

                                                             þ No
                                                             ¨ Yes

3.1824.    Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                             Check all that apply.
           THE SEALS DBA GASKETS ROCK MID-                                                                   $314.91
           ATLANTIC LLC                                      ¨ Contingent
           1914 J.N. PEASE PLACE
           CHARLOTTE NC 28262                                ¨ Unliquidated
                                                             ¨ Disputed
           Date or dates debt was incurred                   Basis for the claim:
           VARIOUS                                           TRADE ACCOUNTS PAYABLE
           Last 4 digits of account number:                  Is the claim subject to offset?

                                                             þ No
                                                             ¨ Yes




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Debtor    MAC ACQUISITION LLC                                                                                Case number (if known) 17-12224




3.1825.    Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                             Check all that apply.
           THE SEAT DOCTOR                                                                                   $760.00
           2648 LOVE SPRINGS ROAD                            ¨ Contingent
           DBA AUTO BODY TECHNOLGOIES
           GAFFNEY SC 29341                                  ¨ Unliquidated
                                                             ¨ Disputed
           Date or dates debt was incurred                   Basis for the claim:
           VARIOUS                                           TRADE ACCOUNTS PAYABLE
           Last 4 digits of account number:                  Is the claim subject to offset?

                                                             þ No
                                                             ¨ Yes

3.1826.    Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                             Check all that apply.
           THE SKAFF FAMILY TRUST DATED 3/8/1991                                                             UNDETERMINED
           EMILE SKAFF                                       þ Contingent
           4540 CHARMION LN
           ENCINO CA 91316                                   þ Unliquidated
                                                             þ Disputed
           Date or dates debt was incurred                   Basis for the claim:
           VARIOUS                                           LANDLORD CLAIM
           Last 4 digits of account number:                  Is the claim subject to offset?

                                                             þ No
                                                             ¨ Yes

3.1827.    Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                             Check all that apply.
           THE WINDOW KING INC                                                                               $160.12
           6510 STATE ROAD                                   ¨ Contingent
           PARMA OH 44134
                                                             ¨ Unliquidated
                                                             ¨ Disputed
           Date or dates debt was incurred                   Basis for the claim:
           VARIOUS                                           TRADE ACCOUNTS PAYABLE
           Last 4 digits of account number:                  Is the claim subject to offset?

                                                             þ No
                                                             ¨ Yes




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Debtor    MAC ACQUISITION LLC                                                                                Case number (if known) 17-12224




3.1828.    Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                             Check all that apply.
           THOMAS TYLER PATRICIA TYLER AND                                                                   UNDETERMINED
           WILLIAM SEIDER                                    þ Contingent
           PATRICIA TYLER
           2202 CASEY KEY RD                                 þ Unliquidated
           NOKOMIS FL 34275                                  þ Disputed
           Date or dates debt was incurred                   Basis for the claim:
           VARIOUS                                           LANDLORD CLAIM
           Last 4 digits of account number:                  Is the claim subject to offset?

                                                             þ No
                                                             ¨ Yes

3.1829.    Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                             Check all that apply.
           THOMAS, AMANDA                                                                                    UNDETERMINED
           J. NELSON THOMAS THOMAS & SOLOMON LLP             þ Contingent
           693 EAST AVENUE
           ROCHESTER NY 14607                                þ Unliquidated
                                                             þ Disputed
           Date or dates debt was incurred                   Basis for the claim:
           VARIOUS                                           CIVIL ACTION NO. 6:15-CV-06742
                                                             PENDING LITIGATION
           Last 4 digits of account number:
                                                             Is the claim subject to offset?

                                                             þ No
                                                             ¨ Yes

3.1830.    Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                             Check all that apply.
           THOMAS, AMANDA                                                                                    UNDETERMINED
           J. NELSON THOMAS THOMAS & SOLOMON LLP             þ Contingent
           693 EAST AVENUE
           ROCHESTER NY 14607                                þ Unliquidated
                                                             þ Disputed
           Date or dates debt was incurred                   Basis for the claim:
           VARIOUS                                           CIVIL ACTION NO. 6:15-CV-06742
                                                             PENDING LITIGATION
           Last 4 digits of account number:
                                                             Is the claim subject to offset?

                                                             þ No
                                                             ¨ Yes




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Debtor    MAC ACQUISITION LLC                                                                                Case number (if known) 17-12224




3.1831.    Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                             Check all that apply.
           THOMAS, BILL                                                                                      $171.20
           3210 SUNSET OAKS DRIVE                            ¨ Contingent
           PLANT CITY FL 33563
                                                             ¨ Unliquidated
                                                             ¨ Disputed
           Date or dates debt was incurred                   Basis for the claim:
           VARIOUS                                           TRADE ACCOUNTS PAYABLE
           Last 4 digits of account number:                  Is the claim subject to offset?

                                                             þ No
                                                             ¨ Yes

3.1832.    Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                             Check all that apply.
           THOMAS, KAITLYN GRACE                                                                             UNDETERMINED
           J. NELSON THOMAS THOMAS & SOLOMON LLP             þ Contingent
           693 EAST AVENUE
           ROCHESTER NY 14607                                þ Unliquidated
                                                             þ Disputed
           Date or dates debt was incurred                   Basis for the claim:
           VARIOUS                                           CIVIL ACTION NO. 6:15-CV-06742
                                                             PENDING LITIGATION
           Last 4 digits of account number:
                                                             Is the claim subject to offset?

                                                             þ No
                                                             ¨ Yes

3.1833.    Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                             Check all that apply.
           THOMAS, KELE                                                                                      UNDETERMINED
                                                             þ Contingent
                                                             þ Unliquidated
                                                             þ Disputed
           Date or dates debt was incurred                   Basis for the claim:
           VARIOUS                                           GENERAL LIABILITY CLAIMS
           Last 4 digits of account number:                  Is the claim subject to offset?

                                                             þ No
                                                             ¨ Yes




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Debtor    MAC ACQUISITION LLC                                                                                Case number (if known) 17-12224




3.1834.    Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                             Check all that apply.
           THOMAS, MICHAEL LAWRENCE                                                                          UNDETERMINED
           J. NELSON THOMAS THOMAS & SOLOMON LLP             þ Contingent
           693 EAST AVENUE
           ROCHESTER NY 14607                                þ Unliquidated
                                                             þ Disputed
           Date or dates debt was incurred                   Basis for the claim:
           VARIOUS                                           CIVIL ACTION NO. 6:15-CV-06742
                                                             PENDING LITIGATION
           Last 4 digits of account number:
                                                             Is the claim subject to offset?

                                                             þ No
                                                             ¨ Yes

3.1835.    Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                             Check all that apply.
           THOMPSON, ALICIA                                                                                  UNDETERMINED
                                                             þ Contingent
                                                             þ Unliquidated
                                                             þ Disputed
           Date or dates debt was incurred                   Basis for the claim:
           VARIOUS                                           GENERAL LIABILITY CLAIMS
           Last 4 digits of account number:                  Is the claim subject to offset?

                                                             þ No
                                                             ¨ Yes

3.1836.    Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                             Check all that apply.
           THOMPSON, ERIC LEE                                                                                UNDETERMINED
           J. NELSON THOMAS THOMAS & SOLOMON LLP             þ Contingent
           693 EAST AVENUE
           ROCHESTER NY 14607                                þ Unliquidated
                                                             þ Disputed
           Date or dates debt was incurred                   Basis for the claim:
           VARIOUS                                           CIVIL ACTION NO. 6:15-CV-06742
                                                             PENDING LITIGATION
           Last 4 digits of account number:
                                                             Is the claim subject to offset?

                                                             þ No
                                                             ¨ Yes




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Debtor    MAC ACQUISITION LLC                                                                                Case number (if known) 17-12224




3.1837.    Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                             Check all that apply.
           THOMPSON, MARY                                                                                    UNDETERMINED
           J. NELSON THOMAS THOMAS & SOLOMON LLP             þ Contingent
           693 EAST AVENUE
           ROCHESTER NY 14607                                þ Unliquidated
                                                             þ Disputed
           Date or dates debt was incurred                   Basis for the claim:
           VARIOUS                                           CIVIL ACTION NO. 6:15-CV-06742
                                                             PENDING LITIGATION
           Last 4 digits of account number:
                                                             Is the claim subject to offset?

                                                             þ No
                                                             ¨ Yes

3.1838.    Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                             Check all that apply.
           THOMPSON, MARY                                                                                    UNDETERMINED
           J. NELSON THOMAS THOMAS & SOLOMON LLP             þ Contingent
           693 EAST AVENUE
           ROCHESTER NY 14607                                þ Unliquidated
                                                             þ Disputed
           Date or dates debt was incurred                   Basis for the claim:
           VARIOUS                                           CIVIL ACTION NO. 6:15-CV-06742
                                                             PENDING LITIGATION
           Last 4 digits of account number:
                                                             Is the claim subject to offset?

                                                             þ No
                                                             ¨ Yes

3.1839.    Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                             Check all that apply.
           THOMPSON, PHYLLIS                                                                                 UNDETERMINED
                                                             þ Contingent
                                                             þ Unliquidated
                                                             þ Disputed
           Date or dates debt was incurred                   Basis for the claim:
           VARIOUS                                           GENERAL LIABILITY CLAIMS
           Last 4 digits of account number:                  Is the claim subject to offset?

                                                             þ No
                                                             ¨ Yes




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3.1840.    Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                             Check all that apply.
           THOMPSON, TINA RENEE                                                                              UNDETERMINED
           J. NELSON THOMAS THOMAS & SOLOMON LLP             þ Contingent
           693 EAST AVENUE
           ROCHESTER NY 14607                                þ Unliquidated
                                                             þ Disputed
           Date or dates debt was incurred                   Basis for the claim:
           VARIOUS                                           CIVIL ACTION NO. 6:15-CV-06742
                                                             PENDING LITIGATION
           Last 4 digits of account number:
                                                             Is the claim subject to offset?

                                                             þ No
                                                             ¨ Yes

3.1841.    Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                             Check all that apply.
           THOMSON REUTERS WEST                                                                              $4,321.60
           PAYMENT CENTER                                    þ Contingent
           PO BOX 6292
           CAROL STREAM IL 60197                             þ Unliquidated
                                                             þ Disputed
           Date or dates debt was incurred                   Basis for the claim:
           VARIOUS                                           TRADE ACCOUNTS PAYABLE
           Last 4 digits of account number:                  Is the claim subject to offset?

                                                             þ No
                                                             ¨ Yes

3.1842.    Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                             Check all that apply.
           THORNDAL ARMSTRONG DELK BALKENBUSH &                                                              $4,691.47
           EISINGER                                          ¨ Contingent
           PO DRAWER 2070
           LAS VEGAS NV 89125-2070                           ¨ Unliquidated
                                                             ¨ Disputed
           Date or dates debt was incurred                   Basis for the claim:
           VARIOUS                                           LEGAL
           Last 4 digits of account number:                  Is the claim subject to offset?

                                                             þ No
                                                             ¨ Yes




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Debtor    MAC ACQUISITION LLC                                                                                Case number (if known) 17-12224




3.1843.    Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                             Check all that apply.
           THORNE, ANDRE                                                                                     UNDETERMINED
           J. NELSON THOMAS THOMAS & SOLOMON LLP             þ Contingent
           693 EAST AVENUE
           ROCHESTER NY 14607                                þ Unliquidated
                                                             þ Disputed
           Date or dates debt was incurred                   Basis for the claim:
           VARIOUS                                           CIVIL ACTION NO. 6:15-CV-06742
                                                             PENDING LITIGATION
           Last 4 digits of account number:
                                                             Is the claim subject to offset?

                                                             þ No
                                                             ¨ Yes

3.1844.    Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                             Check all that apply.
           TIETZE PLUMBING, INC.                                                                             $262.50
           10545 FM 1560 N                                   ¨ Contingent
           SAN ANTONIO TX 78254
                                                             ¨ Unliquidated
                                                             ¨ Disputed
           Date or dates debt was incurred                   Basis for the claim:
           VARIOUS                                           TRADE ACCOUNTS PAYABLE
           Last 4 digits of account number:                  Is the claim subject to offset?

                                                             þ No
                                                             ¨ Yes

3.1845.    Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                             Check all that apply.
           TIGRISWOODS, LLC                                                                                  UNDETERMINED
           SCOTT O. MERCER, ESQ.                             þ Contingent
           68 S. MAIN ST. STE 200
           KESLER & RUST                                     þ Unliquidated
           SALT LAKE CITY UT 84101-1525                      þ Disputed
           Date or dates debt was incurred                   Basis for the claim:
           VARIOUS                                           CASE NO. 170401457 PENDING REAL
                                                             ESTATE LITIGATION
           Last 4 digits of account number:
                                                             Is the claim subject to offset?

                                                             þ No
                                                             ¨ Yes




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3.1846.    Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                             Check all that apply.
           TILLMAN, JESSICA                                                                                  UNDETERMINED
           J. NELSON THOMAS THOMAS & SOLOMON LLP             þ Contingent
           693 EAST AVENUE
           ROCHESTER NY 14607                                þ Unliquidated
                                                             þ Disputed
           Date or dates debt was incurred                   Basis for the claim:
           VARIOUS                                           CIVIL ACTION NO. 6:15-CV-06742
                                                             PENDING LITIGATION
           Last 4 digits of account number:
                                                             Is the claim subject to offset?

                                                             þ No
                                                             ¨ Yes

3.1847.    Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                             Check all that apply.
           TILTON, BETH DIANE DOWNS                                                                          UNDETERMINED
           J. NELSON THOMAS THOMAS & SOLOMON LLP             þ Contingent
           693 EAST AVENUE
           ROCHESTER NY 14607                                þ Unliquidated
                                                             þ Disputed
           Date or dates debt was incurred                   Basis for the claim:
           VARIOUS                                           CIVIL ACTION NO. 6:15-CV-06742
                                                             PENDING LITIGATION
           Last 4 digits of account number:
                                                             Is the claim subject to offset?

                                                             þ No
                                                             ¨ Yes

3.1848.    Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                             Check all that apply.
           TIPPIN, JENNIFER D.                                                                               UNDETERMINED
           J. NELSON THOMAS THOMAS & SOLOMON LLP             þ Contingent
           693 EAST AVENUE
           ROCHESTER NY 14607                                þ Unliquidated
                                                             þ Disputed
           Date or dates debt was incurred                   Basis for the claim:
           VARIOUS                                           CIVIL ACTION NO. 6:15-CV-06742
                                                             PENDING LITIGATION
           Last 4 digits of account number:
                                                             Is the claim subject to offset?

                                                             þ No
                                                             ¨ Yes




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3.1849.    Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                             Check all that apply.
           TITUS-CAMPOS, PATRICIA                                                                            UNDETERMINED
           J. NELSON THOMAS THOMAS & SOLOMON LLP             þ Contingent
           693 EAST AVENUE
           ROCHESTER NY 14607                                þ Unliquidated
                                                             þ Disputed
           Date or dates debt was incurred                   Basis for the claim:
           VARIOUS                                           CIVIL ACTION NO. 6:15-CV-06742
                                                             PENDING LITIGATION
           Last 4 digits of account number:
                                                             Is the claim subject to offset?

                                                             þ No
                                                             ¨ Yes

3.1850.    Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                             Check all that apply.
           TOBIN, AARON O.                                                                                   UNDETERMINED
           J. NELSON THOMAS THOMAS & SOLOMON LLP             þ Contingent
           693 EAST AVENUE
           ROCHESTER NY 14607                                þ Unliquidated
                                                             þ Disputed
           Date or dates debt was incurred                   Basis for the claim:
           VARIOUS                                           CIVIL ACTION NO. 6:15-CV-06742
                                                             PENDING LITIGATION
           Last 4 digits of account number:
                                                             Is the claim subject to offset?

                                                             þ No
                                                             ¨ Yes

3.1851.    Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                             Check all that apply.
           TODD, RAMONA                                                                                      UNDETERMINED
           J. NELSON THOMAS THOMAS & SOLOMON LLP             þ Contingent
           693 EAST AVENUE
           ROCHESTER NY 14607                                þ Unliquidated
                                                             þ Disputed
           Date or dates debt was incurred                   Basis for the claim:
           VARIOUS                                           CIVIL ACTION NO. 6:15-CV-06742
                                                             PENDING LITIGATION
           Last 4 digits of account number:
                                                             Is the claim subject to offset?

                                                             þ No
                                                             ¨ Yes




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Debtor    MAC ACQUISITION LLC                                                                                Case number (if known) 17-12224




3.1852.    Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                             Check all that apply.
           TOKHI, SAEED                                                                                      UNDETERMINED
           J. NELSON THOMAS THOMAS & SOLOMON LLP             þ Contingent
           693 EAST AVENUE
           ROCHESTER NY 14607                                þ Unliquidated
                                                             þ Disputed
           Date or dates debt was incurred                   Basis for the claim:
           VARIOUS                                           CIVIL ACTION NO. 6:15-CV-06742
                                                             PENDING LITIGATION
           Last 4 digits of account number:
                                                             Is the claim subject to offset?

                                                             þ No
                                                             ¨ Yes

3.1853.    Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                             Check all that apply.
           TOLAN, NICOLE                                                                                     UNDETERMINED
                                                             þ Contingent
                                                             þ Unliquidated
                                                             þ Disputed
           Date or dates debt was incurred                   Basis for the claim:
           VARIOUS                                           GENERAL LIABILITY CLAIMS
           Last 4 digits of account number:                  Is the claim subject to offset?

                                                             þ No
                                                             ¨ Yes

3.1854.    Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                             Check all that apply.
           TOLES, RACHAEL                                                                                    UNDETERMINED
           J. NELSON THOMAS THOMAS & SOLOMON LLP             þ Contingent
           693 EAST AVENUE
           ROCHESTER NY 14607                                þ Unliquidated
                                                             þ Disputed
           Date or dates debt was incurred                   Basis for the claim:
           VARIOUS                                           CIVIL ACTION NO. 6:15-CV-06742
                                                             PENDING LITIGATION
           Last 4 digits of account number:
                                                             Is the claim subject to offset?

                                                             þ No
                                                             ¨ Yes




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Debtor    MAC ACQUISITION LLC                                                                                Case number (if known) 17-12224




3.1855.    Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                             Check all that apply.
           TORO, APRIL GENE                                                                                  UNDETERMINED
           J. NELSON THOMAS THOMAS & SOLOMON LLP             þ Contingent
           693 EAST AVENUE
           ROCHESTER NY 14607                                þ Unliquidated
                                                             þ Disputed
           Date or dates debt was incurred                   Basis for the claim:
           VARIOUS                                           CIVIL ACTION NO. 6:15-CV-06742
                                                             PENDING LITIGATION
           Last 4 digits of account number:
                                                             Is the claim subject to offset?

                                                             þ No
                                                             ¨ Yes

3.1856.    Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                             Check all that apply.
           TORRES HERNANDEZ, JOSE RENE                                                                       UNDETERMINED
           J. NELSON THOMAS THOMAS & SOLOMON LLP             þ Contingent
           693 EAST AVENUE
           ROCHESTER NY 14607                                þ Unliquidated
                                                             þ Disputed
           Date or dates debt was incurred                   Basis for the claim:
           VARIOUS                                           CIVIL ACTION NO. 6:15-CV-06742
                                                             PENDING LITIGATION
           Last 4 digits of account number:
                                                             Is the claim subject to offset?

                                                             þ No
                                                             ¨ Yes

3.1857.    Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                             Check all that apply.
           TORRES, ADAN                                                                                      UNDETERMINED
           J. NELSON THOMAS THOMAS & SOLOMON LLP             þ Contingent
           693 EAST AVENUE
           ROCHESTER NY 14607                                þ Unliquidated
                                                             þ Disputed
           Date or dates debt was incurred                   Basis for the claim:
           VARIOUS                                           CIVIL ACTION NO. 6:15-CV-06742
                                                             PENDING LITIGATION
           Last 4 digits of account number:
                                                             Is the claim subject to offset?

                                                             þ No
                                                             ¨ Yes




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Debtor    MAC ACQUISITION LLC                                                                                Case number (if known) 17-12224




3.1858.    Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                             Check all that apply.
           TORRES, JUAN DANIEL                                                                               UNDETERMINED
           J. NELSON THOMAS THOMAS & SOLOMON LLP             þ Contingent
           693 EAST AVENUE
           ROCHESTER NY 14607                                þ Unliquidated
                                                             þ Disputed
           Date or dates debt was incurred                   Basis for the claim:
           VARIOUS                                           CIVIL ACTION NO. 6:15-CV-06742
                                                             PENDING LITIGATION
           Last 4 digits of account number:
                                                             Is the claim subject to offset?

                                                             þ No
                                                             ¨ Yes

3.1859.    Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                             Check all that apply.
           TORRES-HERNANDEZ, JOSE RENE                                                                       UNDETERMINED
           J. NELSON THOMAS THOMAS & SOLOMON LLP             þ Contingent
           693 EAST AVENUE
           ROCHESTER NY 14607                                þ Unliquidated
                                                             þ Disputed
           Date or dates debt was incurred                   Basis for the claim:
           VARIOUS                                           CIVIL ACTION NO. 6:15-CV-06742
                                                             PENDING LITIGATION
           Last 4 digits of account number:
                                                             Is the claim subject to offset?

                                                             þ No
                                                             ¨ Yes

3.1860.    Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                             Check all that apply.
           TOTAL REFRIG GASKETS INC                                                                          $261.22
           2205 PLATINUM RD                                  ¨ Contingent
           APOPKA FL 32703
                                                             ¨ Unliquidated
                                                             ¨ Disputed
           Date or dates debt was incurred                   Basis for the claim:
           VARIOUS                                           TRADE ACCOUNTS PAYABLE
           Last 4 digits of account number:                  Is the claim subject to offset?

                                                             þ No
                                                             ¨ Yes




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Debtor    MAC ACQUISITION LLC                                                                                Case number (if known) 17-12224




3.1861.    Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                             Check all that apply.
           TOURNIER, TIFFANIE LYNN                                                                           UNDETERMINED
           J. NELSON THOMAS THOMAS & SOLOMON LLP             þ Contingent
           693 EAST AVENUE
           ROCHESTER NY 14607                                þ Unliquidated
                                                             þ Disputed
           Date or dates debt was incurred                   Basis for the claim:
           VARIOUS                                           CIVIL ACTION NO. 6:15-CV-06742
                                                             PENDING LITIGATION
           Last 4 digits of account number:
                                                             Is the claim subject to offset?

                                                             þ No
                                                             ¨ Yes

3.1862.    Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                             Check all that apply.
           TOWN CENTER INC                                                                                   $1,544.51
           PO BOX 2273                                       ¨ Contingent
           BRIGHTON MI 48116
                                                             ¨ Unliquidated
                                                             ¨ Disputed
           Date or dates debt was incurred                   Basis for the claim:
           VARIOUS                                           TRADE ACCOUNTS PAYABLE
           Last 4 digits of account number:                  Is the claim subject to offset?

                                                             þ No
                                                             ¨ Yes

3.1863.    Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                             Check all that apply.
           TRADECOR GILBERT &VAUGHN, LLC                                                                     UNDETERMINED
           ANDREW B. TURK, ESQ. CLARK HILL PLC               þ Contingent
           14850 NORTH SCOTTSDALE ROAD
           STE 500                                           þ Unliquidated
           SCOTTSDALE AZ 85254                               þ Disputed
           Date or dates debt was incurred                   Basis for the claim:
           VARIOUS                                           CASE NO. CV-2017-006031 PENDING
                                                             REAL ESTATE LITIGATION
           Last 4 digits of account number:
                                                             Is the claim subject to offset?

                                                             þ No
                                                             ¨ Yes




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Debtor    MAC ACQUISITION LLC                                                                                Case number (if known) 17-12224




3.1864.    Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                             Check all that apply.
           TRADECOR GILBERT AND VAUGHN LLC                                                                   UNDETERMINED
           PERRY MANN MANAGING MEMBER                        þ Contingent
           BRITT RAND SANCHEZ - MEMBER
           4455 E CAMELBACK RD STE E180                      þ Unliquidated
           PHOENIX AZ 85018                                  þ Disputed
           Date or dates debt was incurred                   Basis for the claim:
           VARIOUS                                           LANDLORD CLAIM
           Last 4 digits of account number:                  Is the claim subject to offset?

                                                             þ No
                                                             ¨ Yes

3.1865.    Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                             Check all that apply.
           TRAIAN LEAHU DBA SEATTLE GROUT & TILE                                                             $889.68
           11000 16TH AVE SE                                 ¨ Contingent
           APT. 806
           EVERETT WA 98208                                  ¨ Unliquidated
                                                             ¨ Disputed
           Date or dates debt was incurred                   Basis for the claim:
           VARIOUS                                           TRADE ACCOUNTS PAYABLE
           Last 4 digits of account number:                  Is the claim subject to offset?

                                                             þ No
                                                             ¨ Yes

3.1866.    Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                             Check all that apply.
           TRAN, KEVIN                                                                                       UNDETERMINED
           J. NELSON THOMAS THOMAS & SOLOMON LLP             þ Contingent
           693 EAST AVENUE
           ROCHESTER NY 14607                                þ Unliquidated
                                                             þ Disputed
           Date or dates debt was incurred                   Basis for the claim:
           VARIOUS                                           CIVIL ACTION NO. 6:15-CV-06742
                                                             PENDING LITIGATION
           Last 4 digits of account number:
                                                             Is the claim subject to offset?

                                                             þ No
                                                             ¨ Yes




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Debtor    MAC ACQUISITION LLC                                                                                Case number (if known) 17-12224




3.1867.    Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                             Check all that apply.
           TRAN, MINHANH                                                                                     UNDETERMINED
           J. NELSON THOMAS THOMAS & SOLOMON LLP             þ Contingent
           693 EAST AVENUE
           ROCHESTER NY 14607                                þ Unliquidated
                                                             þ Disputed
           Date or dates debt was incurred                   Basis for the claim:
           VARIOUS                                           CIVIL ACTION NO. 6:15-CV-06742
                                                             PENDING LITIGATION
           Last 4 digits of account number:
                                                             Is the claim subject to offset?

                                                             þ No
                                                             ¨ Yes

3.1868.    Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                             Check all that apply.
           TRANSOURCE                                                                                        $4,135.37
           15955 LA CANTERA PKWY                             ¨ Contingent
           SAN ANTONIO TX 78256
                                                             ¨ Unliquidated
                                                             ¨ Disputed
           Date or dates debt was incurred                   Basis for the claim:
           VARIOUS                                           TRADE ACCOUNTS PAYABLE
           Last 4 digits of account number:                  Is the claim subject to offset?

                                                             þ No
                                                             ¨ Yes

3.1869.    Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                             Check all that apply.
           TRANSWORLD ADVERTISING INC.                                                                       $1,050.73
           3684 N WICKHAM ROAD, STE. C                       ¨ Contingent
           MELBOURNE FL 32935
                                                             ¨ Unliquidated
                                                             ¨ Disputed
           Date or dates debt was incurred                   Basis for the claim:
           VARIOUS                                           TRADE ACCOUNTS PAYABLE
           Last 4 digits of account number:                  Is the claim subject to offset?

                                                             þ No
                                                             ¨ Yes




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Debtor    MAC ACQUISITION LLC                                                                                Case number (if known) 17-12224




3.1870.    Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                             Check all that apply.
           TRAUGHBER II, JOHN PATRICK                                                                        UNDETERMINED
           J. NELSON THOMAS THOMAS & SOLOMON LLP             þ Contingent
           693 EAST AVENUE
           ROCHESTER NY 14607                                þ Unliquidated
                                                             þ Disputed
           Date or dates debt was incurred                   Basis for the claim:
           VARIOUS                                           CIVIL ACTION NO. 6:15-CV-06742
                                                             PENDING LITIGATION
           Last 4 digits of account number:
                                                             Is the claim subject to offset?

                                                             þ No
                                                             ¨ Yes

3.1871.    Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                             Check all that apply.
           TREITMAN, RACHEL                                                                                  UNDETERMINED
                                                             þ Contingent
                                                             þ Unliquidated
                                                             þ Disputed
           Date or dates debt was incurred                   Basis for the claim:
           VARIOUS                                           GENERAL LIABILITY CLAIMS
           Last 4 digits of account number:                  Is the claim subject to offset?

                                                             þ No
                                                             ¨ Yes

3.1872.    Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                             Check all that apply.
           TRES WOODLAND INVESTMENT LLC                                                                      UNDETERMINED
           BRYAN LY                                          þ Contingent
           3460 W WALNUT ST STE 120
           GARLAND TX 75042                                  þ Unliquidated
                                                             þ Disputed
           Date or dates debt was incurred                   Basis for the claim:
           VARIOUS                                           LANDLORD CLAIM
           Last 4 digits of account number:                  Is the claim subject to offset?

                                                             þ No
                                                             ¨ Yes




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Debtor    MAC ACQUISITION LLC                                                                                Case number (if known) 17-12224




3.1873.    Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                             Check all that apply.
           TREVINO, RACHELLE NICOLE                                                                          UNDETERMINED
           J. NELSON THOMAS THOMAS & SOLOMON LLP             þ Contingent
           693 EAST AVENUE
           ROCHESTER NY 14607                                þ Unliquidated
                                                             þ Disputed
           Date or dates debt was incurred                   Basis for the claim:
           VARIOUS                                           CIVIL ACTION NO. 6:15-CV-06742
                                                             PENDING LITIGATION
           Last 4 digits of account number:
                                                             Is the claim subject to offset?

                                                             þ No
                                                             ¨ Yes

3.1874.    Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                             Check all that apply.
           TRI STAR SERVICES USA                                                                             $1,785.01
           8619 VIA BELLA NOTTE                              ¨ Contingent
           ORLANDO FL 32836
                                                             ¨ Unliquidated
                                                             ¨ Disputed
           Date or dates debt was incurred                   Basis for the claim:
           VARIOUS                                           TRADE ACCOUNTS PAYABLE
           Last 4 digits of account number:                  Is the claim subject to offset?

                                                             þ No
                                                             ¨ Yes

3.1875.    Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                             Check all that apply.
           TRIANGLE REFRIGERATION SERVICES INC                                                               $2,392.92
           739 PERSHING ROAD                                 ¨ Contingent
           RALEIGH NC 27608
                                                             ¨ Unliquidated
                                                             ¨ Disputed
           Date or dates debt was incurred                   Basis for the claim:
           VARIOUS                                           TRADE ACCOUNTS PAYABLE
           Last 4 digits of account number:                  Is the claim subject to offset?

                                                             þ No
                                                             ¨ Yes




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Debtor    MAC ACQUISITION LLC                                                                                Case number (if known) 17-12224




3.1876.    Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                             Check all that apply.
           TRI-AREA ELECTRICAL CONSTRUCTION INC.                                                             $1,662.54
           C/O DANIEL LEONE                                  ¨ Contingent
           909 SE 47TH TERRACE
           CAPE CORAL FL 33904                               ¨ Unliquidated
                                                             ¨ Disputed
           Date or dates debt was incurred                   Basis for the claim:
           VARIOUS                                           TRADE ACCOUNTS PAYABLE
           Last 4 digits of account number:                  Is the claim subject to offset?

                                                             þ No
                                                             ¨ Yes

3.1877.    Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                             Check all that apply.
           TRICE, AMIRA ALDUHAIM                                                                             UNDETERMINED
           J. NELSON THOMAS THOMAS & SOLOMON LLP             þ Contingent
           693 EAST AVENUE
           ROCHESTER NY 14607                                þ Unliquidated
                                                             þ Disputed
           Date or dates debt was incurred                   Basis for the claim:
           VARIOUS                                           CIVIL ACTION NO. 6:15-CV-06742
                                                             PENDING LITIGATION
           Last 4 digits of account number:
                                                             Is the claim subject to offset?

                                                             þ No
                                                             ¨ Yes

3.1878.    Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                             Check all that apply.
           TRINTECH INC                                                                                      $1,423.48
           15851 DALLAS PARKWAY, STE. 900                    ¨ Contingent
           ADDISON TX 75320
                                                             ¨ Unliquidated
                                                             ¨ Disputed
           Date or dates debt was incurred                   Basis for the claim:
           VARIOUS                                           TRADE ACCOUNTS PAYABLE
           Last 4 digits of account number:                  Is the claim subject to offset?

                                                             þ No
                                                             ¨ Yes




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Debtor    MAC ACQUISITION LLC                                                                                Case number (if known) 17-12224




3.1879.    Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                             Check all that apply.
           TRUDEAU, KELLIANNE                                                                                UNDETERMINED
           J. NELSON THOMAS THOMAS & SOLOMON LLP             þ Contingent
           693 EAST AVENUE
           ROCHESTER NY 14607                                þ Unliquidated
                                                             þ Disputed
           Date or dates debt was incurred                   Basis for the claim:
           VARIOUS                                           CIVIL ACTION NO. 6:15-CV-06742
                                                             PENDING LITIGATION
           Last 4 digits of account number:
                                                             Is the claim subject to offset?

                                                             þ No
                                                             ¨ Yes

3.1880.    Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                             Check all that apply.
           TRUNFIO, DEREK MICHAEL                                                                            UNDETERMINED
           J. NELSON THOMAS THOMAS & SOLOMON LLP             þ Contingent
           693 EAST AVENUE
           ROCHESTER NY 14607                                þ Unliquidated
                                                             þ Disputed
           Date or dates debt was incurred                   Basis for the claim:
           VARIOUS                                           CIVIL ACTION NO. 6:15-CV-06742
                                                             PENDING LITIGATION
           Last 4 digits of account number:
                                                             Is the claim subject to offset?

                                                             þ No
                                                             ¨ Yes

3.1881.    Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                             Check all that apply.
           TRUSTY, BEVERLY ANN                                                                               UNDETERMINED
           J. NELSON THOMAS THOMAS & SOLOMON LLP             þ Contingent
           693 EAST AVENUE
           ROCHESTER NY 14607                                þ Unliquidated
                                                             þ Disputed
           Date or dates debt was incurred                   Basis for the claim:
           VARIOUS                                           CIVIL ACTION NO. 6:15-CV-06742
                                                             PENDING LITIGATION
           Last 4 digits of account number:
                                                             Is the claim subject to offset?

                                                             þ No
                                                             ¨ Yes




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Debtor    MAC ACQUISITION LLC                                                                                Case number (if known) 17-12224




3.1882.    Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                             Check all that apply.
           TUCKER, MARSHA HOPE                                                                               UNDETERMINED
           J. NELSON THOMAS THOMAS & SOLOMON LLP             þ Contingent
           693 EAST AVENUE
           ROCHESTER NY 14607                                þ Unliquidated
                                                             þ Disputed
           Date or dates debt was incurred                   Basis for the claim:
           VARIOUS                                           CIVIL ACTION NO. 6:15-CV-06742
                                                             PENDING LITIGATION
           Last 4 digits of account number:
                                                             Is the claim subject to offset?

                                                             þ No
                                                             ¨ Yes

3.1883.    Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                             Check all that apply.
           TUNDRA RESTAURANT SUPPLY, INC.                                                                    $65.84
           BIN 010198                                        ¨ Contingent
           MILWAUKEE WI 53288-0198
                                                             ¨ Unliquidated
                                                             ¨ Disputed
           Date or dates debt was incurred                   Basis for the claim:
           VARIOUS                                           TRADE ACCOUNTS PAYABLE
           Last 4 digits of account number:                  Is the claim subject to offset?

                                                             þ No
                                                             ¨ Yes

3.1884.    Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                             Check all that apply.
           TURNER III, PAUL ALONZO                                                                           UNDETERMINED
           J. NELSON THOMAS THOMAS & SOLOMON LLP             þ Contingent
           693 EAST AVENUE
           ROCHESTER NY 14607                                þ Unliquidated
                                                             þ Disputed
           Date or dates debt was incurred                   Basis for the claim:
           VARIOUS                                           CIVIL ACTION NO. 6:15-CV-06742
                                                             PENDING LITIGATION
           Last 4 digits of account number:
                                                             Is the claim subject to offset?

                                                             þ No
                                                             ¨ Yes




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Debtor    MAC ACQUISITION LLC                                                                                Case number (if known) 17-12224




3.1885.    Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                             Check all that apply.
           TURPYN, ROBB                                                                                      $700.00
           164 WESTSIDE DRIVE                                ¨ Contingent
           ROCHESTER NY 14624
                                                             ¨ Unliquidated
                                                             ¨ Disputed
           Date or dates debt was incurred                   Basis for the claim:
           VARIOUS                                           TRADE ACCOUNTS PAYABLE
           Last 4 digits of account number:                  Is the claim subject to offset?

                                                             þ No
                                                             ¨ Yes

3.1886.    Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                             Check all that apply.
           TUX WINDOW CLEANING                                                                               $398.48
           4406 TOWNER AVE, NE STE. 6                        ¨ Contingent
           ALBUQUERQUE NM 87110
                                                             ¨ Unliquidated
                                                             ¨ Disputed
           Date or dates debt was incurred                   Basis for the claim:
           VARIOUS                                           TRADE ACCOUNTS PAYABLE
           Last 4 digits of account number:                  Is the claim subject to offset?

                                                             þ No
                                                             ¨ Yes

3.1887.    Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                             Check all that apply.
           TWC SERVICES INC                                                                                  $321.27
           PO BOX 1612                                       ¨ Contingent
           DES MOINES IA 50306
                                                             ¨ Unliquidated
                                                             ¨ Disputed
           Date or dates debt was incurred                   Basis for the claim:
           VARIOUS                                           TRADE ACCOUNTS PAYABLE
           Last 4 digits of account number:                  Is the claim subject to offset?

                                                             þ No
                                                             ¨ Yes




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Debtor    MAC ACQUISITION LLC                                                                                Case number (if known) 17-12224




3.1888.    Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                             Check all that apply.
           TYBURSKI, KELLY                                                                                   UNDETERMINED
                                                             þ Contingent
                                                             þ Unliquidated
                                                             þ Disputed
           Date or dates debt was incurred                   Basis for the claim:
           VARIOUS                                           WORKERS COMPENSATION CLAIM
           Last 4 digits of account number:                  Is the claim subject to offset?

                                                             þ No
                                                             ¨ Yes

3.1889.    Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                             Check all that apply.
           TYLER, NICOLE MARIE                                                                               UNDETERMINED
           J. NELSON THOMAS THOMAS & SOLOMON LLP             þ Contingent
           693 EAST AVENUE
           ROCHESTER NY 14607                                þ Unliquidated
                                                             þ Disputed
           Date or dates debt was incurred                   Basis for the claim:
           VARIOUS                                           CIVIL ACTION NO. 6:15-CV-06742
                                                             PENDING LITIGATION
           Last 4 digits of account number:
                                                             Is the claim subject to offset?

                                                             þ No
                                                             ¨ Yes

3.1890.    Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                             Check all that apply.
           TYNES, JAMIE LEIGH                                                                                UNDETERMINED
           J. NELSON THOMAS THOMAS & SOLOMON LLP             þ Contingent
           693 EAST AVENUE
           ROCHESTER NY 14607                                þ Unliquidated
                                                             þ Disputed
           Date or dates debt was incurred                   Basis for the claim:
           VARIOUS                                           CIVIL ACTION NO. 6:15-CV-06742
                                                             PENDING LITIGATION
           Last 4 digits of account number:
                                                             Is the claim subject to offset?

                                                             þ No
                                                             ¨ Yes




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Debtor    MAC ACQUISITION LLC                                                                                Case number (if known) 17-12224




3.1891.    Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                             Check all that apply.
           U HAUL                                                                                            UNDETERMINED
           RAUCH MILLIKEN, INC.                              þ Contingent
           PO BOX 8390
           METAIRIE LA 70011                                 þ Unliquidated
                                                             þ Disputed
           Date or dates debt was incurred                   Basis for the claim:
           VARIOUS                                           TRADE ACCOUNTS PAYABLE
           Last 4 digits of account number:                  Is the claim subject to offset?

                                                             þ No
                                                             ¨ Yes

3.1892.    Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                             Check all that apply.
           UHAUL INTERNATIONAL INC                                                                           $4,745.35
           PO BOX 52128                                      ¨ Contingent
           PHOENIX AZ 85072
                                                             ¨ Unliquidated
                                                             ¨ Disputed
           Date or dates debt was incurred                   Basis for the claim:
           VARIOUS                                           TRADE ACCOUNTS PAYABLE
           Last 4 digits of account number:                  Is the claim subject to offset?

                                                             þ No
                                                             ¨ Yes

3.1893.    Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                             Check all that apply.
           ULTIMATE SOFTWARE GROUP, THE                                                                      $38,376.00
           PO BOX 930953                                     ¨ Contingent
           ATLANTA GA 31193
                                                             ¨ Unliquidated
                                                             ¨ Disputed
           Date or dates debt was incurred                   Basis for the claim:
           VARIOUS                                           TRADE ACCOUNTS PAYABLE
           Last 4 digits of account number:                  Is the claim subject to offset?

                                                             þ No
                                                             ¨ Yes




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Debtor    MAC ACQUISITION LLC                                                                                Case number (if known) 17-12224




3.1894.    Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                             Check all that apply.
           UNDERGROUND VAULTS & STORAGE                                                                      $8.47
           PO BOX 1723                                       ¨ Contingent
           HUTCHINSON KS 67504
                                                             ¨ Unliquidated
                                                             ¨ Disputed
           Date or dates debt was incurred                   Basis for the claim:
           VARIOUS                                           TRADE ACCOUNTS PAYABLE
           Last 4 digits of account number:                  Is the claim subject to offset?

                                                             þ No
                                                             ¨ Yes

3.1895.    Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                             Check all that apply.
           UNDERGROUND VAULTS & STORAGE INC                                                                  $7.96
           PO BOX 1723                                       ¨ Contingent
           HUTCHINSON KS 67504
                                                             ¨ Unliquidated
                                                             ¨ Disputed
           Date or dates debt was incurred                   Basis for the claim:
           VARIOUS                                           TRADE ACCOUNTS PAYABLE
           Last 4 digits of account number:                  Is the claim subject to offset?

                                                             þ No
                                                             ¨ Yes

3.1896.    Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                             Check all that apply.
           UNDERKOFFLER, LEE MARSHALL                                                                        UNDETERMINED
           J. NELSON THOMAS THOMAS & SOLOMON LLP             þ Contingent
           693 EAST AVENUE
           ROCHESTER NY 14607                                þ Unliquidated
                                                             þ Disputed
           Date or dates debt was incurred                   Basis for the claim:
           VARIOUS                                           CIVIL ACTION NO. 6:15-CV-06742
                                                             PENDING LITIGATION
           Last 4 digits of account number:
                                                             Is the claim subject to offset?

                                                             þ No
                                                             ¨ Yes




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Debtor    MAC ACQUISITION LLC                                                                                Case number (if known) 17-12224




3.1897.    Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                             Check all that apply.
           UNIFIRST CORPORATION                                                                              $2,818.53
           6920 COMMERCE AVENUE                              ¨ Contingent
           EL PASO TX 79915
                                                             ¨ Unliquidated
                                                             ¨ Disputed
           Date or dates debt was incurred                   Basis for the claim:
           VARIOUS                                           TRADE ACCOUNTS PAYABLE
           Last 4 digits of account number:                  Is the claim subject to offset?

                                                             þ No
                                                             ¨ Yes

3.1898.    Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                             Check all that apply.
           UPHOLSTERY PROFESSIONALS LLC                                                                      $5,201.16
           PO BOX 291973                                     ¨ Contingent
           TAMPA FL 33687
                                                             ¨ Unliquidated
                                                             ¨ Disputed
           Date or dates debt was incurred                   Basis for the claim:
           VARIOUS                                           TRADE ACCOUNTS PAYABLE
           Last 4 digits of account number:                  Is the claim subject to offset?

                                                             þ No
                                                             ¨ Yes

3.1899.    Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                             Check all that apply.
           URFFER, HEIDI ALLISON                                                                             UNDETERMINED
           J. NELSON THOMAS THOMAS & SOLOMON LLP             þ Contingent
           693 EAST AVENUE
           ROCHESTER NY 14607                                þ Unliquidated
                                                             þ Disputed
           Date or dates debt was incurred                   Basis for the claim:
           VARIOUS                                           CIVIL ACTION NO. 6:15-CV-06742
                                                             PENDING LITIGATION
           Last 4 digits of account number:
                                                             Is the claim subject to offset?

                                                             þ No
                                                             ¨ Yes




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Debtor    MAC ACQUISITION LLC                                                                                Case number (if known) 17-12224




3.1900.    Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                             Check all that apply.
           US MEAT EXPORT FEDERATION                                                                         $13,250.00
           1660 LINCOLN ST, SUITE 2800                       ¨ Contingent
           DENVER CO 80264
                                                             ¨ Unliquidated
                                                             ¨ Disputed
           Date or dates debt was incurred                   Basis for the claim:
           VARIOUS                                           TRADE ACCOUNTS PAYABLE
           Last 4 digits of account number:                  Is the claim subject to offset?

                                                             þ No
                                                             ¨ Yes

3.1901.    Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                             Check all that apply.
           UTTERBACK, MARY KATHERINE                                                                         UNDETERMINED
           J. NELSON THOMAS THOMAS & SOLOMON LLP             þ Contingent
           693 EAST AVENUE
           ROCHESTER NY 14607                                þ Unliquidated
                                                             þ Disputed
           Date or dates debt was incurred                   Basis for the claim:
           VARIOUS                                           CIVIL ACTION NO. 6:15-CV-06742
                                                             PENDING LITIGATION
           Last 4 digits of account number:
                                                             Is the claim subject to offset?

                                                             þ No
                                                             ¨ Yes

3.1902.    Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                             Check all that apply.
           VALENTINE, CHELSEA LEANNE                                                                         UNDETERMINED
           J. NELSON THOMAS THOMAS & SOLOMON LLP             þ Contingent
           693 EAST AVENUE
           ROCHESTER NY 14607                                þ Unliquidated
                                                             þ Disputed
           Date or dates debt was incurred                   Basis for the claim:
           VARIOUS                                           CIVIL ACTION NO. 6:15-CV-06742
                                                             PENDING LITIGATION
           Last 4 digits of account number:
                                                             Is the claim subject to offset?

                                                             þ No
                                                             ¨ Yes




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Debtor    MAC ACQUISITION LLC                                                                                Case number (if known) 17-12224




3.1903.    Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                             Check all that apply.
           VALLADAREZBUSTO,ASENCION                                                                          UNDETERMINED
                                                             þ Contingent
                                                             þ Unliquidated
                                                             þ Disputed
           Date or dates debt was incurred                   Basis for the claim:
           VARIOUS                                           WORKERS COMPENSATION
           Last 4 digits of account number:                  Is the claim subject to offset?

                                                             þ No
                                                             ¨ Yes

3.1904.    Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                             Check all that apply.
           VALLADREZ BUSTOS, ASENCION                                                                        UNDETERMINED
                                                             þ Contingent
                                                             þ Unliquidated
                                                             þ Disputed
           Date or dates debt was incurred                   Basis for the claim:
           VARIOUS                                           WORKERS COMPENSATION CLAIM
           Last 4 digits of account number:                  Is the claim subject to offset?

                                                             þ No
                                                             ¨ Yes

3.1905.    Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                             Check all that apply.
           VAN DUGEN, FEMALE                                                                                 UNDETERMINED
                                                             þ Contingent
                                                             þ Unliquidated
                                                             þ Disputed
           Date or dates debt was incurred                   Basis for the claim:
           VARIOUS                                           GENERAL LIABILITY CLAIMS
           Last 4 digits of account number:                  Is the claim subject to offset?

                                                             þ No
                                                             ¨ Yes




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Debtor    MAC ACQUISITION LLC                                                                                Case number (if known) 17-12224




3.1906.    Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                             Check all that apply.
           VAN HOOK SERVICE COMPANY INC                                                                      $3,146.70
           76 SENECA AVE                                     ¨ Contingent
           ROCHESTER NY 14621
                                                             ¨ Unliquidated
                                                             ¨ Disputed
           Date or dates debt was incurred                   Basis for the claim:
           VARIOUS                                           TRADE ACCOUNTS PAYABLE
           Last 4 digits of account number:                  Is the claim subject to offset?

                                                             þ No
                                                             ¨ Yes

3.1907.    Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                             Check all that apply.
           VANDERLAAN, KATHLEEN MARIE                                                                        UNDETERMINED
           J. NELSON THOMAS THOMAS & SOLOMON LLP             þ Contingent
           693 EAST AVENUE
           ROCHESTER NY 14607                                þ Unliquidated
                                                             þ Disputed
           Date or dates debt was incurred                   Basis for the claim:
           VARIOUS                                           CIVIL ACTION NO. 6:15-CV-06742
                                                             PENDING LITIGATION
           Last 4 digits of account number:
                                                             Is the claim subject to offset?

                                                             þ No
                                                             ¨ Yes

3.1908.    Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                             Check all that apply.
           VANDIKE, DEIRDRE CAITLIN                                                                          UNDETERMINED
           J. NELSON THOMAS THOMAS & SOLOMON LLP             þ Contingent
           693 EAST AVENUE
           ROCHESTER NY 14607                                þ Unliquidated
                                                             þ Disputed
           Date or dates debt was incurred                   Basis for the claim:
           VARIOUS                                           CIVIL ACTION NO. 6:15-CV-06742
                                                             PENDING LITIGATION
           Last 4 digits of account number:
                                                             Is the claim subject to offset?

                                                             þ No
                                                             ¨ Yes




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Debtor    MAC ACQUISITION LLC                                                                                Case number (if known) 17-12224




3.1909.    Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                             Check all that apply.
           VANIMAN, DEVON                                                                                    UNDETERMINED
           J. NELSON THOMAS THOMAS & SOLOMON LLP             þ Contingent
           693 EAST AVENUE
           ROCHESTER NY 14607                                þ Unliquidated
                                                             þ Disputed
           Date or dates debt was incurred                   Basis for the claim:
           VARIOUS                                           CIVIL ACTION NO. 6:15-CV-06742
                                                             PENDING LITIGATION
           Last 4 digits of account number:
                                                             Is the claim subject to offset?

                                                             þ No
                                                             ¨ Yes

3.1910.    Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                             Check all that apply.
           VANWEY, AUSTIN DARR                                                                               UNDETERMINED
           J. NELSON THOMAS THOMAS & SOLOMON LLP             þ Contingent
           693 EAST AVENUE
           ROCHESTER NY 14607                                þ Unliquidated
                                                             þ Disputed
           Date or dates debt was incurred                   Basis for the claim:
           VARIOUS                                           CIVIL ACTION NO. 6:15-CV-06742
                                                             PENDING LITIGATION
           Last 4 digits of account number:
                                                             Is the claim subject to offset?

                                                             þ No
                                                             ¨ Yes

3.1911.    Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                             Check all that apply.
           VANWEY, AUSTIN DARR                                                                               UNDETERMINED
           J. NELSON THOMAS THOMAS & SOLOMON LLP             þ Contingent
           693 EAST AVENUE
           ROCHESTER NY 14607                                þ Unliquidated
                                                             þ Disputed
           Date or dates debt was incurred                   Basis for the claim:
           VARIOUS                                           CIVIL ACTION NO. 6:15-CV-06742
                                                             PENDING LITIGATION
           Last 4 digits of account number:
                                                             Is the claim subject to offset?

                                                             þ No
                                                             ¨ Yes




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Debtor    MAC ACQUISITION LLC                                                                                Case number (if known) 17-12224




3.1912.    Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                             Check all that apply.
           VARGAS, JOSE D.                                                                                   UNDETERMINED
           J. NELSON THOMAS THOMAS & SOLOMON LLP             þ Contingent
           693 EAST AVENUE
           ROCHESTER NY 14607                                þ Unliquidated
                                                             þ Disputed
           Date or dates debt was incurred                   Basis for the claim:
           VARIOUS                                           CIVIL ACTION NO. 6:15-CV-06742
                                                             PENDING LITIGATION
           Last 4 digits of account number:
                                                             Is the claim subject to offset?

                                                             þ No
                                                             ¨ Yes

3.1913.    Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                             Check all that apply.
           VARGO, ANTOINETTTE                                                                                UNDETERMINED
           J. NELSON THOMAS THOMAS & SOLOMON LLP             þ Contingent
           693 EAST AVENUE
           ROCHESTER NY 14607                                þ Unliquidated
                                                             þ Disputed
           Date or dates debt was incurred                   Basis for the claim:
           VARIOUS                                           CIVIL ACTION NO. 6:15-CV-06742
                                                             PENDING LITIGATION
           Last 4 digits of account number:
                                                             Is the claim subject to offset?

                                                             þ No
                                                             ¨ Yes

3.1914.    Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                             Check all that apply.
           VASQUEZ, JENNIFER ELISA                                                                           UNDETERMINED
           J. NELSON THOMAS THOMAS & SOLOMON LLP             þ Contingent
           693 EAST AVENUE
           ROCHESTER NY 14607                                þ Unliquidated
                                                             þ Disputed
           Date or dates debt was incurred                   Basis for the claim:
           VARIOUS                                           CIVIL ACTION NO. 6:15-CV-06742
                                                             PENDING LITIGATION
           Last 4 digits of account number:
                                                             Is the claim subject to offset?

                                                             þ No
                                                             ¨ Yes




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Debtor    MAC ACQUISITION LLC                                                                                Case number (if known) 17-12224




3.1915.    Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                             Check all that apply.
           VAUGHAN, MICHAEL PATRICK                                                                          UNDETERMINED
           J. NELSON THOMAS THOMAS & SOLOMON LLP             þ Contingent
           693 EAST AVENUE
           ROCHESTER NY 14607                                þ Unliquidated
                                                             þ Disputed
           Date or dates debt was incurred                   Basis for the claim:
           VARIOUS                                           CIVIL ACTION NO. 6:15-CV-06742
                                                             PENDING LITIGATION
           Last 4 digits of account number:
                                                             Is the claim subject to offset?

                                                             þ No
                                                             ¨ Yes

3.1916.    Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                             Check all that apply.
           VECERE, JOHN WILLIAM KYOSHI                                                                       UNDETERMINED
           J. NELSON THOMAS THOMAS & SOLOMON LLP             þ Contingent
           693 EAST AVENUE
           ROCHESTER NY 14607                                þ Unliquidated
                                                             þ Disputed
           Date or dates debt was incurred                   Basis for the claim:
           VARIOUS                                           CIVIL ACTION NO. 6:15-CV-06742
                                                             PENDING LITIGATION
           Last 4 digits of account number:
                                                             Is the claim subject to offset?

                                                             þ No
                                                             ¨ Yes

3.1917.    Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                             Check all that apply.
           VECTOR INTELLIGENT SOLUTIONS, LLC                                                                 $744.91
           PO BOX 645096                                     ¨ Contingent
           PITTSBURG PA 15264-5096
                                                             ¨ Unliquidated
                                                             ¨ Disputed
           Date or dates debt was incurred                   Basis for the claim:
           VARIOUS                                           TRADE ACCOUNTS PAYABLE
           Last 4 digits of account number:                  Is the claim subject to offset?

                                                             þ No
                                                             ¨ Yes




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Debtor    MAC ACQUISITION LLC                                                                                Case number (if known) 17-12224




3.1918.    Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                             Check all that apply.
           VELASQUEZ, BRANDON JAY                                                                            UNDETERMINED
           J. NELSON THOMAS THOMAS & SOLOMON LLP             þ Contingent
           693 EAST AVENUE
           ROCHESTER NY 14607                                þ Unliquidated
                                                             þ Disputed
           Date or dates debt was incurred                   Basis for the claim:
           VARIOUS                                           CIVIL ACTION NO. 6:15-CV-06742
                                                             PENDING LITIGATION
           Last 4 digits of account number:
                                                             Is the claim subject to offset?

                                                             þ No
                                                             ¨ Yes

3.1919.    Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                             Check all that apply.
           VENTURA GATEWAY LLC                                                                               $3,934.86
           RPG VENTURA GATEWAY                               ¨ Contingent
           DEPT 843154
           LOS ANGELES CA 90084                              ¨ Unliquidated
                                                             ¨ Disputed
           Date or dates debt was incurred                   Basis for the claim:
           VARIOUS                                           LEASE
           Last 4 digits of account number:                  Is the claim subject to offset?

                                                             þ No
                                                             ¨ Yes

3.1920.    Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                             Check all that apply.
           VERMAZANI, KATIE ALYSSA                                                                           UNDETERMINED
           J. NELSON THOMAS THOMAS & SOLOMON LLP             þ Contingent
           693 EAST AVENUE
           ROCHESTER NY 14607                                þ Unliquidated
                                                             þ Disputed
           Date or dates debt was incurred                   Basis for the claim:
           VARIOUS                                           CIVIL ACTION NO. 6:15-CV-06742
                                                             PENDING LITIGATION
           Last 4 digits of account number:
                                                             Is the claim subject to offset?

                                                             þ No
                                                             ¨ Yes




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Debtor    MAC ACQUISITION LLC                                                                                Case number (if known) 17-12224




3.1921.    Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                             Check all that apply.
           VERNICH, WILLIAM A.                                                                               UNDETERMINED
           J. NELSON THOMAS THOMAS & SOLOMON LLP             þ Contingent
           693 EAST AVENUE
           ROCHESTER NY 14607                                þ Unliquidated
                                                             þ Disputed
           Date or dates debt was incurred                   Basis for the claim:
           VARIOUS                                           CIVIL ACTION NO. 6:15-CV-06742
                                                             PENDING LITIGATION
           Last 4 digits of account number:
                                                             Is the claim subject to offset?

                                                             þ No
                                                             ¨ Yes

3.1922.    Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                             Check all that apply.
           VESTAR DRMOP LLC                                                                                  UNDETERMINED
           PRESIDENT                                         þ Contingent
           PAT MCGINLEY PROPERTY MANAGEMENT
           VESTAR DEVELOPMENT                                þ Unliquidated
           2425 E CAMELBACK ROAD STE 750
           PHOENIX AZ 85016
                                                             þ Disputed
           Date or dates debt was incurred                   Basis for the claim:
           VARIOUS                                           LANDLORD CLAIM
           Last 4 digits of account number:                  Is the claim subject to offset?

                                                             þ No
                                                             ¨ Yes

3.1923.    Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                             Check all that apply.
           VESTERMARK, NICOLE ASHLEY                                                                         UNDETERMINED
           J. NELSON THOMAS THOMAS & SOLOMON LLP             þ Contingent
           693 EAST AVENUE
           ROCHESTER NY 14607                                þ Unliquidated
                                                             þ Disputed
           Date or dates debt was incurred                   Basis for the claim:
           VARIOUS                                           CIVIL ACTION NO. 6:15-CV-06742
                                                             PENDING LITIGATION
           Last 4 digits of account number:
                                                             Is the claim subject to offset?

                                                             þ No
                                                             ¨ Yes




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Debtor    MAC ACQUISITION LLC                                                                                Case number (if known) 17-12224




3.1924.    Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                             Check all that apply.
           VETTESE, JAIMIE LYNNE                                                                             UNDETERMINED
           J. NELSON THOMAS THOMAS & SOLOMON LLP             þ Contingent
           693 EAST AVENUE
           ROCHESTER NY 14607                                þ Unliquidated
                                                             þ Disputed
           Date or dates debt was incurred                   Basis for the claim:
           VARIOUS                                           CIVIL ACTION NO. 6:15-CV-06742
                                                             PENDING LITIGATION
           Last 4 digits of account number:
                                                             Is the claim subject to offset?

                                                             þ No
                                                             ¨ Yes

3.1925.    Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                             Check all that apply.
           VICTORY CONCRETE LLC DBA DONNA MALSKI                                                             $1,000.00
           1605 FERNDALE PLACE                               ¨ Contingent
           ANN ARBOR MI 48104
                                                             ¨ Unliquidated
                                                             ¨ Disputed
           Date or dates debt was incurred                   Basis for the claim:
           VARIOUS                                           TRADE ACCOUNTS PAYABLE
           Last 4 digits of account number:                  Is the claim subject to offset?

                                                             þ No
                                                             ¨ Yes

3.1926.    Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                             Check all that apply.
           VINYL DOCTOR SYSTEMS INC                                                                          $699.78
           PO BOX 32086                                      ¨ Contingent
           PALM BEACH GARDENS FL 33420
                                                             ¨ Unliquidated
                                                             ¨ Disputed
           Date or dates debt was incurred                   Basis for the claim:
           VARIOUS                                           TRADE ACCOUNTS PAYABLE
           Last 4 digits of account number:                  Is the claim subject to offset?

                                                             þ No
                                                             ¨ Yes




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Debtor    MAC ACQUISITION LLC                                                                                Case number (if known) 17-12224




3.1927.    Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                             Check all that apply.
           VIRTEVA LLC                                                                                       $32,356.60
           6110 GOLDEN HILLS DRIVE                           ¨ Contingent
           MINNEAPOLIS MN 55416
                                                             ¨ Unliquidated
                                                             ¨ Disputed
           Date or dates debt was incurred                   Basis for the claim:
           VARIOUS                                           TRADE ACCOUNTS PAYABLE
           Last 4 digits of account number:                  Is the claim subject to offset?

                                                             þ No
                                                             ¨ Yes

3.1928.    Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                             Check all that apply.
           VO, JESSICA ANH-THU                                                                               UNDETERMINED
           J. NELSON THOMAS THOMAS & SOLOMON LLP             þ Contingent
           693 EAST AVENUE
           ROCHESTER NY 14607                                þ Unliquidated
                                                             þ Disputed
           Date or dates debt was incurred                   Basis for the claim:
           VARIOUS                                           CIVIL ACTION NO. 6:15-CV-06742
                                                             PENDING LITIGATION
           Last 4 digits of account number:
                                                             Is the claim subject to offset?

                                                             þ No
                                                             ¨ Yes

3.1929.    Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                             Check all that apply.
           VON PETRZELKA, PAUL H                                                                             $148.75
           7950 QUAIL BREEZE                                 ¨ Contingent
           SAN ANTONIO TX 78250
                                                             ¨ Unliquidated
                                                             ¨ Disputed
           Date or dates debt was incurred                   Basis for the claim:
           VARIOUS                                           TRADE ACCOUNTS PAYABLE
           Last 4 digits of account number:                  Is the claim subject to offset?

                                                             þ No
                                                             ¨ Yes




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Debtor    MAC ACQUISITION LLC                                                                                Case number (if known) 17-12224




3.1930.    Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                             Check all that apply.
           VOX MEDIA INC.                                                                                    $19,801.46
           1201 CONNECTICUT AVENUE NW - 11TH FLOOR           ¨ Contingent
           WASHINGTON DC 20036
                                                             ¨ Unliquidated
                                                             ¨ Disputed
           Date or dates debt was incurred                   Basis for the claim:
           VARIOUS                                           TRADE ACCOUNTS PAYABLE
           Last 4 digits of account number:                  Is the claim subject to offset?

                                                             þ No
                                                             ¨ Yes

3.1931.    Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                             Check all that apply.
           VOYTA, AMANDA SUE                                                                                 UNDETERMINED
           J. NELSON THOMAS THOMAS & SOLOMON LLP             þ Contingent
           693 EAST AVENUE
           ROCHESTER NY 14607                                þ Unliquidated
                                                             þ Disputed
           Date or dates debt was incurred                   Basis for the claim:
           VARIOUS                                           CIVIL ACTION NO. 6:15-CV-06742
                                                             PENDING LITIGATION
           Last 4 digits of account number:
                                                             Is the claim subject to offset?

                                                             þ No
                                                             ¨ Yes

3.1932.    Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                             Check all that apply.
           VYNAWOOD DBA DARRELL BARTZ                                                                        $1,328.15
           1695 KINGSTON ROAD                                ¨ Contingent
           LONGWOOD FL 32750
                                                             ¨ Unliquidated
                                                             ¨ Disputed
           Date or dates debt was incurred                   Basis for the claim:
           VARIOUS                                           TRADE ACCOUNTS PAYABLE
           Last 4 digits of account number:                  Is the claim subject to offset?

                                                             þ No
                                                             ¨ Yes




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Debtor    MAC ACQUISITION LLC                                                                                Case number (if known) 17-12224




3.1933.    Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                             Check all that apply.
           WADE, MELISSA DAWN                                                                                UNDETERMINED
           J. NELSON THOMAS THOMAS & SOLOMON LLP             þ Contingent
           693 EAST AVENUE
           ROCHESTER NY 14607                                þ Unliquidated
                                                             þ Disputed
           Date or dates debt was incurred                   Basis for the claim:
           VARIOUS                                           CIVIL ACTION NO. 6:15-CV-06742
                                                             PENDING LITIGATION
           Last 4 digits of account number:
                                                             Is the claim subject to offset?

                                                             þ No
                                                             ¨ Yes

3.1934.    Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                             Check all that apply.
           WADLEY, BETH RENAE                                                                                UNDETERMINED
           J. NELSON THOMAS THOMAS & SOLOMON LLP             þ Contingent
           693 EAST AVENUE
           ROCHESTER NY 14607                                þ Unliquidated
                                                             þ Disputed
           Date or dates debt was incurred                   Basis for the claim:
           VARIOUS                                           CIVIL ACTION NO. 6:15-CV-06742
                                                             PENDING LITIGATION
           Last 4 digits of account number:
                                                             Is the claim subject to offset?

                                                             þ No
                                                             ¨ Yes

3.1935.    Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                             Check all that apply.
           WAFFORD, LANISE                                                                                   UNDETERMINED
           J. NELSON THOMAS THOMAS & SOLOMON LLP             þ Contingent
           693 EAST AVENUE
           ROCHESTER NY 14607                                þ Unliquidated
                                                             þ Disputed
           Date or dates debt was incurred                   Basis for the claim:
           VARIOUS                                           CIVIL ACTION NO. 6:15-CV-06742
                                                             PENDING LITIGATION
           Last 4 digits of account number:
                                                             Is the claim subject to offset?

                                                             þ No
                                                             ¨ Yes




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Debtor    MAC ACQUISITION LLC                                                                                Case number (if known) 17-12224




3.1936.    Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                             Check all that apply.
           WAGNER, JENNIFER DANIELLE                                                                         UNDETERMINED
           J. NELSON THOMAS THOMAS & SOLOMON LLP             þ Contingent
           693 EAST AVENUE
           ROCHESTER NY 14607                                þ Unliquidated
                                                             þ Disputed
           Date or dates debt was incurred                   Basis for the claim:
           VARIOUS                                           CIVIL ACTION NO. 6:15-CV-06742
                                                             PENDING LITIGATION
           Last 4 digits of account number:
                                                             Is the claim subject to offset?

                                                             þ No
                                                             ¨ Yes

3.1937.    Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                             Check all that apply.
           WAGNER, JESSICA RAE                                                                               UNDETERMINED
           J. NELSON THOMAS THOMAS & SOLOMON LLP             þ Contingent
           693 EAST AVENUE
           ROCHESTER NY 14607                                þ Unliquidated
                                                             þ Disputed
           Date or dates debt was incurred                   Basis for the claim:
           VARIOUS                                           CIVIL ACTION NO. 6:15-CV-06742
                                                             PENDING LITIGATION
           Last 4 digits of account number:
                                                             Is the claim subject to offset?

                                                             þ No
                                                             ¨ Yes

3.1938.    Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                             Check all that apply.
           WAHL, BETTY JEAN                                                                                  UNDETERMINED
                                                             þ Contingent
                                                             þ Unliquidated
                                                             þ Disputed
           Date or dates debt was incurred                   Basis for the claim:
           VARIOUS                                           GENERAL LIABILITY CLAIMS
           Last 4 digits of account number:                  Is the claim subject to offset?

                                                             þ No
                                                             ¨ Yes




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Debtor    MAC ACQUISITION LLC                                                                                Case number (if known) 17-12224




3.1939.    Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                             Check all that apply.
           WALKER, GARY KENT                                                                                 UNDETERMINED
           J. NELSON THOMAS THOMAS & SOLOMON LLP             þ Contingent
           693 EAST AVENUE
           ROCHESTER NY 14607                                þ Unliquidated
                                                             þ Disputed
           Date or dates debt was incurred                   Basis for the claim:
           VARIOUS                                           CIVIL ACTION NO. 6:15-CV-06742
                                                             PENDING LITIGATION
           Last 4 digits of account number:
                                                             Is the claim subject to offset?

                                                             þ No
                                                             ¨ Yes

3.1940.    Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                             Check all that apply.
           WALLACE, TONY                                                                                     UNDETERMINED
           J. NELSON THOMAS THOMAS & SOLOMON LLP             þ Contingent
           693 EAST AVENUE
           ROCHESTER NY 14607                                þ Unliquidated
                                                             þ Disputed
           Date or dates debt was incurred                   Basis for the claim:
           VARIOUS                                           CIVIL ACTION NO. 6:15-CV-06742
                                                             PENDING LITIGATION
           Last 4 digits of account number:
                                                             Is the claim subject to offset?

                                                             þ No
                                                             ¨ Yes

3.1941.    Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                             Check all that apply.
           WALLJASPER, ARMAND A.                                                                             UNDETERMINED
           J. NELSON THOMAS THOMAS & SOLOMON LLP             þ Contingent
           693 EAST AVENUE
           ROCHESTER NY 14607                                þ Unliquidated
                                                             þ Disputed
           Date or dates debt was incurred                   Basis for the claim:
           VARIOUS                                           CIVIL ACTION NO. 6:15-CV-06742
                                                             PENDING LITIGATION
           Last 4 digits of account number:
                                                             Is the claim subject to offset?

                                                             þ No
                                                             ¨ Yes




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Debtor    MAC ACQUISITION LLC                                                                                Case number (if known) 17-12224




3.1942.    Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                             Check all that apply.
           WALTERS, SHANEKA                                                                                  UNDETERMINED
           J. NELSON THOMAS THOMAS & SOLOMON LLP             þ Contingent
           693 EAST AVENUE
           ROCHESTER NY 14607                                þ Unliquidated
                                                             þ Disputed
           Date or dates debt was incurred                   Basis for the claim:
           VARIOUS                                           CIVIL ACTION NO. 6:15-CV-06742
                                                             PENDING LITIGATION
           Last 4 digits of account number:
                                                             Is the claim subject to offset?

                                                             þ No
                                                             ¨ Yes

3.1943.    Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                             Check all that apply.
           WANG, JILL MARIE                                                                                  UNDETERMINED
           J. NELSON THOMAS THOMAS & SOLOMON LLP             þ Contingent
           693 EAST AVENUE
           ROCHESTER NY 14607                                þ Unliquidated
                                                             þ Disputed
           Date or dates debt was incurred                   Basis for the claim:
           VARIOUS                                           CIVIL ACTION NO. 6:15-CV-06742
                                                             PENDING LITIGATION
           Last 4 digits of account number:
                                                             Is the claim subject to offset?

                                                             þ No
                                                             ¨ Yes

3.1944.    Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                             Check all that apply.
           WARD, BRITINI ANN                                                                                 UNDETERMINED
           J. NELSON THOMAS THOMAS & SOLOMON LLP             þ Contingent
           693 EAST AVENUE
           ROCHESTER NY 14607                                þ Unliquidated
                                                             þ Disputed
           Date or dates debt was incurred                   Basis for the claim:
           VARIOUS                                           CIVIL ACTION NO. 6:15-CV-06742
                                                             PENDING LITIGATION
           Last 4 digits of account number:
                                                             Is the claim subject to offset?

                                                             þ No
                                                             ¨ Yes




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Debtor    MAC ACQUISITION LLC                                                                                Case number (if known) 17-12224




3.1945.    Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                             Check all that apply.
           WARD, STEPHENSON PATRICK                                                                          UNDETERMINED
           J. NELSON THOMAS THOMAS & SOLOMON LLP             þ Contingent
           693 EAST AVENUE
           ROCHESTER NY 14607                                þ Unliquidated
                                                             þ Disputed
           Date or dates debt was incurred                   Basis for the claim:
           VARIOUS                                           CIVIL ACTION NO. 6:15-CV-06742
                                                             PENDING LITIGATION
           Last 4 digits of account number:
                                                             Is the claim subject to offset?

                                                             þ No
                                                             ¨ Yes

3.1946.    Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                             Check all that apply.
           WARNOCK, MEGAN VICTORIA                                                                           UNDETERMINED
           J. NELSON THOMAS THOMAS & SOLOMON LLP             þ Contingent
           693 EAST AVENUE
           ROCHESTER NY 14607                                þ Unliquidated
                                                             þ Disputed
           Date or dates debt was incurred                   Basis for the claim:
           VARIOUS                                           CIVIL ACTION NO. 6:15-CV-06742
                                                             PENDING LITIGATION
           Last 4 digits of account number:
                                                             Is the claim subject to offset?

                                                             þ No
                                                             ¨ Yes

3.1947.    Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                             Check all that apply.
           WARREN, JR., HUBERT                                                                               UNDETERMINED
           J. NELSON THOMAS THOMAS & SOLOMON LLP             þ Contingent
           693 EAST AVENUE
           ROCHESTER NY 14607                                þ Unliquidated
                                                             þ Disputed
           Date or dates debt was incurred                   Basis for the claim:
           VARIOUS                                           CIVIL ACTION NO. 6:15-CV-06742
                                                             PENDING LITIGATION
           Last 4 digits of account number:
                                                             Is the claim subject to offset?

                                                             þ No
                                                             ¨ Yes




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Debtor    MAC ACQUISITION LLC                                                                                Case number (if known) 17-12224




3.1948.    Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                             Check all that apply.
           WARRINGTON, EVAN CHARLES                                                                          UNDETERMINED
           J. NELSON THOMAS THOMAS & SOLOMON LLP             þ Contingent
           693 EAST AVENUE
           ROCHESTER NY 14607                                þ Unliquidated
                                                             þ Disputed
           Date or dates debt was incurred                   Basis for the claim:
           VARIOUS                                           CIVIL ACTION NO. 6:15-CV-06742
                                                             PENDING LITIGATION
           Last 4 digits of account number:
                                                             Is the claim subject to offset?

                                                             þ No
                                                             ¨ Yes

3.1949.    Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                             Check all that apply.
           WASHINGTON, ARTHUR RAY                                                                            UNDETERMINED
           J. NELSON THOMAS THOMAS & SOLOMON LLP             þ Contingent
           693 EAST AVENUE
           ROCHESTER NY 14607                                þ Unliquidated
                                                             þ Disputed
           Date or dates debt was incurred                   Basis for the claim:
           VARIOUS                                           CIVIL ACTION NO. 6:15-CV-06742
                                                             PENDING LITIGATION
           Last 4 digits of account number:
                                                             Is the claim subject to offset?

                                                             þ No
                                                             ¨ Yes

3.1950.    Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                             Check all that apply.
           WATER LEAK DETECTORS INC.                                                                         $700.00
           8530 SW 42ND STREET                               ¨ Contingent
           MIAMI FL 33155
                                                             ¨ Unliquidated
                                                             ¨ Disputed
           Date or dates debt was incurred                   Basis for the claim:
           VARIOUS                                           TRADE ACCOUNTS PAYABLE
           Last 4 digits of account number:                  Is the claim subject to offset?

                                                             þ No
                                                             ¨ Yes




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Debtor    MAC ACQUISITION LLC                                                                                Case number (if known) 17-12224




3.1951.    Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                             Check all that apply.
           WATTS, JR., BRUCE WAYNE NAYLOR                                                                    UNDETERMINED
           J. NELSON THOMAS THOMAS & SOLOMON LLP             þ Contingent
           693 EAST AVENUE
           ROCHESTER NY 14607                                þ Unliquidated
                                                             þ Disputed
           Date or dates debt was incurred                   Basis for the claim:
           VARIOUS                                           CIVIL ACTION NO. 6:15-CV-06742
                                                             PENDING LITIGATION
           Last 4 digits of account number:
                                                             Is the claim subject to offset?

                                                             þ No
                                                             ¨ Yes

3.1952.    Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                             Check all that apply.
           WAYMAN FIRE PROTECTION INC                                                                        $1,650.00
           403 MECO DRIVE                                    ¨ Contingent
           WILMINGTON DE 19804
                                                             ¨ Unliquidated
                                                             ¨ Disputed
           Date or dates debt was incurred                   Basis for the claim:
           VARIOUS                                           TRADE ACCOUNTS PAYABLE
           Last 4 digits of account number:                  Is the claim subject to offset?

                                                             þ No
                                                             ¨ Yes

3.1953.    Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                             Check all that apply.
           WC FIRE SAFETY, INC.                                                                              $1,325.73
           PO BOX 560159                                     ¨ Contingent
           MONTVERDE FL 34756
                                                             ¨ Unliquidated
                                                             ¨ Disputed
           Date or dates debt was incurred                   Basis for the claim:
           VARIOUS                                           TRADE ACCOUNTS PAYABLE
           Last 4 digits of account number:                  Is the claim subject to offset?

                                                             þ No
                                                             ¨ Yes




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Debtor    MAC ACQUISITION LLC                                                                                Case number (if known) 17-12224




3.1954.    Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                             Check all that apply.
           WEASE, ANGELA E.                                                                                  UNDETERMINED
           J. NELSON THOMAS THOMAS & SOLOMON LLP             þ Contingent
           693 EAST AVENUE
           ROCHESTER NY 14607                                þ Unliquidated
                                                             þ Disputed
           Date or dates debt was incurred                   Basis for the claim:
           VARIOUS                                           CIVIL ACTION NO. 6:15-CV-06742
                                                             PENDING LITIGATION
           Last 4 digits of account number:
                                                             Is the claim subject to offset?

                                                             þ No
                                                             ¨ Yes

3.1955.    Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                             Check all that apply.
           WEBER, MICHAEL                                                                                    UNDETERMINED
           J. NELSON THOMAS THOMAS & SOLOMON LLP             þ Contingent
           693 EAST AVENUE
           ROCHESTER NY 14607                                þ Unliquidated
                                                             þ Disputed
           Date or dates debt was incurred                   Basis for the claim:
           VARIOUS                                           CIVIL ACTION NO. 6:15-CV-06742
                                                             PENDING LITIGATION
           Last 4 digits of account number:
                                                             Is the claim subject to offset?

                                                             þ No
                                                             ¨ Yes

3.1956.    Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                             Check all that apply.
           WEBSTER, ELI ERICHSEN                                                                             UNDETERMINED
           J. NELSON THOMAS THOMAS & SOLOMON LLP             þ Contingent
           693 EAST AVENUE
           ROCHESTER NY 14607                                þ Unliquidated
                                                             þ Disputed
           Date or dates debt was incurred                   Basis for the claim:
           VARIOUS                                           CIVIL ACTION NO. 6:15-CV-06742
                                                             PENDING LITIGATION
           Last 4 digits of account number:
                                                             Is the claim subject to offset?

                                                             þ No
                                                             ¨ Yes




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Debtor    MAC ACQUISITION LLC                                                                                Case number (if known) 17-12224




3.1957.    Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                             Check all that apply.
           WEBSTER, SHULAMITH                                                                                UNDETERMINED
           J. NELSON THOMAS THOMAS & SOLOMON LLP             þ Contingent
           693 EAST AVENUE
           ROCHESTER NY 14607                                þ Unliquidated
                                                             þ Disputed
           Date or dates debt was incurred                   Basis for the claim:
           VARIOUS                                           CIVIL ACTION NO. 6:15-CV-06742
                                                             PENDING LITIGATION
           Last 4 digits of account number:
                                                             Is the claim subject to offset?

                                                             þ No
                                                             ¨ Yes

3.1958.    Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                             Check all that apply.
           WEEKS, DARYL                                                                                      UNDETERMINED
           J. NELSON THOMAS THOMAS & SOLOMON LLP             þ Contingent
           693 EAST AVENUE
           ROCHESTER NY 14607                                þ Unliquidated
                                                             þ Disputed
           Date or dates debt was incurred                   Basis for the claim:
           VARIOUS                                           CIVIL ACTION NO. 6:15-CV-06742
                                                             PENDING LITIGATION
           Last 4 digits of account number:
                                                             Is the claim subject to offset?

                                                             þ No
                                                             ¨ Yes

3.1959.    Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                             Check all that apply.
           WEINFELD, JEANETE                                                                                 UNDETERMINED
                                                             þ Contingent
                                                             þ Unliquidated
                                                             þ Disputed
           Date or dates debt was incurred                   Basis for the claim:
           VARIOUS                                           GENERAL LIABILITY CLAIMS
           Last 4 digits of account number:                  Is the claim subject to offset?

                                                             þ No
                                                             ¨ Yes




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Debtor    MAC ACQUISITION LLC                                                                                Case number (if known) 17-12224




3.1960.    Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                             Check all that apply.
           WEINGARTEN MILLER AURORA LLC                                                                      $3,206.43
           PO BOX 924133                                     ¨ Contingent
           TENANT 124626 / CO 49510
           HOUSTON TX 77292                                  ¨ Unliquidated
                                                             ¨ Disputed
           Date or dates debt was incurred                   Basis for the claim:
           VARIOUS                                           LEASE
           Last 4 digits of account number:                  Is the claim subject to offset?

                                                             þ No
                                                             ¨ Yes

3.1961.    Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                             Check all that apply.
           WEINGARTEN REALTY INVESTORS                                                                       UNDETERMINED
           KAT BLAIS                                         þ Contingent
           KAT BLAIS SR ADMIN ASST
           PO BOX 924133                                     þ Unliquidated
           HOUSTON TX 77292                                  þ Disputed
           Date or dates debt was incurred                   Basis for the claim:
           VARIOUS                                           LANDLORD CLAIM
           Last 4 digits of account number:                  Is the claim subject to offset?

                                                             þ No
                                                             ¨ Yes

3.1962.    Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                             Check all that apply.
           WELCH, CARMETA                                                                                    UNDETERMINED
           J. NELSON THOMAS THOMAS & SOLOMON LLP             þ Contingent
           693 EAST AVENUE
           ROCHESTER NY 14607                                þ Unliquidated
                                                             þ Disputed
           Date or dates debt was incurred                   Basis for the claim:
           VARIOUS                                           CIVIL ACTION NO. 6:15-CV-06742
                                                             PENDING LITIGATION
           Last 4 digits of account number:
                                                             Is the claim subject to offset?

                                                             þ No
                                                             ¨ Yes




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Debtor    MAC ACQUISITION LLC                                                                                Case number (if known) 17-12224




3.1963.    Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                             Check all that apply.
           WELLS LAKE BUENA VISTA LLC                                                                        UNDETERMINED
           BILL HALE                                         þ Contingent
           40 FRANCIS RD
           HENDERSONVILLE NC 28792                           þ Unliquidated
                                                             þ Disputed
           Date or dates debt was incurred                   Basis for the claim:
           VARIOUS                                           LANDLORD CLAIM
           Last 4 digits of account number:                  Is the claim subject to offset?

                                                             þ No
                                                             ¨ Yes

3.1964.    Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                             Check all that apply.
           WELLS, KETURAH                                                                                    UNDETERMINED
           J. NELSON THOMAS THOMAS & SOLOMON LLP             þ Contingent
           693 EAST AVENUE
           ROCHESTER NY 14607                                þ Unliquidated
                                                             þ Disputed
           Date or dates debt was incurred                   Basis for the claim:
           VARIOUS                                           CIVIL ACTION NO. 6:15-CV-06742
                                                             PENDING LITIGATION
           Last 4 digits of account number:
                                                             Is the claim subject to offset?

                                                             þ No
                                                             ¨ Yes

3.1965.    Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                             Check all that apply.
           WELLS, OLIVIA RAE                                                                                 UNDETERMINED
           J. NELSON THOMAS THOMAS & SOLOMON LLP             þ Contingent
           693 EAST AVENUE
           ROCHESTER NY 14607                                þ Unliquidated
                                                             þ Disputed
           Date or dates debt was incurred                   Basis for the claim:
           VARIOUS                                           CIVIL ACTION NO. 6:15-CV-06742
                                                             PENDING LITIGATION
           Last 4 digits of account number:
                                                             Is the claim subject to offset?

                                                             þ No
                                                             ¨ Yes




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Debtor    MAC ACQUISITION LLC                                                                                Case number (if known) 17-12224




3.1966.    Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                             Check all that apply.
           WERTZ, TAMARA                                                                                     UNDETERMINED
           J. NELSON THOMAS THOMAS & SOLOMON LLP             þ Contingent
           693 EAST AVENUE
           ROCHESTER NY 14607                                þ Unliquidated
                                                             þ Disputed
           Date or dates debt was incurred                   Basis for the claim:
           VARIOUS                                           CIVIL ACTION NO. 6:15-CV-06742
                                                             PENDING LITIGATION
           Last 4 digits of account number:
                                                             Is the claim subject to offset?

                                                             þ No
                                                             ¨ Yes

3.1967.    Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                             Check all that apply.
           WESTBROOK, TONI                                                                                   UNDETERMINED
           BART BEHR, BEHR LAW FIRM                          þ Contingent
                                                             þ Unliquidated
                                                             þ Disputed
           Date or dates debt was incurred                   Basis for the claim:
           VARIOUS                                           PENDING LITIGATION
           Last 4 digits of account number:                  Is the claim subject to offset?

                                                             þ No
                                                             ¨ Yes

3.1968.    Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                             Check all that apply.
           WESTFIELD, ALANDRA GAITLYN                                                                        UNDETERMINED
           J. NELSON THOMAS THOMAS & SOLOMON LLP             þ Contingent
           693 EAST AVENUE
           ROCHESTER NY 14607                                þ Unliquidated
                                                             þ Disputed
           Date or dates debt was incurred                   Basis for the claim:
           VARIOUS                                           CIVIL ACTION NO. 6:15-CV-06742
                                                             PENDING LITIGATION
           Last 4 digits of account number:
                                                             Is the claim subject to offset?

                                                             þ No
                                                             ¨ Yes




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Debtor    MAC ACQUISITION LLC                                                                                Case number (if known) 17-12224




3.1969.    Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                             Check all that apply.
           WESTLAND PLUMBING CORP                                                                            $150.00
           101 W 24 STRET                                    ¨ Contingent
           HIALEAH FL 33010
                                                             ¨ Unliquidated
                                                             ¨ Disputed
           Date or dates debt was incurred                   Basis for the claim:
           VARIOUS                                           TRADE ACCOUNTS PAYABLE
           Last 4 digits of account number:                  Is the claim subject to offset?

                                                             þ No
                                                             ¨ Yes

3.1970.    Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                             Check all that apply.
           WHITE, ALEXIS JEAN                                                                                UNDETERMINED
           J. NELSON THOMAS THOMAS & SOLOMON LLP             þ Contingent
           693 EAST AVENUE
           ROCHESTER NY 14607                                þ Unliquidated
                                                             þ Disputed
           Date or dates debt was incurred                   Basis for the claim:
           VARIOUS                                           CIVIL ACTION NO. 6:15-CV-06742
                                                             PENDING LITIGATION
           Last 4 digits of account number:
                                                             Is the claim subject to offset?

                                                             þ No
                                                             ¨ Yes

3.1971.    Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                             Check all that apply.
           WHITE, BRIDGETTE                                                                                  UNDETERMINED
           J. NELSON THOMAS THOMAS & SOLOMON LLP             þ Contingent
           693 EAST AVENUE
           ROCHESTER NY 14607                                þ Unliquidated
                                                             þ Disputed
           Date or dates debt was incurred                   Basis for the claim:
           VARIOUS                                           CIVIL ACTION NO. 6:15-CV-06742
                                                             PENDING LITIGATION
           Last 4 digits of account number:
                                                             Is the claim subject to offset?

                                                             þ No
                                                             ¨ Yes




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Debtor    MAC ACQUISITION LLC                                                                                Case number (if known) 17-12224




3.1972.    Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                             Check all that apply.
           WHITE, ERIC                                                                                       $944.00
           1110 KIRKLAND COURT                               ¨ Contingent
           CONCORD NC 28025
                                                             ¨ Unliquidated
                                                             ¨ Disputed
           Date or dates debt was incurred                   Basis for the claim:
           VARIOUS                                           TRADE ACCOUNTS PAYABLE
           Last 4 digits of account number:                  Is the claim subject to offset?

                                                             þ No
                                                             ¨ Yes

3.1973.    Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                             Check all that apply.
           WHITE, LARA ANNE                                                                                  UNDETERMINED
           J. NELSON THOMAS THOMAS & SOLOMON LLP             þ Contingent
           693 EAST AVENUE
           ROCHESTER NY 14607                                þ Unliquidated
                                                             þ Disputed
           Date or dates debt was incurred                   Basis for the claim:
           VARIOUS                                           CIVIL ACTION NO. 6:15-CV-06742
                                                             PENDING LITIGATION
           Last 4 digits of account number:
                                                             Is the claim subject to offset?

                                                             þ No
                                                             ¨ Yes

3.1974.    Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                             Check all that apply.
           WHITE, LARRY                                                                                      UNDETERMINED
           J. NELSON THOMAS THOMAS & SOLOMON LLP             þ Contingent
           693 EAST AVENUE
           ROCHESTER NY 14607                                þ Unliquidated
                                                             þ Disputed
           Date or dates debt was incurred                   Basis for the claim:
           VARIOUS                                           CIVIL ACTION NO. 6:15-CV-06742
                                                             PENDING LITIGATION
           Last 4 digits of account number:
                                                             Is the claim subject to offset?

                                                             þ No
                                                             ¨ Yes




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Debtor    MAC ACQUISITION LLC                                                                                Case number (if known) 17-12224




3.1975.    Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                             Check all that apply.
           WHITE, SHEILA LYNN                                                                                UNDETERMINED
           J. NELSON THOMAS THOMAS & SOLOMON LLP             þ Contingent
           693 EAST AVENUE
           ROCHESTER NY 14607                                þ Unliquidated
                                                             þ Disputed
           Date or dates debt was incurred                   Basis for the claim:
           VARIOUS                                           CIVIL ACTION NO. 6:15-CV-06742
                                                             PENDING LITIGATION
           Last 4 digits of account number:
                                                             Is the claim subject to offset?

                                                             þ No
                                                             ¨ Yes

3.1976.    Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                             Check all that apply.
           WHITEHEAD, TREVOR STEPHEN                                                                         UNDETERMINED
           J. NELSON THOMAS THOMAS & SOLOMON LLP             þ Contingent
           693 EAST AVENUE
           ROCHESTER NY 14607                                þ Unliquidated
                                                             þ Disputed
           Date or dates debt was incurred                   Basis for the claim:
           VARIOUS                                           CIVIL ACTION NO. 6:15-CV-06742
                                                             PENDING LITIGATION
           Last 4 digits of account number:
                                                             Is the claim subject to offset?

                                                             þ No
                                                             ¨ Yes

3.1977.    Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                             Check all that apply.
           WHITTEN, JOHN DAY                                                                                 UNDETERMINED
           J. NELSON THOMAS THOMAS & SOLOMON LLP             þ Contingent
           693 EAST AVENUE
           ROCHESTER NY 14607                                þ Unliquidated
                                                             þ Disputed
           Date or dates debt was incurred                   Basis for the claim:
           VARIOUS                                           CIVIL ACTION NO. 6:15-CV-06742
                                                             PENDING LITIGATION
           Last 4 digits of account number:
                                                             Is the claim subject to offset?

                                                             þ No
                                                             ¨ Yes




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Debtor    MAC ACQUISITION LLC                                                                                Case number (if known) 17-12224




3.1978.    Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                             Check all that apply.
           WIELEBINSKI, DANIELLE                                                                             UNDETERMINED
           J. NELSON THOMAS THOMAS & SOLOMON LLP             þ Contingent
           693 EAST AVENUE
           ROCHESTER NY 14607                                þ Unliquidated
                                                             þ Disputed
           Date or dates debt was incurred                   Basis for the claim:
           VARIOUS                                           CIVIL ACTION NO. 6:15-CV-06742
                                                             PENDING LITIGATION
           Last 4 digits of account number:
                                                             Is the claim subject to offset?

                                                             þ No
                                                             ¨ Yes

3.1979.    Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                             Check all that apply.
           WIGGINS, CHAD WAYNE                                                                               UNDETERMINED
           J. NELSON THOMAS THOMAS & SOLOMON LLP             þ Contingent
           693 EAST AVENUE
           ROCHESTER NY 14607                                þ Unliquidated
                                                             þ Disputed
           Date or dates debt was incurred                   Basis for the claim:
           VARIOUS                                           CIVIL ACTION NO. 6:15-CV-06742
                                                             PENDING LITIGATION
           Last 4 digits of account number:
                                                             Is the claim subject to offset?

                                                             þ No
                                                             ¨ Yes

3.1980.    Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                             Check all that apply.
           WIGGLYDOG RE VENTURES LLC SERIES C                                                                $6,960.09
           2885 SANFORD AVE SW # 27891                       ¨ Contingent
           DBA WDRE MG LLC
           GRANDVILLE MI 49418                               ¨ Unliquidated
                                                             ¨ Disputed
           Date or dates debt was incurred                   Basis for the claim:
           VARIOUS                                           LEASE
           Last 4 digits of account number:                  Is the claim subject to offset?

                                                             þ No
                                                             ¨ Yes




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Debtor    MAC ACQUISITION LLC                                                                                Case number (if known) 17-12224




3.1981.    Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                             Check all that apply.
           WILEY, KRISTY RENEE                                                                               UNDETERMINED
           J. NELSON THOMAS THOMAS & SOLOMON LLP             þ Contingent
           693 EAST AVENUE
           ROCHESTER NY 14607                                þ Unliquidated
                                                             þ Disputed
           Date or dates debt was incurred                   Basis for the claim:
           VARIOUS                                           CIVIL ACTION NO. 6:15-CV-06742
                                                             PENDING LITIGATION
           Last 4 digits of account number:
                                                             Is the claim subject to offset?

                                                             þ No
                                                             ¨ Yes

3.1982.    Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                             Check all that apply.
           WILGRO CLEANING SERVICES LLC                                                                      $180.00
           4655 SOUTHPORT CROSSING                           ¨ Contingent
           NORCROSS GA 30092
                                                             ¨ Unliquidated
                                                             ¨ Disputed
           Date or dates debt was incurred                   Basis for the claim:
           VARIOUS                                           TRADE ACCOUNTS PAYABLE
           Last 4 digits of account number:                  Is the claim subject to offset?

                                                             þ No
                                                             ¨ Yes

3.1983.    Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                             Check all that apply.
           WILKEN, SHARRON LEE                                                                               UNDETERMINED
           J. NELSON THOMAS THOMAS & SOLOMON LLP             þ Contingent
           693 EAST AVENUE
           ROCHESTER NY 14607                                þ Unliquidated
                                                             þ Disputed
           Date or dates debt was incurred                   Basis for the claim:
           VARIOUS                                           CIVIL ACTION NO. 6:15-CV-06742
                                                             PENDING LITIGATION
           Last 4 digits of account number:
                                                             Is the claim subject to offset?

                                                             þ No
                                                             ¨ Yes




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Debtor    MAC ACQUISITION LLC                                                                                Case number (if known) 17-12224




3.1984.    Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                             Check all that apply.
           WILKEN, SHARRON LEE                                                                               UNDETERMINED
           J. NELSON THOMAS THOMAS & SOLOMON LLP             þ Contingent
           693 EAST AVENUE
           ROCHESTER NY 14607                                þ Unliquidated
                                                             þ Disputed
           Date or dates debt was incurred                   Basis for the claim:
           VARIOUS                                           CIVIL ACTION NO. 6:15-CV-06742
                                                             PENDING LITIGATION
           Last 4 digits of account number:
                                                             Is the claim subject to offset?

                                                             þ No
                                                             ¨ Yes

3.1985.    Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                             Check all that apply.
           WILKERSON, SHERRI                                                                                 UNDETERMINED
           J. NELSON THOMAS THOMAS & SOLOMON LLP             þ Contingent
           693 EAST AVENUE
           ROCHESTER NY 14607                                þ Unliquidated
                                                             þ Disputed
           Date or dates debt was incurred                   Basis for the claim:
           VARIOUS                                           CIVIL ACTION NO. 6:15-CV-06742
                                                             PENDING LITIGATION
           Last 4 digits of account number:
                                                             Is the claim subject to offset?

                                                             þ No
                                                             ¨ Yes

3.1986.    Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                             Check all that apply.
           WILKES, ROBERT BRADLEY                                                                            UNDETERMINED
           J. NELSON THOMAS THOMAS & SOLOMON LLP             þ Contingent
           693 EAST AVENUE
           ROCHESTER NY 14607                                þ Unliquidated
                                                             þ Disputed
           Date or dates debt was incurred                   Basis for the claim:
           VARIOUS                                           CIVIL ACTION NO. 6:15-CV-06742
                                                             PENDING LITIGATION
           Last 4 digits of account number:
                                                             Is the claim subject to offset?

                                                             þ No
                                                             ¨ Yes




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Debtor    MAC ACQUISITION LLC                                                                                Case number (if known) 17-12224




3.1987.    Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                             Check all that apply.
           WILKINSON, DIANE NICOLE                                                                           UNDETERMINED
           J. NELSON THOMAS THOMAS & SOLOMON LLP             þ Contingent
           693 EAST AVENUE
           ROCHESTER NY 14607                                þ Unliquidated
                                                             þ Disputed
           Date or dates debt was incurred                   Basis for the claim:
           VARIOUS                                           CIVIL ACTION NO. 6:15-CV-06742
                                                             PENDING LITIGATION
           Last 4 digits of account number:
                                                             Is the claim subject to offset?

                                                             þ No
                                                             ¨ Yes

3.1988.    Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                             Check all that apply.
           WILKS, SEAN STEVEN                                                                                UNDETERMINED
           J. NELSON THOMAS THOMAS & SOLOMON LLP             þ Contingent
           693 EAST AVENUE
           ROCHESTER NY 14607                                þ Unliquidated
                                                             þ Disputed
           Date or dates debt was incurred                   Basis for the claim:
           VARIOUS                                           CIVIL ACTION NO. 6:15-CV-06742
                                                             PENDING LITIGATION
           Last 4 digits of account number:
                                                             Is the claim subject to offset?

                                                             þ No
                                                             ¨ Yes

3.1989.    Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                             Check all that apply.
           WILLERT, SARAH CAROL                                                                              UNDETERMINED
           J. NELSON THOMAS THOMAS & SOLOMON LLP             þ Contingent
           693 EAST AVENUE
           ROCHESTER NY 14607                                þ Unliquidated
                                                             þ Disputed
           Date or dates debt was incurred                   Basis for the claim:
           VARIOUS                                           CIVIL ACTION NO. 6:15-CV-06742
                                                             PENDING LITIGATION
           Last 4 digits of account number:
                                                             Is the claim subject to offset?

                                                             þ No
                                                             ¨ Yes




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Debtor    MAC ACQUISITION LLC                                                                                Case number (if known) 17-12224




3.1990.    Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                             Check all that apply.
           WILLIAM BURNS DBA BURNS CLEANING                                                                  $1,100.00
           PO BOX 8523                                       ¨ Contingent
           PORTLEND ME 04104
                                                             ¨ Unliquidated
                                                             ¨ Disputed
           Date or dates debt was incurred                   Basis for the claim:
           VARIOUS                                           TRADE ACCOUNTS PAYABLE
           Last 4 digits of account number:                  Is the claim subject to offset?

                                                             þ No
                                                             ¨ Yes

3.1991.    Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                             Check all that apply.
           WILLIAMS, BRIANA                                                                                  UNDETERMINED
           J. NELSON THOMAS THOMAS & SOLOMON LLP             þ Contingent
           693 EAST AVENUE
           ROCHESTER NY 14607                                þ Unliquidated
                                                             þ Disputed
           Date or dates debt was incurred                   Basis for the claim:
           VARIOUS                                           CIVIL ACTION NO. 6:15-CV-06742
                                                             PENDING LITIGATION
           Last 4 digits of account number:
                                                             Is the claim subject to offset?

                                                             þ No
                                                             ¨ Yes

3.1992.    Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                             Check all that apply.
           WILLIAMS, BRITTANY                                                                                UNDETERMINED
           J. NELSON THOMAS THOMAS & SOLOMON LLP             þ Contingent
           693 EAST AVENUE
           ROCHESTER NY 14607                                þ Unliquidated
                                                             þ Disputed
           Date or dates debt was incurred                   Basis for the claim:
           VARIOUS                                           CIVIL ACTION NO. 6:15-CV-06742
                                                             PENDING LITIGATION
           Last 4 digits of account number:
                                                             Is the claim subject to offset?

                                                             þ No
                                                             ¨ Yes




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Debtor    MAC ACQUISITION LLC                                                                                Case number (if known) 17-12224




3.1993.    Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                             Check all that apply.
           WILLIAMS, ESTHER DELORES                                                                          UNDETERMINED
           J. NELSON THOMAS THOMAS & SOLOMON LLP             þ Contingent
           693 EAST AVENUE
           ROCHESTER NY 14607                                þ Unliquidated
                                                             þ Disputed
           Date or dates debt was incurred                   Basis for the claim:
           VARIOUS                                           CIVIL ACTION NO. 6:15-CV-06742
                                                             PENDING LITIGATION
           Last 4 digits of account number:
                                                             Is the claim subject to offset?

                                                             þ No
                                                             ¨ Yes

3.1994.    Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                             Check all that apply.
           WILLIAMS, KAREEM                                                                                  UNDETERMINED
           J. NELSON THOMAS THOMAS & SOLOMON LLP             þ Contingent
           693 EAST AVENUE
           ROCHESTER NY 14607                                þ Unliquidated
                                                             þ Disputed
           Date or dates debt was incurred                   Basis for the claim:
           VARIOUS                                           CIVIL ACTION NO. 6:15-CV-06742
                                                             PENDING LITIGATION
           Last 4 digits of account number:
                                                             Is the claim subject to offset?

                                                             þ No
                                                             ¨ Yes

3.1995.    Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                             Check all that apply.
           WILLIAMS, KAREEM WALTON                                                                           UNDETERMINED
           J. NELSON THOMAS THOMAS & SOLOMON LLP             þ Contingent
           693 EAST AVENUE
           ROCHESTER NY 14607                                þ Unliquidated
                                                             þ Disputed
           Date or dates debt was incurred                   Basis for the claim:
           VARIOUS                                           CIVIL ACTION NO. 6:15-CV-06742
                                                             PENDING LITIGATION
           Last 4 digits of account number:
                                                             Is the claim subject to offset?

                                                             þ No
                                                             ¨ Yes




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Debtor    MAC ACQUISITION LLC                                                                                Case number (if known) 17-12224




3.1996.    Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                             Check all that apply.
           WILLIAMS, KEVIN CURTIS                                                                            UNDETERMINED
           J. NELSON THOMAS THOMAS & SOLOMON LLP             þ Contingent
           693 EAST AVENUE
           ROCHESTER NY 14607                                þ Unliquidated
                                                             þ Disputed
           Date or dates debt was incurred                   Basis for the claim:
           VARIOUS                                           CIVIL ACTION NO. 6:15-CV-06742
                                                             PENDING LITIGATION
           Last 4 digits of account number:
                                                             Is the claim subject to offset?

                                                             þ No
                                                             ¨ Yes

3.1997.    Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                             Check all that apply.
           WILLIAMS, MAALIK AKIL                                                                             UNDETERMINED
           J. NELSON THOMAS THOMAS & SOLOMON LLP             þ Contingent
           693 EAST AVENUE
           ROCHESTER NY 14607                                þ Unliquidated
                                                             þ Disputed
           Date or dates debt was incurred                   Basis for the claim:
           VARIOUS                                           CIVIL ACTION NO. 6:15-CV-06742
                                                             PENDING LITIGATION
           Last 4 digits of account number:
                                                             Is the claim subject to offset?

                                                             þ No
                                                             ¨ Yes

3.1998.    Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                             Check all that apply.
           WILLIAMS, SHANNON                                                                                 UNDETERMINED
           J. NELSON THOMAS THOMAS & SOLOMON LLP             þ Contingent
           693 EAST AVENUE
           ROCHESTER NY 14607                                þ Unliquidated
                                                             þ Disputed
           Date or dates debt was incurred                   Basis for the claim:
           VARIOUS                                           CIVIL ACTION NO. 6:15-CV-06742
                                                             PENDING LITIGATION
           Last 4 digits of account number:
                                                             Is the claim subject to offset?

                                                             þ No
                                                             ¨ Yes




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Debtor    MAC ACQUISITION LLC                                                                                Case number (if known) 17-12224




3.1999.    Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                             Check all that apply.
           WILLIAMS., JOHN'NEISKA LA'PEACE                                                                   UNDETERMINED
           J. NELSON THOMAS THOMAS & SOLOMON LLP             þ Contingent
           693 EAST AVENUE
           ROCHESTER NY 14607                                þ Unliquidated
                                                             þ Disputed
           Date or dates debt was incurred                   Basis for the claim:
           VARIOUS                                           CIVIL ACTION NO. 6:15-CV-06742
                                                             PENDING LITIGATION
           Last 4 digits of account number:
                                                             Is the claim subject to offset?

                                                             þ No
                                                             ¨ Yes

3.2000.    Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                             Check all that apply.
           WILLIG, JR., ROBERT L.                                                                            UNDETERMINED
           J. NELSON THOMAS THOMAS & SOLOMON LLP             þ Contingent
           693 EAST AVENUE
           ROCHESTER NY 14607                                þ Unliquidated
                                                             þ Disputed
           Date or dates debt was incurred                   Basis for the claim:
           VARIOUS                                           CIVIL ACTION NO. 6:15-CV-06742
                                                             PENDING LITIGATION
           Last 4 digits of account number:
                                                             Is the claim subject to offset?

                                                             þ No
                                                             ¨ Yes

3.2001.    Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                             Check all that apply.
           WILLIG, JR., ROBERT LEE                                                                           UNDETERMINED
           J. NELSON THOMAS THOMAS & SOLOMON LLP             þ Contingent
           693 EAST AVENUE
           ROCHESTER NY 14607                                þ Unliquidated
                                                             þ Disputed
           Date or dates debt was incurred                   Basis for the claim:
           VARIOUS                                           CIVIL ACTION NO. 6:15-CV-06742
                                                             PENDING LITIGATION
           Last 4 digits of account number:
                                                             Is the claim subject to offset?

                                                             þ No
                                                             ¨ Yes




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Debtor    MAC ACQUISITION LLC                                                                                Case number (if known) 17-12224




3.2002.    Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                             Check all that apply.
           WILSON, AMBER RENEE                                                                               UNDETERMINED
           J. NELSON THOMAS THOMAS & SOLOMON LLP             þ Contingent
           693 EAST AVENUE
           ROCHESTER NY 14607                                þ Unliquidated
                                                             þ Disputed
           Date or dates debt was incurred                   Basis for the claim:
           VARIOUS                                           CIVIL ACTION NO. 6:15-CV-06742
                                                             PENDING LITIGATION
           Last 4 digits of account number:
                                                             Is the claim subject to offset?

                                                             þ No
                                                             ¨ Yes

3.2003.    Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                             Check all that apply.
           WILSON, HANNAH CAROL                                                                              UNDETERMINED
           J. NELSON THOMAS THOMAS & SOLOMON LLP             þ Contingent
           693 EAST AVENUE
           ROCHESTER NY 14607                                þ Unliquidated
                                                             þ Disputed
           Date or dates debt was incurred                   Basis for the claim:
           VARIOUS                                           CIVIL ACTION NO. 6:15-CV-06742
                                                             PENDING LITIGATION
           Last 4 digits of account number:
                                                             Is the claim subject to offset?

                                                             þ No
                                                             ¨ Yes

3.2004.    Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                             Check all that apply.
           WILSON, JAMES                                                                                     UNDETERMINED
                                                             þ Contingent
                                                             þ Unliquidated
                                                             þ Disputed
           Date or dates debt was incurred                   Basis for the claim:
           VARIOUS                                           GENERAL LIABILITY CLAIMS
           Last 4 digits of account number:                  Is the claim subject to offset?

                                                             þ No
                                                             ¨ Yes




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Debtor    MAC ACQUISITION LLC                                                                                Case number (if known) 17-12224




3.2005.    Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                             Check all that apply.
           WILSON, MATTHEW DAMON                                                                             UNDETERMINED
           J. NELSON THOMAS THOMAS & SOLOMON LLP             þ Contingent
           693 EAST AVENUE
           ROCHESTER NY 14607                                þ Unliquidated
                                                             þ Disputed
           Date or dates debt was incurred                   Basis for the claim:
           VARIOUS                                           CIVIL ACTION NO. 6:15-CV-06742
                                                             PENDING LITIGATION
           Last 4 digits of account number:
                                                             Is the claim subject to offset?

                                                             þ No
                                                             ¨ Yes

3.2006.    Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                             Check all that apply.
           WILSON, PATRICK                                                                                   UNDETERMINED
                                                             þ Contingent
                                                             þ Unliquidated
                                                             þ Disputed
           Date or dates debt was incurred                   Basis for the claim:
           VARIOUS                                           GENERAL LIABILITY CLAIMS
           Last 4 digits of account number:                  Is the claim subject to offset?

                                                             þ No
                                                             ¨ Yes

3.2007.    Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                             Check all that apply.
           WILSON, RYAN TRAVIS                                                                               UNDETERMINED
           J. NELSON THOMAS THOMAS & SOLOMON LLP             þ Contingent
           693 EAST AVENUE
           ROCHESTER NY 14607                                þ Unliquidated
                                                             þ Disputed
           Date or dates debt was incurred                   Basis for the claim:
           VARIOUS                                           CIVIL ACTION NO. 6:15-CV-06742
                                                             PENDING LITIGATION
           Last 4 digits of account number:
                                                             Is the claim subject to offset?

                                                             þ No
                                                             ¨ Yes




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Debtor    MAC ACQUISITION LLC                                                                                Case number (if known) 17-12224




3.2008.    Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                             Check all that apply.
           WINDLE, KELSEY ANN                                                                                UNDETERMINED
           J. NELSON THOMAS THOMAS & SOLOMON LLP             þ Contingent
           693 EAST AVENUE
           ROCHESTER NY 14607                                þ Unliquidated
                                                             þ Disputed
           Date or dates debt was incurred                   Basis for the claim:
           VARIOUS                                           CIVIL ACTION NO. 6:15-CV-06742
                                                             PENDING LITIGATION
           Last 4 digits of account number:
                                                             Is the claim subject to offset?

                                                             þ No
                                                             ¨ Yes

3.2009.    Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                             Check all that apply.
           WING, TAYLOR JANELLE                                                                              UNDETERMINED
           J. NELSON THOMAS THOMAS & SOLOMON LLP             þ Contingent
           693 EAST AVENUE
           ROCHESTER NY 14607                                þ Unliquidated
                                                             þ Disputed
           Date or dates debt was incurred                   Basis for the claim:
           VARIOUS                                           CIVIL ACTION NO. 6:15-CV-06742
                                                             PENDING LITIGATION
           Last 4 digits of account number:
                                                             Is the claim subject to offset?

                                                             þ No
                                                             ¨ Yes

3.2010.    Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                             Check all that apply.
           WOLF ROAD PARK II LLC                                                                             UNDETERMINED
           C O THE BELTRONE GROUP LLC                        þ Contingent
           JOSEPH G CARANFA VICE PRESIDENT
           14 HEMLOCK ST BOX 517                             þ Unliquidated
           LATHAM NY 12110                                   þ Disputed
           Date or dates debt was incurred                   Basis for the claim:
           VARIOUS                                           LANDLORD CLAIM
           Last 4 digits of account number:                  Is the claim subject to offset?

                                                             þ No
                                                             ¨ Yes




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Debtor    MAC ACQUISITION LLC                                                                                Case number (if known) 17-12224




3.2011.    Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                             Check all that apply.
           WOLFE, JENNIFER                                                                                   UNDETERMINED
           J. NELSON THOMAS THOMAS & SOLOMON LLP             þ Contingent
           693 EAST AVENUE
           ROCHESTER NY 14607                                þ Unliquidated
                                                             þ Disputed
           Date or dates debt was incurred                   Basis for the claim:
           VARIOUS                                           CIVIL ACTION NO. 6:15-CV-06742
                                                             PENDING LITIGATION
           Last 4 digits of account number:
                                                             Is the claim subject to offset?

                                                             þ No
                                                             ¨ Yes

3.2012.    Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                             Check all that apply.
           WOLLMANN, JUSTIN                                                                                  UNDETERMINED
           J. NELSON THOMAS THOMAS & SOLOMON LLP             þ Contingent
           693 EAST AVENUE
           ROCHESTER NY 14607                                þ Unliquidated
                                                             þ Disputed
           Date or dates debt was incurred                   Basis for the claim:
           VARIOUS                                           CIVIL ACTION NO. 6:15-CV-06742
                                                             PENDING LITIGATION
           Last 4 digits of account number:
                                                             Is the claim subject to offset?

                                                             þ No
                                                             ¨ Yes

3.2013.    Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                             Check all that apply.
           WOOD, JORDAN D.                                                                                   UNDETERMINED
           J. NELSON THOMAS THOMAS & SOLOMON LLP             þ Contingent
           693 EAST AVENUE
           ROCHESTER NY 14607                                þ Unliquidated
                                                             þ Disputed
           Date or dates debt was incurred                   Basis for the claim:
           VARIOUS                                           CIVIL ACTION NO. 6:15-CV-06742
                                                             PENDING LITIGATION
           Last 4 digits of account number:
                                                             Is the claim subject to offset?

                                                             þ No
                                                             ¨ Yes




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Debtor    MAC ACQUISITION LLC                                                                                Case number (if known) 17-12224




3.2014.    Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                             Check all that apply.
           WOOD, JORDAN DAVID                                                                                UNDETERMINED
           J. NELSON THOMAS THOMAS & SOLOMON LLP             þ Contingent
           693 EAST AVENUE
           ROCHESTER NY 14607                                þ Unliquidated
                                                             þ Disputed
           Date or dates debt was incurred                   Basis for the claim:
           VARIOUS                                           CIVIL ACTION NO. 6:15-CV-06742
                                                             PENDING LITIGATION
           Last 4 digits of account number:
                                                             Is the claim subject to offset?

                                                             þ No
                                                             ¨ Yes

3.2015.    Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                             Check all that apply.
           WOODS, GLENN                                                                                      UNDETERMINED
           J. NELSON THOMAS THOMAS & SOLOMON LLP             þ Contingent
           693 EAST AVENUE
           ROCHESTER NY 14607                                þ Unliquidated
                                                             þ Disputed
           Date or dates debt was incurred                   Basis for the claim:
           VARIOUS                                           CIVIL ACTION NO. 6:15-CV-06742
                                                             PENDING LITIGATION
           Last 4 digits of account number:
                                                             Is the claim subject to offset?

                                                             þ No
                                                             ¨ Yes

3.2016.    Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                             Check all that apply.
           WOODS, KELSEY JEAN                                                                                UNDETERMINED
           J. NELSON THOMAS THOMAS & SOLOMON LLP             þ Contingent
           693 EAST AVENUE
           ROCHESTER NY 14607                                þ Unliquidated
                                                             þ Disputed
           Date or dates debt was incurred                   Basis for the claim:
           VARIOUS                                           CIVIL ACTION NO. 6:15-CV-06742
                                                             PENDING LITIGATION
           Last 4 digits of account number:
                                                             Is the claim subject to offset?

                                                             þ No
                                                             ¨ Yes




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Debtor    MAC ACQUISITION LLC                                                                                Case number (if known) 17-12224




3.2017.    Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                             Check all that apply.
           WOODS, SHANEENA DENISE                                                                            UNDETERMINED
           J. NELSON THOMAS THOMAS & SOLOMON LLP             þ Contingent
           693 EAST AVENUE
           ROCHESTER NY 14607                                þ Unliquidated
                                                             þ Disputed
           Date or dates debt was incurred                   Basis for the claim:
           VARIOUS                                           CIVIL ACTION NO. 6:15-CV-06742
                                                             PENDING LITIGATION
           Last 4 digits of account number:
                                                             Is the claim subject to offset?

                                                             þ No
                                                             ¨ Yes

3.2018.    Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                             Check all that apply.
           WOODWARD, SAMANTHA                                                                                UNDETERMINED
           J. NELSON THOMAS THOMAS & SOLOMON LLP             þ Contingent
           693 EAST AVENUE
           ROCHESTER NY 14607                                þ Unliquidated
                                                             þ Disputed
           Date or dates debt was incurred                   Basis for the claim:
           VARIOUS                                           CIVIL ACTION NO. 6:15-CV-06742
                                                             PENDING LITIGATION
           Last 4 digits of account number:
                                                             Is the claim subject to offset?

                                                             þ No
                                                             ¨ Yes

3.2019.    Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                             Check all that apply.
           WOOLF, JUSTIN                                                                                     UNDETERMINED
           J. NELSON THOMAS THOMAS & SOLOMON LLP             þ Contingent
           693 EAST AVENUE
           ROCHESTER NY 14607                                þ Unliquidated
                                                             þ Disputed
           Date or dates debt was incurred                   Basis for the claim:
           VARIOUS                                           CIVIL ACTION NO. 6:15-CV-06742
                                                             PENDING LITIGATION
           Last 4 digits of account number:
                                                             Is the claim subject to offset?

                                                             þ No
                                                             ¨ Yes




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Debtor    MAC ACQUISITION LLC                                                                                Case number (if known) 17-12224




3.2020.    Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                             Check all that apply.
           WOORMAN, MATTHEW PHILLIP                                                                          UNDETERMINED
           J. NELSON THOMAS THOMAS & SOLOMON LLP             þ Contingent
           693 EAST AVENUE
           ROCHESTER NY 14607                                þ Unliquidated
                                                             þ Disputed
           Date or dates debt was incurred                   Basis for the claim:
           VARIOUS                                           CIVIL ACTION NO. 6:15-CV-06742
                                                             PENDING LITIGATION
           Last 4 digits of account number:
                                                             Is the claim subject to offset?

                                                             þ No
                                                             ¨ Yes

3.2021.    Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                             Check all that apply.
           WORLD BUSINESS SUPPLY LLC                                                                         $127.20
           14993 CROFTON DR                                  ¨ Contingent
           SHELBY TWP MI 48315
                                                             ¨ Unliquidated
                                                             ¨ Disputed
           Date or dates debt was incurred                   Basis for the claim:
           VARIOUS                                           TRADE ACCOUNTS PAYABLE
           Last 4 digits of account number:                  Is the claim subject to offset?

                                                             þ No
                                                             ¨ Yes

3.2022.    Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                             Check all that apply.
           WORMSLEY, JASMINE S.                                                                              UNDETERMINED
           J. NELSON THOMAS THOMAS & SOLOMON LLP             þ Contingent
           693 EAST AVENUE
           ROCHESTER NY 14607                                þ Unliquidated
                                                             þ Disputed
           Date or dates debt was incurred                   Basis for the claim:
           VARIOUS                                           CIVIL ACTION NO. 6:15-CV-06742
                                                             PENDING LITIGATION
           Last 4 digits of account number:
                                                             Is the claim subject to offset?

                                                             þ No
                                                             ¨ Yes




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Debtor    MAC ACQUISITION LLC                                                                                Case number (if known) 17-12224




3.2023.    Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                             Check all that apply.
           WRIGHT, DIANA M.                                                                                  UNDETERMINED
           J. NELSON THOMAS THOMAS & SOLOMON LLP             þ Contingent
           693 EAST AVENUE
           ROCHESTER NY 14607                                þ Unliquidated
                                                             þ Disputed
           Date or dates debt was incurred                   Basis for the claim:
           VARIOUS                                           CIVIL ACTION NO. 6:15-CV-06742
                                                             PENDING LITIGATION
           Last 4 digits of account number:
                                                             Is the claim subject to offset?

                                                             þ No
                                                             ¨ Yes

3.2024.    Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                             Check all that apply.
           WRIGHT, EMILEIGH ANNE                                                                             UNDETERMINED
           J. NELSON THOMAS THOMAS & SOLOMON LLP             þ Contingent
           693 EAST AVENUE
           ROCHESTER NY 14607                                þ Unliquidated
                                                             þ Disputed
           Date or dates debt was incurred                   Basis for the claim:
           VARIOUS                                           CIVIL ACTION NO. 6:15-CV-06742
                                                             PENDING LITIGATION
           Last 4 digits of account number:
                                                             Is the claim subject to offset?

                                                             þ No
                                                             ¨ Yes

3.2025.    Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                             Check all that apply.
           WRIGHT, STEPHANIE M.                                                                              UNDETERMINED
           J. NELSON THOMAS THOMAS & SOLOMON LLP             þ Contingent
           693 EAST AVENUE
           ROCHESTER NY 14607                                þ Unliquidated
                                                             þ Disputed
           Date or dates debt was incurred                   Basis for the claim:
           VARIOUS                                           CIVIL ACTION NO. 6:15-CV-06742
                                                             PENDING LITIGATION
           Last 4 digits of account number:
                                                             Is the claim subject to offset?

                                                             þ No
                                                             ¨ Yes




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Debtor    MAC ACQUISITION LLC                                                                                Case number (if known) 17-12224




3.2026.    Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                             Check all that apply.
           WURSTHORNE, CHADWICK                                                                              UNDETERMINED
           J. NELSON THOMAS THOMAS & SOLOMON LLP             þ Contingent
           693 EAST AVENUE
           ROCHESTER NY 14607                                þ Unliquidated
                                                             þ Disputed
           Date or dates debt was incurred                   Basis for the claim:
           VARIOUS                                           CIVIL ACTION NO. 6:15-CV-06742
                                                             PENDING LITIGATION
           Last 4 digits of account number:
                                                             Is the claim subject to offset?

                                                             þ No
                                                             ¨ Yes

3.2027.    Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                             Check all that apply.
           XEROX CORPORATION 723115317                                                                       $21.53
           PO BOX 7405                                       ¨ Contingent
           PASADENA CA 91109-7405
                                                             ¨ Unliquidated
                                                             ¨ Disputed
           Date or dates debt was incurred                   Basis for the claim:
           VARIOUS                                           TRADE ACCOUNTS PAYABLE
           Last 4 digits of account number:                  Is the claim subject to offset?

                                                             þ No
                                                             ¨ Yes

3.2028.    Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                             Check all that apply.
           XTREME DEALS INC.                                                                                 $349.00
           12096 SW 140TH TERRACE                            ¨ Contingent
           MIAMI FL 33186
                                                             ¨ Unliquidated
                                                             ¨ Disputed
           Date or dates debt was incurred                   Basis for the claim:
           VARIOUS                                           TRADE ACCOUNTS PAYABLE
           Last 4 digits of account number:                  Is the claim subject to offset?

                                                             þ No
                                                             ¨ Yes




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Debtor    MAC ACQUISITION LLC                                                                                Case number (if known) 17-12224




3.2029.    Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                             Check all that apply.
           YANG, HEE SEUNG                                                                                   UNDETERMINED
           J. NELSON THOMAS THOMAS & SOLOMON LLP             þ Contingent
           693 EAST AVENUE
           ROCHESTER NY 14607                                þ Unliquidated
                                                             þ Disputed
           Date or dates debt was incurred                   Basis for the claim:
           VARIOUS                                           CIVIL ACTION NO. 6:15-CV-06742
                                                             PENDING LITIGATION
           Last 4 digits of account number:
                                                             Is the claim subject to offset?

                                                             þ No
                                                             ¨ Yes

3.2030.    Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                             Check all that apply.
           YATES, SHAILA                                                                                     UNDETERMINED
           J. NELSON THOMAS THOMAS & SOLOMON LLP             þ Contingent
           693 EAST AVENUE
           ROCHESTER NY 14607                                þ Unliquidated
                                                             þ Disputed
           Date or dates debt was incurred                   Basis for the claim:
           VARIOUS                                           CIVIL ACTION NO. 6:15-CV-06742
                                                             PENDING LITIGATION
           Last 4 digits of account number:
                                                             Is the claim subject to offset?

                                                             þ No
                                                             ¨ Yes

3.2031.    Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                             Check all that apply.
           YELLOW MARKETING, LTD.                                                                            $1,104.00
           53-55 TOTLEBEN BLVD, 1ST FLOOR                    ¨ Contingent
           DISTRICT KRASNO SELO
           SOFIA                                             ¨ Unliquidated
           BULGARIA                                          ¨ Disputed
           Date or dates debt was incurred                   Basis for the claim:
           VARIOUS                                           TRADE ACCOUNTS PAYABLE
           Last 4 digits of account number:                  Is the claim subject to offset?

                                                             þ No
                                                             ¨ Yes




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Debtor    MAC ACQUISITION LLC                                                                                Case number (if known) 17-12224




3.2032.    Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                             Check all that apply.
           YOU FLOOR ME, LLC                                                                                 $400.00
           15439 N. CAVE CREEK RD                            ¨ Contingent
           PHOENIX AZ 85032
                                                             ¨ Unliquidated
                                                             ¨ Disputed
           Date or dates debt was incurred                   Basis for the claim:
           VARIOUS                                           TRADE ACCOUNTS PAYABLE
           Last 4 digits of account number:                  Is the claim subject to offset?

                                                             þ No
                                                             ¨ Yes

3.2033.    Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                             Check all that apply.
           YOUNG ELECTRIC SIGN CO LLC                                                                        $665.42
           2401 FOOTHILL DRIVE                               ¨ Contingent
           SALT LAKE CITY UT 84109
                                                             ¨ Unliquidated
                                                             ¨ Disputed
           Date or dates debt was incurred                   Basis for the claim:
           VARIOUS                                           TRADE ACCOUNTS PAYABLE
           Last 4 digits of account number:                  Is the claim subject to offset?

                                                             þ No
                                                             ¨ Yes

3.2034.    Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                             Check all that apply.
           YOUNG, CARLY MARIE                                                                                UNDETERMINED
           J. NELSON THOMAS THOMAS & SOLOMON LLP             þ Contingent
           693 EAST AVENUE
           ROCHESTER NY 14607                                þ Unliquidated
                                                             þ Disputed
           Date or dates debt was incurred                   Basis for the claim:
           VARIOUS                                           CIVIL ACTION NO. 6:15-CV-06742
                                                             PENDING LITIGATION
           Last 4 digits of account number:
                                                             Is the claim subject to offset?

                                                             þ No
                                                             ¨ Yes




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Debtor    MAC ACQUISITION LLC                                                                                Case number (if known) 17-12224




3.2035.    Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                             Check all that apply.
           YOUNG, ELIZABETH DIANE                                                                            UNDETERMINED
           J. NELSON THOMAS THOMAS & SOLOMON LLP             þ Contingent
           693 EAST AVENUE
           ROCHESTER NY 14607                                þ Unliquidated
                                                             þ Disputed
           Date or dates debt was incurred                   Basis for the claim:
           VARIOUS                                           CIVIL ACTION NO. 6:15-CV-06742
                                                             PENDING LITIGATION
           Last 4 digits of account number:
                                                             Is the claim subject to offset?

                                                             þ No
                                                             ¨ Yes

3.2036.    Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                             Check all that apply.
           YOUNG, JESSICA LYNN                                                                               UNDETERMINED
           J. NELSON THOMAS THOMAS & SOLOMON LLP             þ Contingent
           693 EAST AVENUE
           ROCHESTER NY 14607                                þ Unliquidated
                                                             þ Disputed
           Date or dates debt was incurred                   Basis for the claim:
           VARIOUS                                           CIVIL ACTION NO. 6:15-CV-06742
                                                             PENDING LITIGATION
           Last 4 digits of account number:
                                                             Is the claim subject to offset?

                                                             þ No
                                                             ¨ Yes

3.2037.    Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                             Check all that apply.
           YOUNG, RICKY E.                                                                                   UNDETERMINED
           J. NELSON THOMAS THOMAS & SOLOMON LLP             þ Contingent
           693 EAST AVENUE
           ROCHESTER NY 14607                                þ Unliquidated
                                                             þ Disputed
           Date or dates debt was incurred                   Basis for the claim:
           VARIOUS                                           CIVIL ACTION NO. 6:15-CV-06742
                                                             PENDING LITIGATION
           Last 4 digits of account number:
                                                             Is the claim subject to offset?

                                                             þ No
                                                             ¨ Yes




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Debtor    MAC ACQUISITION LLC                                                                                Case number (if known) 17-12224




3.2038.    Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                             Check all that apply.
           YOUNG, SABRINA                                                                                    UNDETERMINED
           J. NELSON THOMAS THOMAS & SOLOMON LLP             þ Contingent
           693 EAST AVENUE
           ROCHESTER NY 14607                                þ Unliquidated
                                                             þ Disputed
           Date or dates debt was incurred                   Basis for the claim:
           VARIOUS                                           CIVIL ACTION NO. 6:15-CV-06742
                                                             PENDING LITIGATION
           Last 4 digits of account number:
                                                             Is the claim subject to offset?

                                                             þ No
                                                             ¨ Yes

3.2039.    Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                             Check all that apply.
           YOUNG, SCOTT M.                                                                                   UNDETERMINED
           J. NELSON THOMAS THOMAS & SOLOMON LLP             þ Contingent
           693 EAST AVENUE
           ROCHESTER NY 14607                                þ Unliquidated
                                                             þ Disputed
           Date or dates debt was incurred                   Basis for the claim:
           VARIOUS                                           CIVIL ACTION NO. 6:15-CV-06742
                                                             PENDING LITIGATION
           Last 4 digits of account number:
                                                             Is the claim subject to offset?

                                                             þ No
                                                             ¨ Yes

3.2040.    Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                             Check all that apply.
           YOUR YARD GUY LLC                                                                                 $400.00
           10222 INDEPENDENCE LANE                           ¨ Contingent
           LITTLE ROCK AR 72209
                                                             ¨ Unliquidated
                                                             ¨ Disputed
           Date or dates debt was incurred                   Basis for the claim:
           VARIOUS                                           TRADE ACCOUNTS PAYABLE
           Last 4 digits of account number:                  Is the claim subject to offset?

                                                             þ No
                                                             ¨ Yes




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Debtor    MAC ACQUISITION LLC                                                                                Case number (if known) 17-12224




3.2041.    Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                             Check all that apply.
           YUKICH, MICHAEL GEORGE                                                                            UNDETERMINED
           J. NELSON THOMAS THOMAS & SOLOMON LLP             þ Contingent
           693 EAST AVENUE
           ROCHESTER NY 14607                                þ Unliquidated
                                                             þ Disputed
           Date or dates debt was incurred                   Basis for the claim:
           VARIOUS                                           CIVIL ACTION NO. 6:15-CV-06742
                                                             PENDING LITIGATION
           Last 4 digits of account number:
                                                             Is the claim subject to offset?

                                                             þ No
                                                             ¨ Yes

3.2042.    Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                             Check all that apply.
           YUKICH, MICHAEL GEORGE                                                                            UNDETERMINED
           J. NELSON THOMAS THOMAS & SOLOMON LLP             þ Contingent
           693 EAST AVENUE
           ROCHESTER NY 14607                                þ Unliquidated
                                                             þ Disputed
           Date or dates debt was incurred                   Basis for the claim:
           VARIOUS                                           CIVIL ACTION NO. 6:15-CV-06742
                                                             PENDING LITIGATION
           Last 4 digits of account number:
                                                             Is the claim subject to offset?

                                                             þ No
                                                             ¨ Yes

3.2043.    Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                             Check all that apply.
           ZAHN, NORINE                                                                                      UNDETERMINED
           J. NELSON THOMAS THOMAS & SOLOMON LLP             þ Contingent
           693 EAST AVENUE
           ROCHESTER NY 14607                                þ Unliquidated
                                                             þ Disputed
           Date or dates debt was incurred                   Basis for the claim:
           VARIOUS                                           CIVIL ACTION NO. 6:15-CV-06742
                                                             PENDING LITIGATION
           Last 4 digits of account number:
                                                             Is the claim subject to offset?

                                                             þ No
                                                             ¨ Yes




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Debtor    MAC ACQUISITION LLC                                                                                Case number (if known) 17-12224




3.2044.    Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                             Check all that apply.
           ZALEWSKI, JOSEPH PATRICK                                                                          UNDETERMINED
           J. NELSON THOMAS THOMAS & SOLOMON LLP             þ Contingent
           693 EAST AVENUE
           ROCHESTER NY 14607                                þ Unliquidated
                                                             þ Disputed
           Date or dates debt was incurred                   Basis for the claim:
           VARIOUS                                           CIVIL ACTION NO. 6:15-CV-06742
                                                             PENDING LITIGATION
           Last 4 digits of account number:
                                                             Is the claim subject to offset?

                                                             þ No
                                                             ¨ Yes

3.2045.    Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                             Check all that apply.
           ZAUZIG, ASHLEY TAYLOR                                                                             UNDETERMINED
           J. NELSON THOMAS THOMAS & SOLOMON LLP             þ Contingent
           693 EAST AVENUE
           ROCHESTER NY 14607                                þ Unliquidated
                                                             þ Disputed
           Date or dates debt was incurred                   Basis for the claim:
           VARIOUS                                           CIVIL ACTION NO. 6:15-CV-06742
                                                             PENDING LITIGATION
           Last 4 digits of account number:
                                                             Is the claim subject to offset?

                                                             þ No
                                                             ¨ Yes

3.2046.    Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                             Check all that apply.
           ZAY, JUSTIN SCOTT                                                                                 UNDETERMINED
           J. NELSON THOMAS THOMAS & SOLOMON LLP             þ Contingent
           693 EAST AVENUE
           ROCHESTER NY 14607                                þ Unliquidated
                                                             þ Disputed
           Date or dates debt was incurred                   Basis for the claim:
           VARIOUS                                           CIVIL ACTION NO. 6:15-CV-06742
                                                             PENDING LITIGATION
           Last 4 digits of account number:
                                                             Is the claim subject to offset?

                                                             þ No
                                                             ¨ Yes




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3.2047.    Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                             Check all that apply.
           ZAZA, ANTHONY                                                                                     UNDETERMINED
           J. NELSON THOMAS THOMAS & SOLOMON LLP             þ Contingent
           693 EAST AVENUE
           ROCHESTER NY 14607                                þ Unliquidated
                                                             þ Disputed
           Date or dates debt was incurred                   Basis for the claim:
           VARIOUS                                           CIVIL ACTION NO. 6:15-CV-06742
                                                             PENDING LITIGATION
           Last 4 digits of account number:
                                                             Is the claim subject to offset?

                                                             þ No
                                                             ¨ Yes

3.2048.    Nonpriority creditor’s name and mailing address   As of the petition filing date, the claim is:   Amount of claim
                                                             Check all that apply.
           ZIOBROWSKI, MARISA DENISE                                                                         UNDETERMINED
           J. NELSON THOMAS THOMAS & SOLOMON LLP             þ Contingent
           693 EAST AVENUE
           ROCHESTER NY 14607                                þ Unliquidated
                                                             þ Disputed
           Date or dates debt was incurred                   Basis for the claim:
           VARIOUS                                           CIVIL ACTION NO. 6:15-CV-06742
                                                             PENDING LITIGATION
           Last 4 digits of account number:
                                                             Is the claim subject to offset?

                                                             þ No
                                                             ¨ Yes




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Debtor     MAC ACQUISITION LLC                                                                              Case number (if known) 17-12224



 Part 3:    List Others to Be Notified About Unsecured Claims

4.    List in alphabetical order any others who must be notified for claims listed in Parts 1 and 2. Examples of entities that
      may be listed are collection agencies, assignees of claims listed above, and attorneys for unsecured creditors.

      If no others need to be notified for the debts listed in Parts 1 and 2, do not fill out or submit this page. If additional
      pages are needed, copy the next page.
      Name and mailing address                           On which line in Part 1 or Part 2 is the related        Last 4 digits of account
                                                         creditor (if any) listed?                               number, if any

      100 UNIVERSITY LLC                                 Part 2 line 3.3                                         _____________________
      C/O SERBER & ASSOCIATES, P.A.
      2875 NE 191ST STREET, SUITE 801
      AVENTURA FL 33180

      100 UNIVERSITY LLC                                 Part 2 line 3.4                                         _____________________
      LAW OFFICES OF JONATHAN A. HELLER, P.A.
      JONATHAN A. HELLER, ESQ.
      14 N.E. 1ST AVE. SUITE 1105
      MIAMI FL 33132

      2728 GANNON RD LLC                                 Part 2 line 3.8                                         _____________________
      2728 GANNON RD LLC
      PO BOX L
      RANCHO SANTA FE CA 92067

      AMBRE HOLLY                                        Part 2 line 3.884                                       _____________________


      ARELLANO, JOSE                                     Part 2 line 3.91                                        _____________________


      BENSON, MARAN                                      Part 2 line 3.172                                       _____________________


      BGHIGH, HANAE                                      Part 2 line 3.184                                       _____________________


      BLK220 LLC                                         Part 2 line 3.199                                       _____________________
      MCWHINNEY
      CRHISTINA SONG MOLINARO
      2725 ROCKY MOUNTAIN AVE STE 200
      LOVELAND CO 80538

      BRADLEY D. MCADORY, ADA GROUP                      Part 2 line 3.991                                       _____________________
      PO BOX 231477
      MONTGOMERY AL 36123

      BRANDYWINE DEVELOPMENT GROUP LLC                   Part 2 line 3.230                                       _____________________
      105 FAULK RD
      WILMINGTON DE 19803

      BRE RETAIL RESIDUAL OWNER 1 LLC                    Part 2 line 3.232                                       _____________________
      LEGAL COUNSEL
      40 SKOKIE BLVD STE 600
      NORTHBROOK IL 60062

      BRINKER INTERNATIONAL INC                          Part 2 line 3.1477                                      _____________________
      PO BOX 910232
      DALLAS TX 75391

      BYRON MICHAEL LUKSO                                Part 2 line 3.1147                                      _____________________


      C/O THOMAS & SULLIVAN LLP                          Part 2 line 3.602                                       _____________________
      J. NELSON THOMAS, MICHAEL J.LINGLE
      JARED K. COOK
      693 EAST AVENUE
      ROCHESTER NY 14607


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Debtor   MAC ACQUISITION LLC                                                            Case number (if known) 17-12224

      CALABRESE, ADAM                              Part 2 line 3.287                         _____________________
      C/O THOMAS & SULLIVAN LLP
      J NELSON THOMAS MICHAEL JLINGLE J COOK


      CASTLE AND COOKE DEVELOPMENT                 Part 2 line 3.330                         _____________________
      KAY WILSON
      PROPERTY MANAGER
      2470 TUSCANY ST STE 104
      CORONA CA 92881

      CASUAL DINING ALTAMONTE SPRINGS LLC          Part 2 line 3.333                         _____________________
      26 KNIGHTS COURT
      UPPER SADDLE RIVER NJ 07458

      CASUAL DINING ALTAMONTE SPRINGS LLC          Part 2 line 3.334                         _____________________
      KILLGORE, PEARLMAN, STAMP, DENIUS &
      SQUIRES, P.A. GREY SQUIRES-BINFORD, ESQ.
      2 SOUTH ORANGE AVENUE, 5TH FLOOR
      P.O. BOX 1913
      ORLANDO FL 32802-1913

      CASUAL DINING COOL SPRINGS, LLC              Part 2 line 3.335                         _____________________
      26 KNIGHTS COURT,
      UPPER SADDLE RIVER NJ 07458

      CBL-FRIENDLY CENTER CMBS, LLC                Part 2 line 3.338                         _____________________
      C/O CBL & ASSOCIATES MANAGEMENT, INC.
      2030 HAMILTON PLACE BLVD
      CBL CENTER, SUITE 500
      CHATTANOOGA TN 37421

      CHADHA, SAHIBA, SUBASH CHADHA,               Part 2 line 3.351                         _____________________
      MAMTA CHADHA, MANISH CHADHA


      CHARLES HICKS                                Part 2 line 3.866                         _____________________
      2010 BASTON AVE
      APT 408
      ROWLAND HEIGHTS CA 91748

      CLEVELAND EEOC                               Part 2 line 3.1599                        _____________________
      1240 E 9TH ST
      CLEVELAND OH 44199

      COLUMBUS DINING DST                          Part 2 line 3.415                         _____________________
      2901 BUTTERFIELD ROAD
      OAKBROOK IL 60523

      COOK, JARED K.                               Part 2 line 3.602                         _____________________
      J. NELSON THOMAS, MICHAEL J.LINGLE
      C/O THOMAS & SULLIVAN LLP
      693 EAST AVENUE
      ROCHESTER NY 14607

      COX CASTLE AND NICHOLSON LLP                 Part 2 line 3.667                         _____________________
      GARY GLICK ESQ
      2049 CENTURY PK EAST STE 2800
      LOS ANGELES CA 90067

      CP VENTURE FIVE AWC LLC                      Part 2 line 3.1489                        _____________________
      LENNAR COMMERCIAL SVC LLC
      LEASE ADMINISTRATOR VICKIE BOCK REGIONAL
      GM
      7000 CENTRAL PKWY NE STE 700
      ATLANTA GA 30328

      DAN KREMERS MD ATKINSON CO INC               Part 2 line 3.667                         _____________________
      DAN KREMERS
      1401 19TH ST STE 400
      BAKERSFIELD CA 93301



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Debtor   MAC ACQUISITION LLC                                                            Case number (if known) 17-12224

      DB FIVE GRILL LP CARDINAL CAPTIAL PARTNERS   Part 2 line 3.509                         _____________________
      8214 WESTHEIMER 9TH FL
      DALLAS TX 75225

      DENVER WEST MILLS LP                         Part 2 line 3.528                         _____________________
      SIMON PROPERTY GROUP
      MELISSA A BREEDEN COUNSEL
      225 W WASHINGTON ST
      INDIANAPOLIS IN 46204

      DINOVA, INC                                  Part 2 line 3.546                         _____________________
      6455 EAST JOHNS CROSSING
      STE 200
      JOHN CREEK GA 30097

      DOLAN-FOX, DEBORAH                           Part 2 line 3.552                         _____________________


      EKRYSS, JHARED                               Part 2 line 3.602                         _____________________


      EVANS, DARELL                                Part 2 line 3.602                         _____________________


      HAPPEL, MARANDA                              Part 2 line 3.602                         _____________________
      C/O THOMAS & SULLIVAN LLP
      J NELSON THOMAS MICHAEL JLINGLE J COOK


      HOYLES, LATOYA                               Part 2 line 3.897                         _____________________


      IGNITE RESTAURANT GROUP                      Part 2 line 3.602                         _____________________
      10555 RICHMOND AVE #100
      HOUSTON TX 77042

      JONES LANG LASALLE AMERCAS INC               Part 2 line 3.242                         _____________________
      PRESIDENT AND CEO RETAIL
      JEFF BARBER
      3344 PEACHTREE RD STE 1110
      ATLANTA GA 30326

      JUDITH TESTILER                              Part 2 line 3.1808                        _____________________


      JUERGEN, CONNIE                              Part 2 line 3.602                         _____________________


      KOHNER MANN & KAILAS SC                      Part 2 line 3.591                         _____________________
      DEVON E DAUGHETY
      WASHINGTON BLDG, BARNABAS BUSINESS CTR
      4650 NORTH PORT WASHINGTON RD
      MILWAUKEE WI 53212-1059

      KOHNER MANN & KAILAS SC                      Part 2 line 3.592                         _____________________
      DEVON E DAUGHETY
      WASHINGTON BLDG, BARNABAS BUSINESS CTR
      4650 NORTH PORT WASHINGTON RD
      MILWAUKEE WI 53212-1059

      KOHNER MANN & KAILAS SC                      Part 2 line 3.593                         _____________________
      DEVON E DAUGHETY
      WASHINGTON BLDG, BARNABAS BUSINESS CTR
      4650 NORTH PORT WASHINGTON RD
      MILWAUKEE WI 53212-1059

      KOHNER MANN & KAILAS SC                      Part 2 line 3.594                         _____________________
      DEVON E DAUGHETY
      WASHINGTON BLDG, BARNABAS BUSINESS CTR
      4650 NORTH PORT WASHINGTON RD
      MILWAUKEE WI 53212-1059



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Debtor   MAC ACQUISITION LLC                                                            Case number (if known) 17-12224

      KURTZMAN STEADY LLC                          Part 2 line 3.1407                        _____________________
      JEFFREY KURTZMAN
      401 S 2ND ST STE 200
      PHILADELPHIA PA 19147

      LECLAIRRYAN, A PROFESSIONAL CORP             Part 2 line 3.630                         _____________________
      ANDREW L COLE
      800 NORTH KING ST STE 303
      WILMINGTON DE 19801

      LECLAIRRYAN, A PROFESSIONAL CORPORATION      Part 2 line 3.630                         _____________________
      NICLAS A FERLAND;ILAN MARKUS
      545 LONG WHARF DRIVE 9TH FLOOR
      NEW HAVEN CT 06511

      LUKE, GEORGIA                                Part 2 line 3.1145                        _____________________


      MAMAKOS, THOMAS                              Part 2 line 3.1719                        _____________________
      4 BAKER ST
      WAYNE NJ 07470

      MENDOZA, MANUEL                              Part 2 line 3.1241                        _____________________


      MERCEDES SANCHEZ, ROLANDO SANCHEZ            Part 2 line 3.1622                        _____________________


      MIRICK O'CONNELL DEMALLIE & LOUGEE LLP       Part 2 line 3.1439                        _____________________
      PAUL W CAREY
      100 FRONT ST
      WORCESTER MA 01608

      MIRICK O'CONNELL DEMALLIE & LOUGEE LLP       Part 2 line 3.1439                        _____________________
      KATE P FOLEY
      1800 WEST PARK DRIVE STE 400
      WESTBOROUGH MA 01581

      MJDEL LLC                                    Part 2 line 3.1266                        _____________________
      DUNBAR GOLOBOY, LLP
      RONALD W. DUNBAR, JR.
      197 PORTLAND STREET 5TH FLOOR
      BOSTON MA 02114

      MJDEL, LLC                                   Part 2 line 3.1267                        _____________________
      61 SOLOMON PIERCE RD.
      LEXINGTON MA 02420

      MS INLAND FUND LLC                           Part 2 line 3.1307                        _____________________
      RPAI HOLDCO MANAGEMENT LLC
      VICE PRESIDENT OF COLLECTIONS BRIAN
      GRADY VP AND CONTROLLER
      2021 SPRING RD STE 200
      OAK BROOK IL 60523

      MS INLAND FUND LLC                           Part 2 line 3.1307                        _____________________
      RETAIL PROPERTIES OF AMERICA INC
      VP AND DIRECTOR OF LEASING MARIA
      TOLIOPOULOS
      2021 SPRING RD STE 200
      OAK BROOK IL 60523

      MURPHY, AMANDA                               Part 2 line 3.1316                        _____________________
      C/O THOMAS & SULLIVAN LLP
      J NELSON THOMAS MICHAEL J LINGLE J COOK


      MVP INVESTMENTS, L.L.C                       Part 2 line 3.1324                        _____________________
      JAN VODA
      608 NW 9TH ST STE 6200
      OKLAHOMA CITY OK 73102-1049



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Debtor   MAC ACQUISITION LLC                                                         Case number (if known) 17-12224

      OTR                                       Part 2 line 3.557                         _____________________
      REAL ESTATE MANAGER
      KIM WAIPA
      275 EAST BROAD ST
      COLUMBUS OH 43215

      OXFORD VALLEY ROAD ASSOCIATES             Part 2 line 3.1408                        _____________________
      THE GOLDENBERG GROUP
      JOHN R AHLE JR
      630 SENTRY PKWY STE 300
      BLUE BELL PA 19422

      PLANCICH, AIDA                            Part 2 line 3.1456                        _____________________


      PRUDENTIAL INSURANCE CO OF AMERICA        Part 2 line 3.1489                        _____________________
      LAW DEPT
      7 GIRALDA FARMS
      MADISON NJ 07940

      REDROCK PARTNERS LLC                      Part 2 line 3.338                         _____________________
      8620 RAINTREE
      SCOTTSDALE AZ 85260

      REDROCK PARTNERS LLC                      Part 2 line 3.1078                        _____________________
      8620 RAINTREE
      SCOTTSDALE AZ 85260

      RIESEN, DEAN                              Part 2 line 3.602                         _____________________


      RUZICHO, MICHAEL A.                       Part 2 line 3.1599                        _____________________


      SANCHEZ, ERIKA                            Part 2 line 3.1619                        _____________________
      JOHN S. WEST, ALLRED, MAROKO & GOLDBERG
      6300 WILSHIRE BLVD
      STE 1500
      LOS ANGELES CA 90048

      SECOND FLORIDA BS INVESTMENTS, LLC        Part 2 line 3.1663                        _____________________
      77 S. BIRCH ROAD #11D,
      FT. LAUDERDALE FL 33316

      SEIGAL, STEPHAN                           Part 2 line 3.602                         _____________________


      SERITAGE GROWTH PROPERTIES LP             Part 2 line 3.1669                        _____________________
      MARY ROTTLER
      EXECUTIVE VP OPERATIONS AND LEASING
      54 W 40TH ST STE 10N
      NEW YORK NY 10018

      SHERWOOD MALL MALL MANAGEMENT OFFICE      Part 2 line 3.242                         _____________________
      GENERAL MANAGER
      5308 PACIFIC AVE
      STOCKTON CA 95207

      SHOPCORE PROPERTIES RS MANAGEMENT LLC     Part 2 line 3.231                         _____________________
      LINDA MADWAY
      307 FELLOWSHIP RD STE 116
      MOUNT LAUREL NJ 08054

      SHOPPING CENTER ASSOCIATES                Part 2 line 3.1689                        _____________________
      225 WEST WASHINGTON STREET
      INDIANAPOLIS IN 46204

      SIMON PROPERTY GROUP, L.P.                Part 2 line 3.1705                        _____________________
      225 WEST WASHINGTON STREET
      INDIANAPOLIS IN 46204




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Debtor   MAC ACQUISITION LLC                                                              Case number (if known) 17-12224

      SMITH, CRYSTAL                                 Part 2 line 3.1719                        _____________________
      164 MCLEAN BLVD
      PATERSON NJ 07504

      SOUTHPARK MALL LLC                             Part 2 line 3.1742                        _____________________
      GENERAL MANAGER
      KURT REDDICK GENERAL MANAGER
      500 SOUTHPARK CTR
      STRONGSVILLE OH 44136

      STARTZEL, JILLIAN                              Part 2 line 3.1755                        _____________________


      STEIN, NANCY                                   Part 2 line 3.1760                        _____________________


      THANH LE                                       Part 2 line 3.1078                        _____________________


      THE AVENUE WEST COBB                           Part 2 line 3.1489                        _____________________
      HAZEL PAYNE
      GENERAL MANAGER
      3625 DALLAW HIGHWAY STE 470
      MARIETTA GA 30064

      THE COCA-COLA COMPANY                          Part 2 line 3.403                         _____________________
      CURTIS MARSHALL
      DIRECTOR OF CREDIT & A/R
      1150 SANCTUARY PARKWAY
      ALPHARETTA GA 30009

      THE HIRAOKA FAMILY TRUST                       Part 2 line 3.1818                        _____________________
      475 OREGON AVENUE
      PALO ALTO CA 94301

      THOMAS A WEBSTER                               Part 2 line 3.1719                        _____________________
      MCDERMOTT & MCGEE LLP
      75 MAIN ST
      PO BOX 192
      MILLBURN NJ 07041

      THOMAS MACKEY                                  Part 2 line 3.1159                        _____________________


      TIGRISWOODS, LLC                               Part 2 line 3.1845                        _____________________
      4833 N. EDGEWOOD DR., ST. 201
      PROVO UT 84604-6171

      TRADECOR GILBERT &VAUGHN, LLC                  Part 2 line 3.1863                        _____________________
      4455 EAST CAMELBACK ROAD
      SUITE E-180
      PHOENIX AZ 85018

      TRADECOR GILBERT AND VAUGHN LLC                Part 2 line 3.1864                        _____________________
      CLARK HILL PLC
      ANDREW B. TURK, ESQ.
      14850 NORTH SOCTTSDALE ROAD SUITE 500
      SCOTTSDALE AZ 85254

      U HAUL                                         Part 2 line 3.1891                        _____________________
      2727 N CENTRAL AVE
      PHOENIX AZ 85004

      VARNUM RIDDERING SCHMIDT AND HOWLETT           Part 2 line 3.781                         _____________________
      LLP
      G MARK MCALEENAN ESQ
      COUNSEL
      PO BOX 35 2333 BRIDGE ST NW
      GRAND RAPIDS MI 49501

      WESTBROOK, TONI                                Part 2 line 3.1967                        _____________________



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Debtor     MAC ACQUISITION LLC                                                                Case number (if known) 17-12224



 Part 4:    Total Amounts of the Priority and Nonpriority Unsecured Claims

5.    Add the amounts of priority and nonpriority unsecured claims.

                                                                                                   Total of claim amounts


5a.   Total claims from Part 1                                                          5a.        $153,424.14


5b.   Total claims from Part 2                                                          5b.   +    $28,606,406.29


      Total of Parts 1 and 2                                                                       $28,759,830.43
5c.                                                                                     5c.
      Lines 5a + 5b = 5c.




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Fill in this information to identify the case:

Debtor name: MAC ACQUISITION LLC
United States Bankruptcy Court for the: District of Delaware
Case number (if known): 17-12224

                                                                                                                               ¨ Check if this is an
                                                                                                                                       amended filing

Official Form 206G
Schedule G: Executory Contracts and Unexpired Leases                                                                                            12/15

Be as complete and accurate as possible. If more space is needed, copy and attach the additional page, numbering the entries
consecutively.

1.     Does the debtor have any executory contracts or unexpired leases?
       ¨ No. Check this box and file this form with the court with the debtor’s other schedules. There is nothing else to report on this form.
       þ Yes. Fill in all of the information below even if the contracts or leases are listed on Schedule A/B: Assets - Real and Personal Property
       (Official Form 206A/B).
2.       List all contracts and unexpired leases                                                           State the name and mailing address
                                                                                                           for all other parties with whom the
                                                                                                           debtor has an executory contract or
                                                                                                           unexpired lease

2.1.    Title of contract                REAL PROPERTY LEASE AGREEMENT                                     25001 COUNTRY CLUB LLC
                                                                                                           TOM GOEBEL
        State what the contract or       REAL PROPERTY LEASE STORE # 31033                                 6855 ROSEROAD CIR
        lease is for                                                                                       INDEPENDENCE OH 44131
        Nature of debtor's interest      LESSEE

        State the term remaining         12/17/28

        List the contract number of      _________________________________________________
        any government contract


2.2.    Title of contract                REAL PROPERTY LEASE AGREEMENT                                     State the name and mailing address
                                                                                                           for all other parties with whom the
        State what the contract or       REAL PROPERTY LEASE STORE # 31022                                 debtor has an executory contract or
        lease is for                                                                                       unexpired lease
        Nature of debtor's interest      LESSEE                                                            307 EAST EDGEWATER AVENUE
                                                                                                           LLC
        State the term remaining         12/17/28                                                          FRANK MCGINITY
                                                                                                           1114 STATE ST STE 250
        List the contract number of      _________________________________________________                 SANTA BARBARA CA 93101
        any government contract


2.3.    Title of contract                REAL PROPERTY LEASE AGREEMENT                                     State the name and mailing address
                                                                                                           for all other parties with whom the
        State what the contract or       REAL PROPERTY LEASE STORE # 31017                                 debtor has an executory contract or
        lease is for                                                                                       unexpired lease
        Nature of debtor's interest      LESSEE                                                            7979 MAC LLC
                                                                                                           SCOTT AUTREY
        State the term remaining         12/17/28                                                          16 CHERRYMOOR DR
                                                                                                           ENGLEWOOD CO 80113
        List the contract number of      _________________________________________________
        any government contract




Official Form 206G                       Schedule G: Executory Contracts and Unexpired Leases                                            Page 1 of 59
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Debtor    MAC ACQUISITION LLC                                                                    Case number (if known) 17-12224

2.4.     Title of contract             REAL PROPERTY LEASE AGREEMENT                       State the name and mailing address
                                                                                           for all other parties with whom the
         State what the contract or    REAL PROPERTY LEASE STORE # 31347                   debtor has an executory contract or
         lease is for                                                                      unexpired lease
         Nature of debtor's interest   LESSEE                                              8000 EL CERRITO INVESTORS LLC
                                                                                           PHIL MALOUF
         State the term remaining      4/30/22                                             1777 MANOR DR
                                                                                           HILLSBOROUGH CA 94010
         List the contract number of   _________________________________________________
         any government contract


2.5.     Title of contract             REAL PROPERTY LEASE AGREEMENT                       State the name and mailing address
                                                                                           for all other parties with whom the
         State what the contract or    REAL PROPERTY LEASE STORE # 31349                   debtor has an executory contract or
         lease is for                                                                      unexpired lease
         Nature of debtor's interest   LESSEE                                              ALDERWOOD MALL LLC
                                                                                           GENERAL GROWTH PROPERTIES
         State the term remaining      10/31/19                                            LAW/LEASE ADMINISTRATION
                                                                                           HOWARD SIGAL VP AND SR
         List the contract number of   _________________________________________________   ASSOCIATE GC
         any government contract                                                           110 N WACKER DR
                                                                                           CHICAGO IL 60606


2.6.     Title of contract             LINEN/UNIFORM RENTAL SERVICE AGREEMENT              State the name and mailing address
                                                                                           for all other parties with whom the
         State what the contract or    SERVICE AGREEMENT                                   debtor has an executory contract or
         lease is for                                                                      unexpired lease
         Nature of debtor's interest   CONTRACT PARTY                                      ALSCO INC.
                                                                                           CORPORATE ACCOUNT MANAGER
         State the term remaining      7/27/2020                                           RYAN MATHEWS
                                                                                           175 S WEST TEMPLE
         List the contract number of   _________________________________________________   STE 510
         any government contract                                                           SALT LAKE CITY UT 84101


2.7.     Title of contract             INVENTORY STOCKING AGREEMENT                        State the name and mailing address
                                                                                           for all other parties with whom the
         State what the contract or    SERVICE AGREEMENT                                   debtor has an executory contract or
         lease is for                                                                      unexpired lease
         Nature of debtor's interest   CONTRACT PARTY                                      AMERCARE ROYAL
                                                                                           1200 LAKESIDE PKWY
         State the term remaining      12/31/2019                                          STE 350
                                                                                           FLOWER MOUND TX 75028
         List the contract number of   _________________________________________________
         any government contract


2.8.     Title of contract             REAL PROPERTY LEASE AGREEMENT                       State the name and mailing address
                                                                                           for all other parties with whom the
         State what the contract or    REAL PROPERTY LEASE STORE # 31088                   debtor has an executory contract or
         lease is for                                                                      unexpired lease
         Nature of debtor's interest   LESSEE                                              AMREIT INC
                                                                                           CRAIG VANCE PROPERTY
         State the term remaining      10/2/19                                             MANAGER
                                                                                           8 GREENWAY PLZ STE 1000
         List the contract number of   _________________________________________________   HOUSTON TX 77046
         any government contract




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Debtor    MAC ACQUISITION LLC                                                                    Case number (if known) 17-12224

2.9.     Title of contract             NON-DISCLOSURE AGREEMENT                            State the name and mailing address
                                                                                           for all other parties with whom the
         State what the contract or    CONFIDENTIALITY AGREEMENT                           debtor has an executory contract or
         lease is for                                                                      unexpired lease
         Nature of debtor's interest   CONTRACT PARTY                                      ATS REALTY CORPORATION
                                                                                           TED SPEROS
         State the term remaining      _________________________________________________   1601 TRAPELO ROAD
                                                                                           SUITE 238
         List the contract number of   _________________________________________________   WALTHAM MA 02451
         any government contract


2.10.    Title of contract             MERCHANT SERVICES AGREEMENT                         State the name and mailing address
                                                                                           for all other parties with whom the
         State what the contract or    MERCHANT AGREEMENT                                  debtor has an executory contract or
         lease is for                                                                      unexpired lease
         Nature of debtor's interest   CONTRACT PARTY                                      BANK OF AMERICA
                                                                                           PO BOX 1256
         State the term remaining      2/12/2018                                           ENGLEWOOD CO 80150
         List the contract number of   _________________________________________________
         any government contract


2.11.    Title of contract             MERCHANT SERVICES AGREEMENT                         State the name and mailing address
                                                                                           for all other parties with whom the
         State what the contract or    MERCHANT AGREEMENT                                  debtor has an executory contract or
         lease is for                                                                      unexpired lease
         Nature of debtor's interest   _________________________________________________   BANK OF AMERICA TRANSARMOR
                                                                                           ADDENDUM
         State the term remaining      2/12/2018                                           150 NORTH COLLEGE STREET
                                                                                           15TH FLOOR
         List the contract number of   _________________________________________________   CHARLOTTE NC 28202
         any government contract


2.12.    Title of contract             REAL PROPERTY LEASE AGREEMENT                       State the name and mailing address
                                                                                           for all other parties with whom the
         State what the contract or    REAL PROPERTY LEASE STORE # 31174                   debtor has an executory contract or
         lease is for                                                                      unexpired lease
         Nature of debtor's interest   LESSEE                                              BAYER RETAIL CO LLC
                                                                                           SAM HEIDE GENERAL COUNSEL
         State the term remaining      7/31/18                                             2222 ARLINGTON AVE
                                                                                           BIRMINGHAM AL 35205
         List the contract number of   _________________________________________________
         any government contract


2.13.    Title of contract             PRICING AGREEMENT                                   State the name and mailing address
                                                                                           for all other parties with whom the
         State what the contract or    MEDICAL BENEFITS                                    debtor has an executory contract or
         lease is for                                                                      unexpired lease
         Nature of debtor's interest   EMPLOYER                                            BCBSTX
                                                                                           1800 W. LOOP SOUTH
         State the term remaining      12/31/2017                                          SUITE 600
                                                                                           HOUSTON TX 77027-3279
         List the contract number of   _________________________________________________
         any government contract




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Debtor    MAC ACQUISITION LLC                                                                    Case number (if known) 17-12224

2.14.    Title of contract             REAL PROPERTY LEASE AGREEMENT                       State the name and mailing address
                                                                                           for all other parties with whom the
         State what the contract or    REAL PROPERTY LEASE STORE # 31067                   debtor has an executory contract or
         lease is for                                                                      unexpired lease
         Nature of debtor's interest   LESSEE                                              BEARDEN CHILDRENS TRUST
                                                                                           CC BEARDEN ENTERPRISES
         State the term remaining      1/13/20                                             CASSIE POORE
                                                                                           PO BOX 101717
         List the contract number of   _________________________________________________   FORT WORTH TX 76158
         any government contract


2.15.    Title of contract             OPERATOR NEGOTIATED SUPPLY AGREEMENTS               State the name and mailing address
                                                                                           for all other parties with whom the
         State what the contract or    SUPPLY AGREEMENT                                    debtor has an executory contract or
         lease is for                                                                      unexpired lease
         Nature of debtor's interest   CONTRACT PARTY                                      BELGIOIOSO CHEESE INC
                                                                                           4200 MAIN ST
         State the term remaining      8/30/2017                                           GREEN BAY WI 54311-9614
         List the contract number of   _________________________________________________
         any government contract


2.16.    Title of contract             OPERATOR NEGOTIATED SUPPLY AGREEMENTS               State the name and mailing address
                                                                                           for all other parties with whom the
         State what the contract or    SUPPLY AGREEMENT                                    debtor has an executory contract or
         lease is for                                                                      unexpired lease
         Nature of debtor's interest   CONTRACT PARTY                                      BELGIOIOSO CHEESE INC
                                                                                           4200 MAIN ST
         State the term remaining      9/30/2017                                           GREEN BAY WI 54311-9614
         List the contract number of   _________________________________________________
         any government contract


2.17.    Title of contract             OPERATOR NEGOTIATED SUPPLY AGREEMENTS               State the name and mailing address
                                                                                           for all other parties with whom the
         State what the contract or    SUPPLY AGREEMENT                                    debtor has an executory contract or
         lease is for                                                                      unexpired lease
         Nature of debtor's interest   CONTRACT PARTY                                      BELGIOIOSO CHEESE INC
                                                                                           4200 MAIN ST
         State the term remaining      12/31/2017                                          GREEN BAY WI 54311-9614
         List the contract number of   _________________________________________________
         any government contract


2.18.    Title of contract             REAL PROPERTY LEASE AGREEMENT                       State the name and mailing address
                                                                                           for all other parties with whom the
         State what the contract or    REAL PROPERTY LEASE STORE # 31120                   debtor has an executory contract or
         lease is for                                                                      unexpired lease
         Nature of debtor's interest   LESSEE                                              BELLA TERRA ASSOCIATES LLC
                                                                                           DJM CAPITAL PARTNERS INC
         State the term remaining      1/31/22                                             OLEG F SIVRYUK DIR OF REAL
                                                                                           ESTATE ACCOUNTING
         List the contract number of   _________________________________________________   7777 EDINGER AVE STE 133
         any government contract                                                           HUNTINGTON BEACH CA 92647




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Debtor    MAC ACQUISITION LLC                                                                    Case number (if known) 17-12224

2.19.    Title of contract             REAL PROPERTY LEASE AGREEMENT                       State the name and mailing address
                                                                                           for all other parties with whom the
         State what the contract or    REAL PROPERTY LEASE STORE # 31179                   debtor has an executory contract or
         lease is for                                                                      unexpired lease
         Nature of debtor's interest   LESSEE                                              BILL STUBBS AND CO
                                                                                           RICK RUSSELL
         State the term remaining      8/31/18                                             4216 NORTH PORTLAND AVE STE
                                                                                           101
         List the contract number of   _________________________________________________   OKLAHOMA CITY OK 73112
         any government contract


2.20.    Title of contract             ENGAGEMENT LETTER                                   State the name and mailing address
                                                                                           for all other parties with whom the
         State what the contract or    ENGAGEMENT AGREEMENT                                debtor has an executory contract or
         lease is for                                                                      unexpired lease
         Nature of debtor's interest   CONTRACT PARTY                                      BILZIN SUMBERG
                                                                                           JON CHASSEN
         State the term remaining      _________________________________________________   1450 BRICKELL AVENUE
                                                                                           23RD FLOOR
         List the contract number of   _________________________________________________   MIAMI FL 33131-3456
         any government contract


2.21.    Title of contract             ENGAGEMENT LETTER                                   State the name and mailing address
                                                                                           for all other parties with whom the
         State what the contract or    ENGAGEMENT AGREEMENT                                debtor has an executory contract or
         lease is for                                                                      unexpired lease
         Nature of debtor's interest   CONTRACT PARTY                                      BILZIN SUMBERG- EXPANSION
                                                                                           JON CHASSEN
         State the term remaining      _________________________________________________   1450 BRICKELL AVENUE
                                                                                           23RD FLOOR
         List the contract number of   _________________________________________________   MIAMI FL 33131-3456
         any government contract


2.22.    Title of contract             REAL PROPERTY LEASE AGREEMENT                       State the name and mailing address
                                                                                           for all other parties with whom the
         State what the contract or    REAL PROPERTY LEASE STORE # 90901                   debtor has an executory contract or
         lease is for                                                                      unexpired lease
         Nature of debtor's interest   LESSEE                                              BLK220 LLC
                                                                                           MARK WITKIEWICZ
         State the term remaining      7/31/22                                             1404 LARIMER ST STE 300
                                                                                           DENVER CO 80538
         List the contract number of   _________________________________________________
         any government contract


2.23.    Title of contract             REAL PROPERTY LEASE AGREEMENT                       State the name and mailing address
                                                                                           for all other parties with whom the
         State what the contract or    REAL PROPERTY LEASE STORE # 90901                   debtor has an executory contract or
         lease is for                                                                      unexpired lease
         Nature of debtor's interest   LESSEE                                              BLK220 LLC
                                                                                           MCWHINNEY
         State the term remaining      7/31/22                                             CRHISTINA SONG MOLINARO
                                                                                           2725 ROCKY MOUNTAIN AVE STE
         List the contract number of   _________________________________________________   200
         any government contract                                                           LOVELAND CO 80538




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Debtor    MAC ACQUISITION LLC                                                                    Case number (if known) 17-12224

2.24.    Title of contract             REAL PROPERTY LEASE AGREEMENT                       State the name and mailing address
                                                                                           for all other parties with whom the
         State what the contract or    REAL PROPERTY LEASE STORE # 31314                   debtor has an executory contract or
         lease is for                                                                      unexpired lease
         Nature of debtor's interest   LESSEE                                              BOAS LAGUNA VILLAGE LLC
                                                                                           REGENCY MANAGEMENT
         State the term remaining      3/31/20                                             JEANNE LICARI
                                                                                           15260 VENTURA BLVD STE 1705
         List the contract number of   _________________________________________________   SHERMAN OAKS CA 91403
         any government contract


2.25.    Title of contract             ENGAGEMENT LETTER                                   State the name and mailing address
                                                                                           for all other parties with whom the
         State what the contract or    ENGAGEMENT AGREEMENT                                debtor has an executory contract or
         lease is for                                                                      unexpired lease
         Nature of debtor's interest   CONTRACT PARTY                                      BONE MCALLESTER
                                                                                           ROBERT D. PINSON
         State the term remaining      _________________________________________________   NASHVILLE CITY CENTER, STE 1600
                                                                                           511 UNION ST
         List the contract number of   _________________________________________________   NASHVILLE TN 37219
         any government contract


2.26.    Title of contract             SYSCO OPERATOR NEGOTIATED SUPPLIER AGREEMENT        State the name and mailing address
                                                                                           for all other parties with whom the
         State what the contract or    SYSCO CORE                                          debtor has an executory contract or
         lease is for                                                                      unexpired lease
         Nature of debtor's interest   _________________________________________________   BRAKEBUSH
                                                                                           BRAKEBUSH
         State the term remaining      6/30/2017                                           BRAKEBUSH BROTHERS, INC.
                                                                                           N4993 6TH DR
         List the contract number of   _________________________________________________   WESTFIELD WI 53964-8200
         any government contract


2.27.    Title of contract             OPERATOR NEGOTIATED SUPPLIER AGREEMENT              State the name and mailing address
                                                                                           for all other parties with whom the
         State what the contract or    SUPPLIER AGREEMENT                                  debtor has an executory contract or
         lease is for                                                                      unexpired lease
         Nature of debtor's interest   CONTRACT PARTY                                      BRAKEBUSH 1
                                                                                           BRAKEBUSH 1
         State the term remaining      12/31/2017                                          BRAKEBUSH BROTHERS, INC.
                                                                                           N4993 6TH DR
         List the contract number of   _________________________________________________   WESTFIELD WI 53964-8200
         any government contract


2.28.    Title of contract             OPERATOR NEGOTIATED SUPPLIER AGREEMENT              State the name and mailing address
                                                                                           for all other parties with whom the
         State what the contract or    SUPPLIER AGREEMENT                                  debtor has an executory contract or
         lease is for                                                                      unexpired lease
         Nature of debtor's interest   CONTRACT PARTY                                      BRAKEBUSH 2
                                                                                           BRAKEBUSH 2
         State the term remaining      12/31/2017                                          BRAKEBUSH BROTHERS, INC.
                                                                                           N4993 6TH DR
         List the contract number of   _________________________________________________   WESTFIELD WI 53964-8200
         any government contract




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2.29.    Title of contract             REAL PROPERTY LEASE AGREEMENT                       State the name and mailing address
                                                                                           for all other parties with whom the
         State what the contract or    REAL PROPERTY LEASE STORE # 31268                   debtor has an executory contract or
         lease is for                                                                      unexpired lease
         Nature of debtor's interest   LESSEE                                              BRE RC LAS PALMAS MP TX LP
                                                                                           LINDA MADWAY
         State the term remaining      10/31/22                                            307 FELLOWSHIP RD STE 116
                                                                                           MOUNT LAUREL NJ 08054
         List the contract number of   _________________________________________________
         any government contract


2.30.    Title of contract             REAL PROPERTY LEASE AGREEMENT                       State the name and mailing address
                                                                                           for all other parties with whom the
         State what the contract or    REAL PROPERTY LEASE STORE # 31234                   debtor has an executory contract or
         lease is for                                                                      unexpired lease
         Nature of debtor's interest   LESSEE                                              BRE RETAIL RESIDUAL OWNER 1
                                                                                           LLC
         State the term remaining      5/31/21                                             OFFICE OF GENERAL COUNSEL
                                                                                           PROPERTY
         List the contract number of   _________________________________________________   CHRISTOPHER BISHOP ASSOC
         any government contract                                                           GENERAL COUNSEL
                                                                                           420 LEXINGTON AVE 7TH FL
                                                                                           NEW YORK NY 10170


2.31.    Title of contract             REAL PROPERTY LEASE AGREEMENT                       State the name and mailing address
                                                                                           for all other parties with whom the
         State what the contract or    REAL PROPERTY LEASE STORE # 31234                   debtor has an executory contract or
         lease is for                                                                      unexpired lease
         Nature of debtor's interest   LESSEE                                              BRE RETAIL RESIDUAL OWNER 1
                                                                                           LLC
         State the term remaining      5/31/21                                             LEGAL COUNSEL
                                                                                           40 SKOKIE BLVD STE 600
         List the contract number of   _________________________________________________   NORTHBROOK IL 60062
         any government contract


2.32.    Title of contract             REAL PROPERTY LEASE AGREEMENT                       State the name and mailing address
                                                                                           for all other parties with whom the
         State what the contract or    REAL PROPERTY LEASE STORE # 31141                   debtor has an executory contract or
         lease is for                                                                      unexpired lease
         Nature of debtor's interest   LESSEE                                              BRIARWOOD LLC
                                                                                           SIMON PROPERTY GROUP
         State the term remaining      9/14/21                                             IDA HENDRIX PROPERTY MANAGER
                                                                                           225 W WASHINGTON ST
         List the contract number of   _________________________________________________   INDIANAPOLIS IN 46204
         any government contract


2.33.    Title of contract             REAL PROPERTY LEASE AGREEMENT                       State the name and mailing address
                                                                                           for all other parties with whom the
         State what the contract or    REAL PROPERTY LEASE STORE # 31050                   debtor has an executory contract or
         lease is for                                                                      unexpired lease
         Nature of debtor's interest   LESSEE                                              BRINKER ARKANSAS INC
                                                                                           GENERAL COUNSEL
         State the term remaining      10/31/22                                            DENISE MOORE VP PROPERTY
                                                                                           MNGMT
         List the contract number of   _________________________________________________   6820 LBJ FWY
         any government contract                                                           DALLAS TX 75240




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Debtor    MAC ACQUISITION LLC                                                                    Case number (if known) 17-12224

2.34.    Title of contract             GIFT CARD AGREEMENT                                 State the name and mailing address
                                                                                           for all other parties with whom the
         State what the contract or    GIFT CARD AGREEMENT                                 debtor has an executory contract or
         lease is for                                                                      unexpired lease
         Nature of debtor's interest   _________________________________________________   BRINKER INTERNATIONAL
                                                                                           6820 LBJ FREEWAY
         State the term remaining      12/18/2011                                          DALLAS TX 75240
         List the contract number of   _________________________________________________
         any government contract


2.35.    Title of contract             GIFT CARD AGREEMENT                                 State the name and mailing address
                                                                                           for all other parties with whom the
         State what the contract or    GIFT CARD AGREEMENT                                 debtor has an executory contract or
         lease is for                                                                      unexpired lease
         Nature of debtor's interest   _________________________________________________   BRINKER INTERNATIONAL
                                                                                           EXTENSION
         State the term remaining      12/24/2014                                          6820 LBJ FREEWAY
                                                                                           DALLAS TX 75240
         List the contract number of   _________________________________________________
         any government contract


2.36.    Title of contract             GIFT CARD AGREEMENT                                 State the name and mailing address
                                                                                           for all other parties with whom the
         State what the contract or    GIFT CARD AGREEMENT                                 debtor has an executory contract or
         lease is for                                                                      unexpired lease
         Nature of debtor's interest   _________________________________________________   BRINKER INTERNATIONAL
                                                                                           EXTENSION 2
         State the term remaining      3/31/2017                                           6820 LBJ FREEWAY
                                                                                           DALLAS TX 75240
         List the contract number of   _________________________________________________
         any government contract


2.37.    Title of contract             GIFT CARD AGREEMENT                                 State the name and mailing address
                                                                                           for all other parties with whom the
         State what the contract or    GIFT CARD AGREEMENT                                 debtor has an executory contract or
         lease is for                                                                      unexpired lease
         Nature of debtor's interest   _________________________________________________   BRINKER INTERNATIONAL
                                                                                           EXTENSION 3
         State the term remaining      6/30/2017                                           6820 LBJ FREEWAY
                                                                                           DALLAS TX 75240
         List the contract number of   _________________________________________________
         any government contract


2.38.    Title of contract             REAL PROPERTY SUBLEASE AGREEMENT                    State the name and mailing address
                                                                                           for all other parties with whom the
         State what the contract or    REAL PROPERTY LEASE STORE # 31084                   debtor has an executory contract or
         lease is for                                                                      unexpired lease
         Nature of debtor's interest   LESSEE                                              BRINKER LOUISIANA INC
                                                                                           GENERAL COUNSEL 001009085
         State the term remaining      10/31/21                                            DENISE MOORE VP PROPERTY
                                                                                           MNGMT
         List the contract number of   _________________________________________________   6820 LBJ FWY
         any government contract                                                           DALLAS TX 75240




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2.39.    Title of contract             REAL PROPERTY LEASE AGREEMENT                        State the name and mailing address
                                                                                            for all other parties with whom the
         State what the contract or    REAL PROPERTY LEASE STORE # 31053                    debtor has an executory contract or
         lease is for                                                                       unexpired lease
         Nature of debtor's interest   LESSEE                                               BRINKER MICHIGAN INC
                                                                                            GENERAL COUNSEL
         State the term remaining      10/31/22                                             DENISE MOORE VP PROPERTY
                                                                                            MNGMT
         List the contract number of   _________________________________________________    6820 LBJ FWY
         any government contract                                                            DALLAS TX 75240


2.40.    Title of contract             REAL PROPERTY LEASE AGREEMENT                        State the name and mailing address
                                                                                            for all other parties with whom the
         State what the contract or    REAL PROPERTY LEASE STORE # 31115                    debtor has an executory contract or
         lease is for                                                                       unexpired lease
         Nature of debtor's interest   LESSEE                                               BRINKER NORTH CAROLINA INC
                                                                                            GENERAL COUNSEL
         State the term remaining      10/31/22                                             DENISE MOORE VP PROPERTY
                                                                                            MNGMT
         List the contract number of   _________________________________________________    6820 LBJ FWY
         any government contract                                                            DALLAS TX 75240


2.41.    Title of contract             REAL PROPERTY LEASE AGREEMENT                        State the name and mailing address
                                                                                            for all other parties with whom the
         State what the contract or    REAL PROPERTY LEASE STORE # 31037, 31045, 31131      debtor has an executory contract or
         lease is for                                                                       unexpired lease
         Nature of debtor's interest   LESSEE                                               BRINKER TEXAS INC
                                                                                            GENERAL COUNSEL
         State the term remaining      10/31/22                                             DENISE MOORE VP PROPERTY
                                                                                            MNGMT
         List the contract number of   _________________________________________________    6820 LBJ FWY
         any government contract                                                            DALLAS TX 75240


2.42.    Title of contract             REAL PROPERTY LEASE AGREEMENT                        State the name and mailing address
                                                                                            for all other parties with whom the
         State what the contract or    REAL PROPERTY LEASE STORE # 31195                    debtor has an executory contract or
         lease is for                                                                       unexpired lease
         Nature of debtor's interest   LESSEE                                               BRIXMOR WOLFCREEK
                                                                                            OUTPARCEL OWNER
         State the term remaining      12/31/28                                             BRIXMOR PROPERTY GROUP
                                                                                            ROBERT DELIZZIO/PROPERTY
         List the contract number of   _________________________________________________    COLLECTOR
         any government contract                                                            PO BOX 645349
                                                                                            CINCINNATTI OH 45264-5349


2.43.    Title of contract             REAL PROPERTY LEASE AGREEMENT                        State the name and mailing address
                                                                                            for all other parties with whom the
         State what the contract or    REAL PROPERTY LEASE STORE # 31287                    debtor has an executory contract or
         lease is for                                                                       unexpired lease
         Nature of debtor's interest   LESSEE                                               BRIXTON SHERWOOD LLC
                                                                                            CRAIG PETTITT
         State the term remaining      1/31/19                                              120 S SIERRA AVE STE 200
                                                                                            SOLANA BEACH CA 92014
         List the contract number of   _________________________________________________
         any government contract




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2.44.    Title of contract             CAA-GBG FEE LETTER                                  State the name and mailing address
                                                                                           for all other parties with whom the
         State what the contract or    LICENSE                                             debtor has an executory contract or
         lease is for                                                                      unexpired lease
         Nature of debtor's interest   CONTRACT PARTY                                      CAA-GBG GLOBAL BRAND
                                                                                           MANAGEMENT
         State the term remaining      10/11/2020                                          2000 AVENUE OF THE STARS
                                                                                           LOS ANGELES CA 90067
         List the contract number of   _________________________________________________
         any government contract


2.45.    Title of contract             REAL PROPERTY LEASE AGREEMENT                       State the name and mailing address
                                                                                           for all other parties with whom the
         State what the contract or    REAL PROPERTY LEASE STORE # 31301                   debtor has an executory contract or
         lease is for                                                                      unexpired lease
         Nature of debtor's interest   LESSEE                                              CASAS ADOBES BAPTIST CHURCH
                                                                                           CUSHMAN AND WAKEFIELD/PICOR
         State the term remaining      12/31/18                                            DANA ELCESS PROPERTY
                                                                                           MANAGER
         List the contract number of   _________________________________________________   1100 N WILMOT STE 200
         any government contract                                                           TUCSON AZ 85712


2.46.    Title of contract             REAL PROPERTY LEASE AGREEMENT                       State the name and mailing address
                                                                                           for all other parties with whom the
         State what the contract or    REAL PROPERTY LEASE STORE # 31294                   debtor has an executory contract or
         lease is for                                                                      unexpired lease
         Nature of debtor's interest   LESSEE                                              CASTLE AND COOKE CORONA INC
                                                                                           LAURA WHITAKER
         State the term remaining      12/31/18                                            DARLENE CARPENTER
                                                                                           10000 STOCKDALE HWY STE 300
         List the contract number of   _________________________________________________   BAKERSFIELD CA 93311
         any government contract


2.47.    Title of contract             REAL PROPERTY LEASE AGREEMENT                       State the name and mailing address
                                                                                           for all other parties with whom the
         State what the contract or    REAL PROPERTY LEASE STORE # 31294                   debtor has an executory contract or
         lease is for                                                                      unexpired lease
         Nature of debtor's interest   LESSEE                                              CASTLE AND COOKE
                                                                                           DEVELOPMENT
         State the term remaining      12/31/18                                            KAY WILSON
                                                                                           PROPERTY MANAGER
         List the contract number of   _________________________________________________   2470 TUSCANY ST STE 104
         any government contract                                                           CORONA CA 92881


2.48.    Title of contract             REAL PROPERTY LEASE AGREEMENT                       State the name and mailing address
                                                                                           for all other parties with whom the
         State what the contract or    REAL PROPERTY LEASE STORE # 31273, 31266            debtor has an executory contract or
         lease is for                                                                      unexpired lease
         Nature of debtor's interest   LESSEE                                              CBL AND ASSOCIATES
                                                                                           MANAGEMENT INC
         State the term remaining      06/30/23                                            CBL AND ASSOCIATES
                                                                                           PROPERTIES
         List the contract number of   _________________________________________________   JEFF CURRY CHIEF LEGAL
         any government contract                                                           OFFICER
                                                                                           2030 HAMILTON PL BLVD CBL CTR
                                                                                           STE 500
                                                                                           CHATTANOOGA TN 37421




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2.49.    Title of contract             REAL PROPERTY SUBLEASE AGREEMENT                    State the name and mailing address
                                                                                           for all other parties with whom the
         State what the contract or    REAL PROPERTY LEASE STORE # 31171                   debtor has an executory contract or
         lease is for                                                                      unexpired lease
         Nature of debtor's interest   LESSEE                                              CENTENNIAL LAKES GRILL LLC
                                                                                           UNITED PROPERTIES INVESTMENT
         State the term remaining      12/31/18                                            LLC
                                                                                           EVA STEVENS EXE VP ASSET
         List the contract number of   _________________________________________________   MNGMT
         any government contract                                                           3600 AMERICAN BLVD WEST STE
                                                                                           750
                                                                                           BLOOMINGTON MN 55431


2.50.    Title of contract             REAL PROPERTY LEASE AGREEMENT                       State the name and mailing address
                                                                                           for all other parties with whom the
         State what the contract or    REAL PROPERTY LEASE STORE # 31108                   debtor has an executory contract or
         lease is for                                                                      unexpired lease
         Nature of debtor's interest   LESSEE                                              CENTRAL REALTY CORP
                                                                                           TODD HARDAWAY VP LEASING AND
         State the term remaining      2/28/21                                             PROP MNGT
                                                                                           PO BOX 1805 400 EAST STONE AVE
         List the contract number of   _________________________________________________   GREENVILLE SC 29602
         any government contract


2.51.    Title of contract             REAL PROPERTY LEASE AGREEMENT                       State the name and mailing address
                                                                                           for all other parties with whom the
         State what the contract or    REAL PROPERTY LEASE STORE # 31197                   debtor has an executory contract or
         lease is for                                                                      unexpired lease
         Nature of debtor's interest   LESSEE                                              CERRITOS GARP LLC
                                                                                           FELECIA SERRA DIRECTOR OF
         State the term remaining      9/30/19                                             PROPERTY
                                                                                           977 LOMAS SANTA FE DR STE A
         List the contract number of   _________________________________________________   SOLANA BEACH CA 92075
         any government contract


2.52.    Title of contract             OPERATOR NEGOTIATED SUPPLY AGREEMENTS               State the name and mailing address
                                                                                           for all other parties with whom the
         State what the contract or    SUPPLY AGREEMENT                                    debtor has an executory contract or
         lease is for                                                                      unexpired lease
         Nature of debtor's interest   CONTRACT PARTY                                      CERTI FRESH FOODS INC
                                                                                           842 FLINT AVE
         State the term remaining      7/31/2018                                           WILMINGTON CA 90744
         List the contract number of   _________________________________________________
         any government contract


2.53.    Title of contract             OPERATOR NEGOTIATED SUPPLY AGREEMENTS               State the name and mailing address
                                                                                           for all other parties with whom the
         State what the contract or    SUPPLY AGREEMENT                                    debtor has an executory contract or
         lease is for                                                                      unexpired lease
         Nature of debtor's interest   CONTRACT PARTY                                      CHICKEN OF THE SEA INTL
                                                                                           PO BOX 91943
         State the term remaining      12/31/2017                                          CHICAGO IL 60693-1943
         List the contract number of   _________________________________________________
         any government contract




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2.54.    Title of contract             ENGAGEMENT LETTER                                   State the name and mailing address
                                                                                           for all other parties with whom the
         State what the contract or    ENGAGEMENT AGREEMENT                                debtor has an executory contract or
         lease is for                                                                      unexpired lease
         Nature of debtor's interest   CONTRACT PARTY                                      CHRISTENSEN & JENSEN
                                                                                           TANNER STRICKLAND LENART
         State the term remaining      _________________________________________________   257 EAST 200 SOUTH
                                                                                           STE 1100
         List the contract number of   _________________________________________________   SALT LAKE CITY UT 84111
         any government contract


2.55.    Title of contract             CONFIDENTIALITY AGREEMENT                           State the name and mailing address
                                                                                           for all other parties with whom the
         State what the contract or    CONFIDENTIALITY AGREEMENT                           debtor has an executory contract or
         lease is for                                                                      unexpired lease
         Nature of debtor's interest   CONTRACT PARTY                                      CHRISTINE OLAH
                                                                                           ACCOUNTEMPS
         State the term remaining      _________________________________________________   1125 17TH STREET
                                                                                           SUITE 870
         List the contract number of   _________________________________________________   DENVER CO 80202
         any government contract


2.56.    Title of contract             AGREEMENT                                           State the name and mailing address
                                                                                           for all other parties with whom the
         State what the contract or    _________________________________________________   debtor has an executory contract or
         lease is for                                                                      unexpired lease
         Nature of debtor's interest   CONTRACT PARTY                                      CITY OF DENVER
                                                                                           MAYOR'S OFFICE
         State the term remaining      12/31/2018                                          1437 N. BANNOCK, ROOM 350
                                                                                           DENVER CO 80202
         List the contract number of   _________________________________________________
         any government contract


2.57.    Title of contract             CLASS INFORMATION SYSTEMS, INC.                     State the name and mailing address
                                                                                           for all other parties with whom the
         State what the contract or    BANK                                                debtor has an executory contract or
         lease is for                                                                      unexpired lease
         Nature of debtor's interest   CONTRACT PARTY                                      CLASS INFORMATION SYSTEMS,
                                                                                           INC.
         State the term remaining      1/9/2018                                            12444 POWERSCOURT DRIVE,
                                                                                           SUITE 550
         List the contract number of   _________________________________________________   ST. LOUIS MO 63131
         any government contract


2.58.    Title of contract             REAL PROPERTY SUBLEASE AGREEMENT                    State the name and mailing address
                                                                                           for all other parties with whom the
         State what the contract or    REAL PROPERTY LEASE STORE # 31272                   debtor has an executory contract or
         lease is for                                                                      unexpired lease
         Nature of debtor's interest   LESSEE                                              COLE MG OB MT LAUREL NJ LLC
                                                                                           AMERICAN REALTY CAPITAL
         State the term remaining      6/30/30                                             PROPERTIES
                                                                                           LEGAL DEPT
         List the contract number of   _________________________________________________   REGIONAL MANAGER TONIA JONES
         any government contract                                                           2325 E CAMELBACK RD STE 1100
                                                                                           PHOENIX AZ 85016




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2.59.    Title of contract             MUTUAL CONFIDENTIALITY AGREEMENT                    State the name and mailing address
                                                                                           for all other parties with whom the
         State what the contract or    CONFIDENTIALITY AGREEMENT                           debtor has an executory contract or
         lease is for                                                                      unexpired lease
         Nature of debtor's interest   CONTRACT PARTY                                      CONTINENTAL MILLS
                                                                                           STEVE WOODSIDE
         State the term remaining      9/28/2018                                           DIRECTOR OF MARKETING AND
                                                                                           SALES OPERATIONS
         List the contract number of   _________________________________________________   18100 ANDOVER PARK W.
         any government contract                                                           TUKWILLA WA 98188


2.60.    Title of contract             REAL PROPERTY LEASE AGREEMENT                       State the name and mailing address
                                                                                           for all other parties with whom the
         State what the contract or    REAL PROPERTY LEASE STORE # 31286                   debtor has an executory contract or
         lease is for                                                                      unexpired lease
         Nature of debtor's interest   LESSEE                                              COX CASTLE AND NICHOLSON LLP
                                                                                           GARY GLICK ESQ
         State the term remaining      12/31/22                                            2049 CENTURY PK EAST STE 2800
                                                                                           LOS ANGELES CA 90067
         List the contract number of   _________________________________________________
         any government contract


2.61.    Title of contract             REAL PROPERTY LEASE AGREEMENT                       State the name and mailing address
                                                                                           for all other parties with whom the
         State what the contract or    REAL PROPERTY LEASE STORE # 31299                   debtor has an executory contract or
         lease is for                                                                      unexpired lease
         Nature of debtor's interest   LESSEE                                              CP VENTURE FIVE AWC LLC
                                                                                           LENNAR COMMERCIAL SVC LLC
         State the term remaining      12/31/18                                            LEASE ADMINISTRATOR
                                                                                           VICKIE BOCK REGIONAL GM
         List the contract number of   _________________________________________________   7000 CENTRAL PKWY NE STE 700
         any government contract                                                           ATLANTA GA 30328


2.62.    Title of contract             MUTUAL CONFIDENTIALITY AGREEMENT                    State the name and mailing address
                                                                                           for all other parties with whom the
         State what the contract or    CONFIDENTIALITY AGREEMENT                           debtor has an executory contract or
         lease is for                                                                      unexpired lease
         Nature of debtor's interest   CONTRACT PARTY                                      CRUNCHTIME
                                                                                           129 PORTLAND ST
         State the term remaining      _________________________________________________   BOSTON MA 02114
         List the contract number of   _________________________________________________
         any government contract


2.63.    Title of contract             SOFTWARE AS A SERVICE LICENSE AND CLOUD ACCESS      State the name and mailing address
                                       AGREEMENT                                           for all other parties with whom the
                                                                                           debtor has an executory contract or
         State what the contract or    SOFTWARE LICENSE AND ACCESS AGREEMENT               unexpired lease
         lease is for
                                                                                           CUSTOMER BUSINESS
         Nature of debtor's interest   CONTRACT PARTY                                      ARTHUR JULIAN
                                                                                           CEO
         State the term remaining      6/28/2018                                           12 MORGAN
                                                                                           IRVINE CA 02114
         List the contract number of   _________________________________________________
         any government contract




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2.64.    Title of contract             REAL PROPERTY LEASE AGREEMENT                       State the name and mailing address
                                                                                           for all other parties with whom the
         State what the contract or    REAL PROPERTY LEASE STORE # 31345                   debtor has an executory contract or
         lease is for                                                                      unexpired lease
         Nature of debtor's interest   LESSEE                                              CWSOVIEDO DEVELOPMENT LLC
                                                                                           CWS DEVELOPMENT LLC
         State the term remaining      12/31/22                                            CARL W SAHLSTEN MANAGING
                                                                                           MEMBER
         List the contract number of   _________________________________________________   12302 MARBLEHEAD DR
         any government contract                                                           TAMPA FL 33626


2.65.    Title of contract             REAL PROPERTY LEASE AGREEMENT                       State the name and mailing address
                                                                                           for all other parties with whom the
         State what the contract or    REAL PROPERTY LEASE STORE # 31286                   debtor has an executory contract or
         lease is for                                                                      unexpired lease
         Nature of debtor's interest   LESSEE                                              DAN KREMERS MD ATKINSON CO
                                                                                           INC
         State the term remaining      12/31/22                                            DAN KREMERS
                                                                                           1401 19TH ST STE 400
         List the contract number of   _________________________________________________   BAKERSFIELD CA 93301
         any government contract


2.66.    Title of contract             REAL PROPERTY LEASE AGREEMENT                       State the name and mailing address
                                                                                           for all other parties with whom the
         State what the contract or    REAL PROPERTY LEASE STORE # 31340                   debtor has an executory contract or
         lease is for                                                                      unexpired lease
         Nature of debtor's interest   LESSEE                                              DDR WINTER GARDEN LLC
                                                                                           1 EXECUTIVE VP LEASING 2
         State the term remaining      11/30/22                                            GENERAL COUNSEL
                                                                                           RICHARD FORREST OPERATIONS
         List the contract number of   _________________________________________________   MANAGER
         any government contract                                                           3300 ENTERPRISE PKWY
                                                                                           BEACHWOOD OH 44122


2.67.    Title of contract             REAL PROPERTY LEASE AGREEMENT                       State the name and mailing address
                                                                                           for all other parties with whom the
         State what the contract or    REAL PROPERTY LEASE STORE # 31178                   debtor has an executory contract or
         lease is for                                                                      unexpired lease
         Nature of debtor's interest   LESSEE                                              DDRA COMMUNITY CENTERS
                                                                                           EITHER LP
         State the term remaining      1/31/19                                             DEVELOPERS DIVERSIFIED REALTY
                                                                                           CORPORATION
         List the contract number of   _________________________________________________   BRYAN STONE ASSOCIATE
         any government contract                                                           ATTORNEY
                                                                                           3300 ENTERPRISE PKWY
                                                                                           BEACHWOOD OH 44122


2.68.    Title of contract             REAL PROPERTY LEASE AGREEMENT                       State the name and mailing address
                                                                                           for all other parties with whom the
         State what the contract or    REAL PROPERTY LEASE STORE # 31167                   debtor has an executory contract or
         lease is for                                                                      unexpired lease
         Nature of debtor's interest   LESSEE                                              DENVER WEST MILLS LP
                                                                                           C O SIMON PROPERTY GROUP INC
         State the term remaining      1/31/23                                             MIKE FREESE ASST GENERAL
                                                                                           COUNSEL
         List the contract number of   _________________________________________________   225 WEST WASHINGTON ST
         any government contract                                                           INDIANAPOLIS IN 46204




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2.69.    Title of contract             REAL PROPERTY LEASE AGREEMENT                       State the name and mailing address
                                                                                           for all other parties with whom the
         State what the contract or    REAL PROPERTY LEASE STORE # 31167                   debtor has an executory contract or
         lease is for                                                                      unexpired lease
         Nature of debtor's interest   LESSEE                                              DENVER WEST MILLS LP
                                                                                           SIMON PROPERTY GROUP
         State the term remaining      1/31/23                                             MELISSA A BREEDEN COUNSEL
                                                                                           225 W WASHINGTON ST
         List the contract number of   _________________________________________________   INDIANAPOLIS IN 46204
         any government contract


2.70.    Title of contract             CORPORATE DINING RESTAURANT AGREEMENT               State the name and mailing address
                                                                                           for all other parties with whom the
         State what the contract or    DINING AGREEMENT                                    debtor has an executory contract or
         lease is for                                                                      unexpired lease
         Nature of debtor's interest   CONTRACT PARTY                                      DINOVA
                                                                                           NANCY LAWSON
         State the term remaining      9/30/2017                                           VP OPERATIONS
                                                                                           11950 JONES RIDGE RD
         List the contract number of   _________________________________________________   STE115-117
         any government contract                                                           JOHNS CREEK GA 30005


2.71.    Title of contract             COMMERCIAL CUSTOMER AGREEMENT                       State the name and mailing address
                                                                                           for all other parties with whom the
         State what the contract or    CUSTOMER AGREEMENT                                  debtor has an executory contract or
         lease is for                                                                      unexpired lease
         Nature of debtor's interest   CONTRACT PARTY                                      DIRECTV
                                                                                           DIRECTTV, LLC
         State the term remaining      9/15/2018                                           BUSINESS SERVICE CENTER
                                                                                           PO BOX 410347
         List the contract number of   _________________________________________________   CHARLOTTE NC 28241
         any government contract


2.72.    Title of contract             COMMERCIAL CUSTOMER AGREEMENT                       State the name and mailing address
                                                                                           for all other parties with whom the
         State what the contract or    TELEPHONE                                           debtor has an executory contract or
         lease is for                                                                      unexpired lease
         Nature of debtor's interest   CONTRACT PARTY                                      DIRECTV
                                                                                           DIRECTV 008743641
         State the term remaining      9/15/2018                                           PO BOX 105249
                                                                                           ATLANTA GA 30348-5249
         List the contract number of   _________________________________________________
         any government contract


2.73.    Title of contract             COMMERCIAL CUSTOMER AGREEMENT                       State the name and mailing address
                                                                                           for all other parties with whom the
         State what the contract or    SUPPLY AGREEMENT                                    debtor has an executory contract or
         lease is for                                                                      unexpired lease
         Nature of debtor's interest   CONTRACT PARTY                                      DIRECTV 1ST AMENDMENT
                                                                                           DIRECTTV, LLC
         State the term remaining      9/6/2021                                            BUSINESS SERVICE CENTER
                                                                                           PO BOX 410347
         List the contract number of   _________________________________________________   CHARLOTTE NC 28241
         any government contract




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2.74.    Title of contract             COMMERCIAL CUSTOMER AGREEMENT                       State the name and mailing address
                                                                                           for all other parties with whom the
         State what the contract or    TELEPHONE                                           debtor has an executory contract or
         lease is for                                                                      unexpired lease
         Nature of debtor's interest   CONTRACT PARTY                                      DIRECTV 1ST AMENDMENT
                                                                                           DIRECTV 008743641
         State the term remaining      9/6/2021                                            PO BOX 105249
                                                                                           ATLANTA GA 30348-5249
         List the contract number of   _________________________________________________
         any government contract


2.75.    Title of contract             REAL PROPERTY LEASE AGREEMENT                       State the name and mailing address
                                                                                           for all other parties with whom the
         State what the contract or    REAL PROPERTY LEASE STORE # 31257                   debtor has an executory contract or
         lease is for                                                                      unexpired lease
         Nature of debtor's interest   LESSEE                                              DONAHUE SCHRIBER REALTY
                                                                                           GROUP LP
         State the term remaining      11/30/18                                            KAREN J FINKE
                                                                                           PROPERTY MANAGER
         List the contract number of   _________________________________________________   8020 EAST SANTA ANA CANYON RD
         any government contract                                                           ANAHEIM CA 92808


2.76.    Title of contract             DELIVERY & PROMOTION AGREEMENT                      State the name and mailing address
                                                                                           for all other parties with whom the
         State what the contract or    SERVICES AGREEMENT                                  debtor has an executory contract or
         lease is for                                                                      unexpired lease
         Nature of debtor's interest   CONTRACT PARTY                                      DOORDASH
                                                                                           901 MARKET ST
         State the term remaining      _________________________________________________   STE 600
                                                                                           SAN FRANCISCO CA 94103
         List the contract number of   _________________________________________________
         any government contract


2.77.    Title of contract             LICENSE PURCHASE AND SALE AGREEMENT                 State the name and mailing address
                                                                                           for all other parties with whom the
         State what the contract or    LICENSE AND SALE AGREEMENT                          debtor has an executory contract or
         lease is for                                                                      unexpired lease
         Nature of debtor's interest   CONTRACT PARTY                                      EDDIE V'S HOLDINGS, LLC
                                                                                           1000 DARDEN CENTER DRIVE
         State the term remaining      3/31/2018                                           ORLANDO FL 32837
         List the contract number of   _________________________________________________
         any government contract


2.78.    Title of contract             DISTRIBUTION AGREEMENT                              State the name and mailing address
                                                                                           for all other parties with whom the
         State what the contract or    DISTRIBUTION AGREEMENT                              debtor has an executory contract or
         lease is for                                                                      unexpired lease
         Nature of debtor's interest   CONTRACT PARTY                                      EDWARD DON & COMPANY
                                                                                           VP NATIONAL ACCOUNTS
         State the term remaining      7/29/2021                                           9801 ADAM DON PARKWAY
                                                                                           WOODRIDGE IL 60517
         List the contract number of   _________________________________________________
         any government contract




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2.79.    Title of contract             ENGAGEMENT LETTER                                   State the name and mailing address
                                                                                           for all other parties with whom the
         State what the contract or    ENGAGEMENT AGREEMENT                                debtor has an executory contract or
         lease is for                                                                      unexpired lease
         Nature of debtor's interest   CONTRACT PARTY                                      EPSTEIN BECKER GREEN
                                                                                           MICHAEL KUN
         State the term remaining      _________________________________________________   1925 CENTURY PARK EAST
                                                                                           STE 500
         List the contract number of   _________________________________________________   LOS ANGELES CA 90067
         any government contract


2.80.    Title of contract             INSURANCE                                           State the name and mailing address
                                                                                           for all other parties with whom the
         State what the contract or    INSURANCE - EXCESS FLOOD                            debtor has an executory contract or
         lease is for                                                                      unexpired lease
         Nature of debtor's interest   INSURED                                             EVANSTON INSURANCE COMPANY
                                                                                           10 PARKWAY NORTH
         State the term remaining      _________________________________________________   DEERFIELD IL 60015
         List the contract number of   _________________________________________________
         any government contract


2.81.    Title of contract             MEETING AGREEMENT                                   State the name and mailing address
                                                                                           for all other parties with whom the
         State what the contract or    _________________________________________________   debtor has an executory contract or
         lease is for                                                                      unexpired lease
         Nature of debtor's interest   CONTRACT PARTY                                      EVENT TRAVEL MANAGEMENT
                                                                                           4500 CHERRY CREEK DRIVE SOUTH
         State the term remaining      6/22/2017                                           STE 900
                                                                                           GLENDALE CO 80246
         List the contract number of   _________________________________________________
         any government contract


2.82.    Title of contract             REAL PROPERTY LEASE AGREEMENT                       State the name and mailing address
                                                                                           for all other parties with whom the
         State what the contract or    REAL PROPERTY LEASE STORE # 31285                   debtor has an executory contract or
         lease is for                                                                      unexpired lease
         Nature of debtor's interest   LESSEE                                              EWH ESCONDIDO ASSOCIATES LP
                                                                                           C O WESTFIELD CORP INC
         State the term remaining      4/30/23                                             DAMIEN OSIP GENERAL MANAGER
                                                                                           11601 WILSHIRE BLVD 12TH FL
         List the contract number of   _________________________________________________   LOS ANGELES CA 90025
         any government contract


2.83.    Title of contract             NON-DISCLOSURE AGREEMENT                            State the name and mailing address
                                                                                           for all other parties with whom the
         State what the contract or    CONFIDENTIALITY AGREEMENT                           debtor has an executory contract or
         lease is for                                                                      unexpired lease
         Nature of debtor's interest   CONTRACT PARTY                                      FALCON REALTY ADVISORS LLC
                                                                                           16000 DALLAS PKWY
         State the term remaining      _________________________________________________   STE 225
                                                                                           DALLAS TX 75248
         List the contract number of   _________________________________________________
         any government contract




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Debtor    MAC ACQUISITION LLC                                                                    Case number (if known) 17-12224

2.84.    Title of contract             INSURANCE                                           State the name and mailing address
                                                                                           for all other parties with whom the
         State what the contract or    INSURANCE - D&O, FIDUCIARY, EMPLOYMENT              debtor has an executory contract or
         lease is for                  PRACTICES, CRIME & OTHER INDEMNITY                  unexpired lease
         Nature of debtor's interest   INSURED                                             FEDERAL INSURANCE COMPANY
                                                                                           CAPITAL CENTER
         State the term remaining      _________________________________________________   251 NORTH ILLINOIS, SUITE 1100
                                                                                           INDIANAPOLIS IN 46204-1927
         List the contract number of   _________________________________________________
         any government contract


2.85.    Title of contract             INSURANCE                                           State the name and mailing address
                                                                                           for all other parties with whom the
         State what the contract or    INSURANCE - EXCESS LIABILTIY                        debtor has an executory contract or
         lease is for                                                                      unexpired lease
         Nature of debtor's interest   INSURED                                             FIREMAN'S FUND
                                                                                           NATIONAL SURETY CORP 07
         State the term remaining      _________________________________________________   CHICAGO IL 60603
         List the contract number of   _________________________________________________
         any government contract


2.86.    Title of contract             REAL PROPERTY LEASE AGREEMENT                       State the name and mailing address
                                                                                           for all other parties with whom the
         State what the contract or    REAL PROPERTY LEASE STORE # 31199                   debtor has an executory contract or
         lease is for                                                                      unexpired lease
         Nature of debtor's interest   LESSEE                                              FIRST MICHIGAN MAC ASSOCIATES
                                                                                           LLC
         State the term remaining      12/17/28                                            RAJA KHANNA
                                                                                           80 NASHUA RD STE 24
         List the contract number of   _________________________________________________   LONDONDERRY NH 03053
         any government contract


2.87.    Title of contract             ENGAGEMENT LETTER                                   State the name and mailing address
                                                                                           for all other parties with whom the
         State what the contract or    ENGAGEMENT AGREEMENT                                debtor has an executory contract or
         lease is for                                                                      unexpired lease
         Nature of debtor's interest   CONTRACT PARTY                                      FLAHERTY & O'HARA
                                                                                           THOMAS B. HENRY
         State the term remaining      _________________________________________________   610 SMITHFIELD ST
                                                                                           STE 300
         List the contract number of   _________________________________________________   PIRTSBURGH PA 15222
         any government contract


2.88.    Title of contract             REAL PROPERTY LEASE AGREEMENT                       State the name and mailing address
                                                                                           for all other parties with whom the
         State what the contract or    REAL PROPERTY LEASE STORE # 31286                   debtor has an executory contract or
         lease is for                                                                      unexpired lease
         Nature of debtor's interest   LESSEE                                              FLUSHING QUAIL LLC
                                                                                           MR LEE JAMIESON
         State the term remaining      12/31/22                                            DAN KREMERS PROPERTY
                                                                                           MANAGER
         List the contract number of   _________________________________________________   3101 STATE RD
         any government contract                                                           BAKERSFIELD CA 93308




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2.89.    Title of contract             REAL PROPERTY LEASE AGREEMENT                       State the name and mailing address
                                                                                           for all other parties with whom the
         State what the contract or    REAL PROPERTY LEASE STORE # 31132                   debtor has an executory contract or
         lease is for                                                                      unexpired lease
         Nature of debtor's interest   LESSEE                                              FRANCISCO R UNANUE MARIA
                                                                                           ELENA ORTEGA
         State the term remaining      12/17/28                                            WOLLBERG AND JOSE A ORTEGA
                                                                                           JR AS
         List the contract number of   _________________________________________________   COTRUSTEES OF THE P AND L
         any government contract                                                           TRUST DTD SEP 22 1999
                                                                                           JOSE ORTEGA
                                                                                           2000 NW 92ND AVE
                                                                                           MIAMI FL 33172


2.90.    Title of contract             PROGRAM AGREEMENT                                   State the name and mailing address
                                                                                           for all other parties with whom the
         State what the contract or    SERVICES AGREEMENT                                  debtor has an executory contract or
         lease is for                                                                      unexpired lease
         Nature of debtor's interest   CONTRACT PARTY                                      FRANKLIN MACHINE PRODUCTS
                                                                                           DAVID BERNSTEIN
         State the term remaining      12/31/2018                                          VP, BUSINESS DEVELOPMENT
                                                                                           101 MT HOLLY BYPASS
         List the contract number of   _________________________________________________   LUMBERTON NJ 08048
         any government contract


2.91.    Title of contract             REAL PROPERTY LEASE AGREEMENT                       State the name and mailing address
                                                                                           for all other parties with whom the
         State what the contract or    REAL PROPERTY LEASE STORE # 31279                   debtor has an executory contract or
         lease is for                                                                      unexpired lease
         Nature of debtor's interest   LESSEE                                              FREDERICK WESTVIEW
                                                                                           PROPERTIES LLC
         State the term remaining      3/31/23                                             ANTHONY E GIULIO
                                                                                           CONNOR DEVLIN/PROPERTY MGR
         List the contract number of   _________________________________________________   9640 DEERECO RD
         any government contract                                                           TIMONIUM MD 21093


2.92.    Title of contract             NON-DISCLOSURE AGREEMENT                            State the name and mailing address
                                                                                           for all other parties with whom the
         State what the contract or    CONFIDENTIALITY AGREEMENT                           debtor has an executory contract or
         lease is for                                                                      unexpired lease
         Nature of debtor's interest   CONTRACT PARTY                                      FRONT BURNER RESTAURANTS LP
                                                                                           JOHN GESSNER
         State the term remaining      _________________________________________________   GENERAL COUNSEL
                                                                                           5151 BELT LINE RD
         List the contract number of   _________________________________________________   #1200
         any government contract                                                           DALLAS TX 75254


2.93.    Title of contract             ORDER FORM                                          State the name and mailing address
                                                                                           for all other parties with whom the
         State what the contract or    _________________________________________________   debtor has an executory contract or
         lease is for                                                                      unexpired lease
         Nature of debtor's interest   _________________________________________________   GATHER TECHNOLOGIES, INC.
                                                                                           ALEX LASSITER
         State the term remaining      8/28/2019                                           99 KROG ST NE
                                                                                           STE 1000
         List the contract number of   _________________________________________________   ATLANTA GA 30307
         any government contract




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2.94.    Title of contract             REAL PROPERTY LEASE AGREEMENT                       State the name and mailing address
                                                                                           for all other parties with whom the
         State what the contract or    REAL PROPERTY LEASE STORE # 31203                   debtor has an executory contract or
         lease is for                                                                      unexpired lease
         Nature of debtor's interest   LESSEE                                              GGP NORTHRIDGE FASHION
                                                                                           CENTER LP
         State the term remaining      12/31/19                                            GENERAL GROWTH PROPERTIES
                                                                                           INC
         List the contract number of   _________________________________________________   THOMAS K HORNACEK ASSOC
         any government contract                                                           GENERAL COUNSEL
                                                                                           110 NORTH WACKER DR
                                                                                           CHICAGO IL 60606


2.95.    Title of contract             REAL PROPERTY LEASE AGREEMENT                       State the name and mailing address
                                                                                           for all other parties with whom the
         State what the contract or    REAL PROPERTY LEASE STORE # 31339                   debtor has an executory contract or
         lease is for                                                                      unexpired lease
         Nature of debtor's interest   LESSEE                                              GGPOTAY RANCH LP
                                                                                           GENERAL GROWTH PROPERTIES
         State the term remaining      6/30/22                                             LAW/LEASE ADMINISTRATION
                                                                                           HOWARD SIGAL VP AND SR
         List the contract number of   _________________________________________________   ASSOCIATE GC
         any government contract                                                           110 NORTH WACKER DR
                                                                                           CHICAGO IL 60606


2.96.    Title of contract             ENGAGEMENT LETTER                                   State the name and mailing address
                                                                                           for all other parties with whom the
         State what the contract or    ENGAGEMENT AGREEMENT                                debtor has an executory contract or
         lease is for                                                                      unexpired lease
         Nature of debtor's interest   CONTRACT PARTY                                      GIBSON DUNN
                                                                                           JEFFREY KRAUSE
         State the term remaining      _________________________________________________   333 SOUTH GRAND AVE
                                                                                           LOS ANGELES CA 90071-3197
         List the contract number of   _________________________________________________
         any government contract


2.97.    Title of contract             GRAND CANYON STATE LOGO SIGN URBAN PROGRAM          State the name and mailing address
                                       LEASE AGREEMENT                                     for all other parties with whom the
                                                                                           debtor has an executory contract or
         State what the contract or    LEASE AGREEMENT                                     unexpired lease
         lease is for
                                                                                           GRAND CANYON LOGO SIGNS
         Nature of debtor's interest   LESSEE                                              A PROGRAM OF THE ARIZONA
                                                                                           DEPARTMENT OF
         State the term remaining      _________________________________________________   TRANSPORTATION
                                                                                           2039 WEST LEWIS AVENUE
         List the contract number of   _________________________________________________   PHOENIX AZ 85009-2893
         any government contract


2.98.    Title of contract             REAL PROPERTY SUBLEASE AGREEMENT                    State the name and mailing address
                                                                                           for all other parties with whom the
         State what the contract or    REAL PROPERTY LEASE STORE # 31272                   debtor has an executory contract or
         lease is for                                                                      unexpired lease
         Nature of debtor's interest   LESSEE                                              GRAYLING CORP
                                                                                           JOHN C FIRTH PRESIDENT
         State the term remaining      06/30/30                                            DIANA M SHIVELY PROPERTY
                                                                                           MANAGER
         List the contract number of   _________________________________________________   4220 EDISON LAKES PKWY
         any government contract                                                           MISHAWAKA IN 46545




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2.99.    Title of contract             REAL PROPERTY LEASE AGREEMENT                       State the name and mailing address
                                                                                           for all other parties with whom the
         State what the contract or    REAL PROPERTY LEASE STORE # 31064                   debtor has an executory contract or
         lease is for                                                                      unexpired lease
         Nature of debtor's interest   LESSEE                                              GRILLONI LLC
                                                                                           MICHAEL SCHMIDT
         State the term remaining      9/8/19                                              222 GRAND AVE
                                                                                           ENGLEWOOD NJ 07631
         List the contract number of   _________________________________________________
         any government contract


2.100.   Title of contract             REAL PROPERTY LEASE AGREEMENT                       State the name and mailing address
                                                                                           for all other parties with whom the
         State what the contract or    REAL PROPERTY LEASE STORE # 31346                   debtor has an executory contract or
         lease is for                                                                      unexpired lease
         Nature of debtor's interest   LESSEE                                              H AND Y NORTHERN CALIFORNIA
                                                                                           LLC
         State the term remaining      12/31/22                                            BHG REAL ESTATE MASON
                                                                                           MCDUFFIE
         List the contract number of   _________________________________________________   ANNA LI
         any government contract                                                           2 ADRIAN CT #38
                                                                                           BURLINGAME CA 94010


2.101.   Title of contract             REAL PROPERTY LEASE AGREEMENT                       State the name and mailing address
                                                                                           for all other parties with whom the
         State what the contract or    REAL PROPERTY LEASE STORE # 31196                   debtor has an executory contract or
         lease is for                                                                      unexpired lease
         Nature of debtor's interest   LESSEE                                              HARKAN PROPERTIES LLC
                                                                                           J HARTLEY KANTOR
         State the term remaining      12/17/28                                            2122 FIFE ST
                                                                                           TACOMA WA 98406
         List the contract number of   _________________________________________________
         any government contract


2.102.   Title of contract             ENGAGEMENT LETTER                                   State the name and mailing address
                                                                                           for all other parties with whom the
         State what the contract or    ENGAGEMENT AGREEMENT                                debtor has an executory contract or
         lease is for                                                                      unexpired lease
         Nature of debtor's interest   CONTRACT PARTY                                      HAYNES AND BOONE
                                                                                           ROBERT A. LAUER
         State the term remaining      _________________________________________________   1050 17TH STREET
                                                                                           STE 1800
         List the contract number of   _________________________________________________   DENVER CO 80265
         any government contract


2.103.   Title of contract             REAL PROPERTY LEASE AGREEMENT                       State the name and mailing address
                                                                                           for all other parties with whom the
         State what the contract or    REAL PROPERTY LEASE STORE # 31342                   debtor has an executory contract or
         lease is for                                                                      unexpired lease
         Nature of debtor's interest   LESSEE                                              HINES GLOBAL REIT 2615 MED
                                                                                           CENTER PARKWAY LLC
         State the term remaining      10/31/22                                            DHA ASSET MANAGEMENT LLC
                                                                                           PROPERTY MANAGER
         List the contract number of   _________________________________________________   LAUREN ROWLAND GENERAL
         any government contract                                                           MANAGER
                                                                                           1901 FREDERICA ST
                                                                                           OWENSBORO KY 42301




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2.104.   Title of contract             REAL PROPERTY LEASE AGREEMENT                       State the name and mailing address
                                                                                           for all other parties with whom the
         State what the contract or    REAL PROPERTY LEASE STORE # 31156                   debtor has an executory contract or
         lease is for                                                                      unexpired lease
         Nature of debtor's interest   LESSEE                                              HIP STEPHANIE LLC
                                                                                           HARSCH INVESTMENT
         State the term remaining      12/31/22                                            PROPERTIES
                                                                                           SHARON MATLOCK RETAIL LEASE
         List the contract number of   _________________________________________________   MANAGER
         any government contract                                                           1121 SW SALMON ST
                                                                                           PORTLAND OR 97205


2.105.   Title of contract             GROUP ROOMS AGREEMENT                               State the name and mailing address
                                                                                           for all other parties with whom the
         State what the contract or    SERVICES AGREEMENT                                  debtor has an executory contract or
         lease is for                                                                      unexpired lease
         Nature of debtor's interest   CONTRACT PARTY                                      HOTEL INDIGO DENVER
                                                                                           DOWNTOWN
         State the term remaining      9/7/2017                                            THERESA NANTH
                                                                                           SENIOR SALES MANAGER
         List the contract number of   _________________________________________________   1801 WEWATTA
         any government contract                                                           DENVER CO 80202


2.106.   Title of contract             BRAND CONFERENCE 2017                               State the name and mailing address
                                                                                           for all other parties with whom the
         State what the contract or    _________________________________________________   debtor has an executory contract or
         lease is for                                                                      unexpired lease
         Nature of debtor's interest   CONTRACT PARTY                                      HST LESSEE DENVER
                                                                                           JOHN SEVERE
         State the term remaining      6/22/2017                                           DIRECTOR OF GROUP SALES
                                                                                           1672 LAWRENCE ST
         List the contract number of   _________________________________________________   DENVER CO 80202
         any government contract


2.107.   Title of contract             BRAND CONFERENCE NOVEMBER 2017                      State the name and mailing address
                                                                                           for all other parties with whom the
         State what the contract or    _________________________________________________   debtor has an executory contract or
         lease is for                                                                      unexpired lease
         Nature of debtor's interest   CONTRACT PARTY                                      HST LESSEE DENVER WESTIN
                                                                                           NOVEMBER
         State the term remaining      11/8/2017                                           JOHN SEVERE
                                                                                           DIRECTOR OF GROUP SALES
         List the contract number of   _________________________________________________   1672 LAWRENCE ST
         any government contract                                                           DENVER CO 80202


2.108.   Title of contract             NON-DISCLOSURE AGREEMENT                            State the name and mailing address
                                                                                           for all other parties with whom the
         State what the contract or    CONFIDENTIALITY AGREEMENT                           debtor has an executory contract or
         lease is for                                                                      unexpired lease
         Nature of debtor's interest   CONTRACT PARTY                                      IGNITE RESTAURANT GROUP
                                                                                           BRAD LEIST
         State the term remaining      _________________________________________________   CFO
                                                                                           1055 RICHMOND AVE
         List the contract number of   _________________________________________________   HOUSTON TX 77042
         any government contract




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2.109.   Title of contract             INSURANCE                                           State the name and mailing address
                                                                                           for all other parties with whom the
         State what the contract or    INSURANCE - FLOOD                                   debtor has an executory contract or
         lease is for                                                                      unexpired lease
         Nature of debtor's interest   INSURED                                             IMPERIAL FIRE & CASUALTY
                                                                                           INSURANCE COMPANY
         State the term remaining      _________________________________________________   PO BOX 912063
                                                                                           DENVER CO 80291-2063
         List the contract number of   _________________________________________________
         any government contract


2.110.   Title of contract             INSURANCE                                           State the name and mailing address
                                                                                           for all other parties with whom the
         State what the contract or    INSURANCE - FLOOD                                   debtor has an executory contract or
         lease is for                                                                      unexpired lease
         Nature of debtor's interest   INSURED                                             IMPERIAL FIRE & CASUALTY
                                                                                           INSURANCE COMPANY
         State the term remaining      _________________________________________________   PO BOX 912063
                                                                                           DENVER CO 80291-2063
         List the contract number of   _________________________________________________
         any government contract


2.111.   Title of contract             INSURANCE                                           State the name and mailing address
                                                                                           for all other parties with whom the
         State what the contract or    INSURANCE - FLOOD                                   debtor has an executory contract or
         lease is for                                                                      unexpired lease
         Nature of debtor's interest   INSURED                                             INTEGON NATIONAL INSURANCE
                                                                                           COMPANY
         State the term remaining      _________________________________________________   PO BOX 912063
                                                                                           DENVER CO 80291-2063
         List the contract number of   _________________________________________________
         any government contract


2.112.   Title of contract             REAL PROPERTY LEASE AGREEMENT                       State the name and mailing address
                                                                                           for all other parties with whom the
         State what the contract or    REAL PROPERTY LEASE STORE # 31327                   debtor has an executory contract or
         lease is for                                                                      unexpired lease
         Nature of debtor's interest   LESSEE                                              ISBI SUSQUEHANNA LLC
                                                                                           METRO COMMERCIAL
         State the term remaining      4/30/20                                             MANAGEMENT SVC INC
                                                                                           PROPERTY MANAGEMENT ELAINE
         List the contract number of   _________________________________________________   MANEVAL
         any government contract                                                           307 FELLOWSHIP RD STE 300
                                                                                           MOUNT LAUREL NJ 08054


2.113.   Title of contract             CONFIDENTIALITY AGREEMENT                           State the name and mailing address
                                                                                           for all other parties with whom the
         State what the contract or    CONFIDENTIALITY AGREEMENT                           debtor has an executory contract or
         lease is for                                                                      unexpired lease
         Nature of debtor's interest   CONTRACT PARTY                                      JACOBROOT
                                                                                           HOWROYD-WRIGHT EMPLOYMENT
         State the term remaining      _________________________________________________   AGENCY, INC
                                                                                           327 W. BROADWAY
         List the contract number of   _________________________________________________   GLENDALE CA 91204
         any government contract




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2.114.   Title of contract             REAL PROPERTY LEASE AGREEMENT                       State the name and mailing address
                                                                                           for all other parties with whom the
         State what the contract or    REAL PROPERTY LEASE STORE # 31302                   debtor has an executory contract or
         lease is for                                                                      unexpired lease
         Nature of debtor's interest   LESSEE                                              JCC CALIFORNIA PROPERTIES LLC
                                                                                           FESTIVAL MANAGEMENT CORP
         State the term remaining      9/30/19                                             LEGAL DEPT
                                                                                           DIANA WHITT SR REAL ESTATE
         List the contract number of   _________________________________________________   MNGR
         any government contract                                                           9841 AIRPORT BLVD STE 700
                                                                                           LOS ANGELES CA 90045


2.115.   Title of contract             STAFFING AGREEMENT                                  State the name and mailing address
                                                                                           for all other parties with whom the
         State what the contract or    SERVICES AGREEMENT                                  debtor has an executory contract or
         lease is for                                                                      unexpired lease
         Nature of debtor's interest   CONTRACT PARTY                                      JOBSTORE
                                                                                           JOBSTORE
         State the term remaining      _________________________________________________   TABITH KUHN
                                                                                           7100 E HAMPDEN AVE
         List the contract number of   _________________________________________________   STE A
         any government contract                                                           DENVER CO 80224


2.116.   Title of contract             OPERATOR NEGOTIATED SUPPLIER AGREEMENTS             State the name and mailing address
                                                                                           for all other parties with whom the
         State what the contract or    SUPPLIER AGREEMENT                                  debtor has an executory contract or
         lease is for                                                                      unexpired lease
         Nature of debtor's interest   CONTRACT PARTY                                      JOHN SOULES
                                                                                           JOHN SOULES FOODS INC
         State the term remaining      5/31/2017                                           1150 AVIATION BLVD
                                                                                           GAINESVILLE GA 30501
         List the contract number of   _________________________________________________
         any government contract


2.117.   Title of contract             OPERATOR NEGOTIATED SUPPLIER AGREEMENT              State the name and mailing address
                                                                                           for all other parties with whom the
         State what the contract or    SUPPLIER AGREEMENT                                  debtor has an executory contract or
         lease is for                                                                      unexpired lease
         Nature of debtor's interest   CONTRACT PARTY                                      JOHN SOULES 1
                                                                                           JOHN SOULES FOODS INC
         State the term remaining      12/31/2017                                          1150 AVIATION BLVD
                                                                                           GAINESVILLE GA 30501
         List the contract number of   _________________________________________________
         any government contract


2.118.   Title of contract             OPERATOR NEGOTIATED SUPPLIER AGREEMENTS             State the name and mailing address
                                                                                           for all other parties with whom the
         State what the contract or    SUPPLIER AGREEMENT                                  debtor has an executory contract or
         lease is for                                                                      unexpired lease
         Nature of debtor's interest   CONTRACT PARTY                                      JOHN VOLPI & CO
                                                                                           PO BOX 204599
         State the term remaining      12/31/2017                                          DALLAS TX 75320
         List the contract number of   _________________________________________________
         any government contract




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2.119.   Title of contract             REAL PROPERTY LEASE AGREEMENT                       State the name and mailing address
                                                                                           for all other parties with whom the
         State what the contract or    REAL PROPERTY LEASE STORE # 31287                   debtor has an executory contract or
         lease is for                                                                      unexpired lease
         Nature of debtor's interest   LESSEE                                              JONES LANG LASALLE AMERCAS
                                                                                           INC
         State the term remaining      1/31/19                                             PRESIDENT AND CEO RETAIL
                                                                                           JEFF BARBER
         List the contract number of   _________________________________________________   3344 PEACHTREE RD STE 1110
         any government contract                                                           ATLANTA GA 30326


2.120.   Title of contract             REAL PROPERTY SUBLEASE AGREEMENT                    State the name and mailing address
                                                                                           for all other parties with whom the
         State what the contract or    REAL PROPERTY LEASE STORE # 31133                   debtor has an executory contract or
         lease is for                                                                      unexpired lease
         Nature of debtor's interest   LESSEE                                              JOSE A AND LUCILA G ORTEGA AS
                                                                                           COTRUSTEES OF
         State the term remaining      12/17/28                                            THE LUCILA G ORTEGA 1995 TRUST
                                                                                           DTD SEP 1 1995
         List the contract number of   _________________________________________________   MARIA WOLLBERG
         any government contract                                                           4970 SW 80TH ST
                                                                                           MIAMI FL 33143


2.121.   Title of contract             REAL PROPERTY LEASE AGREEMENT                       State the name and mailing address
                                                                                           for all other parties with whom the
         State what the contract or    REAL PROPERTY LEASE STORE # 31245                   debtor has an executory contract or
         lease is for                                                                      unexpired lease
         Nature of debtor's interest   LESSEE                                              KELLER FAMILY TRUST
                                                                                           JOHN KELLER TRUSTEE
         State the term remaining      12/17/28                                            JOHN KELLER
                                                                                           14435-C BIG BASIN WAY #291
         List the contract number of   _________________________________________________   SARATOGA CA 95070
         any government contract


2.122.   Title of contract             REAL PROPERTY LEASE AGREEMENT                       State the name and mailing address
                                                                                           for all other parties with whom the
         State what the contract or    REAL PROPERTY LEASE STORE # 31003                   debtor has an executory contract or
         lease is for                                                                      unexpired lease
         Nature of debtor's interest   LESSEE                                              KENDALLGATE CENTER
                                                                                           ASSOCIATES LTD
         State the term remaining      2/28/21                                             BERKOWITZ DEVELOPMENT
                                                                                           GROUP
         List the contract number of   _________________________________________________   DAVID MARKOWITZ PROPERTY
         any government contract                                                           MANAGER
                                                                                           2665 S BAYSHORE DR STE 1200
                                                                                           COCONUT GROVE FL 33133


2.123.   Title of contract             MUTUAL CONFIDENTIALITY AGREEMENT                    State the name and mailing address
                                                                                           for all other parties with whom the
         State what the contract or    CONFIDENTIALITY AGREEMENT                           debtor has an executory contract or
         lease is for                                                                      unexpired lease
         Nature of debtor's interest   CONTRACT PARTY                                      KERRY INC.
                                                                                           ATTN: LEGAL SERVICES
         State the term remaining      _________________________________________________   DEPARTMENT
                                                                                           3400 MILLINGTON RD
         List the contract number of   _________________________________________________   BELOIT WI 53511
         any government contract




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2.124.   Title of contract             REAL PROPERTY LEASE AGREEMENT                       State the name and mailing address
                                                                                           for all other parties with whom the
         State what the contract or    REAL PROPERTY LEASE STORE # 31039                   debtor has an executory contract or
         lease is for                                                                      unexpired lease
         Nature of debtor's interest   LESSEE                                              KIMCO CARROLLWOOD 664 INC
                                                                                           KIMCO REALTY CORP
         State the term remaining      11/4/18                                             VICKI ANTHONY
                                                                                           3333 NEW HYDE PK RD STE 100
         List the contract number of   _________________________________________________   NEW HYDE PARK NY 11042
         any government contract


2.125.   Title of contract             REAL PROPERTY LEASE AGREEMENT                       State the name and mailing address
                                                                                           for all other parties with whom the
         State what the contract or    REAL PROPERTY LEASE STORE # 31284                   debtor has an executory contract or
         lease is for                                                                      unexpired lease
         Nature of debtor's interest   LESSEE                                              KINGSTOWNE TOWN CENTER LP
                                                                                           C O COMAR MANAGEMENT INC
         State the term remaining      7/31/18                                             JOHN HALLE PRESIDENT
                                                                                           2900 LINDEN LN STE 300
         List the contract number of   _________________________________________________   SILVER SPRING MD 20910
         any government contract


2.126.   Title of contract             OPERATOR NEGOTIATED SUPPLIER AGREEMENT              State the name and mailing address
                                                                                           for all other parties with whom the
         State what the contract or    SUPPLIER AGREEMENT                                  debtor has an executory contract or
         lease is for                                                                      unexpired lease
         Nature of debtor's interest   CONTRACT PARTY                                      KRAFT HEINZ FOODS COMPANY
                                                                                           PO BOX 57
         State the term remaining      3/31/2018                                           PITTSBURGH PA 15230-0057
         List the contract number of   _________________________________________________
         any government contract


2.127.   Title of contract             ENGAGEMENT LETTER                                   State the name and mailing address
                                                                                           for all other parties with whom the
         State what the contract or    ENGAGEMENT AGREEMENT                                debtor has an executory contract or
         lease is for                                                                      unexpired lease
         Nature of debtor's interest   CONTRACT PARTY                                      KUBICKI DRAPER
                                                                                           BRAD MCCORMICK
         State the term remaining      _________________________________________________   25 WEST FLAGLER ST
                                                                                           PENTHOUSE
         List the contract number of   _________________________________________________   MIAMI FL 33130
         any government contract


2.128.   Title of contract             REAL PROPERTY LEASE AGREEMENT                       State the name and mailing address
                                                                                           for all other parties with whom the
         State what the contract or    REAL PROPERTY LEASE STORE # 31161                   debtor has an executory contract or
         lease is for                                                                      unexpired lease
         Nature of debtor's interest   LESSEE                                              LANCEKASHIAN AND CO
                                                                                           RACHELLE DUNNE
         State the term remaining      2/28/23                                             PROPERTY MANAGER
                                                                                           265 E RIVER PK CIR STE 150
         List the contract number of   _________________________________________________   FRESNO CA 93720
         any government contract




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2.129.   Title of contract             OPERATOR NEGOTIATED SUPPLY AGREEMENTS               State the name and mailing address
                                                                                           for all other parties with whom the
         State what the contract or    SUPPLY AGREEMENT                                    debtor has an executory contract or
         lease is for                                                                      unexpired lease
         Nature of debtor's interest   CONTRACT PARTY                                      LAND O LAKES
                                                                                           LAND O LAKES INC
         State the term remaining      8/31/2017                                           PO BOX 96314
                                                                                           CHICAGO IL 60693-6314
         List the contract number of   _________________________________________________
         any government contract


2.130.   Title of contract             OPERATOR NEGOTIATED SUPPLY AGREEMENTS               State the name and mailing address
                                                                                           for all other parties with whom the
         State what the contract or    SUPPLY AGREEMENT                                    debtor has an executory contract or
         lease is for                                                                      unexpired lease
         Nature of debtor's interest   CONTRACT PARTY                                      LAND O LAKES RENEWAL 1
                                                                                           LAND O LAKES INC
         State the term remaining      9/30/2017                                           PO BOX 96314
                                                                                           CHICAGO IL 60693-6314
         List the contract number of   _________________________________________________
         any government contract


2.131.   Title of contract             OPERATOR NEGOTIATED SUPPLY AGREEMENTS               State the name and mailing address
                                                                                           for all other parties with whom the
         State what the contract or    SUPPLY AGREEMENT                                    debtor has an executory contract or
         lease is for                                                                      unexpired lease
         Nature of debtor's interest   CONTRACT PARTY                                      LAND O LAKES RENEWAL 2
                                                                                           LAND O LAKES INC
         State the term remaining      10/31/2017                                          PO BOX 96314
                                                                                           CHICAGO IL 60693-6314
         List the contract number of   _________________________________________________
         any government contract


2.132.   Title of contract             OPERATOR NEGOTIATED SUPPLY AGREEMENTS               State the name and mailing address
                                                                                           for all other parties with whom the
         State what the contract or    SUPPLY AGREEMENT                                    debtor has an executory contract or
         lease is for                                                                      unexpired lease
         Nature of debtor's interest   CONTRACT PARTY                                      LAND O LAKES RENEWAL 3
                                                                                           LAND O LAKES INC
         State the term remaining      11/30/2017                                          PO BOX 96314
                                                                                           CHICAGO IL 60693-6314
         List the contract number of   _________________________________________________
         any government contract


2.133.   Title of contract             REAL PROPERTY LEASE AGREEMENT                       State the name and mailing address
                                                                                           for all other parties with whom the
         State what the contract or    REAL PROPERTY LEASE STORE # 31229                   debtor has an executory contract or
         lease is for                                                                      unexpired lease
         Nature of debtor's interest   LESSEE                                              LEGACY
                                                                                           WELLS PLANO LLC
         State the term remaining      12/17/28                                            BILL HALE
                                                                                           40 FRANCIS RD
         List the contract number of   _________________________________________________   HENDERSONVILLE NC 28792
         any government contract




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2.134.   Title of contract             VENDOR AGREEMENT                                    State the name and mailing address
                                                                                           for all other parties with whom the
         State what the contract or    VENDOR AGREEMENT                                    debtor has an executory contract or
         lease is for                                                                      unexpired lease
         Nature of debtor's interest   CONTRACT PARTY                                      LENA POPE
                                                                                           3200 SANGUINET ST
         State the term remaining      _________________________________________________   FORT WORTH TX 76107
         List the contract number of   _________________________________________________
         any government contract


2.135.   Title of contract             ENGAGEMENT LETTER                                   State the name and mailing address
                                                                                           for all other parties with whom the
         State what the contract or    ENGAGEMENT AGREEMENT                                debtor has an executory contract or
         lease is for                                                                      unexpired lease
         Nature of debtor's interest   CONTRACT PARTY                                      LEWIS ROCA ROTHGERBER
                                                                                           CHRISTIE LLP
         State the term remaining      _________________________________________________   ANDY CARPER
                                                                                           201 E WASHINGTON ST
         List the contract number of   _________________________________________________   STE 1200
         any government contract                                                           PHOENIX AZ 85004


2.136.   Title of contract             INSURANCE                                           State the name and mailing address
                                                                                           for all other parties with whom the
         State what the contract or    INSURANCE - UMBRELLA LIABILITY                      debtor has an executory contract or
         lease is for                                                                      unexpired lease
         Nature of debtor's interest   INSURED                                             LIBERTY INSURANCE COMPANY
                                                                                           175 BERKELEY ST
         State the term remaining      _________________________________________________   BOSTON MA 02116
         List the contract number of   _________________________________________________
         any government contract


2.137.   Title of contract             INSURANCE                                           State the name and mailing address
                                                                                           for all other parties with whom the
         State what the contract or    INSURANCE - INTERNATIONAL                           debtor has an executory contract or
         lease is for                                                                      unexpired lease
         Nature of debtor's interest   INSURED                                             LIBERTY INSURANCE COMPANY
                                                                                           175 BERKELEY ST
         State the term remaining      _________________________________________________   BOSTON MA 02116
         List the contract number of   _________________________________________________
         any government contract


2.138.   Title of contract             INSURANCE                                           State the name and mailing address
                                                                                           for all other parties with whom the
         State what the contract or    INSURANCE - WORKERS COMP. & EMPLOYERS LIABILITY     debtor has an executory contract or
         lease is for                                                                      unexpired lease
         Nature of debtor's interest   INSURED                                             LIBERTY INSURANCE COMPANY
                                                                                           175 BERKELEY ST
         State the term remaining      _________________________________________________   BOSTON MA 02116
         List the contract number of   _________________________________________________
         any government contract




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2.139.   Title of contract             INSURANCE                                           State the name and mailing address
                                                                                           for all other parties with whom the
         State what the contract or    INSURANCE - PROPERTY                                debtor has an executory contract or
         lease is for                                                                      unexpired lease
         Nature of debtor's interest   INSURED                                             LIBERTY MUTUAL FIRE INSURANCE
                                                                                           COMPANY
         State the term remaining      _________________________________________________   175 BERKELEY ST
                                                                                           BOSTON MA 02116
         List the contract number of   _________________________________________________
         any government contract


2.140.   Title of contract             INSURANCE                                           State the name and mailing address
                                                                                           for all other parties with whom the
         State what the contract or    INSURANCE - LIQUOR LIABILITY                        debtor has an executory contract or
         lease is for                                                                      unexpired lease
         Nature of debtor's interest   INSURED                                             LIBERTY MUTUAL FIRE INSURANCE
                                                                                           COMPANY
         State the term remaining      _________________________________________________   175 BERKELEY ST
                                                                                           BOSTON MA 02116
         List the contract number of   _________________________________________________
         any government contract


2.141.   Title of contract             INSURANCE                                           State the name and mailing address
                                                                                           for all other parties with whom the
         State what the contract or    INSURANCE - GENERAL LIABILITY                       debtor has an executory contract or
         lease is for                                                                      unexpired lease
         Nature of debtor's interest   INSURED                                             LIBERTY MUTUAL FIRE INSURANCE
                                                                                           COMPANY
         State the term remaining      _________________________________________________   175 BERKELEY ST
                                                                                           BOSTON MA 02116
         List the contract number of   _________________________________________________
         any government contract


2.142.   Title of contract             INSURANCE                                           State the name and mailing address
                                                                                           for all other parties with whom the
         State what the contract or    INSURANCE - AUTO LIABILITY                          debtor has an executory contract or
         lease is for                                                                      unexpired lease
         Nature of debtor's interest   INSURED                                             LIBERTY MUTUAL FIRE INSURANCE
                                                                                           COMPANY
         State the term remaining      _________________________________________________   175 BERKELEY ST
                                                                                           BOSTON MA 02116
         List the contract number of   _________________________________________________
         any government contract


2.143.   Title of contract             REAL PROPERTY SUBLEASE AGREEMENT                    State the name and mailing address
                                                                                           for all other parties with whom the
         State what the contract or    REAL PROPERTY LEASE STORE # 31097                   debtor has an executory contract or
         lease is for                                                                      unexpired lease
         Nature of debtor's interest   LESSEE                                              LILLIE MAE CAIN TRUST
                                                                                           FIRST TENNESSEE BANK NA A
         State the term remaining      1/31/14                                             TENNESSEE BANKING
                                                                                           CORP, INTERIM TRUSTEE FIRST
         List the contract number of   _________________________________________________   NATIONAL BANK NA
         any government contract                                                           TRUST DEPT ROBERT KILLEFER
                                                                                           SENIOR VP
                                                                                           PO BOX 1991
                                                                                           KNOXVILLE TN 37901




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2.144.   Title of contract             ENGAGEMENT LETTER                                   State the name and mailing address
                                                                                           for all other parties with whom the
         State what the contract or    ENGAGEMENT AGREEMENT                                debtor has an executory contract or
         lease is for                                                                      unexpired lease
         Nature of debtor's interest   CONTRACT PARTY                                      LINDA L. AIKIN
                                                                                           530B HARKLE RD
         State the term remaining      _________________________________________________   SANTA FE NM 87505
         List the contract number of   _________________________________________________
         any government contract


2.145.   Title of contract             ENGAGEMENT LETTER                                   State the name and mailing address
                                                                                           for all other parties with whom the
         State what the contract or    ENGAGEMENT AGREEMENT                                debtor has an executory contract or
         lease is for                                                                      unexpired lease
         Nature of debtor's interest   CONTRACT PARTY                                      LIQUOR LICENSE.COM
                                                                                           CINDY BLOCK
         State the term remaining      _________________________________________________   2222 DAMON ST
                                                                                           LOS ANGELES CA 90021
         List the contract number of   _________________________________________________
         any government contract


2.146.   Title of contract             INSURANCE                                           State the name and mailing address
                                                                                           for all other parties with whom the
         State what the contract or    INSURANCE - FOOD BORNE ILLNESS                      debtor has an executory contract or
         lease is for                                                                      unexpired lease
         Nature of debtor's interest   INSURED                                             LLOYDS LONDON
                                                                                           5802 THUNDERBIRD
         State the term remaining      _________________________________________________   BLDG 10, SUITE 100
                                                                                           LAGO VISTA TX 78645
         List the contract number of   _________________________________________________
         any government contract


2.147.   Title of contract             TERMS AND CONDITIONS FOR PAYMENT                    State the name and mailing address
                                                                                           for all other parties with whom the
         State what the contract or    PAYMENT AGREEMENT                                   debtor has an executory contract or
         lease is for                                                                      unexpired lease
         Nature of debtor's interest   CONTRACT PARTY                                      LODGING SOURCE LLC
                                                                                           PO BOX 744
         State the term remaining      _________________________________________________   MOUNT PLEASANT SC 29465
         List the contract number of   _________________________________________________
         any government contract


2.148.   Title of contract             2018 SPECIFIC SERVICE AGREEMENT                     State the name and mailing address
                                                                                           for all other parties with whom the
         State what the contract or    SERVICE AGREEMENT                                   debtor has an executory contract or
         lease is for                                                                      unexpired lease
         Nature of debtor's interest   CONTRACT PARTY                                      LONESTAR LOGOS
                                                                                           3701 BEE CAVES RD
         State the term remaining      12/31/2018                                          STE 202
                                                                                           AUSTIN TX 78746
         List the contract number of   _________________________________________________
         any government contract




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2.149.   Title of contract             OPERATOR NEGOTIATED SUPPLIER AGREEMENTS             State the name and mailing address
                                                                                           for all other parties with whom the
         State what the contract or    SUPPLIER AGREEMENT                                  debtor has an executory contract or
         lease is for                                                                      unexpired lease
         Nature of debtor's interest   CONTRACT PARTY                                      LOUISA FOOD PRODUCTS
                                                                                           1918 SWITZER AVE
         State the term remaining      12/31/2017                                          ST LOUIS MO 63136
         List the contract number of   _________________________________________________
         any government contract


2.150.   Title of contract             MEDIA BUY AUTHORIZATION                             State the name and mailing address
                                                                                           for all other parties with whom the
         State what the contract or    SERVICE AGREEMENT                                   debtor has an executory contract or
         lease is for                                                                      unexpired lease
         Nature of debtor's interest   CONTRACT PARTY                                      LRXD
                                                                                           CONNIE JONES
         State the term remaining      8/19/2017                                           CFO
                                                                                           1480 HUMBOLDT
         List the contract number of   _________________________________________________   DENVER CO 80218
         any government contract


2.151.   Title of contract             MEDIA BUY AUTHORIZATION                             State the name and mailing address
                                                                                           for all other parties with whom the
         State what the contract or    SERVICE AGREEMENT                                   debtor has an executory contract or
         lease is for                                                                      unexpired lease
         Nature of debtor's interest   CONTRACT PARTY                                      LRXD 1
                                                                                           CONNIE JONES
         State the term remaining      11/26/2017                                          CFO
                                                                                           1480 HUMBOLDT
         List the contract number of   _________________________________________________   DENVER CO 80218
         any government contract


2.152.   Title of contract             AGENCY SERVICES RETAINER AGREEMENT                  State the name and mailing address
                                                                                           for all other parties with whom the
         State what the contract or    RETAINER AGREEMENT                                  debtor has an executory contract or
         lease is for                                                                      unexpired lease
         Nature of debtor's interest   CONTRACT PARTY                                      LRXD INC
                                                                                           CONNIE JONES
         State the term remaining      7/31/2017                                           CFO
                                                                                           1480 HUMBOLDT
         List the contract number of   _________________________________________________   DENVER CO 80218
         any government contract


2.153.   Title of contract             AGENCY SERVICES RETAINER AGREEMENT                  State the name and mailing address
                                                                                           for all other parties with whom the
         State what the contract or    RETAINER AGREEMENT                                  debtor has an executory contract or
         lease is for                                                                      unexpired lease
         Nature of debtor's interest   CONTRACT PARTY                                      LRXD INC 1
                                                                                           CONNIE JONES
         State the term remaining      12/31/2017                                          CFO
                                                                                           1480 HUMBOLDT
         List the contract number of   _________________________________________________   DENVER CO 80218
         any government contract




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2.154.   Title of contract             TRADEMARK LICENSE AGREEMENT                         State the name and mailing address
                                                                                           for all other parties with whom the
         State what the contract or    SUPPLY AGREEMENT                                    debtor has an executory contract or
         lease is for                                                                      unexpired lease
         Nature of debtor's interest   CONTRACT PARTY                                      MAC ACQUISITION IP
                                                                                           1855 BLAKE ST
         State the term remaining      _________________________________________________   STE 200
                                                                                           DENVER CO 80202
         List the contract number of   _________________________________________________
         any government contract


2.155.   Title of contract             REAL PROPERTY LEASE AGREEMENT                       State the name and mailing address
                                                                                           for all other parties with whom the
         State what the contract or    REAL PROPERTY LEASE STORE # 31176                   debtor has an executory contract or
         lease is for                                                                      unexpired lease
         Nature of debtor's interest   LESSEE                                              MACARONI RR I35 PARTNERSHIP
                                                                                           LTD
         State the term remaining      11/30/18                                            HOWARD CHAPMAN
                                                                                           10461 WESTPARK DR
         List the contract number of   _________________________________________________   HOUSTON TX 77042
         any government contract


2.156.   Title of contract             REAL PROPERTY LEASE AGREEMENT                       State the name and mailing address
                                                                                           for all other parties with whom the
         State what the contract or    REAL PROPERTY LEASE STORE # 31216                   debtor has an executory contract or
         lease is for                                                                      unexpired lease
         Nature of debtor's interest   LESSEE                                              MALL OF GEORGIA LLC SIMON
                                                                                           PROPERTY GROUP
         State the term remaining      1/31/21                                             JOHN MILAM
                                                                                           MARY STULTZ PROPERTY
         List the contract number of   _________________________________________________   MANAGER
         any government contract                                                           225 WEST WASHINGTON ST
                                                                                           INDIANAPOLIS IN 46204


2.157.   Title of contract             OPERATOR NEGOTIATED SUPPLIER AGREEMENTS             State the name and mailing address
                                                                                           for all other parties with whom the
         State what the contract or    SUPPLIER AGREEMENT                                  debtor has an executory contract or
         lease is for                                                                      unexpired lease
         Nature of debtor's interest   CONTRACT PARTY                                      MANZO FOOD SALES INC
                                                                                           13290 NW 25TH ST
         State the term remaining      11/30/2017                                          MIAMI FL 33182-1509
         List the contract number of   _________________________________________________
         any government contract


2.158.   Title of contract             ENGAGEMENT LETTER                                   State the name and mailing address
                                                                                           for all other parties with whom the
         State what the contract or    ENGAGEMENT AGREEMENT                                debtor has an executory contract or
         lease is for                                                                      unexpired lease
         Nature of debtor's interest   CONTRACT PARTY                                      MARTIN FROST
                                                                                           M. JACK MARTIN, III
         State the term remaining      _________________________________________________   3345 BEE CAVE RD
                                                                                           STE 105
         List the contract number of   _________________________________________________   AUSTIN TX 78746
         any government contract




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2.159.   Title of contract             OPERATOR NEGOTIATED SUPPLIER AGREEMENTS             State the name and mailing address
                                                                                           for all other parties with whom the
         State what the contract or    SUPPLIER AGREEMENT                                  debtor has an executory contract or
         lease is for                                                                      unexpired lease
         Nature of debtor's interest   CONTRACT PARTY                                      MAZZETTA CO
                                                                                           4322 PAYSPHERE CIR
         State the term remaining      9/30/2017                                           CHICAGO IL 60674-0043
         List the contract number of   _________________________________________________
         any government contract


2.160.   Title of contract             PRICING AGREEMENT                                   State the name and mailing address
                                                                                           for all other parties with whom the
         State what the contract or    DENTAL BENEFITS                                     debtor has an executory contract or
         lease is for                                                                      unexpired lease
         Nature of debtor's interest   EMPLOYER                                            METLIFE DENTAL
                                                                                           KATHERINE RUSH HEATH
         State the term remaining      12/31/2017                                          CROSSMAN AND CO
                                                                                           3333 S ORANGEAVE SUITE 201
         List the contract number of   _________________________________________________   ORLANDO FL 32806
         any government contract


2.161.   Title of contract             REAL PROPERTY LEASE AGREEMENT                       State the name and mailing address
                                                                                           for all other parties with whom the
         State what the contract or    REAL PROPERTY LEASE STORE # 31145                   debtor has an executory contract or
         lease is for                                                                      unexpired lease
         Nature of debtor's interest   LESSEE                                              MGAVC LLC AND MGLBC LLC
                                                                                           RONALD DE MILT
         State the term remaining      12/17/28                                            MANAGING MEMBER
                                                                                           4468 BRYNWOOD DR
         List the contract number of   _________________________________________________   NAPLES FL 34119
         any government contract


2.162.   Title of contract             MICHIGAN SPECIFIC SERVICE SIGNING PROGRAM           State the name and mailing address
                                                                                           for all other parties with whom the
         State what the contract or    SERVICE AGREEMENT                                   debtor has an executory contract or
         lease is for                                                                      unexpired lease
         Nature of debtor's interest   CONTRACT PARTY                                      MICHIGAN LOGOS, INC.
                                                                                           MICHAEL KOVALCHICK
         State the term remaining      12/31/2020                                          GENERAL MANAGER
                                                                                           5030 NORTHWIND DRIVE
         List the contract number of   _________________________________________________   STE 103
         any government contract                                                           EAST LANSING MI 48823


2.163.   Title of contract             REAL PROPERTY LEASE AGREEMENT                       State the name and mailing address
                                                                                           for all other parties with whom the
         State what the contract or    REAL PROPERTY LEASE STORE # 31222                   debtor has an executory contract or
         lease is for                                                                      unexpired lease
         Nature of debtor's interest   LESSEE                                              MIKE AND MARTHA WITT
                                                                                           MARTHA WITT/OWNER
         State the term remaining      12/31/20                                            3300 E LAKE CREEK RD
                                                                                           HEBER UT 84032
         List the contract number of   _________________________________________________
         any government contract




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2.164.   Title of contract             NON-DISCLOSURE AGREEMENT                            State the name and mailing address
                                                                                           for all other parties with whom the
         State what the contract or    CONFIDENTIALITY AGREEMENT                           debtor has an executory contract or
         lease is for                                                                      unexpired lease
         Nature of debtor's interest   CONTRACT PARTY                                      MILLER'S ALE HOUSE, INC.
                                                                                           5750 MAJOR BLVD
         State the term remaining      _________________________________________________   STE 400
                                                                                           ORLANDO FL 32819
         List the contract number of   _________________________________________________
         any government contract


2.165.   Title of contract             MASTER SERVICES AGREEMENT                           State the name and mailing address
                                                                                           for all other parties with whom the
         State what the contract or    SERVICE AGREEMENT                                   debtor has an executory contract or
         lease is for                                                                      unexpired lease
         Nature of debtor's interest   CONTRACT PARTY                                      MOMENTFEED, INC.
                                                                                           1540 2ND STREET
         State the term remaining      9/1/2019                                            STE 302
                                                                                           SANTA MONICA CA 90401
         List the contract number of   _________________________________________________
         any government contract


2.166.   Title of contract             OPERATOR NEGOTIATED SUPPLIER AGREEMENTS             State the name and mailing address
                                                                                           for all other parties with whom the
         State what the contract or    SUPPLIER AGREEMENT                                  debtor has an executory contract or
         lease is for                                                                      unexpired lease
         Nature of debtor's interest   CONTRACT PARTY                                      MONIN INC
                                                                                           PO BOX 538475
         State the term remaining      6/30/2017                                           ATLANTA GA 30353-8475
         List the contract number of   _________________________________________________
         any government contract


2.167.   Title of contract             REAL PROPERTY LEASE AGREEMENT                       State the name and mailing address
                                                                                           for all other parties with whom the
         State what the contract or    REAL PROPERTY LEASE STORE # 31292                   debtor has an executory contract or
         lease is for                                                                      unexpired lease
         Nature of debtor's interest   LESSEE                                              MORIAH INVESTMENTS LLC
                                                                                           BRIAN ARTZER
         State the term remaining      7/31/21                                             11409 BUSINESS PK CIR STE 300
                                                                                           FIRESTONE CO 80504
         List the contract number of   _________________________________________________
         any government contract


2.168.   Title of contract             ENGAGEMENT LETTER                                   State the name and mailing address
                                                                                           for all other parties with whom the
         State what the contract or    ENGAGEMENT AGREEMENT                                debtor has an executory contract or
         lease is for                                                                      unexpired lease
         Nature of debtor's interest   CONTRACT PARTY                                      MORRIS JAMES
                                                                                           JOHN H., NEWCOMER, JR
         State the term remaining      _________________________________________________   500 DELAWARE AVE
                                                                                           STE 1500
         List the contract number of   _________________________________________________   WILMINGTON DE 19801-1494
         any government contract




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2.169.   Title of contract             MULTI TERRITORY ACCOUNT SERVICE AGREEMENT           State the name and mailing address
                                                                                           for all other parties with whom the
         State what the contract or    SERVICE AGREEMENT                                   debtor has an executory contract or
         lease is for                                                                      unexpired lease
         Nature of debtor's interest   CONTRACT PARTY                                      MUZAK LLC D/B/A MOODMEDIA
                                                                                           1703 WEST 5TH ST
         State the term remaining      4/10/2017                                           STE 600
                                                                                           AUSTIN TX 78703
         List the contract number of   _________________________________________________
         any government contract


2.170.   Title of contract             OPERATOR NEGOTIATED SUPPLIER AGREEMENTS             State the name and mailing address
                                                                                           for all other parties with whom the
         State what the contract or    SUPPLIER AGREEMENT                                  debtor has an executory contract or
         lease is for                                                                      unexpired lease
         Nature of debtor's interest   CONTRACT PARTY                                      NAGLE VEAL
                                                                                           1411 E BASELINE ST
         State the term remaining      12/31/2017                                          SAN BERNARDINO CA 92410
         List the contract number of   _________________________________________________
         any government contract


2.171.   Title of contract             MUTUAL NON-DISCLOSURE ... AGREEMENT                 State the name and mailing address
                                                                                           for all other parties with whom the
         State what the contract or    CONFIDENTIALITY AGREEMENT                           debtor has an executory contract or
         lease is for                                                                      unexpired lease
         Nature of debtor's interest   CONTRACT PARTY                                      NATIONAL RETAIL CONCEPT
                                                                                           DEAN HASKELL
         State the term remaining      _________________________________________________   PO BOX 682544
                                                                                           FRANKLIN TN 37068-2544
         List the contract number of   _________________________________________________
         any government contract


2.172.   Title of contract             INITIATING CONSULTING RELATIONSHIP                  State the name and mailing address
                                                                                           for all other parties with whom the
         State what the contract or    SERVICE AGREEMENT                                   debtor has an executory contract or
         lease is for                                                                      unexpired lease
         Nature of debtor's interest   CONTRACT PARTY                                      NATIONAL RETAIL CONCEPT
                                                                                           PARTNERS LLC
         State the term remaining      11/15/2017                                          DEAN HASKELL
                                                                                           PO BOX 682544
         List the contract number of   _________________________________________________   FRANKLIN TN 37068-2544
         any government contract


2.173.   Title of contract             OPERATOR NEGOTIATED SUPPLIER AGREEMENTS             State the name and mailing address
                                                                                           for all other parties with whom the
         State what the contract or    SUPPLIER AGREEMENT                                  debtor has an executory contract or
         lease is for                                                                      unexpired lease
         Nature of debtor's interest   CONTRACT PARTY                                      NESTLE USA
                                                                                           PO BOX 844452
         State the term remaining      12/31/2017                                          DALLAS TX 75284-4452
         List the contract number of   _________________________________________________
         any government contract




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2.174.   Title of contract             OPERATOR NEGOTIATED SUPPLIER AGREEMENTS             State the name and mailing address
                                                                                           for all other parties with whom the
         State what the contract or    SUPPLIER AGREEMENT                                  debtor has an executory contract or
         lease is for                                                                      unexpired lease
         Nature of debtor's interest   CONTRACT PARTY                                      NESTLE WATERS NORTH AMERICA
                                                                                           PO BOX 277015
         State the term remaining      12/31/2017                                          ATLANTA GA 30384-7015
         List the contract number of   _________________________________________________
         any government contract


2.175.   Title of contract             REAL PROPERTY LEASE AGREEMENT                       State the name and mailing address
                                                                                           for all other parties with whom the
         State what the contract or    REAL PROPERTY LEASE STORE # 31072                   debtor has an executory contract or
         lease is for                                                                      unexpired lease
         Nature of debtor's interest   LESSEE                                              NFC LLC
                                                                                           THOMAS AND MACK
         State the term remaining      12/31/19                                            DEVELOPMENT GROUP
                                                                                           NICOLA B FRYATT LEASING
         List the contract number of   _________________________________________________   MANAGER
         any government contract                                                           7181 AMIGO ST STE 100
                                                                                           LAS VEGAS NV 89119


2.176.   Title of contract             NO KID HUNGRY CAMPAIGN                              State the name and mailing address
                                                                                           for all other parties with whom the
         State what the contract or    _________________________________________________   debtor has an executory contract or
         lease is for                                                                      unexpired lease
         Nature of debtor's interest   CONTRACT PARTY                                      NO KID HUNGRY
                                                                                           PO BOX 75475
         State the term remaining      11/15/2017                                          BALTIMORE MD 21275-5475
         List the contract number of   _________________________________________________
         any government contract


2.177.   Title of contract             GENERAL INDEMNITY AGREEMENT                         State the name and mailing address
                                                                                           for all other parties with whom the
         State what the contract or    INDEMNIFICATION AGREEMENT                           debtor has an executory contract or
         lease is for                                                                      unexpired lease
         Nature of debtor's interest   CONTRACT PARTY                                      NORTH AMERICAN SPECIALTY
                                                                                           INSURANCE COMPANY
         State the term remaining      _________________________________________________   475 N MARTINGALE
                                                                                           STE 850
         List the contract number of   _________________________________________________   SCHAUMBURG IL 60173
         any government contract


2.178.   Title of contract             REAL PROPERTY LEASE AGREEMENT                       State the name and mailing address
                                                                                           for all other parties with whom the
         State what the contract or    REAL PROPERTY LEASE STORE # 31151                   debtor has an executory contract or
         lease is for                                                                      unexpired lease
         Nature of debtor's interest   LESSEE                                              NORTH RAINBOW BOULEVARD
                                                                                           HOLDINGS
         State the term remaining      2/28/22                                             INTEGRIS REALTY SVC
                                                                                           6440 SKY POINTE DR 140175
         List the contract number of   _________________________________________________   LAS VEGAS NV 89131
         any government contract




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2.179.   Title of contract             ALLY SMART LEASE                                     State the name and mailing address
                                                                                            for all other parties with whom the
         State what the contract or    VEHICLE LEASE - 2016 FIAT 500X - ZFBCFABH5GZ038496   debtor has an executory contract or
         lease is for                                                                       unexpired lease
         Nature of debtor's interest   LESSEE                                               NORTHSIDE IMPORTS, LLC
                                                                                            23110 INTERSTATE 45N
         State the term remaining      36 MONTHS                                            SPRING TX 77373-8229
         List the contract number of   _________________________________________________
         any government contract


2.180.   Title of contract             ALLY SMART LEASE                                     State the name and mailing address
                                                                                            for all other parties with whom the
         State what the contract or    VEHICLE LEASE -2016 FIAT 500L - ZFBCFABH0GZ038227    debtor has an executory contract or
         lease is for                                                                       unexpired lease
         Nature of debtor's interest   LESSEE                                               NORTHSIDE IMPORTS, LLC
                                                                                            23110 INTERSTATE 45N
         State the term remaining      36 MONTHS                                            SPRING TX 77373-8229
         List the contract number of   _________________________________________________
         any government contract


2.181.   Title of contract             ALLY SMART LEASE                                     State the name and mailing address
                                                                                            for all other parties with whom the
         State what the contract or    VEHICLE LEASE -2016 FIAT 500L- ZFBCFABH2GZ03B469     debtor has an executory contract or
         lease is for                                                                       unexpired lease
         Nature of debtor's interest   LESSEE                                               NORTHSIDE IMPORTS, LLC
                                                                                            23110 INTERSTATE 45N
         State the term remaining      36 MONTHS                                            SPRING TX 77373-8229
         List the contract number of   _________________________________________________
         any government contract


2.182.   Title of contract             ALLY SMART LEASE                                     State the name and mailing address
                                                                                            for all other parties with whom the
         State what the contract or    VEHICLE LEASE -2016 FIAT 500L- ZFBCFABHXGZ038235     debtor has an executory contract or
         lease is for                                                                       unexpired lease
         Nature of debtor's interest   LESSEE                                               NORTHSIDE IMPORTS, LLC
                                                                                            23110 INTERSTATE 45N
         State the term remaining      36 MONTHS                                            SPRING TX 77373-8229
         List the contract number of   _________________________________________________
         any government contract


2.183.   Title of contract             FLAT FEE ARRANGEMENT                                 State the name and mailing address
                                                                                            for all other parties with whom the
         State what the contract or    FEE AGREEMENT                                        debtor has an executory contract or
         lease is for                                                                       unexpired lease
         Nature of debtor's interest   CONTRACT PARTY                                       OGLETREE DEAKINS
                                                                                            KAREN M. MORINELLI
         State the term remaining      6/9/2017                                             100 NORTH TAMPA STREET
                                                                                            STE 3600
         List the contract number of   _________________________________________________    TAMPA FL 33602
         any government contract




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2.184.   Title of contract             INSURANCE                                           State the name and mailing address
                                                                                           for all other parties with whom the
         State what the contract or    INSURANCE - WORKERS COMP.                           debtor has an executory contract or
         lease is for                                                                      unexpired lease
         Nature of debtor's interest   INSURED                                             OHIO BUREAU OF WORKERS'
                                                                                           COMPENSATION
         State the term remaining      _________________________________________________   30 W. SPRING ST
                                                                                           11TH FLOOR
         List the contract number of   _________________________________________________   COLUMBUS OH 43215
         any government contract


2.185.   Title of contract             REAL PROPERTY LEASE AGREEMENT                       State the name and mailing address
                                                                                           for all other parties with whom the
         State what the contract or    REAL PROPERTY LEASE STORE # 10897                   debtor has an executory contract or
         lease is for                                                                      unexpired lease
         Nature of debtor's interest   LESSEE                                              OMILOS 1 LLC
                                                                                           GEORGE NICHOLAKOS
         State the term remaining      _________________________________________________   5242 YORKTOWN BLVD
                                                                                           ARLINGTON VA 22207
         List the contract number of   _________________________________________________
         any government contract


2.186.   Title of contract             REAL PROPERTY LEASE AGREEMENT                       State the name and mailing address
                                                                                           for all other parties with whom the
         State what the contract or    REAL PROPERTY LEASE STORE # 31280                   debtor has an executory contract or
         lease is for                                                                      unexpired lease
         Nature of debtor's interest   LESSEE                                              OPRY MILLS MALL LIMITED
                                                                                           PARTNERSHIP
         State the term remaining      3/31/23                                             C O MS MANAGEMENT
                                                                                           ASSOCIATES INC
         List the contract number of   _________________________________________________   MIKE FREESE ASST GENERAL
         any government contract                                                           COUNSEL
                                                                                           225 WEST WASHINGTON ST
                                                                                           INDIANAPOLIS IN 46204


2.187.   Title of contract             REAL PROPERTY LEASE AGREEMENT                       State the name and mailing address
                                                                                           for all other parties with whom the
         State what the contract or    REAL PROPERTY LEASE STORE # 31257                   debtor has an executory contract or
         lease is for                                                                      unexpired lease
         Nature of debtor's interest   LESSEE                                              OTR
                                                                                           REAL ESTATE MANAGER
         State the term remaining      11/30/18                                            KIM WAIPA
                                                                                           275 EAST BROAD ST
         List the contract number of   _________________________________________________   COLUMBUS OH 43215
         any government contract


2.188.   Title of contract             STATEMENT OF WORK                                   State the name and mailing address
                                                                                           for all other parties with whom the
         State what the contract or    _________________________________________________   debtor has an executory contract or
         lease is for                                                                      unexpired lease
         Nature of debtor's interest   _________________________________________________   OUTDOOR NATION LLC
                                                                                           TYANAN CONNER
         State the term remaining      8/30/2018                                           TERRITORY MANAGER
                                                                                           1807 TAFT HWY #1
         List the contract number of   _________________________________________________   SIGNAL MOUNTAIN TN 37377
         any government contract




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2.189.   Title of contract             REAL PROPERTY LEASE AGREEMENT                       State the name and mailing address
                                                                                           for all other parties with whom the
         State what the contract or    REAL PROPERTY LEASE STORE # 31116                   debtor has an executory contract or
         lease is for                                                                      unexpired lease
         Nature of debtor's interest   LESSEE                                              OXFORD VALLEY ROAD
                                                                                           ASSOCIATES
         State the term remaining      6/30/21                                             KURTZMAN STEADY LLC
                                                                                           JEFFREY KURTZMAN ESQ
         List the contract number of   _________________________________________________   401 S 2ND ST
         any government contract                                                           PHILADELPHIA PA 19147


2.190.   Title of contract             REAL PROPERTY LEASE AGREEMENT                       State the name and mailing address
                                                                                           for all other parties with whom the
         State what the contract or    REAL PROPERTY LEASE STORE # 31252                   debtor has an executory contract or
         lease is for                                                                      unexpired lease
         Nature of debtor's interest   LESSEE                                              PAPPAS LAGUNA NO 2 LP
                                                                                           JOHN PAPPAS LOUIS J PAPPAS
         State the term remaining      2/28/22                                             2020 L ST 5TH FL
                                                                                           SACRAMENTO CA 95811
         List the contract number of   _________________________________________________
         any government contract


2.191.   Title of contract             REAL PROPERTY LEASE AGREEMENT                       State the name and mailing address
                                                                                           for all other parties with whom the
         State what the contract or    REAL PROPERTY LEASE STORE # 31163                   debtor has an executory contract or
         lease is for                                                                      unexpired lease
         Nature of debtor's interest   LESSEE                                              PARTICIA WAHL LAPAN AS
                                                                                           TRUSTEE OF THE PATRCIA
         State the term remaining      12/17/28                                            LAPAN LIVING TRUST PURSUANT
                                                                                           TO THE DECLATRATION
         List the contract number of   _________________________________________________   OF TRUST DTD 04/15/94 WHICH
         any government contract                                                           TRUST WAS REST ON OR
                                                                                           ABOUT 03/16/05 AN AZ TR PATRICIA
                                                                                           WAHL LAPAN
                                                                                           6363 CHRISTIE AVE 2925
                                                                                           EMERYVILLE CA 94608


2.192.   Title of contract             REAL PROPERTY LEASE AGREEMENT                       State the name and mailing address
                                                                                           for all other parties with whom the
         State what the contract or    REAL PROPERTY LEASE STORE # 31300                   debtor has an executory contract or
         lease is for                                                                      unexpired lease
         Nature of debtor's interest   LESSEE                                              PEMBROKE SQUARE ASSOCIATES
                                                                                           DEBRA GUERRERO DIR PROP
         State the term remaining      2/28/19                                             MNGMN
                                                                                           4460 CORPORATION LN STE 300
         List the contract number of   _________________________________________________   VIRGINIA BEACH VA 23462
         any government contract


2.193.   Title of contract             DISTRIBUTION AGREEMENT                              State the name and mailing address
                                                                                           for all other parties with whom the
         State what the contract or    DISTRIBUTION AGREEMENT                              debtor has an executory contract or
         lease is for                                                                      unexpired lease
         Nature of debtor's interest   CONTRACT PARTY                                      PERFORMANCE AWARD CENTER,
                                                                                           INC.
         State the term remaining      _________________________________________________   1701 VANTAGE DR
                                                                                           STE 100
         List the contract number of   _________________________________________________   CARROLLTON TX 75006
         any government contract




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2.194.   Title of contract             REAL PROPERTY LEASE AGREEMENT                       State the name and mailing address
                                                                                           for all other parties with whom the
         State what the contract or    REAL PROPERTY LEASE STORE # 31251                   debtor has an executory contract or
         lease is for                                                                      unexpired lease
         Nature of debtor's interest   LESSEE                                              PFP TEMECULA REAL ESTATE
                                                                                           HOLDINGS LLC
         State the term remaining      4/30/23                                             MEISSNER JACQUET COMMERCIAL
                                                                                           REAL ESTATE SVC
         List the contract number of   _________________________________________________   LYSLIE J BROOKS REAL ESTATE
         any government contract                                                           MANAGER
                                                                                           4995 MURPHY CANYON RD STE 100
                                                                                           SAN DIEGO CA 92122


2.195.   Title of contract             REAL PROPERTY LEASE AGREEMENT                       State the name and mailing address
                                                                                           for all other parties with whom the
         State what the contract or    REAL PROPERTY LEASE STORE # 31127                   debtor has an executory contract or
         lease is for                                                                      unexpired lease
         Nature of debtor's interest   LESSEE                                              PHILBROOK AVENUE ASSOCIATES
                                                                                           LLC
         State the term remaining      10/31/21                                            C O SR WEINER AND ASSOCIATES
                                                                                           DAVID YORK
         List the contract number of   _________________________________________________   1330 BOYLSTON ST STE 212
         any government contract                                                           CHESTNUT HILL MA 02467


2.196.   Title of contract             NON-DISCLOSURE AGREEMENT                            State the name and mailing address
                                                                                           for all other parties with whom the
         State what the contract or    CONFIDENTIALITY AGREEMENT                           debtor has an executory contract or
         lease is for                                                                      unexpired lease
         Nature of debtor's interest   CONTRACT PARTY                                      PIE TAP/OJOS LOCOS
                                                                                           RICH HICKS
         State the term remaining      _________________________________________________   CEO
                                                                                           5212 TENNYSON PKWY
         List the contract number of   _________________________________________________   STE 120
         any government contract                                                           PLANO TX 75024-4229


2.197.   Title of contract             REAL PROPERTY LEASE AGREEMENT                       State the name and mailing address
                                                                                           for all other parties with whom the
         State what the contract or    REAL PROPERTY LEASE STORE # 31289                   debtor has an executory contract or
         lease is for                                                                      unexpired lease
         Nature of debtor's interest   LESSEE                                              PIONEER REAL ESTATE
                                                                                           DEVELOPMENT
         State the term remaining      12/31/18                                            DENNIS TATE VICE-PRESIDENT
                                                                                           742 PEACHOID RD
         List the contract number of   _________________________________________________   GAFFNEY SC 29341
         any government contract


2.198.   Title of contract             REAL PROPERTY LEASE AGREEMENT                       State the name and mailing address
                                                                                           for all other parties with whom the
         State what the contract or    REAL PROPERTY LEASE STORE # 31283                   debtor has an executory contract or
         lease is for                                                                      unexpired lease
         Nature of debtor's interest   LESSEE                                              PK II EL CANINO NORTH LP
                                                                                           KIMCO REALTY CORP
         State the term remaining      8/31/18                                             MORTGAGE DEPT
                                                                                           333 NEW HYDE PK RD SUIT 100
         List the contract number of   _________________________________________________   NEW HYDE PARK NY 11042
         any government contract




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2.199.   Title of contract             UNDER MASTER SUBSCRIPTION AGREEMENT                 State the name and mailing address
                                                                                           for all other parties with whom the
         State what the contract or    SUBSCRIPTION AGREEMENT                              debtor has an executory contract or
         lease is for                                                                      unexpired lease
         Nature of debtor's interest   CONTRACT PARTY                                      PLAYERLYNC, LLC
                                                                                           ROBERT PAULSON
         State the term remaining      7/21/2021                                           PRESIDENT & CEO
                                                                                           9085 E MINERAL CIRCLE
         List the contract number of   _________________________________________________   STE 160
         any government contract                                                           ENGLEWOOD CO 80112


2.200.   Title of contract             REAL PROPERTY LEASE AGREEMENT                       State the name and mailing address
                                                                                           for all other parties with whom the
         State what the contract or    REAL PROPERTY LEASE STORE # 31145                   debtor has an executory contract or
         lease is for                                                                      unexpired lease
         Nature of debtor's interest   LESSEE                                              POWERSTONE PROPERTY
                                                                                           MANAGEMENT
         State the term remaining      12/17/28                                            MINA RIOS
                                                                                           ACCOUNTS RECEIVABLE
         List the contract number of   _________________________________________________   9060 IRVINE CTR DR
         any government contract                                                           IRVINE CA 92618


2.201.   Title of contract             REAL PROPERTY SUBLEASE AGREEMENT                    State the name and mailing address
                                                                                           for all other parties with whom the
         State what the contract or    REAL PROPERTY LEASE STORE # 31278                   debtor has an executory contract or
         lease is for                                                                      unexpired lease
         Nature of debtor's interest   LESSEE                                              PPF RTL ROSEDALE SHOPPING
                                                                                           CENTER
         State the term remaining      7/30/18                                             ASSET MANAGER/ROSEDALE
                                                                                           CENTER
         List the contract number of   _________________________________________________   SCOTT MICHAELIS GENERAL
         any government contract                                                           MANAGER
                                                                                           3424 PEACHTREE RD NE STE 300
                                                                                           ATLANTA GA 30326


2.202.   Title of contract             REAL PROPERTY LEASE AGREEMENT                       State the name and mailing address
                                                                                           for all other parties with whom the
         State what the contract or    REAL PROPERTY LEASE STORE # 31299                   debtor has an executory contract or
         lease is for                                                                      unexpired lease
         Nature of debtor's interest   LESSEE                                              PRUDENTIAL INSURANCE CO OF
                                                                                           AMERICA
         State the term remaining      12/31/18                                            CARLY MILLER
                                                                                           7 GIRALDA FARMS
         List the contract number of   _________________________________________________   MADISON NJ 07940
         any government contract


2.203.   Title of contract             REAL PROPERTY LEASE AGREEMENT                       State the name and mailing address
                                                                                           for all other parties with whom the
         State what the contract or    REAL PROPERTY LEASE STORE # 31299                   debtor has an executory contract or
         lease is for                                                                      unexpired lease
         Nature of debtor's interest   LESSEE                                              PRUDENTIAL INSURANCE CO OF
                                                                                           AMERICA
         State the term remaining      12/31/18                                            LAW DEPT
                                                                                           7 GIRALDA FARMS
         List the contract number of   _________________________________________________   MADISON NJ 07940
         any government contract




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2.204.   Title of contract             REAL PROPERTY LEASE AGREEMENT                       State the name and mailing address
                                                                                           for all other parties with whom the
         State what the contract or    REAL PROPERTY LEASE STORE # 31255                   debtor has an executory contract or
         lease is for                                                                      unexpired lease
         Nature of debtor's interest   LESSEE                                              RANCH TOWN CENTER LLC
                                                                                           C O DSB PROPERTIES INC
         State the term remaining      10/31/22                                            KATHLEEN YOUNG
                                                                                           101 N WESTLAKE BLDG 201
         List the contract number of   _________________________________________________   WESTLAKE VILLAGE CA 91362
         any government contract


2.205.   Title of contract             REAL PROPERTY LEASE AGREEMENT                       State the name and mailing address
                                                                                           for all other parties with whom the
         State what the contract or    REAL PROPERTY LEASE STORE # 31112                   debtor has an executory contract or
         lease is for                                                                      unexpired lease
         Nature of debtor's interest   LESSEE                                              RB 3 ASSOCIATES
                                                                                           C O BENDERSON DEVELOPMENT
         State the term remaining      12/31/22                                            CO
                                                                                           MIKE WALKER
         List the contract number of   _________________________________________________   7978 COOPER CREEK BLVD STE
         any government contract                                                           100
                                                                                           UNIVERSITY PARK FL 34201


2.206.   Title of contract             REAL PROPERTY LEASE AGREEMENT                       State the name and mailing address
                                                                                           for all other parties with whom the
         State what the contract or    REAL PROPERTY LEASE STORE # 31015                   debtor has an executory contract or
         lease is for                                                                      unexpired lease
         Nature of debtor's interest   LESSEE                                              RDT LIMITED PARTNERSHIP
                                                                                           RICHARD D THURMAN
         State the term remaining      3/14/22                                             DIANE CONLEE EXEC ASSISTANT
                                                                                           10000 SHELBYVILLE RD STE 210
         List the contract number of   _________________________________________________   LOUISVILLE KY 40223
         any government contract


2.207.   Title of contract             SERVICES ORDER FORM                                 State the name and mailing address
                                                                                           for all other parties with whom the
         State what the contract or    SERVICE AGREEMENT                                   debtor has an executory contract or
         lease is for                                                                      unexpired lease
         Nature of debtor's interest   CONTRACT PARTY                                      RED BOOK CONNECT, LLC
                                                                                           GREG GILLINS
         State the term remaining      8/31/2018                                           VP FINANCE
                                                                                           3440 PRESTON RIDGE RD
         List the contract number of   _________________________________________________   STE 650
         any government contract                                                           ALPHARETTA GA 30005


2.208.   Title of contract             REAL PROPERTY LEASE AGREEMENT                       State the name and mailing address
                                                                                           for all other parties with whom the
         State what the contract or    REAL PROPERTY LEASE STORE # 31324                   debtor has an executory contract or
         lease is for                                                                      unexpired lease
         Nature of debtor's interest   LESSEE                                              REDLANDS JOINT VENTURE LLC
                                                                                           C O MAJECTIC REALTY CO
         State the term remaining      3/31/20                                             SARA BOMBARDIER PROPERTY
                                                                                           MANAGER
         List the contract number of   _________________________________________________   13191 CROSSROADS PKWY NORTH
         any government contract                                                           6TH FL
                                                                                           CITY OF INDUSTRY CA 91746




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2.209.   Title of contract             CONFIDENTIALITY AGREEMENT                           State the name and mailing address
                                                                                           for all other parties with whom the
         State what the contract or    CONFIDENTIALITY AGREEMENT                           debtor has an executory contract or
         lease is for                                                                      unexpired lease
         Nature of debtor's interest   CONTRACT PARTY                                      RENAE BLAKE
                                                                                           ACCOUNTEMPS
         State the term remaining      _________________________________________________   1125 17TH STREET
                                                                                           SUITE 870
         List the contract number of   _________________________________________________   DENVER CO 80202
         any government contract


2.210.   Title of contract             RMS SERVICES AGREEMENT                              State the name and mailing address
                                                                                           for all other parties with whom the
         State what the contract or    RMS SERVICES                                        debtor has an executory contract or
         lease is for                                                                      unexpired lease
         Nature of debtor's interest   CONTRACT PARTY                                      REVENUE MANAGEMENT
                                                                                           SOLUTIONS, LLC
         State the term remaining      3/31/2017                                           777 SOUTH HARBOUR ISLAND
                                                                                           BLVD
         List the contract number of   _________________________________________________   STE 890
         any government contract                                                           TAMPA FL 33602


2.211.   Title of contract             OPERATOR NEGOTIATED SUPPLIER AGREEMENTS             State the name and mailing address
                                                                                           for all other parties with whom the
         State what the contract or    SUPPLIER AGREEMENT                                  debtor has an executory contract or
         lease is for                                                                      unexpired lease
         Nature of debtor's interest   CONTRACT PARTY                                      RICH PRODUCTS CORP
                                                                                           PO BOX 98333
         State the term remaining      12/31/2017                                          CHICAGO IL 60693-0001
         List the contract number of   _________________________________________________
         any government contract


2.212.   Title of contract             REAL PROPERTY LEASE AGREEMENT                       State the name and mailing address
                                                                                           for all other parties with whom the
         State what the contract or    REAL PROPERTY LEASE STORE # 81595                   debtor has an executory contract or
         lease is for                                                                      unexpired lease
         Nature of debtor's interest   LESSEE                                              RICHARD J. ROSENTHAL
                                                                                           PO BOX 837
         State the term remaining      12/17/28                                            VENICE CA 90294
         List the contract number of   _________________________________________________
         any government contract


2.213.   Title of contract             REAL PROPERTY LEASE AGREEMENT                       State the name and mailing address
                                                                                           for all other parties with whom the
         State what the contract or    REAL PROPERTY LEASE STORE # 31078                   debtor has an executory contract or
         lease is for                                                                      unexpired lease
         Nature of debtor's interest   LESSEE                                              ROCKY RIDGE STATION LLC
                                                                                           ROBERT F MYERS COO LEASE
         State the term remaining      12/31/20                                            ADMINISTRATION DEPT
                                                                                           11501 NORTHLAKE DR
         List the contract number of   _________________________________________________   CINCINNATI OH 45249
         any government contract




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2.214.   Title of contract             REAL PROPERTY LEASE AGREEMENT                       State the name and mailing address
                                                                                           for all other parties with whom the
         State what the contract or    REAL PROPERTY LEASE STORE # 31182                   debtor has an executory contract or
         lease is for                                                                      unexpired lease
         Nature of debtor's interest   LESSEE                                              RODERICK ENTERPRISES
                                                                                           RENEE SCHMID ASSET/PROPERTY
         State the term remaining      1/31/19                                             MNGR
                                                                                           1214 EAST VINE ST
         List the contract number of   _________________________________________________   SALT LAKE CITY UT 84121
         any government contract


2.215.   Title of contract             SUPPLY AGREEMENT                                    State the name and mailing address
                                                                                           for all other parties with whom the
         State what the contract or    SUPPLIER AGREEMENT                                  debtor has an executory contract or
         lease is for                                                                      unexpired lease
         Nature of debtor's interest   CONTRACT PARTY                                      ROYAL CUP, INC.
                                                                                           BEN PITTS
         State the term remaining      4/13/2022                                           PRESIDENT, FOODSERVICE &
                                                                                           HOSPITALITY
         List the contract number of   _________________________________________________   160 CLEAGE DR
         any government contract                                                           BIRMINGHAM AL 35217


2.216.   Title of contract             OPERATOR NEGOTIATED SUPPLIER AGREEMENTS             State the name and mailing address
                                                                                           for all other parties with whom the
         State what the contract or    SUPPLIER AGREEMENT                                  debtor has an executory contract or
         lease is for                                                                      unexpired lease
         Nature of debtor's interest   CONTRACT PARTY                                      SAPUTO CHEESE USA INC,
                                                                                           2515 COLLECTION CENTER DR
         State the term remaining      12/31/2017                                          CHICAGO IL 60693
         List the contract number of   _________________________________________________
         any government contract


2.217.   Title of contract             ENGAGEMENT LETTER                                   State the name and mailing address
                                                                                           for all other parties with whom the
         State what the contract or    ENGAGEMENT AGREEMENT                                debtor has an executory contract or
         lease is for                                                                      unexpired lease
         Nature of debtor's interest   CONTRACT PARTY                                      SARD & LEFF LLC
                                                                                           KEVIN D. LEFF
         State the term remaining      _________________________________________________   3789 ROSWELL RD
                                                                                           ATLANTA GA 30342
         List the contract number of   _________________________________________________
         any government contract


2.218.   Title of contract             REAL PROPERTY SUBLEASE AGREEMENT                    State the name and mailing address
                                                                                           for all other parties with whom the
         State what the contract or    REAL PROPERTY LEASE STORE # 31133                   debtor has an executory contract or
         lease is for                                                                      unexpired lease
         Nature of debtor's interest   LESSEE                                              SERGIOS 4 PINES BLVD LLC
                                                                                           RENE PRATS
         State the term remaining      12/17/28                                            12380 SW 130 ST
                                                                                           MIAMI FL 33186
         List the contract number of   _________________________________________________
         any government contract




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2.219.   Title of contract             REAL PROPERTY LEASE AGREEMENT                       State the name and mailing address
                                                                                           for all other parties with whom the
         State what the contract or    REAL PROPERTY LEASE STORE # 31238                   debtor has an executory contract or
         lease is for                                                                      unexpired lease
         Nature of debtor's interest   LESSEE                                              SERITAGE GROWTH PROPERTIES
                                                                                           LP
         State the term remaining      6/30/22                                             MATTHEW FERNAND
                                                                                           OWNER
         List the contract number of   _________________________________________________   54 W 40TH ST STE 10N
         any government contract                                                           NEW YORK NY 10018


2.220.   Title of contract             REAL PROPERTY LEASE AGREEMENT                       State the name and mailing address
                                                                                           for all other parties with whom the
         State what the contract or    REAL PROPERTY LEASE STORE # 31238                   debtor has an executory contract or
         lease is for                                                                      unexpired lease
         Nature of debtor's interest   LESSEE                                              SERITAGE GROWTH PROPERTIES
                                                                                           LP
         State the term remaining      6/30/22                                             MARY ROTTLER
                                                                                           EXECUTIVE VP OPERATIONS AND
         List the contract number of   _________________________________________________   LEASING
         any government contract                                                           54 W 40TH ST STE 10N
                                                                                           NEW YORK NY 10018


2.221.   Title of contract             REAL PROPERTY LEASE AGREEMENT                       State the name and mailing address
                                                                                           for all other parties with whom the
         State what the contract or    REAL PROPERTY LEASE STORE # 31184                   debtor has an executory contract or
         lease is for                                                                      unexpired lease
         Nature of debtor's interest   LESSEE                                              SHANKAR NEVADA LLC
                                                                                           EUGENE BURGER MANAGEMENT
         State the term remaining      8/31/19                                             CORPORATION
                                                                                           KEVIN MOLONEY DISTRICT
         List the contract number of   _________________________________________________   MANAGER
         any government contract                                                           5011 MEADOWOOD MALL WAY STE
                                                                                           200
                                                                                           RENO NV 89502


2.222.   Title of contract             ENGAGEMENT LETTER                                   State the name and mailing address
                                                                                           for all other parties with whom the
         State what the contract or    ENGAGEMENT AGREEMENT                                debtor has an executory contract or
         lease is for                                                                      unexpired lease
         Nature of debtor's interest   CONTRACT PARTY                                      SHENKER RUSSO & CLARK LLP
                                                                                           THERESA M. RUSSO
         State the term remaining      _________________________________________________   121 STATE STREET
                                                                                           4TH FLOOR
         List the contract number of   _________________________________________________   ALBANY NY 12207
         any government contract


2.223.   Title of contract             REAL PROPERTY LEASE AGREEMENT                       State the name and mailing address
                                                                                           for all other parties with whom the
         State what the contract or    REAL PROPERTY LEASE STORE # 31287                   debtor has an executory contract or
         lease is for                                                                      unexpired lease
         Nature of debtor's interest   LESSEE                                              SHERWOOD MALL MALL
                                                                                           MANAGEMENT OFFICE
         State the term remaining      1/31/19                                             GENERAL MANAGER
                                                                                           5308 PACIFIC AVE
         List the contract number of   _________________________________________________   STOCKTON CA 95207
         any government contract




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2.224.   Title of contract             REAL PROPERTY LEASE AGREEMENT                       State the name and mailing address
                                                                                           for all other parties with whom the
         State what the contract or    REAL PROPERTY LEASE STORE # 31268                   debtor has an executory contract or
         lease is for                                                                      unexpired lease
         Nature of debtor's interest   LESSEE                                              SHOPCORE PROPERTIES RS
                                                                                           MANAGEMENT LLC
         State the term remaining      10/31/22                                            LINDA MADWAY
                                                                                           307 FELLOWSHIP RD STE 116
         List the contract number of   _________________________________________________   MOUNT LAUREL NJ 08054
         any government contract


2.225.   Title of contract             SHARED SAVINGS SERVICE AGREEMENT                    State the name and mailing address
                                                                                           for all other parties with whom the
         State what the contract or    EMPLOYEE BENEFIT AGREEMENT                          debtor has an executory contract or
         lease is for                                                                      unexpired lease
         Nature of debtor's interest   EMPLOYER                                            SIB
                                                                                           JENNIFER FOX
         State the term remaining      _________________________________________________   CMBDO
                                                                                           796 MEETING ST
         List the contract number of   _________________________________________________   CHARLESTON SC 29403
         any government contract


2.226.   Title of contract             ENGAGEMENT LETTER                                   State the name and mailing address
                                                                                           for all other parties with whom the
         State what the contract or    ENGAGEMENT AGREEMENT                                debtor has an executory contract or
         lease is for                                                                      unexpired lease
         Nature of debtor's interest   CONTRACT PARTY                                      SILLS CUMMIS
                                                                                           TED ZANGARI
         State the term remaining      _________________________________________________   THE LEGAL CENTER
                                                                                           ONE RIVERFRONT PLAZA
         List the contract number of   _________________________________________________   NEWARK NY 07102-5400
         any government contract


2.227.   Title of contract             OPERATOR NEGOTIATED SUPPLIER AGREEMENTS             State the name and mailing address
                                                                                           for all other parties with whom the
         State what the contract or    SUPPLIER AGREEMENT                                  debtor has an executory contract or
         lease is for                                                                      unexpired lease
         Nature of debtor's interest   CONTRACT PARTY                                      SMITHFIELD FARMLAND SALES
                                                                                           CORP.
         State the term remaining      8/31/2017                                           SMITHFIELD
                                                                                           200 COMMERCE ST
         List the contract number of   _________________________________________________   SMITHFIELD VA 23430-1204
         any government contract


2.228.   Title of contract             OPERATOR NEGOTIATED SUPPLIER AGREEMENTS             State the name and mailing address
                                                                                           for all other parties with whom the
         State what the contract or    SUPPLIER AGREEMENT                                  debtor has an executory contract or
         lease is for                                                                      unexpired lease
         Nature of debtor's interest   CONTRACT PARTY                                      SMITHFIELD FARMLAND SALES
                                                                                           CORP.
         State the term remaining      9/30/2017                                           SMITHFIELD RENEWED 1
                                                                                           200 COMMERCE ST
         List the contract number of   _________________________________________________   SMITHFIELD VA 23430-1204
         any government contract




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2.229.   Title of contract             OPERATOR NEGOTIATED SUPPLIER AGREEMENT              State the name and mailing address
                                                                                           for all other parties with whom the
         State what the contract or    SUPPLIER AGREEMENT                                  debtor has an executory contract or
         lease is for                                                                      unexpired lease
         Nature of debtor's interest   CONTRACT PARTY                                      SMITHFIELD FARMLAND SALES
                                                                                           CORP.
         State the term remaining      10/31/2017                                          SMITHFIELD RENEWED 2
                                                                                           200 COMMERCE ST
         List the contract number of   _________________________________________________   SMITHFIELD VA 23430-1204
         any government contract


2.230.   Title of contract             OPERATOR NEGOTIATED SUPPLIER AGREEMENT              State the name and mailing address
                                                                                           for all other parties with whom the
         State what the contract or    SUPPLIER AGREEMENT                                  debtor has an executory contract or
         lease is for                                                                      unexpired lease
         Nature of debtor's interest   CONTRACT PARTY                                      SMITHFIELD FARMLAND SALES
                                                                                           CORP.
         State the term remaining      11/30/2017                                          SMITHFIELD RENEWED 3
                                                                                           200 COMMERCE ST
         List the contract number of   _________________________________________________   SMITHFIELD VA 23430-1204
         any government contract


2.231.   Title of contract             REAL PROPERTY LEASE AGREEMENT                       State the name and mailing address
                                                                                           for all other parties with whom the
         State what the contract or    REAL PROPERTY LEASE STORE # 31307                   debtor has an executory contract or
         lease is for                                                                      unexpired lease
         Nature of debtor's interest   LESSEE                                              SOUTH STREET CENTER LLC
                                                                                           C O DSB PROPERTIES INC
         State the term remaining      6/30/19                                             CAROLINE SACHS PROPERTY
                                                                                           ADMINISTRATOR
         List the contract number of   _________________________________________________   101 N WESTLAKE BLVD STE 201
         any government contract                                                           WESTLAKE VILLAGE CA 91362


2.232.   Title of contract             REAL PROPERTY LEASE AGREEMENT                       State the name and mailing address
                                                                                           for all other parties with whom the
         State what the contract or    REAL PROPERTY LEASE STORE # 31307                   debtor has an executory contract or
         lease is for                                                                      unexpired lease
         Nature of debtor's interest   LESSEE                                              SOUTH STREET CENTER LLC
                                                                                           ROYAL OAK PROPERTY SVC
         State the term remaining      6/30/19                                             STEVE WELCH PROPERTY
                                                                                           MANAGER
         List the contract number of   _________________________________________________   7750 BURNET AVE
         any government contract                                                           VAN NUYS CA 91405


2.233.   Title of contract             REAL PROPERTY LEASE AGREEMENT                       State the name and mailing address
                                                                                           for all other parties with whom the
         State what the contract or    REAL PROPERTY LEASE STORE # 31109                   debtor has an executory contract or
         lease is for                                                                      unexpired lease
         Nature of debtor's interest   LESSEE                                              SOUTHPARK MALL LLC
                                                                                           SRP PROPERTY MANAGEMENT LLC
         State the term remaining      6/30/22                                             LEASE COORDINATION GINA
                                                                                           LOEHR
         List the contract number of   _________________________________________________   1 E WACKER DR STE 3700
         any government contract                                                           CHICAGO IL 60601




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2.234.   Title of contract             REAL PROPERTY LEASE AGREEMENT                       State the name and mailing address
                                                                                           for all other parties with whom the
         State what the contract or    REAL PROPERTY LEASE STORE # 31109                   debtor has an executory contract or
         lease is for                                                                      unexpired lease
         Nature of debtor's interest   LESSEE                                              SOUTHPARK MALL LLC
                                                                                           GENERAL MANAGER
         State the term remaining      6/30/22                                             KURT REDDICK GENERAL
                                                                                           MANAGER
         List the contract number of   _________________________________________________   500 SOUTHPARK CTR
         any government contract                                                           STRONGSVILLE OH 44136


2.235.   Title of contract             CONFIDENTIALITY AGREEMENT                           State the name and mailing address
                                                                                           for all other parties with whom the
         State what the contract or    CONFIDENTIALITY AGREEMENT                           debtor has an executory contract or
         lease is for                                                                      unexpired lease
         Nature of debtor's interest   CONTRACT PARTY                                      SPENCER THODE
                                                                                           HOWROYD-WRIGHT EMPLOYMENT
         State the term remaining      _________________________________________________   AGENCY, INC
                                                                                           327 W. BROADWAY
         List the contract number of   _________________________________________________   GLENDALE CA 91204
         any government contract


2.236.   Title of contract             CORPORATE PLAN                                      State the name and mailing address
                                                                                           for all other parties with whom the
         State what the contract or    _________________________________________________   debtor has an executory contract or
         lease is for                                                                      unexpired lease
         Nature of debtor's interest   CONTRACT PARTY                                      SPROUTSOCIAL, INC.
                                                                                           131 S DEARBORN ST
         State the term remaining      6/30/2018                                           STE 700
                                                                                           CHICAGO IL 60603
         List the contract number of   _________________________________________________
         any government contract


2.237.   Title of contract             THE LEASE ADMINISTRATION AGREEMENT                  State the name and mailing address
                                                                                           for all other parties with whom the
         State what the contract or    SERVICES AGREEMENT                                  debtor has an executory contract or
         lease is for                                                                      unexpired lease
         Nature of debtor's interest   CONTRACT PARTY                                      SRS-CRESA LEASE
                                                                                           ADMINISTRATION, LLC
         State the term remaining      7/24/2020                                           15660 NORTH DALLAS PKWY
                                                                                           STE 1200
         List the contract number of   _________________________________________________   DALLAS TX 75248
         any government contract


2.238.   Title of contract             SERVICE AGREEMENT                                   State the name and mailing address
                                                                                           for all other parties with whom the
         State what the contract or    SERVICE AGREEMENT                                   debtor has an executory contract or
         lease is for                                                                      unexpired lease
         Nature of debtor's interest   CONTRACT PARTY                                      STANLEY AMENDMENT 1
                                                                                           55 SHURMAN BLVD
         State the term remaining      2/28/2021                                           #900
                                                                                           NAPERVILLE IL 60563
         List the contract number of   _________________________________________________
         any government contract




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2.239.   Title of contract             MASTER INSTALLATION AND SERVICE AGREEMENT           State the name and mailing address
                                                                                           for all other parties with whom the
         State what the contract or    SERVICE AGREEMENT                                   debtor has an executory contract or
         lease is for                                                                      unexpired lease
         Nature of debtor's interest   CONTRACT PARTY                                      STANLEY CONVERGENT SECURITY
                                                                                           SOLUTIONS, INC.
         State the term remaining      3/13/2017                                           55 SHURMAN BLVD
                                                                                           #900
         List the contract number of   _________________________________________________   NAPERVILLE IL 60563
         any government contract


2.240.   Title of contract             JOB GROWTH INCENTIVE TAX CREDIT CONDITIONAL         State the name and mailing address
                                       APPROVAL                                            for all other parties with whom the
                                                                                           debtor has an executory contract or
         State what the contract or    TAX CREDIT - JOB GROWTH                             unexpired lease
         lease is for
                                                                                           STATE OF COLORADO
         Nature of debtor's interest   CONTRACT PARTY                                      OFFICE OF ECONOMIC
                                                                                           DEVELOPMENT AND
         State the term remaining      3/1/2025                                            INTERNATIONAL TRADE ETC
                                                                                           CO OFFICE OF ECONOMIC
         List the contract number of   _________________________________________________   DEVELOPMENT ATTN ANGELA
         any government contract                                                           MENDEZ
                                                                                           1625 BROADWAY
                                                                                           STE 2700
                                                                                           DENVER CO 80202


2.241.   Title of contract             REAL PROPERTY SUBLEASE AGREEMENT                    State the name and mailing address
                                                                                           for all other parties with whom the
         State what the contract or    REAL PROPERTY LEASE STORE # 31205                   debtor has an executory contract or
         lease is for                                                                      unexpired lease
         Nature of debtor's interest   LESSEE                                              STIRLING PROPERTIES LLC
                                                                                           ASHEE WHITE PROPERTY
         State the term remaining      12/17/28                                            ASSISTANT
                                                                                           109 NORTHPARK BLVD STE 300
         List the contract number of   _________________________________________________   COVINGTON LA 70433
         any government contract


2.242.   Title of contract             ENGAGEMENT LETTER                                   State the name and mailing address
                                                                                           for all other parties with whom the
         State what the contract or    ENGAGEMENT AGREEMENT                                debtor has an executory contract or
         lease is for                                                                      unexpired lease
         Nature of debtor's interest   CONTRACT PARTY                                      STONE CONROY
                                                                                           SHALOM D. STONE
         State the term remaining      _________________________________________________   25A HANOVER RD
                                                                                           STE 301
         List the contract number of   _________________________________________________   FLORHAM PARK NJ 07932
         any government contract


2.243.   Title of contract             STATEMENT OF WORK                                   State the name and mailing address
                                                                                           for all other parties with whom the
         State what the contract or    _________________________________________________   debtor has an executory contract or
         lease is for                                                                      unexpired lease
         Nature of debtor's interest   _________________________________________________   SUMMIT GROUP SOFTWARE, INC.
                                                                                           1405 PRAIRIE PKWY
         State the term remaining      8/1/2018                                            STE A
                                                                                           WEST FARGO ND 58078
         List the contract number of   _________________________________________________
         any government contract




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2.244.   Title of contract             MASTER CLOUD SERVICES LICENSE AGREEMENT             State the name and mailing address
                                                                                           for all other parties with whom the
         State what the contract or    LICENSE AND SERVICE AGREEMENT                       debtor has an executory contract or
         lease is for                                                                      unexpired lease
         Nature of debtor's interest   CONTRACT PARTY                                      SYNERGYSUITE INC.
                                                                                           68 WILLOW RD
         State the term remaining      1/24/2018                                           MENLO PARK CA 94040
         List the contract number of   _________________________________________________
         any government contract


2.245.   Title of contract             CALL CENTER SERVICES AGREEMENT                      State the name and mailing address
                                                                                           for all other parties with whom the
         State what the contract or    SERVICES AGREEMENT                                  debtor has an executory contract or
         lease is for                                                                      unexpired lease
         Nature of debtor's interest   CONTRACT PARTY                                      SYNQ3 RESTAURANT SOLUTIONS
                                                                                           LLC
         State the term remaining      7/31/2018                                           STEVE BIGARI
                                                                                           CEO
         List the contract number of   _________________________________________________   5825 MARK DABLING RD
         any government contract                                                           COLORADO SPRINGS CO 80919


2.246.   Title of contract             MASTER DISTRIBUTION AGREEMENT                       State the name and mailing address
                                                                                           for all other parties with whom the
         State what the contract or    DISTRIBUTION AGREEMENT                              debtor has an executory contract or
         lease is for                                                                      unexpired lease
         Nature of debtor's interest   CONTRACT PARTY                                      SYSCO
                                                                                           ATTN: LEGAL DEPT
         State the term remaining      6/30/2019                                           1390 ENCLAVE PKWY
                                                                                           HOUSTON TX 77077-2099
         List the contract number of   _________________________________________________
         any government contract


2.247.   Title of contract             AMENDMENT TO MASTER DISTRIBUTION AGREEMENT          State the name and mailing address
                                                                                           for all other parties with whom the
         State what the contract or    DISTRIBUTION AGREEMENT                              debtor has an executory contract or
         lease is for                                                                      unexpired lease
         Nature of debtor's interest   CONTRACT PARTY                                      SYSCO AMENDMENT
                                                                                           ATTN: LEGAL DEPT
         State the term remaining      6/30/2019                                           1390 ENCLAVE PKWY
                                                                                           HOUSTON TX 77077-2099
         List the contract number of   _________________________________________________
         any government contract


2.248.   Title of contract             PRICING AGREEMENT                                   State the name and mailing address
                                                                                           for all other parties with whom the
         State what the contract or    PRICING AGREEMENT                                   debtor has an executory contract or
         lease is for                                                                      unexpired lease
         Nature of debtor's interest   CONTRACT PARTY                                      SYSCO BUTTER
                                                                                           ATTN: LEGAL DEPT
         State the term remaining      1/31/2018                                           1390 ENCLAVE PKWY
                                                                                           HOUSTON TX 77077-2099
         List the contract number of   _________________________________________________
         any government contract




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2.249.   Title of contract             PRICING AGREEMENT                                   State the name and mailing address
                                                                                           for all other parties with whom the
         State what the contract or    PRICING AGREEMENT                                   debtor has an executory contract or
         lease is for                                                                      unexpired lease
         Nature of debtor's interest   CONTRACT PARTY                                      SYSCO EGG
                                                                                           ATTN: LEGAL DEPT
         State the term remaining      10/31/2017                                          1390 ENCLAVE PKWY
                                                                                           HOUSTON TX 77077-2099
         List the contract number of   _________________________________________________
         any government contract


2.250.   Title of contract             PRICING AGREEMENT                                   State the name and mailing address
                                                                                           for all other parties with whom the
         State what the contract or    PRICING AGREEMENT                                   debtor has an executory contract or
         lease is for                                                                      unexpired lease
         Nature of debtor's interest   CONTRACT PARTY                                      SYSCO NON-FOOD
                                                                                           ATTN: LEGAL DEPT
         State the term remaining      12/31/2017                                          1390 ENCLAVE PKWY
                                                                                           HOUSTON TX 77077-2099
         List the contract number of   _________________________________________________
         any government contract


2.251.   Title of contract             PRICING AGREEMENT                                   State the name and mailing address
                                                                                           for all other parties with whom the
         State what the contract or    PRICING AGREEMENT                                   debtor has an executory contract or
         lease is for                                                                      unexpired lease
         Nature of debtor's interest   CONTRACT PARTY                                      SYSCO NUTS
                                                                                           ATTN: LEGAL DEPT
         State the term remaining      12/31/2017                                          1390 ENCLAVE PKWY
                                                                                           HOUSTON TX 77077-2099
         List the contract number of   _________________________________________________
         any government contract


2.252.   Title of contract             PRICING AGREEMENT                                   State the name and mailing address
                                                                                           for all other parties with whom the
         State what the contract or    PRICING AGREEMENT                                   debtor has an executory contract or
         lease is for                                                                      unexpired lease
         Nature of debtor's interest   CONTRACT PARTY                                      SYSCO OLIVES
                                                                                           ATTN: LEGAL DEPT
         State the term remaining      1/31/2018                                           1390 ENCLAVE PKWY
                                                                                           HOUSTON TX 77077-2099
         List the contract number of   _________________________________________________
         any government contract


2.253.   Title of contract             PRICING AGREEMENT                                   State the name and mailing address
                                                                                           for all other parties with whom the
         State what the contract or    PRICING AGREEMENT                                   debtor has an executory contract or
         lease is for                                                                      unexpired lease
         Nature of debtor's interest   CONTRACT PARTY                                      SYSCO SCALLOPS
                                                                                           ATTN: LEGAL DEPT
         State the term remaining      10/31/2017                                          1390 ENCLAVE PKWY
                                                                                           HOUSTON TX 77077-2099
         List the contract number of   _________________________________________________
         any government contract




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2.254.   Title of contract             FACILITY CLOSURE AGREEMENT                          State the name and mailing address
                                                                                           for all other parties with whom the
         State what the contract or    FACILITY AGREEMENT                                  debtor has an executory contract or
         lease is for                                                                      unexpired lease
         Nature of debtor's interest   CONTRACT PARTY                                      TAGEX
                                                                                           NEAL SHERMAN
         State the term remaining      _________________________________________________   PRESIDENT
                                                                                           121 SULLY'S TRAIL
         List the contract number of   _________________________________________________   STE 8
         any government contract                                                           PITTSFORD NY 14534


2.255.   Title of contract             REAL PROPERTY SUBLEASE AGREEMENT                    State the name and mailing address
                                                                                           for all other parties with whom the
         State what the contract or    REAL PROPERTY LEASE STORE # 31205                   debtor has an executory contract or
         lease is for                                                                      unexpired lease
         Nature of debtor's interest   LESSEE                                              TANGI EAST LLC NO 1
                                                                                           BRUNO AND BRUNO
         State the term remaining      12/17/28                                            JAMIE BUTTS
                                                                                           70325 HIGHWAY 1077 STE 2A
         List the contract number of   _________________________________________________   COVINGTON LA 70433
         any government contract


2.256.   Title of contract             PRICING AGREEMENT                                   State the name and mailing address
                                                                                           for all other parties with whom the
         State what the contract or    COBRA/FSA/HRA                                       debtor has an executory contract or
         lease is for                                                                      unexpired lease
         Nature of debtor's interest   EMPLOYER                                            TAXSAVER PLAN
                                                                                           PO BOX 609002
         State the term remaining      12/31/2017                                          DALLAS TX 75360
         List the contract number of   _________________________________________________
         any government contract


2.257.   Title of contract             REAL PROPERTY LEASE AGREEMENT                       State the name and mailing address
                                                                                           for all other parties with whom the
         State what the contract or    REAL PROPERTY LEASE STORE # 31246                   debtor has an executory contract or
         lease is for                                                                      unexpired lease
         Nature of debtor's interest   LESSEE                                              THE ANN DREVER COTTRELL
                                                                                           TRUST
         State the term remaining      12/17/28                                            SCOTT C MCDERMAND TRUSTEE
                                                                                           PO BOX 691
         List the contract number of   _________________________________________________   JAMUL CA 91935
         any government contract


2.258.   Title of contract             REAL PROPERTY LEASE AGREEMENT                       State the name and mailing address
                                                                                           for all other parties with whom the
         State what the contract or    REAL PROPERTY LEASE STORE # 31299                   debtor has an executory contract or
         lease is for                                                                      unexpired lease
         Nature of debtor's interest   LESSEE                                              THE AVENUE WEST COBB
                                                                                           HAZEL PAYNE
         State the term remaining      12/31/18                                            GENERAL MANAGER
                                                                                           3625 DALLAW HIGHWAY STE 470
         List the contract number of   _________________________________________________   MARIETTA GA 30064
         any government contract




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2.259.   Title of contract             PRICING AGREEMENT                                   State the name and mailing address
                                                                                           for all other parties with whom the
         State what the contract or    LIFE INSURANCE/AD&D/STD/LTD                         debtor has an executory contract or
         lease is for                                                                      unexpired lease
         Nature of debtor's interest   EMPLOYER                                            THE HARTFORD
                                                                                           THE HARTFORD GROUP BENEFITS
         State the term remaining      12/31/2017                                          DIVISION
                                                                                           PO BOX 783690
         List the contract number of   _________________________________________________   PHILADELPHIA PA 19178
         any government contract


2.260.   Title of contract             NON-DISCLOSURE AGREEMENT                            State the name and mailing address
                                                                                           for all other parties with whom the
         State what the contract or    CONFIDENTIALITY AGREEMENT                           debtor has an executory contract or
         lease is for                                                                      unexpired lease
         Nature of debtor's interest   CONTRACT PARTY                                      THE HIRAOKA FAMILY TRUST
                                                                                           475 OREGON AVENUE
         State the term remaining      _________________________________________________   PALO ALTO CA 94301
         List the contract number of   _________________________________________________
         any government contract


2.261.   Title of contract             REAL PROPERTY LEASE AGREEMENT                       State the name and mailing address
                                                                                           for all other parties with whom the
         State what the contract or    REAL PROPERTY LEASE STORE # 31148                   debtor has an executory contract or
         lease is for                                                                      unexpired lease
         Nature of debtor's interest   LESSEE                                              THE IRVINE CO LLC
                                                                                           GENERAL COUNSEL
         State the term remaining      1/31/23                                             KAROL H REDDY PROPERTY
                                                                                           ASSISTANT
         List the contract number of   _________________________________________________   550 NEWPORT CTR DR
         any government contract                                                           NEWPORT BEACH CA 92660


2.262.   Title of contract             REAL PROPERTY SUBLEASE AGREEMENT                    State the name and mailing address
                                                                                           for all other parties with whom the
         State what the contract or    REAL PROPERTY LEASE STORE # 31084                   debtor has an executory contract or
         lease is for                                                                      unexpired lease
         Nature of debtor's interest   LESSEE                                              THE PELICAN BATON ROUGE LLC
                                                                                           FENET TREADWAY GAUDIN
         State the term remaining      10/31/21                                            JENNIFER TREADWAY COUNSEL
                                                                                           4021 WE HECK CT
         List the contract number of   _________________________________________________   BATON ROUGE LA 70816
         any government contract


2.263.   Title of contract             REAL PROPERTY LEASE AGREEMENT                       State the name and mailing address
                                                                                           for all other parties with whom the
         State what the contract or    REAL PROPERTY LEASE STORE # 31004                   debtor has an executory contract or
         lease is for                                                                      unexpired lease
         Nature of debtor's interest   LESSEE                                              THE RETAIL CONNECTION
                                                                                           CARLA NEEL
         State the term remaining      10/31/23                                            221 W 6TH ST STE 1030
                                                                                           AUSTIN TX 78701
         List the contract number of   _________________________________________________
         any government contract




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2.264.   Title of contract             SAAS MODEL AGREEMENT                                State the name and mailing address
                                                                                           for all other parties with whom the
         State what the contract or    SUPPLY AGREEMENT                                    debtor has an executory contract or
         lease is for                                                                      unexpired lease
         Nature of debtor's interest   CONTRACT PARTY                                      THE ULTIMATE SOFTWARE
                                                                                           2000 ULTIMATE WAY
         State the term remaining      6/29/2014                                           WESTON FL 33326
         List the contract number of   _________________________________________________
         any government contract


2.265.   Title of contract             SAAS MODEL AGREEMENT ADDENDUM                       State the name and mailing address
                                                                                           for all other parties with whom the
         State what the contract or    SUPPLY AGREEMENT                                    debtor has an executory contract or
         lease is for                                                                      unexpired lease
         Nature of debtor's interest   CONTRACT PARTY                                      THE ULTIMATE SOFTWARE
                                                                                           ADDENDUM
         State the term remaining      12/31/2016                                          2000 ULTIMATE WAY
                                                                                           WESTON FL 33326
         List the contract number of   _________________________________________________
         any government contract


2.266.   Title of contract             SAAS MODEL AGREEMENT ADDENDUM 2                     State the name and mailing address
                                                                                           for all other parties with whom the
         State what the contract or    SUPPLY AGREEMENT                                    debtor has an executory contract or
         lease is for                                                                      unexpired lease
         Nature of debtor's interest   CONTRACT PARTY                                      THE ULTIMATE SOFTWARE
                                                                                           ADDENDUM 2
         State the term remaining      12/31/2018                                          2000 ULTIMATE WAY
                                                                                           WESTON FL 33326
         List the contract number of   _________________________________________________
         any government contract


2.267.   Title of contract             SAAS MODEL AGREEMENT ADDENDUM 3                     State the name and mailing address
                                                                                           for all other parties with whom the
         State what the contract or    SUPPLY AGREEMENT                                    debtor has an executory contract or
         lease is for                                                                      unexpired lease
         Nature of debtor's interest   CONTRACT PARTY                                      THE ULTIMATE SOFTWARE
                                                                                           ADDENDUM 3
         State the term remaining      12/31/2018                                          2000 ULTIMATE WAY
                                                                                           WESTON FL 33326
         List the contract number of   _________________________________________________
         any government contract


2.268.   Title of contract             CUSTOMS PREPAID MAINTENANCE PLAN                    State the name and mailing address
                                                                                           for all other parties with whom the
         State what the contract or    SUPPLY AGREEMENT                                    debtor has an executory contract or
         lease is for                                                                      unexpired lease
         Nature of debtor's interest   CONTRACT PARTY                                      THE ULTIMATE SOFTWARE
                                                                                           MAINTENANCE
         State the term remaining      12/31/2012                                          2000 ULTIMATE WAY
                                                                                           WESTON FL 33326
         List the contract number of   _________________________________________________
         any government contract




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2.269.   Title of contract             REAL PROPERTY LEASE AGREEMENT                       State the name and mailing address
                                                                                           for all other parties with whom the
         State what the contract or    REAL PROPERTY LEASE STORE # 31235                   debtor has an executory contract or
         lease is for                                                                      unexpired lease
         Nature of debtor's interest   LESSEE                                              THOMAS TYLER PATRICIA TYLER
                                                                                           AND
         State the term remaining      6/30/21                                             WILLIAM SEIDER
                                                                                           PATRICIA TYLER
         List the contract number of   _________________________________________________   2202 CASEY KEY RD
         any government contract                                                           NOKOMIS FL 34275


2.270.   Title of contract             FOODSERVICE EQUIPMENT AGREEMENT                     State the name and mailing address
                                                                                           for all other parties with whom the
         State what the contract or    EQUIPMENT AGREEMENT                                 debtor has an executory contract or
         lease is for                                                                      unexpired lease
         Nature of debtor's interest   CONTRACT PARTY                                      TRIMARK SS KEMP
                                                                                           STEVE FISHMAN
         State the term remaining      4/13/2017                                           EXECUTIVE VICE PRESIDENT
                                                                                           4567 WILLOW PARKWAY
         List the contract number of   _________________________________________________   CLEVELAND OH 44125
         any government contract


2.271.   Title of contract             NON-DISCLOSURE AGREEMENT                            State the name and mailing address
                                                                                           for all other parties with whom the
         State what the contract or    CONFIDENTIAL AGREEMENT                              debtor has an executory contract or
         lease is for                                                                      unexpired lease
         Nature of debtor's interest   CONTRACT PARTY                                      TRINTECH INC
                                                                                           15851 DALLAS PKWY STE 900
         State the term remaining      _________________________________________________   ADDISON TX 75320
         List the contract number of   _________________________________________________
         any government contract


2.272.   Title of contract             SUBSCRIPTION SERVICES AGREEMENT                     State the name and mailing address
                                                                                           for all other parties with whom the
         State what the contract or    SUBSCRIPTION AGREEMENT                              debtor has an executory contract or
         lease is for                                                                      unexpired lease
         Nature of debtor's interest   CONTRACT PARTY                                      TRINTECH, INC.
                                                                                           15851 DALLAS PKWY STE 900
         State the term remaining      1/15/2019                                           ADDISON TX 75320
         List the contract number of   _________________________________________________
         any government contract


2.273.   Title of contract             OPERATOR NEGOTIATED SUPPLY AGREEMENTS               State the name and mailing address
                                                                                           for all other parties with whom the
         State what the contract or    SUPPLY AGREEMENT                                    debtor has an executory contract or
         lease is for                                                                      unexpired lease
         Nature of debtor's interest   CONTRACT PARTY                                      TYSON FOODS, INC. AND ITS
                                                                                           MAJORITY OWNED SUBSIDIARIES
         State the term remaining      9/30/2017                                           TYSON CT
                                                                                           PO BOX 100082
         List the contract number of   _________________________________________________   PASADENA CA 91189-0003
         any government contract




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2.274.   Title of contract             OPERATOR NEGOTIATED SUPPLY AGREEMENT                State the name and mailing address
                                                                                           for all other parties with whom the
         State what the contract or    SUPPLY AGREEMENT                                    debtor has an executory contract or
         lease is for                                                                      unexpired lease
         Nature of debtor's interest   CONTRACT PARTY                                      TYSON FOODS, INC. AND ITS
                                                                                           MAJORITY OWNED SUBSIDIARIES
         State the term remaining      12/31/2017                                          TYSON CT RENEWAL 1
                                                                                           PO BOX 100082
         List the contract number of   _________________________________________________   PASADENA CA 91189-0003
         any government contract


2.275.   Title of contract             OPERATOR NEGOTIATED SUPPLY AGREEMENTS               State the name and mailing address
                                                                                           for all other parties with whom the
         State what the contract or    SUPPLY AGREEMENT                                    debtor has an executory contract or
         lease is for                                                                      unexpired lease
         Nature of debtor's interest   CONTRACT PARTY                                      TYSON FOODS, INC. AND ITS
                                                                                           MAJORITY OWNED SUBSIDIARIES
         State the term remaining      9/30/2017                                           TYSON FOODS AS
                                                                                           PO BOX 100082
         List the contract number of   _________________________________________________   PASADENA CA 91189-0003
         any government contract


2.276.   Title of contract             OPERATOR NEGOTIATED SUPPLY AGREEMENTS               State the name and mailing address
                                                                                           for all other parties with whom the
         State what the contract or    SUPPLY AGREEMENT                                    debtor has an executory contract or
         lease is for                                                                      unexpired lease
         Nature of debtor's interest   CONTRACT PARTY                                      TYSON FOODS, INC. AND ITS
                                                                                           MAJORITY OWNED SUBSIDIARIES
         State the term remaining      12/31/2017                                          TYSON FOODS AS RENEWAL 1
                                                                                           PO BOX 100082
         List the contract number of   _________________________________________________   PASADENA CA 91189-0003
         any government contract


2.277.   Title of contract             OPERATOR NEGOTIATED SUPPLY AGREEMENTS               State the name and mailing address
                                                                                           for all other parties with whom the
         State what the contract or    SUPPLY AGREEMENT                                    debtor has an executory contract or
         lease is for                                                                      unexpired lease
         Nature of debtor's interest   CONTRACT PARTY                                      TYSON FOODS, INC. AND ITS
                                                                                           MAJORITY OWNED SUBSIDIARIES
         State the term remaining      9/30/2017                                           TYSON FOODS INC S/C
                                                                                           PO BOX 100082
         List the contract number of   _________________________________________________   PASADENA CA 91189-0003
         any government contract


2.278.   Title of contract             OPERATOR NEGOTIATED SUPPLY AGREEMENT                State the name and mailing address
                                                                                           for all other parties with whom the
         State what the contract or    SUPPLY AGREEMENT                                    debtor has an executory contract or
         lease is for                                                                      unexpired lease
         Nature of debtor's interest   CONTRACT PARTY                                      TYSON FOODS, INC. AND ITS
                                                                                           MAJORITY OWNED SUBSIDIARIES
         State the term remaining      12/31/2017                                          TYSON S/C RENEWAL 1
                                                                                           PO BOX 100082
         List the contract number of   _________________________________________________   PASADENA CA 91189-0003
         any government contract




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Debtor   MAC ACQUISITION LLC                                                                     Case number (if known) 17-12224

2.279.   Title of contract             ACKNOWLEDGEMENT OF MEDIA-BUYING SERVICES            State the name and mailing address
                                                                                           for all other parties with whom the
         State what the contract or    SERVICE AGREEMENT                                   debtor has an executory contract or
         lease is for                                                                      unexpired lease
         Nature of debtor's interest   CONTRACT PARTY                                      VALASSIS
                                                                                           AMY CARAN
         State the term remaining      _________________________________________________   19975 VICTOR PARKWAY
                                                                                           LIVONIA MI 48152
         List the contract number of   _________________________________________________
         any government contract


2.280.   Title of contract             OPERATOR NEGOTIATED SUPPLIER AGREEMENTS             State the name and mailing address
                                                                                           for all other parties with whom the
         State what the contract or    SUPPLIER AGREEMENT                                  debtor has an executory contract or
         lease is for                                                                      unexpired lease
         Nature of debtor's interest   CONTRACT PARTY                                      VENTURA FOODS
                                                                                           VENTURA FOODS
         State the term remaining      9/30/2017                                           1501 ORCHARD DR
                                                                                           CHAMBERSBURG PA 17201-4812
         List the contract number of   _________________________________________________
         any government contract


2.281.   Title of contract             OPERATOR NEGOTIATED SUPPLIER AGREEMENT              State the name and mailing address
                                                                                           for all other parties with whom the
         State what the contract or    SUPPLIER AGREEMENT                                  debtor has an executory contract or
         lease is for                                                                      unexpired lease
         Nature of debtor's interest   CONTRACT PARTY                                      VENTURA FOODS
                                                                                           VENTURA FOODS 1
         State the term remaining      12/31/2017                                          1501 ORCHARD DR
                                                                                           CHAMBERSBURG PA 17201-4812
         List the contract number of   _________________________________________________
         any government contract


2.282.   Title of contract             REAL PROPERTY LEASE AGREEMENT                       State the name and mailing address
                                                                                           for all other parties with whom the
         State what the contract or    REAL PROPERTY LEASE STORE # 31233                   debtor has an executory contract or
         lease is for                                                                      unexpired lease
         Nature of debtor's interest   LESSEE                                              VESTAR DRMOP LLC
                                                                                           PRESIDENT
         State the term remaining      10/31/21                                            PAT MCGINLEY PROPERTY
                                                                                           MANAGEMENT
         List the contract number of   _________________________________________________   VESTAR DEVELOPMENT
         any government contract                                                           2425 E CAMELBACK ROAD STE 750
                                                                                           PHOENIX AZ 85016


2.283.   Title of contract             PRICING AGREEMENT                                   State the name and mailing address
                                                                                           for all other parties with whom the
         State what the contract or    VISION BENEFITS                                     debtor has an executory contract or
         lease is for                                                                      unexpired lease
         Nature of debtor's interest   EMPLOYER                                            VISION PLAN SERVICES
                                                                                           3333 QUALITY DR
         State the term remaining      12/31/2017                                          RANCHO CORDOVA CA 95670
         List the contract number of   _________________________________________________
         any government contract




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2.284.   Title of contract             REAL PROPERTY LEASE AGREEMENT                       State the name and mailing address
                                                                                           for all other parties with whom the
         State what the contract or    REAL PROPERTY LEASE STORE # 31212                   debtor has an executory contract or
         lease is for                                                                      unexpired lease
         Nature of debtor's interest   LESSEE                                              VR PARTNERS I LP
                                                                                           BILL DEMUTH PRESIDENT
         State the term remaining      9/30/20                                             6831 PRESTONSHIRE LN
                                                                                           DALLAS TX 75225
         List the contract number of   _________________________________________________
         any government contract


2.285.   Title of contract             INSURANCE                                           State the name and mailing address
                                                                                           for all other parties with whom the
         State what the contract or    INSURANCE - WORKERS COMP.                           debtor has an executory contract or
         lease is for                                                                      unexpired lease
         Nature of debtor's interest   INSURED                                             WASHINGTON STATE DEPT. OF
                                                                                           LABOR & INDUSTRIES
         State the term remaining      _________________________________________________   PO BOX 44000
                                                                                           OLYMPIA WA 98504-4000
         List the contract number of   _________________________________________________
         any government contract


2.286.   Title of contract             REAL PROPERTY LEASE AGREEMENT                       State the name and mailing address
                                                                                           for all other parties with whom the
         State what the contract or    REAL PROPERTY LEASE STORE # 31185                   debtor has an executory contract or
         lease is for                                                                      unexpired lease
         Nature of debtor's interest   LESSEE                                              WDRE MG LLC
                                                                                           CINDI ANDERSON PRESIDENT
         State the term remaining      12/17/28                                            10172 INDIAN RIDGE
                                                                                           RENO NV 89511
         List the contract number of   _________________________________________________
         any government contract


2.287.   Title of contract             REAL PROPERTY LEASE AGREEMENT                       State the name and mailing address
                                                                                           for all other parties with whom the
         State what the contract or    REAL PROPERTY LEASE STORE # 31296                   debtor has an executory contract or
         lease is for                                                                      unexpired lease
         Nature of debtor's interest   LESSEE                                              WEINGARTEN MILLER AURORA II
                                                                                           LLC AND
         State the term remaining      10/31/18                                            GDC AURORA LLC TENANTS IN
                                                                                           COMMON
         List the contract number of   _________________________________________________   WEINGARTEN REALTY MANAG CO
         any government contract                                                           TIFFANY TRAN LEGAL
                                                                                           ADMINISTRATOR
                                                                                           2600 CITADEL PLZ DR STE 125
                                                                                           HOUSTON TX 77008


2.288.   Title of contract             REAL PROPERTY LEASE AGREEMENT                       State the name and mailing address
                                                                                           for all other parties with whom the
         State what the contract or    REAL PROPERTY LEASE STORE # 31081                   debtor has an executory contract or
         lease is for                                                                      unexpired lease
         Nature of debtor's interest   LESSEE                                              WELLS LAKE BUENA VISTA LLC
                                                                                           BILL HALE
         State the term remaining      12/17/28                                            40 FRANCIS RD
                                                                                           HENDERSONVILLE NC 28792
         List the contract number of   _________________________________________________
         any government contract




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2.289.   Title of contract             REAL PROPERTY LEASE AGREEMENT                       State the name and mailing address
                                                                                           for all other parties with whom the
         State what the contract or    REAL PROPERTY LEASE STORE # 31029                   debtor has an executory contract or
         lease is for                                                                      unexpired lease
         Nature of debtor's interest   LESSEE                                              WINROCK PARTNERS LLC
                                                                                           COLETTE WHARTON
         State the term remaining      12/31/23                                            GOODMAN REALTY GROUP
                                                                                           100 SUN AVE NE STE 210
         List the contract number of   _________________________________________________   ALBUQUERQUE NM 87109
         any government contract


2.290.   Title of contract             REAL PROPERTY LEASE AGREEMENT                       State the name and mailing address
                                                                                           for all other parties with whom the
         State what the contract or    REAL PROPERTY LEASE STORE # 31165                   debtor has an executory contract or
         lease is for                                                                      unexpired lease
         Nature of debtor's interest   LESSEE                                              WOLF ROAD PARK II LLC
                                                                                           C O THE BELTRONE GROUP LLC
         State the term remaining      11/8/22                                             JOSEPH G CARANFA VICE
                                                                                           PRESIDENT
         List the contract number of   _________________________________________________   14 HEMLOCK ST BOX 517
         any government contract                                                           LATHAM NY 12110


2.291.   Title of contract             INSURANCE                                           State the name and mailing address
                                                                                           for all other parties with whom the
         State what the contract or    INSURANCE - CYBER LIABILITY                         debtor has an executory contract or
         lease is for                                                                      unexpired lease
         Nature of debtor's interest   INSURED                                             XL CAITLIN
                                                                                           190 S. LASALLE ST
         State the term remaining      _________________________________________________   39TH FL
                                                                                           CHICAGO IL 60603
         List the contract number of   _________________________________________________
         any government contract


2.292.   Title of contract             SALE OF ALCOHOL BEVERAGE CONTROL LICENSE            State the name and mailing address
                                                                                           for all other parties with whom the
         State what the contract or    ALCOHOL BEVERAGE CONTROL                            debtor has an executory contract or
         lease is for                                                                      unexpired lease
         Nature of debtor's interest   CONTRACT PARTY                                      YARDBIRD BEVERLY HILLS LLC
                                                                                           8505 W. 3RD ST
         State the term remaining      _________________________________________________   STE 100
                                                                                           LOS ANGELES CA 90048
         List the contract number of   _________________________________________________
         any government contract


2.293.   Title of contract             PURCHASE ORDER                                      State the name and mailing address
                                                                                           for all other parties with whom the
         State what the contract or    WEB AGREEMENT                                       debtor has an executory contract or
         lease is for                                                                      unexpired lease
         Nature of debtor's interest   CONTRACT PARTY                                      YELP, INC.
                                                                                           140 NEW MONTGOMERY ST
         State the term remaining      9/1/2018                                            SAN FRANCISCO CA 94105
         List the contract number of   _________________________________________________
         any government contract




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Fill in this information to identify the case:

Debtor name: MAC ACQUISITION LLC
United States Bankruptcy Court for the: District of Delaware
Case number (if known): 17-12224

                                                                                                                              ¨ Check if this is an
                                                                                                                                     amended filing

Official Form 206H
Schedule H: Codebtors                                                                                                                         12/15

Be as complete and accurate as possible. If more space is needed, copy the Additional Page, numbering the entries consecutively.
Attach the Additional Page to this page.

1.     Does the debtor have any codebtors?
       ¨ No. Check this box and submit this form to the court with the debtor's other schedules. Nothing else needs to be reported on this form.
       þ Yes
2.     In Column 1, list as codebtors all of the people or entities who are also liable for any debts listed by the debtor in the
       schedules of creditors, Schedules D-G. Include all guarantors and co-obligors. In Column 2, identify the creditor to whom the
       debt is owed and each schedule on which the creditor is listed. If the codebtor is liable on a debt to more than one creditor, list
       each creditor separately in Column 2.

       Column 1: Codebtor                                                           Column 2: Creditor

       Name                               Mailing address                           Name                               Check all schedules that
                                                                                                                       apply:


2.1.   BARBARA RIESEN                     PO BOX 25040                              BANK OF COLORADO                   þD
                                          SCOTTSDALE AZ 85255
                                                                                                                       ¨ E/F
                                                                                                                       ¨G
2.2.   DEAN A RIESEN                      1855 BLAKE ST                             BANK OF COLORADO                   þD
                                          SUITE 200
                                          DENVER CO 80202                                                              ¨ E/F
                                                                                                                       ¨G
2.3.   MAC ACQUISITION IP LLC             1855 BLAKE ST                             BANK OF COLORADO                   þD
                                          STE 200
                                          DENVER CO 80202                                                              ¨ E/F
                                                                                                                       ¨G
2.4.   MAC ACQUISITION OF ANNE            1855 BLAKE ST                             BANK OF COLORADO                   þD
       ARUNDEL COUNTY LLC                 STE 200
                                          DENVER CO 80202                                                              ¨ E/F
                                                                                                                       ¨G
2.5.   MAC ACQUISITION OF                 1855 BLAKE ST                             BANK OF COLORADO                   þD
       BALTIMORE COUNTY LLC               STE 200
                                          DENVER CO 80202                                                              ¨ E/F
                                                                                                                       ¨G
2.6.   MAC ACQUISITION OF                 1855 BLAKE ST                             BANK OF COLORADO                   þD
       FREDERICK COUNTY LLC               STE 200
                                          DENVER CO 80202                                                              ¨ E/F
                                                                                                                       ¨G

Official Form 206H                                          Schedule H: Codebtors                                                       Page 1 of 3
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Debtor   MAC ACQUISITION LLC                                                             Case number (if known) 17-12224

       Column 1: Codebtor                                           Column 2: Creditor

       Name                     Mailing address                     Name                      Check all schedules that
                                                                                              apply:

2.7.   MAC ACQUISITION OF       1855 BLAKE ST                       BANK OF COLORADO          þD
       KANSAS LLC               STE 200
                                DENVER CO 80202                                               ¨ E/F
                                                                                              ¨G
2.8.   MAC ACQUISITION OF NEW   1855 BLAKE ST                       BANK OF COLORADO          þD
       JERSEY LLC               STE 200
                                DENVER CO 80202                                               ¨ E/F
                                                                                              ¨G
2.9.   MAC HOLDING LLC          1855 BLAKE ST                       BANK OF COLORADO          þD
                                STE 200
                                DENVER CO 80202                                               ¨ E/F
                                                                                              ¨G
2.10. MAC HOLDING LLC           1855 BLAKE ST                       RIESEN FUNDING LLC        þD
                                STE 200
                                DENVER CO 80202                                               ¨ E/F
                                                                                              ¨G
2.11. MAC PARENT LLC            1855 BLAKE ST                       BANK OF COLORADO          þD
                                STE 200
                                DENVER CO 80202                                               ¨ E/F
                                                                                              ¨G
2.12. MAC PARENT LLC            1855 BLAKE ST                       RIESEN FUNDING LLC        þD
                                STE 200
                                DENVER CO 80202                                               ¨ E/F
                                                                                              ¨G
2.13. MAC PARENT LLC            1855 BLAKE ST                       LIG ELECTRIC INC          þD
                                STE 200
                                DENVER CO 80202                                               ¨ E/F
                                                                                              ¨G
2.14. MAC PARENT LLC            1855 BLAKE ST                       HANAE BGHIGH              ¨D
                                STE 200
                                DENVER CO 80202                                               þ E/F
                                                                                              þG
2.15. MAC PARENT LLC            1855 BLAKE ST                       JHARED EKRYSS             ¨D
                                STE 200
                                DENVER CO 80202                                               þ E/F
                                                                                              ¨G
2.16. MAC PARENT LLC            1855 BLAKE ST                       TONI WESTBROOK            ¨D
                                STE 200
                                DENVER CO 80202                                               þ E/F
                                                                                              ¨G
2.17. MACARONI GRILL SERVICES   1855 BLAKE ST                       BANK OF COLORADO          þD
      LLC                       STE 200
                                DENVER CO 80202                                               ¨ E/F
                                                                                              ¨G
Official Form 206H                                Schedule H: Codebtors                                       Page 2 of 3
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Debtor   MAC ACQUISITION LLC                                                            Case number (if known) 17-12224

      Column 1: Codebtor                                           Column 2: Creditor

      Name                     Mailing address                     Name                      Check all schedules that
                                                                                             apply:


2.18. MONFORT FAMILY LIMITED   COORS FIELD                         BANK OF COLORADO          þD
      PARTNERSHIP I            2001 BLAKE ST
                               DENVER CO 80202                                               ¨ E/F
                                                                                             ¨G
2.19. REDROCK PARTNERS, LLC    1855 BLAKE ST                       BANK OF COLORADO          þD
                               STE 200
                               DENVER CO 80202                                               ¨ E/F
                                                                                             ¨G
2.20. RICHARD MONFORT          COORS FIELD                         BANK OF COLORADO          þD
                               2001 BLAKE ST
                               DENVER CO 80202                                               ¨ E/F
                                                                                             ¨G
2.21. RIESEN & COMPANY LLC     PO BOX 25040                        BANK OF COLORADO          þD
                               SCOTTSDALE AZ 85255
                                                                                             ¨ E/F
                                                                                             ¨G
2.22. RIESEN FUNDING LLC       PO BOX 25040                        BANK OF COLORADO          þD
                               SCOTTSDALE AZ 85255
                                                                                             ¨ E/F
                                                                                             ¨G
2.23. RMG DEVELOPMENT, LLC     1855 BLAKE ST                       BANK OF COLORADO          þD
                               STE 200
                               DENVER CO 80202                                               ¨ E/F
                                                                                             ¨G




Official Form 206H                               Schedule H: Codebtors                                       Page 3 of 3
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Fill in this information to identify the case:

Debtor name: MAC ACQUISITION LLC
United States Bankruptcy Court for the: District of Delaware
Case number (if known): 17-12224



Official Form 202
Declaration Under Penalty of Perjury for Non-Individual Debtors                                                                                    12/15

An individual who is authorized to act on behalf of a non-individual debtor, such as a corporation or partnership, must sign and submit this
form for the schedules of assets and liabilities, any other document that requires a declaration that is not included in the document, and any
amendments of those documents. This form must state the individual’s position or relationship to the debtor, the identity of the document,
and the date. Bankruptcy Rules 1008 and 9011.

WARNING -- Bankruptcy fraud is a serious crime. Making a false statement, concealing property, or obtaining money or property by fraud in
connection with a bankruptcy case can result in fines up to $500,000 or imprisonment for up to 20 years, or both. 18 U.S.C. §§ 152, 1341,
1519, and 3571.



            Declaration and signature



      I am the president, another officer, or an authorized agent of the corporation; a member or an authorized agent of the partnership; or
      another individual serving as a representative of the debtor in this case.
      I have examined the information in the documents checked below and I have a reasonable belief that the information is true and correct:



      þ Schedule A/B: Assets–Real and Personal Property (Official Form 206A/B)
      þ Schedule D: Creditors Who Have Claims Secured by Property (Official Form 206D)
      þ Schedule E/F: Creditors Who Have Unsecured Claims (Official Form 206E/F)
      þ Schedule G: Executory Contracts and Unexpired Leases (Official Form 206G)
      þ Schedule H: Codebtors (Official Form 206H)
      þ Summary of Assets and Liabilities for Non-Individuals (Official Form 206Sum)
      ¨ Amended Schedule ____
      ¨ Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 20 Largest Unsecured Claims and Are Not Insiders (Official Form 204)
      ¨ Other document that requires a declaration _______________________________________________________________________


      I declare under penalty of perjury that the foregoing is true and correct.



       Executed on      11/17/2017
                        MM/DD/YYYY                                û_/s/ Nishant Machado________________________________________________
                                                                      Signature of individual signing on behalf of debtor


                                                                      Nishant Machado
                                                                      Printed name


                                                                      President, CEO and Chief Restructuring Officer
                                                                      Position or relationship to debtor




Official Form 202                     Declaration Under Penalty of Perjury for Non-Individual Debtors                                         Page 1 of 1
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                       IN THE UNITED STATES BANKRUPTCY COURT
                            FOR THE DISTRICT OF DELAWARE

                                                           Chapter 11
In re:
                                                           Case No. 17-12224 (MFW)
                                         1
MAC ACQUISITION LLC, et al.,
                                                           (Jointly Administered)
                                   Debtors.


                  GLOBAL NOTES, METHODOLOGY AND SPECIFIC
             DISCLOSURES REGARDING THE DEBTORS’ SCHEDULES OF
         ASSETS AND LIABILITIES AND STATEMENTS OF FINANCIAL AFFAIRS

                                                 Introduction

        Mac Acquisition LLC, Mac Parent LLC, Mac Holding LLC, Mac Acquisition of New
Jersey LLC, Mac Acquisition of Kansas LLC, Mac Acquisition of Anne Arundel County LLC,
Mac Acquisition of Frederick County LLC, Mac Acquisition of Baltimore County LLC, and
Macaroni Grill Services LLC (collectively, the “Debtors”) with the assistance of their advisors,
have filed their respective Schedules of Assets and Liabilities (the “Schedules”) and Statements
of Financial Affairs (the “Statements,” and together with the Schedules, the “Schedules and
Statements”) with the United States Bankruptcy Court for the District of Delaware
(the “Bankruptcy Court”), pursuant to section 521 of title 11 of the United States Code
(the “Bankruptcy Code”) and Rule 1007 of the Federal Rules of Bankruptcy Procedure
(the “Bankruptcy Rules”).

       These Global Notes, Methodology, and Specific Disclosures Regarding the Debtors’
Schedules of Assets and Liabilities and Statements of Financial Affairs (the “Global Notes”)
pertain to, are incorporated by reference in, and comprise an integral part of each Debtor’s
Schedules and Statements. The Global Notes should be referred to, considered, and reviewed in
connection with any review of the Schedules and Statements.

        The Schedules and Statements do not purport to represent financial statements prepared
in accordance with Generally Accepted Accounting Principles in the United States (“GAAP”),
nor are they intended to be fully reconciled with the financial statements of each Debtor (whether
publically filed or otherwise). Additionally, the Schedules and Statements contain unaudited
information that is subject to further review and potential adjustment, and reflect the Debtors’
reasonable efforts to report the assets and liabilities of each Debtor on an unconsolidated basis.

1    The Debtors and the last four digits of their respective taxpayer identification numbers are as follows: Mac
Acquisition LLC (6362); Mac Parent LLC (6715); Mac Holding LLC (6682); Mac Acquisition of New Jersey LLC
(1121); Mac Acquisition of Kansas LLC (3910); Mac Acquisition of Anne Arundel County LLC (6571); Mac
Acquisition of Frederick County LLC (6881); Mac Acquisition of Baltimore County LLC (6865); and Macaroni
Grill Services LLC (5963). The headquarters for the above-captioned Debtors is located at 1855 Blake St., Ste. 200,
Denver, CO 80202.
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       In preparing the Schedules and Statements, the Debtors relied upon information derived
from their books and records that was available at the time of such preparation. Although the
Debtors have made reasonable efforts to ensure the accuracy and completeness of such financial
information, inadvertent errors or omissions, as well as the discovery of conflicting, revised, or
subsequent information, may cause a material change to the Schedules and Statements.

        The Debtors and their officers, employees, agents, attorneys and financial advisors do not
guarantee or warrant the accuracy or completeness of the data that is provided in the Schedules
and Statements and shall not be liable for any loss or injury arising out of or caused in whole or
in part by the acts, omissions, whether negligent or otherwise, in procuring, compiling,
collecting, interpreting, reporting, communicating or delivering the information contained in the
Schedules and Statements. Except as expressly required by the Bankruptcy Code, the Debtors
and their officers, employees, agents, attorneys and financial advisors expressly do not undertake
any obligation to update, modify, revise or re-categorize the information provided in the
Schedules and Statements or to notify any third party should the information be updated,
modified, revised or re-categorized. The Debtors, on behalf of themselves, their officers,
employees, agents and advisors disclaim any liability to any third party arising out of or related
to the information contained in the Schedules and Statements and reserve all rights with respect
thereto.

        The Schedules and Statements have been signed by an authorized representative of each
of the Debtors. In reviewing and signing the Schedules and Statements, this representative relied
upon the efforts, statements and representations of the Debtors’ other personnel and
professionals. The representative has not (and could not have) personally verified the accuracy of
each such statement and representation, including, for example, statements and representations
concerning amounts owed to creditors and their addresses.

                         Global Notes and Overview of Methodology

1. Reservation of Rights. Reasonable efforts have been made to prepare and file complete and
   accurate Schedules and Statements; however, inadvertent errors or omissions may exist. The
   Debtors reserve all rights to amend or supplement the Schedules and Statements from time to
   time, in all respects, as may be necessary or appropriate, including, without limitation, the
   right to amend the Schedules and Statements with respect to claim (“Claim”) description,
   designation, or Debtor against which the Claim is asserted; dispute or otherwise assert offsets
   or defenses to any Claim reflected in the Schedules and Statements as to amount, liability,
   priority, status, or classification; subsequently designate any Claim as “disputed,”
   “contingent,” or “unliquidated;” or object to the extent, validity, enforceability, priority, or
   avoidability of any Claim. Any failure to designate a Claim in the Schedules and Statements
   as “disputed,” “contingent,” or “unliquidated” does not constitute an admission by the
   Debtors that such Claim or amount is not “disputed,” “contingent,” or “unliquidated.”
   Listing a Claim does not constitute an admission of liability by the Debtor against which the
   Claim is listed or against any of the Debtors. Furthermore, nothing contained in the
   Schedules and Statements shall constitute a waiver of rights with respect to the Debtors’
   chapter 11 cases, including, without limitation, issues involving Claims, substantive
   consolidation, defenses, equitable subordination, recharacterization, and/or causes of action
   arising under the provisions of chapter 5 of the Bankruptcy Code and any other relevant non-

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   bankruptcy laws to recover assets or avoid transfers. Any specific reservation of rights
   contained elsewhere in the Global Notes does not limit in any respect the general reservation
   of rights contained in this paragraph. Notwithstanding the foregoing, the Debtors shall not be
   required to update the Schedules and Statements.

   The listing in the Schedules or Statements (including, without limitation, Schedule A/B,
   Schedule E/F or Statement 4) by the Debtors of any obligation between a Debtor and another
   Debtor is a statement of what appears in the Debtors’ books and records and does not reflect
   any admission or conclusion of the Debtors regarding whether such amount would be
   allowed as a Claim or how such obligations may be classified and/or characterized in a plan
   of reorganization or by the Bankruptcy Court.

2. Description of Cases and “as of” Information Date. On October 18, 2017 (the “Petition
   Date”), the Debtors filed voluntary petitions for relief under chapter 11 of the Bankruptcy
   Code. The Debtors are operating their businesses and managing their properties as debtors in
   possession pursuant to sections 1107(a) and 1108 of the Bankruptcy Code. On October 19,
   2017, the Bankruptcy Court entered an order directing procedural consolidation and joint
   administration of the Debtors’ chapter 11 cases [Docket No. 39].

   The asset information provided in the Schedules and Statements, except as otherwise
   noted, represents the asset data of the Debtors as of the close of business on September
   25, 2017, and the liability information provided herein, except as otherwise noted,
   represents the liability data of the Debtors as of the close of business on October 17,
   2017.

3. Net Book Value of Assets. It would be prohibitively expensive, unduly burdensome, and an
   inefficient use of estate assets for the Debtors to obtain current market valuations for all of
   their assets as of the Petition Date. Accordingly, unless otherwise indicated, the Debtors’
   Schedules and Statements reflect net book values as of the period ended August 31, 2017, as
   set forth in the Debtors’ books and records. Additionally, because the book values of certain
   assets, such as patents, trademarks, and copyrights, may materially differ from their fair
   market values, they may be listed as undetermined amounts as of the Petition Date.
   Furthermore, as applicable, assets that have fully depreciated or were expensed for
   accounting purposes may not appear in the Schedules and Statements if they have no net
   book value.

4. Recharacterization.       Notwithstanding the Debtors’ reasonable efforts to properly
   characterize, classify, categorize, or designate certain Claims, assets, executory contracts,
   unexpired leases and other items reported in the Schedules and Statements, the Debtors may,
   nevertheless, have improperly characterized, classified, categorized, designated (including as
   “disputed,” “contingent,” “unliquidated,” and “subject to set-off”), or omitted certain items
   or designations due to the complexity and size of the Debtors’ businesses. Accordingly, the
   Debtors reserve all of their rights to recharacterize, reclassify, recategorize, redesignate, add
   or delete items reported in the Schedules and Statements at a later time as is necessary or
   appropriate as additional information becomes available, including, without limitation,
   whether contracts or leases listed herein were deemed executory or unexpired as of the
   Petition Date and remain executory and unexpired postpetition.

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5. Real Property and Personal Property–Leased. In the ordinary course of their businesses,
   the Debtors lease real property and various articles of personal property, including, fixtures,
   and equipment, from certain third-party lessors. The Debtors have made reasonable efforts
   to list all such leases in the Schedules and Statements. The Debtors have included on
   Schedule D (secured debt) lease obligations to the extent the lessor filed a UCC-1. However,
   nothing in the Schedules or Statements is or shall be construed as an admission or
   determination as to the legal status of any lease (including whether to assume and assign or
   reject such lease or whether it is a true lease or a financing arrangement).

6. Excluded Assets and Liabilities. The Debtors have sought to allocate liabilities between the
   prepetition and post-petition periods based on the information and research conducted in
   connection with the preparation of the Schedules and Statements. As additional information
   becomes available and further research is conducted, the allocation of liabilities between the
   prepetition and post-petition periods may change.

   The liabilities listed on the Schedules do not reflect any analysis of Claims under section
   503(b)(9) of the Bankruptcy Code. Accordingly, the Debtors reserve all of their rights to
   dispute or challenge the validity of any asserted Claims under section 503(b)(9) of the
   Bankruptcy Code.

   The Debtors have excluded certain categories of assets, tax accruals, and liabilities from the
   Schedules and Statements, including, without limitation, goodwill, accrued salaries,
   employee benefit accruals, and deferred gains. In addition, certain immaterial assets and
   liabilities may have been excluded.

   The Bankruptcy Court has authorized the Debtors to pay, in their discretion, certain
   outstanding prepetition Claims on a post-petition basis. However, prepetition liabilities
   related to ordinary course wages and compensation and certain trade claim may have been
   excluded from the Schedules to the extent their Claims have been paid post-petition.

7. Insiders. Solely, for purposes of the Schedules and Statements, the Debtors define
   “insiders” to include the following: (a) directors and limited liability company managers; (b)
   senior level officers; (c) equity holders holding in excess of 5% of the voting securities of the
   Debtor entities; (d) Debtor affiliates; and (e) relatives of any of the foregoing (to the extent
   known by the Debtors). Entities listed as “insiders” have been included for informational
   purposes and their inclusion shall not constitute an admission that those entities are insiders
   for purposes of section 101(31) of the Bankruptcy Code.

8. Intellectual Property Rights. The exclusion of any intellectual property shall not be
   construed as an admission that such intellectual property rights have been abandoned,
   terminated, assigned, expired by their terms, or otherwise transferred pursuant to a sale,
   acquisition, or other transaction. Conversely, inclusion of certain intellectual property shall
   not be construed to be an admission that such intellectual property rights have not been
   abandoned, terminated, assigned, expired by their terms, or otherwise transferred pursuant to
   a sale, acquisition, or other transaction.



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   In addition, although the Debtors have made diligent efforts to attribute intellectual property
   to the rightful Debtor entity, in certain instances, intellectual property owned by one Debtor
   may, in fact, be owned by another Debtor or a non-Debtor, or vice versa. Accordingly, the
   Debtors reserve all of their rights with respect to the legal status of any and all such
   intellectual property rights.

9. Executory Contracts and Unexpired Leases. Although the Debtors made diligent attempts
   to attribute executory contracts and unexpired leases to their rightful Debtors, in certain
   instances, the Debtors may have inadvertently failed to do so due to the complexity and size
   of the Debtors’ businesses.

   Moreover, other than real property leases reported in Schedule A/B 55, the Debtors have not
   necessarily set forth executory contracts and unexpired leases as assets in the Schedules and
   Statements, even though these contracts and leases may have some value to the Debtors’
   estates. The Debtors’ executory contracts and unexpired leases have been set forth in
   Schedule G.

10. Causes of Action. Despite their reasonable efforts to identify all known assets, the Debtors
    may not have listed all of their causes of action or potential causes of action against
    third-parties as assets in the Schedules and Statements, including, without limitation, causes
    of actions arising under the provisions of chapter 5 of the Bankruptcy Code and any other
    relevant non-bankruptcy laws to recover assets or avoid transfers. The Debtors reserve all of
    their rights with respect to any cause of action (including avoidance actions), controversy,
    right of setoff, cross-Claim, counter-Claim, or recoupment and any Claim on contracts or for
    breaches of duties imposed by law or in equity, demand, right, action, lien, indemnity,
    guaranty, suit, obligation, liability, damage, judgment, account, defense, power, privilege,
    license, and franchise of any kind or character whatsoever, known, unknown, fixed or
    contingent, matured or unmatured, suspected or unsuspected, liquidated or unliquidated,
    disputed or undisputed, secured or unsecured, assertable directly or derivatively, whether
    arising before, on, or after the Petition Date, in contract or in tort, in law, or in equity, or
    pursuant to any other theory of law (collectively, “Causes of Action”) they may have, and
    neither these Global Notes nor the Schedules and Statements shall be deemed a waiver of any
    Claims or Causes of Action or in any way prejudice or impair the assertion of such Claims or
    Causes of Action.

11. Summary of Significant Reporting Policies. The following is a summary of significant
    reporting policies:

               a.      Undetermined Amounts. The description of an amount as
                       “unknown,” “TBD” or “undetermined” is not intended to
                       reflect upon the materiality of such amount.

               b.      Totals. All totals that are included in the Schedules and
                       Statements represent totals of all known amounts. To the
                       extent there are unknown or undetermined amounts, the
                       actual total may be different than the listed total.


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               c.       Liens. Property and equipment listed in the Schedules and
                        Statements are presented without consideration of any liens
                        that may attach (or have attached) to such property and
                        equipment.

12. Estimates and Assumptions. Because of the timing of the filings, management was
    required to make certain estimates and assumptions that affected the reported amounts of
    these assets and liabilities. Actual amounts could differ from those estimates, perhaps
    materially.

13. Currency. Unless otherwise indicated, all amounts are reflected in U.S. dollars.

14. Intercompany. The listing in the Schedules or Statements (including, without limitation,
    Schedule A/B or Schedule E/F) by the Debtors of any obligation between a Debtor and
    another Debtor is a statement of what appears in the Debtors’ books and records and does not
    reflect any admission or conclusion of the Debtors regarding whether such amount would be
    allowed as a Claim or how such obligations may be classified and/or characterized in a plan
    of reorganization or by the Bankruptcy Court.

15. Setoffs. The Debtors incur certain offsets and other similar rights during the ordinary course
    of business. Offsets in the ordinary course can result from various items, including, without
    limitation, intercompany transactions, pricing discrepancies, returns, refunds, warranties,
    debit memos, credits, and other disputes between the Debtors and their suppliers and/or
    customers. These offsets and other similar rights are consistent with the ordinary course of
    business in the Debtors’ industry and are not tracked separately. Therefore, although such
    offsets and other similar rights may have been accounted for when certain amounts were
    included in the Schedules, offsets in the ordinary course of business are not independently
    accounted for, and as such, may be excluded from the Debtors’ Schedules and Statements.

16. Global Notes Control. If the Schedules and Statements differ from these Global Notes, the
    Global Notes shall control.

                    Specific Disclosures with Respect to the Debtors’ Schedules

Schedule A/B. Other than real property leases reported on Schedule A/B 55, the Debtors have
not included leases and contracts on Schedule A/B. Leases and contracts are listed on Schedule
G.

       Schedule A/B 2. Petty cash represents cash on hand at restaurant locations including
       “register” cash.

       Schedule A/B 3. Cash values held in financial accounts are listed on Schedule A/B 3 as
       of the open of business on October 18, 2017. Details with respect to the Debtors’ cash
       management system and bank accounts are provided in the Debtors’ cash management
       motion filed on the Petition Date. See [Docket No. 12].

       Schedule A/B 11. Accounts receivable do not include intercompany receivables, which
       are listed on Schedule AB 77.

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       Schedules A/B 15. Ownership interests in subsidiaries have been listed in Schedules
       A/B 15 as an undetermined amount because the fair market value of such ownership is
       dependent on numerous variables and factors and likely differs significantly from their
       net book value.

       Schedule A/B 55. The Debtors do not own any real property. The Debtors have listed
       their real property leases in Schedule A/B 55. The Debtors’ leasehold
       interests/improvements appear on Schedule A/B 55.

       Schedule A/B 74 & 75. In the ordinary course of their businesses, the Debtors may have
       accrued, or may subsequently accrue, certain rights to counter-Claims, setoffs, refunds, or
       potential warranty Claims against their suppliers. Additionally, certain of the Debtors
       may be a party to pending litigation in which the Debtors have asserted, or may assert,
       Claims as a plaintiff or counter-Claims as a defendant. Because such Claims are
       unknown to the Debtors and not quantifiable as of the Petition Date, they are not listed on
       Schedule AB 74 or 75. The Debtors’ failure to list any contingent and/or unliquidated
       claim held by the Debtors in response to these questions shall not constitute a waiver,
       release, relinquishment, or forfeiture of such claim.

Schedule D. The Claims listed on Schedule D arose or were incurred on various dates; a
determination of the date upon which each Claim arose or was incurred would be unduly
burdensome and cost prohibitive. Accordingly, not all such dates are included. All Claims listed
on Schedule D, however, were incurred before the Petition Date.

Reference to the applicable loan agreements and related documents or other instrument creating
the purported lien is necessary for a complete description of the collateral and the nature, extent,
and priority of liens. Nothing in the Global Notes or the Schedules and Statements shall be
deemed a modification or interpretation of the terms of such agreements. Except as specifically
stated on Schedule D, real property lessors, utility companies, and other parties that may hold
security deposits have not been listed on Schedule D. Nothing herein shall be construed as an
admission by the Debtors of the legal rights of the Claimant or a waiver of the Debtors’ rights to
recharacterize or reclassify such Claim or contract.

Moreover, the Debtors have not included on Schedule D parties that may believe their Claims are
secured through setoff rights, letters of credit, surety bonds, or statutory lien rights.

Schedule E/F part 2. The Debtors have used reasonable efforts to report all general unsecured
Claims against the Debtors on Schedule E/F part 2, based upon the Debtors’ books and records
as of the Petition Date.

Determining the date upon which each Claim on Schedule E/F part 2 was incurred or arose
would be unduly burdensome and cost prohibitive and, therefore, the Debtors do not list a date
for each Claim listed on Schedule E/F part 2. Furthermore, claims listed on Schedule E/F part 2
may have been aggregated by unique creditor name and remit to address and may include several
dates of incurrence for the aggregate balance listed.

Schedule E/F part 2 contains information regarding pending litigation involving the Debtors. The
dollar amount of potential Claims associated with any such pending litigation is listed as
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“undetermined” and marked as contingent, unliquidated, and disputed in the Schedules and
Statements. Some of the litigation Claims listed on Schedule E//F may be subject to
subordination pursuant to section 510 of the Bankruptcy Code. Schedule E/F part 2 also includes
potential or threatened litigation claims. Any information contained in Schedule E/F part 2 with
respect to such potential litigation shall not be a binding admission or representation of the any
Debtor’s liability with respect to any of the potential suits and proceedings included therein. The
Debtors expressly incorporate by reference into Schedule E/F part 2 all parties to pending
litigation listed in the Debtors’ Statement 7, as contingent, unliquidated, and disputed claims, to
the extent not already listed on Schedule E/F part 2. Finally, where litigation has been threatened
or commenced against more than one Debtor, the Debtors may have scheduled those creditors
under Mac Acquisition LLC, which is the primary operating company among the Debtors.

Schedule E/F part 2 reflects the prepetition amounts owing to counterparties to executory
contracts and unexpired leases. Such prepetition amounts, however, may be paid in connection
with the assumption, or assumption and assignment, of executory contracts or unexpired leases.
Additionally, Schedule E/F part 2 does not include potential rejection damage Claims, if any, of
the counterparties to executory contracts and unexpired leases that may be rejected, except where
a judgment has been rendered.

Schedule G. Certain information, such as the contact information of the counter-party, may not
be included where such information could not be obtained using the Debtors’ reasonable efforts.
Listing or omitting a contract or agreement on Schedule G does not constitute an admission that
such contract or agreement is or is not an executory contract or unexpired lease was in effect on
the Petition Date or is valid or enforceable. Certain of the leases and contracts listed on
Schedule G may contain certain renewal options, guarantees of payment, indemnifications,
options to purchase, rights of first refusal and other miscellaneous rights. Such rights, powers,
duties and obligations are not set forth separately on Schedule G.

Certain confidentiality and non-disclosure agreements may not be listed on Schedule G.

Certain of the contracts and agreements listed on Schedule G may consist of several parts,
including, purchase orders, amendments, restatements, waivers, letters and other documents that
may not be listed on Schedule G or that may be listed as a single entry. In some cases, the same
supplier or provider appears multiple times on Schedule G. Multiple listings may not reflect
distinct contracts between the applicable Debtor and such supplier or provider but, instead, a
series of documents comprising a single contract. The Debtors expressly reserve their rights to
challenge whether such related materials constitute an executory contract, a single contract or
agreement or multiple, severable or separate contracts.

The contracts, agreements, and leases listed on Schedule G may have expired or terminated prior
to the Petition Date. The Debtors reserve their rights to argue that any of the contracts,
agreements, and leases listed on Schedule G expired or terminated prior to the Petition Date.
Additionally, some of the contracts, agreements, and leases listed on Schedule G may have been
modified, amended or supplemented from time to time by various amendments, restatements,
waivers, estoppel certificates, letters, memoranda and other documents, instruments, and
agreements that may not be listed therein despite the Debtors’ use of reasonable efforts to
identify such documents. Further, unless otherwise specified on Schedule G, each executory

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contract or unexpired lease listed thereon shall include all exhibits, schedules, riders,
modifications, declarations, amendments, supplements, attachments, restatements, or other
agreements made directly or indirectly by any agreement, instrument, or other document that in
any manner affects such executory contract or unexpired lease, without respect to whether such
agreement, instrument, or other document is listed thereon.

In addition, the Debtors may have entered into various other types of agreements in the ordinary
course of their businesses, such as subordination, nondisturbance, and attornment agreements,
supplemental agreements, settlement agreements, amendments/letter agreements, title
agreements and confidentiality agreements. Such documents may not be set forth on Schedule
G. Certain of the executory agreements may not have been memorialized and could be subject to
dispute. Executory agreements that are oral in nature have not been included on the Schedule G.

Schedule H. For purposes of Schedule H, the Debtors that are either the principal obligors or
guarantors under the prepetition debt facilities are listed as Co-Debtors on Schedule H. Any
listing of a Debtor on Schedule H is subject to the characterization of the underlying obligations
made by such Debtor on its owns Schedules. The Debtors may not have identified certain
guarantees associated with the Debtors’ executory contracts, unexpired leases, secured
financings, debt instruments and other such agreements.

In the ordinary course of their businesses, the Debtors may be involved in pending or threatened
litigation. These matters may involve multiple plaintiffs and defendants, some or all of whom
may assert cross-Claims and counter-Claims against other parties. Because the Debtors have
treated all such Claims as contingent, disputed, or unliquidated, such Claims may not have been
set forth individually on Schedule H. Litigation matters can be found on each Debtor’s Schedule
E/F part 2 and Statement 7, as applicable.

                Specific Disclosures with Respect to the Debtors’ Statements

Statement 3. Statement 3 for Mac Acquisition LLC includes any disbursement or other transfer
made by or on behalf of all the Debtors within 90 days before the Petition Date except for those
made to insiders (which payments appear in response to Statement 4), made as part of regular
and ordinary course payroll disbursements, and bankruptcy professionals (which payments
appear in Statement 11 and include any retainers paid to bankruptcy professionals). The
amounts listed in Statement 3 reflect the Debtors’ disbursements netted against any check level
detail; thus, to the extent a disbursement was made to pay for multiple invoices, only one entry
has been listed on Statement 3.

Statement 4. With respect to individuals, the amounts listed reflect the universe of payments
and transfers made specifically to or for the benefit of such individuals, including their regular
compensation, as well as any bonuses, expense reimbursements, severance payments and/or
relocation reimbursement. However, amounts paid on behalf of such employees for generally
applicable employee benefit programs has not been included.

The Debtors have included a single entry for all amounts made over the twelve months preceding
the Petition Date for each insider.


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Statement 5. Statement 5 excludes goods returned in the ordinary course of business. The
restaurant furniture, fixtures and equipment reported in Statement 5 is all property in closed
locations that the landlord obtained possession of in connection with the store closure. The value
is unknown.

Statement 7. Information provided in Statement 7 may not include every administrative agency
proceeding open or closed during the relevant time period, as certain agency proceedings are
quickly dismissed or settled for a nominal sum. Additionally, any information contained in
Statement 7 shall not be a binding representation of the Debtors’ liabilities with respect to any of
the suits and proceedings identified therein.

Statement 10. The Debtors occasionally incur losses for a variety of reasons, including theft
and property damage. The Debtors, however, may not have records of all such losses if such
losses do not have a material impact on the Debtors’ businesses or are not reported for insurance
purposes. The losses listed on Statement 10 are based on the estimated amounts currently owed
and are not intended to be an admission of the amounts owed. Further, Mac Parent LLC is the
“named insured” under substantially all of the Debtors’ insurance policies. Accordingly, losses
that are covered by insurance are listed under Mac Parent LLC even though they may relate to
assets owned by (and income recognized by) other Debtors, primarily Mac Acquisition LLC, the
primary asset-owning Debtor.

Statement 11. Out of an abundance of caution, the Debtors have included payments to all
professionals who have rendered any advice related the Debtors’ bankruptcy proceedings in
Statement 11. However, it is possible that the disclosed fees also relate to other, non-bankruptcy
related services and may include services rendered to other parties.

Statement 26d. The Debtors have provided financial statements in the ordinary course of their
businesses to various financial institutions, creditors, landlords, and other parties within two
years immediately before the Petition Date. Considering the number of such recipients and the
possibility that such information may have been shared with parties without the Debtors’
knowledge or consent or subject to confidentiality agreements, the Debtors have not disclosed
any parties that may have received such financial statements for the purposes of Statement 26d.




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